 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 1 of 667




REDACTED VERSION

     Exhibit A1
         to
C. Cramer Declaration
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 2 of 667




 1
 2   Karma M. Giulianelli (SBN 184175)
     BARTLIT BECK LLP
 3
     1801 Wewatta St., Suite 1200
 4   Denver, CO 80202
     Telephone: (303) 592-3100
 5   Facsimile: (303) 592-3140
 6   karma.giulianelli@bartlitbeck.com

 7   Hae Sung Nam (pro hac vice)
     KAPLAN FOX & KILSHEIMER LLP
 8   850 Third Avenue
 9   New York, NY 10022
     Telephone: (212) 687-1980
10   Facsimile: (212) 687-7715
     hnam@kaplanfox.com
11
12   Interim Co-Lead Counsel for the Proposed Clas-
     ses
13
     [Additional Counsel on Signature Page]
14
15
                                 UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17
                                      SAN FRANCISCO DIVISION
18
19   IN RE GOOGLE PLAY CONSUMER
     ANTITRUST LITIGATION
20
     RELATED ACTIONS:                                No. 3:20-CV-05761-JD
21
     Epic Games Inc. v. Google LLC et al.,           CONSUMER PLAINTIFFS’ NOTICE
22
     Case No. 3:20-cv-05671-JD                       OF MOTION, MOTION FOR CLASS
23                                                   CERTIFICATION, AND
     In re Google Play Developer Antitrust
24                                                   MEMORANDUM IN SUPPORT
     Litigation, Case No. 3:20-cv-05792-JD
25   State of Utah, et al., v. Google LLC, et al.,   Hearing Date: August 4, 2022
     Case No. 3:21-cv-05227-JD                       Hearing Time: 10:00 a.m.
26                                                   Courtroom: Courtroom 11, 19th Floor
     Match Group, LLC, et al. v. Google LLC, et      Judge: The Honorable James Donato
27
     al., Case No. 3:22-cv-02746-JD
28




            CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 3 of 667




 1            NOTICE OF MOTION AND MOTION FOR CLASS CERITIFICATION

 2          PLEASE TAKE NOTICE that on August 4, 2022, at 10:00 a.m., before the Honorable

 3   James Donato, of the United States District Court of the Northern District of California, San Fran-

 4   cisco Division, 450 Golden Gate Avenue, San Francisco, California, Courtroom 11, 19th Floor,

 5   Plaintiffs Mary Carr, Daniel Egerter, Zack Palmer, Serina Moglia, Matthew Atkinson, and Alex

 6   Iwamoto, on behalf of themselves and all others similarly situated, will and do now move the Court

 7   for an order granting Plaintiffs’ Motion for Class Certification pursuant to Federal Rules of Civil

 8   Procedure 23.

 9          Plaintiffs seek entry of an order: (1) certifying a proposed Rule 23(b)(3) class; (2) certifying

10   a proposed Rule 23(b)(2) class; (3) appointing Plaintiffs Mary Carr, Daniel Egerter, Zack Palmer,

11   Serina Moglia, Matthew Atkinson, and Alex Iwamoto as representatives of the classes; and (4) ap-

12   pointing Karma M. Giulianelli of Bartlit Beck LLP and Hae Sung Nam of Kaplan Fox & Kil-

13   sheimer LLP as Co-Lead Class Counsel for the classes. Plaintiffs propose that the classes for their

14   Sherman Act Sections 1 and 2 claims (Counts 1-6) as well as their Cartwright Act (Counts 7-10)

15   and Unfair Competition (Count 11) claims, be defined as follows:

16         RULE 23(b)(3) MULTISTATE DAMAGES CLASS:
17          All persons in the following U.S. states and territories:

18             Alabama, Georgia, Hawaii, Illinois, Kansas, Maine, Michigan, Ohio, Penn-
               sylvania, South Carolina, Wisconsin, Wyoming, American Samoa, Guam,
19             Northern Mariana Islands, Puerto Rico, and the U.S. Virgin Islands

20          who paid for an app through the Google Play Store1 or paid for in-app digital content
            (including subscriptions or ad-free versions of apps) through Google Play Billing on
21          or after August 16, 2016, to the present.

22         RULE 23(b)(2) MULTISTATE INJUNCTIVE RELIEF CLASS:
            All persons in the following U.S. states and territories:
23
               Alabama, Georgia, Hawaii, Illinois, Kansas, Maine, Michigan, Ohio, Penn-
24             sylvania, South Carolina, Wisconsin, Wyoming, American Samoa, Guam,
               Northern Mariana Islands, Puerto Rico, and the U.S. Virgin Islands
25
            who currently own a mobile phone or tablet with an authorized and preinstalled ver-
26          sion of Google’s Android OS capable of accessing the Google Play Store.
27
28   1
      Capitalized terms “Google Play Store,” “Google Play Billing,” and “Defendants” are used in the
     same sense as defined in the operative consumer Complaint. ECF No. 241.


                                              i
            CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 4 of 667




 1         Excluded from both Classes are Defendants and their officers, directors, employees,
           and successors; any person or entity who has (or had during the class period) a con-
 2         trolling interest in any Defendant; any affiliate, legal representative, heir, or assign of
           any Defendant and any person acting on behalf of any Defendant; any judicial officer
 3         presiding over this action and the members of those officers’ immediate families and
           judicial staffs; all governments and their agencies; and any juror assigned to this ac-
 4         tion.
 5
            This motion is based upon this Notice of Motion, the accompanying Memorandum of
 6
     Points and Authorities, all filed supportive declarations and exhibits, the expert reports of Dr. Hal
 7
     Singer and Dr. Douglas Schmidt, the records on file in this action, and any argument that may be
 8
     presented at or before the hearing on this Motion.
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                              ii
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
               Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 5 of 667




 1                                                     TABLE OF CONTENTS

 2   TABLE OF AUTHORITIES ........................................................................................................... i
 3   MEMORANDUM OF POINTS AND AUTHORITIES .................................................................1
 4   STATEMENT OF COMMON FACTS ...........................................................................................3
 5   I.        THE PROPOSED CLASSES AND THE JOINT PROSECUTION
               AGREEMENT WITH THE STATES .................................................................................3
 6
     II.       COMMON CLASSWIDE EVIDENCE OF THE RELEVANT MARKET .......................4
 7
 8   III.      COMMON CLASSWIDE EVIDENCE OF GOOGLE’S UNLAWFUL
               CONDUCT ..........................................................................................................................4
 9
     IV.       COMMON EVIDENCE OF CLASSWIDE ANTITRUST IMPACT ...............................10
10
               A.         Common Evidence Establishes that Google’s Take Rate Is Supra-
11                        Competitive ............................................................................................................10

12             B.         Common Economic Evidence Shows that All or Virtually All Class
                          Members Are Injured by Google’s Conduct ..........................................................12
13
               C.         Aggregate Damages Are Calculated on a Classwide Basis ...................................13
14
     ARGUMENT .................................................................................................................................14
15
     I.        THE REQUIREMENTS OF RULE 23(a) ARE MET IN THIS CASE ............................14
16
               A.         Rule 23(a)(1)’s Numerosity Requirement Is Satisfied...........................................14
17
18             B.         Rule 23(a)(2)’s Commonality Requirement Is Satisfied .......................................14

19             C.         Rule 23(a)(3)’s Typicality Requirement Is Satisfied .............................................15

20             D.         The Rule 23(a)(4) and 23(g) Adequacy Requirements Are Satisfied ....................16

21   II.       RULE 23(b)(3)’S REQUIREMENTS ARE SATISFIED IN THIS CASE .......................17

22             A.         The Predominance Requirement Is Met ................................................................17
23                        1.         Plaintiffs’ Sherman Act Claims Present Common Questions
                                     That Will Predominate .............................................................................. 18
24
                          2.         Plaintiffs’ State Law Claims Present Common Questions
25                                   That Will Predominate .............................................................................. 20
                          3.         Common Questions Predominate on Impact and Damages ...................... 20
26
               B.         The Superiority Requirement Is Met .....................................................................24
27
     III.      THE REQUIREMENTS OF RULE 23(b)(2) ARE SATISFIED IN THIS CASE............24
28
     CONCLUSION ..............................................................................................................................25


                                                 iii
                CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
             Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 6 of 667




 1                                                 TABLE OF AUTHORITIES

 2   Cases
 3   Alaska Airlines v. United Airlines,
 4     948 F.2d 536 (9th Cir. 1991) .................................................................................................... 18
 5   Alcantar v. Hobart Serv.,
 6     800 F.3d 1047 (9th Cir. 2015) .................................................................................................. 14
 7   Amchem Prods., Inc. v. Windsor,
 8     521 U.S. 591 (1997) .................................................................................................................. 17
 9   Apple Inc. v. Pepper,
10     139 S. Ct. 1514 (2019) ................................................................................................................ 1
11   B.K., by her next friend Tinsley v. Snyder,
12     922 F.3d 957 (9th Cir. 2019) .................................................................................................... 15
13   Castellar v. Mayorkas,
14     No. 17-cv-00491-BAS-AHG, 2021 U.S. Dist. LEXIS 170342 (S.D. Cal. Sept. 8, 2021).......... 3
15   D&M Farms v. Birdsong Corp.,
16     Civil Action No. 2:19-cv-463, 2020 WL 7074140 (E.D. Va. Dec. 2, 2020) ............................ 23
17   Ellis v. Salt River Project Agric. Improvement & Power Dist.,
18     24 F.4th 1262 (9th Cir. 2022) ............................................................................................... 2, 19
19   Flagship Theatres of Palm Desert, LLC v. Century Theatres, Inc.,
20     55 Cal. App. 5th 381 (2020) ..................................................................................................... 20
21   Giuliano v. Sandisk Corp.,
22     No. C 10-02787 SBA, 2015 WL 10890654 (N.D. Cal. May 14, 2015) ................................... 19
23   Goldwasser v. Ameritech Corp.,
24     222 F.3d 390 (7th Cir. 2000) .................................................................................................... 20
25   Hanlon v. Chrysler Corp.,
26     150 F.3d 1011 (9th Cir. 1998) .................................................................................................. 16
27   In re Apple iPhone Antitrust Litig.,
28     No. 4:11-cv-06714-YGR, 2022 WL 1284104 (N.D. Cal. Mar. 29, 2022) ......................... 18, 23



                                                i
              CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
             Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 7 of 667




 1   In re ATM Fee Antitrust Litig.,

 2     686 F.3d 741 (9th Cir. 2012) .................................................................................................... 16

 3   In re Capacitors III,

 4     No. 17-md-02801-JD, 2018 WL 5980139 (N.D. Cal. 2018) .................................................... 19

 5   In re Disposable Contact Lens Antitrust Litig.,

 6     329 F.R.D. 336 (M.D. Fla. 2018).............................................................................................. 21

 7   In re Elec. Books Antitrust Litig.,

 8     No. 11-MD-2293 (DLC), 2014 WL 1282293 (S.D.N.Y. Mar. 28, 2014) ................................ 12

 9   In re Fine Paper Antitrust Litig.,

10     82 F.R.D. 143 (E.D. Pa. 1979) .................................................................................................. 22

11   In re Glumetza Antitrust Litig.,

12     336 F.R.D. 468 (N.D. Cal. 2020) ........................................................................................ 18, 24

13   In re High-Tech Employee Antitrust Litig.,

14     985 F. Supp. 2d 1167 (N.D. Cal. 2013) .................................................................................... 15

15   In re Hyundai & Kia Fuel Econ. Litig.,

16     926 F.3d 539 (9th Cir. 2019) .................................................................................................... 17

17   In re Live Concert Antitrust Litig.,

18     247 F.R.D. 98 (C.D. Cal. 2007) ................................................................................................ 19

19   In re Mercedes-Benz Antitrust Litig.,

20     213 F.R.D. 180 (D. N.J. 2003) .................................................................................................. 22

21   In re Microcrystalline Antitrust Litig.,

22     218 F.R.D. 79 (E.D. Pa. 2003) .................................................................................................. 24

23   In re NCAA Student-Athlete Name & Likeness Licensing Litig.,

24     No. C 09-1967 CW, 2013 WL 5979327 (N.D. Cal. Nov. 8, 2013) .......................................... 25

25   In re Static Random Access Memory (SRAM) Antitrust Litig.,

26     264 F.R.D. 603 (N.D. Cal. 2009) .............................................................................................. 23

27   In re Suboxone (Buprenorphine Hydrochloride and Nalaxone) Antitrust Litig.,

28     MDL No. 2445, 13-md-2445, 2019 WL 4735520 (E.D Pa. Sep. 27, 2019) ............................. 21




                                               ii
              CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
             Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 8 of 667




 1   In re TFT-LCD (Flat Panel) Antitrust Litig.,

 2     267 F.R.D. 291 (N.D. Cal. 2010) .............................................................................................. 16

 3   In re TFT-LCD (Flat Panel) Antitrust Litig.,

 4     267 F.R.D. 583 (N.D. Cal. 2010) .......................................................................................... 3, 21

 5   In re Urethane Antitrust Litig.,

 6     768 F.3d 1245 (10th Cir. 2014) ................................................................................................. 22

 7   In re Vitamins Antitrust Litig.,

 8     209 F.R.D. 251 (D.D.C. 2002).................................................................................................. 22

 9   J. Truett Payne Co., Inc. v. Chrysler Motors Corp.,

10     451 U.S. 557 (1981) .................................................................................................................. 12

11   Kamm v. Calif. City Dev. Co.,

12     509 F.2d 205 (9th Cir. 1975) .................................................................................................... 24

13   Messner v. Northshore Univ. Health Sys.,

14     669 F.3d 802 (7th Cir. 2012) .................................................................................................... 17

15   Ohio v. American Express,

16     138 S. Ct. 2274 (2018) .............................................................................................................. 11

17   Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods, LLC,

18     31 F.4th 651 (9th Cir. Apr. 8, 2022) ......................................................................... 2, 17, 21, 22

19   Parsons v. Ryan,

20     754 F.3d 657 (9th Cir. 2014) .................................................................................................... 25

21   Ruiz Torres v. Mercer Canyons Inc.,

22     835 F.3d 1125 (9th Cir. 2016) .................................................................................................. 15

23   Senne v. Kansas City Royals Baseball Corp.,

24     934 F.3d 918 (9th Cir. 2019) .................................................................................................... 14

25   Tanaka v. Univ. of S. Cal.,

26     252 F.3d 1059 (9th Cir. 2001) .................................................................................................. 18

27   Tyson Foods, Inc. v. Bouaphakeo,

28     577 U.S. 442 (2016) .............................................................................................................. 2, 17




                                               iii
              CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
               Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 9 of 667




 1   Wal-Mart Stores, Inc. v. Dukes,

 2      564 U.S. 338 (2011) ........................................................................................................... passim

 3   Wolin v. Jaguar Land Rover N. Am., LLC,

 4      617 F.3d 1168 (9th Cir. 2010) .................................................................................................. 24

 5   Other Authorities
 6   6 W. RUBENSTEIN, Newberg on Class Actions § 20:28. (5th ed.) ................................................. 18
 7   Jean-Charles Rochet and Jean Tirole, Platform Competition in Two-Sided Markets,
 8      1 J. EUR. ECON. ASSN. 990 (2003) ............................................................................................ 11
 9
     Rules
10
     Fed. R. Civ. P. 23(b)(3)................................................................................................................. 14
11
     Fed. R. Civ. Proc. 23(b)(2) ....................................................................................................... 2, 25
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                 iv
                CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 10 of 667




 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2       For years, Google has engaged in exclusionary practices that have allowed it to obtain a dom-

 3   inant position in the market for distributing Android mobile device applications (apps) and to

 4   thwart rival app stores from emerging. Google uses its power to inflate the prices of Android apps

 5   by taking, with limited exceptions, a 30% slice of every app sale through the Google Play Store.

 6   Google has also unlawfully extended its monopoly power in the Android App Distribution Market

 7   to the In-App Aftermarket through its requirement that developers use Google’s billing services

 8   for all in-app sales and its prohibition on steering to alternate providers—allowing Google to take

 9   a cut in perpetuity of every subsequent purchase of digital content in each app.2

10           Internal Google documents reveal that its meteoric rise against such titans as Amazon,

11   Samsung, AT&T, T-Mobile, Motorola, and Verizon was the product of a calculated, multifaceted

12   strategy to eliminate competition. That strategy included an array of conduct that courts have long

13   found to be exclusionary—bribes, deception, contractual restrictions, and pretextual technological

14   barriers—which secured and maintain the Play Store’s insurmountable lead over potential com-

15   petitors.

16           The Consumer Plaintiffs purchased apps from the Play Store or made in-app purchases

17   through Google Play Billing. Consumers paid Google directly for these purchases, and, accord-

18   ingly, are direct purchasers who may sue Google under federal antitrust laws. Apple Inc. v. Pepper,

19   139 S. Ct. 1514, 1520 (2019). But for Google’s anticompetitive conduct, Plaintiffs and class mem-

20   bers would have paid lower prices for apps and in-app purchases and would have benefitted from

21   expanded choice. Plaintiffs seek damages from and injunctive relief against Google, and therefore

22   seek certification of both a Rule 23(b)(3) damages class of consumers and a (b)(2) injunctive relief

23   class of current owners of devices operating with an authorized version of Google’s Android OS.3

24
25
     2
       “Android App Distribution Market” and “In-App Aftermarket” are defined in the Class Certifi-
26   cation Report of Hal J. Singer, Ph.D. Ex. 2 (Singer Rpt.) ¶¶ 2, 22-32. All exhibit citations are
27   citations to the exhibits to the Giulianelli Declaration, filed herewith.
     3
       As used in this memorandum, “Android OS” refers to Google’s licensed version of Android, as
28   opposed to other versions of the freely available “open-source” version. See Ex. 4 (Expert Report
     of D. Schmidt) at 8-9.


                                               1
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 11 of 667




 1          Plaintiffs’ claims depend upon central, common questions of fact and law, each of which

 2   focuses on Google’s conduct and is capable of classwide resolution. They include: (1) whether

 3   Google has monopoly power in the Android App Distribution Market and the In-App Aftermarket;

 4   (2) whether Google’s contractual restrictions on manufacturers, carriers, and developers are un-

 5   reasonable restraints of trade; and (3) whether Google’s practices impacted class members and

 6   resulted in supra-competitive prices paid by consumers. With respect to the last issue, Plaintiffs

 7   have developed expert economic evidence capable of demonstrating that Google did indeed cause

 8   classwide antitrust injury. That evidence will show that virtually all members of the proposed class

 9   were injured by Google’s “coercive activity,” “prevent[ing] its victims from making free choices

10   between market alternatives,” which constitutes cognizable antitrust injury. Ellis v. Salt River Pro-

11   ject Agric. Improvement & Power Dist., 24 F.4th 1262, 1274 (9th Cir. 2022). That evidence also

12   includes a methodology for calculating aggregate damages to the class, as well as class members’

13   individual damages.

14          Because common questions about Google’s conduct will be the focus at trial, Plaintiffs
15   satisfy Rule 23(b)(3)’s requirement that common questions “predominate over any questions af-
16   fecting only individual members.” None of the differences among class members (for example,
17   which specific purchases were made) are of the kind that defeat class certification. Olean Whole-
18   sale Grocery Coop., Inc. v. Bumble Bee Foods, LLC, 31 F.4th 651, 678 (9th Cir. Apr. 8, 2022) (en
19   banc) (common impact can be found “even when the market involves diversity in products, mar-
20
     keting, and prices”); Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (certification is
21
     proper where common issues predominate even where “other important matters will have to be
22
     tried separately, such as damages or some affirmative defenses peculiar to some individual class
23
     members”). Certification of an injunctive relief class is appropriate because Google “has acted or
24
     refused to act on grounds that apply generally to the class.” Fed. R. Civ. P. 23(b)(2).
25
             As explained in further detail below, the Court should certify classes under both Rule
26
     23(b)(3) and (b)(2), appoint Plaintiffs as class representatives, and appoint Karma M. Giulianelli
27
     of Bartlit Beck LLP and Hae Sung Nam of Kaplan Fox & Kilsheimer LLP as co-lead class counsel.
28



                                               2
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 12 of 667




 1                                STATEMENT OF COMMON FACTS

 2
     I.     THE PROPOSED CLASSES AND THE JOINT PROSECUTION AGREEMENT
 3          WITH THE STATES

 4          The classes Plaintiffs propose differ from those pleaded.4 The proposed Rule 23(b)(3) class
 5   is limited to seventeen states and territories in lieu of the nationwide class pleaded because Plain-
 6   tiffs have entered a Cooperation and Joint Prosecution Agreement (the “Joint Prosecution Agree-
 7   ment”) with Attorneys General who have brought parens patriae claims. See Ex. 1. To pursue
 8   consumers’ claims against Google most effectively and efficiently, Plaintiffs’ Counsel and the
 9   thirty-nine Attorneys General asserting parens patriae claims in this case agreed in the Joint Pros-
10   ecution Agreement that class certification would be sought only for consumers in states, districts
11   and territories that have not asserted a parens patriae claim in this action.5 Plaintiffs’ Counsel and
12   the Attorneys General also agreed to continue working jointly for the benefit of all U.S. consumers.
13          A second difference in the proposed classes is that Plaintiffs do not seek certification of a
14   “repealer states” class. Because Google has consistently included a choice-of-law provision in its
15   user agreements designating California law as controlling in litigation brought by users, California
16   law governs the state law claims of all class members, regardless of where they reside and regard-
17   less of whether a particular state has “repealed” Illinois Brick.
18          Plaintiffs have also proposed a Rule 23(b)(2) injunctive relief class in part based on the
19   Supreme Court’s recognition that “individualized monetary claims belong in Rule 23(b)(3),” while
20   “Rule 23(b)(2) applies only when a single injunction or declaratory judgment would provide relief
21   to each member of the class.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011). The
22   proposed (b)(2) class does not completely overlap with the proposed (b)(3) class, in that the former
23   is limited to current Android users, while the latter includes anyone who was an Android user who
24   purchased an app or in-app digital content using Google Play Billing during the class period.
25   4
       See, e.g., In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 583 (N.D. Cal. 2010) (permit-
     ting adjustments to class definition at the class certification stage); Castellar v. Mayorkas, No. 17-
26   cv-00491-BAS-AHG, 2021 U.S. Dist. LEXIS 170342 (S.D. Cal. Sept. 8, 2021) (“The definition
27   of the class at the class certification stage may diverge from that set forth in the Complaint ....”).
     5
       If for any reason a State cannot or does not pursue its parens patriae claims, Rule 23 provides
28   the necessary flexibility to expand a class to include residents of that State, as Rule 23 permits the
     Court to modify a certified class.


                                               3
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 13 of 667




 1   II.    COMMON CLASSWIDE EVIDENCE OF THE RELEVANT MARKET

 2          The relevant antitrust markets in this case will be defined by common evidence. Virtually

 3   all mobile devices throughout the world (more than 99%) use either Apple’s iOS, exclusive to

 4   Apple devices, or Google’s Android OS, licensed to multiple Original Equipment Manufacturers

 5   (“OEMs”), giving it over 99% of the smartphone market for licensed mobile operating systems.

 6   Ex. 2 (Singer Rpt.) at ¶ 37. Once a consumer buys an Apple or Android device, she has no choice

 7   but to use the app stores that are available for that device, meaning there is no direct competition

 8   between Apple and Google for a consumer’s app or in-app business. Ex. 4 (Schmidt Rpt.) at 5-6

 9   (explaining incompatibility of mobile operating systems). Google maintains near complete control

10   over the relevant Android App Distribution Market, and, because of its restrictions, over the In-

11   App Aftermarket for services used to transact the sale of in-app content. Google’s expert accepts

12   these market definitions for class certification purposes. See Ex. 5 (Burtis Rpt.) ¶ 43.

13   III.   COMMON CLASSWIDE EVIDENCE OF GOOGLE’S UNLAWFUL CONDUCT

14          Common evidence related to Google’s anticompetitive conduct will be the main focus of
15   any trial. Plaintiffs will prove through common evidence that Google’s dominance was acquired
16   in both the Android App Distribution Market and In-App Aftermarket by anticompetitive means.
17   Common evidence will show Google unlawfully: (1) paid carriers rents too high for a competitor
18   to profitably enter; (2) imposed contractual restrictions on OEMs; (3) prohibited developers from
19   steering their customers to competitors; (4) bribed major developers; (5) erected overly restrictive
20   and pretextual technological barriers and misleading warnings to deter consumers from download-
21   ing apps outside the Play Store; (6) persuaded entrants not to compete; and (7) leveraged its power
22   into the separate in-app services market by tying its separate Google Play Billing product to every
23   in-app sale of digital content.
24          First, Google paid billions of dollars to mobile carriers, making it unpalatable for them to
25   compete with Google’s app store. Initially, Google deliberately lost money on each app transac-
26   tion, pushing out carriers and third parties from profitably participating in carrier distribution chan-
27   nels. In the early days of Android smartphones, Google appreciated that “the greatest threat to
28   Android Market is that carriers can easily set up their own, controlled, application market.” Ex. 6



                                               4
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 14 of 667




 1   (GOOG-PLAY-001423609). Google’s solution to neutralize the threat was “giving generous rev-

 2   enue share that more or less matches what they would make from their own markets,” until a point

 3   where “carriers will be unable to compete with their own offerings because their own offerings

 4   will be so limited in comparison.” Id. To enact this plan, Google initially gave 70% of revenue to

 5   app developers, 25% to carriers, and kept only the remaining 5% for itself. See, e.g., Ex. 7 (GOOG-

 6   PLAY-001385324) at -345. Google’s cut was small enough that it “purposefully” took a loss from

 7   each transaction and told developers that “Google will not be operating the Android Market as a

 8   profit center. … Google will collect a small charge to cover costs of handling and billing.” Ex. 8,

 9   (GOOG-PLAY-005564421); Ex. 9 (GOOG-PLAY-001075142) at -143. Google recognized that

10   taking a loss by giving away 95% of each transaction effectively prevented entrants from compet-

11   ing profitably. Ex. 10, (GOOG-PLAY-001547487) at -488 (“How do you think they are going to

12   get distribution when we give the carriers 30%”).

13          By 2013, Google’s revenue-sharing agreements with carriers had achieved their intended

14   effect, as Google Vice President Jamie Rosenberg later acknowledged: “We cut carriers in to dis-

15   incentivize building their own stores and fragmenting the ecosystem. It worked.” Ex. 11 (GOOG-

16   PLAY-000439987.R) at -012.R. As Google recognized, giving up control over app distribution

17   was “a bitter pill,” for the carriers, but Google’s “generous rev share” was the “sugar” that made

18   it “go down.” Ex. 12 (GOOG-PLAY-005559390.R) at -395.R. With its monopoly solidified,

19   Google knew it could “change the rules/get a better deal” by lowering carriers’ share of revenues.

20   Ex. 13 (GOOG-PLAY- 001337211) at -226. After it had sidelined all the major, would-be carrier

21   and non-carrier competitors for Android app distribution, Google effectively ended revenue shar-

22   ing in all but limited circumstances. 6 It did not, however, reduce its take or pass those savings to

23   its customers, consistent with its public promise that “Google does not take a percentage” of the

24   revenues from app distribution, but, instead, kept the entire 30% for itself.7 By increasing its take

25
     6
       Google first eliminated credit card sharing with T-Mobile USA and Sprint, Ex. 14 (GP MDL-
26   TMO-0001831) at -838; Ex. 15 (GP MDL-TMO-0002071) at -094; then AT&T, Ex. 16 (GOOG-
27   PLAY-003604601) at -603; and Verizon. Ex. 17 (GOOG-PLAY-003604896) at -910; Ex. 18
     (GOOG-PLAY-003605103) at -106; Ex. 19 (GOOG-PLAY4-002178046) at -049.
28   7
       Ex. 21, (“Android Market: Now available for users”, published on October 22, 2008, https://an-
     droid-developers.googleblog.com/2008/10/androidmarket-now-available-for-users.html).


                                               5
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 15 of 667




 1   from 5% to 30% of each transaction, Google quickly began enjoying supra-competitive margins.

 2   Ex. 20 (GOOG-PLAY-000445443.R) at -461.R.

 3          Second, Google has imposed a variety of exclusionary contractual restraints on OEMs of

 4   mobile devices. Although Google offers many of its own apps for “free,” Google requires any

 5   OEM that wishes to install even a single Google app to preinstall a bundle of Google apps called

 6   Google Mobile Services (“GMS”), including Search, Maps, Chrome, Gmail, YouTube, and the

 7   Play Store. Ex. 22 (GOOG-PLAY-003776161.R) at -177.R (manufacturers “cannot pick apps a la

 8   carte”). GMS not only contains Google’s most popular apps, but also application programming

 9   interfaces (“APIs”) necessary for the majority of third-party apps to work. Ex. 4 (Schmidt Rpt.) at

10   10-12. OEMs therefore have no commercially viable alternative but to license GMS. To gain ac-

11   cess to those critical APIs, however, an OEM must enter into a Mobile Application Distribution

12   Agreement (“MADA”) in which Google requires the OEM to preinstall the Play Store on its de-

13   vices and to prominently display it on the home screen.8 Google knows the importance of promi-

14   nent placement, observing internally, “If we were honest we would admit that most users and

15   developers aren’t consciously ‘choosing,’ they are going with the default.” Ex. 25 (GOOG-PLAY-

16   000292207.R) at -226.R; Ex. 26 (GOOG-PLAY-000832471); Ex. 27 (GOOG-PLAY-006355073)

17   (“Fortunately, we’ll always have the placement/pre-install advantage which is 90% of the battle.”).

18          On top of the MADA requirements, Google has recently—in the face of agitation from

19   large developers and potential market entrants—begun negotiating agreements with OEMs secur-

20   ing exclusivity for the Play Store. Ex. 28 (GOOG-PLAY-000443763.R) at -773.R. Google recently

21   entered into new revenue sharing agreements, known as “RSA 3.0,” with at least               cover-

22   ing an estimated              shipped devices in 2020 and 2021. Ex. 2 (Singer Rpt.) ¶ 117. If a

23   manufacturer agrees not to preinstall any Play Store competitors, Google pays that manufacturer

24                          revenue for that device. Ex. 28 (GOOG-PLAY-000443763.R) at -775.R.

25   Google expected to spend                      to secure these deals, with a stated goal to

26                                                                           Ex. 29 (GOOG-PLAY4-

27
     8
       Illustrative examples include Motorola’s 2018 MADA and Samsung’s 2017 MADA. Ex. 23
28   (GOOG-PLAY-000808375); Ex. 24 (GOOG-PLAY-004552342); see also Ex. 2 (Singer Rpt.) at
     45 ¶ 97 (discussing preinstallation and prominent displacement requirements).


                                              6
            CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
              Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 16 of 667




 1   007239946). By May 2020, Google executives declared that the RSA 3.0 program had successfully

 2   eliminated the “risk of app developer contagion” by preventing OEMs from preloading any app

 3   store other than Google Play. Ex. 30 (GOOG-PLAY-000558461.R) at -465.R, -466.R. These

 4   agreements alone substantially foreclose competition.

 5       Third, Google erected roadblocks between the software developers who write Android apps

 6   and the consumers who buy them, effectively preventing the two sides from doing business outside

 7   the Play Store. In what it previously called a “non-compete” provision in its agreements with app

 8   developers, Google’s Developer Distribution Agreements (“DDAs”)—which developers must ex-

 9   ecute to offer their apps on the Play Store—prohibit developers from steering customers to lower-

10   priced app stores or websites to download apps or buy in-app content. Ex. 31 (GOOG-PLAY-

11   000225435) (“it’s against policy to direct users to content outside of the Play Store”). They also

12   forbid developers from using the Play Store “to distribute or make available any Product that has

13   a purpose that facilitates the distribution of software applications and games for use on Android

14   devices outside of Google Play.”9 Google’s Payments Policy forbids developers from using alter-

15   native     payment   processors.   Ex.   34    (Google    Play    Payments     Policy,   https://sup-

16   port.google.com/googleplay/android-developer/answer/9858738). These contractual provisions,

17   which are not justified by any technical or security reason, restrain competition for transacting the

18   purchase of in-app content.

19       And Google imposes what is essentially a gag order on the free flow of information. In order

20   for a developer to distribute an app through the Play Store, the developer must agree not to use

21   consumer information it obtains through the sale of its apps or in-app content in the Play Store to

22   direct the consumer to purchase apps or in-app content outside the Play Store. The DDA thus

23   permanently precludes developers from using their own customers’ information to steer elsewhere.

24   Ex. 35, (GOOG-PLAY-000053875) at -876 § 4.9.

25       Fourth, Google paid top developers to prevent competitors from gaining an edge. By 2018,

26   some larger developers, fed up by Google’s supra-competitive fees, threatened to defect to Sam-

27   sung or start their own app stores. Ex. 36 (GOOG-PLAY-003332817.R) at -823.R-824.R. At the

28   9
      Google first called this a “Non-Compete” provision. Ex. 32 (GOOG-PLAY-000054021) at -022. By
     2014, Google renamed it “Alternative Stores.” Ex. 33 (GOOG-PLAY-000054039) at -041.


                                                 7
               CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 17 of 667




 1   same time, Google learned that Samsung was “actively reaching out to top game developers and

 2   asking them [to] consider distribution through Samsung Galaxy App store first or instead of via

 3   Play,” which would have allowed Samsung to compete more effectively. Ex. 37 (GOOG-PLAY-

 4   004509271) at -272; Ex. 36 (GOOG-PLAY-003332817.R) at -835.R. Fearing “contagion,” Google

 5   hatched a plan and gave it a secret internal codename: “Project Bear Hug.” Ex. 38 (GOOG-PLAY-

 6   000560173.R) at -178.R-179.R. Google estimated that defection of the small handful of developers

 7   large enough to pose a threat could cost Google         revenue /           margin impact annu-

 8   ally in three years (     revenue /      margin risk cumulative 2019-2022).” Ex. 39 (GOOG-

 9   PLAY-000000807) at -808 (bold in original). Because Google’s 30% take was

10   the Project Bear Hug payments came in the form of

11                                               In return, Google required developers to

12
13                                As a Google employee characterized it, Google was “mitigating our

14   risk of losing out to competition” from Samsung and other competitors. Ex. 43 (Koh Dep. Tr.) at

15   362:22-363:1, 364:13-365:4, 367:4-16. Project Bear Hug worked. After Google signed up the larg-

16   est developers,

17                                     Ex. 43 (Koh Dep. Tr.) at 368:4-369:4; Ex. 44, (GOOG-PLAY-

18   004146689.R) at -697.R

19          Fifth, Google has deliberately created unnecessary technical obstacles to prevent consum-

20   ers from purchasing apps and in-app content outside the Play Store. Google has purposely made it

21   difficult for consumers to download apps from rival app stores, requiring consumers to navigate a

22   cumbersome “sideloading” process. Ex. 4 (Schmidt Rpt.) at 22-23, 27-35. For example, at one

23   point, installation of Amazon Underground on an Android device required consumers to navigate

24   a complicated 19-step process. Ex. 45 (GOOG-PLAY-000297309.R) at -310.R-314.R. When a

25
     10
       Ex. 40 (GOOG-PLAY-004588725) at -726 (noting that                         ; Ex.
26   41 (GOOG-PLAY-000559379.R) at 382.R, 384.R; Ex. 39 (GOOG-PLAY-000000807); Ex. 42
27   (GOOG-PLAY-000229696).
     11
28                                                                               See Ex. 39 (GOOG-
     PLAY-000000807) at -810.


                                              8
            CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 18 of 667




 1   user attempts to change the default security setting that blocks downloads of apps outside the Play

 2   Store, including alternative app stores, Android displays misleading warnings, such as that chang-

 3   ing settings would make “your phone and personal data … more vulnerable to attack.” Ex. 4,

 4   (Schmidt Rpt.) at 28-31. Android uses onerous download warnings even for reputable companies

 5   and would-be competitors like Amazon, terming it an “unknown source” even though less burden-

 6   some mechanisms exist to validate the safety of the app. Id. at 37-41. Internally, Google refers to

 7   these extra steps and warnings as “friction,” Ex. 4 (Schmidt Rpt.) at 32-33, in recognition that the

 8   steps stop consumers from and deny competitors the ability to provide the same one-click service

 9   Google can provide.

10          Sixth, Google has repeatedly pressured competitors and would-be competitors not to com-

11   pete. Over the past several years, Google perceived Samsung’s Galaxy Store as a potential com-

12   petitor to the Play Store. Ex. 46 (GOOG-PLAY-004253884) at -907. To prevent competition from

13   Samsung, Google met with Samsung on numerous occasions and offered a variety of financial

14   incentives not to compete with the Play Store, aiming to prevent Samsung from “duplicat[ing] our

15   services on Android.” Ex. 47 (GOOG-PLAY-001449339). Google attempted to persuade Samsung

16   to essentially exit the app store business altogether. As Google put it to Samsung, it didn’t “believe

17   Samsung should be cultivating its own developer ecosystem.” Ex. 48 (GOOG-PLAY-006359924).

18   Specifically, in 2019, Google Play’s leadership offered Samsung a bespoke deal for an ongoing

19   investment of tens of millions of dollars with the stated goal of “[p]revent[ing] unnecessary com-

20   petition on store.” Ex. 49 (GOOG-PLAY4-004259430). In these discussions, Google told Sam-

21   sung that it could “solve for [Samsung’s] goals without competing commercially,” Ex. 50 (GOOG-

22   PLAY-000860818) at -823, and that they should strike a deal where, as Mr. Rosenberg put it, “the

23   teams were not out competing with each other.” Ex. 51 (GOOG-PLAY-007384816) at -818; see

24   also Ex. 52 (Rosenberg Dep. Tr.) at 117:19–118:18. Samsung, in turn, understood Google’s mes-

25   sage: “So you’re basically asking us to get out of the store business.” Ex. 51 (GOOG-PLAY-

26   007384816) at -818. Samsung is not the only significant market participant that Google has ex-

27   pressly urged not to compete with the Play Store. The architect of Google’s early Android strategy

28   wrote in 2009 that “this is why we ask our partners not to create their own app stores” even though




                                               9
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 19 of 667




 1   “[t]here are some antitrust issues” around it. Ex. 53 (GOOG-PLAY4-000810048). Google has

 2   continued to explicitly discourage other major industry players from competing with Play, includ-

 3   ing large would-be competitors such as           and           . See, e.g., Ex. 54 (GOOG-PLAY-

 4   005566485) (Google messaging document noting that

 5                                  ; Ex. 55 (Bankhead Tr.) at 410:21-416:25 (discussing

 6
 7
 8         Seventh, Google leverages its power over app distribution into the aftermarket for services in

 9   connection with the sale of in-app content. Google’s insistence that developers use its services for

10   transacting in-app purchases in perpetuity reaps Google billions of dollars annually. Google’s in-

11   volvement in those sales is technologically unnecessary, but its requirement that all but a few de-

12   velopers use Google Play Billing to transact their in-app sales of digital content has to date been

13   non-negotiable. And that requirement has allowed Google to impose itself as an unnecessary mid-

14   dleman, taking a supra-competitive toll of up to 30% for all in-app purchases in perpetuity, a fee

15   that the Google Play team admitted has “no rationale other than copying Apple” and that “

16                                                                              Ex. 56 (GOOG-PLAY-

17   000565541.R) at -552.R; Ex. 57 (GOOG-PLAY-004506631). Consumers, in turn, are stuck paying

18   the lion’s share of Google’s overcharge.

19   IV.      COMMON EVIDENCE OF CLASSWIDE ANTITRUST IMPACT
20            Plaintiffs rely on widely accepted economic models and other economic evidence common
21   to the proposed classes to evaluate the effects of Google’s conduct on consumers. Using common,
22   economic evidence and widely accepted models, Dr. Hal Singer’s analysis shows that in the ab-
23   sence of Google’s anticompetitive conduct, Plaintiffs and class members would have paid lower
24   prices and benefitted from enhancements to output, quality, and choice.
25
              A.     Common Evidence Establishes that Google’s Take Rate Is Supra-Competitive
26
              Consumer Plaintiffs will prove that Google’s 30% headline take rate is supra-competitive
27
     through Dr. Singer’s economic modeling of a “but-for world” free of Google’s anticompetitive
28
     conduct in both the Android App Distribution Market and the In-App Aftermarket. For the Android


                                               10
              CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 20 of 667




 1   App Distribution Market, Dr. Singer uses the Rochet-Tirole model, a widely cited model that en-

 2   ables economists to estimate competitive prices in a two-sided market. See Ohio v. American

 3   Express, 138 S. Ct. 2274, 2281 (2018) (citing Jean-Charles Rochet and Jean Tirole, Platform Com-

 4   petition in Two-Sided Markets, 1 J. EUR. ECON. ASSN. 990, 1013 (2003)). For the In-App After-

 5   market, Dr. Singer uses a standard single-sided economic model to determine competitive prices,

 6   because absent Google’s anticompetitive insertion of itself into the transaction, aftermarket trans-

 7   actions would involve solely the developer and consumer. Ex. 2 (Singer Rpt.) at ¶ 33. In both

 8   cases, Dr. Singer’s models generate competitive take rates that can determine classwide impact.

 9          For the Android App Distribution Market, Dr. Singer calibrates the Rochet-Tirole model

10   for the specific circumstances presented in this case and computes a competitive price in a com-

11   petitive market with at least one other comparable app store. Ex. 2 (Singer Rpt.) at ¶¶ 184-194. Dr.

12   Singer’s analysis confirms that Google’s dominance in the Android App Distribution Market en-

13   ables Google “to extract a supra-competitive take rate on all paid App downloads.” Id. at 72 ¶ 169.

14   He determines that Google’s average take rate on app sales would fall from               —which is

15   slightly below the “headline” take rate of 30% due to discounts Google gives certain developers—

16   to a “but-for take rate” of 23.4% for initial downloads of an app. Id. at 91 ¶ 205. Recognizing that

17   the take rate for some developers deviates from the headline rate, Dr. Singer determines that the

18   competitive take rates for these developers can be computed by applying the same proportion of

19   real-world discounts to the competitive anchor rate. Ex. 2 (Singer Rpt.) at ¶¶ 194, 259.

20          To supplement his modeling, Dr. Singer compares platform take rates for similar two-sided

21   digital platforms without the anticompetitive restraints Google imposes. Id. at ¶¶ 195-205 & Table

22   4. That comparative analysis shows Google’s average            take rate is significantly higher than

23   in comparable digital platforms in competitive environments, which range from 18% to 25%, con-

24   firming Google’s supra-competitive pricing across the class. Id. at ¶ 205.

25          As he does with the Android App Distribution Market, Dr. Singer uses a well-accepted

26   economic model to determine whether Google charges supra-competitive take rates in the In-App

27   Aftermarket and to quantify any resulting damages to consumers. The model, which considers

28   Google’s marginal costs, demand elasticities, and other factors, incorporates the common-sense




                                              11
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 21 of 667




 1   economic principle that as competition increases, Google’s take rate would be pushed “closer to

 2   the marginal cost of providing any services associated with In-App Content,” while allowing

 3   Google a premium above marginal cost to account for consumer brand loyalty to Google. Id. at

 4   ¶¶ 208-13. Calibrating that model for the facts of this case, Dr. Singer concludes that Google’s

 5   take rate in the competitive In-App Aftermarket would be 14.8%, considerably lower than

 6   Google’s actual average take rate of          for in-app purchases. Id. at ¶¶ 206-220 & Table 5.

 7          Again, Dr. Singer reviews common evidence on the relevant competitive landscape to con-

 8   firm his results. While payment processing alone is not the only service provided by Google in the

 9   aftermarket, it is “a key component of [those] services.” Id. at ¶ 221. Examining the take rates

10   charged in the highly competitive payment processing industry with capable participants such as

11   PayPal, Stripe, and Amazon Pay, Dr. Singer finds “materially lower” take rates ranging from ap-

12   proximately 2.9-3.95%, with varying fixed fees. Id. at 101, ¶ 221 & Table 6. This corroborates that

13   Google’s competitive take rate for in-app purchases would be significantly lower than the

14   that Google charges today. Id. at 101 ¶ 221 & Table 6. Because these potential competitors are

15   currently foreclosed by virtue of Google’s tie from competing with Google in the In-App After-

16   market for the full range of services provided by Google Play Billing, allowing entry by these and

17   other firms in the but-for world would have effects classwide. Ex. 2 (Singer Rpt.) at ¶¶ 138, 207.

18          B.      Common Economic Evidence Shows that All or Virtually All Class Members
                    Are Injured by Google’s Conduct
19
            Because the precise ways in which competition would develop in a but-for world are dif-
20
     ficult to predict due to Google’s conduct, Dr. Singer models two potential but-for worlds, each
21
     with common methods.12 First, a rival app store would force Google to compete by offering de-
22
     velopers a lower take rate. Dr. Singer models consumer impact from this outcome by calculating
23
     pass-through from developers of savings from the lower take rates. Id. § V.D. Second, a rival app
24
25
     12
         Plaintiffs are not required to predict exactly how competition would manifest itself. See, e.g., In
26   re Elec. Books Antitrust Litig., No. 11-MD-2293 (DLC), 2014 WL 1282293, at *27 (S.D.N.Y.
     Mar. 28, 2014) (it was “unsurprising” that an economic expert “did not develop an opinion about
27   ... important features of a but-for world” because, “[a]fter all, the but-for world does not exist”); J.
     Truett Payne Co., Inc. v. Chrysler Motors Corp., 451 U.S. 557, 566 (1981) (“The vagaries of the
28   marketplace usually deny us sure knowledge of what plaintiff’s situation would have been in the
     absence of the defendant’s antitrust violation.”).


                                              12
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 22 of 667




 1   store would force Google to compete by offering consumers incentives in the form of coupons or

 2   reward points. Dr. Singer separately models the impact of these increased consumer incentives. Id.

 3   § V.E. Both models lead to the conclusion that all or virtually all consumers would benefit in a

 4   world free of Google’s anticompetitive conduct.

 5          First, Dr. Singer’s models show that all or almost all class members would have benefited

 6   from lower prices resulting from reduced take rates. Ex. 2 (Singer Rpt.) at ¶¶ 223-226. Dr. Singer

 7   applies a commonly used logit demand system to model demand curves and developer pass-on of

 8   the reduced take rates discussed above for each of the thirty-five categories of apps the Google

 9   Play Store uses. Id. at V.D.3. Dr. Singer’s calculations show the pass-through rates ranging from

10   25.0% to 95.8%, depending on the application category. Id. at ¶ 239 & Table 8. As with his other

11   econometric modeling, Dr. Singer confirms his analysis by referencing real-world evidence of

12   pass-through from 33% to 105% by apps that can avoid Google’s In-App Aftermarket restrictions

13   or Apple’s similar restraints. Id. at ¶¶ 241-244.

14          Second, Dr. Singer models an alternative scenario in which Google competes for consum-

15   ers by increasing its Google Play Points loyalty program. Using the Rochet-Tirole model, he finds

16   classwide impact with an average of $0.76 in consumer savings per transaction. Id. at § V.E. In

17   this competitive but-for world, which does not depend upon developer pass-on, Google would

18   award Play Points in proportion to all purchases made by Class members, resulting in uniformly

19   lower effective prices, and therefore impact all or virtually all Class members. Id. at ¶ 256.

20          C.      Aggregate Damages Are Calculated on a Classwide Basis
21          Having determined the extent of the overcharge for both app and in-app purchases, Dr.
22   Singer applies those percentages to Google’s respective sales of apps and in-app content to calcu-
23   late aggregate damages nationwide and by state. Id. at ¶ 274, Table 11, & Appendix 6. Dr. Singer
24   calculates the aggregate damages for all consumers nationwide from Google’s overcharge in the
25   Android App Distribution Market to be $19 million for the Class Period through the end of 2020.
26   Id. In the In-App Aftermarket, where consumers spend much more, he calculates aggregate na-
27   tionwide damages to be $4.71 billion. Id. While unnecessary at this stage, Dr. Singer goes a step
28



                                              13
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 23 of 667




 1   further to show how individual damage calculations can be performed with a common formulaic

 2   method. Id. at § VII & Table 13.

 3                                               ARGUMENT

 4          A party seeking class certification must prove that the proposed class “satisfies the four

 5   requirements of Rule 23(a): (1) numerosity; (2) commonality; (3) typicality; and (4) adequacy of

 6   representation.” Senne v. Kansas City Royals Baseball Corp., 934 F.3d 918, 927 (9th Cir. 2019)

 7   (cleaned up). The “proposed class must also meet the requirements of one or more of the ‘three

 8   different types of classes’ set forth in Rule 23(b).” Id. Here, Plaintiffs propose two classes, one

 9   seeking money damages under Rule 23(b)(3), and the other seeking injunctive relief under Rule

10   23(b)(2). A (b)(3) damages class is appropriate when two additional elements are met: predomi-

11   nance and superiority. Fed. R. Civ. P. 23(b)(3). “Rule 23(b)(2), on the other hand, requires only

12   that the party opposing the class have acted or refused to act on grounds that apply generally to the

13   class.” Senne, 934 F.3d at 928 (cleaned up).

14   I.     THE REQUIREMENTS OF RULE 23(a) ARE MET IN THIS CASE
15          A.      Rule 23(a)(1)’s Numerosity Requirement Is Satisfied
16          Rule 23(a)(1) requires the class to be “so numerous that joinder of all members is imprac-
17   ticable.” Here, there are tens of millions of class members, so numerosity is easily satisfied.
18          B.      Rule 23(a)(2)’s Commonality Requirement Is Satisfied
19          Rule 23(a)(2)’s commonality requirement is met because numerous questions of law and
20   fact related to Google’s unlawful conduct and its uniform impact on the class will be the center-
21   piece of any trial in this action. Rule 23(a)(2) requires the proposed class claims to pose “questions
22   of law or fact common to the class.” In other words, the “claims must depend upon a common
23   contention,” that “must be of such a nature that it is capable of classwide resolution—which means
24   that determination of its truth or falsity will resolve an issue that is central to the validity of each
25   one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).
26          “[A] common contention need not be one that will be answered, on the merits, in favor of
27   the class. It only must be of such a nature that it is capable of classwide resolution.” Alcantar v.
28   Hobart Serv., 800 F.3d 1047, 1053 (9th Cir. 2015) (cleaned up) (emphasis added). “Where the



                                              14
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 24 of 667




 1   circumstances of each particular class member vary but retain a common core of factual or legal

 2   issues with the rest of the class, commonality exists.” B.K., by her next friend Tinsley v. Snyder,

 3   922 F.3d 957, 968 (9th Cir. 2019) (cleaned up). “For purposes of Rule 23(a)(2), even a single

 4   common question will do.” Wal-Mart, 564 U.S. at 359 (cleaned up). “Antitrust liability alone con-

 5   stitutes a common question that ‘will resolve an issue that is central to the validity’ of each class

 6   member's claim ‘in one stroke.’” In re High-Tech Employee Antitrust Litig., 985 F. Supp. 2d 1167,

 7   1180 (N.D. Cal. 2013) (quoting Wal-Mart, 564 U.S. at 350).

 8           Plaintiffs’ claims here depend upon several central, common questions of fact and law,

 9   discussed in more detail below, infra Part II.B, each of which focuses on Google’s conduct and

10   are capable of classwide resolution: (1) whether Google has monopoly power in the Android App

11   Distribution Market and the In-App Aftermarket; (2) whether Google’s contractual restrictions on

12   manufacturers, carriers, and developers are unreasonable restraints of trade; and (3) whether

13   Google’s practices impacted class members and resulted in supra-competitive prices paid by con-

14   sumers. Commonality is readily satisfied.

15           C.      Rule 23(a)(3)’s Typicality Requirement Is Satisfied
16           Rule 23(a)(3) requires the claims of a class representative to be “typical” of the claims of
17   the class. “Representative claims are ‘typical’ if they are reasonably coextensive with those of
18   absent class members; they need not be substantially identical.” Ruiz Torres v. Mercer Canyons
19   Inc., 835 F.3d 1125, 1141 (9th Cir. 2016) (cleaned up). “The test of typicality is whether other
20   members have the same or similar injury, whether the action is based on conduct which is not
21   unique to the named plaintiffs, and whether other class members have been injured by the same
22   course of conduct.” Tinsley, 922 F.3d at 970. Plaintiffs’ Sherman Act and state claims are the same
23   as other proposed class members. They are based on the same conduct by Google detailed above
24   resulting in the same measures of damages to all and the identical need for injunctive relief against
25   Google’s anticompetitive conduct. As proposed in Dr. Singer’s report, all class members will be
26   utilizing a common method of demonstrating impact, further showing that the typicality standard
27   is met in this case.
28



                                              15
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 25 of 667




 1          D.      The Rule 23(a)(4) and 23(g) Adequacy Requirements Are Satisfied

 2          The fourth Rule 23(a) requirements is that the representative plaintiffs “fairly and ade-

 3   quately protect the interests of the class.” Rule 23(a)(4). Rule 23(g)(4) also requires class counsel

 4   to “fairly and adequately represent the interests of the class.” “Resolution of two questions deter-

 5   mines legal adequacy: (1) do the named plaintiffs and their counsel have any conflicts of interest

 6   with other class members and (2) will the named plaintiffs and their counsel prosecute the action

 7   vigorously on behalf of the class?” In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 291,

 8   308 (N.D. Cal. 2010), abrogated by In re ATM Fee Antitrust Litig., 686 F.3d 741, 755 n.7 (9th Cir.

 9   2012) (cleaned up; quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998)).

10          There are no conflicts of interest between the Plaintiffs and the proposed classes. And each

11   of the proposed Class Representatives have, and will continue to, adequately represent the classes

12   by taking an active part in the action. Each has actively participated in discovery, has familiarity

13   with the nature of the action, reviewed the operative complaint before it was filed, and have made

14   Google Play app or in-app purchases on Android devices.13

15          After having been appointed Co-Lead Interim Class Counsel under Rule 23(g)(3),14 pro-

16   posed Co-Lead Class Counsel have vigorously prosecuted the class claims since the inception of

17   this action. They have engaged in nearly 22 months of extensive discovery coordination with

18   Google and the other MDL plaintiffs, including: 17 depositions of Google fact witnesses; prepar-

19   ing for the depositions of numerous critical third-party witnesses; issuing more than 60 third-party

20   subpoenas; meeting and conferring with Google and third parties on discovery issues multiple

21   times a week; and reviewing approximately three million documents produced by Google and

22   hundreds of thousands of documents produced by third parties. They have also hired experts who

23   have worked over the course of a year and a half to develop opinions, including on antitrust injury

24
     13
        See, e.g., Ex. 58 (Carr Tr.) at 20:13-21:9; 23:7-11; 24:10-25:3; 31:4-5; 32:18-34:1; 122:25-
25   123:3; Ex. 59 (Egerter Tr.) at 48:6-49:5; 52:15-53:7; 53:21-54:24; 126:5-126:16; Ex. 60 (Palmer
     Tr.) at 18:12-19:19:24; 25:3-27:4; 39:1-11; 49:17-22; 55:2-56:5; 193:16-21; Ex. 61 (Atkinson Tr.)
26   54:10-57:25; 69:1-70:21; 77:8-80:25; 97:4-99:3; 141:2-142:13; 191:6-24; Ex. 62 (Moglia Tr.) at
27   36:5-37:11; 40:19-46:11; 52:12-61:10; 82:1-83:8; 147:13-151:20; Ex. 63 (Iwamoto Tr.) 14:17-
     15:3; 37:11-38:20; 73:14-75:24; 89:4-20; 121:8-122:18; 131:13-25; 278:7-25.
28   14
        See ECF No. 128. Resumes covering their extensive experience in antitrust litigation are sub-
     mitted again herewith Ex. 64 (Giulianelli Resume); Ex. 65 (Nam and Kaplan Fox Resume).


                                              16
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 26 of 667




 1   and damages and technical issues. Giulianelli Decl. ¶ 2. Finally, Counsel coordinated extensively

 2   with the Court Appointed Consumer Steering Committee,15 and numerous State Attorneys’ Gen-

 3   eral to determine that it was in the best interests of consumers nationwide for Interim Class Counsel

 4   to enter into the Joint Prosecution Agreement, combining resources such that all parties could more

 5   effectively focus on their claims against Google.

 6          The adequacy requirement has been satisfied, and Co-Lead Interim Class Counsel should

 7   be appointed Co-Lead Class Counsel.

 8   II.    RULE 23(b)(3)’S REQUIREMENTS ARE SATISFIED IN THIS CASE
 9          A.      The Predominance Requirement Is Met
10          The predominance requirement is met in this case because the vast majority of important
11   questions will be resolved through classwide evidence. “The predominance inquiry asks whether
12   the common, aggregation-enabling, issues in the case are more prevalent or important than the
13   non-common, aggregation-defeating, individual issues.” Tyson Foods, 577 U.S. at 453 (cleaned up).
14         Predominance is not a matter of nose-counting. Rather, more important questions apt
15         to drive the resolution of the litigation are given more weight in the predominance
           analysis over individualized questions which are of considerably less significance to
16         the claims of the class.

17   In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d 539, 557 (9th Cir. 2019) (cleaned up); see also
18   Messner v. Northshore Univ. Health Sys., 669 F.3d 802, 815 (7th Cir. 2012) (“The text of Rule
19   23(b)(3) itself contemplates that such individual questions will be present.”). Courts cannot “de-
20   cline to certify a class that will require determination of some individualized questions at trial, so
21   long as such questions do not predominate over the common questions.” Olean, 31 F.4th at 668.
22          The Supreme Court has said that “[p]redominance is a test readily met in certain cases
23   alleging … violations of the antitrust laws.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625
24   (1997). This is because the focus of an antitrust trial is the defendant’s conduct. The same will be
25   true in this case. Whether Google’s conduct violated federal or state law are not questions that vary
26   from class member to class member.
27
28   15
      The Court appointed Elizabeth Pritzker as liaison counsel, and Nanci Nishimura, Peggy Wedg-
     worth, and George Zelcs as members of the steering committee. ECF No. 128.


                                              17
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 27 of 667




 1                  1.      Plaintiffs’ Sherman Act Claims Present Common Questions That Will
                            Predominate
 2
            Plaintiffs’ Sherman Act Claims depend on proof of Google’s anticompetitive conduct.
 3
     “Section 2 monopolization claims readily lend themselves to common evidence” because they
 4
     require proof of “(1) the possession of monopoly power in the relevant market and (2) the willful
 5
     acquisition or maintenance of that power as distinguished from growth or development as a con-
 6
     sequence of a superior product, business acumen, or historic accident.” In re Glumetza Antitrust
 7
     Litig., 336 F.R.D. 468, 475 (N.D. Cal. 2020) (quoting Alaska Airlines v. United Airlines, 948 F.2d
 8
     536, 541 (9th Cir. 1991)). “Courts have routinely certified classes alleging that a monopolist’s
 9
     conduct caused a direct and uniform overcharge, as overcharge cases often rely on facts common
10
     across the class such as the existence of a relevant market, the defendant’s monopoly power, and
11
     the existence of the illegal course of conduct.” 6 W. RUBENSTEIN, Newberg on Class Actions
12
     § 20:28. (5th ed.) (collecting cases). Plaintiffs’ Section 1 claims likewise turn on common ques-
13
     tions. “[U]nder Section 1, a plaintiff must demonstrate: (1) that there was a contract, combination,
14
     or conspiracy; (2) that the agreement unreasonably restrained trade under either a per se rule of
15
     illegality or a rule of reason analysis; and (3) that the restraint affected interstate commerce.”
16
     Tanaka v. Univ. of S. Cal., 252 F.3d 1059, 1062 (9th Cir. 2001) (cleaned up).
17
            The common questions identified above concerning the contours of the relevant markets,
18
     whether Google has power in those markets, and whether Google acquired and maintained power
19
     through a web of exclusionary contracts and conduct will be the overriding focus of any trial. “The
20
     violation turns on defendants’ conduct and intent along with the effect on the market, not on indi-
21
     vidual class members.” In re Glumetza, 336 F.R.D. at 475.
22
            First, the definitions of the relevant markets—and Google’s power in those markets—will
23
     be determined by common evidence. See In re Apple iPhone Antitrust Litig., No. 4:11-cv-06714-
24
     YGR, 2022 WL 1284104, at *11 (N.D. Cal. Mar. 29, 2022) (expert’s “opinion on market definition
25
     constitutes common proof that could resolve whether a relevant market exists”). Though Google
26
     does not challenge market definition for purposes of class certification, it may be disputed at trial,
27
     and resolution of that issue will turn on mountains of common evidence, as will a determination
28
     of Google’s power in that market. Both will include common economic analysis of issues such as


                                              18
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 28 of 667




 1   Google’s market share and ability to exclude competition and to raise prices above competitive

 2   levels. Supra Statement of Common Facts § II; see In re Live Concert Antitrust Litig., 247 F.R.D.

 3   98, 131 (C.D. Cal. 2007) (“the Court’s focus is the process of defining the relevant market, and

 4   this process will clearly be predominated by common questions of law and fact”).

 5          Second, and central to the issues of this litigation, Google’s pattern of unlawful conduct,

 6   including the seven major areas of conduct set out in Part III of the Statement of Common Facts

 7   above, will be the core of any trial in this action. The facts of Google’s conduct with respect to

 8   carriers, OEMs, developers, and consumers, the application of the law to those facts, and determi-

 9   nations of whether Google’s conduct violates the Sherman Act will be hotly disputed at trial but

10   are all paradigmatic common questions. Each is “of such a nature that it is capable of class wide

11   resolution—which means that determination of its truth or falsity will resolve an issue that is cen-

12   tral to the validity of each one of the claims in one stroke.” Wal-Mart, 564 U.S. at 350. Their

13   determination will be based on common evidence of Google’s conduct, evidence that will not vary

14   from class member to class member.

15          Third, the antitrust impact of Google’s conduct will be proven by common evidence. “A

16   private antitrust plaintiff must prove the existence of antitrust injury, which is to say injury of the

17   type the antitrust laws were intended to prevent and that flows from that which makes defendants’

18   acts unlawful.” Ellis v. Salt River Project Agric. Improvement & Power Dist., 24 F.4th 1262, 1273

19   (9th Cir. 2022) (cleaned up). At the class certification stage, “[w]hat really matters is whether the

20   class can point to common proof that will establish antitrust injury … on a class wide basis.” In re

21   Capacitors III, No. 17-md-02801-JD, 2018 WL 5980139, at *8 (N.D. Cal. 2018) (cleaned up).

22   Through the expert testimony of Dr. Singer described above, supra § IV.A-B, Plaintiffs will pre-

23   sent extensive statistical and econometric evidence that all or nearly all class members were in-

24   jured. Giuliano v. Sandisk Corp., No. C 10-02787 SBA, 2015 WL 10890654, at *17 (N.D. Cal.

25   May 14, 2015) (“the relevant question is whether Plaintiffs have advanced a plausible methodol-

26   ogy to demonstrate that antitrust injury and damages can be proven on a class-wide basis through

27   the use of a common methodology”). As discussed above, Google documents and testimony, along

28   with industry benchmarks, will further substantiate that Google caused antitrust injury. Consumers




                                              19
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 29 of 667




 1   “forced to pay an alleged monopolistic overcharge … have satisfied the antitrust injury require-

 2   ment.” Goldwasser v. Ameritech Corp., 222 F.3d 390, 398 (7th Cir. 2000) (cleaned up).

 3          Fourth, damages also present common questions that can be resolved classwide through

 4   economic evidence. As discussed above, Dr. Singer has calculated aggregate overcharges using

 5   well-accepted economic methodologies that are common to the entire class. Ex. 2 (Singer Rpt.) at

 6   130. He has also gone a step further and has shown how individualized damage calculations can

 7   be performed in a common, formulaic manner. Id. at 131-34, § VII & Table 13.

 8          In short, each of the major questions of fact and law that will be resolved at trial will turn

 9   on common questions, which will predominate over any individual issues.

10                  2.     Plaintiffs’ State Law Claims Present Common Questions That Will
                           Predominate
11
            Plaintiffs’ state law claims present common questions because all such claims are governed
12
     by California law and implicate the same common facts discussed above. For the entire class pe-
13
     riod, Google’s Terms of Services have provided that “California law will govern all disputes aris-
14
     ing out of or relating to these terms, service-specific additional terms, or any related services,
15
     regardless of conflict of laws rules.” See Ex. 66, Google Policies, Terms of Services (eff. Jan. 5,
16
     2022), https://policies.google.com/terms; Ex. 67, Google Policies, Google’s Archived Terms of
17
     Services, https://policies.google.com/terms/archive (links to March 31, 2020 Terms; October 25,
18
     2017 Terms; and April 14, 2014 Terms). California law thus applies to all class members.
19
            Plaintiffs’ Cartwright Act claims (Counts 7-10) and federal claims are based on the same
20
     unlawful conduct. They therefore pose the same common predominating questions of fact identi-
21
     fied above. See, e.g., Flagship Theatres of Palm Desert, LLC v. Century Theatres, Inc., 55 Cal.
22
     App. 5th 381, 399 (2020) (noting similarity of Sherman Act and Cartwright Act analysis of key
23
     antitrust issues). Plaintiffs’ California Unfair Competition Law claim (Count 11) also presents
24
     common questions, including whether Google has engaged in deceptive or unfair trade practices.
25
                    3.     Common Questions Predominate on Impact and Damages
26
            As described in Part IV.B., Dr. Singer has established a common economic framework to
27
     demonstrate that all or nearly all proposed class members are impacted by Google’s restrictions.
28



                                             20
            CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 30 of 667




 1   And as described in Part IV.C., he has also shown the aggregate damages suffered by proposed

 2   class members, as well as a methodology to calculate individual damages.

 3           Consumers expect that Google will use the report of its economist, Dr. Burtis, to argue that

 4   there is too much heterogeneity in the market to find common impact in the counterfactual but-for

 5   world. But “variations in products and complexities in a distribution chain do not preclude an

 6   estimation of whether an overcharge impacted end purchasers.” In re Disposable Contact Lens

 7   Antitrust Litig., 329 F.R.D. 336, 420 (M.D. Fla. 2018) (quoting In re TFT-LCD (Flat Panel) Anti-

 8   trust Litig., 267 F.R.D. 583, 603 (N.D. Cal. 2010), amended in part, No. M 07-1827 SI, 2011 WL

 9   3268649 (N.D. Cal. July 28, 2011)); see also In re Suboxone (Buprenorphine Hydrochloride and

10   Nalaxone) Antitrust Litig., MDL No. 2445, 13-md-2445, 2019 WL 4735520, at *31 (E.D Pa. Sep.

11   27, 2019) (noting that “district courts have ... rejected contentions ... that differences in purchasing

12   decisions defeated class certification on issues of antitrust impact” and citing cases). None of the

13   hypothetical issues Google may raise defeat predominance in this case.

14           First, Dr. Burtis claims that Google would engage in highly individualized take-rate nego-

15   tiations with developers in a competitive but-for world, complicating common impact. Ex. 7 (Bur-

16   tis Rpt.) § VI.A. But Dr. Burtis’s speculation does not track Google’s behavior in the actual

17   world—where it has kept its take rate largely uniform, with adjustments largely in the context of

18   formulaic programs or for a very select group of large developers. Ex. 3, Singer Reply Rpt. ¶¶ 8-

19   10. Nor does she explain why Google would change that approach when faced with competition

20   or how it would be feasible for Google to individually negotiate with thousands of developers. In

21   any event, Dr. Singer’s methodology allows for common calculation of reduced take rates from

22   the “headline take rate” in the but-for world. As Dr. Singer explains, “it is reasonable to assume

23   that those developers that secured discounts off the inflated rate of 30 percent would have also

24   secured the discounts off a lower, headline rate.” Ex. 3, Singer Reply Rpt. ¶ 7.

25           Consistent with this, the Ninth Circuit has held that antitrust schemes can affect “all market

26   participants, creating an inference of class-wide impact even when prices are individually negoti-

27   ated,” and it rejected “different bargaining power” among market participants as a rationale for

28   denying class certification in antitrust cases. Olean, 31 F.4th at 671, 677 (citing In re Urethane




                                              21
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 31 of 667




 1   Antitrust Litig., 768 F.3d 1245, 1254 (10th Cir. 2014); In re Fine Paper Antitrust Litig., 82 F.R.D.

 2   143, 151-52 (E.D. Pa. 1979) (granting certification despite concerns about diversity of product,

 3   marketing practices, and pricing in conspiracy cases because conspiracy is “the overriding pre-

 4   dominant question”). The Ninth Circuit further held that there are well-accepted econometric tech-

 5   niques—some of which Dr. Singer utilized in this case—for demonstrating “antitrust impact in

 6   markets with individualized differences among purchasers.” Olean, 31 F.4th at 674; see also In re

 7   Vitamins Antitrust Litig., 209 F.R.D. 251, 260 (D.D.C. 2002) (rejecting argument that a putative

 8   class of “diverse businesses, facing different competitive environments and paying widely differ-

 9   ent prices” defeats certification).

10           Second, Dr. Burtis argues that consumers who exclusively make low-dollar purchases

11   would be unharmed because of allegedly high per-transaction fees for low-dollar-value transac-

12   tions from third-party payment processors. But this, too, ignores prevailing practices involving

13   “micropayment” rates. Ex. 3 (Singer Reply) at ¶ 15. Further, in a more competitive world, eco-

14   nomics predicts that competing payment processors would eschew minimum per transaction fees

15   (as they already have) if they want to win the business of lower-priced apps. Ex 3, Singer Reply

16   Rpt. ¶ 14-16. Differences in payment processing costs for small transactions—to the extent they

17   even exist—do not require individualized analysis. See In re Mercedes-Benz Antitrust Litig., 213

18   F.R.D. 180, 187 (D. N.J. 2003) (rejecting contention that “the idiosyncrasies of each transaction

19   also preclude the possibility that common issues will predominate on the element of impact.”).

20           Third, Dr. Burtis argues that individualized inquiry is required to determine some devel-

21   opers’ marginal costs, pricing strategies, and competitive conditions, and, accordingly, the degree

22   of pass-on to consumers. Ex. 5, Burtis Rpt. §§ VI.B.1, VI.B.2, VI.B.3. But as explained in Dr.

23   Singer’s reply report, many of Dr. Burtis’s assertions rest on shaky or speculative factual founda-

24   tions, and Dr. Singer’s methodology is not compromised by any such differences. Ex. 3, Singer

25   Reply Rpt. ¶¶ 21-32. For instance, while Dr. Burtis claims that developer “focal point” pricing

26   ending in $.99 would prevent pass-on for many applications in a competitive world, she ignores

27   the evidence that (1) Google until very recently prohibited U.S. developers from charging less than

28   $.99; and (2) even in the actual world, when developers are allowed to steer, a significant number




                                              22
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 32 of 667




 1   of them do divert from this pricing. Id. ¶¶ 26-29. If developers could save money by steering to

 2   lower-cost alternatives, which Google currently forbids, they would do so. Her analysis is also

 3   contrary to economic logic in the literature on “psychological pricing.” Id. ¶ 30.16

 4             As a variation on this theme, Dr. Burtis criticizes Dr. Singer’s models’ reliance on average

 5   inputs and results for his but-for take rates. Ex. 5, Burtis Rpt. ¶ 340. Her similar arguments have

 6   been rejected in D&M Farms v. Birdsong Corp., Civil Action No. 2:19-cv-463, 2020 WL 7074140,

 7   at *1, *6, *8 (E.D. Va. Dec. 2, 2020) (granting class certification and disregarding Dr. Burtis’s

 8   accusation that plaintiffs relied upon averages attributable to the entire class instead of those ap-

 9   plicable to each proposed class member); and In re Static Random Access Memory (SRAM) Anti-

10   trust Litig., 264 F.R.D. 603, 614, 616, 617 (N.D. Cal. 2009) (granting class certification while

11   rejecting Dr. Burtis’s argument that using aggregated and averaged data in an econometric model

12   could yield “false-positive pass-through”).

13             Finally, Dr. Burtis claims that actions Google might take in a but-for competitive world,

14   such as

15                                     would differentially affect consumers, leaving some uninjured. Ex.

16   7, Burtis Rpt. §§ VI.C.4, VI.C.5, VI.D. Dr. Burtis’s parade of horribles is based entirely on spec-

17   ulation and runs counter to standard economic principles. As Dr. Singer notes, “Economic princi-

18   ples prescribe that as competition increases, firms compete more vigorously for customers on all

19   dimensions, including services.” Ex. 3, Singer Reply Rpt. ¶ 64. It is, therefore, unlikely that Google

20   would take steps                                                                 in the face of compe-

21   tition, when it hasn’t done so in the actual world. Ex. 3, Singer Reply Rpt. ¶¶ 46-49, 64-66. Not

22   only has Google declined to take these steps, in some cases

23                                             Ex. 3, Singer Reply Rpt. ¶¶ 41-44, 52 & n.97. Dr. Burtis’s

24
     16
25      Although the Court in In re Apple Iphone Antitrust Litig., 2022 WL 1284104, at *8, faulted
     plaintiffs for their expert’s failure to consider focal-point pricing in his model, there the plaintiffs’
26   expert testified that he would expect to see focal-point pricing in a but-for world, and the Court
     found that the record had “overwhelming evidence suggest[ing] that developers would choose to
27   price their apps at focal points ending in 99 cents.” Neither is true here. Plaintiffs have established
     a record demonstrating that focal-point pricing is not integral to developers’ pricing in a but-for
28   world where Google’s anticompetitive conduct no longer constrains developers’ actions, and,
     therefore, it is unnecessary to include in a pricing model. Ex. 3 (Singer Reply) ¶¶ 26-30.


                                                23
               CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 33 of 667




 1   speculation that Google might take steps in the but-for world that differentially impact the class,

 2   when it has rejected those steps in the actual world, does not defeat the predominance of common

 3   questions. In re Microcrystalline Antitrust Litig., 218 F.R.D. 79, 92-93 (E.D. Pa. 2003) (“Antitrust

 4   cases nearly always require some speculation as to what would have happened under competitive

 5   conditions … but this is not fatal to class certification.”)

 6           Any attempt by Google to inject individualized issues is unavailing. The central issues in

 7   this case—Google’s anticompetitive monopolization and its common impact on consumers—will

 8   be tried through evidence common to the class, which is why monopolization cases are readily

 9   certified. See In re Glumetza, 336 F.R.D. at 475 (N.D. Cal. 2020).

10           B.      The Superiority Requirement Is Met
11           Rule 23(b)(3) provides a non-exhaustive list of four factors “[a]s an aid for determining the
12   superiority question.” Kamm v. Calif. City Dev. Co., 509 F.2d 205, 212 (9th Cir. 1975). “Rule
13   23(b)(3)’s superiority test requires the court to determine whether maintenance of this litigation as
14   a class action is efficient and whether it is fair.” Wolin v. Jaguar Land Rover N. Am., LLC, 617
15   F.3d 1168, 1175-76 (9th Cir. 2010). As for class members’ interests in individually controlling the
16   prosecution or defense of separate actions, “where recovery on an individual basis would be
17   dwarfed by the cost of litigating on an individual basis, this factor weighs in favor of class certifi-
18   cation.” Id. at 1175. The second and third factors—litigation already begun and desirability of
19   concentrating the litigation in the particular forum—favor certification. Google antitrust litigation
20   is already “concentrated” before this Court. The first and fourth factors—class members’ interests
21   in individually controlling the prosecution and manageability—also favor certification. Litigating
22   Plaintiffs’ claims as a class action will be fair, efficient, and superior to other available methods
23   for fairly and efficiently adjudicating the controversy.
24   III.    THE REQUIREMENTS OF RULE 23(b)(2) ARE SATISFIED IN THIS CASE
25
             A class seeking injunctive or declaratory relief should be certified if “the party opposing
26
     the class has acted or refused to act on grounds that apply generally to the class, so that final
27
     injunctive relief or corresponding declaratory relief is appropriate respecting the class as a whole.”
28
     Rule 23(b)(2). “The key to the (b)(2) class is the indivisible nature of the injunctive or declaratory



                                              24
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 34 of 667




 1   remedy warranted—the notion that the conduct is such that it can be enjoined or declared unlawful

 2   only as to all of the class members or as to none of them.” Wal-Mart, 564 U.S. at 360 (cleaned up).

 3   “These requirements are unquestionably satisfied when members of a putative class seek uniform

 4   injunctive or declaratory relief from policies or practices that are generally applicable to the class

 5   as a whole.” Parsons v. Ryan, 754 F.3d 657, 688 (9th Cir. 2014).

 6          In this case, Rule 23(b)(2)’s straightforward requirement is plainly met. The evidence

 7   Plaintiffs have presented in support of their certification motion, discussed more fully above,

 8   demonstrates that Google has acted “or refused to act on grounds generally applicable to the class,

 9   thereby making appropriate final injunctive relief or corresponding declaratory relief with respect

10   to the class as a whole.” Fed. R. Civ. P. 23(b)(2).

11          Google’s conduct at issue is not specific to any consumer. Google has acted “on grounds

12   that apply generally to the class.” If that conduct violates the Sherman Act, the Cartwright Act, or

13   Unfair Competition Law then a declaration that Google’s conduct is unlawful, and an injunction

14   enjoining Google from continuing to engage in that conduct, would be “appropriate respecting the

15   class as a whole.” Parsons, 754 F.3d at 689. “Because an injunction would offer all class members

16   ‘uniform relief’ from [ongoing antitrust harms], class certification is appropriate under Rule

17   23(b)(2).” In re NCAA Student-Athlete Name & Likeness Licensing Litig., No. C 09-1967 CW,

18   2013 WL 5979327, at *7 (N.D. Cal. Nov. 8, 2013) (certifying (b)(2) class in Sherman Act case).

19                                             CONCLUSION

20          This case presents numerous, pivotal common questions of law and fact. The evidence at

21   trial will plainly focus on Google’s conduct, not issues or evidence specific to individual plaintiffs.

22   Moreover, as Dr. Singer has demonstrated, Plaintiffs will rely on economic models that generate

23   common answers to those questions. Plaintiffs have, therefore, demonstrated that the injuries they

24   and class members have sustained are classwide and warrant classwide relief. The requirements of

25   Rule 23 are satisfied in this case, and the Court should therefore certify the proposed classes.

26
27
28



                                              25
             CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 35 of 667




 1      Respectfully submitted,

 2   By: /s/ Karma M. Giulianelli                By: /s/ Hae Sung Nam
 3      BARTLIT BECK LLP                              KAPLAN FOX & KILSHEIMER LLP
        Karma M. Giulianelli (SBN 184175)             Hae Sung Nam (pro hac vice)
 4      Glen E. Summers (SBN 176402)                  Robert N. Kaplan (pro hac vice)
        Jameson R. Jones (pro hac vice)               Frederic S. Fox (pro hac vice)
 5      1801 Wewatta St., Suite 1200                  Donald R. Hall (pro hac vice)
 6      Denver, CO 80202                              Aaron L. Schwartz (pro hac vice)
        Telephone: (303) 592-3100                     850 Third Avenue
 7      Facsimile: (303) 592-3140                     New York, NY 10022
        karma.giulianelli@bartlitbeck.com             Tel.: (212) 687-1980
 8
        glen.summers@bartlitbeck.com                  Fax: (212) 687-7715
 9      jameson.jones@bartlitbeck.com                 hnam@kaplanfox.com
                                                      rkaplan@kaplanfox.com
10      BARTLIT BECK LLP                              ffox@kaplanfox.com
11      John Byars (pro hac vice)                     dhall@kaplanfox.com
        Lee Mason (pro hac vice)                      aschwartz@kaplanfox.com
12      54 W. Hubbard St., Suite 300
        Chicago, IL 60654                            KAPLAN FOX & KILSHEIMER LLP
13      Telephone: (312) 494-4400                    Laurence D. King (SBN 206423)
14      Facsimile: (312) 494-4440                    Kathleen A. Herkenhoff (SBN 168562)
        john.byars@bartlitbeck.com                   1999 Harrison Street, Suite 1560
15      lee.mason@bartlitbeck.com                    Oakland, CA 94612
                                                     Telephone: 415-772-4700
16
        KOREIN TILLERY, LLC                          Facsimile: 415-772-4707
17      George A. Zelcs (pro hac vice)               lking@kaplanfox.com
        Randall Ewing, Jr. (pro hac vice)            kherkenhoff@kaplanfox.com
18      205 North Michigan, Suite 1950
19      Chicago, IL 60601                            PRITZKER LEVINE, LLP
        Telephone: (312) 641-9750                    Elizabeth C. Pritzker (SBN 146267)
20      Facsimile: (312) 641-9751                    Bethany Caracuzzo (SBN 190687)
        gzelcs@koreintillery.com                     Caroline Corbitt (SBN 305492)
21      rewing@koreintillery.com                     1900 Powell Street, Suite 450
22                                                   Emeryville, CA 94608
        Stephen M. Tillery (pro hac vice)            Telephone: (415) 805-8532
23      Michael E. Klenov (SBN 277028)               Facsimile: (415) 366-6110
        Carol O’Keefe (pro hac vice)                 ecp@pritzkerlevine.com
24
        505 North 7th Street, Suite 3600             bc@pritzkerlevine.com
25      St. Louis, MO 63101                          ccc@pritzkerlevine.com
        Telephone: (314) 241-4844
26      Facsimile: (314) 241-3525
27      stillery@koreintillery.com
        mklenov@koreintillery.com
28      cokeefe@koreintillery.com



                                             26
            CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 36 of 667




 1   COTCHETT, PITRE & MCCARTHY, LLP            MILBERG PHILLIPS GROSSMAN LLP
     Nanci E. Nishimura (SBN 152621)            Peggy J. Wedgworth (pro hac vice)
 2   Adam J. Zapala (SBN 245748)                Robert A. Wallner (pro hac vice)
 3   Elizabeth T. Castillo (SBN 280502)         Elizabeth McKenna (pro hac vice)
     James G. Dallal (SBN 277826)               Blake Yagman (pro hac vice)
 4   San Francisco Airport Office Center        Michael Acciavatti (pro hac vice)
     840 Malcolm Road, Suite 200                One Penn Plaza, Suite 1920
 5   Burlingame, CA 94010                       New York, New York 10119
 6   Telephone: (650) 697-6000                  Telephone: 212-594-5300
     Facsimile: (650) 697-0577                  Facsimile: 212-868-1229
 7   nnishimura@cpmlegal.com                    pwedgworth@milberg.com
     azapala@cpmlegal.com                       rwallner@milberg.com
 8
     ecastillo@cpmlegal.com                     emckenna@milberg.com
 9   jdallal@cpmlegal.com                       byagman@milberg.com
                                                macciavatti@milberg.com
10
11                                              Counsel for the Proposed Class

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                         27
        CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 37 of 667




 1                                   CERTIFICATE OF SERVICE

 2          The undersigned certifies that a true and correct copy of the foregoing was served on

 3   May 26, 2022 upon all counsel of record via the Court’s electronic notification system.

 4
                                                                 /s/ Karma M. Giulianelli
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                             28
            CONSUMER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION NO. 3:20-CV-05761-JD
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 38 of 667




REDACTED VERSION

     Exhibit A2
         to
C. Cramer Declaration
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 39 of 667




                  UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF CALIFORNIA
                       SAN FRANCISCO DIVISION

IN RE GOOGLE PLAY              STORE
ANTITRUST LITIGATION                   No. 3:21-md-02981-JD
THIS DOCUMENT RELATES TO:              CLASS CERTIFICATION REPORT
                                       OF HAL J. SINGER, PH.D.
In re Google Play Consumer Antitrust
Litigation, Case No. 3:20-cv-05761-JD Judge: Hon. James Donato




HIGHLY CONFIDENTIAL UNDER PROTECTIVE ORDER
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 40 of 667

                                                                       -2-



Introduction ..................................................................................................................................... 6
Qualifications .................................................................................................................................. 7
Background ..................................................................................................................................... 7
Overview of Analysis ................................................................................................................... 11
I.         Apple’s iOS Does Not Constrain Google’s Market Power in the Android App Distribution
           Market or In-App Aftermarket.......................................................................................... 18
           A.     Google Android and Apple iOS Have Market Power in the Mobile Device
                  Operating Systems Market .................................................................................... 19
           B.     While Android Mobile Devices May Compete at the Point of Initial Device
                  Purchase, Lock-In Results in Distinct Markets for App Distribution ................... 19
           C.     Google Has Monopoly Power in the Distinct Market for Licensed Operating
                  Systems ................................................................................................................. 22
                  1.     Direct Evidence ......................................................................................... 23
                  2.     Indirect Evidence ...................................................................................... 23
II.        The Android App Distribution Market and the In-App Aftermarket Are Distinct Relevant
           Markets ............................................................................................................................. 24
III.       Google’s Anticompetitive Conduct in the Primary Android App Distribution Market ... 25
           A.    The Android App Distribution Market Is a Relevant Antitrust Market................ 26
           B.    The Relevant Geographic Android App Distribution Market Is Global (Excluding
                 China) .................................................................................................................... 31
           C.    Google’s Market Power in the Android App Distribution Market ....................... 31
                 1.      Direct Evidence ......................................................................................... 32
                 2.      Indirect Evidence ...................................................................................... 34
           D.    Google’s Exclusionary Conduct in the Android App Distribution Market .......... 38
                 1.      Google’s Revenue-Sharing Agreements Eliminated the Threat of
                         Competition from Mobile Carriers ........................................................... 39
                 2.      Google’s Exclusionary Restraints on OEMs ............................................ 44
                         a.          Google’s Mobile Application Distribution Agreements Require
                                     Distribution and Prominent Placement of The Play Store ............ 45
                         b.          Google Has Deployed Multiple Measures to Ensure That Amazon
                                     Would Not Become an Effective Play Store Competitor ............. 47
                         c.          Google Discouraged Samsung from Effectively Competing with
                                     the Play Store in the Distribution of Apps in the Android App
                                     Distribution Market and Entered into Deals with Developers to
                                     Mitigate the Risk of Competition from Samsung ......................... 48
                         d.          Google Project Hug Secured Content from Some of the Largest
                                     Developers, Preventing them from Giving Competing Stores the
                                     Exclusive Content Necessary to Help Drive Usage ...................... 50
                         e.          Google’s New Revenue Sharing Agreements With OEMs Are
                                     Designed To Further Entrench The Play Store’s Monopoly ........ 52
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 41 of 667

                                                              -3-


                3.        Google’s Exclusionary Android App Distribution Market Restraints on App
                          Developers ................................................................................................ 53
                4.        Technical Barriers ..................................................................................... 57
IV.   Google’s Anticompetitive Conduct in the In-App Aftermarket of Services in Support of
      the Purchase of In-App Content ........................................................................................ 58
      A.     The In-App Aftermarket Is a Distinct Relevant Antitrust Product Market .......... 58
      B.     The Relevant Geographic In-App Aftermarket Is Global (Excluding China) ...... 61
      C.     Google’s Market Power in the In-App Aftermarket ............................................. 61
             1.      Direct Evidence ......................................................................................... 62
             2.      Indirect Evidence ...................................................................................... 63
      D.     Google’s Anticompetitive Exclusionary Conduct in the In-App Aftermarket ..... 64
             1.      Google’s Contractual Provisions with Developers Enable Google To
                     Maintain Its Dominance in the In-App Aftermarket................................. 65
             2.      Google’s Revenue-Sharing Agreements with Developers Have
                     Substantially Eliminated the Threat of Defection to Alternatives in the In-
                     App Aftermarket ....................................................................................... 66
      E.     Google Cannot Claim That Its Supracompetitive Profits Are Constrained by the
             “Single Monopoly Profit” Theory ........................................................................ 67
V.    The Challenged Conduct Can Be Shown To Have Generated Antitrust Impact Using
      Common Methods and Evidence ...................................................................................... 72
      A.    Multi-Homing and Steering Would Put Downward Pressure on the Take Rate
            That Google Imposes on App Developers ............................................................ 72
            1.     Multi-Homing ........................................................................................... 73
            2.     Steering ..................................................................................................... 74
      B.    A Two-Sided Platform Model with Multi-Homing Shows That Google Would Be
            Compelled to Lower Its Take Rate from Developers in the Absence of Google’s
            Android App Distribution Market Restraints ....................................................... 75
            1.     The Platform Model in a Monopolized Setting ........................................ 76
                   a.      The Foundational Monopoly Platform Model .............................. 76
                   b.      Application of the Two-Sided Monopoly Platform Model to the
                           Play Store ...................................................................................... 77
            2.     The Platform Model in a Competitive Setting .......................................... 78
                   a.      The Foundational Competitive Model .......................................... 78
                   b.      Application Of The Two-Sided Competitive Platform Model to
                           The Instant Case ............................................................................ 79
            3.     Calibrating the Model and Required Inputs .............................................. 80
            4.     Competitive Take Rate Results ................................................................. 83
            5.     Analysis Of Similar Platforms Corroborates My Competitive Take Rates
                   For Initial App Downloads ....................................................................... 86
                   a.      The ONE Store.............................................................................. 86
                   b.      Aptoide.......................................................................................... 87
                   c.      Amazon ......................................................................................... 88
                   d.      PC Game Platforms....................................................................... 88
                   e.      PC App Stores ............................................................................... 89
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 42 of 667

                                                                       -4-


                               f.          Other Examples ............................................................................. 90
           C.         Removing Google’s In-App Aftermarket Restrictions Would Put Downward
                      Pressure on the Take Rate Google Imposes on Developers for In-App Content.. 92
                      1.       A Standard Economic Model of Competition in the In-App Aftermarket 93
                      2.       Analysis of Similar Platforms Corroborates My Competitive Take Rate In
                               the In-App Aftermarket........................................................................... 100
           D.         Standard Economic Principles Show That All or Almost All Developers Would
                      Pass Through to Consumers at Least a Portion of Any Savings from a Lower Take
                      Rate ..................................................................................................................... 102
                      1.       Standard Economics Shows That Prices Depend on Costs .................... 102
                      2.       Class Members Would Have Benefitted from Developers’ Substantially
                               Lower Costs through Various Economic Mechanisms ........................... 104
                      3.       Statistical Analysis Using Standard Economic Models Confirms
                               Widespread Pass-Through in a Competitive But-For World .................. 107
                      4.       Analysis of Pass-Through in Alternative Settings Corroborates Developer
                               Pass-Through .......................................................................................... 113
                               a.          Apps That Avoid In-App Aftermarket Restrictions.................... 113
                               b.          Pass-Through of Sales Taxes and Digital Service Taxes............ 115
           E.         Google Could Also Respond to Greater Competition By Increasing Its Play Points
                      Program For Consumers ..................................................................................... 116
           F.         A Rigid Pricing Structure Ensures That All Class Members Would Benefit From
                      The Removal Of The Challenged Conduct ......................................................... 123
           G.         Lower Prices Would Enhance Demand for Apps and In-App Content and Lower
                      Take Rates Would Enhance the Supply of Apps and In-App Content Leading To
                      Increased Output Relative to the Actual World .................................................. 124
           H.         In the Competitive But-For World, Google Would Still Make a Profit from the
                      Play Store ............................................................................................................ 127
           I.         In the Absence of the Challenged Conduct, Google Would Refrain from Imposing
                      a Fee on Consumers for Initial Downloads, Including on Free Apps ................. 128
VI.        Estimation of Aggregate Damages Can Be Performed with Common Methods and
           Evidence .......................................................................................................................... 130
VII.       Estimation Of Class-Member-Specific Damages Can Be Performed With Common
           Methods And Evidence ................................................................................................... 131
Conclusion .................................................................................................................................. 135
Appendix 1: Curriculum Vitae of Hal J. Singer ......................................................................... 136
Appendix 2: Materials Relied Upon ........................................................................................... 147
Appendix 3: Extension of Two-Sided Market Model................................................................. 170
      A.     Case 1: Platform Operator Maximizes Profit Only With Respect to the Take Rate
             (Buyer-Side Platform Price Is Held Fixed) ......................................................... 171
      B.     Case 2: Platform Operator Maximizes Profit Only With Respect to the Buyer-Side
             Platform Price (Take Rate Is Held Fixed)........................................................... 173
Appendix 4: Results of the Single Market Take Rate Model ..................................................... 174
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 43 of 667

                                                                    -5-


Appendix 5: Standard SSNIP Test Indicates In-App Aftermarket Purchases Is A Relevant Antitrust
      Market ............................................................................................................................. 178
Appendix 6: Damages by State ................................................................................................... 181
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 44 of 667

                                                         -6-


                                                 INTRODUCTION
        1.       Google Play (the “Play Store”), owned and operated by Google,1 is the largest
distributor of Android-compatible software applications for mobile devices (“Apps”) and the only
store that can reach virtually every Android mobile user outside of China. With some exceptions,
Google generally takes 30 percent of all revenues on the original sale and downloading of Apps
from the Play Store and the sale of digital content within Apps (“In-App Content”).2 Counsel for
Mary Carr, Daniel Egerter, Zack Palmer, Serina Moglia, Matthew Atkinson, and Alex Iwamoto,
on behalf of themselves and all others similarly situated (the “Consumer Plaintiffs” or “Class”),
have asked me to assess the competitive effects of the various restrictions Google enforces
(collectively, the “Challenged Conduct”), to extract these “take rates,”3 and, in particular, to assess
whether, as a result of the Challenged Conduct, consumers have overpaid for the initial downloads
of Apps through the Play Store and for purchases of In-App Content.

         2.      In this report, I rely on common economic evidence and methods for my
preliminary conclusions herein. Common economic evidence and methods confirm that Google
has monopoly power in the market for the sale and distribution of Apps for Android mobile devices
(the “Android App Distribution Market”) and that it has gained and maintained such power
through the imposition of exclusionary contractual provisions and artificial technological barriers
that unnecessarily impede the distribution of applications outside of the Play Store. Similarly
common economic evidence and methods show that Google has extended its power in the Android
App Distribution Market into the ancillary aftermarket for services in support of consummating
purchases of In-App Content (the “In-App Aftermarket”). I determine that Google has gained and
maintained significant market power in the In-App Aftermarket through anticompetitive,
exclusionary contractual restrictions (the “Aftermarket Restrictions”) that function as an economic
tie-in of Google’s Android App Distribution Market services to the In-App Aftermarket. In the
event that the factfinder concludes that the Android App Distribution Market and In-App
Aftermarket are not two separate markets, I present alternative models that can be applied to a
single, combined market, again using common economic evidence and methods. I further conclude
that, in the absence of Google’s anticompetitive conduct, the Consumer Plaintiffs would have paid
lower prices for both Apps and In-App Content, and would also have benefitted from
enhancements to output, quality, and consumer choice. This conclusion holds regardless of
whether there are two relevant markets or just one.



     1. Google includes Google, LLC, Google Ireland Ltd., Google Commerce Ltd., Google Asia Pacific Pte. Ltd.,
and Google Payment Corp.
     2. As shown in Tables 3 and 5, infra, Google’s average take rate across all transactions on the Play Store during
the Class Period (August 16, 2016 through December 31, 2020) exceeds 29 percent for both initial downloads and In-
App Content. The reason why the average take rate is slightly below 30 percent is that Google gives discounts from
its baseline rate under certain limited circumstances described in this report. While Google’s online policies have
changed over time, In-App Content as used in this report is consistent with what Google refers to as “in-app
purchases.” Google’s current policy states: “Play-distributed apps requiring or accepting payment for access to in-app
features or services, including any app functionality, digital content or goods (collectively “in-app purchases”), must
use Google Play’s billing system for those transactions” subject to discrete exceptions. See Play Console Help,
available at https://support.google.com/googleplay/android-developer/answer/9858738.
     3. To describe its price to developers, Google uses the terminology “revenue share,” which reflects the fact that
Google is taking a piece of the developers’ revenues, injecting itself as a “partner” in the customer-developer
relationship. Google also uses the term “revenue share” to refer to the portion of the take rate Google has shared with
mobile carriers and original equipment manufacturers. For ease of exposition, I use the term “take rate” to capture
Google’s price charged to developers.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 45 of 667

                                                           -7-


                                                  QUALIFICATIONS
       3.       I am a managing director at Econ One, an economic consulting firm, and an adjunct
professor at the McDonough School of Business at Georgetown University, where I teach
advanced pricing to MBA candidates. A copy of my CV, including a list of my expert testimony
since 2012, is attached to this report as Appendix 1.

        4.      I am an applied microeconomist with an emphasis on industrial organization and
regulation. In an academic capacity, I have published several books and book chapters spanning a
range of industries and topics, and my articles have appeared in dozens of legal and economic
journals. My competition-related articles have appeared in multiple American Bar Association
(ABA) Antitrust Section journals, and I have been a panelist at several ABA Antitrust Section
events. In a consulting capacity, the American Antitrust Institute (AAI) nominated me for antitrust
practitioner of the year in 2013 in the economist category for my work in Tennis Channel v.
Comcast, and the AAI named me as co-Honoree in the same category in 2018 for my work In Re
Lidoderm Antitrust Litigation.

        5.      I have testified as an economic expert in state and federal courts, as well as before
regulatory agencies. Federal courts have certified multiple classes in reliance on my economic
testimony on antitrust impact and damages.4 I also have testified many times before Congress on
competition policy, most recently at a February 2021 hearing titled “Reviving Competition, Part 1:
Proposals to Address Gatekeeper Power and Lower Barriers to Entry Online,” held by the House
Subcommittee on Antitrust; and at a February 2022 hearing titled “Breaking the News –
Journalism, Competition, and the Effects of Market Power on a Free Press,” held by the Senate
Subcommittee on Competition Policy, Antitrust, and Consumer Rights. Finally, I have served as
an antitrust expert to Competition Bureau Canada and to several state Attorneys General.

       6.       Econ One Research is being compensated for my work in this matter at my standard
hourly rate of $885. My compensation does not depend on the outcome of this litigation.

        7.      The materials I relied upon in forming my opinions are noted in the footnotes
throughout this report or otherwise listed in Appendix 2. I provide this report to assist in evaluating
the suitability of the case for class certification. As discovery is ongoing, I reserve the right to
supplement, expand, or amend my opinions.

                                                    BACKGROUND
        8.      Mobile devices, and smartphones in particular, have become ubiquitous in daily
life, essential providers of communication, entertainment, and information. These hand-held

     4. See Meijer, Inc. v. Abbott Laboratories, No. C 07-5985 CW, 2008 WL 4065839 (N.D. Cal. Aug. 27, 2008)
(order granting plaintiffs’ motion for class certification); Natchitoches Parish Hosp. Serv. Dist. v. Tyco Intl., Ltd., 262
F.R.D. 58 (D. Mass. 2008) (granting motion to certify class); In re Delta/AirTran Baggage Fee Antitrust Litig., 317
F.R.D. 665 (N.D. Ga. 2016) (same); Johnson v. Arizona Hosp. and Healthcare Assoc. No. CV 07-1292-PHX-SRB,
2009 WL 5031334 (D. Ariz. July 14, 2009) (granting in part motion for class certification); Southeast Missouri
Hospital and St. Francis Medical Center v. C.R. Bard, No. 1:07cv0031 TCM, 2008 WL 4372741 (E.D. Mo. Sept. 22,
2008) (granting in part and denying in part motion for class certification); and In re Lidoderm Antitrust Litig., No. 12-
md-02521, 2017 WL 679367 (N.D. Cal. Feb. 21, 2017) (order granting motions for class certifications and denying
Daubert motions); Cung Le et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship, Minute Entry, 2:15-cv-01045-
RFB-BNW (D. Nev. Dec. 10, 2020), ECF No. 781 (announcing the court’s intention to grant the plaintiffs’ motion
for class certification). As of the time of this report, the court has not issued the written opinion.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 46 of 667

                                                          -8-


portable computers can be used almost anywhere, allowing us to connect to the internet from any
location that offers the requisite cellular or wi-fi network. Whether you want to buy stock in
GameStop, check the score of the San Francisco 49ers game, or call your mother—mobile devices
do it all.

        9.     Like the mini-computers they are, mobile devices are comprised of both hardware
and software. The hardware typically consists of an LCD or OLED flat screen and some
combination of physical buttons, digital keypads, and, ever more frequently, a touchscreen
interface.5 As with computers, mobile devices are controlled by an operating system (“OS”),
software that manages the device’s hardware and software resources. But the real work—and
play—on mobile devices is performed by consumer “applications” or more commonly “apps,”
software programs designed to perform a myriad of functions. Apps are typically displayed on the
device screen through a representative image, known as an icon, and can be called by the user
through a touch, a tap, or the click of a button.

       10.     Mobile device operating systems dictate how an app must be developed to function
on the device. However, operating systems are not cross-compatible; an app designed to run on
one operating system must be substantially re-written to function on a separate, distinct operating
system.6 Prior to the launch of Android mobile devices, individual cellular carriers and original
equipment manufacturers (“OEMs”) controlled the industry, providing not only the hardware for
mobile devices, but also writing most of the software for their own devices.

        11.    Today, the only two major mobile device operating systems globally (excluding
China) are Apple’s iOS and Android.7 Apple is the exclusive hardware producer of its popular
iPhone (smartphone) and iPad (tablet) devices, which are powered by Apple’s proprietary iOS
operating system. Unlike iOS, the Android operating system is allegedly “open source,” meaning
that anyone can inspect, modify, or enhance the source code to manipulate the software. While an
open-source version of Android exists, the vast majority of OEMs manufacture Android OS
devices that meet Google’s compatibility requirements and are preloaded with a proprietary suite
of apps and interfaces that Google designed specifically for mobile devices (“Google Mobile




     5. See IGI Global, What is Mobile Devices, available at www.igi-global.com/dictionary/use-of-apps-and-
devices-for-fostering-mobile-learning-of-literacy-practices/18837 (“A mobile device is a computing device small
enough to hold and operate in the hand. Typically, any handheld computer device will have an LCD or OLED flat
screen interface, providing a touchscreen interface with digital buttons and keyboard or physical buttons along with a
physical keyboard.”).
     6. See Lionel Valdellon, What Are the Different Types of Mobile Apps? And How Do You Choose?, CLEVERTAP,
(Nov. 1, 2020), available at clevertap.com/blog/types-of-mobile-apps/(“Native apps are built specifically for a mobile
device’s operating system (OS). […] [T]he problem with native apps lies in the fact that if you start developing them,
you have to duplicate efforts for each of the different platforms. The code you create for one platform cannot be reused
on another. This drives up costs. Not to mention the effort needed to maintain and update the codebase for each
version.”). See also Jason Turnquist, How Much Does App Development Cost?, FYRESITE, (July 31, 2020), available
at www.fyresite.com/how-much-does-app-development-cost/ (Detailing how Uber might seem like one app, but is in
reality four apps: “a native iOS app for drivers, a native Android app for drivers, a native iOS app for riders, and a
native android app for riders,” where each new permission [app] created increases the price to develop it.).
     7. See, e.g., Sherisse Pham, Google now has two apps in China, but search remains off limits, CNN BUSINESS,
(May 31, 2018), available at money.cnn.com/2018/05/31/technology/google-in-china-files-app/index.html (“The
company's own app store, Google Play, remains blocked in China[.]”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 47 of 667

                                                        -9-


Services” or “GMS”).8 For purposes of this report, I refer to devices that are pre-loaded with the
GMS suite of apps as (“Google Android”); these devices make up over 70 percent of all mobile
devices in the global market.9 Collectively, Google’s Android and Apple’s iOS make up 99 percent
of mobile devices worldwide.10

       12.     The functionality and user enjoyment derived from a mobile device is highly
dependent upon the range and quality of apps available on it. In addition to producing a mobile
operating system, Google has created a distribution channel for delivery of Android-compatible
apps developed by third parties, and developed its own universe of Apps, for Google Android.
Google itself has developed some of the most popular Android- and iOS-compatible apps,
including Google Search, Google Maps, Chrome, YouTube, and Gmail.

        13.     When purchased by the consumer, mobile devices come pre-loaded with a variety
of apps pre-positioned on the device’s “home screens,” each of which is accessed by swiping your
thumb. The first screen is known as the “default home screen.” Because pre-loaded apps—whether
on the home screen or otherwise—are automatically available to all the users who purchase the
device, app developers would find it advantageous to have their apps pre-installed by the OEMs
(though, as detailed below, preinstallation is not an option for the majority of developers).11
Similarly, the placement of an app in a prominent place on a device’s home screen makes it more
likely that consumers will open and engage with the app, meaning the initial icon placement can
strongly influence an app’s overall usage and popularity.12 Pre-installation and default placement
of pre-loaded apps are significant factors in determining an app’s adoption by consumers and the
app’s ultimate success.

        14.    In addition to proprietary Apple and Google apps, independent software developers
create and code a broad universe of apps for both operating systems. However, the Android and
Apple operating systems are not compatible, meaning that software developers must create
independent versions of their apps to operate on each system. For the vast majority of developers,
expending the time and resources necessary to create an app for a particular operating system
depends upon the number of consumers using a device running that operating system. Given the
reach of Google Android and Apple iOS devices, most large developers currently create and
provide apps for both systems.



     8. Android, The best of Google, right on your devices, available at www.android.com/gms/ (“Google Mobile
Services (GMS) is a collection of Google applications and APIs that help support functionality across devices.”).
     9. Statista, Mobile operating systems’ market share worldwide from January 2012 to June 2021, available at
www.statista.com/statistics/272698/global-market-share-held-by-mobile-operating-systems-since-2009/ [hereafter
Statista Mobile OS Shares]. These data include China. For the purposes of the relevant markets here, however, I
exclude China because, by government decree, Apps downloaded there cannot be supported by the Play Store.
     10. Id. It bears noting that Android and Apple jointly dominate the marketplace for mobile operating systems in
China as well. See Statista, Market share of mobile operating systems in China from January 2013 to March 2021,
available at www.statista.com/statistics/262176/market-share-held-by-mobile-operating-systems-in-china/ (showing
Android and Apple accounting for over two thirds and one fifth of the Chinese mobile operating market, respectively).
     11. See, e.g., GOOG-PLAY-010801568 at GOOG-PLAY-010801570 (Facebook presentation noting that “we
invest in Facebook Preloads to ensure we can provide the best experience of our apps on Android to people globally
(including those without a Play account).”); GOOG-PLAY-001404176 (“Preloading remains valuable to users, and
hence OEMs, despite full unbundling because most users just use what comes on the device. People rarely change
defaults.”).
     12. See, e.g., GOOG-PLAY-006355073 (“Fortunately, we’ll always have the placement / pre-install advantage
which is 90% of the battle.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 48 of 667

                                                        -10-


         15.     At the level of mobile devices running an operating system, Google Android
devices, manufactured by OEMs such as Samsung, and Apple devices compete with one another
for users.13 However, once a consumer has elected to purchase a mobile device using either Google
Android or Apple iOS, they are effectively locked-in to that ecosystem for that device. Because
the two ecosystems are incompatible, paid apps cannot be transferred by a user from one system
to another.14 The user interfaces for an Apple iOS device and a Google Android device function
differently, requiring significant expenditures of time and effort by users to learn and master. Users
also invest money and time in identifying, buying and/or installing apps and content, including
games, music, and videos, that may have to be repurchased or reinstalled upon switching operating
systems. As a result of these factors, economic analysis and application of standard economic tests
for market definition show that the market for Android apps and for the distribution of those apps
is distinct and separate from the market for app distribution on Apple’s proprietary iOS.

        16.    Google is the pioneering creator of the Google search engine. Google’s business
strategy has focused on providing free software and digital services,15 which in turn generated
information about users, ranging from personal identifying information like email and billing
addresses, to areas of interest, to discrete preferences in products and services. Google does not
sell its raw user information,16 choosing instead to monetize this information via its vast
advertising business. Google provides advertising inventory including space on its Google Search
result pages and its YouTube video platform. It also provides tools used by both advertisers and
online publishers in the purchase and sale of digital display advertising. Google’s vast trove of
user information, gathered across its range of free software products, including the Play Store,
enhances the value of all Google advertising products.17




     13. The competition does not extend to all users. Most Android phones are at a price point below the cheapest
iPhone. And most Android users outside the U.S. could not afford an iPhone even if they wanted it. Given its wealth,
the United States is an outlier in this respect.
     14. Apple cannot guarantee even that all free apps will be ported. See Apple, Move from Android to iPhone, iPad
or iPod touch, available at support.apple.com/en-gb/HT201196 (“Here's what gets transferred: contacts, message
history, camera photos and videos, photo albums, files and folders, accessibility settings, display settings, web
bookmarks, email accounts and calendars. If they're available on both Google Play and the App Store, some of your
free apps will also be transferred. After the transfer is complete, you can download any free apps that were matched
from the App Store.”) (emphasis added). Likewise, Google’s own Pixel switching service cannot transfer paid apps
from iOS. See GOOG-PLAY-004147888 at GOOG-PLAY-004147897; Pixel Phone Help, Transfer Data from an
iPhone                    to                     a                Pixel,                 available                   at
support.google.com/pixelphone/answer/7129740#what_doesnt_copy&zippy=%2Cwhat-wont-copy-during-setup
(“What won’t copy during setup” includes “Paid apps” and “Unpaid apps not matched on the Play Store”).
     15. 2004 Founder’s IPO Letter, From the S-1 Registration Statement, available at abc.xyz/investor/founders-
letters/2004-ipo-letter/.
     16. Google Safety Center, Ads That Respect Your Privacy, available at safety.google/privacy/ads-and-data/ (“We
never sell your personal information.”).
     17. See, e.g., Megan Graham & Jennifer Elias, How Google’s $150 billion advertising business works, CNBC,
(May 18, 2021), available at www.cnbc.com/2021/05/18/how-does-google-make-money-advertising-business-
breakdown-.html. See also Competition & Markets Authority, Online platforms and digital advertising: Market study
final         report,          (July         1,         2020),         1-437,       228,          available          at
assets.publishing.service.gov.uk/media/5fa557668fa8f5788db46efc/Final_report_Digital_ALT_TEXT.pdf (“Google
has tags (including as a third-party) on over 80% of websites and over 85% of apps on the Play Store, which allows it
to form a more complete picture of users’ ad exposures, across its own properties and a substantial proportion of other
non-Google websites.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 49 of 667

                                                      -11-


        17.     In Google’s earliest years, over 99 percent of its revenues were generated by its
advertising business18 and, in 2020, Google continued to generate over 80 percent of its total
revenues from advertising.19 Google’s development of the Android operating system for mobile
devices complements its advertising business because Google collects information about users,
their devices, and their interactions with apps every time an app is installed or updated on a Google
Android device.20 In addition, as consumers started to spend more time on mobile devices as
compared to laptops and PCs, Google needed to ensure that Google’s services reached mobile
device users in order to collect user data. Accordingly, Google invested in Google Android so that
these consumers would use its proprietary GMS suite of apps and interfaces.21 Consumers’ use of
these services provided similarly valuable user data from mobile devices as that provided by
Google’s proprietary software on PCs and laptops.

                                         OVERVIEW OF ANALYSIS
        18.     Google Android has attained a share of over 99 percent of the market for licensed
mobile device operating systems.22 For OEMs that have manufactured mobile devices, Google
Android is the licensed operating system of choice. These OEMs cannot install Apple’s iOS on
their mobile devices because Apple refuses to license its operating system, preferring to
manufacture its own devices. And since apps are neither interoperable nor transferable across the
Android and iOS systems, there exist distinct markets for app distribution within each of the two
operating systems. Thus, once a consumer has selected the Google Android mobile device
ecosystem through the purchase of an initial device, the consumer is “locked-in” to the Google
Android ecosystem, and Apple does not meaningfully constrain Google’s pricing for the
distribution of Android Apps.23

        19.    To pre-install the Google Mobile Services (“GMS”) suite of Apps and interfaces
on their own devices, OEMs must enter into a licensing agreement with Google. The Play Store,
formerly known as Android Marketplace, is part of Google Mobile Services and is an “app store”
that provides consumers with a range of Apps they can download and use on their Android devices.
An app store is a two-sided platform: on one side, developers offer apps for download and
purchase, while on the other side, consumers search for and purchase apps to download to their
devices. Such two-sided platforms are characterized by what economists call “indirect network
effects,” meaning that the value of the platform to the users on one side is increased when there
are more users on the other side of the platform. Here, the value of an app store to consumers is
increased when more developers offer more apps on the platform. In turn, the value of an app store
to developers is increased when there are more consumers utilizing the store to search for and


     18. Google SEC Form 10-K, for the fiscal year ended Dec. 31, 2007, at 39, available at
www.sec.gov/Archives/edgar/data/1288776/000119312508032690/d10k.htm.
     19. Google SEC Form 10-K, for the fiscal year ended Dec. 31, 2020, at 10, available at
www.sec.gov/Archives/edgar/data/1652044/000165204421000010/goog-20201231.htm.
     20. Google Privacy & Terms, Google Privacy Policy, available at policies.google.com/privacy?hl=en-US.
     21. Android, The best of Google, right on your devices, available at www.android.com/gms/ (“Google Mobile
Services (GMS) is a collection of Google applications and APIs that help support functionality across devices.”).
     22. See Statcounter, Mobile Operating System Market Share Worldwide, (accessed Feb. 2022), available at
gs.statcounter.com/os-market-share/mobile/worldwide/#yearly-2019-2019-bar (Android and iOS shares at 69.74%
and 29.49%, respectively, as of February 2022); Statista Mobile OS Shares (Android and iOS shares at 72.84% and
26.34%, respectively, as of June 2021).
     23. Although consumers can switch to different ecosystem when purchasing a new phone, competition in that
dimension is insufficient to constrain Google from imposing anticompetitive take rates on developers.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 50 of 667

                                                         -12-


download apps. Indeed, Google’s internal documents and depositions taken to date reveal that
consumer reach—the number of consumers utilizing an app store for initial downloads and
purchases—is a critically important factor in the Play Store’s attractiveness to developers.24

        20.     In October 2008, when Google launched its Android app store, Google’s primary
goal was to ensure adoption of Google Android by the array of OEMs and cellular carriers that
previously provided their own branded devices with differentiated software and operating
systems25—and by extension, by consumers choosing Android devices over Apple and Blackberry
devices. By diverting a significant portion of the funds earned from its take rate charged to
developers as well as advertising revenues to mobile carriers (and some OEMs abroad), Google
dissuaded those carriers and OEMs abroad from establishing or pre-installing on these devices any
rival app stores that might have competed with the Play Store.

         21.     Accordingly, while Google has consistently allowed Android App developers to
keep 70 percent of the proceeds of all App sales and the sale of In-App Content, the distribution
of the remaining 30 percent has changed over time. As shown in Figure 1 below, Google originally
retained, at most, five percent of developer revenue as compensation for Play Store services,
diverting 25 percent of developer revenue to mobile carriers (in the United States) and OEMs
(mostly for devices abroad)26 as an incentive to entrench the Play Store on more mobile devices
and to discourage the initiation and success of competing app stores. Google’s witnesses have
testified that this allocation resulted in a loss for Google on a per-transaction basis,27 a loss Google
absorbed to convince mobile carriers, potential competitors, not to compete in the Android App
Distribution Market. Once the Play Store attained significant penetration and user adoption,
Google reduced the carriers’ share of the take rate and ultimately terminated its revenue-sharing
agreements with the mobile carriers.




     24. GOOG-PLAY-007317611 at GOOG-PLAY-007317614 and GOOG-PLAY-007317615 (Report of Dr.
Itamar Simonson, Feb. 8, 2016) (“[T]he demand (or expected demand) for and profitability of developing applications
for a platform are by far the most important drivers of decisions to develop applications for a platform.”). See also
Deposition of Lawrence Koh (Dec. 9, 2021) [hereafter Koh Dep.] at 321:19-323:1; 324:6-12 (the developers
and      decided not to distribute on other Android app platforms because “there was engineering work required for
us to be able to utilize those services” and because of the size of Play’s distribution platform across Android devices).
     25. See Part III.D.2, infra.
     26. Google entered revenue-sharing agreements with OEMs and carriers based on the party that owned the “client
ID” for a given phone. In the United States, the carriers control the device’s client ID in nearly all cases, and
accordingly receive revenue sharing. GOOG-PLAY-007847148 (Deposition of Jamie Rosenberg (July 14, 2020) in In
re Google Antitrust Litigation) [hereafter Rosenberg Dep.] at 126:10-129:9.
     27. Deposition of Eric Chu (Dec. 20, 2021) [hereafter Chu Dep.] at 84:10-88:7 (“As I said, I was focusing on
locking down 70 percent developers, 25 percent for carriers. I also said that I know factually at 5 percent Google
would be losing money on both the transaction and also running the store.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 51 of 667

                                                        -13-


           FIGURE 1: SPLIT BETWEEN GOOGLE AND MOBILE CARRIERS/OEMS OVER TIME




Source: GOOG-PLAY-000443763 at GOOG-PLAY-000443772.

The Android App Distribution Market
        22.     The Play Store is Google’s two-sided platform for bringing together developers and
consumers, allowing developers to sell and distribute Android-compatible Apps and consumers to
purchase Apps for use on their Android devices. In addition to providing matchmaking between
consumers and developers, other functions in the Android App Distribution Market include but
are not limited to auto-updating and storage.28 With the exception of China, where the Play Store
is blocked,29 “Apple and Google control more than 95 percent of the app store market share
through iOS and Android…The app economy was built on these two platforms[.]”30 Due in part
to the massive installed base of Android mobile devices, the Play Store accounts for more than



     28. The take rate compensates Google for all of these functions. There is no separate demand among consumers
or developers for any of these functions.
     29. VPNDada, How to Access Google Play Store in China, available at www.vpndada.com/access-google-play-
store-china/ (“If you buy an Android phone in China today, you won’t find the Google Play app store pre-installed on
that phone. Instead, depending on the brand of the phone, it will come with some other app stores, mostly likely one
offered by a Chinese company.”).
     30. David Curry, App Store Data (2022), Business of Apps, (Jan. 11, 2022), available at
www.businessofapps.com/data/app-stores/ (“Outside of China, Apple and Google control more than 95 percent of the
app store market share through iOS and Android, respectively…The app economy was built on these two platforms,
which have expanded their offerings to include apps for consumers and every type of business.”). See also Part II.C.2.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 52 of 667

                                                         -14-


three times as many downloads as the Apple App Store worldwide—despite the Play Store’s
absence from China.31

        23.    The Android App Distribution Market is a relevant product market that is distinct
not only from Apple’s iOS app distribution market, but also from the markets for web-based apps
and distribution channels for applications for PCs or gaming consoles. Given the widespread
distribution of the Play Store throughout the world, developers of Android-compatible Apps,
wherever they are located, have strong incentives to list their Apps for distribution on the Play
Store. The global reach of the Play Store and the developers who seek to distribute their Apps
through it thus makes the relevant geographic market for the Android App Distribution Market
global, excepting China, where the government prefers Chinese providers of both mobile devices
and operating systems.32

         24.    Direct and indirect evidence establishes that Google has market power in the
Android App Distribution Market. Google’s 30 percent take rate is high relative to competitive
benchmarks, yet the vast majority of apps are downloaded through the Play Store. As a two-sided
platform, the Play Store benefits from indirect network effects, which serve to entrench its market
share with developers. Given Google’s reach with consumers gained and maintained through the
restrictions, and the anticompetitive conduct that has substantially foreclosed alternative channels
for Android-compatible Apps, developers effectively must list their Apps on the Play Store and
agree to its restrictive conditions, which in turn act as substantial barriers to entry for effective
competition from rival app stores.

       25.      Google has provided inducements, imposed a variety of restrictions, and erected
various technological barriers to substantially foreclose rival app stores and the direct downloading
of Apps. It has done so to achieve and maintain its market power in the Android App Distribution
Market. More specifically, Google has engaged in the following conduct in the Android App
Distribution Market:

                  a. Financial Inducements: Google achieved its power in the Android App
                     Distribution Market by making payments that incentivized carriers (and OEMs)
                     to distribute Google Android mobile devices and dissuaded (and in some cases
                     prevented) them from developing, promoting, or offering alternative app stores,
                     including their own stores. Google was willing to operate the Play Store at a
                     loss to achieve these purposes but, once power was achieved, Google
                     dramatically reduced or eliminated these payments.
                  b. Bundling of Apps and APIs: Google requires OEMs to pre-install and
                     prominently place the Play Store on all Google Android devices as a contractual


    31. See, e.g., Sensor Tower, 2021 – 2025 Mobile Market Forecast, (2021) at 7, available at
go.sensortower.com/rs/351-RWH-315/images/Sensor-Tower-2021-2025-Market-Forecast.pdf (showing 109 billion
Play Store app downloads worldwide in 2020, compared with 34 billion app downloads in the Apple App Store).
Industry data show that the Play Store also accounts for approximately 90 percent of non-Apple, non-China mobile
device app expenditures worldwide See Part II.C.2 for derivation.
    32. GOOG-PLAY-004253884 at GOOG-PLAY-004253894 (“Samsung Leads in All Retail Driven Markets
except China”) (chart shows Apple and Samsung shares in different countries, with China being dominated (60
percent) with local OEMs). It bears noting that all references to “global” markets or the use of the terms “globally” or
“world” in this report assume that China is excluded.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 53 of 667

                                                 -15-


                   condition of licensing GMS, which includes Google’s most popular Apps,
                   including Google Maps, YouTube, Chrome, Google Search, and Gmail. OEMs
                   must also install this bundle of apps to gain access to crucial programming
                   interfaces necessary for many common android apps to properly function. The
                   Play Store’s prominent position inhibits competition from competing app
                   stores.
               c. Anti-steering Restrictions: Google’s agreements with App developers prohibit
                  developers from steering users within the App to other app stores, platforms, or
                  websites to purchase or download Apps.
               d. Tie of YouTube, Google Search and Play Store Advertising to the Play Store:
                  App developers’ access to valuable advertising opportunities on YouTube and
                  Google Search is conditioned on the sale and distribution of developers’ Apps
                  through the Play Store.
               e. Technical Barriers: Google imposes default settings and warnings that make it
                  unnecessarily difficult for users to download rival app stores and Apps from
                  rival app stores or from developer websites, and Google limits auto-updating
                  functionality to the Play Store and certain pre-installed Apps.
        26.     These restraints inhibit the development of alternative competing app stores and the
use of direct downloads from developers’ websites to install apps on Google Android devices.
Multi-homing, the use of alternative app stores on the same device, would occur more extensively
in the absence of Google’s restraints. In a competitive world, steering via altering the relative price
of initial downloads of Apps would allow developers to direct consumers to lower-priced
alternatives, including direct downloads from their own websites or competing app stores that
charge lower take rates. With a combination of multi-homing and steering, developers could
charge a relatively lower price for Apps to consumers who download Apps from a lower-cost app
platform or website. This would in turn exert competitive pressure on Google to lower its own take
rate.

The Aftermarket for Services in Support of Consummating Purchases of In-App Content
        27.     Following the download and installation of an App, developers may continue to
offer digital content to the consumer related to the App. The matchmaking services offered in
Android App Distribution Market are distinct from those services offered in support of
consummating purchases of In-App Content. Unlike the two-sided nature of the Android App
Distribution Market, the In-App Aftermarket is one-sided: It is a simple transaction between a
buyer (the developer) and a seller of services, including payment processing, record keeping, and
unlocking of content, needed to consummate a purchase of In-App Content. In economic parlance,
indirect network effects are not present in the In-App Aftermarket. From the developer’s
perspective, certain functions are needed for a consumer to be able to purchase In-App Content,
including billing (also present in the Android App Distribution Market) and unlocking the In-App
Content on the user’s phone (not present in the Android App Distribution Market). The developer’s
demand for these services in the In-App Aftermarket is derived from the demand by the consumer
for the In-App Content itself. While the App developer delivers the In-App Content, because of
Google’s requirements, an App developer cannot complete the transaction without using Google’s
services, mainly Google Play Billing. By forcing developers to complete transactions through
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 54 of 667

                                                          -16-


Google’s payment and unlocking system, Google Play Billing, Google has effectively tied the In-
App Aftermarket to the Android App Distribution Market and forced developers who distribute an
App to a consumer through Google to forever use Google as a middleman for the consumers’
purchase of In-App Content by virtue of its Google Play Billing requirements.33 Absent this tie-in,
developers could either provide or engage third parties to provide the services in the In-App
Aftermarket, now provided by Google.

        28.     Once an App is purchased and downloaded from the Play Store, the Play Store need
not play any role in the In-App Aftermarket. Through the Android App Distribution Market, the
platform has brought the developer and the consumer together and facilitated the download and
installation of the App on the device. I understand that Plaintiffs’ technical expert, Professor
Douglas Schmidt, has found that, although Google inserts itself into the In-App Aftermarket by
requiring that developers use Google Play Billing, there is no technical justification for requiring
developers to use Google Play Billing. Similarly, while Google requires that every App
downloaded through the Play Store utilize the services that Google has included in its Google Play
Billing product for the sale of In-App Content, there are numerous alternatives that can provide
similar features at a lower cost to developers, and ultimately consumers.

        29.     Google maintains market power in the In-App Aftermarket by requiring developers
to use Google Play Billing to support the purchase of all In-App Content. Google utilizes Google
Play Billing to impose a take rate generally of 30 percent—the same take rate it commands in the
Android App Distribution Market—on all purchases of In-App Content, forever. The In-App
Aftermarket is a distinct relevant market, and in the but-for world, developers could select many
potential competitors to support the purchase of In-App Content. This is evidenced by Google’s
prohibition on developer steering of consumers to outside channels, the ability of more powerful
developers to bypass Google Play Billing, and Google’s efforts to incentivize these developers to
transact through Google Play Billing. The geographic In-App Aftermarket is global, except for
China, as third party In-App Aftermarket service providers could provide cross-border global
services.

       30.     Direct and indirect evidence establish Google’s market power in the In-App
Aftermarket. Google’s standard 30 percent take rate is high compared to rates charged by potential
competitors, yet 97 percent of all developers offering In-App Content utilize Google Play Billing
by virtue of Google’s restraint.34 Moreover, Google routinely discriminates in price among
developers, not requiring those selling in-app physical goods to utilize Google Play Billing, and,
more recently, reducing its take rate on subscription sales or sales by smaller developers, reflecting


     33. Once a payment is consummated, the In-App Content is either unlocked within the App itself or accessed
and downloaded by the App from an independent server. In addition to payment processing, other services currently
performed by Google in the In-App Aftermarket (by virtue of its exclusionary restrictions) include record keeping,
server hosting, and security.
     34. Record evidence indicates Google recognized early on that its 30 percent take rate was difficult to justify.
See, e.g., GOOG-PLAY-004338990 (Internal December 2009 e-mail seeking “[e]xact articulation of under what
circumstances transactions *we* [Google] now solely take 30%... I don't have any idea how much money we think
this will make for us, but it will cost us a lot of good will. Further, if Android is here to increase phone usage and thus
web usage and thus drive ad revenue, we need to give developers every penny we reasonably can…With Passion we
are apparently keeping 30% on all transactions, I can't imagine transaction processing costs us that much. Why don't
we take this opportunity to let developers keep more revenue? I don't know why this change has been made and there
is deafening silence from those who know. The only reasoning I can come up with makes no sense, which is even
worse than reasoning I disagree with.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 55 of 667

                                                         -17-


the fact that Google faces a downward-sloping demand curve among developers, a hallmark of
market power.35

        31.     Google has maintained its market power in the In-App Aftermarket by imposing a
variety of restrictions and offering targeted financial incentives. More specifically, Google has
engaged in the following conduct in the In-App Aftermarket:

                  a. Linking Play Store Access: A developer can offer its App for sale or distribution
                     through the Play Store—a monopolist in the Android App Distribution
                     Market—only if the developer agrees to exclusively use Google’s in-app
                     system, Google Play Billing, for all subsequent sales of In-App Content.
                  b. Anti-Steering Restrictions: Google contractually prohibits developers from
                     steering customers within the App to alternative distribution and payment
                     processing outlets for purchasing In-App Content outside the Play Store and
                     prohibits them from even using any customer information the developer learned
                     through the Play Store.
                  c. Targeted Incentives: Google provides large monetary incentives and
                     advertising packages to ensure compliance by those developers that have the
                     resources to create alternative app stores or billing systems.
         32.     For ease of exposition, I refer to this collection of restraints as the “Aftermarket
Restrictions,” and I refer to the first restriction (a) in particular as the “Aftermarket Tie-in” or “Tie-
in.”36 In the absence of the Aftermarket Restrictions, competition in the In-App Aftermarket would
be robust. Developers would be able to select their own suppliers, or they would offer consumers
the option of selecting a payment processing system, as well as other features (e.g., record keeping,
server hosting, and security) provided in the In-App Aftermarket, from an array of competitive
options and could steer consumers towards lower-priced alternatives.

The Impact of Google’s Anticompetitive Conduct on the Class of Consumer Plaintiffs
         33.     Google’s anticompetitive restrictions in the Android App Distribution Market and
in the In-App Aftermarket have impaired competition in both markets. These anticompetitive
restrictions have damaged the Consumer Plaintiffs by raising the prices of paid Apps and In-App
Content for all or nearly all members of the class of Consumer Plaintiffs (the “Class”). Absent
Google’s restrictions and anticompetitive conduct, competition in the distribution of applications
would materialize, and developers would likewise have a choice of how to transact their In-App
Content with their own users. The benefits to consumers resulting from competition could take
different forms. I use a two-sided platform model with multi-homing to show that, in the absence
of restraints in the Android App Distribution Market, Google would be compelled to lower its take
rate from developers. I show that a portion of the savings to developers from a take rate reduction



     35. Firms that lack market power, by contrast, face a horizontal demand curve, which means they cannot restrict
output by raising prices.
     36. Although the last item c can also be understood as an incentive, when employed by a firm with monopoly
power, a loyalty rebate or bundled loyalty discount can foreclose rivals and thereby serve as a restraint on trade. See,
e.g., Patrick Greenlee, David Reitman, and David S. Sibley, An antitrust analysis of bundled loyalty discounts, 26
INTERNATIONAL JOURNAL OF INDUSTRIAL ORGANIZATION 1132-1152, 1132, 1135, 1137-38 (2007).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 56 of 667

                                                         -18-


would be reflected in lower consumer prices. Next, I show that Google would have responded to
greater distribution competition by increasing consumer subsidies through, for example, its Play
Points Program.37 Consumers would obtain the benefits of these subsidies directly from Google.
Finally, I use a single-sided model to show that, in the absence of its Aftermarket Restrictions,
Google would be compelled to respond to competition by dropping its take rate in the In-App
Aftermarket, which would result in lower prices to consumers.

        34.   Using data, economic methods, and evidence common to all Class members, I
demonstrate how aggregate damages and antitrust injury attributable to Google’s anticompetitive
conduct can be assessed through a reduced take rate or increased consumer Play Points subsidies.
I also demonstrate how common methods and evidence can be used to measure specific Class-
member damages, based on the 35 categories of Apps that Google uses to track user purchase
activity.

        35.     The remainder of the report is organized as follows. In Part I, I explain why Apple’s
iOS does not constrain Google’s market power in the Android App Distribution Market or the
Android In-App Aftermarket. In Part II, I explain why these two markets are distinct relevant
antitrust product markets. In Part III, I examine Google’s anticompetitive conduct in the Android
App Distribution Market, defining the contours of the relevant market, establishing Google’s
market power in that market, describing the restraints imposed by Google, and describing how
multi-homing and steering would combine to lower Google’s take rate in the Android App
Distribution Market. In Part IV, I perform the same analysis for the In-App Aftermarket and
additionally explain why the Single Monopoly Profit theory does not apply, and therefore Google
is obtaining additional profits from leveraging its power into the In-App Aftermarket that it could
not have obtained from the Android App Distribution Market alone. In Part V, I analyze and assess
the impact of Google’s anticompetitive conduct in the relevant markets. In Parts VI and VII, I
estimate damages in the aggregate and at the individual level, respectively. The analysis in all these
parts relies on methods and evidence common to members of the proposed class.

  I. APPLE’S IOS DOES NOT CONSTRAIN GOOGLE’S MARKET POWER IN THE ANDROID APP
                    DISTRIBUTION MARKET OR IN-APP AFTERMARKET
       36.     Mobile device OEMs must either develop their own operating system or license an
operating system from a third party. Apple is the only significant device manufacturer to develop
and maintain its own operating system, iOS, which works exclusively on Apple devices. For all
other OEMs, Google is the dominant provider of licensed mobile device operating systems. Google
Android OS makes up nearly all licensed mobile operating systems, 73 percent of mobile operating
systems worldwide (even including China),38 and 40 percent of mobile operating systems in the
United States.39




     37. As explained below, Play Points is a customer loyalty program implemented by Google, similar to those
frequently offered by credit card issuers and airlines. I use the term “Play Points” throughout this report as shorthand
for promotions funded by Google that decrease the net price that consumers pay for Apps and In-App Content.
     38. Statista Mobile OS Shares, supra. Statista does not break out China separately. Android and iOS collectively
account for 99 percent share as of June 2021. Id.
     39. Statcounter, Mobile Operating System Market Share United States of America, (accessed Feb. 4, 2022),
available at gs.statcounter.com/os-market-share/mobile/united-states-of-america.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 57 of 667

                                                          -19-


A.       Google Android and Apple iOS Have Market Power in the Mobile Device Operating
         Systems Market

        37.     At present, there is a virtual duopoly in the market for mobile device operating
systems with the market split between mobile devices running on Apple’s iOS and Google
Android.40 The combined share of Android and iOS mobile devices is estimated to exceed 99
percent.41 There are several minor mobile operating systems, but collectively they account for less
than one percent of the worldwide market. While Android accounts for over 70 percent of the
worldwide market, mobile devices running iOS command nearly 60 percent of sales in the United
States.42 Industry analysts attribute the difference in market penetration to the higher cost of the
iPhone, which is beyond the means of many non-U.S. residents.43

        38.     Even firms with desktop operating systems such as Microsoft have failed to make
significant inroads into mobile device operating systems. In January 2019, Microsoft announced
that it would end support for its Windows 10 mobile operating system.44 Microsoft’s failure is
consistent with significant barriers to entry in mobile operating systems markets.

B.       While Android Mobile Devices May Compete at the Point of Initial Device Purchase,
         Lock-In Results in Distinct Markets for App Distribution

         39.     Google Android mobile devices and Apple compete for users with respect to the
initial choice of a device and associated ecosystem. But once a user selects either a Google Android
or iOS device, that user is largely locked in. Because apps are neither interoperable nor
transferable, a user switching from an iOS device to a Google Android device or vice versa cannot
simply bring all apps to the new phone. The user must re-download and install apps, and may need
to find substitutes for apps not available on the new OS. Users may need to repurchase paid apps
and any in-app content, and they may end up losing their app-related data if unable to transfer.45
Transferable app data and customization settings must be transferred to the new device, a process




     40. Statista Mobile OS Shares, supra. For purposes of this class certification report, I include tablets in the market
for mobile device operating systems, as OEMs (the buyer of mobile operating systems) selling both tablets and
smartphones prefer that the operating system work seamlessly across mobile device types. See, e.g., Vangie Beal,
What Are Examples of Mobile Operating Systems?, Webopedia (Jan. 27, 2022), available at
www.webopedia.com/insights/mobile-os-and-different-types/. The OEM’s demand for compatibility in operating
systems across the device types is derived from the demand from consumers, who share the same preferences. See
Part I.B, supra, discussing customer lock-in for operating systems. When performing econometrics and estimating
damages, I also include App transactions on tablets in Google’s transactional database. In any event, my opinions
regarding Google’s market power or common impact flowing from the Challenged Conduct do not turn on whether
tablets are included or excluded.
     41. Statista Mobile OS Shares, supra. This estimate includes China.
     42. See Jack Wallen, Why is Android more popular globally, while iOS rules the US?, TECH REPUBLIC, (May 12,
2021), available at www.techrepublic.com/article/why-is-android-more-popular-globally-while-ios-rules-the-us/.
     43. Id.
     44. See Rob Enderle, How Microsoft failed with Windows 10 Mobile, COMPUTERWORLD, (Jan. 24, 2019),
available at www.computerworld.com/article/3336057/how-microsoft-failed-with-windows-10-mobile.html.
     45. Nabila Amarsy, Switching Costs: 6 Ways to Lock Customers Into Your Ecosystem, STRATEGYZER, (July 27,
2015), available at www.strategyzer.com/blog/posts/2015/7/27/switching-costs-6-strategies-to-lock-customers-in-
your-ecosystem (“The ‘Data trap’… encourages customers to create or purchase content or apps that are exclusively
hosted on a platform.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 58 of 667

                                                       -20-


that entails additional time and effort.46 Likewise, subscriptions might need to be cancelled and re-
subscribed when switching platforms.47

       40.      Google’s internal documents provide evidence of consumer switching costs. A
2017 presentation titled “Switching to Pixel” describes the “switching user journey.”48 User
concerns are captured under the general heading “Fear of the Unknown,” which posits questions
users may ask before switching from an iPhone to an Android device (including but not limited to
Google Pixel), including, “Will it do everything my current phone does?” “Will I be able to access
all my data?” “Will I know how to use it?” “What will it say about me?”49 The presentation
reviews the multi-step “end-to-end switching experience.”50 Other Google documents identify
“losing data,” “learning a new OS, “apps/feature incompatibility” and “phone spec inequality” as
the “biggest concerns” users have associated with switching.51 Google’s analysis from 2017
concluded that “switching is not as easy as we think.”52

        41.     Once someone is accustomed to using a brand, there can be identity and loyalty
factors inhibiting changing to another,53 raising the costs of switching. These various switching
costs—reinstallation and substitution, transferring data, re-subscribing, and brand loyalty—are
also all paired with the tedious process of learning the new operating system.54 The Play Store
allows Google to reach users who then download Android Apps, which creates brand loyalty to
Android. Indeed, Google recognizes that the Play Store “is creating brand loyalty and ‘stickiness’
to Android and the Google ecosystem thus becoming a critical channel to our end users.”55

       42.     Users also benefit from the complementarity of multiple devices; switching
ecosystems often requires relinquishing those benefits. For instance, a user might use her
smartphone when traveling during the day and switch to using a tablet later at night. This user
would likely gain value from the ability to sync files, settings, user information, and other features
among these multiple devices.56 Yet many apps do not allow for this synchronization across


     46. Id.
     47. Economists recognize that firms in ancillary markets or aftermarkets may wield power even when the forward
market is competitively supplied. For a review of the literature, see Hal Singer & Andrew Card, Lessons from
Kahneman’s Thinking Fast and Slow: Does Behavioral Economics Have a Role in Antitrust Analysis?, ANTITRUST
SOURCE (2012), available at www.semanticscholar.org/paper/Lessons-from-Kahneman-%E2%80%99-s-Thinking-
%2C-Fast-and-Slow-Kahneman/8abf422dc2aca5adf6fe6c20e9064863f64819dd?p2df. As noted in Part I.A, Apple
does not constrain Google in the forward market for licensed mobile operating systems, and thus the forward market
is hardly competitively supplied.
     48. GOOG-PLAY-007317466 at GOOG-PLAY-007317467. Pixel is a Google smartphone.
     49. Id. at GOOG-PLAY-007317473.
     50. Id. at GOOG-PLAY-007317479.
     51. GOOG-PLAY-000880576.R at GOOG-PLAY-000880580.R.
     52. Id. at GOOG-PLAY-000880584.R. Google’s analysis concerned users switching from iOS to Google’s Pixel
phone. It further concluded that switching “feels a lot like learning a foreign language.” Id. at GOOG-PLAY-
000880589.R.
     53. See Thomas A. Burnham, Judy K. Frels, and Vijay Mahajan, Consumer Switching Costs: A Typology,
Antecedents, and Consequences, 31(2) JOURNAL OF THE ACADEMY OF MARKETING SCIENCE 109-126 (2003).
     54. Older users have spent more time with Android devices, and the switching costs appear to accumulate with
time invested in the Android device. See, e.g., GOOG-PLAY-002416488 (Spotify data showing users under 24 years
old switch to iOS more frequently than older users).
     55. GOOG-PLAY-004237669.R at GOOG-PLAY-004237673.R.
     56. Different operating systems offer different features for synchronizing devices. For instance, Microsoft
Windows offers a “Your Phone” app which can tie together an android operated phone and computer. Similarly, Apple
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 59 of 667

                                                        -21-


different operating systems. Accordingly, effective transfer to the Google Android or Apple
ecosystem may entail switching multiple devices.

        43.     This complementarity also takes place within groups of people. For instance, a
family of four that is contemplating purchasing multiple devices would value the ability to
integrate their apps and files—perhaps through parental controls on apps and screen time, location
tracking abilities, and through family plans allowing the sharing of purchases and subscriptions.57
To achieve this compatibility, the family would likely need to all use the same operating system,
leading them to become “locked in” to that ecosystem.58 This type of lock-in can also lead to brand
loyalty.59 That consumer lock-in occurs with the initial decision with respect to handsets (and the
associated mobile operating system) is consistent with lock-in in other contexts and is widely noted
in the economics literature.60

        44.    Consumer lock-in is precisely what happens for users who choose a Google
Android phone (many of whom outside of the United States cannot afford an iPhone). The average
holding period for an Android phone is typically two years, or longer than the time required to test
for a “sustained” price increase by a hypothetical monopolist under the test for market definition
set forth by the United States Department of Justice and Federal Trade Commission in their
Horizontal Merger Guidelines. Moreover, Android users display a high degree of brand loyalty,
at around 89 to 91 percent over the year 2017,61 which means that even on their next phone
purchase, they are unlikely to purchase an Apple iPhone, especially given its much higher price—
on average 2.7 times the cost of the typical Android phone.62 Internal Google figures corroborate
this brand loyalty, finding in 2016 that Android had 86 percent brand loyalty and a 21-month



offers a “Continuity” app with similar features for Apple products. See David Nield, Make your phone and computer
team up to get more done, POPULAR SCIENCE, (Oct. 20, 2018), available at www.popsci.com/phone-computer-work-
together/.
     57. For example, Apple’s “Family Sharing” allows families to share services such as Apple Music, Apple TV+,
App Store purchases, iCloud storage, and photo albums. It also allows parents to approve what their children purchase,
limit their time on devices, and see their location. See Apple, What is Family Sharing?, available at
support.apple.com/en-us/HT201060. See also giffgaff, How to set up family sharing on iPhone and Android, (July
26, 2019), available at www.giffgaff.com/blog/how-to-set-up-family-sharing-on-iphone-amp-android/ (describing
the process of setting up the Google Play Family Library service).
     58. Travers Korch, How tech ecosystems lock you into costs, BANKRATE, (Sep. 30, 2014), available at
web.archive.org/web/20210602055404/https:/www.bankrate.com/finance/smart-spending/tech-ecosystems-cost-
you-1.aspx%20.
     59. Paul Klemperer, Markets with Consumer Switching Costs, 102(2) QUARTERLY JOURNAL OF ECONOMICS 375-
394, 376 (1987) (“In all these markets [with switching costs] rational consumers display brand loyalty when faced
with a choice between functionally identical products. Products that are ex ante homogeneous become, after the
purchase of one of them, ex post heterogeneous”).
     60. See, e.g., Joseph Farrell & Paul Klemperer, Coordination and Lock-In: Competition with Switching Costs
and Network Effects 3 HANDBOOK OF INDUSTRIAL ORGANIZATION 1970-2056, 1970 (2007) (“Lock-in hinders
customers from changing suppliers in response to (predictable or unpredictable) changes in efficiency, and gives
vendors lucrative ex post market power – over the same buyer in the case of switching costs (or brand loyalty), or over
others with network effects.”) (emphasis added).
     61. Lucas Mearian, iOS vs. Android: When it comes to brand loyalty, Android wins, COMPUTERWORLD, (Mar. 9,
2018), available at www.computerworld.com/article/3262051/ios-vs-android-when-it-comes-to-brand-loyalty-
android-wins.html.
     62. Amit Chowdhry, Average iPhone Price Increases To $687 and Android Decreases To $254, Says Report,
FORBES, (Feb. 3, 2015), available at www.forbes.com/sites/amitchowdhry/2015/02/03/average-iphone-price-
increases-to-687-and-android-decreases-to-254-says-report/?sh=d9bcd17539e4.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 60 of 667

                                                         -22-


purchase cycle.63 Google marketing analytics in 2018 and 2019 found that       percent of Android
owners purchasing a new device within the previous twelve months purchased another Android
device.64 Because lock-in increases with each successive year on an Android phone, the share of
Android users willing to even consider switching to an iPhone is falling over time.65

        45.      Because apps are operating-system specific, Apple users cannot obtain apps from
the Play Store, and Android users cannot download apps from the Apple App Store. Accordingly,
while Google and Apple undoubtedly compete for users in the adoption of devices powered by
their respective operating systems, once a user has elected the Android ecosystem, Apple’s App
Store cannot provide that user with apps and cannot compete with Google in the distribution of
apps.66 Further, the presence of switching costs and the lack of information that consumers receive
at the point of device purchase67 allows Google to extract supracompetitive profits from developers
and consumers alike, as iOS does not serve as a significant constraint on Google’s exercise of its
monopoly power in the Android App Distribution Market.

C.       Google Has Monopoly Power in the Distinct Market for Licensed Operating Systems

        46.     Apple does not license its iOS to any other OEM. Thus, from an OEM’s vantage,
iOS is not a substitute for licensed mobile operating systems. In terms of the test for market
definition in the Horizontal Merger Guidelines, a small, but significant, non-transitory increase in
price (a “SSNIP”) by a hypothetical monopolist of licensed operating systems could not induce
any OEM to install iOS instead, as Apple will not grant such a license. Moreover, the costs and
complexities of developing an operating system are so high that a SSNIP by a hypothetical
monopolist of licensed operating systems would not plausibly induce an OEM to create its own
system or a rival mobile OS developer to enter. Google dominates the market for licensed mobile
operating systems through its Android OS, with nearly a 100 percent share of this market. Herbert
Hovenkamp, the co-author of a leading antitrust treatise, recently observed, “[D]igital markets are


     63. GOOG-PLAY-000572041.R at GOOG-PLAY-000572048.R.
     64. GOOG-PLAY-004556784 at GOOG-PLAY-004556793 (Q3 2018 marketing analytics); GOOG-PLAY-
005705974 at GOOG-PLAY-005705985 (Q4 2019 marketing analytics).
     65. See, e.g., Abhin Mahipal, Survey: 18% of Android users would consider switching to iPhone 13, but this is
down 15% from last year, SELLCELL, (Aug. 31, 2021), available at www.sellcell.com/blog/survey-18-percent-of-
android-users-would-consider-switching-to-iphone-13/. It bears noting that the mere consideration of switching does
not imply an actual switch, as consideration does not entail any switching costs. In other words, although the survey
states only 18 percent of Android users would consider switching, not all of those respondents would in actuality
switch.
     66. The court in Epic v. Apple found that the relevant market for Epic’s gaming-centric complaint was the
“mobile gaming market,” which included iOS and Android mobile devices. There the court followed the factors from
Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1049-50 (9th Cir. 2008), which are divorced from economic
teachings, to reject a single-product aftermarket. In particular, there is no economic requirement that consumers be
duped in order to be locked into the Android operating system and then beholden to a provider in the Android App
Distribution Market. Lock-in is not an information problem. Movie patrons who pay supra-competitive prices for
popcorn, or hotel guests who pay supra-competitive prices for movie rentals are not duped; they simply do not wish
to incur the costs of leaving the movie theater (or hotel) to find a cheaper substitute for the ancillary product. In any
event, Play Store users have no understanding of the mapping from restraints into developer take rates into prices; to
the extent Newcal (improperly) requires an information problem for the existence of an aftermarket, it is here in spades.
     67. For instance, consumers are not told that developers are generally charged 30 percent for every paid app or
in-app purchase, nor are they told of Google’s restrictions on OEMs, carriers, and developers that result in foreclosure
of competitive application stores. Instead, they have historically been told that Google’s Android is an “open” system.
Without knowledge of the anticompetitive restrictions, there is no way for consumers to know that they will effectively
be locked into a product that extracts supracompetitive profits every time they make a purchase.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 61 of 667

                                                          -23-


particularly susceptible to direct measurements of market power that do not depend on a market
definition.”68 Such “direct” proof relies on firm-specific information that speaks directly to a firm’s
ability to profitably raise prices or exclude rivals.69 Google’s monopoly in licensed operating
systems is well-established and is demonstrated through both direct and indirect methods.

         1.       Direct Evidence

         47.    Google gained power in the licensed mobile device operating system through its
acquisition of Android and partnerships with OEMs and mobile carriers. OEMs could not license
Apple’s iOS to manufacture mobile devices, but Google’s Android OS and its proprietary suite of
mobile apps and interfaces, Google Mobile Services, was available under license. While Android
itself is available pursuant to an open-source Apache license, Google used the revenue-sharing
agreements to attract OEMs and mobile carriers to select Google Android. In its revenue-sharing
agreements, Google offered OEMs and mobile carriers significant percentages of the revenues
generated by Google’s search advertising and the Play Store.70 The ability to exclude rivals—here,
rival licensable operating systems that lacked a dominant search advertising business with which
to fund OEMs and mobile carriers—is a hallmark of market power.71

         2.       Indirect Evidence

       48.     Google’s high share of the licensed mobile device operating systems market is
protected by barriers to entry. Entry barriers in the market for mobile operating systems are steep.72
Launching a competing mobile operating system requires developing the source code, contracting
with OEMs, and convincing a critical mass of developers to write apps that are compatible with
the new operating system, among other hurdles.73




     68. Herbert Hovenkamp, Digital Cluster Markets, COLUMBIA BUSINESS LAW REVIEW 1-30 (forthcoming 2022).
     69. Id. at 24 (“By contrast, ‘direct’ proof relies on estimates of firm elasticity of demand, evidenced mainly by a
firm’s price-cost margins or output responses to price changes.[] These methodologies are capable of giving more
accurate measures of market power as it is best defined, which is the ability of a firm to profit by raising its price
above its costs.[]”) citing 2B Phillip E. Areeda & Hebert Hovenkamp, ANTITRUST LAW ¶521 (5th ed. 2021)
(forthcoming); Louis Kaplow, Why (Ever) Define Markets?, 124 HARVARD LAW REVIEW 437 (2010).
     70. See, e.g., GOOG-PLAY-001184813 at GOOG-PLAY-001184820 (showing that for 2014, Google earned
$5,976M in search revenue on Android, with $467M paid to carriers and $217M paid to OEMs). By this point in time,
carrier revenue shares were already reduced, suggesting the figures would be even higher in the early days.
     71. See, e.g., Richard G. Price, Market Power and Monopoly Power in Antitrust Analysis, 75(1) CORNELL LAW
REVIEW 190-217, 190, 198 (1989).
     72. See, e.g., Alan Santillan, Mobile Software: Why It’s Only Android vs. iOS in 2020, LEARN HUB, (July 30,
2018), available at learn.g2.com/android-vs-ios (“Barriers to entry in the mobile space are extremely high, and the
switching costs that Android and iOS deploy toward their users make it even harder for buyers to switch platforms.”);
European Commission, Antitrust: Commission sends Statement of Objections to Google on Android operating system
and         applications         –          Factsheet,         (Apr.        20,          2016),       available          at
ec.europa.eu/commission/presscorner/detail/en/MEMO_16_1484 (“There are a number of barriers to entry that
protect Google's position, including so-called network effects (that is, the more consumers adopt an operating system,
the more developers write apps for that system).”).
     73. See, e.g. Michael Katz & William Rogerson, The Applications Barrier to Entry and Its Implication for the
Microsoft Remedies: Comment on Iansiti and Richards, 75 ANTITRUST LAW REVIEW 723-738 (2008-09) (explaining
that a new OS will be desirable to consumers only if a broad array of software applications can run on it, but software
developers will find it profitable to create applications that run on an operating system only if there is a large existing
base of users).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 62 of 667

                                                     -24-


        49.    Google cemented its early market power in licensed mobile device operating
systems by exploiting a natural feedback loop in which device makers adopted Android with
Google Mobile Services, including Google’s proprietary App distribution channel, which in turn
attracted app developers, which in turn attracted consumers who sought Android phones.74 Google
Android’s monopoly in the licensed mobile device operating systems market benefits from what
economists call “indirect network effects”—in this case meaning that the more developers who
write apps compatible with an operating system, the more OEMs and consumers demand the
operating system. This cycle of indirect network effects constitutes another barrier to potential
suppliers of competing licensed mobile device operating systems.75

     II. THE ANDROID APP DISTRIBUTION MARKET AND THE IN-APP AFTERMARKET ARE
                             DISTINCT RELEVANT MARKETS
        50.    The purchaser of a Google Android device always receives the device with the Play
Store pre-installed and its icon prominently displayed. Through the Play Store, consumers can
access a broad array of Apps offered by myriad developers. Thus, the Play Store is a two-sided
matchmaking platform where Google brings together developers wishing to distribute Apps and
consumers wishing to obtain Apps to use on their Google Android devices. The initial download
of an app may be considered the consummation of the matchmaking service, giving rise to an offer
(by the developer) and acceptance (by the user). Once an App is downloaded onto the Google
Android mobile device, however, the Play Store’s matchmaking role for the initial download is at
an end because the developer has found the consumer and created its own independent channel of
distribution with that consumer by virtue of the installation of the developer’s App on the
consumer’s device. Through its App, the developer now has a direct pipeline to the consumer for
both communication and purchases of In-App Content. As discussed more fully below, the
Android App Distribution Market and In-App Aftermarket are economically distinct.

        51.    A two-sided platform matches buyers (in this case consumers) and sellers (in this
case app developers). Two-sided platforms benefit from “indirect network effects,” meaning that
each additional buyer makes the platform more appealing to sellers76 Buyers wish to transact on
the platform with the greatest variety of content to choose from, and sellers wish to reach the
largest buyer base possible. In the context of the Android App Distribution Market, Google
connects consumers of Apps with developers through the Play Store. The presence of more
consumers makes the Play Store more appealing to developers, and the presence of more
developers make the Play Store more appealing to consumers.77 A two-sided platform creates




     74. See, e.g., GOOG-PLAY4-000336290.
     75. See, e.g., GOOG-PLAY-004559725.R at GOOG-PLAY-004559759.R (Google presentation from 2017
stating that “Play benefits from network effects. Users come to Play because we have by far the most compelling
catalogue of apps/games. Developers come to Play because that’s where the users are.”) See also GOOG-PLAY-
004508011 at GOOG-PLAY-004508012 (summary notes from 2019 internal Google brainstorming session stating
“[a]n [A]ndroid app cannot ultimately survive as a product or business without being hosted on Play.”).
     76. See, e.g., David Evans, Two-Sided Market Definition in MARKET DEFINITION IN ANTITRUST: THEORY AND
CASE      STUDIES      (ABA      Section    of     Antitrust    Law)      1-35,    5     (2009),    available at
papers.ssrn.com/sol3/papers.cfm?abstract_id=1396751 (“A key feature of two-sided platforms is the presence of
‘indirect network effects.’).
     77. Marc Rysman, The Economics of Two-Sided Markets, 23(3) JOURNAL OF ECONOMIC PERSPECTIVES 125-143,
126 (2009).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 63 of 667

                                                        -25-


value by harnessing these indirect network effects to increase the number of participants on each
side of the platform.

         52.    When it comes to the purchase of In-App Content, the customer and the developer
have already found each other. The derived demand for services in support of the purchase of In-
App Content in the In-App Aftermarket thus lacks any indirect network efforts: adding more
consumers or developers does not add value to the relationship between a developer-customer pair
or the associated services in support of consummating in-App transactions. Matchmaking services,
critically present in the Android App Distribution Market, are not present in the In-App
Aftermarket. And the Android App Distribution Market does not provide services sufficient to
complete the delivery of In-App Content to the consumer. The In-App Aftermarket is therefore
economically distinct from the two-sided platform market contemplated in Ohio v. American
Express (“Amex”), in which the Supreme Court emphasized the determinative role of “indirect
network effects,”78 which “exist where the value of the two-sided platform to one group of
participants depends on how many members of a different group participate.”79According to the
Supreme Court, when “the indirect network effects operate in only one direction,” the market
“behaves much like a one-sided market and should be analyzed as such.”80

        53.      Moreover, I understand that Professor Schmidt will show that, as a technological
matter, there is no basis for Google to insert itself into the In-App Aftermarket by requiring that
developers use Google Play Billing. Google’s forced insertion into the In-App Aftermarket is
properly analyzed as an anticompetitive extension of the power it possesses in the separate and
distinct Android App Distribution Market. My analysis first examines these two relevant markets,
and my models of common impact are aimed at these markets separately, with a few caveats. To
model the scenario where rival app stores compete on the dimension of a consumer subsidy (rather
than on take rates), I treat the two markets as a single market, under the assumption that any
enhanced Play Points could be used by consumers for both paid initial downloads and the purchase
of In-App Content. I also offer a model in which rival app stores compete on the take rate assuming
(in the alternative) the two markets are a single market.

  III. GOOGLE’S ANTICOMPETITIVE CONDUCT IN THE PRIMARY ANDROID APP DISTRIBUTION
                                      MARKET
       54.     In this Part, I use data, economic methods, and evidence common to all Class
members to establish that the Android App Distribution Market is a relevant market for analysis,
that Google possesses monopoly power in this market, and that Google has engaged in
anticompetitive conduct as a means of furthering and retaining its monopoly power in this market.
Note that while I reference Google’s contractual restraints impacting OEMs, mobile carriers, and



     78. Ohio       v.    American         Express     Co.,     585      U.S.      ___      (2018),     available    at
www.supremecourt.gov/opinions/17pdf/16-1454_5h26.pdf.
     79. Id. at 3.
     80. Id. at 12-13 (“To be sure, it is not always necessary to consider both sides of a two-sided platform. A market
should be treated as one-sided when the impacts of indirect network effects and relative pricing in that market are
minor. Newspapers that sell advertisements, for example, arguably operate a two-sided platform because the value of
an advertisement increases as more people read the newspaper. But in the newspaper-advertisement market, the
indirect network effects operate in only one direction; newspaper readers are largely indifferent to the amount of
advertising that a newspaper contains. Because of these weak indirect network effects, the market for newspaper
advertising behaves much like a one-sided market and should be analyzed as such.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 64 of 667

                                                         -26-


developers in the context of discussing Google’s power in the relevant markets, I reserve in-depth
discussion of such restraints for the sections on anticompetitive conduct.

A.       The Android App Distribution Market Is a Relevant Antitrust Market

       55.     By Google’s estimate, there were over three billion Android devices in the world
as of May 2021.81 To access this customer base of Android users, developers design Apps for
Android devices. Developers traditionally reach users through App stores installed on the users’
device, but also can distribute their Apps to consumer devices directly from developer websites
through a process known as “sideloading.”82

        56.    While the Play Store is pre-installed on every Google Android mobile device,
sideloading requires independent consumer knowledge of the developer’s website and the
circumvention of onerous technical barriers imposed by Google. See Part III.D.4, infra. As a
practical consequence, the effective Android App Distribution Market consists almost entirely of
Android App stores that have been pre-installed on the mobile device. Although app stores, like
some other two-sided platforms, benefit from indirect network effects, the market for initial App
downloads need not always tend toward monopoly.83 Without the multiple restrictions that Google
has imposed, consumers would have easier access to multiple cross-platform app stores.84

        57.    The Android App Distribution Market is a distinct relevant antitrust market under
the Horizontal Merger Guidelines’ SSNIP test. To begin, I analyze the developers’ side of the
market. To list their Apps, developers pay the Play Store a small up-front fee of $25 plus a take
rate of revenues for paid downloads.85 If a hypothetical app-store monopolist that distributed
Android-compatible Apps were to raise its take rate above competitive levels by a small but


     81. Alex Cranz, There are over 3 billion active Android devices. That’s a lot of smartphones, THE VERGE, (May
18, 2021), available at www.theverge.com/2021/5/18/22440813/android-devices-active-number-smartphones-
google-2021. The author notes this estimate is conservative because the data are “taken from the Google Play Store,
which doesn’t take into account devices based on Android but that use alternative stores, including Amazon Fire
devices…” Id.
     82. For the purpose of this class certification report, I exclude sideloading from the Android App Distribution
Market. Sideloading is partially an artifact of Google’s restraints, as some developers such as Epic pulled their App
outside of the Play Store to evade Google’s excessive take rates, leaving users with no choice but to sideload to access
the App. See Nick Statt, Apple Just Kicked Fortnite Off the App Store, THE VERGE (Aug. 13, 2020), available at
www.theverge.com/2020/8/13/21366438/apple-fortnite-ios-app-store-violations-epic-payments             (“Epic previously
bypassed Google’s Play Store on Android by releasing Fortnite as a direct download through its own software
launcher. But the studio eventually relented earlier this year after failing to appeal Google for an exemption of its
similar 30 percent cut of all in-app purchases.”). Given the hassles imposed on the user, many of which are imposed
by Google (see Part III.D.4, infra), sideloading is presently an inferior substitute to downloading an App from an app
store. The inclusion or exclusion of sideloading has no bearing on my opinions regarding Google’s market power or
on my proof of common impact.
     83. See, e.g., Mark Looi, On “The Platform Delusion” by Jonathan Knee, MEDIUM (Dec. 21, 2021), available
at marklooi.medium.com/on-the-platform-delusion-by-jonathan-knee-a787a672b932.
     84. Google has produced data calculating the “% sideloaded app” at to percent in 2019 and 2020. GOOG-
PLAY-001508603 (“Apps by Source”). This does not represent the share of apps sideloaded by users to avoid the
Play Store. The      to    percent statistic is driven by
                         Id. The same data show that less than e percent of Apps are
                    Id.
     85. Play Console Help, How to use Play Console, available at support.google.com/googleplay/android-
developer/answer/6112435?hl=en#zippy=%2Cstep-pay-registration-fee (“there is a US$25 one-time registration
fee”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 65 of 667

                                                         -27-


significant amount, say by five percent in accordance with the Guidelines, developers on the
monopoly app store would not stop distributing their Apps through that app store, because the
Android App Distribution Market is too large to forgo. Android devices account for 40 percent of
the mobile devices purchased in the United States, and 70 percent of mobile devices bought
globally.86 Developers cannot earn a profit until the margins on their initial downloads or related
In-App Content cover the often substantial development and marketing costs.87 As long as
incremental sales of Apps are bringing value to developers and paying down their fixed costs, they
would not abandon distribution through the Android platform in the event of a small but significant
price increase over competitive levels. Further, sideloading is not a commercially viable alternative
for most developers and therefore does not constrain Google’s pricing.88

        58.     Within the Android App Distribution Market, the Play Store has power in large part
because of its broad reach. Record evidence suggests that developers are attracted to the Play Store
primarily because of its reach.89 In 2015, Google asked Dr. Itamar Simonson to “conduct a survey
of mobile device application developers.”90 The survey’s objectives included “assessing the factors
that influence developers’ decisions whether to develop applications for a new or existing mobile
platform.”91 Dr. Simonson concluded that the “survey findings are consistent with other studies of
application developers’ decision making and with Google’s recognition (as reflected in internal
documents) that the volume of developed applications is largely driven by the number of Android
users.”92 In short, developers of Android-compatible Apps would be insensitive to a small, but
significant, sustained increase in Android App distribution take rates, and hence the Android
Application Distribution Market is a distinct relevant antitrust market.

       59.    Turning to the consumer side, while it is hypothetically possible that consumers
might switch to an Apple device as a result of increased take rates by an Android app store, this
hypothetical possibility is unrealistic. Consumers are not aware of take rates charged to




     86. Statcounter, Mobile Operating System Market Share Worldwide, (accessed Feb. 2022), available at
gs.statcounter.com/os-market-share/mobile/worldwide/#yearly-2019-2019-bar. Android and iOS collectively account
for 99.68 percent share, while Windows accounts for 0.01 percent of the mobile operating system market worldwide.
Statcounter, Mobile Operating System Market Share United States of America, (accessed Feb. 2022), available at
gs.statcounter.com/os-market-share/mobile/united-states-of-america.
     87. Development Options and Costs, Business Information Systems: Design an App for That, Table 7.1 “Various
Fixed Costs”, available at saylordotorg.github.io/text_business-information-systems-design-an-app-for-that/s11-01-
development-options-and-costs.html.
     88. See, e.g., Koh Dep. at 50:14-51:5 (During his time at            , the company did not consider offering games
for direct download because it would “require too much work, engineering work.”); Id. at 101:21-102:14 (During his
time working for developers, they performed cost-benefit analyses regarding distribution via direct download, but it
was “too difficult to tell” whether the user reach they would achieve would justify the investment.).
     89. Id. at 89:25-90:9 (For developers trying to reach new users in the United States, “Google would be the priority
just because it has a large volume of users.”); Id. at 321:19-323:1 (During his time at the developer               , the
company decided not to distribute on other Android app platforms because “there was engineering work required for
us to be able to utilize those services” and because of the size of Play’s distribution platform across Android devices);
Id. at 324:6-12 (same consideration for the developer                    ).
     90. GOOG-PLAY-007317611 at GOOG-PLAY-007317613 (Report of Dr. Itamar Simonson, Feb. 8, 2016). Pre-
testing was done at the “end of December” 2015. Id. at GOOG-PLAY-007317618. The survey was administered
between December 28, 2015 and January 22, 2016. Id. at GOOG-PLAY-007317619.
     91. Id. at GOOG-PLAY-007317613.
     92. Id. at GOOG-PLAY-007317615.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 66 of 667

                                                          -28-


developers.93 Even if consumers were aware of the take rates charged to developers, they would
not be aware of the Play Store’s restrictions on developers nor of how such restrictions influence
the prices charged to consumers for App downloads. Because Google has prohibited developers
from steering consumers to lower-cost alternative platforms, consumers have little or no
experience with discounting.

         60.     A hypothetical monopolist in the Android App Distribution Market would be able
to profitably increase consumer prices above competitive levels. Even if consumers had perfect
information about take rates and the restrictions on developers as well as their implications for
App prices over the lifecycle of the device (which they do not have in the actual world), very few
would switch their device and operating system in response to a small, but significant, difference
in the take rate charged to developers by a monopolist app store. That is especially true for Android
phone users due to the significantly higher prices of Apple iPhones, which are nearly three times
as expensive on average as Android phones.94 A price difference this large would require
extraordinary spending by consumers on Android Apps for a five percent increase in the app store
take rate to render a switch economically plausible.95 Further, the vast majority of Android users
(nearly 80 percent) keep their Android phones for over a year, and many (nearly 30 percent) keep
their phones for over two years.96 As a result of the factors contributing to lock-in explained in
Part I.B, consumers display a high degree of loyalty to the operating system they have chosen and
learned, and they would not switch devices due to a small, but significant, increase in the take rate
or associated app price for Android App distribution.97


     93. Rachel Rickard Straus, Apple faces landmark legal claim that could pay out to millions: Rip-off that adds
30% to price of smartphone apps, THIS IS MONEY, (Dec. 11 2021), available at
www.thisismoney.co.uk/money/bills/article-10299235/Rip-adds-30-price-smartphone-apps.html (“Most customers
do not realise they are in effect paying huge commissions. But claimants say Apple and Android users have no alternative
so Apple and Google can effectively charge what they like.”).
     94. Amit Chowdhry, Average iPhone Price Increases To $687 and Android Decreases To $254, Says Report,
FORBES, (Feb. 3, 2015), available at www.forbes.com/sites/amitchowdhry/2015/02/03/average-iphone-price-
increases-to-687-and-android-decreases-to-254-says-report/?sh=d9bcd17539e4.
     95. A 2021 survey found that only 5.2 percent of users chose “better prices” as a reason why Android users
would consider switching to an iPhone. This implies that the switch would be unlikely and uneconomic for most,
regardless of whether “better prices” meant better prices for the device or for the apps. Among the other reasons were
“[l]onger software support,” “Apple ecosystem integration,” and “[b]etter privacy protection.” See Abhin Mahipal,
Survey: 18% of Android users would consider switching to iPhone 13, but this is down 15% from last year, SELLCELL,
(Aug. 31, 2021), available at www.sellcell.com/blog/survey-18-percent-of-android-users-would-consider-switching-
to-iphone-13/.
     96. Consumer Intelligence Research Partners, How Long Do Android Users Own an Android Phone, (Sep. 21,
2016), available at files.constantcontact.com/150f9af2201/a238f4a1-5b70-4853-b21e-226c94104d30.pdf. It bears
noting that these data are from 2016, and the trend across all devices is to keep phones for even longer periods. See
Abigail Ng, Smartphone users are waiting longer before upgrading — here's why, CNBC, (May 17, 2019), available
at www.cnbc.com/2019/05/17/smartphone-users-are-waiting-longer-before-upgrading-heres-why.html. (“In 2016,
American smartphone owners used their phones for 22.7 months on average before upgrading. By 2018, that number
had increased to 24.7.”).
     97. See, e.g., Chuck Jones, Apple’s iOS Loyalty Rate Is Lower Than Google's Android, But Apple May Steal
More Users Each Year, FORBES, (Mar. 10, 2018), available at www.forbes.com/sites/chuckjones/2018/03/10/apples-
ios-loyalty-rate-is-lower-than-googles-android-but-apple-may-steal-more-users-each-year/?sh=29b39ae68a8e
(“Loyalty is also as high as we’ve ever seen, really from 85-90% at any given point. With only two mobile operating
systems at this point, it appears users now pick one, learn it, invest in apps and storage, and stick with it.”) (emphasis
added). See also Consumer Intelligence Research Partners, Mobile Operating System Loyalty: High and Steady, (Mar.
8, 2018), available at files.constantcontact.com/150f9af2201/4bca9a19-a8b0-46bd-95bd-85740ff3fb5d.pdf (“CIRP
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 67 of 667

                                                       -29-


         61.    In sum, analyzing whether there is an Android App Distribution Market from both
the developer and consumer perspectives leads to the conclusion that it is a distinct relevant
antitrust market. Any competition that might exist between Google and Apple with respect to
operating systems does not significantly constrain Google’s ability to extract supra-competitive
prices in the Android App Distribution Market. That Apple98 (in November 2020) and Google99
(in March 2021) lowered take rates for small developers to 15 percent within a few months of each
other does not imply one take-rate reduction was caused by the other, nor does it imply that their
two app stores significantly discipline each other’s prices (for developers) and thus are in the same
product market. The moves came just after antitrust lawsuits were filed in August 2020, and
Congress published a report on the platforms’ conduct in October 2020.100 Internal Google
documents also suggest that the decision to reduce its take rate on small developers was driven at
least in part by public-relations and regulatory considerations.101

        62.     The availability of apps on personal computers (PCs) or consoles does not expand
the relevant antitrust market. From a developer’s perspective, the mobile, Android App ecosystem
represents too large a customer segment to ignore.102 Indeed, the sales of mobile games are roughly
equal to the sum of sales of console and PC games.103 Not only would developers sacrifice
significant sales by walking away from the Play Store, but, for those who had not yet done so, they
would also incur additional expense to write code for an Android-based App to work in a console
or PC environment. Similarly, from a consumer’s perspective, the functionality of a PC or gaming
console is distinct from that of a smartphone, which explains why households commonly own all
three types of devices, using each technology for distinct purposes. Further, in the case of a
consumer who owns an Android phone but not a console or PC, any substitution towards consoles
or PCs would require the purchase of new hardware, further reducing the viability of significant
defection.




finds that between Android and iOS, loyalty to each has remained steady since early 2016, at the highest levels seen.
Android has a 91% loyalty rate, compared to 86% for iOS, measured as the percentage of customers that remain with
each operating system when activating a new phone over the twelve months ending December 2017.”).
      98. Kif Leswing, Apple will cut App Store commissions by half to 15% for small app makers, CNBC, (Nov. 18,
2020), available at www.cnbc.com/2020/11/18/apple-will-cut-app-store-fees-by-half-to-15percent-for-small-
developers.html (describing the take-rate decrease as a “high-profile olive branch from Apple to lawmakers.”).
      99. Chaim Gartenberg, Google will reduce Play Store cut to 15 percent for a developer’s first $1M in annual
revenue, THE VERGE, (Mar. 16, 2021), available at www.theverge.com/2021/3/16/22333777/google-play-store-fee-
reduction-developers-1-million-dollars.
      100. Id. (“The new policy also comes at a critical moment when Google (and Apple’s) app store policies are
under intense public scrutiny, kicked off by the removal of Epic Games’ Fortnite from both the App Store and Play
Store and the game developer’s subsequent antitrust lawsuits against Apple and Google.”).
      101. Google’s documents suggest that its decision in March 2021, to reduce its take rate to 15 percent for the
first $1 million in developer revenue was driven at least in part by public-relations considerations. See GOOG-PLAY-
007317535 (“Play Store Global Research[:] All Markets Findings”); See also GOOG-PLAY-007317521 (“Play Store
Global Research[:] India Findings”); GOOG-PLAY-007317528 (“Play Store Global Research[:] South Korea
Grasstop Findings”).
      102. The value of transactions in the Play Store reached $38.6 billion in 2020. See Mansoor Iqbal, App Revenue
Data (2022), BUSINESS OF APPS, (Feb. 16, 2022), available at www.businessofapps.com/data/app-revenues/ (citing
App Annie and Sensor Tower).
      103. WEPC, Console Gaming Statistics 2022, (Jan. 20, 2022), available at www.wepc.com/statistics/console-
gaming/.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 68 of 667

                                                        -30-


        63.     As described in more detail in Part V.A.4, the Epic Games Store104 and Microsoft105
have both charged developers a 12 percent take rate on their respective PC game platforms. That
this large disparity in take rates persists implies that developers perceive the Play Store to be a
unique outlet, and developers are beholden to Google to reach their critical audience of consumers.
And Google has not changed its pricing in response to changes in take rates from Microsoft,
console makers, or the Epic Store.

        64.     Moreover, Google recognizes that cross-platform gaming is new and not expected
to reach scale until the late 2020s.106 Cross-platform gaming allows users playing the same game
with different devices to play together in multiplayer modes.107 Accordingly, cross-platform
gaming has not been and is not presently a significant factor in Google’s pricing to developers on
its Play Store.108

         65.    “Web-based apps,” or apps that reside on the Internet outside of an app store,
similarly do not constrain Google’s pricing on the Play Store. According to Google’s documents,
web-based apps are not close substitutes from the consumer’s perspective to a traditional or
“native” App.109 Traditional Apps, which Google defines as being located on a user’s home screen,
are considered by Google to be the “preferred/guaranteed experience.”110 Some traditional Apps
can support “offline mode” or can be used without an Internet connection.111 In most cases, after
a traditional App is launched, the user is returned to the place where she left,112 another significant
benefit. “Web apps,” by contrast, began simply as bookmarked links to the web version of an app,
opened in a browser.113 Unlike traditional—or “native”—apps, these web apps require an internet
connection,114 perform slower than native apps,115 cannot access useful native functions (e.g., the
phone’s camera),116 and do not show up in the Android app launcher.117 According to Google,


     104. Epic Press Release, The Epic Games store is now live, (Dec. 6, 2018), available at
www.epicgames.com/store/en-US/news/the-epic-games-store-is-now-live (“The Epic Games store is now open,
featuring awesome high-quality games from other developers. Our goal is to bring you great games, and to give game
developers a better deal: they receive 88% of the money you spend, versus only 70% elsewhere. This helps developers
succeed and make more of the games you love.”).
     105. Tom Warren, Microsoft shakes up PC gaming by reducing Windows store cut to just 12 percent, THE
VERGE, (Apr. 29, 2021), available at www.theverge.com/2021/4/29/22409285/microsoft-store-cut-windows-pc-
games-12-percent.
     106. GOOG-PLAY-000231487 at GOOG-PLAY-000231489.
     107. Van Vicente, What Does Cross-Platform Mean for Gaming and Other Apps?, HOW-TO GEEK, (Oct. 9,
2021), available at www.howtogeek.com/752370/what-does-cross-platform-mean-for-gaming-and-other-apps/.
     108. The opinion in Epic v. Apple allowed for the possibility that certain games exhibit cross-platform
substitutability but concluded that these games were outliers: “However, not all games are like Minecraft or Fortnite;
the market still reflects that video games are, for the most part, cabined to certain platforms that take advantage of
certain features of that platform, such as graphics and processing, or mobility.” Rule 52 Order After Trial On The
Merits, Epic Games Inc. v. Apple, Inc., Case No. 4:20-cv-05640-YGR, at 84. Because the instant matter concerns all
Apps, including non-gaming Apps, the conclusion that console and PC gaming are distant substitutes for Play Store
users would be bolstered.
     109. GOOG-PLAY-001882239.
     110. Id. at GOOG-PLAY-001882256.
     111. Id. at GOOG-PLAY-001882256.
     112. Id. at GOOG-PLAY-001882257.
     113. Id. at GOOG-PLAY-001882261.
     114. Id. at GOOG-PLAY-001882264.
     115. Id. at GOOG-PLAY-001882264.
     116. Id. at GOOG-PLAY-001882265.
     117. Id. at GOOG-PLAY-001882263.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 69 of 667

                                                         -31-


even the next generation of “progressive web apps,” which address some of these shortcomings,
still “falls short on some native interactions, including smooth animation transitions, native
gestures, native menus, [and] material UI Guidelines.”118 Web based apps are no substitute for
Apps on the Play Store in the Android App Distribution Market.

B.       The Relevant Geographic Android App Distribution Market Is Global (Excluding
         China)

        66.     Google’s Android mobile device operating system is sold throughout the world and
is installed on about three quarters of all mobile devices globally, except China, where the
government restricts mobile devices and operating systems and favors Chinese providers.119 The
Play Store is installed on all Google Android mobile devices by virtue of Google’s “all-or-nothing”
policy with respect to its GMS suite of Apps. Given the widespread distribution of the Play Store
throughout the world, developers of Android-compatible Apps, wherever they are located, have
strong incentives to list their Apps on a platform that can provide for distribution worldwide. The
global reach of the Play Store and the developers who seek to distribute their Apps through it thus
make the geographic market for the Android App Distribution Market global. That the Apps might
differ in some ways by country (for example, with different languages or different features) does
not change the contours of the relevant geographic market, because those changes are not material
to the economics of App distribution.

         67.    Application of the Horizontal Merger Guidelines’ SSNIP test confirms that the
Android App Distribution Market is broader than the United States and thus global. Suppose a not-
so-hypothetical monopolist in the distribution of Android-compatible Apps, such as the Play Store
in the Android App Distribution Market, were to raise its take rate by a small, but significant,
sustained amount in the United States. Would it attract competition from other app stores
elsewhere in the world? It is plausible that a sustained increase in the take rate for initial App
downloads in the United States would attract app store entrants from other countries (ignoring
Google’s restriction), either independently operated stores like Aptoide that already operate in
multiple countries or those launched by mobile service carriers in other countries that could readily
distribute Apps in the United States. Thus, the Android App Distribution Market is worldwide and
is not limited to the United States.

C.       Google’s Market Power in the Android App Distribution Market

        68.    This section begins by describing evidence that directly demonstrates Google’s
market power in the Android App Distribution Market. I also use indirect evidence—high market
shares and entry barriers—to establish that Google has market power. My assessment of the direct
and indirect evidence relies entirely on data and methods that are common to the Class.




    118. Id. at GOOG-PLAY-001882274.
    119. GOOG-PLAY-004253884 at GOOG-PLAY-004253894 (“Samsung Leads in All Retail Driven Markets
except China”) (chart shows Apple and Samsung shares in different countries, with China being dominated (60
percent) with local OEMs). It bears noting that all references to “global” markets or the use of the terms “globally” or
“world” in this report assume that China is excluded.
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 70 of 667

                                                           -32-


         1.        Direct Evidence

         69.    High margins imply an ability to raise prices over competitive levels. According to
Google’s compilations of its profit-and-loss statement for the Play Store, excluding ads, Google
earned an operating profit of                   in 2019, a     percent increase over the Play Store’s
profit of                 in 2018.120 Google’s operating profit from the Play Store, again excluding
ads, jumped to                   in 2020, an increase of      percent                     .121 The Play
Store’s gross profit margin in 2020 was            percent, and its operating profit margin was
percent.122 A separate spreadsheet shows that, in 2020 alone, Google earned an additional
        on ads that appear in the Play Store, with almost all of those revenues falling to the bottom
line.123 In      , the Play Store’s gross profit margin was                percent, its operating profit
                                                                        124
margin was          percent, and its operating profit was              . In 2021, Google earned an
additional                   on ads that appear in the Play Store, with almost all of those revenues
(again) falling to the bottom line.125

       70.    That Google profitably imposed a 30 percent take rate on developers for most paid
App downloads is direct evidence of its market power over developers in the Android App
Distribution Market. As shown in Part V.B.4, infra, this take rate is high relative to competitive
benchmarks. In the presence of competition, developers would be able to offer their Apps on
Android devices through multiple app stores; a developer unwilling to pay a 30-percent take rate
could choose to market and distribute its App on a competing app store without losing access to
most customers.

         71.   Google’s dominance in the Android App Distribution Market, reflected in its high
profits and excessive take rate, flows from its power in the licensed mobile device operating
systems market. Indeed, the Android App Distribution Market could be characterized as an
aftermarket to the market for licensed mobile device operating systems. Google’s documents
illustrate how Google’s power in the market for licensed mobile device operating systems helps to
ensure the Play Store’s dominance. A 2019 presentation reviewing the Play Store’s business model
displays “[t]he 50,000-foot view,”126 showing Google Android’s reach as the first in a chain of
factors allowing the Play Store to be monetized.




     120. GOOG-PLAY-000416245.
     121. Id.
     122. Id.
     123. GOOG-PLAY-001090227 (showing Play advertising revenue of                                in 2020, with cost of sales
of just              , direct operating expenses of             , and cost allocations of               ). These data imply
that, in 2020, Google earned a gross margin on Play Store advertising revenue of over            percent (equal to [(
          ). Similarly, the 2020 operating margin inclusive of direct costs is             percent (equal to [(
            ), and the 2020 operating margin inclusive of direct costs and cost allocations is      percent (equal to [(
                         ).
     124. GOOG-PLAY-010801682 (showing 2021 Play Store revenue (excluding ads) of                                 , and gross
profit of                   , for gross profit margin of                     percent. The Play Store’s operating profit was
                           , for an operating profit margin of                      percent).
     125. GOOG-PLAY-010801680 (showing Play Store advertising revenue of                               in 2021, with a gross
profit of                    , for a gross profit margin of                    percent. Total operating expenses (inclusive
of direct costs and cost allocations) are recorded at               , yielding an operating profit of
                               for an operating margin of
     126. GOOG-PLAY-000443763 at GOOG-PLAY-000443768.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 71 of 667

                                               -33-


                    FIGURE 2: INTERNAL GOOGLE VIEW ON LINKAGE BETWEEN
                   THE PLAY STORE’S DOMINANCE AND ANDROID’S DOMINANCE




          Source: GOOG-PLAY-000443763 at GOOG-PLAY-000443768.

The presentation recognizes that Google’s Mobile Application Distribution Agreements
(“MADAs”) with OEMs are used to “[t]rade access to Google’s apps for placement;”127 in other
words, Google has leveraged its GMS suite of apps and APIs to ensure that the Play Store is
available and prominently displayed to the user.
        72.      Google considered adjustments to its business model and to its take-rate levels,
including “progressive rev-share rates,” in which Google would “change the fundamental Play biz
model for dev[elopers],” by allowing the take rate to fall over time.128 The pressure to reduce take
rates would come from OEMs capable of “building significant distribution scale” and from game
developers with “highly monetizing titles,” presenting an “increasing risk of going-it-alone.”129
Google observed that the obvious downside of reducing the take rate is that it would decrease
profit margins,130 and questioned whether any reduction should be done at all.131 Since the
(undated) presentation, which refers to 2018 Search and Play revenues,132 however, Google has
done little to lower take rates (outside of rates for subscriptions and small developers).

     73.     Google’s multiple restraints affecting the Android App Distribution Market—on
OEMs, carriers, and developers—coupled with its technical barriers protect Google’s market


   127.    Id. at GOOG-PLAY-000443769.
   128.    Id. at GOOG-PLAY-000443775.
   129.    Id.
   130.    Id. at GOOG-PLAY-000443775-776.
   131.    Id. at GOOG-PLAY-000443776-777.
   132.    Id. at GOOG-PLAY-000443770.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 72 of 667

                                                         -34-


power in the Android App Distribution Market. As just one of the many examples of the impact
of these restraints, Google’s all-or-nothing bundling of the GMS suite gave it a large competitive
advantage as developers were inclined to offer Apps on a platform that was guaranteed to also
carry the high-value GMS Apps.133 Google’s Jim Kolotorous testified that he was unaware of any
smart phone launched outside of China without installing a single Google App or service on the
device.134

         2.       Indirect Evidence

        74.     Google’s power in the Android App Distribution Market can also be gleaned
indirectly via its high shares and entry barriers. As of October 2021, a total of over 21.6 billion
Apps had been downloaded from the Play Store.135 Excluding China, where the Play Store is
blocked,136 “Apple and Google control more than 95 percent of the app store market share through
iOS and Android…The app economy was built on these two platforms[.]”137 Due in part to the
massive installed base of mobile Android devices, significantly more apps are downloaded from
the Play Store than from the Apple App Store. For example, in 2020, there were approximately
108.5 billion downloads from the Play Store, compared with 34.4 billion through Apple App
Store.138 Excluding China, the Play Store accounted for over 80 percent of the combined global
downloads from the Play Store and the Apple App Store in 2020.139



     133. Benjamin Edelman & Damien Geradin, Android and competition law: exploring and assessing Google’s
practices in mobile, 12(12-3) EUROPEAN COMPETITION JOURNAL 159-194, 162-163 (2016) [hereafter Edelman &
Geradin].
     134. Deposition of Jim Kolotorous at 110:13-111:14. Amazon, one of Mr. Kolotorous’s exclusions, only
produces tablets, not smartphones. Id. 125:14-17.
     135. Terry Stancheva, 17 App Revenue Statistics – Mobile Is Changing the Game in 2021, TECHJURY, (Feb. 6,
2022), available at techjury.net/blog/app-revenue-statistics/#gref (citing Statista).
     136. Sherisse Pham, Google now has two apps in China, but search remains off limits, CNN BUSINESS, (May
31, 2018), available at money.cnn.com/2018/05/31/technology/google-in-china-files-app/index.html (“The
company's own app store, Google Play, remains blocked in China[.]”).
     137. David Curry, App Store Data (2022), BUSINESS OF APPS, (Jan. 11, 2022), available at
www.businessofapps.com/data/app-stores/
     138. David Curry, App Data Report, BUSINESS OF APPS (2022) at 16-17 (showing 34.4 billion downloads via
iOS and 108.5 billion via Google Play).
     139. According to Sensor Tower, The Play Store’s total global downloads in 2020 (excluding China) were
108.759 billion (6.3 billion + 22.5 billion + 5.7 billion + 2.8 billion + 21.1 billion + 49.9 billion + 459 million =
108.759 billion). See Sensor Tower, 2021 – 2025 Mobile Market Forecast (2021) at 15. The Apple App Store’s total
global downloads in 2020 were 34.297 billion (8.9 billion + 2.0 billion + 312 million + 1.3 billion + 7.3 billion + 13.9
billion + 585 million = 34.297 billion). Id at 14. 8.2 billion of these downloads come from China. Id at 31. Therefore,
in 2020, the Play Store accounted for over 80.6 percent combined global downloads from the Play Store and the Apple
App Store (equal to 108.759 billion / (108.759 billion + 34.297 billion – 8.2 billion)). Note that consumer expenditures
in the Apple App Store exceed those in the Play Store, despite the fact that far more apps are downloaded through the
Play Store. See, e.g., David Curry, App Data Report, BUSINESS OF APPS (2022) at 29 (“Even though Google Play has
a larger installed base and 75% of all apps are downloaded on the platform, Apple’s App Store leads the way in
revenue.”). Download statistics differ from consumer expenditure statistics in at least two important ways. First, many
apps are downloaded free of charge. Second, industry data on consumer expenditures aggregates consumer
expenditures on initial downloads with consumer expenditures on in-app purchases. See, e.g., Id. at 30 (showing
aggregate “iOS App and Game Revenues” of $72 billion in 2020); see also Sensor Tower, 2021 – 2025 Mobile Market
Forecast (2021) at 36 (also showing a total of $72 billion in 2020 for “App Store Spending” on “Apps” and “Games”;
explaining that “[d]riven by the significant success of the in-app subscription model, app revenue increased 4.7x
between 2016 and 2020, compared to an increase of 2x for games.”) (emphasis added). Note also that, based on the
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 73 of 667

                                                         -35-


        75.     Data from industry analysts on mobile app expenditures (which aggregates
consumer expenditures on both initial downloads and in-App purchases) confirm (1) that the Play
Store and the Apple App Store account for the vast majority of mobile app expenditures outside
China; and (2) that the Play Store alone accounts for the vast majority of mobile app expenditures
outside China and distinct from iOS. In light of the global dominance of the Play Store and the
Apple App Store, industry reports covering mobile apps often focus almost exclusively on these
two platforms.140 But even when other platforms are considered, the data confirm that the Play
Store and the Apple App Store account for the vast majority of mobile app expenditures outside
of China. For example, global consumer expenditures in Apple’s App Store outside of China in
2018 were $32.9 billion,141 while global consumer expenditures in the Play Store (all of which is
outside of China) came to $25 billion in 2018.142 Global mobile app expenditures outside of China
in 2018 were $62 billion.143 Therefore, outside of China, the Apple App Store and the Play Store
accounted for 93.4 percent of global mobile app expenditures as of 2018 (equal to [$32.9 billion +
$25.0 billion]/[$62 billion]). Using the same statistics, the Play Store accounted for 85.9 percent
of non-Apple mobile app expenditures outside of China in 2018 (equal to [$25.0 billion]/[$62
billion - $32.9 billion]).

        76.     In 2020, global consumer expenditures in Apple’s App Store outside of China came
to $52 billion,144 while global consumer expenditures in the Play Store (all of which is outside of
China) came to $39 billion in 2020.145 Global mobile app expenditures outside of China in 2020
were $95 billion.146 Therefore, outside of China, the Apple App Store and the Play Store accounted
for 95.8 percent of global mobile app expenditures as of 2020 (equal to [$52 billion + $39
billion]/[$95 billion]). Using the same statistics, the Play Store alone accounted for 90.7 percent
of non-Apple mobile app expenditures outside China in 2020 (equal to [$39 billion]/[$95 billion -
$52 billion]).

        77.     Similarly, statistics on downloads (as opposed to consumer expenditure) indicate
that the Play Store’s share of the non-China Android App Distribution Market can be estimated at


Play Store’s financials, the vast majority of Play Store revenue comes from                                 , as opposed
to             . See, e.g., GOOG-PLAY-010801682 (showing             percent of 2021 Play Store revenue coming from
                  ).
     140. See, e.g., Sensor Tower, Global Consumer Spending in Mobile Apps Reached $133 Billion in 2021, Up
Nearly 20% from 2020, (Dec. 2021), available at sensortower.com/blog/app-revenue-and-downloads-2021 (reporting
“Global Consumer Spending in Mobile Apps and Games” as the sum of Google Play and the App Store). See also
David Curry, App Data Report, BUSINESS OF APPS (2022); see also Sensor Tower, 2019 – 2023 Mobile Market
Forecast, (2019).
     141. In 2018, global consumer expenditures reached $47 billion in the Apple App Store. See Sensor Tower,
2019 – 2023 Mobile Market Forecast, (2019) at 4. Consumer expenditures in the Apple App Store in China were
$14.1 billion in 2018. Id. at 15. Therefore, non-China Apple App Store expenditures in 2018 were $47 billion - $14.1
billion = $32.9 billion.
     142. Id. at 4.
     143. See David Curry, App Data Report, BUSINESS OF APPS, at 44 (2022) (showing 2018 non-China revenue of
$20 billion (United States) + $15 billion (Japan) + $11 billion (Europe) + $16 billion (Rest of World) = $62 billion).
     144. In 2020, global consumer expenditures reached $72 billion in the Apple App Store. See Sensor Tower,
2021 – 2025 Mobile Market Forecast, (2021) at 6. Consumer expenditures in the Apple App Store in China were $20
billion in 2020. Id. at 22. Therefore, non-China Apple App Store expenditures in 2020 were $72 billion - $20 billion
= $52 billion.
     145. Id. at 6.
     146. See David Curry, App Data Report, BUSINESS OF APPS, 1-69, 44 (2022) (showing 2020 non-China revenue
of $32 billion (United States) + $20 billion (Japan) + $14 billion (Europe) + $29 billion (Rest of World) = $95 billion).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 74 of 667

                                                         -36-


over 90 percent:147 Nearly 60 percent of non-iOS apps downloaded worldwide in 2020 were
downloaded through the Play Store,148 but this estimate vastly understates the Play Store’s share
of Android downloads, as the denominator includes downloads in China, where the Play Store is
blocked. Removing non-iOS downloads in China would likely place the Play Store at over 90
percent of the non-China Android App Distribution Market. For example, if iOS downloads
account for one quarter of all mobile downloads in China,149 then the Play Store’s share of the non-
China Android App Distribution Market would be 97 percent.150 Internal Google documents show
that, on Android devices outside of China, the Play Store accounts for the vast majority of monthly
app store visits and time spent in app stores.151

         78.     With respect to entry barriers, as a two-sided platform, the Play Store benefits from
indirect network effects, which serve to entrench its market power;152 additional Apps attract users,
which in turn attract developers, a virtuous cycle that rewards first movers and thwarts later
potential entrants. Google recognizes the power that it gets from these network effects.153 In
addition, Google Android’s significant share of the number of all mobile devices,154 means that
developers have strong incentives to make their apps Android-compatible to cover the fixed costs
of app development. Thus, developers effectively must list their Apps on the Play Store and agree
to its restrictive conditions, including the prohibition on steering users to rival app stores. These


     147. As explained above, download statistics differ from consumer expenditure statistics in at least two
important ways. First, many apps are downloaded free of charge. Second, as explained above, industry data on
consumer expenditures aggregates consumer expenditures on initial downloads with consumer expenditures on in-app
purchases.
     148. According to Statista, the total number of app downloads in 2020 was 218 billion, with the Play Store and
iOS accounting for 143.2 billion. Statista, Number of mobile apps downloaded worldwide from 2016 to 2020, available
at www.statista.com/statistics/271644/worldwide-free-and-paid-mobile-app-store-downloads/; Statista, Combined
global Apple App Store and Google Play Store app downloads from 1st quarter 2015 to 4th quarter 2021, available at
www.statista.com/statistics/604343/number-of-apple-app-store-and-google-play-app-downloads-worldwide/.               The
Play Store was responsible for 108.5 billion downloads in 2020 and iOS had 34.4 billion, for a total of 142.9 billion.
See Mansoor Iqbal, App Download Data (2022), BUSINESS OF APPS, (Jan. 11, 2022), available at
www.businessofapps.com/data/app-statistics/ [hereafter App Download Stats]. This implies that the Play Store was
responsible for 59 percent of the non-iOS downloads worldwide. In 2020, there were 183.6 billion non-iOS downloads
(218 billion less 34.4 billion) and 108.5 billion Play Store downloads. Dividing 108.5 by 183.6 yields 0.59.
     149. See Statista, Market share of mobile operating systems in China from January 2013 to December 2021*,
available at www.statista.com/statistics/262176/market-share-held-by-mobile-operating-systems-in-china/ (In
October, November, and December of 2021, iOS accounted for 18.99, 19.28, and 21.08 percent of mobile operating
systems in China, respectively. In the last quarter of 2021, Apple accounted for approximately (18.99 + 19.28 +
21.08)/3 = 19.8% of mobile operating systems in China.) I conservatively set the percentage to 25 percent for purposes
of my calculations here.
     150. There were 96.2 billion downloads in China in 2020. See App Download Stats, supra. Assuming one
quarter of those were iOS, then non-iOS downloads in China would be 72.15 billion (equal to 96.2 billion * (1 – 1/4)).
Therefore, total worldwide non-iOS downloads outside China would amount to 183.6 billion – 72.15 billion = 111.45
billion. The Play Store share of the non-China Android App Distribution Market would then equal 108.5 billion /
111.45 billion = 0.97.
     151. See GOOG-PLAY-002076224.R (Google 2019 slide deck titled “OEM App Store Share Analysis”,
summarizing global analysis of Android app store visits (excluding China) as follows: “For each region, the majority
(>90%) of all app store visits in a month are to Play Store.”) Id. at slide 5. Google’s analysis also shows that the Play
Store accounts for approximately 95 percent of monthly app store time spent of Android app stores worldwide
excluding China. See GOOG-PLAY-002076224.R at GOOG-PLAY-002076236.R.
     152. See generally Jean-Charles Rochet & Jean Tirole, Platform Competition in Two-Sided Markets, 1(4)
EUROPEAN ECONOMIC ASSOCIATION 990-1029 (2003) [hereafter Rochet & Tirole].
     153. GOOG-PLAY-000879194.R (“Amazon competitor deep dive” April 2017).
     154. Statista Mobile OS Shares, supra.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 75 of 667

                                                      -37-


restrictions therefore act as substantial barriers to entry for effective competition from rival app
stores.

        79.     The impact of indirect network effects in the Android App Distribution Market is
reflected in these statistics: the Play Store offered 3.5 million Apps by the first quarter of 2021,155
the most of any app store in the Android App Distribution Market. In comparison, the Amazon
Appstore offered approximately 460,000 Android Apps.156 Google recognizes the power of
network effects in giving its store an advantage: “Play benefits from network effects. Users come
to Play because we have by far the most compelling catalogue of apps/games. Developers come
to Play because that’s where the users are.”157 Google also admits significant impediments to
competition, noting that the process of sideloading the Amazon Appstore involves 14 steps, is
“quite complex,” and the hurdle is “too high for most users” to take advantage of any discounts
offered by Amazon.158

        80.     As discussed more fully in Part III.D.3 below, Google’s conduct vis-à-vis
developers—including preventing developers from steering users to rival stores and conditioning
developers’ access to valuable advertising programs on YouTube and Google Search on the sale
and distribution of developers’ Apps in the Play Store—has substantially foreclosed potential
opportunities for alternative app stores to compete with Google, effectively hindering their ability
to develop into viable alternative distribution channels for developers. Absent these provisions,
developers would have been more inclined to participate in and promote (via steering) alternative
app stores, such as those owned by Amazon or LG. Nor has Samsung’s Galaxy Store provided
effective competition for the Play Store. Although many Android devices come preloaded with
both the Play Store and Samsung’s Galaxy Store,159 as explained more fully in Part III.D.2.d below,
in part due to Google’s conduct, the Galaxy Store has not gained widespread traction with
developers;160 it appears only on Samsung devices, and is thus more limited in reach than the Play
Store and which serves as a deterrent to some developers from investing in the Galaxy Store.161

       81.    The data also show that non-Galaxy app stores achieved only trivial penetration, as
they have been pre-loaded on fewer than eleven percent of all devices. As seen below in Table 1,
between 2018 and 2021, the                 was on fewer than      percent of active devices, and
                                                            162
the         was on fewer than     percent of active devices.




    155. See Statista, Number of apps available in leading app stores as of 2021, available at
www.statista.com/statistics/276623/number-of-apps-available-in-leading-app-stores/.
    156. Id.
    157. GOOG-PLAY-000879194.R at GOOG-PLAY-000879207.R.
    158. Id. at GOOG-PLAY-000879204.R.
    159. Data from GOOG-PLAY-007203253. See Table 1, infra.
    160. See, e.g., Daria Dubrova, 9 Alternative Android App Stores, THE APP SOLUTIONS, available at
theappsolutions.com/blog/marketing/alternative-android-app-stores/ (“From the company that manufacturers the most
Android phones it is no surprise that Samsung has developed their own app store. Compared to other app stores,
Samsung Galaxy Apps has a relatively small number of apps but this can be positive for apps to stand out.”).
    161. Koh Dep. at 323:3-23 (Nexon didn’t invest in the Galaxy Store given its limited reach).
    162. GOOG-PLAY-007203253.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 76 of 667

                                                          -38-


           TABLE 1: SHARE OF ACTIVE ANDROID DEVICES WITH ALTERNATIVE APP STORES
                 Year
                    2018                       1.47%                   8.3%                       52%
                    2019                       0.83%                   9.5%                       55%
                    2020                       0.47%                   9.7%                       57%
                    2021                       0.33%                   8.7%                       57%
     Source: GOOG-PLAY-007203253
The economic literature recognizes that evidence of high market shares combined with barriers to
entry strongly imply Google’s market power in the Android App Distribution Market was
sufficient to raise prices above the competitive level.163 Such evidence is clearly present here.
D.       Google’s Exclusionary Conduct in the Android App Distribution Market

        82.    Google’s use of various restraints to maintain its dominance in the Android App
Distribution Market inhibits competition from rival app stores on mobile devices and from
sideloading of direct downloads from developers’ websites. Such competition would enable
consumers and developers to readily connect to more than one competitive platform, a practice
known as “multi-homing.” A developer can take advantage of multi-homing by discounting the
price of its Apps to “steer” consumers to use the lower-cost platform. Steering and multi-homing
combined generally would lower the equilibrium take rate charged by each platform. While
Google has claimed openness to other app stores,164 I next discuss how it has effectively utilized
contractual restrictions and revenue-sharing agreements with mobile carriers, OEMs, and
developers to restrain competition.165 I also understand that Professor Schmidt finds that Google
imposes overly broad technological barriers that inhibit the installation and usage of alternative
app stores on Google Android devices, compared with the Play Store.




     163. Large entry barriers tend to eliminate the possibility a competitive fringe can readily and substantially
increase production in response to a small increase in the incumbent’s price. See, e.g., William Landes & Richard
Posner, Market Power in Antitrust Cases, 94(5) HARVARD LAW REVIEW 937-996, 947 (1981) [hereafter Landes &
Posner].
     164. See, e.g., Sameer Samat, Listening to Developer Feedback to Improve Google Play, ANDROID DEVELOPERS
BLOG, (Sep. 28, 2020), available at android-developers.googleblog.com/2020/09/listening-to-developer-feedback-
to.html (“We believe that developers should have a choice in how they distribute their apps and that stores should
compete for the consumer’s and the developer’s business. Choice has always been a core tenet of Android, and it’s
why consumers have always had control over which apps they use, be it their keyboard, messaging app, phone dialer
or app store. Android has always allowed people to get apps from multiple app stores. In fact, most Android devices
ship with at least two app stores preinstalled, and consumers are able to install additional app stores. Each store is able
to decide its own business model and consumer features. This openness means that even if a developer and Google do
not agree on business terms the developer can still distribute on the Android platform. This is why Fortnite, for
example, is available directly from Epic’s store or from other app stores including Samsung’s Galaxy App Store.”).
     165. See, e.g., GOOG-PLAY-003776161.R at GOOG-PLAY-003776176.R (table on common partner types and
what they do, including mobile carriers that “maintain Search exclusivity on devices sold through their channel,” and
OEMs that “pre-install suite of Google Apps; Google Search exclusivity.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 77 of 667

                                                     -39-


        1.       Google’s Revenue-Sharing Agreements Eliminated the Threat of Competition
                 from Mobile Carriers

        83.     Commencing with Google’s rollout of the Android operating system, Google
prevented competition in the Android universe—and in the creation of rival app stores—through
revenue-sharing agreements (“RSAs”) with major mobile carriers. Google identified mobile
carriers as the most significant initial threat to Google’s control of the Android ecosystem because
they had the ability to customize the mobile devices they shipped. In 2009, Google recognized that
“the greatest threat to Android Market[place] is that carriers can easily set up their own, controlled,
application market that will be the default on devices that are not co-developed by Google.”166

        84.      Google therefore implemented revenue sharing from the Play Store and other
Google properties to neutralize that threat. Google sought to neutralize that threat by “giving
generous revenue share that more or less matches what they would make from their own markets,”
until a point where “carriers will be unable to compete with their own offerings because their own
offerings will be so limited in comparison.”167 Indeed “Rev share is a big (if not ‘the’) reason that
carriers are loosening their grip on app distribution.”168 By 2010, Google knew that “carrier
support is critical to gain traction against Apple, and to gain consumer support over incumbent and
emerging platforms.”169 Record evidence indicates that Google was aware that most carriers to
which it offered revenue share deals were pursuing their own stores, and were therefore potential
competitors with Google’s emerging app store.170 Google anticipated that its revenue sharing with
carriers would incentivize them to promote Google’s store over their own stores.171 Although the
agreements technically allowed carriers to continue pursuit of their own stores, record evidence
indicates that the practical effect was to focus the carriers elsewhere—specifically, on the Play
Store.172 Payments to potential competitors not to enter, referred to as “pay-for-delay” agreements
in the pharmaceutical industry, are recognized as being anticompetitive under certain conditions.173
Another potential economic lens with which to assess these payments is a form of predation, which
I discuss below.

        85.



                   In 2009, as part of a broader agreement, Google entered into a revenue-sharing
agreement with Verizon, wherein Google agreed to provide Verizon with 25 percent of each App


     166. GOOG-PLAY-001423609.
     167. Id.
     168. GOOG-PLAY-001381141.
     169. GOOG-PLAY-004541676 at GOOG-PLAY-004541679.
     170. See Rosenberg Dep. at 174:3-181:14; GOOG-PLAY4-000339939; GOOG-PLAY-001381054; GOOG-
PLAY-001423609.
     171. GOOG-PLAY4-000339939; GOOG-PLAY-001423609.
     172. Id.; see also GOOG-PLAY-001423609; GOOG-PLAY-008427238.
     173. See, e.g., Kevin Caves and Hal Singer, On the Utility of Surrogates for Rule of Reason Cases, CPI
ANTITRUST CHRONICLE, (2015); Aaron Edlin, Scott Hemphill, Herb Hovenkamp, and Carl Shapiro, Activating
Actavis, ANTITRUST, (2013) (explaining how the likelihood that a payment from a branded drug to a generic is
anticompetitive increases when the payment exceeds the avoided litigation costs or value of services rendered).
     174. GOOG-PLAY-001400503; GOOG-PLAY4-000284361;
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 78 of 667

                                                        -40-


transaction, while Google retained only five percent.175 Google continued to pay Verizon a 25
percent share of app credit card sales through June 2014.176

           By 2014,                                                                         , Google had reached
Play Store RSAs on similar terms with carriers around the world.178

        86.     During 2009 to 2012,179 when Google was retaining up to five percent of the
developers’ revenues—and ceding the residual 25 to 27 percent of developer revenues to OEMs
and mobile carriers—Google was not covering its marginal costs, and thus not covering its average
variable costs,180 of operating the Play Store. According to its own financial data, Google’s gross
profit from the Play Store was negative as late as 2011, and operating profit was negative into
2012.181 Google’s documents indicate that paying carriers 25 percent for distribution of the Play
Store would have resulted in losses for Google, making prices below average variable costs on
every App transaction involving payment. For instance, an October 2013 presentation indicates
that Google’s first full year of positive gross margins for the Play Store was 2013 and, critically,
the gross margin of $0.13 per $1 in consumer spend would have approached zero had Google
continued to pay $0.25 per dollar to carriers rather than $0.14 per dollar (a difference of $0.11).




     175. GOOG-PLAY-001400503 at GOOG-PLAY-001400530 (§ 14.12(b)); GOOG-PLAY4-000284361 at
GOOG-PLAY4-000284365.
     176. GOOG-PLAY-004542110; GOOG-PLAY-000131205.R at GOOG-PLAY-000131232.R.
     177.                                                           . When Direct Carrier Billing was involved, the
carriers received 27 percent of revenue, leaving even less for Google. See GOOG-PLAY-004499366 at GOOG-
PLAY-004499369 (noting that “Margins increasing due to (i) Renegotiated carrier deals from 27% on DCB and 25%
on Credit Cards on Apps to 15% and 0% respectively . . .”).
     178. See, e.g. GOOG-PLAY-001886008.R at GOOG-PLAY-001886011.R (showing revised app revenue share
percentages for various carriers in 2013, with “previous rates” as 25% credit card, 27% direct carrier billing (“DCB”)
and “new guidance” as 0% credit card, 15% DCB); GOOG-PLAY-000131205.R at GOOG-PLAY-000131232.R-
GOOG-PLAY-000131233.R (2014 presentation showing app revenue share percentages for various carriers at 25%
credit card, 25%-27% DCB); GOOG-PLAY-001385324 at GOOG-PLAY-001385345 (2010 presentation noting that
“rev share % paid to developers and carriers” is 95 percent total).
     179. See Part III.D.1.
     180. Average variable cost refers to variable costs divided by the total quantity of output produced. Marginal
cost refers to the additional cost incurred by producing one additional unit of output. There may be certain variable
costs such as customer support that Google incurs when output expands considerably, but that are not incurred when
output expands by one unit. Thus, Google’s average variable cost will always exceed its marginal cost. Because
Google continues to incur expenses at the margin such as processing fees for each sale, its marginal costs are a good
approximation of its average variable costs.
     181. GOOG-PLAY-000416245 (showing gross profit of negative $5 million in and operating profit of negative
$126 million in 2011. Gross profit is positive $75 million in 2012; operating profit is negative $72 million in 2012).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 79 of 667

                                                         -41-


                  FIGURE 3: GOOGLE’S GROSS MARGINS ON THE PLAY STORE IN 2013




These 2013 figures indicate that anything approaching a 25 percent payment to the carriers would
not have been a sustainable long-term strategy, as it would have been below Google’s marginal
costs and hence below its average variable costs.182
        87.      Based on its financial data, my best estimate is that Google’s marginal costs during
the period 2016 through 2020 are approximately             to      percent of revenue, which exceeds
its     percent revenue share net of payments to U.S. mobile carriers.183 Accordingly, an equally
efficient rival app store that sought to compete with Google by mimicking its payments to OEMs
and mobile carriers would not be able to operate profitably.184 Google was able to sustain such
losses via other revenues (such as advertising revenues from Search), and as demonstrated below,
it eventually anticipated recouping any losses from the early days of the Play Store, after the threat
of competitive entry subsided, by curtailing payments to OEMs and mobile operators.

      88.     According to Tom Moss, Google’s Head of Japan new business development,
Google perceived the Android Market as the “bitter pill” for mobile carriers, and the revenue share


     182. GOOG-PLAY-004499366 at GOOG-PLAY-004499378.
     183. See Table 5, infra (showing In-App Aftermarket Impact & Damages (8/16/2016 – 12/31/2020). Row 7
calculates marginal cost at       percent of consumer expenditures. As explained below, this includes all direct costs
of sales and direct operating expenses. If one considers transaction fees in isolation, Google’s financial data for the
Play Store show that transaction fees alone account for approximately            percent of consumer expenditures. See
Part V.C.1, infra. See also GOOG-PLAY-000416245.
     184. I understand from Plaintiffs’ counsel that, as a legal matter, predation does not require pricing to customers
below costs, but also can be established via demonstration that payments to input providers do not permit rivals to
survive. See Weyerhaeuser Co. v. Ross-Simmons Hardwood Lumber Co., 549 U.S. 312 (2007) (“A predatory-bidding
plaintiff must prove that the predator’s bidding on the buy side caused the cost of the relevant output to rise above the
revenues generated in the sale of those outputs.”). Here, the cost of the relevant output (the cost of operating the Play
Store) was approximately eight percent of Google’s revenues, which exceeded the revenues generated in the sale of
those outputs (five percent) by three percentage points.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 80 of 667

                                                         -42-


as the “sugar” that makes the pill go down.185 In 2009, Google’s plan was to make the initial offer
sweet enough for the carriers so that they would not distribute or invest in their own app stores on
their phones. Then there would be a “tipping point” when all of the users and developers were
wedded to the Play Store, when Google could keep more of the developer revenue for itself.186 By
that point, Google would be able to taper down the payments to mobile operators, which is
precisely what it did. Google began reducing the payments to carriers in 2013, and it eventually
kept the full 30 percent of developer revenues,187 easily covering its marginal costs (of
approximately         percent of revenues) and earning an operating profit of            by 2018.188
By the time the Android App Distribution Market had “tipped” in Google’s favor, there was very
little chance that a mobile operator would enter with its own app store. Not only did Google plan
to recoup its losses from its predatory payments to mobile carriers, it executed its recoupment
strategy to perfection.189

       89.     Critically important to Google’s predatory strategy was to change the rules in the
middle of the game, but only after developers were dependent on Google’s ecosystem. Google
perceived its strategy as building in multiple “phases.”190 The first phase was “ecosystem
building,” which spanned 2008 through 2010, and entailed having “multiple OEMs/devices” and
“multiple carriers” distribute Android.191 The second phase was to “extend Google’s core
business,” which entailed extending its power from search and the associated advertisements into
adjacent markets such as app distribution. In 2013, Google would move into the final phase, titled
“Change the rules/Get a better deal.”192 After widespread adoption of Google’s Android ecosystem
and the Play Store, Google could “increase Google net rev. on apps.”193 In sum, Google’s
anticompetitive strategy for securing the Play Store’s dominance entailed changing the rules after
millions of users, multiple carriers, and multiple OEMs had adopted Google’s ecosystem.

        90.     As Google’s market power grew, Google reduced the carrier’s revenue shares (as
well as the OEM’s revenue shares abroad). In a 2014 Google strategy document, the question of
“what would happen if we ceased paying rev. share to carriers?” was answered: “[T]hey will look
at other monetization alternatives for search and apps. If we do it broadly enough competing
solutions will take full advantage of it.”194




     185. GOOG-PLAY-001423609.
     186. Id. (“The solution, of course, is to create consumer demand for Android Market so that the carriers have
no choice but to install it and make it easily available. How do we accomplish that? By giving generous revenue share
that more or less matches what they would make from their own [app] markets.”).
     187. GOOG-PLAY-000443763 at GOOG-PLAY-000443772.
     188. GOOG-PLAY-000416245.
     189. Typically, predation is used to denote charging prices below costs. But the term may also refer to a situation
when an input provider (here, the carrier or OEM) is paid so much that an equally efficient rival would not find it
profitable to match the payment to the input provider while competing, in which case the payments may drive out
equally efficient rivals.
     190. GOOG-PLAY-001337211 (“Android: OC Quarterly Review – Q4 2010, Oct 12, 2010”) at GOOG-PLAY-
001337226.
     191. Id.
     192. Id.
     193. Id.
     194. GOOG-PLAY-007264058 at GOOG-PLAY-007264062.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 81 of 667

                                                  -43-


           91.




                                                                     , in 2013 and 2014, Google
only paid AT&T five percent revenue share for App credit card sales, keeping 25 percent.198

                                                                                         And Google
finally bested Verizon, successfully amending their revenue-sharing agreement in late 2014 to
reduce App credit card sales revenue-share payments to ten percent for nine months, five percent
for one year thereafter, and then zero after June 2016.200 A 2015 internal Google document lauded
the multi-million-dollar reduction in the Play Store’s cost of sales because Google had “re-
negotiated deals with the major carriers at the end of last year which led to significant savings.”201

         92.  The importance of the carrier channel is evident in Google’s internal documents.
Even in 2019, Google still expressed concern that                                     could lead
to mobile devices being sold with “                                                       ” and
that, if “
                                                      ”202 Google feared that “[c]arriers would
configure Android devices in a way most profitable to them,” through these “alternative app
stores.”203

       93.      As explained in Part III.C.2, because the (two-sided) Android App Distribution
Market is uniquely characterized by strong indirect network effects, the barriers to entry for a rival
app store made for a dangerous probability of recoupment of its early losses by Google. Google’s
control over mobile devices meant that developers had strong incentives to make their apps
Android-compatible; additional apps attracted users, which in turn attracted developers—a
virtuous cycle that entrants could not exploit, at least in part due to Google’s strategy. Indeed, the
probability of recoupment was so high that we observe no significant competition in the Android



    195.

     196.
     197.
     198. GOOG-PLAY-003604606 at GOOG-PLAY-003604619. AT&T collected 9 percent net GTV for direct-
carrier billing transactions.
     199. GOOG-PLAY-003604601 at GOOG-PLAY-003604603.


     200. GOOG-PLAY-003605103; GOOG-PLAY4-002178046 at GOOG-PLAY4-002178049; GOOG-PLAY-
002891881 at GOOG-PLAY-002891882 (2016 internal Google email noting Verizon’s complaint that “dcb payments
are insignificant and they want the cc back again”).
     201. GOOG-PLAY4-004677224 at GOOG-PLAY4-004677225; see also GOOG-PLAY-001184813 at GOOG-
PLAY-001184823 (2015 internal Google presentation noting Play Store revenue share agreements give carriers
“~15% of DCB related consumer App spend (prev. 27% DCB, 25% CC)”).
     202. GOOG-PLAY-004235359 at GOOG-PLAY-004235360 (emphasis in original).
     203. Id.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 82 of 667

                                                       -44-


App Distribution Market despite the fact that Google has been recouping its initial losses for almost
a decade.

       94.    In short, once indirect network effects kicked in, granting Google an
insurmountable monopoly in the Android App Distribution Market, Google was able to
discontinue those incentives without fear of losing market share. As Google executive Jamie
Rosenberg later commented: “We cut carriers in to disincentivize building their own stores and
fragmenting the ecosystem. It worked.”204 Economists recognize how much an early, “first-mover”
advantage means to incumbents in the context of network effects.205

        2.       Google’s Exclusionary Restraints on OEMs

       95.   I understand that three contracts typically govern the relationship between Google
and OEMs. First, OEMs enter Android Compatibility Commitments (“ACCs”), which replaced
Anti-Fragmentation Agreements (“AFAs”).206 Broadly speaking, it is my understanding that
AFAs and ACCs prevent OEMs from selling any “forked” Android-based devices that do not meet
Google’s compatibility standards. Provisions in a typical AFA read as follows:

                Company will not take any actions that may cause or result in the fragmentation of
                 Android.

                Company will only distribute Products that are either: (i) in the case of hardware,
                 Android Compatible Devices; or (ii) in the case of software distributed solely on
                 Android Compatible Devices.

                Company may not distribute a software development kit (SDK) derived from
                 Android, or derived from Android Compatible Devices.207

       96.     Record evidence indicates Google considers forks “a huge strategic headache for
Google,” because they could allow third parties to “grant exclusivity on an Android device to a
competitor” or to promote a competitor by preloading its services.208 OEMs must agree to an AFA
(or now an ACC) in order to enter into MADAs, discussed in detail in the following subsection.
Both are required to gain access to GMS, which has become critical for many apps to function.209



     204. GOOG-PLAY-000439987.R at GOOG-PLAY-000440012.R (emphasis added).
     205. See, e.g., Agam Gupta et al., Combating incumbency advantage of network effects: The role of entrant’s
decisions and consumer preferences, 20(1) COMPETITION AND REGULATION IN NETWORK INDUSTRIES 3-32 (2019);
Marvin B. Lieberman & David B. Montgomery, Conundra and progress: Research on entry order and performance,
46         LONG             RANGE          PLANNING          312–324            (2013),         available         at
www.sciencedirect.com/science/article/abs/pii/S0024630113000344?via%3Dihub.
    206. GOOG-PLAY-000127155 (Standard AFA Agreement signed by
                          ); GOOG-PLAY-000808433 (                                      ); GOOG-PLAY-000808062
(                                    ); GOOG-PLAY-000808451 (                                      ); GOOG-PLAY-
003604523 (                                   ); GOOG-PLAY-000416448 (                                    ).
     207. GOOG-PLAY-000127155 (Standard AFA Agreement signed by
                       ).
     208. GOOG-PLAY-001559464 at GOOG-PLAY-001559469.
     209. I understand that Professor Schmidt’s findings support this conclusion. See also GOOG-PLAY-001559473
(“Can partners sign just the ACC or just the MADA? I guess but this would be kind of pointless, since they need both
to get GMS.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 83 of 667

                                                        -45-


Finally, most OEMs enter into Revenue Sharing Agreement (“RSAs”)—whereby Google shares
revenue it earns on the device with the OEM.210

                  a.       Google’s Mobile Application Distribution Agreements                              Require
                           Distribution and Prominent Placement of The Play Store
        97.     Google owns some of the most highly valued and widely used Android Apps,
including Google Search, Play Store, Maps, Chrome, Gmail, and YouTube. Yet Google refuses to
make these apps individually available to OEMs for pre-installation, instead requiring OEMs to
pre-install an entire GMS suite or forgo installation of any Google proprietary app.211 It is all or
nothing.212 As explained in the Majority Report of the Congressional Subcommittee on Antitrust,
Commercial and Administrative Law:

         Only through Google’s licensing agreements can smartphone manufacturers access
         Google’s proprietary apps, such as Gmail, YouTube, Chrome, Google Maps, and Google
         Play Store. In return, Google requires that certain apps must be pre-installed and must
         receive prominent placement on mobile devices.213

Google recognizes the importance of GMS: “Smartphones aren’t very useful without an app store,
map app, etc. OEMs need to either license those services through Google or else bear the expense
of developing their own services.”214

         98.   In addition, Google places a number of proprietary APIs in Google Mobile
Services. I understand that Professor Schmidt finds that, without access to those APIs, a mobile
device will lack access to many commercially important applications. In order to access these
critical APIs so that applications can work, and to access certain highly demanded applications,
OEMs must sign a MADA with Google to obtain the entire suite of GMS Apps.215




     210. See, e.g., GOOG-PLAY-002604372 (                                                                           .
     211. Google’s MADA refers to these apps as “Core Applications.” See, e.g., GOOG-PLAY-000808375 at
GOOG-PLAY-000808377 (2018 Motorola MADA); GOOG-PLAY-004552342 at GOOG-PLAY-004552344 (2017
Samsung MADA § 1.16 including Search, Chrome, Gmail, Maps, YouTube, and the Play Store). In addition to the
“Core Applications,” some MADAs require installation of region-specific apps called “Flexible Applications.”
GOOG-PLAY-004552342 at GOOG-PLAY-004552344 and GOOG-PLAY-004552347 (§§ 1.15, 3.3). Earlier
MADAs defined the applications simply as “Google Applications.” See, e.g., GOOG-PLAY-000620996 § 1.1 (2011
Archos S.A. MADA). See also Android GMS, The best of Google, right on your devices, available at
www.android.com/gms/.
     212. GOOG-PLAY-003776161.R at GOOG-PLAY-003776177.R (discussing MADA as of 2015: “All of the
11 core apps must be pre-loaded...OEM’s cannot pick apps a la carte.”).
     213. Investigation of Competition in Digital Markets: Majority Staff Report and Recommendations, H.
SUBCOMM. ON ANTITRUST, COMMERCIAL AND ADMINISTRATIVE LAW OF THE COMM. ON THE JUDICIARY, (Oct. 6,
2020), at 212 [hereafter Majority Staff Report]. See also GOOG-PLAY-000400751 at GOOG-PLAY-000400773.
     214. GOOG-PLAY-001559464.R at GOOG-PLAY-001559471.R. Google recognizes that “the smartphone
business is very competitive: two players, Apple and Samsung, make the lion’s share of profits while others operate
on very thin or negative margins.” Id. Licensing GMS, along with revenue shares, can be a “meaningful part of their
business,” and effectively leave OEMs with no choice but to take Google’s conditions. Id.
     215. GOOG-PLAY-001559464 at GOOG-PLAY-001559473; see also Rosenberg Dep. at 189:24-191:1
(testifying that developers write to “APIs that Google provides” and that “if it is an API that is distributed on with,
you know, with that package of software on an Android device, then I don’t know for certain, but I don’t believe that
that API would be available on a device that doesn’t have Google Mobile Services by definition”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 84 of 667

                                                       -46-


        99.     A typical MADA includes several clauses that require an OEM to give preference
to Google Search and other applications in the GMS suite, including the Play Store. GMS Apps
must be pre-loaded on devices and prominently displayed on the home screens; Google Search
must be the default search engine and must also be given prominent placement.216 The current
MADA also requires OEMs to locate the Play Store on the home screens of each mobile device.217
If an OEM wishes to install just one App from the GMS suite, the MADA requires that the “full
suite of apps, services, and APIs” also be installed, and the number of required Google Apps has
increased over time.218 Collectively, all of the Apps in the GMS suite occupy valuable space on
each user’s mobile device that otherwise could be occupied by competing app stores or other Apps.
In certain agreements,
                                                        219
                                                  In sum, Google is able to leverage the dominant
positions of the Apps in the GMS suite to impose restrictions that are designed to further establish
and protect its market power in the Android App Distribution Market.220

       100. Although Google’s MADAs do not prevent OEMs from preloading alternatives to
GMS,221 Google exploits the Play Store’s prominent status, which works to the detriment of rival
app stores, including any pre-installed near Google’s app store.222 Google’s documents recognize


     216. See, e.g., GOOG-PLAY-000025345 at GOOG-PLAY-000025353-GOOG-PLAY-000025354. See also
GOOG-PLAY-000400751.R at GOOG-PLAY-000400773.R (“Recent versions of the MADA require the
                                                     to appear on the default home screen.”).
     217. See, e.g., GOOG-PLAY-004552342 at GOOG-PLAY-004552347 (§ 3.3: “preload on the Default Home
Screen … the Google Play Client”) (         MADA); GOOG-PLAY-000808375 at GOOG-PLAY-000808384
(§ 4.4: “

                                                       ). Google’s MADA has become more restrictive on where
Play must be placed over time. Prior to 2014, the MADA did not require Android Marketplace, the predecessor to
Play, to appear on the home screen. GOOG-PLAY-000620996 at GOOG-PLAY-000621002 (§ 10.2(a): “Google
Search Widget and Android Market Client are presented to the End User on the panel immediately adjacent to the
Default Home Screen.”) (2011 MADA between Archos SA and Google Ireland Limited).
     218. See GOOG-PLAY2-000001992 at GOOG-PLAY2-000001995 (“If a MADA partner chooses to install a
GMS app on a device, the MADA requires the partner to install the full suite of Google GMS apps, services, and APIs
on the device in question.”).
     219. See, e.g. GOOG-PLAY-004552342 at GOOG-PLAY-004552348 (§ 3.4)

                                                                                                  ; GOOG-PLAY-
001404176 (noting that “most users just use what comes on the device. People rarely change defaults. This underpins
our Toolbar and browser chrome distribution models, including iPhone, with data to prove its success”).
     220. Google’s documents establish that the MADA requirements are essential to the Play Store’s dominance.
GOOG-PLAY-006355073 (“Fortunately, we’ll always have the placement/pre-install advantage which is 90% of the
battle.”); GOOG-PLAY-004494430.C at GOOG-PLAY-004494433.C (“Google app distribution to get max usage for
minimum cost” is one of four issues “MADA seeks to balance”).
     221. See GOOG-PLAY2-000001992 (“Google’s MADAs also do not prevent signatories from preloading an
alternative to GMS.”).
     222. Samsung’s Galaxy Store is an example of this. As discussed below in Part IV.C., while the Galaxy Store
came pre-installed along with the Play Store on the Galaxy S10 and later models, Google has engaged in a course of
conduct designed to discourage effective competition to the Play Store from Samsung. Google has recognized its
efforts were effective, pronouncing that “cannibalization of Play store revenue due to Galaxy store” as “none to
minimal.” See GOOG-PLAY-000443908 at GOOG-PLAY-000443909. More broadly, multiple studies have shown
that defaults can impact consumer decisions towards choices such as retirement savings, energy use, and eating
healthier foods. See Brigitte C. Madrian & Dennis F. Shea, The Power of Suggestion: Inertia in 401(k) Participation
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 85 of 667

                                                         -47-


the value of the Play Store’s preferential placement on the home screens of mobile devices,
including its importance to Samsung: “

     ”223 And in questioning whether users and developers would really choose the Play Store,
given a choice, a high-level Google employee wrote, “
                                                                                    ”224

                  b.       Google Has Deployed Multiple Measures to Ensure That Amazon Would
                           Not Become an Effective Play Store Competitor
        101. Google has taken multiple steps to stop competitors from succeeding with a
competing app store. Amazon in particular was a potential competitor that has been substantially
foreclosed by Google’s conduct, which raised the costs to Amazon of competing with its rival app
store. First, as discussed above, the MADAs mandate installation of the Play Store as a condition
of installing any App in the GMS suite. In 2014, Amazon launched a bare Android device called
the “Fire Phone,” which was not pre-loaded with any of the GMS Apps. Indeed, users were “locked
out” by Google from downloading these Apps. Unsurprisingly, consumer demand for a device that
cannot include Apps like YouTube, Gmail, or Google Maps was low, and Amazon discontinued
the device within a year.225 The MADAs prevented an OEM from customizing the Apps on mobile
devices by precluding an alternative bundle comprised of a rival app store (including Amazon’s
app store) alongside Google’s other popular (non-Play Store) Apps—that is, a rival app store
would need to compete across every dimension of Google’s app suite at once, effectively raising
its costs. Without a successful “Fire Phone” due to Google’s restrictions, Amazon was less likely
to fully compete in the Android App Distribution Market by investing and developing a mobile
app store that would rival the Play Store in scope and reach.226

        102. Second, in 2015 Amazon released a backdoor to the Amazon Appstore (Amazon’s
App distribution store) through the Amazon App (Amazon’s shopping App) that was available for
download on the Play Store. As one media outlet noted, “The move effectively turns Amazon’s
flagship application—an app that has somewhere between 50 million and 100 million installs,
according to Google Play’s data for the smartphone version—into an app store app that directly



and Savings Behavior, 116(4) QUARTERLY JOURNAL OF ECONOMICS 1149-1187 (2001); Zachary Brown, Nick
Johnstone, Ivan Haščič, Laura Vong, and Francis Barascud, Testing the effect of defaults on the thermostat settings of
OECD employees, 39 ENERGY ECONOMICS 128-134 (2013); John Peters, Jimikaye Beck, Jan Lande, Zhaoxing Pan,
Michelle Cardel, Keith Ayoob, and James O. Hill, Using Healthy Defaults in Walt Disney World Restaurants to
Improve Nutritional Choices, 1(1) JOURNAL OF THE ASSOCIATION FOR CONSUMER RESEARCH 92-103 (2016).
     223. GOOG-PLAY-000832471.
     224. GOOG-PLAY-000292207.R at GOOG-PLAY-000292226.R (see also GOOG-PLAY-000292207.R at
GOOG-PLAY-000292213.R; GOOG-PLAY-006355073).
     225. Edelman & Geradin at 167 (citing www.wsj.com/articles/amazon-fire-phone-review-full-of-gimmicks-
lacking-basics-1406077565).
     226. See GOOG-PLAY-001317740 at GOOG-PLAY-001317741 (2011 Google summary of competing app
stores: “Amazon making play at mobile content distribution with launch of Appstore for Android… branded headseat
(Amazon Blaze) on the horizon.”) (emphasis in original); GOOG-PLAY-001451619 (Google negotiators recommend
rejecting any requests from Amazon to modify MADA for Fire devices, knowing GMS would make the device
stronger but competing app stores would cause “fragmentation.”); see also GOOG-PLAY-007657997 at GOOG-
PLAY-007658010 (2017 concern that although Amazon’s app store “lacks critical mass of users and developers
today,” “[i]f they can achieve either, we believe this will create a virtuous cycle drawing in more users and developers
– increasing appeal of Fire devices and greatly increas[ing] the severity of the threat.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 86 of 667

                                                      -48-


competes with Google Play, while also being sold on Google Play.”227 Google quickly forced
Amazon to update its app to remove this functionality.228

        103. Third, using its control over access to the GMS suite and the dominant position of
the Play Store in the Android App Distribution Market, Google was able to introduce additional
restraints that strongly discouraged use of bare Android devices. For example, consumers who had
purchased an App via the Play Store were prohibited from re-downloading that App to a bare
Android device that could not include the Play Store. These consumers would have to repurchase
the same App on their bare device to keep using it.229 Accordingly, consumers wishing to move to
non-Google Android devices, such as the Amazon “Fire” phone, would be required to repurchase
all Apps they had previously purchased from the Play Store or contact the developer directly to
request a free download on the new device.

                 c.       Google Discouraged Samsung from Effectively Competing with the Play
                          Store in the Distribution of Apps in the Android App Distribution Market
                          and Entered into Deals with Developers to Mitigate the Risk of
                          Competition from Samsung
        104. Google’s treatment of Samsung, the largest Google Android OEM, illustrates
Google’s recognition of the potential competitive threat posed by a competing app store and the
lengths Google would take to avoid such competition. Google engaged in numerous detailed,
strategic programs to “mitigate challenges” posed by Samsung’s expansion of its app store,230
“Samsung Apps,” later rebranded as the “Galaxy Store.”

       105. As early as 2011, Google recognized that competition from a Samsung app store
could be “destructive” to Google Android because it would lead to “developer exclusives,
competing business models, etc.”231 Google also feared that Samsung could secure exclusivity of
popular new Apps meaning that “the app is available on Samsung stores or devices and not on
Play for a period of time, usually months.”232 Pre-loading of the app store on all Samsung devices
would allow Samsung to “shift consumer behavior away from shopping for apps and games in the
Play Store. This fundamentally impacts Play store effectiveness.”233 Google’s goal was: “[G]et




     227. GOOG-PLAY-000832219 at GOOG-PLAY-000832221.
     228. Google’s Jamie Rosenberg made this clear in an email to Sameer Samat on March 14, 2015. GOOG-
PLAY-000832219 (“New downloads of the Amazon Mobile app (as of 12/12) would not have App Store
functionality.”).
     229. Edelman & Geradin at 167 (citing www.wsj.com/articles/amazon-fire-phone-review-full-of-gimmicks-
lacking-basics-1406077565). The Nokia X phone, also launched in 2014, met a fate similar to the Amazon Fire Phone
for these reasons. Id.
     230. GOOG-PLAY-000004762.R at GOOG-PLAY-000004764.R; see also GOOG-PLAY-000367346.R.
     231. GOOG-PLAY-006359924 at GOOG-PLAY-006359925 (explaining “we don’t believe Samsung should
be cultivating its own developer ecosystem”).
     232. GOOG-PLAY-006359924.
     233. GOOG-PLAY-006359924 at GOOG-PLAY-006359925.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 87 of 667

                                                       -49-


them to stop distributing apps through Samsung App store”234 or otherwise “duplicat[ing] our
services on Android.”235

        106.




               239


        107.




     234. GOOG-PLAY-001438299 at GOOG-PLAY-001438300. See also GOOG-PLAY-004253884 at GOOG-
PLAY-004253907 (“Samsung is competing directly with Google, positioning itself to control more consumer touch
points and to enhance control over the home-screen”).
     235. GOOG-PLAY-001449339 at GOOG-PLAY-001449340 (explaining “Samsung’s duplication of our
services on Android” was “one of the critical issues with the partnership right now” and the presence of the “Samsung
Apps relative to Google Play” was the “most glaring” example of such duplication).
     236. GOOG-PLAY-000417080.
     237. GOOG-PLAY-001455849 (explaining the Samsung App store had “grown to a store with 70k apps,” but
it had not done well).
     238. Id.
     239. GOOG-PLAY-001847447 at GOOG-PLAY-001847448 (explaining “Galaxy Apps is a parking place for
‘less than 1,000 apps’ that showcase Samsung devices in some way.”).
     240. GOOG-PLAY-004509271 at GOOG-PLAY-004509272.
     241. Id.
     242. Id.
     243. GOOG-PLAY-000004762 at GOOG-PLAY-000004785. See also GOOG-PLAY-000367346.
     244. The technical processes known as “Alley-oop” was a critical part of Google’s offering. As described by
Google, “Alley-oop” meant that Google provided the “delivery infrastructure for Samsung’s Galaxy Store” whereby
any download would appear to the user as occurring “through Play without leaving the Galaxy Store.” GOOG-PLAY-
000464148 at GOOG-PLAY-000464150. It would also “apply to Game Launcher and any other Samsung product
where apps can be downloaded through the Galaxy Store today.” Id. In practical terms, that meant Google would
continue to receive its 30 percent share of any paid App download through the Galaxy Store, and Samsung could not
entice developers with lower take rates. Id. at GOOG-PLAY-000464149-GOOG-PLAY-000464150.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 88 of 667

                                               -50-


                                                                                         245


       108. Google’s Jamie Rosenberg confirmed that the effect of Google’s Project Banyan
proposal to Samsung would have been that Samsung and Google would not compete for the time
of developers’ engineers, and would not have competing commercial terms for developers.246

      109.     But Project Banyan alone was not enough to address Google’s ongoing fears of
competition from Samsung. Google remained concerned that:

      Samsung could drive more developers and users to its store by discounting its rev share to
       developers as “payment” for exclusives and unique content, and by using “[p]romotions
       and discounts to users to use their store using notifications, emails, etc.”247

      Samsung could respond “with a very public and disruptive rev share model (i.e., it just
       decides that it will take only 5% and use its app store for purposes of building [form of
       payments] and user profiles and differentiating devices.[)]”248

      “[I]f Samsung wins the hearts & minds of developers on this, it could create enormous
       pressure on us to unblock their opportunity one way or another,” and while developers
       “will tolerate some premium pricing for distribution through Play / Google and all that we
       provide, but not a gap that wide.”249

               d.      Google Project Hug Secured Content from Some of the Largest
                       Developers, Preventing them from Giving Competing Stores the Exclusive
                       Content Necessary to Help Drive Usage
        110. Google also introduced “Project Bear Hug,” later shortened to “Project Hug,”
which imposed a contractual requirement on major Play Store developers to prevent app stores
from entering “exclusives for the most lucrative and risky developers.”250 Known internally as the
            requirement, Project Hug required developers
                                                                           , thereby foreclosing the
ability of developers to enter into lucrative                    with other app stores.251 Google’s
documents indicate that Projects Banyan and Hug worked together to enable Google to continue
to reap the rewards of its supra-competitive take rates, by (1) limiting Samsung’s Galaxy Store
catalog, which minimized the effectiveness of any “deep discounts” Samsung might offer;252 and
(2) drafting contract terms that “[d]isincentivize broad discounts (across many / all apps to siphon
engagement away from equivalent Play app).”253



    245. GOOG-PLAY-000367346.R at GOOG-PLAY-000367347.R.
    246. Rosenberg Dep. at 114:24-115:22; see also PX 783, GOOG-PLAY-007384816 at GOOG-PLAY-
007384818.
    247. GOOG-PLAY-001877016 at GOOG-PLAY-001877020–GOOG-PLAY-001877021.
    248. Id. at GOOG-PLAY-001877020.
    249. Id.
    250. GOOG-PLAY-001877016 at GOOG-PLAY-001877019.
    251. GOOG-PLAY-000000807 at GOOG-PLAY-000000810.
    252. GOOG-PLAY-000464148 at GOOG-PLAY-000464151.
    253. Id.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 89 of 667

                                                       -51-


        111. One of the key Google employees responsible for implementing Project Hug has
admitted that the terms of the Project Hug agreements, which prevented developers from
                                                   , including Samsung’s Galaxy Store, have
effectively mitigated the competition from Samsung. Mr. Koh explained that Project Hug’s
                   was aimed at ensuring “developers were prioritizing Google Play when they
were thinking about launching a new game or a major new content update”254 and that Google was
concerned that developers might strike deals to                       through Samsung’s Galaxy
Store.255 Project Hug prevented those developers, however, from
                                              on Samsung Galaxy or other competing stores. Mr.
Koh viewed Project Hug as “mitigating our risk of losing out to competition” from Samsung and
other competitors.256 In this way, Project Hug impaired competition from other stores.

           112.




                                      257


        113. While Google “halt[ed] work” on Project Banyan in July 2019 and instructed its
employees to “not proceed with the related work streams involving our respective app store,”258
its efforts to minimize competition from Samsung’s Galaxy Store had already been effective. In
2019, Google executives presented a “Galaxy Store Performance Update” concluding that the
Galaxy Store was unable to meaningfully compete with the Play Store as the Galaxy Store
“continues to lack compelling differentiation in terms of new exclusive titles or [In-App
Products],”259 and that “the cannibalization of Play store revenue due to Galaxy store is none to
minimal.”260 This result stemmed from the “firewall that Galaxy store is limited to promotion and
curation only for Samsung exclusives” and Samsung’s reluctance to “start conflicting with Play
curation.”261

        114. Google’s subsequent analysis of a major game release,
confirmed the Update’s findings and estimated the Galaxy Store grossed only    to
(across all apps), or between     and       percent of the amount consumers spent on the same
Apps on the Play Store.262 Thus, Google’s pressure and its Project Hug agreements thwarted


    254.    Koh Dep. at 362:22-363:1.
    255.    Id. at 364:13-365:4.
    256.    Id. at 367:4-16.
    257.    GOOG-PLAY-002994573 at GOOG-PLAY-002994574.
    258.    GOOG-PLAY-004136427.
    259.    GOOG-PLAY-000443908.R at GOOG-PLAY-000443911.R.
    260.      .



    261. GOOG-PLAY-000367346.R at GOOG-PLAY-000367351.R.
    262. GOOG-PLAY-000001317. In a 2019 internal email referencing “top games” such as
                                             Google’s Christian Cramer asked, “[a]re we tracking how much traction
these top games get on other platforms such as the Galaxy store?” In response, Google’s Brian Brazinski reported that
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 90 of 667

                                                        -52-


Samsung’s efforts to differentiate its product offerings through exclusives with developers offering
unique content at lower prices. Otherwise, more developers and consumers would have been
attracted to the Galaxy Store. Google was able to achieve this result even though Samsung was a
sophisticated, well-resourced market entrant that secured broad pre-installation of its own app
store.

                  e.       Google’s New Revenue Sharing Agreements With OEMs Are Designed
                           To Further Entrench The Play Store’s Monopoly
       115. Google has further insulated the Play Store from competition through its most
recent series of OEM agreements. Stylized as


                         on the absence of any pre-installed third-party apps that compete with
Google apps, including third-party app stores.263

        116. I understand that Google chose to enter into these agreements after certain OEMs
had begun to build out distribution scale that could allow third-party stores to compete with the
Play Store if successfully preloaded.264 These Premier Tier payments thus compensated OEMs on
                                                                     if the OEM agreed not to allow
third-party app stores to be preinstalled on each Premier Tier device.265 The RSA payments offered
by Google were economically significant, as Google expected total spend to be nearly
in 2020 and up to             in 2023.266 Indeed, Google’s stated goal was to move all
                                                  .267

        117. Google’s RSA agreements prohibiting the pre-installation of competing app stores
affected a growing and substantial portion of Android devices shipped. Google has entered into
RSA agreements with at least       OEMs to date.268 In 2020, based on projections for       OEMs
who had then signed Google Forward agreements, Google anticipated                          Premier
Tier devices to ship in      and      .269 According to Google’s internal estimates, as of January
2021,      out of       devices sold were “Premier Devices,” and this was expected to increase in


Monthly Active User (“MAU”) and Daily Active User (“DAU”) metrics for the Galaxy Store were only a small
fraction of those for the Play Store (“MAU/DAU for both HPWU and PG are                of Play DAU/MAU”). Id. at 318.
Similarly, “Total hours played on Galaxy apks          of game time on Play apk.” Id. More broadly, the same document
also estimated that aggregate consumer spend for Apps and Games (“A&G”) in the Galaxy Store was about              to
      percent of those in the Play Store. Id. at 317 (“Galaxy Store grosses              today in A&G consumer spend
(between         of Play A&G spend[.]”).
     263. See GOOG-PLAY-004489416.R; GOOG-PLAY-000443763; GOOG-PLAY-004494430.C; GOOG-PLAY-
004486928.R.
     264. GOOG-PLAY-000443763 at GOOG-PLAY-000443773.
     265. Id. at GOOG-PLAY-000443775.
     266. GOOG-PLAY4-007239946.
     267. Id.
     268. GOOG-PLAY-000620210 (               ); GOOG-PLAY-000620638 (              ; GOOG-PLAY-005706338 (         );
GOOG-PLAY-008111867 (                             ); GOOG-PLAY-001745614 (         ); GOOG-PLAY-000416708 (
             ); GOOG-PLAY-000620282 (                      ); GOOG-PLAY-000620442 (                         ); GOOG-
PLAY-000620131 (                                                ); GOOG-PLAY-005706436 (             ); GOOG-PLAY-
005706676 (                 ); GOOG-PLAY-007038477 (                      ); GOOG-PLAY-007038511 (                  );
GOOG-PLAY-000620478 (                      ); GOOG-PLAY-005706728 (            ); GOOG-PLAY-000416651 (            ).
     269. GOOG-PLAY-008006134.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 91 of 667

                                                         -53-

      270
         For some OEMs, all or nearly all of their devices sold in January 2021 were “premier
tier,” demonstrating the power of Google’s revenue sharing terms.271

        118. The RSA agreements substantially foreclose some of the remaining and most viable
distribution avenues for competitive stores. For these agreements, Google targeted those groups
of OEMs that were building, according to its internal documents, “significant distribution scale.”
Google planned to “incentivize OEMs to prioritize Play” with these agreements.272 “Prioritizing
Play” meant preloading “Play as the exclusive app store on devices.”273 As of 2019, Google’s plan
was to move “all current non-Samsung RSA partners” to its RSA agreements.274 Google’s internal
documents indicate that it focused on “non-Samsung RSA partners” because Samsung was itself
investing in its own Galaxy Store.275 Assuming Google succeeded in moving most non-Samsung
manufacturers to this program over the last couple of years, it would have cut off virtually every
important pre-loading distribution avenues for competitive third-party app stores, substantially
foreclosing their ability to compete in the relevant market. These new, broad restrictions on
potential third-party competitors serve to further entrench the Play Store’s dominance.

         3.       Google’s Exclusionary Android App Distribution Market Restraints on App
                  Developers

         119. Google’s agreements with developers inhibit competition from rivals in the
Android App Distribution Market by prohibiting the distribution of competing app stores through
the Play Store and by prohibiting developers from steering users to lower-priced App distribution
channels or using user information learned through the Play Store. Developers are precluded from
using the Play Store “to distribute or make available any Product that has a purpose that facilitates
the distribution of software applications and games for use on Android devices outside of Google
Play.”276 Nor can developers steer consumers to other platforms or websites to purchase or
download Apps or In-App Content: “You may not use user information obtained via Google Play
to sell or distribute Products outside of Google Play.”277



     270. GOOG-PLAY-003894142 at GOOG-PLAY-003894172. I understand that Plaintiffs do not have updated
discovery from Google to determine the number of current devices that ship under Premier Tier terms.
     271. Id. at GOOG-PLAY-003894173 (noting            percent premier tier for Sony,        percent for      , and
percent for            ).
     272. See GOOG-PLAY-000443763 at GOOG-PLAY-000443774.
     273. Id. at GOOG-PLAY-000443775.
     274. GOOG-PLAY4-007239946 at GOOG-PLAY4-007239947.
     275. GOOG-PLAY-004502766.
     276. See Google Play Developer Distribution Agreement (as of Jan. 4, 2014) (“You may not use the Market to
distribute or make available any Product whose primary purpose is to facilitate the distribution of software applications
and games for use on Android devices outside of the Market.”); Google Play Developer Distribution Agreement (as
of Sep. 25, 2014) (“You may not use the Store to distribute or make available any Product which has a purpose that
facilitates the distribution of software applications and games for use on Android devices outside of the Store.”);
Google Play Developer Distribution Agreement (effective as of June 12, 2020) (“You may not use Google Play to
distribute or make available any Product that has a purpose that facilitates the distribution of software applications
and games for use on Android devices outside of Google Play.”). For years, dating at least back to 2008, Google called
this the “Non-Compete” provision. See, e.g., GOOG-PLAY-000054021 at GOOG-PLAY-000054022; GOOG-
PLAY-000054683 at GOOG-PLAY-000054685 (2008 version). By 2014, Google had dropped this label in favor of
calling the provision “Alternative Stores.” Compare GOOG-PLAY-000054039 at GOOG-PLAY-000054041 (2014
version) with GOOG-PLAY-000053975 at GOOG-PLAY-000053977 (2017 version).
     277. GOOG-PLAY-000053875 at GOOG-PLAY-000053876 (Google Play Developer Distribution Agreement
(effective as of Nov. 17, 2020), point 4.9).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 92 of 667

                                                      -54-


        120. In addition, to access Google’s App Campaigns program, Android App developers
must list their Apps in the Play Store.278 Only Apps that were distributed in the Play Store could
participate in Google’s App Campaign program, a program specifically designed to allow
developers to place ads for Apps and In-App Content on Google’s self-proclaimed most valuable
properties.279 Those “properties,” which are specially optimized for the advertising of mobile
Apps, included Google Search, YouTube, Discover on Google Search, and the Google Display
Network. Google was explicit about this linkage in its marketing, representing that placement in
the Play Store enabled developers to “get your app into the hands of more paying users” by
“streamlin[ing] the process for you, making it easy to promote your apps across Google’s largest
properties.”280 This conduct further entrenched Google’s monopoly in the Android App
Distribution Market by coercing developers to list their Apps in the Play Store or risk losing
advertising access to some of the Internet’s most effective advertising space.

       121. A key part of Google’s effort to prevent developers from supporting a rival app
store was Project Hug.281 Like Google’s payments to OEMs and mobile operators, Project Hug
followed a simple formula: pay the potential competitor enough to prevent it from going “off-
Play” or from giving a competitor such as Samsung exclusive content, but less than Google’s
expected loss from damage to its monopoly.282

        122.    Project Hug provided incentives in the form of
                                                283
                                                      The monetary payments were significant, typically

    278. Google Ads Help, About App campaigns, available at support.google.com/google-
ads/answer/6247380?hl=en.
    279. See GOOG-PLAY-000226999 at GOOG-PLAY-000226999-GOOG-PLAY-000227001 (Co-marketing
fund agreement)




    280. Google Ads Help, About App campaigns, available at support.google.com/google-
ads/answer/6247380?hl=en.
    281. GOOG-PLAY-000445443.R at GOOG-PLAY-000445458.R. Externally, in negotiations with developers,
Google referred to Project Hug as the “Games Velocity Program” (“GVP”). See GOOG-PLAY-000932349. Google
required developers who signed GVP agreements to keep the deal confidential. Id. at GOOG-PLAY-000932352
(“Neither party may make any public statement regarding this Addendum without the other’s written approval.”).
    282.




Id. at GOOG-PLAY-000000809. In return,



  283. See, e.g., GOOG-PLAY-000559379 at GOOG-PLAY-000559382 and GOOG-PLAY-000559384;
GOOG-PLAY-000000807; GOOG-PLAY-000229696; GOOG-PLAY-005027813 (showing Hug-approved budget,
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 93 of 667

                                                        -55-


amounting to around        to     percent of total consumer spend on the Play Store.284 In return
for these payments, Google required that developers invest in the Play Store


                       285


        123. Google’s Project Hug and the             requirement in particular proved successful.
Within one year,       of the top      game developers had signed Games Velocity Program
Agreements.286 One of the holdouts,           t, a popular gaming developer, said that it was
considering launching its own “Off-Play Webstore” to avoid Google’s commission charge.287
According to Google, if          were to migrate all of its spend off Google, the impact would be
“       to       in spend from 2019-22.”288 Google, aiming to “[m]itigate the risk” of
defection from Google Play, made an offer to             that involved revenue-sharing incentives
and “reinvesting” customer spend into mutually beneficial marketing activities.289 By April 2020,
Google had offered           a“                                    ”290 Shortly thereafter,
                                291
signed a Project Hug agreement.

        124. Altogether, Google estimated that Project Hug resulted in “         Play margin loss
risk mitigated (2019-2022),” while also driving an additional                   in cross-platform
revenue.292 Google also noted that signed Project Hug developers had stopped “escalat[ing] about
rev share to date” and were “leaning into Play & Google partnership.”293 In 2020, Google decided
to double down and rolled out the Games Velocity Program 2.0, offering Project Hug-like benefits
to the next    largest game developers.294




developers and their expected 2020 Play spend, along with

    284. GOOG-PLAY-000559379 at GOOG-PLAY-000559382-GOOG-PLAY-000559383 (“In a typical deal,
Play reinvests

                       . See also GOOG-PLAY-004119228.R at GOOG-PLAY-004119237.R (“Effectively, GVP is
a cross-Google deal structure where by [sic] Play takes           of the revenue share a developer would have owed
Google and allows the developer to reinvest those dollars towards Google cloud credits, incremental

     285. GOOG-PLAY-000000807 at GOOG-PLAY-000000810-GOOG-PLAY-000000811.
     286. GOOG-PLAY-000001976.
     287. Id. (“Tencent is therefore considering [whether] to launch their subscription service in an off-Play
Webstore to get the economics they aspire.”).
     288. GOOG-PLAY-000003283.R at GOOG-PLAY-000003308.R.
     289. GOOG-PLAY-000001976 at GOOG-PLAY-000001976-GOOG-PLAY-000001977 (“As                                     has
influence over a large portfolio of games developers that adds up to          of Play revenue,         would have a
realistic opportunity to successfully launch an off-Play business which would result in a margin risk of          for
Play.” The GVP (Games Velocity Program) deal was designed to “[m]itigate the risk” of                    defection. It
included an offer to share revenue (percentage of                                    and
                    ) and to “          ” a percentage of subscription spend into “
                                                                                 ”).
     290. GOOG-PLAY-000003283.R at GOOG-PLAY-000003286.R.
     291. GOOG-PLAY-003899355.R at GOOG-PLAY-003899360.R.
     292. GOOG-PLAY-004146689.R at GOOG-PLAY-004146697.R.
     293. Id.
     294. GOOG-PLAY-004146689 at GOOG-PLAY-004146722.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 94 of 667

                                                        -56-


        125. Google’s “sim-ship” requirement that game developers release all games on the
Play Store on the game’s day of launch can be understood as a most-favored-nations (“MFN”)
clause foreclosing competing app stores from entering into exclusive arrangements with
developers whereby, in return for a substantial payment, the developers agree to launch a title on
a rival app store. When employed by dominant platforms such as Google, MFNs have been
recognized as impairing competition.295 Pricing-parity MFNs preclude the supplier (developer)
from pricing below the price it charges on the platform,296 but MFNs can also dictate non-price
terms such as product quality or timing that indirectly weaken price competition. Baker and Scott
Morton explain that “[p]latform MFNs with greater scope and duration would be expected to have
stronger anticompetitive effects and impose larger penalties[.]”297 The scope of Google’s
equivalent to an MFN here can be measured by the revenue-share of the participating Apps among
U.S. customers. Using Google’s transaction data, I estimate that the      developers that were part
                         298
of Project Hug in 2019 accounted for            percent of all game-related App revenue and
percent of all App revenue on the Play Store in 2019. I also estimate that the    game developers
that were part of Project Hug and the expanded Games Velocity Program 2.0 in 2020299 accounted
for      percent of all game-related App revenue and        percent of all App revenue on the Play
Store in 2020. Put differently, Google’s equivalent to an MFN prevented a potential or actual rival
app store from preferentially or exclusively selling over        of the most popular applications in
2020.

        126. Deposition testimony supports the conclusion that potential competition was
eliminated. According to Google’s Mr. Koh, the               requirement eliminated one potential
                                                       300
avenue of competition from Samsung’s Galaxy Store,
                                                       For this reason, Mr. Koh “viewed it as it
mitigating our risk of losing out to competition” from Samsung and other competitors.301

        127. Google’s sim-ship requirement effectively prevented any rival app store from
offering consumers major gaming titles at an earlier date or on an exclusive basis—preferences
that could have helped rival app stores to gain a foothold with consumers and convince OEMs to
pre-install a rival app store. Once such a new app store was widely distributed, developers could
have used that alternative distribution outlet to pressure Google to reduce its take rate in the
Android App Distribution Market via the threat of steering. Thus, although the MFN equivalent




     295. See, e.g, Jonathan B. Baker & Fiona Scott Morton, Antitrust Enforcement Against Platform MFNs, 127(7)
YALE LAW JOURNAL 2176-2202, 2177 (2017) (studying the effects of MFNs under an “agency distribution model,”
whereby “the platform does not take ownership of the good (e.g., the hotel room) but sells it on behalf of the owner at
a price chosen by the owner.”).
     296. A pricing-parity requirement creates an incentive for the seller not to offer low prices because any price
discount must be offered to all covered buyers, which makes discounting more expensive and thus softens price
competition. Id. at 2179-2180.
     297. Id. at 2182.
     298. List taken from GOOG-PLAY-000237798. Tencent is excluded from this list. GOOG-PLAY-000001976
(“Tencent is therefore considering to launch their subscription service in an off-Play Webstore to get the economics
they aspire.”).
     299. The Project Hug developer list was taken from GOOG-PLAY-000237798, with                     excluded, supra.
The expanded GVP developer list is taken from GOOG-PLAY-004146689 at GOOG-PLAY-004146710.
     300. Koh Dep. at 364:9:365:4.
     301. Id. at 367:4-16.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 95 of 667

                                                        -57-


here was not aimed directly at prices, it ultimately reduced price-based competition by eliminating
the prospect of steering.

         4.       Technical Barriers

        128. I understand that Professor Schmidt finds that Google uses various technical
barriers that prevent or inhibit competition from other app stores with its Play Store. Google makes
it unnecessarily difficult for consumers to download Apps from rival app stores. I understand
Professor Schmidt explains that, in many cases, users must first locate the store on the Internet,
then sideload the store, and then change a security setting on Android devices, which Google
discourages by first creating default settings that block these downloads, and then, if the user
attempts to change the setting to download an application, by displaying often misleading warnings
regarding competing app stores.

        129. For example, in 2016 to download the Amazon app store, a user had to complete a
series of 19 steps, including selecting “Unknown Sources” within the user’s security settings, and
navigating three separate security warnings.302 The “Unknown Sources” label is ominous, with
early versions warning users that downloading app stores would make your “[p]hone and personal
data … more vulnerable to attack.”303 Android has used variations of this warning even for
reputable stores like Amazon’s.304 I understand that Google has continued to use such warnings
when a user attempts to install rival app stores.

        130. I understand that Professor Schmidt finds that Google further frustrates the ability
of consumers to customize their devices by imposing technical barriers that impact the
downloading of Apps from outside the Google Play Store, including from developer websites,
which must proceed through an “unknown sources” flow. While Google Android technically
permits sideloading, I understand that Professor Schmidt will opine that Google has made it
unnecessarily cumbersome. I also understand that the Google, over time, has increased the
frequency with which a user encounters the “unknown sources” flow. In the past, a user would
trigger the “unknown sources” flow when downloading a third-party app store, but not when
thereafter downloading an app from that third-party app store. Now, a user triggers the “unknown
sources” flow when downloading the third-party app store and when downloading the user’s first
app. As a result of these technical impediments, sideloading is not a commercially viable
alternative distribution channel for most developers.305



    302. A Google presentation recognized the significance of this sideloading deterrent by documenting the 19
steps required to successfully install Amazon Underground. GOOG-PLAY-000297309.R at GOOG-PLAY-
000297311.R-GOOG-PLAY-000297314.R. I understand that this is confirmed by Professor Schmidt’s findings.
    303. Blake Stimac, How to sideload an app onto your Android phone or tablet, GREENBOT, (July 17, 2014),
available at www.greenbot.com/article/2452614/how-to-sideload-an-app-onto-your-android-phone-or-tablet.html.
    304. Jimmy Westenberg, How to install the Amazon Appstore on your Android [Android 201], ANDROIDGUYS,
(Apr. 5, 2014), available at www.androidguys.com/tips-tools/install-amazon-app-store-android/.
    305. See also Jerry Hildenbrand, Sideloading and Unknown Sources on Android: How to do it and fix errors,
ANDROID CENTRAL, (Apr. 16, 2020), available at www.androidcentral.com/unknown-sources ; Edelman & Geradin ,
supra, at 168 (“enabling sideloading requires first reducing phone security settings, which users will rightly hesitate
to do.”); Joel Snyder, What are the risks of sideloaded Android applications?, SAMSUNG KNOX, (Apr. 20, 2020),
available at www.samsungknox.com/en/blog/what-are-the-risks-of-sideloaded-android-applications ; Dallas Thomas,
Get Easy Updates on Sideloaded Android Apps, GADGET HACKS, (Dec. 27, 2016), available at
android.gadgethacks.com/how-to/get-easy-updates-sideloaded-android-apps-0174291/.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 96 of 667

                                                  -58-


        131. In addition, I understand that Professor Schmidt will explain that Google has also
historically restricted auto-updating capability to Apps listed in the Play Store or app stores pre-
installed by OEMs. (Auto-updating is properly understood as a function in the Android App
Distribution Market; there is no separate demand among consumers for that function apart from
an app store.) This restriction inhibits competition by degrading the user experience for Apps
downloaded from an alternative source. I understand that Professor Schmidt will set forth that
Google only recently loosened this restriction when it released Google Android version 12 in
October 2021.306

 IV. GOOGLE’S ANTICOMPETITIVE CONDUCT IN THE IN-APP AFTERMARKET OF SERVICES IN
                    SUPPORT OF THE PURCHASE OF IN-APP CONTENT
        132. In this Part, I use data, economic methods, and evidence common to all Class
members to establish that the global In-App Aftermarket for services in support of the purchase of
In-App Content is a relevant market for antitrust purposes, that Google possesses significant
market power in this market, and that Google has engaged in anticompetitive conduct to further
and retain its power in this market.

A.      The In-App Aftermarket Is a Distinct Relevant Antitrust Product Market

       133. After a consumer has examined the available options on the Play Store, selected an
App, and downloaded it to her device, the developer may choose to offer In-App Content for
purchase and download. Such content can include, among others, access to an ad-free version of
the App; videos or interactive programs that run within the App; or avatars, skins, or other
accessories used for in-App gameplay. When Apps are free, the sale of In-App Content is often a
major way for developers to earn revenue. Indeed, record evidence suggests that the revenues
developers receive for In-App Content vastly exceed the revenues developers receive for initial
download of Apps.307

        134. I understand that to provide In-App Content, developers must be able to authorize
the use of such content and collect payment from consumers for it. Payment systems require
software that securely verifies and accepts customer purchases and may perform other related
functions such as storing information about users and their purchasing history or tracking payment
histories. Payment systems are also keyed to trigger the unlocking and authorization for the
delivery of In-App Content once it is purchased and paid for by consumers. That is, distribution
of In-App Content is not complete until the consumer can use those items, and that does not occur
until payment is processed and the feature is unlocked.308

       135. The Play Store is not needed in these In-App Aftermarket services, as the
matchmaking function is not present. Thus, the one-sided In-App Aftermarket is distinct from the
two-sided Android App Distribution Market. See Part III.A, supra. As Mr. Koh testified, in the
delivery of In-App Content to consumers, in-app item inventory resides on developers’ (not
Google’s) servers.309 Although (by virtue of the billing system tie-in) Google provides


   306. See also Google Play services, available at developer.android.com/distribute/play-services ; GOOG-
PLAY-004904016.
   307. GOOG-PLAY-000379093.
   308. I understand that Professor Schmidt’s findings support this conclusion.
   309. Koh Dep. at 381:4-382:6.
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 97 of 667

                                                           -59-


confirmation of payment, it is the developer, and not Google, that releases and delivers In-App
Content to the consumer.310 I also understand that Professor Schmidt finds that, as a technological
matter, there is no basis for Google to insert itself into the In-App Aftermarket by requiring that
developers use Google Play Billing.

        136. In Appendix 5, I use a critical-loss analysis to inform a SSNIP test, which shows
that a hypothetical monopoly provider of In-App Aftermarket services could profitably raise prices
above competitive levels demonstrating that the In-App Aftermarket is a separate relevant antitrust
product market.

         137. Google uses its contracts with developers to control the In-App Aftermarket.
Initially, Google requires that, if an App is offered through the Play Store, the developer must use
Google Play Billing for all subsequent sales of digital In-App Content that is consumed within the
App.311 Google utilizes Google Play Billing to impose a general take rate of 30 percent (with the
aforementioned exceptions)—the same take rate it commands in the Android App Distribution
Market—on all such purchases in perpetuity.312

        138. Absent Google’s restrictions, competition would materialize and there would be
alternative providers of In-App Aftermarket services, including authorization and payment
systems. And record evidence shows that developers (the buyers in the In-App Aftermarket of
services in support of consummating a purchase of In-App Content) seek those services from third
parties,313 consistent with the notion of a separate demand from the matchmaking service offered
via the app store in the Android App Distribution Market. The developer’s demand for those
services is derived from the consumer’s demand for In-App Content. That numerous major
developers have gone to the effort to use other systems, and to steer users to those systems (see
Part IV.C.1 below), provides economic evidence that there is a market demand for the In-App
Aftermarket services separate from the matchmaking services provided in the Android App


     310. Id. at 383:3-21.
     311. Google        Developer       Program      Policy     (effective    Dec.       1,     2021),      available     at
support.google.com/googleplay/android-developer/answer/11498144?hl=en&visit_id=637814760589469507-
2803788482&rd=1. See also my discussion earlier in Part I.A.2.
     312. See      Google       Play,     Google     Play     has     something      for     everyone,      available     at
play.google.com/about/howplayworks/?section=about-google-play&content=service-fee. The service fee applies if
developers “sell subscriptions or other digital content within an app,” but is not affected by the length of time after an
App is downloaded – with the exception of subscription products, which face a lower service fee after being retained
for over a year. See Play Console Help, Service fees, available at support.google.com/googleplay/android-
developer/answer/112622?hl=en.
     313. See, e.g., Koh Dep. at 183:14-18 (“There were developers that aspired to be -- have owned the end-to-end
cycle. And yes, working with Google Play wouldn’t allow developers to – developers aspired to own that, to own that,
complete end to end.”); Deposition of Kevin Wang (Dec. 15, 2021) at 94:14-21 (recalling that some developers were
not interested in using Google’s billing system). See also GOOG-PLAY-000259276 (“                      is definitely not the
only developer who would like to use their own payments system. There are only a handful who can build out a global
system like ours, but that’s not the only reason you’d want to use your own.”); GOOG-PLAY-004703579 at GOOG-
PLAY-004703584 (Google knows Epic, and                   want to use their own billing, suspects              will as well);
GOOG-PLAY-004716632 (“Google Play has repeatedly attempted to bring                       on to our Billing Platform, but
they have resisted citing poor results from testing GPB (two+ years ago) and a lack of requirement to use our platform
due to some fuzzy language in our Play policy. (Many developers, including                , interpret a loophole regarding
downloadable content that may be used ‘outside the app’ to mean that they do not have to use Google Play
Billing…)”); GOOG-PLAY-004721177 (                  partners who are negotiating… are asking for carve outs to the Play
Billing exclusivity requirement…”); GOOG-PLAY-006817773.R at GOOG-PLAY-006817802.R (Google keeps
track of developers’ many issues with Google Play Billing exclusivity).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 98 of 667

                                                         -60-


Distribution Market.314 Potential competitors include the major payment systems now used for
online Internet purchases, such as credit and debit card networks, PayPal, distribution and payment
systems used by other app stores, or developers themselves. I understand that Professor Schmidt
finds that the software required for authorization and payments is already widely accessible and
used for many online transactions and could readily be adapted to effectuate the purchase of
Android In-App Content. Google froze out competitors by requiring that all developers use Google
Play Billing, Google’s own services for the fulfillment and consummation of transactions for all
In-App Content purchased in Apps that were downloaded from the Play Store. Notably, in
discussions with          Google had considered a scenario in which
                                                                         315


        139. Google’s prohibition of developer steering of consumers to outside authorization
and payment channels indicates that third-party providers could replicate Google’s authorization
and payment channel for In-App Content, and that there is a separate demand for those services.316
Google’s internal documents recognize that developers sometimes demand, and utilize, alternative
methods to accept payment for purchases of In-App Content.317 Netflix, as one example, “views
billing as a competitive advantage.”318

         140.   Multiple internal analyses conducted by Google evidence that it considered
                                                                                       . One 2019
presentation contemplates that Google could
                                                                    319
                                                                        Likewise, a 2021 Google
analysis titled “GPB as Platform of Choice” highlighted the ways Google could differentiate its
offerings of the In-App Aftermarket such that Google could “elevate the product.”320 Google’s
internal analyses of competition among Google Play Billing and alternatives demonstrate
                             These competitive analyses further demonstrate that distinct services
are offered in the In-App Aftermarket as compared to the Android App Distribution Market.



     314. Although Google may have security justifications for approving distribution methods of In-App Content,
this can easily and less restrictively be accomplished by white-listing developers, a process that Google already
conducts for OEMs, and by providing developers with certificates approving their security so that developers can use
them with other payment processors.
     315. GOOG-PLAY-005653612.R at GOOG-PLAY-005653617.R (“Billing Integration for Android Market.”).
     316. Google uses the Google Play Billing Library API to facilitate the selling of In-App Content. See Google
Play Billing, available at developer.android.com/distribute/play-billing.
     317. Various developers have indicated a desire to use their own transaction services, declining the use Google
Play Billing.                                        and others have invested in their own platforms and have expressed
a desire to use a product other than Google’s. See, e.g., GOOG-PLAY-000258923 (July 2018 email: “                   does
not believe there’s a path forward on GPB at any rational terms given 1) the higher observed churn on our platform
and 2) the strategic importance they place on payments.”); GOOG-PLAY-000840773 at GOOG-PLAY-000840774
(“The larger (most profitable) services like match, Zoosk, and eHarmony, began as web businesses … and are actually
quite sophisticated in terms of churn-reduction, reengagement, and buyer conversion. In some ways our billing
platform is not as good as theirs currently are”); GOOG-PLAY-003334312 at -316 (noting developers have said “We
want to give users choice of payment” and “my billing platform is a competitive advantage and would perform better
for me”); GOOG-PLAY-004470512 at GOOG-PLAY-004470513 (email thread summarizing “                               test (and
their disappointing results)” from testing integration of Google Play Billing.
     318. GOOG-PLAY-000259276 at GOOG-PLAY-000259277.
     319. GOOG-PLAY-000542516.R at GOOG-PLAY-000542532.R (noting that GPB could provide “a native,
secure payment solution for physical goods” as well as digital goods).
     320. GOOG-PLAY-007745829 (further noting that “As Developers are coming onto GPB (post payments
policy), some are noticing that GPB doesn’t compare to previous solutions in performance A/B tests.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 99 of 667

                                                         -61-


        141. Further, Google’s documents recognize the possibility that payment systems for In-
App Content could turn into full-blown competitive app stores. A Google document noted that
“preventing payment circumvention” from in-app purchases could reduce the possibility that a
nascent competitor in the In-App Aftermarket would expand to be a full-bore app store competitor
in the adjacent Android App Distribution Market.321

        142. Google’s efforts to prevent selected developers from circumventing Google Play
Billing and using alternative means of authorization and payment processing for In-App Content
is yet additional evidence that there are actual or potential competitors to Google’s services for
these items, and thus that there is a separate and distinct In-App Aftermarket. Google’s documents
also provide evidence that, without its contractual restrictions, Google’s take rate for In-App
Content would fall. For example, Google modeled the downward pressure on its take rate if it were
to allow selected developers to use lower-cost alternative means of payment processing and to
steer users to those alternatives.322 This exercise demonstrates that Google recognized that
authorization and payment processing for In-App Content is distinct from what it provides through
the Play Store.

B.       The Relevant Geographic In-App Aftermarket Is Global (Excluding China)

        143. The geographic market for the In-App Aftermarket is also global (excluding
China). If Google’s restrictions were not in place, it would not require any increase in Google’s
current take rates to attract entrants from other countries into the In-App Aftermarket.

                             Thus, the geographic In-App Aftermarket is not limited solely to the
United States but is worldwide (excluding China).

C.       Google’s Market Power in the In-App Aftermarket

        144. As with the Android App Distribution Market, I assess Google’s power in the In-
App Aftermarket through direct proof of firm-specific measures that speak directly to a firm’s
ability to profitably raise prices.324 In Part V.C below, I show that Google would be forced to
reduce its take rate in the In-App Aftermarket absent its restraints, which is also direct evidence of


      321. GOOG-PLAY-004564758. Google expressed concern that competitive “[payment] services aggressively
push at the boundaries of the Play policy. The most overt example of this is Amazon’s push into app distribution, but
it is now more commonly seen in the sale of virtual, cross-app currencies or in-app items through web or offline
channels. The challenges that these services pose to Google Play is proportional to the degree to which any of these
services establishes themselves in any given market.” Id. at GOOG-PLAY-004564761. One of the “vectors of
concern” was “payment disintermediation.” Id. This is a similar anticompetitive theory of harm as that pursued by
the Department of Justice (DOJ) in the Microsoft antitrust litigation, in which the dominant operating system tied its
browser to its operating system with the alleged aim of preventing a rival browser from evolving into a full-bore
competitor for Microsoft’s operating system (or what the DOJ called “middleware”).
      322. GOOG-PLAY-006829073
      323. EPIC_GOOGLE_00108372 (proposing
                                            Other international in-app payment processors include Judopay
(www.judopay.com/about), Paysafe (www.paysafe.com/us-en/), and Adyen (www.adyen.com/about)).
      324. Herbert Hovenkamp, Digital Cluster Markets, COLUMBIA BUSINESS LAW REVIEW 1-30 (forthcoming
2022), at 24 (“By contrast, ‘direct’ proof relies on estimates of firm elasticity of demand, evidenced mainly by a firm’s
price-cost margins or output responses to price changes.[] These methodologies are capable of giving more accurate
measures of market power as it is best defined, which is the ability of a firm to profit by raising its price above its
costs.[]”); see also Louis Kaplow, Why (Ever) Define Markets?, 124 HARVARD LAW REVIEW 437 (2010).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 100 of 667

                                                        -62-


its market power. That Google is able to impose restrictions on developers that exclude
competition also evidences Google’s power. I also examine indirect evidence—market shares and
entry barriers—to establish that Google has market power in the In-App Aftermarket. My
assessment of both direct and indirect evidence relies entirely on data and methods that are
common to the Class.

         1.       Direct Evidence

         145. Google’s 30 percent standard take rate for initial downloads and purchases of In-
App Content is direct evidence of its market power in the In-App Aftermarket. In the Android App
Distribution Market, the Play Store brings together consumers and developers in a matchmaking
role, though in many cases the consumer would be aware of the App she sought before searching
for it in the Play Store, suggesting a more modest contribution by Google to value added.325 In
contrast, there is no matchmaking role in the purchase of In-App Content or for the services in
support of consummating those purchases in the In-App Aftermarket.

        146. Because Google as an intermediary provides additional value in the Android App
Distribution Market via matchmaking, one would expect that, as in competitive markets where the
take rate reflects the value added by the intermediary, the take rate in the Android App Distribution
Market would exceed any take rate in the In-App Aftermarket. That Google’s take rate—a price
that presumably reflects its value-added to the transaction—is the same for initial downloads and
purchases of In-App Content made even five years later strongly suggests that Google has
anticompetitively extended its market power from the Android App Distribution Market into the
In-App Aftermarket.

        147. Indeed, a Google document shows that its elevation of take rates over competitive
levels is substantially profitable, suggesting that Google possesses market power. In a 2020
business strategy document recommending reductions in the take rate to 15 percent one year after
download (in other words, in the In-App Aftermarket), Google conceded “[t]here is a lot of
external and internal pressure on our GPB [Google Play Billing] business model,”326 suggesting
that Google’s artificial insertion of its billing system into the In-App Aftermarket at a 30 percent
take rate was drawing ire from developers.327 Google estimated that reducing the take rate to 15
                                                                          328
percent after one year would reduce its revenues by roughly                   implying that imposing
the current 30 percent tax in perpetuity rather than 15 percent increases its profit for one year by




     325. Google’s documents provide evidence that the majority of downloads from the Play Store are the result of
users that “already know the app prior to the Store visit.” GOOG-PLAY-007317574 at GOOG-PLAY-007317585. A
2020 presentation reviews survey results showing that “        of acquisitions are from                             ,”
while only “         of acquisitions are                                           .” Id. at GOOG-PLAY-007317578.
Similarly, when asked whether they knew about an acquired App before vising the Play Store,         percent responded
affirmatively. Id. at GOOG-PLAY-007317584. Only             percent of users thought that information provided by the
Play Store about an App (e.g., screen shots, number of downloads) was useful in making the initial installation
decision. Id. at GOOG-PLAY-007317591.
     326. GOOG-PLAY-006990552 at GOOG-PLAY-006990553.
     327. Id. (“We recommend changing to a 30/15 service fee for (year 1 subsequent) with the optional addition of
a distribution services revenue stream which will compensate for some kind of lost revenue and improve diversity but
will also incite frustration in the set of developers who had previously paid nothing.”).
     328. Id. (“         after year 1 will cost       ).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 101 of 667

                                                          -63-


         148. Google’s ability to price discriminate also evidences its market power. Basic
economic principles tell us that “[f]or a firm to price discriminate, it must have some market
power.”329 In a document titled “                           ,” Google recognized that its 30 percent
take rate did not work for all developers, including media and streaming Apps.330 Google even
noted that its 30 percent take rate was “untenable” for certain Apps.331 Project Hug resulted in
effective take rate reductions for the largest developers, including in the In-App Aftermarket.
Google also implemented programs for other developers such as the “Living Room Accelerator
Program” (“LRAP”) which lowered the take rate for Apps that delivered media-related In-App
Content to users,332 offering some developers a 15 percent take rate.333 Some developers were
offered even lower take rates: According to one document, “             is only one of a select group
                                                          334
of developers that have been offered a        rev share.” Google has also cut in half the take rate
for subscriptions, which are not limited to mobile devices; for subscriptions the platform is not as
important, and they could command a lower rate. That Google is able to cut special deals below
its standard 30 percent take rate for developers with recurring subscriptions or with streaming Apps
with large content costs335 is also consistent with Google having market power. A firm that lacks
market power would not enjoy the privilege of discriminating across customer types according to
their willingness or ability to pay, but instead would be forced to charge a uniform price at
competitive levels.

         2.       Indirect Evidence

        149. Ninety-seven percent of all developers offering apps through the Play Store
currently use Google Play Billing, and a September 2020 announcement by Google indicates that
it intended to capture the remaining three percent.336 Google announced that it would fully enforce
its contractual restrictions that require developers to use only Google Play Billing for all purchases
of In-App Content. As a result, developers cannot use their own methods of authorization and
payment processing services or contract for them through third parties. Alternative providers are


     329. N. GREGORY MANKIW, PRINCIPLES OF MICROECONOMICS 303-304 (Cengage Learning 8th ed. 2018)
[hereafter MANKIW] (“price discrimination is not possible when a good is sold in a competitive market”; “For a firm
to price discriminate, it must have some market power.”).
     330. GOOG-PLAY-007329063.
     331. Id. at GOOG-PLAY-0079066.
     332. See Defendants’ Answers and Objections to Developer Plaintiffs’ First Set of Interrogatories to Defendants
(July 6, 2021) at 13-16. See also Google Play Console, Play Media Experience Program, available at
play.google.com/console/about/mediaprogram/.
     333. GOOG-PLAY-000259276 at GOOG-PLAY-000259277 (“Conversations are ongoing regarding
enabling Google Play Billing for in-app purchases on a subset of Android TV OEMs…Exact economics still need to
be figured out but could be close to LRAP’s            ).
     334. GOOG-PLAY-006381385 at GOOG-PLAY-006381387.
     335. See, e.g., Kif Leswig, Bumble, Duolingo lead rally in shares of app developers after Google slashes
subscription fees, CNBC (Oct. 21, 2021), available at www.cnbc.com/2021/10/21/google-cuts-app-store-fees-lifting-
shares-of-app-developers.html.
     336. Google - Android Developers Blog, Listening to Developer Feedback to Improve Google Play (Sept. 28,
2020), available at android-developers.googleblog.com/2020/09/listening-to-developer-feedback-to.html (“Again,
this isn’t new. This has always been the intention of this long-standing policy and this clarification will not affect the
vast majority of developers with apps on Google Play. Less than 3% of developers with apps on Play sold digital
goods over the last 12 months, and of this 3%, the vast majority (nearly 97%) already use Google Play’s billing. But
for those who already have an app on Google Play that requires technical work to integrate our billing system, we do
not want to unduly disrupt their roadmaps and are giving a year (until September 30, 2021) to complete any needed
updates. And of course we will require Google’s apps that do not already use Google Play’s billing system to make
the necessary updates as well.”).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 102 of 667

                                                        -64-


totally foreclosed from the In-App Aftermarket. Google’s requirement that developers of Apps
marketed through the Play Store in the Android App Distribution Market exclusively use Google
Play Billing for all purchases of In-App Content serves as an artificial barrier to entry in the In-
App Aftermarket. Absent the restraint, many providers would step forward to provide competitive
payment processing and authorization of In-App Content.

D.       Google’s Anticompetitive Exclusionary Conduct in the In-App Aftermarket

         150. Google has maintained multiple restrictions affecting the In-App Aftermarket.
These fall into three mutually reinforcing categories. By contract, Google conditions the right to
distribute an App downloaded through the Play Store on a developer’s agreement to exclusively
use Google Play Billing for all subsequent sales of In-App Content.337 Google contractually
requires developers to pay Google a set take rate (generally at 30 percent) for every purchase of
In-App Content made through their Apps in perpetuity. Put differently, Google enforces this
condition by requiring the developer to use Google Play Billing for all payments of In-App Content
within the App forever and at the same take rate it commands in the Android App Distribution
Market.338 If a consumer downloads an App via the Play Store, the developer is charged a
commission for any purchases made within the App, even long after the Play Store performed its
initial matchmaking and distribution function. Thus, Google has extended its monopoly power in
the Android App Distribution Market to insert itself into the separate In-App Aftermarket by
requiring developers to exclusively use Google Play Billing for authorization and payment services
in support of the purchase of In-App Content and to pay Google a take rate on those purchases
(usually 30 percent), which can economically be characterized as a “tie-in.”

        151. Google also contractually prohibits developers from steering customers to
alternative authorization and payment processing outlets for purchasing In-App Content outside
the Play Store, including the developer’s web site or alternative suppliers of payment processing
and other services in the In-App Aftermarket.339 And Google even prohibits the developer from
using any consumer information learned through the Play Store. These restraints constrain an
App’s steering to lower-cost alternatives via browser-based payment options such as “in-app web
views, buttons, links, messaging, advertisements, or other calls to action.”340

      152. In contrast, other app stores allow developers the ability to select their providers of
payment systems for purchases of In-App Content at lower take rates than Google imposes. For
example, Aptoide imposes a ten percent take rate for purchases of In-App Content if the user




     337. Google – Play Console Help, Developer Program Policy (effective December 1, 2021), available at
support.google.com/googleplay/android-developer/answer/11498144?hl=en&visit_id=637814760589469507-
2803788482&rd=1. See also my discussion earlier in Part I.A.2.
     338. See Google - Play Console Help, Service fees, available at support.google.com/googleplay/android-
developer/answer/112622?hl=en. The service fee applies if developers sell subscriptions or other digital content within
an app, but is not affected by the length of time after an app is downloaded – with the exception of subscription
products, which face a lower service fee after being retained for over a year.
     339. Google       Developer     Program       Policy     (effective    March    1,     2021),     available     at
support.google.com/googleplay/android-developer/answer/9934569?hl=en&ref_topic=9877065#zippy=%2Cmarch;
see also GOOG-PLAY-000225435 (“it’s against policy to direct users to content outside of the Play Store (including
to 3rd party websites offering rewards”).
     340. Id.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 103 of 667

                                                       -65-


downloads the app using the developer’s own URL.341 The One Store in South Korea imposes a
five percent commission for developers that do not use the One Store billing system.342

        1.       Google’s Contractual Provisions with Developers Enable Google To Maintain
                 Its Dominance in the In-App Aftermarket

       153. In other settings, the long-term or perpetual arrangements that Google has imposed
on developers might have been difficult to enforce. That is not the case here. By requiring
developers to use Google Play Billing in support of the purchase for all In-App Content, Google
can readily monitor and enforce its take rates, enabling extraction of a supra-competitive
commission for as long as the App is used and In-App Content is purchased.

         154. Only about three percent of the developers that sold In-App Content in the In-App
Aftermarket through Apps initially downloaded from the Play Store in 2020 were able to
circumvent the restriction, although Google later announced that it was going to enforce the
restriction on this group.343 Those few developers able to circumvent Google’s restrictions have
garnered a critical mass of consumers and widespread name recognition, which has enabled them
to allow users to purchase their In-App Content from other platforms. The most prominent
developers in this category are Netflix, Amazon, Spotify, Match Group, and Epic.344 A company
like Netflix, a household name with over 200 million subscribers, does not want to hand over to
Google 30 percent of first-year subscriber revenue simply because a consumer created her account
on her Android App. Circumventors like Netflix were able to steer users to their websites, where
consumers could create a new account not subject to Google Play Billing.345 Developers engaging
in this steering had to do so indirectly—through communications outside the App—because
Google’s agreements with developers preclude them from explicitly steering users to the




     341. Revenue share, available at docs.catappult.io/docs/distribution-and-revenue-share (“Self-distribution
opens the possibility for the developer to promote and distribute their apps through their own channels and earn a
revenue share of 90%”).
     342. GOOG-PLAY-000005203 at GOOG-PLAY-000005221; GOOG-PLAY-000005264. See also Kim
Byung-wook, Google’s app billing plan continues to backfire, THE KOREA HERALD (June 28, 2021), available at
www.koreaherald.com/view.php?ud=20210628000824 (“Unlike Google, ONE store allows app developers to operate
their own billing systems. In this case, the cut is 5 percent.”).
     343. Google - Android Developers Blog, Listening to Developer Feedback to Improve Google Play (Sept. 28,
2020), available at android-developers.googleblog.com/2020/09/listening-to-developer-feedback-to.html
     344. EPIC_GOOGLE_00123016; EPIC_GOOGLE_01389946. Google still holds significant power over these
companies. For instance, Match Group’s chief legal officer, Jared Sine, in testimony before the United States Senate
detailed communications from Google inquiring into why his testimony might differ from what they had already
discussed. “When you receive something like that, Senator, from a company that can turn you off overnight, you’re
always a little intimidated,” said Sine. He added, “We’re all afraid, is the reality, Senator.” Angel Au-Yeung, App
Providers Are ‘All Afraid’ Of Apple’s And Google’s Market Power, Match Group And Spotify Tell Senate, FORBES
(Apr. 21, 2021), available at www.forbes.com/sites/angelauyeung/2021/04/21/app-providers-are-all-afraid-of-apples-
and-googles-market-power-match-group-and-spotify-tell-senate/?sh=4a622ae9596c. See also GOOG-PLAY-
000559379 at GOOG-PLAY-000559382 (“We have found that, in gaming, the concerns over revenue share
predominantly come from the largest players who have built significant businesses and are now focused on improving
margins.”).
     345. Tinder also accomplished steering by means of differential pricing—offering significantly lower prices for
its subscription services when users signed up through its website.      EPIC_GOOGLE_02075797 (“The Tinder
app charges $29.99 a month for a Gold membership (which shows you everyone who’s swiped right on you). Tinder’s
website charges just $13.49 a month for the same service.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 104 of 667

                                                          -66-


developer’s website for digital content purchases.346 The vast majority of developers do not
possess the requisite widespread user adoption, name recognition, and clout to circumvent
Google’s restriction.

         2.       Google’s Revenue-Sharing Agreements with Developers Have Substantially
                  Eliminated the Threat of Defection to Alternatives in the In-App Aftermarket

        155. Google has taken steps to rein in any developers whom it perceived might threaten
to use alternative authorization and billing systems in the In-App Aftermarket to avoid Google’s
take rate.

         156.   Initially, Google limited Project Hug (described in Part III.D.3 above) to the
                   game developers—ostensibly to provide “increased value to both Google and
developers while easing developer agitation about Google Play’s revenue share.”347 Google chose
these developers because
                                                                 348
                                                                     Indeed, Google estimated that
defection by these developers could cost Google “~                                 margin impact
annually in three years           revenue /      margin risk cumulative 2019-2022).”349 Google
estimated the cost of risk mitigation through Project Hug payments at only                through
      350
2022. Although the primary purpose of Project Hug was to prevent developers from supporting
a rival app store, a secondary purpose was to prevent an alternative form of payment processing in
the In-App Aftermarket from taking root.

       157. Depositions to date have confirmed the success of Project Hug in foreclosing
competition. When one of the key employees at Google in charge of Project Hug left Google in
2020, he assessed that “Project Hug was working,” and he “was not aware of any Project Hug
developer pursuing a new Android distribution platform.”351

      158. Google also introduced a variety of “Velocity” programs, aimed at inducing other
powerful developers to comply with its Google Play Billing restrictions, including: (1) the LRAP,
which focused on live TV and video Apps; (2) the Audio Developer Accelerator Program


     346. When Epic explicitly steered consumers to their own payment system rather than Google’s system by
providing a 20% discount, Google removed Epic’s Fortnite from the Play Store. See Jack Nicas, How Apple’s 30%
App Store Cut Became a Boon and a Headache, NEW YORK TIMES (Aug. 14, 2020), available at
www.nytimes.com/2020/08/14/technology/apple-app-store-epic-games-fortnite.html. Google states that developers
are allowed to use other platforms in addition to Google Play, but that they cannot directly advertise alternative options
through their App. See Google - Play Console Help, Understanding Google Play’s Payments policy, available at
support.google.com/googleplay/android-developer/answer/10281818?hl=en#zippy=%2Ccan-i-distribute-my-app-
via-other-android-app-stores-or-through-my-website%2Ccan-i-communicate-with-my-users-about-alternative-ways-
to-pay%2Ccan-i-communicate-with-my-users-about-promotions-on-other-platforms.
     347. See GOOG-PLAY-000559379 at GOOG-PLAY-000559382 (“Thus far we have avoided altering our
revenue share business model and instead have engaged this limited set of game developers          devs) in cross-Google
commercial deals to both build deeper relationships with these partners and reduce agitation around our 30% revenue
share.”). See also Koh Dep. at 153:10-19 (Project Hug targeted developers that Google projected would constitute
      of overall Play Store consumer spend in 2019) (testifying about PX. 136 – GOOG-PLAY-003332817.R at
GOOG-PLAY-003332822.R).
     348. GOOG-PLAY-000233314
     349. GOOG-PLAY-000000807
     350. See GOOG-PLAY-000004762.R at GOOG-PLAY-000004764.R.
     351. Koh Dep. at 368:4-369:4.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 105 of 667

                                                    -67-


(“ADAP”), which focused on music Apps; and (3) the App Velocity Program (“AVP”), a
generalized Project Hug-for-Apps program for high-priority partners that did not fit into any of the
other categories.352 While the ostensible purpose of the LRAP and ADAP programs was to
accommodate “constrained dev margins,” the AVP’s goal was, like Project Hug, to “boost
integration with Play Billing” by offering to “reinvest ~10% in-kind.”353

E.      Google Cannot Claim That Its Supracompetitive Profits Are Constrained by the
        “Single Monopoly Profit” Theory

        159. In the 1970s and 1980s, economists belonging to the “Chicago School” of
economics—which promotes the virtues of free-market principles354—condoned many
exclusionary strategies with an economic theory that has become known as the “single monopoly
profit” (“SMP”) theory. The SMP theory posits that, since a monopolist will always find a way to
fully exploit its monopoly profit in the market it has monopolized, regardless of the existence of a
secondary market or aftermarket, any exclusionary conduct in the secondary market is motivated
by procompetitive reasons, such as vertical integration efficiencies, and should not be condemned
as anticompetitive.355

        160. Applied to this case, Google may erroneously argue that the SMP theory could be
interpreted to deem Google’s Aftermarket Restrictions procompetitive and lacking in harm to
competition or consumers. It would posit that if Google were prohibited from engaging in the
Challenged Conduct, Google would merely raise its take rate in the Android App Distribution
Market or impose some other fees to fully restore the profits it now extracts from the In-App
Aftermarket. SMP theory suggests that, so long as Google had a monopoly in the Android App
Distribution Market, it would find a way to fully extract a monopoly profit from that market, such
that there would be no incentive to further monopolize the In-App Aftermarket. In this section, I
explain how two of the key assumptions that undergird the SMP theory are not satisfied, meaning
that the profits Google has extracted from the In-App Aftermarket were not available to Google
solely on the basis of its monopoly in the Android App Distribution Market. Accordingly,
Google’s anticompetitive conduct in the In-App Aftermarket was motivated to extract incremental
supra-competitive monopoly profit from developers.

         161. A wave of new economic research in the 1990s and 2000s has shown that the
implications of the SMP theory hold only if certain assumptions that underlie it also are true.356 As
it is applied to artificially linking a monopolized service—here, Android App distribution—with
a product or service in another market—here, services in support of the purchase of In-App
Content—the five conditions under which the SMP theory holds are:




    352. GOOG-PLAY-004144047.R at GOOG-PLAY-004144052.R (explaining this program would only be
available to those developers who represented      (or more) of total Play Spend).
    353. GOOG-PLAY-003881390.R.
    354. Akhilesh Ganti, Chicago School of Economics, INVESTOPEDIA (Feb. 21, 2021), available at
www.investopedia.com/terms/c/chicago_school.asp.
    355. See, e.g., Robert Bork, THE ANTITRUST PARADOX: A POLICY AT WAR WITH ITSELF (Bork Publishing
2021); Aaron Director & Edward H. Levi, Law and the Future Trade Regulation, 51 NW. U. L. REV. 281 (1956).
    356. For a review of the economic literature, see Einer Elhauge, Tying, Bundled Discounts and the Death of
Single Monopoly Profit Theory, 123(2) HARVARD LAW REV. 397-481 (2009).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 106 of 667

                                                        -68-


         (1)      buyers do not use varying amounts of the linked product or service (in the In-App
                  Aftermarket);

         (2)      buyers exhibit a strong positive correlation in their demands for the linked product
                  or service (in the In-App Aftermarket) and the linking products or services (in the
                  Android App Distribution Market);

         (3)      buyers do not use varying amounts of the linking product or service (Android App
                  distribution);

         (4)      the competitiveness of the linked market (the In-App Aftermarket) is fixed; and

         (5)      the competitiveness of the linking market (the Android App Distribution Market)
                  is fixed.357

        162. When any one of these assumptions is not supported empirically, then the pro-
competitive justifications of SMP theory do not hold.358 Here, assumptions (1) and (4) are not
satisfied. Failure to satisfy either one would undermine application of SMP theory. Failure to
satisfy both assumptions strengthens that conclusion. Because SMP theory does not apply here,
Google is using its Aftermarket Restrictions to extract profits it otherwise would not be able to
obtain. The inapplicability of SMP theory implies an anticompetitive motivation for Google’s
Aftermarket Restrictions.

        163. Recall that Google’s take rate in the In-App Aftermarket is tethered to the spending
on In-App Content by the consumer. Although the buyer in the In-App Market is the developer,
the demand for the services in support of consummating the purchase of In-App Content is derived
from the demand for the In-App Content itself. Applied to this case, for Google to extract consumer
surplus solely by virtue of its market power in the Android App Distribution Market,
assumption (1) requires that consumers do not purchase varying amounts of In-App Content. This
is plainly false. Different consumers purchase different quantities of In-App Content, and therefore
Google’s revenues through its take rates anticompetitively applied to those purchases vary by
consumer. This is evident from my examination of Google’s transaction database. Figures 4, 5,
and 6 show the distributions of purchases of In-App Content for three of the top-selling games.




     357. Id. at 404 (“However, the model indicating a single monopoly profit depended on several key assumptions:
(1) fixed usage of the tied product; (2) strong positive demand correlation; (3) fixed usage of the tying product; (4)
fixed tied market competitiveness; and (5) fixed tying market competitiveness. As the economic literature shows,
different results are reached if one relaxes these narrow assumptions. Indeed, relaxation of any one of these
assumptions produces a distinctive profit increasing effect.”) (emphasis added).
     358. Id. For example, when assumption (1) is violated and consumers use varying amounts of the linked product
or service, tying can be used to extract consumer surplus, with buyers who use more of the tied product effectively
paying more for the same product. Discriminating with ties may be more effective than traditional price
discrimination—that is, charging a different price to each buyer—if the firm could not otherwise tell how much buyers
value the tying product.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 107 of 667

                               -69-
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 108 of 667

                                                        -70-




         164. As the figures demonstrate, the consumers’ purchases of In-App Content vary
widely across buyers, proving that assumption (1) is violated. The varying amounts of purchases
of In-App Content provides an anticompetitive motivation for Google’s extension of its monopoly
power in the Android App Distribution Market into the In-App Aftermarket to extract more
revenue from its monopoly position—an opportunity that would not exist in the absence of the
Aftermarket Restrictions. Google may argue that it inserted itself into the In-App Aftermarket via
the restraint requiring developers to use Google Play Billing for all transactions so as to monitor
and “meter” both a customer’s usage and a developer’s in-app sales for an App. However, as a
matter of economics, Google cannot extract the same level of monopoly profits through this
restriction as it would solely through a monopoly in the Android App Distribution Market. Given
the wide range of purchases of In-App Content, it would be very difficult for Google to predict, ex
ante, a given consumer’s propensity to make particular in-app purchases. Such a prediction would
be needed by Google to replicate a metering strategy with upfront pricing for Apps sold solely in
the Android App Distribution Market through the Play Store.359 The problem for Google is that it
is impossible to know ex ante how much any given consumer/developer combination will use an




     359. A “metering tie” occurs whenever a firm meters usage of its product by requiring users to purchase at
elevated prices a tied product that is needed to use its product, as in the case of printers and ink. Economists have
shown that, contrary to the Chicago School, metering ties are often used for anticompetitive purposes. See, e.g., Einer
Elhauge & Barry Nalebuff, The Welfare Effects of Metering Ties, 33 JOURNAL OF LAW, ECONOMICS & ORGANIZATION
68 (2017) (showing that metering ties (1) always lower consumer welfare and total welfare unless they increase capital
good output, and (2) always harm consumer welfare, even when output increases, under realistic market conditions in
which usage rates are independently distributed from per-usage valuations). Applied here, there is no credible theory
under which Google’s restrictions increased output in the Android App Distribution Market. Indeed, to the extent a
foreclosed rival in the In-App Aftermarket could have evolved into a competitive app store, Google’s restrictions
could have reduced output in the Android App Distribution Market as well. See, e.g., GOOG-PLAY-004564758
(noting that “preventing payment circumvention” from in-app purchases could reduce the possibility that a nascent
competitor in the In-App Aftermarket would expand to be a full-bore app store competitor in the adjacent Android
App Distribution Market).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 109 of 667

                                                         -71-


App and subsequently generate any in-app purchases so as to be able to price Apps to generate a
supra-competitive monopoly profit for Google.

        165. In addition to assumption (1) being violated, assumption (4) requires that the
“competitiveness” of the In-App Aftermarket be “fixed”—that is, the tied market is perfectly
competitive in a way that tying cannot alter. Applied here, that would mean that In-App
Aftermarket rivals (such as independent payment processors or developers) face no entry or fixed
costs and can expand instantaneously to supply the whole market.360 If true, then the extent of
competition in the In-App Aftermarket would be invariant to Google’s tie-in, in the sense that
Google’s inserting its payment processing service into the In-App Aftermarket cannot be used to
reduce the competitiveness or efficiency of rivals or potential rivals in the In-App Aftermarket.361
This assumption is not true, however, because Google’s contractual linkage is specifically
designed to prohibit developers from using any alternative to Google Play Billing to provide In-
App Aftermarket services. In the absence of the requirement, there would be myriad third-party
providers of payment processing and other In-App functions for developers (such as authorizing
the use of In-App Content, record keeping, and server hosting), which would engender competition
on take rates.

        166. Moreover, the infrastructure to provide payment processing (and authorization)
exhibits economies of scale;362 the same payment system (or record-keeping system or server) can
be used for each additional transaction, with little additional marginal cost. Accordingly, depriving
third-party competitors in the In-App Aftermarket of scale economies makes them weaker
competitors and alters the state of competitiveness in the In-App Aftermarket. Google’s tie-in can
foreclose enough of the tied market to make entry revenues, spread across a lower base of
transactions, lower than entry costs. Just as a monopoly resort that requires guests to eat all meals
on the property (a tie-in) can foreclose independent local restaurants and prevent them from
achieving the requisite economies of scale,363 so too has Google foreclosed rival suppliers in the
In-App Aftermarket, resulting in the ability for Google to charge supra-competitive take rates on
purchases of In-App Content. In an open, competitive In-App Aftermarket, consumers would be
free to choose an alternative payment processor, and take rates in the In-App Aftermarket would
fall towards competitive levels. In the next section, I offer two models that can be used to estimate




    360. Einer Elhauge, Tying, Bundled Discounts, and the Death of the Single Monopoly Profit Theory, 123(2)
HARVARD LAW REVIEW 397-481, 413 (2009).
    361. Id. (“the economic literature summarized below shows that a tie that forecloses enough of the tied market
can reduce rival competitiveness by impairing rival efficiency, entry, existence, aggressiveness, or expandability.”).
    362. See, e.g., Oxera, Paying up: the new economics of payment systems (Jun. 30, 2020), available at
www.oxera.com/insights/agenda/articles/paying-up-the-new-economics-of-payment-systems/ (“Retail payments
have long been characterised by the following three economic features …. economies of scale—which mean that it
can be more efficient to operate a platform with a large number of users (although regulatory and technical
developments are tending to reduce the importance of this).”); Risto Gogoski, Payment systems in economy - present
end future tendencies, 44 PROCEDIA - SOCIAL AND BEHAVIORAL SCIENCES 436–445, 438 (2012) (“The payment
industry also exhibits considerable economies of scale. First, the value that an individual participant derives from
using a particular payment system increases with the number of other parties using that same system. Second, high
levels of initial investment (called ‘sunk costs’) are required in order to establish a payment system, and considerable
fixed costs are incurred in the operation of such a system (more payments less costs).”).
    363. This example comes from Dennis Carlton, A General Analysis of Exclusionary Conduct and Refusal to
Deal—Why Aspen and Kodak Are Misguided, 68(3) ANTITRUST LAW JOURNAL 659-983 (2001).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 110 of 667

                                                           -72-


those reduced take rates in the Android App Distribution Market and in the In-App Aftermarket,
respectively.

V. THE CHALLENGED CONDUCT CAN BE SHOWN TO HAVE GENERATED ANTITRUST IMPACT
                    USING COMMON METHODS AND EVIDENCE
        167. A key difference in the two relevant antitrust markets—the Android App
Distribution Market being two-sided and the In-App Aftermarket being one-sided—allows for
different methods for assessing impact or what take rates and consumer subsidies would prevail in
each market without Google’s Challenged Conduct. I discuss these two methods and their
implications in turn. In both cases, the modeling inputs are common to the class. In Part V.B, using
a two-sided model developed by Rochet and Tirole, where the locus of competition is on the
developer take rate, I show classwide impact for those Class members in the Android App
Distribution Market. In Part V.C., using a one-sided model of price competition, I show classwide
impact for Class members in the In-App Aftermarket. In Part V.E, again using the two-sided model
developed by Rochet and Tirole, where the locus of competition is instead on the consumer
subsidy, I show classwide impact for those Class members. In Part VI, I estimate aggregated
damages to the Class based on these impact models.

        168. My analysis differs from the standard regression analysis commonly used in many
price-fixing matters to isolate the effects of anticompetitive conduct in a limited timeframe
compared to a competitive market absent the challenged restraints. Because Google has imposed
the Challenged Conduct in both the Android App Distribution Market and the In-App Aftermarket
since those markets were originally formed, there is no pre-existing or post-conduct time period to
use for purposes of standard regression analysis. Accordingly, I employ widely accepted economic
models to determine take rates that would be charged in a hypothetical but-for world without the
Challenged Conduct. Before introducing the models, I briefly explain how multi-homing (by
customers and developers) and steering (by developers) would put downward pressure on take
rates in the absence of the Challenged Conduct.

A.       Multi-Homing and Steering Would Put Downward Pressure on the Take Rate That
         Google Imposes on App Developers

        169. As I will show here using evidence and methods common to the Class, Google’s
Challenged Conduct has enabled Google to charge developers supra-competitive take rates in the
Android App Distribution Market and the In-App Aftermarket. With its dominance in the Android
App Distribution Market and consequent market power in the In-App Aftermarket, Google is able
to extract a supra-competitive take rate on all paid App downloads and purchases of In-App
Content. This is true even after Google’s reduction in its take rates announced in March 2021 (from
30 percent to 15 percent on the first $1 million of developer revenue)364 and for subscription



      364. Sameer Samat (Google Vice President, Product Management), Boosting Developer Success on Google
Play (Mar. 16, 2021), available at android-developers.googleblog.com/2021/03/boosting-dev-success.html (“Starting
on July 1, 2021 we are reducing the service fee Google Play receives when a developer sells digital goods or services
to 15% for the first $1M (USD) of revenue every developer earns each year.”) Although the new policy applies to all
developers, the overall reduction in the take rate is less significant for larger developers, because it applies only to the
first $1 million in revenue. For example, developer with $10 million in revenue would pay a 15 percent take rate on
the first $1 million, and a 30 percent take rate on the remaining $9 million, which works out to an overall take rate of
28.5 percent.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 111 of 667

                                                         -73-


payments after the first year as of January 1, 2018 (reduced to 15 percent).365 The concepts of
multi-homing and steering are critical to understanding how Google’s contractual restraints with
OEMs, developers, and mobile carriers work as an economic matter.

         1.       Multi-Homing

       170. Multi-homing, as the name suggests, occurs whenever buyers or sellers on the
opposite sides of a two-sided platform use more than one platform for the same or similar purpose.
For example, many young Internet users have social media accounts on two or more social media
platforms (e.g., Facebook and TikTok). Many ride-sharing drivers and riders have both Uber and
Lyft on their phone, another form of multi-homing. Multi-homing is not exclusive to the digital
world: People carry two or more credit cards in their wallets, and the stores they frequent accept
more than one card, although anti-steering rules imposed by one of the most popular credit cards
may inhibit card competition.366

        171. In the context of this case, multi-homing exists to the extent consumers have app
stores side-by-side on their mobile phone’s home screens (if Google’s conduct did not prevent
consumers from having multiple app stores)—the adjacent placement is necessary so that multi-
homing is equally convenient for consumers. When two platforms are sufficiently close substitutes
in the eyes of buyers and sellers, multi-homing can lead to competitive outcomes that benefit both
buyers and sellers.367

         172. Multi-homing would occur absent the Challenged Conduct, as developers would be
willing to distribute their applications through alternative app stores if they could achieve sufficient
reach by doing so. And users would be willing to install the second app store on their home screens
if (1) they could access their favorite Apps on a rival app store, and (2) if at least some of those
Apps were available at a lower price on the second app store—a phenomenon that, in a competitive
world absent Google’s restrictions, would be made possible via steering.368



     365. Although Google decreased the take rate for subscription services from 30 percent to 15 percent in 2018,
the decrease was only applicable after the first year. (It wasn’t until January 1, 2022, that the take rate was reduced
to 15 percent for all subscription services across the board). Google documents indicate that       percent of consumer
spend on in-app purchases occurs within one year of the consumer’s first purchase, which would have limited the
effect of the 2018 policy. See GOOG-PLAY-007819776 at GOOG-PLAY-007819909. Moreover, Google estimates
in the lead-up to the announcement found only a                 revenue loss from the change, because only       percent
of active subscriptions and       percent of revenue from subscriptions came after 12 months. See GOOG-PLAY-
000446626 at GOOG-PLAY-000446629. Another Google analysis calculated the effective take rate resulting from
the 2018 policy change at       percent. See GOOG-PLAY-001291233 at GOOG-PLAY-001291251. In contrast, the
competitive but-for world is one in which all developers would have enjoyed substantial and permanent reductions in
the take rate and would be characterized by long-run equilibrium price adjustments to substantially developer lower
costs flowing from substantially lower take rates. As a consequence, I conclude that Google’s reduction in the take
rate for subscriptions is unlikely to provide an adequate natural experiment that could be used to accurately measure
the extent to which consumers would have paid lower prices in the but-for world.
     366. Of course even if there is multi-homing, restrictions can create less than a competitive outcome. See, e.g.,
Kevin Caves & Hal Singer, Competing Approaches to Antitrust: An Application in the Payment Card Industry, 27(3)
GEORGE MASON LAW REVIEW 823-861 (2020).
     367. Susan Athey & Fiona Scott Morton, Platform Annexation, Stanford Inst. for Econ. Policy Research
Working Paper 21-015 (March 2021).
     368. Although my primary impact model focuses on price effects (over the take rate), it is possible that
competition would occur on non-price quality dimensions as well. For example, a specialized app store could emerge
that provided better discoverability features, forcing Google to compete on that dimension.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 112 of 667

                                                          -74-


         2.       Steering

        173. Steering can exist in any type of market, but in the context of the two-sided platform
present in this case, steering would entail a developer charging differential prices to consumers
based on which platform the consumer selects, from which to download an App. The developer’s
aim, if steering were allowed, would be to induce consumers to transact over a lower-cost
platform.369 Economists have shown that, in a platform setting, steering puts downward pressure
on the prices charged by sellers (here, developers), and thus anti-steering restraints are almost
certainly harmful to competition.370 Indeed, Google itself was well aware of the power of steering
to put downward pressure on take rates.371

         174. Steering occurs regularly across platforms in other industries where there are no
restrictions that prevent it. One example is the market for “daily deals”—or discounted prices on
certain products or services on a specific day—offered by platform apps like Groupon and Living
Social. Empirical research has shown that in markets where there is platform competition, sellers
on the sites offer more valuable promotions to buyers at lower prices relative to markets without
platform competition.372

        175. With multi-homing and steering—both conditions are necessary for competition to
drive down prices to consumers—developers could, and would be incentivized to, charge a lower
price for Apps to consumers who download Apps from a lower-cost app store platform. Consider
a scenario in which a developer faced two take rates: Google’s 30 percent rate and a rival app
store’s 15 percent rate. For simplicity, assume the developer charges $1 for downloading the App.
In a world with multi-homing, the developer would have strong incentives to steer its customers
to the lower-cost platform, as doing so would save it $0.15 per download (equal to the product of
the 15 percent differential in take rates and $1). Indeed, the developer would be willing to offer up
to a $0.15 reduction in the price of the App to steer its customers to the lower-cost platform. As
more customers shift their downloads to the rival platform, Google would be forced to revisit its
take rate; a lower Google take rate would in turn induce developers to lower their prices on the
Play Store. I model this competitive dynamic formally in the following sections.




     369. See, e.g., Rochet & Tirole at n. 3 (“The occurrence of steering is easiest to visualize in those illustrations
in which platforms charge per-end-user-transaction fees: The seller of a house or a B2B supplier may only list the
house or the wares on the cheapest platform.”).
     370. See, e.g., Benjamin Edelman & Julian Wright, Price Coherence and Excessive Intermediation, 130 Q. J.
ECON. 1283 (2015); Rong Ding, Merchant Internalization Revisited, 125 ECON. LETTERS 347 (2014); Rong Ding &
Julian Wright, Payment Card Interchange Fees and Price Discrimination, 65 J. IND. ORG. 39 (2017). For an overview
of the intersection of multi-homing and steering, see Erik Hovenkamp, Platform Antitrust, 44 JOURNAL OF CORP. LAW
713 (2019) (“A second type of steering is undertaken by sellers on one side of a transaction platform. In most situations
where buyers and sellers both multi-home, the buyer ultimately chooses the platform used to mediate his transactions.
… Alternatively, the seller may vary the prices it charges in transactions over different platforms, applying a surcharge
to those it disfavors (or, equivalently, a discount for transactions on its preferred platform). Such steering efforts were
forestalled by the restraint at issue in AmEx, which is discussed further below.”).
     371. GOOG-PLAY-006829073.R at GOOG-PLAY-006829085.R.
     372. Kim et al., Two-sided platform competition with multihoming agents: An empirical study on the daily deals
market, 41 INFORMATION ECON. AND POLICY 36-53 (2017).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 113 of 667

                                                           -75-


B.       A Two-Sided Platform Model with Multi-Homing Shows That Google Would Be
         Compelled to Lower Its Take Rate from Developers in the Absence of Google’s
         Android App Distribution Market Restraints

        176. I start by analyzing the impact of the Challenged Conduct in the Android App
Distribution Market. For this purpose, I use a model based on the one developed by economists
Jean-Charles Rochet and Jean Tirole (winner of the Nobel prize in economics for, among other
things, his pioneering work on monopolized industries) who formalized the economic framework
for two-sided markets.373 This framework has been widely cited by other economists.374

        177. The model shows by how much Google’s take rate on paid initial App downloads
in the Android App Distribution Market would fall if the locus of competition occurs on the
developer side of the platform once Google’s multiple restraints and technical barriers are
removed. The model shows what Google would charge developers in the presence of multi-homing
and steering, which would occur in the absence of Google’s exclusionary restraints. Although
Google’s exclusionary conduct was aimed at myriad potential entrants—including mobile carriers,
OEMs, and developers—my analysis of a potential but-for world requires entry by only one rival
app store platform with a comparable number and quality of Apps as are available in the Play
Store. Although Google has consistently charged a take rate at (or very close to) 30 percent for the
vast majority of consumer expenditures,375 my analysis also takes account of Google’s current take
rates. For example, the take rate has been lowered from 30 to 15 percent for (1) subscription App
renewals beginning January 1, 2018, and (2) transactions made for Apps and In-App purchases for
a developer’s first $1 million in annual sales beginning July 1, 2021.376 I discuss the basic intuition
behind this model and show how it can be readily adapted to the current setting.

        178. In the event that the factfinder concludes that the Android App Distribution Market
and In-App Aftermarket are not two separate markets, I have performed two alternative analyses,
both of which apply the two-sided market framework to a single, combined market. These analyses
(presented Part V.E and Appendix 4) contemplate competitive scenarios in which platforms
compete for all transactions (both initial downloads and in-App purchases) in the aggregate. In



     373. Rochet & Tirole.
     374. See, e.g., Marc Rysman, The Economics of Two-Sided Markets, 23(3) JOURNAL OF ECONOMIC
PERSPECTIVES 125-43 (2009); Avi Goldfarb and Catherine Tucker, Digital Economics, 57 JOURNAL OF ECONOMIC
LITERATURE 3-43 (2019); Joseph Farrell & Paul Klemperer, Coordination and lock-in: Competition with switching
costs and network effects, in MARK ARMSTRONG AND ROBERT PORTER EDS., 3 HANDBOOK OF INDUSTRIAL
ORGANIZATION (Elsevier 2007).
     375. See, e.g., Table 5, infra, Row 3 (showing that Google collected service fees in excess of               percent of
consumer expenditures from 8/16/2016 – 12/31/2020).
     376. The relatively few developers who paid reduced take rates in the actual world would also have paid take
rates below the but-for level. Google’s anticompetitive conduct resulted in a substantially inflated headline take rate
of 30 percent, which is economically equivalent to inflating the list price of a product in an antitrust context. Customers
that receive discounts from an inflated list price still incur antitrust injury because the discounts they receive are tied
to the list price. See, e.g., Hal Singer and Robert Kulick, Class Certification In Antitrust Cases: An Economic
Framework, GEORGE MASON LAW REVIEW (2010), 1046-47, 1049 (explaining that class members are impacted even
when they receive discounts relative to an inflated list price; here the list price is Google’s headline take rate of 30
percent). Thus, even developers who paid reduced take rates in the actual world would have also paid lower take rates
in the but-for world, and would have passed on some of the resulting savings to consumers. In Part VII, I demonstrate
how damages can be calculated for individual Class Members using common methods, taking into account the fact
that a limited number of developers received discounts relative to Google’s standard 30 percent take rate.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 114 of 667

                                                      -76-


Appendix 4, the locus of competition occurs on the developer side of the platform. In Part V.E, it
occurs on the consumer side.377

        1.       The Platform Model in a Monopolized Setting

        179. The two sides of the Android App Distribution Market are consumers of initial App
downloads (buyers) and App developers (sellers). Google sets the commission it has charged
developers for using the Play Store. Google does not charge consumers for accessing the Play
Store and instead offers a small subsidy in the form of its loyalty points program, Google Play
Points, effectively implying a small negative price (or subsidy) for consumers using the Play
Store.378 Importantly, while Google sets the commission charged to developers, developers set
their own prices on App downloads.379 As my extension of the Rochet-Tirole model illustrates,
developers that can offer their Apps on an app store that charges a lower commission than Google
will be incentivized to “steer” consumers to the alternative app store by charging lower prices on
downloads in that alternative app store than they charge in the Play Store. In this way, consumers
would also benefit from competition between app stores.

         180. I begin by outlining the classic two-sided market model in which a platform
operator sets per-transaction platform prices on both sides of the market where the platform
operator has a monopoly (the “foundational monopoly model”). I then demonstrate how this model
is easily extended to the instant case, where Google sets a take rate or commission imposed directly
on developers instead of a per-transaction price and provides a subsidy to consumers in the form
of loyalty points (the “applied monopoly model”). A portion of the supracompetitive cost imposed
on developers through the take rate is passed through to consumers (which I show in Section V.D
below). I then describe the foundational and applied models in a setting where there is platform
competition.

                 a.       The Foundational Monopoly Platform Model
       181. The Rochet-Tirole model was developed in a situation in which the operator of the
two-sided platform has a monopoly and sets per-unit prices on both sides of the market to sellers
and buyers.

        182. In the instant case, Google controls the substantial majority of all App downloads
on Android-compatible mobile devices and can thus appropriately be thought of as a platform
monopolist. As a platform operator, Google has the ability to charge both buyers and sellers for
using the Play Store.

        183. Google’s charge to consumers (buyers) can be thought of as Google’s ability to
charge for transactions, which I denote as 𝑃 . As is typical for many two-sided markets, Google
sets the consumer access price (in this case, a subsidy) near zero.380 As for developers (sellers),


     377. The model presented in Part V.E can also be applied if there are two relevant markets.
     378. The subsidy referenced here is paid by Google to the consumer. The consumer still pays a positive price
to the developer—albeit a lower one due to the subsidy.
     379. Google limits prices to between $0.05 and $400.00 on the Google Play Store. Google - Play Console Help,
Supported locations for distributions to Google Play users, available at support.google.com/googleplay/android-
developer/answer/10532353?visit_id=637777015722462270-3131223409&rd=1.
     380. See, e.g., John M. Newman, Antitrust in Zero-Priced Markets: Foundations, 164 PENN LAW REVIEW 149-
206 (2015). The consumer also pays for access by sharing her data with the platform operator.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 115 of 667

                                                        -77-


Google charges a take rate, or percentage of sales, of up to 30 percent. The foundational model
uses a per-unit transaction price on the seller side, which I denote as 𝑃 , instead of a percentage
take rate. In the foundational model, 𝑃 and 𝑃 should be understood as prices charged to
consumers (buyers) and developers (sellers), respectively, for a transaction made on the platform.
These prices are distinct from the price of the actual product being purchased (App downloads).
Maximizing profit (by taking the derivative of the profit equation with respect to both prices) leads
to an optimal pricing rule under a two-sided monopoly platform:

 (V.1)                                      𝑃       𝑃       𝐶       1
                                                𝑃       𝑃       𝜀       𝜀


where 𝜀 , 𝜀 are the price elasticities of demand for the buyer and seller, respectively.381 The left-
hand side of this expression represents the platform operator’s per-unit margin. In maximizing its
profit, the monopolist will choose to set platform prices to buyers and sellers according to their
price elasticities of demand, and 𝐶 represents the platform operator’s incremental cost of executing
a transaction. As observed in Rochet and Tirole 2003, when expressing the total price charged by
the platform (𝑃 𝑃         𝑃 ) and the combined elasticity with respect to both sides of the market
faced by the platform (𝜀 𝜀         𝜀 ), Equation (V.1) simplifies to what is known as the Lerner
index, the standard inverse elasticity formula:
 (V.2)                                              𝑃       𝐶   1
                                                        𝑃       𝜀

This expression is widely recognized in economic theory and suggests that firms with pricing
power increase prices until the markup of price over marginal cost is equal to the inverse of the
firm’s own-price elasticity.382
                 b.       Application of the Two-Sided Monopoly Platform Model to the Play Store
        184. I now adapt the Rochet-Tirole model set out above to fit the current circumstances.
I accommodate three key features that distinguish the adapted model from the foundational
monopoly model described above. First, Google charges a take rate to developers on the Play Store
as a percentage of developers’ revenues rather than a per-unit price. Second, as I demonstrate later
in Part V.D using standard economic principles, the take rate imposed on developers is passed
through at least in part to consumers. This pass-through results in product prices that will be
affected by the take rate. Third, through its Play Points loyalty program and other promotions,
Google offers a subsidy (a negative platform price) on the consumer side.

        185. Define the take rate 𝑡 as the commission charged by Google to developers for using
the platform (typically 30 percent with the exceptions discussed above). The per-unit amount paid
to Google by the developer is equal to the take rate multiplied by the product price, which I will
denote as 𝑆. For example, if an App is priced at 𝑆 $10 and the take rate is 30 percent, the
developer will pay 0.3*$10 = $3 to Google. Indeed, this arrangement is analogous to setting


     381. Rochet & Tirole at 996-997. In mathematical terms, the elasticity of demand is defined as the percentage
increase in demand divided by the percentage decrease in prices.
     382. See, e.g., Landes & Posner at 937 (1981).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 116 of 667

                                                      -78-


platform prices 𝑃      𝑡𝑆. It is important to note that the product price 𝑆 is also affected by the take
rate, because the take rate represents a cost to developers, a significant portion of which is typically
passed on to consumers in the form of higher product prices. I estimate the rate of pass-through in
Section V.D and denote it here with the symbol 𝛾. The pass-through rate is equal to the portion of
an increase in costs incurred by developers (including those from increased commissions), which
is passed through to consumers in the form of higher product prices. For example, if costs to a
developer increase by one dollar, a pass-through rate of 0.90 means that product prices for
consumers increase by $0.90. Allowing for this relationship, Equation (V.1) becomes:



 (V.3)                                    𝑃   𝑡𝑆 𝐶                   1
                                           𝑡𝑆 𝑡 𝑆′           𝜀   ,       𝜀   ,



where 𝜀 , and 𝜀 , are price elasticities of demand for transactions from buyers (consumers) and
sellers (developers), respectively, now taken with respect to the take rate 𝑡, which takes the place
of the platform price, and 𝑡 𝑆′ is an additional term which accounts for the effects of the take rate
on the product price.383 Appendix 3 contains a derivation of Equation (V.3).
         2.      The Platform Model in a Competitive Setting

                 a.       The Foundational Competitive Model
        186. When competition to the platform monopolist is introduced, both buyers and sellers
can connect to more than one platform, which, as discussed above, is known as multi-homing.384
With multi-homing, the monopolist loses some pricing power, resulting in a lower equilibrium
take rate. The competitive pressure on the take rate occurs through two channels: (1) the platform’s
incentive to attract sellers, and (2) sellers’ ability to steer buyers by way of lower product (in this
case App) prices.385

         187. All else equal, sellers will prefer to use the platform that charges a lower seller-side
platform price 𝑃 , assuming that the alternative platform has a roughly comparable menu of
products and therefore attracts a significant base of consumers. A competing platform under this
assumption can therefore attract sellers away from a rival by offering a lower platform price. This
first effect on platform prices, namely downward pressure in the face of competition, is analogous
to the familiar forms of price competition that occur in countless industries.

       188. A second effect stems from sellers’ incentive to avoid a higher take rate, all things
equal, while having access to the most buyers possible. Because sellers here set their own product


     383. 𝑆′ represents the amount by which the product price 𝑆 changes when there is a change in the take rate.
Appendix 3 contains further details regarding this term.
     384. Rochet & Tirole at 991-992 (“In a number of markets, a fraction of end users on one or the two sides
connect to several platforms. Using the Internet terminology, we will say that they ‘multihome.’ For example, many
merchants accept both American Express and Visa; furthermore, some consumers have both Amex and Visa cards in
their pockets. Many consumers have the Internet Explorer and the Netscape browsers installed on their PC, and a
number of Web sites are configured optimally for both browsers.”).
     385. Id. at 1001 (“This increases demand for Platform 1 in two ways: The platform attracts new merchants…and
‘steers’ former multihoming merchants.”).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 117 of 667

                                                           -79-


prices, they can “steer” buyers to a platform by offering lower product prices on that platform.
Steering is facilitated when a rival platform charges a lower platform price, because a seller using
the platform with a lower platform price has a price differential available to lower prices and steer
customers.

       189. In a competitive platform setting, the platform’s optimal pricing rule from Equation
(V.1) becomes:386

 (V.4)                                     𝑃       𝑃       𝐶                  1
                                               𝑃       𝑃              𝜀           𝜀


This formula now reflects the buyers’ “own-brand” elasticity, 𝜀 , and the sellers’ “own-brand”
elasticity, 𝜀 . Own-brand elasticity is the change in demand for a given platform due to an
increase in the price of transacting on that particular platform. This elasticity varies from the
elasticity in the monopoly setting due to the presence of competition from rival platforms. In a
monopoly setting, a consumer may choose not to transact in the face of a price increase but will
not have the option of transacting on an alternative platform. In a competitive setting, a consumer
may choose not to transact at all or may choose to transact on a competing platform. The presence
of a competitive option suggests a greater elasticity of demand relative to that of the monopoly
setting.
        190. The own-brand elasticities cause the denominator on the right-hand side of
Equation (V.4) to increase relative to the denominator in Equation (V.1). This higher denominator
leads to a lower margin on the left-hand side, which implies lower equilibrium platform prices
(𝑃     𝑃 in the presence of competition.

                  b.       Application Of The Two-Sided Competitive Platform Model to The
                           Instant Case
       191. Applying the competitive model to this case results in an expression analogous to
Equation (V.4):

 (V.5)                                    𝑃   𝑡𝑆 𝐶                            1
                                           𝑡𝑆 𝑡 𝑆′                𝜀       ,       𝜀   ,



As in Equation (V.3), the platform prices 𝑃 on the left side of the expression has been replaced
with its take rate analogue (𝑡𝑆), and there is an additional term in the denominator which accounts
for the effect of a new take rate on product prices. The platform price elasticities on the right-hand
side have also been replaced with their take rate analogues, now reflecting the introduction of
competition (𝜀 , is own-brand elasticity of demand taken with respect to the take rate on the


     386. Id. at 1004. I derive this expression by replacing market demand faced by the platform operator (in the
monopoly setting) with residual demand, where residual demand is defined as market demand minus demand that is
met by the platform’s rivals. Rochet and Tirole model competition in the form of a duopoly and express the seller side
own-brand elasticity as 𝜀      𝜀 /𝜎, where 𝜎 is a single-homing index. I use the more general notation to show that in
my extension of the model, I am agnostic to the number of competing platforms faced by Google, as long as there is
at least one rival. Appendix 3 provides details regarding this derivation.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 118 of 667

                                                      -80-


buyer side, and 𝜀 , is own-brand elasticity of demand taken with respect to the take rate on the
seller side). As in the foundational model, the competitive elasticity terms imply a lower take rate
in this equation. Table 2 summarizes these equations, comparing the foundational framework with
the extension that allows for a percentage take rate. Details of how these expressions are derived
are in Appendix 3.
        TABLE 2: EQUILIBRIUM EXPRESSIONS OF THE ROCHET-TIROLE MODEL APPLIED TO THE
                                    INSTANT CASE
 Scenario             Foundational Model                    Applied Model

                         𝑃       𝑃       𝐶        1               𝑃   𝑡𝑆 𝐶                  1
 Monopoly                    𝑃       𝑃        𝜀       𝜀            𝑡𝑆 𝑡 𝑆′          𝜀   ,       𝜀   ,


                                                  (Eqn. (V.1))                              (Eqn. (V.3))

                        𝑃        𝑃       𝐶        1              𝑃   𝑡𝑆 𝐶                   1
 Competitive                𝑃        𝑃       𝜀        𝜀           𝑡𝑆 𝑡 𝑆′       𝜀       ,       𝜀       ,


                                                  (Eqn. (V.4))                              (Eqn. (V.5))


        3.     Calibrating the Model and Required Inputs

        192. Once the model is “calibrated” in the sense that it relates the observed variables in
the monopoly setting in Table 2 and solves for the unobserved variables, the model can be used to
project Google’s take rate in a competitive setting. I demonstrate impact by proceeding in two
steps. First, I calibrate the Applied Model in the monopoly scenario by estimating inputs in the
observed setting in which Google wields monopoly power in the Android App Distribution
Market, thus satisfying Equation (V.3). The model’s inputs are informed entirely by paid Apps in
the Android App Distribution Market, as those are the only Apps that are priced and thus exhibit
an observable own-price elasticity of demand. Second, I use the competitive inputs—namely, the
take rate elasticities of demand—to determine a competitive take rate in a competitive (but-for)
world, thus satisfying Equation (V.5). Data obtained from Google and other sources can be used
in the applied monopoly and competitive models. In the descriptions below, I use the superscript
M
  to denote inputs to the monopoly model (Equation (V.3)) and the superscript C to denote inputs
to the competitive model (Equation (V.5)). My sources and methods for obtaining the monopoly
scenario inputs shown in Equation (V.3) are:

       𝑃 is equal to the price “charged” by Google to consumers for transactions made on its
        platform in the monopoly scenario. Through its Play Point loyalty program and other
        promotions, Google effectively charges a small negative price to consumers. As it does in
        the actual world, Google would maximize its profits with respect to all Apps collectively,
        not App-by-App. Therefore, I use Google’s average subsidy across all Apps, not individual
        subsidy amounts, to calculate 𝑃 . I compute the value of this subsidy as the sum of all
        promotions paid by Google for paid Apps downloaded in the Android App Distribution
        Market divided by the total quantity of paid Apps downloaded in the Android App
        Distribution Market, per Google’s transaction records.
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 119 of 667

                                                           -81-


        𝑡 is equal to the observed take rate, computed as the sum of all revenue retained by
         Google in the Android App Distribution Market divided by the sum of total revenue spent
         by consumers in the Android App Distribution Market. 𝑡 therefore represents the portion
         of consumer spending that Google “takes” from the developer. I calculate 𝑡 prior to
         extracting Google’s promotional payments to consumers (promotional payments are
         captured by 𝑃 ).

        𝑆 is equal to the average price charged for Apps in the Android App Distribution Market
         (for paid App downloads only) in the monopoly setting.387 In the monopoly model, 𝑆 is
         total consumer expenditure (prior to receiving promotions from Google) in the Android
         App Distribution Market divided by the total quantity of paid Apps downloaded, as
         observed in Google’s transaction records. As it does in the actual world, Google would
         maximize its profits with respect to all Apps collectively, not App-by-App. Therefore, I
         use Google’s average App price across all Apps, not individual App prices, to calculate
         𝑆 .

        Marginal cost 𝐶 represents the incremental cost incurred by Google in executing a
         transaction in the Android App Distribution Market or In-App Aftermarket. I refer to
         Google’s financial data to infer this value, which suggests that transaction fees and direct
         costs that Google records for the Play Store (excluding content costs) are approximately
         10.29 percent of consumer expenditures.388

        𝛾 is equal to the change in the App price 𝑆 charged to consumers with respect to a change
         in developers’ costs (including the cost imposed on developers through Google’s take rate),
         also known as the pass-through rate. This parameter is discussed in detail in Part V.D,
         where I estimate its value at approximately 90 percent (89.9 percent). This value implies
         that an increase in the take rate that adds $1.00 in extra cost to a developer will cause an
         increase in the price of the app product of $0.90. Mathematically, the pass-through rate is:

 (V.6)                                                       change in revenue
                                                       𝛾
                                                              change in costs


        𝑆 represents the change in the product price resulting from a small change in the take
         rate. I solve for 𝑆 in terms of the take rate and pass-through rate: 𝑆             𝑆 .
         Appendix 3 contains a derivation of this expression.




     387. Apps that are free to download have a zero price and are therefore excluded from the analysis.
     388. As I discuss in Section V. C, I estimate that Google’s direct costs of sales and direct operating expenses
for the Play Store (excluding irrelevant content costs for movies, television, and books) to be                percent of
consumer expenditures on the Play Store for the period 2016 – 2020. In addition to transaction fees, the Play Store’s
direct costs of sales includes content costs, customer support, and other costs. I include all of these except content
costs; these are costs Google incurs for sales of books, movies, and television, and are not part of the relevant markets
here. I also include all direct operating expenses, which include payroll & stock-based compensation, as well as the
following non-payroll costs: professional services, advertising and promotional expenses, equipment, and other
expenses (travel and entertainment, office and related expenses). See GOOG-PLAY-000416245.
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 120 of 667

                                                       -82-


        𝜀 , and 𝜀 , are the take-rate elasticities of demand for transactions in the Android App
         Distribution Market from consumers and developers, respectively, in the presence of
         Google’s monopoly. 𝜀 , reflects the change in the quantity demanded by consumers for
         Android App Distribution Market transactions associated with a change in the take rate in
         a monopoly setting. A change in the take rate affects the price at which App products (paid
         App downloads and purchases of In-App Content) are set via pass-through, which in turn
         affects consumer demand. 𝜀 , reflects the change in the number of paid Apps sold by
         developers in response to a change in the take rate in a monopoly setting. Given the other
         inputs to the monopoly model, the value of 𝜀 ,    𝜀 , is implied by Equation (V.3). Further
         description of these inputs is included in Appendix 3.

I hold inputs 𝐶 and 𝛾 fixed between the monopoly and competitive scenarios. My sources and
methods for obtaining the remaining inputs to the competitive scenario expression shown in
Equation (V.5) are:

        𝑃 is equal to the price “charged” by Google to consumers for transactions made on its
         platform in the competitive scenario. I hold the buyer-side platform price fixed in
         proportion to the product price: 𝑃                   ∗ 𝑆 .389

        𝑡 is equal to the but-for (competitive) take rate. I calculate the but-for take rate by finding
         the value that satisfies Equation (V.5) given the remaining inputs.390

        𝑆 is the price of paid App downloads that developers would charge in a competitive
         scenario. 𝑆 can be inferred if the pass-through rate is known by using Equation (V.6). In
         particular, plugging in the change in revenue and change in costs associated with the
         monopoly versus a competitive scenario:

 (V.7)                               change in revenue               𝑆        𝑆 ∗ quantity
                                𝛾
                                      change in costs              𝑡 𝑆        𝑡 𝑆 ∗ quantity


This expression can be further simplified and re-arranged to express the competitive price 𝑆 in
terms of other inputs:
 (V.8)                                                              1    𝛾𝑡
                                                        𝑆      𝑆
                                                                    1    𝛾𝑡

        𝑆 represents the change in the product price resulting from a small change in the take rate
         in the competitive setting. I solve for 𝑆 in terms of the take rate and pass-through rate:
         𝑆            𝑆 . Appendix 3 contains a derivation of this expression.




     389. In Section V.E, I model a scenario in which the locus of competition occurs on the buyer-side platform
price 𝑃 , resulting in a but-for buyer-side platform price that differs from the observed, monopolistic price.
     390. If all the inputs to Equation (V.5) are known except for the take rate, I can solve for the take rate that
satisfies the equation.
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 121 of 667

                                                            -83-


        𝜀 , and 𝜀 , are the “own-brand” take-rate elasticities of demand for transactions in the
         Android App Distribution Market for consumers and developers, respectively, in the
         presence of competition. 𝜀 , reflects the change in the quantity demanded by consumers
         for Android App Distribution Market transactions—from Google in particular, hence,
         “own-brand”—associated with a change in Google’s take rate. Relative to its monopoly
         analogue, this parameter reflects a scenario where Google faces competition from rival
         platforms; as such, the parameter will be greater in magnitude than the monopoly elasticity,
         because the presence of a competitor allows easier defection by consumers in the presence
         of a price increase from Google, and thus more sensitivity. 𝜀 , reflects the change in the
         quantity of transactions demanded by developers—on the Play Store in particular, hence
         “own-brand”—in response to a change in the take rate, again in the presence of platform
         (app store) competition. To inform the but-for competitive elasticities as shown in the
         denominator of Equation (V.5), 𝜀 ,          𝜀 , , I draw from the economics literature,
         empirical evidence of industries that have shifted from monopoly to competition. I
         conservatively estimate that Google’s take rate elasticities shift from a value of 2.12 (in the
         monopoly setting, as calculated using Equation (V.3)) to 2.49 in the competitive setting. I
         arrive at 2.49 using the relationship between own-brand elasticity and market demand
         elasticity, and under the conservative assumption that Google maintains a 60 percent share
         of the Android App Distribution Market with an inelastic supply response from Google’s
         rivals.391 These inputs are defined mathematically in Appendix 3.

         4.       Competitive Take Rate Results

        193. Table 3 summarizes the results of calculating inputs as described above. I estimate
that in the but-for world, platform competition results in a competitive take rate of        percent,
down from its observed value of       percent in the actual world.392 This result is calculated from
Equation (V.5), by finding the value for 𝑡 that satisfies the equation, given all other inputs. As
Table 3 shows, at a pass-through rate of 𝛾          percent, the resulting but-for average price of
paid App downloads in the Android App Distribution Market is              down from the observed
price of       (net of Google’s promotional expenditures to consumers). This difference results in
an average overcharge to consumers of                per paid App download =


    391. Similar to Part V.C, infra, I use the relation 𝐸                   where 𝐸 is Google’s own-brand elasticity
(reflecting price responses of both buyers and sellers), 𝐸 is market elasticity, 𝑆 is Google’s market share, and 𝐸 is
the elasticity of supply of Google’s rivals (conservatively set to zero). See Landes & Posner at 939-940. I
conservatively assume Google maintains a 60 percent market share in a competitive market and that 𝐸            0. AT&T
saw its market share decline to approximately 60 percent by the early 1990s after losing its monopoly. See, e.g., Simran
Kahai, David Kaserman & John Mayo, Is the “Dominant Firm” Dominant? An Empirical Analysis of AT&T’s Market
Power, 39 JOURNAL OF LAW & ECONOMICS 499-517 (1996). This implies that buyer price elasticity of demand changes
from 5.118 in the monopoly setting (estimated using Equation V.11) to 8.53 = 5.119/0.6 in the competitive setting,
which translates to a competitive take rate elasticity of 2.276 (see Appendix 3 and Equation (A.19) for details on the
relation between the buyer price elasticity of demand and buyer take rate elasticity of demand). I use Equation V.3 to
calculate the seller (developer) take rate elasticity of demand at 0.213 in the monopoly setting. I conservatively hold
the seller (developer) take rate elasticity of demand fixed at its monopoly level in the competitive (but-for) scenario
The sum total of both competitive elasticities is then equal to 2.276 + 0.213 = 2.49.
     392. A large portion of products sold in the Android App Distribution market were priced at either $0.99 or
$1.99. When taking a 30 percent commission, Google’s portion was rounded to the nearest penny (for example, taking
$0.30 for a $0.99 purchase and $0.60 for a $1.99 purchase). This leads to an overall average take rate that is slightly
greater than 30 percent (30.1 percent).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 122 of 667

                                                  -84-


demonstrating impact, and it results in aggregate damages of $18.76 million (equal to $0.3047
times 61.58 million paid App downloads sold)393 as a result of Google’s restrictions in the Android
App Distribution Market, across the Class Period (August 16, 2016, through December 31, 2020).
As explained below, there are additional damages and impact in the In-App Aftermarket.

         194. Developer-specific take rates can be computed by applying the proportion of
discounts granted in the actual world to the competitive but-for take rate. For example, suppose
that the overall take rate is 30 percent in the actual world. Suppose a developer has an actual take
rate of 29 percent (one percentage point below the overall rate). Suppose that the overall but-for
take rate is 23 percent. In this example, the developer’s but-for take rate would be calculated as
[23 percent] x [29 percent]/[30 percent] = 22.2 percent. The pass-through rate 𝛾 (which I set equal
to 89.9 percent for this analysis) may also vary across categories of Apps. Differential pass-through
rates can be readily estimated using common methods and evidence (see Part V.D.3) and inserted
into the model to determine competitive but-for take rates that vary across App category, as
illustrated in Part VII below. Class members who made purchases in those App categories were
accordingly subject to overcharges; lower take rates associated with consumer purchases in the
but-for world would be passed through in the form of lower App prices relative to the actual world.




    393. Equivalently, aggregate damages can be calculated as the percentage decrease in price (equal to
                         multiplied by actual consumer expenditure of         (after Google’s promotional
expenditures), yielding aggregate damages of
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 123 of 667

                                                            -85-

               TABLE 3: ANDROID APP DISTRIBUTION MARKET IMPACT AND DAMAGES
                                      (8/16/2016 – 12/31/2020)
Actual World (Monopoly, Eqn. (3))
      #           Input       Description                      Value Source/Notes
                                                                     GOOG-PLAY-
     [1]                      Consumer Expenditure (US)              005535886 (US
                                                                     Consumers)
                                                                     GOOG-PLAY-
     [2]                      Google Revenue (US)                    005535886 (US
                                                                     Consumers)
                                                                     GOOG-PLAY-
                              Google Promotional
     [3]                                                             005535886 (US
                              Expenditures (US)
                                                                     Consumers)
                              Android App Distribution               GOOG-PLAY-
     [4]                      Market (Paid) Transactions             005535886 (US
                              (US)                                   Consumers)
                     𝑴
 [5]=[1]/[4]       𝑺          App Product Price                      Calculated
 [6]=[2]/[1]             𝒕𝑴                 Take Rate                   Calculated
 [7]=-[3]/[4]         𝑷𝑩                    Buyer-side Platform Price   Calculated
                                            App Product Price Net of
 [8]=[5]+[7]       SM + PB                  Promotions
                                                                        Calculated
                                                                        GOOG-PLAY-
     [9]                 𝑪                  Marginal Cost
                                                                        000416245
     [10]                𝜸                  Pass-through Rate           Estimated (See Table 8)
                                            Take Rate Elasticities of
     [11]         𝜺𝑴
                   𝑩,𝒕         𝜺𝑴
                                𝑺,𝒕                                     Calculated (Eqn. (V.3))
                                            Demand

But-For World (Competitive, Eqn. (5))
     #            Input       Description                               Source/Notes
     [12]                  𝑺𝑪               App Product Price           Calculated (Eqn. (V.8))
                               𝑪
     [13]                  𝒕                Take Rate                   Calculated (Eqn. (V.5))
[14]=([7]/[5])*
                         𝑷𝑩                 Buyer-side Platform Price   Calculated
     [12]
                                            App Product Price Net of
[15]=[12]+[14]       SC + PB                Promotions
                                                                        Calculated
                                                                        GOOG-PLAY-
   [16]=[9]                𝑪                Marginal Cost
                                                                        000416245
  [17]=[10]                𝜸                Pass-through Rate           Estimated (See Table 8)
                                            Take Rate Elasticities of   Economic
     [18]         𝜺𝑪𝑶𝑩,𝒕           𝜺𝑪𝑶𝑺,𝒕
                                            Demand                      theory/empirical studies
                                            Consumer Savings Per
[19]=[8]-[15]                                                           Calculated
                                            Transaction

[20]=[19]*[4]                               Aggregate Damages            Calculated
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 124 of 667

                                                       -86-


        5.       Analysis Of Similar Platforms Corroborates My Competitive Take Rates For
                 Initial App Downloads

        195. The framework described above demonstrates the economics of two-sided
platforms and allows estimation of a take rate in a competitive but-for world. This model is
particularly useful in the present context where the Challenged Conduct has been inherent to
Google’s business practices since approximately the inception of the Play Store, preventing a
“before, during, and after” comparison. A comparative analysis, presented here, can be used to
corroborate the results from the two-sided market model. In this section, I review take rates found
in similarly situated, two-sided digital platforms. I focus on take rates from platforms where there
are no (or fewer) anticompetitive restraints similar to those imposed by Google in the instant case,
and the fundamentals of platform economics (connecting two sides of a market) are present. From
these examples, several conclusions emerge:

                Platforms in competitive environments compete by lowering their take rates;

                Customer mobility, which hinges on the presence of substitutes and the absence of
                 switching costs, puts downward pressure on the take rate via steering; and

                Take rates in competitive environments reflect the diminishing value offered by the
                 platform over time following the initial matching of buyer and seller.

                 a.       The ONE Store
        196. South Korean wireless carrier SK Telecom Co. spearheaded the launch of the ONE
Store, a competing mobile app store in 2016.394 The scale of this effort to compete with Google is
a testament to the barriers to entry: it involved cooperation among the three largest Korean wireless
carriers (SK Telecom, KT, and LG Uplus), as well as Naver, Korea’s largest search engine.395
These parties were able to achieve near-universal availability in South Korea of the rival app store
by having it pre-installed on every Android handset provided by these three companies.396 The
ONE Store now has a 14.9 percent share of payment volume among app stores in South Korea.397
The ONE Store has managed to gain share of payment volume in large part thanks to its
significantly lower take rates, as well as an aggressive points system for consumers. The ONE
Store has a 20 percent take rate for developers, which is lowered to five percent if the developer
uses its own payment platform.398 ONE Store’s CEO credits its lower take rates compared to
Google’s 30 percent rate with increasing ONE Store’s presence in its domestic market and
increasing the number of users purchasing app products (both paid App downloads and purchases




     394. Lim Young-sin & Choi Mira, Korea’s home-grown integrated app market One Store on global outreach,
PULSE (Nov. 13, 2019), available at pulsenews.co.kr/view.php?year=2019&no=938924.
     395. Id.
     396. GOOG-PLAY-000005203 at GOOG-PLAY-000005264 (“Pre-installed on (virtually) every phone sold in
SK”).
     397. Kim Eun-jung, Korean app market ONE store eyes global alliance to compete with Google (Dec. 1, 2019),
available at en.yna.co.kr/view/AEN20191128004700320.
     398. Id. (“ONE store cut the rate to 20 percent in July 2018. For app providers with their own payment platform,
the firm only charged 5 percent for its service.”).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 125 of 667

                                                        -87-


of In-App Content).399 In October 2020, ONE Store announced a 50 percent discount on
commissions for small developers (those with revenue less than 5 million won per month).400

        197. The ONE Store has been identified by Google as a competitive risk due to its lower
take rate.401 The ONE store originally charged a 30 percent commission from its launch in March
2016, and cut its take rate to the 20 percent level (five percent if developers provide their own
payment platform) in July 2018 to compete against Google.402 Developers can now (setting aside
any restrictions by Google) steer their customers to the lower-cost platform via discounting prices
to consumers for Apps. This episode demonstrates that multi-homing competition among app store
platforms engenders competition along the take-rate dimension.

        198. The scale of the alliance of the three largest wireless carriers in South Korea enabled
the ONE Store to overcome the prohibitive restrictions to competition imposed by Google.
Google’s revenue-sharing agreements with carriers were designed to prevent such a launch of a
competing app store, particularly in the United States.403 An internal Google presentation notes
that this form of competition, involving a coalition of carriers, is “[u]nlikely in the US, given
market share distribution and competition amongst carriers.”404

                  b.       Aptoide
       199. Aptoide, another app store operating worldwide, assesses a maximum take rate of
25 percent405 and in some cases charges a take rate as low as ten percent.406 These take rates
encourage developers to steer their customers to Aptoide’s lower-cost platform. This strategy has



     399. Id. (“The rate cut not only helped the firm [the ONE Store] to expand its presence in the domestic market
but also improved profitability with an increased number of paid users, he said. . . With the additional firepower, Lee
said ONE store will bolster efforts to create an alternative global app store capable of competing with Google and
enhance the app industry ecosystem. ‘A monopolistic market is not healthy for both industry players and consumers,’
Lee said. ‘We need more competition, not only in the domestic market but also on the global scale.’”).
     400. ET Telecom.com, South Korea's app market ONE store grows amid Google's Play store policy row (Feb.
21, 2021), available at telecom.economictimes.indiatimes.com/news/south-koreas-app-market-one-store-grows-
amid-googles-play-store-policy-row/81135498. I have not endeavored to study the difference in App prices, if any,
across the One Store and Google Play Store in South Korea. To the extent App prices have converged across the two
platforms, that is consistent with pass-through and steering by developers, as one would expect a lower price for an
App on the One Store to induce substitution that would put downward pressure on App prices in the Google Play
Store.
     401. See, e.g., GOOG-PLAY-000005203 at GOOG-PLAY-000005215. See also GOOG-PLAY-000445443 at
GOOG-PLAY-000445451.
     402. Kim Eun-jung, Korean app market ONE store eyes global alliance to compete with Google (Dec. 1, 2019),
available at en.yna.co.kr/view/AEN20191128004700320.
     403. See, e.g., GOOG-PLAY-007315383 (“We take a much needed belt and suspenders approach to our Search
and Play contracts to include both OEM’s and carriers. In many regions, the carriers drive the preloads for phones and
tablets on Android devices.”); GOOG-PLAY-001055565 (“As we discussed, we are committed to not fragmenting
the market. The goal is to use your master, global market to attract developers and publish content…the ‘store’ or
channel they would see is a subset of the market made for them, but the broad market is still available at the same
level of access as before.”). See also GOOG-PLAY-001143425 (“To belay any concerns, we are absolutely not
building another market.”).
     404. GOOG-PLAY-002011285 at GOOG-PLAY-002011289.
     405. See Aptoide, For Developers, available at en.aptoide.com/company/developers (“Get a minimum of 75%
payout rate on in-app purchases in comparison to 70% or even 50% you get with other app distributors.”).
     406. See Revenue Share, Catappult App Distribution Console, available at docs.catappult.io/docs/distribution-
and-revenue-share.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 126 of 667

                                                       -88-


paid off; Aptoide presently has over 300 million users worldwide.407 Aptoide’s growth is
nevertheless limited by Google’s restrictions—for example, consumers cannot download Aptoide
through the Google Play Store and instead must go through the cumbersome side-loading
process.408 Moreover, developers are also barred from any form of steering—that is, informing
consumers using the Google Play Store that they can use Aptoide for some or all of their
transactions.409

                 c.       Amazon
        200.

            Google’s documents indicate that Amazon ran significant promotions on the user side.
For instance, Google’s 2017 “Amazon Competitor Deep Dive” indicates that Amazon was
discounting Amazon Coins up to 15 percent and discounting purchases of In-App Content for
Android games up to 30 percent.411 Amazon announced in June 2021 that it will reduce its headline
take rate from 30 percent to 20 percent for small developers with less than $1 million in revenues,
similar to other platforms.412 Further, Amazon will offer promotional Amazon Web Services
credits that could effectively cut its take rate to 10 percent.413

                 d.       PC Game Platforms
        201. Despite not being a participant in the Android App Distribution Market, video game
distribution platforms on PCs are similar to mobile App distribution platforms in that they also
connect developers of software applications to consumers without requiring a particular console



     407. See Aptoide, About Us, available at en.aptoide.com/company/about-us (“Aptoide is the game-changing
Android App Store. With over 300 million users, 7 billion downloads and 1 million apps, Aptoide provides an
alternative way to discover apps and games, with no geo-restrictions and one of the best malware detection systems
in the market.”).
     408. Aptoide, How to download and install Aptoide?, available at en.aptoide.com/company/faq/how-to-
download-install-aptoide.
     409. See Google – Play Console Help, Understanding Google Play’s Payments policy, available at
support.google.com/googleplay/android-developer/answer/10281818?hl=en#zippy=%2Ccan-i-distribute-my-app-
via-other-android-app-stores-or-through-my-website%2Ccan-i-communicate-with-my-users-about-alternative-ways-
to-pay%2Ccan-i-communicate-with-my-users-about-promotions-on-other-platforms (“Within an app, developers
may not lead users to a payment method other than Google Play’s billing system unless permitted by the Payments
policy. This includes directly linking to a webpage that could lead to an alternate payment method or using language
that encourages a user to purchase the digital item outside of the app.”).
     410. Derek Strickland, Apple's 30% App Store commission is 'supracompetitive,' court declares, TWEAKTOWN
(Sept. 11, 2021), available at www.tweaktown.com/news/81567/apples-30-app-store-commission-is-
supracompetitive-court-declares/index.html. Epic Games, Inc. v. Apple Inc., Case No.: 4:20-cv-05640-YGR, Rule 52
Order After Trial On The Merits (Sept. 10, 2021), at 98.



     411 GOOG-PLAY-000879194.R at GOOG-PLAY-000879204.R.
     412. Sarah Perez, Amazon’s Appstore lowers its cut of developer revenue for small businesses, adds AWS
credits, TECHCRUNCH (June 17, 2021), available at techcrunch.com/2021/06/17/amazons-appstore-lowers-its-cut-of-
developer-revenue-for-small-businesses-adds-aws-credits/.
     413. Mike Peterson, Amazon following Apple & Google’s lead, cutting app store commissions, APPLEINSIDER
(June 17, 2021), available at appleinsider.com/articles/21/06/17/amazon-following-apple-googles-lead-cutting-app-
store-commissions.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 127 of 667

                                                          -89-


(like an Xbox or PlayStation).414 The three dominant platforms through which PC games are
bought and sold are Steam, Epic, and Microsoft.415 Indeed, Google has noted that a 20 percent take
rate would bring “Play rev share in line with upper end of desktop gaming stores,”416 although
relatively recent developments suggest even lower take rates among PC game platforms. The Epic
Games Store was launched in December 2018 with a take rate of 12 percent.417 Microsoft
announced a reduction from 30 percent to 12 percent for games sold through its store, beginning
August 1, 2021.418 Effective October 2018, Steam also announced a take-rate reduction from 30
percent to a tiered system: 30 percent for the developer’s first $10 million in revenue, 25 percent
for sales between $10 and $50 million, and 20 percent for sales more than $50 million.419 Discord,
a PC game platform monitored by Google, imposes a ten percent revenue share.420

                  e.        PC App Stores
        202. Effective August 1, 2021, Microsoft charged a 12 percent take rate for consumer
non-game apps sold in the Microsoft Store (on devices other than Xbox and those using Windows
8), reduced from 15 percent.421 Importantly, these commissions only apply when the developer is
using the Microsoft commerce platform to “support the purchase of your App or any in-App
Products” (analogous to Google’s billing system).422 Also as of August 1, 2021, Microsoft charged
a zero percent take rate for non-game apps downloaded through the Windows 11 Store if the
developer chose to use its own or a third-party commerce platform to facilitate in-app purchases.423


     414. Take rates for video games played on consoles such as Xbox and Playstation may reflect the cost recovery
of the hardware.
     415. Steam is estimated to control roughly three quarters of PC gaming sales, followed by Epic (between two
and 15 percent) and Microsoft. See, e.g., Kyle Orland, Humble Bundle creator brings antitrust lawsuit against Valve
over Steam, ARS TECHNICA (Apr. 30, 2021), available at arstechnica.com/gaming/2021/04/humble-bundle-creator-
brings-antitrust-lawsuit-against-valve-over-steam/.
     416. GOOG-PLAY-000542516 at GOOG-PLAY-000542529.
     417. Epic Games, The Epic Games store is now live (Dec. 6, 2018), available at www.epicgames.com/store/en-
US/news/the-epic-games-store-is-now-live (“The Epic Games store is now open, featuring awesome high-quality
games from other developers. Our goal is to bring you great games, and to give game developers a better deal: they
receive 88% of the money you spend, versus only 70% elsewhere. This helps developers succeed and make more of
the games you love.”).
     418. Tom Warren, Microsoft shakes up PC gaming by reducing Windows store cut to just 12 percent, THE
VERGE (Apr. 29, 2021), available at www.theverge.com/2021/4/29/22409285/microsoft-store-cut-windows-pc-
games-12-percent.
     419. Brittany Vincent, Valve Introduces New Revenue Split Changes For Steam Sales, VARIETY (Dec. 3, 2018),
available at variety.com/2018/gaming/news/valve-revenue-split-changes-1203078700/.
     420. GOOG-PLAY-007329076 at GOOG-PLAY-007329084.
     421. Microsoft Store, App Developer Agreement Version 8.7 (Effective July 28, 2021), available at
query.prod.cms.rt.microsoft.com/cms/api/am/binary/RE4OG2b (“Fifteen percent (15%) of Net Receipts for any Apps
(and any In-App Products in such Apps, including) that are not listed in Section 6(b)(iii) below. ii. For all Net Receipts
generated on or after August 1, 2021: Twelve percent (12%) of Net Receipts for any Games (and any in-App Products
in such Games) that are not listed in Section 6(b)(iii). iii. Thirty percent (30%) of Net Receipts for: 1. all Apps and In-
App Products acquired by Customers in the Microsoft Store on an Xbox console and billed to such Customers on a
non-subscription basis; 2. all Games (and In-App Products in Games) acquired by Customers in the Microsoft Store
on an Xbox console; and 3. all Apps and In-App Products acquired by Customers in the Microsoft Store on Windows
8 devices; or Microsoft Store on Windows Phone 8 devices.”).
     422. Id. at 13-14 (“Commerce Platform Requirements. Purchases made on a third-party commerce engine are
not subject to the Store Fee, but are still required to comply with our Certification Requirement.”).
     423. Giorgio Sardo, General Manager – Microsoft Store, Building a new, open Microsoft Store on Windows 11,
MICROSOFT             WINDOWS              BLOGS            (Jun.         24,         2021),         available           at
blogs.windows.com/windowsexperience/2021/06/24/building-a-new-open-microsoft-store-on-windows-11/.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 128 of 667

                                                        -90-


More specifically, the Microsoft Store charges game developers 12 percent of revenue; non-game
app developers pay 15 percent of revenue if they use Microsoft platform for their in-app
transactions, but zero percent if they do not:

         Many developers love the Microsoft Commerce platform because of its simplicity, global
         distribution, platform integration and its competitive revenue share terms at 85/15 for apps
         and 88/12 for games. Starting July 28, app developers will also have an option to bring
         their own or a third party commerce platform in their apps, and if they do so they don’t
         need to pay Microsoft any fee. They can keep 100% of their revenue.”424

        203. The Microsoft PC app store faces competition from direct downloads—consumers
can easily discover a new application on the Internet and download it to the personal computer
without using Microsoft as an intermediary. Given the competition from direct app downloads,
Microsoft only charges a take rate when the services of matchmaking—connecting the consumer
to the app—and billing services are provided.

                  f.       Other Examples
        204. Additional examples of take rates more competitive than Google’s abound in other,
similarly situated industries with two-sided platforms. In independent online publishing, one of
the leading platforms, Substack, which brings together writers and readers, takes a ten percent
commission from writers, recognizing the low switching costs: “Moving one’s email list away
from Substack is simple, so the firm lets writers keep 90% of their revenues.”425 This ease of
mobility increases writers’ elasticity of supply, which puts downward pressure on the take rate.
Revue, a competitor to Substack now owned by Twitter, charges only a five percent take rate.426
Google’s own Chrome web store, which provides extensions, themes, and apps associated with its
browser, charges a five percent take rate, recognizing the value of attracting developers who might
otherwise produce content for other browsers.427 Take rates for online retail from vendors such as




     424. Id. (emphasis added); see also Alex Hern, Microsoft to let developers keep all their Windows app store
revenue, THE GUARDIAN (June 25, 2021), available at www.theguardian.com/technology/2021/jun/25/microsoft-let-
developers-keep-all-windows-app-store-
revenue#:~:text=Currently%2C%20developers%20who%20sell%20apps,the%20revenue%20with%20the%20comp
any. (“As part of the shift to Windows 11, unveiled on Thursday, the company will allow developers to use their own
payment systems on apps they sell through the Windows store. Those who do will not have to pay a penny to
Microsoft.”). Thus far, Microsoft has declined to unbundle its billing system for game developers: “A different set of
rules apply for game developers: their share is lower, at 12%, but they will not be given the option of using their own
payment processors.” Id.
     425. The new rules of the ‘creator economy’, ECONOMIST (May 8, 2021), available at
www.economist.com/briefing/2021/05/08/the-new-rules-of-the-creator-economy.
     426. Max Willens, Cheat sheet: Twitter’s acquisition of Revue heats up the battle of the inbox, DIGIDAY (Jan.
27, 2021), available at digiday.com/media/cheat-sheet-twitters-acquisition-of-revue-heats-up-the-battle-of-the-inbox/
(“Revue will remain a separate brand, but Twitter will provide the resources to make Revue more competitive with
other newsletter platforms; the commission Revue takes on all consumer revenue has been reduced to 5%, half of
what Substack charges. All of the Pro features for Revue will be freely available to all Revue users as well. Twitter
will also help Revue hire more people across research, design and engineering.”).
     427. D. Melanson, Google makes Chrome Web Store available worldwide, adds in-app purchases and flat five
percent fee, ENGADGET (May 11, 2011), available at www.engadget.com/2011-05-11-google-makes-chome-web-
store-available-worldwide-adds-in-app-pu.html.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 129 of 667

                                                           -91-


Amazon, eBay, and Etsy range from eight to fifteen percent with a small additional lump sum on
the order of $0.30-$0.99.428

        205. Table 4 offers a non-comprehensive summary of take rates in comparable
competitive digital platform environments. Google’s competitive but-for take rate from my two-
sided platform model of 23.4 percent is corroborated by rates charged by competitive mobile app
stores (18 to 25 percent), and is conservative compared to the take rates imposed by other platforms
in more competitive industries. Finally, take rates of 15 percent                 offered by Google
pursuant to LRAP (and similar programs) also provide a reasonable approximation of the but-for
take rate. Record evidence shows that LRAP offered a 15 percent take rate to induce premium
subscription video streaming services with viable non-Google billing options (such as
     , and others) to adopt Google Play Billing in their apps.429 It therefore provides a valid
competitive benchmark take rate for developers with take rates at (or close to) Google’s standard
30 percent take rate in the actual world (that is, the vast majority of developers).430




     428. See, e.g., Hung Truong, Compare 9 Online Marketplace Fees (Sept. 18, 2018), available at
sellerzen.com/compare-9-online-marketplace-fees.
     429. PX693, at GOOG-PLAY-000578301.R. See, also Defendants’ Responses and Objections to Developer
Plaintiffs’ First Set of Interrogatories at 13 (“Google maintains several developer programs that lower the service fee
earned by Google on apps and in-app purchases distributed by those developers on Google Play. Programs that U.S.
developers participate in include “Living Room Accelerator Program” (“LRAP”), LRAP++, Audio Distribution
Accelerator Program (“ADAP”), and Subscribe with Google (“SwG”).”) Google created LRAP for developers “who
had video subscription apps” to encourage them to help “build up [Google’s] android living room experience,”
including to integrate a product known as “Cast” into their mobile apps which “would then allow their content to be
seen on TVs” and to integrate with Google Play billing. See Rosenberg Dep. at 261:11-262:4. Google offered a
percent take rate to induce premium subscription video streaming developers such as                    , and others to adopt
Google’s billing products in their apps. See, e.g., GOOG-PLAY-000338849 at GOOG-PLAY-000338888; GOOG-
PLAY-004714797; GOOG-PLAY-004717237; Defendants’ Responses and Objections to Developer Plaintiffs’ First
Set of Interrogatories at 14-15; GOOG-PLAY-0006998204.R at GOOG-PLAY-0006998206.R. Further, under the
LRAP++ program, Google has offered take rates of                     (see GOOG-PLAY-000442329 at GOOG-PLAY-
000442345- GOOG-PLAY-000442346; GOOG-PLAY-004717237) and                                  (see GOOG-PLAY-000338849
at GOOG-PLAY-000338888; GOOG-PLAY-006998204.R at GOOG-PLAY-0006998206.R).
     430. As explained in n. 376, supra, the relatively few developers who paid reduced take rates in the actual world
would also have paid reduced take rates relative to the overall but-for take rate. For example, Disney would have more
options for billing services than a typical developer in the but-for world, just as it does in the actual world.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 130 of 667

                                                       -92-


                                         TABLE 4: BENCHMARK TAKE RATES
 Category          Benchmark                                               Comparable Take Rate
 Mobile App Stores   (1)  Aptoide                                                  10-25%
                     (2)  ONE Store                                                 5-20%
                     (3)  Amazon                                                     18%
 PC App Stores       (4)  Microsoft (non-games)                                    12-15%
 PC Games            (5)  Steam (Valve)                                            20-30%
                     (6)  Epic                                                       12%
                     (7)  Microsoft Store                                   12% effective 8/1/2021
 Online Retail       (8)  Amazon                                     8-15% + $0.99/item or $39.99/month
                     (9)  eBay                                                 12.55% + $0.35
                    (10)  Etsy                                                    8% + $0.45
                    (11)  Google                                            0% (previously 5-15%)
                                                                   20% (for over $15, $2.95 flat fee for under
                          (12)      Poshmark
                                                                                   $15 sale)
                          (13)      Walmart                                         6-15%
 Online Publishing        (14)      Substack                                 10% + credit card fee
                          (15)      Revue (Twitter)                                   5%
Sources: (1) Aptoide – Catappult, Revenue Share, available at docs.catappult.io/docs/distribution-and-revenue-share
(2) Korean app market ONE store eyes global alliance to compete with Google (Dec. 1, 2019), available at
en.yna.co.kr/view/AEN20191128004700320; GOOG-PLAY-007329076 at GOOG-PLAY-007329084 (showing a 20
percent take rate, originally at 30 percent); (3) Derek Strickland, Apple's 30% App Store commission is
'supracompetitive,'     court      declares,       TWEAKTOWN         (Sept.      11,     2021),     available      at
www.tweaktown.com/news/81567/apples-30-app-store-commission-is-supracompetitive-court-declares/index.html.
(showing Amazon’s effective take rate of 18.1%); (4) Microsoft Store App Developer Agreement Version 8.7
(Effective July 28, 2021), available at query.prod.cms.rt.microsoft.com/cms/api/am/binary/RE4OG2b; (5) Brittany
Vincent, Valve Introduces New Revenue Split Changes For Steam Sales, VARIETY (Dec. 3, 2018), available at
variety.com/2018/gaming/news/valve-revenue-split-changes-1203078700/; (6) Epic Games, The Epic Games store is
now live (Dec. 6, 2018), available at www.epicgames.com/store/en-US/news/the-epic-games-store-is-now-live; (7)
Tom Warren, Microsoft shakes up PC gaming by reducing Windows store cut to just 12 percent, THE VERGE (Apr.
29, 2021), available at www.theverge.com/2021/4/29/22409285/microsoft-store-cut-windows-pc-games-12-percent;
(8) Amazon, Let’s talk numbers, available at sell.amazon.com/pricing; (9) eBay, Understanding selling fees, available
at pages.ebay.com/seller-center/get-started/seller-fees.html; (10) Etsy, Sell, available at www.etsy.com/sell (Etsy
charges a $0.20 listing fee. When a product is sold, they charge a 5% transaction fee, paired with a 3% + $0.25
payment processing fee); (11) Google Merchant Center Help, New 0% commission fee for selling on Google through
Shopping Actions in the US (July 23, 2020), available at support.google.com/merchants/answer/9977875?hl=en;
Bryan Falla, Google Shopping Actions Commission Rates, GODATAFEED (Oct. 22, 2019), available at
www.godatafeed.com/blog/google-shopping-actions-commission-structure; (12) Poshmark, What are the fees for
selling on Poshmark, available at support.poshmark.com/s/article/297755057?language=en_US; (13) Walmart
Marketplace, Referral Fees, available at marketplace.walmart.com/referral-fees/; (14) Substack, Going Paid,
available at substack.com/going-paid; (15) Tom McKay, Twitter Wants to Be Substack Now, GIZMODO (Jan. 26,
2021), available at gizmodo.com/twitter-wants-to-be-substack-now-1846136057.


C.      Removing Google’s In-App Aftermarket Restrictions Would Put Downward Pressure
        on the Take Rate Google Imposes on Developers for In-App Content

       206. Relative to the value provided by the developer, the value that the Play Store
contributes by matching a consumer with an App dissipates over time. That is because once a
consumer has found an App on the Play Store, the match has been made. Any value added through
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 131 of 667

                                                    -93-


the purchase of In-App Content is added entirely by the developer. Google’s own documents
recognize this.431

        207. I understand that all of the In-App Aftermarket services that developers are
currently forced to use from Google (owing to Google’s In-App Aftermarket restrictions) can
actually be performed by a third party or the developer itself completely independently of Google.
For example, there exists a well-established industry of competitive payment processors in the
business of facilitating online transactions.432

        208. In the competitive but-for world without Google’s restrictions, developers could
choose their own provider of services in the In-App Aftermarket. Alternatively, developers would
be able to offer consumers the choice of selecting from an array of competitive options to provide
In-App Aftermarket Content. Elementary economics dictates that this would place downward
pressure on Google’s take rate, pushing it closer to the marginal cost of providing any services
associated with In-App Content. Developers having the ability to steer consumers to lower-cost
competitors would reinforce this downward pressure, an outcome that Google has modeled in
                   433
                       As explained below, standard economic methods common to the Class can
be used to conservatively estimate the extent to which Google’s take rate for services in delivering
In-App Content would fall when Google’s restrictions are removed.

        1.      A Standard Economic Model of Competition in the In-App Aftermarket

        209. To the extent that a competitive In-App Aftermarket would be characterized by
homogenous commodity services (payment for and distribution of In-App Content) offered by
various competitive rivals with few barriers to entry or expansion, standard economic principles
prescribe that Google would be unable to charge a premium for these services.434 If Google
attempted to charge developers anything in excess of the competitive market price for In-App
Aftermarket services, then developers would switch to a competitor providing identical services
at lower cost, rendering Google’s attempted price increase unprofitable.435 Thus, to the extent that
the competitive In-App Aftermarket is characterized by competition for a commoditized service,
Google’s equilibrium take rate in the In-App Aftermarket would fall to the marginal cost of serving
that market. As explained below, my economic model of the In-App Aftermarket conservatively
allows Google to charge a substantial markup above marginal cost, even in a more competitive
world.

       210. Record evidence shows that Google’s 30 percent take rate in the In-App
Aftermarket cannot be justified by the costs of serving that market. As early as 2009, Google
recognized that “30% is an arbitrary fee > the transaction cost to GOOG (2%)” and noted that “in
competitive landscape may drive developers away from platform.”436 In another document, Google


    431. See, e.g., GOOG-PLAY-003335786 at GOOG-PLAY-003335805 (describing Google’s declining
contribution to perceived value over time as applied to games).
    432. See, e.g., Jonas DeMuro & Brian Turner, Best payment gateways of 2021, TECH RADAR (Apr. 20, 2021),
available at www.techradar.com/best/best-payment-gateways; see also Table 7 below (listing various competitive
payment processors).
    433. See Part V.C.2 below; see also GOOG-PLAY-006829073.R at GOOG-PLAY-006829085.R (assessing
“Dev incentive to steer user choice”).
    434. See, e.g., MANKIW at 268-284.
    435. Id.
    436. GOOG-PLAY-004630018.R at GOOG-PLAY-004630024.R.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 132 of 667

                                                       -94-


contemplated consumers choosing a competitive payment processor, described the “Core Issue [:]
30% is too high,”437 and showed “market rates” for payment processing, including “PSPs [Payment
Service Providers] that focus on simplicity and ease of integration,” such as Stripe and PayPal,
which charged “30c + 2.9%.”438 The same Google document calculated Google’s average cost of
payment processing at just      percent of customer spend for the top 5,000 developers. Google’s
estimate of its own payment-processing costs are below corresponding charges for two competitive
payment processors (Stripe and Adyen).439 Another Google document reports that transaction costs
came to        percent of consumer spend in the first five months of 2021.440

        211. Financial data produced by Google allow me to estimate the Play Store’s global
transaction costs as a percentage of global customer spend in the In-App Aftermarket and the
Android App Distribution Market (Google’s financial data do not distinguish between the two
markets).441 In 2020, Google incurred worldwide aggregate transaction fees—including from
                                                                                            442
credit cards, direct carrier billing, chargebacks, and gift cards—totaling                      In that
same year, Google’s global revenue from commissions earned in the In-App Aftermarket and the
                                                              443
Android App Distribution Market came to                           Although the Play Store’s financials
do not include consumer expenditures, the consumer expenditures that gave rise to this revenue
                                                                      444
can be estimated at                                                       Total transaction fees as a
percentage of consumer spend on the Play Store is therefore [
    percent. I obtain a similar result ( percent) if I apply the same calculations to the Play Store’s
aggregate financials over the most recently available five-year period (2016-2020).445

        212. Even if I expand the calculation to include all the direct costs of sales that Google
records for the Play Store (excluding irrelevant content costs for movies, television, and books),
as well as all direct operating expenses, I calculate all of these costs came to         percent of
                                                                        446
consumer expenditures on the Play Store for the period 2016 – 2020. Accordingly, Google’s
cost of providing In-App Aftermarket services can be conservatively estimated at            percent




      437. GOOG-PLAY-006829073 at GOOG-PLAY-006829079.
      438. GOOG-PLAY-006829073.R at GOOG-PLAY-006829097.R.
      439. Id. at GOOG-PLAY-006829076.R (showing Google’s average                percent of consumer spend, compared
with 3.1 percent for Ayden and 6.2 percent for Stripe. These calculations exclude DCB [Direct Carrier Billing] and
GC [Google Cloud]). When DCB and GC are included, Google estimates that its payment processing costs are below
     for 2,300 out of the top 5,000 developers, and below     for the vast majority of developers. Id. at GOOG-PLAY-
006829075.R.
      440. GOOG-PLAY-007617587 (“Summary” tab); see also “FOP Cost Rates by country” tab (showing country
blended rate of percent for the United States).
      441. GOOG-PLAY-000416245. Because these are global financial data, they are not comparable to the revenue
statistics in Table 3 above and in Table 5 below, which are limited to the United States.
      442. GOOG-PLAY-000416245.
      443. Id. Excludes irrelevant revenue streams such as movies, books, and television.
      444. According to App Revenue Metrics data produced by Google, Google’s overall take rate in the In-App
Aftermarket and the Android App Distribution Market came to            percent in 2020. See GOOG-PLAY-005535887;
GOOG-PLAY-005535886.
      445. GOOG-PLAY-000416245.
      446. In addition to Transaction Fees, the Play Store’s Direct Costs of Sales includes Content Costs, Customer
Support, and Other. I include all of these except Content Costs; these are costs Google incurs for sales of books,
movies, and television, and are not part of the relevant markets here. I also include all Direct Operating Expenses,
which include Payroll & Stock-based Comp (SBC), as well as the following Non-Payroll costs: Prof Services, A&P,
Equipment, and Other (T&E, Office & Related). Id.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 133 of 667

                                                       -95-


of consumer expenditures.447 This implies that Google’s standard 30 percent take rate vastly
exceeds its marginal costs (      percent of revenues), confirming that Google is exercising
market power.

        213. Google may argue that it would have retained some brand loyalty in the In-App
Aftermarket, conferring a degree of pricing power in a competitive world, and thus a deviation
from homogenous-product competition contemplated above. In that case, standard economics
shows that Google’s profit-maximizing price for In-App Aftermarket services would be
determined by Google’s firm-specific price elasticity of demand (as well as marginal costs).448 The
firm-specific demand elasticity is the percentage decrease in demand for Google’s In-App
Aftermarket services resulting from a one percent increase in price.449 Google’s profit-maximizing
price for In-App Aftermarket services is given by the standard inverse elasticity formula, shown
in the equation below.450

                                               P – C / P  1/ Eg                                          (V.9)

where Eg represents Google’s firm-specific demand elasticity for In-App Aftermarket services, P
represents the price for In-App Aftermarket services, and C represents Google’s marginal cost of
providing In-App Aftermarket services. It bears noting that this elasticity of demand for Google’s
In-App Aftermarket services (Google Play Billing) is different from the elasticities of demand
used in the two-sided model of the Android App Distribution Market for the Play Store.
      214. As explained in Landes and Posner’s seminal paper, Google’s firm-specific
demand elasticity is related to the market demand elasticity as follows:451

                                       Eg  EM / S g  Es 1 – S g  / S g                                 (V.10)

Above, EM is the market demand elasticity for In-App Aftermarket services—that is, the
percentage decrease in the market-wide quantity demanded resulting from a one percent market-
wide increase in price. The term Es is the elasticity of supply of Google’s rivals—that is, the
percentage increase in the quantity supplied by Google’s rivals, given a one percent increase in
Google’s price. Finally, Sg is Google’s market share. For example, if Google’s market share is 100
percent (Sg =1), the equation collapses to Eg = EM. In that scenario, Google’s firm-specific elasticity
is the same as the market elasticity, because Google would be a monopolist (in the strict economic
sense of being literally the only supplier). In contrast, when Google’s market share falls below 100
percent, its firm-specific demand elasticity exceeds the market demand elasticity. By the standard



    447. Google’s cost of providing In-App Aftermarket services is certainly no more than fifteen percent of
consumer expenditures, the rate that Google charges to all subscription Apps, effective January 1, 2022. See Sameer
Samat - Vice President, Product Management, Evolving our business model to address developer needs, Android
Developers Blog (Oct. 21, 2021), available at android-developers.googleblog.com/2021/10/evolving-business-
model.html (“To help support the specific needs of developers offering subscriptions, starting on January 1, 2022,
we're decreasing the service fee for all subscriptions on Google Play from 30% to 15%, starting from day one.”).
    448. See, e.g., Landes & Posner at 939-940.
    449. Id.
    450. Id. See also Jerry Hausman & Greg Leonard, Efficiencies from the Consumer Viewpoint, 17(3) GEORGE
MASON LAW REVIEW 707, 709 (1999) [hereafter Hausman & Leonard].
    451. Landes & Posner at 944-945.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 134 of 667

                                                         -96-


inverse-elasticity formula in equation V.9 above, Google’s profit-maximizing price under
competition is lower than the monopoly price for In-App Aftermarket services.

       215. In the actual world, Google’s share of the In-App Aftermarket is close to 100
percent,452 because Google has prevented competitive entry by forcing developers to purchase
from Google In-App Aftermarket services (authorization of In-App Content and payment
processing), typically priced at 30 percent of developers’ In-App Aftermarket revenue. In a
competitive but-for world, elementary economic principles dictate that competitors would enter
the market and charge a lower take rate to developers, diverting business from Google and pushing
Google’s price downward toward marginal cost.453

        216. Economists have demonstrated empirically that previously monopolistic (or
dominant) firms faced with competitive entry lose both market share and pricing power. For
example, when AT&T lost its monopoly in long-distance telephone service pursuant to a 1982
divestiture order, it lost substantial market share, and long-distance telephone prices fell
substantially, despite any brand loyalty that AT&T may have enjoyed over other long-distance
entrants such as MCI.454 In an article published in the Journal of Law & Economics, the authors
found that AT&T, which had previously enjoyed a government-sanctioned monopoly, saw its
market share decline to approximately 60 percent by the early 1990s.455 The supply elasticity of
AT&T’s competitors was estimated at 4.38, consistent with evidence that barriers to entry and
expansion in the long-distance market were relatively low during the post-divestiture period.456
Applying equation V.10 above, the authors calculated that AT&T’s firm-specific demand elasticity
at between 3.73 and 7.81, which implied price-cost markups of between 13 and 29 percent.457
These markups are below those found in a range of other industries throughout the economy,
indicating that competition had substantially eroded AT&T’s market power in the interstate long-
distance market.458 In the absence of competition, AT&T’s profit-maximizing prices for long-
distance service would have been substantially higher, particularly given that market demand for
long-distance service is relatively insensitive to price.459




     452. See, e.g., Android Developers Blog, Listening to Developer Feedback to Improve Google Play (Sept. 28,
2020), available at android-developers.googleblog.com/2020/09/listening-to-developer-feedback-to.html (“Less than
3% of developers with apps on Play sold digital goods over the last 12 months, and of this 3%, the vast majority
(nearly 97%) already use Google Play’s billing. But for those who already have an app on Google Play that requires
technical work to integrate our billing system, we do not want to unduly disrupt their roadmaps and are giving a year
(until September 30, 2021) to complete any needed updates. And of course we will require Google’s apps that do not
already use Google Play’s billing system to make the necessary updates as well.”).
     453. See, e.g., MANKIW at 270-282.
     454. See, e.g., Simran Kahai, David Kaserman & John Mayo, Is the “Dominant Firm” Dominant? An Empirical
Analysis of AT&T’S Market Power, 39 JOURNAL OF LAW & ECONOMICS 499-517 (1996) [hereafter Kahai et al.]. See
also Jeffrey Eisenach and Kevin Caves, What Happens When Local Phone Service Is Deregulated? REGULATION 34-
41 (2012) at 35 (“There is no disagreement, however, that long distance prices have fallen sharply since liberalization.
As shown in Figure 1, in real terms, the price of long-distance service fell by more than 70 percent between 1984 and
2006.”).
     455. Kahai et al. at 510. This reflects AT&T’s output-based market share. Its asset-based market share was even
lower, at approximately 40 percent. Id.
     456. Id. at 508.
     457. Id. at 510 (“The corresponding values of the Lerner index…are 0.29 and 0.13.”).
     458. Id. at 510-513.
     459. Id. at 509 (reporting market demand elasticities between 0.49 and 0.75).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 135 of 667

                                                         -97-


         217. Similarly, an econometric analysis of the historically dominant Aluminum
Company of America (Alcoa) found that Alcoa’s pricing power declined significantly in the
postwar period, despite substantial barriers to entry and expansion by competitive rivals.460 The
authors estimated the supply elasticity for Alcoa’s rivals in the aluminum industry at just 1.4.461
This was indicative of the substantial capital requirements for primary aluminum producers,462 and
particularly the “extraordinarily high” cost of entry at an efficient scale.463 Nevertheless, Alcoa’s
residual demand elasticity was estimated at 8.3, indicating that Alcoa’s pricing power, much like
AT&T’s, had substantially eroded.464 The authors used the same formula given in equation V.10
above to estimate Alcoa’s residual demand elasticity: The market demand elasticity for aluminum
was estimated at 2.0.465 Alcoa’s capacity-based market share was approximately 35 percent during
the relevant time period.466 Applying equation V.10, this resulted in a relatively high firm-specific
elasticity for Alcoa of 8.3.467 This relatively high price sensitivity yields a correspondingly low
price-cost markup of 12 percent.468 The authors concluded that, despite the supply constraints
faced by Alcoa’s rivals, “the aluminum industry has entered a much more competitive market
structure in the post-war period.”469 In the absence of competitive entry, Alcoa would have been
able to command price-cost markups of approximately 50 percent (equal to 1/EM = 1/2.0) rather
than 12 percent.

        218. I apply this same standard economic framework to modeling the but-for take rate
in the In-App Aftermarket. These calculations are summarized in Table 5. As seen below, U.S.
consumer expenditures in the In-App Aftermarket came to                         between mid-August
2016 (the beginning of the Class Period) and the end of 2020. Over this timeframe, Google
collected                 in U.S. commissions, resulting in a take rate in the actual world of
percent. Total U.S. transaction volume was                   implying an average consumer price per
                       470
transaction of        . Google received             percent of this price, or        per transaction.
Google’s marginal cost per transaction is conservatively estimated at          percent of the average
consumer price, or          per transaction, which yields a markup of price over cost of      percent.
By the equation (V.9) above, Google’s own-firm elasticity in the In-App Aftermarket is
     . I obtain a comparable result of                if I estimate Google’s own-firm elasticity
econometrically; here I conservatively use the lower of the two elasticity estimates.471 By equation




     460. Sheng-Ping Yang, Identifying a dominant firm's market power among sellers of a homogeneous product:
an application to Alcoa, 34 APPLIED ECONOMICS 1411-1419 (2002).
     461. Id. at 1416.
     462. Id. at 1412.
     463. Id. at 1418.
     464. Id. at 1417.
     465. Id. at 1416.
     466. Id. at 1417.
     467. Equal to 2.0/0.35 + 1.4*(1 - 0.35)/0.35.
     468. Equal to 1/8.3 = 0.12.
     469. Id. at 1418.
     470. Average revenue is mathematically equivalent to price per unit. See, e.g., MANKIW at 270 (“Average
revenue is total revenue (P x Q) divided by the quantity (Q). Therefore, for all types of firms, average revenue equals
the price of the good.”) (emphasis in original).
     471. In Appendix 5, I empirically estimate Google’s actual-world own-firm demand elasticity for the In-App
Aftermarket at       . My results are not highly sensitive to using this estimate, instead of the own-price elasticity of
     calculated here. Aggregate damages would increase by approximately           percent if I were to use    instead of
     as the own-firm demand elasticity. Here I conservatively employ the          estimate.
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 136 of 667

                                                         -98-

                                                                                  472
(V.10) above, the market demand elasticity in the In-App Aftermarket is               The values of
these inputs in the actual world are summarized in the first panel of Table 5 below.

          TABLE 5: IN-APP AFTERMARKET IMPACT & DAMAGES (US, 8/16/2016 – 12/31/2020)
  #                           Input                     Value    Source/Notes
       Actual World
                              Consumer Expenditure               GOOG-PLAY-005535886 (US Consumers; net
              [1]
                              (US; Net of Discounts)             of discounts)
              [2]             Google Revenue (US)                Id.
         [3] = [2]/[1]        Take Rate                          Calculated
              [4]             Quantity (Transactions)            GOOG-PLAY-005535886 (US Consumers)
         [5] = [1]/[4]        Consumer Price                     Calculated
         [6] = [5]*[3]        Google Price                       Calculated
                                                                 GOOG-PLAY-000416245 (equal to 10.29
       [7] = 0.1029*[5]       Google Marginal Cost               percent of consumer expenditure. Includes all
                                                                 Direct COS & Direct OpEx)
      [8] = ([6] - [7])/[6]   Google Margin                      Calculated
                              Google Own-Firm
          [9] = 1/[8]                                            Calculated
                              Demand Elasticity
                                                                 See, e.g., android-
              [10]            Google Market Share                developers.googleblog.com/2020/09/listening-
                                                                 to-developer-feedback-to.html
                              Market Demand
        [11] = [10]*[9]                                          Calculated
                              Elasticity
      Absent Google’s
        Restrictions
              [12]            Google Market Share                Economic principles/empirical studies
                              Competitor Supply
              [13]                                               Economic principles/empirical studies
                              Elasticity
      [14] = [11]/[12] +      Google Own-Firm
                                                                 Calculated
      [13]*[1 - 12]/[12]      Demand Elasticity
        [15] = 1/[14]         Google Margin                      Calculated
                              Google Price Per
   [16] = [7]/[1 - [15]]                                         Calculated
                              Transaction
                              Total Savings Per
       [17] = [6] - [16]                                         Calculated
                              Transaction
                                                                 Economic principles/econometric estimates.
              [18]            Pass-Through Rate
                                                                 See Part IV.C, infra.
                              Consumer Savings Per
       [19] = [18]*[17]                                          Calculated
                              Transaction
                              Consumer Price Per
       [20] = [5] - [19]                                         Calculated
                              Transaction
       [21] = [16]/[20]       Take Rate                          Calculated
        [22] = [4]*[19]       Aggregate Damages                  Calculated




    472. In the actual world, Es = 0 because competitive rivals are constrained by Google’s restrictions. Therefore,
EM = EgSg. See, e.g., MICHAEL KATZ AND HARVEY ROSEN, MICROECONOMICS 3rd ed. 329-330 (Irwin/McGraw-Hill
1998).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 137 of 667

                                                        -99-


         219. The values for the parameters in the competitive but-for world are summarized in
the second panel of Table 5 above. Even in the presence of substantial competition, I assume
conservatively that Google would have retained a substantial market share of 60 percent in the In-
App Aftermarket. As noted above, this was approximately AT&T’s market share in the long-
distance market after competitive entry.473 It is also substantially above Alcoa’s market share after
competitive entry by capacity-constrained rival aluminum manufacturers (approximately 35
percent).474 This estimate is also conservative in relation to market share and concentration
statistics for e-commerce markets, in which the payment method is generally not tied to the rest of
the transaction: There exists a range of payment methods accepted in U.S. e-commerce markets,
from credit and debit cards (Visa, Mastercard, etc.) to digital wallet services (such as Amazon
Payments, PayPal, Square, and others).475 Credit and debit cards account for approximately 58
percent of e-commerce transactions; the second largest payment method is digital wallets, at 25
percent.476 Visa, the largest credit and debit platform, has a market share of 60 percent.477 Visa’s
share of e-commerce payments can therefore be estimated at approximately [58 percent] x [60
percent] = 35 percent. Within the second largest category (digital wallet services), the largest firm
is PayPal, with a market share of approximately 55 percent.478 PayPal’s share of e-commerce
payments can therefore be estimated at approximately [55 percent] x [25 percent] = 13.75
percent.479 Thus, my analysis assumes that, in a more competitive world, Google would command
a substantially greater market share than Visa or PayPal in e-commerce.

        220. In the instant case, the elasticity of supply of Google’s would-be rivals in the market
for In-App Aftermarket services cannot be measured directly, because Google has foreclosed entry
and expansion by rivals. In Table 5 above, I set Es = 4.38, based on the supply elasticity for
AT&T’s long-distance competitors estimated econometrically in the literature.480 Using equation
V.10, Google’s competitive own-firm demand elasticity for In-App Aftermarket services can now
be calculated at   , which implies a but-for price-cost margin of         percent, as seen in Table
5 above. This competitive price-cost margin is well within the range of AT&T’s price-cost margins


     473. Kahai et al., supra, at 510. This reflects AT&T’s output-based market share. Its asset-based market share
was even lower, at approximately 40 percent. Id.
     474. Yang, supra, at 1417.
     475. J.P. Morgan, E-commerce Payments Trends: United States (2019), available at
www.jpmorgan.com/merchant-services/insights/reports/united-states.
     476. The remainder was accounted for by bank transfers and other methods. J.P. Morgan, 2020 E-commerce
Payments Trends Report: US, available at www.jpmorgan.com/merchant-services/insights/reports/united-states-
2020. See also D. Tighe, Distribution of e-commerce payment methods in the United States in 2020, STATISTA,
available at www.statista.com/statistics/935676/payment-methods-used-for-online-transactions-usa/ (showing credit
cards at 30 percent of e-commerce payments, debit cards at 21 percent, and digital wallets at 30 percent).
     477. See, e.g., Lewis Krauskopf, Swiping their way higher: Visa, Mastercard could be the next $1 trillion
companies, REUTERS (January 31, 2020), available at www.reuters.com/article/us-visa-mastercard-stocks/swiping-
their-way-higher-visa-mastercard-could-be-the-next-1-trillion-companies-idUSKBN1ZU0JA (“Visa holds a 60%
share of the credit and debit card market[.]”). See also Julija A., US Credit Card Market Share: Facts and Statistics,
FORTUNLY (November 23, 2021), available at fortunly.com/articles/credit-card-market-share/.
     478. See, e.g.,       Douglas Karr, PayPal Market Share Statistics And Its History of Dominating Online
Payment Processing, MARTECH ZONE (Aug. 3, 2020), available at martech.zone/paypal-statistics-online-payments/.
     479. PayPal’s overall online market share has been independently estimated at 14 percent. See Stephanie
Chevalier, Which form of payment do you use most often for online shopping?, Statista, available at
www.statista.com/statistics/448712/online-shopping-payment-method-preference-usa/. See also Douglas Karr,
PayPal Market Share Statistics And Its History of Dominating Online Payment Processing, MARTECH (Aug. 3, 2020),
available at martech.zone/paypal-statistics-online-payments/ (“18% of all e-commerce is processed by PayPal[.]”).
     480. Kahai et al. at 508.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 138 of 667

                                                        -100-


after entry by long-distance competitors (between      and     percent),481 and       Alcoa’s post-
                                        482
entry price cost margins of 12 percent. Google’s price to developers would fall to               per
transaction in such a competitive but-for world, resulting in total savings of       per transaction
relative to the actual world. In Part V.D below, I estimate that developers would pass on
approximately        percent of these savings to consumers; accordingly, aggregate damages to
consumers in the In-App Aftermarket come to                    over the time period from 8/16/2016
through 12/31/2020. As seen above, Google’s take rate would fall to                 percent in this
competitive but-for world, which would still afford Google a significant margin on the transactions
in the In-App Aftermarket that it retains (Google’s price-cost margin would be           percent, as
shown in Row 15 of Table 5 above).

         2.       Analysis of Similar Platforms Corroborates My Competitive Take Rate In the
                  In-App Aftermarket

        221. It is common practice in digital markets outside of the In-App Aftermarket for
entities to contract with outside payment processors. Epic considered an offer for payment
processing from Codashop, which has partnered with numerous game developers across Southeast
Asia,483                                                           484
                                                                       E-commerce apps that offer
material, non-digital goods or services on Android phones outside the Play Store are not subject
to Google’s restrictions and use services such as Stripe, PayPal, and Square to process payments.
These payment processors charge a materially lower commission to developers than Google. Table
6 provides a list of several prominent examples of take rates charged by other payment processors.
The take rates shown in Table 6 reflect healthy competition among payment processors and are
closer in magnitude to the implied costs associated with payment processing, a key component of
the services that Google provides in the In-App Aftermarket.485




     481. Id. at 510 (“The corresponding values of the Lerner index…are 0.29 and 0.13.”).
     482. Yang, supra, at 1417 (“Alcoa’s residual demand elasticity is -8.3382. Then, the corresponding value of the
Lerner index is 0.1199…”).
     483. Coda Payments partners Riot Games for payments services across Southeast Asia, THE PAYPERS, May 4,
2020, available at thepaypers.com/ecommerce/coda-payments-partners-riot-games-for-payments-services-across-
southeast-asia--1242106.
     484.
     485. As explained in the previous section, my analysis incorporates Google’s financial information to account
for the possibility that Google incurs additional marginal costs, beyond payment processing. Specifically, I
conservatively include all direct costs recorded in GOOG-PLAY-000416245 (with the exception of content costs,
which are irrelevant). Although many of the benchmark take rates in Table 6 entail a fee layered on top of a percentage
of revenue, I do not impose such a fee in the but-for world modeled above.
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 139 of 667

                                                      -101-


                             TABLE 6: PAYMENT PROCESSORS AND THEIR TAKE RATES
            Payment Processor                            Example Clients                            Take Rate
   (1)              PayPal                American Airlines, eBay, Facebook, Spotify              3.49% + $0.49
   (2)              Stripe                 Lyft, Under Armour, Blue Apron, Pinterest               2.9% + $0.30
   (3)          Amazon Pay                  Zuora, Shopify, BigCommerce, Magento                   2.9% + $0.30
   (4)            Braintree*                     Uber, StubHub, Dropbox, Yelp                     2.49% + $0.49
                                                                                                  2.6% + $0.10;
   (5)              Square                       Shake Shack, Postmates, Craver
                                                                                                  2.9% + $0.30†
   (6)              Clover                               Verizon Business                          2.3% + $0.10

   (7)          Authorize.net                      TRX Cymbals, Prism Kites                        2.9% + $0.30

                                                                                                  2.35% + $0.35;
   (8)              Vanco                          Churches and public schools
                                                                                                 2.75% + $0.45††
                                                                                                $99 - $199/month
   (9)          Fattmerchant            Lens Crafters, Jimmy Johns, Meineke, Maserati           + $0.06 - $0.15 per
                                                                                                  transaction†††

                                                                                                  3.3% + $0.10;
  (10)              Adyen                Booking.com, McDonalds, Spotify, Microsoft              3.95% + $0.12;
                                                                                                2.0% + $0.12 ††††

  (11)          Google Pay**            Burger King, Dunkin Donuts, Target, Doordash                    2.9%
  (12)            Apple Pay                 Best Buy, Taco Bell, Walgreens, Kohl’s                      3.0%
Notes: Take rates are based on fees for credit card usage. * Owned by PayPal. ** Not to be confused with Google
Play Billing. † Square charges 2.6% + $0.10 for in-person swipes and 2.9% + $0.30 for online purchases. ††
Vanco offers 2.75% + $0.45 with their “Start” plan ($10 monthly fee) and 2.35% + $0.35 for their “Sustain” plan ($49
monthly fee). ††† For the “Starter” plan, it costs $99 plus transactional fees running from $0.08 to $0.15; for the
“Enterprise” plan, it costs $199 plus transactional fees running from $0.06 to $0.12. Fattmerchant claims this comes
out to less than 1.5% for businesses that process more than $80K annually. See source below. †††† Adyen charges
3.3% + $0.10 for American Express, 3.95% + $0.12 for Discover, and interchange fees plus $0.12 for Mastercard and
Visa. Interchange fees are 2% on average within the US. See www.adyen.com/blog/interchange-fees-explained.
Sources:
(1) Drew Strojny, Stripe vs PayPal: Who should you choose?, MEMBERFUL (Jan. 10, 2016), available at
memberful.com/blog/stripe-vs-paypal/; Amanda Swan, Which online stores accept PayPal?, FINDER (Dec. 28, 2020),
available at www.finder.com/paypal-store-list
(2) Drew Strojny, Stripe vs PayPal: Who should you choose?, MEMBERFUL (Jan. 10, 2016), available at
memberful.com/blog/stripe-vs-paypal/; Amanda Swan ; Frank Kehl, How Does Stripe Work? Everything You Need
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 140 of 667

                                                      -102-

To Know About Processing Payments With Stripe, MERCHANT MAVERICK (July 22, 2021), available at
www.merchantmaverick.com/how-does-stripe-work/
(3) Amazon Pay, Innovative Merchant Payment Services for Small to Medium Businesses, available at
pay.amazon.com/business/small-business; Amazon Pay Sign up, available at pay.amazon.com/.
(4) Braintree, Pricing, available at www.braintreepayments.com/braintree-pricing; Braintree, Boost Revenue with a
Global Payments Partner, available at www.braintreepayments.com/.
(5) Square, Payments, available at squareup.com/us/en/payments/pricing; Square, Payment Platforms, available at
squareup.com/us/en/payments/payment-platform; Square, Your all-in-one restaurant POS system, available at
squareup.com/us/en/point-of-sale/restaurants.
(6) Shannon Vissers, How Much Does Clover Cost? Your Ultimate Guide To Clover Fees, MERCHANT MAVERICK
(Aug. 19, 2021), available at www.merchantmaverick.com/clover-pos-cost/ (This rate is for point-of-sale transaction;
Clover charges 3.5% + $0.10 for online (keyed in) transactions); Verizon Communications, Verizon Business offers
touchless payment capability with Clover from Fiserv, GLOBENEWSWIRE (Dec. 10, 2020), available at
www.globenewswire.com/news-release/2020/12/10/2143226/0/en/Verizon-Business-offers-touchless-payment-
capability-with-Clover-from-Fiserv.html/
(7) authorize.net, Pricing, available at www.authorize.net/sign-up/pricing.html; Featured Customers – Autorize.net,
available at www.featuredcustomers.com/vendor/authorizenet/customers.
(8) Vanco, Pricing, available at www.vancopayments.com/egiving/pricing; Neal St. Anthony, Vanco Payment
Solutions grows as electronic bridge between churches, charities and their donors, STAR TRIBUNE (Aug. 31, 2020),
available at www.startribune.com/vanco-payment-solutions-grows-as-electronic-bridge-between-churches-charities-
and-their-donors/572250712/.
(9) POSQuote.com, Fattmerchant vs. Square: Which Payment Processor Is Best?, available at
posquote.com/review/fattmerchant-vs-square;        Stax      Payments       –      Healthcare,    available       at
staxpayments.com/healthcare/.
(10)     Adyen, Pricing, available at www.adyen.com/pricing; www.adyen.com/customers.
(11)     Bankrate, Guide to Google Pay (Jan. 14, 2021), available at www.bankrate.com/finance/credit-
cards/android-pay-google-pay-
guide/#:~:text=While%20there%20is%20no%20charge,you%20use%20a%20credit%20card.; Google Pay, For
Business, available at pay.google.com/about/business/partners/.
(12)     Mark Jansen, Christian de Looper, and Paula Beaton, PayPal vs. Google Pay vs. Venmo vs. Cash App vs.
Apple Pay Cash, DIGITAL TRENDS (July 5, 2021), available at www.digitaltrends.com/mobile/paypal-vs-google-
wallet-vs-venmo-vs-square-cash/; MacRumors, Apple Pay, available at www.macrumors.com/roundup/apple-
pay/#:~:text=Some%20of%20Apple's%20partners%20include,Bell%2C%20and%207%2D11.

D.      Standard Economic Principles Show That All or Almost All Developers Would Pass
        Through to Consumers at Least a Portion of Any Savings from a Lower Take Rate

        222. Google’s take rate from developers typically ranges from 15 to 30 percent of
revenue, with the average rate just below 30 percent.486 In the competitive but-for world, these
costs would have been lower. As explained in this section, standard economic models applied to
data produced in discovery demonstrate all or almost all Class members would have benefitted as
a result. I take no position on whether proof of pass-through is necessary under the law.

        1.       Standard Economics Shows That Prices Depend on Costs

        223. One of the most universal principles of economics is that prices depend on costs.487
Prices rise as marginal costs rise and fall as marginal costs fall. In perfectly competitive markets,


    486. See Table 5, supra, Row 3 (showing Google’s take rate for the In-App Aftermarket at         percent).
Because the bulk of consumer expenditures in the In-App Aftermarket, Google’s aggregate take rate across both
markets is close to   percent.
    487. See, e.g., MANKIW, Chapter 4; Chapter 13.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 141 of 667

                                                         -103-


firms pass through to buyers 100 percent of marginal cost increases or decreases in the form of
correspondingly higher or lower prices.488 In the absence of perfect competition, or indeed any
competition, elementary economic principles of profit-maximization still dictate that prices will
rise and fall with marginal costs.489 Even if a firm has market or monopoly power, it will still
maximize profits by passing costs to buyers; the fraction passed through depends on the shape of
the demand curve (e.g., flat or curved). For example, with a linear demand curve (a downward
sloping straight line), even in monopolistic markets, at least half of marginal cost savings are
passed through to customers.490 For nonlinear demand curves, the pass-through rate generally
exceeds 50 percent.491 For a demand curve with a constant elasticity, pass-through exceeds 100
percent.492

       224. In markets served by competing firms with some degree of market power, such as
developers on the Play Store or in the In-App Aftermarket, prices fall as marginal costs decline
whenever firms choose price to maximize profit. A firm selling a single product (and thus facing
downward-sloping demand) maximizes profit by charging a markup of price over cost equal to the
inverse of the elasticity of demand.493 This inverse elasticity rule can be written:

                                                (P – C) / P = 1 / ED,

where P is the price of the product, C is its marginal cost, and ED is the firm’s own-price elasticity
of demand, defined as the percentage decrease in quantity demanded generated by a one percent
increase in price. As seen above, the greater is C, the higher P must be to balance the equation.

        225. Google’s requirement that developers pay a percentage of their revenue to Google
is mathematically equivalent to an increase in developers’ marginal cost. To see this, let t be the
take rate, where t is greater than zero and less than one, let Q be the quantity sold, and let C(Q) be
the developer’s cost function.494 The developer maximizes profit by maximizing the following
expression:

                          Profit = Total Revenue – Total Cost = PQ(1– t) – C(Q)



     488. Id. at 272, Figure 1 (showing price = marginal revenue = marginal cost for a competitive firm).
     489. See, e.g., Jerry Hausman & Greg Leonard, Efficiencies from the Consumer Viewpoint, 17(3) GEORGE
MASON LAW REVIEW 707, 708 (1999) (“profit maximization by the firm causes it to pass through at least some of the
cost savings in terms of a lower price, even if the firm is a monopolist.”).
     490. Id. at 707 (“[S]o long as demand curves have the expected shape, the minimal amount of marginal cost
savings passed on by a monopolist in terms of lower price is one-half of the cost savings.”).
     491. Id. at 721-724.
     492. Theon van Dijk & Frank Verboven, Quantification of Damages, 3 ISSUES IN COMPETITION LAW AND
POLICY 2331, 2342 (ABA Section of Antitrust Law 2008) (“When the price elasticity of demand is constant, η=0, and
firms find it optimal to keep their percentage price-cost markup constant regardless of the cost conditions. This implies
that a cost increase would lead to a higher absolute price cost-margin, which promotes pass-on.”).
     493. Hausman & Leonard, supra, at 713 (equation (5)). See also Landes & Posner at 937 (showing the analogous
inverse-elasticity markup for a monopolist); Steven Berry, Estimating Discrete Choice Models of Product
Differentiation 25(2) RAND JOURNAL OF ECONOMICS 242–262 (1994); Gregory Werden & Luke Froeb, The Antitrust
Logit Model For Predicting Unilateral Competitive Effects 70 ANTITRUST LAW JOURNAL 257 (2002); Aviv Nevo,
Mergers with Differentiated Products: the Case of the Ready-to-Eat Cereal Industry, 31(3) RAND JOURNAL OF
ECONOMICS 395-421 (2000).
     494. The cost function gives the developer’s total cost as a function of the quantity produced. See, e.g., MANKIW,
supra, at 248-262.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 142 of 667

                                                      -104-


Taking the derivative of the above equation with respect to Q, and setting the derivative equal to
zero, the developer’s profit-maximizing price satisfies the following equation:
                                             (P – C*) / P = 1 / ED,
where C* = C/(1 – t).495 Thus, when the developer pays a take rate to Google, the inverse-elasticity
rule is modified as if the developer faced a higher marginal cost. For example, if the take rate is
30 percent, then C* = C/(1 – t) = C/(1 – 0.3)= [1.43 x C]. Put differently, charging a take rate of
30 percent is economically equivalent to a 43 percent increase in the developer’s marginal cost.496
        226. The competitive but-for world contemplates a long-run equilibrium, in which
Google’s take rate is substantially and permanently lower. Standard economics shows that a
substantial and permanent reduction in developer’s costs will cause substantial and permanent
downward pricing pressure: Higher long-run costs mean higher prices, and vice-versa. In the long
run, a profit-maximizing firm must either charge a price sufficient to cover its average total costs—
inclusive of fixed costs—or exit the market.497 To remain in business, a profit-maximizing firm
must cover both its explicit costs of doing business and the opportunity costs incurred by not
deploying its resources elsewhere.498 Competition over the long run pushes prices downward
towards levels that enable firms to cover their explicit costs and earn a competitive rate of return.499
If Google’s take rate were substantially and permanently lower, developers could cover all their
costs and earn a competitive rate of return while charging consumers lower prices than they could
otherwise.

        2.       Class Members Would Have Benefitted from Developers’ Substantially Lower
                 Costs through Various Economic Mechanisms

         227. Class members would have benefitted from developers’ lower costs in several
ways. First, standard economics shows that Google’s take rate influences a developer’s initial
decision regarding pricing for paid apps (and the pricing of any In-App Content) when the
developer first enters the market (or when the developer first introduces new In-App Content). A
developer faced with the prospect of paying up to 30 percent of its revenue to Google in perpetuity,
all else equal, will need to charge a higher price to consumers than a developer facing a lower take
rate.




     495. Profit maximization requires that the developer set marginal revenue (MR) equal to marginal cost (C). The
developer’s marginal revenue is MR = (P + Q(∂P/∂Q))(1 – t), so profit maximization requires: (P + Q(∂P/∂Q))(1 – t)
= C, which is equivalent to (P + Q(∂P/∂Q)) = C*. Solving for the profit-maximizing markup, we obtain P - P/ED =
C*, or (P – C*)/P = 1/ED.
     496. The competitive but-for world contemplates a long-run equilibrium, in which Google’s take rate is
substantially and permanently lower. Marginal cost should therefore be interpreted as developers’ long-run marginal
cost, inclusive of the cost of inputs that are variable over the long run.
     497. See, e.g., MANKIW, supra, at 273-277.
     498. Id. at 250-251; 279-284.
     499. Id.
     500. See, e.g., ProtonMail wades into U.S. antitrust war, AXIOS, July 22, 2021 (“At the top of Proton's list of
grievances is the 30% commission Apple collects on subscriptions sold through its App Store, with Google planning
to enforce the same fee (although Google recently announced a temporary extension to 2022). Proton’s “freemium”
model means it relies on paid subscriptions for revenue. The company raised prices for consumers to cover the Apple
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 143 of 667

                                                       -105-



                                                                          In addition, the price that
the developer can charge to consumers will depend on the prices charged by competing developers:
All else equal, a developer can charge a higher price when its competitors do the same—and
competitors will charge higher prices when the take rate, and thus their costs, are higher.

        228. Second, as explained above, standard economics shows that prices depend on costs;
profit maximization dictates that decreased costs are passed through (at least partially) in the form
of lower prices. In the competitive but-for world, developers’ costs would have been substantially
and permanently lower relative to the actual world. This, in turn, would have resulted in
substantially and permanently lower prices paid by consumers.

        229. Third, developers would face clear economic incentives to engage in steering in a
competitive but-for world with more than one distribution channel by sharing a portion of the cost
savings from a lower take rate with consumers who download Apps or In-App Content from a
lower-cost platform. Prices for paid Apps and In-App Content are set by the developer. If a
developer is charged a lower commission by one supplier relative to another, the developer can
incentivize consumers to use the lower-cost supplier if the developer adjusts downward prices to
consumers through the lower-cost source. This adjustment will steer customers to the favored
supplier. In response, Google would be incentivized to lower its commissions from developers to
prevent steering away from Google Play Billing (as well as from the Play Store in the Android
App Distribution Market).

        230. One possible mechanism for steering is illustrated by the Ultimatum Game,
described originally by economist and Nobel laureate John Harsanyi in 1961.502 Consider a setting
in which a developer stands to save $1 in “service fees” per transaction if its customer elects to
transact on a lower-cost platform than the Play Store for Apps or transacts through a payment
processor other than Google Play Billing for In-App Content. To induce the consumer to select the
lower-cost alternative, the developer must decide how much of the dollar to share with the
consumer in the form of a reduced price for Apps or In-App Content. If the developer is not


fee, and is facing the prospect of doing the same when Google enforces its fee. “As a small company, there is no way
we can afford to just absorb those fees,” Miseviciute said. “So we are forced to raise the subscription prices for our
consumers.”).




    501.




    502. John Harsanyi, On the Rationality Postulates underlying the Theory of Cooperative Games, 5(2) JOURNAL
OF CONFLICT RESOLUTION  179–196 (1961).
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 144 of 667

                                              -106-


sufficiently generous with the amount offered, the consumer will continue to transact with Google,
depriving the developer of any savings.

        231. Google’s documents explicitly contemplate steering as a consequence of lower take
     503
rates.    The slide below illustrates Google’s projection of steering incentives if payment
processing were unbundled, summarized by the asterisks in the final column. (It bears emphasis
that, in the competitive but-for world, payment processing would be unbundled in tandem with
distribution services in the In-App Aftermarket as Google’s restrictions were eliminated.)




        232. The first number in the “Option” column above displays Google’s “unbundled”
take rate—that is, the take rate excluding payment processing services. The second number is the
extra amount that the developers would pay to Google, if Google also provided payment
processing and if consumers chose Google rather than an alternative provider under Google’s
hypothetical scenarios. To illustrate, the third row displays             in the “Option” column,
meaning that Google’s hypothetical take rate consists of a base rate of
         for Google’s payment processing. The figure shows that as Google’s unbundled take rate
(again, excluding payment processing) decreases from                              , the greater are
developers’ steering incentives—that is, developers’ incentives to “steer user choice” by lowering
the price to consumers that select a lower-cost (non-Google) payment option. When the unbundled
take rate is lower, there exists a greater likelihood that a cheaper alternative bundle can be



    503. See e.g., GOOG-PLAY-006829073 at GOOG-PLAY-006829085 (showing “Dev incentive to steer user
choice” at lower take rates for payment processing) (emphasis added).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 145 of 667

                                                        -107-


constructed, with a combined take rate (including payment processing) below 30 percent.504 The
“Consumer Spend w/Choice” column displays Google’s estimate of how much revenue
could potentially move to competitive billing systems under each option. For example, in the first
row, there is                  , so the final column shows

        233. Fourth, even if one assumes that some developers would not lower their prices in
the competitive but-for world, consumers still would benefit from quality improvements in Apps
and In-App Content that developers would be able finance out of monies saved from lower take
rates. Standard economics shows that competition drives firms to make competitive investments
in product quality to keep pace with rivals.505

         3.       Statistical Analysis Using Standard Economic Models Confirms Widespread
                  Pass-Through in a Competitive But-For World

         234. In this section, I apply standard econometric models to data produced in discovery
to estimate the extent to which developers would have passed lower costs (that is, lower take rates)
to consumers in the form of lower prices in a competitive but-for world without Google’s
restrictions. My empirical analysis suggests very high pass-through rates among developers (on
the order of 89.9 percent).

        235. Using standard multiple-regression methods, I have econometrically estimated
demand curves encompassing initial App downloads and purchases of In-App Content. In each
regression, demand for a given App (or In-App Content) is modeled as a function of the price of
that App (or the price of the In-App Content). All of the regressions include fixed effects.506 Each
fixed effect is unique to a given App, and to a purchase type for each transaction. Google’s data
presents three purchase types (initial downloads, in-app, and subscription). Thus, the regressions
control for App-specific characteristics, as well as for differences in the demand for initial
downloads of a given App, versus the demand for in-app purchases within that same App.

       236. I have estimated nonlinear logit demand systems, which are commonly used in
applied antitrust analysis.507 In a logit demand system, the share for each product j is given by the
following formula:

                                               ln(Sj / S0 )   j Pj




     504. If a developer does not use an alternative payment processor, Google’s take rate remains at 30 percent. The
developer can therefore lower its total take rate if the unbundled take rate (paid to Google) plus the cost of a third-
party payment processor is below 30 percent. The lower the unbundled take rate, the easier it will be for a developer
to construct such a bundle.
     505. Department of Justice & Federal Trade Commission, Horizontal Merger Guidelines (2010), §10.
     506. See, e.g., JEFFREY WOOLDRIDGE, INTRODUCTORY ECONOMETRICS: A MODERN APPROACH, (THOMPSON 4TH
ED. 2009), Chapter 14.1 [hereafter WOOLDRIDGE].
     507. See, e.g., Gregory Werden & Luke Froeb, The Antitrust Logit Model For Predicting Unilateral Competitive
Effects, 70 ANTITRUST LAW JOURNAL 257 (2002). See also Jonas Bjornerstedt & Frank Verboven, Merger simulation
with nested logit demand, 14(3) STATA JOURNAL 511-540 (2014).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 146 of 667

                                                       -108-


Above, Sj is the share of product j, and S0 is the share of the outside good—that is, the proportion
of consumers that do not purchase any of the products.508 The term δj represents factors other than
price that shift share. These are modeled as fixed effects unique to a given App and purchase type
(Initial Downloads, In-App, and Subscription).509 Google’s data presents three purchase types
(Initial Downloads, In-App, and Subscription). Thus, the regressions control for differences in the
demand for Initial Downloads of a given App, versus the demand for In-App purchases within that
same App. In total, the regressions include over 200,000 control variables.
         237. In Table 7 below, I econometrically estimate logit demand systems using standard
ordinary least squares (“OLS”) regressions.510 In addition, I used standard instrumental-variable
(“IV”) regressions to correct for endogeneity.511 In the IV regressions, taxes are used as an
exogenous instrument that shifts price independently of other demand drivers.512 The first two
columns in Table 7 below report aggregate regressions that span all of Google’s categories, with
OLS regressions reported in the first column and IV regressions reported in the second column.
Consistent with economic expectations, the regression results confirm a negative and highly
statistically significant relationship between demand and price. For example, in Table 7 below, the
coefficient on price (P) in Column (1) is -0.0107, and it is highly statistically significant, with a p-
value of 0.000. According to Column (1), a one dollar increase in price leads to a 1.07 percent
decrease in share.513 Column (2) shows how the regression output changes after I correct for price
endogeneity using IV. According to Column (2), a one dollar increase in price leads to a 5.16
percent decrease in share. This result is also highly statistically significant.

        238. In Columns (3) and (4) of Table 7 below, I estimate separate logit demand systems
for each of the categories used by Google, using a separate regression model for each category.514
After correcting for price endogeneity using IV, the results for nearly all categories are consistent
with economic expectations, in that the coefficient on price is both negative and statistically
significant.515 As summarized by the R-squared statistics below, the logit demand system
regressions explain approximately 86 to 87 percent of the variation in the dependent variable.




     508. Record evidence indicates that no more than           percent of users make purchases of In-App Content or
initial downloads in a given month; this provides one possible estimate of the share of the outside good. GOOG-
PLAY-000559379 at GOOG-PLAY-000559380 (a Play Store update for Alphabet Board (2020) stating “[t]oday,
of Play users make purchases on Play each month.”). As explained below, because the pass-through rate in the logit
model increases with the share of the outside good, I conservatively set it to zero for purposes of my pass-through
calculations.
     509. See, e.g., WOOLDRIDGE, Chapter 14.1.
     510. WOOLDRIDGE, supra, Chapter 3.
     511. Instrumental variables techniques are used to identify the demand curve separately from the supply curve.
Id. Chapter 15.
     512. Taxes are used as instrumental variables because they directly affect price but are uncorrelated with other
demand shifters. Id.
     513. This represents a percent change, as opposed to percentage points.
     514. In these regressions, the share of the outside good is calculated on a category-specific basis. For example,
the share of the outside good for the “Art & Design” category is equal to the share of the market that either (1) made
purchases in any of the other categories; or (2) did not purchase at all.
     515. The only exception is the “Transportation” category, which accounts for less than 0.01 percent of consumer
expenditures.
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 147 of 667

                                            -109-


                     TABLE 7: ECONOMETRIC DEMAND CURVE ESTIMATES
                           LOGIT DEMAND: ln( S j / S 0 )   j   Pj
                                   (1)              (2)            (3)           (4)
                                  OLS               IV            OLS            IV
                               Aggregate        Aggregate    By Category   By Category
P      All Categories          -0.0107***       -0.0516***         N/A          N/A
                                 (0.000)          (0.000)          N/A          N/A
P      Art & Design                N/A              N/A      -0.00834***    -0.0233***
                                   N/A              N/A          (0.000)      (0.000)
P      Auto & Vehicles             N/A              N/A       0.00194**     -0.0141***
                                   N/A              N/A         (0.0438)      (0.000)
P      Beauty                      N/A              N/A        -0.0108*      -0.103***
                                   N/A              N/A         (0.0656)      (0.000)
P      Books & Ref                 N/A              N/A       -0.0329***    -0.0999***
                                   N/A              N/A          (0.000)      (0.000)
P      Business                    N/A              N/A       -0.0116***    -0.0218***
                                   N/A              N/A          (0.000)      (0.000)
P      Comics                      N/A              N/A       -0.0144***    -0.0319***
                                   N/A              N/A          (0.000)      (0.000)
P      Communication               N/A              N/A      -0.00745***    -0.0199***
                                   N/A              N/A          (0.000)      (0.000)
P      Dating                      N/A              N/A      -0.00597***    -0.0314***
                                   N/A              N/A          (0.000)      (0.000)
P      Education                   N/A              N/A       -0.0151***    -0.0395***
                                   N/A              N/A          (0.000)      (0.000)
P      Entertainment               N/A              N/A       -0.0258***    -0.0659***
                                   N/A              N/A          (0.000)      (0.000)
P      Events                      N/A              N/A        -0.00595      -0.151***
                                   N/A              N/A          (0.584)      (0.000)
P      Finance                     N/A              N/A       -0.0139***    -0.0408***
                                   N/A              N/A          (0.000)      (0.000)
P      Food & Drink                N/A              N/A      -0.00322***   -0.00514***
                                   N/A              N/A          (0.000)      (0.000)
P      Game                        N/A              N/A      -0.00126***    -0.0709***
                                   N/A              N/A          (0.000)      (0.000)
P      Health & Fitness            N/A              N/A       -0.0203***    -0.0435***
                                   N/A              N/A          (0.000)      (0.000)
P      House & Home                N/A              N/A       -0.0153***    -0.0238***
                                   N/A              N/A          (0.000)      (0.000)
P      Library & Demo              N/A              N/A       -0.0308***     -0.204***
                                   N/A              N/A          (0.000)      (0.000)
P      Lifestyle                   N/A              N/A       -0.0245***    -0.0546***
                                   N/A              N/A          (0.000)      (0.000)
P      Maps & Nav                  N/A              N/A       -0.0230***    -0.0726***
                                   N/A              N/A          (0.000)      (0.000)
P      Media & Video               N/A              N/A         -0.0504      -0.138***
                                   N/A              N/A          (0.143)      (0.001)
P      Medical                     N/A              N/A       -0.0122***    -0.0462***
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 148 of 667

                                               -110-


                                       (1)              (2)               (3)              (4)
                                      OLS               IV               OLS               IV
                                   Aggregate       Aggregate        By Category      By Category
                                       N/A              N/A            (0.000)          (0.000)
    P      Music & Audio               N/A              N/A          -0.0431***        -0.142***
                                       N/A              N/A            (0.000)          (0.000)
    P      News & Mag                  N/A              N/A         -0.00716***       -0.0202***
                                       N/A              N/A            (0.000)          (0.000)
    P      Parenting                   N/A              N/A          -0.0395***        -0.114***
                                       N/A              N/A            (0.000)          (0.000)
    P      Personalization             N/A              N/A          -0.0770***        -0.277***
                                       N/A              N/A            (0.000)          (0.000)
    P      Photography                 N/A              N/A          -0.0397***       -0.0762***
                                       N/A              N/A            (0.000)          (0.000)
    P      Productivity                N/A              N/A          -0.0216***       -0.0596***
                                       N/A              N/A            (0.000)          (0.000)
    P      Shopping                    N/A              N/A          -0.0116***       -0.0389***
                                       N/A              N/A            (0.007)          (0.000)
    P      Social                      N/A              N/A          -0.0175***       -0.0569***
                                       N/A              N/A            (0.000)          (0.000)
    P      Sports                      N/A              N/A         -0.00938***       -0.0336***
                                       N/A              N/A            (0.000)          (0.000)
    P      Tools                       N/A              N/A          -0.0276***       -0.0777***
                                       N/A              N/A            (0.000)          (0.000)
    P      Transportation              N/A              N/A          0.0714***         0.820***
                                       N/A              N/A            (0.009)          (0.000)
    P      Travel & Local              N/A              N/A          -0.0149***       -0.0487***
                                       N/A              N/A            (0.000)          (0.000)
    P      Video Players               N/A              N/A          -0.0274***       -0.0496***
                                       N/A              N/A            (0.000)          (0.000)
    P      Weather                     N/A              N/A          -0.0397***        -0.142***
                                       N/A              N/A            (0.000)          (0.000)
           Constant                -18.65***        -18.39***            N/A              N/A
                                     (0.000)          (0.000)            N/A              N/A
           Includes FE?                 Y                Y                 Y                Y
           Number of FE             212,925          212,925           212,925          212,925
           Observations            1,905,224        1,905,224         1,905,224        1,905,224
           R-Squared                 87.3%            87.5%             85.9%            86.2%
p-values in parentheses. *** p<0.01, ** p<0.05, * p<0.1. Columns (3) and (4) reflect the output of
35 separate regressions. For these columns, the “Number of FE” and “Observations” are the total
number of Fixed Effects and Observations used in all of the regressions. The R-squared statistics in
columns (3) and (4) are average R-squared values across all regressions, weighted by number of
observations.


        239. In Table 8 below I calculate pass-through rates, which are the ratio of the dollar
change in a developer’s profit-maximizing price resulting from a one-dollar change in marginal
cost. The logit demand system yields a pass-through rate equal to [M – Qj]/M, where M is the size
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 149 of 667

                                                        -111-


of the market—inclusive of the outside good—and Qj is the quantity sold of a given product.516
All else equal, the larger is the share of the outside good (S0), the larger is M, and the larger is the
pass-through rate. Because the pass-through rate increases with the share of the outside good, I
conservatively set S0 equal to zero for purposes of calculating pass-through using the logit demand
system.517 As seen in the first row of Table 8 below, the logit demand system yields an overall
pass-through rate of 89.9 percent. This estimate is calculated as the weighted average across all
categories in the final column, with each category receiving a weight proportional to the quantity
of transactions in that category. (Thus, the “Game” category receives more weight than others).

        240. In summary, I estimate that developers’ profit-maximizing response to a one dollar
decrease in costs would be to decrease their prices to consumers by approximately $0.90. This
price decrease is profit-maximizing because the marginal benefit to developers of lowering the
price in the competitive but-for world—increasing the demand for Apps or In-App Content—
exceeds the marginal cost of meeting the increased demand. If developers were to reduce their
prices by less, their profit in the competitive world would be lower.




    516. See, e.g., Nathan Miller, Marc Remer, & Gloria Sheu, Using cost pass-through to calibrate demand, 118
ECONOMICS LETTERS 451-454, 452-453 (2013) (Equation 6 provides the formula for inverse of the pass-through rate,
multiplied by negative one, which is: -M/[M – Qj], where M is the market size and Qj is the quantity of product j. The
pass-through rate is obtained by multiplying the expression by negative one and inverting it, which yields [M – Qj]/M).
    517. In addition, I conservatively aggregate purchase quantities by developer.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 150 of 667

                                -112-


                     TABLE 8: PASS-THROUGH RATES
                Category                    Pass-Through Rate
                   ALL                            89.9%
           ART_AND_DESIGN                         67.3%
         AUTO_AND_VEHICLES                        82.4%
                BEAUTY                            25.0%
        BOOKS_AND_REFERENCE                       80.4%
               BUSINESS                           81.6%
                COMICS                            55.6%
           COMMUNICATION                          86.6%
                DATING                            82.3%
              EDUCATION                           92.1%
            ENTERTAINMENT                         83.6%
                EVENTS                            62.0%
                FINANCE                           69.9%
           FOOD_AND_DRINK                         77.3%
                  GAME                            92.3%
         HEALTH_AND_FITNESS                       94.7%
           HOUSE_AND_HOME                         59.7%
         LIBRARIES_AND_DEMO                       57.9%
               LIFESTYLE                          67.9%
        MAPS_AND_NAVIGATION                       82.0%
           MEDIA_AND_VIDEO                        88.4%
                MEDICAL                           92.6%
           MUSIC_AND_AUDIO                        40.7%
        NEWS_AND_MAGAZINES                        85.9%
              PARENTING                           79.1%
           PERSONALIZATION                        90.3%
             PHOTOGRAPHY                          90.7%
             PRODUCTIVITY                         88.6%
               SHOPPING                           47.4%
                 SOCIAL                           89.2%
                 SPORTS                           80.6%
                 TOOLS                            95.8%
           TRANSPORTATION                         91.8%
          TRAVEL_AND_LOCAL                        89.0%
            VIDEO_PLAYERS                         87.7%
               WEATHER                            79.5%
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 151 of 667

                                                       -113-


        4.       Analysis of Pass-Through in Alternative Settings Corroborates Developer
                 Pass-Through

      241. In this section, I provide evidence and examples of pass-through that support my
econometric calculation of the pass-through rate.

                 a.       Apps That Avoid In-App Aftermarket Restrictions
        242. Historically, some developers using the Play Store, including Netflix, Spotify, and
Tinder, have refused to compel their customers to use Google Play Billing for In-App Content by
instead redirecting them to a web browser.518 Some developers allow consumers to transact both
within the Google Play Store and Google Play Billing as well as outside of them at a lower price,
permitting an apples-to-apples comparison that provides evidence of pass-through. Bookedin, an
appointment scheduling software App, points out that it “need[ed] to charge extra to compensate
for additional fees Apple and Google charge Bookedin to sell our app in their store.”519 The price
offered on the Bookedin website for its “Pro 1” membership is $24/month vs. $34.99/month for
the App sold through the Play Store, offering a 31 percent discount for avoiding Google’s 30
percent take rate.520 Down Dog, a yoga and exercise app, charges $7.99 a month on its website vs.
$9.99 for the App purchased through the Google Play Store, implying a discount of 20 percent.521
Tinder, a popular dating App and the second-highest grossing App on the Google Play Store, has
discounted the subscription prices on its website by ten percent, relative to the price of the same
subscriptions when purchased within the Play Store.522 As observed by Jared Sine, Chief Legal
Officer of Match Group (the parent company of Tinder), Google’s and Apple’s commissions
amounted to “$500 million dollars that could be going back into the pockets of everyday
consumers or deployed to hire employees or invest in new innovations.”523

       243. Spotify, a popular music-streaming App, reluctantly allowed consumers to
purchase its subscription music service from within Apple’s App Store (where it did not negotiate
a lower take rate). Spotify was forced to raise the cost of its premium subscription service within




     518. Ron Amadeo, Google announces crackdown on in-app billing, aimed at Netflix and Spotify, ARS TECHNICA
(Sept. 20, 2020) (“Today, Netflix and Spotify don’t use Google’s in-app billing and instead kick new accounts out to
a Web browser, where the companies can use PayPal or direct credit card processing to dodge Google's 30-percent
fees”); see also Kif Leswing, Google to enforce 30% take from in-app purchases next year, CNBC (Sept. 28, 2020),
available at www.cnbc.com/2020/09/28/google-to-enforce-30percent-cut-on-in-app-purchases-next-year.html; Nick
Statt, Tinder is now bypassing the Play Store on Android to avoid Google’s 30 percent cut, THE VERGE (Jul. 19, 2019),
available at www.theverge.com/2019/7/19/20701256/tinder-google-play-store-android-bypass-30-percent-cut-
avoid-self-install.
     519. Bookedin, Why are the prices different in App Store/Google Play? (accessed June 15, 2021), available at
support.bookedin.com/hc/en-us/articles/360028446492-Why-are-the-prices-different-in-App-Store-Google-Play-
     520. ($34.99 - $24.00) / ($34.99) ≈ 31 percent.
     521. ($9.99 - $7.99) / ($9.99) = ≈ 20 percent.
     522. Based on prices observed on Tinder website vs. through Google Play on an Android device. Tinder Plus
costs $9.99/month on Play compared to $8.99/month on its website, implying a discount of ($9.99 - $8.99) / ($9.99)
≈ 10%. Tinder Gold costs $14.99/month on Play compared to $13.49/month on its website, implying a discount of
($14.99 - $13.49) / ($14.99) ≈ 10%. Tinder Platinum costs $19.99/month on Play compared to $17.99/month on its
website, implying a discount of ($19.99 - $17.99) / ($19.99) ≈ 10%.
     523. Testimony for the S. Judiciary Committee, Subcomm. on Competition Policy, Antitrust, and Consumer
Rights, at 2 (Jared Sine, Chief Legal Officer, Match Group, Apr. 21, 2021) [hereafter Sine Testimony].
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 152 of 667

                                                       -114-


the App Store from $9.99 per month to $12.99 per month in 2014.524 This $3 increase can be
understood as Spotify’s attempt to roughly equalize its margins between its service through the
internet ($9.99) and through the Apple App Store ($12.99).525 Per Horacio Gutiérrez, Head of
Global Affairs and Chief Legal Officer for Spotify: “Spotify could not absorb the IAP [in-app
product] tax without raising its prices, because a large component of its costs are the licensing fees
paid to record labels and music publishers.”526 Gutiérrez pointed out that “[o]ne doesn’t need a
Ph.D. in economics to recognize that Apple is hurting consumers by forcing competitors either to
charge higher prices or preventing competitors from communicating offers of discounts or other
promotional offers.”527 A European Commission investigation into prices charged by music-
streaming providers showed that Apple’s 30 percent commission rate was typically passed through
in full to consumers.528
             Finally, YouTube’s subscription service charges a higher price on the Apple App Store
“due to Apple’s 30% transaction fee[.]”530 Table 9 summarizes the discussion on implied pass-
through rates for major app developers.




     524. Testimony for the S. Judiciary Committee, Subcomm. on Competition Policy, Antitrust, and Consumer
Rights, at 8 (Horacio Gutierrez, Head of Global Affairs and Chief Legal Officer, Spotify, Apr. 21, 2021).
     525. Celena Chong, Spotify shows its iPhone users how to save $3 by avoiding Apple's App Store, BUSINESS
INSIDER (July 8, 2015), available at www.businessinsider.com/spotify-shows-users-how-to-save-3-by-avoiding-
apple-app-store-2015-7 (“Both Spotify and Apple Music technically charge $9.99 a month, but subscriptions
purchased through the iTunes App Store charges a 30 percent fee — causing Spotify to charge $12.99 for its premium
service within iTunes to generate the same revenue.”). Apple’s 30 percent commission would be $3.90 on a price of
$12.99. By raising its price by only $3, Spotify was passing through 77 percent ($3/$3.90) of the increase due to the
imposition of Apple’s take rate.
     526. Testimony for the S. Judiciary Committee, Subcomm. on Competition Policy, Antitrust, and Consumer
Rights, at n. 13 (Horacio Gutierrez, Head of Global Affairs and Chief Legal Officer, Spotify, Apr. 21, 2021).
     527. Id. at 9.
     528. Statement by Executive Vice-President Margrethe Vestager on the Statement of Objections sent to Apple
on App Store rules for music streaming providers (Apr. 30, 2021) (“Our investigation showed that this fee was passed
on to end users by raising prices, typically from 9.99 to 12.99 Euros.”).
     529.


   530. Feng Dep. at 292:4-293:9, referencing PX 518 (March 2018 email from Google’s Samer Sayigh stating
“YouTube uses Apple Billing on iOS. YT charges $12.99/month on iOS (vs. $9.99 on Android + web), due to Apple’s
30% transaction fee[.])”).
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 153 of 667

                                                       -115-



                     TABLE 9: PRICE COMPARISON OF APPS THROUGH WEBSITE VS. APP STORE
                                                                              App Store          Implied Pass-
                 App                 Product          Website Price
                                                                                Price           Through Rate*


                                     Gold                                   $14.99/month
   1            Tinder                                 $13.49/month                                    33%
                                   Membership                               (Google Play)


                                                                            $34.99/month
   2           BookedIn            Professional          $24/month                                    105%
                                                                            (Google Play)
                                  Unlimited
                                                                             $9.99/month
   3          Down Dog           Access to All          $7.99/month                                    67%
                                                                            (Google Play)
                                Down Dog Apps
                                    Premium                                 $12.99/month
   4            Spotify            Subscription         $9.99/month          (Apple App                77%
                                     Service                                   Store)
                                    Premium                                 $12.99/month
   5             Tidal             Subscription         $9.99/month          (Apple App                77%
                                     Service                                   Store)
                                                                            $12.99/month
                                   Subscription
   6           YouTube                                  $9.99/month          (Apple App                77%
                                     Service
                                                                               Store)
*Pass-through rate = (app price - website price) / ($ app commission - $ website commission) using an assumed zero
percent commission charged on the website. Assuming a zero percent commission on the website is conservative so
this estimate reflects a lower bound. The calculations conservatively assume a 30 percent take rate paid by the
developer to Google (or Apple). To the extent that a developer pays a lower take rate, that developer’s pass-through
rate would be understated.
Sources: (1 - Tinder) Publicly advertised price; (2 - BookedIn) Appointment Booking & Online Scheduling Software
- Pricing – BookedIn, available at support.bookedin.com/hc/en-us/articles/360028446492-Why-are-the-prices-
different-in-App-Store-Google-Play (3 - Down Dog) Publicly advertised price; (4 - Spotify) Testimony for the U.S.
Senate Judiciary Committee, Subcommittee on Competition Policy, Antitrust, and Consumer Rights, Horacio
Gutierrez, Head of Global Affairs and Chief Legal Officer, Spotify, April 21, 2021 at 8; (5-Tidal) Shahar Ziv, Here’s
Why Your Apple App Store Purchases May Be A Ripoff, FORBES, (July 8, 2020), available at
www.forbes.com/sites/shaharziv/2020/07/08/heres-why-your-apple-app-store-purchases-may-be-a-
ripoff/?sh=77c6e9872007 ; (6-YouTube) Feng Dep. 292:4-293:9, referencing PX 518.

                   b.       Pass-Through of Sales Taxes and Digital Service Taxes
        244. Google’s take rate is economically analogous to a tax on developers. Elementary
economics shows how taxes are passed on to buyers: Regardless of whether the tax is imposed
directly on buyers or instead on sellers, as a matter of theory, buyers end up paying the same
portion of the tax.531 The imposition of state and local sales taxes on digital goods therefore
provides a useful example for understanding pass-through in this case. Apps often serve customers
across a number of different local tax jurisdictions. When a digital product is subject to a tax, this
burden is typically passed through in full to the customer; it is not absorbed by the seller. Indeed,


       531. See, e.g., MANKIW, supra, at 120-127.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 154 of 667

                                                         -116-


software APIs have been created to facilitate passing through the correct amount of tax based on
the local jurisdiction and the product being sold.532 Economically speaking, this arrangement is
tantamount to a commission being imposed on a developer that is fully passed through to the
consumer. As summarized by Spotify on its website:

         Some state and local governments may also require us to collect tax (e.g. Sales Tax) if
         Spotify undergoes marketing/promotional activities in the state or locality, or uses local
         sales agents or consultants. This fee is included at the point of the transaction, which is
         why you might see a slightly different price on your receipt to the rate that’s advertised.533

Examples like this abound: Netflix,534 Hulu,535 Amazon,536 and Google537 all offer similar
disclaimers on their websites regarding local sales taxes. As one press report summarizes, “If you
live in one of the nearly 25 states that charge sales tax on digital goods or services you likely pay
more for everything from downloaded music, e-books and ringtones to streaming TV shows and
video.”538

E.       Google Could Also Respond to Greater Competition By Increasing Its Play Points
         Program For Consumers

        245. The two-sided model for the Android App Distribution Market and the one-sided
model for the In-App Aftermarket were used to determine competitive but-for take rates under the
assumption that the locus of competition, absent the Challenged Conduct, would be on take rates.
For example, the two-sided platform model assumes that Google’s access charge to consumers
was near zero (and actually negative) in both the actual and competitive but-for worlds. An
alternative, plausible response to the elimination of Google’s restrictions would be for Google to


     532. See, e.g., Jennifer Dunn, Sales Tax by State: Should You Charge Sales Tax on Digital Products? (Feb. 13,
2018), available at www.taxjar.com/blog/sales-tax-digital-products (“The TaxJar API allows you to assign a product
tax code to the products you sell. If you assign the product tax code for digital goods to the digital products you sell,
the TaxJar API automatically charges your customer in any state the right amount of sales tax depending on that state’s
applicable laws.”).
     533. Spotify, Does the price for Premium include tax?, available at support.spotify.com/us/article/sales-tax/.
     534. Netflix,          Taxes          on        your          Netflix      membership,          available        at
help.netflix.com/en/node/50068#:~:text=The%20Netflix%20advertised%20price%20does,membership%20includes
%20streaming%20and%20games (“The Netflix advertised price does not include sales tax. If sales tax applies, it is
stated separately on your monthly invoice”).
     535. Hulu, Why was I charged tax?, available at help.hulu.com/s/article/charged-sales-
tax#:~:text=Why%20was%20I%20charged%20tax%3F&text=In%20certain%20jurisdictions%2C%20Hulu%20is,th
at%20is%20assessing%20the%20tax (“In certain jurisdictions, Hulu is required to charge tax on our services in order
to comply with your state and local laws. This is based on your billing address. When applicable, these taxes are
collected by Hulu and are then remitted to the jurisdiction that is assessing the tax.”).
     536. Amazon, Help & Customer Service – Tax on Amazon Prime, available at
www.amazon.com/gp/help/customer/display.html?nodeId=202036230 (“If you choose to continue, you'll
automatically be charged for Amazon Prime plus any applicable taxes”).
     537. Google, Tax rates and value-added tax (VAT) - Play Console Help, available at
support.google.com/googleplay/android-developer/answer/138000?hl=en (“In accordance with sales tax
requirements, Google is responsible for determining, charging, and remitting sales tax for Google Play Store app and
in-app purchases by customers in these states. Google will collect and remit sales tax to the appropriate tax authority,
as applicable. You don't need to calculate and send sales tax separately for customers in these states. Even if you're
not located in the United States, this treatment will still apply.”).
     538. Melanie Hicken, Are you paying the iTunes tax?, CNN MONEY (June 5, 2013), available at
money.cnn.com/2013/06/05/pf/taxes/itunes-tax/.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 155 of 667

                                                      -117-


increase its loyalty points program for consumers to encourage their use of the Play Store and
Google Play Billing rather than using any other competing source of Apps or In-App Content. An
increase in Google’s loyalty points would have the effect of reducing prices for purchases of Apps
and In-App Content, without any requirement that developers steer consumers via discounting.
Indeed, this form of competition is how credit cards compete to retain customers (funded via
interchange fees to merchants), and how global distribution systems compete to retain travel agents
(funded by booking fees charged to airlines). In addition to serving as a means to compete for
consumers, a subsidy to consumers by Google can also bring value to developers by encouraging
consumer spending.539

        246. Given the current lack of competition due to the Challenged Conduct, the size and
scope of Google’s Play Points program is fairly modest. Android users who signed up pre-2019
must opt in to Google Play Points.540 In addition, not all Apps participated in Google Play
Points.541 According to one analyst, under the current configuration of the program, “the spend-
to-earn ratio is so steep that you would have to spend a pretty unrealistic amount of money in the
Google Play Store to get enough points to actually do anything.”542 Despite its modest size relative
to Google’s take rate, the structure of Play Points is a reasonable facsimile of what an expanded
program might look like in a competitive but-for world. Google awards Play Points for: (1) any
purchase; (2) participation in weekly promotions (essentially getting extra points for spending on
particular top games); and (3) installing new Apps that Google selects.543 The points can then be
spent on (a) Play credits (money to buy games); (b) priced initial App downloads or In-App
Content; or (c) discounts on In-App Content.544 Consumers may also reach higher “tiers” as they
accrue points, which gives them access to additional benefits.545

        247. Record evidence reveals that Google committed to reducing App prices via
enhancing its points program to combat the threat of platform entry, a threat that never fully
emerged in the actual world. Google first introduced Play Points in Japan, when it faced
competition from Amazon.546 Google noted that high valued users (“HVUs”), who accounted for
half of all spending, presented a “churn risk.”547 It further noted that “Competitive Android stores




    539. GOOG-PLAY-002653782.R at GOOG-PLAY-002653792.R (“Developers are realizing significant value
from Play Points”).
    540. Jonathan Jaehnig, What Are Google Play Points and How Can You Use Them?, MAKE USE OF, (Apr. 8,
2021), available at www.makeuseof.com/what-are-google-play-points/.
    541. Id.
    542. Id.
    543. GOOG-PLAY-000518034.
    544. Id.
    545. Id.
    546. Google introduced its Play Points program in Japan in September 2018. See C. Scott Brown, Google Play
Points rewards program is real and in Japan right now, ANDROID AUTHORITY (Sept. 18. 2018), available at
www.androidauthority.com/google-play-points-rewards-905387/.
    547. GOOG-PLAY-001284083.R at GOOG-PLAY-001284086.R. A “churn rate” tells how many customers a
company loses over a time period in percentage terms. The risk that a company will lose customers can be referred to
as “churn risk.” See Patrick Icasas, Your Customer is a Churn Risk (And Here's How We Know), Catalyst (July 12,
2021), available at catalyst.io/blog/your-customer-is-a-churn-risk-and-heres-how-we-know.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 156 of 667

                                                        -118-


such as Amazon App Store in Japan have reached 2-10% of developer revenue, mainly by
attracting Play HVUs with heavy discounts (20 – 50% off).”548

        248. Google next deployed the Play Points program in response to the ONE Store’s entry
in Korea. The ONE Store offered “cashback events,” which amount to 30 to 50 percent of total
transactions inside certain gaming Apps,549 making points (rather than the take rate) the locus of
competition. Google planned to combat ONE Store’s “lowering rev share to court developers”
through Play Points.550 Google also noted that Samsung, through its Galaxy app store, was
“courting developers via low 20% rev share.”551 In response to this dual threat in South Korea,552
Google enhanced its own points program, launching in April 2019 and enrolling “millions of
members” in “a few weeks” upon launch.553 By the end of 2020, Google was offering a Play Points
subsidy worth approximately two percent of consumer spend in South Korea.554 These examples
indicate that Google could respond to the elimination of its anti-competitive restrictions with
incentives and discounts to consumers.

         249. In the United States, Google’s Play Points program was more widely introduced
alongside Project Hug as part of a larger effort to combat the threat of platform competition. In a
document, Google strategized about what to do with                          , a holdout on Project
     555
Hug.               wanted a reduced take rate in addition to the other incentives Google was
offering.556 Google discussed various options. One was to
             . Another was to                     . A third option was to
            Under this third approach, “We should let           know that Google is willing to invest
Play’s entire 30% share back to users in order to keep the ecosystem safe & growing for all.”557
Put differently, to avoid competition by another app store, such as proposed by              Google
cared so much about not having consumers leave the Play Store that Google was willing to


       250. Further, Google initially ceded to mobile carriers       percentage points of its 30
percent take rate (or      percent) to fend off platform competition. This suggests that Google
would be willing to cede as much to consumers to fend off competition in a but-for world without
Google’s anticompetitive restrictions.

      251. To model the effect of an increased subsidy to consumers through Play Points in a
competitive but-for world, I once again use the Rochet-Tirole two-sided platform model. However,


     548. GOOG-PLAY-001284083.R at GOOG-PLAY-001284086.R. Google also noted that Japan “might just be
the start as Amazon (historically) tries different approaches in a market (usually for a couple of years) before scaling
up and going global with services.” GOOG-PLAY-000879195R.
     549. See Kim Jung-Min & Chea Sarah, One Store Gains Ground in Local Android App Market, KOREA
JOONANG DAILY (Dec. 2, 2020), available at koreajoongangdaily.joins.com/2020/12/02/business/industry/One-
Store-app-market-Google/20201202175300439.html.
     550. GOOG-PLAY-000953420.R at GOOG-PLAY-000953422.R.
     551. Id. at GOOG-PLAY-000953437.R.
     552. GOOG-PLAY-000302766 at GOOG-PLAY-000302864 (citing decline in new purchasers in South
Korea as reason for launching loyalty program).
     553. GOOG-PLAY-000518034 at GOOG-PLAY-000518045.
     554. GOOG-PLAY-002653782.R at GOOG-PLAY-002653793.R. See also GOOG-PLAY-005708308.
     555. GOOG-PLAY-007329029.
     556. Id.
     557. Id. at GOOG-PLAY-007329030.
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 157 of 667

                                                    -119-


I now solve for a negative transaction price or subsidy to consumers in response to platform
competition, assuming that the but-for take rate remains fixed at its observed average value of 29.3
percent. Under the current program, Google’s Play Points can be applied to both initial App
downloads and purchases of In-App Content—that is, Google does not have two different point
programs.558 It is reasonable to assume the structure of the program would remain the same in a
competitive world, albeit with a larger subsidy for consumers, as Google would want to incentivize
users to continue purchasing through its platform. Accordingly, I estimate the model only once to
obtain a single subsidy in both markets as Google offers now. In contrast, above I estimated the
competitive but-for take rate in the Android App Distribution Market separately from the
competitive but-for take rate in the In-App Aftermarket, as nothing requires Google to charge the
same take rate in those separate markets. My use of the Rochet-Tirole model to estimate a
competitive but-for subsidy that can be spent on initial paid App downloads or In-App Content
should not be taken to mean that the In-App Aftermarket is a two-sided antitrust market nor that
the two separate antitrust markets are suddenly unified. Put differently, that I use the two-sided
model to estimate a single consumer subsidy across both initial paid App downloads and purchases
of In-App Content—a subsidy model that Google uses today and might use in a competitive but-
for world—has no bearing on whether the In-App Aftermarket is one-sided or two-sided.

       252. Holding the take rate fixed at the observed monopoly level, a monopoly platform
operator would maximize its profits by setting the buyer-side platform price 𝑃 such that the
following equation is satisfied:

 (V.11)                                      𝑃     𝑡𝑆 𝐶        1
                                                 𝑆 𝑃           𝜀


where 𝜀 is the price elasticity of demand from buyers for paid App downloads or In-App
Content.559 In the presence of competition, the platform operator would maximize profits with
respect to its residual demand curve (market demand net of demand that is competed away by
rivals), yielding the competitive analogous expression:
 (V.12)                                      𝑃
                                            𝑡𝑆 𝐶       1
                                         𝑆 𝑃         𝜀
where 𝜀 is the own-brand price elasticity of demand from buyers for paid App downloads or In-
App Content. 560
       253. My sources and methods for obtaining the monopoly scenario inputs shown in
Equation (V.11) are:

        𝑃 is equal to the price “charged” by Google to consumers for each transaction made on
         its platform in the monopoly scenario. Through its Play Point loyalty program and other
         promotions, Google effectively charges a small negative price to consumers. I compute the
         average value of this subsidy as the sum of all promotions paid by Google for transactions
         made in both the Android App Distribution Market and In-App Aftermarket, divided by


     558. For this reason, the model can be applied whether there is one market, or whether there is a separate
aftermarket.
     559. Details of how Equation (V.11) is derived are provided in Appendix 3.
     560. Details of how Equation (V.12) is derived are provided in Appendix 3.
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 158 of 667

                                                        -120-


         the total quantity of paid Apps downloaded in the Android App Distribution Market and
         purchases of In-App Content in the In-App Aftermarket, as observed in Google’s
         transaction records.

        𝑡 is equal to the observed take rate, computed as the sum of all revenue retained by Google
         in both the Android App Distribution Market and In-App Aftermarket divided by the sum
         of total revenue spent by consumers in both the Android App Distribution Market and In-
         App Aftermarket (prior to Google’s promotional expenditures, which are captured by 𝑃 ).

        𝑆 is equal to the average price charged for paid Apps in the Android App Distribution
         Market and In-App Content in the In-App Aftermarket in the monopoly setting.561 I
         calculate 𝑆 as the total amount of revenue spent by consumers (prior to receiving
         promotions from Google) in both the Android App Distribution Market and In-App
         Aftermarket divided by the total quantity of paid Apps downloaded in the Android App
         Distribution Market and purchases of In-App Content in the In-App Aftermarket, as
         observed in Google’s transaction records.

        Marginal cost 𝐶 represents the incremental cost incurred by Google of executing a
         transaction in the Android App Distribution Market or In-App Aftermarket. I refer to
         Google’s financial data to infer this value, which suggests that transaction fees, customer
         support, and other fees are equal to       percent of consumer expenditures.562

        𝜀 is the buyer-side price elasticity of demand for paid Apps in the Android App
         Distribution Market and In-App Content in the In-App Aftermarket. 𝜀 reflects the change
         in the quantity demanded by consumers for Android App Distribution Market or In-App
         Aftermarket transactions associated with a change in the price of the App or in-App product
         𝑆     𝑃 inclusive of the buyer-side platform price).563 Given the other inputs to the
         monopoly model, the value of 𝜀 is implied by Equation (V.11).

I hold 𝐶 fixed across the monopoly and competitive scenarios. Because I am modeling competition
on the buyer-side consumer price, I hold the developer-side take rate 𝑡 fixed between scenarios
also. Holding 𝑡 fixed implies no change in the (pre-subsidy) product price 𝑆 between scenarios.
My sources and methods for obtaining the remaining inputs to the competitive scenario expression
shown in Equation (V.12) are:

        𝑃 is the competitive buyer-side price charged by Google for each transaction on its
         platform. Using the other inputs to the model, Equation (V.12) allows me to solve for 𝑃 .

        𝜀 is the “own-brand” price elasticity of demand for paid Apps in the Android App
         Distribution Market and In-App Content in the In-App Aftermarket by consumers in the
         presence of competition. 𝜀 reflects the change in the quantity demanded from consumers

     561. Apps that are free to download and free In-App content have a zero price and are therefore excluded from
the analysis.
     562. See GOOG-PLAY-000416245 (includes all Direct COS & Direct OpEx).
     563. 𝜀 (which reflects consumer sensitivity to the total product price including buyer-side platform price, 𝑃
𝑆 differs from, but is related to, the take rate buyer elasticity 𝜀 , (which reflects consumer sensitivity to the take
rate, effectuated via pass-through) that is referred to in Section V.A.3. Further description of these parameters can be
found in Appendix 3.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 159 of 667

                                                        -121-


        for Android App Distribution Market and In-App Aftermarket transactions—from Google
        in particular, hence, “own-brand”—associated with a change in App prices. Relative to its
        monopolistic analogue, this parameter reflects a scenario where Google faces competition
        from rival platforms; as such, the parameter will be greater in magnitude, because the
        presence of platform competition allows easier defection from consumers in the presence
        of a product price increase. I draw from the economics literature empirical evidence of
        industries that have shifted from monopoly to competition. I conservatively estimate that
        the buyer-side price elasticity of demand faced by Google shifts from a value of        (in
        the monopoly setting, as calculated using Equation (V.11)) to            in the competitive
        setting. I arrive at    using the relation between own-brand elasticity and market demand
        elasticity under the conservative assumption that Google maintains a 60 percent share of
        the Android App Distribution Market with an inelastic supply response from Google’s
        rivals.564 Further description of this input is included in Appendix 3.

Table 10 summarizes the inputs and resulting buyer-side platform price. Table 10 shows
calculations made with respect to transactions in both the Android App Distribution Market and
the In-App Aftermarket combined; the inputs will therefore vary from those used in Table 3.
According to this model, the Play Points program would be expanded to be worth an average of
$0.77 per transaction, or approximately 8.7 percent of consumer spend (in the competitive but-for
world).565 Because the expanded Play Points program is a direct subsidy to consumers, there is no
need to estimate a pass-through model to establish antitrust impact.




    564. Similar to Part V.C, infra, I use the relation 𝐸                 where 𝐸 is Google’s own-brand elasticity
(reflecting price responses of both buyers and sellers), 𝐸 is market elasticity, 𝑆 is Google’s market share, and 𝐸 is
the elasticity of supply of Google’s rivals. I conservatively assume Google maintains a 60 percent market share and
that 𝐸     0. This implies that buyer price elasticity of demand changes from 5.30 in the monopoly setting (estimated
using Equation V.12) to 8.83 = 5.30/0.6. See, e.g., Landes & Posner.
     565. Equal to the but-for buyer-side platform price of          divided by the product price of
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 160 of 667

                                                   -122-


        TABLE 10: BUT-FOR BUYER-SIDE PLATFORM COMPETITION MODEL, COMBINED ANDROID
  APP DISTRIBUTION AND IN-APP AFTERMARKET IMPACT AND DAMAGES (8/16/2016 – 12/31/2020)
Actual World (Monopoly, Eqn. (V.11))
       #         Input     Description                             Value         Source/Notes
                                                                                 GOOG-PLAY-005535886
      [1]                     Consumer Expenditure (US)
                                                                                 (US Consumers)
                                                                                 GOOG-PLAY-005535886
      [2]                     Google Revenue (US)
                                                                                 (US Consumers)
                              Google Promotional                                 GOOG-PLAY-005535886
      [3]
                              Expenditures (US)                                  (US Consumers)
                              Android App Distribution
                                                                                 GOOG-PLAY-005535886
      [4]                     (Paid) and In-App
                                                                                 (US Consumers)
                              Transactions
  [5]=[1]/[4]         𝑺       App Product Price                                  Calculated
  [6]=[2]/[1]         𝒕       Take Rate                                          Calculated
 [7]=-[3]/[4]        𝑷𝑴
                      𝑩       Buyer-side Platform Price                          Calculated
                              App Product Price Net of
  [8]=[5]+[7]     S + PMB     Promotions
                                                                                 Calculated
      [9]             𝑪       Marginal Cost                                      GOOG-PLAY-000416245
                              Buyer Price Elasticity of
     [10]            𝜺𝑴
                      𝑩                                                          Calculated (Eqn. (V.11))
                              Demand

But-For World (Competitive, Eqn. (V.12))
                 Input      Description                                          Source
   [11]=[5]           𝑺       App Product Price                                  Calculated (Eqn. (V.8))
   [12]=[6]           t       Take Rate                                          GOOG-PLAY-005535886
     [13]            𝑷𝑪𝑩      Buyer-side Platform Price                          Calculated (Eqn. (V.12))
                              App Product Price Net of
[14]=[11]+[13]    S + PCB     Promotions
                                                                                 Calculated
   [15]=[9]           C       Marginal Cost                                      GOOG-PLAY-000416245
                              Buyer Own-Price Elasticity of                      Economic theory/empirical
     [16]           𝜺𝑪𝑶𝑩
                              Demand                                             studies
                              Consumer Savings Per
 [17]=[8]-[14]                                                                   Calculated
                              Transaction
[18]=[17]*[4]                 Aggregate Damages                                  Calculated


           254. For the purpose of comparing this result (which pertains to a two-sided market
  model of competition that occurs with respect to the buyer-side platform price) with results shown
  in Section V.B (which pertains to a two-sided market model of competition that occurs with respect
  to the take rate), it is useful to define a “net” take rate as the portion of consumer expenditures that
  Google retains, net of the amount given to consumers in the form of a subsidy. Google’s but-for
  net take rate when platforms compete on subsidies in the combined Android App Distribution
  Market and In-App Aftermarket (equal to the               percent take rate less the 8.7 percentage point
  subsidy to consumers, effectively           percent) is slightly lower than Google’s net take rate when
  platforms compete on take rates in the Android App Distribution Market (equal to                 percent,
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 161 of 667

                                                        -123-


net of Play Points566). It bears noting that the dimension upon which to compete (take rate versus
Play Points) is not solely Google’s choice. If a rival app store were to compete by (say) offering
app developers a 15 percent take rate, then Google could be forced to lower its take rate, in addition
to enhancing its Play Points.567 Because the precise means by which competition would unfold is
hard to predict, I have elected to model both extremes here, and demonstrated that consumers
would benefit under either and thus have been harmed by the Challenged Conduct.

        255. As Table 10 shows, the resulting but-for average price of paid App downloads in
the Android App Distribution Market and In-App Aftermarket is             down from the observed
price of       (net of Google’s promotional expenditures to consumers). This difference results in
an average overcharge to consumers of                             and aggregate damages of
       (equal to         times            transactions) as a result of Google’s restrictions, across
the Class Period (August 16, 2016, through December 31, 2020).

       256. In the actual world, Google awards Play Points to members of the program in
proportion to their purchases made in the Play Store; any customer can enroll in Play Points free
of charge. In the but-for world, awarding Play Points in proportion to all purchases made by Class
members implies lower prices in the but-for world relative to the actual world, and therefore
common impact on all or virtually all Class members.

F.          A Rigid Pricing Structure Ensures That All Class Members Would Benefit From The
            Removal Of The Challenged Conduct

       257. Google’s commission structure affects all paid Apps and purchases of In-App
Content by taking a fixed percentage. Moreover, while developers set different prices for their
Apps and In-App Content, these differences do not vary by customer. Eliminating the Challenged
Conduct would introduce competition driving the commission rate lower or resulting in further
subsidies to consumers by enhancing loyalty programs. Enhanced loyalty programs again would
not lead to differential prices across different consumers. Both lower commission rates and
enhanced loyalty programs would therefore benefit all Class members.

        258. This is true even when a Class member purchases from a developer that has
received a discount off Google’s standard take rate in the actual world. In the actual world, Google
has imposed a headline take rate of 30 percent nearly universally, with the following exceptions:
(1) a 15 percent take rate rolled out in 2018 for subscription apps (initially only for subscribers
after their first year; more recently for all subscribers); (2) a 15 percent take rate charged for the
first $1 million of sales (starting July 2021); and (3) instances where developers were able to
negotiate a lower take rate. Nevertheless, Google’s overall take rate has been at or very close to
30 percent for the vast majority of consumer expenditures: Google’s own data show that Google
has collected commissions in excess of         percent of consumer expenditures in both the Android


     566.     Drawing from the results shown in Table 3, the net take rate is equal to the but-for take rate (23.36%)
minus the portion of consumer expenditures that are returned through Google’s buyer-side platform price, (
                          .
     567. In the competitive but-for world, rival app stores could compete on many dimensions, including lower take
rates, a higher consumer point system, or exclusives with developers. See, e.g., GOOG-PLAY-007329076 at GOOG-
PLAY-007329084 (Google anticipating that Samsung would compete by entering into exclusive arrangements “with
major Android game developers (e.g., $40M exclusives from Niantic)”).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 162 of 667

                                                        -124-


App Distribution Market and the In-App Aftermarket.568 Within the “Game” category (by far the
largest), over 99 percent of Apps have a take rate above percent in the In-App Aftermarket.

        259. To the extent that some developers received discounts from Google’s 30 percent
take rate in the actual world, such discounts would be similarly negotiated in the competitive but-
for world.569 Moreover, a Google witness has testified that although Google has offered lower
take rates for “some programs for certain categories of developers…we don’t, outside the context
of those programs, wouldn’t be negotiating it individually with developers on rev share.” 570 This
pricing structure, and Google’s policy limiting negotiation of take rates with individual developers,
implies class-wide impact, as all or almost all developers would pay a lower take rate in a more
competitive world, and would pass on a portion of the savings to all or almost all Class members.571
In Part VII below, I show how to compute damages for individual Class members based on their
purchases; the data and inputs to these calculations are common to the Class.

G.       Lower Prices Would Enhance Demand for Apps and In-App Content and Lower
         Take Rates Would Enhance the Supply of Apps and In-App Content Leading To
         Increased Output Relative to the Actual World

       260. A foundational principle in economics is that “demand curves” are downward
sloping—meaning that, all else equal, consumers will demand more of a product or service the
lower its price.572 How much more will be demanded depends on the consumer elasticity of the
demand response to lower prices for Apps and In-App Content. As developers steer consumers to
lower-cost app stores or payment processors in the but-for world via lower prices, consumers
would respond by making more paid App downloads and purchases of In-App Content. This
phenomenon can be understood graphically as a movement down the demand curve, resulting in
higher output.

        261. In a similar vein, the supply of Apps and In-App Content would increase as
developers receive more for their Apps and In-App Content. Currently, developers receive only
approximately 70 percent of the revenues generated from paid Apps and In-App Content in light
of Google’s take rate. Absent the Challenged Conduct, developers would realize larger proceeds,
which would bring forward more App and In-App Content development, commensurate with a
shifting out of the supply curve. Indeed, Google recognized that take-rate reductions, leading to
higher revenues (price less commission) paid to developers, could increase output: In announcing
its reduction in its commission to 15% for the first $1 million in revenue, Google’s Vice President
of Product Management explained that the new policy would provide “funds that can help


     568. See Table 3, supra, Row 6; see also Table 5, supra, Row 3.
     569. Hal J. Singer and Robert Kulick, Class Certification in Antitrust Cases: An Economic Framework, 17
GEORGE MASON LAW REVIEW (2010); Hal Singer, Economic Evidence of Common Impact for Class Certification in
Antitrust Cases: A Two-Step Analysis, 25(3) ABA’S ANTITRUST (2011).
     570. Rosenberg Dep. at 123:22-124:23 (further testifying that “We had – we had interest in advancing the
ecosystem as a collective, and so that was a principle from the beginning”).
     571. To illustrate, suppose that Google’s overall take rate falls from 30 percent in the actual world to 20 percent
in the but-for world. A developer paying a 15 percent take rate in the actual world would pay a take rate of 10 percent
in the but-for world (equal to 15*(20/30). This lower take rate would then be passed on to Class members in the form
of lower prices.
     572. See, e.g., GEORGE STIGLER, THE THEORY OF PRICE 23 (McMillan 3rd ed. 1987) (“The ‘demand curve’ is
the geometrical expression of the relationship between quantity purchased and price, and our law of demand says that
demand curves have a negative slope.”).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 163 of 667

                                                         -125-


developers scale up at a critical phase of their growth by hiring more engineers, adding to their
marketing staff, increasing server capacity, and more.”573

        262. There is no reason why the markets for Apps and In-App Content are any different
from other markets where demand increases as prices fall. Indeed, my estimated elasticities of
demand confirm this relationship. Accordingly, a reduction in the prices to consumers of Apps and
In-App Content, which would result from a removal of Google’s anti-competitive restrictions in
the two relevant antitrust markets, would translate directly into enhanced demand for Apps and In-
App Content. Given the digital nature of the products in both markets and thus the largely fixed
cost of supplying both products574—the initial App and In-App Content—increased demand would
translate into additional output for both products.

        263. To show the output effect for each year in the Class Period from 2016 through 2020
(the latest available annual data), I begin with the aggregate commissions paid by developers to
Google. The average actual take rates on paid downloads in the Android App Distribution Market
was       percent and the average actual take rates on paid purchases of In-App Content was
percent. According to my two-sided market model, the average competitive take rate in the
Android App Distribution Market would be 23.4 percent. According to my economic model, the
average competitive take rate in the In-App Aftermarket would be 14.8 percent.

        264. Developers’ prices to consumers are influenced by the take rate and the pass-
through rate. A pass-through rate of 89.9 percent (which I estimate in Section V.D.3 and use in
my analysis in Sections V.B and V.C) implies a new average price in the Android App Distribution
Market of $3.67 and a new average price in the In-App Aftermarket of $7.65, as shown in Tables
3 and 5, respectively. Consequently, Class members on average would have spent $0.30 less per
transaction in the Android App Distribution Market and $1.34 less per transaction in the In-App
Aftermarket.

       265. To convert the price reductions into output effects, I apply a price elasticity of
demand for initial App downloads and In-App Content of 1.5, using the estimate of the market-
wide elasticity of demand in the In-App Aftermarket as shown in Table 5.575 Applying these
estimates to the average price declines for purchases of Apps and In-App Content yields a 11.5
percent increase in initial downloads of paid Apps and a 22.3 percent increase in purchases of In-
App Content, holding elasticity constant.576 Accordingly, the Challenged Conduct can be said to
have suppressed output relative to competitive but-for-world levels.




     573. Sameer Samat (Google Vice President, Product Management), Boosting Developer Success on Google
Play (Mar. 16, 2021), available at android-developers.googleblog.com/2021/03/boosting-dev-success.html.
     574. The marginal cost is the developers’ marginal cost, plus the marginal cost of the record keeping, server
hosting, auto updating, security, and authorization services that Google currently performs.
     575. For the purpose of illustrating demand response I apply a single elasticity of 1.5 to each market, though
separate elasticities for each market can be estimated. In addition, Ghose and Han (2014) estimate the elasticity of
demand of Apps in the Android App Distribution Market at 3.7. See Anindya Ghose & Sang Pil Han, Estimating
Demand for Mobile Applications in the New Economy, 60(6) MANAGEMENT SCIENCE 1470-1488 (2014).
     576. In the Android App Distribution Market, an overcharge of $0.38 translates to a 9.6 percent decrease relative
to the actual price of $3.97; the 9.6 percent decrease multiplied by an elasticity of 1.5 equals 14 percent. In the In-App
Aftermarket, an overcharge of $1.34 translates to a 14.9 percent decrease relative to the actual price of $8.99; the 14.9
percent decrease multiplied by an elasticity of 1.5 equals 22 percent.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 164 of 667

                                                      -126-


        266. In addition to these direct output effects, the but-for world is likely to be
characterized by increased innovation by software developers, which would redound to the benefit
of consumers in the form of enhancements to quality, quantity, and consumer choice in both the
Android App Distribution Market and In-App Aftermarket. For example, lower take rates would
allow developers to reinvest to improve their products by “hiring more engineers, adding to their
marketing staff, increasing server capacity, and more,” just as Google recognized in launching its
reduction in take rate for the first $1 million in developer revenue.577 Record evidence indicates
that Google was optimistic about the impact of a reduced take rate on developers, with one
executive writing that “we’re confident that this investment back into the developer community,
particularly smaller ones, will lead to increased innovation, resulting in more choice and lower
price for users.”578 Increased competition would also allow developers to meaningfully improve
the quality of their payment solutions. Even YouTube, which used its own billing system instead
of Google Play Billing, recognized that integrating Google Play Billing “limits innovation in
relation to billing.”579

         267. Because the counterfactual experiment lies at the heart of antitrust analysis,580
which involves comparing actual output against output but for the Challenged Conduct, output
effects can occur even against a background of expanding output in the relevant market.581 Output
effects here take the form of fewer Apps downloaded and fewer purchases of In-App Content than
would have otherwise occurred. Because the demand for such goods falls as their prices rise (that
is, the demand curves slope downward), it follows that output contracted, even though in the In-
App Aftermarket we observe output increasing over the Class Period. In other words, the but-for
competitive output curves sit strictly above the actual output curves, illustrated in Figures 8 and 9
below.




     577. Sameer Samat (Google Vice President, Product Management), Boosting Developer Success on Google Play
(Mar. 16, 2021), available at android-developers.googleblog.com/2021/03/boosting-dev-success.html.
     578. GOOG-PLAY-002358233 at GOOG-PLAY-002358236.
     579. GOOG-PLAY-001088593, at GOOG-PLAY-001088596.
     580. Theon van Dijk & Frank Verboven, Quantification of Damages, in 3 ISSUES IN COMPETITION LAW AND
POLICY 2331, 2332 (ABA Section of Antitrust Law 2008) (“The difference between this counterfactual world and the
actual world provides the measurement of damages”).
     581. John Newman, The Output-Welfare Fallacy: A Modern Antitrust Paradox, 107(2) IOWA L. REV. (2022
forthcoming) (explaining the “The trial court found_that_AmEx’s no-steering rules had increased retail prices for
nearly every consumer product sold in the United States (among other ill effects),” implying output effects per the
appropriate counterfactual exercise.).
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 165 of 667

                                             -127-


            FIGURE 8: OUTPUT EFFECTS IN THE ANDROID APP DISTRIBUTION MARKET




                   FIGURE 9: OUTPUT EFFECTS IN THE IN-APP AFTERMARKET




H.     In the Competitive But-For World, Google Would Still Make a Profit from the Play
       Store

        268. Eliminating Google’s anticompetitive restraints would allow developers to use
alternative app stores and be free from the first download onward to choose a payment processor
and other suppliers of services that support the purchase of In-App Content. Ex ante competition
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 166 of 667

                                                        -128-


to be an alternative source of Apps or to become a default payment processor for a developer
would result in competitive take rates. And lower take rates would redound to the benefit of
consumers in the form of lower prices, as developers competed for the loyalties of consumers.582

        269. Eliminating the Challenged Conduct would result in Google earning smaller
margins relative to what it currently earns. One can solve for the implied Play Store profits in my
competitive but-for world. For example, in 2020, excluding advertising revenue, and assuming
Google preserves a 60 percent market share, the Play Store would have earned gross profit of
        in the competitive but-for world. Assuming conservatively that operating expenses and
infrastructure costs would have remained the same in the competitive but-for world, the Play Store
still would have earned                 in operating profit in the competitive but-for world (again
excluding advertising). Once advertising is included, the Play Store’s 2020 but-for profit is
        583
            Performing analogous calculations for 2021, the Play Store would have earned an
estimated gross profit of              and operating profit of               in the competitive but-
for world (again excluding advertising). Once advertising is included, the Play Store’s 2021 but-
for profit is estimated at             .584

I.       In the Absence of the Challenged Conduct, Google Would Refrain from Imposing a
         Fee on Consumers for Initial Downloads, Including on Free Apps

        270. Because a large user base is critical, two-sided digital platform operators, such as
Google, are often incentivized to provide free access to users or even to subsidize access to users.585
This approach allows two-sided digital platforms to get “both sides on board.” Encouraging use of
the platform by one group may come at a cost to the platform operator, but it serves to attract the
group on the opposite side of the platform.586 In the instant setting, allowing consumers to browse
the Play Store for free and download free apps creates a benefit to Google above the cost to create
and maintain the app store due to the indirect network effects in attracting more developers and
additional money Google can make by attracting advertisers. Google’s network-driven incentive
to “capture” as many users as possible by drawing them into the Google ecosystem (including the
GMS suite) would not change in the absence of its anticompetitive conduct. Google would
continue to benefit from indirect network effects even without its various restrictions—the more
Apps it can attract, the more consumers will come to its platform—although its take rates on
positively-priced Apps would be lower. However, any reduction in revenue from a lower take rate
would be more than offset by the advertising revenue generated from maintaining its user base.


     582. In the face of regulatory pressure, Google recently announced that it will it allow users in South Korea to
use different in-app payment options, including in-app payment systems developed by app developers; Google will
consequently decrease its take rate by four percentage points (from 15 percent to 11 percent). See Yoon Seon-hoon,
Google to abide by the ‘forced in-app payment law’, iNews24 (Nov. 4, 2021), available at
n.news.naver.com/article/031/0000633296. In the competitive world contemplated here, Google would not be able to
impose a take rate on in-app transactions unless Google were selected to be the payment processor by the developer.
     583. GOOG-PLAY-000416245, GOOG-PLAY-001090227.
     584. GOOG-PLAY-010801680, GOOG-PLAY-010801682.
     585. See, e.g., Thomas Eisenmann, Geoffrey Parker, and Marshall W. Van Alstyne, Strategies for Two-Sided
Markets, HARVARD BUSINESS REVIEW 3-4, (2006) (“Because the number of subsidy-side users is crucial to developing
strong network effects, the platform provider sets prices for that side below the level it would charge if it viewed the
subsidy-side as an independent market.”). See also Mark Armstrong & Julian Wright, Two-sided markets, competitive
bottlenecks and exclusive contracts, 32 ECONOMIC THEORY 353-380, 359 (2007) (“If attracting one group (say buyers)
makes the platform particularly attractive to the other group (say sellers), then buyers will be ‘subsidized.’”).
     586. Rochet & Tirole at 991 (2003).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 167 of 667

                                                     -129-


Google also would continue to obtain information about users, just as it does from its other apps
in its GMS suite, which the company monetizes through the delivery of targeted ads to users.

         271. Accordingly, Google likely would not impose even a modest fee on consumers for
downloads of free Apps. Any attempt by Google to impose a transaction fee on consumers for free
downloads would run counter to the company’s basic business model and history to provide a
widening array of free Apps or functionalities—such as Search, Maps, Gmail, You Tube, Chrome,
and other Apps in its GMS suite—to consumers, but then collecting and monetizing information
from consumers to realize and improve Google’s targeted digital advertising. Imposing a fee on
initial downloads would discourage consumers from downloading Apps through the Play Store,
which in turn would jeopardize advertising revenues from the Play Store. Indeed, in 2020, Google
earned               in the sale of ads that appeared in the Play Store, with almost all of those
revenues falling to the bottom line.587 Getting users on the Play Store lifts Google’s advertising
revenues above and beyond those earned on the Play Store, as those users are more inclined to
remain in an Android environment, supporting other Google Apps. Moreover, the form-of-
payment information, including a user’s billing address, provides further personal identifying
information for Google’s advertising businesses. Advertising across the entire suite of Google’s
offerings accounts for over 80 percent of Google’s total revenues.588 By imposing a download fee
on free Apps, Google would lose advertising revenue as some consumers ceased to use the Play
Store and some advertisers would then not pay as much for ads or would stop advertising.589

        272. Moreover, many Apps may be considered “experiential products,”590 meaning that
a consumer cannot discover its usefulness until they have downloaded the App and explored its
functionalities. That consumers are accustomed to downloading Apps for free likely explains
consumers’ observed sensitivity to prices for paid Apps.591 Imposing a fee on formerly free Apps
would undermine this discovery process and thereby lower the value of the Play Store for
consumers. Discouraging consumers from installing new Apps would also undermine the indirect
network effects that Google is trying to harness—namely, a large customer base that attracts more
developers to its platform and generates more advertising revenue. Google would still have an
incentive to provide consumers access to free Apps (to try the Apps) because that is what sells the
Apps and leads to purchases of paid In-App Content. In this respect, developers’ and Google’s
incentives are aligned, competitive take rate or not. There is no reason to believe the business
model of free initial App downloads would be eliminated because both Google and developers still
want consumers to try and get hooked on Apps.

        273. When Google cut its take rate from 30 percent to 15 percent for subscriptions longer
than a year in 2018, or for all subscription revenue in 2022, it did not seek to offset the lost revenue
by charging for Apps that were once free. Similarly, Google did not announce any increase in the


    587. GOOG-PLAY-001090227.
    588. Statista,     Advertising   revenue      of   Google     from      2001     to 2020,   available      at
www.statista.com/statistics/266249/advertising-revenue-of-google/ (“In 2020, Google's ad revenue amounted to
146.92 billion US dollars…Advertising accounts for the majority of Google’s revenue, which amounted to a total of
181.69 billion U.S. dollars in 2020.”). See also GOOG-PLAY-004113976 at GOOG-PLAY-004113979 (a 2015
presentation showing that “Core Ads” were responsible for 87 percent of total revenue).
    589. Rosenberg Dep. at 410:8-413:14.
    590. See, e.g., Allison Kidd, Technology experiences: what makes them compelling?, HPLabs Technical Report
(2001).
    591. Anindya Ghose & Sang Pil Han, Estimating Demand for Mobile Applications in the New Economy, 60(6)
MANAGEMENT SCIENCE 1470-1488 (2014) (estimating an elasticity of demand among users of the Play Store of -3.7).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 168 of 667

                                                   -130-


take rate in the Android App Distribution Market in conjunction with its plans to offer a 15 percent
take rate on the first $1 million in revenue for all developers in 2021. This evidence suggests that,
in the competitive but-for world where Google would have to lower its take rate due to
competition, it would still not seek to offset the lost revenue by charging consumers for
downloading previously free Apps.

 VI. ESTIMATION OF AGGREGATE DAMAGES CAN BE PERFORMED WITH COMMON METHODS
                                 AND EVIDENCE

        274. Class members’ aggregate damages are computed using the overcharges calculated
in Parts V.B (Table 3) and V.C (Table 5). These damages are presented in Table 11. In Appendix
6, I break down these damages by U.S. state and territory.

               TABLE 11: AGGREGATE DAMAGES SUMMARY, 8/16/2016 – 12/31/2020
                                        Android App
                                                           In-App
                                         Distribution
                                                         Aftermarket       Total
                                           Market
                                                          (Table 5)
                                          (Table 3)




Notes: Total prices and overcharge are weighted averages across both markets. Quantities reflect paid
transactions only.

        275. Table 12 summarizes aggregate damages in the combined Android App
Distribution Market and In-App Aftermarket under the modeling scenario where the locus of
competition is on the consumer subsidy (as presented in Section V.E and Table 10), and under the
combined markets take rate competition model, where competition occurs only with respect to the
take rate in a single, combined market (as presented in Appendix 4 and Table A4).

          TABLE 12: AGGREGATE DAMAGES SUMMARY, PLAY POINTS AND SINGLE MARKET TAKE
                           RATE MODEL, 8/16/2016 – 12/31/2020
                                                     Play Points Take Rate
                                                    Competition Competition
                                                     (Table 10)  (Table A4)




Note: Quantities reflect paid transactions only.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 169 of 667

                                                    -131-


   VII.    ESTIMATION OF CLASS-MEMBER-SPECIFIC DAMAGES CAN BE PERFORMED WITH
                            COMMON METHODS AND EVIDENCE
      276. I present a formula for computing a given Class member’s damages based on the
member’s purchase history. While individual damages will depend on the individual purchases
made by each consumer, the methodology for computing Class member-specific damages is
common to the Class.592

       277. An individual consumer’s damages are equal to the quantity purchased of each
product multiplied by the difference between the actual and but-for price paid for her purchases in
the Android App Distribution Market and the In-App Aftermarket. Mathematically, individual
damages can be expressed as:

                     Damages            OC_AD       𝑄_𝐴𝐷           OC_AM        𝑄_𝐴𝑀


where OC_ADi represents the overcharge in the Android App Distribution Market (for paid
apps)—that is, difference between the actual price and the but-for price. The term Q_ADi
represents the actual quantity purchased by a Class member in the Android App Distribution
Market. Similarly, OC_AMj represents the overcharge in the In-App Aftermarket (for In-App
Content), and Q_AMj represents the actual quantity purchased by a Class member in the In-App
Aftermarket.593
        278. The actual purchase quantities for each Class member (Q_ADi and Q_AMj) are
reported in Google’s transactional data. The overcharges are calculated from the economic models
reviewed above. Specifically, OC_ADi is calculated using the two-sided market model presented
in Section V.B, and OC_AMj is calculated using the one-sided market model presented in Section
V.C.

       279. The overcharges depend on (1) how much the take rate falls in the competitive but-
for world; and (2) the extent to which the lower take rate is passed on in the form of lower prices.
With respect to (2), I have calculated pass-through rates for different developer categories in
Section V.D above. A Class member’s damages will therefore depend on the category of apps that
the customer purchased. All else equal, the higher is the pass-through rate of the category
purchased by a particular Class member, the higher that Class member’s damages will be.

        280. With respect to (1), the drop in the take rate will often be similar or identical across
categories: Most categories have similar (or identical) take rates in the actual world, and would
also have similar (or identical) take rates in the but-for world. Nevertheless, I allow for variation
in the but-for take rate across categories as follows: Suppose that the overall take rate is 30 percent
in the actual world, and that a given category has an actual take rate of 29 percent. Suppose further
that the overall but-for take rate is 20 percent. The category’s but-for take rate would be calculated


    592. For ease of exposition and presentation, here I present Class member-specific damages based on a Class
member’s purchases within each of Google’s 35 categories. However, the same common framework could also be
applied at the level of the developer. Class member-specific damages would then be calculated based on a Class
member’s expenditures at different developers, instead of different categories.
    593. The summation operator (∑) is used because a Class member may have multiple transactions in the
Android App Distribution Market and the In-App Aftermarket.
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 170 of 667

                                                -132-


as [20 percent] x [29 percent]/[30 percent] = 19.33 percent. More generally, a category’s but-for
take rate is permitted to deviate from the overall but-for take rate by the same proportion in which
the category’s actual take rate deviates from the average actual take rate.

         281. To illustrate, suppose that a consumer spent $10 on Apps in the “Art and Design”
category in the Android App Distribution Market, as illustrated in the first row of Table 13 below.
The actual take rate for the “Art and Design” category is       percent, and the but-for take rate for
that same category is 23.2 percent. The pass-through rate for “Art and Design” is 67 percent. Given
these inputs, the Class member’s expenditures would fall to $9.47 in the but-for world. To see this,
let Pb represent the consumer’s but-for expenditures. Let ta and tb represent the actual and but-for
take rates, and let γ be the pass-through rate. The difference between the Class member’s actual
and but-for expenditures is [$10 - Pb]. This difference satisfies the following equation:

                                    [$10 - Pb] = γ[$10ta - Pbtb].
       282. Solving for Pb, we obtain Pb =$10x([1- γta]/[1 - γtb]). Inserting the inputs from the
“Art and Design” category, we have Pb =$10x([1- 0.67*0.299]/[1 - 0.67*0.232]) = $9.47. Thus, a
Class member with $10 of expenditures in the “Art and Design” category of the Android App
Distribution Market would have damages of $10 - $9.47 = $0.53. In other words, damages would
equal 5.3 percent of expenditures (equal to $0.53/$10). Comparable calculations are performed for
each remaining category in subsequent rows of Table 13.
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 171 of 667

                                                    -133-


   TABLE 13: ILLUSTRATIVE CLASS MEMBER DAMAGES: ANDROID APP DISTRIBUTION MARKET
                                                      But-
                                           Actual     For      Pass-                               CM
                                CM         Take       Take    Through     But-For       CM      Overcharge
 Category                    Expenditure    Rate      Rate     Rate     Expenditure   Damages      (%)
 ART_AND_DESIGN                $10.00      29.9%      23.2%    67%         $9.47       $0.53      5.3%
 AUTO_AND_VEHICLES             $10.00      29.9%      23.2%    82%         $9.32       $0.68      6.8%
 BEAUTY                        $10.00      30.0%      23.3%    25%         $9.82       $0.18      1.8%
 BOOKS_AND_REFERENCE           $10.00      29.7%      23.0%    80%         $9.34       $0.66      6.6%
 BUSINESS                      $10.00      29.7%      23.0%    82%         $9.33       $0.67      6.7%
 COMICS                        $10.00      29.5%      22.9%    56%         $9.58       $0.42      4.2%
 COMMUNICATION                 $10.00      29.9%      23.2%    87%         $9.27       $0.73      7.3%
 DATING                        $10.00      29.9%      23.2%    82%         $9.32       $0.68      6.8%
 EDUCATION                     $10.00      29.8%      23.1%    92%         $9.22       $0.78      7.8%
 ENTERTAINMENT                 $10.00      29.8%      23.1%    84%         $9.31       $0.69      6.9%
 EVENTS                        $10.00      30.0%      23.3%    62%         $9.51       $0.49      4.9%
 FINANCE                       $10.00      29.9%      23.2%    70%         $9.44       $0.56      5.6%
 FOOD_AND_DRINK                $10.00      29.9%      23.2%    77%         $9.37       $0.63      6.3%
 GAME                          $10.00      29.7%      23.1%    92%         $9.22       $0.78      7.8%
 HEALTH_AND_FITNESS            $10.00      30.0%      23.3%    95%         $9.18       $0.82      8.2%
 HOUSE_AND_HOME                $10.00      29.8%      23.2%    60%         $9.54       $0.46      4.6%
 LIBRARIES_AND_DEMO            $10.00      29.8%      23.1%    58%         $9.55       $0.45      4.5%
 LIFESTYLE                     $10.00      29.9%      23.2%    68%         $9.46       $0.54      5.4%
 MAPS_AND_NAVIGATION           $10.00      29.8%      23.1%    82%         $9.32       $0.68      6.8%
 MEDIA_AND_VIDEO               $10.00      29.5%      22.9%    88%         $9.27       $0.73      7.3%
 MEDICAL                       $10.00      29.9%      23.2%    93%         $9.21       $0.79      7.9%
 MUSIC_AND_AUDIO               $10.00      29.8%      23.2%    41%         $9.70       $0.30      3.0%
 NEWS_AND_MAGAZINES            $10.00      29.8%      23.1%    86%         $9.29       $0.71      7.1%
 PARENTING                     $10.00      30.0%      23.3%    79%         $9.35       $0.65      6.5%
 PERSONALIZATION               $10.00      29.9%      23.2%    90%         $9.23       $0.77      7.7%
 PHOTOGRAPHY                   $10.00      29.8%      23.1%    91%         $9.23       $0.77      7.7%
 PRODUCTIVITY                  $10.00      29.8%      23.1%    89%         $9.26       $0.74      7.4%
 SHOPPING                      $10.00      29.9%      23.2%    47%         $9.64       $0.36      3.6%
 SOCIAL                        $10.00      29.9%      23.2%    89%         $9.25       $0.75      7.5%
 SPORTS                        $10.00      29.9%      23.2%    81%         $9.34       $0.66      6.6%
 TOOLS                         $10.00      29.8%      23.1%    96%         $9.18       $0.82      8.2%
 TRANSPORTATION                $10.00      29.9%      23.2%    92%         $9.22       $0.78      7.8%
 TRAVEL_AND_LOCAL              $10.00      29.8%      23.1%    89%         $9.25       $0.75      7.5%
 VIDEO_PLAYERS                 $10.00      29.7%      23.0%    88%         $9.27       $0.73      7.3%
 WEATHER                       $10.00      29.9%      23.2%    79%         $9.35       $0.65      6.5%
        283. Table 14 below performs comparable calculations for the In-App Aftermarket. For
example, suppose that a Class member spent $10 on in-app purchases in the “Game” category.
This category has an actual take rate of 30.0 percent, a but-for take rate of 15.2 percent, and a pass-
through rate of 92 percent. Applying the prior formula, the Class member’s but-for expenditures
are $10x([1- 0.92*0.30]/ [1 - 0.92*0.152]) = $8.42. This yields damages of $10 - $8.42 = $1.58
for each $10 of Class member expenditures in the “Game” category of the In-App Aftermarket. In
other words, damages would be 15.8 percent of expenditures (equal to $1.58/$10).
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 172 of 667

                                                -134-


           TABLE 14: ILLUSTRATIVE CLASS MEMBER DAMAGES: IN- APP AFTERMARKET
                                                  But-
                                       Actual     For      Pass-                               CM
                            CM         Take       Take    Through     But-For       CM      Overcharge
Category                 Expenditure    Rate      Rate     Rate     Expenditure   Damages      (%)
ART_AND_DESIGN             $10.00      28.2%      14.3%    67%         $8.97       $1.03      10.3%
AUTO_AND_VEHICLES          $10.00      29.2%      14.8%    82%         $8.65       $1.35      13.5%
BEAUTY                     $10.00      25.9%      13.2%    25%         $9.67       $0.33      3.3%
BOOKS_AND_REFERENCE        $10.00      29.5%      15.0%    80%         $8.67       $1.33      13.3%
BUSINESS                   $10.00      27.6%      14.0%    82%         $8.75       $1.25      12.5%
COMICS                     $10.00      29.6%      15.0%    56%         $9.12       $0.88      8.8%
COMMUNICATION              $10.00      28.9%      14.7%    87%         $8.59       $1.41      14.1%
DATING                     $10.00      29.5%      15.0%    82%         $8.64       $1.36      13.6%
EDUCATION                  $10.00      28.3%      14.4%    92%         $8.52       $1.48      14.8%
ENTERTAINMENT              $10.00      19.7%      10.0%    84%         $9.12       $0.88      8.8%
EVENTS                     $10.00      29.9%      15.2%    62%         $9.00       $1.00      10.0%
FINANCE                    $10.00      27.6%      14.0%    70%         $8.95       $1.05      10.5%
FOOD_AND_DRINK             $10.00      28.1%      14.3%    77%         $8.80       $1.20      12.0%
GAME                       $10.00      30.0%      15.2%    92%         $8.42       $1.58      15.8%
HEALTH_AND_FITNESS         $10.00      27.3%      13.9%    95%         $8.53       $1.47      14.7%
HOUSE_AND_HOME             $10.00      28.5%      14.5%    60%         $9.08       $0.92      9.2%
LIBRARIES_AND_DEMO         $10.00      29.8%      15.2%    58%         $9.07       $0.93      9.3%
LIFESTYLE                  $10.00      28.5%      14.5%    68%         $8.94       $1.06      10.6%
MAPS_AND_NAVIGATION        $10.00      28.5%      14.5%    82%         $8.69       $1.31      13.1%
MEDIA_AND_VIDEO            $10.00      29.8%      15.2%    88%         $8.50       $1.50      15.0%
MEDICAL                    $10.00      27.5%      14.0%    93%         $8.56       $1.44      14.4%
MUSIC_AND_AUDIO            $10.00      19.1%      9.7%     41%         $9.60       $0.40      4.0%
NEWS_AND_MAGAZINES         $10.00      22.5%      11.4%    86%         $8.95       $1.05      10.5%
PARENTING                  $10.00      28.1%      14.3%    79%         $8.77       $1.23      12.3%
PERSONALIZATION            $10.00      29.5%      15.0%    90%         $8.49       $1.51      15.1%
PHOTOGRAPHY                $10.00      28.1%      14.3%    91%         $8.56       $1.44      14.4%
PRODUCTIVITY               $10.00      26.7%      13.6%    89%         $8.68       $1.32      13.2%
SHOPPING                   $10.00      29.7%      15.1%    47%         $9.26       $0.74      7.4%
SOCIAL                     $10.00      29.7%      15.1%    89%         $8.49       $1.51      15.1%
SPORTS                     $10.00      22.7%      11.6%    81%         $9.01       $0.99      9.9%
TOOLS                      $10.00      27.7%      14.1%    96%         $8.49       $1.51      15.1%
TRANSPORTATION             $10.00      29.8%      15.1%    92%         $8.44       $1.56      15.6%
TRAVEL_AND_LOCAL           $10.00      28.2%      14.3%    89%         $8.59       $1.41      14.1%
VIDEO_PLAYERS              $10.00      28.5%      14.5%    88%         $8.59       $1.41      14.1%
WEATHER                    $10.00      27.2%      13.8%    79%         $8.80       $1.20      12.0%
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 173 of 667

                                            -135-



                                        CONCLUSION
      284. For the foregoing reasons, I conclude that the Challenged Conduct resulted in Class
members overpaying for initial downloads from the Play Store and for the associated In-App
Content.

                                        *     *      *


       Hal J. Singer, Ph.D.:




       Executed on February 28, 2022.
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 174 of 667

                                               -136-


                      APPENDIX 1: CURRICULUM VITAE OF HAL J. SINGER




Hal J. Singer

                Econ One Research
                Suite 510 805 15th St., N.W.
                Washington, D.C. 20005
                Phone: 202.312.3065
                hsinger@econone.com

Education

                Ph.D., The John Hopkins University, 1999; M.A. 1996, Economics

                B.S., Tulane University, magna cum laude, 1994, Economics. Dean’s Honor
                Scholar (full academic scholarship). Senior Scholar Prize in Economics.

Current Positions

                ECON ONE, Washington, D.C.: Managing Director 2018-present.

                GEORGETOWN UNIVERSITY, MCDONOUGH SCHOOL OF BUSINESS,
                Washington, D.C.: Adjunct Professor 2010, 2014, 2016, 2018, 2019, 2020, 2021,
                2022.

                GEORGE WASHINGTON UNIVERSITY, SCHOOL OF PUBLIC POLICY,
                GEORGE WASHINGTON INSTITUTE FOR PUBLIC POLICY, Washington,
                D.C.: Senior Fellow 2016-present.

Employment History

                ECONOMISTS INCORPORATED, Washington, D.C.: Principal 2014-2018.

                NAVIGANT ECONOMICS, Washington, D.C.: Managing Director, 2010-2013.

                EMPIRIS, L.L.C., Washington, D.C.: Managing Partner and President, 2008-
                2010.

                CRITERION ECONOMICS, L.L.C., Washington, D.C.: President, 2004-2008.
                Senior Vice President, 1999-2004.

                LECG, INC., Washington, D.C.: Senior Economist, 1998-1999.

                U.S. SECURITIES AND EXCHANGE COMMISSION, OFFICE OF
                ECONOMIC ANALYSIS, Washington, D.C.: Staff Economist, 1997-1998.
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 175 of 667

                                         -137-


            THE JOHNS HOPKINS UNIVERSITY, ECONOMICS DEPARTMENT,
            Baltimore: Teaching Assistant, 1996-1998.

Honors

            Honoree, Outstanding Antitrust Litigation Achievement in Economics, American
            Antitrust Institute, In re Lidoderm Antitrust Litigation, Oct. 9, 2018.

            Finalist, Outstanding Antitrust Litigation Achievement in Economics, American
            Antitrust Institute, Tennis Channel v. Comcast, Dec. 4, 2013.

Authored Books and Book Chapters

            Do Municipal Broadband Networks Stimulate or Crowd Out Private Investment?
            An Empirical Analysis of Employment Effects, in THE IMPACT OF THE
            INTERNET ON JOBS (Lorenzo Pupillo, ed. Palgrave 2017).

            THE NEED FOR SPEED: A NEW FRAMEWORK FOR
            TELECOMMUNICATIONS POLICY FOR THE 21ST CENTURY, co-authored
            with Robert Litan (Brookings Press 2013).

            Net Neutrality Is Bad Broadband Regulation, co-authored with Robert Litan, in
            THE ECONOMISTS’ VOICE 2.0: THE FINANCIAL CRISIS, HEALTH CARE
            REFORM AND MORE (Aaron Edlin and Joseph Stiglitz, eds., Columbia
            University Press 2012).

            Valuing Life Settlements as a Real Option, co-authored with Joseph R. Mason, in
            LONGEVITY TRADING AND LIFE SETTLEMENTS (Vishaal Bhuyan ed.,
            John Wiley & Sons 2009).

            An Antitrust Analysis of the World Trade Organization’s Decision in the U.S.-
            Mexico Arbitration on Telecommunications Services, co- authored with J.
            Gregory Sidak, in HANDBOOK OF TRANS-ATLANTIC ANTITRUST (Philip
            Marsden, ed. Edward Elgar 2006).

            BROADBAND IN EUROPE: HOW BRUSSELS CAN WIRE THE
            INFORMATION SOCIETY, co-authored with Dan Maldoom, Richard Marsden
            and J. Gregory Sidak (Kluwer/Springer Press 2005).

            Are Vertically Integrated DSL Providers Squeezing Unaffiliated ISPs (and Should
            We Care)?, co-authored with Robert W. Crandall, in ACCESS PRICING:
            THEORY, PRACTICE AND EMPIRICAL EVIDENCE (Justus Haucap and Ralf
            Dewenter eds., Elsevier Press 2005).
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 176 of 667

                                           -138-


Journal Articles

             Antitrust Anachronism: The Interracial Wealth Transfer in Collegiate Athletics
             Under the Consumer Welfare Standard, ANTITRUST BULLETIN (2021), co-
             authored with Ted Tatos.

             Competing Approaches to Antitrust: An Application in the Payment Card
             Industry, 27(3) GEORGE MASON LAW REVIEW (2020), co-authored with
             Kevin Caves.

             Understanding the Economics in the Dispute Between the Writers’ Guild of
             America and the Big Four Talent Agencies, COMPETITION POLICY
             INTERNATIONAL ANTITRUST CHRONICLE (2020), co-authored with Ted
             Tatos.

             Antitrust Out of Focus: The FTC’s Myopic Pursuit of 1-800 Contacts’ Trademark
             Settlements, ANTITRUST SOURCE (2019), co-authored with Geoff Manne and
             Josh Wright.

             Countervailing Coordination Rights in the News Sector Are Good for the Public
             (A Response to Professor Yun), COMPETITION POLICY INTERNATIONAL
             ANTITRUST CHRONICLE (2019), co-authored with Sanjukta Paul.

             When the Econometrician Shrugged: Identifying and Plugging Gaps in the
             Consumer Welfare Standard, 26 GEORGE MASON LAW REVIEW (2019), co-
             authored with Kevin Caves.

             Applied Econometrics: When Can an Omitted Variable Invalidate a Regression?,
             ANTITRUST SOURCE (2017), co-authored with Kevin Caves.

             Paid Prioritization and Zero Rating: Why Antitrust Cannot Reach the Part of Net
             Neutrality Everyone Is Concerned About, ANTITRUST SOURCE (2017).

             The Curious Absence of Economic Analysis at the Federal Communications
             Commission: An Agency in Search of a Mission, INTERNATIONAL JOURNAL
             OF COMMUNICATIONS (2017), co-authored with Gerald Faulhaber and
             Augustus Urschel.

             On the Utility of Surrogates for Rule of Reason Cases, COMPETITION POLICY
             INTERNATIONAL ANTITRUST CHRONICLE (2015), co-authored with Kevin
             Caves.

             Analyzing High-Tech Employee: The Dos and Don’ts of Proving (and
             Disproving) Classwide Antitrust Impact in Wage Suppression Cases,”
             ANTITRUST SOURCE (2015), co-authored with Kevin Caves.

             Econometric Tests for Analyzing Common Impact, 26 RESEARCH IN LAW
             AND ECONOMICS (2014), co-authored with Kevin Caves.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 177 of 667

                                     -139-



       Life After Comcast: The Economist’s Obligation to Decompose Damages Across
       Theories of Harm, ANTITRUST (Spring 2014), co-authored with Kevin Caves.

       Is the U.S. Government’s Internet Policy Broken?, 5 POLICY AND INTERNET
       (2013), co-authored with Robert Hahn.

       Avoiding Rent-Seeking in Secondary Market Spectrum Transactions, 65
       FEDERAL COMMUNICATIONS LAW JOURNAL (2013), co-authored with
       Jeffrey Eisenach.

       Vertical Integration in Multichannel Television Markets: A Study of Regional
       Sports Networks, 12(1) REVIEW OF NETWORK ECONOMICS (2013), co-
       authored with Kevin Caves and Chris Holt.

       Assessing Bundled and Share-Based Loyalty Rebates: Application to the
       Pharmaceutical Industry, 8(4) JOURNAL OF COMPETITION LAW AND
       ECONOMICS (2012), co-authored with Kevin Caves.

       Lessons from Kahneman’s Thinking Fast and Slow: Does Behavioral Economics
       Have a Role in Antitrust Analysis?, ANTITRUST SOURCE (2012), co-authored
       with Andrew Card.

       Assessing Competition in U.S. Wireless Markets: Review of the FCC’s
       Competition Reports, 64 FEDERAL COMMUNICATIONS LAW JOURNAL
       (2012), co-authored with Gerald Faulhaber and Robert Hahn.

       An Empirical Analysis of Aftermarket Transactions by Hospitals, 28 JOURNAL
       OF CONTEMPORARY HEALTH LAW AND POLICY (2011), co-authored
       with Robert Litan and Anna Birkenbach.

       Economic Evidence of Common Impact for Class Certification in Antitrust Cases:
       A Two-Step Analysis, ANTITRUST (Summer 2011).

       Addressing the Next Wave of Internet Regulation: Toward a Workable Principle
       for Nondiscrimination, 4 REGULATION & GOVERNANCE (2010), co-authored
       with Robert Hahn and Robert Litan.

       Class Certification in Antitrust Cases: An Economic Framework, 17 GEORGE
       MASON LAW REVIEW (2010), co-authored with Robert Kulick.

       The Economic Impact of Eliminating Preemption of State Consumer Protection
       Laws, 12 UNIVERSITY OF PENNSYLVANIA JOURNAL OF BUSINESS
       LAW 781 (2010), co-authored with Joseph R. Mason and Robert B. Kulick.

       Net Neutrality Is Bad Broadband Regulation, THE ECONOMISTS’ VOICE,
       Sept. 2010, co-authored with Robert Litan.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 178 of 667

                                     -140-


       Why the iPhone Won’t Last Forever and What the Government Should Do to
       Promote its Successor, 8 JOURNAL ON TELECOMMUNICATIONS AND
       HIGH TECHNOLOGY LAW 313 (2010), co-authored with Robert W. Hahn.

       What Does an Economist Have to Say About the Calculation of Reasonable
       Royalties?, 14 INTELLECTUAL PROPERTY LAW BULLETIN 7 (2010), co-
       authored with Kyle Smith.

       Is Greater Price Transparency Needed in the Medical Device Industry?,
       HEALTH AFFAIRS (2008), co-authored with Robert W. Hahn and Keith
       Klovers.

       Evaluating Market Power with Two-Sided Demand and Preemptive Offers to
       Dissipate Monopoly Rent, 4 JOURNAL OF COMPETITION LAW &
       ECONOMICS (2008), co-authored with J. Gregory Sidak.

       Assessing Bias in Patent Infringement Cases: A Review of International Trade
       Commission Decisions, 21 HARVARD JOURNAL OF LAW AND
       TECHNOLOGY (2008), co-authored with Robert W. Hahn.

       The Effect of Incumbent Bidding in Set-Aside Auctions: An Analysis of Prices in
       the Closed and Open Segments of FCC Auction 35, 32
       TELECOMMUNICATIONS POLICY JOURNAL (2008), co-authored with Peter
       Cramton and Allan Ingraham.

       A Real-Option Approach to Valuing Life Settlement Transactions, 23 JOURNAL
       OF FINANCIAL TRANSFORMATION (2008), co-authored with Joseph R.
       Mason.

       The Economics of Wireless Net Neutrality, 3 JOURNAL OF COMPETITION
       LAW AND ECONOMICS 399 (2007), co-authored with Robert W. Hahn and
       Robert E Litan.

       Vertical Foreclosure in Video Programming Markets: Implication for Cable
       Operators, 3 REVIEW OF NETWORK ECONOMICS 348 (2007), co-authored
       with J. Gregory Sidak.

       The Unintended Consequences of Net Neutrality, 5 JOURNAL ON
       TELECOMMUNICATIONS AND HIGH TECH LAW 533 (2007), co-authored
       with Robert E. Litan.

       Does Video Delivered Over a Telephone Network Require a Cable Franchise?, 59
       FEDERAL COMMUNICATIONS LAW JOURNAL 251 (2007), co-authored
       with Robert W. Crandall and J. Gregory Sidak.

       The Competitive Effects of a Cable Television Operator’s Refusal to Carry DSL
       Advertising, 2 JOURNAL OF COMPETITION LAW AND ECONOMICS 301
       (2006).
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 179 of 667

                                    -141-



       Uberregulation without Economics: The World Trade Organization’s Decision in
       the U.S.-Mexico Arbitration on Telecommunications Services, 57 FEDERAL
       COMMUNICATIONS LAW JOURNAL 1 (2004), co-authored with J. Gregory
       Sidak.

       The Secondary Market for Life Insurance Policies: Uncovering Life Insurance’s
       “Hidden” Value, 6 MARQUETTE ELDER’S ADVISOR 95 (2004), co-authored
       with Neil A. Doherty and Brian A. O’Dea.

       Do Unbundling Policies Discourage CLEC Facilities-Based Investment?, 4
       TOPICS IN ECONOMIC ANALYSIS AND POLICY (2004), co-authored with
       Robert W. Crandall and Allan T. Ingraham.

       Foreign Investment Restrictions as Industrial Policy, 3 CANADIAN JOURNAL
       OF LAW AND TECHNOLOGY 19 (2004), co- authored with Robert W.
       Crandall.

       Regulating the Secondary Market for Life Insurance Policies, 21 JOURNAL OF
       INSURANCE REGULATION 63 (2003), co- authored with Neil A. Doherty.

       Interim Pricing of Local Loop Unbundling in Ireland: Epilogue, 4 JOURNAL OF
       NETWORK INDUSTRIES 119 (2003), co-authored with J. Gregory Sidak.

       The Benefits of a Secondary Market for Life Insurance, 38 REAL PROPERTY,
       PROBATE AND TRUST JOURNAL 449 (2003), co- authored with Neil A.
       Doherty.

       The Empirical Case Against Asymmetric Regulation of Broadband Internet
       Access, 17 BERKELEY TECHNOLOGY LAW JOURNAL 954 (2002), co-
       authored with Robert W. Crandall and J. Gregory Sidak.

       How Can Regulators Set Nonarbitrary Interim Rates? The Case of Local Loop
       Unbundling in Ireland, 3 JOURNAL OF NETWORK INDUSTRIES 273 (2002),
       co-authored with J. Gregory Sidak.

       Vertical Foreclosure in Broadband Access, 49 JOURNAL OF INDUSTRIAL
       ECONOMICS (2001) 299, co-authored with Daniel L. Rubinfeld.

       Open Access to Broadband Networks: A Case Study of the AOL/Time Warner
       Merger, 16 BERKELEY TECHNOLOGY LAW JOURNAL 640 (2001), co-
       authored with Daniel L. Rubinfeld.

       Cable Modems and DSL: Broadband Internet Access for Residential Customers,
       91 AMERICAN ECONOMICS ASSOCIATION PAPERS AND
       PROCEEDINGS 302 (2001), co-authored with Jerry A. Hausman and J. Gregory
       Sidak.
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 180 of 667

                                          -142-


            Residential Demand for Broadband Telecommunications and Consumer Access to
            Unaffiliated Internet Content Providers, 18 YALE JOURNAL ON
            REGULATION 1 (2001), co-authored with Jerry A. Hausman and J. Gregory
            Sidak.

            Determining the Source of Inter-License Synergies in Two-Way Paging Networks,
            18 JOURNAL OF REGULATORY ECONOMICS 59 (2000).

            A General Framework for Competitive Analysis in the Wireless Industry, 50
            HASTINGS LAW REVIEW 1639 (2000), co- authored with J. Gregory Sidak
            and David Teece.

            Capital Raising in Offshore Markets, 23 JOURNAL OF BUSINESS AND
            FINANCE 1181 (1999), co-authored with Ian Gray and Reena Aggarwal.

Expert Testimony Since 2012

            Reviving Competition, Part 1: Proposals to Address Gatekeeper Power and Lower
            Barriers to Entry Online (U.S. House of Representatives Subcommittee on
            Antitrust)

            Breaking the News – Journalism, Competition, and the Effects of Market Power
            on a Free Press (U.S. Senate Subcommittee on Competition Policy)

            In Re: London Silver Fixing, Ltd. Antitrust Litigation, Case No. 1:14-md-02573-
            VEC (S.D. N.Y.)

            In Re: JUUL Labs, Inc. Marketing, Sales Practices, and Products Liability
            Litigation, Case No. 19-md-02913-WHO (N.D. Ca.)

            Paul Weidman et. al v. Ford Motor Company, Case No. 18-cv-12719 (E.D.
            Mich.)

            Leinani Deslandes et al v. McDonald’s USA, LLC, Case No. 17-cv-04857 (N.D.
            IL)

            In Re: Macbook Keyboard Litigation, Case No.: 5:18-cv-02813-EJD (N.D. Ca.)

            Estate of Beverly Berland v. Lavastone Capital LLC, Case No. 1:18-cv-02002-
            CFC (D. Del.)

            Donald Conrad et al. v. Jimmy John’s Franchise LLC, et al., No. 3:18-cv-00133-
            NJR (S.D. Ill.)

            Zydus Pharmaceuticals Inc. and Cadila Healthcare Limited v. Takeda
            Pharmaceutical Company Limited et al., No. 18-01994 (FLW)(TJB) (D. N.J.)

            In Re GSE Bonds Antitrust Litigation, No. 1:19-cv-01704-JSR (S.D. N.Y.)

            beIN Sports, LLC v. Comcast Cable Communications, LLC, File No. CSR-8972-
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 181 of 667

                                      -143-


       P (FCC)

       Chelsea Jensen, et al. v. Samsung Electronics et al., Court File No. T-809-18
       (Federal Court in Canada)

       Estate of Phyllis Malkin v. Wells Fargo Bank, N.A., No. 17-cv-23136 (S.D. Fl.)

       In Re Capacitors Antitrust Litigation, Master File No. 3:14-cv-03264-JD (N.D.
       Ca.)

       In re Foreign Exchange Benchmark Rates Antitrust Litigation, Case No. 1:13-cv-
       07789-LGS (S.D. N.Y.)

       Massachusetts Technology Park Corporation v. Axia Netmedia Corporation,
       KCST USA, Inc., No. 01-17-0004-3049 (American Arbitration Association)

       Cung Le et al. v. Zuffa, LLC, d/b/a Ultimate Fighting Championship and UFC,
       Case No.: 2:15-cv-01045-RFB-(PAL) (D. Nev.)

       The Ohio State University v. New Par D/B/A Verizon Wireless, Case No. 2:15-
       cv-2866 (S.D. Oh.)

       Authenticom, Inc. v. CDK Global, LLL; and The Reynolds And Reynolds
       Company, Case No. 17-cv-318 (W.D. Wis.)

       Manmohan Dhillon et al. v. Anheuser-Busch, LLC et al. Case No. 14CECG03039
       MBS (Cal. Fresno)

       In re Lidoderm Antitrust Litigation, MDL Dkt. No. 14-md-02521-WHO (N.D.
       Cal.)

       Maxon Hyundai Mazda et al. v. Carfax Inc., Case No. CV 2680 (AJN) (RLE)
       (S.D. N.Y.)

       Philip R. Loy and Sharon Loy v. Womble Carlyle Sandridge & Rice, et al., Case
       No. 2014-cv-254012 (Ga. Super.)

       In re MyFord Touch Consumer Litigation, Case No. 13-cv-3072-EMC (N.D.
       Cal.)

       Sun Life Assurance Company of Canada v. U.S. Bank National Association, Case
       No. NO. 2:14-cv-04703-SJF-GRB (E.D. N.Y.)

       Sun Life Assurance Company of Canada v. U.S. Bank National Association and
       Larry Bryan, Case No. 14-CIV-62610-BLOOM/VALLE (S.D. Fla.)

       In the Matter of Flat Wireless, LLC, for and on behalf of its Operating
       Subsidiaries, v. Cellco Partnership d/b/a Verizon Wireless, and its Operating
       Subsidiaries, File No. EB-15-MD-005 (Federal Communications Commission)
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 182 of 667

                                       -144-


       Omni Healthcare et al. v. Health First Inc. et al, Case No. 6:13-CV-01509-RBD-
       DAB (M.D. Fla.)

       Schuylkill Health System et al. v. Cardinal Health 200, LLC & Owens & Minor
       Distribution, Inc., Case No. 12-cv-07065-JS (E.D. Pa.)

       Meda Pharmaceuticals Inc. v. Apotex, Inc and Apotex Corp., Case No. 01-14-
       0001-6315 (Am. Arbitration Ass’n)

       Mark S. Wallach, et al v. Eaton Corporation, et al, Case No. 10-260-SLR (D.
       Del.)

       STB Ex Parte No. 722 Railroad Revenue Adequacy (Surface Transportation
       Board)

       In the Matter of 2014 Quadrennial Regulatory Review – Review of the
       Commission’s Broadcast Ownership Rules and Other Rules Adopted Pursuant to
       Section 202 of the Telecommunications Act of 1996, MB Docket No. 14-50
       (Federal Communications Commission)

       Lindsay Kamakahi and Justine Levy, et al v. American Society for Reproductive
       Medicine and Society for Assisted Reproductive Technology, Case No.: 3:11-CV-
       1781 JCS (N.D. Cal.)

       Salud Services, Inc. et al v. Caterpillar, Inc., Case No.: 1:12-cv-23927 (S.D. Fla.)

       Gnanh Nora Krouch v. Wal-Mart Stores, Inc., Case No. CV-12-2217 (N.D. Cal.)

       In the Matter of Petition for Rulemaking to Eliminate the Sports Blackout Rule,
       MB Docket No. 12-3 (Federal Communications Commission)

       In the Matter of Review of Wholesale Services and Associated Policies, File No.
       8663-C12-201313601 (Canadian Radio-Television and Telecommunications
       Commission)

       Crafting a Successful Incentive Auction: Stakeholders’ Perspectives (U.S. Senate,
       Committee on Commerce, Science, and Transportation)

       Altergy Systems v. Enersys Delaware, Inc., Case No. 74-198-Y-001772-12 JMLE
       (American Arbitration Association)

       In re New York City Bus Tour Antitrust Litigation, Master Case File No. 13-CV-
       07I1 (S.D. N.Y.)

       SOCAN Tariff 22.A (Online Music Services, 2011-2013), CSI Online Music
       Services (2011-2013), SODRAC Tariff 6 - Online Music Services, Music Videos
       (2010-2013) (Copyright Board Canada)
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 183 of 667

                                              -145-


              Imperial Premium Finance, LLC, v. Sun Life Assurance Company of Canada
              (S.D. Fla.)

              The Satellite Television Law: Repeal, Reauthorize, or Revise? (U.S. House of
              Representatives, Committee on Energy and Commerce)

              Marchbanks Truck Service, et al. v. Comdata Network Inc., et al., Civil Action
              No. 07-1078-JKG (E.D. Pa.)

              Patricia Reiter v. Mutual Credit Corporation, et al., Case No. 8:09-cv-0081 AG
              (RNBx) (C.D. Cal.)

              In re Photochromic Lens Antitrust Litigation, MDL Docket No. 2173 (M.D. Fla.)

              In the Matter of the Arbitration Between Washington Nationals Baseball Club v.
              TCR Sports Broadcasting Holdings, L.L.P. (Major League Baseball Revenue
              Sharing Definitions Committee)

              Miguel V. Pro and Davis Landscape et al. v. Hertz Equipment Rental
              Corporation, No. 2:06-CV-3830 (DMC) (D.N.J.)

              Game Show Network, LLC v. Cablevision Systems Corp., File No. CSR-8529-P
              (Federal Communications Commission)

              Apotex, Inc., v. Cephalon, Inc., Barr Laboratories, Inc., Mylan Laboratories, Inc.,
              Teva Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA, Inc., Ranbaxy
              Laboratories, Ltd., and Ranbaxy Pharmaceuticals, Inc., Case No. 2:06-cv-02768-
              MSG (E.D. Pa.)

              In Re Airline Baggage Fee Antitrust Litigation, Civil Action No. 1:09-Md-2089-
              Tcb (N.D. Ga.)

Memberships

              American Economics Association

              American Bar Association Section of Antitrust Law

Reviewer

              Journal of Risk and Insurance

              Journal of Competition Law and Economics

              Journal of Risk Management and Insurance Review

              Journal of Regulatory Economics
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 184 of 667

                                   -146-


       Managerial and Decision Economics

       Telecommunications Policy
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 185 of 667

                                   -147-


                     APPENDIX 2: MATERIALS RELIED UPON
BATES DOCUMENTS




EPIC_GOOGLE_00123016
EPIC_GOOGLE_01389946


EPIC_GOOGLE_02075797
GOOG-PLAY-000416245
GOOG-PLAY-000000807
GOOG-PLAY-000001317
GOOG-PLAY-000001976
GOOG-PLAY-000003283.R
GOOG-PLAY-000004762.R
GOOG-PLAY-000005203
GOOG-PLAY-000005264
GOOG-PLAY-000025345
GOOG-PLAY-000053875
GOOG-PLAY-000053975
GOOG-PLAY-000054021
GOOG-PLAY-000054039
GOOG-PLAY-000054683
GOOG-PLAY-000127155
GOOG-PLAY-000131205.R
GOOG-PLAY-000225435
GOOG-PLAY-000226999
GOOG-PLAY-000229696
GOOG-PLAY-000231487
GOOG-PLAY-000233314
GOOG-PLAY-000237798
GOOG-PLAY-000258923
GOOG-PLAY-000259276
GOOG-PLAY-000259276
GOOG-PLAY-000292207.R
GOOG-PLAY-000297309.R
GOOG-PLAY-000302766
GOOG-PLAY-000338849
GOOG-PLAY-000367346.R
GOOG-PLAY-000379093
GOOG-PLAY-000400751.R
   Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 186 of 667

                                  -148-


GOOG-PLAY-000416245
GOOG-PLAY-000416448
GOOG-PLAY-000416651
GOOG-PLAY-000416708
GOOG-PLAY-000417080
GOOG-PLAY-000439987.R
GOOG-PLAY-000443763
GOOG-PLAY-000443908.R
GOOG-PLAY-000445443.R
GOOG-PLAY-000446626
GOOG-PLAY-000464148
GOOG-PLAY-000518034
GOOG-PLAY-000542516.R
GOOG-PLAY-000556954
GOOG-PLAY-000559379
GOOG-PLAY-000572041.R
GOOG-PLAY-000620131
GOOG-PLAY-000620210
GOOG-PLAY-000620282
GOOG-PLAY-000620442
GOOG-PLAY-000620478
GOOG-PLAY-000620638
GOOG-PLAY-000620996
GOOG-PLAY-0006998204.R
GOOG-PLAY-000808062
GOOG-PLAY-000808375
GOOG-PLAY-000808433
GOOG-PLAY-000808451
GOOG-PLAY-000832219
GOOG-PLAY-000832471
GOOG-PLAY-000840773
GOOG-PLAY-000879194.R
GOOG-PLAY-000879195R
GOOG-PLAY-000880576.R
GOOG-PLAY-000932349
GOOG-PLAY-000953420.R
GOOG-PLAY-001055565
GOOG-PLAY-001075142
GOOG-PLAY-001076519
GOOG-PLAY-001088593
GOOG-PLAY-001090227
GOOG-PLAY-001143425
GOOG-PLAY-001184813
GOOG-PLAY-001284083.R
GOOG-PLAY-001291233
GOOG-PLAY-001317740
   Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 187 of 667

                                  -149-


GOOG-PLAY-001337211
GOOG-PLAY-001381054
GOOG-PLAY-001381141
GOOG-PLAY-001385324
GOOG-PLAY-001400503
GOOG-PLAY-001404176
GOOG-PLAY-001423609
GOOG-PLAY-001438299
GOOG-PLAY-001449339
GOOG-PLAY-001451619
GOOG-PLAY-001455849
GOOG-PLAY-001508603
GOOG-PLAY-001559464.R
GOOG-PLAY-001559473
GOOG-PLAY-001745614
GOOG-PLAY-001847447
GOOG-PLAY-001877016
GOOG-PLAY-001882239
GOOG-PLAY-001886008.R
GOOG-PLAY-002011285
GOOG-PLAY-002076224.R
GOOG-PLAY-002358233
GOOG-PLAY-002416488
GOOG-PLAY-002604372
GOOG-PLAY-002653782.R
GOOG-PLAY-002891881
GOOG-PLAY-002994573
GOOG-PLAY-003332817.R
GOOG-PLAY-003334312
GOOG-PLAY-003335786
GOOG-PLAY-003604523
GOOG-PLAY-003604601
GOOG-PLAY-003604606
GOOG-PLAY-003605103
GOOG-PLAY-003776161.R
GOOG-PLAY-003881390.R
GOOG-PLAY-003894142
GOOG-PLAY-003899355.R
GOOG-PLAY-004113976
GOOG-PLAY-004119228.R
GOOG-PLAY-004136427
GOOG-PLAY-004144047.R
GOOG-PLAY-004146689.R
GOOG-PLAY-004147888
GOOG-PLAY-004235359
GOOG-PLAY-004237669.R
   Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 188 of 667

                                  -150-


GOOG-PLAY-004253884
GOOG-PLAY-004278538
GOOG-PLAY-004338990
GOOG-PLAY-004470512
GOOG-PLAY-004486928.R
GOOG-PLAY-004489416.R
GOOG-PLAY-004494430.C
GOOG-PLAY-004499366
GOOG-PLAY-004502766
GOOG-PLAY-004508011
GOOG-PLAY-004509271
GOOG-PLAY-004541676
GOOG-PLAY-004542110
GOOG-PLAY-004552342
GOOG-PLAY-004556784
GOOG-PLAY-004559725.R
GOOG-PLAY-004564758
GOOG-PLAY-004630018.R
GOOG-PLAY-004703579
GOOG-PLAY-004714797
GOOG-PLAY-004716632
GOOG-PLAY-004717237
GOOG-PLAY-004721177
GOOG-PLAY-004904016
GOOG-PLAY-005027813
GOOG-PLAY-005535886
GOOG-PLAY-005535887
GOOG-PLAY-005653612.R
GOOG-PLAY-005696497
GOOG-PLAY-005705974
GOOG-PLAY-005706338
GOOG-PLAY-005706436
GOOG-PLAY-005706676
GOOG-PLAY-005706728
GOOG-PLAY-005708308
GOOG-PLAY-006355073
GOOG-PLAY-006359924
GOOG-PLAY-006381385
GOOG-PLAY-006817773.R
GOOG-PLAY-006829073.R
GOOG-PLAY-006990552
GOOG-PLAY-007038477
GOOG-PLAY-007038511
GOOG-PLAY-007203253
GOOG-PLAY-007264058
GOOG-PLAY-007315383
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 189 of 667

                                              -151-


GOOG-PLAY-007317466
GOOG-PLAY-007317521
GOOG-PLAY-007317528
GOOG-PLAY-007317535
GOOG-PLAY-007317574
GOOG-PLAY-007317611
GOOG-PLAY-007329029
GOOG-PLAY-007329063
GOOG-PLAY-007329076
GOOG-PLAY-007617587
GOOG-PLAY-007657997
GOOG-PLAY-007745829
GOOG-PLAY-007819776
GOOG-PLAY-007847148
GOOG-PLAY-008006134
GOOG-PLAY-008111867
GOOG-PLAY-008384816
GOOG-PLAY-008427238
GOOG-PLAY-010801568
GOOG-PLAY-010801680
GOOG-PLAY-010801682
GOOG-PLAY2-000001992
GOOG-PLAY4-000284361
GOOG-PLAY4-000336290
GOOG-PLAY4-000339939
GOOG-PLAY4-002178046
GOOG-PLAY4-004677224
GOOG-PLAY4-007239946




DEPOSITIONS
Deposition of Eric Chu (Dec. 20, 2021)
Deposition of Jamie Rosenberg (July 14, 2020)
Deposition of Jim Kolotorous (Feb. 2, 2022)
Deposition of Kevin Wang (Dec. 15, 2021)
Deposition of Lawrence Koh (Dec. 9, 2021)
Deposition of Paul Feng (Jan. 18, 2022)
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 190 of 667

                                            -152-



LEGAL DOCUMENTS
Cung Le et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship, Minute Entry, 2:15-cv-01045-
RFB-BNW (D. Nev. Dec. 10, 2020), ECF No. 781



In re Delta/AirTran Baggage Fee Antitrust Litig., 317 F.R.D. 665 (N.D. Ga. 2016)

In re Lidoderm Antitrust Litig., No. 12-md-02521, 2017 WL 679367 (N.D. Cal. Feb. 21, 2017)

Johnson v. Arizona Hosp. and Healthcare Assoc. No. CV 07-1292-PHX-SRB, 2009 WL 5031334
(D. Ariz. July 14, 2009)

Meijer, Inc. v. Abbott Laboratories, No. C 07-5985 CW, 2008 WL 4065839 (N.D. Cal. Aug. 27,
2008)

Natchitoches Parish Hosp. Serv. Dist. v. Tyco Intl., Ltd., 262 F.R.D. 58 (D. Mass. 2008)

Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1049-50 (9th Cir. 2008)

Ohio v. American Express Co., 585 U.S. (2018), available at
www.supremecourt.gov/opinions/17pdf/16-1454_5h26.pdf

Rule 52 Order After Trial On The Merits, Epic Games Inc. v. Apple, Inc., Case No. 4:20-cv-
05640-YGR

Southeast Missouri Hospital and St. Francis Medical Center v. C.R. Bard, No. 1:07cv0031 TCM,
2008 WL 4372741 (E.D. Mo. Sept. 22, 2008)

United States v EI du Pont de Nemour and Co.

Weyerhaeuser Co. v. Ross-Simmons Hardwood Lumber Co., 549 U.S. 312 (2007)


LITERATURE
Aaron Director & Edward H. Levi, Law and the Future Trade Regulation, 51 Nw. U. L. Rev. 281
(1956)

Aaron Edlin, Scott Hemphill, Herb Hovenkamp, and Carl Shapiro, Activating Actavis, Antitrust,
(2013)

Agam Gupta et al., Combating incumbency advantage of network effects: The role of entrant’s
decisions and consumer preferences, 20(1) Competition and Regulation in Network Industries 3-32
(2019)
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 191 of 667

                                             -153-


Anindya Ghose & Sang Pil Han, Estimating Demand for Mobile Applications in the New Economy,
60(6) Management Science 1470-1488 (2014)

Avi Goldfarb and Catherine Tucker, Digital Economics, 57 Journal of Economic Literature 3-43
(2019)

Aviv Nevo, Mergers with Differentiated Products: the Case of the Ready-to-Eat Cereal Industry,
31(3) RAND Journal of Economics 395-421 (2000)

Benjamin Edelman & Damien Geradin, Android and competition law: exploring and assessing
Google’s practices in mobile, 12(12-3) European Competition Journal 159-194 (2016)

Benjamin Edelman & Julian Wright, Price Coherence and Excessive Intermediation, 130 Q. J.
Econ. 1283 (2015)

Brigitte C. Madrian & Dennis F. Shea, The Power of Suggestion: Inertia in 401(k) Participation
and Savings Behavior, 116(4) Quarterly Journal of Economics 1149-1187 (2001)

Daniel O'Brien and Abraham Wickelgren, A critical analysis of critical loss analysis, 71 Antitrust
L.J. (2003)

David Evans, Two-Sided Market Definition in Market Definition In Antitrust: Theory And Case
Studies (ABA Section of Antitrust Law) 1-35 (2009), available at
papers.ssrn.com/sol3/papers.cfm?abstract_id=1396751

Dennis Carlton, A General Analysis of Exclusionary Conduct and Refusal to Deal—Why Aspen
and Kodak Are Misguided, 68(3) Antitrust Law Journal 659-983 (2001)

Einer Elhauge & Barry Nalebuff, The Welfare Effects of Metering Ties, 33 Journal of Law,
Economics & Organization 68 (2017)

Einer Elhauge, Tying, Bundled Discounts and the Death of Single Monopoly Profit Theory, 123(2)
Harvard Law Rev. 397-481 (2009)

Erik Hovenkamp, Platform Antitrust, 44 Journal of Corp. Law 713 (2019)

George Stigler, The Theory of Price (McMillan 3rd ed. 1987)

Gregory Werden & Luke Froeb, The Antitrust Logit Model For Predicting Unilateral Competitive
Effects 70 Antitrust Law Journal 257 (2002)

Hal J. Singer and Robert Kulick, Class Certification in Antitrust Cases: An Economic Framework,
17 George Mason Law Review (2010)

Hal Singer & Andrew Card, Lessons from Kahneman’s Thinking Fast and Slow: Does Behavioral
Economics Have a Role in Antitrust Analysis?, Antitrust Source (2012), available at
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 192 of 667

                                           -154-


www.semanticscholar.org/paper/Lessons-from-Kahneman-%E2%80%99-s-Thinking-%2C-Fast-
and-Slow-Kahneman/8abf422dc2aca5adf6fe6c20e9064863f64819dd?p2df

Hal Singer, Economic Evidence of Common Impact for Class Certification in Antitrust Cases: A
Two-Step Analysis, 25(3) ABA’s Antitrust (2011)

Herbert Hovenkamp, Digital Cluster Markets, Columbia Business Law Review 1-30 (forthcoming
2022)

Jean-Charles Rochet & Jean Tirole, Platform Competition in Two-Sided Markets, 1(4) European
Economic Association 990-1029 (2003)

Jeffrey Eisenach and Kevin Caves, What Happens When Local Phone Service Is Deregulated?
Regulation 34-41 (2012)

Jeffrey M. Perloff, Microeconomics A-34 (Pearson 7th ed. 2015)

Jeffrey Wooldridge, Introductory Econometrics: A Modern Approach, (Thompson 4th ed. 2009)

Jerry Hausman & Greg Leonard, Efficiencies from the Consumer Viewpoint, 17(3) George Mason
Law Review 707-727 (1999)

John Harsanyi, On the Rationality Postulates underlying the Theory of Cooperative
Games, 5(2) Journal of Conflict Resolution 179–196 (1961)

John M. Newman, Antitrust in Zero-Priced Markets: Foundations, 164 Penn Law Review 149-206
(2015)

John Newman, The Output-Welfare Fallacy: A Modern Antitrust Paradox, 107(2) Iowa L. Rev.
(2022 forthcoming)

John Peters, Jimikaye Beck, Jan Lande, Zhaoxing Pan, Michelle Cardel, Keith Ayoob, and James
O. Hill, Using Healthy Defaults in Walt Disney World Restaurants to Improve Nutritional Choices,
1(1) Journal of the Association for Consumer Research 92-103 (2016)

Jonas Bjornerstedt & Frank Verboven, Merger simulation with nested logit demand, 14(3) STATA
Journal 511-540 (2014)

Jonathan B. Baker & Fiona Scott Morton, Antitrust Enforcement Against Platform MFNs, 127(7)
Yale Law Journal 2176-2202, 2177 (2017)

Joseph Farrell & Paul Klemperer, Coordination and Lock-In: Competition with Switching Costs
and Network Effects 3 Handbook of Industrial Organization 1970-2056, 1970 (2007)

Kevin Caves & Hal Singer, Competing Approaches to Antitrust: An Application in the Payment
Card Industry, 27(3) George Mason Law Review 823-861 (2020)
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 193 of 667

                                             -155-


Kevin Caves and Hal Singer, On the Utility of Surrogates for Rule of Reason Cases, CPI Antitrust
Chronicle, (2015)

Kim et al., Two-sided platform competition with multihoming agents: An empirical study on the
daily deals market, 41 Information Econ. and Policy 36-53 (2017)

Louis Kaplow, Why (Ever) Define Markets?, 124 Harvard Law Review 437 (2010)

Marc Rysman, The Economics of Two-Sided Markets, 23(3) Journal of Economic Perspectives
125-143, 126 (2009)

Mark Armstrong & Julian Wright, Two-sided markets, competitive bottlenecks and exclusive
contracts, 32 Economic Theory 353-380, 359 (2007)

Marvin B. Lieberman & David B. Montgomery, Conundra and progress: Research on entry order
and performance, 46 Long Range Planning 312–324 (2013), available at
www.sciencedirect.com/science/article/abs/pii/S0024630113000344?via%3Dihub

Michael Katz & William Rogerson, The Applications Barrier to Entry and Its Implication for the
Microsoft Remedies: Comment on Iansiti and Richards, 75 Antitrust Law Rev. 723-738 (2008-09)

Michael Katz and Carl Shapiro. Critical loss: Let's tell the whole story, Antitrust 17 (2002) 49

Michael Katz and Harvey Rosen, Microeconomics 3rd ed. 329-330 (Irwin/McGraw-Hill 1998)

N. Gregory Mankiw, Principles of Microeconomics (Cengage Learning 8th ed. 2018)

Nathan Miller, Marc Remer, & Gloria Sheu, Using cost pass-through to calibrate demand, 118
Economics Letters 451-454 (2013)

Patrick Greenlee, David Reitman, and David S. Sibley, An antitrust analysis of bundled loyalty
discounts, 26 International Journal of Industrial Organization 1132-1152 (2007)

Paul Klemperer, Markets with Consumer Switching Costs, 102(2) Quarterly Journal of Economics
375-394 (1987)

Richard G. Price, Market Power and Monopoly Power in Antitrust Analysis, 75(1) Cornell Law
Review 190-217 (1989)

Risto Gogoski, Payment systems in economy - present end future tendencies, 44 Procedia - Social
and Behavioral Sciences 436–445 (2012)

Robert Bork, The Antitrust Paradox: A Policy At War with Itself (Bork Publishing 2021)

Rong Ding & Julian Wright, Payment Card Interchange Fees and Price Discrimination, 65 J. Ind.
Org. 39 (2017)
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 194 of 667

                                           -156-


Rong Ding, Merchant Internalization Revisited, 125 Econ. Letters 347 (2014)

Sheng-Ping Yang, Identifying a dominant firm's market power among sellers of a homogeneous
product: an application to Alcoa, 34 Applied Economics 1411-1419 (2002)

Simran Kahai, David Kaserman & John Mayo, Is the “Dominant Firm” Dominant? An Empirical
Analysis of AT&T’s Market Power, 39 Journal of Law & Economics 499-517 (1996)

Steven Berry, Estimating Discrete Choice Models of Product Differentiation 25(2) RAND Journal
of Economics 242–262 (1994)

Susan Athey & Fiona Scott Morton, Platform Annexation, Stanford Inst. for Econ. Policy Research
Working Paper 21-015 (March 2021)

Theon van Dijk & Frank Verboven, Quantification of Damages, 3 Issues In Competition Law And
Policy 2331, 2342 (ABA Section of Antitrust Law 2008)

Thomas A. Burnham, Judy K. Frels, and Vijay Mahajan, Consumer Switching Costs: A Typology,
Antecedents, and Consequences, 31(2) Journal of the Academy of Marketing Science 109-126
(2003)

Thomas Eisenmann, Geoffrey Parker, and Marshall W. Van Alstyne, Strategies for Two-Sided
Markets, Harvard Business Review 3-4 (2006)

William Landes & Richard Posner, Market Power in Antitrust Cases, 94(5) Harvard Law Review
937-996 (1981)

Zachary Brown, Nick Johnstone, Ivan Haščič, Laura Vong, and Francis Barascud, Testing the
effect of defaults on the thermostat settings of OECD employees, 39 Energy Economics 128-134
(2013)


PUBLICLY AVAILABLE MATERIALS
2004 Founder’s IPO Letter, From the S-1 Registration Statement, available at
abc.xyz/investor/founders-letters/2004-ipo-letter/

Abhin Mahipal, Survey: 18% of Android users would consider switching to iPhone 13, but this
is down 15% from last year, Sellcell, (Aug. 31, 2021), available at
www.sellcell.com/blog/survey-18-percent-of-android-users-would-consider-switching-to-
iphone-13/

Abigail Ng, Smartphone users are waiting longer before upgrading — here's why, CNBC, (May
17, 2019), available at www.cnbc.com/2019/05/17/smartphone-users-are-waiting-longer-
before-upgrading-heres-why.html

Adyen (www.adyen.com/about)
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 195 of 667

                                            -157-


Adyen, Interchange fees explained, available at www.adyen.com/blog/interchange-fees-
explained

Adyen, Pricing, available at www.adyen.com/pricing; www.adyen.com/customers

Akhilesh Ganti, Chicago School of Economics, Investopedia (Feb. 21, 2021), available at
www.investopedia.com/terms/c/chicago_school.asp

Alan Santillan, Mobile Software: Why It’s Only Android vs. iOS in 2020, Learn Hub, (July 30,
2018), available at learn.g2.com/android-vs-ios

Alex Cranz, There are over 3 billion active Android devices. That’s a lot of smartphones, The
Verge, (May 18, 2021), available at www.theverge.com/2021/5/18/22440813/android-
devices-active-number-smartphones-google-2021

Alex Hern, Microsoft to let developers keep all their Windows app store revenue, The
Guardian (June 25, 2021), available at
www.theguardian.com/technology/2021/jun/25/microsoft-let-developers-keep-all-windows-
app-store-
revenue#:~:text=Currently%2C%20developers%20who%20sell%20apps,the%20revenue%20
with%20the%20company

Allison Kidd, Technology experiences: what makes them compelling?, HPLabs Technical
Report (2001)

Amanda Swan & Frank Kehl, How Does Stripe Work? Everything You Need To Know About
Processing Payments With Stripe, Merchant Maverick (July 22, 2021), available at
www.merchantmaverick.com/how-does-stripe-work/

Amanda Swan, Which online stores accept PayPal?, finder (Dec. 28, 2020), available at
www.finder.com/paypal-store-list

Amazon Pay Sign up, available at pay.amazon.com/

Amazon Pay, Innovative Merchant Payment Services for Small to Medium Businesses,
available at pay.amazon.com/business/small-business

Amazon, Help & Customer Service – Tax on Amazon Prime, available at
www.amazon.com/gp/help/customer/display.html?nodeId=202036230

Amit Chowdhry, Average iPhone Price Increases To $687 and Android Decreases To $254,
Says Report, Forbes, (Feb. 3, 2015), available at
www.forbes.com/sites/amitchowdhry/2015/02/03/average-iphone-price-increases-to-687-and-
android-decreases-to-254-says-report/?sh=d9bcd17539e4

Android, The best of Google, right on your devices, available at www.android.com/gms/
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 196 of 667

                                            -158-


Angel Au-Yeung, App Providers Are ‘All Afraid’ Of Apple’s And Google’s Market Power,
Match Group And Spotify Tell Senate, Forbes (Apr. 21, 2021), available at
www.forbes.com/sites/angelauyeung/2021/04/21/app-providers-are-all-afraid-of-apples-and-
googles-market-power-match-group-and-spotify-tell-senate/?sh=4a622ae9596c

Apple, Move from Android to iPhone, iPad or iPod touch, available at support.apple.com/en-
gb/HT201196

Apple, What is Family Sharing?, available at support.apple.com/en-us/HT201060

Appointment Booking & Online Scheduling Software - Pricing – BookedIn, available at
support.bookedin.com/hc/en-us/articles/360028446492-Why-are-the-prices-different-in-App-
Store-Google-Play

Aptoide, About Us, available at en.aptoide.com/company/about-us

Aptoide, For Developers, available at en.aptoide.com/company/developers

Aptoide, How to download and install Aptoide?, available at
en.aptoide.com/company/faq/how-to-download-install-aptoide

authorize.net, Pricing, available at www.authorize.net/sign-up/pricing.html

Bankrate, Guide to Google Pay (Jan. 14, 2021), available at www.bankrate.com/finance/credit-
cards/android-pay-google-pay-
guide/#:~:text=While%20there%20is%20no%20charge,you%20use%20a%20credit%20card

Blake Stimac, How to sideload an app onto your Android phone or tablet, Greenbot, (July 17,
2014), available at www.greenbot.com/article/2452614/how-to-sideload-an-app-onto-your-
android-phone-or-tablet.html

Bookedin, Why are the prices different in App Store/Google Play? (accessed June 15, 2021),
available at support.bookedin.com/hc/en-us/articles/360028446492-Why-are-the-prices-
different-in-App-Store-Google-Play-

Braintree, Boost Revenue         with   a    Global    Payments     Partner,   available     at
www.braintreepayments.com/

Braintree, Pricing, available at www.braintreepayments.com/braintree-pricing

Brittany Vincent, Valve Introduces New Revenue Split Changes For Steam Sales, Variety
(Dec. 3, 2018), available at variety.com/2018/gaming/news/valve-revenue-split-changes-
1203078700/

Bryan Falla, Google Shopping Actions Commission Rates, GoDataFeed (Oct. 22, 2019),
available at www.godatafeed.com/blog/google-shopping-actions-commission-structure
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 197 of 667

                                            -159-


C. Scott Brown, Google Play Points rewards program is real and in Japan right now, Android
Authority (Sept. 18. 2018), available at www.androidauthority.com/google-play-points-
rewards-905387/

Celena Chong, Spotify shows its iPhone users how to save $3 by avoiding Apple's App Store,
Business Insider (July 8, 2015), available at www.businessinsider.com/spotify-shows-users-
how-to-save-3-by-avoiding-apple-app-store-2015-7

Chaim Gartenberg, Google will reduce Play Store cut to 15 percent for a developer’s first
$1M in annual revenue, The Verge, (Mar. 16, 2021), available at
www.theverge.com/2021/3/16/22333777/google-play-store-fee-reduction-developers-1-
million-dollars

Chuck Jones, Apple’s iOS Loyalty Rate Is Lower Than Google's Android, But Apple May Steal
More Users Each Year, Forbes, (Mar. 10, 2018), available at
www.forbes.com/sites/chuckjones/2018/03/10/apples-ios-loyalty-rate-is-lower-than-googles-
android-but-apple-may-steal-more-users-each-year/?sh=29b39ae68a8e

Coda Payments partners Riot Games for payments services across Southeast Asia, The
Paypers, (May 4, 2020), available at thepaypers.com/ecommerce/coda-payments-partners-
riot-games-for-payments-services-across-southeast-asia--1242106

Consumer Intelligence Research Partners, How Long Do Android Users Own an Android
Phone, (Sep. 21, 2016), available at files.constantcontact.com/150f9af2201/a238f4a1-5b70-
4853-b21e-226c94104d30.pdf

Consumer Intelligence Research Partners, Mobile Operating System Loyalty: High and Steady,
(Mar. 8, 2018), available at files.constantcontact.com/150f9af2201/4bca9a19-a8b0-46bd-
95bd-85740ff3fb5d.pdf

D. Melanson, Google makes Chrome Web Store available worldwide, adds in-app purchases
and flat five percent fee, Engadget (May 11, 2011), available at www.engadget.com/2011-05-
11-google-makes-chome-web-store-available-worldwide-adds-in-app-pu.html

D. Tighe, Distribution of e-commerce payment methods in the United States in 2020, Statista,
available at www.statista.com/statistics/935676/payment-methods-used-for-online-
transactions-usa/

Dallas Thomas, Get Easy Updates on Sideloaded Android Apps, Gadget Hacks, (Dec. 27, 2016),
available at android.gadgethacks.com/how-to/get-easy-updates-sideloaded-android-apps-
0174291/

Daria Dubrova, 9 Alternative Android App Stores, The App Solutions, available at
theappsolutions.com/blog/marketing/alternative-android-app-stores/

David Curry, App Data Report, Business of Apps (2022)
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 198 of 667

                                             -160-


David Curry, App Store Data (2022), Business of Apps, (Jan. 11, 2022), available at
www.businessofapps.com/data/app-stores/

David Nield, Make your phone and computer team up to get more done, Popular Science,
(Oct. 20, 2018), available at www.popsci.com/phone-computer-work-together/

Derek Strickland, Apple's 30% App Store commission is 'supracompetitive,' court declares,
TweakTown (Sept. 11, 2021), available at www.tweaktown.com/news/81567/apples-30-app-
store-commission-is-supracompetitive-court-declares/index.html

Development Options and Costs, Business Information Systems: Design an App for That,
Table 7.1 “Various Fixed Costs”, available at saylordotorg.github.io/text_business-
information-systems-design-an-app-for-that/s11-01-development-options-and-costs.html

Douglas Karr, PayPal Market Share Statistics And Its History of Dominating Online Payment
Processing, MarTech Zone (Aug. 3, 2020), available at martech.zone/paypal-statistics-online-
payments/

Drew Strojny, Stripe vs PayPal: Who should you choose?, Memberful (Jan. 10, 2016),
available at memberful.com/blog/stripe-vs-paypal/

eBay, Understanding selling fees, available at pages.ebay.com/seller-center/get-started/seller-
fees.html

Epic Press Release, The Epic Games store is now live, (Dec. 6, 2018), available at
www.epicgames.com/store/en-US/news/the-epic-games-store-is-now-live

ET Telecom.com, South Korea's app market ONE store grows amid Google's Play store
policy row (Feb. 21, 2021), available at telecom.economictimes.indiatimes.com/news/south-
koreas-app-market-one-store-grows-amid-googles-play-store-policy-row/81135498

Etsy, Sell, available at www.etsy.com/sell

European Commission, Antitrust: Commission sends Statement of Objections to Google on
Android operating system and applications – Factsheet, (Apr. 20, 2016), available at
ec.europa.eu/commission/presscorner/detail/en/MEMO_16_1484

Featured Customers – Autorize.net, available at
www.featuredcustomers.com/vendor/authorizenet/customers

giffgaff, How to set up family sharing on iPhone and Android, (July 26, 2019), available at
www.giffgaff.com/blog/how-to-set-up-family-sharing-on-iphone-amp-android/

Giorgio Sardo, General Manager – Microsoft Store, Building a new, open Microsoft Store on
Windows 11, Microsoft Windows Blogs (Jun. 24, 2021), available at
blogs.windows.com/windowsexperience/2021/06/24/building-a-new-open-microsoft-store-on-
windows-11/
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 199 of 667

                                            -161-


Google - Android Developers Blog, Listening to Developer Feedback to Improve Google Play
(Sept. 28, 2020), available at android-developers.googleblog.com/2020/09/listening-to-
developer-feedback-to.html

Google - Play Console Help, Supported locations for distributions to Google Play users,
available at support.google.com/googleplay/android-
developer/answer/10532353?visit_id=637777015722462270-3131223409&rd=1

Google - Play Console Help, Understanding Google Play’s Payments policy, available at
support.google.com/googleplay/android-developer/answer/10281818?hl=en#zippy=%2Ccan-i-
distribute-my-app-via-other-android-app-stores-or-through-my-website%2Ccan-i-
communicate-with-my-users-about-alternative-ways-to-pay%2Ccan-i-communicate-with-my-
users-about-promotions-on-other-platforms

Google Ads Help, About App campaigns, available at support.google.com/google-
ads/answer/6247380?hl=en.

Google Developer Program Policy (effective Dec. 1, 2021), available                       at
support.google.com/googleplay/android-
developer/answer/11498144?hl=en&visit_id=637814760589469507-2803788482&rd=1

Google Developer Program Policy (effective March 1, 2021), available at
support.google.com/googleplay/android-
developer/answer/9934569?hl=en&ref_topic=9877065#zippy=%2Cmarch

Google Merchant Center Help, New 0% commission fee for selling on Google through
Shopping Actions in the US (July 23, 2020), available at
support.google.com/merchants/answer/9977875?hl=en

Google Pay, For Business, available at pay.google.com/about/business/partners/

Google Play Billing, available at developer.android.com/distribute/play-billing

Google Play Console, Play Media Experience Program, available at
play.google.com/console/about/mediaprogram/

Google Play Developer Distribution Agreement (as of Jan. 4, 2014)

Google Play Developer Distribution Agreement (as of Sep. 25, 2014)

Google Play Developer Distribution Agreement (effective as of June 12, 2020)

Google Play services, available at developer.android.com/distribute/play-services

Google Play, Google Play has something for everyone, available at
play.google.com/about/howplayworks/?section=about-google-play&content=service-fee
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 200 of 667

                                           -162-


Google Privacy & Terms, Google Privacy Policy, available at
policies.google.com/privacy?hl=en-US

Google Safety Center, Ads That Respect Your Privacy, available at safety.google/privacy/ads-
and-data/

Google SEC Form 10-K, for the fiscal year ended Dec. 31, 2007, available at
www.sec.gov/Archives/edgar/data/1288776/000119312508032690/d10k.htm

Google SEC Form 10-K, for the fiscal year ended Dec. 31, 2020, available at
www.sec.gov/Archives/edgar/data/1652044/000165204421000010/goog-20201231.htm

Google, Tax rates and value-added tax (VAT) - Play Console Help, available at
support.google.com/googleplay/android-developer/answer/138000?hl=en

Hulu, Why was I charged tax?, available at help.hulu.com/s/article/charged-sales-
tax#:~:text=Why%20was%20I%20charged%20tax%3F&text=In%20certain%20jurisdictions
%2C%20Hulu%20is,that%20is%20assessing%20the%20tax

Hung Truong, Compare 9 Online Marketplace Fees (Sept. 18, 2018), available at
sellerzen.com/compare-9-online-marketplace-fees

IGI Global, What is Mobile Devices, available at www.igi-global.com/dictionary/use-of-apps-
and-devices-for-fostering-mobile-learning-of-literacy-practices/18837

Investigation of Competition in Digital Markets: Majority Staff Report and Recommendations,
H. Subcomm. on Antitrust, Commercial and Administrative Law of the Comm. on the
Judiciary, (Oct. 6, 2020)

J.P. Morgan, 2020 E-commerce Payments Trends Report: US, available at
www.jpmorgan.com/merchant-services/insights/reports/united-states-2020

J.P. Morgan, E-commerce Payments Trends: United States (2019), available at
www.jpmorgan.com/merchant-services/insights/reports/united-states

Jack Nicas, How Apple’s 30% App Store Cut Became a Boon and a Headache, New York
Times (Aug. 14, 2020), available at www.nytimes.com/2020/08/14/technology/apple-app-
store-epic-games-fortnite.html

Jack Wallen, Why is Android more popular globally, while iOS rules the US?, Tech Republic,
(May 12, 2021), available at www.techrepublic.com/article/why-is-android-more-popular-
globally-while-ios-rules-the-us/

Jason Turnquist, How Much Does App Development Cost?, Fyresite, (July 31, 2020),
available at www.fyresite.com/how-much-does-app-development-cost/
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 201 of 667

                                            -163-


Jennifer Dunn, Sales Tax by State: Should You Charge Sales Tax on Digital Products? (Feb.
13, 2018), available at www.taxjar.com/blog/sales-tax-digital-products

Jerry Hildenbrand, Sideloading and Unknown Sources on Android: How to do it and fix errors,
Android Central, (Apr. 16, 2020), available at www.androidcentral.com/unknown-sources

Jimmy Westenberg, How to install the Amazon Appstore on your Android [Android 201],
AndroidGuys, (Apr. 5, 2014), available at www.androidguys.com/tips-tools/install-amazon-
app-store-android/

Joel Snyder, What are the risks of sideloaded Android applications?, Samsung Knox, (Apr.
20, 2020), available at www.samsungknox.com/en/blog/what-are-the-risks-of-sideloaded-
android-applications

Jonas DeMuro & Brian Turner, Best payment gateways of 2021, Tech Radar (Apr. 20, 2021),
available at www.techradar.com/best/best-payment-gateways

Jonathan Jaehnig, What Are Google Play Points and How Can You Use Them?, Make Use Of,
(Apr. 8, 2021), available at www.makeuseof.com/what-are-google-play-points/

Judopay (www.judopay.com/about)

Julija A., US Credit Card Market Share: Facts and Statistics, Fortunly (Nov. 23, 2021),
available at fortunly.com/articles/credit-card-market-share/

Kif Leswig, Bumble, Duolingo lead rally in shares of app developers after Google slashes
subscription fees, CNBC (Oct. 21, 2021), available at www.cnbc.com/2021/10/21/google-
cuts-app-store-fees-lifting-shares-of-app-developers.html

Kif Leswing, Apple will cut App Store commissions by half to 15% for small app makers,
CNBC, (Nov. 18, 2020), available at www.cnbc.com/2020/11/18/apple-will-cut-app-store-
fees-by-half-to-15percent-for-small-developers.html

Kif Leswing, Google to enforce 30% take from in-app purchases next year, CNBC (Sept. 28,
2020), available at www.cnbc.com/2020/09/28/google-to-enforce-30percent-cut-on-in-app-
purchases-next-year.html

Kim Byung-wook, Google’s app billing plan continues to backfire, The Korea Herald (June
28, 2021), available at www.koreaherald.com/view.php?ud=20210628000824

Kim Eun-jung, Korean app market ONE store eyes global alliance to compete with Google
(Dec. 1, 2019), available at en.yna.co.kr/view/AEN20191128004700320

Kim Jung-Min & Chea Sarah, One Store Gains Ground in Local Android App Market, Korea
JoonAng         Daily          (Dec.        2,          2020),        available   at
koreajoongangdaily.joins.com/2020/12/02/business/industry/One-Store-app-market-
Google/20201202175300439.html
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 202 of 667

                                            -164-


Kyle Orland, Humble Bundle creator brings antitrust lawsuit against Valve over Steam, Ars
Technica (Apr. 30, 2021), available at arstechnica.com/gaming/2021/04/humble-bundle-
creator-brings-antitrust-lawsuit-against-valve-over-steam/

Lewis Krauskopf, Swiping their way higher: Visa, Mastercard could be the next $1 trillion
companies, Reuters (January 31, 2020), available at www.reuters.com/article/us-visa-
mastercard-stocks/swiping-their-way-higher-visa-mastercard-could-be-the-next-1-trillion-
companies-idUSKBN1ZU0JA

Lim Young-sin & Choi Mira, Korea’s home-grown integrated app market One Store on
global outreach, Pulse (Nov. 13, 2019), available at
pulsenews.co.kr/view.php?year=2019&no=938924

Lionel Valdellon, What Are the Different Types of Mobile Apps? And How Do You Choose?,
CleverTap (Nov. 1, 2020), available at clevertap.com/blog/types-of-mobile-apps/

Lucas Mearian, iOS vs. Android: When it comes to brand loyalty, Android wins,
Computerworld, (Mar. 9, 2018), available at www.computerworld.com/article/3262051/ios-
vs-android-when-it-comes-to-brand-loyalty-android-wins.html

MacRumors, Apple Pay, available at www.macrumors.com/roundup/apple-
pay/#:~:text=Some%20of%20Apple's%20partners%20include,Bell%2C%20and%207%2D11

Mansoor Iqbal, App Revenue Data (2022), Business of Apps, (Feb. 16, 2022), available at
www.businessofapps.com/data/app-revenues/

Mark Jansen, Christian de Looper, and Paula Beaton, PayPal vs. Google Pay vs. Venmo vs.
Cash App vs. Apple Pay Cash, Digital Trends (July 5, 2021), available at
www.digitaltrends.com/mobile/paypal-vs-google-wallet-vs-venmo-vs-square-cash/

Mark Looi, On “The Platform Delusion” by Jonathan Knee, Medium (Dec. 21, 2021),
available at marklooi.medium.com/on-the-platform-delusion-by-jonathan-knee-a787a672b932

Max Willens, Cheat sheet: Twitter’s acquisition of Revue heats up the battle of the inbox,
Digiday (Jan. 27, 2021), available at digiday.com/media/cheat-sheet-twitters-acquisition-of-
revue-heats-up-the-battle-of-the-inbox/

Megan Graham & Jennifer Elias, How Google’s $150 billion advertising business works,
CNBC, (May 18, 2021), available at www.cnbc.com/2021/05/18/how-does-google-make-
money-advertising-business-breakdown-.html

Melanie Hicken, Are you paying the iTunes tax?, CNN Money (June 5, 2013), available at
money.cnn.com/2013/06/05/pf/taxes/itunes-tax/

Microsoft Store, App Developer Agreement Version 8.7 (Effective July 28, 2021), available at
query.prod.cms.rt.microsoft.com/cms/api/am/binary/RE4OG2b
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 203 of 667

                                           -165-


Mike Peterson, Amazon following Apple & Google’s lead, cutting app store commissions,
AppleInsider (June 17, 2021), available at appleinsider.com/articles/21/06/17/amazon-
following-apple-googles-lead-cutting-app-store-commissions

Nabila Amarsy, Switching Costs: 6 Ways to Lock Customers Into Your Ecosystem,
Strategyzer, (July 27, 2015), available at
www.strategyzer.com/blog/posts/2015/7/27/switching-costs-6-strategies-to-lock-customers-in-
your-ecosystem

Neal St. Anthony, Vanco Payment Solutions grows as electronic bridge between churches,
charities and their donors, Star Tribune (Aug. 31, 2020), available at
www.startribune.com/vanco-payment-solutions-grows-as-electronic-bridge-between-churches-
charities-and-their-donors/572250712/

Netflix, Taxes on your Netflix membership, available at
help.netflix.com/en/node/50068#:~:text=The%20Netflix%20advertised%20price%20does,me
mbership%20includes%20streaming%20and%20games

Nick Statt, Apple Just Kicked Fortnite Off the App Store, The Verge (Aug. 13, 2020),
available at www.theverge.com/2020/8/13/21366438/apple-fortnite-ios-app-store-violations-
epic-payments

Nick Statt, Tinder is now bypassing the Play Store on Android to avoid Google’s 30 percent
cut, The Verge (Jul. 19, 2019), available at www.theverge.com/2019/7/19/20701256/tinder-
google-play-store-android-bypass-30-percent-cut-avoid-self-install

OECD Policy Roundtable, Market Definition 2012, Organisation for Economic Co-operation
and Development (October 11, 2012), available at
www.oecd.org/daf/competition/Marketdefinition2012.pdf

Oxera, Paying up: the new economics of payment systems (Jun. 30, 2020), available at
www.oxera.com/insights/agenda/articles/paying-up-the-new-economics-of-payment-systems/

Patrick Icasas, Your Customer is a Churn Risk (And Here's How We Know), Catalyst (July 12,
2021), available at catalyst.io/blog/your-customer-is-a-churn-risk-and-heres-how-we-know

Paysafe (www.paysafe.com/us-en/)

Pixel Phone Help, Transfer Data from an iPhone to a Pixel, available at
support.google.com/pixelphone/answer/7129740#what_doesnt_copy&zippy=%2Cwhat-wont-
copy-during-setup

Play Console Help, How to use Play Console, available at
support.google.com/googleplay/android-developer/answer/6112435?hl=en#zippy=%2Cstep-
pay-registration-fee
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 204 of 667

                                            -166-


Play Console Help, Service fees, available at support.google.com/googleplay/android-
developer/answer/112622?hl=en

Poshmark, What are the fees for selling on Poshmark, available at
support.poshmark.com/s/article/297755057?language=en_US

POSQuote.com, Fattmerchant vs. Square: Which Payment Processor Is Best?, available at
posquote.com/review/fattmerchant-vs-square

ProtonMail wades into U.S. antitrust war, Axios, July 22, 2021

Rachel Rickard Straus, Apple faces landmark legal claim that could pay out to millions: Rip-
off that adds 30% to price of smartphone apps, This is Money, (Dec. 11 2021), available at
www.thisismoney.co.uk/money/bills/article-10299235/Rip-adds-30-price-smartphone-
apps.html

Revenue Share, Catappult App Distribution Console, available at
docs.catappult.io/docs/distribution-and-revenue-share

Rob Enderle, How Microsoft failed with Windows 10 Mobile, Computerworld, (Jan. 24, 2019),
available at www.computerworld.com/article/3336057/how-microsoft-failed-with-windows-
10-mobile.html

Ron Amadeo, Google announces crackdown on in-app billing, aimed at Netflix and Spotify,
Ars Technica (Sept. 20, 2020)

Sameer Samat - Vice President, Product Management, Evolving our business model to address
developer needs, Android Developers Blog (Oct. 21, 2021), available at android-
developers.googleblog.com/2021/10/evolving-business-model.html

Sameer Samat – Vice President, Product Management, Boosting Developer Success on Google
Play (Mar. 16, 2021), available at android-developers.googleblog.com/2021/03/boosting-dev-
success.html

Sameer Samat, Listening to Developer Feedback to Improve Google Play, Android
Developers Blog, (Sep. 28, 2020), available at android-
developers.googleblog.com/2020/09/listening-to-developer-feedback-to.html

Sarah Perez, Amazon’s Appstore lowers its cut of developer revenue for small businesses, adds
AWS credits, TechCrunch (June 17, 2021), available at techcrunch.com/2021/06/17/amazons-
appstore-lowers-its-cut-of-developer-revenue-for-small-businesses-adds-aws-credits/

Sensor Tower, 2019 – 2023 Mobile Market Forecast, (2019)

Sensor Tower, 2021 – 2025 Mobile Market Forecast, (2021), available at
go.sensortower.com/rs/351-RWH-315/images/Sensor-Tower-2021-2025-Market-Forecast.pdf
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 205 of 667

                                            -167-


Sensor Tower, Global Consumer Spending in Mobile Apps Reached $133 Billion in 2021, Up
Nearly 20% from 2020, (Dec. 2021), available at sensortower.com/blog/app-revenue-and-
downloads-2021

Shahar Ziv, Here’s Why Your Apple App Store Purchases May Be A Ripoff, Forbes, July 8,
2020, available at www.forbes.com/sites/shaharziv/2020/07/08/heres-why-your-apple-app-
store-purchases-may-be-a-ripoff/?sh=77c6e9872007

Shannon Vissers, How Much Does Clover Cost? Your Ultimate Guide To Clover Fees,
Merchant Maverick (Aug. 19, 2021), available at www.merchantmaverick.com/clover-pos-
cost/

Sherisse Pham, Google now has two apps in China, but search remains off limits, CNN
Business, (May 31, 2018), available at money.cnn.com/2018/05/31/technology/google-in-
china-files-app/index.html

Spotify, Does the price for Premium include tax?, available at
support.spotify.com/us/article/sales-tax/

Square, Payment Platforms, available at squareup.com/us/en/payments/payment-platform

Square, Payments, available at squareup.com/us/en/payments/pricing

Square, Your all-in-one restaurant POS system, available at squareup.com/us/en/point-of-
sale/restaurants

Statcounter, Mobile Operating System Market Share United States of America, (accessed Feb.
4, 2022), available at gs.statcounter.com/os-market-share/mobile/united-states-of-america

Statcounter, Mobile Operating System Market Share Worldwide, (accessed Feb. 2022),
available at gs.statcounter.com/os-market-share/mobile/worldwide/#yearly-2019-2019-bar

Statement by Executive Vice-President Margrethe Vestager on the Statement of Objections
sent to Apple on App Store rules for music streaming providers (Apr. 30, 2021)

Statista, Advertising revenue of Google from 2001 to 2020, available at
www.statista.com/statistics/266249/advertising-revenue-of-google/

Statista, Combined global Apple App Store and Google Play Store app downloads from 1st
quarter 2015 to 4th quarter 2021, available at www.statista.com/statistics/604343/number-of-
apple-app-store-and-google-play-app-downloads-worldwide/

Statista, Market share of mobile operating systems in China from January 2013 to December
2021*, available at www.statista.com/statistics/262176/market-share-held-by-mobile-
operating-systems-in-china/
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 206 of 667

                                            -168-


Statista, Mobile operating systems’ market share worldwide from January 2012 to June 2021,
available at www.statista.com/statistics/272698/global-market-share-held-by-mobile-
operating-systems-since-2009/

Statista, Number of apps available in leading app stores as of 2021, available at
www.statista.com/statistics/276623/number-of-apps-available-in-leading-app-stores/

Statista, Number of mobile apps downloaded worldwide from 2016 to 2020, available at
www.statista.com/statistics/271644/worldwide-free-and-paid-mobile-app-store-downloads/

Stax Payments – Healthcare, available at staxpayments.com/healthcare/

Stephanie Chevalier, Which form of payment do you use most often for online shopping?,
Statista, available at www.statista.com/statistics/448712/online-shopping-payment-method-
preference-usa/

Substack, Going Paid, available at substack.com/going-paid

Terry Stancheva, 17 App Revenue Statistics – Mobile Is Changing the Game in 2021,
TechJury, (Feb. 6, 2022), available at techjury.net/blog/app-revenue-statistics/#gref

Testimony for the S. Judiciary Committee, Subcomm. on Competition Policy, Antitrust, and
Consumer Rights (Horacio Gutierrez, Head of Global Affairs & Chief Legal Officer, Spotify,
Apr. 21, 2021)

Testimony for the S. Judiciary Committee, Subcomm. on Competition Policy, Antitrust, and
Consumer Rights (Jared Sine, Chief Legal Officer, Match Group, Apr. 21, 2021)

The new rules of the ‘creator economy’, Economist (May 8, 2021), available at
www.economist.com/briefing/2021/05/08/the-new-rules-of-the-creator-economy

Tom McKay, Twitter Wants to Be Substack Now, Gizmodo (Jan. 26, 2021), available at
gizmodo.com/twitter-wants-to-be-substack-now-1846136057

Tom Warren, Microsoft shakes up PC gaming by reducing Windows store cut to just 12
percent, The Verge, (Apr. 29, 2021), available at
www.theverge.com/2021/4/29/22409285/microsoft-store-cut-windows-pc-games-12-percent

Travers Korch, How tech ecosystems lock you into costs, Bankrate, (Sep. 30, 2014), available
at web.archive.org/web/20210602055404/https:/www.bankrate.com/finance/smart-
spending/tech-ecosystems-cost-you-1.aspx%20

Van Vicente, What Does Cross-Platform Mean for Gaming and Other Apps?, How-To Geek,
(Oct. 9, 2021), available at www.howtogeek.com/752370/what-does-cross-platform-mean-
for-gaming-and-other-apps/

Vanco, Pricing, available at www.vancopayments.com/egiving/pricing
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 207 of 667

                                            -169-


Vangie Beal, What Are Examples of Mobile Operating Systems?, Webopedia (Jan. 27, 2022),
available at www.webopedia.com/insights/mobile-os-and-different-types/

Verizon Communications, Verizon Business offers touchless payment capability with Clover
from Fiserv, GlobeNewswire (Dec. 10, 2020), available at www.globenewswire.com/news-
release/2020/12/10/2143226/0/en/Verizon-Business-offers-touchless-payment-capability-with-
Clover-from-Fiserv.html/

VPNDada, How to Access Google Play Store in China, available at
www.vpndada.com/access-google-play-store-china/

Walmart Marketplace, Referral Fees, available at marketplace.walmart.com/referral-fees/

WEPC, Console Gaming Statistics 2022, (Jan. 20, 2022), available at
www.wepc.com/statistics/console-gaming/

Yoon Seon-hoon, Google to abide by the ‘forced in-app payment law’, iNews24 (Nov. 4,
2021), available at n.news.naver.com/article/031/0000633296


TRIAL MATERIALS
Defendants’ Answers and Objections to Developer Plaintiffs’ First Set of Interrogatories to
Defendants (July 6, 2021)
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 208 of 667

                                                    -170-



                   APPENDIX 3: EXTENSION OF TWO-SIDED MARKET MODEL
       285. In what follows, I derive the expressions used in Parts V.B, V.E, and Appendix 4
for demonstrating impact in the particular two-sided setting relevant to the instant case. This
“applied” modeling is an extension of the “foundational” model in Rochet and Tirole 2003. I
discuss two cases: (1) a case where competition occurs only with respect to the take rate 𝑡, and (2)
a case where competition occurs only with respect to the buyer-side price 𝑃 .

       286. In Rochet and Tirole 2003, the monopolist platform operator maximizes profit
(denoted 𝜋 defined as:

 (A.1)                              𝜋       𝑃       𝑃    𝐶 𝐷 𝑃 𝐷 𝑃

where 𝑃 and 𝑃 are buyer- and seller-side platform prices, respectively; 𝐶 is marginal transaction
cost, and 𝐷 𝑃 and 𝐷 𝑃 are demand functions for buyers and sellers, respectively.594 I extend
the model (1) to accommodate Google charging a percentage take rate on the developer (seller)
side, (2) to allow the average App or In-App Content (product) price (set by developers) to be a
function of the take rate, and (3) to allow consumer (buyer) demand to be a function of the net App
or In-App Content (product) price, defined as the sum of the product price and the platform price.
The new profit function (denoted 𝜋 can be written as:
 (A.2)                          𝜋       𝑃   𝑡𝑆 𝑡        𝐶 𝐷 𝑆 𝑡    𝑃 𝐷 𝑡


where 𝑆 𝑡 is the price of paid App downloads and 𝑡 is the take rate or portion of consumer spend
that is retained by Google.
       287. Before continuing the exposition, it is useful to define the pass-through parameter
𝛾 which I refer to throughout:

 (A.3)                                                  𝛥𝑆𝑄   𝛥𝑆
                                                𝛾
                                                        𝛥𝑣𝑄   𝛥𝑣


where Δ𝑆 is the dollar change in product price to consumers and Δ𝑣 is the dollar change in costs
(including commissions paid to Google) to developers.




   594.   Rochet & Tirole at 996.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 209 of 667

                                                           -171-


A.       Case 1: Platform Operator Maximizes Profit Only With Respect to the Take Rate
         (Buyer-Side Platform Price Is Held Fixed)

        288. In this subsection, I present the derivations used to arrive at Equations (V.3) and
(V.5) in the report. If the platform operator maximizes profit with respect to the take rate, holding
the buyer-side platform price fixed, the following first-order condition595 follows from (A.2):

 (A.4)                                        𝑆    𝑡𝑆′             𝜀       ,               𝜀   ,
                                                                                                               0
                                          𝑃       𝑡𝑆 𝐶                 𝑡                       𝑡


where 𝑆′ is the change in the product price with respect to the take rate, and the “take-rate
elasticities” are:
 (A.5)                                                             𝑡𝑆 𝐷
                                                   𝜀   ,
                                                                    𝐷

 (A.6)                                                                 𝑡𝐷
                                                       𝜀   ,
                                                                       𝐷


𝐷 and 𝐷 are first derivatives of the buyer and seller demand functions. Re-arranging (A.4):
                                              𝑆    𝑡𝑆′             𝜀       ,               𝜀       ,
                                          𝑃       𝑡𝑆 𝐶                             𝑡
Inverting each side:
                                          𝑃     𝑡𝑆 𝐶                               𝑡
                                              𝑆 𝑡𝑆′                𝜀       ,               𝜀       ,

Dividing by 𝑡 gives Equation (V.3):
 (A.7), (V.3)                                 𝑃   𝑡𝑆 𝐶                                     1
                                               𝑡𝑆 𝑡 𝑆′                         𝜀       ,               𝜀   ,



Let 𝑘 be a developer’s marginal cost. The per-unit cost to developers from the take rate is equal to
𝑡𝑆 𝑡 , implying that the change in marginal cost resulting from a change in the take rate is
𝑆 𝑡      𝑡𝑆 𝑡 . Setting Δ𝑣         𝑆 𝑡        𝑡𝑆 𝑡 and Δ𝑆                          𝑆 𝑡 (the changes in price and cost,
respectively, resulting from a change in the take rate) in expression (A.3) gives 𝛾                                . Re-
arranging gives the following expression for 𝑆 𝑡 :
 (A.8)                                                                 𝛾
                                                  𝑆 𝑡                                  𝑆 𝑡
                                                               1               𝑡𝛾


    595. A first-order condition describes the point at which profit maximization is achieved and is a commonly
used tool in economic modeling. See, e.g., JEFFREY M. PERLOFF, MICROECONOMICS A-34 (Pearson 7th ed. 2015). As
in Rochet and Tirole, I apply the log-transform to the profit function, then take the derivative with respect to 𝑡.
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 210 of 667

                                                     -172-




       289. In a monopoly setting, elasticities reflect that the platform operator faces no
competition. In a competitive setting, profit is maximized with respect to “residual” demand,
defined as the demand curve faced by the platform operator in the presence of competition.596 To
determine the competitive equilibrium condition, I replace demand functions 𝐷 𝑆 𝑡       𝑃 and
𝐷 𝑡 in expression (A.2) with residual demand functions and repeat steps (A.4) through (A.7).
Residual demand functions are formally defined as the difference between market demand and the
quantity being supplied by the firm’s rivals:

 (A.9)                    𝑅𝐷 𝑆 𝑡         𝑃           𝐷 𝑆 𝑡       𝑃               𝑄       ,   𝑆 𝑡   𝑃



 (A.10)                                      𝑅𝐷 𝑡       𝐷 𝑡          𝑄   ,       𝑡



where 𝑄 , 𝑆 𝑡       𝑃 and 𝑄 , 𝑡 represent the amount of product supplied by the platform’s
rivals at price 𝑆 𝑡   𝑃 and take rate 𝑡.597 Steps (A.4) through (A.7) using the residual demand
curves then give the analogous competitive expression used in Equation (V.5):
 (A.11), (V.5)                           𝑃   𝑡𝑆 𝐶                    1
                                          𝑡𝑆 𝑡 𝑆′            𝜀   ,           𝜀       ,



where 𝜀 , and 𝜀 , are “own-brand” elasticities on the buyer (consumer) and seller (developer)
sides, respectively, reflecting the change in quantity demanded from consumers for transaction on
the firm’s (Google’s) platform in response to a change in the take rate and in the presence of
competition.
       290. To solve for the product price in the competitive setting, I use the pass-through
equation (A.3), and note that the change in the total commissions (from 𝑡 𝑆 to 𝑡 𝑆 ) from a
change in the take rate satisfies:

 (A.12)                                          𝛥𝑆          𝑆       𝑆
                                             𝛾
                                                 𝛥𝑣        𝑡 𝑆       𝑡 𝑆

where superscripts M and C denote the monopoly and competitive cases, respectively. Re-arranging
allows expression of the product price in the competitive world in terms of the competitive take
rate and monopoly inputs:
 (A.13), (V.8)                                               1   𝛾𝑡
                                                 𝑆     𝑆
                                                             1   𝛾𝑡


   596. See, e.g., Landes & Posner at 985.
   597. Id.
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 211 of 667

                                                   -173-



Using this expression, I can then solve for the competitive take rate that satisfies (A.10), having
estimated the other inputs (𝑆 , 𝐶, and competitive elasticities).
B.     Case 2: Platform Operator Maximizes Profit Only With Respect to the Buyer-Side
       Platform Price (Take Rate Is Held Fixed)

       291. Using the same objective function (A.2) but maximizing profit with respect to the
buyer-side platform price yields the following first-order condition, now taken with respect to 𝑃 :

 (A.14)                                   1                             𝜀
                                                                                0
                                   𝑃     𝑡𝑆 𝑡           𝐶           𝑆       𝑃


where 𝜀 is the price elasticity of demand for App products (taken with respect to the net price
𝑆 𝑃 ):
 (A.15)                                                 𝑆       𝑃 𝐷 ′
                                          𝜀
                                                                𝐷
Re-arranging (A.13) gives Equation (V.11):
 (A.16), (V.11)                               𝑃    𝑡𝑆 𝐶                 1
                                                  𝑆 𝑃                   𝜀

        292. To solve for the competitive equilibrium condition, I replace demand functions
𝐷 𝑆 𝑡      𝑃 and 𝐷 𝑡 with residual demand functions (defined in Equations A.9 and A.10) in
expression (A.2) and repeat steps (A.14) through (A.16). This gives the competitive expression
used in Equation (V.12):

 (A.17), (V.12)                           𝑃        𝑡𝑆 𝐶                     1
                                                  𝑆 𝑃                   𝜀

Note that the product price elasticity of demand is related to the take rate elasticity of demand
(given by Equation (A.5)):
                                                  𝑡𝑆 𝐷   𝑆 𝑃
                                     𝜀                 ∗
                                                   𝐷      𝑆′
or
 (A.18)                                                 𝑃       𝑆
                                             𝜀      𝜀   ,
                                                     𝑡𝑆′
The analogous expression using own-brand elasticities is:
 (A.19)                                                         𝑆     𝑃
                                         𝜀          𝜀       ,
                                                                    𝑡𝑆′
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 212 of 667

                                               -174-


              APPENDIX 4: RESULTS OF THE SINGLE MARKET TAKE RATE MODEL
         293. In Section V.B I present a model in which the locus of platform competition in the
Android App Distribution Market was the take rate. That is, absent Google’s anticompetitive
restrictions, I model the extent to which Google would lower its take rate in response to
competition. In this model, I hold the buyer-side subsidy fixed at its observed proportion to the
paid App download price. In Section V.E I presented an alternative model in which Google
increases its loyalty points program for consumers to encourage their use of the Play Store and
Google Play Billing rather than using a competing source of Apps or In-App Content. In this buyer-
side platform competition model, I model competition with respect to a single per-unit consumer
subsidy across both initial paid App downloads and purchases of In-App Content, as Google’s
present (though small in magnitude) loyalty points program uses this structure (rather than having
two different points programs). In this model, I hold the take rate fixed at its observed monopoly
level.

        294. Here I present a third scenario (the “single market take rate model”) where
competition occurs only with respect to a take rate (holding the buyer-side subsidy fixed) that
applies to a single combined market. The single market take rate model follows the same steps as
the Android App Distribution Market take rate model presented in Part V.B; however, in the single
market take rate model presented here, the platform operator maximizes profit by choosing a take
rate that applies to all transactions (both initial downloads and in-App purchases). Because of this
distinction, input values differ across models.

       295. My sources and methods for obtaining the monopoly scenario inputs shown in
Equation (V.3) are:

       𝑃 is equal to the (negative) price charged by Google to consumers for transactions made
        on its platform in the monopoly scenario. I compute the average value of this price as the
        sum of all promotions paid by Google for transactions made in both the Android App
        Distribution Market and In-App Aftermarket, divided by the total quantity of paid Apps
        downloaded in the Android App Distribution Market and purchases of In-App Content in
        the In-App Aftermarket, as observed in Google’s transaction records.

       𝑡 is equal to the observed take rate, computed as the sum of all revenue retained by
        Google in the Android App Distribution Market and In-App Aftermarket divided by the
        sum of total revenue spent by consumers in the Android App Distribution Market and In-
        App Aftermarket (prior to Google’s promotional expenditures, which are captured by 𝑃 ).

       𝑆 is equal to the average price charged for paid Apps in the Android App Distribution
        Market and In-App Content in the In-App Aftermarket in the monopoly setting, calculated
        as the total amount of revenue spent by consumers (prior to receiving promotions from
        Google) in the Android App Distribution Market and In-App Aftermarket divided by the
        total quantity of paid Apps downloaded in the Android App Distribution Market and
        purchases of In-App Content in the In-App Aftermarket, as observed in Google’s
        transaction records.

       Marginal cost 𝐶 represents the incremental cost incurred by Google in executing a
        transaction. I refer to Google’s financial data to infer this value, which suggests that
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 213 of 667

                                                -175-


        transaction fees and direct costs that Google records for the Play Store (excluding content
        costs) are approximately        percent of consumer expenditures.598

       𝛾 is equal to the change in the App price 𝑆 charged to consumers with respect to a change
        in developers’ costs (including the cost imposed on developers through Google’s take rate),
        also known as the pass-through rate. This parameter is discussed in detail in Section V.D,
        where I estimate its value at 89.9 percent.

       𝑆 represents the change in the product price resulting from a small change in the take
        rate. I solve for 𝑆 in terms of the take rate and pass-through rate: 𝑆             𝑆 .
        Appendix 3 contains a derivation of this expression.

       𝜀 , and 𝜀 , are the take-rate elasticities of demand for transactions in the Android App
        Distribution Market and In-App Aftermarket from consumers and developers, respectively,
        in the presence of Google’s monopoly. Given the other inputs to the monopoly model, the
        value of the sum 𝜀 ,   𝜀 , is implied by Equation (V.3).

       296. I hold inputs 𝐶 and 𝛾 fixed between the monopoly and competitive scenarios. My
sources and methods for obtaining the remaining inputs to the competitive scenario expression
shown in Equation (V.5) are:

       𝑡 is equal to the but-for (competitive) take rate. I solve for the but-for take rate by finding
        the value that satisfies Equation (V.5) given the remaining inputs.

       𝑆 is the price of paid App downloads and In-Ap Content that developers would charge in
        a competitive scenario. 𝑆 can be calculated in terms of other inputs (𝑆 , 𝑡 , 𝑡 , 𝛾
        according to Equation (V.8).

       𝑆 represents the change in the product price resulting from a small change in the take rate
        in the competitive setting. I solve for 𝑆 in terms of the take rate and pass-through rate:
        𝑆            𝑆 . Appendix 3 contains a derivation of this expression.

       𝜀 , and 𝜀 , are the “own-brand” take-rate elasticities of demand for transactions in the
        Android App Distribution Market and In-App Aftermarket for consumers and developers,
        respectively, in the presence of competition. Following the same steps taken in Section
        V.B.3, I estimate that Google’s take rate elasticities shift from a value of 2.11 (in the
        monopoly setting, as calculated using Equation (V.3)) to 2.49 in the competitive setting.
        Because this model is applied to the combined Android App Distribution Market and In-
        App Aftermarket, elasticity values vary slightly from those shown in Table 3 (which
        reflects the Android App Distribution Market only).

       𝑃 is equal to the (negative) price charged by Google to consumers for transactions made
        in the Android App Distribution Market and In-App Aftermarket in the competitive




   598. See Section V.C, GOOG-PLAY-000416245 (includes all Direct COS & Direct OpEx).
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 214 of 667

                                               -176-


       scenario. I hold the buyer-side platform price fixed in proportion to the product price: 𝑃
             𝑆 .

        297. Table A4 shows the results of the single market take rate model. At a pass-through
rate of 𝛾 89.9 percent, the resulting but-for average price of paid App downloads and In-App
purchases is        , down from the observed price of            (net of Google’s promotional
expenditures to consumers). This difference results in an average overcharge to consumers of
                          , and aggregate damages of $2.35 billion (equal to         times
        paid App and In-App purchase transactions made) as a result of Google’s restrictions,
across the Class Period (August 16, 2016, through December 31, 2020).
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 215 of 667

                                                                -177-


                   TABLE A4: SINGLE MARKET TAKE RATE MODEL, IMPACT AND DAMAGES
                                      (8/16/2016 – 12/31/2020)
Actual World (Monopoly, Eqn. (V.3))
      #         Input    Description                                         Value   Source/Notes
                                                                                     GOOG-PLAY-005535886
      [1]                               Consumer Expenditure (US)
                                                                                     (US Consumers)
                                                                                     GOOG-PLAY-005535886
      [2]                               Google Revenue (US)
                                                                                     (US Consumers)
                                        Google Promotional Expenditures              GOOG-PLAY-005535886
      [3]
                                        (US)                                         (US Consumers)
                                        Android App Distribution (Paid)
                                                                                     GOOG-PLAY-005535886
      [4]                               and In-App Aftermarket
                                                                                     (US Consumers)
                                        Transactions
  [5]=[1]/[4]          𝑺𝑴               App Product Price                            Calculated
                               𝑴
  [6]=[2]/[1]              𝒕            Take Rate                                    Calculated
 [7]=-[3]/[4]          𝑷𝑩               Buyer-side Platform Price                    Calculated
                                        App Product Price Net of
 [8]=[5]+[7]        SM + PB                                                          Calculated
                                        Promotions
      [9]                  𝑪            Marginal Cost                                GOOG-PLAY-000416245
     [10]                  𝜸            Pass-through rate                            Estimated (See Table 8)
     [11]          𝜺𝑴
                    𝑩,𝒕            𝜺𝑴
                                    𝑺,𝒕 Take Rate Elasticities of Demand             Calculated (Eqn. (V.3))


But-For World (Competitive, Eqn. (V.5))
      #          Input    Description                                                Source/Notes
     [12]                  𝑺𝑪           App Product Price                            Calculated (Eqn.(V.8))
     [13]                  𝒕𝑪           Take Rate                                    Calculated (Eqn.(V.5))
[14]=([7]/[5])*
                       𝑷𝑩               Buyer-side Platform Price                    Calculated
     [12]
[15]=[12]+[14                           App Product Price Net of
                     SC + PB                                                         Calculated
       ]                                Promotions
   [16]=[9]                𝑪            Marginal Cost                                GOOG-PLAY-000416245
  [17]=[10]                𝜸            Pass-through Rate                            Estimated (See Table 8)
                                                                                     Economic theory/
     [18]         𝜺𝑪𝑶𝑩,𝒕           𝜺𝑪𝑶𝑺,𝒕 Take Rate Elasticities of Demand
                                                                                     empirical studies
                                        Consumer Savings Per
[19]=[8]-[15]                                                                        Calculated
                                        Transaction
[20]=[19]*[4]                           Aggregate Damages                            Calculated
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 216 of 667

                                                       -178-


   APPENDIX 5: STANDARD SSNIP TEST INDICATES IN-APP AFTERMARKET PURCHASES IS A
                            RELEVANT ANTITRUST MARKET
       298. In this Appendix, I assess whether the In-App Aftermarket constitutes its own
relevant antitrust market. In this section, I use an industry standard market definition exercise to
show it is indeed the case that it does

        299. Economists and antitrust agencies use a market definition exercise to evaluate “a
customer’s ability and willingness to substitute away from one product to another in response to a
price increase” by a hypothetical monopolist.599 The DOJ and FTC’s Horizontal Merger
Guidelines define a relevant antitrust product market as a product or group of products that, if
controlled by a hypothetical monopolist, could profitably sustain a small but significant and non-
transitory increase in price ( “SSNIP”) over the competitive price level.600 A SSNIP is usually
assessed as a five-percent increase in price over competitive levels.601

         300. Economists perform what is known as a “critical loss analysis” to assess the
profitability of a SSNIP of five percent on a category of goods or services.602 All else equal, raising
a product’s price increases its profit margin. But for virtually all products, higher prices also result
in fewer sales. How many fewer sales a product earns in response to a change in price is a product’s
“own-price demand elasticity,” which is defined as the percentage decrease in quantity demanded
that results from a one-percent increase in price.603 A critical loss analysis determines if a product
has sufficient outside competition to deter a hypothetical monopolist from profitably raising prices.
If not, the product is its own relevant antitrust market.

         301. A critical loss analysis can be broken into three parts. First, an economist calculates
the largest theoretical loss in sales (in percentage terms) a hypothetical monopolist could sustain
above competitive levels before a five-percent price increase would become unprofitable. The
critical loss formula is based on the profit margin of the hypothetical monopolist (in percentage
terms) and the price increase being tested. For a five-percent price increase, the critical loss is
calculated as:604

                                                                    5%
                                          𝐶𝑟𝑖𝑡𝑖𝑐𝑎𝑙 𝐿𝑜𝑠𝑠
                                                                𝑀𝑎𝑟𝑔𝑖𝑛 5%




     599. Merger Guidelines §4.
     600. Id. §4.1.1.
     601. Id. §4.1.2 (“The Agencies most often use a SSNIP of five percent of the price paid by customers for the
products or services to which the merging firms contribute value. However, what constitutes a “small but significant”
increase in price, commensurate with a significant loss of competition caused by the merger, depends upon the nature
of the industry and the merging firms’ positions in it, and the Agencies may accordingly use a price increase that is
larger or smaller than five percent.”).
     602. Merger Guidelines §4.1.3. See also Daniel O'Brien and Abraham Wickelgren. A critical analysis of critical
loss analysis, 71 ANTITRUST L.J. (2003) 161 [hereafter O’Brien & Wickelgren]; Michael Katz and Carl Shapiro.
Critical loss: Let's tell the whole story, ANTITRUST 17 (2002) 49.
     603. For example, a product with an own-price demand elasticity of two would see sales drop by two percent
for every one-percent increase in price.
     604. O’Brien & Wickelgren at 10, Equation 4.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 217 of 667

                                                        -179-


Above, Margin gives the hypothetical monopolist’s initial price-cost margin at the competitive
price. For example, if the competitive margin is 25 percent, a hypothetical monopolist would have
a critical loss of (0.05/(0.25+.05)) = 0.167, or 16.7 percent. If the hypothetical monopolist raised
its price by five percent above the competitive level, the price increase would be profitable so long
as the hypothetical monopolist lost no more than 16.7 percent of its sales.
       302. Second, an economist would then estimate the actual losses the hypothetical
monopolist would face if it raised prices by five percent. To calculate actual losses, an economist
estimates the hypothetical monopolist’s own-price elasticity of demand for the products in
question, as well as the cross-price elasticity of demand for other products owned by the
monopolist (if any) that a consumer might switch to in response to a price increase on the first set
of products. For a five percent price increase, actual loss is calculated as:

                                        𝐴𝑐𝑡𝑢𝑎𝑙 𝐿𝑜𝑠𝑠         5% ∗ 𝜀            𝜀

For example, a firm with an own-price elasticity of two and no cross-price elasticity would face
an actual loss of (.05*2) = 0.1, or 10 percent. The cross-price elasticity is irrelevant here since
Google does not own another app store aside from the Play Store (or another payment processor
aside from Google Play Billing). Hence, I conservatively set 𝜀     = 0.
        303. Finally, an economist compares the critical loss and the actual loss. So long as the
actual loss is below the critical loss, the price increase would be profitable to the hypothetical
monopolist. If the price increase is profitable, it implies that the products controlled by the
hypothetical monopolist do not have sufficient outside substitutable alternatives to defeat an
exercise of market power. The SSNIP test would therefore indicate that the products in question
represent a relevant antitrust market.

        304. Economists may use a SSNIP test prospectively, such as in merger cases where a
SSNIP test is used to analyze whether a merged firm could profitably rise prices and could harm
consumer welfare. The SSNIP test can also be used retroactively, including in cases where a not-
so-hypothetical monopolist already commands the markets in question, as is the case here.605 A
retroactive SSNIP test has the potential to underestimate a firm’s market power, since the prices
and margins in the actual world may be contaminated by the Challenged Conduct.606

        305. To perform a one-sided SSNIP test for the In-App Aftermarket, I start by
empirically estimating Google’s actual-world own-firm demand elasticity for the In-App
Aftermarket. I used standard multiple regression methods. Specifically, I regressed the natural
logarithm of quantity demanded of In-App Content on the natural logarithm of Google’s take rate
in dollars (the price Google charges for facilitating the transaction). I include App-specific fixed
effects and uses taxes as an exogenous instrument. This yields an own-firm demand elasticity of

      605. OECD Policy Roundtable, Market Definition 2012, Organisation for Economic Co-operation and
Development (October 11, 2012) at 40, available at www.oecd.org/daf/competition/Marketdefinition2012.pdf (“In
monopolisation cases or in cases of an abuse of a dominant position, the potential anticompetitive effects may already
have occurred. As a result, the analysis may be retrospective and the prevailing price may already be higher as
compared to the but-for price.”).
      606. Id. This is known as the “Cellophane Fallacy,” named after the US Supreme Court case in United States v
EI du Pont de Nemour and Co. Briefly, the court “fail[ed] to recognise that the prices on which the market definition
was based were already tainted by the infringement. In other words, the market definition proceeded prospectively, as
if in a merger case, not taking the (at least partial) retrospective effects of the alleged infringement into account.”
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 218 of 667

                                                        -180-


1.88 at Google’s present market share of 97 percent, implying a market demand elasticity of
1.88*0.97 =1.82. This yields an estimate of the demand elasticity that would be faced by a
hypothetical monopolist with a market share of 100 percent in the In-App Aftermarket.607 I note
that this independent econometric estimate is very much in line with the market demand elasticity
of 1.50 used in my economic model of In-App Aftermarket, summarized in Table 5 above. For
purposes of the SSNIP test, I conservatively employ the greater of these two estimates (1.82 rather
than 1.50).608

      306. Actual loss is calculated using a SSNIP of five percent, multiplied by the market
demand elasticity:

                                     𝐴𝑐𝑡𝑢𝑎𝑙 𝐿𝑜𝑠𝑠         5% ∗ 1.88 ∗ 97%            9.1%

A hypothetical monopolist in the In-App Aftermarket could profitably raise prices above
competitive levels as long as the actual loss is less than the critical loss. This will be the case as
long as the competitive margin is less than 50 percent.609 As demonstrated in my economic model
of the In-App Aftermarket, summarized in Table 5 above (Row 15), Google’s competitive margin
(      percent) is substantially below     percent. As a consequence, the critical loss is
                 percent, which substantially exceeds the actual loss of       percent. Moreover, the
      percent estimate of the competitive margin is conservatively high, given that the analysis in
Table 5 assumes that Google enjoys brand loyalty conferring a substantial market share of 60
percent even in the competitive world. If the competitive margin were lower, the critical loss would
be still higher. For example, if the competitive margin were ten percent, the critical loss would be
                            percent, which again substantially exceeds the actual loss of     percent.
Because the actual loss is below the critical loss, a hypothetical monopolist could profitably impose
a SSNIP above competitive levels in the In-App Aftermarket.




    607. The market demand elasticity is given by the equation 𝐸                       . (Landes & Posner at 944-945.)
In the actual world, Es = 0 because competitive rivals are constrained by Google’s tie. Therefore, EM = EgSg. See, e.g.,
MICHAEL KATZ AND HARVEY ROSEN, MICROECONOMICS 3rd ed. 329-330 (Irwin/McGraw-Hill 1998).
     608. Using the higher estimate is conservative because a greater market elasticity yields a greater actual loss.
All else equal, this makes it less likely that a SSNIP would be profitable, because the SSNIP is profitable when the
critical loss exceeds the actual loss.
     609. Setting critical loss equal to actual loss, we obtain: 5%/(Margin + 5%) = 9.1%. The equation is balanced
when Margin = 50%. The actual loss of 9.1 percent will be less than the critical loss as long as Margin < 50%.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 219 of 667

                                      -181-


                         APPENDIX 6: DAMAGES BY STATE
TABLE A6.1: BY STATE COMBINED ANDROID APP DISTRIBUTION AND IN-APP AFTERMARKET
                        DAMAGES (8/16/2016 – 12/31/2020)

                                           % of
          State (or Territory)           Consumer          Damages
                                        Expenditure

               Alabama                                   $67,524,945
                 Alaska                                  $28,927,282
           American Samoa                                  $92,917
                Arizona                                  $105,883,933
               Arkansas                                  $42,205,868
              California                                 $534,985,767
               Colorado                                  $90,751,900
             Connecticut                                 $39,740,944
               Delaware                                  $22,737,824
         District of Columbia                             $8,230,541
     Federated States of Micronesia                         $5,716
                Florida                                  $266,864,458
                Georgia                                  $132,621,133
                 Guam                                      $936,145
                Hawaii                                   $27,759,379
                  Idaho                                  $28,100,254
                 Illinois                                $171,681,928
                Indiana                                  $104,417,051
                   Iowa                                  $52,057,981
                Kansas                                   $48,767,475
               Kentucky                                  $56,347,257
               Louisiana                                 $66,826,705
                 Maine                                   $17,984,033
           Marshall Islands                                $30,968
               Maryland                                  $85,378,776
            Massachusetts                                $79,143,988
               Michigan                                  $156,664,683
              Minnesota                                  $90,403,301
              Mississippi                                $34,747,285
               Missouri                                  $100,034,673
               Montana                                   $22,075,786
               Nebraska                                  $29,802,955
                Nevada                                   $52,636,116
           New Hampshire                                 $20,778,372
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 220 of 667

                                       -182-


                                             % of
       State (or Territory)                Consumer       Damages
                                          Expenditure

           New Jersey                                   $99,996,721
           New Mexico                                   $31,120,940
            New York                                    $268,913,517
         North Carolina                                 $121,891,348
          North Dakota                                  $16,120,218
    Northern Mariana Islands                              $124,657
               Ohio                                     $175,124,607
            Oklahoma                                    $70,787,568
             Oregon                                     $136,961,770
              Palau                                       $39,658
          Pennsylvania                                  $176,498,595
           Puerto Rico                                   $9,601,747
          Rhode Island                                  $14,143,094
         South Carolina                                 $64,787,397
          South Dakota                                  $13,855,680
            Tennessee                                   $92,563,379
              Texas                                     $369,634,808
               Utah                                     $45,572,143
            Vermont                                      $7,195,792
         Virgin Islands                                  $1,189,157
             Virginia                                   $116,419,732
           Washington                                   $144,911,525
         West Virginia                                  $24,889,498
            Wisconsin                                   $92,130,489
            Wyoming                                     $12,848,067
 Armed Forces Europe, the Middle
                                                         $2,968,938
        East, and Canada
      Armed Forces Pacific                                $2,564,549
     Armed Forces Americas                                 $504,499
            Not Listed                                   $25,978,079
               Total                                    $4,726,486,511
     Source: Google App Transaction Data; Table 10.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 221 of 667

                                  -183-


    TABLE A6.2: BY STATE COMBINED ANDROID APP DISTRIBUTION DAMAGES
                         (8/16/2016 – 12/31/2020)

                                         % of
           State (or Territory)        Consumer     Damages
                                      Expenditure

                 Alabama                             $254,693
                   Alaska                            $79,460
            American Samoa                             $253
                  Arizona                            $431,481
                 Arkansas                            $167,021
                California                          $2,246,252
                 Colorado                            $412,723
               Connecticut                           $162,220
                 Delaware                            $58,177
           District of Columbia                      $37,801
           Federated States of
                                                       $60
                Micronesia
                  Florida                           $1,095,550
                  Georgia                            $554,474
                   Guam                               $2,672
                  Hawaii                             $79,191
                    Idaho                            $133,446
                   Illinois                          $672,772
                  Indiana                            $391,283
                     Iowa                            $194,305
                  Kansas                             $189,167
                 Kentucky                            $248,667
                Louisiana                            $224,993
                   Maine                             $82,349
            Marshall Islands                            $86
                Maryland                             $325,325
              Massachusetts                          $349,292
                 Michigan                            $592,117
                Minnesota                            $367,639
                Mississippi                          $115,456
                 Missouri                            $386,419
                 Montana                             $79,858
                 Nebraska                            $114,140
                  Nevada                             $180,994
             New Hampshire                           $90,625
                New Jersey                           $401,360
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 222 of 667

                                      -184-


               New Mexico                              $143,330
                New York                              $1,066,070
             North Carolina                            $505,630
              North Dakota                             $58,840
        Northern Mariana Islands                         $494
                  Ohio                                 $667,786
                Oklahoma                               $255,488
                 Oregon                                $383,740
                  Palau                                   $58
              Pennsylvania                             $682,152
               Puerto Rico                             $44,885
              Rhode Island                             $53,593
             South Carolina                            $243,743
              South Dakota                             $55,426
                Tennessee                              $360,572
                  Texas                               $1,614,763
                  Utah                                 $256,249
                Vermont                                $36,742
             Virgin Islands                             $2,653
                 Virginia                              $487,459
               Washington                              $592,033
             West Virginia                             $105,360
                Wisconsin                              $346,969
                Wyoming                                $46,991
        Armed Forces Europe, the
                                                       $14,441
        Middle East, and Canada
          Armed Forces Pacific                          $10,413
         Armed Forces Americas                          $2,363
                Not Listed                              $4,115
                  Total                               $18,764,677
     Source: Google App Transaction Data; Table 10.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 223 of 667

                                   -185-


 TABLE A6.3: BY STATE IN-APP AFTERMARKET DAMAGES (8/16/2016 – 12/31/2020)

                                          % of
            State (or Territory)        Consumer       Damages
                                       Expenditure

                 Alabama                             $67,283,442
                   Alaska                            $28,882,681
            American Samoa                             $92,779
                  Arizona                            $105,441,508
                 Arkansas                            $42,039,380
                California                           $532,619,029
                 Colorado                            $90,287,527
               Connecticut                           $39,574,346
                 Delaware                            $22,711,266
           District of Columbia                       $8,187,690
           Federated States of
                                                        $5,619
                Micronesia
                  Florida                            $265,733,374
                  Georgia                            $132,039,120
                   Guam                                $934,502
                  Hawaii                             $27,710,745
                    Idaho                            $27,945,247
                   Illinois                          $171,017,849
                  Indiana                            $104,048,688
                     Iowa                            $51,875,863
                  Kansas                             $48,582,688
                 Kentucky                            $56,073,998
                Louisiana                            $66,641,432
                   Maine                             $17,890,895
            Marshall Islands                           $30,918
                Maryland                             $85,066,887
              Massachusetts                          $78,760,134
                 Michigan                            $156,101,982
                Minnesota                            $90,027,064
                Mississippi                          $34,653,992
                 Missouri                            $99,658,825
                 Montana                             $22,003,597
                 Nebraska                            $29,692,934
                  Nevada                             $52,482,684
             New Hampshire                           $20,679,736
                New Jersey                           $99,591,064
               New Mexico                            $30,958,127
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 224 of 667

                                      -186-


                New York                              $267,848,970
             North Carolina                           $121,364,332
              North Dakota                            $16,066,461
        Northern Mariana Islands                        $124,164
                  Ohio                                $174,483,892
               Oklahoma                               $70,557,247
                 Oregon                               $136,735,672
                  Palau                                 $39,699
              Pennsylvania                            $175,834,734
               Puerto Rico                             $9,550,197
              Rhode Island                            $14,092,019
             South Carolina                           $64,556,925
              South Dakota                            $13,799,843
                Tennessee                             $92,209,620
                  Texas                               $367,874,956
                  Utah                                $45,241,688
                Vermont                                $7,150,998
             Virgin Islands                            $1,188,541
                 Virginia                             $115,907,387
               Washington                             $144,303,022
             West Virginia                            $24,777,690
                Wisconsin                             $91,802,042
                Wyoming                               $12,805,035
        Armed Forces Europe, the
                                                       $2,951,882
        Middle East, and Canada
          Armed Forces Pacific                          $2,553,908
         Armed Forces Americas                           $501,782
               Not Listed                              $26,071,517
                  Total                               $4,707,721,834
     Source: Google App Transaction Data; Table 10.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 225 of 667




REDACTED VERSION

     Exhibit A3
         to
C. Cramer Declaration
   Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 226 of 667




                  UNITED STATES DISTRICT COURT

               NORTHERN DISTRICT OF CALIFORNIA

                      SAN FRANCISCO DIVISION


IN RE GOOGLE PLAY            STORE
ANTITRUST LITIGATION                 No. 3:21-md-02981-JD
THIS DOCUMENT RELATES TO:             CLASS CERTIFICATION REPLY
In re Google Play Consumer Antitrust REPORT OF HAL J. SINGER, PH.D.
Litigation, Case No. 3:20-cv-05761-JD Judge: Hon. James Donato




HIGHLY CONFIDENTIAL UNDER PROTECTIVE ORDER
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 227 of 667

                                                          -2-


                                       INTRODUCTION AND ASSIGNMENT

         1.      I have been asked by counsel for Consumer Plaintiffs to respond to the expert report
of Dr. Michelle Burtis (“Burtis Report”).1 As detailed below, the Burtis Report does not cause me
to alter any of the opinions expressed in my class certification report (“Singer Report”).2

         2.     In the Singer Report, I concluded that common methods and evidence demonstrate
that, in the absence of Google’s anticompetitive conduct, all or almost all Consumer Class members
would have paid lower prices for Apps and In-App Content.3 I demonstrated that Google has
monopoly power in the Android App Distribution Market, gained and maintained through
exclusionary contracting practices and artificial technological barriers.4 I further demonstrated that
Google has extended its power into the In-App Aftermarket by tying it to the Android App
Distribution Market using the Aftermarket Restrictions.5

        3.      In the Singer Report, I used standard economic methods, data, and evidence common
to the Class to show that the Challenged Conduct resulted in antitrust injury to all or almost all Class
members, with aggregate damages of up to $4.73 billion for consumers nationwide across the two
separate product markets.6 I also presented an alternative model of impact and damages that can be
applied to a single, combined antitrust product market, including one variation that does not calculate
a take-rate reduction, but instead finds common impact through direct consumer subsidies.7 Dr.
Burtis is therefore mistaken when she claims that “Consumer Plaintiffs’ claims of classwide antitrust
impact depend on showing that there would be a reduction in service fees...”8

        4.     I have also been asked to respond to both Dr. Burtis’s and Dr. Michael Williams’s
analysis of pass-through.9 The pass-through analyses of Drs. Burtis and Williams are unreliable and
biased, and they are virtually guaranteed to underestimate pass-through in a competitive but-for
world with steering and discounting—conditions that were absent in their “natural experiments.”
Although their pass-through analyses suffer from numerous methodological flaws that render both
of their analyses unreliable and uninformative, it bears emphasis that no “corrections” to their
methods could produce reliable pass-through estimates, given (1) the limitations that Google placed
on a developer adjusting its prices, (2) the lack of any incentive to rebate prices to renewing



     1. Expert Report of Dr. Michelle M. Burtis (March 31, 2022) [hereafter, Burtis Report].
     2. Expert Report of Hal J. Singer, Ph.D. (February 28, 2022) [hereafter, Singer Report]. Unless otherwise defined,
capitalized terms herein are defined the same as they are in the Singer Report. The materials I relied upon in forming
my opinions are noted in the footnotes throughout this report or otherwise listed in Appendix 1, or in the Singer Report.
I reserve the right to supplement, expand, or amend my opinions.
     3. Id. ¶2. I also concluded that Consumer Plaintiffs would also have benefitted from enhancements to output,
quality, and consumer choice in a more competitive but-for world. Id.
     4. Id. Dr. Burtis accepts for purposes of her analysis that “the alleged relevant antitrust markets are properly
defined,” that “Google Play had market power in the[] claimed relevant markets,” and that “in the but-for world, Google
Play would face more competition.” Burtis Report ¶¶42-44.
     5. Singer Report ¶2.
     6. Id. ¶274.
     7. Id. ¶¶245-256.
     8. Burtis Report ¶11.
     9. Id. ¶¶173-178; ¶¶280-295; Expert Report of Michael Williams (February 28, 2022) [hereafter, Williams
Report] ¶¶76-88; ¶¶111-124. Dr. Williams is one of the economic experts for the Developer Class.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 228 of 667

                                                        -3-


subscribers, and (3) that no data exist to directly measure pass-through in the absence of the
Challenged Conduct, which remains in place to this day.10 In addition, classwide impact does not
depend on pass-through in my economic model that finds common impact through direct consumer
subsidies.11 Dr. Burtis’s and Dr. Williams’s pass-through analyses are irrelevant to that model, which
itself supports class certification in this case.

                                               QUALIFICATIONS

       5.       My qualifications are detailed in the Singer Report. Since that time, I have testified
before the House Economic Disparity and Fairness in Growth Committee on April 6, 2022,
regarding the linkages between concentration and consumer harms.12

        I. DR. BURTIS’S ATTEMPTS TO REFUTE COMMON IMPACT ARE WITHOUT MERIT

        6.    This section responds to Part VI of the Burtis Report. Sub-section A responds to Dr.
Burtis’s arguments in her Part VI.A, sub-section B responds to Dr. Burtis’s arguments in her Part
VI.B, and so on.

A.      Google Would Have Offered Lower Take Rates To All or Almost All Developers in a
        More Competitive But-For World

        7.      In Part VI.A of the Burtis Report, Dr. Burtis claims there is no common proof of a
“Uniform Lower Service Fee” in the but-for world. My analysis does not assume a uniform take rate
across all developers in a more competitive but-for world, but instead solves for a but-for headline
rate that applies to almost all developers, which tracks Google’s standardized pricing in the actual
world. As explained in the Singer Report, Google did offer limited discounts to the headline rate of
30 percent for an exceedingly small share of developers. However, even for these developers, the
take rate net of any discounts would have been lower in the but-for world because the discounts
would have been negotiated from a lower headline rate, not the inflated 30 percent headline rate.13
Therefore, in the but-for world, it is reasonable to assume that those developers that secured
discounts off the inflated rate of 30 percent would have also secured the discounts off a lower,
headline rate. My model determines the headline rate that would have prevailed in a more
competitive but-for world, and implies antitrust impact to the small fraction of developers that
obtained a discount off the headline rate.




    10. See Part IV, infra.
    11. Singer Report ¶¶245-256.
    12. “(Im)Balance of Power: How Market Concentration Affects Worker Compensation and Consumer
Prices,” Testimony to the House Committee on Economic Disparity and Fairness in Growth, Apr. 6, 2022.
    13. Singer Report ¶177, n. 376; see also Singer Report Part VII (demonstrating how damages can be calculated for
individual Class Members using common methods, taking into account the fact that a limited number of developers
received discounts relative to Google’s standard 30 percent take rate).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 229 of 667

                                                            -4-


         1.       Limited Variation Within the Play Store’s Highly Uniform and Formulaic Take
                  Rate Structure Does Not Refute Classwide Impact

        8.     In Part VI.A.1 of the Burtis Report, Dr. Burtis claims that take-rate reductions would
be individualized in a more competitive but-for world. 14 The Play Store’s take rate structure is highly
uniform and formulaic. Dr. Burtis emphasizes limited exceptions for special programs such as LRAP
and SwG (each of which offered a 15 percentage point reduction from the headline take rate), or
LRAP++ (offering a 22.5 percentage point reduction from the headline take rate).15 But only one
tenth of one percent of the proposed developer class qualified for any of these special programs.16
And within each of these special programs, the take rate remained highly formulaic—set equal to a
fixed percentage-point discount off the headline take rate of 30 percent.

        9.      For the duration of the Class Period, the Play Store has charged a headline take rate
of 30 percent to the vast majority of developers.17 Starting in 2018, Google implemented limited,
formulaic, non-individualized take rate reductions. In 2018, Google reduced take rates from 30 to
15 percent for developers whose customers maintained a subscription service for twelve or more
continuous months; the take rate for the first twelve months on subscriptions remained at the
headline rate of 30 percent. Starting in January 2022, Google reduced the take rate to 15 percent for
all subscription developers, even for the initial twelve months.18 Google applied the same common
formula to all or almost all subscription developers.19 In mid-2021, Google reduced the take rate to
15 percent for the first $1 million in annual revenue for all developers in the Play Store, again
applying a common formula.20

        10.      It is not reasonable to presume, as Dr. Burtis does, that Google would alter its pricing
policy and start negotiating take rates on an individualized basis with tens of thousands of developers




     14. Burtis Report ¶113.
     15. Id. ¶114.
     16. There are “at least 49,000 U.S. developers” in the developer class. Burtis Report ¶74. There are “ putative
developer class members that participate in the programs LRAP, LRAP++, SwG, ADAP, and Hug/GVP.” Id. ¶117.
Accordingly, approximately                =     percent of proposed developer class members qualified for these special
programs.
     17. See, e.g., GOOG-PLAY-000443763, at -772 (summarizing the Play Store’s business model as charging a 30
percent take rate). See also Figure 1, infra; see also Singer Report Table 3, row [6] (showing          percent take rate in
the Android App Distribution Market). Id. Table 5, row [3] (showing a        percent take rate in the In-App Aftermarket).
Special programs such as LRAP were in place before 2018. As noted above, only              percent of the developer class
qualified for any of these special programs.
     18. Sameer Samat (Google Vice President, Product Management), Evolving our business model to address
developer needs (Oct. 21, 2021), available at https://android-developers.googleblog.com/2021/10/evolving-business-
model.html (“starting on January 1, 2022, we're decreasing the service fee for all subscriptions on Google Play from
30% to 15%, starting from day one.”)
     19. A possible exception would be a subscription developer that was among the              percent of developers that
qualified for special programs such as LRAP.
     20. Sameer Samat (Google Vice President, Product Management), Boosting developer success on Google Play
(Mar. 16, 2021), available at https://android-developers.googleblog.com/2021/03/boosting-dev-success html (“Starting
on July 1, 2021 we are reducing the service fee Google Play receives when a developer sells digital goods or services to
15% for the first $1M (USD) of revenue every developer earns each year. With this change, 99% of developers globally
that sell digital goods and services with Play will see a 50% reduction in fees.”).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 230 of 667

                                                         -5-


in a more competitive but-for world.21 Figure 1 below illustrates the uniformity of the Play Store’s
take rate structure over the Class Period, showing the vast majority of take rates between   and 30
percent. Figure 2 focuses on take rates above     percent, and shows that the vast majority of these
are above       percent.

          FIGURE 1: THE PLAY STORE’S UNIFORM AND FORMULAIC TAKE RATE STRUCTURE




     Note: Figures may not sum to 100 percent due to rounding. Take rates of 15 percent before 2018 reflect
     special programs such as LRAP, as well as          , which has largely circumvented the Aftermarket
     Restrictions. Singer Report ¶154.




     21. To secure promises by certain of the largest developers not to provide other app stores (like Samsung) with
exclusive content, Google negotiated certain benefits to those developers as part of “Project Hug.” This program was
limited to a small number of developers. Even during the Project Hug negotiations, Google did not offer individualized
take rates. Singer Report ¶¶110-114; ¶¶121-127.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 231 of 667

                                                       -6-


                    FIGURE 2: TAKE RATES ABOVE 29 PERCENT IN THE PLAY STORE




     Notes: Figures may not sum to 100 percent due to rounding. Also due to rounding, Google’s calculated take
     rate can exceed 30 percent for some lower-priced transactions. Singer Report ¶193, n. 392.

       11.    Dr. Burtis claims that, because entry by competing app stores such as the ONE Store
and the Epic Games Store did not cause Google to lower its take rate in the actual world, this
demonstrates that all or almost all Class members would not have benefitted from lower take rates
in a more competitive but-for world.22 Yet Google did respond to the (limited) competition offered
by the ONE Store by expanding subsidies available to all consumers via its Play Points program in
South Korea.23 As Dr. Burtis concedes, “Google Play Points are available, without cost, to any
consumer that registers to receive Play Points.”24 And the Epic Games Store was not even available
on Android devices (only on PC and Mac), as Dr. Burtis concedes.25 That Google has not responded




     22. Burtis Report ¶¶128-129.
     23. Singer Report ¶248.
     24. Burtis Report ¶353.
     25. Id. ¶129; see also Epic Games Store, FAQ, available at https://www.epicgames.com/site/en-US/epic-games-
store-faq (“Which Platforms does the Epic Games Store Support? The Epic Games Store currently offers PC and Mac
support.”) (last updated Aug. 18, 2021).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 232 of 667

                                                        -7-


further to competition from competing app stores is indicative of the lack of full-fledged competition
in the actual world.26

       12.     Dr. Burtis claims that, because competing app stores such as those operated by
Samsung and Amazon have offered “special incentives” to certain developers, this demonstrates that
individualized inquiry would be necessary to determine whether all or almost all developers would
have benefitted from lower take rates in the but-for world.27 But she concedes that Samsung offered
a formulaic “tiered structure,” with take rates of either 30 percent or 20 percent for “premier
partners.”28 That competing app stores agreed to lower take rates for exceptionally popular
developers such as Epic provides no basis to presume, as Dr. Burtis does, that competing app stores
would negotiate take rates on an individualized basis with tens of thousands of developers in a more
competitive but-for world. More importantly, Samsung’s and Amazon’s “targeted incentives” did
not amount to meaningful competition in light of the Challenged Conduct, as explained in the Singer
Report.29 That Google did not drop its take rate in response to this weak entry does not inform how
Google would have responded to vibrant entry in the but-for world with steering and discounting.

        2.       Developers at Low Price Points Would Still Benefit from Increased Competition
                 in a More Competitive But-For World and Would Not Pay Higher Payment
                 Processing Costs as a Percentage of the Transaction

        13.     This section responds to Part VI.A.2 of the Burtis Report, in which Dr. Burtis claims
that developers with low price points ($0.99 per download) would not have benefitted from increased
competition because payment processors such as PayPal currently impose a per-transaction fee of
up to $0.49, resulting in payment processing fees in excess of 50 percent for developers charging
$0.99.30 Dr. Burtis also claims these per-transaction fees would result in take rates in excess of 27
percent for developers charging $1.99.31 It bears noting that the 27 percent implied rate is below
what Google charged for most of the Class Period, indicating that these developers suffered antitrust
injury, even if one accepts Dr. Burtis’s assumption that a per-transaction fee would persist in the
but-for world.

       14.     Dr. Burtis’s claim that the competitive rate for payment processing would range from
27 to 50 percent wholly ignores the realities of current pricing of transactions for paid Apps and In-
App Content. Google obviously does not incur a per-transaction fee of $0.49 each time it processes


     26. See, e.g., GOOG-PLAY-000005203.R at GOOG-PLAY-000005221.R (Google characterizes ONE Store as
“strictly a [Korean] channel,” with “low [Monthly Average Users]” and a “very poor catalog” of apps); GOOG-PLAY-
000292207.R at GOOG-PLAY-000292223.R (Google contrasts Play as the “everything to everyone” store, while ONE
Store “can only target narrow slices of our users,”).
     27. Burtis Report ¶¶119-121.
     28. Id. ¶120. With respect to Amazon, the document cited in the Burtis Report (¶119, n. 32) shows that Google
recognizes that Amazon does not provide the competitive discipline that would characterize a more competitive but-for
world. See GOOG-PLAY-000568027.R at 028.R (“Amazon [has] yet to establish critical mass.”).
     29. See Singer Report Part III.D.2.c (Google Discouraged Samsung from Effectively Competing with the Play
Store in the Distribution of Apps in the Android App Distribution Market and Entered into Deals with Developers to
Mitigate the Risk of Competition from Samsung); see also Part III.D.2.b (Google Has Deployed Multiple Measures to
Ensure That Amazon Would Not Become an Effective Play Store Competitor).
     30. Burtis Report ¶¶131-132.
     31. Id.
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 233 of 667

                                                          -8-


a $0.99 transaction for a developer (if it did, it would lose money on these developers). Record
evidence

                       serve $0.99 developers while charging much lower take rates than the 52
percent payment processing costs that Dr. Burtis claims developers would incur in a more
competitive but-for world.33 Google and other app stores achieve economies of scale in payment
processing by aggregating transactions from a large number of developers—economies that have
been denied to payment processors in part due to the Challenged Conduct. In a more competitive
but-for world, absent the Aftermarket Restrictions, competing payment processors would gain a
foothold in the In-App Aftermarket and enjoy these economies of scale and, if they wanted to win
the business of apps pricing at $0.99, economics predicts that they would eschew minimum fees—
indeed, this competitive process has already begun to unfold in the Apple App Store, as explained
below.

        15.     In Table 4 of her report, Dr. Burtis lists some of the fee structures that payment
processors currently advertise in distinct markets and claims that developers transacting at low prices
such as $0.99 would be made worse off under these rate structures, paying take rates in excess of
even Google’s 30 percent.34 Dr. Burtis speculates that “a developer with a $0.99 price that used
PayPal would pay $0.49 plus 2.59% of the price. The total cost is $0.52 or 52% of the value of the
transaction – substantially higher than Google Play’s 30% (or 15%) rate.”35 But Dr. Burtis fails to
disclose that the same payment processors she cites offer “micropayment” fee structures specifically
tailored to small-dollar transactions—another fact she ignores in her analysis. For example, PayPal
has long advertised and offered micropayment rates of five percent plus a fixed fee of $0.05.36 For
a $1 transaction, the payment processing fee would come to just ten percent—far below Google’s
30 percent take rate, let alone the rates in excess of 50 percent that Dr. Burtis puts forward.37 Thus,
Dr. Burtis’s speculation that “developers that rely primarily on low priced app transactions” would




        32. See, e.g., GOOG-PLAY-001556407 at -409


                                                  See also GOOG-PLAY-007879368.C at GOOG-PLAY-007879369.C
(“all      transactions         processed at   [.]”)
     33. Burtis Report ¶132.
     34. Id.
     35. Id.
     36. See Paypal Help Center, How can I update my payment preferences for micropayments?, available at
https://www.paypal.com/gf/smarthelp/article/how-can-i-update-my-payment-preferences-for-micropayments-faq1691
(“Our micropayment pricing is designed for PayPal Business or PayPal Premier customers who process transactions that
are typically under $12 USD. As long as you have a Business or Premier PayPal account, you can enjoy these rates. To
update or apply for the micropayments pricing, give us a call by clicking Help at the top of the page and we will assist
you further. Our micropayment rate is 5% (6% for crossborder transactions) + $0.05 USD per transaction.”); GOOG-
PLAY-008162331 (2021 Google spreadsheet showing Paypal micropayment rate of $0.05 plus 5%). As of August 2,
2021, it appears that Paypal has increased its Micropayments fee to $0.09 plus 4.99%. See PayPal Fee Changes, (Aug.
2, 2021), available at https://www.paypalobjects.com/marketing/ua/pdf/US/en/feepages-080221.pdf. Even at this rate,
an effective rate of 14 percent for a $0.99 transaction (equal to $0.09 + $0.99 x 0.0499) is well below Dr. Burtis’s
estimates.
     37. Burtis Report ¶132.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 234 of 667

                                                        -9-


be forced to rely on “more expensive”38 payment processors in a more competitive but-for world is
wrong, and is contradicted by evidence in the actual world.

       16.     Dr. Burtis’s error becomes even more apparent when evaluating the aftermath of the
recent Epic v. Apple ruling that Apple must permit app developers to steer consumers to other
payment processing systems. Following this decision, the third-party payment processing firm
Paddle announced its pricing structure for Apple’s App Store.39 In addition to providing a suite of
merchant services that Apple does not, Paddle offers a ten percent take rate for any transactions
under $10, and a five percent take rate plus $0.50 for transactions over this amount.40 As shown
below, if Paddle were to provide the same services to developers on the Play Store at such rates,
developers selling low-priced Apps (below $10) would be unequivocally better off, as they would
pay only a ten percent transaction fee with no fixed component:

             TABLE 1: TAKE RATES FOR APPLE APP STORE, THE PLAY STORE, AND PADDLE
                                                App Store             Play Store           Paddle
           Transactions below $10                15-30%                15-30%               10%
           Transactions from $10+                15-30%                15-30%             5% + $0.50
         Source: https://www.paddle.com/platform/in-app-purchase

Indeed, even for App prices above $10, developers would be better off under Paddle (5 percent plus
$0.50) than paying the lowest take rate from Google (15 percent). For example, the lowest fee for
an App priced at $10.00 on the Play Store would be $1.50, whereas the fee on the same App prices
at $10.00 on Paddle would be $1.00 (equal to $0.50 plus $0.50). The disparities increase with
increase in the price of the App—the Play Store is always more expensive than Paddle.

       17.      Dr. Burtis claims that “a developer that opted out of Google Play Billing would
additionally have to incur costs for the other services that Google provides, such as customer service,
subscription management, and management of billing disputes.”41 In fact, Paddle already includes
such features, plus many others, in its fee structure.42

       18.     The uniformity of Paddle’s rate structure also undermines Dr. Burtis’s claim that
individualized inquiry would be necessary to determine whether developers would be better off in a
more competitive but-for world: Paddle offers the same rate structure to all developers.
Individualized inquiry is also not necessary to arrive at the sound economic conclusion that
developers would rationally select a lower-cost payment processor, other things equal.

       19.     Further, Dr. Burtis ignores that not every developer has to switch to a competing
payment processor to benefit in a more competitive but-for world. Indeed, my analysis
conservatively assumes that only 40 percent would switch, leaving 60 percent of the In-App


     38. Id. ¶131.
     39. Chance Miller, Paddle unveils ‘first alternative’ to Apple’s App Store In-App Purchase system following Epic
ruling, 9TO5MAC, (Oct. 7, 2021), available at https://9to5mac.com/2021/10/07/app-store-iap-paddle-system-
announcement/.
     40. In-App Purchase, Paddle, available at https://www.paddle.com/platform/in-app-purchase.
     41. Burtis Report ¶133.
     42. In-App Purchase, Paddle, available at https://www.paddle.com/platform/in-app-purchase.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 235 of 667

                                                          -10-


Aftermarket remaining with Google. Those that remain with Google would still benefit from lower
take rates, as Google would be forced to lower its take rate to remain competitive according to
standard economic principles.43

B.       All or Almost All Class Members Would Have Paid Lower Prices in a More
         Competitive But-For World

        20.     This section responds to Part VI.B of the Burtis Report, in which Dr. Burtis claims
that “Differences in cost conditions for different apps, differences in the demand elasticities for
different apps, and differences in app developers’ pricing strategies indicate that many developers
would not charge lower retail prices for apps, subscriptions, and IAPs in a but-for world with
uniformly lower service fees.”44

         1.       Individualized Analysis of Developer Marginal Costs Is Not Necessary To
                  Demonstrate Classwide Impact

         21.     In Part VI.B.1 of the Burtis Report, Dr. Burtis claims that some Apps have zero
marginal costs, while others have positive and substantial marginal costs, and suggests that Apps
with zero marginal costs are “less likely” to charge lower prices to consumers when their take rates
are lower.45 Dr. Burtis provides no evidence that any App actually has zero marginal cost. She would
be hard pressed to come up with a relevant example, given that developers incur variable payment
processing costs whenever they transact with their customers. Dr. Burtis also ignores that the take
rate itself represents a marginal cost that applies to the initial App purchase and any purchase of In-
App Content.46

       22.      Dr. Burtis herself identifies various additional marginal costs incurred by Apps,
including customer support, processing of customer information, and other costs that naturally
increase with the number of users.47 The economic literature recognizes that “ongoing marginal costs
for app developers arise from various maintenance tasks after app development.”48 Per Ghosh and
Han (2014), sources of ongoing marginal costs for developers include (but are not limited to): “1)


     43. Singer Report ¶¶213-220.
     44. Burtis Report ¶139.
     45. Id. ¶142.
     46. The take rate is analogous to the royalty stack that exists in the mobile phone market; this is the aggregation of
individual patent royalties paid to individual standard essential patent holders, whose intellectual property the end
product (the mobile phone) includes. “Running royalties,” which are royalties that increase with the number of units
sold, as do developer payments to Google, are considered a marginal cost. See, e.g., Alexander Galetovic, Stephen
Haber, Lew Zaretzki, An estimate of the average cumulative royalty yield in the world mobile phone industry: Theory,
measurement and results, 42(3) TELECOMMUNICATIONS POLICY 263, 264 (2018) (“A standard-compliant phone uses
hundreds, if not thousands of standard essential patents (SEPs) owned by a large number of SEP holders. Each SEP
holder sets her running royalty rate independently, and the result is that excessive running royalties are piled on top of
excessive running royalties—a theoretical construct that is called ‘royalty stacking.’ This royalty stack drives up the
marginal cost of manufacturing phones, thereby increasing prices to consumers, and discouraging innovation by
manufacturers.”). Id. at 266 (“As the well-known theory of vertical control shows, running royalties will ultimately show
up in the marginal cost of manufacturing a phone no matter where they are charged in the value chain.”).
     47. Burtis Report ¶¶144-146.
     48. Anindya Ghose & Sang Pil Han, Estimating Demand for Mobile Applications in the New Economy, 60(6)
MANAGEMENT SCIENCE 1470, 1474 (2014).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 236 of 667

                                                         -11-


fixing crashes or errors reported by users of the app, 2) adding features requested by users after
release, 3) user support … and 4) scaling costs.”49

        23.     Dr. Burtis claims that “if an app has zero (or close to zero) marginal cost, a reduction
in the service fee rate will be less likely to lead to a change in the retail price of the app.”50 Ignoring
the evidence of positive marginal costs above, if what Dr. Burtis was proposing were true, then
imposing a percentage sales tax on an App should have little or no effect on its pricing. But, as
explained in the Singer Report, when a digital product is subject to a sales tax, this burden is typically
passed through in full to the customer.51 More generally, Google’s own data shows a positive and
highly statistically significant relationship between taxes and the price of Apps and In-App
Content.52 In addition, according to Dr. Burtis’s logic, developers would not charge a higher price
in the Play Store than on their websites. That some do, as shown in Table 9 of the Singer Report,
implies that (despite the Challenged Conduct), lower take rates have led to lower prices for these
developers.

        24.     More fundamentally, Dr. Burtis ignores that the competitive but-for world is a long-
run equilibrium, in which Google’s take rate is substantially and permanently lower for all or almost
all developers. Standard economics shows that a developer’s decision to enter and remain in the
market depends on its ability both to cover its explicit costs and to earn a competitive rate of return.
A developer obligated to pay 30 percent of its revenue to Google in perpetuity needs to charge a
higher price to consumers than a developer facing a substantially and permanently lower take rate;
the greater the take rate, the higher the developer’s price will need to be for the developer to earn a
competitive rate of return.53

        25.     In summary, demonstrating classwide impact does not require individualized analysis
of developer costs; what matters is that developers with substantially and permanently lower costs
in the but-for world would charge lower prices to all or almost all Class members.54 As explained in
Part II.A.1 below, I have employed standard economic models that fit the data and facts of this case
to quantify this pass-through.

         2.       Individualized Analysis of Developer Pricing Strategies Is Not Necessary to
                  Demonstrate Classwide Impact

        26.   In Part VI.B.2 of the Burtis Report, Dr. Burtis claims that individualized inquiry
would be necessary because many developers use a “strategy of setting retail prices that end in
’99.’”55 According to Dr. Burtis, developers would be reluctant to reduce prices to a number not


     49. Id. at 1477.
     50. Burtis Report ¶142.
     51. Singer Report ¶244.
     52. In the Singer Report, I performed instrumental variable (“IV”) regressions using Google’s app revenue metrics
data. Singer Report ¶¶237-238. In the first stage of the IV regressions, taxes are used as an exogenous instrument that
shifts price independently of other demand drivers. According to those first-stage regressions, there is a positive and
highly statistically significant relationship between taxes and App prices, even after controlling for more than 200,000
App-level fixed effects.
     53. Singer Report ¶227.
     54. Id. Part V.D.
     55. Burtis Report ¶148.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 237 of 667

                                                         -12-


ending in $0.99. Dr. Burtis presents statistics suggesting that 97 percent of transactions in the Play
Store are at prices ending in “99,”56 but (as before) fails to disclose that more than 20 percent of the
top paid Apps in the Play Store have initial download prices that do not end in “99,”57 indicating
that developers are willing to prominently display such prices to consumers. More broadly, Google’s
transaction data records at least 130,869,000 U.S. transactions at prices that do not end in “99.” This
is inconsistent with Dr. Burtis’s claim that developers would somehow feel compelled to charge
prices ending only in “99” in the but-for world.

        27.     According to Dr. Burtis’s logic, developers would not charge a price ending with any
digits other than 99 for downloading an App on their websites. That they do, as shown in Table 9 of
the Singer Report, implies that developers are willing to charge prices that violate the “99 rule” when
passing on the marginal cost savings from lower take rates to their customers.

        28.     To illustrate, suppose that a developer has consistently charged $1.99 for In-App
Content in the actual world due, in part, to focal-point pricing. Google would have kept $0.597 per
transaction (equal to 30 percent of $1.99), remitting the remainder to the developer. Steering is
prohibited for this developer in the actual world. The gross margin on each in-app transaction (before
considering other marginal costs) is $1.39 (equal to $1.99 less $0.597). In a but-for world, a new
payment processor (such as Paddle) emerges due to the elimination of the Aftermarket Restrictions
and charges a ten percent take rate, which for this developer, would be $0.199 at the original price
of $1.99. With steering permitted, the developer can realize cost savings of $0.398 per transaction
(equal to approximately $0.597 less $0.199), but only if the developer can induce its customers to
use the new payment processor rather than Google Play Billing. At this point, it is now profit-
maximizing for the developer to deviate from focal-point pricing and share a portion of the savings
with its customer via a lower price for in-app purchases. For example, the developer could drop its
price for In-App Content made via the new processor to (say) $1.79, effectively splitting the savings
with the customer for making the right choice. The developer’s fee to the third-party payment
processor falls to $0.179 per transaction (equal to 10 percent of $1.79). The developer’s new gross
margin (before considering other marginal costs) on transactions processed via the third-party
processor is $1.61 (equal to $1.79 less $0.179), which exceeds the prior gross margin of $1.39. It no
longer pays to abide by focal-point pricing. A key reason we do not see such deviations from focal-
point pricing in the actual world is that developers are not afforded the opportunity to steer due to
the Aftermarket Restrictions. Moreover, in the few episodes where we do observe steering in the
actual world, developers have been observed to deviate from 99-cent pricing increments, as shown
in Table 9 of the Singer Report.

        29.    Dr. Burtis also ignores that Google required developers, until very recently, to charge
at least 99 cents. Thus, for a large number of developers, the observed prices in the actual world
could be the result of a restraint that Google imposed on their pricing. Record evidence indicates



     56. Id. Figure 7.
     57. Of the 200 “Top paid apps” in the Play Store, 43 of them (or 21.5 percent) have initial download prices that do
not end in “99.” See backup materials to this report. See also Top Paid Apps, Google Play, available at
https://play.google.com/store/apps/collection/cluster?clp=0g4jCiEKG3RvcHNlbGxpbmdfcGFpZF9BUFBMSUNBVE
lPThAHGAM%3D:S:ANO1ljLdnoU&gsr=CibSDiMKIQobdG9wc2VsbGluZ19wYWlkX0FQUExJQ0FUSU9OEAc
YAw%3D%3D:S:ANO1ljIKVpg.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 238 of 667

                                                           -13-


that developers requested (and ultimately received) increased pricing flexibility, eventually
persuading Google to abandon its $0.99 pricing floor, so that they could deviate from $.99.58 That
Google imposed a 99-cent restriction on developers implies that Google believed developers would
deviate from such pricing; if focal-point pricing was as powerful as Dr. Burtis claims, Google’s
restraint would have been unnecessary. I understand that Plaintiffs challenged Google’s 99-cent
restriction in the Complaint,59 as undermining price competition among developers, which implies
that such a restriction would be absent in the but-for world.

         30.     To the extent developers would prefer to maintain “supermarket-style” pricing in the
but-for world, they could do so simply by ending their prices in “9,” instead of “99” (e.g., $2.49), or
in or in “5” (e.g. $4.95) as many do today.60 (Thus, the solution above to my hypothetical example
of steering was $1.79, twenty cents below $1.99, but still ending in a nine.) Sellers’ strategy of
ending prices in “9” or “5”, such as $2.99 or $2.95” is commonly known as “odd pricing,”
“psychological pricing,” or “charm pricing.” The strategic reasoning that underlies this practice rests
on the belief that consumers will focus on the numbers to the left of the decimal, thus demonstrating
higher demand for a good priced at $2.99 than $3.00, despite the negligible price difference of one
cent. The economic literature has classified odd prices to include those within 5 cents of the nearest
highest dollar (.95 to .99) or one cent below the next highest ten cents (.19, .29, etc.).61 Market
practitioners sometimes apply the same heuristic, underscoring the fact that odd pricing does not
limit itself only to prices ending in “99.”62 Thus, Dr. Burtis errs in her attempt to cabin this strategy
to such prices. Nothing would prevent developers from setting prices at $1.79 versus $1.99, for


     58. See GOOG-PLAY-000355570.R at GOOG-PLAY-000355597.R (“From the developers perspective, they want
more flexibility around their pricing. Many Developers that tested sub dollar pricing find this strategy effective, and they
have asked us to expand the sub dollar capability to more markets.”). The Play Store ultimately removed its $0.99
minimum pricing rule in our around early 2022. Archived web pages show that the Play Store had a U.S. minimum price
of $0.99 as of late 2021. Play Console Help, Supported Locations for Distribution to Google Play Users, accessed Dec.
27, 2021, available at https://web.archive.org/web/20211227224037/https:/support.google.com/googleplay/android-
developer/answer/10532353?visit id=637762416354084080-1400722469&rd=1. As of mid-February 2022, the
minimum price is listed at $0.05. Play Console Help, Supported Locations for Distribution to Google Play Users,
accessed Feb. 18, 2022, available at
https://web.archive.org/web/20220218131358/https:/support.google.com/googleplay/android-
developer/answer/10532353?visit id=637807868385671271-2942202130&rd=1.
     59. Complaint at ¶¶18, 173, In re Google Play Consumer Antitrust Litigation, No. 3:20-CV-05761-JD (Dec. 20,
2021).
     60. See, e.g., Top Paid Apps, Google Play , available at
https://play.google.com/store/apps/collection/cluster?clp=0g4jCiEKG3RvcHNlbGxpbmdfcGFpZF9BUFBMSUNBVE
lPThAHGAM%3D:S:ANO1ljLdnoU&gsr=CibSDiMKIQobdG9wc2VsbGluZ19wYWlkX0FQUExJQ0FUSU9OEAc
YAw%3D%3D:S:ANO1ljIKVpg. (showing various “Top paid apps” with prices that do not end in “99.” For example,
as of April 21, 2022, the third most-popular paid App was “Torque Pro (OBD 2 & Car),” priced at $4.95 per download
on the Play Store. Another paid App in the Top 20 was “Tasker,” priced at $3.49 per download on the Play Store).
     61. Judith Holdershaw, Philip Gendall and Ron Garland, The Widespread Use of Odd Pricing in the Retail Sector,
MARKETING BULLETIN,             8,    1997,     53-58,      Research     Note     1,    available    at    http://marketing-
bulletin massey.ac nz/V8/MB V8 N1 Holdershaw.pdf.
     62. See PriceIntelligently, Odd-Even Pricing, available at https://www.priceintelligently.com/odd-even-pricing#
(“Odd pricing refers to a price ending in 1,3,5,7,9 just under a round number, such as $0.19, $2.47, or $64.93”). See
also, Shopify, Odd-Even Pricing, available at https://www.shopify.com/encyclopedia/odd-even-pricing (“Odd-even
pricing is a pricing strategy involving the last digit of a product or service price. Prices ending in an odd number, such
as $1.99 or $78.25, use an odd pricing strategy, whereas prices ending in an even number, such as $200.00 or 18.50, use
an even strategy”).
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 239 of 667
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 240 of 667

                                                      -15-


        3.       Individualized Analysis of Competitive Conditions Is Not Necessary to
                 Demonstrate Classwide Impact

         32.    In Part VI.B.3 of the Burtis Report, Dr. Burtis claims that individualized analysis is
necessary because developers facing different demand elasticities (that is, different competitive
conditions) might not cut their prices by the same amount in the but-for world.66 Dr. Burtis ignores
that, although the extent of pass-through to consumers of a reduction in a developer’s costs may vary
with competitive conditions, the fact of pass-through does not. For example, as explained in the
Singer Report, even a profit-maximizing monopolist will pass on a portion of cost savings to
consumers.67 Moreover, as explained in the Singer Report and in Part II.A.1 below, my pass-through
analysis allows me to quantify the extent of pass-through using standard economic methods that
account for differences in the competitive conditions facing different developers: I use a standard
logit demand systems frequently employed by economists seeking to model pricing decisions among
differentiated firms.68 This provides a standard, tractable economic framework to estimate
equilibrium pass-through rates for thousands of developers making thousands of interdependent
pricing decisions for each of their Apps and In-App Content.

C.      Dr. Burtis Fails to Identify Additional Economic Reasons Class Members Were
        Uninjured

       33.   In Part VI.C of the Burtis Report, Dr. Burtis claims to offer additional “economic
reasons some members of the putative consumer Class would not be better off in the but-for
world.”69

        1.       Dr. Burtis Fails to Identify Customers Who Would Not Have Paid Lower Retail
                 Prices in the But-For World

       34.     In Part VI.C.1 of the Burtis Report, Dr. Burtis claims that some consumers were not
impacted because “[c]ertain retail prices are the same in Google Play as prices on the relevant
developer’s website.”70 This ignores that the Challenged Conduct removes the full incentives that
would be present for developers to steer to their website for both App downloads and In-App
Content. With respect to the In-App Aftermarket, Google’s anti-steering restrictions explicitly
prevent developers from directing customers inside an App downloaded from the Play Store to
lower-cost options outside of the Play Store. Because they cannot steer customers from within the
Play Store, developers are deprived of what is likely the most efficient channel for steering and have



    66. Burtis Report ¶¶155-160.
    67. Singer Report ¶223. The Singer Report also demonstrates that pass-through can be calculated for individual
App categories using data and methods common to the Class. Id. Table 8.
    68. See Part II.A.1 below; see also Gregory Werden & Luke Froeb, The Antitrust Logit Model For Predicting
Unilateral Competitive Effects, 70 ANTITRUST LAW JOURNAL 257 (2002); Nathan Miller, Conor Ryan, Marc Remer, &
Gloria Sheu, Approximating the Price Effects of Mergers: Numerical Evidence and an Empirical Application DOJ
Economic Analysis Group Discussion Paper 12-8 (2012), at 2 (explaining logit is one of the demand systems “that
commonly are employed in antitrust analysis.”). Dr. Burtis concedes that logit demand is “frequently used in
economics[.]” Burtis Report ¶306.
    69. Burtis Report ¶¶161-167.
    70. Id. ¶169.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 241 of 667

                                                         -16-


less of an incentive to attempt to drive traffic to their websites.71 Moreover, for initial App downloads
in the Android App Distribution Market, Google has placed significant restrictions on users
attempting to download competing Apps, including non-Google app stores.72 These restrictions
decrease the likelihood that steering would be successful in the Android App Distribution Market.73
In light of these impediments, that some developers have not engaged in steering in the actual world
does not imply that they would not do so in a more competitive but-for world.

         2.       Dr. Burtis Fails to Show That Consumers Transacting at “Lower Price Points”
                  Were Not Impacted

         35.    In Part VI.C.2 of the Burtis Report, Dr. Burtis claims that some Class members were
not impacted due to developers’ tendency to select prices ending in “99.”74 I have already responded
to this claim in Part I.A.2 above.

         3.       Dr. Burtis Fails to Show That Consumers Using Higher-Cost Payment Methods
                  such as Direct Carrier Billing Were Not Impacted

        36.     Dr. Burtis claims that consumers who rely on “relatively expensive forms of payment
to transact in Google Pay, such as direct carrier billing (‘DCB’) and gift cards” would not have been
better off in a more competitive but-for world because “the cost to Google of processing DCB and
gift cards is high relative to other forms of payment,” and “[d]evelopers may not find lower cost
options for those forms of payment in the but-for world.”75

        37.     Dr. Burtis ignores that the same competitive forces that would lower prices for lower-
cost forms of payment in the but-for world would also apply to higher-cost forms of payment. Dr.
Burtis’s logic presumes that consumers would not switch to a different payment form if they could
take advantage of the lower prices that would prevail under the competitive counterfactual.
Consumers who use DCB currently pay the same App price as those who do not. But in the “but-
for” world, those who use other forms of payment would pay less, as developers pass through the
cost savings from the reduced take rate. Payment processing via DCB would either have to fall to


     71. Singer Report ¶¶25-26. In the actual world, some developers have attempted to engage in limited steering by
setting a lower price on their websites, but this strategy depends on making consumers aware of the pricing differential
outside of the Play Store. Id. ¶¶242-244; Table 9.
     72. Id.¶¶129-130. For example, to download the Amazon app store in 2016, a user had to complete a series of 19
steps, including selecting “Unknown Sources” within the user’s security settings, and navigating three separate security
warnings. A Google presentation recognized the significance of this sideloading deterrent by documenting the 19 steps
required to successfully install Amazon Underground. See GOOG-PLAY-000297309.R at GOOG-PLAY-00297311.R-
00297314.R. See also Expert Report Of Douglas Craig Schmidt, PhD (February 28, 2022), Part IV.A (Google Android
Forces Users To Go Through the Unknown Sources Flow To Install Apps, Including Non-Google App Stores, Outside
Of The Google Play Store).
     73. See

                                                                                           See also GOOG-PLAY-
002414772 (In 2018, Google found only 15% of devices in the United States had the “unknown sources” setting enabled,
which I understand allows downloads from outside of Play).
    74. Burtis Report ¶¶148-152.
    75. Id. ¶164; ¶¶183-185. According to Google’s transactional data, only about      percent of transactions in the
Play Store use DCB. Google Transaction Data (GOOG-PLAY-007203251).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 242 of 667

                                                       -17-


meet the new competitive benchmark or risk customers abandoning DCB in favor of lower prices
elsewhere.

        38.      Dr. Burtis also ignores that Google did not exclude DCB payments when it lowered
the take rate to 15 percent for subscription developers or when it did the same for the first $1 million
in revenue for all developers. Instead, Google implemented a uniform, formulaic take-rate reduction,
regardless of payment method.76 This real-world evidence contradicts Dr. Burtis’s speculation
regarding a more competitive but-for world.

          4.     Dr. Burtis’s Claim That Free Apps Would Not Be Free in the But-For World Is
                 Without Merit

        39.    In Part VI.C.4 of the Burtis Report, Dr. Burtis claims that Google would undertake
the unprecedented step of imposing a charge on previously free Apps, making them no longer free
to consumers.77 The claim that Google would be willing to subject millions of consumers to a fee
simply for downloading everything from Uber to Door Dash in a more competitive but-for world is
without merit. As an initial matter, Dr. Burtis ignores that Google would continue to be compensated
for any In-App Aftermarket services that it provides in a more competitive but-for world—the
difference being that Google would have to compete on the merits to win the business of those
developers by offering a more competitive take rate.

       40.     In addition, as the distributor of the initial application and the owner of the Android
operating system, Google would have an incumbency advantage, providing it with a continued
economic incentive to distribute as many applications as possible.78

        41.     The economics of two-sided platforms also makes it unlikely that Google would
charge consumers to download previously free Apps. As explained in the Singer Report, because a
large user base is critical to unlocking indirect network effects, two-sided platforms such as the Play
Store are incentivized to provide free access to users (or even to subsidize access to users) to
maximize participation by both users and developers.79 This allows two-sided digital platforms to
get “both sides on board.”80 Encouraging use of the platform by one group serves to attract the group
on the opposite side of the platform.81 In the instant case, allowing consumers to browse the Play
Store for free and download free Apps creates a benefit for Google due to the indirect network effects


    76.
                                                                                               See GOOG-PLAY-
003605103 at Ex. 10 (         contract setting Direct Carrier Billing rate at    of Google’s take rate starting July
2015);
                                                                          GOOG-PLAY-001507837 at Ex. B (

    );
   77. Burtis Report ¶¶186-189.
   78. Even in the presence of substantial competition, I assume conservatively that Google’s incumbency advantage
would have allowed it to retain a substantial market share of 60 percent. Singer Report ¶192; ¶219.
   79. Singer Report ¶¶270-271.
   80. Id. ¶¶270-271.
   81. Jean-Charles Rochet & Jean Tirole, Platform Competition in Two-Sided Markets, 1(4) JOURNAL OF THE
EUROPEAN ECONOMIC ASSOCIATION 990, 991 (2003).
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 243 of 667

                                                            -18-


in attracting more developers and additional money Google can make by attracting advertisers.82 As
a consequence, the Play Store earns billions of dollars annually on ads that appear in the Play Store,
with almost all of those revenues falling to the bottom line.83 Free Apps in the Play Store are
economically analogous to consumer inducements on a range of other two-sided platforms, such as
credit cards (which often subsidize customers through loyalty programs), broadcast radio and
television, (which offer free content to viewers or listeners), restaurant reservation software such as
OpenTable (free to diners), and so on.84

         42.       According to a 2020 Google analysis, advertising in the Play Store “

                                                                  ”85 As the analysis explains: “We
already found our new business model (               ), launched 4 years ago which means if we were
to                                     we would still be overall ahead versus the pre-2015 baseline
trajectory of our original business model.”86 This analysis is confirmed by Google’s financials. For
example, the Play Store generated               in high-margin advertising revenue alone in 2021.87
Put differently, record evidence indicates that it would be economically irrational for Google to
impose a fee on users to access free Apps and potentially forgo billions of dollars in annual revenue
generated by its highly lucrative advertising business in the Play Store, which is only monetized by
offering large volumes of users to advertisers and developers.

       43.    Deposition testimony of Jamie Rosenberg, Vice President of Strategy and Operations
for Google’s Platforms and Ecosystems Division, confirms that Google recognizes the benefits to
the Android ecosystem of making the Play Store available to developers who offer their Apps free
of charge, explaining that “supporting the broadest possible collection of apps…is good for
Android.”88 Record evidence indicates that Google initially invested in and developed the Play Store



     82. These benefits of driving consumer traffic through the Play Store likely explain, at least in part, why Google
was willing to consider offering exceptionally low take rates to select developers such as            . For example, Google’s
notes from negotiations with             over                                      , indicate that Google was open to not
charging          take rate. See GOOG-PLAY4-007109523 at GOOG-PLAY4-007109526. That Google was willing to
                         to keep it on the platform illustrates the network effects that exist in this two-sided platform. By
the same reasoning, Google would likely not be willing to lose a large number of applications (or users) by instituting
an unprecedented charge for previously free Apps.
     83. Singer Report ¶69.
     84. See, e.g., David Evans, Two-Sided Market Definition in MARKET DEFINITION IN ANTITRUST: THEORY AND
CASE      STUDIES       (ABA        Section     of     Antitrust      Law)     1-35,      5      (2009),       available    at
papers.ssrn.com/sol3/papers.cfm?abstract id=1396751
     85. GOOG-PLAY-006990552 at GOOG-PLAY-006990554.
     86. GOOG-PLAY-006990552.
     87. Singer Report ¶69.
     88. Deposition of Jamie Rosenberg (Feb. 10, 2022) at 412:5-413:14 (“Q. And how does making the platform
available to even developers who offer their apps for free help Google? A. Well, making the platform available to
developers who offer the apps for free makes Android more successful as an operating system. It provides more
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 244 of 667

                                                         -19-


at a time when Apps and purchases of In-App Content generated relatively little revenue, and Google
saw the value in the Play Store in terms of its contribution to the Android ecosystem.89

       44.     Thus, Google’s network-driven incentive to draw as many users as possible into the
Google ecosystem (including the GMS suite) would remain in a more competitive but-for world
with substantially lower take rates. Google would continue to benefit from indirect network effects
even under competition—the more consumers it retains (by eschewing an upfront user fee), the more
Apps it can attract, and the more advertisers will come to its platform. Setting aside that Google
would continue earning revenues from a more competitive take rate—and one several percentage
points above the competitive rate90—any reduction in revenue from a lower take rate would be
mitigated, at least in part if not wholly, by the continued advertising revenue generated from
maintaining its user base. Google also would continue to bring users to its products, just as it does
for Apps in the GMS suite that are free to consumers. Accordingly, Google likely would not impose
even a modest fee on consumers for downloads of free Apps or a download fee on developers of
free Apps that might be passed on to consumers.

       45.     Dr. Burtis ignores that when the Play Store cut its take rate from 30 percent to 15
percent for subscriptions longer than a year, it did not seek to offset the lost take-rate revenue by
introducing new fees for free Apps. Similarly, Google did not announce any new fees for free Apps
when it cut the take rate from 30 percent to 15 percent for the first $1 million in developer revenue.
This suggests that, in a competitive but-for world in which Google would have to lower its take rate
due to competition, it would still not seek to offset the lost revenue by charging consumers for
downloading previously free Apps.

         5.       Dr. Burtis’s Claim That Some Consumers Would Incur Higher Security Costs
                  in the But-For World Is Without Merit

        46.     In Part VI.C.5, Dr. Burtis claims that some consumers would have incurred higher
security costs in the but-for world. This claim is without merit. Dr. Burtis has provided no evidence
or analysis to suggest that Google would stop investing in security in a competitive but-for world.
Indeed, Google asserts that providing strong security is essential to integrity of Android and the Play




functionality to end users of an Android device. Android is important to Google. We want to see Android be successful.
So supporting the broadest possible collection of apps we think is good for Android. Q. And what benefits does Google
get from the success of Android? A. The success of -- well, Android brings -- brings a smart device operating system to
billions of devices around the world. To the extent those devices are connected to the internet and able to do internet
things, that’s good for Google. More people engaging with Google over the internet is good for our desire to grow our
services and make them successful and helpful. Q. And those services include the services that Google provides with
respect to search, correct? A. Search, e-mail, maps, YouTube, you know, many things at Google depend on users having
a device that is connected to the internet and performs well. Q. And many of those things are revenue generating for
Google, such as search and advertising, right? Some of them are, yes.”).
     89. GOOG-PLAY-001501104 at GOOG-PLAY-001501105 (November 2009 email thread: “Google operates
Android Market as a revenue-neutral service – we do not seek to profit off of application sales, and we invest in Market
because it is essential to the open ecosystem”). The Play Store’s financials show revenue of $51 million in 2011 and
$204 million in 2012, with operating losses in both years. See GOOG-PLAY-000416245.
     90. My economic model allows for Google to charge a markup over the competitive rate, even in the competitive
but-for world, due to its incumbency advantage. Singer Report ¶220.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 245 of 667

                                                         -20-


Store;91 taking that statement at face value, there is no reason to suspect that Google would abandon
its efforts to provide security in a competitive world.

         47.    Dr. Burtis also fails to recognize that monetization from the Play Store—and thus
compensation for these basic features—does not end with the lifting of the Aftermarket Restrictions.
Google would continue to capture commission-based revenue from the Play Store and from In-App
Content sold through Google Play Billing in the competitive but-for world (again, at a premium
above the competitive payment processing rate given its incumbency advantage). Although
Google’s take rate and market share in the but-for world would be lower than in the actual world,
the size of the market would be substantially larger, given the substantial reduction in prices.92 And
Google would also continue to capture high-margin advertising revenue from the Play Store. These
revenue streams would more than cover the cost of providing security, privacy, convenience,
developer tools, and payment processing, while still allowing Google to earn a profit.93

        48.      Moreover, if the Aftermarket Restrictions were really necessary for delivering
security, then one would expect Google to impose the Aftermarket Restrictions on all transactions.
It does not; in fact, Google allows Apps to choose a third-party payment processor for certain types
of purchases. Although Google requires the use of Google Play Billing for purchases of digital items,
it prohibits the use of Google Play Billing for “purchases or rentals of physical goods,” “purchases
of physical services,” and the “payment of a credit card or utility bill.”94 In addition, if the
Aftermarket Restrictions were really necessary for delivering security, one would also expect to see
similar restrictions employed by other app stores. As noted by Jared Sine, Chief Legal Officer of
Match Group, in his April 2021 Congressional testimony: “If mandatory in-app payment was truly
about security, it would stand to reason that every business would need to use it.”95 That competitive
app store providers such as ONE Store and Aptoide do not impose aftermarket restrictions in their
own stores, and that Google does not impose them on all types of purchases, implies that the
Aftermarket Restrictions are not essential to preserving security in Android App Distribution
Market.

      49.    In fact, the elimination of the Challenged Conduct in the Android App Distribution
Market would invite more app store entry, and thus more competition on both price and non-price



     91. See, e.g., Secure an Android Device, available at https://source.android.com/security/overview (“Android
incorporates industry-leading security features and works with developers and device implementers to keep the Android
platform and ecosystem safe. A robust security model is essential to enable a vigorous ecosystem of apps and devices
built on and around the Android platform and supported by cloud services.”).
     92. See, e.g., N. GREGORY MANKIW, PRINCIPLES OF MICROECONOMICS 67 (Cengage Learning 8th ed. 2018)
[hereafter MANKIW]. (“This relationship between price and quantity demanded is true for most goods in the economy
and, in fact, is so pervasive that economists call it the law of demand: Other things being equal, when the price of a
good rises, the quantity demanded of the good falls, and when the price falls, the quantity demanded rises.”) (emphasis
in original).
     93. In a more competitive but-for world, I estimate that the Play Store’s but-for operating profit over the period
2015 – 2021 would come to $24.1 billion, compared with $41.5 billion in the actual world. See backup materials for this
report.
     94. See         Understanding        Google           Play’s    Payments          Policy,      available        at:
https://support.google.com/googleplay/android-developer/answer/10281818.
     95. Testimony for the U.S. Senate Judiciary Committee, Subcommittee on Competition Policy, Antitrust, and
Consumer Rights, Jared Sine, Chief Legal Officer, Match Group, April 21, 2021 at 3.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 246 of 667

                                                   -21-


dimensions such as security. Dr. Burtis’s security claim is akin to claiming that Google would slow
downloads in a competitive environment; if it tried, customer defection would be even greater.
Consumers would benefit significantly from this added platform competition via multi-homing and
steering, and Google would be punished if it were to unilaterally degrade the quality of its app store
by paring back any of these features. If users value security as much as Google claims, then Google
would retain strong economic incentives in a more competitive but-for world to invest in security to
attract users.

D.      Dr. Burtis’s Speculation About Google’s But For “Monetization Strategy” Fails to
        Demonstrate That Some Developers Would Have Been Worse Off in a More
        Competitive But-For World

        50.     In Part VI.D of the Burtis Report, Dr. Burtis discusses various purported
“monetization strategies” that she claims Google would adopt in the but-for world. I note that many
of Dr. Burtis’s claims in Part VI.D of her report have already been addressed in Part I.C.4 above. In
what follows, I focus on new claims. Importantly, none of Dr. Burtis’s purported alternative
monetization strategies has actually been adopted by Google. In addition, Google would have
remained profitable in the but-for world even in the absence of alternative monetization strategies.96

        51.     Dr. Burtis also ignores that the Challenged Conduct confers substantially more
market power on the Play Store than it would have enjoyed in a more competitive but-for world.
The robust competition that the Play Store would face in the but-for world makes it even less likely
that Google would have the incentive and the ability to implement the alternative monetization
strategies set forth by Dr. Burtis, all of which would render the Play Store less attractive to
consumers and developers.

        1.      Dr. Burtis’s Claims Regarding a “Fee Per Download” Do Not Refute Classwide
                Impact

       52.     In Part VI.D.1 of the Burtis Report, Dr. Burtis cites to documents indicating that
Google considered charging a fee each time an App is downloaded (or opened). As explained in Part
I.C.4 above, imposing a fee per download would run counter to Google’s economic interests as a
two-sided platform and could jeopardize billions of dollars of Play Store profit, including high-
margin advertising revenue, by breaking the virtuous cycle of indirect network effects. One Google
document suggests that making “everything pay to play (charge for install or charge for update”
would mean that Google”[w]ould lose ~75% of the apps on Play.”97

        53.   Dr. Burtis offers the example of               , which offers an App with over
            downloads and total consumer spend of just          .98 As Dr. Burtis notes, this
developer’s 30 percent take rate comes to       (equal to 30 percent of           ). If Google
were to                                                                      , then


     96. See n. 93, supra.
     97. GOOG-PLAY-007346993 at -034. Another Google document suggests that Google’s CEO in fact rejected
early plans for an alternative business model charging by install. GOOG-PLAY-007887261 at GOOG-PLAY-
007887269 (“Sundar ruled out $/install. Difficult to price install, opens, - shifts agitation elsewhere.”).
     98. Burtis Report ¶199.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 247 of 667

                                                         -22-


would incur approximately                in fees.99 Of course,          might not be willing or able
to absorb              in fees for an App that generates revenue of approximately            of that
amount (           ). If            were to depart the Android platform or go out of business
altogether, this would deprive Google of the opportunity of earning further revenue from           .
In summary, this example merely illustrates why a “fee per download” is unlikely to be in Google’s
economic interest.

         2.       Dr. Burtis’s Claims Regarding App or Developer Listing Fees Do Not Refute
                  Classwide Impact

        54.     In Part VI.D.2 of the Burtis Report, Dr. Burtis suggests that in a more competitive
world, Google might attempt to                                                   and that this would
effectively increase the take rate above 30 percent for the majority of developers.100 Again, this
alternative pricing strategy is purely speculative. Google currently charges a one-time fee of a
modest $25 to open a developer account, presumably because that strategy is profit-maximizing; if
                         were profitable, Google would have                         already. By Dr.
Burtis’s own calculations,                                            would impose higher costs on
            of developers.101 To the extent that these increased costs are economically significant,
they could induce some developers to leave the platform entirely, or to purchase less advertising, or
to scale back their offerings—all of which would undermine the virtuous indirect network effects
that benefit the Play Store. To the extent that the increased costs from                      are not
economically significant (they would not be for larger developers), then Dr. Burtis’s speculation is
irrelevant. Moreover, Dr. Burtis implausibly posits that Google would charge a higher effective take
rate—in excess of 30 percent—to the majority of developers in a more competitive but-for world.102
Dr. Burtis ignores the elementary economic principle that increased competition would lower prices,
not increase them.

         3.       Dr. Burtis’s Claims Regarding Tiered Take Rate Structures Do Not Refute
                  Classwide Impact

       55.      In Part VI.D.3 of the Burtis Report, Dr. Burtis speculates that some developers would
not have been impacted “[i]f Google implemented a                                        in the but-for
world[.]”103 Dr. Burtis relies on evidence that Google considered “having a 30% rate for transactions
associated with an individual consumer                             , but having a      rate apply
                    ”104 In Dr. Burtis’s view, developers with Apps that generate transactions


     99. Id. As Dr. Burtis observes, even Google’s (abandoned) proposal to                                    recognized
the need to protect small developers, by proposing                                 to developers after the first 500,000
downloads. Burtis Report ¶199, n. 225; see also GOOG-PLAY-000336574 at GOOG-PLAY-000336588; GOOG-
PLAY-006990552 at GOOG-PLAY-006990554, GOOG-PLAY-006990565.
     100. Burtis Report ¶¶201-202
     101. According to Dr. Burtis: “If, in the but-for world, Google Play charged these developers a
    instead of the 30% service fee rate, more than              of these developers’ fees would have been lower in the
actual world than in the but-for world.” Id. ¶202; Figure 9 (showing that over 60 percent of “Putative Developer Class
Members” paid “Annual Service Fees of less than $99 during August 2016 – December 2021.”).
     102. Id. ¶202.
     103. Id. ¶203.
     104. Id. ¶204.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 248 of 667

                                                       -23-


            would have paid a 30 percent take rate in both the actual world and the but-for world
and therefore were not impacted.105 Specifically, Dr. Burtis claims that about     percent of the
proposed developer class have Apps                                      and therefore would have
been no better off in a more competitive but-for world.106

        56.      Dr. Burtis is wrong. As before, Dr. Burtis’s speculative alternative monetization
strategy ignores that the                 was never adopted by Google in the actual world in which
the Play Store enjoys substantial market power owing to the Challenged Conduct. The
           that Dr. Burtis contemplates would allow Google to extend its power into the In-App
Aftermarket, presumably via the assistance of the Aftermarket Restrictions (or something similar),
in violation of the counterfactual assumption an economist makes when modeling the but-for world.
Put differently, Dr. Burtis’s speculative                       incorrectly presupposes that, in the
but-for world, Google could tie Google Play Billing with App distribution. Moreover, because
Google would face increased competition in the but-for world, Dr. Burtis has no basis to assume that
Google would be able to profitably leave the take rate unchanged at 30 percent for        percent of
developers. Dr. Burtis ignores that competition would impair Google’s ability to implement a fee
structure that would force developers to pay supracompetitive prices; if Google implemented a
supracompetitive fee structure, developers and their customers would gravitate to a lower-cost
platform.

        4.       Dr. Burtis’s Claims Regarding Increases in the Play Store “Add-Load” Do Not
                 Refute Classwide Impact

        57.     In Part VI.D.4 of the Burtis Report, Dr. Burtis cites evidence that Google considered
“lowering service fee rates but
     ”107 In other words, Dr. Burtis speculates that Google could have
                                                                                               108
                                                                                                   Dr.
Burtis argues that, although this would have benefitted “developers that value and are willing to pay
for user acquisition and re-engagement,”109 it could have harmed “developers that rely on
                                             111


       58.    Dr. Burtis provides no specific examples of developers (let alone consumers) that
would have been harmed by this alternative monetization strategy. Such proof would require
demonstrating that, in a more competitive but-for world, the benefits to developers of a substantially
and permanently lower take rate would have been more than eliminated by




    105. Id. ¶205.
    106. Id.; Table 7.
    107. Id. ¶207.
    108. Id.
    109. Id. ¶208.
    110. Id. ¶209.
    111. For example, if Google were to sell more                                            this could
crowd out other Apps that otherwise would have been displayed there.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 249 of 667

                                                    -24-


                             In a more competitive but-for world, Google likely would have lacked
the ability and incentive to force such an offer on developers.

         59.     Dr. Burtis also speculates that larger developers may have been willing to
                                                                                                  under
this alternative monetization strategy.112 But this does not imply that these developers (let alone their
customers) would be harmed under this hypothetical monetization strategy; according to the record
evidence she cites, these “dev[eloper]s value UA [User Acquisition] and re-engagement and are
willing to pay for it.”113 Developers whose willingness to pay for a new feature exceeds its price
would, by definition, achieve newfound economic gains.

        60.     As before, Dr. Burtis assumes nonsensically that, in a more competitive but-for
world, Google would have had the incentive and the ability to implement alternative monetization
strategies that Google declined to implement in the actual world.

E.       Dr. Burtis’s Additional Reasons That Developers Would Have Been Worse Off in a
         More Competitive But-For World Do Not Refute Classwide Impact

       61.    In Part VI.E of the Burtis Report, Dr. Burtis again offers a parade of horribles that
would ensue in a more competitive but-for world. Dr. Burtis’s claims contradict standard economics,
which shows that competition benefits consumers. I address each claim below.

         1.      Dr. Burtis’s Claim That Some Developers Would Have Incurred Higher App
                 Distribution Costs Does Not Refute Classwide Impact

        62.     In Part VI.E.1 of the Burtis Report, Dr. Burtis claims that, in the competitive but-for
world, developers would have had to offer Apps on more stores, thus incurring extra costs, and that
these extra costs would have cancelled out the procompetitive benefits of substantially and
permanently lower take rates. As an initial matter, a developer would not have to offer Apps on
multiple stores in order to benefit from the results of competition in the but-for world. The mere
threat of developers defecting to a competing platform, combined with actual defection (and
steering) by other developers, would spur Google to decrease its take rate, in order to keep as many
developers as possible on its platform.

        63.     Dr. Burtis’s argument implies that higher output would represent an antitrust harm,
a position inconsistent with standard economics, which posits the exact opposite—greater output
benefits consumers.114 To the extent developers would choose to offer their Apps on multiple
platforms, they would attract more customers. Consumers who multi-home would be attracted by an
App’s availability on multiple platforms, thus potentially increasing the App’s brand recognition
and its reach. Dr. Burtis’s claim implies nonsensically that developers would choose to offer multi-
platform availability when the cost of doing so exceeds the benefits. Dr. Burtis provides no evidence
that the incremental benefits of substantially and permanently lower take rates would be eliminated


     112. Burtis Report ¶211.
     113. Id., n. 240, citing GOOG-PLAY-006990552 at -554 (
                                                                                                      ”).
     114. MANKIW, supra, at 301-302.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 250 of 667

                                                         -25-


by the (presumably modest) incremental costs associated with operating on multiple app stores (all
of which would be Android-compatible). Indeed, she relies on evidence indicating that “20 of top
100 apps on Play have published to [the] Amazon [appstore],”115 despite the Challenged Conduct,
and suggesting that more Apps would choose to publish on the Amazon Appstore if “Amazon gets
more users.”116 In a more competitive but-for world, competing app stores would have expanded
opportunities to attract a larger user base.

         2.       Dr. Burtis’s Claim That Some Developers Likely Would Have Obtained Fewer
                  App Distribution Services Does Not Refute Classwide Impact

        64.     In Part VI.E.2 of the Burtis Report, Dr. Burtis speculates that Google may have
chosen to make fewer services available to some developers in a more competitive but-for world.
This claim ignores that Google would likely have faced greater competitive pressure to expand its
service offerings (or at least keep them the same) in order to compete with its rivals. Economic
principles prescribe that as competition increases, firms compete more vigorously for customers on
all dimensions, including services.117 If Google attempted to degrade its service offerings in the but-
for world, developers could switch to a competitive rival with similar offerings.

        65.     Dr. Burtis also speculates that developers that earn revenue from In-App Content
could be worse off than developers that earn revenue from advertising, because Google “would have
had economic incentives to invest more in tools for ads than in tools for IAPs.”118 As before, such
speculation ignores the principle that competition likely would have compelled Google to expand
its service offerings in the competitive but-for world. Google’s internal documents suggest that
Google was aware of the competitive pressure to expand its service offerings if it faced competition
in the In-App Aftermarket. In a document planning an initiative in which “
                                  ” Google asked “
                    ” 119 In that document, Google employees wrote that to achieve “Best in Class
Platform Performance,” it would need “
                                                     ”120

        66.     Additionally, Dr. Burtis repeats her claim that “[d]evelopers that rely more on direct
carrier billing [DCB] would have been worse off than developers not reliant on that payment
form.”121 I have already responded to this claim in Section I.C.3 above.




    115. Burtis Report ¶217, n. 243 (citing GOOG-PLAY-000560564 at 575 (“So far only 20 of top 100 apps on Play
have published to Amazon. Many (like                            ) are concerned about the large and ongoing development
/ maintenance burden and potential loss of Go Global support. Decisions may change as Amazon gets more users.”)
    116. Id.
    117. Department of Justice & Federal Trade Commission, Horizontal Merger Guidelines (08/19/2010) §1 (“For
simplicity of exposition, these Guidelines generally discuss the analysis in terms of such price effects. Enhanced market
power can also be manifested in non-price terms and conditions that adversely affect customers, including reduced
product quality, reduced product variety, reduced service, or diminished innovation.”)
    118. Burtis Report ¶226.
    119. GOOG-PLAY-007745829 at -829.
    120. Id. at -831.
    121. Burtis Report ¶227.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 251 of 667

                                                        -26-


 II. DR. BURTIS’S REBUTTALS TO MY ECONOMIC ANALYSIS OF PASS-THROUGH AND BUT-FOR
                          TAKE RATES ARE WITHOUT MERIT

        67.      In this Section, I respond to Part VIII of the Burtis Report.

A.      Dr. Burtis’s Rebuttals to My Economic Analysis of Pass-Through Are Without Merit

        68.    In Part VIII.D of the Burtis Report,122 Dr. Burtis argues incorrectly that my pass-
through analysis “depends on unsupported assumptions, and includes no analysis of any service fee
rate change or any cost change at all.”123 As detailed below, this is false: My pass-through analysis
relies on standard economic methods showing how developers selling differentiated Apps would
optimally adjust prices downward, according to the degree of concentration in their App category,
in response to a decrease in marginal costs due to substantially and permanently lower take rates in
the competitive but-for world. Dr. Burtis does not dispute that my pass-through calculations are
based on standard economic models, nor does she dispute that I used standard econometric
techniques to establish their applicability to the transactional data produced by Google. Instead, Dr.
Burtis misleadingly criticizes the standard pass-through formulae derived from these standard
economic models for their (relative) simplicity, ignoring all the calculations that work in the
background to produce a deceptively straightforward result.

        69.      Dr. Burtis also claims incorrectly that my pass-through analysis “produces false
results” based on pass-through analyses she performs purporting to demonstrate that various Apps’
prices were unchanged after the developers experienced a decrease in the take rate.124 As detailed in
Part IV below, Dr. Burtis’s pass-through analysis is fatally flawed. None of Dr. Burtis’s pass-through
analysis is capable of reliably measuring the effects of the substantially and permanently lower take
rates for all or almost all developers that would have prevailed in a more competitive but-for world
where Google’s anticompetitive restraints were absent.

        1.       My Pass-Through Methodology Relies on Standard Economic Models That Fit
                 the Data and Facts of This Case

       70.     This section responds to Part VIII.D.1 of the Burtis Report. In the Singer Report, I
explained that all or almost all developers would pass through to consumers at least a portion of any
savings from a substantially and permanently lower take rate in a more competitive but-for world.125
This conclusion flows from the elementary economic principle that prices depend on costs and do
not depend on the specific assumptions of any particular economic model.126 To calculate the extent




     122. Part VIII of the Burtis Report begins with VIII.D. (There are no sections titled VIII.A., VIII.B, or VIII.C).
     123. Burtis Report ¶277.
     124. Id.
     125. Singer Report Part V.D.
     126. Id. See also Jerry Hausman & Greg Leonard, Efficiencies from the Consumer Viewpoint, 17(3) GEORGE
MASON LAW REVIEW 707, 708 (1999) (“What would be the effect on prices to consumers from the cost reduction?
Economic theory makes a straightforward prediction: The decrease in cost will lead to a decrease in price, with the
relationship between the decreases in cost and price depending on the shape of the demand curve.”).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 252 of 667

                                                         -27-


of pass-through, I used standard logit demand systems.127 I did so only after confirming
econometrically that the logit demand model fits the data well for the Play Store’s various App
categories: The price coefficients have the expected (negative) sign and are highly statistically
significant; the logit demand model explains the vast majority (more than 85 percent) of the variation
in the price of Apps and In-App Content.128 My logit regressions control for extensive app-level
variation, including over 200,000 App-level fixed effects.129

        71.     Dr. Burtis claims that my pass-through analysis “does not include service fees or
prices,” and that it “includes no analysis of any service fee rate change or any cost change[.]”131
        130

This is false. The pass-through rate calculation proceeds in two steps. Step one solves for the profit-
maximizing price for a firm facing consumer demand characterized by the logit specification, taking
into consideration the developers’ marginal costs, including but not limited to service fees. In step
two, the model solves for the pass-through rate, by calculating how much the profit-maximizing
price will change in response to a change in marginal cost. It is therefore false for Dr. Burtis to claim
that the logit demand model fails to account for developers’ prices or marginal costs, both of which
are incorporated in the analysis. My analysis relies on standard economic calculations showing how
developers selling differentiated Apps would optimally adjust prices downward in response to a
decrease in marginal costs brought about by substantially and permanently lower take rates in the
competitive but-for world.132

       72.      Dr. Burtis faults the standard logit pass-through formula for its (relative)
simplicity,133 ignoring all the calculations of the optimal price and pass-through rate that underly


     127. Dr. Burtis concedes that logit demand is “frequently used in economics[.]” Burtis Report ¶306. See also
Singer Report ¶236, n. 507; Nathan Miller, Conor Ryan, Marc Remer, & Gloria Sheu, Approximating the Price Effects
of Mergers: Numerical Evidence and an Empirical Application DOJ Economic Analysis Group Discussion Paper 12-8
(2012), at 2 (explaining logit is one of the demand systems “that commonly are employed in antitrust analysis.”) Dr.
Burtis cites to a very recent (2021) publication to suggest that some academics advocate alternatives to the logit model
and other standard demand systems. Burtis Report ¶307, n. 365, (citing Steven Berry & Phillip Haile, “Foundations of
Demand Estimation,” in 4(1) Handbook of Industrial Organization (Elsevier 2021). But even that source explains that
the logit demand model is a “common parametric demand specification,” and reviews the logit demand model in detail.
Id. at 8, and at 33-35. Moreover, the “random coefficient” demand estimation methods touted by academics such as
Berry & Haile (2021), supra, as a possible alternative to standard demand systems such as logit, suffer from well-known
computational problems, which can severely limit their applicability and accuracy when applied to real-world data sets.
See, e.g. Christopher Knittel & Konstantinos Metaxoglou, Estimation Of Random-Coefficient Demand Models: Two
Empiricists’ Perspective 96(1) REVIEW OF ECONOMICS AND STATISTICS 34 (2014) (“We document the numerical
challenges we experienced estimating random-coefficient demand models as in Berry, Levinsohn, and Pakes (1995)
using two well-known data sets and a thorough optimization design. The optimization algorithms often converge at
points where the first-and second-order optimality conditions fail. There are also cases of convergence at local optima.
On convergence, the variation in the values of the parameter estimates translates into variation in the models’ economic
predictions. Price elasticities and changes in consumer and producer welfare following hypothetical merger exercises
vary at least by a factor of 2 and up to a factor of 5.”)
     128. Singer Report ¶¶234-240. The only exception is the “Transportation” category, which accounts for less than
      percent of consumer expenditures.
     129. Id. Table 7.
     130. Burtis Report ¶28.
     131. Id. ¶277.
     132. Singer Report ¶239, n. 516 (citing Nathan Miller, Marc Remer, & Gloria Sheu, Using cost pass-through to
calibrate demand, 118 ECONOMICS LETTERS 451, 452-453 (2013)).
     133. Burtis Report ¶280.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 253 of 667

                                                         -28-


and produce a deceptively straightforward result. These calculations begin with the standard
economic principle that firms set their prices to maximize profit—that is, by setting marginal
revenue equal to marginal cost.134 When marginal cost falls—due, in this case, to a substantial and
permanent reduction in the take rate—developers will find that their prior prices are no longer profit-
maximizing. Standard economics prescribes that developers will therefore decrease their prices until
marginal revenue once again equals marginal cost.135 When one solves for the extent of this price
decrease in relation to the change in marginal costs, the result obtained from the logit demand model
is that each developer will optimally decrease its price by an amount proportional to its share of
revenues within the product category.136

        73.     This yields the economically intuitive result that developers with a lower market
share (and thus less pricing power) will be inclined to pass through a larger proportion of a given
cost decrease to consumers. For example, under the logit demand model, a developer with a market
share of ten percent in a given product category has a pass-through rate of 90 percent: If marginal
costs fall by $1 per transaction, the profit-maximizing response would be to lower its prices by $0.90.
By aggregating across the market shares for all developers within a product category, I calculate the
aggregate decrease in prices flowing from the decreased take rate that would have prevailed in the
competitive but-for world.137

          74.    In faulting the standard logit pass-through formula for its (relative) simplicity, Dr.
Burtis also ignores that there is nothing unusual in standard economics about pass-through
calculations that boil down to (relatively) simple formulae. For example, as pointed out in the Singer
Report, whenever the demand curve is assumed to be linear, the pass-through rate is always exactly
50 percent, regardless of how steep or flat the curve is.138 For an assumed constant elasticity demand
curve, the pass-through rate can also be calculated using a (relatively) simple formula.139 As
explained above, I selected the logit demand model because my econometric analysis confirms that
it fits the data well.140




     134. Miller, Remer, & Sheu, supra, at 452.
     135. Id. at 452.
     136. Id. at 453 (Equation 6 provides the formula for inverse of the pass-through rate, multiplied by negative one,
which is: -M/[M – Qj], where M is the market size and Qj is the quantity of product j. The pass-through rate is obtained
by multiplying the expression by negative one and inverting it, which yields [M – Qj]/M)). Dr. Burtis concedes that the
logit pass-through rates are derived, not assumed. Burtis Report ¶28.
     137. For example, Table 5 of the Singer Report shows that developer savings per transaction in the In-App
Aftermarket would be $1.49. Because the pass-through rate is 89.9 percent, consumer prices would decline by $1.34 per
transaction.
     138. Singer Report ¶223.
     139. Miller, Remer, & Sheu, supra, at 452-453 (showing that constant-elasticity or “log-linear” demand curves
have a pass-through rate equal to E/(E - 1), where E is the demand elasticity).
     140. Singer Report ¶¶234-240 (standard logit regressions show that the price coefficients have the expected
(negative) sign and are highly statistically significant; the logit demand model explains the vast majority (more than 85
percent) of the variation in the price of Apps and In-App Content). In any event, no matter what demand specification
one chooses—logit, linear, constant-elasticity—it would follow that all or almost all consumers would have been better
off in a competitive world. The elementary economic principle that prices depend on costs does not depend on the
specific assumptions of any particular economic model. Singer Report Part V.D.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 254 of 667

                                                       -29-


        75.     Dr. Burtis argues incorrectly that the Play Store categories employed in my pass-
through analysis, which have been used consistently by the Play Store throughout the Class Period,
“are not based on any economic analysis or reasoning[.]”141 The Play Store’s categories make
economic sense because they reflect economically reasonable groupings of consumer tastes for
different varieties of Apps, as recognized by a range of industry participants, including Google.
According to Google, “Categories and tags help users to search for and discover the most relevant
apps in the Play Store.”142 Record evidence indicates that Google uses App categories to conduct
consumer research by application type. For example, a July 2017 consumer survey was designed
“[t]o provide an understanding of how within each category users discover apps, the triggers and
barriers that lead to a subscription.”143 A 2014 App Annie study commissioned by Google tracked
download and revenue growth based on Google’s categories.144 An October 2015 Google study on
differences in consumer spend between iOS and Android also used app categories to segment its
analysis.145 Google recognized in its 2016 Plan for “Google Play Developer Marketing” that
“developers engage more with category-specific content” and planned for “category expertise, [to]
drive actionable insights.”146

       76.      The Play Store’s categories are also used by industry analysts.147 Developers, who
presumably know their customers best, use Google’s categories to sell their Apps in competition
with other developers; they have clear incentives to select a meaningful category to maximize the
value of their Apps.148 If the developer of a “Parenting” App misclassified their App into the “Auto
& Vehicles” category, that developer’s ability to compete would likely be compromised. The
evidence also shows that the Play Store’s categories are economically meaningful to consumers,
given their prominent display within the Play Store, and given that consumers can filter the Apps




     141. Burtis Report ¶279.
     142. Play Console Help, Choose a category and tags for your app or game, available at
https://support.google.com/googleplay/android-developer/answer/9859673?hl=en#zippy=%2Capps%2Cgames (listing
each of the Play Store’s categories, with a description of each).
     143. GOOG-PLAY-000294117.R at GOOG-PLAY-000294118.R (emphasis added). The survey, of users in
Japan, targeted users of apps “in seven categories: Dating, Entertainment, Music, Health & Fitness, News, Education,
Manga/Webtoon & Family.”
     144. GOOG-PLAY-000076773 at GOOG-PLAY-000076785 (“Although Games dominate revenue gains, growth
is almost universal across categories.”); GOOG-PLAY-000076766 (cover email noting that “we worked with App Annie
on the attached report that was released this morning.”).
     145. GOOG-PLAY-000579868.R at GOOG-PLAY-000579870.R, GOOG-PLAY-000579878.R.
     146. GOOG-PLAY-000303918.R at GOOG-PLAY-000303926.R, GOOG-PLAY-000303930.R.
     147. See, e.g., David Curry, App Data Report, BUSINESS OF APPS (2022) at 10 (chart showing Google Play
categories by volume); see also SENSOR TOWER, 2021 – 2025 Mobile Market Forecast, (2021) at 39, available at
go.sensortower.com/rs/351-RWH-315/images/Sensor-Tower-2021-2025-Market-Forecast.pdf (showing projected
consumer spending for top categories, including Games, Social, Entertainment, Comics, Productivity, and Health &
Fitness); STATISTA, Most popular Google Play app categories as of 1st quarter 2021, by share of available apps,
available at https://www.statista.com/statistics/279286/google-play-android-app-categories
     148. Play Console Help, Choose a category and tags for your app or game, supra (“Choose a category and tags
for your app or game You can choose a category and add tags to your app or game in Play Console. Categories and
tags help users to search for and discover the most relevant apps in the Play Store. Users can view apps by using a
browser and the Google Play app.”) (emphasis in original).
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 255 of 667

                                                     -30-


displayed to them based on the Play Store categories.149 Apple’s App Store uses a similar set of
categories, as seen below:




   149.   See Google Play Store, Apps, available at https://play.google.com/store/apps (click on drop-down menu).
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 256 of 667

                                                  -31-


               TABLE 2: COMPARISON OF PLAY STORE AND APP STORE CATEGORIES

            Play Store Category Name                     App Store Category Name
            Art and Design                               Graphics and Design
            Auto & Vehicles                              N/A
            Beauty                                       Lifestyle
            Books & Reference                            Books/Reference
            Business                                     Business
            Comics                                       Books
            Communications                               Social Networking
            Dating                                       Social Networking
            Education                                    Education
            Entertainment                                Entertainment
            Events                                       Entertainment
            Finance                                      Finance
            Food and Drink                               Food and Drink
            Games                                        Games
            Health and Fitness                           Health and Fitness
            House & Home                                 Lifestyle
            Lifestyle                                    Lifestyle
            Maps & Navigation                            Navigation
            Media & Video                                Photo and Video
            Medical                                      Medical
            Music and Audio                              Music
            News and Magazines                           Magazines and Newspapers/News
            Parenting                                    Lifestyle
            Personalization                              Graphics and Design/Utilities
            Photography                                  Photo and Video
            Productivity                                 Productivity
            Shopping                                     Shopping
            Social                                       Social Networking
            Sports                                       Sports
            Tools                                        Utilities/Developer Tools
            Transportation                               Navigation/Travel
            Travel & Local                               Travel
            Video Players & Editors                      Photo and Video
            Weather                                      Weather
           Note: Separation of category name by “/” implies that the Play Store category could
           encompass multiple App Store categories.
           Sources: https://developer.apple.com/app-store/categories/ ; Singer Report Table 7.

        77.    Although the logit demand system incorporates market shares, it bears emphasis that
this need not be shares of a relevant antitrust product market. As DOJ economist Gregory Werden
has observed, the market used in a logit demand system “may be more or less inclusive than a
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 257 of 667

                                                         -32-


relevant antitrust market.”150 The logit demand model also does not imply that all products in the
market are interchangeable, but instead allows for product differentiation.151 Products that are more
attractive to most consumers (and thus have higher market shares) command more pricing power
than less-attractive products with lower market shares.152 What the logit demand system does imply
is that developers in a given category pass through cost savings according to their dominance (or
lack thereof) in the category, as measured by their market share within that category. For example,
if Microsoft, which sells both Word and Excel, dominates the productivity category with its
Microsoft 365 package (formerly known as Office, a bundle of Word, Excel, and PowerPoint),
Microsoft is predicted to pass through a smaller portion of any cost reduction, all things equal. It is
reasonable to assume that Microsoft 365 is a substitute for Google’s bundle of productivity apps
called Google Workspace. Both Microsoft 365 and Google Workspace are included in Google’s
“Productivity” category.

        78.     Although there is no requirement that the market share for the logit demand model
be computed in a relevant antitrust market, it bears noting that antitrust has recognized “cluster
markets,” in which the market is comprised of items that are not always substitutes. As antitrust
scholar Herbert Hovenkamp has noted, cluster markets have aggregated products as diverse as office
supplies.153 In a cluster market, a hypothetical monopolist over (say) paperclips, staples, paper, and
other office supplies can profitably raise prices above competitive levels, given that many customers
are likely to purchase many or all of their office supplies from the same source. By the same logic,
a hypothetical monopolist over games ranging from “Thomas and Friends” to “Poker – Texas
Hold’em” could also likely wield monopoly power, given that many households likely “need or at
least prefer the convenience of”154 purchasing games for all members of the family from the same
source.

       79.   Even if one assumes that the “Games” category is overly broad, the same common
methodology from the logit model can be used to calculate pass-through based on Google’s
seventeen subcategories of Games,155 as Dr. Burtis concedes by performing the calculation


     150. Gregory Werden & Luke Froeb, The Antitrust Logit Model For Predicting Unilateral Competitive Effects 70
ANTITRUST LAW JOURNAL 257 (2002). Economists make use of market shares in industries that may not perfectly
correspond to an antitrust product market. See, e.g., José Azar, Ioana Marinescu & Marshall Steinbaum, Labor Market
Concentration, 57(3) JOURNAL OF HUMAN RESOURCES (2020) (finding that variation in wages could be explained by
measures of labor market concentration within an occupational code using vacancy shares from CareerBuilder.com).
     151. Gregory Werden & Luke Froeb, The Effects of Mergers in Differentiated Products Industries: Logit Demand
and Merger Policy 10(2) JOURNAL OF LAW, ECONOMICS, & ORGANIZATION 407, 408 (1994) (“the logit model has direct
policy relevance, since the 1992 Horizontal Merger Guidelines use it as the base case for the analysis of mergers in
differentiated products industries.”).
     152. Id. at 410 (equation (3) shows that the own price elasticity for a given product (εj) decreases with the market
share (πj)).
     153. Herbert Hovenkamp, Digital Cluster Markets, COLUMBIA BUSINESS LAW REVIEW at 31 (forthcoming 2022),
available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3820062 (“In the Staples merger case, the court
defined a cluster market…The expert concluded ‘that a monopoly provider of consumable office supplies would charge
significantly more to large customers than Staples and Office Depot today charge these same customers.’”).
     154. Id. at 7.
     155. The seventeen subcategories are Action, Adventure, Arcade, Board, Card, Casino, Casual, Educational,
Music, Puzzle, Racing, Role Playing, Simulation, Sports, Strategy, Trivia, and Word. See Google Play Store, Choose a
category and tags for your app or game, available at https://support.google.com/googleplay/android-
developer/answer/9859673?hl=en.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 258 of 667

                                                          -33-


herself.156 This approach is overly granular, as it assumes (for example) that action games are not
substitutes for adventure games, that card games are not substitutes for board games, and so on. In
any case, this approach would yield an overall weighted average pass-through rate of 77 percent
across all categories, compared with an 89.9 percent pass-through rate in the Singer Report.157 If this
alternative pass-through rate of 77 percent is used, my economic models would continue to show
classwide impact and damages, with only minor differences in the but-for take rates.158

         2.       Dr. Burtis’s Pass-Through Analysis Is Incapable Of Reliably Measuring Pass-
                  Through In A But-For World In Which All Or Almost All Developers Enjoy
                  Permanently And Substantially Lower Take Rates

        80.     In Part VIII.D.1 of the Burtis Report, Dr. Burtis asserts that the pass-through rates
from my standard economic models are incorrect based on her flawed “pass-through” analysis, to
which I respond in Part IV below. Dr. Burtis also presents examples of Apps that charge the same
price when purchased through the App website or through the Play Store.159 As explained in Part
I.C.1 above, this ignores the anti-steering restrictions that explicitly prevent developers from
directing customers inside the Play Store to lower-cost options outside the Play Store. An App that
charges the same price within the Play Store and on its website has simply not adopted a steering
strategy in the actual world.

         3.       Dr. Burtis’s Claim That My Pass-Through Analysis Is “Not Consistent With
                  Economics” Is Without Merit

        81.     In Part VIII.D.3 of the Burtis Report, Dr. Burtis repeats the incorrect claims that my
pass-through analysis does not account for marginal cost and that some (unspecified) developers
might have zero marginal costs. I have responded to these claims in Parts I.B.1 and II.A.1 above.
Dr. Burtis also argues that a calculation I provided to illustrate the economics of pass-through is
inconsistent with the standard logit demand model that I employed to quantify pass-through in the
but-for world.160 Dr. Burtis is wrong. The calculation in question is based on the elementary
economic principle that a profit-maximizing firm selling a single product will set its price based on
the inverse of the elasticity of demand for that product.161 That same principle of profit-maximization
applies (albeit in a multi-product setting involving tens thousands of developers making



     156. Burtis Report ¶312; Exhibit 55.
     157. Within the Games category, the weighted average pass-through rate declines from 92 percent to 77 percent.
     158. Using a 77 percent pass-through rate, the but-for take rate in the Android App Distribution Market is 23.5
percent, which differs by only one tenth of a percentage point from the but-for take rate of 23.4 percent calculated in
Table 3 of the Singer Report. Using a 77 percent pass-through rate, the but-for take rate in the In-App Aftermarket is
14.5 percent, which differs by only three tenths of a percentage point from the but-for take rate of 14.8 percent reported
in Table 5 of the Singer Report. Aggregate damages in the Android App Distribution Market using a 77 percent pass-
through rate come to $15.2 million, compared with $18.8 million calculated in Table 3 of the Singer Report. Aggregate
damages in the In-App Aftermarket using a 77 percent pass-through rate come to $4.03 billion, compared with $4.71
billion calculated in Table 5 of the Singer Report.
     159. Burtis Report ¶297; Table 8.
     160. Burtis Report ¶¶299-305.
     161. Singer Report ¶224. See also William Landes & Richard Posner, Market Power in Antitrust Cases, 94(5)
HARVARD LAW REVIEW 937 (1981).
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 259 of 667

                                                       -34-


interdependent pricing decisions) when the logit demand model is used to calculate the pass-through
rate.162

          4.     Dr. Burtis’s Claim That the Basis for My Pass-Through Analysis Is
                 “Fundamentally Flawed” Is Without Merit

        82.     In Part VIII.D.4 of the Burtis Report, Dr. Burtis repeats meritless critiques of the
standard economic methods I employed to estimate pass-through. I have already responded to these
claims in Part II.A.1 above. In addition, Dr. Burtis claims that my overall pass-through rate “mask[s]
variation.”163 Yet I calculate pass-through rates for each of the Play Store’s categories, display them
in the same table as the overall pass-through rate (Table 8 of the Singer Report), and use the
category-by-category pass-through rates to perform illustrative damages calculations (Tables 13-14
of the Singer Report).

        83.    Dr. Burtis also argues that my category-level pass-through rates “mask variation”
because the pass-through rates are a weighted average of the pass-through rates across all of the
developers within a given category.164 Indeed, Dr. Burtis asserts that any analysis would be
unacceptable unless it took into account individual idiosyncrasies associated with each consumer,
developer, App, and each item of In-App Content.165 This ignores Google’s highly uniform and
formulaic take-rate structure built from a standard headline rate of 30 percent, as well as the
Challenged Conduct, which imposes uniform restrictions on all developers, Apps, subscriptions, and
In-app Content. All of this justifies a category-wide approach, including using a weighted average
of the developer-specific pass-through rates within a given category from my standard logit demand
model. It bears emphasis that Dr. Burtis concedes (for purposes of her analysis here) the relevant
markets as they are defined in the Singer Report,166 which further justifies a market-wide economic
analysis when calculating but-for headline rates in the Android App Distribution Market and In-App
Aftermarket. In any event, if the factfinder requires App-specific pass-through rates for the
allocation of damages at the merits phase, I have provided a model that can perform that precise
task.

          5.     Dr. Burtis’s Claim That My Pass-Through Rates Are Unreliable Is Without
                 Merit

        84.    In Part VIII.D.5 of the Burtis Report, Dr. Burtis repeats her claim that developers
would avoid charging prices that do not end in “99” in the competitive but-for world.167 I have
responded to this claim in Part I.B.2 above. Dr. Burtis also asserts that the pass-through rates from
the standard logit demand model are “not credible because, in some instances, the rates change
month to month as shares change month to month.”168 Dr. Burtis is wrong. First, I am not offering
an opinion on any developer’s pass-through rate for a specific month (or week, or day). As explained


   162.    Miller, Remer, & Sheu, supra, at 452-453.
   163.    Burtis Report ¶312.
   164.    Id. ¶312.
   165.    Id. Part IV.A; ¶¶103-104; ¶307.
   166.    Id. ¶¶42-43.
   167.    Burtis Report ¶¶313-315.
   168.    Id. ¶316.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 260 of 667

                                                         -35-


above, the but-for world is based on a long-run equilibrium of substantially and permanently lower
take rates. Second, the examples presented in Figure 14 of the Burtis Report are cherry-picked. When
I apply standard econometric methods to the entire data set, the results demonstrate that the month-
specific pass-through rates deviate from the time-averaged pass-through rates by an immaterial 2.0
percentage points on average.169

         6.       Dr. Burtis Claims Incorrectly That Determining Pass-Through Rates Requires
                  an Individualized Analysis

        85.    In Part VIII.D.6 of the Burtis Report, Dr. Burtis asserts that individualized analysis
is necessary because my pass-through model yields different results when compared to Dr.
Williams’s pass-through model.170 The question of whether my pass-through rate is consistent or
inconsistent with Dr. Williams’s analysis has no bearing on whether individualized analysis is
required. In any case, as I explain in Part IV below, Dr. Williams’s pass-through analysis is not
reliable.

B.       Dr. Burtis’s Rebuttals to My Economic Analysis of But-For Take Rates Are Without
         Merit

         86.    In this section, I respond to Part VIII.E of the Burtis Report. Dr. Burtis argues
incorrectly that I assume Google chooses a single uniform take rate without exception.171 As I
explained in Part II.A.1 above, although Google’s take-rate structure is highly uniform and
formulaic, my analysis does not assume a uniform take rate across all developers in a more
competitive but-for world. Instead I use standard economic methods to solve for a competitive but-
for headline rate, which tracks Google’s highly uniform and formulaic take-rate structure in the
actual world built around a headline rate of 30 percent. I have also shown that damages can be
calculated for individual Class members using common methods, even after taking into account the
limited number of developers who received discounts relative to Google’s standard 30-percent take
rate.172

        87.     Dr. Burtis suggests incorrectly that my two-sided market does not make prices on
both sides of the platform “part of the same equilibrium decision.”173 In fact, prices on both sides of
the market are taken into account in my models: In the Singer Report, I implemented two-sided
market models in which the price on one side of the market is held constant (not ignored), while




     169. This result is obtained by regressing the logit pass-through rates on App fixed effects. The standard deviation
of the residuals (or the root mean squared error) of the regression is 0.020.
     170. Burtis Report ¶¶317-322.
     171. Id. ¶332.
     172. Singer Report ¶177, n. 376; see also Singer Report Part VII.
     173. Burtis Report ¶331, n. 396.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 261 of 667

                                                            -36-


solving for the optimal price on the other side of the market.174 In any case, classwide impact and
damages can also be demonstrated by implementing models that simultaneously solve for optimal
prices on both sides of the market, with results similar to those in the Singer Report.175

         1.        My Analysis of But-For Take Rates Uses Standard Economic Models and Does
                   Not Assume Classwide Impact

        88.     In Part VIII.E.1 of the Burtis Report, Dr. Burtis claims that my analysis “treats all
developers as if they are all the same.”176 This is false. As I explained in Part II.A.1 above (and
immediately above), I do not assume that all developers would be subject to a uniform take rate in
the but-for world. Nor do I assume that all developers would have had the same pass-through rate:
As I explain in Parts I.B and II.A above, I use standard economic methods to estimate equilibrium
pass-through rates for thousands of developers making thousands of interdependent decisions for
each of their Apps, taking into account prices, marginal costs, and other developer-specific
characteristics. Dr. Burtis also reiterates the incorrect claim that developers selling at a price of $0.99
would have been worse off in the but-for world.177 I have responded to this claim in Part I.A.2 above.

         2.        Dr. Burtis’s Critiques of the Inputs to My Standard Economic Models Are
                   Without Merit

       89.      In Part VIII.E.2 of the Burtis Report, Dr. Burtis criticizes the standard economic
models that I employ because they rely on aggregate inputs.178 Dr. Burtis ignores that standard
economic models commonly rely on aggregate inputs. For example, a textbook “supply and demand
model” uses aggregate data on demand shifters (e.g. median income), and supply shifters (e.g., an
index of the price of raw materials) to determine a market-clearing price that may apply to thousands
(or millions) of heterogeneous consumers.179 Dr. Burtis also ignores that aggregation is both
pervasive and economically necessary in the markets at issue here: Google’s highly uniform and
formulaic take rate structure, based on a common 30 percent headline rate, is applied to tens of



     174. In the Singer Report, equation (V.5), which forms the basis for the presentation of the two-sided market
model in Section V.B and Appendix 4 of the Singer Report, gives a competitive equilibrium condition that includes both
buyer-side prices (𝑃 ) and the seller-side take rate (𝑡), as well as both buyer- and seller-side elasticities. By way of pass-
through, consumers are necessarily affected in these models by the adjustment of the take rate to a competitive level, a
feature that my modeling accounts for. Equation (V.12), which forms the basis for the presentation of the two-sided
market model in Section V.E, also gives a competitive equilibrium condition that includes both the buyer-side price 𝑃
and a seller-side take rate 𝑡 , thereby taking both sides into account when solving for the but-for buyer-side subsidy.
     175. When I solve simultaneously for optimal prices on both sides of the market, the model shows that the Play
Points buyer-side subsidy would be expanded to $0.56 per transaction (approximately 6.4 percent of consumer spend),
up from          per transaction in the actual world. The but-for take rate is 27.5 percent, down from          percent in the
actual world. The combined effect of a higher buyer-side subsidy and a lower take rate yields aggregate damages to the
Class of $2.63 billion. By way of comparison, if the take rate is held constant and the buyer-side subsidy is permitted to
vary, aggregate damages are $2.71 billion. See Singer Report Table 12. If the buyer-side subsidy is held constant and
the take rate is permitted to vary, aggregate damages are $2.35 billion. Id.
     176. Burtis Report ¶337.
     177. Id. ¶338.
     178. Id. ¶¶339-342.
     179. JEFFREY WOOLDRIDGE, INTRODUCTORY ECONOMETRICS: A MODERN APPROACH, 552-555 (THOMPSON 4TH
ED. 2009).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 262 of 667

                                                         -37-


thousands of heterogeneous developers. It would be economically inefficient for Google to negotiate
individually with each of them, so Google sets a highly uniform market pricing structure instead.

        90.     In the Singer Report, I examined the market shares of historically dominant firms that
went on to face some degree of competition in different industries.180 Based on this evidence, I
assumed conservatively that in a competitive but-for world Google would retain a substantial market
share of 60 percent in the In-App Aftermarket and in the Android App Distribution Market, given
its incumbency advantage and network effects. This was approximately AT&T’s market share in the
long-distance market after competitive entry, and it is substantially above the market share of Visa
in e-commerce or of Alcoa in aluminum manufacturing.181 Dr. Burtis argues incorrectly that there
is no evidence that AT&T provides a valid competitive benchmark for Google.182 Dr. Burtis is
wrong. She ignores that AT&T was a classic network monopolist that leveraged monopoly power
in the (ancillary) long-distance market from its monopoly in local service, before eventually being
forced to open the long-distance market to competition—just as Google is a network monopolist that
leveraged its power in the Android App Distribution Market into the In-App Aftermarket Services
Market.183

        91.    Dr. Burtis also ignores that my selection of a 60 percent but-for market share was
informed by market shares in other industries, including e-commerce.184 Here I present evidence
from additional industries confirming that my 60 percent estimate is, if anything, likely conservative.
Netflix, which made streaming video on demand (SVOD) a staple of home entertainment, dominated
the market for streaming video services for years.185 As recently as 2014, approximately nine out of
every ten SVOD households were Netflix subscribers.186 More recently, Netflix’s market share has
eroded as competitors such as Amazon Prime, HBO Max, and others have gained at its expense.187




     180. Singer Report ¶¶216-219.
     181. Visa is an historically dominant global payments technology company. Alcoa is historically dominant in
aluminum manufacturing. See, e.g., STATISTA, Market share of global general purpose card brands American Express,
Diners/Discover, JCB, Mastercard, UnionPay and Visa from 2014 to 2020, based on number of transactions, available
at https://www.statista.com/statistics/278970/share-of-purchase-transactions-on-global-credit-cards/; see also Singer
Report ¶¶216-219.
     182. Burtis Report ¶345.
     183. Dr. Burtis offers only a single argument as to why AT&T does not represent such a benchmark, claiming that
AT&T’s market share would have “likely varied across geography.” Burtis Report ¶346, n. 411. Dr. Burtis offers no
support for her claim, nor does she explain why it is relevant here.
     184. Singer Report ¶¶216-219.
     185. See, e.g., James Brumley, Netflix is Losing Market Share, but This is the Actual Risk to Shareholders, THE
MOTLEY FOOL, Apr. 25, 2021, available at https://www.fool.com/investing/2021/04/15/netflix-is-losing-market-share-
but-thats-not-the-a/ (“Netflix ( NFLX -1.73% ) is losing market share to be sure -- but consider the circumstances. It
was the first company to make streaming video a mainstream phenomenon, and for years, it was the only serious name
in the business. It's only natural that the recent launches of big rival services such as Disney’s ( DIS 0.00% ) Disney+
and AT&T’s ( T 1.73% ) HBO Max would chip away at Netflix's share of the on-demand video space.”).
     186. Nielsen, The Total Audience Report Q4 2014, at 5, available at https://www nielsen.com/wp-
content/uploads/sites/3/2019/04/total-audience-report-q4-2014.pdf (showing 40.3 percent of US TV households with
SVOD, and 36 percent of US TV households subscribing to Netflix).
     187. Georgina Tzanetos, Netflix Loses 31% Market Share as Streaming Rivals Gain Loyal Subscribers, YAHOO!,
(April 7, 2021), available at https://www.yahoo.com/video/netflix-loses-31-market-share-204537722 html.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 263 of 667

                                                        -38-


As seen below, as of Q4 2021, Netflix had a streaming share of just 25 percent, compared to Amazon
Prime’s 19 percent, Disney + and Hulu at 13 percent each, and HBO Max at 12 percent.188

        92.    The personal computer (PC) market has also seen dominant firms lose substantial
share. The IBM brand was nearly synonymous with the industry for decades. However, competition
from other PC makers such as Compaq and Apple Computer dissipated IBM’s market share, which
fell from 80 percent to 20 percent in the decade between 1982 and 1992.189 In 2004, IBM sold its
personal computer business to Lenovo, which maintained a 24.6 percent worldwide market share in
2021, compared to 21.1 percent for HP, 19.5 percent for Dell, and around 7 percent each for Apple,
Acer, and ASUS.190

        93.    Competitive entry in the Internet browser market eroded the market share of
Microsoft’s Internet Explorer. In 2004, Internet Explorer enjoyed 95 percent market share.191 By
June 2010, its market share had slipped to 53.8 percent, as Firefox (30.6 percent), Apple Safari (6.8
percent), Google Chrome (5.7 percent) competed for users.192 Recently, Google Chrome has
supplanted Microsoft’s browser offering (now called Edge) at the top of the market, with a usage
share of 65 percent of all browsers, compared to 19 percent for Safari and only 4 percent for Edge.193

       94.     In summary, ample evidence from a range of industries, including network industries
where market power was leveraged from the core into an ancillary market (AT&T and Microsoft),
supports my conclusion that Google’s share of payment processing would decrease substantially in
the competitive but-for world. If anything, the evidence shows that 60 percent is likely a conservative
estimate of Google’s market share after competitive entry.




     188. Joe Wituschek, Apple TV+ gains market share in the United States while Netflix loses it, JUSTWATCH, Jan.
24, 2022, available at https://www.imore.com/apple-tv-gains-market-share-united-states-while-netflix-loses-it. See also
Brumley, supra (“Data from market intelligence outfit eMarketer lets us fleshes out this trend with some numbers. It
reports that Netflix secured 36.2% of the U.S. over-the-top television industry's revenue in 2020, down from 44.4% in
2019. By 2022, its share is expected to be down to 28.4%, and almost even with Disney's slice of the U.S. streaming
market.”).
     189. James W. Cortada, How the IBM PC Won, Then Lost, the Personal Computer Market - Not even Big Blue
could keep up with its creation’s success, IEEE SPECTRUM, July 21, 2021, available at https://spectrum.ieee.org/how-
the-ibm-pc-won-then-lost-the-personal-computer-market.
     190. Gartner Press Release, Gartner Says Worldwide PC Shipments Declined 5% in Fourth Quarter of 2021 but
Grew Nearly 10% for the Year, Jan. 12, 2022, available at https://www.gartner.com/en/newsroom/press-releases/2022-
01-12-gartner-says-worldwide-pc-shipments-declined-5-percent-in-fourth-quarter-of-2021-but-grew-nearly-10-
percent-for-the-year.
     191. TheCounter.com,             Browser          Stats,          April          2004,         archived         at
https://web.archive.org/web/20111101195133/http://www.thecounter.com/stats/2004/April/browser.php.
     192. AT INTERNET INSTITUTE, Are we heading towards the end of Internet Explorer’s reign in Europe?, July 27,
2010, archived at https://web.archive.org/web/20100806153329/http://www.atinternet-institute.com/en-us/browsers-
barometer/browser-barometer-june-2010/index-1-2-3-205 html.
     193. STATCOUNTER GLOBALSTATS, Browser Market Share Worldwide, October 2021, available at
https://gs.statcounter.com/browser-market-share#monthly-202110-202110-bar.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 264 of 667

                                                         -39-


          3.      My Standard Economic Models Show a Reasonable and Expected Relationship
                  Between Competition and Lower Prices

        95.     In Part VIII.E.3 of the Burtis Report, Dr. Burtis critiques my standard economic
models because they “find any change in competition leads to lower rates for all developers.”194 Yet
the relationship between competition and prices is foundational to antitrust and economics. Dr.
Burtis also claims that my models predict that “if, absent the alleged conduct, Google Play’s market
share fell by a single percentage point, the rate for all developers’ IAPs would fall    [percentage]
                     195
points (to        ).” Dr. Burtis obtains this result by assuming counterfactually that the Play Store
faces robust competition from rivals, such that the Play Store must drop its take rate substantially to
prevent its rivals from expanding.196 In the actual world, the Challenged Conduct precludes such
competition. If Dr. Burtis’s assumption is removed, reducing Google’s market share by one
percentage point causes the take rate to fall by just      percentage points.197

        96.     In this section, Dr. Burtis reiterates her incorrect argument that Google would reduce
its take rate only in a targeted fashion in the face of robust and widespread competition in the but-
for world.198 I have responded to this claim in Part I.A.1 above.

          4.      Dr. Burtis’s Speculations Regarding Alternative Monetization Strategies Are
                  Not Appropriate To Include In My Economic Models

       97.     In Part VIII.E.4 of the Burtis Report, Dr. Burtis reiterates her incorrect claims
regarding alternative monetization strategies. I have already responded to these claims in Part II.B.4
above.

   III.        DR. BURTIS’S CRITIQUES OF MY ANALYSIS OF PLAY POINTS ARE WITHOUT MERIT

        98.    In this Section, I respond to the arguments set forth in Part IX of the Burtis Report,
in which Dr. Burtis criticizes an alternative model of impact and damages that I presented that works
through direct consumer subsidies.199 Dr. Burtis argues that I failed “to consider that Google’s Play
Points program provides benefits to a relatively small percentage of U.S. consumers,”200 as “less
than           of U.S. consumers participated in the program and only up to        of U.S. consumers
earned and redeemed Play Points.”201 That “only”               of U.S. consumers participated in Play
Points in the actual world—when the benefits of Play Points are comparatively meager—is hardly


     194. Burtis Report ¶¶347-349.
     195. Id. ¶¶348.
     196. Specifically, Dr. Burtis sets the elasticity of supply of Google’s would-be rivals to the same value used to
model the competitive but-for world (Es = 4.38). See Singer Report ¶216.
     197. Specifically, if one sets the elasticity of rival supply to zero, (Es = 0) and reduces the Play Store’s market
share by one percentage point, then the take rate falls by      percentage points in the In-App Aftermarket. See Singer
Report Table 5. Dr. Burtis concedes that the Android App Distribution Market is not sensitive to her proposed
adjustment; reducing Google’s market share by one percentage point in the Android App Distribution Market lowers
the take rate by just  percentage points, to        percent. Burtis Report ¶348.
     198. Burtis Report ¶349.
     199. Singer Report ¶¶245-256.
     200. Burtis Report ¶358.
     201. Id.
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 265 of 667

                                                      -40-


evidence that participation in a more competitive but-for world would not be substantially greater.
In addition, that “only” about       percent202 of those who participated earned and redeemed Play
Points in the actual world does not prove that a more generous program would not see more
widespread redemptions. Consumers would have enhanced economic incentives to enroll and
participate in a Play Points offering more valuable incentives in the but-for world, just as consumers
have more incentives to participate in a more generous credit card rewards program than a less
generous one. In a more competitive but-for world, Google would also be incentivized to facilitate
consumer participation in Play Points. For example, consumers could be automatically enrolled in
Play Points. Discounts could be automatically redeemed at the point of purchase or even dispensed
through a “cash-back” program.203

        99.     Dr. Burtis also assumes incorrectly that Play Points that are not redeemed have no
value. This is incorrect for at least two reasons. First, Play Points that have not yet been redeemed
today may still be redeemed in the future—in other words, they have an intrinsic option value.
Second, that different consumers may value Play Points differently does not make them worthless.
A $10 gift card for Chick-Fil-A may be worth considerably more to some than others, just a jar of
change accumulating in the closet might be worth more to some consumers than others. That
different consumers may place different values on points, gift cards, or even money does not imply
that they lack economic value.

  IV.     NEITHER DR. BURTIS NOR DR. WILLIAMS PROVIDES A RELIABLE ANALYSIS OF PASS-
                   THROUGH IN A MORE COMPETITIVE BUT-FOR WORLD

        100.       Drs. Burtis and Williams both claim to have implemented pass-through analyses
that purport to estimate the change in the prices that developers would charge consumers for Apps
or In-App Content as a result of a change in developers’ costs arising from a change in Google’s
take rate.204 As detailed below, neither Dr. Burtis nor Dr. Williams provides a pass-through
analysis capable of reliably measuring the effects of the substantially and permanently lower take
rates for all or almost all developers that would prevail in a more competitive but-for world where
Google’s anticompetitive restraints were absent. Both pass-through analyses are unreliable, biased,
and virtually guaranteed to underestimate pass-through in a competitive but-for world that offers
developers an opportunity to steer customers to lower-cost app stores or payment processors. No
“corrections” to their methods could produce reliable pass-through estimates, given that no data
exist to directly measure pass-through in the absence of the Challenged Conduct, which still
remains in place.

       101.     Real-world examples of pass-through also undermine the pass-through analysis
of Drs. Burtis and Williams. Certain developers such as Netflix, Spotify, and Tinder have been
able to avoid Google’s In-App Aftermarket Restrictions and to steer customers towards their
website by offering a lower price; other developers (including Google’s YouTube) have adopted



    202. Equal to [ percent]/[ percent].
    203. See, e.g., Discover, Discover it Cash Back Card, available at https://www.discover.com/credit-cards/cash-
back/it-card html
    204. Burtis Report ¶¶173-178; ¶¶280-295; Table 5, Figure 13, Exhibits 35-36, Exhibits 48- 52; Williams Report
¶¶76-88; ¶¶111-124.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 266 of 667

                                                          -41-


a similar strategy with respect to Apple’s App Store. The implied pass-through rates from these
real-world examples of pass-through are far above the estimates of Drs. Burtis and Williams, even
when pass-through is calculated conservatively.205

A.       Review of Dr. Burtis’s and Dr. Williams’s Pass-Through Analyses

       102. Below I briefly review the pass-through analyses presented by Drs. Burtis and
Williams. I also highlight significant flaws in their analysis that are evident from this review, and
which preview some of my broader critiques in later sections.

         1.       Dr. Burtis’s Pass-Through Analysis

        103. Dr. Burtis’s pass-through analysis is based on a comparison of prices for three groups
of developers, grounded in three episodes in which take rates were modified: (1) the Play Store’s
2018 take-rate reduction for subscription developers; (2) the Play Store’s mid-2021 take-rate
reduction for the first $1 million in developer revenue; and (3) take-rate reductions for special
programs such as LRAP, which granted take rate discounts to a limited number of high-profile
developers such as           that Google was attempting to attract for “living room” based-Android
devices.206 For each of these groups, Dr. Burtis compares the price of the App (or In-App Content)
one month before and one month after the take-rate decrease, and concludes there is evidence of
pass-through only if the latter price is lower than the former price.207 Dr. Burtis also compares prices
six months before and six months after the take rate decrease.208 Dr. Burtis’s pass-through analysis
therefore ignores the long-run effects of lower take rates by construction.209 Dr. Burtis provides no
economic basis for restricting her analysis to one month (or six). These time horizons are brief,
compared to a more competitive but-for world in which the Challenged Conduct is absent for all
relevant time periods. This error is compounded by the fact that a decrease in the take rate does not
immediately flow through to a developer’s financials. For example, if a developer’s take rate falls
from 30 percent to 15 percent in a given month, the developer’s average take rate over the prior year
is approximately 29 percent.210

       104. Dr. Burtis offers three cherry-picked examples (out of tens of thousands of
developers) involving time horizons of more than six months.211 In 2018, the Play Store decreased


     205. Singer Class Report ¶¶242-243; Table 9 (showing real-world pass-through rates ranging from 33 to 105
percent).
     206. Burtis Report ¶174. Only one tenth of one percent of the proposed developer class qualified for any of these
special programs. See Part I.A.1, supra.
     207. Id. ¶176; Table 5; Exhibit 36. When comparing the price of In-App purchases, Dr. Burtis uses a time horizon
of four to eight months. See Burtis Report Exhibit 36, n. [2] (“Price changes for IAPs are identified by comparing prices
in June 2021 to average prices in October 2021 and February 2022. Price changes for ‘Scraped Data’ SKUs are identified
by comparing the retail prices in the scraped data in the month before and the month after the rate change occurred. Price
changes for all other purchase types are identified by comparing weighted average net prices in the month before the
rate change occurred to the month after.”)
     208. Id. ¶293; Exhibit 50.
     209. Despite this limitation, Dr. Burtis finds that approximately 22 percent of initial downloads saw their prices
decrease within six months of a decrease in the take rate. See Burtis Report Exhibit 50.
     210. Note that [0.3 x 11 + 0.15]/12 = 0.2875.
     211. Burtis Report ¶¶280-288 (showing subscription prices and take rates for                                        ).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 267 of 667

                                                        -42-


take rates for developers offering subscription services in which the subscriber maintained their
subscription for at least twelve continuous months.212 Unlike the vast majority of subscription
products, the take rates for these three cherry-picked examples (                               )
dropped from 30 percent to 15 percent shortly after January 2018 because the products are annual
renewals for existing subscribers only.213

        105. Searching for pass-through among these specialized products makes little economic
sense, because it runs contrary to the elementary economics of subscription pricing, which
incentivizes “front-end” discounts to new customers.214 Pass-through cannot be reliably measured
by searching for “back-end” discounts offered to subscription developers’ least price-sensitive
consumers (renewals for existing customers).215

        106. In addition, even if developers had an economic incentive to offer discounts to their
least price sensitive customers, Google’s developer pricing policies would have made doing so
difficult (if not impossible) for most developers. As detailed below, the Play Store’s developer
pricing interface made it difficult or impossible for most developers even to implement “back-end”
discounts for existing customers.216

       107. Moreover, the data show low and declining transaction volume for Dr. Burtis’s
cherry-picked products, indicating they are not representative of stable product offerings that would
drive developer pricing decisions in a more competitive but-for world.217

        2.       Dr. Williams’s Pass-Through Analysis

       108. Dr. Williams’s pass-through methodology hinges on what he claims is a “natural
experiment” created by Google’s decision to lower the take rate from developers with subscription
Apps from 30 to 15 percent beginning in January 2018—with the 15 percent take rate applied only




     212. Id. ¶174, n. 193 (“In 2018, Google reduced the service fee rate on subscription IAPs when the consumer’s
subscription extended beyond a year.”)
     213. Id. Figures 10-12; ¶282, n. 337 (“When Google initiated the program and throughout the period
sold subscriptions in its             app, consumer subscriptions apparently are annual renewals. Thus, its service fee
rate dropped from 30% to 15% immediately after Google made the service fee rate reduction and continued to be 15%
throughout the time it sold subscriptions.”).
     214. See Part IV.D below.
     215. See Part IV.D below.
     216. See Part IV.E below.
     217. For example, the cherry-picked               subscription product had fewer than ten transactions per month
after mid-2018. By mid-2019, there were fewer than five transactions per month. There were no transactions at all for
most of 2020, and none after October 2020. See Appendix Figures A1-A3.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 268 of 667

                                                          -43-


to customers with a subscription in place for at least twelve continuous months.218 Based on his
“natural experiment” comparing prices in a “control group” to prices in a “treatment group” using a
difference-in-differences (“DID”) regression, Dr. Williams concludes that “the overall pass-through
rate is minimal, no greater than 7.3%.”219 Dr. Williams implements a difference-in-difference
(“DID”) regression that attempts to measure the decrease in the average price charged by developers
in a “treatment group,” relative to a “control group.”220 Dr. Williams claims his “treatment group”
consists of “subscription products” that “received the 15% service fee after January 1, 2018.”221 Dr.
Williams asserts his “control group” consists of “subscription products” whose take rates remained
fixed at 30 percent.222

        109. Dr. Williams’s DID regression purports to measure the extent to which monthly
prices in the “treatment group” diverged from monthly prices in the “control group” after the start
of the “treatment period,” defined as the 42 months from January 2018 through June 2021.223 The
DID regression includes fixed effects for each “product.”224 Accordingly, Dr. Williams’s DID
regression measures pass-through only to the extent that prices of the “products” in the “treatment
group” decline during the “treatment period,” relative to prices of the “products” in the “control
group.”225

        110.     To obtain what he terms “clean effects of the treatment,” Dr. Williams discards
all “products” from his “treatment group” that do not have take rates of exactly 15 percent after
2017.226 Similarly, he discards all “products” in the “control group” that do not have take rates of
exactly 30 percent.227 Dr. Williams’s “treatment group” accounts for just 1.5 percent of the revenue
of the developers he purports to analyze during his “treatment period.” Dr. Williams’s “treatment
group” and “control group” together account for just 6.6 percent of the revenue of the developers


     218. Williams Report ¶¶75, 77 (“[O]n January 1, 2018 Google began charging a 15% service fee for subscriptions
lasting more than one year[.]”). See also GADGETS 360, Google Play Lowers App Subscription Fee to 15 Percent,
Matches Apple’s Offering, Oct. 20, 2017, available at “https://gadgets360.com/apps/news/google-play-app-
subscription-fee-30-percent-to-XX-XXXXXXX (“Google said this week it is lowering the amount of money it charges app
developers for mobile subscriptions processed through the Google Play app store from 30 percent to 15 percent in a
move to better compete with Apple’s offering for iOS developers. Developers will be able to make use of the price
revision, which goes into effect beginning January 2018, only among their customers who have subscribed to their app
for a year. So, for the first year, Google will still take a 30 percent cut on the mobile subscription transactions, the
company clarified. This is the same policy Apple employs for auto-renewed paid apps.”).
     219. Williams Report ¶75; ¶¶84-88; ¶¶111-124.
     220. Id. ¶86.
     221. Id.
     222. Id.
     223. Dr. Williams limits his analysis to this time period because, beginning in July 2021, Google introduced a
new policy lowering take rates to 15 percent for developers’ first $1 million in annual revenue, which he believes would
contaminate his “natural experiment.” Williams Report ¶116.
     224. Id. ¶112. Dr. Williams’ DID regressions also include fixed effects by month. Id.
     225. For example, suppose there are only two “products,” the first in the “treatment group” and the second in the
“control group,” and suppose each is initially priced at $5. If price of the first product drops to $4 in January 2018 and
the price of the second product remains the same, the DID regression will measure this as pass-through. If the prices of
both products fall by the same amount, the DID regression will measure zero pass-through. If the price of the second
product rises relative to the first product, the DID regression will also measure this as pass-through.
     226. Williams Report ¶117, n. 146.
     227. Id.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 269 of 667

                                                          -44-


he purports to analyze during his “treatment period.”

       111.      Dr. Williams, like Dr. Burtis, ignores all long-run effects of lower take rates by
construction: Although Dr. William’s “treatment period” technically runs for 42 months, the vast
majority of his data set disappears within the first four to six months of the “treatment period.”228

B.          Neither Dr. Burtis Nor Williams Can Reliably Measure Pass-Through In A More
            Competitive But-For World With Substantially And Permanently Lower Take Rates
            for All or Almost All Developers

        112.    The pass-through analyses presented by Drs. Burtis and Williams cannot capture
the long-run effect of permanently lower take rates for all or almost all developers flowing from
increased competition. In a competitive world with more than one app store or payment processor,
developers would be incentivized to pass on savings from a lower take rate via steering and
discounting, to induce consumers to switch to the low-cost provider. In a competitive but-for
world, this would be facilitated by (1) multi-homing and steering among competing app stores in
the Android App Distribution Market; and (2) consumer (or developer) choice of payment
processors with steering in the In-App Aftermarket.229 This incentive is completely absent in the
pass-through analyses of Drs. Burtis and Williams. Developers that enjoyed Google’s take-rate
decreases did not have to share any of the savings with their customers in order to realize the cost
savings.

        113. Drs. Burtis and Williams thus mistakenly attempt to study pass-through
independently of the competitive mechanism that would engender lower take rates and thus motivate
pass-through in the first place. In the competitive but-for world, there would be robust competition
in both the Android App Distribution Market and in the In-App Aftermarket. This competition—
with steering by developers driving take rate reductions—is completely absent in the pass-through
analyses presented by Drs. Burtis and Williams, both of whom rely on narrow and artificial take-
rate changes imposed by Google.

       114. Rather than measuring pass-through, Drs. Burtis and Williams instead provide
compelling evidence of price “stickiness.”230 For example, Dr. Burtis finds that over 90 percent of
the products she examined “exhibited no change in price at all during the class period.”231 This does
not demonstrate that prices would have remained the same in a more competitive but-for world.




     228.    See Figures 6-7, infra.
     229.    Singer Report ¶¶169-175; ¶¶229-232.
     230.    Dr. Burtis herself emphasizes price stickiness. Burtis Report ¶¶25-26; ¶151; ¶327.
     231.    Id. ¶175. See also Williams Report ¶¶80-81; Figure 3.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 270 of 667

                                                          -45-


What it does demonstrate is that developer pricing exhibits stickiness, which arises due to well-
understood behavioral economic phenomena such as consumer anchoring.232

         115. As explained in the Singer Report, price stickiness would facilitate lower prices in
the but-for world.233 When a new App (or a new form of In-App Content) is developed, a profit-
maximizing developer selects a price that maximizes expected profit over the long run, taking into
account costs incurred over the long run.234 To ensure a sufficient rate of return on its investment, a
developer faced with the prospect of paying 30 percent of its revenue to Google in perpetuity will
(all else equal) need to charge a higher price to consumers than a developer facing a lower take rate.
Price stickiness implies that the initial price chosen for an App (or In-App Content) will influence
subsequent pricing, and hence reinforces developers’ incentives to select an initial price that takes
all costs (including the take rate) into account. Because developer costs would have been
permanently and substantially lower due to lower take rates, prices would have been permanently
and substantially lower for all or almost all developers.235 Thus, lower take rates would influence
developer pricing from the inception of their Apps (or In-App Content). The pass-through analyses
of Drs. Burtis and Williams are incapable of measuring this effect.

C.       Drs. Burtis and Williams Do Not Follow Standard Econometric or Statistical Methods

        116.      The pass-through analyses of Drs. Burtis and Dr. Williams do not follow standard
econometric or statistical methods. As Dr. Burtis concedes, her pass-through analysis does not
control for “economic factors.”236 Indeed, Dr. Burtis does not employ any econometric methods
or statistical tests when conducting her pass-through analysis.237 Dr. Burtis includes no control
variables, nor any control group at all her analysis—because the Challenged Conduct is always
present in the actual world, she does not (and cannot) observe the prices that would have prevailed
in the absence of the Challenged Conduct. This implies that Dr. Burtis’s analysis “has little to say
about causation.”238 According to standard economic principles, a “before-after” study must


     232. See, e.g., Amos Tversky & Daniel Kahneman, Judgment under Uncertainty: Heuristics and Biases, 184
SCIENCE 1124, 1128 (1974) (“In many situations, people make estimates by starting from an initial value that is adjusted
to yield the final answer…different starting points yield different estimates, which are biased toward the initial values.
We call this phenomenon anchoring.”). See also, Andrea Caceres-Santamaria, The Anchoring Effect, Federal Reserve
Bank of St. Louis (2021), available at https://research.stlouisfed.org/publications/page1-econ/2021/04/01/the-
anchoring-effect (“[I]t’s the initial price a consumer is exposed to that becomes a consistent reference point when
shopping around. The tendency for a person to rely heavily on the first piece of information they receive when making
decisions is known as the anchoring effect…Anchoring plays a role in decisions that involve numerical values such as
prices…Retailers are very aware that price anchors are an effective tool they can use in their pricing strategy.”).
     233. Singer Report ¶¶226-227.
     234. Id. ¶226.
     235. Even if one assumes that some developers would not lower their prices in the competitive but-for world,
consumers still would benefit from quality improvements in Apps and In-App Content that developers would be able
finance due to lower costs from lower take rates. Standard economics shows that competition drives firms to make
competitive investments in product quality to keep pace with rivals. Id. ¶233 (citing Department of Justice & Federal
Trade Commission, Horizontal Merger Guidelines (2010), §10).
     236. Burtis Report ¶177.
     237. For example, Dr. Burtis employs no econometric methods or statistical tests in Table 5, Exhibit 35, Exhibit
50, or Exhibit 55.
     238. David Kaye & David Freedman, Reference Guide on Statistics, in REFERENCE MANUAL ON SCIENTIFIC
EVIDENCE (Federal Judicial Center 2000), at 95.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 271 of 667

                                                         -46-


include a clean “after” period in which the conduct in question is absent.239 Dr. Burtis lacks a clean
“after” period, which invalidates her pass-through analysis.240

        117. Drs. Burtis and Williams violate the most fundamental assumption of any natural
experiment—that the control group is unaffected by the policy change at issue.241 Both ignore the
elementary economic fact that a developer does not set prices for one product independently of other
products sold by the same developer.242 For example, Dr. Williams includes Tinder “subscription
products” in both his control group and his treatment group. More generally, 75 percent of the
expenditures in Dr. Williams’s “treatment group” are on Apps that also appear in Dr. Williams’s
“control group.” In the case of Dr. Burtis (who has no control group nor any econometric control
variables), 100 percent of the Apps in Dr. Burtis’s after period also appear in the before period. Dr.
Burtis has no way of controlling for factors, such as price stickiness, that will influence pricing in
both time periods. Nor can Dr. Williams control for price stickiness, which will prevent prices in the
“treatment group” from diverging from those in the “control group.”

         118. Relatedly, Drs. Burtis and Williams also ignore that competition among developers
makes their pricing interdependent, which further contaminates their pass-through analysis. To
illustrate, suppose there are two competing subscription developers and one is in Dr. Williams’s
“control group” and the other is in his “treatment group.” If the developer in the “treatment group”
drops its price, the developer in the “control group” will likely do the same. But this will register as
zero pass-through in Dr. Williams’s DID regressions, which picks up pass-through only when prices
in the “treatment group” fall relative to the “control group.” Conversely, if the developer in the
“control group” does not drop its price (because its take rate is still 30 percent), the developer in the
“treatment group” faces a diminished incentive to drop its own price.

D.       Drs. Burtis and Williams Ignore the Elementary Economics of Subscription Pricing,
         Which Incentivizes Introductory Discounts at the Front End

       119. Drs. Burtis and Williams both attempt to analyze the Play Store’s 2018 take rate
reduction for subscription developers, which applied only to customers with a subscription in place


     239. See, e.g., Justin McCrary & Daniel Rubinfeld, Measuring Benchmark Damages in Antitrust Litigation 3(1)
JOURNAL OF ECONOMETRIC METHODS 63 (2014) (“the benchmark approach evaluates prices only in the market at issue,
comparing prices in the impact period to available prices before and/or after the alleged period of impact (the ‘control
period’)”).
     240. Dr. Williams also lacks a clean “after” period.
     241. See, e.g., JEFFREY WOOLDRIDGE, INTRODUCTORY ECONOMETRICS: A MODERN APPROACH, at 453
(THOMPSON 4TH ED. 2009) (“A natural experiment occurs when some exogenous event—often a change in government
policy—changes the environment in which individuals, families, firms, or cities operate. A natural experiment always
has a control group, which is not affected by the policy change, and a treatment group, which is thought to be affected
by the policy change.”)
     242. This form of pricing interdependence forms the economic basis for merger analysis. See Department of
Justice & Federal Trade Commission, Horizontal Merger Guidelines (2010), §1. See also Steven Berry, Estimating
Discrete Choice Models of Product Differentiation 25(2) RAND JOURNAL OF ECONOMICS 242–262 (1994); Gregory
Werden & Luke Froeb, The Antitrust Logit Model For Predicting Unilateral Competitive Effects 70 ANTITRUST LAW
JOURNAL 257 (2002); Aviv Nevo, Mergers with Differentiated Products: the Case of the Ready-to-Eat Cereal Industry,
31(3) RAND JOURNAL OF ECONOMICS 395-421 (2000).
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 272 of 667

                                                        -47-


for twelve continuous months.243 Both ignore elementary economics, which shows that a
subscription developer will tend to find it optimal to charge lower introductory prices, targeting a
pool of relatively price-sensitive customers, and higher prices to loyal subscribers that have revealed
a greater willingness to pay for the subscription service.244 This explains why it is common for
consumers to receive subscription offers with low introductory rates, which are eventually phased
out—frequently after one year.245 It therefore makes little economic sense for Drs. Burtis and
Williams to assume that pass-through can be reliably measured based on “back-end” discounts
offered to subscription developers’ least price-sensitive consumers.

       120.      The anomalous manner in which take rates were reduced to subscription
developers (only for customers maintaining a subscription for twelve continuous months)
undermines another fundamental economic incentive for pass-through: The ability to attract new
customers with a lower price, thereby offsetting the revenue losses on existing customers. This
key incentive is absent in the actual world, but it would exist in a competitive but-for world with
lower take rates across the board.

       121.     Drs. Williams and Burtis also ignore that, if a consumer has subscribed to a
product for a year (or more) and paid the same monthly price, that consumer has revealed a strong
willingness to pay for the subscription offering. It would make little economic sense for a
developer to target price cuts to its least price-sensitive customers. Yet Drs. Burtis and Williams
naively assume that pass-through would occur in exactly this way.

E.      Drs. Burtis and Williams Ignore That the Play Store’s Developer Interface Likely Made
        It Difficult or Impossible for Most Developers to Violate the Elementary Economics of
        Subscription Pricing by Forcing Back-End Discounts

        122.      Drs. Burtis and Williams ignore that the pricing rules in the Play Store’s developer
interface likely made it difficult or impossible for most developers to drop prices to subscribers
after the first year. According to Google’s developer pricing rules, subscription Apps may offer
discounts to new subscribers.246 But apart from these introductory discounts, I understand that


     243. Burtis Report ¶174, n. 193 (“In 2018, Google reduced the service fee rate on subscription IAPs when the
consumer’s subscription extended beyond a year.”).
     244. Standard economics shows that, when feasible, firms can earn more profit when the charge different prices
to different groups of customers based on their willingness to pay. See, e.g., DENNIS CARLTON & JEFFREY PERLOFF,
MODERN INDUSTRIAL ORGANIZATION (Pearson 4th ed. 2005), Chapter 9.
     245. See, e.g., Subscribe, THE WALL STREET JOURNAL, available at https://store.wsj.com/shop/us/; see also
https://www.nytimes.com/subscription (“Save 50% for one year. You can cancel anytime.”).
     246. See Play Console Help, Create a subscription, available at https://support.google.com/googleplay/android-
developer/answer/140504?hl=en#zippy=%2Csubscription-prices%2Cintroductory-prices%2Cprice-changes
(“5…Introductory price: You can offer new subscribers a discounted price for a specific duration. If you do, this must
be within the accepted price range and cost less per day than the original price…With introductory pricing, you can
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 273 of 667

                                                           -48-


Google’s developer interface makes it difficult or impossible for most developers to lower the
price to existing subscribers after the first twelve months of their subscription without lowering
the price to newer subscribers as well.247 Indeed, developer testimony indicates that developers
were unaware of a mechanism to lower the price to existing subscribers after the first year without
lowering the price for all subscribers, including new subscribers or existing subscribers who had
subscribed for less than a year.248 In other words, based on the evidence available at this time, it
does not appear that Google’s developer-pricing interface or published policies provide a
mechanism to implement the form of pass-through contemplated by Dr. Williams’s “natural
experiment” or by Dr. Burtis’s “before-after” analysis of subscription developers. This
complication would not arise in a competitive but-for world, given that take rates would be
substantially and permanently lower for all or almost all subscribers.

F.       Drs. Burtis and Williams Ignore the Vast Majority of Revenues for Subscription
         Developers Subject to Google’s 2018 Take Rate Adjustment, and Rely on Artificially
         Defined “Products”

        123. Dr. Williams claims that his DID regression compares the prices of different
“subscription products.”249 To limit his “treatment group” to “products” with take rates of exactly
15 percent after 2017,250 however, Dr. Williams generates an artificially large number of
subcategories, and then selects only a handful of these subcategories to use in his “treatment group.”
He selects his subcategories based on “Product IDs,” which do not correspond to product offerings
as they are actually presented to customers. Similarly, for purposes of analyzing “Google Play’s
2018 service fee reduction for certain subscriptions,”251 Dr. Burtis limits her analysis of subscription
developers to only those “SKUs for which the monthly service fee rate for that SKU fell to 20% or
lower and remained at that level for at least three consecutive months.”252 In the process, both ignore
the vast majority of revenue for these developers.


specify an initial price that applies to a set number of days, weeks, months, or billing periods. For example, you can
offer a subscription for $1 per month for the first three months. Or, you can offer an introductory price of $1 for 10 days,
followed by a regular monthly price. At the end of the introductory period, users are charged the full subscription
price…Introductory prices must be within the accepted price range and less than the subscription's full price. If you're
offering a free trial and introductory price, your users are charged the introductory price at the end of the trial. A user
can only receive an introductory price to a specific subscription product (SKU) one time. If the introductory period is a
different length of time than the subscription period, the introductory price must cost less per day than the original price.
For example, if a subscription costs $15 per month (or $0.50 per day), a week-long introductory price must cost less
than $3.50. For these calculations, a month is always considered to be 30 days.”) (emphasis in original).
     247. Google’s published policy generally does not allow developers to provide discounts to any subset of
customers on a specific subscription product with the exception of introductory discounts. See Android Developers,
Google            Play,          Play           Billing,         Sell         Subscriptions,           available           at
https://developer.android.com/google/play/billing/subscriptions
     248. Deposition of Daniel Scalise (March 11, 2022) at 269:9-21 (“Q. Do you know if you can lower the price of
subscriptions on the Google Play Store for some users but not others? A. I don’t think you can. Q. Okay. So if you
wanted to reward users, say, users who had been subscribed for a year or longer, is it your understanding that you
wouldn’t be able to give them a lower subscription price but still keep the higher subscription price for new users, right?
A. That is my understanding, yes, that that would not be possible.”).
     249. Williams Report ¶96.
     250. Id. ¶117, n. 146.
     251. Burtis Report ¶174.
     252. Id. n. 193.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 274 of 667

                                                          -49-



        124. To restrict his “natural experiment” to what he terms “clean effects of the treatment,”
Dr. Williams discards all “products” from his “treatment group” that do not have take rates of exactly
15 percent after 2017, as well as all “products” in the “control group” that do not have take rates of
exactly 30 percent.253 In doing so, Dr. Williams generates artificial “products” that are divorced from
economic reality. For example, if Dr. Williams’s regression data set is to be believed, Tinder, which
has just three major subscription categories (Plus, Gold, and Platinum), offers over 512 distinct
“subscription products.” To conform to his exacting 30-to-15 requirement, Dr. Williams’s regression
model uses only 38 of these “products.” As shown in Table 1 below, Dr. Williams discards from his
“treatment group” more than 99 percent of consumer expenditures on Tinder during his “treatment
period.”

        125. More generally, Table 3 shows that consumer expenditures on the “products” in Dr.
Williams’s “treatment group” constitute a trivial fraction (just 1.5 percent) of consumer expenditures
for the developers (and their Apps) that Dr. Williams purports to analyze during his “treatment
period.”

TABLE 3: DR. WILLIAMS’S “TREATMENT GROUP” INCLUDES ONLY A SMALL FRACTION OF REVENUE
      FOR THE DEVELOPERS HE PURPORTS TO ANALYZE DURING HIS “TREATMENT PERIOD”
                                                                      Total Consumer                Percent In
                                          Consumer Spend in
                 App                                                Spend in App During          Treatment Group
                                          “Treatment Group”
                                                                    “Treatment Period”              Regression
                                                                                                      0.4%
                                                   $10                    $56,090,839                 0.0%
                                                $264,047                 $45,439,296                  0.6%
                                                $120,212                  $43,271,161                 0.3%
                                                $123,077                  $36,429,107                 0.3%
                                                $471,765                 $33,125,617                  1.4%
                                               $1,098,984                 $31,857,584                 3.4%
                                                $323,225                  $31,531,518                 1.0%
                                                $642,417                  $24,463,161                 2.6%
                                                 $74,802                  $20,428,078                 0.4%
              All Others                       $13,299,224               $603,350,265                 2.2%
              TOTAL                            $17,228,862              $1,135,645,426                1.5%

       126. Dr. Burtis, like Dr. Williams, relies on artificially defined “products” extracted from
the Play Store’s data production to conduct her pass-through analysis. For example, in Table 5 of
the Burtis Report, Dr. Burtis claims that only one percent of “subscription developers” showed
evidence of pass-through one month after the take rate was reduced.254 But the subscription
“products” that Dr. Burtis analyzes in Table 5 represent only 3.7 percent of the revenue for the Apps



     253. Williams Report ¶117, n. 146.
     254. Setting aside all of the other flaws in Dr. Burtis’s analysis, it is doubtful whether one would expect to observe
pass-through over such a short time horizon. A one-month adjustment period bears no relation to the competitive but-
for world.
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 275 of 667

                                                -50-


she purports to analyze.255 Similarly, in Exhibit 50, Dr. Burtis claims that only two percent of
“subscription developers” showed evidence of pass-through within six months after the take rate
was reduced. The subscription “products” that Dr. Burtis analyzes in Exhibit 50 represent only 7.3
percent of the revenue for the Apps she purports to analyze.256 It makes no economic sense for Drs.
Williams and Burtis to assume that pass-through can be reliably measured by searching for price
cuts to artificially constructed products that make up only a trivial fraction of developer revenue.

        127.    Because Dr. Williams’s “products” are artificially constructed, their quantities sold
fluctuate wildly and rapidly disappear over the course of Dr. Williams’s “treatment period.” Figure
4 below plots the number of monthly             transactions used in Dr. William’s regression, as well
as the subset of those transactions classified into Dr. Williams’s “treatment group.” As seen below,
the total number of         transactions in Dr. Williams’s regression (seen in the blue line) declines
steeply soon after January 2018. The number of              “products” classified into Dr. Williams’s
“treatment group” (seen in the orange line) is tiny, never exceeding          transactions in a month,
and falling to just      monthly transactions by the end of the “treatment period.” It makes no
economic sense for Dr. Williams to assume, as he does, that pass-through can be reliably measured
by searching for price cuts among this minuscule subset of transactions.




   255. See Appendix 2, Table A1.
   256. See Appendix 2, Table A2.
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 276 of 667

                                               -51-


  FIGURE 4: MONTHLY TRANSACTIONS FOR               “PRODUCTS” IN DR. WILLIAMS’S REGRESSION




         128. Similarly, Figure 5 below displays the aggregate number of monthly transactions for
the          “products” used in Dr. Burtis’s pass-through analysis. As before, the volume for these
artificially defined “products” fluctuates wildly. These “products” amount to at most     percent of
        revenue in the Play Store over the (one to six month) timeframe when Dr. Burtis searches for
pass-through.257 It is not reasonable to assume, as Dr. Burtis does, that artificially constructed
“products” such as these would drive the pricing decisions of a developer such as




   257. See Appendix 2, Tables A1-A2.
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 277 of 667

                                                  -52-


     FIGURE 5: MONTHLY TRANSACTIONS FOR                   “PRODUCTS” IN DR. BURTIS’S TABLE 5




        129. Figure 6 below displays the aggregate number of monthly transactions for all of the
“products” used in Dr. Williams’s regression. As seen below, the total number of transactions in Dr.
Williams’s regression (seen in the blue line) declines steeply from its peak in early 2018. The number
of “products” classified into Dr. Williams’s “treatment group” (seen in the orange line) begins as a
small fraction of the blue line, and also falls off steadily. As before, Dr. Williams assumes incorrectly
that pass-through can be reliably measured by searching for price cuts among this minuscule subset
of transactions. The data underlying his regression model is divorced from economic reality.
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 278 of 667

                                                                                                                                                             -53-


     FIGURE 6: MONTHLY TRANSACTIONS FOR ALL “PRODUCTS” IN DR. WILLIAMS’S REGRESSION
 1,400,000




 1,200,000




 1,000,000




  800,000




  600,000




  400,000




  200,000




        0
                      Aug‐12




                                                          Aug‐13




                                                                                              Aug‐14




                                                                                                                                  Aug‐15




                                                                                                                                                                      Aug‐16




                                                                                                                                                                                                          Aug‐17




                                                                                                                                                                                                                                              Aug‐18




                                                                                                                                                                                                                                                                                  Aug‐19




                                                                                                                                                                                                                                                                                                                      Aug‐20
             May‐12


                               Nov‐12
                                        Feb‐13
                                                 May‐13


                                                                   Nov‐13
                                                                            Feb‐14
                                                                                     May‐14


                                                                                                       Nov‐14
                                                                                                                Feb‐15
                                                                                                                         May‐15


                                                                                                                                           Nov‐15
                                                                                                                                                    Feb‐16
                                                                                                                                                             May‐16


                                                                                                                                                                               Nov‐16
                                                                                                                                                                                        Feb‐17
                                                                                                                                                                                                 May‐17


                                                                                                                                                                                                                   Nov‐17
                                                                                                                                                                                                                            Feb‐18
                                                                                                                                                                                                                                     May‐18


                                                                                                                                                                                                                                                       Nov‐18
                                                                                                                                                                                                                                                                Feb‐19
                                                                                                                                                                                                                                                                         May‐19


                                                                                                                                                                                                                                                                                           Nov‐19
                                                                                                                                                                                                                                                                                                    Feb‐20
                                                                                                                                                                                                                                                                                                             May‐20


                                                                                                                                                                                                                                                                                                                               Nov‐20
                                                                                                                                                                                                                                                                                                                                        Feb‐21
                                                                                                                                                                                                                                                                                                                                                 May‐21
                                                                                              All Transactions In Williams Regression                                                                       Treatment Group



       130. The “products” in Dr. Williams’s “treatment group” appear only intermittently and
with extremely small transaction volumes. During the 42 months of Dr. Williams’s “treatment
period,” from January 2018 through June 2021, the average “product” in the “treatment group” has
fewer than five transactions per month. The average “product” also has zero transactions in 31 of
the 42 months in Dr. William’s “treatment period.”258

        131. The median “product” in Dr. Williams’s “treatment group” has just six total
transactions for all 42 months of the “treatment period.” Put differently, half of the “products” in
Dr. Williams’s “treatment group” have six or fewer transactions during the entirety of the “treatment
period.” Figure 7 below plots the monthly transactions for one such “product.” As seen below, this
offering had been largely removed from the market before Dr. Williams’s “treatment period” had
even begun. During the “treatment period,” a grand total of six transactions are recorded (two each
in January, February, and March of 2018) before the transaction volume drops to zero and stays
there.




    258. Even if one were to ignore all months in which a purported “product” had zero transactions, the average
“product” would still have only 20 transactions per month.
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 279 of 667

                                                                                                                                                                -54-


         FIGURE 7: MONTHLY TRANSACTIONS FOR A “PRODUCT” IN THE “TREATMENT GROUP”
        WITH THE MEDIAN NUMBER OF TRANSACTIONS DURING THE “TREATMENT PERIOD” (SIX)
 800



 700

                                                                                                                                                                                                                                            Six Transactions During
                                                                                                                                                                                                                                              “Treatment Period”
 600



 500



 400



 300



 200



 100



   0
       May‐12
                Aug‐12
                         Nov‐12


                                           May‐13
                                                    Aug‐13
                                                             Nov‐13


                                                                               May‐14
                                                                                        Aug‐14
                                                                                                 Nov‐14


                                                                                                                   May‐15
                                                                                                                            Aug‐15
                                                                                                                                     Nov‐15


                                                                                                                                                       May‐16
                                                                                                                                                                Aug‐16
                                                                                                                                                                         Nov‐16


                                                                                                                                                                                           May‐17
                                                                                                                                                                                                    Aug‐17
                                                                                                                                                                                                             Nov‐17


                                                                                                                                                                                                                               May‐18
                                                                                                                                                                                                                                        Aug‐18
                                                                                                                                                                                                                                                 Nov‐18


                                                                                                                                                                                                                                                                   May‐19
                                                                                                                                                                                                                                                                            Aug‐19
                                                                                                                                                                                                                                                                                     Nov‐19


                                                                                                                                                                                                                                                                                                       May‐20
                                                                                                                                                                                                                                                                                                                Aug‐20
                                                                                                                                                                                                                                                                                                                         Nov‐20


                                                                                                                                                                                                                                                                                                                                           May‐21
                                  Feb‐13




                                                                      Feb‐14




                                                                                                          Feb‐15




                                                                                                                                              Feb‐16




                                                                                                                                                                                  Feb‐17




                                                                                                                                                                                                                      Feb‐18




                                                                                                                                                                                                                                                          Feb‐19




                                                                                                                                                                                                                                                                                              Feb‐20




                                                                                                                                                                                                                                                                                                                                  Feb‐21
                                                                                                                                        com.zoodles.kidmode:monthly



         132. Similar to Dr. Williams’s analysis, the “products” in Dr. Burtis’s analysis of
subscription developers subject to the Play Store’s 2018 take-rate adjustment exhibit instability and
appear only intermittently. The median subscription “product” in Dr. Burtis’s pass-through
analysis had just 22 total transactions during the six-month period that she examined. In other
words, half of the subscription “products” in Dr. Burtis’s pass-through analysis had fewer than 3.7
transactions per month.259 It makes no economic sense to assume, as Drs. Burtis and Williams do,
that artificially constructed products with a de minimis number of transactions, and accounting for
just a small fraction of developer revenue, would drive developer pricing decisions in response to
lower take rates.

        133. Because their “subscription products” are a tiny and artificially constructed sliver of
the actual products offered by subscription developers, the “subscription products” analyzed by Drs.
Burtis and Williams are likely not a representative sample. A representative sample is “a sample
judged to fairly represent the population, or a sample drawn by a process likely to give samples that




       259. Equal to 22 divided by 6.
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 280 of 667

                                                -55-


fairly represent the population, for example, a large probability sample.”260 As explained above, the
subscription “products” analyzed by Drs. Burtis and Williams are defined artificially, constitute a
small share of developer revenue, and appear intermittently and in very small (sometimes zero)
transaction volumes. The population that the sample is purported to represent should, at a minimum,
consist of stable subscription product offerings likely to drive developer pricing decisions.

                                          CONCLUSION
       134.    For the reasons given above, the opinions that I offered in the Singer Report remain
unaltered.

                                          *      *       *

       Hal J. Singer, Ph.D.:




       Executed on April 25, 2021.




    260. David Kaye & David Freedman, Reference Guide on Statistics, REFERENCE MANUAL   ON   SCIENTIFIC
EVIDENCE 295 (3rd ed. National Academies Press 2011).
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 281 of 667

                                    -56-


                      APPENDIX 1: MATERIALS RELIED UPON

BATES DOCUMENTS
AMZ-GP_00003257
GOOG-PLAY-000005203.R
GOOG-PLAY-000076766
GOOG-PLAY-000076773
GOOG-PLAY-000292207.R
GOOG-PLAY-000294117.R
GOOG-PLAY-000297309.R
GOOG-PLAY-000303918.R
GOOG-PLAY-000336574
GOOG-PLAY-000355570.R
GOOG-PLAY-000416245
GOOG-PLAY-000443763
GOOG-PLAY-000560564
GOOG-PLAY-000568027
GOOG-PLAY-000579868.R
GOOG-PLAY-001501104
GOOG-PLAY-001507837
GOOG-PLAY-001556407
GOOG-PLAY-002414772
GOOG-PLAY-003605103
GOOG-PLAY-006990552
GOOG-PLAY-007203251
GOOG-PLAY-007346993
GOOG-PLAY-007745829
GOOG-PLAY-007879368.C
GOOG-PLAY-007887261
GOOG-PLAY-008162331
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 282 of 667

                                             -57-



GOOG-PLAY4-007109523
GP MDL-TMO-0002416
GP MDL-TMO-0131438


DEPOSITIONS
Deposition of Jamie Rosenberg (Feb. 10, 2022)
Deposition of Daniel Scalise (March 11, 2022)


LITERATURE
Alexander Galetovic, Stephen Haber, Lew Zaretzki, An estimate of the average cumulative
royalty yield in the world mobile phone industry: Theory, measurement and results, 42(3)
Telecommunications Policy (2018)

Amos Tversky & Daniel Kahneman, Judgment under Uncertainty: Heuristics and Biases,
184 Science (1974)

Anindya Ghose & Sang Pil Han, Estimating Demand for Mobile Applications in the New
Economy, 60(6) Management Science (2014)

Aviv Nevo, Mergers with Differentiated Products: the Case of the Ready-to-Eat Cereal
Industry, 31(3) RAND Journal of Economics 395-421 (2000)

Christopher Knittel & Konstantinos Metaxoglou, Estimation Of Random-Coefficient Demand
Models: Two Empiricists’ Perspective 96(1) Review of Economics and Statistics 34 (2014)

David Evans, Two-Sided Market Definition in Market Definition In Antitrust: Theory And
Case Studies (ABA Section of Antitrust Law) 1-35 (2009), available at
papers.ssrn.com/sol3/papers.cfm?abstract_id=1396751

David Kaye & David Freedman, Reference Guide on Statistics, Reference Manual on
Scientific Evidence (3rd ed. National Academies Press 2011)

Dennis Carlton & Jeffrey Perloff, Modern Industrial Organization (Pearson 4th ed. 2005)

Department of Justice & Federal Trade Commission, Horizontal Merger Guidelines (2010),
§1

Gregory Werden & Luke Froeb, The Antitrust Logit Model For Predicting Unilateral
Competitive Effects, 70 Antitrust Law Journal 257 (2002)
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 283 of 667

                                            -58-


Gregory Werden & Luke Froeb, The Effects of Mergers in Differentiated Products Industries:
Logit Demand and Merger Policy 10(2) Journal of Law, Economics, & Organization (1994)

Herbert Hovenkamp, Digital Cluster Markets, Columbia Business Law Review (forthcoming
2022), available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3820062

Jean-Charles Rochet & Jean Tirole, Platform Competition in Two-Sided Markets, 1(4)
Journal of the European Economic Association (2003)

Jeffrey Wooldridge, Introductory Econometrics: A Modern Approach (Thompson 4th ed.
2009)

Jerry Hausman & Greg Leonard, Efficiencies from the Consumer Viewpoint, 17(3) George
Mason Law Review (1999)

José Azar, Ioana Marinescu, & Marshall Steinbaum, Labor Market Concentration, 57(3)
JOURNAL OF HUMAN RESOURCES (2020)

Judith Holdershaw, Philip Gendall and Ron Garland, The Widespread Use of Odd Pricing in
the Retail Sector, Marketing Bulletin (8), (1997), available at http://marketing-
bulletin.massey.ac.nz/V8/MB_V8_N1_Holdershaw.pdf

Justin McCrary & Daniel Rubinfeld, Measuring Benchmark Damages in Antitrust Litigation
3(1) Journal of Econometric Methods (2014)

N. Gregory Mankiw, Principles of Microeconomics (Cengage Learning 8th ed. 2018)

Nathan Miller, Conor Ryan, Marc Remer, & Gloria Sheu, Approximating the Price Effects of
Mergers: Numerical Evidence and an Empirical Application DOJ Economic Analysis Group
Discussion Paper 12-8 (2012)

Nathan Miller, Marc Remer, & Gloria Sheu, Using cost pass-through to calibrate demand,
118 Economics Letters (2013)

Steven Berry, Estimating Discrete Choice Models of Product Differentiation 25(2) RAND
Journal of Economics 242–262 (1994)

William Landes & Richard Posner, Market Power in Antitrust Cases, 94(5) Harvard Law
Review (1981)
PUBLICLY AVAILABLE MATERIALS
“(Im)Balance of Power: How Market Concentration Affects Worker Compensation and
Consumer Prices,” Testimony to the House Committee on Economic Disparity and Fairness in
Growth (Apr. 6, 2022)
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 284 of 667

                                             -59-


Android Developers, Google Play, Play Billing, Sell Subscriptions, available at
https://developer.android.com/google/play/billing/subscriptions

AT Internet Institute, Are we heading towards the end of Internet Explorer’s reign in Europe?
(July 27, 2010), archived at
https://web.archive.org/web/20100806153329/http://www.atinternet-institute.com/en-
us/browsers-barometer/browser-barometer-june-2010/index-1-2-3-205.html

Chance Miller, Paddle unveils ‘first alternative’ to Apple’s App Store In-App Purchase system
following Epic ruling, 9to5Mac (Oct. 7, 2021), available at
https://9to5mac.com/2021/10/07/app-store-iap-paddle-system-announcement/

David Curry, App Data Report, Business of Apps (2022)

Discover, Discover it Cash Back Card, available at https://www.discover.com/credit-cards/cash-
back/it-card.html

Epic Games Store, FAQ, available at https://www.epicgames.com/site/en-US/epic-games-store-
faq

Gadgets 360, Google Play Lowers App Subscription Fee to 15 Percent, Matches Apple’s
Offering (Oct. 20, 2017), available at “https://gadgets360.com/apps/news/google-play-app-
subscription-fee-30-percent-to-XX-XXXXXXX

Gartner Press Release, Gartner Says Worldwide PC Shipments Declined 5% in Fourth Quarter
of 2021 but Grew Nearly 10% for the Year (Jan. 12, 2022), available at
https://www.gartner.com/en/newsroom/press-releases/2022-01-12-gartner-says-worldwide-pc-
shipments-declined-5-percent-in-fourth-quarter-of-2021-but-grew-nearly-10-percent-for-the-
year

Georgina Tzanetos, Netflix Loses 31% Market Share as Streaming Rivals Gain Loyal
Subscribers, Yahoo! (April 7, 2021), available at https://www.yahoo.com/video/netflix-loses-
31-market-share-204537722.html

Google Play Store, Choose a category and tags for your app or game, available at
https://support.google.com/googleplay/android-developer/answer/9859673?hl=en

Google Play Store, Apps, available at https://play.google.com/store/apps

The New York Times, Unlimited access to all the journalism we offer, available at
https://www.nytimes.com/subscription

In-App Purchase, paddle, available at https://www.paddle.com/platform/in-app-purchase
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 285 of 667

                                             -60-


James Brumley, Netflix is Losing Market Share, but This is the Actual Risk to Shareholders, The
Motley Fool (Apr. 25, 2021), available at https://www.fool.com/investing/2021/04/15/netflix-is-
losing-market-share-but-thats-not-the-a/

James W. Cortada, How the IBM PC Won, Then Lost, the Personal Computer Market - Not even
Big Blue could keep up with its creation’s success, IEEE Spectrum (July 21, 2021), available at
https://spectrum.ieee.org/how-the-ibm-pc-won-then-lost-the-personal-computer-market

Joe Wituschek, Apple TV+ gains market share in the United States while Netflix loses it,
JustWatch (Jan. 24, 2022), available at https://www.imore.com/apple-tv-gains-market-share-
united-states-while-netflix-loses-it

Nielsen, The Total Audience Report Q4 2014, available at https://www.nielsen.com/wp-
content/uploads/sites/3/2019/04/total-audience-report-q4-2014.pdf

PayPal Fee Changes (Aug. 2, 2021), available at
https://www.paypalobjects.com/marketing/ua/pdf/US/en/feepages-080221.pdf

Paypal Help Center, How can I update my payment preferences for micropayments?, available
at https://www.paypal.com/gf/smarthelp/article/how-can-i-update-my-payment-preferences-for-
micropayments-faq1691

Play Console Help, Choose a category and tags for your app or game, available at
https://support.google.com/googleplay/android-
developer/answer/9859673?hl=en#zippy=%2Capps%2Cgames

Play Console Help, Create a subscription, available at
https://support.google.com/googleplay/android-
developer/answer/140504?hl=en#zippy=%2Csubscription-prices%2Cintroductory-
prices%2Cprice-changes

Play Console Help, Supported Locations for Distribution to Google Play Users, accessed Dec.
27, 2021, available at
https://web.archive.org/web/20211227224037/https:/support.google.com/googleplay/android-
developer/answer/10532353?visit_id=637762416354084080-1400722469&rd=1

Play Console Help, Supported Locations for Distribution to Google Play Users, accessed Feb.
18, 2022, available at
https://web.archive.org/web/20220218131358/https:/support.google.com/googleplay/android-
developer/answer/10532353?visit_id=637807868385671271-2942202130&rd=1

PriceIntelligently, Odd-Even Pricing, available at https://www.priceintelligently.com/odd-even-
pricing#
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 286 of 667

                                              -61-


Sameer Samat (Google Vice President, Product Management), Boosting developer success on
Google Play (Mar. 16, 2021), available at https://android-
developers.googleblog.com/2021/03/boosting-dev-success.html

Sameer Samat (Google Vice President, Product Management), Evolving our business model to
address developer needs (Oct. 21, 2021), available at https://android-
developers.googleblog.com/2021/10/evolving-business-model.html

Secure an Android Device, available at https://source.android.com/security/overview

Sensor Tower, 2021 – 2025 Mobile Market Forecast (2021), available at
go.sensortower.com/rs/351-RWH-315/images/Sensor-Tower-2021-2025-Market-Forecast.pdf

shopify, Odd-Even Pricing, available at https://www.shopify.com/encyclopedia/odd-even-
pricing

Statcounter GlobalStats, Browser Market Share Worldwide (October 2021), available at
https://gs.statcounter.com/browser-market-share#monthly-202110-202110-bar

Statista, Market share of global general purpose card brands American Express,
Diners/Discover, JCB, Mastercard, UnionPay and Visa from 2014 to 2020, based on number of
transactions, available at https://www.statista.com/statistics/278970/share-of-purchase-
transactions-on-global-credit-cards/

Statista, Most popular Google Play app categories as of 1st quarter 2021, by share of available
apps, available at: https://www.statista.com/statistics/279286/google-play-android-app-
categories/

Subscribe, The Wall Street Journal, available at https://store.wsj.com/shop/us/

Testimony for the U.S. Senate Judiciary Committee, Subcommittee on Competition Policy,
Antitrust, and Consumer Rights, Jared Sine, Chief Legal Officer, Match Group (April 21, 2021)

Thecounter.com, Browser Stats (April 2004), archived at
https://web.archive.org/web/20111101195133/http://www.thecounter.com/stats/2004/April/bro
wser.php

Top Paid Apps, Google Play, available at
https://play.google.com/store/apps/collection/cluster?clp=0g4jCiEKG3RvcHNlbGxpbmdfcGFp
ZF9BUFBMSUNBVElPThAHGAM%3D:S:ANO1ljLdnoU&gsr=CibSDiMKIQobdG9wc2Vsb
GluZ19wYWlkX0FQUExJQ0FUSU9OEAcYAw%3D%3D:S:ANO1ljIKVpg

TRIAL MATERIALS
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 287 of 667

                                             -62-


Complaint, In re Google Play Consumer Antitrust Litigation, No. 3:20-CV-05761-JD (Dec.
20, 2021)

Expert Report Of Douglas Craig Schmidt, PhD (February 28, 2022)

Expert Report of Dr. Michelle M. Burtis (March 31, 2022)

Expert Report of Hal J. Singer, Ph.D. (February 28, 2022)

Expert Report of Michael Williams (February 28, 2022)
   Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 288 of 667

                                              -63-


                        APPENDIX 2: ADDITIONAL TABLES AND FIGURES

 APPENDIX TABLE A1: THE “SUBSCRIPTION DEVELOPERS” IN DR. BURTIS’S TABLE 5 REPRESENT
 ONLY A SMALL PROPORTION OF REVENUE FOR THE DEVELOPERS SHE PURPORTS TO ANALYZE
                                                            App Total Consumer      Percent of Consumer
            App                 Consumer Spend in         Spend One Month After       Spend in Burtis's
                                  Burtis's Table 5         Service Fee Rate Drop          Table 5
                                $                        $                                  0.6%
                                $             96,426     $               20,280,402         0.5%
                                $            363,406     $               17,505,717         2.1%
                                $            150,468     $               12,676,827         1.2%
                                $            693,580     $               12,520,837         5.5%
                                $            761,630     $               10,112,602         7.5%
                                $            500,277     $                8,987,715         5.6%
                                $             41,001     $                7,319,714         0.6%
                                $             21,987     $                6,544,597         0.3%
                                $             43,035     $                6,264,122         0.7%
          All Others            $         14,723,817     $              242,246,005         6.1%
           TOTAL                $         18,332,152     $             492,769,479          3.7%

APPENDIX TABLE A2: THE “SUBSCRIPTION DEVELOPERS” IN DR. BURTIS’S EXHIBIT 50 REPRESENT
 ONLY A SMALL PROPORTION OF REVENUE FOR THE DEVELOPERS SHE PURPORTS TO ANALYZE
                                                            App Total Consumer       Percent of
              App                 Consumer Spend in       Spend Six Months After Consumer Spend in
                                  Burtis's Exhibit 50      Service Fee Rate Drop Burtis's Exhibit 50
                                 $                        $                             2.4%
                                 $           3,373,216    $             37,938,150      8.9%
                                 $             621,392    $             35,772,224      1.7%
                                 $           2,058,768    $             33,988,047      6.1%
                                 $           3,584,467    $             32,547,692     11.0%
                                 $             449,804    $             31,869,465      1.4%
                                 $           2,918,197    $             25,365,315     11.5%
                                 $           1,661,622    $             20,644,346      8.0%
                                 $           2,636,188    $             19,001,394     13.9%
                                 $             529,139    $             18,273,621      2.9%
           All Others            $          66,840,769    $            752,064,205      8.9%
            TOTAL                $          89,883,137    $          1,225,516,498      7.3%
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 289 of 667
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 290 of 667
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 291 of 667
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 292 of 667




REDACTED VERSION

     Exhibit A4
         to
C. Cramer Declaration
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 293 of 667




                        UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF CALIFORNIA

                             SAN FRANCISCO DIVISION


IN RE GOOGLE PLAY STORE
ANTITRUST LITIGATION                    No. 3:21-md-02981-JD

THIS DOCUMENT RELATES TO:               EXPERT REPORT OF DOUGLAS
                                        CRAIG SCHMIDT, PH.D.
In re Google Play Consumer Antitrust
Litigation, Case No. 3:20-cv-05761-JD   Judge: Hon. James Donato




             HIGHLY CONFIDENTIAL UNDER PROTECTIVE ORDER
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 294 of 667




                                                  TABLE OF CONTENTS

I.      INTRODUCTION .............................................................................................................. 1

II.     QUALIFICATIONS ........................................................................................................... 2

III.    GENERAL TECHNOLOGICAL BACKGROUND .......................................................... 3

        A.        High-Level Technical Background Regarding Mobile Devices, Operating
                  Systems, and Apps .................................................................................................. 3

        B.        Users Face Substantial Costs When Switching Between Google Android
                  and iOS.................................................................................................................... 5

        C.        A Brief Explanation of Android Software .............................................................. 8

        D.        GMS is a Key Difference Between AOSP and Google Android............................ 9

                  1.         GMS includes middleware that is unique to Google Android .................. 10

                  2.         GMS includes a suite of apps that are not included in AOSP
                             Android ..................................................................................................... 12

                  3.         The inclusion of GMS in Google Android means that apps
                             developed to run on Google Android will not function properly on
                             AOSP ........................................................................................................ 13

                  4.         Google could provide developers with SDKs for AOSP allowing
                             them to use the functionalities of GMS without the suite being on
                             the device, as Google has done for iOS apps ............................................ 15

                  5.         Developers face substantial costs to develop apps for multiple
                             mobile software systems ........................................................................... 15

        E.        Permissions are a Key Feature of AOSP and Google Android ............................ 17

        F.        Overview of App Installations .............................................................................. 19

                  1.         Installation via app stores that possess the INSTALL_PACKAGES
                             permission ................................................................................................. 19

                  2.         Installation via the Unknown Sources Flow ............................................. 20

                  3.         Installation via developer tools and the Android Debug Bridge............... 23

        G.        Overview of In-App Transactions ........................................................................ 23

IV.     GOOGLE HAS CREATED TECHNICAL BARRIERS FOR NON-GOOGLE
        APP STORES ................................................................................................................... 27


                                                                    i
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 295 of 667




       A.        Google Android Forces Users To Go Through the Unknown Sources Flow
                 To Install Apps, Including Non-Google App Stores, Outside Of The
                 Google Play Store ................................................................................................. 27

       B.        Google Android Forces Users To Manually Update Apps Downloaded
                 Outside Of The Google Play Store ....................................................................... 36

       C.        Google Could Reasonably Allow Non-Google App Stores To Bypass The
                 Unknown Sources Flow Without Compromising Security .................................. 37

V.     THERE IS NO TECHNICAL REASON TO REQUIRE THE USE OF GOOGLE
       PLAY BILLING FOR IN-APP TRANSACTIONS OF DIGITAL GOODS ................... 41

VI.    CONCLUSION ................................................................................................................. 44




                                                                ii
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 296 of 667




I.     INTRODUCTION

       Android powers more mobile devices globally than any other mobile software system.

The earliest versions of Android were open source, drawing on the talents of global developers to

build and augment the platform. After acquiring Android, however, Google has moved

functionalities from open-source Android to Google’s proprietary version of Android (“Google

Android”). And it has implemented a number of technological impediments that artificially limit

the ability of developers to distribute, and users to obtain, applications (referred to herein as

“apps”) outside of the Google Play Store. These technological impediments also artificially limit

the ability of users to download and use app stores that potentially compete with the Google Play

Store. Counsel for Mary Carr, Daniel Egerter, Zack Palmer, Serina Moglia, Matthew Atkinson,

and Alex Iwamoto, on behalf of themselves and all others similarly situated (the “Consumer

Plaintiffs”) and counsel for Pure Sweat Basketball Inc.; Peekya App Services, Inc.; LittleHoots,

LLC; and Scalisco LLC d/b/a Rescue Pets, on behalf of themselves and all others similarly

situated (the “Developer Plaintiffs”), have asked me to lay out the basic components of the

Android mobile software system and its associated tools, the means through which software apps

are accessed and installed on mobile devices, and the mechanics through which billing and

payment processing systems allow users to purchase both apps and digital or physical content

and products from within the app.

       In this Report, I draw upon my knowledge and experience in software engineering and

system design along with the information cited herein to address the questions: (1) whether

Google has imposed technological restraints that artificially restrict or inhibit consumer access to

competitive app stores and to apps sold through competitive app stores or other distribution

channels, and (2) whether there are technical reasons for Google’s billing service product,




                                                  1
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 297 of 667




Google Play Billing, to be included in the flow of purchases made directly in apps that users

have downloaded to their mobile device.

        I am submitting this report at the class certification stage of this case, and I understand

that discovery is ongoing. I reserve the right to supplement and to add new information and

opinions to this report. I also reserve the right to provide additional information and opinions in

the merits report I will be submitting at a later stage of this case.

II.     QUALIFICATIONS

        I am the Cornelius Vanderbilt Professor of Engineering in the Department of Electrical

Engineering and Computer Science at Vanderbilt University. I am an experienced software

engineer, with a focus on technology development in the areas of middleware platforms and

model-driven tools for high-performance and real-time apps. I have worked in industry, for the

government, and in academia. As a Visiting Scientist at Carnegie Mellon University’s Software

Engineering Institute, I have worked with the Ultra-Large-Scale Systems team to define the

challenging problems, promising technology areas, and research roadmaps for the national R&D

effort on shaping future innovations in complex software-reliant systems. As the Deputy Director

of the Defense Advanced Research Projects Agency, an agency within the Department of

Defense, I helped to set and guide the National IT research and development agenda. In my role

as the Associate Provost of Research Development and Technologies at Vanderbilt, I am charged

with developing cohesive and sustainable information technology services to advance research

and scholarship across Vanderbilt’s ten schools and colleges.

        I am an author or co-author of over 400 peer-reviewed publications, reports, books, and

book chapters. I currently conduct research on patterns, optimizations, and experimental analysis

of advanced software techniques that facilitate the development of distributed real-time and

embedded middleware and model driven architectures running over high-speed networks and


                                                   2
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 298 of 667




interconnects. I have been deposed extensively and have testified as an expert in the federal

courts, principally in the context of patent litigation involving software and middleware systems.

A copy of my curriculum vitae, including a list of my testimony over the last four years, is

attached to this report as Exhibit A.

          I have no stake in the outcome of this case. I am being compensated for my work in this

case at the rate of $550 per hour. The materials I relied upon in forming my opinions are

summarized in Exhibit B. I reserve the right to supplement my opinions as more information

becomes available.

III.      GENERAL TECHNOLOGICAL BACKGROUND

          A.     High-Level Technical Background Regarding Mobile Devices, Operating
                 Systems, and Apps

          To understand how mobile apps are installed and function on devices running Android, it

is helpful to have a general understanding of mobile devices, their software, and how apps are

built.

          Mobile devices, such as smart phones and tablets, are essentially hand-held portable

computers. These devices can connect to the internet over cellular and/or wi-fi networks. Like

other computing devices, they are controlled by an operating system (“OS”), which is software

that manages the device’s hardware and software resources and, in some cases, provides

interfaces through which third-party app developers can create programs that run on the mobile

device.

          While the OS provides the basic software to manage a mobile device, enabling

functionality like network connectivity, battery and power management, and other core features,

most functionality is provided by apps, which are software programs designed to perform a

variety of tasks. Once pre-loaded or installed on the device, apps that are designed to be accessed



                                                  3
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 299 of 667




by the user of the device (“user-facing” apps) are typically displayed on the device screen

through a representative image, known as an icon. The user opens or “calls” a user-facing app

through tapping or clicking on the icon. Unless I indicate otherwise, when I refer to an “app” in

this report, I am referring to a user-facing app.

       Modern software systems can be thought of as a series of layers, with each layer building

on the layer below it. Developers of each layer leverage the functionality and features of the

lower layers to save time and develop software more reliably. Each layer exposes an app

programmer interface (“API”) that defines the set of features and functions provided by the

layer. Layers that sit between the core operating system components and user-facing apps are

often called “middleware.” Middleware is software that provides common services and

capabilities to apps beyond the functionalities offered by the OS. Essentially functioning as a

hidden translation layer, middleware enables communication and data management for apps and

is not meant to be accessible to the average retail user.

       Developers of user-facing apps can incorporate into their apps external software packages

that allow their apps to interact with, and borrow from, (a) other apps and middleware on the

device that perform specific functionalities, and (b) services that may be provided by external

servers through internet connections. This integration allows the developer to utilize pre-existing

software rather than having to build each component from scratch. These software packages also

expose APIs that define what functions are available and how those functions can be leveraged

to achieve the desired outcome.

       Another important component of mobile device systems is a Software Development Kit

(“SDK”) which is a set of tools that developers can use when building apps. An SDK allows




                                                    4
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 300 of 667




developers to build software that uses a pre-existing API or set of APIs. Some examples of SDKs

include the Android SDK, the Google Play Services SDK, and the Stripe Payments SDK.

       In sum, the software on mobile devices is typically composed of an OS, middleware, and

apps. Developers create apps using SDKs. Apps utilize APIs exposed by the OS, middleware,

and other apps. The following graphic visually demonstrates these concepts.




       B.      Users Face Substantial Costs When Switching Between Google Android and
               iOS

       Google Android and Apple iOS are the two most prominent mobile software systems,

and each environment leverages different programming languages, programming paradigms,

frameworks, and capabilities. The Android and iOS mobile software systems are not compatible,

so software developers must create independent versions of their apps to operate on each system.

After a user has elected to purchase a device on a particular mobile platform, such as Google

Android, they are effectively locked-in to the platform for that device since users face substantial



                                                 5
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 301 of 667




costs to switch between Google Android and other mobile device platforms. As Google has

noted, “Switching phones = switching ecosystems. You not only have to learn how to use a new

OS, but completely new platforms around it.” GOOG-PLAY-000880576.R at 589.R.

       Users face several switching costs relating to apps. For example, Google Android pushes

users towards Google’s proprietary apps, including the Google Play Store. App downloads and

purchases made within the Google Play Store might not be transferrable to Apple iOS devices, in

which case a user must find them and download or purchase them again from Apple’s App Store.

A user may also need to transfer the data in their apps and recalibrate their settings to achieve a

comparable experience on the new platform. It is possible to lose such app-related data and

purchases.

       If the user acquires a new phone within the Google Android ecosystem, their apps and

app purchases remain available and, in some cases, may automatically download. This

automated capability, however, is not available with a switch from Google Android to an Apple

iOS device. Switching from one platform to another is therefore not as simple as buying a

different phone but instead involves reconstructing the user’s digital life. Users also face costs

associated with transferring non-app data, such as photos and videos, from a mobile device on

one platform to a mobile device on another platform. In most cases this requires multiple steps

that a user must manually undertake and some formats of data may not be supported on the new

device on the new platform. There is also the possibility of loss of such data. Indeed, Google

noted that losing data is one of the biggest concerns that users have with switching to a new

platform, along with apps/feature incompatibility and having to learn a new OS. GOOG-PLAY-

000880576.R at 580.R.




                                                  6
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 302 of 667




       In addition, even a successful transfer of data and apps does not equal a successful switch

since a user must still adapt to the new phone. GOOG-PLAY-000880576.R at 589.R. For

example, the user interfaces for an Apple iOS device and a Google Android device function

differently and leverage different design paradigms (e.g., iOS devices have lacked a physical

home button since the iPhone 8 and have never had a “back” button; whereas, many Google

Android devices still possess the back and home buttons as soft keys on the touchscreen of the

device). These differences require significant expenditures of time and effort by users to learn

and master. Google has concluded that this “feels a lot like learning a foreign language.” Id.

       Switching can also be a complicated and time-consuming process. At one point,

switching from an Apple iOS device to a Google Android device involved an average of 40 steps

and could take as long as 9 hours. GOOG-PLAY-000880576.R at 589.R. While both Google and

Apple have made attempts to streamline this process, it is still something that a user must figure

out how to do and then manually implement.

       Finally, there are also costs arising from the fact that devices on one platform are

typically compatible with each other, but not fully compatible with devices on other platforms.

For example, if a user purchases an app using his or her Apple iPhone, that app can usually also

be accessed on his or her other Apple devices, like an Apple iPad and or Apple Watch, and

messages a user sends from his or her iPhone using Apple’s iMessage app will show up across

those devices as well as his or her Apple computers. But if a user decides to switch to a Google

Android phone, the Google Android phone will not necessarily interoperate and synchronize

with his or her Apple devices and certain capabilities, such as placing or receiving calls from his

or her Apple Watch, may be lost altogether. There are also hardware implications with respect to

accessories and other ancillary products. For example, Google’s PixelBuds (wireless




                                                 7
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 303 of 667




headphones), while broadly compatible with any Bluetooth audio device, provide the greatest

functionality when attached to a Google Android device. Someone leaving the Google Android

platform and going to the Apple iOS platform would lose access to the greatest functionality

(i.e., real-time language translation).

        C.       A Brief Explanation of Android Software

        Android originally was developed as “open source” software, meaning that anyone could

inspect, modify, or enhance the source code to add to or manipulate the Android software

functionality. The Android Open-Source Project (“AOSP”) was started in 2003. It was created to

guide development of Android software for the mobile platform. The Android software consists

of OS, middleware that enables additional functionality for apps, and a set of integrated apps.

Google purchased Android, including rights to AOSP, in 2005.

        After purchasing AOSP, Google developed and implemented a set of requirements for

what it deems “Android Compatible Devices.” Android Compatible Devices are defined by

Google’s Android Compatibility Program. The Android Compatibility Program consists of three

components: the AOSP source code (OS, middleware, and integrated apps); the Compatibility

Definition Document (“CDD”) promulgated by Google; and passing Google’s Compatibility

Test Suite (“CTS”).1

        Android Compatible Devices fall into two main categories. The first category of devices

runs only AOSP source code as defined and maintained by Google—it is entirely free, does not

require the user to enter into a licensing agreement, and may be used by anyone. In this report, I

refer to the AOSP source code simply as “AOSP.”



1
   See Android – Developers, Device compatibility overview, available at
https://developer.android.com/guide/practices/compatibility; Android – Source, Android Compatibility Program
Overview, available at https://source.android.com/compatibility/overview.html.



                                                       8
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 304 of 667




        The second category of devices runs the AOSP-based software system I refer to as

“Google Android,” which is licensed by Google to manufacturers of mobile devices (referred to

herein as “original equipment manufacturers” or “OEMs”) and includes the AOSP source code

and a package of software referred to as Google Mobile Services (“GMS”) that provides

additional middleware and user-facing apps.2 I discuss GMS in more detail below. When I

discuss the features and functionality of AOSP, those features and functionalities are also

included in Google Android. However, the reverse is not necessarily true—the features and

functionality of Google Android are not necessarily included within AOSP.3

        A mobile device can also run AOSP-based software but not comply with Google’s

Android Compatible Device requirements. In such instances, an OEM or other developer may

have modified the AOSP source code to suit its commercial purposes. Such AOSP-based

software does not satisfy the requirements of Google’s CDD and will not pass Google’s CTS. I

refer to such AOSP-based software as “Forked Android Software” or “Forked Android.”

        In the United States, the most well-known Forked Android devices are the Amazon Fire

product line. In China, Forked Android systems are the most popular mobile software systems

because the Chinese government does not allow mobile devices sold there to have Google’s

Mobile Services pre-installed.

        D.       GMS is a Key Difference Between AOSP and Google Android

        As I mention above, the second category of “Android Compatible Devices” runs the

mobile software I refer to as “Google Android.” While Google Android is based on AOSP,



2
  Google from time to time also makes modifications to the AOSP source code and adds other software to create
various versions of Google Android.
3
  A third category of Android Compatible Devices uses software based upon AOSP but does not include GMS.
Since these devices are primarily used in specific industrial and commercial apps rather than consumer mobile
devices, I do not address them in this report.



                                                        9
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 305 of 667




Google additionally includes GMS in Google Android. GMS is composed of middleware and a

suite of user-facing apps. Google’s inclusion of GMS in Google Android results in significant

differences between AOSP and Google Android.

                   1.      GMS includes middleware that is unique to Google Android

          GMS adds middleware components to Google Android that do not exist in AOSP. These

components are composed of APIs plus supporting independent sets of executable code. Google

refers to this middleware and the services it provides as “Google Play Services.”4 As

middleware, Google Play Services connects user facing apps, the services provided within

Google Play Services, and the AOSP OS. Google Play Services is present as an app on all

Google Android devices. 5

          Google Play Services runs in the background of a Google Android device at all times and

manages a wide range of functionalities. Developers can build apps that access the services in

Google Play Services through the Play Services SDK. The Play Services SDK provides a

different set of APIs than the standard open-source set available within AOSP.

          For example, Google Play Services includes an enhanced location services framework

called the Fused Location Provider6 that can provide user-facing apps with better and more

precise location data than the original services within the AOSP mobile software system. Google

Play Services also includes other APIs and services, including those for mobile advertising (e.g.,

AdMob); analytics (e.g., Google Analytics for Firebase); and identity (e.g., sign-in with Google).




4
  Google Play Services is not to be confused with the Google Play Store. Technologically the Google Play Store
need not be on a device in order for Google Play Services to provide its functionality.
5
   As I mention in Footnote 3, there are Android Compatible Devices whose software does not include GMS. Since
these devices primarily have special commercial or industrial uses and are not typically consumer mobile devices, I
do not address them in this report.
6
    https://developers.google.com/location-context/fused-location-provider



                                                         10
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 306 of 667




Google collects a substantial amount of user data through Google Play Services. It shares this

user data with developers of apps that rely on Google Play Services. Google Play Services also

provides an invaluable data stream to Google about how users interact with apps on their

platform and gives Google unique insights into events and user behaviors that are not visible to

third-parties:7




Specifically, through the use of Google Play Services, Google is able to track                   a

valuable metric that provides insight: “[t]hird party SDKs cannot




7
    GOOG-PLAY-000343365.R



                                               11
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 307 of 667




                                                                   ” GOOG-PLAY-000343365.R at

396.R. Moreover, Google is able to drive additional advertising revenue by targeting users based

on their interactions with apps installed on their device: “



                                    Enrich targeting throughout Firebase (e.g. FCM [Firebase Cloud

Messaging], config).” (Id. at 396.R – 397.R)

                 2.       GMS includes a suite of apps that are not included in AOSP Android

        While the Google Play Services part of GMS provides additional middleware

components that are less obvious to users, GMS also provides a suite of Google-proprietary apps

that are not present on AOSP. Most importantly for the purposes of this report, this GMS suite of

apps includes the Google Play Store. But it also includes Google Search, Gmail, Maps, Chrome,

YouTube and multiple additional apps. The GMS suite of apps, in turn, exposes APIs that

developers can use to incorporate the functionality of the GMS apps within the developers’ apps.

        This GMS suite of apps, including the Google Play Store, is present on every Google

Android mobile device.8 In most instances, the apps in the GMS suite replace the open-source

alternative apps included in AOSP. Google does not publish the source code for the apps in the

GMS suite. This restriction is a departure from the early versions of Google Android. In those

versions, the bulk of the Google Android app functionality was provided by the open-source

AOSP apps with Google providing only modest or optional Google-specific enhancements, such

as an enhanced connection to Gmail, with their proprietary apps. Over time, however, Google




8
  As I mention in Footnote 3, there are Android Compatible Devices which use software that does not include
GMS. Since these devices primarily have special commercial or industrial uses and are not typically consumer
mobile devices, I do not address them in this report.



                                                       12
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 308 of 667




has favored development of their GMS suite of apps over the development of the open-source

apps in AOSP.

       For example, Google identified that using location services to get “the best location

results” was “very tedious.” (Google I/O 2013 – What’s New in Google Play Services =

https://www.youtube.com/watch?v=49pWckcaZEI at 3:34). Rather than improving location

services in AOSP, so that those improvements would be in both AOSP and Google Android,

Google improved the location services only in Google Android. Google replaced the location

services in Google Android with its Fused Location Provider that makes determining a user’s

location “nice and easy.” Id. However, Google does not make this improved location provider

available to AOSP devices, meaning that apps relying upon it are tightly coupled to Google

Android. Apps using the Fused Location Provider will therefore crash if not properly designed to

run on AOSP, which would take a significant amount of additional development work.

                3.    The inclusion of GMS in Google Android means that apps developed to
                      run on Google Android will not function properly on AOSP

       Apps developed to run on Google Android using APIs exposed by GMS will not function

properly on devices running on AOSP or Forked Android because GMS (and hence the APIs it

exposes) is not present on those devices.

       For example, if a developer wishes to use the functionality of Google Maps from the

GMS app suite, that developer builds an app that includes calls to the Google Maps APIs

exposed by GMS. These API calls allow users to access a Google map within the developers’

app without separately opening Google Maps. Examples of apps that access the Maps APIs in

the GMS app suite include Uber, McDonalds, and Starbucks. These apps explicitly call to the

Google Maps APIs exposed in GMS, so if GMS is not present on the device the app is running

on, the app will crash. Therefore, apps that utilize these GMS components, such as Google Maps,



                                               13
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 309 of 667




are tightly coupled to Google Android devices and are not usable on devices running AOSP or

Forked Android Software.

       Similarly, apps developed using the Play Services SDK that call to APIs that access

services provided by the Google Play Services middleware will not function properly on devices

running on AOSP or Forked Android because the Google Play Services App (and hence the

Google Play Services APIs) is not present on those devices. For example, using Google’s

enhanced location services requires explicit calls to Google Play Services APIs that are not

present in AOSP. The services accessed by calling these enhanced location APIs leverage nearby

WiFi networks, cell towers, and other radio signals to more accurately determine a user’s

location compared to using GPS alone. This feature is only available on Google Android and

provides significantly more accurate location information more rapidly than using the built-in

GPS receiver, and allows apps like Uber to reliably locate the user to provide services. Apps that

leverage this and other Google Play Services APIs will not function properly on devices that run

software without those APIs, including devices that run AOSP and Forked Android Software. To

implement an alternative, developers must first identify an alternative source of the equivalent

functionality and write code to access that functionality.

       With its inclusion of GMS, Google has effectively created an entirely new platform that

is incompatible with AOSP. When there are multiple APIs and frameworks in use, the cost of

migrating from one set of frameworks to another can quickly increase to the point that it rivals

the cost of developing an entirely new app. Apps that are written for Google Android with GMS

are not compatible with AOSP Android. They are not the same platform, and an app that

leverages APIs from Google Android cannot target AOSP Android and non-Google Forked

Android at the same time.




                                                 14
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 310 of 667




                 4.    Google could provide developers with SDKs for AOSP allowing them to
                       use the functionalities of GMS without the suite being on the device, as
                       Google has done for iOS apps

       As with devices running AOSP Android and Forked Android, devices running Apple’s

iOS do not have GMS installed on the device. However, Google provides developers with an

SDK that allows them to build code into their iOS apps that eliminates the need for GMS. Using

these Google-provided SDKs, developers can build iOS apps that call a given functionality over

the internet that would otherwise be provided by GMS on a Google Android device.

       For example, the Starbucks app on a Google Android device is built to use Google Maps

functions by calling to APIs exposed by the Google Maps app on the device. Therefore, Google

Maps and GMS must be on the device for the Starbucks app to function on any Android device.

However, a Starbucks app on an iOS device is built using an SDK provided by Google to call the

Google Maps functionality over the Internet, so neither Google Maps nor GMS need be on the

iOS device for the Starbucks app to call the Google Maps functionality. As a consequence,

developers seeking to create apps for AOSP or Forked Android devices face significant hurdles

that they simply do not encounter when writing for Google Android or iOS—developers must

both identify an alternative source of the equivalent functionality and write code to access that

functionality.

                 5.    Developers face substantial costs to develop apps for multiple mobile
                       software systems

       Developers face substantial costs to develop apps for multiple mobile software systems.

For instance, Google Android and Apple iOS are the two most prominent mobile software

systems, and each environment leverages different programming languages, programming

paradigms, frameworks, and capabilities. While cross platform development solutions exist, they

typically involve developing to the lowest common denominator. In the most straight forward



                                                15
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 311 of 667




example, iOS and Google Android have completely different guidelines with respect to user-

interface expectations. As a result, there is frequently a significant amount of platform-specific

design work to ensure that apps feel consistent and “native” to a given platform.9, 10 To maximize

user experience, developers must duplicate efforts across each platform they wish to target since

there is no mechanism to automatically make one app built for one system compatible with the

other.

           Even something as simple as user interface guidelines vary between the Google Android

and Apple iOS platforms. A specific example is that Google Android has always had a “back”

soft key or button (initially in physical form and now as a soft key on the touch screen of a

device) whereas Apple iOS does not. Beyond user interface differences, iOS apps use a

completely different set of APIs, services, and frameworks than Google Android. While, for

example, the Starbucks app on Google Android may feel similar to users as the Starbucks app on

iOS, this similarity is not even skin deep. Differences like these require developers to not only

write code targeting the language and frameworks of the platform, but also to often customize

the designs so they are consistent with platform standards.

           In addition to the programming language and design guidelines, the platform APIs and

frameworks are an integral consideration when developing an app for a given platform. In fact,

understanding the app frameworks, along with the key considerations, assumptions, and

capabilities they embody, is essential to make an app functional, and is often more important

than understanding programming language features.




9
     https://developer.apple.com/design/human-interface-guidelines/ios/overview/themes/
10
     https://material.io/develop/android



                                                         16
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 312 of 667




       For example, the Google Android platform and the Oracle Java ME platform both allow

developers to write apps in Java for a mobile environment, but they are completely incompatible

with each other. An app written for Google Android will not function in the Java ME

environment and vice versa. Therefore, the programming language alone does not dictate

compatibility. Moreover, apps that are developed to utilize APIs exposed by GMS on Google

Android, such as APIs that provide access to Google Maps or to the enhanced location services

of Google Play Services, do not work on platforms that do not contain the GMS. To implement

an alternative, developers must first identify an alternative source of the equivalent functionality

and write code to access that functionality.

       In sum, developers must spend time and resources writing different versions of the same

app if they want the app to be usable on devices running different mobile software systems, such

as Google Android and Apple iOS.

       E.      Permissions are a Key Feature of AOSP and Google Android

       Apps that run on AOSP or Google Android must have permission to perform an

operation. Generally, permissions are divided into two categories: permissions that restrict

actions, such as querying a mobile phone’s location, and permissions that restrict data, such as

accessing a mobile phone’s contact database.

       In earlier versions of AOSP and Google Android, permission usage was declared by the

app developer by including a reference to the permission in the app package. The permission was

granted on an all-or-nothing basis: as a condition of installing the app, the user was required to

accept all permissions (e.g., the app always had permission to access the location of the phone).

Starting in August, 2017 with the release of version 8 of AOSP and Google Android, the systems

have given users more nuanced control over the permissions they grant. Apps now request




                                                 17
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 313 of 667




permissions after installation when they are needed (e.g., only when the user tries to view their

location on a map).

          Even within this newer system, however, users do not have complete control. Certain

permissions cannot be granted or abrogated by the user. Most importantly, the

INSTALL_PACKAGES permission can only be granted by OEMs, and only to apps that are

preinstalled on the mobile device. Put another way, a retail user cannot grant the

INSTALL_PACKAGES permission to an app.

          The INSTALL_PACKAGES permission is important because it allows an app, such as

an app store, to install other apps without user intervention. So, for instance, an app store must

have the INSTALL_PACKAGES permission to install an app on a user’s phone automatically

without the user going through a manual installation process. In addition, an app store must have

the INSTALL_PACKAGES permission to automatically update the apps it installs (as is

sometimes necessary for security purposes) without user action.11

          The INSTALL_PACKAGES permission can only be granted to apps that are preinstalled

on the mobile device. If an OEM allowed third-party apps installed by the user to have

INSTALL_PACKAGES permissions, the device would not be compatible with Google’s CDD

and would fail Google’s CTS.12 Moreover, users cannot grant the INSTALL_PACKAGES

permission to any apps they install, which means that only the Google Play Store and app stores




11
     Such background updating without user action is referred to as “automatic updating.”
12
    See “Android 12 Compatibility Definition,” available at https://source.android.com/compatibility/12/android-12-
cdd (“[C-0-6] MUST NOT install app packages from unknown sources, unless the app that requests the installation
meets all the following requirements: It MUST declare the REQUEST_INSTALL_PACKAGES permission or have
the android:targetSdkVersion set at 24 or lower. It MUST have been granted permission by the user to install apps
from unknown sources.”).



                                                         18
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 314 of 667




pre-installed by OEMs can install and, and until very recently,13 update apps automatically.

Third-party app stores that are sideloaded outside of the Google Play Store or an OEM app store

will necessarily come from a source that does not have INSTALL_PACKAGES permission.

Likewise, third-party app stores sideloaded by the user will not have INSTALL_PACKAGES

permission.

        F.        Overview of App Installations

        From a user perspective, apps can be installed in one of three ways: (1) via the app stores

that possess the INSTALL_PACKAGES permission (e.g., the Google Play Store); (2) via the

Unknown Sources Flow (for third-party app stores, developer website downloads, peer-to-peer

sharing software, or in some cases, backup software); and (3) via the developer tools command

line interface.

                  1.      Installation via app stores that possess the INSTALL_PACKAGES
                          permission

        The most familiar and user-accessible mechanism for installing apps is via an app store

that is installed by the device manufacturer (known as a natively-installed app store) that

possesses the INSTALL_PACKAGES permission. These app stores include Google Play Store

and other OEM pre-loaded app stores. Native app stores with the INSTALL_PACKAGES

permissions can install apps without triggering the unknown sources flow and perform app

updates without user intervention.




13
    I note that in October 2021, with the launch of Google Android version 12, Google began allowing users to opt-
in to automatic updates for a given store. See https://www.xda-developers.com/android-12-alternative-app-stores-
update-apps-background/. The user still must opt-in for each app store they wish to allow to install updates
automatically and the app store installing the update must be the store that installed the app originally.



                                                        19
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 315 of 667




As shown in the screen shot above, installing apps via a pre-installed app store, such as the

Google Play Store, is a straightforward, simple, and easy process that can be accomplished

through a few button taps, all located on the same screen. Moreover, all prompts presented to the

user are initiated and controlled by the app store, giving the app store the ability to control the

messaging and language displayed to the user. This ability is in contrast to third-party app stores

that have no control over the warnings that are displayed during the Unknown Sources Flow or

over the prompt that asks the user if they are certain they want to install the app (also called a

“speed bump”), that is displayed prior to installation.

               2.      Installation via the Unknown Sources Flow

       Installation via the Unknown Sources Flow stands in stark contrast to installation via app

stores that possess the INSTALL_PACKAGES permission. Since the initial version of Android,

the Unknown Sources Flow has been the primary option available to users to install those third-

party app stores and apps that are not pre-installed or available in the Google Play Store, and


                                                  20
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 316 of 667




hence come from sources that do not possess the INSTALL_PACKAGES permission. The

default settings in AOSP, which are determined by Google, block all installations that are not

initiated by sources holding the INSTALL_PACKAGES permission.

       The Unknown Sources Flow is time consuming and difficult relative to an install via the

Google Play Store. It requires the user to find the third-party app store, download the third-party

app store, navigate to a separate settings screen, identify and change the permission toggle in the

device settings so that the app store from the “unknown source” can be installed, and install the

app store. To install an app from that store, the user must download the app, navigate to yet

another separate settings screen, identify and change the permission toggle in the device settings

again so that the app from the “unknown source” can be installed, return to the app store, and

finally tap to install. This flow is similar for apps downloaded from a developer’s website,

without the initial step of downloading the app store itself.

       Moreover, at several sub-steps in the sideloading process, the user is confronted with

warnings that the app is from an “unknown source” and may be harmful to the user’s phone.

Internally, Google uses the softer term “alternate sources” interchangeably with “unknown

source,” yet Google only presents these as “unknown sources” to users. See Deposition of David

Kleidermacher, February 4, 2022, at 436:16-21: “these terms, like alternate sources and

unknown sources, they precede my time. I don't know the original reason why they were created.

I have heard them used interchangeably for a long, long time.”

       Thus, when the user wishes to install any subsequent apps (including updates for

previously installed apps) from the same third-party app store, Google Android, not the app

store, presents the user with a “speed bump” prompt further increasing friction. This additional

confirmation prompt appears even if the origin of the app is readily identifiable as a reputable




                                                 21
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 317 of 667




source. Thus, even for downloads from a reputable company, such as Amazon, the Unknown

Sources Flow is significantly more complex than downloads from Google Play. For example, the

following graphic compares an installation from the Google Play Store (no Unknown Sources

Flow) with an installation from the Amazon Store (Triggers the Unknown Sources Flow) in

Android 11.




         Google refers to this sort of app installation as “sideloading.” See, e.g., GOOG-PLAY-

004494298.R at 317.R. Moreover, Google refers to the difficulty introduced by the Unknown

Sources Flow as “friction.” See, e.g., GOOG-PLAY-002011285.R at 288.R. In particular,

Google defines “friction (unknown sources)” as occurring when an app store that is a potential

competitor of the Google Play Store is not preinstalled. Id. Sideloading happens any time a user

tries to install an app outside of the Google Play Store or another OEM-installed app store.14


14
    In some cases, Google has internally used the term “sideloading” in reference to all off-Play app installs,
including apps downloaded from OEM-installed app stores. GOOG-PLAY-000042623.R.



                                                          22
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 318 of 667




Users can obtain sideloaded apps from developer websites, or from app stores that are not pre-

installed on the device. In some countries, such as India, sideloading also occurs when users

directly share apps with each other via Bluetooth, which is likely common in part because of

poor Internet and bandwidth constraints. See GOOG-PLAY-001285448 at 450 (noting that “[i]n

emerging markets, where connections are expensive or unreliable, more than 1B users share apps

via Peer to Peer apps like SHAREit, Xender, and FilesGo.”).

               3.      Installation via developer tools and the Android Debug Bridge

       Finally, users can also install apps using developer tools and the Android Debug Bridge

(ADB). This mechanism is designed for developers to install apps during the development

process and requires a combination of settings on the phone and utilities on a desktop or laptop

computer connected to the phone via a USB cable. While this installation mechanism does work,

it is not a viable option for general users to install apps as it requires enabling Developer Settings

(a hidden menu accessed by tapping 5 times—or more, depending on the device—on the

Android build number in the Settings app), configuring USB debugging, downloading the

Android developer utilities, and executing a command line app to install the APK file.

       G.      Overview of In-App Transactions

       Companies have offered products and services for sale via the internet in a secure manner

for decades. There are numerous companies and services that exist to facilitate the secure capture

of payment information to purchase both physical and digital goods. Generally, an in-app

purchase (“IAP”) has the following steps:

       1.      Authorization of payment where the user presents payment information, and the

               merchant works with the payment processor to determine whether the payment

               information can cover the full amount of the purchase.




                                                 23
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 319 of 667




       2.      Capture of payment information where the merchant instructs the payment

               processor to debit the user account.

       3.      Capture of confirmation where the payment processor notifies the merchant the

               capture was successful. It’s at this point that the merchant is typically responsible

               for updating their internal systems that certain inventory should be allocated to a

               certain customer.

       4.      Order fulfillment where the merchant ships, transmits, or otherwise supplies the

               inventory allotment to the customer.

       An in-app purchase is not complete until the customer is able to access the item they

purchased (step 4). This general purchase flow for in-app purchases for digital goods is shown in

the following graphic.




                                                24
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 320 of 667




For in-app purchases of digital goods from apps downloaded from the Google Play Store,

developers are instructed to use Google’s proprietary bundle of services that support in-app

purchases, which Google refers to as Google Play Billing, as shown in the following graphic. 15

Notably, in an in-app purchase for a digital good, the developer is responsible for the delivery of

the digital good purchased. As Google’s [L.] Koh testified, in-app item inventory resides on

developers’ (not Google’s) servers. (Deposition of Lawrence Koh, December 9, 2021, at 381:4-

382:6) Although by virtue of the use of Google Play Billing in connection with in-app purchases

from apps downloaded from the Google Play Store it is Google that provides confirmation of

payment,




15
    Google currently defines “in-app purchases” requiring the use of Google Play Billing to include: “Play-
distributed apps requiring or accepting payment for access to in-app features or services, including any app
functionality, digital content or goods,” subject to specified exceptions, available at
https://support.google.com/googleplay/android-developer/answer/9858738.



                                                         25
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 321 of 667




it is the developer, not Google, that releases and delivers in-app content to the consumer. (Id. at

383:3-21).

       The key distinction between an in-app purchase of a physical good and a digital good is

the actual fulfillment of the purchase. The following illustration of an in-app purchase of

physical goods shows that it is substantially the same as an in-app transaction for digital goods.

The key part of the transaction that is impacted is the actual fulfillment of the order – a function

that Google does not perform. A physical good must be physically delivered to the purchaser,

such as a ride purchased through Uber or a piece of furniture purchased through Amazon’s

shopping app, while a digital good can simply be added to an account or other inventory tracking

system. In either case, the developer or app owner is ensuring fulfilment.




                                                 26
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 322 of 667




IV.    GOOGLE HAS CREATED TECHNICAL BARRIERS FOR NON-GOOGLE APP
       STORES

       Non-Google app stores that are not pre-installed on mobile devices face several technical

barriers on Google Android devices. These technical barriers make it harder to install and to use

non-Google app stores on Google Android as compared to the Google Play Store.

       A.      Google Android Forces Users To Go Through the Unknown Sources Flow To
               Install Apps, Including Non-Google App Stores, Outside Of The Google Play
               Store

       As I explained above, installation of apps by users outside of Google Play triggers the

extensive friction of the Unknown Sources Flow. In Google Android, only apps, including app

stores, that are pre-installed on mobile devices can have the INSTALL_PACKAGES permission

and no third-party apps (i.e., apps that are not developed by Google or OEMs) may be granted

the INSTALL_PACKAGES permission.

       It follows that any app, including an app store, that is installed through the Unknown

Sources Flow will not have the INSTALL_PACKAGES permission. As a result, a user will

trigger the Unknown Sources Flow any time he or she attempts to install (1) a non-Google app

store or (2) the first app he or she downloads from a non-Google app store that was not pre-

installed on his or her device. It is significant that the only app store pre-installed on all Google

Android devices is the Google Play Store. Thus, the only app store that possesses the

INSTALL_PACKAGES permission on all Google Android devices is Google Play Store.

       As a default, Google Android blocks users from sideloading apps, including app stores,

because they do not have INSTALL_PACKAGES permission. To get around that default block,

users must go through the Unknown Sources Flow for each source they wish to use to install

other apps. For example, even where the user has identified the developer and has gone directly

to developer’s website through a browser, when the user attempts to download the developer’s



                                                  27
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 323 of 667




app directly to the user’s device, the Unknown Sources Flow is triggered. The Unknown Sources

Flow has been a part of AOSP Android and Google Android since the initial versions. However,

the first iteration of the flow offered much less resistance to users wishing to install apps from

outside of the Play Store as it only required the user to change a global setting, rather than a

setting per source app.

         Over time, Google has modified both the warnings displayed to users and the process

through which users authorize the installation of non-Play Store apps. For instance, in March

2016 (Google Android version 6), there were 19 steps for sideloading the Amazon app store

(then called “Amazon Underground”). GOOG-PLAY-004494298.R at 318.R to 321.R.16




16
     GOOG-PLAY-000575018.R at 019.R-022.R shows that these same steps were in effect in
November 2015.


                                                 28
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 324 of 667




As seen in the foregoing illustration, in this version of the Unknown Sources Flow, users had to

navigate through the following three warnings.

       1)      This type of file can harm your device. Do you want to keep Amazon_App.apk
               anyway?

       2)      Your phone and personal data are more vulnerable to attack by apps from
               unknown sources. You agree that you are solely responsible for any damage to
               your phone or loss of data that may result from using these apps.

       3)      Allow Google to regularly check device activity for security problems and
               prevent or warn about potential harm.

However, after going through the Unknown Sources Flow to download the Amazon app store,

users did not encounter the flow again when downloading an app from the Amazon app store.

       However, a user must go through the Unknown Sources Flow when he or she downloads

an app store and when he or she downloads the first app from the app store due to a change made

by Google. Prior to September 2018, when a user identified and changed the permission toggle

so that a user could download an app from an “unknown source” to his or her device, the

permission toggle remained in that setting. In September 2018, however, Google released

Google Android O (also known as “Oreo”). From that point forward, a user had to change the

permission toggle every time an installation was attempted from a different “unknown source”

(e.g., browser, file explorer, third-party app stores, etc.). In other words, when a non-Google app

store is sideloaded from a browser, first the browser must be toggled on as an “unknown source”

from which an app can be downloaded. After, the app store itself is installed, it must be toggled

on as an “unknown source” from which apps can be downloaded. Even after the setting has been

changed for a given source, the user is still presented with a “speed bump” alert each time they

wish to install an app. Google calls this a “Per Source Installation Consent dialog” (PSIC).




                                                 29
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 325 of 667




Google acknowledged that this “fundamentally changed the way unknown sources works” and

that it resulted in “[m]uch more friction.” GOOG-PLAY-000219435.R at 447.R-452.R.17

        Thus, in Google Android version 11 (released September 2020), if a user wishes to

download an app store, such as the Amazon app store, outside of Google Play, the user

encounters an Unknown Sources Flow similar to the Google Android version 6 Unknown

Sources Flow. Unlike Google Android version 6, however, when the user downloads his or her

first app from the sideloaded app store in Google Android version 11, he or she encounters the

Unknown Sources Flow again.

        Moreover, in Google Android version 11, to download the third-party app store and the

first app from that third-party app store, the user must navigate through the following five

warnings.




17
    Though it remains largely the same, Google has made some limited improvements to the Unknown Sources
Flow in Android 12. For example, in Android 12, the system automatically prompts the user to install the previously
requested application immediately following the permission toggle, rather than forcing the user to navigate back to
the app store that requested the installation.



                                                        30
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 326 of 667




       In contrast to the friction a user encounters when he or she wants to install and use a non-

Google app store, a user never has to go through the sideloading friction of the Unknown

Sources Flow to install the Google Play Store because the Google Play Store is installed on every

Google Android device. In addition, a user never has to go through the sideloading friction of the

Unknown Sources Flow to install an app from the Google Play Store. Instead, the installation of

an app from the Google Play Store happens with one click.




                                                31
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 327 of 667




       The Unknown Sources Flow is the primary mechanism that users can apply to install

apps on Google Android devices outside of OEM pre-loaded app stores. (GOOG-PLAY

001317740 at 747; GOOG-PLAY-001317740 at 744; GOOG-PLAY-004494298.R at 321.R;

GOOG-PLAY-004704453.R at 495.R; GOOG-PLAY-004704453.R at 498.R). The Unknown

Sources Flow mechanism is triggered by apps installed from web downloads, including non-

Google app stores. It is also triggered by apps installed by a user who installs from non-Google

app stores that are not pre-loaded on his or her device.

       The Unknown Sources Flow friction designates well-known and respected apps, such as

Amazon, as “unknown sources” that are potentially harmful to a user’s phone. Likewise, Google

has used it to declare that updates from sources other than the Google Play Store are

categorically “unsafe.” GOOG-PLAY-000046830.R at 848.R. This designation is applied even

though these sources are readily identifiable and reputable, and a plethora of mechanisms exist to

easily verify not only the identity of the developer, but to also validate the authenticity and safety


                                                 32
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 328 of 667




of the app. For instance, the Amazon Music App on Windows is signed by a certificate clearly

identifying Amazon as the publisher. This certificate not only identifies the developer in a

verifiable manner, but it also demonstrates that the app has not been tampered with since the

developer published the app:




       Amazon is not only an operator of a significant portion of the internet’s infrastructure but

it also has manufactured its own line of Android devices. See, e.g., Deposition of David

Kleidermacher, February 4, 2022, at 451:17-25 (Amazon “may be reasonably well regarded. It's

being used on a very large number of Android devices, like the Fire devices, Fire tablets and

whatnot”). However, Google Android still presents the user with security warnings when he or

she attempts to install Amazon’s app store or attempts to install an app from Amazon’s app store.

But Google’s VP of Engineering for the Google Play Store has acknowledged that not all

“unknown sources” make a user’s phone and personal data more vulnerable. Id. at 420:25-421:8


                                                33
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 329 of 667




(Q: “Does that risk apply to all of what qualifies here as unknown sources or just to some

unknown sources?” A: “It would apply to any – it wouldn't be all.”). Moreover, he suggested that

Google has the capability of identifying apps. See, e.g., Id. at 457:14-458:4 (



                          ); Id. at 409:4-412:23 (



                                                ); Id. at 390:13-19 (



                      ); Id. at 407:18-408:8

                                                                        ).

       The Unknown Sources Flow creates a significant deterrent to sideloading apps. In a 2020

slide deck, Epic estimated that even among users who tried to sideload Epic apps from the Epic

website, the Unknown Sources Flow resulted in 37% of users failing to complete installation.

EPIC_GOOGLE_03982547 at 563. One Epic executive concluded in 2019 that “

                  ” EPIC_GOOGLE_01761929. Moreover, a global Google analysis of the

Unknown Sources Flow in 2016 showed that in versions of Android prior to version “O,” “62%

of users who encountered the ‘unknown source’ warning proceeded to enable the setting,”

meaning that nearly 40% of users halted an installation attempt on one of the very first steps in

the Unknown Sources Flow. GOOG-PLAY-004904016.R at 4038.R. As far back as 2016,

Google recognized that the Unknown Sources Flow meant that downloading the Amazon store

was “still quite complex” because it was “NOT available in Play Store, so a user has to sideload

this app.” GOOG-PLAY-004494298.R at 317.R.




                                                 34
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 330 of 667




        As previously discussed, there are limited avenues for installation of third-party apps

outside of pre-loaded app stores. The Unknown Sources Flow appears designed to discourage

users from installing apps outside the Google Play Store. GOOG-PLAY-000219435.R at 457.R

(“[A]dding any kind of friction will reduce installs (proposition is that there is about a       percent

dropoff for every acquisition in Play, so for non-Play we expect similar)”); Deposition of David

Kleidermacher, February 4, 2022, at 454:6-17 (“Q: Holding all else equal, introducing friction in

a UI [user interface] will deter some downloaded and installations, correct? A: We saw some

metrics earlier that made that claim. I think it's logical that, like, the more difficulty a UI is to

navigate, the more likely a user would be, like, canceling out of the UI.”); Deposition of Tian

Lim, December 2, 2021, at 258:25-259:8 (“Q. What does adding friction do to the likelihood of a

user conversion for a developer? A. . . . I think more steps typically lead to lower conversion.”).

        Moreover, Google views the Unknown Sources Flow as “pain points” for other app

stores. GOOG-PLAY-004904016.R at 4033.R (referring to the unknown sources steps as “3P

store pain points”). In 2017, Google noted that one way to encourage users to stay on the Google

Play Store rather than use the Amazon app store was to “create more third party apk install

friction, e.g., speed bump type hurdles.” GOOG-PLAY-000297605.R at 634.R. In 2018, Google

determined the Amazon store had limited success with users despite “strong capabilities”

because of “friction from side-loading.” GOOG-PLAY-000005203.R at 220.R. Moreover,

Google noted in 2019 that both Amazon and Microsoft would have to overcome developer

“increased friction for discovery/installation” and user “complexity of alternate discovery –

friction (unknown sources) if not preinstalled” to launch game distribution platforms to compete

with the Google Play Store. GOOG-PLAY-002011285.R at 288.R.




                                                   35
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 331 of 667




       In April 2020, Google stated that it was “driving users towards denying app installer

permissions, which allow users to install apps from other apps” (GOOG-PLAY-002910052.R at

056.R). Moreover, the change to “per source” permission that Google made in the Oreo version

of Google Android in 2018 and that I discuss above was meant to “[r]emind users that they have

given apps permissions to install other apps and drive them towards Android settings for them to

revoke those permissions.” GOOG-PLAY-002910052.R at 057.R-058.R. While Google said its

goal was to “[r]educe the installation of apps from unknown sources as they are 8 time (sic) more

likely to contain malware” (GOOG-PLAY-002910052.R at 056.R), Google elsewhere

acknowledged that “[a]pp stores generally have relatively low malware install rates” including

stores like “Café Bazaar (0.15%), F-Droid (0.05%), Epic Store (0%), Amazon (0.7%)” GOOG-

PLAY-004268238.R at 242.R.

       B.      Google Android Forces Users To Manually Update Apps Downloaded
               Outside Of The Google Play Store

       As I explained above, in Google Android version 11 and in all previous versions, the

INSTALL_PACKAGES permission is also required to update apps automatically without user

action. If an app, including an app store, does not have INSTALL_PACKAGES permission on

devices running those versions of Google Android, an app can only be updated by the user

manually and while the user has the app store open. So even if a user goes through the friction of

the Unknown Sources Flow to sideload a non-Google app store, and even if a user goes through

the friction of the Unknown Sources Flow to install an app from that non-Google app store, the

user must open the app store and respond to the “speed bump” prompt to manually install the

update to that app.

       This speed bump potentially increases security risks posed to users because developers

are unable to automatically update their apps to patch security holes. Instead, they must first



                                                 36
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 332 of 667




notify users of a potential problem and then hope that users navigate the manual process to install

the update. As I mentioned in footnote 14 above, with Google Android version 12 (released

October 2021), Google began allowing users to manually opt-in to automatic updates by third-

party app stores. This new opt-in flow appears even though users must still go through Google’s

Unknown Sources Flow to sideload third-party app stores, including reputable third-party app

stores like Amazon.

       In contrast, because the Google Play Store always has INSTALL_PACKAGES

permission, a user never has to go through the manual process to update an app he or she has

downloaded from the Google Play Store or opt-in to allow the Google Play Store to

automatically update apps; updating happens automatically, in the background, typically without

the user ever knowing. This feature makes the Google Play Store updating process much more

user friendly than the degraded experience users must endure to manually update an app

downloaded from a user-installed non-Google app store.

       C.      Google Could Reasonably Allow Non-Google App Stores To Bypass The
               Unknown Sources Flow Without Compromising Security

       Google could implement a system that allowed it to identify trustworthy developers and

allow their apps to bypass the Unknown Sources Flow without compromising security. This

process is known as “whitelisting.”

       As an initial matter, Google can identify the source of an app. GOOG-PLAY-000398862

at 8915 to 8916 (explaining that Google can identify apps from “reputable” companies). The

testimony of Mr. Kleidermacher, Google’s VP of Engineering for the Play Store, confirmed this

capability. See, e.g., Deposition of David Kleidermacher, February 4, 2022, at 457:14-458:4

(

                                             ); Id. at 390:13-19 (



                                                37
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 333 of 667




                         ); Id. at 407:18-408:8 (

                                                                                . And Mr. Kleidermacher

also confirmed that once an app is identified as trustworthy, Google can allow it to bypass the

Unknown Sources Flow. Id. at 409:4-412:23 (



                                              ).

        Moreover, other systems have implemented whitelisting processes to allow users to

install apps from developers that have been vetted and display messages that indicate the source

of the app is known and verified. For example, Microsoft18 and Apple both provide similar

attestation processes that allow developers to obtain a signed version of their app. Installing an

app that has the appropriate signature displays different prompts than when an untrusted app is

installed:




18
   https://docs.microsoft.com/en-us/windows/security/identity-protection/user-account-control/how-user-account-
control-works



                                                       38
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 334 of 667




In both instances, the verification of the publisher is achieved through the use of a digital

signature that allows the user to cryptographically verify the identity of the publisher and allows

the system to display more accurate prompts to the user. These signatures allow the user’s

computer to:

          1.       display the publisher’s name to the user;

          2.       indicate that the publisher has gone through the necessary verification steps with
                   either Apple or Microsoft; and

          3.       indicate that the app has not been modified since the developer published it.

          The use of digital signatures to verify the authenticity of a particular package is not a

novel concept, and in fact is already used by Google Android for different parts of the app

distribution process19 as well as many other systems to provide security to users.

          Microsoft and Apple can set the requirements for these programs, can verify and confirm

that the necessary credentials and processes are in place, and can manage this process at a

significant scale. In fact, for Apple, all developers must go through a verification and validation



19
     https://developer.android.com/studio/publish/app-signing



                                                         39
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 335 of 667




process to satisfy the Gatekeeper system within iOS. So not only is this whitelisting process

possible and easy to implement, but it is also currently implemented in the real world by at least

two major platform vendors.

       Another mechanism for whitelisting apps would be to use the signature of the app itself.

Google could implement a system where apps were submitted to Google and verified. That same,

unmodified app package could then be distributed outside of the Play Store with Google

verifying that the app was previously scanned.

       Google also has the capability to whitelist specific app stores based on security

information reviewed by either Google itself or by third party certification programs. David

Kleidermacher, Google’s VP of Engineering for the Play Store, considered the possibility of

creating a “whitelist of higher assurance app stores.” GOOG-PLAY-004506533 at 533 (authored

by Mr. Kleidermacher). As he later explained, “The concept that I was thinking about here is if

we had a way of determining relative confidence in app stores, if we had such a mechanism or

way of doing that, then we could treat that -- we could treat them differently from, say, the full

universe of all app stores and sources. . . . It's a topic that has come up from time to time with a

variety of people.” Deposition of David Kleidermacher, February 4, 2022, at 447:6-20.

       Amazon apparently tried to share its own safety protocols with Google as early as 2017,

to remove the warnings to users when attempting to install the Amazon app store. Google,

however, refused. GOOG-PLAY-004722290 at 291 (“To address our joint effort to improve

security on the Android platform, Amazon asked us to whitelist the new Amazon apps and

games store to bypass unknown sources. They offered to share documentation of their security

and approval processes of 3P apps to ensure they would be compliant. . . . Given our view on

security overall policy approach, this proposal is a non-starter and not something we would




                                                 40
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 336 of 667




support.”). See also, Deposition of David Kleidermacher, February 4, 2022, at 452:16-18 (noting

Amazon “may have metrics of things that they see that might be useful”).

       Mr. Kleidermacher has also considered the prospect of “independent certification” by

“some independent entity that is trusted by the general mobile world” to create the whitelist of

“higher assurance app stores.” Deposition of David Kleidermacher, February 4, 2022, at 448:23-

449:17: (“And so if a standard could be created that would be sufficiently robust and effective,

that should actually be able to have a rigorous and -- a rigorous form of evaluation of store safety

and quality, and that could be independently or certified by some entity -- some independent

entity that is trusted by the general mobile world, that is one concept that I have thought about

from time to time.”) I am unaware of Google publicly pursuing such certification programs,

despite acknowledging that “there [are] plenty of entities out there that run certification

programs.” Id. at 449:25-450:12.

V.     THERE IS NO TECHNICAL REASON TO REQUIRE THE USE OF GOOGLE
       PLAY BILLING FOR IN-APP TRANSACTIONS OF DIGITAL GOODS

       Google inserts itself into the in-app transaction flow through the requirement that

developers use Google Play Billing. Google’s insertion of itself in the in-app transaction flow is

technologically unnecessary. After a user has downloaded an app from the Google Play Store,

neither Google nor its Play Store are necessary, as a matter of technological efficiency, to

facilitate the purchase and distribution of in-app digital content between the developer and the

consumer.

       Use of Google Play Billing associated with in-app transactions can easily be separated

from the Google Play Store. For example, Google’s in-app purchase user interface displays the

purchase information to the user, displaying a graphic, the price, and other information. This

interface is identical to the experience provided by the Shop Pay interface in the mobile browser:



                                                 41
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 337 of 667




          Google recognizes that Google Play Billing is functionally a separate product. GOOG-

PLAY-001088593; GOOG-PLAY-006997722.C at 725 (Google proposal to decouple Play from

Google Play Billing); GOOG-PLAY-001088593 (



               ).

          Moreover, companies have offered products and services for sale via the internet in a

secure manner for decades without any connection to an app store. There are numerous

companies and services that exist to facilitate the secure capture of payment information to

purchase both physical and digital goods, including PayPal,20 Braintree,21 Stripe,22




20
     https://www.paypal.com/us/webapps/mpp/paypal-checkout
21
     https://www.braintreepayments.com
22
     https://stripe.com



                                                    42
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 338 of 667




Authorize.Net,23 Shopify,24 and others. While Google Play Billing does allow for users to save a

payment method, so would any other payment network (e.g., Shop Pay,25 Pay with Amazon,26

etc.). Moreover, the Payment Card Industry (PCI) regulates and standardizes the security of card

data and transactions through their Data Security Standards (PCI-DSS). All merchants and

service providers wishing to handle card transactions are required by the card networks to

comply with these standards. All merchants and service providers wishing to handle card

transactions are required to comply with these standards by the card networks.

          Allowing developers to integrate with any of these payment service methods, rather than

Google Play Billing, was a reasonable and viable option for Google. (GOOG-PLAY-005649820,

-007271749, -007271750, -005653611, -005653612.R, -001076451, -001076452.R, 005659061,

-004284846, -005563726) Indeed, Google has recently announced a partnership with Stripe via

Google’s Firebase SDK for the purchase of physical goods,27 further implying Google’s

acknowledgement of Stripe’s payment security and capability for Android in-app purchases.

          Depending on the level of investment that developers wish to make in their payment

infrastructure, they can choose to handle more or less of the process internally. However, in the

most straightforward setup, which is used by most merchants on the Internet and requires the

least amount of investment, the payment system, such as Stripe or Authorize.net, handles steps 1

and 2 of the general in-app purchase steps introduced in Part III G and provides a notification to

the merchant when payment is successful. The merchant is then able to handle fulfillment of the



23
     https://www.authorize.net
24
     https://www.shopify.com
25
     https://www.shopify.com/partners/blog/shopify-android-buy-sdk
26
     https://paymentservices.amazon.com/docs/EN/23c.html
27
     https://firebase.google.com/products/extensions/stripe-firestore-stripe-payments



                                                          43
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 339 of 667




order. In fact, this system is used currently to distribute both physical and digital goods outside

of a mobile environment.

            For example, the clothing retailer AllBirds uses ShopPay to process payment information

on their website and the software vendor XK72 sells its network analysis software called Charles

Proxy using a payment system called Paddle. These payment systems, among others, already

have mobile friendly SDKs which could be used in apps on Google Android devices.28 29 30 31 By

inserting Google Play Billing as the sole payment system for in-app purchases of digital

products, Google deprives developers of the opportunity to choose among other competing

services.

VI.         CONCLUSION

            For the reasons stated above, I conclude that (1) Google has imposed technological

restraints that artificially restrict or inhibit consumer access to competitive app stores and to apps

sold through competitive app stores or other distribution channels, and (2) there is no technical

reason for Google to include its billing service product, Google Play Billing, in the flow of

purchases made directly in apps that users have downloaded to their mobile device.



Douglas Craig Schmidt, Ph.D.:




Executed on February 28, 2022



28
     https://paddle.com/platform/in-app-purchase
29
     https://stripe.dev/stripe-android/
30
     https://github.com/paypal/android-checkout-sdk
31
     https://developer.authorize.net/api/reference/features/in-app.html



                                                            44
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 340 of 667




                         EXHIBIT A
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 341 of 667


                             Dr. Douglas Craig Schmidt

Cornelius Vanderbilt Professor of Engineering                 douglas.c.schmidt@vanderbilt.edu
Department of Electrical Engineering & Computer Science       (TEL) 615-294-9573
Vanderbilt University                                         (FAX) 615-343-7440
Nashville, TN 37203                                           (WEB) www.dre.vanderbilt.edu/∼schmidt/




Educational Background
   • Ph.D. Computer Science, summer 1994, University of California, Irvine
     Dissertation: “An Object-Oriented Framework for Experimenting with Alternative Process Archi-
     tectures for Parallelizing Communication Subsystems.”
     Co-advisors: Dr. Tatsuya Suda and Dr. Richard W. Selby.
   • M.S. Computer Science, summer 1990, University of California, Irvine, specializing in software
     engineering.
   • M.A. Sociology, summer 1986, College of William and Mary, Williamsburg, Virginia
     Thesis: “A Statistical Analysis of University Resource Allocation Policies.”
     Advisor: Dr. Michael A. Faia.
   • B.A. Sociology, summer 1984, College of William and Mary, Williamsburg, Virginia.


Professional Experience
  1. 7/1/18 – present: Associate Provost of Research Development and Technologies
     Develop cohesive and sustainable information technology (IT) services to advance research and
     scholarship across Vanderbilt’s ten schools and colleges; develop scalable storage and processing
     solutions by leveraging on-campus and cloud data storage services, as well as creating big data
     research cores and core-related services; and implement NIST 800-171 compliant IT services.
  2. 8/1/18 – present: Co-Director of the Vanderbilt Data Science Institute
     Facilitate highly innovative research and education initiatives that build on Vanderbilt University’s
     current strengths, promote new collaborations, and establish a cohesive institutional framework
     that embraces Vanderbilt’s diverse campus, while establishing the university as a leader in data
     science research and education.
  3. 2/17 – present: Cornelius Vanderbilt Professor of Engineering
     Received an endowed chair in recognition of my scholarship, intellect, and leadership in the field of
     computer science and computer engineering.
  4. 1/03 – present: Full Professor with tenure
     Conducting research on patterns, optimizations, and experimental analysis of advanced generative
     software techniques that facilitate the development of distributed real-time and embedded middle-
     ware and model driven architectures running over high-speed networks and interconnects in the
     Department of Electrical Engineering and Computer Science at Vanderbilt University.
  5. 02/16 – 7/31/18: Associate Chair of Electrical Engineering and Computer Science
     Provide intellectual leadership within the EECS department. Coordinate with EECS Chair to
     assist in EE, CS, and CompE curriculum development and course staffing. Assist the faculty in
     building industry and federal programs for EECS. Assist the Chair in mentoring junior EECS
     faculty. Assist the EECS Chair in improving the ranking of the EECS programs. Assist the Chair
     in increasing the quality and number of undergraduate and graduate student applications to the
     EECS programs.
  6. 12/04 – 1/16: Associate Chair of Computer Science and Engineering
     Provide intellectual leadership within the CS program. Coordinate with EECS Chair to assist in
     CS and CompE (CS&E) curriculum development and course staffing. Assist the faculty in building
     industry and federal programs centered in CS&E and IT for EECS. Assist the Chair in mentoring
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 342 of 667
Douglas C. Schmidt                                                                                       2


     junior CS&E faculty. Assist the EECS Chair in improving the ranking of the CS&E programs.
     Assist the Chair in increasing the quality and number of undergraduate and graduate student
     applications to the CS&E programs.
  7. 4/13 – 2/18: Member of the Board of Directors at Real-Time Innovations (RTI).
     Work with the CEO and other members of the Board of Directors of RTI to help assess company
     technical and business strategy.
  8. 1/12 – present: Visiting Scientist at the Software Engineering Institute
     Assist the SEI Director’s Office in formulating the SEI’s technology strategy for R&D projects and
     external relationships by aligning the expertise of the SEI technical staff to identify and respond
     to the needs of sponsors, customers, and partners and help the SEI shape future innovations in
     complex software-reliant systems.
  9. 7/11 – 7/13: Adjunct Professor of Software Engineering in the Institute for Software
     Research in the School of Computer Science at Carnegie Mellon University.
 10. 9/10 – 12/11: Deputy Director and Chief Technology Officer at the Software Engi-
     neering Institute (SEI)
     Lead the formulation of the SEI’s technology strategy for R&D projects and external relationships
     by aligning the expertise of the SEI technical staff to identify and respond to the needs of sponsors,
     customers, and partners and help the SEI shape future innovations in complex software-reliant
     systems.
 11. 07/05 – 8/10: Visiting Scientist at the Software Engineering Institute
     Assisted Linda Northrop and the Ultra-Large-Scale (ULS) Systems team to define the challenge
     problems, promising technology areas, and research roadmaps for the national R&D effort on
     building the software-reliant systems of the future that are likely to have billions of lines of code.
     This activity is defining a broad, multi-disciplinary research agenda for developing ULS systems of
     the future.
 12. 06/09 – 8/10: Chief Technology Officer for Zircon Computing
     Assisted in the strategic direction of Zircon Computing technology development in the areas of
     adaptive distributed computing middleware for high-performance and real-time applications. Help
     to formulate the technology strategy for open-source middleware platforms, R&D partnerships, and
     external relationships.
 13. 6/07 – 8/07: Visiting Professor at Trinity College Dublin
     Worked with Professor Vinny Cahill and the Distributed Systems Group at Trinity College on
     topics pertaining to service-oriented architectures and autonomic computing.
 14. 10/06 – 5/09: Chief Technology Officer for PrismTechnologies
     Assisted in the strategic direction of PrismTechnologies technology development in the areas of
     open-source middleware platforms and model-driven tools. Help to formulate the technology strat-
     egy for open-source middleware platforms and model-driven tools, R&D partnerships, and external
     relationships.
 15. 3/02 – 12/02: Program Manager
     Led the National effort on middleware as a Program Manager for over $60 million dollars of funding
     at the DARPA Information Exploitation Office (IXO). Programs include Program Composition for
     Embedded Systems (PCES) and National Experimentation Platform for Hybrid and Embedded
     Systems (NEPHEST).
 16. 9/01 – 3/02: Deputy Director
     Served as the Deputy Director for the DARPA Information Technology Office (ITO), helping set and
     guide the National IT research and development agenda and manage programs on autonomous sys-
     tems, network-centric command and control systems, combat systems, real-time avionics systems,
     distributed real-time and embedded systems, and augmented cognition for the U.S. Department of
     Defense.
 17. 6/00 – 3/02: Program Manager
     Led the National effort on middleware as a Program Manager for over $60 million dollars of funding
     at the DARPA Information Technology Office (ITO). Programs included the Program Composition
     for Embedded Systems (PCES).
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 343 of 667
Douglas C. Schmidt                                                                                     3


 18. 6/01 – 6/02: Co-chair for the Software Design and Productivity (SDP) Coordinating
     Group
     The SDP Coordinating Group formulates the multi-agency research agenda in fundamental soft-
     ware design for the Federal government’s Networking and Information Technology Research and
     Development (NITR&D) Program, which is the collaborative IT research effort of the major Federal
     science and technology agencies.
 19. 8/99 – 2002: Associate Professor with tenure
     Conducted research on patterns, implementation, and experimental analysis of object-oriented
     techniques that facilitate the development of high-performance, distributed real-time and embed-
     ded computing systems on parallel processing platforms running over high-speed networks and
     embedded system interconnects in the Department of Computer Engineering at the University of
     California, Irvine.
 20. 6/99 – 8/99: Associate Professor with tenure
     Conducted research on patterns, implementation, and experimental analysis of object-oriented
     techniques that facilitate the development of high-performance, distributed real-time and embed-
     ded computing systems on parallel processing platforms running over high-speed networks and
     embedded system interconnects in the Department of Computer Science and the Department of
     Radiology at Washington University in St. Louis.
 21. 6/98 – 6/99: Associate Professor without tenure (early promotion)
     Conducted research on patterns, implementation, and experimental analysis of object-oriented
     techniques that facilitate the development of high-performance, distributed real-time and embed-
     ded computing systems on parallel processing platforms running over high-speed networks and
     embedded system interconnects in the Department of Computer Science and the Department of
     Radiology at Washington University in St. Louis.
 22. 8/94 – 6/98: Assistant Professor
     Conducted research on object-oriented patterns and techniques for developing highly extensible,
     high-performance communication frameworks in the Department of Computer Science and the
     Department of Radiology at Washington University in St. Louis.
 23. 3/91 – 8/94: Research Assistant
     Developed object-oriented frameworks for multi-processor-based communication subsystems with
     Professor Tatsuya Suda at the University of California, Irvine.
 24. 6/90 – 11/90: Member of the Technical Staff
     Worked as a software engineer for Independence Technologies, which was one of the largest sup-
     pliers of enterprise-level TUXEDO systems, providers of professional services, and developers of
     management and connectivity software to support OLTP environments.
 25. 8/88 – 3/91: Research Assistant
     Devised measurement-guided software development techniques for large-scale software systems with
     Professor Richard Selby at the University of California, Irvine.
 26. 6/88 – 8/88: Research Assistant
     Studied the impact of computing on end-users in forty U.S. city governments with Dr. John King
     and the URBIS project at the Public Policy Research Organization, University of California, Irvine.
 27. Summer of 87: Technical Intern
     Worked with Dr. Peter G. W. Keen at the International Center for Information Technology, Wash-
     ington D.C. on various projects, including software productivity, videotex, and smartcards.
 28. 9/86 – 5/88: Teaching Assistant
     Developed programming assignments, grading tools, and led recitation sessions for a number of
     undergraduate Computer Science courses at the University of California, Irvine.
 29. Summer of 86: Statistical Programmer
     Programmed SPSS and SAS applications for the “Justice Delayed” project under the direction of
     Dr. Gene Flango at the National Center for State Courts, Williamsburg, Virginia.
 30. 1/85 – 8/86: Research Assistant
     Examined university resource allocation policies via statistical analysis under the direction of Dr.
     Michael Faia at the College of William and Mary, Williamsburg, Virginia.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 344 of 667
Douglas C. Schmidt                                                                                  4


Publications
In Print
  • Refereed Journal Publications
    J129 Peng Zhang, Christopher Fonnesbeck, Douglas C. Schmidt, Jules White, Samantha Kleinberg,
         Shelagh A. Mulvaney, “Understanding Barriers to Self-Management in Type 1 Diabetes Using
         Machine Learning and Momentary Assessment,” the JMIR Journal of mHealth and uHealth,
         2022 (to appear).
    J128 Summer Weber, Elyse Shearer, Shelagh Mulvaney, Douglas C. Schmidt, Chris Thompson, Jes-
         sica Jones, Haseeb Ahmad, Martina Coe, and Pam Hull, “Prioritization of Features for Mobile
         Phone Applications for Families in a Federal Nutrition Program for Low-income Women, In-
         fants, and Children: User-Centered Design Approach,” JMIR Formative Research, Vol 5., No
         7., July 2021.
    J127 Alex Roehrs, Cristiano A. da Costa, Rodrigo R. Righi, Andre H. Mayer, Valter F. da Silva, Jose
         R. Goldim, and Douglas C. Schmidt, “Integrating Multiple Blockchains to Support Distributed
         Personal Health Records,” the SAGE Health Informatics Journal, April, 2021.
    J126 Zhongwei Teng, Peng Zhang, Xiao Li, William Nock, Denis Gilmore, Marcelino Rodriguez-
         Cancio, Jules White, Jonathan C. Nesbitt, Douglas C. Schmidt, “Authentication and Integra-
         tion Approaches for mHealth Apps from a Usability View,” the journal Advances in Electrical
         and Electronic Engineering, North America, 19, March, 2021.
    J125 Scott Eisele, Aron Laszka, Douglas C. Schmidt, and Abhishek Dubey, “The Role of Blockchains
         in Multi-Stakeholder Transactive Energy Systems,” the journal Frontiers in Blockchain: Emerg-
         ing Technologies and Blockchain in Action: Applications in Supply Chain Management and
         Energy, to appear 2021.
    J124 Peng Zhang, Chris Downs, Nguyen Thanh Uyen Le, Cory Martin, Paul Shoemaker, Clay
         Wittwer, Luke Mills, Liam Kelly, Stuart Lackey, Douglas C. Schmidt, Jules White, “To-
         wards Patient-centered Stewardship of Research Data and Research Participant Recruitment
         with Blockchain Technology,” the Frontiers in Blockchain special selection on Non-Financial
         Blockchain, 2020, volume 3, pps. 1-32.
    J123 Yao Pan, Fangzhou Sun, Jules White, Douglas C. Schmidt, Jacob Staples, Lee Krause, and
         Zhongwei Teng, “Detecting Web Attacks with End-to-End Deep Learning,” the Springer Jour-
         nal of Internet Services and Applications, 2019, volume 10, number 16, pps. 1-22.
    J122 Shelagh Mulvaney, Lori Laffel, Korey Hood, Cindy Lybarger, Sarah Vaala, and Douglas C.
         Schmidt, “A Mobile App Identifies Momentary Psychosocial and Contextual Factors Related
         to Mealtime Self-Management in Adolescents with Type 1 Diabetes,” Journal of the American
         Medical Informatics Association, Oxford University Press, 2019, Volume 26, Number 12, pps.
         1627-1631.
    J121 Maria E. Powell, Marcelino Rodriguez Cancio, David Young, William Nock, Beshoy Abdelmes-
         sih, Amy Zeller, Irvin Perez Morales, Peng Zhang, C Gaelyn Garrett, Douglas Schmidt, Jules
         White, and Alexander Gelbard, “Decoding Phonation with Artificial Intelligence (DEP AI):
         Proof of Concept,” the Laryngoscope Investigative Otolaryngology journal, Wiley-Blackwell,
         Volume 4, Issue 3, 2019, pps. 328-334.
    J120 Alex Roehrs, Cristiano Andre da Costa, Rodrigo da Rosa Righi, Valter Ferreira da Silva, Jose
         Roberto Goldim, and Douglas C. Schmidt, “Analyzing the Performance of a Blockchain-based
         Personal Health Record Implementation,” the Journal of Biomedical Informatics, Elsevier,
         volume 92, 2019.
    J119 Peng Zhang, Breck Stodghill, Cory Pitt, Cavan Briody, Douglas C. Schmidt, Jules White,
         Alan Pitt, and Kelly Aldrich, “OpTrak: Tracking Opioid Prescriptions via Distributed Ledger
         Technology,” the International Journal of Information Systems and Social Change (IJISSC),
         Special Issue On: Blockchain Technology: Platforms, Tools, and Use Cases, IGI Global,
         Volume 10, Number 2, 2019.
    J118 Peng Zhang, Jules White, Douglas C. Schmidt, Gunther Lenz, S. Trent Rosenbloom, “FHIR-
         Chain: Applying Blockchain to Securely and Scalably Share Clinical Data,” the Elsevier
         Computational and Structural Biotechnology Journal – Blockchain and Distributed Ledger
         Technologies in Biology, Medicine, and eHealth Special Issue, Volume 16, July 2018, pp 267–
         278.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 345 of 667
Douglas C. Schmidt                                                                               5


   J117 Shelagh A Mulvaney, Sarah Vaala, Korey K Hood, Cindy Lybarger, Rachel Carroll, Laura
        Williams, Douglas C Schmidt, Kevin Johnson, Mary S Dietrich, and Lori Laffel, “Mobile
        Momentary Assessment and Bio-Behavioral Feedback for Adolescents with Type 1 Diabetes:
        Feasibility, Engagement Patterns, and Relation with Blood Glucose Monitoring,” ¡EM¿Journal
        of Diabetes Technology and Therapeutics¡/EM¿, Vol 20, No. 7, July 2018, pp 465–474.
   J116 Subhav Pradhan, Abhishek Dubey, Shweta Khare, Saideep Nannapaneni, Aniruddha Gokhale,
        Sankaran Mahadevan, Douglas C Schmidt, Martin Lehofer, “CHARIOT: A Holistic, Goal
        Driven Orchestration Solution for Resilient IoT Applications,” the ACM Transactions on
        Cyber-Physical Systems, Vol 2, No. 3, July 2018, pp 1-37.
   J115 Hull PC, Emerson JS, Quirk ME, Canedo JR, Jones JL, Vylegzhanina V, Schmidt D, Mulvaney
        S, Beech B, Husaini BH, “A Smartphone App for Families With Preschool-Aged Children in
        a Public Nutrition Program: Prototype Development and Beta-Testing,” Journal of Medical
        Internet Research (JMIR): mHealth and uHealth, Vol 5, No. 8, August, 2017, pp 1–19.
   J114 Yao Pan, Jules White, Douglas C. Schmidt, Ahmed Elhabashy, Logan Sturm, Jaime Camelio,
        and Christopher Williams, “Taxonomies for Reasoning About Cyber-physical Attacks in IoT-
        based Manufacturing Systems,” Special Issue on Advances and Applications in the Internet of
        Things, edited by Vicente Garcia Diaz, International Journal of Interactive Multimedia and
        Artificial Intelligence, volume 4, number 3, 2017, pp. 45-54.
   J113 Gordon Blair, Douglas C. Schmidt, and Chantal Taconet, “Middleware for Internet Distribu-
        tion in the Context of Cloud Computing and the Internet of Things,” Springer Journal Annals
        of Telecommunications, April 2016, Volume 71, Issue 3, pp. 87-92.
   J112 Yu Sun, Jules White, Sean Eade, and Douglas C. Schmidt, “ROAR: A QoS-Oriented Modeling
        Framework for Automated Cloud Resource Allocation and Optimization”, the Journal of
        Systems and Software, Elsevier, volume 116, issue C, June 2016 pp. 146.161.
   J111 Nick Guertin, Brian Womble, Paul Bruhns, Douglas C. Schmidt, Adam Porter, and Bill
        Antypas, “Management Strategies for Software Infrastructure in Large-Scale Cyber-Physical
        Systems for the US Navy,” Cutter IT Journal, Vol. 28, No. 5, May 2015, pp. 14-18.
   J110 Jules White, Josi A. Galindo, Tripti Saxena, Brian Dougherty, David Benavides, Douglas
        C. Schmidt, ”Evolving Feature Model Configurations in Software Product Lines,” Journal of
        Systems and Software, Volume 87, 2014, pp. 119-136.
   J109 Akram Hakiri, Aniruddha S. Gokhale, Pascal Berthou, Douglas C. Schmidt, Thierry Gayraud,
        Software-Defined Networking: Challenges and Research Opportunities for the Future Inter-
        net,” Journal of Computer Networks, Volume 75, 2014, pp. 453-471.
   J108 Hamilton Turner, Brian Dougherty, Jules White, Jonathan Preston, Russell Kegley, Dou-
        glas C. Schmidt, and Aniruddha Gokhale, ”DRE System Performance Optimization with the
        SMACK Cache Efficiency Metric,” Elsevier Journal of Systems and Software, Volume 98,
        2014, pp. 25-43.
   J107 Akram Hakiri, Pascal Berthoua, Aniruddha Gokhale, Douglas C. Schmidt, Gayraud Thierry,
        “Supporting SIP-based Data Distribution Service End-to-End QoS in WANs,” the Elsevier
        Journal of Systems and Software, Volume 95, September 2014, pp. 100-121.
   J106 Jules White, Douglas C. Schmidt, and Mani Golparvar-Fard, “Applications of Augmented
        Reality,” IEEE Proceedings Special issue on Applications of Augmented Reality, Vol 102, No.
        2., February 2014, pp. 120-123.
   J105 Nickolas H. Guertin, Paul Bruhns, Douglas C. Schmidt, and Adam Porter, “Experiences Using
        Online War Games to Improve the Business of Naval Systems Acquisition,” Cutter Journal
        of Information Technology Management, Vol. 27, No. 5, May 2014, pp 13-18.
   J104 Michael McLendon, Bill Scherlis, and Douglas C. Schmidt, “Addressing Software Sustainment
        Challenges for the DoD,” STSC CrossTalk, The Journal of Defense Software Engineering
        special issue on Legacy Systems Software, January, volume 27, number 1, 2014, pp. 27-32.
   J103 Akram Hakiri, Pascal Berthoua, Aniruddha Gokhale, Douglas C. Schmidt, Gayraud Thierry,
        “Supporting End-to-end Scalability and Real-time Event Dissemination in the OMG Data
        Distribution Service over Wide Area Networks,” Elsevier Journal of Systems and Software,
        volume 86, number 10, October, 2013, pp. 2574-2593.
   J102 William Otte, Aniruddha Gokhale, and Douglas C. Schmidt, “Efficient and Deterministic Ap-
        plication Deployment in Component-based, Enterprise Distributed, Real-time, and Embedded
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 346 of 667
Douglas C. Schmidt                                                                                  6


          Systems,” Elsevier Journal of Information and Software Technology, Vol. 55, No. 2, Feb 2013,
          475-488.
   J101   Dr. Douglas Schmidt, Anita Carleton, Erin Harper, Mary Ann Lapham, Ipek Ozkaya, and
          Linda Parker Gates, ‘What Will It Take to Achieve Agility-at-Scale?”, Cutter IT Journal,
          edited by Hillel Glazer, November 2012, pp. 34-39.
   J100   Brian Dougherty, Jules White, and Douglas C. Schmidt, “Model-driven Auto-scaling of Green
          Cloud Computing Infrastructure,” the Elsevier International Journal of Future Generation
          Computing Systems, Special Issue on Green Computing Systems, Volume 28, Number 2,
          February, 2012 Pages 371-378.
    J99   Joe Hoffert, Douglas C. Schmidt, and Aniruddha Gokhale, “Evaluating Timeliness and Ac-
          curacy Trade-offs of Supervised Machine Learning for Adapting Enterprise DRE Systems in
          Dynamic Environments,” the International Journal of Computational Intelligence Systems,
          Volume 4, Number 5, September-October 2011, pp. 806-816.
    J98   James Hill, Pooja Varshneya, and Douglas C. Schmidt, “Evaluating Distributed Real-time
          and Embedded System Test Correctness using System Execution Traces,” Central European
          Journal of Computer Science, Volume 1, Number 2, August 2011, pp. 167-184.
    J97   Brian Dougherty, Jules White, and Douglas C. Schmidt, “Automated Software and Hardware
          Evolution Analysis for Distributed Real-time and Embedded Systems,” the Central European
          Journal of Computer Science, Volume 1, Number 1, July 2011, pp. 36-57.
    J96   James Hill, Hunt Sutherland, Paul Stodinger, Thomas Silveria, Douglas C. Schmidt, John
          Slaby, and Nikita Visnevski, “OASIS: An Architecture for Dynamic Instrumentation of Enter-
          prise Distributed Real-time and Embedded Systems,” the International Journal of Computer
          Systems Science and Engineering, Special Issue on Real-time Systems, Volume 26, Number 6,
          November 2011, pp. 413-430.
    J95   Jules White, Brian Dougherty, Chris Thompson, Douglas C. Schmidt, “ScatterD: Spatial De-
          ployment Optimization with Hybrid Heuristic/Evolutionary Algorithms,” ACM Transactions
          on Autonomous and Adaptive Systems Special Issue on Spatial Computing, Volume 6 Issue
          3, September 2011, 18:1-8:25.
    J94   Jules White, Chris Thompson, Hamilton Turner, Brian Dougherty, and Douglas C. Schmidt,
          WreckWatch: Automatic Traffic Accident Detection and Notification with Smartphones, Jour-
          nal of Mobile Networks and Applications, Volume 16 Issue 3, July 2011, Pages 285-303.
    J93   Jules White, Brian Dougherty, Richard Schantz, Douglas C. Schmidt, Adam Porter, and
          Angelo Corsaro, “R&D Challenges and Solutions for Highly Complex Distributed Systems: a
          Middleware Perspective,” the Springer Journal of Internet Services and Applications special
          issue on the Future of Middleware, Volume 2, Number 3, December 2011, pp. 1-8.
    J92   Joe Hoffert, Aniruddha Gokhale, and Douglas C. Schmidt, “Autonomic Adaptation of Pub-
          lish/Subscribe Middleware in Dynamic Environments,” the International Journal of Adaptive,
          Resilient and Autonomic Systems (IJARAS), 2(4), 1-24, October-December 2011, pp. 1-24.
    J91   Joe Loyall, Matt Gillen, Aaron Paulos, Larry Bunch, Marco Carvalho, James Edmondson,
          Douglas C. Schmidt, Andrew Martignoni, and Asher Sinclair, “Dynamic Policy-Driven Quality
          of Service in Service-Oriented Information Management Systems,” Wiley journal on Software:
          Practice and Experience, December 2011, volume 41, number 12, pp. 1459-1489.
    J90   Michael Stal, Douglas C. Schmidt, and Will Otte, “Efficiently and Transparently Automating
          Scalable On-demand Activation and Deactivation of Services with the Activator Pattern,”
          Software: Practice and Experience, special issue on Pattern Languages: Addressing Chal-
          lenges, Edited by Mohamed Fayad and Shivanshu Singh, volume 41, number 10, October
          2011, Wiley and Sons, pp. 1-16.
    J89   Brian Dougherty, Jules White, Douglas C. Schmidt, Russell Kegley, and Jonathan Preston,
          “Deployment Optimization for Embedded Flight Avionics Systems,” STSC CrossTalk, The
          Journal of Defense Software Engineering, November/December, volume 24, number 6, 2011,
          pp. 1-8.
    J88   Brian Dougherty, Daniel Guymon, Douglas C. Schmidt, and Jules White, “Overcoming Cellu-
          lar Connectivity Limitations with M2Blue Autonomic Distributed Data Caching,” Autonomic
          Computing for Computer Society of India Magazine, CSI Communications, August 2011, pp.
          12-15.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 347 of 667
Douglas C. Schmidt                                                                                 7


    J87 Friedhelm Wolf, Jaiganesh Balasubramanian, Sumant Tambe, Aniruddha Gokhale, and Dou-
        glas C. Schmidt, Supporting Component-based Failover Units in Middleware for Distributed
        Real-time and Embedded Systems, the Elsevier Journal of System Architectures (JSA): Em-
        bedded Systems Design, Special Issue on Real-time and Embedded Systems, May, 2011 pp.
        597-613.
    J86 Jules White, David Benavides, Douglas C. Schmidt, Pablo Trinidad, Antonio Ruiz-Cortes,
        Brian Doughtery, “Automated Diagnosis of Feature Model Configurations,” The Journal of
        Systems and Software, Special Issue on Software Product-lines, Volume 83, Issue 7, July, 2010,
        pp. 1094-1107.
    J85 Jules White, Brian Doughtery, and Douglas C. Schmidt, “ASCENT: An Algorithmic Tech-
        nique for Designing Hardware and Software in Tandem, IEEE Transactions on Software Engi-
        neering Special Issue on Search-based Software Engineering, November/December 2010 (vol.
        36 no. 6), pp. 838-851.
    J84 Joe Hoffert, Daniel Mack, and Douglas Schmidt, “Integrating Machine Learning Techniques
        to Adapt Protocols for QoS-enabled Distributed Real-time and Embedded Publish/Subscribe
        Middleware,” International Journal of Network Protocols and Algorithms (NPA): Special Issue
        on Data Dissemination for Large-scale Complex Critical Infrastructures, Volume 2, Number
        3, 2010, pp. 37-69.
    J83 James Hill, James Edmondson, Aniruddha Gokhale, and Douglas C. Schmidt, “Tools for
        Continuously Evaluating Distributed System Qualities,” IEEE Software, July/August, 2010,
        Volume 27, Number 4, pp. 65-71.
    J82 James Edmondson and Douglas C. Schmidt, Multi-Agent Distributed Adaptive Resource Al-
        location (MADARA), International Journal of Communication Networks and Distributed Sys-
        tems (IJCNDS), Special Issue on: Grid Computing, Edited by Michal Wozniak and Krzysztof
        Walkowiak, Volume 5, Number 3, 2010, pp. 229-245.
    J81 Jules White, Christin Groba, Sibohan Clarke, Brian Dougherty, Chris Thompson, and Douglas
        C. Schmidt, “R&D Challenges and Solutions for Mobile Cyber-Physical Applications and
        Supporting Internet Services,” the Springer Journal of Internet Services and Applications,
        Volume 1, Number 1, 2010, pp. 45-56.
    J80 Jules White, Jeff Gray, and Douglas C. Schmidt, “Constraint-based Model Weaving,” Trans-
        actions on Aspect-Oriented Software Development, Special Issue on Aspects and Model Driven
        Engineering, eds. Robert France and Jean-Marc Jezequel, pp. 153-190, Volume 5560, Number
        6, 2009.
    J79 Jules White, Harrison Strowd, and Douglas C. Schmidt, “Creating Self-healing Service Compo-
        sitions with Feature Modeling and Microrebooting,” the International Journal of Business Pro-
        cess Integration and Management (IJBPIM), Special issue on Model-Driven Service-Oriented
        Architectures, Inderscience Publishers, pp. 35-46, Volume 4, Number 1, 2009.
    J78 Nishanth Shankaran, John Kinnebrew, Xenofon Koutsoukos, Chenyang Lu, Douglas C. Schmidt,
        and Gautam Biswas, “An Integrated Planning and Adaptive Resource Management Architec-
        ture for Distributed Real-time Embedded Systems,” IEEE Transactions on Computers, Special
        Issue on Autonomic Network Computing, Special Issue on Autonomic Network Computing,
        volume 58, number 11, pp. 1485-1498, November 2009.
    J77 Jules White, Brian Doughtery, and Douglas C. Schmidt, “Selecting Highly Optimal Architec-
        tural Feature Sets with Filtered Cartesian Flattening,” the Journal of Software and Systems,
        Special Issue on Design Decisions and Design Rationale in Software Architecture, Volume 82,
        Issue 8, pp. 1268-1284, August 2009.
    J76 Jules White, James, Hill, Sumant Tambe, Jeff Gray, Aniruddha Gokhale, and Douglas C.
        Schmidt “Improving Domain-specific Language Reuse through Software Product-line Config-
        uration Techniques, IEEE Software Special Issue: Domain-Specific Languages and Modeling,
        vol. 26, no. 4, pp. 47-53, July/August 2009.
    J75 Jules White and Douglas C. Schmidt, “Automating Deployment Planning with an Aspect
        Weaver,” IET Software Journal Special Issue on Domain-specific Aspect Languages, Volume
        3, Issue 3 , p. 167-183, June 2009.
    J74 Shanshan Jiang, Yuan Xue, and Douglas C. Schmidt, “Minimum Disruption Service Composi-
        tion and Recovery in Mobile Ad Hoc Networks, Elsevier Computer Networks Journal, Special
        Issue on Autonomic and Self-Organizing Systems, Volume 53, Issue 10, Pages 1649-1665, 2009.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 348 of 667
Douglas C. Schmidt                                                                             8


    J73 Nishanth Shankaran, Douglas C. Schmidt, Xenofon D. Koutsoukos, Yingming Chen, and
        Chenyang Lu, “Design and Performance Evaluation of an Adaptive Resource Management
        Framework for Distributed Real-time and Embedded Systems,” EURASIP Journal on Em-
        bedded Systems (EURASIP JES): Special issue on Operating System Support for Embedded
        Real-Time Applications, Edited by Alfons Crespo, Ismael Ripoll, Michael Gonzalez Harbour,
        and Giuseppe Lipari, 2008, Pgs. 47-66.
    J72 Aniruddha Gokhale, Krishnakumar Balasubramanian, Jaiganesh Balasubramanian, Arvind
        Krishna, and George T. Edwards, Gan Deng, Emre Turkay, Jeffrey Parsons, and Douglas
        C. Schmidt, Model Driven Middleware: A New Paradigm for Deploying and Provisioning
        Distributed Real-time and Embedded Applications, Elsevier Journal of Science of Computer
        Programming: Special Issue on Foundations and Applications of Model Driven Architecture
        (MDA), Edited by Mehmet Aksit, Volume 73, Issue 1, 1 September 2008, Pgs. 39-58.
    J71 Nishanth Shankaran, Xenofon Koutsoukos, Chenyang Lu, Douglas C. Schmidt, and Yuan
        Xue, “Hierarchical Control of Multiple Resources in Distributed Real-time and Embedded
        Systems,” the Springer Real-time Systems Journal, Volume 39, Numbers 1-3, August, 2008,
        pgs. 237-282.
    J70 Douglas C. Schmidt, Angelo Corsaro, and Hans Van’T Hag, “Addressing the Challenges of
        Tactical Information Management in Net-Centric Systems with DDS,” CrossTalk special issue
        on Distributed Software Development, pgs. 24-29, May 2008.
    J69 Jules White, Douglas C. Schmidt, Egon Wuchner, and Andrey Nechypurenko, “Automatically
        Composing Reusable Software Components for Mobile Devices,” Journal of the Brazilian
        Computer Society (JBCS), Special Issue in Software Reuse: Methods, Processes, Tools and
        Experiences, Sociedade Brasileira de Computacao, Porto Alegre, Volume 14, Number 1, pgs.
        25-44, March, 2008.
    J68 Jules White, Douglas C. Schmidt, Andrey Nechypurenko, and Egon Wuchner, “Model Intelli-
        gence: an Approach to Modeling Guidance,” UPGRADE Journal, Volume 9, Number 2, pgs.
        22-28, April 2008.
    J67 Douglas C. Schmidt, “Beyond Objects: Evaluating Technologies for Developing Distributed
        Systems,” Computer Society of India Communications, Special Issue on OO Technologies,
        edited by Debasish Jana, pgs. 30-37, February 2008.
    J66 Jules White, Douglas C. Schmidt, and Aniruddha Gokhale, “Simplifying Autonomic Enter-
        prise Java Bean Applications via Model-driven Engineering and Simulation,” The Journal of
        Software and System Modeling, Volume 7, Number 1, February, 2008, pgs. 3-23.
    J65 Cemal Yilmaz, Adam Porter, Arvind S. Krishna, Atif Memon, Douglas C. Schmidt, and
        Aniruddha Gokhale, “Reliable Effects Screening: A Distributed Continuous Quality Assur-
        ance Process for Monitoring Performance Degradation in Evolving Software Systems,” IEEE
        Transactions on Software Engineering Vol. 33, No. 8, August 2007, pgs. 510-525.
    J64 Frank Buschmann, Kevlin Henning, and Douglas C. Schmidt, “Past, Present, and Future
        Trends in Software Patterns,” IEEE Software special issue on Patterns, Vol. 24, No. 4,
        July/August, 2007, pgs. 31-37.
    J63 Patrick Lardieri, Jaiganesh Balasubramanian, Douglas C. Schmidt, Gautam Thaker, Anirud-
        dha Gokhale, and Tom Damiano, A Multi-layered Resource Management Framework for Dy-
        namic Resource Management in Enterprise DRE Systems, the Journal of Systems and Soft-
        ware: special issue on Dynamic Resource Management in Distributed Real-Time Systems,
        editors C. Cavanaugh and F. Drews and L. Welch, Vol 80, Issue 7, July 2007, pgs. 984-996.
    J62 Janos Sztipanovits, John Bay, Larry Rohrbough, Shankar Sastry, Douglas C. Schmidt, Don
        Wilson, and Don Winters, “Escher: A New Technology Transitioning Model,” IEEE Com-
        puter, Vol. 40, No. 3, March 2007, pgs. 90-92.
    J61 Venkita Subramonian, Gan Deng, Christopher Gill, Jaiganesh Balasubramanian, Liang-Jui
        Shen, William Otte, Douglas C. Schmidt, Aniruddha Gokhale, and Nanbor Wang, “The Design
        and Performance of Component Middleware for QoS-enabled Deployment and Configuration
        of DRE Systems,” Elsevier Journal of Systems and Software, Special Issue Component-Based
        Software Engineering of Trustworthy Embedded Systems, pp. 668-677, volume 80, number 5,
        March, 2007.
    J60 Krishnakumar Balasubramanian, Jaiganesh Balasubramanian, Jeff Parsons, Aniruddha Gok-
        hale, and Douglas C. Schmidt, “A Platform-Independent Component Modeling Language for
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 349 of 667
Douglas C. Schmidt                                                                                 9


          Distributed Real-time and Embedded Systems,” Elsevier Journal of Computer and System
          Sciences, Volume 73, Number 2, March 2007, pgs. 171 - 185.
    J59   Adam Porter, Atif Memon, Cemal Yilmaz, Douglas C. Schmidt, and Bala Natarajan, “Skoll: A
          Process and Infrastructure for Distributed Continuous Quality Assurance, IEEE Transactions
          on Software Engineering, 2007, Vol. 33, No. 2, February 2007, pgs. 124-141.
    J58   Richard E. Schantz, Douglas C. Schmidt, Joseph P. Loyall, and Craig Rodrigues, “Controlling
          Quality-of-Service in Distributed Real-time and Embedded Systems via Adaptive Middle-
          ware,” the Wiley Software Practice and Experience journal special issue on Experiences with
          Auto-adaptive and Reconfigurable Systems, co-editors Mehmet Aksit, Zied Choukair, and
          Tzilla Elrad, vol. 36, no. 11-12, September 2006, pgs. 1189 - 1208.
    J57   Douglas C. Schmidt, “Model-Driven Engineering, IEEE Computer, Vol. 39. No. 2, February
          2006, pp. 41-47.
    J56   Arvind S. Krishna, Aniruddha Gokhale, Douglas C. Schmidt, John Hatcliff, and Venkatesh
          Prasad Ranganat, “Towards Highly Optimized Real-time Middleware for Software Product-
          line Architectures,” ACM SIGBED Review, Volume 3, No. 1, January 2006, pgs. 12-16.
    J55   Gabor Madl, Sherif Abdelwahed, and Douglas C. Schmidt, “Verifying Distributed Real-time
          Properties of Embedded Systems via Graph Transformations and Model Checking, Real-time
          Systems Journal, vol 33, no. 1-3, pgs. 77-100, July 2006.
    J54   Cemal Yilmaz, Adam Porter, Atif Memon, Arvind S. Krishna, Douglas C. Schmidt, and
          Aniruddha Gokhale, Techniques and Processes for Improving the Quality and Performance of
          Open-Source Software, Software Process - Improvement and Practice Journal: Special Issue
          on Free/Open Source Software Processes, vol 11, no 2, May 2006, pgs. 163-176.
    J53   Krishnakumar Balasubramanian, Arvind S. Krishna, Emre Turkay, Jaiganesh Balasubrama-
          nian, Jeff Parsons, Aniruddha Gokhale, and Douglas C. Schmidt, “Applying Model-Driven
          Development to Distributed Real-time and Embedded Avionics Systems, the International
          Journal of Embedded Systems, special issue on Design and Verification of Real-Time Embed-
          ded Software, April 2005.
    J52   Arvind S. Krishna, Cemal Yilmaz, Adam Porter, Atif Memon, Douglas C. Schmidt, and
          Aniruddha Gokhale, “Distributed Continuous Quality Assurance Process for Evaluating QoS
          of Performance Intensive Software,” Studia Informatica Universalis, Volume 4, No. 1, pp.
          53-72, March 2005.
    J51   Janos Sztipanovits, Gautam Biswas, Ken Frampton, Andy Gokhale, Larry Howard, Gabor
          Karsai, John Koo, Xenofon Koutsoukos, and Douglas C. Schmidt, “Introducing Embedded
          Software and Systems Education and Advanced Learning Technology in an Engineering Cur-
          riculum,” ACM Transactions in Embedded Computing Systems - Special Issue on Education,
          edited by Alan Burns and Alberto Sangiovanni-Vincentelli, Vol 4, No. 1, pp. 549-568, August
          2005.
    J50   Arvind S. Krishna, Nanbor Wang, Balachandran Natarajan, Aniruddha Gokhale, Douglas C.
          Schmidt and Gautam Thaker, “CCMPerf: A Benchmarking Tool for CORBA Component
          Model Implementations”, The International Journal of Time-Critical Computing Systems,
          Springer, Vol. 29, No. 2-3, pp. 281-308, March-April 2005.
    J49   Chris Gill, Jeanna M. Gossett, David Corman, Joseph P. Loyall, Richard E. Schantz, Michael
          Atighetchi, and Douglas C. Schmidt, “Integrated Adaptive QoS Management in Middleware:
          An Empirical Case Study,” The International Journal of Time-Critical Computing Systems,
          Springer, Vol. 29, Nos. 2-3, pp. 101-130, March-April 2005.
    J48   Aniruddha Gokhale, Balachandran Natarajan, Douglas C. Schmidt, and Joseph Cross, “To-
          wards Real-time Fault-Tolerant CORBA Middleware,” Cluster Computing: the Journal on
          Networks, Software, and Applications Special Issue on Dependable Distributed Systems,
          edited by Alan George, Volume 7, Number 4, October 2004.
    J47   Arvind S. Krishna, Cemal Yilmaz, Atif Memon, Adam Porter, Douglas C. Schmidt, Aniruddha
          Gokhale, and Balachandran Natarajan, “Preserving Distributed Systems Critical Properties:
          a Model-Driven Approach,” the IEEE Software special issue on the Persistent Software At-
          tributes, Nov/Dec 2004.
    J46   Christopher Gill, Douglas C. Schmidt, Yamuna Krishnamurthy, Irfan Pyarali, Louis Mgeta,
          Yuanfang Zhang, and Stephen Torri, “Enhancing the Adaptivity of Distributed Real-time and
          Embedded Systems via Standard QoS-enabled Dynamic Scheduling Middleware,” the Journal
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 350 of 667
Douglas C. Schmidt                                                                                 10


          of the Brazilian Computer Society (JCBS) special issue on Adaptive Software Systems, Volume
          10, Number 1, pp. 19-30, 2004.
    J45   Douglas C. Schmidt, Aniruddha Gokhale, and Balachandran Natarajan, “Frameworks: Why
          They Are Important and How to Apply Them Effectively,” ACM Queue magazine, Volume
          2, Number 5, July/August 2004.
    J44   Douglas C. Schmidt, Richard Schantz, Aniruddha Gokhale, and Joe Loyall, “Middleware
          R&D Challenges for Distributed Real-time and Embedded Systems,” ACM SIGBED Review,
          Volume 1, No. 1, April 2004.
    J43   Angelo Corsaro and Douglas C. Schmidt, “The Design and Performance of Real-time Java
          Middleware,” Special Issue on Middleware for the IEEE Transactions on Parallel and Dis-
          tributed Systems, guest editor Rachid Guerraoui, Volume 14, Number 11, November 2003.
    J42   Irfan Pyarali, Douglas C. Schmidt, and Ron Cytron, “Techniques for Enhancing Real-time
          CORBA Quality of Service,” the IEEE Proceedings Special Issue on Real-time Systems, co-
          editors Yann-Hang Lee and C. M. Krishna, Volume 91, Number 7, July 2003.
    J41   Nanbor Wang, Douglas C. Schmidt, Aniruddha Gokhale, Christopher D. Gill, Balachandran
          Natarajan, Craig Rodrigues, Joseph P. Loyall, and Richard E. Schantz, “Total Quality of
          Service Provisioning in Middleware and Applications,” Elsevier Journal of Microprocessors
          and Microsystems, Volume 26, Number 9-10, January 2003.
    J40   Christopher D. Gill, Douglas C. Schmidt, and Ron Cytron, “Multi-Paradigm Scheduling for
          Distributed Real-Time Embedded Computing,” IEEE Proceedings Special Issue on Modeling
          and Design of Embedded Systems, Volume 91, Number 1, January, 2003.
    J39   Aniruddha Gokhale, Bala Natarajan, Douglas C. Schmidt, and Nanbor Wang, “Modeling
          and Synthesis of Middleware Components,” Communications of the ACM, special issue on
          Enterprise Components, Services and Business Rules, edited by Ali Arsanjani, October 2002.
    J38   Douglas C. Schmidt and Carlos O’Ryan, “Patterns and Performance of Distributed Real-time
          and Embedded Publisher/Subscriber Architectures,” the Journal of Systems and Software,
          Special Issue on Software Architecture – Engineering Quality Attributes, edited by Jan Bosch
          and Lars Lundberg, October 2002.
    J37   Douglas C. Schmidt, “R&D Advances in Middleware for Distributed, Real-time and Embedded
          Systems,” Communications of the ACM, Volume 45, Number 6, June 2002, edited by Gul
          Agha.
    J36   Carlos O’Ryan, Douglas C. Schmidt, and J. Russell Noseworthy, “Patterns and Performance
          of a CORBA Event Service for Large-scale Distributed Interactive Simulations,” International
          Journal of Computer Systems Science and Engineering, CRL Publishing, Volume 17, Number
          2, March, 2002.
    J35   Douglas C. Schmidt, Bala Natarajan, Aniruddha Gokhale, Nanbor Wang, and Chris Gill,
          “TAO: A Pattern-Oriented Object Request Broker for Distributed Real-time and Embedded
          Systems,” IEEE Distributed Systems Online, Volume 3, Number 2, February, 2002.
    J34   Douglas C. Schmidt, Rick Schantz, Mike Masters, Joseph Cross, David Sharp, and Lou Di-
          Palma, “Towards Adaptive and Reflective Middleware for Network-Centric Combat Systems,”
          CrossTalk, November, 2001.
    J33   Nanbor Wang, Douglas C. Schmidt, Ossama Othman, and Kirthika Parameswaran, “Evaluat-
          ing Meta-Programming Mechanisms for ORB Middleware,” IEEE Communications Magazine
          special issue on “Evolving Communications Software: Techniques and Technologies,” co-edited
          by Bill Opdyke and Algirdas Pakstas, Volume 39, Number 10, October, 2001.
    J32   Nanbor Wang, Douglas C. Schmidt, Kirthika Parameswaran, and Michael Kircher, “Towards a
          Reflective Middleware Framework for QoS-enabled CORBA Component Model Applications,”
          IEEE Distributed Systems Online special issue on Reflective Middleware, July, 2001.
    J31   Chris Gill, David Levine, and Douglas C. Schmidt, “The Design and Performance of a Real-
          Time CORBA Scheduling Service,” The Real-time Systems, The International Journal of
          Time-Critical Computing Systems, special issue on Real-Time Middleware, Kluwer Academic
          Publishers, guest editor Wei Zhao, Volume 20, Number 2, March 2001.
    J30   Douglas C. Schmidt, Sumedh Mungee, Sergio Flores-Gaitan, and Aniruddha Gokhale, “Soft-
          ware Architectures for Reducing Priority Inversion and Non-determinism in Real-time Object
          Request Brokers,” Journal of Real-time Systems, Kluwer, Vol. 21, No. 2, 2001.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 351 of 667
Douglas C. Schmidt                                                                             11


    J29 Ossama Othman, Carlos O’Ryan, and Douglas C. Schmidt, “An Efficient Adaptive Load
        Balancing Service for CORBA,” IEEE Distributed Systems Online, March, 2001.
    J28 Ossama Othman, Carlos O’Ryan, and Douglas C. Schmidt “The Design of an Adaptive
        CORBA Load Balancing Service, IEEE Distributed Systems Online, April, 2001.
    J27 Carlos O’Ryan, Douglas C. Schmidt, Fred Kuhns, Marina Spivak, Jeff Parsons Irfan Pyarali,
        and David L. Levine, “Evaluating Policies and Mechanisms to Support Distributed Real-Time
        Applications with CORBA,” Concurrency and Computation: Practice and Experience (Special
        Issue on Distributed Objects and Applications), Wiley and Sons, Vol. 13, No. 2, February,
        2001.
    J26 Douglas C. Schmidt, Vishal Kachroo, Yamuna Krisnamurthy, and Fred Kuhns, “Developing
        Next-generation Distributed Applications with QoS-enabled DPE Middleware,” IEEE Com-
        munications magazine, edited by Abdi Modarressi and Sheshadri Mohan, Vol 17, No. 10,
        October, 2000.
    J25 Douglas C. Schmidt and Fred Kuhns, “An Overview of the Real-time CORBA Specification,”
        IEEE Computer, Special Issue on Object-Oriented Real-time Distributed Computing, edited
        by Eltefaat Shokri and Philip Sheu, June 2000.
    J24 James Hu and Douglas C. Schmidt, Developing Flexible and High-performance Web Servers
        with Frameworks and Patterns, Symposium on Frameworks, ACM Computing Surveys, (Fayad
        and Wegner, eds.) Vol. 32(1es), March 2000.
    J23 Fred Kuhns, Douglas C. Schmidt, Carlos O’Ryan, and David L. Levine, “Supporting High-
        performance I/O in QoS-enabled ORB Middleware,” Cluster Computing: the Journal on
        Networks, Software, and Applications, Volume 3, Number 3, 2000.
    J22 Irfan Pyarali, Carlos O’Ryan, Douglas C. Schmidt, Nanbor Wang, Vishal Kachroo, and
        Aniruddha Gokhale, “Using Principle Patterns to Optimize Real-time ORBs,” IEEE Concur-
        rency, Object-Oriented Systems track, edited by Murthy Devarakonda, Volumn 8, Number 1,
        January-March 2000.
    J21 James Hu, Irfan Pyarali, and Douglas C. Schmidt, “The Object-Oriented Design and Perfor-
        mance of JAWS: A High-performance Web Server Optimized for High-speed Networks,” The
        Parallel and Distributed Computing Practices journal, special issue on Distributed Object-
        Oriented Systems, edited by Maria Cobb, Vol. 3, No. 1, March 2000.
    J20 Andy Gokhale and Douglas C. Schmidt, “Optimizing a CORBA IIOP Protocol Engine for
        Minimal Footprint Multimedia Systems,” IEEE Journal on Selected Areas in Communications
        special issue on Service Enabling Platforms for Networked Multimedia Systems, September,
        1999.
    J19 Douglas C. Schmidt and Chris Cleeland, “Applying Patterns to Develop Extensible and Main-
        tainable ORB Middleware,” IEEE Communications Magazine, April, 1999.
    J18 Irfan Pyarali and Douglas C. Schmidt, “An Overview of the CORBA Portable Object Adapter,”
        Special Issue on CORBA in the ACM StandardView magazine, March, 1999.
    J17 Prashant Jain, Seth Widoff, and Douglas C. Schmidt, ”The Design and Performance of Med-
        Java, A Distributed Electronic Medical Imaging System Developed with Java Applets and
        Web Tools,” IEE/BCS Distributed Systems Engineering Journal, Volume 5, No. 4, December
        1998.
    J16 Douglas C. Schmidt, “Evaluating Architectures for Multi-threaded CORBA Object Request
        Brokers,” Communications of the ACM, Special Issue on CORBA, ACM, edited by Krishnan
        Seetharaman, Volume 41, No. 10, October 1998.
    J15 Andy Gokhale and Douglas C. Schmidt, “Measuring and Optimizing CORBA Latency and
        Scalability Over High-speed Networks,” IEEE Transactions on Computing, April, 1998.
    J14 Douglas C. Schmidt and James Hu, “Developing Flexible and High-performance Web Servers
        with Frameworks and Patterns,” Computing Surveys, ACM, Vol. 29, March 1998.
    J13 Douglas C. Schmidt, David Levine, and Sumedh Mungee, “The Design of the TAO Real-Time
        Object Request Broker,” Computer Communications, Special Issue on Building Quality of
        Service into Distributed System, Elsevier Science, April, 1998.
    J12 Guru Parulkar, Douglas C. Schmidt, Eileen Kraemer, Jon Turner, Anshul Kantawala, “An Ar-
        chitecture for Monitoring, Visualization, and Control and Gigabit Networks,” IEEE Network,
        September/October, 1997.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 352 of 667
Douglas C. Schmidt                                                                                12


    J11 Douglas C. Schmidt, “Lessons Learned Building Reusable OO Frameworks for Distributed
        Software,” Communications of the ACM Special Issue on OO Application Frameworks, ACM,
        Vol. 40, No. 10, October, 1997.
    J10 Douglas C. Schmidt, “Applying Patterns to Meet the Challenges of Concurrent Software,”
        IEEE Concurrency, Special Edition on Software Engineering for Parallel and Distributed
        Systems, Vol. 5, No. 3, August, 1997.
     J9 Douglas C. Schmidt, Andy Gokhale, Tim Harrison, and Guru Parulkar, “A High-performance
        Endsystem Architecture for Real-time CORBA,” IEEE Communications Magazine, Vol. 14,
        No. 2, February, 1997.
     J8 Silvano Maffeis and Douglas C. Schmidt, “Constructing Reliable Distributed Communication
        Systems with CORBA,” IEEE Communications Magazine, Vol. 14, No. 2, February, 1997.
     J7 Douglas C. Schmidt, “Using Design Patterns to Develop Reuseable Object-Oriented Software,”
        ACM Computing Surveys, Vol. 28, No. 4es, December 1996.
     J6 Irfan Pyarali, Douglas C. Schmidt, and Tim Harrison, “Design and Performance of an Object-
        Oriented Framework for High-Speed Electronic Medical Imaging,” USENIX Computing Sys-
        tems, November/December, Vol. 9, No. 4, 1996.
     J5 Douglas C. Schmidt, “A Family of Design Patterns for Application-level Gateways,” The
        Journal of Theory and Practice of Object Systems (Special Issue on Patterns and Pattern
        Languages), Wiley and Sons, Vol. 2, No. 1, 1996.
     J4 Douglas C. Schmidt, “Experience Using Design Patterns to Develop Reuseable Object-Oriented
        Communication Software,” Communications of the ACM Special Issue on Object-Oriented Ex-
        periences, ACM, Vol. 38, No. 10, October, 1995, pp 65-74.
     J3 Douglas C. Schmidt and Tatsuya Suda, “An Object-Oriented Framework for Dynamically
        Configuring Extensible Distributed Systems,” Distributed Systems Engineering Journal (Spe-
        cial issue on Configurable Distributed Systems), IEE, Vol. 2, December, 1994, pp. 280-293.
     J2 Douglas C. Schmidt, Donald F. Box, and Tatsuya Suda, “ADAPTIVE: A Dynamically Assem-
        bled Protocol Transformation, Integration, and eValuation Environment,” Journal of Concur-
        rency: Practice and Experience, Wiley and Sons, Ltd., Vol. 5, No. 4, June, 1993, pp. 269-286.
     J1 Douglas C. Schmidt and Tatsuya Suda, “Transport System Architecture Services for High-
        Performance Communication Systems,” Journal of Selected Areas of Communications special-
        issue on Protocols for Gigabit Networks, IEEE, Vol. 11, No. 4, May, 1993, pp. 489-506.
  • Book Publications and Book Chapters
      – Books Authored
       BA5 Frank Buschmann, Kevlin Henney, and Douglas C. Schmidt, Pattern-Oriented Software
           Architecture: On Patterns and Pattern Languages, Wiley and Sons, 2007.
       BA4 Frank Buschmann, Kevlin Henney, and Douglas C. Schmidt, Pattern-Oriented Software
           Architecture: A Pattern Language for Distributed Computing, Wiley and Sons, 2007.
       BA3 Steve Huston and Douglas C. Schmidt, C++ Network Programming: Systematic Reuse
           with ACE and Frameworks, Addison-Wesley Longman, 2003.
       BA2 Douglas C. Schmidt and Steve Huston, C++ Network Programming: Mastering Com-
           plexity with ACE and Patterns, Addison-Wesley Longman, 2002.
       BA1 Douglas C. Schmidt, Michael Stal, Hans Rohert, and Frank Buschmann, Pattern-Oriented
           Software Architecture: Patterns for Concurrent and Networked Objects, John Wiley and
           Sons, 2000.
      – Book-length Reports Authored
       BR4 Werner Dahm, Douglas Schmidt, et al. “Cyber Situational Awareness,” SAB-TR-12-01,
           1 October 2012.
       BR3 Alan Eckbreth, Charles Saff, Kevin Connolly, Natalie Crawford, Chris Eick, Mark Goorsky,
           Neil Kacena, David Miller, Robert Schafrik, Douglas Schmidt, “Sustaining Air Force Ag-
           ing Aircraft into the 21st Century,” SAB-TR-11-01 1 August 2011.
       BR2 William Scherlis, Robert Behler, Barry Boehm, Lori Clarke, Michael Cusumano, Mary
           Ann Davidson, Larry Druffel, Russell Frew, James Larus, Greg Morrisett, Walker Royce,
           Douglas C. Schmidt, John Stenbit, Kevin Sullivan, Critical Code Software Producibility
           for Defense, Committee for Advancing Software-Intensive Systems Producibility, National
           Research Council of the National Academies, Washington, D.C.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 353 of 667
Douglas C. Schmidt                                                                              13


       BR1 Linda Northrop, Peter Feiler, Richard P. Gabriel, John Goodenough, Rick Linger, Tom
           Longstaff, Rick Kazman, Mark Klein, Linda Northrop, Douglas Schmidt, Kevin Sullivan,
           and Kurt Wallnau Ultra-Large-Scale Systems: Software Challenge of the Future, Software
           Engineering Institute, June 2006.
      – Books Edited
       BE3 Co-editor of Building Application Frameworks: Object-Oriented Foundations of Frame-
           work Design, John Wiley & Sons, 1999 (co-editors are Mohamed Fayad and Ralph John-
           son), ISBN 0-471-24875-4
       BE2 Co-editor of Implementing Application Frameworks: Object-Oriented Frameworks at Work,
           John Wiley & Sons, 1999 (co-editors are Mohamed Fayad and Ralph Johnson), ISBN 0-
           471-25201-8
       BE1 Co-editor of Pattern Languages of Program Design, Addison-Wesley, 1995 (co-editor is
           Jim Coplien, Bell Labs).
      – Book Chapters
      BC64 Michael Walker, Douglas C. Schmidt, and Abhishek Dubey, “Testing at Scale of IoT
           Blockchain Applications,” Role of Blockchain Technology in IoT Applications, Volume
           115, 1st Edition, edited by Shiho Kim, Ganesh Chandra Deka, and Peng Zhang, 2019.
      BC63 Peng Zhang, Douglas C. Schmidt, Jules White, and Abhishek Dubey, “Consensus Mech-
           anisms and Information Security Technologies,” Role of Blockchain Technology in IoT
           Applications,” Volume 115, 1st Edition, edited by Shiho Kim, Ganesh Chandra Deka,
           and Peng Zhang, 2019.
      BC62 Peng Zhang, Douglas C. Schmidt, Jules White, and Gunther Lenz, “Blockchain Technol-
           ogy Use Cases in Healthcare,” Blockchain Technology: Platforms, Tools, and Use Cases,
           edited by Ganesh Deka, 2018.
      BC61 Michael Walker, Douglas C. Schmidt, and Jules White, “An Elastic Platform for Large-
           scale Assessment of Software Assignments for MOOCs (EPLASAM),” User-Centered De-
           sign Strategies for Massive Open Online Courses (MOOCs), edited by Ricardo Mendoza-
           Gonzalez, IGI Global, 2016.
      BC60 Joseph Hoffert, Douglas C. Schmidt, and Aniruddha Gokhale, ”Quantitative Productiv-
           ity Analysis of a Domain-Specific Modeling Language,” in the Handbook of Research on
           Innovations in Systems and Software Engineering, IGI Global, Aug 2014, pp. 313-344.
      BC59 Will Otte, Douglas C. Schmidt, and Aniruddha Gokhale, “Performance and Scalability
           of a Large-scale Deployment and Configuration Framework,” The Performance of Open
           Source Applications, edited by Tony Arkles and Tavish Armstrong, O’Reilly, 2013.
      BC58 Chris Thompson, Jules White, and Douglas C. Schmidt, “Analyzing Mobile Application
           Software Power Consumption via Model-Driven Engineering,” Advances and Applications
           in Model-Driven Software Engineering, edited by Vicente Garcia Diaz, IGI Global, 2013.
      BC57 James Edmondson and Douglas C. Schmidt, “Towards Accurate Simulation of Large-Scale
           Systems via Time Dilation,” Real-time Simulation Technologies: Principles, Methodolo-
           gies, and Applications, edited by Katalin Popovici and Pieter J. Mosterman, CRC Press,
           2012.
      BC56 James Hill and Douglas C. Schmidt, “Using Test Clouds to Enable Continuous Integration
           Testing of Distributed Real-time and Embedded System Applications,” Software Testing
           in the Cloud: Perspectives on an Emerging Discipline. Edited by Scott Tilley and Tauhida
           Parveen, IGI Global, 2012.
      BC55 Angelo Corsaro and Douglas C. Schmidt, “The Data Distribution Service: The Commu-
           nication Middleware Fabric for Scalable and Extensible Systems-of-Systems,” System of
           Systems, edited by Adrian V. Gheorghe, InTech, 2012.
      BC54 Joe Hoffert and Douglas C. Schmidt, “Improving Software Development Productivity for
           QoS Policy Configurations,” Model-Driven Domain Analysis and Software Development:
           Architectures and Functions, a book edited by Janis Osis and Erika Asnina, 2011.
      BC53 Nilabja Roy and Douglas C. Schmidt, “Model-Driven Performance Evaluation of Web
           Application Portals,” Model-Driven Domain Analysis and Software Development: Archi-
           tectures and Functions, a book edited by Janis Osis and Erika Asnina, 2011.
      BC52 Brian Dougherty, Jules White, and Douglas C. Schmidt, “MDA-based Configuration of
           Distributed Real-time and Embedded Systems,” Model-Driven Domain Analysis and Soft-
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 354 of 667
Douglas C. Schmidt                                                                                14


             ware Development: Architectures and Functions, a book edited by Janis Osis and Erika
             Asnina, 2011.
      BC51   Hamilton Turner, Jules White, Brian Dougherty, and Douglas C. Schmidt, “Building
             Mobile Sensor Networks Using Smartphones and Web Services: Ramifications and Devel-
             opment Challenges,” Handbook of Research on Mobility and Computing: Evolving Tech-
             nologies and Ubiquitous Impacts, edited by Maria Manuela Cruz-Cunha and Fernando
             Moreira, IGI Global, Hershey, PA, USA 2009.
      BC50   Gan Deng, Jeff Gray, Douglas C. Schmidt, Yuehua Lin, Aniruddha Gokhale, and Gunther
             Lenz, “Evolution in Model-Driven Software Product-Line Architectures,” Software Ap-
             plications: Concepts, Methodologies, Tools, and Applications, edited by Pierre F. Tiako,
             2009.
      BC49   Jules White, Douglas C. Schmidt, Andrey Nechypurenko, and Egon Wuchner, “Reducing
             the Complexity of Modeling Large Software Systems,” Software Applications: Concepts,
             Methodologies, Tools, and Applications, edited by Pierre F. Tiako, 2009.
      BC48   Jules White, Brian Doughtery, Harrison Strowd, and Douglas C. Schmidt, “Using Fil-
             tered Cartesian Flattening and Microrebooting to Build Enterprise Applications with
             Self-adaptive Healing,” Software Engineering for Self-Adaptive Systems, edited by Betty
             H. C. Cheng, Rogerio de Lemos, Holger Giese, Paola Inverardi, and Jeff Magee, 2009.
      BC47   Jeff Gray, Sandeep Neema, Jing Zhang, Yuehua Lin, Ted Bapty, Aniruddha Gokhale,
             and Douglas C. Schmidt, “Concern Separation for Adaptive QoS Modeling in Distributed
             Real-Time Embedded Systems,” Behavioral Modeling for Embedded Systems and Tech-
             nologies: Applications for Design and Implementation, edited by Joa M. Fernandes and
             Luis Gomes, 2009.
      BC46   Rick Schantz and Douglas C. Schmidt, “Middleware for Distributed Systems,” Wiley
             Encyclopedia of Computer Science and Engineering, edited by Benjamin Wah, 2008.
       B45   Jules White, Andrey Nechypurenko, Egon Wuchner, and Douglas C. Schmidt, “Reduc-
             ing the Complexity of Optimizing Large-scale Systems by Integrating Constraint Solvers
             with Graphical Modeling Tools,” Designing Software-Intensive Systems: Methods and
             Principles, Edited by Dr. Pierre F. Tiako, Langston University, OK, April 2008.
       B44   Gan Deng, Douglas C. Schmidt, Aniruddha Gokhale, Jeff Gray, Yuehua Lin, and Gun-
             ther Lenz, “Evolution in Model-Driven Software Product-line Architecture, Designing
             Software-Intensive Systems: Methods and Principles, Edited by Dr. Pierre F. Tiako,
             Langston University, OK, April 2008.
       B43   Daniel G. Waddington, Nilabja Roy, and Douglas C. Schmidt, “Dynamic Analysis and
             Profiling of Multi-threaded Systems,” Designing Software-Intensive Systems: Methods
             and Principles, Edited by Dr. Pierre F. Tiako, Langston University, OK, April 2008.
       B42   Krishnakumar Balasubramanian, Douglas C. Schmidt, Zoltan Molnar, and Akos Ledeczi,
             “System Integration via Model-Driven Engineering,” Designing Software-Intensive Sys-
             tems: Methods and Principles Edited by Dr. Pierre F. Tiako, Langston University, OK,
             April 2008.
       B41   James Hill, Douglas C. Schmidt,, and John Slaby, “System Execution Modeling Tools
             for Evaluating the Quality of Service of Enterprise Distributed Real-time and Embedded
             System”,Designing Software-Intensive Systems: Methods and Principles, Edited by Dr.
             Pierre F. Tiako, Langston University, OK, April 2008.
       B40   Gan Deng, Chris Gill, Douglas C. Schmidt, and Nanbor Wang, “QoS-enabled Component
             Middleware for Distributed Real-Time and Embedded Systems,” Handbook of Real-Time
             and Embedded Systems (I. Lee, J. Leung, and S. Son, eds.), CRC Press, 2007.
       B39   William Otte and Douglas C. Schmidt, “Labor-Saving Architecture: an Object-Oriented
             Framework for Networked Software,” Beautiful Code, edited by Greg Wilson, O’Reilly,
             2007.
      BC38   Irfan Pyarali, Carlos O’Ryan, and Douglas C. Schmidt, “A Pattern Language for Effi-
             cient, Predictable, Scalable, and Flexible Dispatching Components,” Pattern Language
             of Program Design 5 book, Addison-Wesley, Reading, MA, 2006.
      BC37   Douglas C. Schmidt, Krishnakumar Balasubramanian, Arvind S. Krishna, Emre Turkay,
             and Aniruddha Gokhale, Model-driven Development of Component-based Distributed
             Real-time and Embedded Systems, Model Driven Engineering for Distributed Real-time
             and Embedded Systems, edited by Sebastien Gerard, Joel Champea, and Jean-Philippe
             Babau, Hermes, 2005.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 355 of 667
Douglas C. Schmidt                                                                             15


      BC36 Gabriele A. Trombetti, Aniruddha Gokhale, Douglas C. Schmidt, John Hatcliff, Gurdip
           Singh, and Jesse Greenwald, “An Integrated Model-driven Development Environment for
           Composing and Validating Distributed Real-time and Embedded Systems,” Model-driven
           Software Development: Volume II of Research and Practice in Software Engineering,
           edited by Sami Beydeda, Matthias Book, and Volker Gruhn, Springer-Verlag, 2005.
      BC35 Arvind S. Krishna, Douglas C. Schmidt, Ray Klefstad, and Angelo Corsaro, “Real-time
           CORBA Middleware,” in Middleware for Communications, edited by Qusay Mahmoud,
           Wiley and Sons, New York, 2003.
      BC34 Nanbor Wang, Douglas C. Schmidt, Aniruddha Gokhale, Craig Rodrigues, Balachandran
           Natarajan, Joseph P. Loyall, Richard E. Schantz, and Christopher D. Gill, “QoS-enabled
           Middleware,” in Middleware for Communications, edited by Qusay Mahmoud, Wiley and
           Sons, New York, 2003.
      BC33 Aniruddha Gokhale, Douglas C. Schmidt, Balachandran Natarajan, Jeff Gray, and Nanbor
           Wang, “Model Driven Middleware,” in Middleware for Communications, edited by Qusay
           Mahmoud, Wiley and Sons, New York, 2003.
      BC32 Jeff Gray, Janos Sztipanovits, Ted Bapty, Sandeep Neema, Aniruddha Gokhale, and Dou-
           glas C. Schmidt, “Two-level Aspect Weaving to Support Evolution of Model-Based Soft-
           ware,” in Aspect-Oriented Software Development, edited by Robert Filman, Tzilla Elrad,
           Mehmet Aksit, and Siobhan Clarke, Reading, Massachusetts: Addison-Wesley, 2003.
      BC31 Joseph K. Cross and Douglas C. Schmidt “Applying the Quality Connector Pattern to
           Optimize Distributed Real-time and Embedded Middleware,” Patterns and Skeletons for
           Parallel and Distributed Computing, edited by Fethi Rabhi and Sergei Gorlatch, Springer
           Verlag, 2002.
      BC30 Richard E. Schantz and Douglas C. Schmidt, “Middleware for Distributed Systems: Evolv-
           ing the Common Structure for Network-centric Applications,” Encyclopedia of Software
           Engineering, edited by John Marciniak and George Telecki, Wiley and Sons, 2001.
      BC29 Sumedh Mungee, Nagarajan Surendran, Yamuna Krishnamurthy, and Douglas C. Schmidt
           “The Design and Performance of a CORBA Audio/Video Streaming Service,” Multimedia
           Networking: Technology, Management, and Applications, edited by Mahbubur Syed, Idea
           Group Publishing, Hershey, USA, 2001.
      BC28 Nanbor Wang, Douglas C. Schmidt, and Carlos O’Ryan ”An Overview of the CORBA
           Component Model,” Component-Based Software Engineering, (George Heineman and Bill
           Councill, eds.), Addison-Wesley, Reading, MA, 2001.
      BC27 Douglas C. Schmidt, “Applying a Pattern Language to Develop Application-Level Gate-
           ways,” Design Patterns in Communications, (Linda Rising, ed.), Cambridge University
           Press, 2000.
      BC26 Douglas C. Schmidt and Chris Cleeland, “Applying a Pattern Language to Develop Ex-
           tensible ORB Middleware,” Design Patterns in Communications, (Linda Rising, ed.),
           Cambridge University Press, 2000.
      BC25 Carlos O’Ryan, Fred Kuhns, Douglas C. Schmidt, and Jeff Parsons, “Applying Patterns
           to Develop a Pluggable Protocols Framework for Object Request Broker Middleware,”
           Design Patterns in Communications, (Linda Rising, ed.), Cambridge University Press,
           2000.
      BC24 David L. Levine, Christopher D. Gill, and Douglas C. Schmidt, “Object Lifecycle Manager
           – A Complementary Pattern for Controlling Object Creation and Destruction,” Design
           Patterns in Communications, (Linda Rising, ed.), Cambridge University Press, 2000.
      BC23 Douglas C. Schmidt, “A Family of Design Patterns For Flexibly Configuring Network
           Services in Distributed Systems,” Design Patterns in Communications, (Linda Rising,
           ed.), Cambridge University Press, 2000.
      BC22 James Hu and Douglas C. Schmidt, “JAWS: A Framework for High-performance Web
           Servers,” Object-Oriented Application Frameworks book, John Wiley & Sons, October,
           1999.
      BC21 Chris Cleeland and Douglas C. Schmidt, “External Polymorphism, An Object Struc-
           tural Pattern for Transparently Extending C++ Concrete Data Types” in C++ Gems II,
           (Robert Martin, ed.), SIGS, NY, 1999.
      BC20 Douglas C. Schmidt, “GPERF: A Perfect Hash Function Generator” in C++ Gems II,
           (Robert Martin, ed.), SIGS, NY, 1999.
      BC19 Douglas C. Schmidt, Tim H. Harrison, and Nat Pryce, “Thread-specific Storage: an
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 356 of 667
Douglas C. Schmidt                                                                                  16


             Object Behavioral Pattern for Efficiently Accessing per-Thread State” in C++ Gems II,
             (Robert Martin, ed.), SIGS, NY, 1999.
      BC18   Irfan Pyarali, Tim Harrison, Douglas C. Schmidt, and Thomas Jordan, “Proactor: an
             Object Behavioral Pattern for Demultiplexing and Dispatching Handlers for Asynchronous
             Events,” Pattern Languages of Program Design, (Harrison, Foote, and Rohnert, eds.),
             Addison-Wesley, Reading, MA, 1999.
      BC17   Douglas C. Schmidt and Paul Stephenson, “Using Design Patterns to Evolve System
             Software from UNIX to Windows NT,” In The Patterns Handbook, (Linda Rising, ed.),
             Cambridge University Press, 1998.
      BC16   Douglas C. Schmidt, David L. Levine, and Chris Cleeland, “Architectures and Patterns for
             High-performance, Real-time CORBA Object Request Brokers,” Advances in Computers,
             Academic Press, Ed., Marvin Zelkowitz, Volume 48, July 1999.
      BC15   Douglas C. Schmidt and Tatsuya Suda, “A Framework for Measuring the Performance of
             Alternative Process Architectures for Parallel Communication Subsystems,” in Network
             Performance Modeling and Simulation, Walrand, Bagchi, and Zobrist, Ed., Gordon and
             Breach Publishers, 1998.
      BC14   Douglas C. Schmidt, “Applying Design Patterns and Frameworks to Develop Object-
             Oriented Communication Software,” The Handbook of Programming Languages, Volume
             I, edited by Peter Salus, MacMillan Computer Publishing, 1997.
      BC13   Chris Cleeland, Douglas C. Schmidt, and Tim H. Harrison, “External Polymorphism – An
             Object Structural Pattern for Transparently Extending Concrete Data Types,” Pattern
             Languages of Program Design, (Martin, Buschmann, and Riehl, eds.), Addison-Wesley,
             Reading, MA, 1997.
      BC12   Timothy H. Harrison, Douglas C. Schmidt, and Irfan Pyarali, “Asynchronous Comple-
             tion Token – An Object Behavioral Pattern for Efficient Asynchronous Event Handling,”
             Pattern Languages of Program Design, (Martin, Buschmann, and Riehl, eds.), Addison-
             Wesley, Reading, MA, 1997.
      BC11   Douglas C. Schmidt and Timothy H. Harrison, “Double-Checked Locking – A Optimiza-
             tion Pattern for Efficiently Initializing and Accessing Thread-safe Objects,” Pattern Lan-
             guages of Program Design, (Martin, Buschmann, and Riehl, eds.), Addison-Wesley, Read-
             ing, MA, 1997.
      BC10   Douglas C. Schmidt, “Acceptor and Connector – A Family of Object Creational Patterns
             for Initializing Communication Services,” Pattern Languages of Program Design, (Martin,
             Buschmann, and Riehl, eds.), Addison-Wesley, Reading, MA, 1997.
       BC9   Douglas C. Schmidt and Paul Stephenson, “Using Design Patterns to Evolve System
             Software from UNIX to Windows NT,” In Wisdom of the Gurus, (Charles Bowman, ed.),
             Cambridge University Press, 1996.
       BC8   Douglas C. Schmidt and Steve Vinoski, “Comparing Alternative Distributed Program-
             ming Techniques” in Wisdom of the Gurus, (Charles Bowman, ed.), Cambridge University
             Press, 1996.
       BC7   Douglas C. Schmidt, “A Case Study in C++ Design Evolution” in C++ Gems, (Stanley
             Lippman, ed.), SIGS, NY, 1996, pp. 99-120.
       BC6   Douglas C. Schmidt and Steve Vinoski, “Distributed Object Computing in C++” in C++
             Gems, (Stanley Lippman, ed.), SIGS, NY, 1996, pp. 303-316.
       BC5   Douglas C. Schmidt and Steve Vinoski, “Comparing Alternative Distributed Program-
             ming Techniques” in C++ Gems, (Stanley Lippman, ed.), SIGS, NY, 1996, pp. 316-336.
       BC4   Douglas C. Schmidt and Steve Vinoski, “Comparing Alternative Server Programming
             Techniques” in C++ Gems, (Stanley Lippman, ed.), SIGS, NY, 1996, pp. 337-362.
       BC3   Douglas C. Schmidt and Charles D. Cranor, “Half-Sync/Half-Async: A Architectural Pat-
             tern for Efficient and Well-structured Concurrent I/O” in Pattern Languages of Program
             Design, (Coplien, Vlissides, and Kerth, eds.), Addison-Wesley, Reading, MA, 1996.
       BC2   R. Greg Lavender and Douglas C. Schmidt, “Active Object: An Object Behavioral Pat-
             tern for Concurrent Programming,” in Pattern Languages of Program Design, (Coplien,
             Vlissides, and Kerth, eds.), Addison-Wesley, Reading, MA, 1996.
       BC1   Douglas C. Schmidt, “Reactor: An Object Behavioral Pattern for Concurrent Event
             Demultiplexing and Event Handler Dispatching,” Pattern Languages of Program Design,
             (Addison-Wesley, 1995), edited by James O. Coplien and Douglas C. Schmidt.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 357 of 667
Douglas C. Schmidt                                                                               17


  • Refereed Conference Publications
  C199 Quchen Fu, Zhongwei Teng, Jules White, Maria E. Powell, and Douglas C. Schmidt, “Fas-
       taudio: A Learnable Audio Front-end for Spoof Speech Detection,” proceedings of the In-
       ternational Conference on Acoustics, Speech, and Signal Processing (ICASSP), May 22-27th,
       Singapore.
  C198 Quchen Fu, Zhongwei Teng, Jules White and Douglas Schmidt, “Translating Natural Lan-
       guage to Bash Code,” proceedings of the IEEE 2021 International Conference on Machine
       Learning and Applications, December 13-16, 2021.
  C197 Zhongwei Teng, Quchen Fu, Jules White, and Douglas C. Schmidt, “Analyzing the Feasibility
       of Generating Data Visualizations from Hand-drawn Sketches Using Deep Learning,” pro-
       ceedings of the 20th IEEE International Conference on Machine Learning and Applications,
       December 13-16, 2021.
  C196 Gabriela Gresenz, Jules White, and Douglas C. Schmidt, “An Off-Road Terrain Dataset In-
       cluding Images Labeled With Measures of Terrain Roughness,” proceedings of the IEEE Inter-
       national Conference on Autonomous Systems (IEEE ICAS 2021), Montreal, Canada, August
       11-13, 2021.
  C195 Peng Zhang, Douglas C. Schmidt, and Jules White, “A Pattern Sequence for Designing
       Blockchain-Based Healthcare Information Technology Systems,” the 26th Pattern Languages
       of Programming conference, October 7-10, 2019, Ottawa, Ontario, Canada.
  C194 Nick Guertin, Douglas C. Schmidt, and Harry Levinson, “All Capability to All Boats, All
       the Time: Adding Options to the TI/APB Process,” Proceedings of the 2018 Joint Undersea
       Warfare Technology Fall Conference, Groton, CT, September 18th, 2018.
  C193 Zhongwei Teng, Peng Zhang, Xiao Li, William Nock, Marcelino Rodriguez-Cancio, Denis
       Gilmore, Jules White, Douglas C. Schmidt, and Jonathan C. Nesbitt, “Authentication and
       Usability in mHealth Apps,” proceedings of the 2018 IEEE International Conference on E-
       health Networking, Application and Services (Healthcom), 17-20 September 2018, Ostrava,
       Czech Republic (winner of the ”Outstanding Paper” award).
  C192 Peng Zhang, Douglas C. Schmidt, Jules White, and Shelagh A. Mulvaney, Towards Precision
       Behavioral Medicine with IoT: Iterative Design and Optimization of a Self-Management Tool
       for Type 1 Diabetes,” proceedings of the 2018 IEEE International Conference on Healthcare
       Informatics (ICHI 2018), New York, NY, USA, June 4-7, 2018.
  C191 Nick Guertin, Douglas C. Schmidt, and Bill Scherlis, “Capability Composition and Data
       Interoperability to Achieve More Effective Results than DoD System-of-Systems Strategies,”
       proceedings of 15th Annual Acquisition Research Symposium, May 9-10, 2018 in Monterey,
       CA.
  C190 Peng Zhang, Douglas C. Schmidt, Jules White, and Gunther Lenz, “Metrics for Assessing
       Blockchain-based Healthcare Decentralized Apps,” Proceedings of the IEEE Healthcom 2017,
       October 12-15, 2017, Dalian, China.
  C189 Peng Zhang, Jules White, Douglas C. Schmidt, and Gunther Lenz, “Design of Blockchain-
       Based Apps Using Familiar Software Patterns to Address Interoperability Challenges in Health-
       care,” the 24th Pattern Languages of Programming (PLoP) conference, October 22-25, 2017,
       Vancouver, Canada.
  C188 Aron Laszka, Michael Walker, Abhishek Dubey and Douglas Schmidt, “Providing Privacy,
       Safety, and Security in IoT-Based Transactive Energy Systems using Distributed Ledgers,”
       The 7th International Conference on the Internet of Things (IoT 2017), October 22-25, 2017,
       Linz, Austria.
  C187 Fangzhou Sun, Peng Zhang, Jules White, Douglas C. Schmidt, Jacob Staples, and Lee Krause,
       A Feasibility Study of Autonomically Detecting In-process Cyber-Attacks, Proceedings of the
       3rd IEEE International Conference on Cybernetics (CYBCONF-2017), Special Session on
       Cyber Security.
  C186 Peng Zhang, Jules White, Douglas C. Schmidt, and Tom Dennis, ”Discussions of a Preliminary
       Hand Hygiene Compliance Monitoring Application-as-a-Service”, 10th International Confer-
       ence on Health Informatics - HEALTHINF 2017, 21 - 23 February, 2017, Porto, Portugal.
  C185 Peng Zhang, Jules White, Douglas C. Schmidt, and Tom Dennis, “Applying Machine Learning
       Methods to Predict Hand Hygiene Compliance Characteristics,” Proceedings of the Biomedical
       and Health Informatics Conference, Orlando, Florida, February 16-19, 2017.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 358 of 667
Douglas C. Schmidt                                                                           18


   C184 Subhav Pradhan, Shweta Khare, Fangzhou Sun, Abhishek Dubey, Janos Sallai, Aniruddha
        Gokhale, Douglas Schmidt, Martin Lehofer, and Monika Sturm, “Towards a Distributed and
        Resilient Platform for Smart City Systems,” First IEEE/ACM Symposium on Edge Comput-
        ing, October 27-28, 2016, Washington DC.
   C183 Peng Zhang, Jules White, and Douglas C. Schmidt, “HoliCoW: Automatically Breaking Team-
        based Software Projects to Motivate Student Testing,” Proceedings to the Software Engineer-
        ing Education and Training track at the 38th International Conference on Software Engineer-
        ing Austin, TX, May 14 - 22, 2016.
   C182 Nickolas H. Guertin, Robert Sweeney, and Douglas C. Schmidt, “How the Navy Can Use Open
        Systems Architecture to Revolutionize Capability Acquisition,” Naval Postgraduate School’s
        Acquisition Research Symposium, May 13th 2015, Monterey, CA.
   C181 Nickolas H. Guertin, Robert Sweeney, and Douglas C. Schmidt, “Benefits of Applying an Open
        Systems Architecture Approach,” 17th Systems Engineering Conference, National Defense
        Industry Association, October 27-30, 2014, Washington DC.
   C180 Kyoungho An, Aniruddha Gokhale, Sumant Tambe, Gerardo Pardo-Castellote, and Dou-
        glas C. Schmidt, “Content-based Filtering Discovery Protocol (CFDP): Scalable and Efficient
        OMG DDS Discovery Protocol,” 8th ACM International Conference on Distributed Event-
        Based Systems, Mumbai, India, May 26-29, 2014.
   C179 Balakrishnan Dasarathy, Kevin Sullivan, Douglas C. Schmidt, Douglas H. Fisher, and Adam
        Porter, “The Past, Present, and Future of MOOCs and Their Relevance to Software Engineer-
        ing,” 36th ACM/IEEE International Conference on Software Engineering, Hyderabad, India,
        May 31 - June 7th, 2014.
   C178 Rick Leathart, Adam Porter, Douglas Schmidt, Michael O’Hare, Harry Crisp, and Barry
        Laird, “Capability-Based Technical Reference Frameworks for Open System Architecture Im-
        plementations,” Systems Engineering Conference (SEDC) 20134, Washington DC, April 3rd
        and 4th, 2014, Chantilly, VA.
   C177 Douglas C. Schmidt, Chris Gill, and Jules White, “Elastic Infrastructure to Support Comput-
        ing Clouds for Large-scale Cyber-Physical Systems,” Proceedings of the International Sym-
        posium on Object-Oriented Real-time Distributed Computing (ISORC), June 2014, Reno,
        Nevada.
   C176 Douglas C. Schmidt and Zach McCormick, “Creating and Teaching a MOOC on Pattern-
        Oriented Software Architecture for Concurrent and Networked Software,” Proceedings of the
        WaveFront Forum at the SPLASH 2013 conference, October 2013, Indianapolis, IN.
   C175 Zach McCormick and Douglas C. Schmidt, “Data Synchronization Patterns in Mobile Appli-
        cation Design,” Proceedings of the Pattern Languages of Programs (PLoP) 2012 conference,
        October 19-21, 2012, Tucson, Arizona.
   C174 James Edmondson, Aniruddha Gokhale and Douglas Schmidt, “Approximation Techniques for
        Maintaining Real-time Deployments Informed by User-provided Dataflows Within a Cloud,”
        31st International Symposium on Reliable Distributed Systems (SRDS 2012), 8th-11th Octo-
        ber 2012, Irvine, California.
   C173 James Edmondson, Douglas C. Schmidt, and Aniruddha Gokhale “QoS-enabled Distributed
        Mutual Exclusion in Public Clouds,” Proceedings of the 1st International Symposium on
        Secure Virtual Infrastructures (DOA-SVI’11), October 17-19, 2011, Crete, Greece.
   C172 Brian Dougherty, Jules White, Russell Kegley, Jonathan Preston, Douglas C. Schmidt, and
        Aniruddha Gokhale, “Optimizing Integrated Application Performance with Cache-aware Metaschedul-
        ing,” Proceedings of the 1st International Symposium on Secure Virtual Infrastructures (DOA-
        SVI’11), October 17-19, 2011, Crete, Greece.
   C171 Akram Hakiri, Aniruddha Gokhale, Douglas C. Schmidt, Berthou Pascal, Joe Hoffert, and
        Gayraud Thierry, “A SIP-based Network QoS Provisioning Framework for Cloud-hosted DDS
        Applications,” Proceedings of the 1st International Symposium on Secure Virtual Infrastruc-
        tures (DOA-SVI’11), October 17-19, 2011, Crete, Greece.
   C170 James Hill and Douglas C. Schmidt, “Experiences with Service-Oriented Middleware for Dy-
        namic Instrumentation of Enterprise Distributed Real-time and Embedded Systems,” Pro-
        ceedings of the 1st International Symposium on Secure Virtual Infrastructures (DOA-SVI’11),
        October 17-19, 2011, Crete, Greece.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 359 of 667
Douglas C. Schmidt                                                                               19


   C169 Will Otte, Aniruddha Gokhale, Douglas C. Schmidt, and Johnny Willemsen, “Infrastructure
        for Component-based DDS Application Development,” proceedings of the Tenth International
        Conference on Generative Programming and Component Engineering (GPCE’11), October
        22-23, 2011 Portland, Oregon, USA.
   C168 Will Otte, Aniruddha Gokhale, and Douglas C. Schmidt, Techniques for Predictable De-
        ployment Latencies in Large-scale Component-based Distributed Real-time and Embedded
        Systems, Proceedings of the 14th International ACM SIGSOFT Symposium on Component
        Based Software Engineering (CBSE-2011), June 21th - 23th, 2011, in Boulder, Colorado, USA.
   C167 Chris Thompson, Hamilton Turner, Jules White, and Douglas C. Schmidt, Analyzing Mobile
        Application Software Power Consumption via Model-Driven Engineering, Proceedings of the
        1st International Conference on Pervasive and Embedded Computing and Communication
        Systems, Algarve, Portugal, March 5-7, 2011.
   C166 Joe Hoffert, Douglas C. Schmidt, Aniruddha Gokhale, “Adapting Distributed Real-time and
        Embedded Publish/Subscribe Middleware for Cloud-Computing Environments,” Proceedings
        of the ACM/IFIP/USENIX 11th International Middleware Conference, Bangalore, India,
        November 30-Dec 3, 2010.
   C165 Joe Hoffert and Douglas Schmidt, “Evaluating Supervised Machine Learning for Adapting
        Enterprise DRE Systems,” Proceedings of the International Symposium on Intelligence Infor-
        mation Processing and Trusted Computing (IPTC 2010), Huanggang City, China, October
        28-29, 2010.
   C164 J. Benjamin Gotow, Krzysztof Zienkiewicz, Jules White, and Douglas C. Schmidt, “Addressing
        Challenges in Delivering Augmented Reality Applications to Smartphones,” Proceedings of the
        Third International ICST Conference on MOBILe Wireless MiddleWARE, Operating Systems,
        and Applications (Mobilware 2010), June 30-July 2, 2010, Chicago, IL.
   C163 Chris Thompson, Jules White, Brian Dougherty, Adam Albright, and Douglas C. Schmidt,
        “Using Smartphones and Wireless Mobile Networks to Detect Car Accidents and Provide
        Situational Awareness to Emergency Responders,” Proceedings of the Third International
        ICST Conference on MOBILe Wireless MiddleWARE, Operating Systems, and Applications
        (Mobilware 2010), June 30-July 2, 2010, Chicago, IL.
   C162 James H. Hill, Hunt Sutherland, Douglas C. Schmidt, Thomas Silveria, John M. Slaby, Paul
        Staudinger, and Nikita A. Visnevski, “OASIS: A Service-Oriented Architecture for Dynamic
        Instrumentation of Enterprise Distributed Real-time and Embedded Systems,” Proceedings
        of the 13th International Symposium on Object/Component/Service-oriented Real-time Dis-
        tributed Computing (ISORC ’10), May 5-6, 2010, Carmona, Spain.
   C161 Joseph P. Loyall, Matthew Gillen, Aaron Paulos, Larry Bunch, Marco Carvalho, James Ed-
        mondson, Pooja Varshneya, Douglas C. Schmidt, Andrew Martignoni, “Dynamic Policy-
        Driven Quality of Service in Service-Oriented Systems,” Proceedings of the 13th Interna-
        tional Symposium on Object/Component/Service-oriented Real-time Distributed Computing
        (ISORC ’10), May 5-6, 2010, Carmona, Spain.
   C160 Jaiganesh Balasubramanian, Aniruddha Gokhale, Abhishek Dubey, Friedhelm Wolf, Chenyang
        Lu, Chris Gill, and Douglas C. Schmidt, “Middleware for Resource-Aware Deployment and
        Configuration of Fault-tolerant Real-time Systems,” Proceedings of the 16th IEEE Real-Time
        and Embedded Technology and Applications Symposium Stockholm, Sweden, April 12 - 15,
        2010.
   C159 John S. Kinnebrew, Daniel L. C. Mack, Gautam Biswas, Douglas C. Schmidt, “Coordination of
        Planning and Scheduling Techniques for a Distributed, Multi-level, Multi-agent System”, Pro-
        ceedings of the 2nd International Conference on Agents and Artificial Intelligence (ICAART),
        Valencia, Spain, January 22-24, 2010.
   C158 Nilabja Roy, Yuan Xue, Aniruddha Gokhale, Larry Dowdy and Douglas C. Schmidt, “A
        Component Assignment Framework for Improved Capacity and Assured Performance inWeb
        Portals,” Proceedings of the 11th International Symposium on Distributed Objects, Middle-
        ware, and Applications (DOA’09) Vilamoura, Algarve-Portugal, Nov 01 - 03, 2009.
   C157 Joe Hoffert, Douglas C. Schmidt, and Aniruddha Gokhale, “Evaluating Transport Protocols
        for Real-time Event Stream Processing Middleware and Applications,” Proceedings of the 11th
        International Symposium on Distributed Objects, Middleware, and Applications (DOA’09)
        Vilamoura, Algarve-Portugal, Nov 01 - 03, 2009.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 360 of 667
Douglas C. Schmidt                                                                                 20


   C156 Joe Hoffert and Douglas C. Schmidt, “Maintaining QoS for Publish/Subscribe Middleware in
        Dynamic Environments,” Fast Abstract, 3rd ACM International Conference on Distributed
        Event-Based Systems (DEBS 2009) July 6-9, 2009 - Nashville, TN, USA.
   C155 Nilabja Roy, Larry Dowdy, and Douglas C. Schmidt, “The Impact of Variability on Soft
        Real-Time System Scheduling,” Proceedings of the 15th IEEE International Conference on
        Embedded and Real-Time Computing Systems and Applications (RTCSA 2009), Beijing,
        China, August 24-26, 2009.
   C154 Friedhelm Wolf, Jaiganesh Balasubramanian, Aniruddha Gokhale, and Douglas C. Schmidt,
        “Component Replication based on Failover Units,” Proceedings of the 15th IEEE International
        Conference on Embedded and Real-Time Computing Systems and Applications (RTCSA
        2009), Beijing, China, August 24-26, 2009.
   C153 Jules White, David Benavides, Brian Dougherty, Douglas C. Schmidt, “Automated Reasoning
        for Multi-step Software Product-line Configuration Problems,” Proceedings of the 13th Inter-
        national Software Product Line Conference (SPLC 2009) August 24-28, 2009, San Francisco,
        CA.
   C152 Joseph Loyall, Marco Carvalho, Douglas Schmidt, Matthew Gillen, Andrew Martignoni III,
        Larry Bunch, James Edmondson, and David Corman, “QoS Enabled Dissemination of Man-
        aged Information Objects in a Publish-Subscribe-Query Information Broker,” the SPIE De-
        fense Transformation and Net-Centric Systems conference, April, 2009, Orlando, FL.
   C151 Brian Dougherty, Jules White, Jaiganesh Balasubramanian, Chris Thompson, and Douglas
        C. Schmidt, “Deployment Automation with BLITZ,” Proceedings of the Emerging Results
        track at the 31st International Conference on Software Engineering, Vancouver, Canada, May
        16-24, 2009.
   C150 Brian Dougherty, Jules White, Chris Thompson, and Douglas C. Schmidt, “Automating Hard-
        ware and Software Evolution Analysis,” Proceedings of the 16th Annual IEEE International
        Conference and Workshop on the Engineering of Computer Based Systems (ECBS), April
        13-16, 2009, San Francisco, CA USA.
   C149 James H. Hill, Hamilton A. Turner, James R. Edmondson, and Douglas C. Schmidt, “Unit
        Testing Non-functional Concerns of Component-based Distributed Systems,” Proceedings of
        the 2nd International Conference on Software Testing, Verification, and Validation, April 1 -
        4, 2009, Denver, Colorado.
   C148 John S. Kinnebrew, William R. Otte, Nishanth Shankaran, Gautam Biswas, and Douglas
        C. Schmidt, “Intelligent Resource Management and Dynamic Adaptation in a Distributed
        Real-time and Embedded Sensor Web System,” Proceedings of the 12th International Sympo-
        sium on Object/Component/Service-oriented Real-time Distributed Computing (ISORC ’09),
        Tokyo, Japan, March 17-20, 2009.
   C147 Jaiganesh Balasubramanian, Sumant Tambe, Chenyang Lu, Aniruddha Gokhale, Christo-
        pher Gill, and Douglas C. Schmidt, “Adaptive Failover for Real-time Middleware with Pas-
        sive Replication, Proceedings of the 15th Real-time and Embedded Applications Symposium
        (RTAS) 2009, San Francisco, CA, United States, April 13 - 16, 2009.
   C146 William R. Otte, John. S. Kinnebrew, Douglas C. Schmidt, and Gautam Biswas, “A Flexible
        Infrastructure for Distributed Deployment in Adaptive Sensor Webs,” Proceedings of the 2009
        IEEE Aerospace Conference, Big Sky, Montana, March 2009.
   C145 Nanbor Wang, Douglas C. Schmidt, Angelo Corsaro, and Hans Van’T Hag, “Toward an Adap-
        tive Data Distribution Service for Dynamic Large-Scale Network-Centric Operation and War-
        fare Systems,” Proceedings of the 2008 Military Communications Conference, November 17-19,
        2008 in San Diego, CA.
   C144 Joe Hoffert, Douglas C. Schmidt, and Aniruddha Gokhale, “DQML: A Modeling Language
        for Configuring Publish/Subscribe Quality of Service Policies,” Proceedings of the Distributed
        Objects, Middleware, and Applications (DOA’08), Monterrey, Mexico, Nov 10 - 12, 2008.
   C143 Nilabja Roy, Akshay Dabholkar, Nathan Hamm, Larry Dowdy and Douglas Schmidt, “Mod-
        eling Software Contention using Colored Petri Nets,” Proceedings of the 16th Annual Meeting
        of the IEEE International Symposium on Modeling, Analysis, and Simulation of Computer
        and Telecommunication Systems (MASCOTS), September 8-10 2008, Baltimore, MD.
   C142 Jules White, Douglas C. Schmidt, David Benavides, Pablo Trinidad, Antonio Ruiz-Cortez,
        “Automated Diagnosis of Product-line Configuration Errors in Feature Models,” Proceedings
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 361 of 667
Douglas C. Schmidt                                                                               21


          of the Software Product Lines Conference (SPLC), September, 2008, Limerick, Ireland.
   C141   Jules White and Douglas C. Schmidt, “Model-Driven Product-Line Architectures for Mo-
          bile Devices,” Proceedings of the 17th Annual Conference of the International Federation of
          Automatic Control, Seoul, Korea, July 6-11, 2008.
   C140   Jules White and Douglas C. Schmidt, “Automated Configuration of Component-based Dis-
          tributed Real-time and Embedded Systems from Feature Models,” Proceedings of the 17th
          Annual Conference of the International Federation of Automatic Control, Seoul, Korea, July
          6-11, 2008.
   C139   William R. Otte, John. S. Kinnebrew, Douglas C. Schmidt, Gautam Biswas, and Dipa Suri,
          “Application of Middleware and Agent Technologies to a Representative Sensor Network,”
          Proceedings of the 2008 Earth Science Technology Conference, June 24-26, 2008, University
          of Maryland.
   C138   Jai Balasubramanian, Aniruddha Gokhale, Douglas C. Schmidt, and Nanbor Wang, “Towards
          Middleware for Fault-tolerance in Distributed Real-time and Embedded Systems,” Proceed-
          ings of the 8th IFIP International Conference on Distributed Applications and Interoperable
          Systems (DAIS 2008), Oslo, Norway, June 4-6, 2008.
   C137   Serena Fritsch, Aline Senart, Douglas C. Schmidt, and Siobhan Clarke, “Time-bounded Adap-
          tation for Automotive System Software,” Proceedings of the Experience Track on Automotive
          Systems at the 30th International Conference on Software Engineering, Leipzig, Germany, 10
          - 18 May 2008.
   C136   Nilabja Roy, John S. Kinnebrew, Nishanth Shankaran, Gautam Biswas, and Douglas C.
          Schmidt, “Toward Effective Multi-capacity Resource Allocation in Distributed Real-time and
          Embedded Systems,” Proceedings of the 11th IEEE International Symposium on Object/-
          Component/Service-oriented Real-time Distributed Computing, Orlando, Florida, May 5-7,
          2008.
   C135   Gan Deng, Douglas C. Schmidt, and Aniruddha Gokhale, “CaDANCE: A Criticality-Aware
          Deployment And Configuration Engine,” Proceedings of the 11th IEEE International Sym-
          posium on Object/Component/Service-oriented Real-time Distributed Computing, Orlando,
          Florida, May 5-7, 2008.
   C134   Krishnakumar Balasubramanian and Douglas C. Schmidt, “Physical Assembly Mapper: A
          Model-driven Optimization Tool for QoS-enabled Component Middleware,” Proceedings of
          14th IEEE Real-Time and Embedded Technology and Applications Symposium, St. Louis,
          MO, United States, April 22 - April 24, 2008.
   C133   Jaiganesh Balasubramanian, Sumant Tambe, Balakrishnan Dasarathy, Shrirang Gadgil, Fred-
          erick Porter, Aniruddha Gokhale, and Douglas C. Schmidt, “NetQoPE: A Model-driven Net-
          work QoS Provisioning Engine for Distributed Real-time and Embedded Systems,” Proceed-
          ings of 14th IEEE Real-Time and Embedded Technology and Applications Symposium, St.
          Louis, MO, United States, April 22 - April 24, 2008.
   C132   James Hill, Douglas C. Schmidt, John Slaby, and Adam Porter, “CiCUTS: Combining System
          Execution Modeling Tools with Continuous Integration Environments,” Proceedings of the
          15th Annual IEEE International Conference and Workshops on the Engineering of Computer
          Based Systems (ECBS), March 31st - 4th April, 2008 Belfast, Northern Ireland.
   C131   Vinny Cahill, Aline Senart, Douglas C. Schmidt, Stefan Weber, Anthony Harrington, Barbara
          Hughes, and Kulpreet Singh, “The Managed Motorway: Real-time Vehicle Scheduling: A
          Research Agenda,” Proceedings of the ACM HotMobile 2008, Silverado Resort, Napa Valley,
          CA, USA February 25-26, 2008.
   C130   Jules White, Krzysztof Czarnecki, Douglas Schmidt, Gunther Lenz, Christoph Wienands,
          Egon Wuchner, Ludger Fiege, ”Automated Model-based Configuration of Enterprise Java
          Applications,” The 11th IEEE International EDOC Conference (EDOC 2007), 15-19 October
          2007, Annapolis, Maryland U.S.A.
   C129   Joe Hoffert, Douglas Schmidt, and Aniruddha Gokhale, “A QoS Policy Configuration Mod-
          eling Language for Publish/Subscribe Middleware Platforms,” Proceedings of International
          Conference on Distributed Event-Based Systems (DEBS), June 20-22nd, 2007, Toronto, Canada.
   C128   Shanshan Jiang, Yuan Xue, and Douglas Schmidt, “Minimum Disruption Service Composi-
          tion and Recovery in Mobile Ad hoc Networks, Proceedings of the 4th Annual International
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 362 of 667
Douglas C. Schmidt                                                                              22


          Conference on Mobile and Ubiquitous Systems: Computing, Networking and Services (MO-
          BIQUITOUS 2007), August 6-10, 2007 - Philadelphia, PA.
   C127   Jules White, Andrey Nechypurenko, Egon Wuchner, and Douglas C. Schmidt, “Optimizing
          and Automating Product-Line Variant Selection for Mobile Devices,” Proceedings of the 11th
          International Software Product Line Conference, Kyoto, Japan, Sept 10-14, 2007.
   C126   Nishanth Shankaran, Douglas C. Schmidt, Yingming Chen, Xenofon Koutsoukous, and Chenyang
          Lu, The Design and Performance of Configurable Component Middleware for End-to-End
          Adaptation of Distributed Real-time Embedded Systems, proceedings of the 10th IEEE In-
          ternational Symposium on Object/Component/Service-oriented Real-time Distributed Com-
          puting, May 7-9, 2007, Santorini Island, Greece.
   C125   Amogh Kavimandan, Krishnakumar Balasubramanian, Nishanth Shankaran, Aniruddha Gok-
          hale, and Douglas C. Schmidt, QUICKER: A Model-driven QoS Mapping Tool, proceedings
          of the 10th IEEE International Symposium on Object/Component/Service-oriented Real-time
          Distributed Computing (ISORC), May 7-9, 2007, Santorini Island, Greece.
   C124   Krishnakumar Balasubramanian, Douglas C. Schmidt, Zoltan Molnar, and Akos Ledeczi,
          Component-based System Integration via (Meta)Model Composition, Proceedings of the 14th
          Annual IEEE International Conference and Workshop on the Engineering of Computer Based
          Systems (ECBS), March 26th-29th, 2007, Tucson, Arizona.
   C123   Joe Hoffert, Shanshan Jiang, and Douglas C. Schmidt, “A Taxonomy of Discovery Services
          and Gap Analysis for Ultra-Large Scale Systems,” Proceedings of the ACMSE 2007: 45th
          ACM Southeast Conference Winston-Salem, North Carolina, USA March 23-24, 2007.
   C122   Andrey Nechypurenko, Egon Wuchner, Jules White, and Douglas C. Schmidt, Application of
          Aspect-based Modeling and Weaving for Complexity Reduction in Development of Automo-
          tive Distributed Realtime Embedded System, Proceedings of the Sixth ACM International
          Conference on Aspect-Oriented Software Development, Vancouver, British Columbia, March
          12-16, 2007.
   C121   Dipa Suri, Adam Howell, Douglas C. Schmidt, Gautam Biswas, John Kinnebrew, Will Otte,
          and Nishanth Shankaran, “A Multi-agent Architecture for Smart Sensing in the NASA Sensor
          Web,” Proceedings of the 2007 IEEE Aerospace Conference Big Sky, Montana, March 3-10,
          2007.
   C120   John S. Kinnebrew, Ankit Gupta, Nishanth Shankaran, Gautam Biswas, and Douglas C.
          Schmidt, A Decision-Theoretic Planner with Dynamic Component Reconfiguration for Dis-
          tributed Real-Time Applications, Proceedings of the The 8th International Symposium on
          Autonomous Decentralized Systems (ISADS 2007) Sedona, Arizona, Wednesday March 21 -
          Friday March 23, 2007.
   C119   Ming Xiong, Jeff Parsons, James Edmondson, and Douglas C. Schmidt, “Evaluating Technolo-
          gies for Tactical Information Management in Net-Centric Systems, Proceedings of the Defense
          Transformation and Net-Centric Systems conference, April 9-13, 2007, Orlando, Florida.
   C118   Nilabja Roy, Nishanth Shankaran, and Douglas C. Schmidt “Target Manager: A Resource Pro-
          visioning Service for Enterprise Distributed Real-time and Embedded Systems,” Proceedings
          of the International Symposium on Distributed Objects and Applications (DOA), Montpellier,
          France, Oct 29 - Nov 3, 2006.
   C117   James Hill, John Slaby, Steve Baker, and Douglas C. Schmidt, “Evaluating Enterprise Dis-
          tributed Real-time and Embedded System Quality of Service with System Execution Modeling
          Tools,” Proceedings of the 12th IEEE International Conference on Embedded and Real-Time
          Computing Systems and Applications, Sydney, Australia, 16-18 August 2006.
   C116   Nishanth Shankaran, Xenofon Koutsoukos, Chenyang Lu, Douglas C. Schmidt, and Yuan
          Xue, “Hierarchical Control of Multiple Resources in Distributed Real-time and Embedded
          Systems,” Proceedings of the 18th Euromicro Conference on Real-Time Systems (ECRTS
          06), Dresden, Germany, July 5-7, 2006.
   C115   Dipa Suri, Adam Howell, Nishanth Shankaran, John Kinnebrew, Will Otte, Doug Schmidt,
          and Gautam Biswas, “Onboard Processing using the Adaptive Network Architecture”, Pro-
          ceedings of the Sixth annual NASA Earth Science Technology Conference MD, June 27th -
          29th, 2006, College Park, MD.
   C114   Gan Deng, Douglas C. Schmidt, Aniruddha Gokhale, and Andrey Nechypurenko, “Modular-
          izing Variability and Scalability Concerns in Distributed Real-time and Embedded Systems
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 363 of 667
Douglas C. Schmidt                                                                                23


          with Modeling Tools and Component Middleware, Proceedings of the 9th IEEE International
          Symposium on Object-oriented Real-time Distributed Computing (ISORC ’06), April 24-26,
          2006, Gyeongju, Korea.
   C113   Stoyan Paunov and Douglas C. Schmidt, “RepoMan: A Component Repository Manager for
          Enterprise Distributed Real-time and Embedded Systems”, Proceedings of the 44th ACM
          Southeast Conference, Melbourne, FL, March 10-12, 2006.
   C112   Arvind S. Krishna, Aniruddha Gokhale, Douglas C. Schmidt, John Hatcliff, and Venkatesh
          Prasad Ranganat, “Context-Specific Middleware Specialization Techniques for Optimizing
          Software Product-line Architectures,” Proceedings of ACM EuroSys 2006, Leuven, Belgium,
          April 18-21, 2006.
   C111   Stoyan Paunov, James Hill, Douglas C. Schmidt, John Slaby, and Steve Baker, “Domain-
          Specific Modeling Languages for Configuring and Evaluating Enterprise DRE System Quality
          of Service,” Proceedings of the 13th Annual IEEE International Conference and Workshop on
          the Engineering of Computer Based Systems (ECBS ’06), March 27th-30th, 2006, University
          of Potsdam, Potsdam, Germany.
   C110   Arvind S. Krishna, Aniruddha Gokhale, Douglas C. Schmidt, John Hatcliff, and Venkatesh
          Prasad Ranganat, “Towards Highly Optimized Real-time Middleware for Software Product-
          line Architectures,” Proceedings of the Work-In-Progress session at the 26th IEEE Real-Time
          Systems Symposium, December 5-8, 2005, Miami, Florida.
   C109   Gan Deng, Jaiganesh Balasubramanian, William Otte, Douglas C. Schmidt, and Anirud-
          dha Gokhale, DAnCE: A QoS-enabled Component Deployment and Configuration Engine,
          Proceedings of the 3rd Working Conference on Component Deployment, Grenoble, France,
          November 28-29, 2005, p. 67-82.
   C108   Jaiganesh Balasubramanian, Balachandran Natarajan, Douglas C. Schmidt, Aniruddha Gok-
          hale, Gan Deng, and Jeff Parsons, “Evaluating Techniques for Dynamic Component Updat-
          ing,” Proceedings of the International Symposium on Distributed Objects and Applications
          (DOA), Agia Napa, Cyprus, Oct 31 - Nov 4, 2005, p. 978-996.
   C107   Jules White, Douglas Schmidt, and Aniruddha Gokhale, “Simplifying Autonomic Enterprise
          Java Bean Applications via Model-driven Development: a Case Study,” Proceedings of MOD-
          ELS 2005, ACM/IEEE 8th International Conference on Model Driven Engineering Languages
          and Systems, Half Moon Resort, Montego Bay, Jamaica, October 5-7, 2005, p. 601-615.
   C106   Arvind Krishna, Douglas C. Schmidt, and Michael Stal, “Context Object A Design Pattern
          for Efficient Middleware Request Processing,” Proceedings of the 12th Pattern Language of
          Programming Conference, Allerton Park, Illinois, September 7-10, 2005.
   C105   Michael Stal and Douglas C. Schmidt, “Activator,” Proceedings of the 12th Pattern Language
          of Programming Conference, Allerton Park, Illinois, September 7-10, 2005.
   C104   Jules White, Boris Kolpackov, Balachandran Natarajan, and Douglas C. Schmidt, “Reducing
          Code Complexity With Vocabulary-Specific XML Language Bindings,” Proceedings of the
          43nd ACM Southeastern conference in Atlanta, GA, March 2005.
   C103   Cemal Yilmaz, Arvind Krishna, Atif Memon, Adam Porter, Douglas C. Schmidt, Aniruddha
          Gokhale, and Bala Natarajan, “A Distributed Continuous Quality Assurance Process for
          Monitoring Performance Degradation in Evolving Software Systems, proceedings of the 27th
          International Conference on Software Engineering, St. Louis, MO, May 15-21, 2005, p. 293-
          302.
   C102   Arvind S. Krishna, Emre Turkay, Aniruddha Gokhale, and Douglas C. Schmidt, Model-Driven
          Techniques for Evaluating the QoS of Middleware Configurations for DRE Systems, Proceed-
          ings of the 11th IEEE Real-Time and Embedded Technology and Applications Symposium,
          San Francisco, CA, March 2005, p. 180-189.
   C101   Krishnakumar Balasubramanian, Jaiganesh Balasubramanian, Jeff Parsons, Aniruddha Gok-
          hale, and Douglas C. Schmidt, “A Platform-Independent Component Modeling Language for
          Distributed Real-time and Embedded Systems,” Proceedings of the 11th IEEE Real-Time
          and Embedded Technology and Applications Symposium, San Francisco, CA, March 2005, p.
          190-199.
   C100   Nanbor Wang, Christopher Gill, Douglas C. Schmidt, and Venkita Subramonian, “Configuring
          Real-time Aspects in Component Middleware,” Proceedings of the Conference on Distributed
          Objects and Applications (DOA 2004), October 25-29, 2004, Cyprus, Greece.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 364 of 667
Douglas C. Schmidt                                                                              24


    C99 Jaiganesh Balasubramanian, Douglas C. Schmidt, Lawrence Dowdy, and Ossama Othman,
        “Evaluating the Performance of Middleware Load Balancing Strategies,” Proceedings of the
        8th International IEEE Enterprise Distributed Object Computing Conference, Monterey, Cal-
        ifornia, September 20-24, 2004.
    C98 George Edwards, Gan Deng, Douglas C. Schmidt, Aniruddha Gokhale, and Balachandran
        Natarajan, “Model-driven Configuration and Deployment of Component Middleware Pub-
        lisher/Subscriber Services,” Proceedings of the 3rd ACM International Conference on Gener-
        ative Programming and Component Engineering, Vancouver, CA, October 2004.
    C97 Andrey Nechypurenko, Douglas C. Schmidt, Tao Lu, Gan Deng, Emre Turkey, and Aniruddha
        Gokhale, “Concern-based Composition and Reuse of Distributed Systems,” Proceedings of the
        8th International Conference on Software Reuse, ACM/IEEE, Madrid, Spain, July 2004.
    C96 Arvind Krishna, Douglas C. Schmidt, Adam Porter, Atif Memon, Diego Sevilla-Ruiz, “Im-
        proving the Quality of Performance-intensive Software via Model-integrated Distributed Con-
        tinuous Quality Assurance,” Proceedings of the 8th International Conference on Software
        Reuse, ACM/IEEE, Madrid, Spain, July 2004.
    C95 Chris Gill, Jeanna M. Gossett, David Corman, Joseph P. Loyall, Richard E. Schantz, Michael
        Atighetchi, and Douglas C. Schmidt, “Integrated Adaptive QoS Management in Middleware:
        An Empirical Case Study,” Proceedings of the 10th Real-time Technology and Application
        Symposium, May 25-28, 2004, Toronto, CA.
    C94 Pradeep Gore, Douglas C. Schmidt, Chris Gill, and Irfan Pyarali, “The Design and Perfor-
        mance of a Real-time Notification Service,” Proceedings of the 10th IEEE Real-time Technol-
        ogy and Application Symposium (RTAS ’04), Toronto, CA, May 2004.
    C93 Yamuna Krishnamurthy, Chris Gill, Douglas C. Schmidt, Irfan Pyarali, Louis Mgeta, Yuanfang
        Zhang, and Stephen Torri, “The Design and Performance of Real-time CORBA 2.0: Dynamic
        Scheduling in TAO,” Proceedings of the 10th IEEE Real-time Technology and Application
        Symposium (RTAS ’04), Toronto, CA, May 2004.
    C92 Arvind S. Krishna, Nanbor Wang, Balachandran Natarajan, Aniruddha Gokhale, Douglas
        C. Schmidt and Gautam Thaker, “CCMPerf: A Benchmarking Tool for CORBA Component
        Model Implementations,” Proceedings of the 10th IEEE Real-time Technology and Application
        Symposium (RTAS ’04), Toronto, CA, May 2004.
    C91 George Edwards, Douglas C. Schmidt, Aniruddha Gokhale, and Bala Natarajan, Integrating
        Publisher/Subscriber Services in Component Middleware for Distributed Real-time and Em-
        bedded Systems, Proceedings of the 42nd ACM Southeastern conference in Huntsville, AL,
        April 2004.
    C90 Atif Memon, Adam Porter, Cemal Yilmaz, Adithya Nagarajan, Douglas C. Schmidt, and
        Bala Natarajan, “Skoll: Distributed Continuous Quality Assurance,” Proceedings of the 26th
        IEEE/ACM International Conference on Software Engineering, Edinburgh, Scotland, May
        2004.
    C89 Arvind Krishna, Douglas C. Schmidt, and Raymond Klefstad, “Enhancing Real-Time CORBA
        via Real-Time Java,” Proceedings of the 24th IEEE International Conference on Distributed
        Computing Systems (ICDCS), March 23-26, 2004, Tokyo, Japan.
    C88 Arvind Krishna, Douglas C. Schmidt, Krishna Raman, and Raymond Klefstad, “Enhancing
        Real-time CORBA Predictability and Performance,” Proceedings of the 5th International
        Symposium on Distributed Objects and Applications (DOA), Catania, Sicily, November 2003.
    C87 Jeff Gray, Ted Bapty, Sandeep Neema, Douglas C. Schmidt, Aniruddha Gokhale, and Bal-
        achandran Natarajan, “An Approach for Supporting Aspect-Oriented Domain Modeling, Pro-
        ceedings of the 2nd Generative Programming and Component Engineering (GPCE ’03) con-
        ference, Erfurt, Germany, September 22-25, 2003.
    C86 Richard E. Schantz, Joseph P. Loyall, Douglas C. Schmidt, Craig Rodrigues, Yamuna Krish-
        namurthy, and Irfan Pyarali, “Flexible and Adaptive QoS Control for Distributed Real-time
        and Embedded Middleware,” Proceedings of Middleware 2003, 4th IFIP/ACM/USENIX In-
        ternational Conference on Distributed Systems Platforms, June 16-20, 2003, Rio de Janeiro,
        Brazil.
    C85 Arvind Krishna, Douglas C. Schmidt, Raymond Klefstad, and Angelo Corsaro, “Towards
        Predictable Real-time Java Object Request Brokers,” Proceedings of the 9th IEEE Real-
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 365 of 667
Douglas C. Schmidt                                                                                25


          time/Embedded Technology and Applications Symposium (RTAS), Washington DC, May
          28-30, 2003.
    C84   Douglas C. Schmidt and Frank Buschmann, “Patterns, Frameworks, and Middleware: Their
          Synergistic Relationships,” Proceedings of the IEEE/ACM International Conference on Soft-
          ware Engineering, Portland, Oregon, May 3-10, 2003.
    C83   Radu Cornea, Nikil Dutt, Rajesh Gupta, Ingolf Krueger, Alex Nicolau, Douglas C. Schmidt,
          and Sandeep Shukla, “FORGE: A Framework for Optimization of Distributed Embedded Sys-
          tems Software,” International Parallel and Distributed Processing Symposium, Nice, France,
          April 22-26 2003.
    C82   Raymond Klefstad, Sumita Rao, and Douglas C. Schmidt, “Design and Performance of a Dy-
          namically Configurable, Messaging Protocols Framework for Real-time CORBA,” Proceedings
          of the Distributed Object and Component-based Software Systems part of the Software Tech-
          nology Track at the 36th Annual Hawaii International Conference on System Sciences, January
          6–9, 2003, Big Island of Hawaii.
    C81   Raymond Klefstad, Arvind S. Krishna, and Douglas C. Schmidt, “Design and Performance of
          a Modular Portable Object Adapter for Distributed, Real-Time, Embedded CORBA Appli-
          cations,” Proceedings of the Distributed Objects and Applications (DOA) conference, Irvine,
          CA, October/November, 2002.
    C80   Chris Gill, Fred Kuhns, Douglas C. Schmidt, and Ron Cytron, “Empirical Differences Be-
          tween COTS Middleware Scheduling Paradigms,” Proceedings of the Distributed Objects and
          Applications (DOA) conference, Irvine, CA, October/November, 2002.
    C79   Angelo Corsaro and Douglas C. Schmidt, “jRate: The Chameleonic Real-Time Java Im-
          plementation,” Proceedings of the Distributed Objects and Applications (DOA) conference,
          Irvine, CA, October/November, 2002.
    C78   Mayur Deshpande, Douglas C. Schmidt, Carlos O’Ryan, and Darrell Brunsch, “The Design
          and Performance of Asynchronous Method Handling for CORBA,” Proceedings of the Dis-
          tributed Objects and Applications (DOA) conference, Irvine, CA, October/November, 2002.
    C77   Irfan Pyarali, Douglas C. Schmidt, and Ron Cytron, “Achieving End-to-End Predictability of
          the TAO Real-time CORBA ORB,” Proceedings of the 8th IEEE Real-Time Technology and
          Applications Symposium, San Jose, CA, September 2002.
    C76   Angelo Corsaro and Douglas C. Schmidt, “Evaluating Real-Time Java Features and Perfor-
          mance for Real-time Embedded Systems,” Proceedings of the 8th IEEE Real-Time Technology
          and Applications Symposium, San Jose, CA, September 2002.
    C75   Angelo Corsaro, Douglas C. Schmidt, Raymond Klefstad, and Carlos O’Ryan, “Virtual Com-
          ponent: a Design Pattern for Memory-Constrained Embedded Applications,” Proceedings
          of the 9th Annual Conference on the Pattern Languages of Programs, Monticello, Illinois,
          September, 2002.
    C74   Joseph K. Cross and Douglas C. Schmidt, “Quality Connector: A Pattern Language for Provi-
          sioning and Managing Quality-Constrained Services in Distributed Real-time and Embedded
          Systems Proceedings of the 9th Annual Conference on the Pattern Languages of Programs,
          Monticello, Illinois, September, 2002.
    C73   Richard Schantz, Franklin Webber, Partha Pal, Joseph Loyall, and Douglas C. Schmidt, “Pro-
          tecting Applications Against Malice with Adaptive Middleware,” Certification and Security
          in E-Services stream of the 17th IFIP World Computer Congress, Montreal, Canada, August
          25-30, 2002.
    c72   Richard Schantz and Douglas C. Schmidt, “Research Advances in Middleware for Distributed
          Systems: State of the Art,” Computer Communications stream of the 17th IFIP World Com-
          puter Congress, Montreal, Canada, August 25-30, 2002.
    C71   Raymond Klefstad, Douglas C. Schmidt, and Carlos O’Ryan, “Towards Highly Configurable
          Real-time Object Request Brokers,” the IEEE International Symposium on Object-Oriented
          Real-time Distributed Computing (ISORC), Washington DC, April 29–May 1, 2002.
    C70   Angelo Corsaro, Douglas C. Schmidt, Chris Gill, and Ron Cytron, “Formalizing Meta-Pro-
          gramming Techniques to Reconcile Heterogeneous Scheduling Policies in Open Distributed
          Real-Time Systems,” Proceedings of the 3rd International Symposium on Distributed Objects
          and Applications, September 8-10, 2001, Rome, Italy.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 366 of 667
Douglas C. Schmidt                                                                             26


    C69 David A. Karr, Craig Rodrigues, Yamuna Krishnamurthy, Irfan Pyarali, and Douglas C.
        Schmidt “Application of the QuO Quality-of-Service Framework to a Distributed Video Ap-
        plication,” Proceedings of the 3rd International Symposium on Distributed Objects and Ap-
        plications, September 8-10, 2001, Rome, Italy.
    C68 Nanbor Wang, Kirthika Parameswaran, and Douglas C. Schmidt, “The Design and Perfor-
        mance of Meta-Programming Mechanisms for Object Request Broker Middleware,” Proceed-
        ings of the 6th USENIX Conference on Object-Oriented Technologies and Systems (COOTS),
        San Antonio, TX, Jan/Feb, 2001.
    C67 Andy Gokhale, Bala Natarajan, Douglas C. Schmidt and Shalini Yajnik, “Applying Patterns
        to Improve the Performance of Fault-Tolerant CORBA,” of the 7th International Conference
        on High Performance Computing (HiPC 2000), ACM/IEEE, Bangalore, India, December 2000.
    C66 Nanbor Wang, Michael Kircher, and Douglas C. Schmidt, “Applying Reflective Techniques
        to Optimize a QoS-enabled CORBA Component Model Implementation, the 24th Annual
        International Computer Software and Applications Conference (COMPSAC 2000), Taipai,
        Taiwan, October 25-27 2000.
    C65 Frederic Andres, Nicolas Dessaigne, Jose Martinez, Noureddine Mouaddib, Kinji Ono, Douglas
        C. Schmidt, Panrit Tosukhowong, ”MISE: The MediaSys Image Search Engine,” 11th Inter-
        national Conference on Database and Expert Systems Applications (DEXA 2000), London,
        UK, September 2000.
    C64 Andy Gokhale, Bala Natarajan, Douglas C. Schmidt and Shalini Yajnik, “DOORS: Towards
        High-performance Fault-Tolerant CORBA,” Proceedings of the 2nd International Symposium
        on Distributed Objects and Applications (DOA ’00), OMG, Antwerp, Belgium, September
        2000.
    C63 Irfan Pyarali, Carlos O’Ryan, Douglas C. Schmidt, “A Pattern Language for Efficient, Pre-
        dictable, Scalable, and Flexible Dispatching Components,” Proceedings of the 7th Pattern
        Language of Programming Conference, Monticello, Illinois, August, 2000.
    C62 Douglas C. Schmidt, Carlos O’Ryan, Irfan Pyarali, Michael Kircher and Frank Buschmann,
        “Leader/Followers: A Design Pattern for Efficient Multi-threaded Event Demultiplexing and
        Dispatching,” Proceedings of the 7th Pattern Languages of Programming Conference, Monti-
        cello, Illinois, August 2000.
    C61 Carlos O’Ryan, Douglas C. Schmidt, Fred Kuhns, Marina Spivak, Jeff Parsons Irfan Pyarali,
        and David L. Levine, “Evaluating Policies and Mechanisms for Supporting Embedded, Real-
        Time Applications with CORBA 3.0,” Proceedings of the Sixth IEEE Real-Time Technology
        and Applications Symposium (RTAS’00), Washington D.C., USA, May 31-June 2, 2000.
    C60 Nanbor Wang, Douglas C. Schmidt, and David Levine, “Optimizing the CORBA Component
        Model for High-performance and Real-time Applications,” Work-in-progress session of the
        IFIP/ACM Middleware 2000 Conference, Pallisades, New York, April 3-7, 2000.
    C59 Alexander B. Arulanthu, Carlos O’Ryan, Douglas C. Schmidt, Michael Kircher, and Jeff
        Parsons, “The Design and Performance of a Scalable ORB Architecture for CORBA Asyn-
        chronous Messaging,” Proceedings of the IFIP/ACM Middleware 2000 Conference, Pallisades,
        New York, April 3-7, 2000.
    C58 Carlos O’Ryan, Fred Kuhns, Douglas C. Schmidt, Ossama Othman, and Jeff Parsons, The
        Design and Performance of a Pluggable Protocols Framework for Real-time Distributed Ob-
        ject Computing Middleware, Proceedings of the IFIP/ACM Middleware 2000 Conference,
        Pallisades, New York, April 3-7, 2000.
    C57 Irfan Pyarali, Carlos O’Ryan, and Douglas C. Schmidt, “A Pattern Language for Efficient,
        Predictable, Scalable, and Flexible Dispatching Mechanisms for Distributed Object Comput-
        ing Middleware,” Proceedings of the IEEE/IFIP International Symposium on Object-Oriented
        Real-time Distributed Computing, March 15-17, 2000, Newport Beach, California.
    C56 David Levine, Douglas C. Schmidt, and Sergio Flores-Gaitan, “An Empirical Evaluation of
        OS Support for Real-time CORBA Object Request Brokers,” Proceedings of the Multimedia
        Computing and Networking 2000 (MMCN00) conference, ACM, San Jose, CA, January 25-27
        2000.
    C55 Douglas C. Schmidt, “Middleware Techniques and Optimizations for Real-time, Embedded
        Systems,” Proceedings of the 12th International Symposium On System Synthesis, IEEE, San
        Jose, CA, USA November, 11, 1999.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 367 of 667
Douglas C. Schmidt                                                                              27


    C54 Panrit Tosukhowong, Frederic Andres, Kinji Ono, Nicolas Dessaigne, Josi Martinez, Noure-
        dine Mouaddib, Douglas C. Schmidt, “A Flexible Image Search Engine,” Proceedings of In-
        ternational Multimedia Conference Archive Proceedings of the Seventh ACM International
        Conference on Multimedia, Orlando, Florida, United States, November 1-5, 1999.
    C53 Bryan S. Doerr, Thomas Venturella, Rakesh Jha, Christopher D. Gill, and Douglas C. Schmidt,
        “Adaptive Scheduling for Real-time, Embedded Information Systems,” Proceedings of the 18th
        IEEE/AIAA Digital Avionics Systems Conference (DASC), St. Louis, Missouri, October 24-
        29, 1999.
    C52 Christopher D. Gill, David L. Levine, Carlos O’Ryan, and Douglas C. Schmidt, “Distributed
        Object Visualization for Sensor-Driven Systems,” Proceedings of the 18th IEEE/AIAA Digital
        Avionics Systems Conference (DASC), St. Louis, Missouri, October 24-29, 1999.
    C51 Fred Kuhns, Douglas C. Schmidt, and David L. Levine, “The Performance of a Real-time I/O
        Subsystem for QoS-enabled ORB Middleware,” Proceedings of the International Symposium
        on Distributed Objects and Applications (DOA ’99), Edinburgh, Scotland, September 1999.
    C50 David L. Levine, Christopher D. Gill, and Douglas C. Schmidt, “Object Lifecycle Manager
        – A Complementary Pattern for Controlling Object Creation and Destruction.” Proceedings
        of the 5th Pattern Languages of Programing Conference, Allerton Park, Illinois, USA, 15–18
        August 1999.
    C49 Fred Kuhns, Douglas C. Schmidt, David Levine, and Rajeev Bector, “The Design and Perfor-
        mance of a Real-time I/O Subsystem,” Proceedings of the 5th IEEE Real-Time Technology
        and Applications Symposium (RTAS99), Vancouver, British Columbia, Canada, June 2-4,
        1999.
    C48 Irfan Pyarali, Carlos O’Ryan, Douglas C. Schmidt, Nanbor Wang, Vishal Kachroo, and
        Aniruddha Gokhale, “Applying Optimization Patterns to Design Real-time ORBs,” Proceed-
        ings of the 5th USENIX Conference on Object-Oriented Technologies and Systems, May 3-7,
        1999, San Diego, CA.
    C47 Andy Gokhale and Douglas C. Schmidt, “Techniques for Optimizing CORBA Middleware for
        Distributed Embedded Systems” Proceedings of INFOCOM ’99, March 21-25th, New York,
        New York.
    C46 Sumedh Mungee, Nagarajan Surendran, and Douglas C. Schmidt, “The Design and Perfor-
        mance of a CORBA Audio/Video Streaming Service,” Proceedings of the 31st Hawaii In-
        ternational Conference on System Systems (HICSS), Hawaii, January, 1999, minitrack on
        Multimedia DBMS and the WWW, Hawaii, January 1999.
    C45 Chris D. Gill, David L. Levine, and Douglas C. Schmidt, “Dynamic Scheduling for Avionics
        Applications,” Proceedings of the 17th IEEE/AIAA Digital Avionics System Conference, 31
        October - 6 November 1998.
    C44 James Hu, Irfan Pyarali, and Douglas C. Schmidt, “Applying the Proactor Pattern to High-
        Performance Web Servers,” Proceedings of the 10th International Conference on Parallel and
        Distributed Computing and Systems, IASTED, Las Vegas, Nevada, October 28-31, 1998.
    C43 Douglas C. Schmidt, Sumedh Mungee, and Andy Gokhale, “Alleviating Priority Inversion and
        Non-determinism in Real-time CORBA ORB Core Architectures,” Proceedings of the Fourth
        IEEE Real-Time Technology and Applications Symposium (RTAS), Denver, Colorado, June
        3-5, 1998.
    C42 Prashant Jain, Seth Widoff, and Douglas C. Schmidt, “The Design and Performance of Med-
        Java, A Distributed Electronic Medical Imaging System Developed with Java Applets and
        Web Tools” Proceedings of the 4th USENIX Conference on Object-Oriented Technologies and
        Systems, Sante Fe, New Mexico, April 1998. This was selected as the best student paper in
        the conference.
    C41 James Hu, Sumedh Mungee, and Douglas C. Schmidt, “Techniques for Developing and Mea-
        suring High-performance Web Servers over ATM Networks,” Proceedings of INFOCOM ’98,
        San Francisco, March/April, 1998.
    C40 Aniruddha Gokhale and Douglas C. Schmidt, “Optimizing the Performance of the CORBA
        Internet Inter-ORB Protocol Over ATM,” Proceedings of the 31st Hawaii International Con-
        ference on System Systems (HICSS), Hawaii, January, 1998. This was selected as the best
        paper in the Software Technology Track (188 submitted, 77 accepted).
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 368 of 667
Douglas C. Schmidt                                                                              28


    C39 Aniruddha Gokhale and Douglas C. Schmidt, “Evaluating the Performance of Demultiplex-
        ing Strategies for Real-time CORBA,” Proceedings of GLOBECOM ’97 conference, IEEE,
        Phoenix, AZ, November, 1997.
    C38 James Hu, Irfan Pyarali, and Douglas C. Schmidt, “Measuring the Impact of Event Dis-
        patching and Concurrency Models on Web Server Performance Over High-speed Networks,”
        Proceedings of the 2nd Global Internet Conference (held as part of GLOBECOM ’97) in
        Phoenix, AZ, November 4-8, 1997.
    C37 Tim Harrison and David Levine and Douglas C. Schmidt, “The Design and Performance of a
        Real-time CORBA Event Service,” Proceedings of OOPSLA ’97, ACM, Atlanta, GA, October
        1997.
    C36 Aniruddha Gokhale and Douglas C. Schmidt and Stan Moyer, “Tools for Automating the Mi-
        gration from DCE to CORBA,”Proceedings of ISS 97: World Telecommunications Congress,
        IEEE Toronto, Canada, September, 1997.
    C35 Jain and Douglas C. Schmidt, “Service Configurator – A Pattern for Dynamic Configuration
        of Services,” the 4th annual Pattern Languages of Programmingy conference in Allerton Park,
        Illinois, September 1997.
    C34 Chris Cleeland, Douglas C. Schmidt, and Tim H. Harrison, “External Polymorphism – An
        Object Structural Pattern for Transparently Extending C++ Concrete Data Types,” the 4th
        annual Pattern Languages of Programmingy conference in Allerton Park, Illinois, September
        1997.
    C33 Douglas C. Schmidt, Tim H. Harrison, and Nat Pryce, “Thread-specific Storage: an Ob-
        ject Behavioral Pattern for Efficiently Accessing per-Thread State,” The 4th annual Pattern
        Languages of Programming conference in Allerton Park, Illinois, September 1997.
    C32 Irfan Pyarali, Tim Harrison, Douglas C. Schmidt, and Thomas Jordan, “Proactor: an Object
        Behavioral Pattern for Demultiplexing and Dispatching Handlers for Asynchronous Events,”
        the 4th annual Pattern Languages of Programming conference in Allerton Park, Illinois,
        September 1997.
    C31 Prashant Jain and Douglas C. Schmidt, “Service Configurator – A Pattern for Dynamic Con-
        figuration of Services,” Proceedings of the 3rd Conference on Object-Oriented Technologies
        and Systems, USENIX, Portland, OR, June 16-19, 1997.
    C30 Aniruddha Gokhale and Douglas C. Schmidt, “Evaluating Latency and Scalability of CORBA
        Over High-Speed ATM Networks,” Proceedings of the International Conference on Distributed
        Computing Systems ’97, IEEE, Baltimore, Maryland, May 27–30, 1997.
    C29 Aniruddha Gokhale and Douglas C. Schmidt, “Performance of the CORBA Dynamic Invoca-
        tion Interface and Internet Inter-ORB Protocol over High-Speed ATM Networks,” Proceedings
        of GLOBECOM ’96, IEEE, London England, November, 1996.
    C28 Aniruddha Gokhale and Douglas C. Schmidt, “Measuring the Performance of Communication
        Middleware on High-Speed Networks,” Proceedings of SIGCOMM ’96, ACM, San Francisco,
        August 28-30th, 1996.
    C27 Irfan Pyarali, Tim Harrison, and Douglas. C. Schmidt, “Design and Performance of an Object-
        Oriented Framework for High-Speed Electronic Medical Imaging,” Proceedings of the 2nd
        Conference on Object-Oriented Technologies and Systems (COOTS), USENIX, Toronto, June
        18-22, 1996.
    C26 Douglas C. Schmidt, “A Family of Design Patterns For Flexibly Configuring Network Ser-
        vices in Distributed Systems,” Proceedings of the International Conference on Configurable
        Distributed Systems, IEEE, Annapolis, Maryland, May 6-8, 1996.
    C25 Douglas C. Schmidt “Using Design Patterns to Develop High-Performance Object-Oriented
        Communication Software Frameworks,” Proceedings of the 8th Annual Software Technology
        Conference, Salt Lake City, Utah, April 21-26, 1996.
    C24 Douglas C. Schmidt, Timothy H. Harrison, and Irfan Pyarali, “An Object-Oriented Framework
        for High-Performance Electronic Medical Imaging,” Proceedings of the Very High Resolution
        and Quality Imaging mini-conference at the Symposium on Electronic Imaging in the Interna-
        tional Symposia Photonics West 1996, SPIE, San Jose, California USA, January 27 - February
        2, 1996.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 369 of 667
Douglas C. Schmidt                                                                                29


    C23 Douglas C. Schmidt and Charles D. Cranor, “Half-Sync/Half-Async: A Pattern for Efficient
        and Well-structured Concurrent I/O,” The 2nd Pattern Languages of Programs Conference
        Monticello, Illinois, September 6-8, 1995.
    C22 R. Greg Lavender and Douglas C. Schmidt, “Active Object: An Object Behavioral Pattern for
        Concurrent Programming,” The 2nd Pattern Languages of Programs Conference, Monticello,
        Illinois, September 6-8, 1995.
    C21 Guru Parulkar, Douglas C. Schmidt, and Jonathan S. Turner, “a It Pm : a Strategy for In-
        tegrating IP with ATM,” the Symposium on Communications Architectures and Protocols
        (SIGCOMM), ACM, Cambridge, MA, August 30 to September 1, 1995.
    C20 Douglas C. Schmidt, Tim Harrison, and Ehab Al-Shaer, “Object-Oriented Components for
        High-speed Network Programming,” Proceedings of the Conference on Object-Oriented Tech-
        nologies (COOTS), USENIX, June 26-29, 1995 Monterey, California, USA, pp. 21-38.
    C19 Douglas C. Schmidt and Paul Stephenson, “Experience Using Design Patterns to Evolve
        Communication Software Across Diverse OS Platforms,” Proceedings of the 9th European
        Conference on Object-Oriented Programming (ECOOP), ACM, Aarhus, Denmark, August,
        1995.
    C18 Douglas C. Schmidt and Tatsuya Suda, “Measuring the Performance of Parallel Message-based
        Process Architectures,” Proceedings of the INFOCOM Conference on Computer Communica-
        tions, IEEE, Boston, MA, April, 1995, pp. 624-633.
    C17 Douglas C. Schmidt and Tatsuya Suda, “Experiences with an Object-Oriented Architecture
        for Developing Dynamically Extensible Network Management Software,” Proceedings of the
        Globecom Conference, IEEE, San Francisco, California, November, 1994, pp. 1-7.
    C16 Douglas C. Schmidt and Paul Stephenson, “Achieving Reuse Through Design Patterns,” Pro-
        ceedings of the 3rd Annual C++ World Conference, SIGS, Austin, Texas, November 14-18,
        1994.
    C15 Douglas C. Schmidt, “Developing Object-Oriented Frameworks to Dynamically Configure
        Concurrent, Multi-service Network Daemons,” Proceedings of the 3rd Annual C++ World
        Conference, SIGS, Austin, Texas, November 14-18, 1994.
    C14 Douglas C. Schmidt, “Reactor: An Object Behavioral Pattern for Concurrent Event Demulti-
        plexing and Dispatching,” The 1st Annual Conference on the Pattern Languages of Programs,
        Monticello, Illinois, August, 1994, pp. 1-10.
    C13 Douglas C. Schmidt, “The ADAPTIVE Communication Environment: An Object-Oriented
        Network Programming Toolkit for Developing Communication Software,” Proceedings of the
        12th Annual Sun Users Group Conference, SUG, San Francisco, June 16-17, 1994. This paper
        won the “best student paper” award at the conference.
    C12 Douglas C. Schmidt, Burkhard Stiller, Tatsuya Suda, and Martina Zitterbart, “Configuring
        Function-based Communication Protocols for Distributed Applications,” Proceedings of the
        8th International Working Conference on Upper Layer Protocols, Architectures, and Applica-
        tions, IFIP, Barcelona, Spain, June 1-3, 1994, pp. 361-376.
    C11 Douglas C. Schmidt and Tatsuya Suda, “The ADAPTIVE Service Executive: An Object-
        Oriented Architecture for Configuring Concurrent Distributed Communication Systems,” Pro-
        ceedings of the 8th International Working Conference on Upper Layer Protocols, Architectures,
        and Applications, IFIP, Barcelona, Spain, June 1-3, 1994, pp. 163-178.
    C10 Douglas C. Schmidt, “ASX: An Object-Oriented Framework for Developing Distributed Ap-
        plications,” Proceedings of the 6th C++ Conference, USENIX, Cambridge, Massachusetts,
        April, 1994, pp. 200-220.
     C9 Douglas C. Schmidt, “The ADAPTIVE Communication Environment: Object-Oriented Net-
        work Programming Components for Developing Client/Server Applications,” Proceedings of
        the 11th Annual Sun Users Group Conference, SUG, San Jose, December 7-9, 1993, pp. 214-
        225. This paper won the “best student paper” award at the conference.
     C8 Douglas C. Schmidt and Paul Stephenson, “An Object-Oriented Framework for Developing
        Network Server Daemons,” Proceedings of the 2nd Annual C++ World Conference, SIGS,
        Dallas, Texas, October 18-22, 1993, pp. 73-85.
     C7 Douglas C. Schmidt, “Object-Oriented Techniques for Developing Extensible Network Servers,”
        Proceedings of the 2nd Annual C++ World Conference, SIGS, Dallas, Texas, October 18-22,
        1993.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 370 of 667
Douglas C. Schmidt                                                                            30


     C6 Douglas C. Schmidt, Burkhard Stiller, Tatsuya Suda, Ahmed Tantawy, and Martina Zitter-
        bart, “Configuration Support for Flexible Function-Based Communication Systems,” Pro-
        ceedings of the 18th Conference on Local Computer Networks, IEEE, Minneapolis, Minnesota,
        September 20-22, 1993, pp. 369-378.
     C5 Douglas C. Schmidt and Tatsuya Suda, “ADAPTIVE: a Framework for Experimenting with
        High-Performance Transport System Process Architectures,” Proceedings of the 2nd Interna-
        tional Conference on Computer Communications and Networks, ISCA, San Diego, California,
        June 28-30, 1993, pp. 1-8.
     C4 Donald F. Box, Douglas C. Schmidt, and Tatsuya Suda, “ADAPTIVE: An Object-Oriented
        Framework for Flexible and Adaptive Communication Protocols,” Proceedings of the 4th Con-
        ference on High Performance Networking, IFIP, Liege, Belgium, December 14-18, 1992, pp.
        367-382.
     C3 Douglas C. Schmidt, Donald F. Box, and Tatsuya Suda, “ADAPTIVE: A Flexible and Adap-
        tive Transport System Architecture to Support Lightweight Protocols for Multimedia Appli-
        cations on High-Speed Networks,” Proceedings of the 1st Symposium on High Performance
        Distributed Computing, IEEE, Syracuse, New York, September 9-11, 1992, pp. 174-186.
     C2 Richard W. Selby, Adam A. Porter, Douglas C. Schmidt, and James Berney, “Metric-Driven
        Analysis and Feedback Systems for Enabling Empirically Guided Software Development,”
        Proceedings of the 13th Annual International Conference on Software Engineering, IEEE,
        Austin, Texas, May, 1991, pp. 430-443.
     C1 Douglas C. Schmidt “GPERF: A Perfect Hash Function Generator,” Proceedings of the 2nd
        C++ Conference, USENIX, San Francisco, California, April 9-11, 1990, pp. 87-102.
  • Refereed Workshop Publications

   W74 Nick Guertin, Douglas C. Schmidt, and Harry Levinson, “Business and Organizational Impacts
       for Modular Flexible Ships,” Proceedings of the 2018 Design Sciences Series Workshop on
       Modular Adaptable Ships, Washington DC, November 14-15, 2018.
   W73 Michael Walker, Abhishek Dubey, Aron Laszka, and Douglas C. Schmidt, “PlaTIBART: a
       Platform for Transactive IoT Blockchain Applications with Repeatable Testing,” Proceedings
       of the ACM/IFIP/USENIX 4th Workshop on Middleware and Applications for the Internet
       of Things, December 2017, Las Vegas, USA.
   W72 Abhishek Dubey, Subhav Pradhan, Douglas C. Schmidt, Sebnem Rusitschka, and Monika
       Sturm, “The Role of Context and Resilient Middleware in Next Generation Smart Grids,”
       Proceedings of the 3rd Middleware for Context-Aware Applications in the IoT (M4IOT 2016)
       Workshop at the ACM/IFIP/USENIX Middleware 2016 Conference, Dec 12 - 16, 2016, Trento,
       Italy.
   W71 Violetta Vylegzhanina, Douglas C. Schmidt, and Jules White, “Gaps and Future Directions
       in Mobile Security Research,” Proceedings of the Third International Workshop on Mobile
       Development Lifecycle, Pittsburgh, PA, October 26th, 2015.
   W70 Violetta Vylegzhanina, Douglas C. Schmidt, Pamela Hull, Janice S. Emerson, Meghan E.
       Quirk, and Shelagh Mulvaney, “Helping Children Eat Well Via Mobile Software Technologies,”
       Proceedings of the Second International Workshop on Mobile Development Lifecycle, October
       21st, 2015, Portland, OR.
   W69 Jules White and Douglas C. Schmidt, ”R&D Challenges and Emering Softwares for Multicore
       Deployment/Configuration Optimization,” proceedings of the ACM Workshop on Future of
       Software Engineering Research (FoSER 2010), Santa Fe, NM, November 7-11, 2010.
   W68 Will Otte, Douglas C. Schmidt, and Aniruddha Gokhale, “Towards an Adaptive Deployment
       and Configuration Framework for Component-based Distributed Systems,” Proceedings of
       the 9th Workshop on Adaptive and Reflective Middleware (ARM 2010) November 27, 2010,
       Bangalore India, collocated with Middleware 2010.
   W67 Jaiganesh Balasubramanian, Alexander Mintz, Andrew Kaplan, Grigory Vilkov, Artem Gleyzer,
       Antony Kaplan, Ron Guida, Pooja Varshneya and Douglas Schmidt, “Adaptive Parallel Com-
       puting for Large-scale Distributed and Parallel Applications,” Proceedings of the Workshop
       on Data Dissemination for Large-scale Complex Critical Infrastructures (DD4LCCI), 27 April
       2010, in conjunction with EDCC 2010, Valencia - Spain, April 28-30, 2010.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 371 of 667
Douglas C. Schmidt                                                                              31


   W66 Joe Hoffert, Douglas Schmidt, and Aniruddha Gokhale, “Adapting and Evaluating Distributed
       Real-time and Embedded Systems in Dynamic Environments,” Proceedings of the Workshop
       on Data Dissemination for Large-scale Complex Critical Infrastructures (DD4LCCI), 27 April
       2010, in conjunction with EDCC 2010, Valencia - Spain, April 28-30, 2010.
   W65 Joe Hoffert, Dan Mack, and Douglas C. Schmidt, “Using Machine Learning to Maintain
       Pub/Sub System QoS in Dynamic Environments, Proceedings of the 8th Workshop on Adap-
       tive and Reflective Middleware (ARM’09) December 1st 2009, Urbana Champaign, Illinois,
       USA collocated with Middleware 2009.
   W64 Chris Thompson, Jules White, Brian Dougherty, and Douglas C. Schmidt, “Optimizing Mo-
       bile Application Performance with Model-Driven Engineering,” Proceedings of the 7th IFIP
       Workshop on Software Technologies for Future Embedded and Ubiquitous Systems (SEUS
       2009), November 16-18, 2009, Newport Beach, California.
   W63 Jules White and Douglas C. Schmidt, “Filtered Cartesian Flattening: An Approximation
       Technique for Optimally Selecting Features while Adhering to Resource Constraints,” pro-
       ceedings of the Workshop on Analyses of Software Product Lines (ASPL 2008) at the Software
       Product Lines Conference (SPLC), September 8-12, 2008, Limerick, Ireland.
   W62 Joe Hoffert, Douglas C. Schmidt, Mahesh Balakrishnan, and Ken Birman, Supporting Large-
       scale Continuous Stream Datacenters via Pub/Sub Middleware and Adaptive Transport Pro-
       tocols, Proceedings of the 2nd workshop on Large-Scale Distributed Systems and Middleware
       (LADIS 2008), IBM TJ Watson Research Center, Yorktown, New York, September 2008.
   W61 Nishanth Shankaran, John S. Kinnebrew, Xenofon D. Koutsoukos, Chenyang Lu, Douglas
       C. Schmidt, and Gautam Biswas, Towards an Integrated Planning and Adaptive Resource
       Management Architecture for Distributed Real-time Embedded Systems,” Proceedings of the
       Workshop on Adaptive and Reconfigurable Embedded Systems (APRES) at the 14th IEEE
       Real-Time and Embedded Technology and Applications Symposium, St. Louis, MO, United
       States, April 22 - April 24, 2008.
   W60 Serena Fritsch, Aline Senart, Douglas C. Schmidt, and Siobhan Clarke, “Scheduling Time-
       bounded Dynamic Software Adaptation,” Proceedings of the workshop on Software Engineer-
       ing for Adaptive and Self-Managing Systems at the 30th IEEE/ACM International Conference
       on Software Engineering May 12-13, 2008, Leipzig, Germany.
   W59 James Hill, Jules White, Sean Eade, and Douglas C. Schmidt, “Towards a Solution for Syn-
       chronizing Disparate Models of Ultra-Large-Scale Systems,” Proceedings of the Second Inter-
       national Workshop on Ultra-Large-Scale Software- Intensive Systems at the 30th IEEE/ACM
       International Conference on Software Engineering May 10-11, 2008, Leipzig, Germany.
   W58 Douglas C. Schmidt and Hans van’t Hag, “Addressing the Challenges of Tactical Information
       Management in Net-Centric Systems with OpenSplice DDS,” Proceedings of the 16th Inter-
       national ACM Workshop on Parallel and Distributed Real-Time Systems (WPDRTS ’08),
       Miami, Florida, April 2008.
   W57 Shanshan Jiang, Yuan Xue, and Douglas C. Schmidt, “Disruption-Aware Service Composition
       and Recovery in Dynamic Networking Environments,” WoRkshop on Automating Service
       Quality (WRAQS) 2007, Co-Located with ASE 2007 November 6, 2007, Atlanta, Georgia.
   W56 Jules White, Douglas C. Schmidt, Sean Mulligan, “The Generic Eclipse Modeling System,”
       Model-Driven Development Tool Implementer’s Forum, TOOLS ’07, June, 2007, Zurich,
       Switzerland.
   W55 John S. Kinnebrew, Nishanth Shankaran, Gautam Biswas, and Douglas C. Schmidt, A Decision-
       Theoretic Planner with Dynamic Component Reconfiguration for Distributed Real-time and
       Embedded Systems, Proceedings of the Workshop on Artificial Intelligence for Space Appli-
       cations at IJCAI 2007, January 6-12, 2007, Hyderabad, India.
   W54 Andrey Nechypurenko, Jules White, Egon Wuchner, and Douglas C. Schmidt, ”Applying
       Model Intelligence Frameworks for Deployment Problem in Real-time and Embedded Sys-
       tems,” Proceedings of MARTES: Modeling and Analysis of Real-Time and Embedded Sys-
       tems to be held on October 2, 2006 in Genova, Italy in conjunction with the 9th International
       Conference on Model Driven Engineering Languages and Systems, MoDELS/UML 2006.
   W53 Jules White, Andrey Nechypurenko, Egon Wuchner, and Douglas C. Schmidt, “Intelligence
       Frameworks for Assisting Modelers in Combinatorically Challenging Domains,” Proceedings of
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 372 of 667
Douglas C. Schmidt                                                                               32


         the Workshop on Generative Programming and Component Engineering for QoS Provisioning
         in Distributed Systems, October 23, 2006, Portland, Oregon.
   W52   Nishanth Shankaran, Xenofon Koutsoukos, Douglas C. Schmidt, and Aniruddha Gokhale,
         “Evaluating Adaptive Resource Management for Distributed Real-Time Embedded Systems,”
         Proceedings of the 4th Workshop on Adaptive and Reflective Middleware, November 28, 2005
         Grenoble, France.
   W51   Jules White and Douglas Schmidt, “Simplifying the Development of Product-line Customiza-
         tion Tools via Model Driven Development,” MODELS 2005 workshop on MDD for Software
         Product-lines: Fact or Fiction?, October 2, 2005, Jamaica.
   W50   Arvind S. Krishna, Aniruddha Gokhale, Douglas C. Schmidt, Venkatesh Prasad Ranganath,
         and John Hatcliff, “Model-driven Middleware Specialization Techniques for Software Product-
         line Architectures in Distributed Real-time and Embedded Systems,” MODELS 2005 work-
         shop on MDD for Software Product-lines: Fact or Fiction?, October 2, 2005, Jamaica.
   W49   Gen Deng, Gunther Lenz, and Douglas C. Schmidt, “Addressing Domain Evolution Challenges
         in Model-Driven Software Product-line Architectures,” MODELS 2005 workshop on MDD for
         Software Product-lines: Fact or Fiction?, October 2, 2005, Jamaica.
   W48   Andrey Nechypurenko and Douglas C. Schmidt, “Supporting Model Reusability with Pattern-
         based Composition Units,” Proceedings of the IST 2nd European Workshop on Model Driven
         Architecture (MDA), with an emphasis on Methodologies and Transformations September
         7th-8th 2004, Canterbury, England.
   W47   Cemal Yilmaz, Arvind S. Krishna, Atif Memon, Adam Porter, Douglas C. Schmidt, Anirud-
         dha Gokhale, and Balachandran Natarajan, “A Model-based Distributed Continuous Quality
         Assurance Process to Enhance the Quality of Service of Evolving Performance-intensive Soft-
         ware Systems,” Proceedings of the 2nd ICSE Workshop on Remote Analysis and Measurement
         of Software Systems (RAMSS), Edinburgh, Scotland, UK, May 24, 2004.
   W46   Andrey Nechypurenko, Douglas C. Schmidt, Tao Lu, Gan Deng, Aniruddha Gokhale, “Ap-
         plying MDA and Component Middleware to Large-scale Distributed Systems: a Case Study,
         Proceedings of the OMG 1st European Workshop on Model Driven Architecture with Em-
         phasis on Industrial Application, Enschede, the Netherlands, March 2004.
   W45   Gan Deng, Tao Lu, Emre Turkay, Aniruddha Gokhale, Douglas C. Schmidt, and Andrey
         Nechypurenko, “Model Driven Development of Inventory Tracking System,” Proceedings of
         the OOPSLA 2003 Workshop on Domain-Specific Modeling Languages, Anaheim, CA, Octo-
         ber 2003.
   W44   Tao Lu, Emre Turkay, Aniruddha Gokhale, and Douglas C. Schmidt, “CoSMIC: An MDA
         Tool suite for Application Deployment and Configuration,” Proceedings of the OOPSLA 2003
         Workshop on Generative Techniques in the Context of Model Driven Architecture, Anaheim,
         CA, October 2003.
   W43   Arvind S. Krishna, Jai Balasubramanian, Aniruddha Gokhale, Douglas C. Schmidt, Diego
         Sevilla, and Gautham Thaker, “Empirically Evaluating CORBA Component Model Imple-
         mentations,” Proceedings of the ACM OOPSLA 2003 Workshop on Middleware Benchmark-
         ing, Anaheim, CA, October 2003.
   W42   Aniruddha Gokhale, Douglas C. Schmidt, Tao Lu, Balachandran Natarjan, and Nanbor
         Wang, CoSMIC: An MDA Generative Tool for Distributed Real-time and Embedded Ap-
         plications, Workshop on Model-driven Approaches to Middleware Applications Development
         at 4th IFIP/ACM/USENIX International Conference on Middleware for Distributed Systems
         Platforms, June 16, 2003, Rio de Janeiro, Brazil.
   W41   Ossama Othman, Jaigaesh Balasubramanian, and Douglas C. Schmidt, “The Design and
         Performance of an Adaptive Middleware Load Balancing and Monitoring Service,” Third
         International Workshop on Self-Adaptive Software, Arlington, VA, USA, June 9-11, 2003.
   W40   Radu Cornea, Shivajit Mohapatra, Nikil Dutt, Rajesh Gupta, Ingolf Krueger, Alex Nico-
         lau, Doug Schmidt, Sandeep Shukla, and Nalini Venkatasubramanian, “A Model-Based Ap-
         proach to System Specification for Distributed Real-time and Embedded Systems,” IEEE
         RTAS Workshop on Model-Driven Embedded Systems, Washington DC, May 27-30, 2003.
   W39   Adam Porter, Cemal Yilmaz, and Douglas C. Schmidt “Distributed Continuous Quality Assur-
         ance: The Skoll Project,” Proceedings of the Workshop on Remote Analysis and Measurement
         of Software Systems (RAMSS), Portland, Oregon, May 9, 2003.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 373 of 667
Douglas C. Schmidt                                                                              33


   W38 Krishnakumar Balasubramanian, Douglas C. Schmidt, Nanbor Wang, Christopher D. Gill,
       “Towards Composable Distributed Real-time and Embedded Software,” Proceedings of the
       8th IEEE Workshop on Object-oriented Real-time Dependable Systems, Guadalajara, Mexico,
       January 2003.
   W37 Aniruddha Gokhale, Balachandran Natarjan, Douglas C. Schmidt, Andrey Nechypurenko,
       Nanbor Wang, Jeff Gray, Sandeep Neema, Ted Bapty, and Jeff Parsons, “CoSMIC: An MDA
       Generative Tool for Distributed Real-time and Embedded Component Middleware and Ap-
       plications,” Proceedings of the OOPSLA 2002 Workshop on Generative Techniques in the
       Context of Model Driven Architecture, Seattle, WA, November 2002.
   W36 M. Mousavi, G. Russello, M. Chaudron, M. Reniers, T. Basten, A. Corsaro, S. Shukla, R.
       Gupta, and D.C. Schmidt, “Using Aspect-GAMMA in Design and Verification of Embedded
       Systems,” Proceedings of the Seventh Annual IEEE International Workshop on High Level
       Design Validation and Test Workshop, Cannes, France, October 27-29, 2002.
   W35 Douglas C. Schmidt, Andy Gokhale, and Chris Gill, “Applying Model-Integrated Computing
       and DRE Middleware to High Performance Embedded Computing Applications,” Proceedings
       of the 6th Annual Workshop on High-Performance Embedded Computing (HPEC), September
       24-26, Boston, MA.
   W34 Douglas C. Schmidt, “Adaptive and Reflective Middleware for Distributed Real-time and
       Embedded Systems,” EMSOFT 2002: Second Workshop on Embedded Software, Grenoble,
       France, October, 7-9th, 2002.
   W33 Aniruddha S. Gokhale and Douglas C. Schmidt and Joseph K. Cross and Christopher Andrews
       and Sylvester J. Fernandez and Bala Natarajan and Nanbor Wang and Chris D. Gill, “Towards
       Real-time Support in Fault-tolerant CORBA,” IEEE Workshop on Dependable Middleware-
       Based Systems, Washington, D.C., June 23-26, 2002.
   W32 Chris Gill, Joe Loyall, Rick Schantz, and Douglas C. Schmidt, “Lessons Learned From Using
       Adaptive DOC Middleware in Real Application Contexts,” IEEE Workshop on Dependable
       Middleware-Based Systems, Washington, D.C., June 23-26, 2002.
   W31 M. Mousavi, G. Russello, M. Chaudron, M. Reniers, T. Basten, A. Corsaro, S. Shukla, R.
       Gupta, and D.C. Schmidt, “Aspects + GAMMA = AspectGAMMA A Formal Framework for
       Aspect-Oriented Specification,” Proceedings of Early Aspects: Aspect-Oriented Requirements
       Engineering and Architecture Design Workshop, Enschede, The Netherlands, April 2002.
   W30 Joseph K. Cross and Douglas C. Schmidt, “Meta-Programming Techniques for Distributed
       Real-time and Embedded Systems,” Proceedings of the 7th IEEE Workshop on Object-
       oriented Real-time Dependable Systems, San Diego, CA, January, 2002.
   W29 Douglas C. Schmidt and Mayur Deshpande and Carlos O’Ryan, “Operating System Per-
       formance in Support of Real-time Middleware,” Proceedings of the 7th IEEE Workshop on
       Object-oriented Real-time Dependable Systems, San Diego, CA, January, 2002.
   W28 Christopher D. Gill, Ron Cytron, and Douglas C. Schmidt, “Middleware Scheduling Optimiza-
       tion Techniques for Distributed Real-Time and Embedded Systems,” Proceedings of the 7th
       IEEE Workshop on Object-oriented Real-time Dependable Systems, San Diego, CA, January,
       2002.
   W27 Douglas C. Schmidt, “Adaptive and Reflective Middleware for Distributed Real-time and
       Embedded Systems,” EMSOFT 2001: First Workshop on Embedded Software, Lake Tahoe,
       California, October, 8th-10th, 2001.
   W26 Darrell Brunsch, Carlos O’Ryan, and Douglas C. Schmidt, “Designing an Efficient and Scalable
       Server-side Asynchrony Model for CORBA,” Proceedings of the ACM SIGPLAN Workshop
       on Optimization of Middleware and Distributed Systems (OM 2001), Snowbird, Utah, June
       18, 2001.
   W25 Irfan Pyarali, Marina Spivak, Douglas C. Schmidt, and Ron Cytron, “Optimizing Thread-
       Pool Strategies for Real-Time CORBA,” Proceedings of the ACM SIGPLAN Workshop on
       Optimization of Middleware and Distributed Systems (OM 2001), Snowbird, Utah, June 18,
       2001.
   W24 Yamuna Krishnamurthy, Vishal Kachroo, David A. Karr, Craig Rodrigues, Joseph P. Loyall,
       Richard Schantz, and Douglas C. Schmidt, “Integration of QoS-enabled Distributed Object
       Computing Middleware for Developing Next-generation Distributed Applications,” Proceed-
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 374 of 667
Douglas C. Schmidt                                                                               34


         ings of the ACM SIGPLAN Workshop on Optimization of Middleware and Distributed Sys-
         tems (OM 2001), Snowbird, Utah, June 18, 2001.
   W23   Ossama Othman and Douglas C. Schmidt, Optimizing Distributed system Performance via
         Adaptive Middleware Load Balancing, Proceedings of the ACM SIGPLAN Workshop on Op-
         timization of Middleware and Distributed Systems (OM 2001), Snowbird, Utah, June 18,
         2001.
   W22   Pradeep Gore, Douglas C. Schmidt, Carlos O’Ryan, and Ron Cytron, “Designing and Optimiz-
         ing a Scalable CORBA Notification Service,” Proceedings of the ACM SIGPLAN Workshop
         on Optimization of Middleware and Distributed Systems (OM 2001), Snowbird, Utah, June
         18, 2001.
   W21   Douglas C. Schmidt and Adam Porter, “Leveraging Open-Source Processes to Improve the
         Quality and Performance of Open-Source Software,” Proceedings of the 1st Workshop on
         Open Source Software Engineering, ICSE 23, Toronto, Canada, May 15, 2001.
   W20   Christopher D. Gill, David Levine, Douglas C. Schmidt, “Towards Real-Time Adaptive QoS
         Management in Middleware for Embedded Computing Systems,” Fourth Annual Workshop on
         High Performance Embedded Computing, MIT Lincoln Laboratory, September 20-22, 2000.
   W19   Christopher D. Gill, Fred Kuhns, David Levine, Douglas C. Schmidt, Bryan S. Doerr, and
         Richard E. Schantz, “Applying Adaptive Real-time Middleware to Address Grand Chal-
         lenges of COTS-based Mission-Critical Real-Time Systems,” Proceedings of the 1st Interna-
         tional Workshop on Real-Time Mission-Critical Systems: Grand Challenge Problems, IEEE,
         Phoenix, Arizona, November 30, 1999.
   W18   Carlos O’Ryan, Douglas C. Schmidt, David Levine, and Russell Noseworthy, “Applying a
         Real-time CORBA Event Service to Large-scale Distributed Interactive Simulation,” 5th In-
         ternational Workshop on Object-oriented Real-Time Dependable Systems, IEEE, Monterey,
         CA, November 15-18, 1999.
   W17   Fred Kuhns, Carlos O’Ryan, Douglas C. Schmidt, and Jeff Parsons, “The Design and Per-
         formance of a Pluggable Protocols Framework for Object Request Broker Middleware,” Pro-
         ceedings of the IFIP Sixth International Workshop on Protocols For High-Speed Networks
         (PfHSN ’99), Salem, MA, August 25-27, 1999.
   W16   David Levine, Sergio Flores-Gaitan, and Douglas C. Schmidt, “Measuring OS Support for
         Real-time CORBA ORBs,” Proceedings of the Fourth International IEEE Workshop on
         Object-oriented Real-time Dependable Systems (WORDS’99), Santa Barbara, California, Jan-
         uary 27-29, 1999.
   W15   Douglas C. Schmidt, Rajeev Bector, David Levine Sumedh Mungee, and Guru Parulkar,
         “TAO: a Middleware Framework for Real-time ORB Endsystems,” Proceedings of the Work-
         shop on Middleware for Real-Time Systems and Services, held in conjunction with IEEE
         Real-time Systems Symposium, San Francisco, CA, December 2nd, 1997.
   W14   Aniruddha Gokhale, Tim Harrison, Douglas C. Schmidt, and Guru Parulkar, “Operating
         System Support for Real-time CORBA,” Proceedings of the 5th International Workshop on
         Object-Orientation in Operating Systems: IWOOOS 1996 workshop, October 27-28, 1996,
         Seattle, Washington.
   W13   Douglas C. Schmidt, Guru Parulkar, and Chuck Cranor, “Gigabit CORBA - High-Performance
         Distributed Object Computing,” Gigabit Networking Workshop (GBN’96), 24 March 1996,
         San Francisco, in conjunction with INFOCOM ’96.
   W12   Douglas C. Schmidt, “Acceptor and Connector: Design Patterns for Actively and Passively
         Initializing Network Services.” Workshop on Pattern Languages of Object-Oriented Programs
         at ECOOP ’95, August 7–1, 1995, Aarhus, Denmark.
   W11   Douglas C. Schmidt, “High-Performance Event Filtering for Dynamic Multi-point Applica-
         tions,” Proceedings of the 1st Workshop on High Performance Protocol Architectures (HIP-
         PARCH), INRIA, Sophia Antipolis, France, December, 1994, p 1-8.
   W10   Douglas C. Schmidt, “Flexible Configuration of High-Performance Object-Oriented Distributed
         Communication Systems,” 9th OOPSLA Conference, invited paper to the Workshop on Flex-
         ibility in Systems Software, ACM, Portland, Oregon, October, 1994, pp. 1-4.
    W9   Douglas C. Schmidt and Tatsuya Suda, “Measuring the Impact of Alternative Parallel Process
         Architectures on Communication Subsystem Performance,” Proceedings of the Proceedings
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 375 of 667
Douglas C. Schmidt                                                                               35


         of the 4th International Workshop on Protocols for High-Speed Networks, IFIP, Vancouver,
         British Columbia, August, 1994, pp. 103-118.
    W8   Douglas C. Schmidt and Tatsuya Suda, “The Service Configurator Framework: An Extensi-
         ble Architecture for Dynamically Configuring Concurrent, Multi-service Network Daemons,”
         Proceedings of the 2nd International Workshop on Configurable Distributed Systems, IEEE,
         Pittsburgh, PA, March 21-23, 1994, pp. 190-201.
    W7   Douglas C. Schmidt, Burkhard Stiller, Tatsuya Suda, and Martina Zitterbart, “Tools for Gen-
         erating Application-Tailored Multimedia Protocols on Heterogeneous Multi-Processor Plat-
         forms,” Proceedings of the 2nd Workshop on High-Performance Communications Subsystems,
         IEEE, Williamsburg, Virginia, September 1-3, 1993, pp. 1-7.
    W6   Douglas C. Schmidt and Tatsuya Suda, “A Framework for Developing and Experimenting with
         Parallel Process Architectures to Support High-Performance Transport Systems,” Proceedings
         of the 2nd Workshop on High-Performance Communications Subsystems, IEEE, Williamsburg,
         Virginia, September 1-3, 1993, pp. 1-8.
    W5   Tatsuya Suda, Douglas C. Schmidt, Donald F. Box, Duke Hong and Hung Huang, “High
         Speed Networks,” Proceedings of the International Computer World Symposium ’92, Kobe,
         Japan, November, 1992.
    W4   Hung K. Huang, Douglas C. Schmidt, Donald F. Box, Kazu Shimono, Girish Kotmire, Unmesh
         Rathi, and Tatsuya Suda, “ADAPTIVE: A Prototyping Environment for Transport Systems.”
         Proceedings of the 4th International Workshop on Computer Aided Modeling, Analysis, and
         Design of Communication Links and Networks (CAMAD), IEEE, Montreal, Canada, Septem-
         ber, 1992.
    W3   Donald F. Box, Douglas C. Schmidt, and Tatsuya Suda, “Alternative Approaches to ATM/-
         Internet Interoperation,” Proceedings of the 1st Workshop on the Architecture and Implemen-
         tation of High-Performance Communication Subsystems, IEEE, Tucson, Arizona, February
         17-19, 1992, pp. 1-5.
    W2   Douglas C. Schmidt and Richard Selby “Modeling Software Interconnectivity,” Proceedings of
         the 22nd Symposium on the Interface: Computer Science and Statistics, East Lansing, MI,
         May, 1990.
    W1   Richard W. Selby, Greg James, Kent Madsen, Joan Mahoney, Adam A. Porter, and Douglas
         C. Schmidt “Classification Tree Analysis Using the Amadeus Measurement and Empirical
         Analysis System,” Proceedings of the 14th Annual Software Engineering Workshop at NASA
         Software Engineering Laboratory, College Park, Maryland, November, 1989, pp. 239-250.
  • Trade Magazine and Newsletter Publications
    M74 Douglas C. Schmidt and Jules White, “Why Don’t Big Companies Keep Their Computer
        Systems Up-to-date?,” The Conversation, September 26, 2017.
    M73 Douglas C. Schmidt, Accelerating the Industrial Internet with the OMG Data Distribution
        Service, Real-time Innovations, January 2014.
    M72 Douglas C. Schmidt and Ron Guida, “Elastic Application Platforms for Cloud Computing,”
        HPC In the Cloud, September 2010.
    M71 Douglas C. Schmidt and Ron Guida, “Achieving Ultra High Performance in the Cloud,” HPC
        In the Cloud, August 2010.
    M70 Douglas C. Schmidt, “Building Ultra High Performance Computing Applications with Zircon
        Software,” Programmer’s Paradise, May 31st, 2010.
    M69 Egon Wuchner, Andrey Nechypurenko, Jules White, and Douglas C. Schmidt, “Das Generic
        Eclipse Modeling System (GEMS): Skalierbare Domanenmodellierung Leicht(er) Gemacht,”
        SIGS ObjectSpektrum, June, 2007.
    M68 Jules White, Douglas C. Schmidt, Andrey Nechypurenko, and Egon Wuchner, Introduction
        to the Generic Eclipse Modeling System, Eclipse Magazine, Volume 06, January, 2007.
    M67 Bala Natarajan, Douglas C. Schmidt, and Steve Vinoski, “Object Interconnections: The
        CORBA Component Model Part 4: Implementing Components with CCM, C/C++ Users
        Journal, October, 2004.
    M66 Bala Natarajan, Douglas C. Schmidt, and Steve Vinoski, “The CORBA Component Model
        Part 3: The CCM Container Architecture and Component Implementation Framework,”
        C/C++ Users Journal, September, 2004.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 376 of 667
Douglas C. Schmidt                                                                            36


    M65 Douglas C. Schmidt, Richard Schantz, Aniruddha Gokhale, and Joe Loyall, “Middleware R&D
        Challenges for Distributed Real-time and Embedded Systems,” SIGBED Review, Volume 1,
        No. 1, April 2004.
    M64 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: The CORBA Component
        Model: Part 2: Defining Components with the IDL 3.x Types,” C/C++ Users Journal, May,
        2004.
    M63 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: The CORBA Component
        Model: Part 1: Evolving Towards Components,” C/C++ Users Journal, February, 2004.
    M62 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: XML Reflection for CORBA,”
        C/C++ Users Journal, December, 2003.
    M61 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: CORBA Metaprogram-
        ming Mechanisms, Part 1: Portable Interceptors Concepts and Components,” C/C++ Users
        Journal, March, 2003.
    M60 Douglas C. Schmidt and Steve Vinoski, Object Interconnections: “Dynamic CORBA, Part 4:
        The Interface Repository,” C/C++ Users Journal, January, 2003.
    M59 Douglas C. Schmidt, “Voice of the Customer: An Interview,” Raytheon Technology Today,
        spring 2003, Volume 2, Issue 1.
    M58 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: Dynamic CORBA, Part 3:
        The Dynamic Skeleton Interface,” C/C++ Users Journal, November, 2002.
    M57 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: Dynamic CORBA, Part 2:
        Dynamic Any,” C/C++ Users Journal, September, 2002.
    M56 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: Dynamic CORBA, Part 1:
        The Dynamic Invocation Interface,” C/C++ Users Journal, July, 2002.
    M55 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: Real-time CORBA, Part
        4: Protocol Selection and Explicit Binding,” C/C++ Users Journal, May, 2002.
    M54 Douglas C. Schmidt and Steve Huston, “Why Standards Alone Won’t Get You Portable
        Software And How to Make Open Source Development Work for You,” InformIT: Focus on
        C++, Addison-Wesley.
    M53 Douglas C. Schmidt and Steve Vinoski, “Real-time CORBA Part 3: Thread Pools and Syn-
        chronizers,” C/C++ Users Journal, March, 2002.
    M52 Douglas C. Schmidt and Steve Vinoski, “Real-time CORBA, Part 2: Applications and Prior-
        ities,” C/C++ Users Journal, January, 2002.
    M51 Douglas C. Schmidt and Steve Vinoski, “Real-time CORBA, Part 1: Motivation and Overview,”
        C/C++ Users Journal, October, 2001.
    M50 Douglas C. Schmidt and Steve Vinoski, “CORBA and XML, Part 3: SOAP and Web Services,”
        C/C++ Users Journal, September, 2001.
    M48 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: CORBA and XML, Part
        2: XML as CORBA Data,” C/C++ Users Journal, July, 2001.
    M47 Douglas C. Schmidt and Steve Vinoski, “Object Interconnections: CORBA and XML, Part
        1: Versioning,” C/C++ Users Journal, May, 2001.
    M46 Douglas C. Schmidt and Steve Vinoski, “Standard C++ and the OMG C++ Mapping: Server-
        side Mappings and Pseudo-Objects,” C/C++ Users Journal, April, 2001.
    M45 Douglas C. Schmidt and Steve Vinoski, “Standard C++ and the OMG C++ Mapping,”
        C/C++ Users Journal, January, 2001.
    M44 Douglas C. Schmidt and Steve Vinoski, “The History of the OMG C++ Mapping”, C/C++
        Users Journal, November, 2000.
    M43 Douglas C. Schmidt and Steve Vinoski, “An Overview of the OMG CORBA Messaging Quality
        of Service (QoS) Framework,” C++ Report, SIGS, Vol. 12, No 3, March, 2000.
    M42 Douglas C. Schmidt, “Monitor Object – an Object Behavior Pattern for Concurrent Program-
        ming,” C++ Report, SIGS, Vol. 12., No. 4. May 2000.
    M41 Alexander B. Arulanthu, Carlos O’Ryan, Douglas C. Schmidt, and Michael Kircher, “Applying
        Patterns and Components to Develop an IDL Compiler for CORBA AMI Callbacks,” C++
        Report, SIGS, Vol. 12, No. 3, March, 2000.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 377 of 667
Douglas C. Schmidt                                                                           37


    M40 David Levine, Chris Gill, and Douglas C. Schmidt, “Object Lifetime Manager – A Comple-
        mentary Pattern for Controlling Object Creation and Destruction,” C++ Report, SIGS, Vol.
        11, No. 11, November/December, 1999.
    M39 Douglas C. Schmidt, Steve Vinoski, and Nanbor Wang, “Collocation Optimizations for CORBA,”
        C++ Report, SIGS, Vol. 11, No. 10, October, 1999.
    M38 Douglas C. Schmidt, “Strategized Locking, Thread-safe Decorator, and Scoped Locking: Pat-
        terns and Idioms for Simplifying Multi-threaded C++ Components,”C++ Report, SIGS, Vol.
        11, No. 9, September, 1999.
    M37 Douglas C. Schmidt and Steve Vinoski, “Time-Independent Invocation and Interoperable
        Routing,” C++ Report, SIGS, Vol. 11, No 5, May, 1999.
    M36 Michael Kircher and Douglas C. Schmidt, “Dove: A Distributed Object Visualization Envi-
        ronment,” C++ Report, SIGS, Vol. 11, No 3, March, 1999.
    M35 Douglas C. Schmidt, “Wrapper Facade: A Structural Pattern for Encapsulating Functions
        within Classes,” C++ Report, SIGS, Vol. 11, No 2, February, 1999.
    M34 Douglas C. Schmidt and Steve Vinoski, “Programming Asynchronous Method Invocation with
        CORBA Messaging,” C++ Report, SIGS, Vol. 11, No 2, February, 1999.
    M33 Douglas C. Schmidt “Why Software Reuse has Failed and How to Make It Work for You,”
        C++ Report, SIGS, Vol. 11, No. 1, January, 1999.
    M32 Douglas C. Schmidt, “An Architectural Overview of the ACE Framework: A Case-study of
        Successful Cross-platform Systems Software Reuse,” USENIX login magazine, Tools special
        issue, November, 1998.
    M31 Douglas C. Schmidt, “GPERF: A Perfect Hash Function Generator,” C++ Report, SIGS,
        Vol. 10, No. 10, November/December, 1998.
    M30 Douglas C. Schmidt and Steve Vinoski, “Introduction to CORBA Messaging,” SIGS, Vol. 10,
        No 10, November/December, 1998.
    M29 Douglas C. Schmidt and Steve Vinoski, “C++ Servant Managers for the Portable Object
        Adapter,” SIGS, Vol. 10, No 8, September, 1998.
    M28 Chris Cleeland and Douglas C. Schmidt, “External Polymorphism, An Object Structural
        Pattern for Transparently Extending C++ Concrete Data Types,” C++ Report, SIGS, Vol.
        10, No. 6, July/August, 1998.
    M27 Douglas C. Schmidt and Irfan Pyarali, “Strategies for Implementing POSIX Condition Vari-
        ables on Win32,” C++ Report, SIGS, Vol. 10, No. 5, June, 1998.
    M26 Douglas C. Schmidt and Steve Vinoski, “Using the Portable Object Adapter for Transient
        and Persistent CORBA Objects,” C++ Report, SIGS, Vol. 10, No 4. May, 1998.
    M25 Douglas C. Schmidt, “Applying Design Patterns to Simplify Signal Handling,” C++ Report,
        SIGS, Vol. 10, No. 4, May, 1998.
    M24 Douglas C. Schmidt, Tim H. Harrison, and Nat Pryce, “Thread-specific Storage: an Object
        Behavioral Pattern for Efficiently Accessing per-Thread State,” C++ Report, SIGS, Vol. 9,
        No. 10, November/December, 1997
    M23 Douglas C. Schmidt and Steve Vinoski, “Object Adapters: Concepts and Terminology,” C++
        Report, SIGS, Vol. 9, No 11. November/December, 1997.
    M22 Prashant Jain and Douglas C. Schmidt, “Dynamically Configuring Communication Services
        with the Service Configurator Pattern,” C++ Report, SIGS, Vol. 9, No. 6, June, 1997.
    M21 Douglas C. Schmidt and Steve Vinoski, “Overcoming Drawbacks in the OMG Events Service,”
        C++ Report, SIGS, Vol. 9, No 6. June, 1997.
    M20 Douglas C. Schmidt and Steve Vinoski, “OMG Event Object Service,” C++ Report, SIGS,
        Vol. 9, No 2. February, 1997.
    M19 Prashant Jain and Douglas C. Schmidt, “Experiences Converting a C++ Communication
        Framework to Java,” C++ Report, SIGS, Vol. 9, No. 1, January, 1997.
    M18 Douglas C. Schmidt, “Lessons Learned Building Reusable OO Telecommunication Software,”
        Multiuse Express, Lucent Technologies, Vol. 4, No. 6, December, 1996.
    M17 Douglas C. Schmidt and Steve Vinoski, “Distributed Callbacks and Decoupled Communication
        in CORBA,” C++ Report, SIGS, Vol. 8, No 9. October, 1996.
    M16 Timothy H. Harrison and Douglas C. Schmidt, “Evaluating the Performance of OO Network
        Programming Toolkits,” C++ Report, SIGS, Vol. 8, No 7. July/August 1996.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 378 of 667
Douglas C. Schmidt                                                                              38


    M15 Douglas C. Schmidt and Steve Vinoski, “Comparing Alternative Programming Techniques for
        Multi-threaded Servers – the Thread-per-Session Concurrency Model,” C++ Report, SIGS,
        Vol. 8, No 7. July/August 1996.
    M14 Douglas C. Schmidt and Steve Vinoski, “Comparing Alternative Programming Techniques for
        Multi-threaded Servers – the Thread-Pool Concurrency Model,” C++ Report, SIGS, Vol. 8,
        No 4. April 1996.
    M13 Douglas C. Schmidt and Steve Vinoski, “Comparing Alternative Programming Techniques for
        Multi-threaded Servers – the Thread-per-Request Concurrency Model,” C++ Report, SIGS,
        Vol. 8, No 2. February 1996.
    M12 Douglas C. Schmidt, “A Design Pattern for Actively Initializing Network Services,” C++
        Report, SIGS, Vol. 8, No. 1, January 1996.
    M11 Douglas C. Schmidt, “Design Patterns for Initializing Network Services: Introducing the Ac-
        ceptor and Connector Patterns,” C++ Report, SIGS, Vol. 7, No. 9, November/December
        1995.
    M10 Douglas C. Schmidt and Steve Vinoski, “Comparing Alternative Server-side Distributed Pro-
        gramming Techniques,” Object Interconnections Column, C++ Report, SIGS, Vol. 7, No. 8,
        October 1995.
     M9 Douglas C. Schmidt and Steve Vinoski, “Comparing Alternative Client-side Distributed Pro-
        gramming Techniques,” Object Interconnections Column, C++ Report, SIGS, Vol. 7, No. 4,
        May 1995.
     M8 Douglas C. Schmidt and Paul Stephenson, “Using Design Patterns to Evolve System Software
        from UNIX to Windows NT,” C++ Report, SIGS, Vol. 7, No. 3, March/April 1995, pp.
        27-39.
     M8 Douglas C. Schmidt and Steve Vinoski, “Distributed Object Computing by Example,” Object
        Interconnections Column, C++ Report, SIGS, Vol. 7, No. 2, February 1995.
     M7 Douglas C. Schmidt and Steve Vinoski, “Distributed Object Computing with C++,” Object
        Interconnections Column, C++ Report, SIGS, Vol. 7, No. 1, January 1995.
     M6 Douglas C. Schmidt, “Transparently Parameterizing Synchronization Mechanisms into a Con-
        current Distributed Application,” C++ Report, SIGS, Vol. 6, No. 5, July/August 1994, pp.
        1-10.
     M5 Douglas C. Schmidt, “A Domain Analysis of Network Daemon Design Dimensions,” C++
        Report, SIGS, Vol. 6, No. 3, March/April, 1994, pp. 1-12.
     M4 Douglas C. Schmidt, “The Object-Oriented Design and Implementation of the Reactor: A
        C++ Wrapper for UNIX I/O Multiplexing,” C++ Report, SIGS, Vol. 5, No. 7, September,
        1993, pp. 1-14.
     M3 Douglas C. Schmidt, “The Reactor: An Object-Oriented Interface for Event-Driven UNIX
        I/O Multiplexing,” C++ Report, SIGS, Vol. 5, No. 2, February, 1993, pp. 1-12.
     M2 Douglas C. Schmidt, “IPC SAP: An Object-Oriented Interface to Operating System Inter-
        process Communication Services,” C++ Report, SIGS, Vol. 4, No. 8, November/December,
        1992, pp. 1-10.
     M1 Douglas C. Schmidt, “Systems Programming with C++ Wrappers: Encapsulating Interpro-
        cess Communication Services with Object-Oriented Interfaces,” C++ Report, SIGS, Vol. 4,
        No. 7, September/October, 1992, pp 1-6.
  • Refereed Short Papers, Posters, and Demos
    P14 Maria Powell, Marcelino Rodriguez Cancio, David Young, William Nock, Beshoy Abdelmes-
        sih, Amy Zeller, Irvin Perez Morales, Peng Zhang, C. Gaelyn Garrett, Douglas Schmidt, Jules
        White, and Alexander Gelbard, “Decoding Phonation with Artifical Intelligence: Proof of
        Concept,” Poster Proceedings in the 13th International Conference on Advances in Quantita-
        tive Laryngology, Voice and Speech Research, Montreal, Canada, June 2-4th, 2019.
    P13 Akram Hakiri, Berthou Pascal, Gayraud Thierry, Aniruddha Gokhale, Joe Hoffert, and Dou-
        glas C. Schmidt, “SIP-based QoS Support and Session Management for DDS-based Dis-
        tributed Real-time and Embedded Systems,” Poster Proceedings of the 5th ACM Interna-
        tional Conference on Distributed Event-based Systems (DEBS’11), New York City, NY, USA,
        July 11-15, 2011.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 379 of 667
Douglas C. Schmidt                                                                                39


    P12 Jules White, Andrey Nechypurenko, Egon Wuchner, and Douglas C. Schmidt “Automatic
        Role-based Constraint Solving for Real-Time and Embedded Systems: An Approach to Mod-
        eling Guidance”, poster paper at the 14th Annual IEEE International Conference and Work-
        shop on the Engineering of Computer Based Systems (ECBS), March 26th-29th, 2007, Tucson,
        Arizona.
    P11 John Kinnebrew, Nishanth Shankaran, Gautam Biswas, and Douglas Schmidt, “A Decision-
        Theoretic Planner with Dynamic Component Reconfiguration for Distributed Real-Time Ap-
        plications,” Poster paper at the Twenty-First National Conference on Artificial Intelligence,
        July 16 20, 2006, Boston, Massachusetts.
    P10 Jai Balasubramanian, Nishanth Shankar, Douglas C. Schmidt, Gautam Biswas, Patrick Lardieri,
        Ed Mulholland, and Tom Damiano, “A Framework for (Re)Deploying Components in Dis-
        tributed Realtime and Embedded Systems,” poster paper at the Dependable and Adaptive
        Distributed Systems, Track of the 21st ACM Symposium on Applied Computing, April 23
        -27, 2006, Bourgogne University, Dijon, France.
     P9 Jules White and Douglas C. Schmidt, Reducing Enterprise Product Line Architecture Deploy-
        ment Costs via Model-Driven Deployment and Configuration Testing, Poster paper at the 13th
        Annual IEEE International Conference and Workshop on the Engineering of Computer Based
        Systems (ECBS ’06) March 27th-30th, 2006, University of Potsdam, Potsdam, Germany.
     P8 Arvind S. Krishna, Aniruddha Gokhale, Douglas C. Schmidt, John Hatcliff, and Venkatesh
        Prasad Ranganat, “Towards Highly Optimized Real-time Middleware for Software Product-
        line Architectures,” Proceedings of the Work-In-Progress session at the 26th IEEE Real-Time
        Systems Symposium, December 5-8, 2005, Miami, Florida.
     P7 Gan Deng, Douglas Schmidt, and Aniruddha Gokhale, “Supporting Configuration and Deploy-
        ment of Component-based DRE Systems Using Frameworks, Models, and Aspects,” Poster
        Session of the 20th Annual ACM SIGPLAN Conference on Object-Oriented Programing, Sys-
        tems, Languages and Applications (OOPSLA 2005), San Diego, CA, October 16-20, 2005.
     P6 Jules White, Douglas Schmidt, and Aniruddha Gokhale, “The J3 Process for Building Auto-
        nomic Enterprise Java Bean Systems,” Proceedings of the International Conference on Auto-
        nomic Computing (ICAC 2005), Seattle, WA, June 2005 (short paper).
     P5 Aniruddha Gokhale, Arvind Krishna and Douglas C. Schmidt, “CoSMIC: Addressing Cross-
        cutting Deployment and Configuration Concerns of Distributed Real-time and Embedded
        Systems via Aspect-oriented and Model-driven Software Development,” Demo Session, Fourth
        International Conference on Aspect-oriented Software Development (AOSD), Chicago, IL, Mar
        2005.
     P4 Aniruddha Gokhale, Krishnakumar Balasubramanian, Jaiganesh Balasubramanian, Arvind
        Krishna, George Edwards, Gan Deng, Jeff Parsons, Tao Lu, Balachandran Natarajan and
        Douglas C. Schmidt, “CoSMIC: Addressing Crosscutting Deployment and Configuration Con-
        cerns in QoS-sensitive Distributed Systems,” 19th ACM OOPSLA Conference, Poster Session,
        Vancouver, Canada, Oct 2004.
     P3 Joseph K. Cross and Douglas C. Schmidt, “Meta-Programming Techniques to Declaratively
        Optimize Middleware Policies and Mechanisms,” Poster session at the IFIP/ACM Middle-
        ware 2001 International Conference on Distributed Systems Platforms, Heidelberg, Germany,
        November 12-16, 2001.
     P2 Aniruddha Gokhale and Douglas C. Schmidt, “Design Principles and Optimizations for High
        Performance ORBs,” ACM, OOPSLA 97, Poster Session, Oct 1997, Atlanta, GA, USA.
     P1 Douglas C. Schmidt, “Performance Experiments on Alternative Methods for Structuring Ac-
        tive Objects in High-Performance Parallel Communication Systems,” 9th ACM OOPSLA
        Conference, poster paper, Portland, Oregon, October, 1994, pp. 1-12.
  • Editorials and Book Forewords
   E109 Douglas C. Schmidt and Nicholas Guertin, “Toward Technical Reference Frameworks to Sup-
        port Large-Scale Systems of Systems,” SEI Blog, December 20th, 2021.
   E108 Thomas Evans, Michael Gagliardi, Joseph Kostial, Nicholas Reimer, and Douglas C. Schmidt,
        “Technical Issues in Navigating the Transition from Sustainment to Engineering Software-
        Reliant Systems,” SEI Blog, December 6th, 2021.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 380 of 667
Douglas C. Schmidt                                                                               40


   E107 Douglas C. Schmidt, “The Latest Work from the SEI: Coordinated Vulnerability Disclosure,
        Cybersecurity Research, Cyber Risk and Resilience, and the Importance of Fostering Diversity
        in Software Engineering,” SEI Blog, September 6th, 2021.
   E106 Thomas Evans, Michael Gagliardi, Joseph Kostial, Nicholas Reimer, and Douglas C. Schmidt,
        “Navigating People Concerns when Transitioning from Sustainment to Engineering Software-
        Reliant Systems,” SEI Blog, August 18th, 2021.
   E105 Anita Carleton, John Robert, Mark Klein, Doug Schmidt, Forrest Shull, John Foreman, Ipek
        Ozkaya, Robert Cunningham, Charlie Holland, Erin Harper, and Edward Desautels, “Archi-
        tecting the Future of Software Engineering: A Research and Development Roadmap”, SEI
        Blog, July 12, 2021.
   E104 Douglas C. Schmidt, “The Latest Work from the SEI: Artificial Intelligence, DevSecOps, and
        Security Incident Response,” SEI Blog, July 5th, 2021.
   E103 Tom Evans, Mike Gagliardi, Joe Kostial, Nicholas Reimer, and Douglas C. Schmidt, “Process
        Concerns When Navigating the Transition from Sustainment to Engineering Software-Reliant
        Systems,” SEI Blog, June 14th, 2021.
   E102 Douglas C. Schmidt, “The Latest Work from the SEI: Privacy, Ransomware, Digital Engi-
        neering, and the Solar Winds Hack,” SEI Blog, April 5th, 2021.
   E101 Douglas C. Schmidt, “Top 10 Blog Posts of 2020,” SEI Blog, January 11th, 2021.
   E100 Tom Evans, Mike Gagliardi, Joe Kostial, Nicholas Reimer, and Douglas C. Schmidt, “Shifting
        from Software Sustainment to Software Engineering in the DoD,” SEI Blog, November 30th,
        2020.
    E99 Douglas C. Schmidt, “The Latest Work from the SEI: Microservices, Ransomware, and Agile
        in Government,” SEI Blog, September 7th, 2020.
    E98 Douglas C. Schmidt, “The Latest Work from the SEI: DevSecOps, Artificial Intelligence, and
        Cybersecurity Maturity Model Certification,” SEI Blog, May 25th, 2020.
    E97 Douglas C. Schmidt, “The Latest Work from the SEI: Penetration Testing, Artificial Intelli-
        gence, and Incident Management,” SEI Blog, January 20th, 2020.
    E96 Douglas C. Schmidt, “Top 10 Blog Posts of 2019,” SEI Blog, January 6th, 2020.
    E95 Douglas C. Schmidt, “The Latest Work from the SEI: Microservices, Ransomware, and Agile
        in Government”, SEI Blog, September 7th, 2019.
    E94 Douglas C. Schmidt, “The Latest Work from the SEI: DevSecOps, Artificial Intelligence, and
        Cybersecurity Maturity Model Certification”, SEI Blog, May 25th, 2020.
    E93 Douglas C. Schmidt, “The Latest Work from the SEI: Penetration Testing, Artificial Intelli-
        gence, and Incident Management”, SEI Blog, January 20th, 2019.
    E92 Douglas C. Schmidt, “The Top 10 Blog Posts of 2019, SEI Blog, January 6th, 2020.
    E91 Nick Guertin, Douglas C. Schmidt, and William Scherlis, “Impacts and Recommendations for
        Achieving Modular Open Systems Architectures, SEI Blog, September 23rd, 2019.
    E90 Douglas C. Schmidt, “The Latest Work from the SEI: AI, Deepfakes, Automated Alert Han-
        dling, and Cyber Intelligence,” SEI Blog, September 2nd, 2019.
    E89 Douglas C. Schmidt, “The Latest Research from the SEI in DevSecOps, Threat Modeling,
        and Insider Threat,” SEI Blog, May 28th, 2019.
    E88 Douglas C. Schmidt, “Deep Learning, Agile-DevOps, and Cloud Security: The Top 10 Blog
        Posts of 2018,” SEI Blog, January 7th, 2019.
    E87 Nick Guertin, Douglas C. Schmidt, and William Scherlis, “The Technical Architecture for
        Product Line Acquisition in the DoD,” SEI Blog, May 6th, 2019.
    E86 Nick Guertin, Douglas C. Schmidt, and William Scherlis, “The Organizational Impact of a
        Modular Product Line Architecture in DoD Acquisition,” SEI Blog, April 29th, 2019.
    E85 Nick Guertin, Douglas C. Schmidt, and William Scherlis, “Towards a New Model of Acquisi-
        tion: Product-Line Architectures for the DoD,” SEI Blog, March 11th, 2019.
    E84 Douglas C. Schmidt, “Deep Learning, Agile-DevOps, and Cloud Security: The Top 10 Blog
        Posts of 2018,” SEI Blog, January 7th, 2019.
    E83 Nick Guertin, Douglas C. Schmidt, and William Scherlis, “Emerging Opportunities in Modu-
        larity and Open Systems Architectures,” SEI Blog, October 15th, 2018.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 381 of 667
Douglas C. Schmidt                                                                             41


    E82 Douglas C. Schmidt, “Learning, Cyber Intelligence, Managing Privacy and Security, and Net-
        work Traffic Analysis: The Latest Work from the SEI,” SEI Blog, July 2, 2018.
    E81 Douglas C. Schmidt, “Virtual Integration, Blockchain Programming, and Agile/DevOps: The
        Latest Work from the SEI,” SEI Blog, May 28, 2018.
    E80 Douglas C. Schmidt, “Fighting Chance: Arming the Analyst in the Age of Big Data,” SEI
        Blog, March 26, 2018.
    E79 Douglas C. Schmidt, “Agile/DevOps, Best Practices in Insider Threat, and Dynamic Design
        Analysis: The Latest Work from the SEI,” SEI Blog, February 26, 2018.
    E78 Douglas C. Schmidt, “Bitcoin, Blockchain, Machine Learning, and Ransomware: The Top 10
        Posts of 2017,” SEI Blog, January 8, 2018.
    E77 Douglas C. Schmidt, “Cyber Warfare, Technical Debt, Network Border Protection, and Insider
        Threat: The Latest Work from the SEI,” SEI Blog, November 27, 2017.
    E76 Douglas C. Schmidt, “Coordinated Vulnerability Disclosure, Ransomware, Scaling Agile, and
        Android App Analysis: The Latest Work from the SEI,SEI Blog, ” September 5, 2017.
    E75 Douglas C. Schmidt, “Top 10 SEI Blog Posts of 201I,” SEI Blog, July 10, 2017.
    E74 Douglas C. Schmidt, “Supply Chain Risk Management, Network Situational Awareness, Soft-
        ware Architecture, and Network Time Protocol: The Latest Work from the SEI,” SEI Blog,
        July 3, 2017.
    E73 Douglas C. Schmidt, “Software Assurance, Data Governance, and Malware Analysis: The
        Latest Work from the SEI,” SEI Blog, April 10, 2017.
    E72 Douglas C. Schmidt, “Preventing DDoS Attacks, Scaling Agile, Insider Threat, and Software
        Architecture: The Latest Work from the SEI,” SEI Blog, January 30th, 2017.
    E71 Douglas C. Schmidt, “Autonomy, Robotics, Verification, DDoS Attacks, and Software Testing:
        The Top 10 Posts of 2016,” SEI Blog, December 19th, 2016.
    E70 Douglas C. Schmidt, “Cybersecurity Engineering, Performance, Risk, and Secure Coding: The
        Latest Work from the SEI,” SEI Blog, November 28th, 2016.
    E69 Douglas C. Schmidt, “Resilience, Secure Coding, Data Science, Insider Threat, and Schedul-
        ing: The Latest Research from the SEI,” SEI Blog, October 17th, 2016.
    E68 Douglas C. Schmidt, “Data Science, Blacklists, and Mixed-Critical Software: The Latest
        Research from the SEI,” SEI Blog, September 5th, 2016.
    E67 Douglas C. Schmidt and Carol Sledge, “A Naval Perspective on Open Systems Architecture,”
        SEI Blog, July 11th, 2016.
    E66 Douglas C. Schmidt, “Top 10 SEI Blog Posts of 2016,” SEI Blog, July 4th, 2016.
    E65 Douglas C. Schmidt, “Top 10 SEI Blog Posts of 2016, SEI Blog, July 4th, 2016. Douglas C.
        Schmidt, Situational Analysis, Software Architecture, Insider Threat, Threat Modeling, and
        Honeynets: The Latest Research from the SEI,” SEI Blog, May 30th, 2016.
    E64 Douglas C. Schmidt, “Threat Analysis Mapping, Connected Vehicles, Emerging Technologies,
        and Cyber-Foraging: The Latest Research from the SEI,” SEI Blog, May 2nd, 2016.
    E63 Douglas C. Schmidt, “The Top 10 Blog Posts of 2015: Technical Debt, DevOps, Graph
        Analytics, Secure Coding, and Testing,” January 4th, 2016.
    E62 Carol Sledge and Douglas C. Schmidt, “A Discussion on Open-Systems Architecture,” SEI
        Blog November 23rd, 2015.
    E61 Douglas C. Schmidt, “Agile, Architecture Fault Analysis, the BIS Wassenaar Rule, and Com-
        puter Network Design,” SEI Blog, September 7, 2015.
    E60 Douglas C. Schmidt, “Testing, Agile Metrics, Fuzzy Hashing, Android, and Big Data” SEI
        Blog, July 13, 2015.
    E59 Douglas C. Schmidt, “Resilience, Model-Driven Engineering, Software Quality, and Android
        App Analysis,” SEI Blog, May 18, 2015.
    E58 Douglas C. Schmidt, “Resilience, Metrics, Sustainment, and Software Assurance,” SEI Blog,
        February 23, 2015.
    E57 Douglas C. Schmidt, “Software Assurance, Social Networking Tools, Insider Threat, and Risk
        Analysis,” SEI Blog, January 19th 2015.
    E56 Douglas C. Schmidt, “The 2014 Year in Review,” SEI blog, December 22nd, 2014.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 382 of 667
Douglas C. Schmidt                                                                               42


    E55 Douglas C. Schmidt, Android, Heartbleed, Testing, and DevOps: An SEI Blog Mid-Year
        Review, SEI blog, June 30th, 2014.
    E54 Douglas C. Schmidt, “The Importance of Automated Testing in Open Systems Architecture
        Initiatives,” SEI blog, March 23rd, 2014.
    E53 Douglas C. Schmidt, “How Vanderbilt’s Secret Software Lab Is Saving America,” gizmodo.com,
        January 10th, 2014.
    E52 Douglas C. Schmidt, “The SEI Blog: the Research Year in Review,” SEI blog, December 23rd,
        2013.
    E51 Douglas C. Schmidt “The Architectural Evolution of DoD Combat Systems,” SEI blog,
        November 25th, 2013.
    E50 Douglas C. Schmidt, “Three Qs: Vanderbilt Professor Douglas Schmidt,” GE’s Industrial
        Internet blog, September 10th, 2013.
    E49 Douglas C. Schmidt, “Towards Affordable DoD Combat Systems in the Age of Sequestration,”
        SEI Blog, September 9th, 2013.
    E48 Douglas C. Schmidt, “Ten Tech Terms Everyone Needs to Know for 2014,” Yahoo Tech News,
        August 12, 2013.
    E47 Douglas C. Schmidt and Philippe Fauchet, “Students Must Stay to Better Workforce,” The
        Tennessean, August 6th, 2013.
    E46 Douglas C. Schmidt, “Learning in MOOC Years,” Vanderbilt Magazine, Spring 2013.
    E45 Douglas C. Schmidt, The SEI Blog: A Two-year Retrospective, SEI blog, April 1st, 2013.
    E44 Douglas C. Schmidt, 2012: “The Research Year in Review,” SEI blog, December 24th, 2012.
    E43 Douglas C. Schmidt, “Reflections on 20 Years of Architecture for Distributed Real-time and
        Embedded Systems by Douglas C. Schmidt,” SEI blog, October 29th, 2012.
    E42 Douglas C. Schmidt, “Applying Agility to DoD Common Operating Platform Environment
        Initiatives,” SEI blog, July 30th, 2012.
    E41 Douglas C. Schmidt, “Balancing Agility and Discipline at Scale,” SEI blog, July 23rd, 2012.
    E40 Douglas C. Schmidt, “Strategic Management of Architectural Technical Debt,” SEI blog, July
        16th, 2012.
    E39 Douglas C. Schmidt, “Agile Methods: Tools, Techniques, and Practices for the DoD Commu-
        nity,” SEI blog, July 9th, 2012.
    E38 Douglas C. Schmidt, “Applying Agile at-Scale for Mission-Critical Software-Reliant Systems,”
        SEI blog, July 2nd, 2012.
    E37 Douglas C. Schmidt, “Toward Common Operating Platform Environments, Part 2: Under-
        standing Success Drivers,” SEI blog, May 7th, 2012.
    E36 Douglas C. Schmidt, “Toward Common Operating Platform Environments, Part 1: Doing
        More for Less,” SEI blog, April 30th, 2012.
    E35 Douglas C. Schmidt, “The Road Ahead for SEI R&D in 2012,” SEI blog, December 26th,
        2011.
    E34 Douglas C. Schmidt, “A Summary of Key SEI R&D Accomplishments in 2011,” SEI blog,
        December 19th, 2011.
    E33 Douglas C. Schmidt, “Bridging the Valley of Disappointment for DoD Software Research with
        SPRUCE,” SEI blog, November 7th, 2011.
    E32 Douglas C. Schmidt, “The Growing Importance of Software Sustainment for the DoD, Part
        2: SEI R&D Activities Related to Sustaining Software for the DoD”, SEI blog, August 15th,
        2011.
    E31 Douglas C. Schmidt, “The Growing Importance of Software Sustainment for the DoD, Part
        1: Current Trends and Challenges”, SEI blog, August 1st, 2011.
    E30 Douglas C. Schmidt, “New and Upcoming SEI Research Initiatives,” SEI blog, February 21st,
        2011.
    E29 Douglas C. Schmidt, “Advancing the Scope and Impact of SEI Research,” SEI blog, February
        9th, 2011.
    E28 Douglas C. Schmidt, Foreword to the book Patterns xof Parallel Software Design, by Jorge
        Luis Ortega Arjona, Wiley, 2010.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 383 of 667
Douglas C. Schmidt                                                                               43


    E27 Douglas C. Schmidt, Foreword to the book Practical Software Factories in .NET by Gunther
        Lenz and Christoph Wienands, Apress, 2006.
    E26 Douglas C. Schmidt, Guest editorial of the IEEE Computer Special Issue on Model Driven
        Development, February 2006.
    E25 Douglas C. Schmidt, Guest editorial for IEEE Networks magazine Special Issue on Middleware
        Technologies for Future Communication Networks, January 2004.
    E24 Douglas C. Schmidt, Foreword to the book Fundamentals of Distributed Object Systems: The
        CORBA Perspective, by Zahir Tari and Omran Bukhres, Wiley and Sons, 2001.
    E23 Douglas C. Schmidt, Foreword to the book Design Patterns in Communication Software,
        edited by Linda Rising and published by Cambridge University Press, 2000.
    E22 Douglas C. Schmidt, “Trends in Distributed Object Computing” editorial for the special issue
        on Distributed Object-Oriented Systems appearing in the Parallel and Distributed Computing
        Practices journal, edited by Maria Cobb and Kevine Shaw, Vol. 3, No. 1, March 2000.
    E21 Douglas C. Schmidt, “Object-Oriented Application Frameworks,” guest editorial for the of
        the Communications of the ACM, Special Issue on Object-Oriented Application Frameworks,
        Vol. 40, No. 10, October 1997.
    E20 Douglas C. Schmidt, “Recent Advances in Distributed Object Computing,” guest editorial for
        the IEEE Communications Magazine feature topic issue on Distributed Object Computing,
        Vol. 14, No. 2, February, 1997.
    E19 Douglas C. Schmidt, Guest editorial for the USENIX Computing Systems Special Issue on
        Distributed Object Computing Vol. 9, No. 4, November/December, 1996.
    E18 Douglas C. Schmidt, “Software Patterns,” guest editorial for Communications of the ACM,
        Special Issue on Patterns and Pattern Languages, Vol. 39, No. 10, October 1996.
    E17 Douglas C. Schmidt, “Using Design Patterns to Develop Reuseable Object-Oriented Software,”
        Strategic Directions in Computing Research OO Working Group conference, MIT, June 14-15,
        1996.
    E16 Douglas C. Schmidt, “The Last Waltz,” C++ Report, SIGS, Vol. 11, No. 4, April 1999.
    E15 Douglas C. Schmidt, “Patterns++ - the Next Generation,” C++ Report, SIGS, Vol. 9, No.
        4, April 1997.
    E14 Douglas C. Schmidt, “CORBA: CASE for the late ’90s?” C++ Report, SIGS, Vol. 9, No. 2,
        February 1997.
    E13 Douglas C. Schmidt, “Java: Friend or Foe,” C++ Report, SIGS, Vol. 9, No. 1, January 1997.
    E12 Douglas C. Schmidt, “Promise Keepers,” C++ Report, SIGS, Vol. 8, No. 11, Novem-
        ber/December 1996.
    E11 Douglas C. Schmidt, “The Programming Principle,” C++ Report, SIGS, Vol. 8, No. 10,
        October 1996.
    E10 Douglas C. Schmidt, “Pattern Forces,” C++ Report, SIGS, Vol. 8, No. 9, September 1996.
     E9 Douglas C. Schmidt, “The Secrets of Success for C++,” C++ Report, SIGS, Vol. 8, No. 9,
        August 1996.
     E8 Douglas C. Schmidt, “The C++ Decade,” C++ Report, SIGS, Vol. 8, No. 9, August 1996.
     E7 Douglas C. Schmidt, “Addressing the Challenge of Concurrent and Distributed Systems,”
        C++ Report, SIGS, Vol. 8, No. 7, July 1996.
     E6 Douglas C. Schmidt, “Delivering the Goods,” C++ Report, SIGS, Vol. 8, No. 6, June 1996.
     E5 Douglas C. Schmidt, “Problems with Process,” C++ Report, SIGS, Vol. 8, No. 5, May 1996.
     E4 Douglas C. Schmidt, “The Impact of Social Forces on Software Project Failures,” C++ Report,
        SIGS, Vol. 8, No. 4, April 1996.
     E3 Douglas C. Schmidt, “Reality Check,” C++ Report, SIGS, Vol. 8, No. 3, March 1996.
     E2 Douglas C. Schmidt, “Role Models for Success,” C++ Report, SIGS, Vol. 8, No. 2, February
        1996.
     E1 Douglas C. Schmidt, “A Zest for Programming,” C++ Report, SIGS, Vol. 8, No. 1, January
        1996.
  • Technical Reports
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 384 of 667
Douglas C. Schmidt                                                                               44


   TR18 Douglas C. Schmidt, “Google Data Collection,” Vanderbilt University Technical Report #ISIS-
        20-201, August 15, 2018.
   TR17 Gan Deng, Douglas C. Schmidt, Aniruddha Gokhale, “ Ensuring Deployment Predictability
        of Distributed Real-time and Embedded Systems,” Vanderbilt University Technical Report
        #ISIS-07-814, November 2007.
   TR16 Jaiganesh Balasubramanian, Sumant Tambe, Chenyang Lu, Christopher Gill, Aniruddha Gok-
        hale, and Douglas C. Schmidt, “FLARe: a Fault-tolerant Lightweight Adaptive Real-time
        Middleware for Distributed Real-time and Embedded, Systems,” Vanderbilt University Tech-
        nical Report #ISIS-07-812, October 2007.
   TR15 Shanshan Jiang, Yuan Xue, and Douglas Schmidt, “Minimum Disruption Service Composition
        and Recovery in Mobile Ad hoc Networks,” Vanderbilt University Technical Report #ISIS-
        06-711, December 2006.
   TR14 Andrey Nechypurenko, Egon Wuchner, Jules White, Douglas C. Schmidt, “ Application of
        Aspect-based Modeling and Weaving for Complexity Reduction in the Development of Au-
        tomotive Distributed Real-time Embedded Systems,” Vanderbilt University Technical Report
        #ISIS-06-709, July 2006.
   TR13 James H. Hill, John M. Slaby, Steve Baker, Douglas C. Schmidt, “Predicting the Behavior for
        Components of the SLICE Scenario,” Vanderbilt University Technical Report #ISIS-05-608,
        October 2005.
   TR12 Stoyan Paunov, James Hill, Douglas C. Schmidt, John Slaby,and Steve Baker, “Domain-
        Specific Modeling Languages for Configuring and Evaluating Enterprise DRE System Quality
        of Service, Vanderbilt University Technical Report #ISIS-05-606, August 2005.
   TR11 John M. Slaby, Steve Baker, James Hill, Doug Schmidt, “Applying System Execution Modeling
        Tools to Evaluate Enterprise Distributed Real-time and Embedded System QoS,” Vanderbilt
        University Technical Report #ISIS-05-604, June 2005.
   TR10 Fred Kuhns and Carlos O’Ryan and Douglas C. Schmidt and Jeff Parsons, “The Design and
        Performance of a Pluggable Protocols Framework for Object Request Broker Middleware,”
        Washington University Technical Report #WUCS-99-12, St. Louis, MO, Dept. of Computer
        Science, April 1999.
    TR9 Sumedh Mungee, Nagarajan Surendran, and Douglas C. Schmidt, “The Design and Per-
        formance of a CORBA Audio/Video Streaming Service,” Washington University Technical
        Report #WUCS-98-15.
    TR8 Lutz Prechelt, Barbara Unger, Douglas C. Schmidt, “Replication of the First Controlled
        Experiment on the Usefulness of Design Patterns: Detailed Description and Evaluation.” 77
        pgs., Washington University Technical Report #wucs-97-34, December 1997.
    TR7 Aniruddha Gokhale and Douglas C. Schmidt, “Optimizing the Performance of the CORBA
        Internet Inter-ORB Protocol Over ATM,” Washington University Technical Report #WUCS-
        97-10.
    TR6 James Hu and Sumedh Mungee and Douglas C. Schmidt, “Principles for Developing and Mea-
        suring High-performance Web Servers over ATM,” Washington University Technical Report
        #WUCS-97-10.
    TR5 Chris Cleeland, Douglas C. Schmidt, and Tim H. Harrison, “External Polymorphism – An
        Object Structural Pattern for Transparently Extending Concrete Data Types,” The 3rd annual
        Pattern Languages of Programming conference in Allerton Park, Illinois, September 4-6, 1996,
        Washington University Technical Report #WUCS-97-07.
    TR4 Timothy H. Harrison, Douglas C. Schmidt, and Irfan Pyarali, “Asynchronous Completion
        Token,” The 3rd annual Pattern Languages of Programming conference in Allerton Park,
        Illinois, September 4-6, 1996, Washington University Technical Report #WUCS-97-07.
    TR3 Douglas C. Schmidt and Timothy H. Harrison, “The Double-Checked Locking Pattern,” The
        3rd annual Pattern Languages of Programming conference in Allerton Park, Illinois, September
        4-6, 1996, Washington University Technical Report #WUCS-97-07.
    TR2 Prashant Jain and Douglas C. Schmidt, “The Service Configurator Pattern,” The 3rd annual
        Pattern Languages of Programming conference in Allerton Park, Illinois, September 4-6, 1996,
        Washington University Technical Report #WUCS-97-07.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 385 of 667
Douglas C. Schmidt                                                                              45


    TR1 Douglas C. Schmidt, “Acceptor and Connector: Design Patterns for Initializing Network Ser-
        vices,” The EuroPLoP ’96 conference in Kloster Irsee, Germany, July 10-14, 1996, Washington
        University Technical Report #WUCS-97-07.


Presentations
Conference Presentations

  1. “Mobile Applications Technology Overview,” Digital Technologies in Cancer Research Workshop,
     Vanderbilt University, Nashville, TN, May 15th 2019.
  2. “Website Applications Technology Overview,” Digital Technologies in Cancer Research Workshop,
     Vanderbilt University, Nashville, TN, May 15th 2019.
  3. “Producing and Delivering a Coursera MOOC on Pattern-Oriented Software Architecture for Con-
     current and Networked Software,” WaveFront forum at the SPLASH 2013 conference, Indianapolis,
     IN, October 29th, 2013.
  4. “Addressing the Challenges of Tactical Information Management in Net-Centric Systems with the
     OMG Data Distribution Service (DDS),” the 16th International ACM Workshop on Parallel and
     Distributed Real-Time Systems (WPDRTS ’08), Miami, Florida, April 14, 2008.
  5. “The Design and Performance of Configurable Component Middleware for End-to-End Adaptation
     of Distributed Real-time Embedded Systems,” proceedings of the 10th IEEE International Sym-
     posium on Object/Component/Service-oriented Real-time Distributed Computing (ISORC), May
     7-9, 2007, Santorini Island, Greece.
  6. “A Decision-Theoretic Planner for DRE Systems,” 7th OMG Real-time/Embedded CORBA work-
     shop, Arlington, VA, July 10–13, 2006.
  7. “Model-driven QoS Provisioning for Real-time CORBA and CCM DRE Systems,” 6th OMG Real-
     time/Embedded CORBA workshop, Arlington, VA, July 11–14, 2005.
  8. “Research Advances in Middleware for Distributed Systems: State of the Art,” Computer Com-
     munications stream of the 17th IFIP World Computer Congress, Montreal, Canada, August 25-30,
     2002.
  9. “Towards Highly Configurable Real-time Object Request Brokers,” the IEEE International Sym-
     posium on Object-Oriented Real-time Distributed Computing (ISORC), Washington DC, April 29
     – May 1, 2002.
 10. “Operating System Performance in Support of Real-time Middleware,” Proceedings of the 7th IEEE
     Workshop on Object-oriented Real-time Dependable Systems, San Diego, CA, January, 2002.
 11. “Designing an Efficient and Scalable Server-side Asynchrony Model for CORBA,” Proceedings
     of the ACM SIGPLAN Workshop on Optimization of Middleware and Distributed Systems (OM
     2001), Snowbird, Utah, June 18, 2001.
 12. “DOORS: Towards High-performance Fault-Tolerant CORBA,” Proceedings of the 2nd Interna-
     tional Symposium on Distributed Objects and Applications (DOA ’00), OMG, Antwerp, Belgium,
     September 2000.
 13. “The Design and Performance of a CORBA Audio/Video Streaming Service,” Proceedings of the
     31st Hawaii International Conference on System Systems (HICSS), Hawaii, January, 1999, mini-
     track on Multimedia DBMS and the WWW, Hawaii, January 1999.
 14. “Alleviating Priority Inversion and Non-determinism in Real-time CORBA ORB Core Archi-
     tectures,” Proceedings of the Fourth IEEE Real-Time Technology and Applications Symposium
     (RTAS), Denver, Colorado, June 3-5, 1998
 15. “Optimizing the Performance of the CORBA Internet Inter-ORB Protocol Over ATM,” Proceed-
     ings of the 31st Hawaii International Conference on System Systems (HICSS), Hawaii, January,
     1998. This was selected as the best paper in the Software Technology Track (188 submitted, 77
     accepted).
 16. “The Double-Checked Locking Pattern,” Proceedings of the 3rd annual Pattern Languages of Pro-
     gramming conference in Allerton Park, Illinois, September 4-6, 1996.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 386 of 667
Douglas C. Schmidt                                                                                46


 17. “Acceptor and Connector: Design Patterns for Initializing Network Services,” Proceedings of the
     EuroPLoP ’96 conference, Kloster Irsee, Germany, July 10-14, 1996.
 18. “Measuring the Performance of Communication Middleware on High-Speed Networks,” Proceedings
     of SIGCOMM ’96, ACM, San Francisco, August 28-30th, 1996.
 19. “Design and Performance of an Object-Oriented Framework for High-Speed Electronic Medi-
     cal Imaging,” Proceedings of the 2nd Conference on Object-Oriented Technologies and Systems
     (COOTS), USENIX, Toronto, June 18-22, 1996.
 20. “A Family of Design Patterns For Flexibly Configuring Network Services in Distributed Systems,”
     Proceedings of the International Conference on Configurable Distributed Systems, IEEE, Annapo-
     lis, Maryland, May 6-8, 1996.
 21. “Using Design Patterns to Develop High-Performance Object-Oriented Communication Software
     Frameworks,” Proceedings of the 8th Annual Software Technology Conference, Salt Lake City,
     Utah, April 21-26, 1996.
 22. “An Object-Oriented Framework for High-Performance Electronic Medical Imaging,” Proceedings
     of the Very High Resolution and Quality Imaging mini-conference at the Symposium on Electronic
     Imaging in the International Symposia Photonics West 1996, SPIE, San Jose, California USA,
     January 27 - February 2, 1996.
 23. “Half-Sync/Half-Async: A Pattern for Efficient and Well-structured Concurrent I/O,” Proceedings
     of the 2nd Pattern Languages of Programs Conference Monticello, Illinois, September 6-8, 1995.
 24. “Acceptor and Connector: Design Patterns for Actively and Passively Initializing Network Ser-
     vices.” Workshop on Pattern Languages of Object-Oriented Programs at ECOOP ’95, August 7 –
     1, 1995, Aarhus, Denmark.
 25. “Object-Oriented Components for High-speed Network Programming,” Proceedings of the Confer-
     ence on Object-Oriented Technologies (COOTS), USENIX, June 26-29, 1995 Monterey, California,
     USA, pp. 21–38.
 26. “Experience Using Design Patterns to Evolve Communication Software Across Diverse OS Plat-
     forms,” Proceedings of the 9th European Conference on Object-Oriented Programming (ECOOP),
     ACM, Aarhus, Denmark, August, 1995,.
 27. “Measuring the Performance of Parallel Message-based Process Architectures,” Proceedings of the
     INFOCOM Conference on Computer Communications, IEEE, Boston, MA, April, 1995, pp. 624–
     633.
 28. “High-Performance Event Filtering for Dynamic Multi-point Applications,” Proceedings of the 1st
     Workshop on High Performance Protocol Architectures (HIPPARCH), INRIA, Sophia Antipolis,
     France, December, 1994, p 1–8.
 29. “Flexible Configuration of High-Performance Object-Oriented Distributed Communication Sys-
     tems,” 9th OOPSLA Conference, invited paper to the Workshop on Flexibility in Systems Software,
     ACM, Portland, Oregon, October, 1994, pp. 1–4.
 30. “Performance Experiments on Alternative Methods for Structuring Active Objects in High-Performance
     Parallel Communication Systems,” 9th OOPSLA Conference, poster session, ACM, Portland, Ore-
     gon, October, 1994, pp. 1–12.
 31. “Measuring the Impact of Alternative Parallel Process Architectures on Communication Subsystem
     Performance,” Proceedings of the Proceedings of the 4th International Workshop on Protocols for
     High-Speed Networks, IFIP, Vancouver, British Columbia, August, 1994, pp. 103–118.
 32. “Reactor: An Object Behavioral Pattern for Concurrent Event Demultiplexing and Dispatching,”
     Proceedings of the 1st Annual Conference on the Pattern Languages of Programs, Monticello, Illi-
     nois, August, 1994, pp. 1–10.
 33. “Experiences with an Object-Oriented Architecture for Developing Dynamically Extensible Net-
     work Management Software,” Proceedings of the Globecom Conference, IEEE, San Francisco, Cal-
     ifornia, November, 1994, pp. 1–7.
 34. “Configuring Function-based Communication Protocols for Distributed Applications,” Proceedings
     of the 8th International Working Conference on Upper Layer Protocols, Architectures, and Appli-
     cations, IFIP, Barcelona, Spain, June 1-3, 1994, pp. 361–376.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 387 of 667
Douglas C. Schmidt                                                                                   47


 35. “The ADAPTIVE Service Executive: An Object-Oriented Architecture for Configuring Concurrent
     Distributed Communication Systems,” Proceedings of the 8th International Working Conference on
     Upper Layer Protocols, Architectures, and Applications, IFIP, Barcelona, Spain, June 1-3, 1994, pp.
     163–178.
 36. “ASX: An Object-Oriented Framework for Developing Distributed Applications,” Proceedings of
     the 6th C++ Conference, USENIX, Cambridge, Massachusetts, April, 1994, pp. 200–220.
 37. “The Service Configurator Framework: An Extensible Architecture for Dynamically Configuring
     Concurrent, Multi-service Network Daemons,” Proceedings of the 2nd International Workshop on
     Configurable Distributed Systems, IEEE, Pittsburgh, PA, March 21-23, 1994, pp. 190–201.
 38. “Tools for Generating Application-Tailored Multimedia Protocols on Heterogeneous Multi-Processor
     Platforms,” Proceedings of the 2nd Workshop on High-Performance Communications Subsystems,
     IEEE, Williamsburg, Virginia, September 1-3, 1993, pp. 1–7.
 39. “A Framework for Developing and Experimenting with Parallel Process Architectures to Support
     High-Performance Transport Systems,” Proceedings of the 2nd Workshop on High-Performance
     Communications Subsystems, IEEE, Williamsburg, Virginia, September 1-3, 1993, pp. 1–8.
 40. “ADAPTIVE: a Framework for Experimenting with High-Performance Transport System Process
     Architectures,” Proceedings of the 2nd International Conference on Computer Communications and
     Networks, ISCA, San Diego, California, June 28-30, 1993, pp. 1–8.
 41. “ADAPTIVE: A Flexible and Adaptive Transport System Architecture to Support Lightweight
     Protocols for Multimedia Applications on High-Speed Networks,” Proceedings of the 1st Symposium
     on High Performance Distributed Computing, IEEE, Syracuse, New York, September 9-11, 1992,
     pp. 174–186.
 42. “GPERF: A Perfect Hash Function Generator,” Proceedings of the 2nd C++ Conference, USENIX,
     San Francisco, California, April 9-11, 1990, pp. 87–102.

Invited Talks

  1. “Architecting the Systems of the Future: A Research Agenda,” invited keynote talk at the Doctoral
     Symposium for the 22nd ACM/IFIP International Conference on Middleware, December 6th, 2021.
  2. “Cyber- and Physical-Security Risks,” Southern Illinois University course on Domestic Terrorism,
     July 22nd, 2021.
  3. “Architecting the Future of Software Engineering,” invited keynote talk at the 16th International
     Conference on Software Technologies, July 8th, 2021.
  4. “Challenges of Certifying Adaptive Dynamic Computing Environments,” ARLIS Workshop, Jan-
     uary 28th, 2021.
  5. “Cyber-Security and You: Practicing Safe Surfing on the Internet,” the National Active and Retired
     Federal Employees (NARFE) chapter, Nashville TN, January 13th, 2021.
  6. “Challenges of Certifying Adaptive Dynamic Computing Environments,” DARPA/SEI Software
     Engineering Grand Challenges and Future Visions Workshop, December 1st, 2020.
  7. “Survelliance Capitalism and You,” invited talk at the Southeast Science Boot Camp, Nashville,
     TN, May 29th, 2019.
  8. “Diversify Sponsorship of Your Research: Getting Funding from the Department of Defense,” Office
     of Research Development and Support Workshop, October 22nd, 2018, Nashville, TN.
  9. “Survelliance Capitalism and You,” invited talk at the Memorizing the Future: Collecting in the
     21st Century Conference, Nashville, TN, October 6th, 2018.
 10. “Aligning Incentives to Enable More Effective Organic Software Infrastructure for the DoD,” DoD
     Organic Software Infrastructure Workshop, Arlington VA, August 13th, 2018.
 11. “The Blockchain: What It is and Why It Matters to Us,” Transforming Dermatology in the Digital
     Era, Memorial Sloan Kettering Cancer Center, October 25, 2018, NY, NY, USA.
 12. “Aligning Incentives to Enable Modular Open Software for DoD Combat Systems,” Modular Open
     Systems Summit, May 1st, 2018, Washington DC.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 388 of 667
Douglas C. Schmidt                                                                                  48


 13. “The Blockchain: What It is and Why It Matters to Us,” Society of Women Engineers, Vanderbilt
     University, March 14th, 2018.
 14. “The Blockchain: What It is and Why It Matters to Us,” Invited keynote at the Workshop on
     Middleware and Applications for the Internet of Things, (co-located with the 2017 Middleware
     conference in Las Vegas, USA), December 11th and 12th, 2017.
 15. “The Blockchain: What It is and Why It Matters,” Vanderbilt University, Nashville, TN, November
     28th, 2017.
 16. “The Blockchain: What It is and Why It Matters,” INTERFACE Nashville conference, Nashville,
     TN, August 24th, 2017.
 17. “Applying Blockchain to Healthcare Systems,” panel presentation at the Siemens Blockchain Con-
     ference, Nuremburg, Germany, May 10th, 2017.
 18. “A Primer on Big Data,” Vanderbilt University Board of Trust meeting, April 21st, 2017, Nashville
     TN.
 19. “The Past, Present, and Future of MOOCs and Their Importance for Software Engineering,”
     Distinguished Lecture, University of Illinois Chicago, Chicago, IL, November 18th, 2016.
 20. “Agility-at-Scale for Safety- and Mission-Critical Industrial-Scale Systems,” INFORMS Annual
     Conference, Nashville, TN November 13th, 2016.
 21. “Product Line Architectures for Open System Architectures,” Varian, Winnipeg, Canada, October
     7th, 2016.
 22. “Agility-at-Scale for Safety- and Mission-Critical Industrial-Scale Systems,” Siemens Architecture
     Workshop, Tarrytown, NY, September 27th, 2016.
 23. “Product Line Architectures for Oncology Treatment Services,” Varian, Palo Alto, CA, September
     16th, 2016.
 24. “Innovation and Speed: The Rise of Open Systems,” the United States Technology Leadership
     Council, Reston, VA, August 24th, 2016.
 25. “Elastic Software Infrastructure to Support the Industrial Internet,” the Siemens CPS Workshop,
     Munich, Germany, August 1st, 2016.
 26. “Challenges of Certifying Adaptive Dynamic Computing Environments,” Workshop on Safety And
     Control for AI, Sponsored by the White House Office of Science and Technology Policy and Carnegie
     Mellon University, Pittsburgh, PA, June 28th, 2016.
 27. “Keeping an Unfair Advantage in a Globalized and Commoditized World,” Raytheon Symposium,
     Tucson, AZ, May 5th, 2016.
 28. “Towards Technical Reference Frameworks to Support Open System Architecture Initiatives,” Of-
     fice of the Secretary of Defense (OSD) System of Systems Engineering Collaborators Information
     Exchange, December 15th 2015.
 29. “Enterprise System of Systems Engineering (SoSE) Integration and Innovation,” presentation at
     the US Marine Corp Business Management Association meeting, Quantico, VA, December 10th,
     2015.
 30. “An Architecture Grand Challenge: DOD’s push for Open Systems Architecture,” panel presenta-
     tion at the Software Solutions Conference, Crystal City, VA, November 17th, 2015.
 31. “Elastic Software Infrastructure to Support the Industrial Internet,” the Siemens CPS Workshop,
     Munich, Germany, September 29th, 2015.
 32. “An Overview of Mobile and mHealth Activities at ISIS and Vandy EECS,” Patient Engagement
     Emerging Technologies, Vanderbilt University, Nashville, TN, August 10, 2015.
 33. “Mobile Cloud Computing with Android,” Google I/O, Mercury Intermedia Systems, Nashville,
     TN, May 28th, 2015.
 34. “An Architecture Grand Challenge: DOD’s push for Open Systems Architecture,” panel presenta-
     tion at the SATURN 2015 Conference, Baltimore, MD, April 27th, 2015.
 35. “‘Elastic Software Infrastructure to Support Computing Clouds for Cyber-Physical Systems,” Dis-
     tinguish Lecture, Texas A&M, April 27th, 2015.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 389 of 667
Douglas C. Schmidt                                                                                 49


 36. “Elastic Software Infrastructure to Support Computing Clouds for Cyber-Physical Systems”, Boe-
     ing Distinguished Researcher And Scholar Seminar (B-DRASS) series, March 20th, Huntingon
     Beach, CA.
 37. “Elastic Software Infrastructure to Support Computing Clouds for Cyber-Physical Systems,” Dis-
     tinguished Lecture, University of California, Irvine, February 27th, 2015.
 38. “Elastic Software Infrastructure to Support Computing Clouds for Cyber-Physical Systems,” Var-
     ian, Palo Alto, CA, January 15th, 2015.
 39. “Keeping an Unfair Advantage in a Globalized and Commoditized World,” Open Architecture
     Summit, Washington DC, November 4th, 2014.
 40. “Proposal for a Professional Masters degree in Computer Science,” invited talk at Vanderbilt
     University School of Engineering’s Board of Visitor’s meeting, October 10th, 2014.
 41. “The Past, Present, and Future of Open System Architecture Initiatives,” invited keynote at the
     Future Airborne Capabilities Environment meeting, Nashville, TN, September 24th.
 42. “Future Proofing Research and Development Investments in a Globalized, Commoditized World,”
     Boeing Technical Excellence Conference, May 20th, 2014, St. Louis, MO.
 43. “Elastic Software Infrastructure to Support the Computing Clouds for Cyber-Physical Systems
     (CC4CPS),” Securboration Conference, November 12th, 2013, Melbourne, Florida.
 44. “The Importance of Automated Testing in Open Systems Architecture Initiatives,” Open Archi-
     tecture Summit, November 12th, 2013, Washington DC.
 45. Conference on Cloud and Mobile Computing, Siemens Corporate Research, Princeton, NJ, Novem-
     ber 5th, 2013.
 46. “Overview of the Technology Entrepreneurship Task Force,” Innovation, Imagination, and Intro-
     ductions: A Conversation with Entrepreneurs, Vanderbilt University, October 24th, 2013.
 47. “Producing and Delivering a Coursera MOOC on Pattern-Oriented Software Architecture for Con-
     current and Networked Software,” Vanderbilt University’s Faculty Senate committee on Strategic
     Planning and Academic Freedom, October 23rd, 2013.
 48. “Elastic Software Infrastructure to Support the Industrial Internet,” RTI Webinar series, October
     23rd, 2013.
 49. “The Importance of Applying Agility to DoD Software Initiatives,” IEEE Computer Society Lock-
     heed Martin webinar series, October 10th, 2013.
 50. “Technology Entrepreneurship Task force: Charter and Progress Update,” Vanderbilt University
     School of Engineering Board of Visitors meeting, October 4th, 2013.
 51. “Stochastic Hybrid Systems Modeling and Middleware-enabled DDDAS for Next-generation USAF
     Combat Systems,” AFOSR DDDAS PI meeting, Arlington, VA, October 1st, 2013.
 52. “Producing and Delivering a Coursera MOOC on Pattern-Oriented Software Architecture for Con-
     current and Networked Software,” WithIT seminar, Vanderbilt University, September 12th, 2013.
 53. “Applying Agility to the US Department of Defense Common Operating Platform Environment
     Initiatives,” Interoperable Open Architecture conference, Washington DC, September 11th, 2013.
 54. “Software Infrastructure Support of Computing Clouds for Cyber-Physical Systems,” invited talk
     at Real-Time Innovations, July 31st, 2013, Sunnyvale, California.
 55. “Introduction to the Institute for Software Integrated Systems,” Nashville Entrepreneur Center,
     July 15th, 2013.
 56. ”Surviving the Coursera Digital Learning Experience,” Coursera-in-TN Conference, Vanderbilt
     University, Nashville, TN, June 24th, 2013.
 57. “Quo Vadis ISORC?,” Panel presentation at ISORC 2013 Conference, June 19th, 2013, Paderborn,
     Germany.
 58. “Software Infrastructure Support of Computing Clouds for Cyber-Physical Systems,” invited keynote
     for ISORC 2013 Conference, June 19th, 2013, Paderborn, Germany.
 59. “Towards Programming Models and Paradigms for Computing Clouds that Support Cyber-Physical
     Systems,” NSF Workshop on Computing Clouds for Cyber-Physical Systems, March 15th, 2013,
     Ballston, VA.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 390 of 667
Douglas C. Schmidt                                                                                50


 60. “Built to Last: Planning Your Career as an Engineer,” STEM contest on Securing Cyber Space,
     Brentwood High School, March 9th, 2013, Nashville, TN.
 61. “Experience with Digital Learning and MOOCs at Vanderbilt,” Nashville, TN, Feb 22nd, 2013.
 62. “Software Design: Is It Really Better to Look Good Than to Feel Good?,” World IA Day, Nashville,
     TN, Feb 9th, 2013.
 63. “Pattern-Oriented Software Architectures: Patterns and Frameworks for Concurrent and Net-
     worked Software,” PhreakNIC 2012, Murfreesboro, TN, November 9th, 2012.
 64. “Applying Agility to the US Department of Defence Common Operating Platform Environment
     Initiatives,” Interoperable Open Architecture 2012, 29 - 31 October, 2012, London, UK.
 65. “Open System Architectures: Challenges and Success Drivers,” OA Summit conference, Washing-
     ton, DC, October 18th, 2012.
 66. “Dependable Computing Clouds for Cyber-Physical Systems,” Dependability Issues in Cloud Com-
     puting Workshop, October 11th, 2012, Irvine, CA.
 67. “Computing Clouds for Cyber-Physical Systems,” Reliable Cloud Infrastructure for CPS Applica-
     tions Workshop, October 8th, 2012, Irvine, CA.
 68. “Common Operating Platform Environments: Challenges and Success Drivers,” Navy Open Sys-
     tems Architecture workshop, Ballston, VA, September 27th, 2012.
 69. ”Meeting the Challenges of Enterprise Distributed Real-time and Embedded Systems,” talk for
     Honeywell Aerospace, September 21, 2012.
 70. “Architecture-Led Iterative and Incremental Development for Common Operating Platform En-
     vironments,” NITRD Software Design and Productivity meeting, National Coordination Office,
     Ballston, VA, July 13th, 2012.
 71. ”Cyber-physical multi-core Optimization for Resource and cachE effectS,” Software-Intensive Sys-
     tems Producibility workshop, Arlington VA, June 5th, 2012.
 72. ”Applying Agility to DoD Common Operating Platform Environment Initiatives”, SEI Agile Re-
     search Forum, May 22nd, 2012.
 73. “Meeting the Challenges of Enterprise Distributed Real-time and Embedded Systems,” keynote
     talk at the SATURN Conference 2012 May 7-11, 2012, St. Petersburg, FL.
 74. “Reflections on 20 Years of Architecture for Distributed Real-time and Embedded Systems,” SAT-
     URN Conference 2012 May 7-11, 2012, St. Petersburg, FL.
 75. “US Naval Open Systems Architecture Strategy,” SATURN Conference 2012 May 7-11, 2012, St.
     Petersburg, FL.
 76. ”Towards Open Systems Architectures for Distributed Real-time and Embedded Systems,” The
     Center for Embedded Systems for Critical Applications, Annual Workshop, Virginia Tech, Black-
     burg, VA April 21st, 2012.
 77. “Overview of the SEI Strategic Research Plan,” ASD(R&E) Annual Program Review, December
     7th, 2011, Pittsburgh, PA.
 78. “Overview of the SEI Strategic Research Plan,” Acquisition Support Program meeting, November
     16th, 2011, Pittsburgh, PA.
 79. “Conducting Leading-Edge Software R&D in a Globalized, Commoditized World,” NITRD Soft-
     ware Design and Productivity meeting, National Coordination Office, Ballston, VA, November 3rd,
     2011.
 80. “A Technical Assessment of Open Architecture Systems for Military Use,” Interoperable Open
     Architecture, 26th-28th October 2011, London, UK.
 81. “Conducting Leading-Edge Software R&D in a Globalized, Commoditized World,” Technovation
     2011, Carnegie Mellon University, September 29th, 2011.
 82. “CTO Report,” SEI Board of Visitors Meeting, Arlington, VA, September 27th, 2011.
 83. “Overview of the SEI Strategic Research Plan,” Joint Advisory Committee Meeting, Arlington,
     VA, September 26th, 2011.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 391 of 667
Douglas C. Schmidt                                                                               51


 84. ”Successful Development Efforts: Standards, People, & Culture: The Enterprise Perspective,”
     Software Assurance (SwA) Forum, September 16th, 2011, Arlington, VA.
 85. ”Ultra-Large-Scale (ULS) Cyberphysical Systems and Their Impact on Technology and Society,”
     University of Salzburg, June 30th, 2011, Salzburg, Austria.
 86. ”Ultra-Large-Scale (ULS) Cyberphysical Systems and Their Impact on Technology and Society,”
     ARTEMIS conference, June 29th, 2011, Linz, Austria.
 87. ”Ultra-Large-Scale Systems and Their Impact on the DoD,” Systems and Software Technology Con-
     ference Committee, keynote presentation at the 23rd Systems and Software Technology Conference,
     May 16-19, 2011, Salt Lake City, Utah.
 88. ”Ultra-Large Scale Systems and their Impact on Technology and Society,” keynote presentation at
     the International Symposium on Object-Oriented Real-time Distributed Computing¡/A¿ (ISORC),
     Newport Beach, CA, March 29th, 2011.
 89. ”Software-reliant Systems Research at the Software Engineering Institute,” Raytheon, Sudbury,
     MA, March 10, 2011.
 90. ”Review of COE Practices,” US Army Senior Leadership Education Program, Pittsburgh, PA,
     January 20th, 2011.
 91. ”Software Producibility for Defense,” US Army Senior Leadership Education Program, Pittsburgh,
     PA, January 18th, 2011.
 92. ”SEI Research: The Shape of Things to Come,” ASP Meeting, Software Engineering Institute,
     Pittsburgh, PA, December 9th, 2010.
 93. ”R&D at ASP,” ASP Air Force Training Day, Software Engineering Institute, Pittsburgh, PA,
     December 9th, 2010.
 94. ”Software-reliant Systems Research at the Software Engineering Institute,” Siements Corporate
     Research, Princeton, NJ, November 22nd, 2010.
 95. ”Taming the Complexity of Software-Reliant Systems,” Software Engineering Process Group con-
     ference, Colombia, South America, November 11th, 2010.
 96. ”SEI Technical Presentations,” Joint Advisory Committee Meeting, Arlington, VA, October 26th,
     2010.
 97. ”SEI Research: The Shape of Things to Come,” ASP Meeting, Software Engineering Institute,
     Pittsburgh, PA, October 20th, 2010.
 98. ”SEI Research: The Shape of Things to Come,” SEPM Meeting, Software Engineering Institute,
     Pittsburgh, PA, October 19th, 2010.
 99. ”Strategic Directions for Research at the SEI,” RTSS Offsite Meeting, Pittsburgh, PA, October
     12th, 2010.
100. ”The World is Flat and What You Can Do About It,” Family Weekend, October 9th, 2010, Van-
     derbilt University.
101. ”SEI Research: The Shape of Things to Come,” SEI Board of Visitor’s Meeting, Arlington, VA,
     September 28th, 2010.
102. ”SEI Research: The Shape of Things to Come,” PD&T Meeting, Software Engineering Institute,
     Pittsburgh, PA, September 20th, 2010.
103. ”Introduction and Initial Thoughts,” RTSS Meeting, Software Engineering Institute, Pittsburgh,
     PA, August 19th, 2010.
104. “The Impact of Ultra-Large-Scale Systems on DoD Operations,” Congressional R&D Caucus, Ray-
     burn Building, Washington DC, January 19th, 2010.
105. “The World is Flat and What You Can Do About It,” Explorers meeting, January 12th, 2010,
     Vanderbilt University.
106. “Expectations for University - Industry Collaborative Research in CPS,” Computing Community
     Consortium Workshop on New Forms of Industry-Academy Partnerships in CPS Research, George
     Mason University, May 19th, 2009.
107. ”How Good is Your SOA?”, Panel presentation at the AFRL QED PI meeting, April 28th, 2009,
     Washington DC.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 392 of 667
Douglas C. Schmidt                                                                                52


108. ”The World is Flat and What You Can Do About It,” ES 140, Computer Science module, October
     31st, 2008, Vanderbilt University.
109. “Meeting the Challenges of Ultra-Large-Scale Distributed Real-time and Embedded Systems with
     QoS-enabled Middleware and Model-Driven Engineering,” Panel on Growing and Sustaining Ultra
     Large Scale (ULS) Systems, OOPSLA 2008, Nashville TN, October 21-23 2008.
110. ”The World is Flat and What You Can Do About It,” Family Weekend Faculty Lecture, Vanderbilt
     University, October 3rd, 2008.
111. “The World is Flat and What You Can Do About It,” Senior Design Seminar, Vanderbilt University,
     September 17th, 2008.
112. “The World is Flat and What You Can Do About It,” CS WithIT Seminar, Vanderbilt University,
     September 11th, 2008.
113. ”The Managed Motorway: Real-time Vehicle Scheduling - A Research Agenda,” Qualcomm, July
     28th, 2008, San Diego, CA.
114. ”Meeting the Challenges of Mission-Critical Distributed Event-Based Systems with QoS-enabled
     Middleware and Model-Driven Engineering,” 2nd International Conference on Distributed Event-
     Based Systems (DEBS), Rome Italy, July 2-4, 2008.
115. ”Meeting the Challenges of Distributed Real-time and Embedded Systems with QoS-enabled Mid-
     dleware and Model-Driven Engineering,” SPAWAR, April 29th, 2008.
116. ”Meeting the Challenges of Distributed Real-time and Embedded Systems with QoS-enabled Mid-
     dleware and Model-Driven Engineering,” Northrop Grumman, Boulder Colorado, April 25th, 2008.
117. “Experimentation Environment for QED,” AFRL Information Management PI Meeting, April 16
     2008, Georgetown, Washington, DC.
118. “Adaptive System Infrastructure for Ultra-Large-Scale Systems,” SMART Conference, Carnegie
     Mellon University, March 6th, 2008.
119. ”Experimentation Environment for QED”, Air Force Research Lab, Rome, NY, March 4th, 2008.
120. ”Ultra-Large-Scale (ULS) Systems and their Impact on Technology and Society,” Clemson Univer-
     sity, January 31st, 2008.
121. ”Meeting the Challenges of Ultra-Large-Scale Distributed Real-time and Embedded Systems with
     QoS-enabled Middleware and Model-Driven Engineering, invited keynote talk at Middleware 2007,
     Irvine, CA, November 29th, 2007.
122. ”The World is Flat and What You Can Do About It,” Senior Design Seminar, Vanderbilt University,
     November 14th, 2007.
123. “Technology Candidates for QED,” AFRL retreat, Minnowbrook, NY, October 23, 2007.
124. ”Overview of ISIS and Proposed IU/CRC R&D Projects,” Crystal City, VA, October 19th, 2007.
125. The Future of CORBA for Distributed Real-time and Embedded Systems, International Conference
     on Accelerator and Large Experimental Physics Control Systems, October 17, 2007, Knoxville, TN.
126. ”AF-TRUST: Project Overview,” Air Force Scientific Advisory Board review, Rome, NY, October
     15th, 2007.
127. ”Meeting the Challenges of Distributed Real-time and Embedded Systems with Product-Line Ar-
     chitectures,” August 1st, 2007, Trinity College, Dublin, Ireland.
128. ”Model Driven Engineering of Product-Line Architectures for Distributed Real-time and Embedded
     Systems,” July 5th, 2007, University of Limerick, Ireland.
129. ”Meeting the Challenges of Mission-Critical Systems with Middleware and Model Driven Engineer-
     ing”, OMG Technical Meeting, June 27, 2007, Brussels, Belgium.
130. Meeting the Challenges of Ultra-Large-Scale Distributed Real-time and Embedded Systems with
     Model-Driven Engineering, June 19, 2007, Trinity College, Dublin.
131. Strategic Technology Positioning, PrismTechnologies ”Middleware Fest”, June 14, 2007, Newcastle,
     UK.
132. ”Hurdles for Wireless Communication Systems R&D and Some Ways to Overcome Them,” OSD
     Workshop on Wireless Communication Systems, Rosslyn, VA, May 22nd, 2007.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 393 of 667
Douglas C. Schmidt                                                                                53


133. “The World is Flat from a Computer Scientists Point of View,” Vanderbilt University Commence-
     ment talk, May 10th, 2007.
134. Meeting the Challenges of Ultra-Large-Scale Distributed Real-time and Embedded Systems, invited
     keynote at the the 10th IEEE International Symposium on Object/Component/Service-oriented
     Real-time Distributed Computing, May 7-9, 2007, Santorini Island, Greece.
135. “Enhanced QoS for the GIG,” AFRL JBI PI meeting, Georgetown, DC, April 24, 2007.
136. “Meeting the Challenges of Ultra-Large-Scale Distributed Real-time and Embedded Systems,”
     Invited keynote at the 15th International Workshop on Parallel and Distributed Real-Time Systems
     (WDPRTS), March 26-27, 2007, Long Beach, California.
137. “The CORBA C++ Mapping: Beyond Repair?,” OMG Meeting, San Diego, CA, March 27th,
     2007.
138. “Meeting the Challenges of Ultra-Large-Scale Systems via Model-Driven Engineering,” Distin-
     guished Lecturer Series, Florida International University, Miami, Florida, Feb 2, 2007.
139. Model Driven Engineering and QoS-enabled Component Middleware for DRE Systems, Invited
     talk at the European Space Agency Operations Center, Darmstadt, Germany, Wednesday January
     24, 2007.
140. ”Software Wind Tunnel (SWiT) Concept of Operations and System Architecture”, AFRL Software
     and Systems Test Track workshop, Arlington, VA, January 19, 2007.
141. “Latest Breakthroughs in SDR Software Development Using Model Driven Technologies,” Rockwell
     Collins, Cedar Rapids, IA, December 14th, 2006.
142. “Educating the DoD Workforce in a Flat World,” 2006 Raytheon Integrated Defense Systems’ SW
     Engr. Directorate Off-Site Meeting, New Castle, New Hampshire, December 7, 2006.
143. “The Ultra Challenge: Software Systems Beyond Big,” panelist at OOPSLA 2006, October, 2006,
     Portland, OR.
144. “Software Wind Tunnel (SWiT) Architecture,” AFRL Software and Systems Test Track Workshop,
     Cherry Hill, NJ, October 2nd, 2006.
145. “The World is Flat and What You Can Do About it,” Vanderbilt University, September 12th, 2006.
146. “The World is Flat and What You Can Do About it,” Vanderbilt University, September 8th, 2006.
147. “Meeting the Challenges of Ultra-Large-Scale Systems via Model-Driven Engineering,” Network-
     Centric Operations Industry Consortium, Reston, VA, August 2nd 2006.
148. Model Driven Architecture Roundtable, invited panelist at the Software Engineering Institute,
     Pittsburgh, PA, June 1st, 2006.
149. “Enhanced QoS for the GIG,” AFRL JBI PI meeting, Tysons Corner, VA, April 11, 2006.
150. “Model Driven Engineering for Distributed Real-time and Embedded Systems,” Distinguished Lec-
     turer Series talk at Colorado State University, Ft. Collins, CO, April 10, 2006.
151. ”Win-Win Partnership of Academia and Industry: Why Should We Care? Where Is Our Common
     Future?” invited panelist at the 12th IEEE Real-Time and Embedded Technology and Applications
     Symposium April 6, 2006, San Jose, California.
152. “Meeting the Challenges of Ultra-Large-Scale Real-time Systems,” invited keynote at the IEEE
     Real-Time and Embedded Technology and Applications Symposium April 5, 2006, San Jose, Cali-
     fornia.
153. “Model-driven Development for Distributed Real-time and Embedded Systems,” ACM Meeting at
     Middle Tennessee State University, March 7th, 2006.
154. “Real-time, Scalable, and Secure Information Management for the GIG,” Scientific Advisory Board
     Meeting, Rome, NY, November 16th, 2005.
155. “Real-time, Scalable, and Secure Information Management for the GIG,” Airforce Research Lab,
     Rome, NY, November 3rd, 2005.
156. “Model-driven Development for Distributed Real-time and Embedded Systems,” Distinguished
     Speaker Talk at BBN Technologies, Cambridge, MA, October 27, 2005.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 394 of 667
Douglas C. Schmidt                                                                               54


157. “Challenges and Research Areas for QoS-enabled Information Management in Tactical Systems of
     Systems,” AFRL Minnowbrook Workshop, Adirondack Mountains, NY, October 21st, 2005.
158. “Model-driven Development for Distributed Real-time and Embedded Systems,” Invited keynote at
     MODELS 2005, ACM/IEEE 8th International Conference on Model Driven Engineering Languages
     and Systems, Half Moon Resort, Montego Bay, Jamaica, October 5-7, 2005.
159. “The World is Flat and What You Can Do About it,” CS WithIT Seminar, Vanderbilt University,
     September 22, 2005.
160. “Why Software Reuse has Failed and How to Make it Work for You,” Motorola 2005, Symposium
     on Software, Systems, and Simulation, Schaumburg, IL, September 16th, 2005.
161. “Pattern-Oriented Software Architecture,” 12th Pattern Language of Programming Conference,
     Allerton Park, Illinois, September 7-10, 2005.
162. “Model-Driven Development of Distributed Real-time and Embedded Systems,” 12th Pattern Lan-
     guage of Programming Conference, Allerton Park, Illinois, September 7-10, 2005.
163. “Model-driven Development for Distributed Real-time and Embedded Systems,” Siemens Corpo-
     rate Research, Princeton, NJ, August 26th.
164. “Model-driven QoS Provisioning for Real-time CORBA and CCM DRE Systems,” 6th OMG Real-
     time/Embedded CORBA workshop, Washington DC, July 11–14, 2005.
165. “A Proposed R&D Agenda for the Software Technology Laboratory,” Lockheed Martin Advanced
     Technology Lab, Cherry Hill, NJ, June 28th, 2005.
166. “Model-Driven Development of Product-Line Architectures for DRE Systems,” 11th Siemens Soft-
     ware Architecture Improvement Group (SAIG), Buffalo Grove, IL June 22, 2005.
167. “Business Drives for Platforms,” panel at the 11th Siemens Software Architecture Improvement
     Group (SAIG), Buffalo Grove, IL June 22, 2005.
168. “Model Driven Development for Distributed Real-time and Embedded Systems,” Lockheed Martin
     Advanced Technology Lab, Cherry Hill, NJ, June 15th, 2005.
169. “Approaches for Supporting Real-time QoS in JBI,” JBI PI Meeting, Washington DC, May 24th,
     2005.
170. “Overcoming Hurdles of Software Producibility,” OSD, Software Producibility Workshop, Arling-
     ton, VA, May 18, 2005.
171. “Overview of Multi-Level Resource Management in ARMS,” Fermilab, Chicago, IL, April 12th,
     2005.
172. “Model Driven Middleware for Distributed Real-time and Embedded Systems,” University of South-
     ern Alabama, April 8, 2005.
173. “Model-Driven Development of Distributed Real-time and Embedded Systems,” UAV Battlelab,
     Indian Springs, NV, February 10th, 2005.
174. “The Future of Software and Systems Engineering,” IEEE Meeting, Vanderbilt University, February
     8th, 2005.
175. Model Driven Development of Distributed Real-time and Embedded Systems, panel at the OOP
     conference, Munich, Germany, January 27, 2005.
176. “Product-line Architecture Technologies for Distributed Real-time and Embedded Systems, Lock-
     heed Martin, Moorestown, NJ, November 11, 2004.
177. “Model Driven Development of Distributed Real-time and Embedded Systems,” invited panelist
     in the “Generative Programming: Past, Present, and Future,” at the 3rd ACM International
     Conference on Generative Programming and Component Engineering, Vancouver, CA, October
     24th 2004.
178. “Developing Combat Systems with Component Middleware and Models,” Lockheed Martin, Moores-
     town, NJ, October 22, 2004.
179. “Model Driven Development of Distributed Real-time and Embedded Systems,” Lockheed Martin
     Advanced Technology Lab, Cherry Hill, NJ, October 21, 2004.
180. “Model Driven Development of Distributed Real-time and Embedded Systems,” Lockheed Martin
     Missile and Fire Control, Dallas, TX, October 13, 2004.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 395 of 667
Douglas C. Schmidt                                                                                55


181. “Design of ARMS MLRM Components: CCM Based Design for Dynamic Resource Management,”
     DARPA ARMS Technical Interchange Meeting, Plymouth, RI, October 7, 2004.
182. “Model Driven Middleware for Component-based Distributed Systems,” keynote for the The 8th
     International IEEE Enterprise Distributed Object Computing Conference, Monterey, California,
     September 22, 2004.
183. “Systems Science Challenge Area,” TRUST NSF Science and Technology Review, UC Berkeley,
     September 12, 2004.
184. “Model Driven Development for Distributed Real-time and Embedded Systems,” Lockheed Martin,
     Eagan, MN, August 31st, 2004.
185. “Model Driven Computing for Distributed Real-time and Embedded Systems,” Telcordia, Piscat-
     away, NJ, August 10th, 2004.
186. “Model Driven Computing for Distributed Real-time and Embedded Systems,” Raytheon, Portsmouth,
     RI, August 9th, 2004.
187. “Distributed Object Computing with CORBA,” Raytheon, Portsmouth, RI, August 9th, 2004.
188. “Model Driven Development of Distributed Real-time and Embedded Systems,” Raytheon, Ft.
     Wayne, IN, July 27th, 2004.
189. “Model Driven Middleware for Distributed Real-time and Embedded Systems,” panelist at the 5th
     OMG Real-time and Embedded Middleware Workshop, Reston, VA 2004.
190. “The Role of Open Standards,Open-Source Development, and Different Development Models and
     Processes on Industrializing Software,” ARO Workshop on Software Reliability for FCS, Vanderbilt
     University, Nashville, Tennessee, May 18-19, 2004.
191. “Model Driven Middleware for Distributed Real-time and Embedded Systems,” Keynote talk for
     the SIGS Software Engineering Today conference in Zurich, Switzerland, May 4-5, 2004.
192. “Model-Driven Development of Distributed Real-time and Embedded Systems,” 10th Siemens Soft-
     ware Architecture Improvement Group (SAIG), Vienna, Austria, April 20-24, 2004.
193. “Adaptive and Reflective Middleware for Distributed, Real-time, and Embedded Systems,” Purdue
     University, West Lafayette, Indiana, April 6, 2004.
194. “Model Driven Middleware for Distributed Real-time and Embedded Systems,” Technologies That
     Will Change the World session at the Southeastern Software Engineering Conference, Huntsville,
     Alabama, March 30th, 2004.
195. “Advances in COTS Middleware for Distributed Real-time and Embedded Systems,” Keynote for
     the International Conference on COTS-Based Software Systems (ICCBSS) 2004 in Redondo Beach,
     February 2-4, 2004.
196. Composable Middleware Components for High Confidence Network Embedded Systems, University
     of California, Berkeley, December 4th, 2003.
197. “Model Driven Middleware,” TechConnect 2003, St. Louis, MO, October 1st, 2003.
198. “Advances in Model Driven Middleware for Distributed Real-time and Embedded Systems,” the
     Model Integrated Computing PSIG meeting at the OMG Technical Meeting, September 10, 2003,
     Boston, MA.
199. Invited panelist for the “Research on DRE Systems” panel at the OMG Real-time Middleware
     Workshop, July 16, 2003, Arlington, VA.
200. “Advances in Model Driven Middleware for Distributed Real-time and Embedded Systems,” the
     OMG Real-time Middleware Workshop, July 15, 2003, Arlington, VA.
201. Organizer and presenter for a panel on “Advances in Large-scale Distributed Real-time and Em-
     bedded Systems” at the 9th IEEE Real-time/Embedded Technology and Applications Symposium
     (RTAS), May 27-30, 2003, Washington, DC.
202. “Managing Project Risk for Combat Systems,” The Southeastern Software Engineering Conference,
     Huntsville, Alabama, April 1st, 2003.
203. “Distributed Real-time and Embedded Systems at DARPA,” OMG Workshop on Super Distributed
     Objects, Washington DC, Monday, November 18, 2002.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 396 of 667
Douglas C. Schmidt                                                                               56


204. “Adaptive and Reflective Middleware for Distributed Real-time Systems,” Workshop on High Per-
     formance, Fault Adaptive, Large Scale Real-time Systems, Vanderbilt University, November 14,
     2002.
205. Invited panelist on ”Objects and Real-time Systems” OOPSLA ’02, Seattle, WA, November 8,
     2002.
206. “An Overview of ACE+TAO,” Boeing, Seattle, November 8th, 2002.
207. “Pattern-Oriented Software Architecture,” Amazon, Seattle, WA, November 6th, 2002.
208. “Using Real-time CORBA Effectively: Patterns and Principles,” CORBA Controls Workshop,
     Grenoble, France, October, 9th, 2002.
209. “Adaptive and Reflective Middleware for Distributed Real-time and Embedded Systems,” EM-
     SOFT 2002: Second Workshop on Embedded Software, Grenoble, France, October, 7–9th, 2002.
210. “Designing the Future of Embedded Systems at DARPA IXO,” Keynote talk at the 6th Annual
     Workshop on High-Performance Embedded Computing (HPEC), September 25, Boston, MA.
211. “Open Distributed Computing Platforms,” NSF/OSTP Workshop on Information Technology Re-
     search for Critical Infrastructure Protection, Lansdowne, VA, September 20th, 2002.
212. “Real-time Object-Oriented Middleware,” Distributed Common Ground/Surface System Technical
     Review Group meeting, Mclean VA, September 19th, 2002.
213. “Research Advances in Middleware for Distributed, Real-time, and Embedded Systems,” Computer
     Communications stream of the 17th IFIP World Computer Congress, Montreal, Canada, August
     25-30, 2002.
214. “DARPA Thrusts in Embedded Computing,” Mercury Computer Systems, Tyngsboro, MA, July
     25th, 2002.
215. “Adaptive and Reflective Middleware for Distributed, Real-time, and Embedded Combat Systems,”
     Boeing Space and Missile Systems, Anaheim, CA, July 9, 2002.
216. “Annual Report on Software Design and Productivity Coordinating Group,” Interagency Working
     Group, ITR&D Spring Planning Meeting, NSF, Ballston, VA, May 10, 2002.
217. “Real-time CORBA Standardization: Past, Present, and Future,” panelist in the ”Standards Move-
     ments in Object-oriented Real-time Computing” panel at the ISORC 2002 Conference, Washington,
     DC, April 30, 2002.
218. “Towards Adaptive and Reflective Middleware for Distributed Real-time Embedded Systems,”
     Moderator of the Distributed, Real-time, and Embedded Middleware for Network-Centric Combat
     Systems panel at the Software Technology Conference (STC) in Salt Lake City, Utah, April 29,
     2002.
219. “Applying Architectural Patterns to Address Key Challenges of Distributed Software,” Siemens
     Architecture Interworking Group, Chicago, IL, April 24, 2002.
220. “Towards Adaptive and Reflective Middleware for Distributed Real-time and Embedded Systems,”
     Space and Missile Defense Command, Huntsville, AL, April 22, 2002.
221. “How to Maintain Superiority in the Face of the Commoditization of IT,” tutorial at the UCI CEO
     Roundtable, Maui, Hawaii, April 12, 2002.
222. “Transformation or Transmogrification? Surviving the Commoditization of IT,” panelist at the
     UCI CEO Roundtable, Maui, Hawaii, April 11, 2002.
223. “Patterns and Principles of Mission-critical Middleware,” Henry Samueli School of Engineering
     Research Review, University of California, Irvine, March 14th, 2002.
224. “DARPA: an Agency Overview,” CRA Academic Careers Workshop, Arlington, Virginia, February
     10 - 12, 2002.
225. “Towards Adaptive and Reflective Middleware for Distributed, Real-time, and Embedded Systems,”
     Electrical Engineering and Computer Science Department, Vanderbilt University, January 28th,
     2002.
226. “Protecting Critical Cyber Infrastructure from Asymmetric Threats,” panelist at the 7th IEEE
     Workshop on Object-oriented Real-time Dependable Systems, San Diego, CA, January 10, 2002.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 397 of 667
Douglas C. Schmidt                                                                                57


227. “The Researcher’s Dilemma: When Technology Success Causes Great Communities to Fail (at
     Mission-oriented R&D Agencies),” Software Design and Productivity Coordinating Group Work-
     shop on New Visions for Software Design and Productivity: Research and Applications, Nashville,
     TN, December 13-14, 2001.
228. “Towards Adaptive and Reflective Middleware for Mission-Critical Systems,” Computer Science
     Department, College of William and Mary, September 7th, 2001.
229. “Adaptive and Reflective Middleware Systems,” Lockheed Martin, Moorestown, NJ, August 21st,
     2001.
230. “Adaptive and Reflective Middleware Systems,” United Technology Research Center, Hartford,
     Connecticut, June 28th, 2001.
231. “Adaptive and Reflective Middleware Systems,” Raytheon Annual Processing Systems Technology
     Network (PSTN) Symposium, Lexington, MA, June 20th, 2001.
232. Invited presenter for the Vendors’ Panel at the OMG 2nd Workshop on Real-time and Embedded
     Distributed Object Computing, June 4-7, 2001.
233. ”Towards Pattern Languages and QoS-enabled Middleware for Distributed Real-time and Embed-
     ded Systems,” DARPA ITO workshop on Embedded Software, Lake Tahoe, NV, October 8-10,
     2001.
234. ”TAO, CORBA, and the HLA/RTI”, Keynote talk at the Fifth IEEE International Workshop on
     Distributed Simulation and Real Time Applications Cincinnati, Ohio, USA August 13-15, 2001.
235. “Patterns and Principles of Middleware for Distributed Real-time and Embedded Systems,” Raytheon,
     Sudbury, March 29th, 2001.
236. “Adaptive and Reflective Middleware Systems,” Distinguished Lecture at Florida Atlantic Univer-
     sity, Boca Raton, FL, March 1st, 2001.
237. “Adaptive and Reflective Middleware for Mission-Critical Distributed and Embedded Systems,”
     University of Alabama, Birmingham, AL, January 31st, 2001.
238. “Adaptive and Reflective Middleware for Mission-Critical Distributed and Embedded Systems,”
     Telcordia, Morristown, NJ, November 20th, 2000.
239. “Adaptive and Reflective Middleware for Mission-Critical Distributed and Embedded Systems,”
     George Mason University, Fairfax, VA, November 20th, 2000.
240. “Adaptive and Reflective Middleware for Mission-Critical Distributed and Embedded Systems,”
     Lucent CORBA Forum, Naperville, IL, November 17th, 2000.
241. “Putting an ORB on a Diet,” Session on Performance and QoS of Embedded CORBA ORBs at
     the OMG’s Workshop on Embedded Object-Based Systems, January 17-19, 2001.
242. “Adaptive and Reflective Middleware Systems,” Panelist in a session on “Highly Distributed Sys-
     tems,” at the IEEE Symposium on Applications and the Internet, San Diego, CA, January 10,
     2001.
243. “Adaptive and Reflective Middleware Systems,” Panelist at the NSF Networking PI meeting, Irvine
     California, November 1st, 2000.
244. “Surviving the Tornado: The Best Kept Secrets of R&D Success in the Internet Age,” Keck
     Observatory, Hawaii, October 9th, 2000.
245. “Adaptive and Reflective Middleware Systems,” BBN Technologies, Boston, MA, September 27th,
     2000.
246. “Distributed Application Integration: Myth or Reality?” Keynote talk at 2nd International Sym-
     posium on Distributed Objects and Applications (DOA ’00), OMG, Antwerp, Belgium, September
     21st, 2000.
247. “Surviving the Tornado: The Best Kept Secrets of R&D Success in the Internet Age,” Keynote
     talk at 2nd International Symposium on Distributed Objects and Applications (DOA ’00), OMG,
     Antwerp, Belgium, September 21st, 2000.
248. “High Confidence Adaptive and Reflective Middleware: Fact or Fiction?” Keynote talk for the IFIP
     Fourth International Conference on Formal Methods for Open Object-Based Distributed Systems,
     (FMOODS 2000), Stanford University, Stanford, CA, September 7th, 2000.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 398 of 667
Douglas C. Schmidt                                                                                 58


249. “Adaptive and Reflective Middleware Systems,” Lockheed Martin, Ft. Worth, TX, September 6th,
     2000.
250. Pattern-oriented Software Architecture: Concurrent and Networked Objects, Raytheon, San Diego,
     August 25, 2000.
251. “Adaptive and Reflective Middleware Systems,” Rockwell/Collins, Cedar Rapids, Iowa, August 22,
     2000.
252. “Adaptive and Reflective Middleware Systems,” Lockheed Martin, Eagan, MN, August 21, 2000.
253. “Adaptive and Reflective Middleware Systems,” Honeywell Technology Center, Minneapolis, MN,
     August 18, 2000.
254. “Adaptive and Reflective Middleware Systems,” Raytheon, Falls Church, VA, July 12, 2000.
255. “Applying Patterns to Develop High-performance and Real-time Object Request Brokers,” Lock-
     heed Martin, Eagan, Minnesota, May 19, 2000.
256. “Patterns and Principles of Real-time Object Request Brokers,” Cisco, San Jose, April 12, 2000.
257. “Patterns and Principles of Real-time Object Request Brokers,” BellSouth, Atlanta, Georgia,
     March 3, 2000.
258. “Patterns and Principles of Real-time Object Request Brokers,” Distinguished Lecturer Series,
     Michigan State University, East Lansing, Michigan, October 21, 1999.
259. “Towards Minimum ORBs for Wireless Devices and Networks,” OPENSIG ’99 Workshop, Carnegie
     Mellon University, Pittsburgh, October, 14-15, 1999.
260. “Applying CORBA Fault Tolerant Mechanisms to Network Management,” Lucent CORBA Forum,
     Naperville, IL, September 28th, 1999.
261. “CORBA for Real-time and Embedded Telecom Systems,” Lucent CORBA Forum, Naperville, IL,
     September 28th, 1999.
262. “Patterns and Principles of Real-time Object Request Brokers,” BEA, Munich, Germany, Septem-
     ber 16th, 1999.
263. “Real-time CORBA – Fact or Fiction,” Siemens CORBA Day, Munich, Germany, September 15th,
     1999.
264. “Patterns and Principles of Real-time Object Request Brokers,” Siemens MED, Erlangen, Germany,
     September 13th, 1999.
265. “Patterns and Principles of Real-time Object Request Brokers,” RT DII COE TWG, Boeing,
     Seattle, WA August 25th, 1999.
266. “Patterns for Real-time Middleware,” Microsoft, Redmond, WA, August 24th, 1999.
267. “Patterns and Principles of Real-time Object Request Brokers,” Lockheed Martin, Eagan, Min-
     nesota, June 22nd, 1999.
268. “Using the ACE Framework and Patterns to Develop OO Communication Software,” Dreamworks
     SGK, Glendale, CA, May 5th, 1999.
269. “Why Telecom Reuse has Failed and how to Make it Work for You,” Keynote talk at Nortel Design
     Forum, Ottawa, CA, April 22nd, 1999.
270. “QoS-enabled Middleware for Monitoring and Controlling High-Speed Networks and Endsystems,”
     Lucent Bell Labs, Murray Hill, NJ, April 15th, 1999.
271. “Optimization Patterns for High-performance, Real-time Object Request Broker Middleware,” Uni-
     versity of California, Irvine, April, 2nd, 1999.
272. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Lucent, Columbus, OH, March 18-19 and 25-26, 1999.
273. “Using Design Patterns, Frameworks, and Object-Oriented Communication Systems,” Lucent,
     Holmdel, NJ, March 1-4, 1999.
274. Chaired a panel on ”Research Directions for Middleware,” NSF PI meeting, Washington, DC,
     January 24th, 1999.
275. “Principles and Patterns of High-performance Real-time CORBA,” University of Southern Califor-
     nia, Los Angeles, CA, December 10th, 1998.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 399 of 667
Douglas C. Schmidt                                                                                59


276. “Real-time CORBA for Telecom – Fact or Fiction?,” Bellcore, Morristown, NJ, December 1st,
     1998.
277. “Design Patterns for Real-time Object Request Brokers,” Silicon Valley Patterns Group, San Fran-
     cisco, November 15, 1998.
278. “Why Reuse has Failed and how to Make it Work for You,” Keynote talk at Lucent Software
     Symposium, October 27th, Murray Hill, NJ, 1998.
279. “Real-time CORBA – Fact or Fiction,” Lucent CORBA Forum, Holmdel, NJ, September 29, 1998.
280. “Applying Software Design Patterns and Framework to Telecommunication Applications,” Nortel
     Advanced Software Computing and Technology, Monday, April 6, 1998, Ottawa, Canada.
281. “Patterns and Performance of Real-time Object Request Brokers,” University of California, Santa
     Barbara, February 20, 1998.
282. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” University of
     Frankfurt, Germany, February 12th, 1998.
283. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” University of
     Illinois, Urbana-Champaign November 12th, 1997.
284. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” University of
     Missouri, Kansas City, October 31st, 1997.
285. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” IBM T.J. Wat-
     son Research, September 15, 1997.
286. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” University of
     California, Santa Barbara, August 21st, 1997.
287. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” Lucent Tech-
     nologies, Naperville, IL August 19th, 1997.
288. “Mastering Software Complexity with Reusable Object-Oriented Frameworks, Components, and
     Design Patterns,” 3rd NSA Software Reuse Symposium, August 20th, 1997.
289. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” University of
     Utah, Salt Lake City, Utah, August 11th, 1997.
290. “Using the ACE Framework and Design Patterns to Develop Object-Oriented Communication
     Software,” CERN, Switzerland, July 18th, 1997.
291. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” CHOOSE sym-
     posium, Zurich, Switzerland, July 17th, 1997.
292. Invited keynote speaker for 2nd Component’s User Conference, Munich Germany, July 1997.
293. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” Lucent Bell
     Laboratories, Murray Hill, New Jersey, July 9th, 1997.
294. “Using the ACE Framework and Design Patterns to Develop Object-Oriented Communication
     Software,” Lockheed Martin Tactical Systems, Minneapolis, Minnesota, June 26th, 1997.
295. QoS for Distributed Object Computing Middleware – Fact or Fiction?, panel at the Fifth Interna-
     tional Workshop on Quality of Service (IWQoS ’97), May 22nd, 1997, Columbia University, NYC,
     USA.
296. “Design Patterns and Frameworks for Developing Object-oriented WWW Clients and Servers,”
     Carleton University, April 11th, 1997.
297. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” University of
     Maryland, College Park, Maryland, April 2nd, 1997.
298. “A High-Performance End system Architecture for Real Time COBRA,” SPARTAN Symposium
     sponsored by US Sprint, Lawrence Kansas, March 18th, 1997.
299. “Experience with CORBA for Communication Systems,” Motorola, Chicago, January 24th, 1997.
300. “High-performance CORBA,” Bay Area Object Interest Group, Stanford Linear Accelerator Cen-
     ter, California, December 5th, 1996.
301. “Gigabit CORBA – An Architecture for High-performance Distributed Object Computing,” Nu-
     merical Aerodynamic Simulation group, NASA, Moffett Field, California, December 3rd, 1996.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 400 of 667
Douglas C. Schmidt                                                                                   60


302. “Towards High-performance, Real-time CORBA,” Distinguished Lecturer at Kansas State Univer-
     sity, Manhattan, Kansas, November 7th, 1996.
303. “Gigabit CORBA – An Architecture for High-performance Distributed Object Computing,” Uni-
     versity of California, Los Angeles, October 3rd, 1996.
304. “Design Patterns and Frameworks for Object-Oriented Communication Software,” NSA Software
     Reuse Symposium, August 28th, 1996.
305. “CORBA – the Good, the Bad, and the Ugly,” Lucent Bell-Labs, Naperville, IL, August 22nd,
     1996.
306. “Components: the Good, the Bad, and the Ugly,” keynote talk for the 1st Components Users
     Conference, SIEMENS, Munich, Germany, July 15th, 1996.
307. “Design Patterns for Object-Oriented Communication Software,” IONA Technologies, Ltd, Dublin,
     Ireland, July 12th, 1996.
308. “OO Design Patterns and Frameworks for Communication Software,” Siemens Corporate Research,
     Princeton, New Jersey, June 27, 1996.
309. “OO Design Patterns for Concurrent, Parallel, and Distributed Systems,” IBM Centre for Advanced
     Studies, North York, Ontario, Canada, June 17, 1996.
310. “Distributed Object Computing with CORBA”, Bell Laboratories, Murray Hill, New Jersey, June
     11-12th, 1996.
311. “Design Patterns for Object-Oriented Communication Software,” Carleton University, Ottawa,
     Canada, May 21st, 1996.
312. “Integrating LAN-WAN-Celestial Networks with Design Patterns,” Featured technical session at
     the Object World East conference, Boston, MA, May 9th, 1996.
313. “Using Design Patterns to Develop Object-Oriented Communication Software Frameworks and
     Applications,” McMaster’s University, Hamilton, Canada, May 2nd, 1996.
314. “Towards Gigabit CORBA – A High-Performance Architecture for Distributed Object Computing,”
     University of Nevada, Reno, April 25th, 1996.
315. “Domain Analysis: From Tar Pit Extraction to Object Mania?” Panelist at the 4th International
     Conference on Software Reuse, Orlando, Florida, April 25th , 1996. (other panelists include Spencer
     Peterson, SEI CMU, Mark Simos, Organon Motives Inc., Will Tracz, Loral, and Nathan Zalman,
     BNR Inc).
316. “Concurrent Object-Oriented Network Programming with C++,” Kodak Imaging Technology Cen-
     ter, April 19th , 1996.
317. “Using OO Design Patterns and Frameworks to Develop Object-Oriented Communication Sys-
     tems,” INRS/NorTel Workshop on Telecommunication Software, Montreal, CA, March 14th , 1996.
318. “Concurrent Object-Oriented Network Programming with ACE and C++,” for Siemens Medical
     Engineering, Erlangen Germany, February 15th , 1996.
319. “OO Componentware” Panelist at the OOP ’96 Conference, SIGS, Munich, Germany, February
     13st , 1996. (other panelists included Michael Stal (Siemens AG) and Frank Buschmann (Siemens
     AG).
320. “Using Design Patterns to Develop High-performance Object-Oriented Communication Software
     Frameworks,” for the Department of Information Systems, Institute of Computer Science, Johannes
     Kepler University of Linz, Austria, February 12th , 1996.
321. “The Performance of Object-Oriented Components for High-speed Network Programming,” for the
     Digital Libraries research group at Stanford University, Palo Alto California, February 2nd , 1996.
322. “Distributed Object Computing with CORBA, ACE, and C++,” for South Western Bell Telephone
     advanced distributed systems group, St. Louis, MO., January 26th , 1996.
323. “OO Design Patterns for Large-Scale Object-Oriented Communication Software Systems,” AG
     Communication Systems, Phoenix, Arizona, December 11 − 13th , 1995.
324. “Experience Using OO Design Patterns to Develop Large-Scale Object-Oriented Communication
     Software Systems,” Bell Northern Research, 7th Annual Design Forum, Ottawa, Canada, December
     6th , 1995.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 401 of 667
Douglas C. Schmidt                                                                               61


325. “Using OO Design Patterns to Develop Large-Scale Distributed Systems,” Object Technology In-
     ternational, Ottawa, Canada, November 22nd , 1995.
326. “Design Patterns for Concurrent, Parallel, and Distributed Systems,” North Dallas Society for
     Object Technology, September 13th , 1995.
327. “Using Design Patterns for Iridium Communication Services,” at Motorola Iridium, Chandler, AZ,
     June 30th , 1995.
328. “Object Technology and the World-Wide Information Infrastructure,” Panelist at ECOOP ’95,
     Aarhus, Denmark, August 9th , 1995.
329. “Measuring the Performance of CORBA over ATM Networks,” HP Labs, Palo Alto, CA, June
     28th , 1995.
330. “Measuring the Performance of Object-Oriented Components for High-speed Network Program-
     ming,” The C++ and C SIG user group, New York, New York, June 5th , 1995.
331. “An Overview of Design Patterns for Object-Oriented Network Programming,” St. Louis Chapter
     of the ACM, St. Louis, MO, March 13th 1995.
332. “Design Patterns for Concurrent Object-Oriented Network Programming,” Distributed Systems
     group at Siemens Corporate Research Center, Munich, Germany, March 3rd , 1995.
333. “Patterns: ‘Eureka,’ ‘Deja-Vu,’ or ‘Just Say No’ ?” Panelist at the OOP ’95 Conference, SIGS,
     Munich, Germany January 31st , 1995. (other panelists included Richard Helm, (DMR), Frank
     Buschmann (Siemens AG), and Dave Thomas (OTI).
334. “Developing Distributed Applications with the ADAPTIVE Communication Environment,” The
     12th Annual Sun Users Group Conference, SUG, San Francisco, California, June 17th , 1994.
335. “Flexible Configuration of High-performance Distributed Communication Systems,” presented at
     the ETH-Zentrum in the Swiss Federal Institute of Technology, Zurich, Switzerland, May 31st ,
     1994.
336. “Object Oriented Techniques for Developing Distributed Applications,” Computer Science Depart-
     ment Colloquia, California State University Northridge, December 7th , 1993.
337. “Hosting the ADAPTIVE System in the x-Kernel and System V STREAMS,” The x-Kernel Work-
     shop, IEEE, Tucson, Arizona, November 10th , 1992.
338. “An Environment for Controlled Experimentation on the Performance Effects of Alternative Trans-
     port System Designs and Implementations,” IBM T. J. Watson Research Center, Hawthorne, New
     York, September 10th , 1992.

Colloquia, Seminars, and Tutorials

  1. “Programming with Java Lambdas and Streams,” O’Reilly Live Training, December 6th, 2021.
  2. “Design Patterns in Java,” O’Reilly Live Training, November 15th and 16nd, 2021.
  3. “Scalable Reactive Programming with Java,” O’Reilly Live Training, September 9th, 2021.
  4. “Design Patterns in Java,” O’Reilly Live Training, September 1st and 2nd, 2021.
  5. “Programming with Java Lambdas and Streams,” O’Reilly Live Training, July 20th, 2021.
  6. “Scalable Reactive Programming with Java,” O’Reilly Live Training, May 17th, 2021.
  7. “Scalable Reactive Programming with Java,” O’Reilly Live Training, January 22nd, 2021.
  8. “Programming with Java Lambdas and Streams,” O’Reilly Live Training, January 13th, 2021.
  9. “Design Patterns in Java,” O’Reilly Live Training, November 12th and 13th, 2020.
 10. “Design Patterns in Java,” O’Reilly Live Training, September 17th and 18th, 2020.
 11. “Programming with Java Lambdas and Streams,” O’Reilly Live Training, September 14th, 2020.
 12. “Core Java Synchronizers,” O’Reilly Live Training, August 20th, 2020.
 13. “Scalable Reactive Programming with Java,” O’Reilly Live Training, August 19th, 2020.
 14. “Programming with Java Lambdas and Streams,” O’Reilly Live Training, June 1st, 2020.
 15. “Design Patterns in Java,” O’Reilly Live Training, May 27th and 28th, 2020.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 402 of 667
Douglas C. Schmidt                                                                               62


 16. “Core Java Synchronizers,” O’Reilly Live Training, May 18th, 2020.
 17. “Programming with Java Lambdas and Streams,” O’Reilly Live Training, March 30th, 2020.
 18. “Design Patterns in Java,” O’Reilly Live Training, March 23rd and 24th, 2020.
 19. “Scalable Concurrency with the Java Executor Framework,” O’Reilly Live Training, February 24th,
     2020.
 20. “Core Java Synchronizers,” O’Reilly Live Training, February 10th, 2020.
 21. “Design Patterns in Java,” O’Reilly Live Training, January 29th and 30th, 2020.
 22. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, January 22nd, 2020.
 23. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, January 22nd, 2020.
 24. “Scalable Concurrency with the Java Executor Framework,” O’Reilly Live Training, November
     27th, 2019.
 25. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, November 18th,
     2019.
 26. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, November 6th, 2019.
 27. “Design Patterns in Java,” O’Reilly Live Training, November 4th and 5th, 2019.
 28. “Design Patterns in Java,” O’Reilly Live Training, September 17th and 18th, 2019.
 29. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, September 3rd, 2019.
 30. “Scalable Concurrency with the Java Executor Framework,” O’Reilly Live Training, August 29th,
     2019.
 31. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, August 15th,
     2019.
 32. “Design Patterns in Java,” O’Reilly Live Training, July 29th and 30th, 2019.
 33. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, August 15th,
     2019.
 34. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, July 2nd, 2019.
 35. “Design Patterns in Java,” O’Reilly Live Training, June 13th and 14th, 2019.
 36. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, May 16th, 2019.
 37. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, May 13th, 2019.
 38. “Design Patterns in Java,” O’Reilly Live Training, April 17th and 18th, 2019.
 39. “Scalable Programming with Java 8 Parallel Streams,” O’Reilly Live Training, March 27th, 2019.
 40. “Scalable Concurrency with the Java Executor Framework,” O’Reilly Live Training, March 12th,
     2019.
 41. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, March 5th, 2019.
 42. “Design Patterns in Java,” O’Reilly Live Training, February 26th and 27th, 2019.
 43. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, February 19th,
     2019.
 44. “Scalable Concurrency with the Java Executor Framework,” O’Reilly Live Training, February 5th,
     2019.
 45. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, January 22nd, 2019.
 46. “Design Patterns in Java,” O’Reilly Live Training, January 7th and 8th, 2019.
 47. “Scalable Concurrency with the Java Executor Framework,” O’Reilly Live Training, December
     11th, 2018.
 48. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, December 6th, 2018.
 49. “Design Patterns in Java,” O’Reilly Live Training, November 13th and 14th, 2018.
 50. “Scalable Concurrency with the Java Executor Framework,” O’Reilly Live Training, October 29th,
     2018.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 403 of 667
Douglas C. Schmidt                                                                                63


 51. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, October 16th, 2018.
 52. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, October 4th,
     2018.
 53. “Design Patterns in Java,” O’Reilly Live Training, September 18th and 19th, 2018.
 54. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, September 4th, 2018.
 55. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, August 30th,
     2018.
 56. “Scalable Programming with Java 8 Parallel Streams,” O’Reilly Live Training, August 20th, 2018.
 57. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, July 25th, 2018.
 58. “Design Patterns in Java,” O’Reilly Live Training, July 2nd and 3rd, 2018.
 59. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, June 26th, 2018.
 60. “Scalable Programming with Java 8 Parallel Streams,” O’Reilly Live Training, June 25th, 2018.
 61. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, June 8th, 2018.
 62. “Design Patterns in Java,” O’Reilly Live Training, May 24th and 25th, 2018.
 63. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, April 26th,
     2018.
 64. “Scalable Programming with Java 8 Parallel Streams,” O’Reilly Live Training, April 17th, 2018.
 65. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, April 13th, 2018.
 66. “Design Patterns in Java,” O’Reilly Live Training, April 3rd, 2018.
 67. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, March 13th,
     2018.
 68. “Scalable Programming with Java 8 Parallel Streams: Part 2,” O’Reilly Live Training, March 7th,
     2018.
 69. “Scalable Programming with Java 8 Parallel Streams: Part 1,” O’Reilly Live Training, March 6th,
     2018.
 70. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, March 1st, 2018.
 71. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, February 13th,
     2018.
 72. “Scalable Programming with Java 8 Parallel Streams,” O’Reilly Live Training, February 6th, 2018.
 73. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, February 1st, 2018.
 74. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, January 12th, 2018.
 75. “Scalable Programming with Java 8 Parallel Streams,” O’Reilly Live Training, January 10th, 2018.
 76. “Reactive Programming with Java 8 CompletableFutures,” O’Reilly Live Training, January 9th,
     2018.
 77. “Reactive Programming with Java 8 Completable Futures,” O’Reilly Live Training, October 23rd,
     2017.
 78. “Programming with Java 8 Lambdas and Streams,” O’Reilly Live Training, October 19th, 2017.
 79. “Scalable Programming with Java 8 Parallel Streams,” O’Reilly Live Training, October 17th, 2017.
 80. “Java 8 Concurrency,” O’Reilly Live Training, September 7-8th, 2017.
 81. “Java 8 Concurrency,” O’Reilly Live Training, August 30-31st, 2017.
 82. “Java 8 Concurrency,” O’Reilly Live Training, June 28-29th, 2017.
 83. “The C++ Standard Template Library,” Qualcomm, San Diego, February 16-19, 2016.
 84. “The C++ Standard Template Library,” Qualcomm, San Diego, October 13-16, 2015.
 85. “The C++ Standard Template Library,” Qualcomm, San Diego, October 13-16, 2015.
 86. “Pattern-Oriented Java Concurrency,” InformIT Webinar, May 14th, 2015.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 404 of 667
Douglas C. Schmidt                                                                             64


 87. “Pattern-Oriented Concurrent Programming with Java,” OOP Conference, Munich, Germany, Jan-
     uary 30th, 2015.
 88. “Concurrent Programming in Android,” OOP Conference, Munich, Germany, January 29th, 2015.
 89. “The C++ Standard Template Library,” Qualcomm, San Diego, October 14-17, 2014.
 90. “The C++ Standard Template Library,” Qualcomm, San Diego, August 5-8, 2014.
 91. “Pattern-Oriented Software Architecture for Concurrent and Networked Software,” July 28-31,
     2014.
 92. “The C++ Standard Template Library,” Qualcomm, San Diego, August 5-8, 2014.
 93. “The C++ Standard Template Library,” Qualcomm, India, March, 2014.
 94. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, January 23-34, 2014.
 95. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, October 16-17th, 2013.
 96. “Patterns and Frameworks for Concurrent and Networked Software,” 2013 International Summer
     School on Trends in Computing Tarragona, Spain, July 25-26, 2013.
 97. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, January 23-24th, 2013.
 98. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, October 4-5th, 2012.
 99. “Embedded Systems Patterns for C Developers,” Qualcomm, San Diego, CA, August 28th, Septem-
     ber 11th, September 25th, October 9th, October 23rd, and November 6th, 2012.
100. “Embedded Systems Patterns for C Developers,” Qualcomm, San Diego, CA, August 14-15th,
     2012.
101. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, May 15-18th, 2012.
102. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, January 25-26th, 2012.
103. “Object-Oriented Software Patterns and Frameworks,” Qualcomm, San Diego, CA, October 11-
     12th, 2011.
104. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, May 11-12th, 2011.
105. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, January 25-26, 2011.
106. “Pattern-Oriented Software Architecture: A Pattern Language for Concurrent and Networked
     Software,” SPLASH 2010, October 17-21, 2010, Reno, Nevada.
107. “Pattern-Oriented Software Architectures - Patterns and Frameworks for Concurrent and Net-
     worked Software,” ProObject, Hanover, MD, August 11th, 2010.
108. “Pattern-Oriented Software Architecture: Patterns for Concurrent and Networked Embedded Sys-
     tems,” Qualcomm, Bangalore, India, June 21-22, 2010.
109. “Pattern-Oriented Software Architecture: Patterns for Concurrent and Networked Embedded Sys-
     tems,” Qualcomm, Hyderabad, India, June 24-25, 2010.
110. ”Pattern-Oriented Software Architecture: A Pattern Language for High Quality and Affordable
     Distributed Computing Systems,” IEEE Webinar Series, June 10th, 2010.
111. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, May 12-13, 2010.
112. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, December 16-17, 2009.
113. ”Pattern-Oriented Software Architecture: A Pattern Language for Distributed Computing,” OOP-
     SLA 2009, Orlando, FL, October, 2009.
114. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, September 15-16, 2009.
115. “Networked Embedded Systems Patterns for C Developers,” Qualcomm, San Diego, CA, June
     11-12, 2009.
116. ”Pattern-Oriented Software Architecture: A Pattern Language for Distributed Computing,” Soft-
     ware Architecture Technology Users’ Network (SATURN) workshop May 5, 2009 in Pittsburgh,
     PA.
117. “The C++ Standard Template Library,” Qualcomm, San Diego, CA, January 29-30, 2009.
118. ”Pattern-Oriented Software Architecture: A Pattern Language for Distributed Computing,” IEEE
     Webinar Series, January 8th, 2009.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 405 of 667
Douglas C. Schmidt                                                                             65


119. ”Pattern-Oriented Software Architecture: A Pattern Language for Distributed Computing,” OOP-
     SLA 2008, Nashville, TN, October 20, 2008.
120. ”The Data Distribution Service for Real-time Systems,” OOPSLA 2008, Nashville, TN, October
     19, 2008.
121. “Object-Oriented Patterns for Concurrent and Networked Applications,” Qualcomm, San Diego,
     CA, August 5-6th, 2008.
122. “The C++ Standard Template Library,” Qualcomm, San Diego, NJ, July 29-30, 2008.
123. “Object-Oriented Patterns and Frameworks with C++,” Qualcomm, San Diego, CA, June 12-13,
     2008.
124. “The C++ Standard Template Library,” Qualcomm, New Jersey, May 5-6, 2008.
125. ”Pattern-Oriented Software Architecture: A Pattern Language for Distributed Computing,” Soft-
     ware Architecture Technology Users’ Network (SATURN) workshop April 28 - May 1, 2008 in
     Pittsburgh, PA.
126. Developing Distributed Computing Systems with Patterns and Middleware, UCLA Extension,
     February 19-21, 2008.
127. Pattern-Oriented Software Architecture: A Pattern Language for Distributed Computing, OOP-
     SLA 2007, Montreal, CA, October 24, 2007.
128. Object-Oriented Design and Programming with Patterns, Frameworks, and Middleware, Qual-
     comm, New Jersey, September 27-28, 2007.
129. Object-Oriented Design and Programming with Patterns, Frameworks, and Middleware, Qual-
     comm, San Diego, CA, August 21-22, 2007.
130. Lightweight CORBA Component Model, 8th OMG Real-time/Embedded CORBA workshop, Wash-
     ington DC, July 9–12, 2007.
131. Model-Driven Engineering for Distributed Real-time and Embedded Systems, 13th IEEE Real-
     Time and Embedded Technology and Applications Symposium (RTAS 2007), Bellevue, WA, United
     States April 3-6, 2007.
132. “Improving Product Reliability and ROI Through Effective Software Reuse,” Qualcomm, San
     Diego, CA, March 27th, 2007.
133. “Developing Distributed Computing Systems with Patterns and Middleware,” UCLA Extension,
     February 21-23, 2007.
134. “POSA: Patterns for Concurrent and Distributed Systems,” OOP, Munich, Germany, January 22,
     2007.
135. “Meeting the Challenges of Software-Intensive Embedded Systems,” OOP, Munich, Germany, Jan-
     uary 23, 2007.
136. “Object-Oriented Design and Programming with Patterns, Frameworks, and Middleware,” Qual-
     comm, San Diego, CA, January 10-11, 2007.
137. “Model-Driven Development of Distributed Systems,” OOPSLA 2006, Portland, OR, October 22-
     26, 2006.
138. “Pattern-Oriented Software Architecture: Patterns for Concurrent and Networked Objects,” OOP-
     SLA 2006, Portland, OR, October 22-26, 2006.
139. “Model-Driven Engineering of Distributed Systems,” MODELS 2006, Genova, Italy, October 1,
     2006.
140. “Distributed Real-time and Embedded Systems,” Advanced Institute of Information Technology,
     Seoul, Korea, August 7-11 2006.
141. “Lightweight CORBA Component Model,” 7th OMG Real-time/Embedded CORBA workshop,
     Washington DC, July 10–13, 2006.
142. “How to Use ACE Effectively,” Trion World Network, Austin, TX, June 19-21, 2006.
143. “Improving Product Reliability and ROI Through Effective Software Reuse,” Qualcomm, San
     Diego, CA, June 15, 2006.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 406 of 667
Douglas C. Schmidt                                                                              66


144. “Object-Oriented Design and Programming with Patterns, Frameworks, and Middleware,” Qual-
     comm, San Diego, CA, June 13-14, 2006.
145. “Object-Oriented Design and Programming with Patterns, Frameworks, and Middleware,” Qual-
     comm, San Diego, CA, Feb 9-10, 2006.
146. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems, University of California, Los Angeles Extension, January 18-20st, 2006.”
147. “Model Driven Development of Distributed Real-time and Embedded Systems,” at the OOP con-
     ference, January 17, 2006, Munich, Germany.
148. “Pattern-Oriented Software Architecture,” at the OOP conference, January 16, 2006, Munich,
     Germany.
149. “Model Driven Development: State of the Art,” at the OOP conference, January 16, 2006, Munich,
     Germany.
150. “Concurrent C++ Network Programming with Patterns and Frameworks,” C++ Connections: 20
     Years of C++ conference, November 11, 2005, Mandalay Bay, Las Vegas, NV.
151. “Pattern-Oriented Software Architecture: Patterns for Concurrent and Distributed Systems,”
     OOPSLA 2005, San Diego, October 17th, 2005.
152. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” BAE Systems, Greenlawn, New York, August 25, September 2-3.
153. “Lightweight CORBA Component Model,” 6th OMG Real-time/Embedded CORBA workshop,
     Washington DC, July 11–14, 2005.
154. “Model Driven Development for Distributed Real-time and Embedded Systems,” OMG Information
     Days: MDA - Frankfurt, Germany, June 9th, 2005
155. “Model Driven Development for Distributed Real-time and Embedded Systems,” OMG Information
     Days: MDA - Munich, Germany, June 7th, 2005.
156. “Model Driven Development for Distributed Real-time and Embedded Systems,” OMG Information
     Days: MDA - Zurich, Switzerland, June 1st, 2005.
157. Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” BAE Systems, Wayne, New Jersey, May 13, 16, 19, 23, 27, 2005.
158. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” BAE Systems, Wayne, New Jersey, February 18th, February 22nd, March 1, 8, and 15
     2005.
159. “Pattern-Oriented Software Architectures for Distributed Systems” the OOP conference, January
     28, 2005, Munich, Germany.
160. “Research on Model Driven Development of Distributed Real-time and Embedded Systems,” the
     OOP conference, January 26, 2005, Munich, Germany.
161. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California, Los Angeles Extension, January 19-21st, 2005.
162. Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems, BAE Systems, Wayne, New Jersey, October 29, November 1, 8, 15, 22, 2004.
163. “Pattern-Oriented Software Architectures for Distributed Systems,” OOPSLA 2004, Vancouver,
     British Columbia, October 25th, 2004.
164. “Notes on the Forgotten Craft of Software Architecture”, OOPSLA 2004, Vancouver, British
     Columbia, October 25th, 2004.
165. “Model Driven Architecture with QoS-enabled component middleware,” MDE for Embedded Sys-
     tems, Brest, France, September 10th 2004.
166. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Qualcomm, San Diego, CA, Jan 7-6, 2005.
167. “Object-Oriented Design and Programming with Patterns, Frameworks, and Middleware,” Qual-
     comm, San Diego, CA, Jan 9-10, 2005.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 407 of 667
Douglas C. Schmidt                                                                               67


168. “Using the Lightweight CORBA Component Model to Develop Distributed Real-time and Embed-
     ded Applications,” OMG Workshop on Distributed Object Computing for Real-time and Embedded
     Systems, July 12th, 2004, Reston, VA.
169. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California, Los Angeles Extension, July 7-9th, 2004.
170. Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems, University of California, Los Angeles Extension, January 21st-23rd, 2004.
171. Patterns and Frameworks for Concurrent Distributed Systems, SIGS OOP Conference, Munich,
     Germany, January 19th, 2004.
172. Middleware for Distributed Real-time and Embedded Systems, SIGS OOP Conference, Munich,
     Germany, January 19th, 2004.
173. “Pattern-Oriented Software Architectures for Networked and Concurrent Applications,” OOPSLA
     2003, Anaheim, CA, October 27, 2003.
174. The JAOO 2003 conference, September 22-26, Aarhus, Denmark.
175. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California, Los Angeles Extension, July 9-11th, 2003.
176. “Patterns, Frameworks, and Middleware: Their Synergistic Relationship,” Frontiers of Software
     Practice, International Conference on Software Engineering, Portland, Oregon, May 7, 2003.
177. “Pattern-Oriented Distributed Systems Architecture,” International Conference on Software Engi-
     neering, Portland, Oregon, May 5, 2003.
178. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California, Los Angeles Extension, January 22nd-24th, 2003.
179. “Patterns and Application Experiences for Real-time Object Request Brokers,” OOPSLA 2002,
     Seattle, Washington, November, 2002.
180. “Pattern-Oriented Software Architectures for Networked and Concurrent Applications,” OOPSLA
     2002, Seattle, Washington, November, 2002.
181. Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems, Raytheon, St. Petersburg, FL, September 3–5, 2003.
182. Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems, University of California, Los Angeles Extension, July 22nd-24th, 2002.
183. “Policies and Patterns for High-performance, Real-time Object Request Brokers,” Mercury Com-
     puter Systems, Tysons Corner, VA, November Feb 7, 2002.
184. Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems, University of California, Los Angeles Extension, January 23rd-25th, 2002.
185. “Policies and Patterns for High-performance, Real-time Object Request Brokers,” Raytheon, Ross-
     lyn, VA, November 12th, 2001.
186. “Pattern-Oriented Software Architecture: Patterns for Concurrent and Networked Objects,” OOP-
     SLA 2001, October 15th, 2000, Minneapolis, Minnesota.
187. “Policies and Patterns for High-performance, Real-time Object Request Brokers,” International
     Symposium on Distributed Object Applications (DOA), Rome, September 17-20, 2001.
188. “Policies and Patterns for QoS-enabled Middleware,” The JAOO 2001 conference, September 10-14,
     Aarhus, Denmark.
189. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California, Los Angeles Extension, July 23rd-25th, 2001.
190. “Policies and Patterns for High-performance, Real-time Object Request Brokers,” OMG Second
     Workshop on Real-time and Embedded Distributed Object Computing on June 4-7, 2001 in Hern-
     don, VA, USA.
191. “Design Patterns for Understanding Middleware and Component Infrastructures,” 6th USENIX
     Conference on Object-Oriented Technologies and Systems, January 29, 2001, San Antonio, TX.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 408 of 667
Douglas C. Schmidt                                                                            68


192. “Principles and Patterns of High-performance, Real-time Object Request Brokers,” OOP confer-
     ence, Munich, Germany, January 23, 2001.
193. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California, Los Angeles Extension, January 3-5, 2001.
194. “Patterns for Concurrent and Distributed Objects,” OOPSLA 2000, October 16th, 2000, Min-
     neapolis, Minnesota.
195. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California, Berkeley Extension, May 24-26, 2000.
196. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Jet Propulsion Laboratory, Pasadena, CA, April, 2000.
197. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California, Los Angeles Extension, March 27-31, 2000.
198. “Optimizing Middleware to Support High-Performance Real-time Distributed and Embedded Sys-
     tems,” OOP conference, Munich, Germany, January 27, 2000.
199. “Effective Architectures for DOC,” OOP conference, Munich, Germany, January 24, 2000.
200. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California, Berkeley Extension, December 13-15, 1999.
201. “Middleware Techniques and Optimizations for Real-time Embedded Systems,” 12th International
     Symposium On System Synthesis, IEEE, San Jose, CA, USA November, 11, 1999
202. “Patterns and Principles of Real-time Object Request Brokers,” OOPSLA 1999, ACM, Denver,
     Colorado, November 1-5, 1999.
203. “Using Design Patterns, Frameworks and CORBA to Reduce the Complexity of Developing Reusable
     Large-Scale Object-Oriented Concurrent Communication Components and Systems,” Fifth IEEE
     International Conference on Engineering of Complex Computer Systems, Las Vegas, Nevada, Oc-
     tober 18-21, 1999
204. “Distributed Technologies,” Motorola, Schaumburg, IL, August 10-12, 1999.
205. “Patterns and Principles of Real-time Object Request Brokers,” the 3rd Components Users Con-
     ference, SIEMENS, Munich, Germany, July 12th, 1999.
206. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Lucent, Naperville, IL, June 23-24 and June 30 - July 1st, 1999.
207. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Motorola Software Symposium, Ft. Lauderdale, Florida, June 21st, 1999.
208. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California Los Angeles Extension, June 2-4, 1999.
209. “Concurrent Object-Oriented Network Programming and Distributed Object Computing,” Univer-
     sity of California Berkeley Extension, May 19-21, 1999.
210. “Patterns and Principles of Real-time Object Request Brokers,” 5th USENIX Conference on
     Object-Oriented Technologies and Systems, May 4, 1999, San Diego, CA.
211. “Real-time CORBA for Telecom – Fact or Fiction?” Nortel Design Forum, Ottawa, CA, April 22,
     1999.
212. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Lucent, Columbus, OH, March 18-19 and 25-26, 1999.
213. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Lucent, Holmdel, NJ, March 1-4, 1999.
214. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Lucent/Octel, Milpitas, CA, December 14-16, 1998.
215. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California Los Angeles Extension, December 8-10, 1998.
216. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Motorola, Schaumburg, IL, December 2-4, 1998.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 409 of 667
Douglas C. Schmidt                                                                            69


217. “Concurrent Object-Oriented Network Programming and Distributed Object Computing,” Univer-
     sity of California Berkeley Extension, November 16-18, 1998.
218. “Using Design Patterns and Frameworks to Develop Object-Oriented Communication Software,”
     OOPSLA 1998, October 19th, 1998, Vancouver, British Columbia.
219. “High-Performance CORBA,” Lucent CORBA Forum, Holmdel, NJ, September 29, 1998.
220. “Writing Efficient Multi-Thread CORBA Applications,” the 3rd Components Users Conference,
     SIEMENS, Munich, Germany, July 10, 1998.
221. “Using Design Patterns and Frameworks to Develop Object-Oriented Communication Software,”
     UCLA extension course, Milan, Italy, June 29 - July 1, 1998.
222. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” Lucent, Naperville, IL, June 8-11, 1998.
223. “Patterns and Performance of Real-time Object Request Brokers,” Fourth IEEE Real-Time Tech-
     nology and Applications Symposium (RTAS), Denver, Colorado, June 5, 1998.
224. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California Los Angeles Extension, June 1-3, 1998.
225. “Patterns and Principles of Real-time Object Request Brokers,” NSA, Ft. Meade, MD, March 22,
     1998.
226. Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems, Crosskeys, Ottawa Canada, March 19-21, 1998.
227. “Concurrent Object-Oriented Network Programming and Distributed Object Computing,” Univer-
     sity of California Berkeley Extension, March 4-6, 1998.
228. “Building Distributed Communication Software with CORBA,” the Motorola Systems Symposium,
     February, 1998, Austin, Texas, USA.
229. “Introduction to Distributed Objects with CORBA,” SIGS OOP ’98, February 9-13, 1998, Munich,
     Germany.
230. “Design Patterns for Developing and Using CORBA Object Request Brokers,” SIGS OOP ’98,
     February 9-13, 1998, Munich, Germany.
231. Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems, Lucent Technologies, Whippany, NJ, January 5-6, 1998.
232. “Using Design Patterns, Frameworks, and CORBA to Develop Object-Oriented Communication
     Systems,” University of California Los Angeles Extension, December 10-12, 1997.
233. “Concurrent Object-Oriented Network Programming and Distributed Object Computing,” Univer-
     sity of California Berkeley Extension, December 10-12, 1997.
234. “Using Design Patterns and Frameworks to Develop Object-Oriented Communication Systems,”
     Motorola Cellular Infrastructure Group, Arlington Heights, Illinois, December 1 - 3, 1997.
235. “Using Design Patterns and Frameworks to Develop Object-Oriented Communication Systems,”
     TOOLS Pacific ’97, Melbourne, Australia November 24 - 27, 1997.
236. “Using Design Patterns and Frameworks to Develop Object-Oriented Communication Systems” for
     the IEEE GLOBECOM ’97 conference, Phoenix, AZ, November 4-8, 1997.
237. “High-performance Distributed Object Computing with CORBA,” IEEE International Conference
     on Network Protocols, Atlanta, GA, October 28th, 1997.
238. “Using Design Patterns and Frameworks to Develop Object-Oriented Communication Systems,”
     OOPSLA 1997, ACM, Atlanta, GA, October 6-7th, 1997.
239. “Using Design Patterns and Frameworks to Develop Object-oriented Communication Systems,”
     24th International Conference on Technology of Object-Oriented Languages and Systems (TOOLS
     Asia ’97). Beijing, China, September 22, 1997.
240. “Principles and Patterns of Distributed Object Computing Systems,” for the ACM Principles of
     Distributed Computing Conference (PODC), Santa Barbara, CA, August 21st, 1997.
241. “Distributed Object Computing with CORBA and ACE,” Alta Software, Jacksonville, FL, June
     4-5th, 1997.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 410 of 667
Douglas C. Schmidt                                                                              70


242. “Distributed Object Computing with CORBA”, Object Expo, NY, NY, June 2nd, 1997.
243. “Concurrent Object-Oriented Network Programming and Distributed Object Computing,” Univer-
     sity of California Berkeley Extension, May 28-30, 1997.
244. “Patterns and Principles of Real-time Object Request Brokers,” National Security Agency, Ft.
     Meade, MD, May 13th, 1997.
245. “Building Distributed Communication Software with CORBA,” the Motorola Systems Symposium,
     March, 1997, Chandler, AZ, USA.
246. “Evaluating Concurrency Models for CORBA Servers,” the 2nd Components Users Conference,
     SIEMENS, Munich, Germany, July 14th, 1997.
247. “Design Patterns for Evolving System Software Components from UNIX to Windows NT,” the 2st
     Components Users Conference, SIEMENS, Munich, Germany, July 14th, 1997.
248. “Techniques and Patterns for Distributed Object Computing with CORBA and C++,” University
     of California Berkeley Extension, December 4-6, 1996.
249. “Design Patterns for Concurrent Object-Oriented Programming with ACE and C++,” C++ World,
     Dallas, TX, November 11th, 1996.
250. “Implementing Concurrent CORBA Applications with Multi-Threaded Orbix and ACE,” C++
     World, Dallas, TX, November 12th, 1996.
251. “Why Reuse has Failed, and How You Can Make it Work for You,” Berne Technology Forum 1996,
     Berne, Switzerland, October 18, 1996.
252. “Introduction to Distributed Object Programming with CORBA,” the Local Computer Networks
     ’96 conference, IEEE, Minneapolis, Minnesota, October 13, 1996.
253. “Object-Oriented Design Patterns for Concurrent, Parallel, and Distributed Systems,” the OOP-
     SLA 1996 conference, ACM, San Jose, California, October, 1996.
254. “OO Design Patterns Network Programming in C++,” Object Expo Europe, London, England,
     September 23rd, 1996.
255. “Effective Multithreaded CORBA Programming,” Object Expo Europe, London, England, Septem-
     ber 24th, 1996.
256. “Workshop on Object Oriented Technologies,” Mitsubishi, July 22nd to July 26th, 1996, Kobe,
     Japan.
257. “Evaluating Concurrency Models for CORBA Servers,” the 1st Components Users Conference,
     SIEMENS, Munich, Germany, July 15th, 1996.
258. “Design Patterns for Evolving System Software Components from UNIX to Windows NT,” the 1st
     Components Users Conference, SIEMENS, Munich, Germany, July 15th, 1996.
259. “OO Design Patterns for Concurrent, Parallel, and Distributed Systems,” the 2nd Conference on
     Object-Oriented Technology, USENIX, Toronto, Canada, June 17, 1996.
260. “OO Design Patterns for Concurrent, Parallel, and Distributed Systems,” the 3rd Conference on
     Object-Oriented Technology, USENIX, Portland, Oregon, June 16th, 1996.
261. “OO Design Patterns for Network Programming in C++,” the Object Expo ’96 Conference, SIGS,
     Sydney, Australia, June 3rd , 1996.
262. “Effective Multi-threaded CORBA Programming Programming,” the Object Expo ’96 Conference,
     SIGS, Sydney, Australia, June 5th , 1996.
263. “Concurrent Object-oriented Network Programming with C++,” University Of California Berkeley
     Extension, Berkeley, California, May 22nd − −24th , 1996.
264. “Experience Developing Reusable Software Using Object-Oriented Design Patterns and Frame-
     works,” the 4th International Conference on Software Reuse, Orlando, Florida, USA April 23-26,
     1996.
265. “Techniques for Object-Oriented Network Programming,” the OOP Conference, SIGS, Munich,
     Germany, Feb 14th, 1996.
266. “Using Object-Oriented Design Patterns to Develop Large-Scale Distributed Systems,” the OOP
     Conference, SIGS, Munich, Germany, Feb 13th , 1996.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 411 of 667
Douglas C. Schmidt                                                                                  71


267. “Concurrent Object-oriented Network Programming with C++,” University Of California Berkeley
     Extension, Berkeley, California, November 30th-December 1st, 1995.
268. “Using Object-Oriented Design Patterns to Develop Large-Scale Distributed Systems,” the 4th
     C++ World Conference, SIGS, Chicago, Illinois, October 31st, 1995.
269. “Techniques for Object-Oriented Network Programming,” the 4th C++ World Conference, SIGS,
     Chicago, Illinois, October 31st, 1995.
270. “Experience using OO Design Patterns to Develop Large-scale Distributed Communication Sys-
     tems,” OOPSLA 1995 Conference in Austin, Texas, October 1995.
271. “Concurrent Object-oriented Network Programming with C++,” the 9th European Conference on
     Object-Oriented Programming (ECOOP), Aarhus, Denmark, August, 1995.
272. “Concurrent Object-Oriented Network Programming with C++,” the 1st Conference on Object-
     Oriented Technology, USENIX, Monterey, California, June 23, 1995.
273. “Design Patterns for Concurrent and Distributed Systems,” the Object Expo ’95 Conference, SIGS,
     New York, NY, June 5th 1995.
274. “Object Oriented Network Programming,” the Object Expo ’95 Conference, SIGS, New York, NY,
     June 5th , 1995.
275. “Software Construction with Active Objects in C++,” the OOP ’95 Conference, SIGS, Munich,
     Germany January 31, 1995.
276. “Object-Oriented Concurrent Programming with C++,” the OOP ’95 Conference, SIGS, Munich,
     Germany January 31, 1995.
277. “Concurrent Object-Oriented Programming,” the Winter USENIX Conference, USENIX, New
     Orleans, Louisiana, January, 1995.
278. “Object-Oriented Network Programming with C++,” the 3rd C++ World Conference, SIGS,
     Austin, Texas, November 14, 1994.
279. “Object-Oriented Techniques for Dynamically Configuring Concurrent Distributed Applications,”
     the 9th OOPSLA 1994, ACM, Portland, Oregon, October 23, 1994.
280. “Object-Oriented Network Programming,” the 6th C++ Conference, USENIX, Cambridge, Mas-
     sachusetts, April 11, 1994.
281. “Object-Oriented Techniques for Developing Extensible Network Servers,” the 2nd C++ World
     Conference, SIGS, Dallas, Texas, October 19, 1993.


Professional Activities
Editorial Activities

  1. Guest co-editor for a special issue of the Springer Journal Annals of Telecommunications on “Mid-
     dleware for Internet distribution in the context of Cloud Computing and the Internet of Things,”
     2016, with Gordon Blair and Chantal Taconet.
  2. Guest co-editor of the Proceedings of the IEEE special issue on Applications of Augmented Reality
     Environments, 2014.
  3. Guest co-editor of the International Journal of Network Protocols and Algorithms (NPA) Special
     Issue on Data Dissemination for Large scale Complex Critical Infrastructures, 2010.
  4. Wrote the foreword to the book Patterns of Parallel Software Design by Jorge Luis Ortega Arjona,
     Wiley, 2010.
  5. Editorial board member of the Springer Journal of Internet Services and Applications (JISA).
  6. Editorial board member of the Transactions on Pattern Languages of Programming (TPLoP) pub-
     lished by Springer-Verlag.
  7. Wrote the foreword to the book Practical Software Factories in .NET, by Gunther Lenz and
     Christoph Wienands, Apress, 2006.
  8. Guest editor of the IEEE Computer Special Issue on Model Driven Development, February 2006.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 412 of 667
Douglas C. Schmidt                                                                                  72


  9. Guest co-editor of IEEE Network special issue on “Middleware Technologies for Future Communi-
     cation Networks,” February 2004 (co-editors with Gordon Blair and Andrew Campbell).
 10. Editorial board member of the Springer Journal of Aspect-Oriented Software Development.
 11. Wrote the foreword to the book Fundamentals of Distributed Object Systems: The CORBA Per-
     spective, by Zahir Tari and Omran Bukhres, Wiley and Sons, 2001.
 12. Wrote the foreword to the book Design Patterns in Communication Software, edited by Linda
     Rising, Cambridge University Press, 2000.
 13. Guest editor of the Special Issue on Components and Patterns for The Journal of Theory and
     Practice of Object Systems, Wiley & Sons, to appear 2002.
 14. Invited editorial on “Trends in Distributed Object Computing” for the special issue on Distributed
     Object-Oriented Systems appearing in the Parallel and Distributed Computing Practices journal,
     edited by Maria Cobb and Kevine Shaw, Vol. 3, No. 1, March 2000.
 15. Co-editor of “Building Application Frameworks: Object-Oriented Foundations of Framework De-
     sign,” John Wiley & Sons, 1999 (co-editors are Mohamed Fayad and Ralph Johnson), ISBN 0-471-
     24875-4.
 16. Co-editor of “Implementing Application Frameworks: Object-Oriented Frameworks at Work,” John
     Wiley & Sons, 1999 (co-editors are Mohamed Fayad and Ralph Johnson), ISBN 0-471-25201-8.
 17. Guest editor of the Special Issue on OO Application Frameworks for the Communications of the
     ACM, (co-editor Mohamed Fayad), ACM, October, 1997.
 18. Guest editor of the special issue on Distributed Object Computing for USENIX Computing Systems
     Journal, November/December, 1996.
 19. Guest editor of a feature topic on Distributed Object Computing for IEEE Communications Mag-
     azine, February, 1997.
 20. Wrote the foreward for Dr. Nayeem Islam’s book on Distributed Objects: Methodologies for Cus-
     tomizing Operating Systems (IEEE Computer Society Press, 1996).
 21. Guest editor of the Special Issue on Patterns and Pattern Languages for Communications of the
     ACM, (co-editors Ralph Johnson and Mohamed Fayad), ACM, October, 1996.
 22. Co-editor of a book entitled “Pattern Languages of Program Design,” Addison-Wesley, 1995 (co-
     editor is Jim Coplien, Bell Labs).
 23. Editor of the Patterns++ section of the C++ Report Magazine, April 1997 - March 1998.
 24. Editor-in-chief of the C++ Report Magazine, January 1996 - February 1997.
 25. Editorial board member of the IEEE Computer Society - Computer Science & Engineering Practice
     Board.

Program Chairmenships and Conference Organization

  1. Chair of the DoD Organic Software Infrastructure Workshop, Arlington VA, August 13th, 2018.
  2. General Chair of the Software Product Line Conference, Nashville TN, July/August, 2015.
  3. Program Chair of the Interoperable Open Architecture 2013 conference, September 10-11, 2013,
     Washington, DC.
  4. Program Chair of the NSF Workshop on Computing Clouds for Cyber-Physical Systems, March
     15th, 2013, Ballston, VA.
  5. Program Chair of the Interoperable Open Architecture 2012 conference, October 29-31, 2012,
     London, UK.
  6. Program co-chair for the 1st International Symposium on Secure Virtual Infrastructures (DOA-
     SVI’11), 17-19 Oct 2011, Crete, Greece.
  7. Program co-chair for the COMmunication System softWAre and middleware (Comsware) confer-
     ence, Helsinki, Finland, August 2010.
  8. Doctoral symposium chair for OOPSLA 2009, Orlando Floria, October 25-29, 2009.
  9. General co-chair for the 3rd ACM International Conference on Distributed Event-Based Systems
     (DEBS 2009), July 6-9, 2009 - Nashville, TN, USA.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 413 of 667
Douglas C. Schmidt                                                                                 73


 10. Member of the ISORC 2009 advisory and publicity committee for ISORC 2009, March 17-20, 2009,
     Toyko, Japan.
 11. Area Coordinator for the Integrating Systems of Systems using Services topic at the 6th Interna-
     tional Conference on Service Oriented Computing, Sydney (Australia), December 1st - 5th, 2008.
 12. Member of the Advisory and Publicity Committee for ISORC 2008, Orlando, Florida, May 5 -7,
     2008.
 13. Co-chair of the Middleware for Network Eccentric and Mobile Applications (MiNEMA.08) Work-
     shop co-located with ACM EuroSys Conference, March 31 - April 1, 2008, Glasgow, Scotland.
 14. General chair of the ACM/IEEE 10th International Conference on Model Driven Engineering Lan-
     guages and Systems (MODELS 2007), Nashville TN, September 30-October 5, 2007.
 15. Area co-coordinator for the Quality of Service research track at the The Fifth International Con-
     ference on Service-Oriented Computing, September 17-20, 2007, Vienna, Austria.
 16. Program co-chair of the NSF workshop on New Research Directions in Composition and Systems
     Technology for High Confidence Cyber Physical Systems, July 9, 2007.
 17. Program co-chair for the Science of Design Principal Investigators workshop, February 28 to March
     2, 2007.
 18. Program co-coordinator for SOA Runtime area of the 4th International Conference on Service
     Oriented Computing Chicago, USA, December 4-7, 2006.
 19. Program co-chair of the NSF/NCO Workshop on High-Confidence Software Platforms for Cyber-
     Physical Systems (HCSP-CPS) Workshop systems, November 30th to December 1st, 2006, Alexan-
     dria, VA.
 20. Panels chair for the MoDELS 2006 conference, Genova Italy, Oct. 2-6, 2006.
 21. Program Co-Chair of the Generative Programming and Component Engineering (GPCE) Confer-
     ence, Portland, OR, October 2006 (collocated with OOPSLA ’06).
 22. Program Chair of the NSF/NCO Workshop on New Research Directions in High Confidence Soft-
     ware Infrastructure for Distributed Real-time and Embedded (DRE) systems, July 10th, 2006,
     Fairfax VA.
 23. Program Co-Chair of the NSF/NCO High Confidence Medical Device Software and Systems (HCMDSS)
     Workshop, May 2005, University of Pennsylvania, Philadelphia, Pennsylvania.
 24. Track Vice Chair for Real-time Middleware and Software Engineering for the Real-time Systems
     Symposium, Lisbon, Portugal, December, 2004.
 25. Program Co-chair for the NSF/NCO Planning Meeting for the High Confidence Medical Device
     Software and Systems (HCMDSS) Workshop, November 16-17, 2004, Arlington, VA.
 26. Program chair for 19th Annual ACM SIGPLAN Conference on Object-Oriented Programming, Sys-
     tems, Languages, and Applications (OOSPLA), October 24-28, 2004, Vancouver, British Columbia,
     Canada.
 27. General co-chair of the IEEE Real-Time and Embedded Technology and Applications Symposium,
     May 25 – 28, 2004, Toronto, Canada.
 28. Program chair of the CCM Workshop, December 10th, 2003, Nashville, TN.
 29. General co-chair for the 5th International Symposium on Distributed Objects and Applications,
     November 3–7 2003, Catania, Sicily.
 30. Program co-chair of the 3rd TAO Workshop, July 18, 2002, Arlington, VA.
 31. Program co-chair for Middleware 2003, 4th IFIP/ACM/USENIX International Conference on Dis-
     tributed Systems Platforms, June 16-20, 2003, Rio de Janeiro, Brazil.
 32. Program co-chair for the 9th IEEE Real-time/Embedded Technology and Applications Symposium
     (RTAS), May 27-30, 2003, Washington, DC.
 33. Area vice-chair and session chair for Middleware at the 23rd IEEE International Conference on
     Distributed Computing Systems (ICDCS), May 19-22nd, 2003, Providence, RI.
 34. Program co-chair of the IEEE Workshop on LargeScale Real-Time and Embedded Systems, De-
     cember 2, 2002, Austin, TX.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 414 of 667
Douglas C. Schmidt                                                                                74


 35. Program co-chair for the 4th International Symposium on Distributed Objects and Applications,
     October 28–November 1, 2002, Irvine, CA.
 36. Co-organizer of the cross-agency Software Design and Productivity Coordinating Group Workshop
     on New Visions for Software Design and Productivity: Research and Applications, December 13-14,
     Nashville, TN.
 37. Program co-chair for the 3rd International Symposium on Distributed Objects and Applications,
     September 18-20, 2001, Rome, Italy.
 38. Co-organizer of the cross-agency Workshop on New Visions for Software Design and Productivity,
     April 18-19, 2000, Ballston, VA.
 39. Area vice-chair and session chair for Middleware at the IEEE International Conference on Dis-
     tributed Computing Systems, April 16-19, Phoenix, AZ, 2001.
 40. Tutorial chair for the 6th USENIX Conference on Object-Oriented Technologies and Systems,
     January 27 - February 3, 2001, San Antonio, TX.
 41. Co-chair of the OMG Workshop on Real-time and Embedded CORBA, in Reston, VA, July 24-27,
     2000.
 42. General chair of the IFIP/ACM International Conference Middleware 2000 in New York, April,
     2000.
 43. Tutorial chair for the 5th USENIX Conference on Object-Oriented Technologies and Systems, May
     3-7, 1999, San Diego, CA.
 44. Treasurer for the Fourth International Workshop on Object-oriented Real-time Dependable Systems
     (WORDS’99) January 27-29, 1999, Radisson Hotel, Santa Barbara, California, USA.
 45. Tutorial chair for the 4th USENIX Conference on Object-Oriented Technologies and Systems, April
     27-30, 1998, Santa Fe, New Mexico.
 46. Co-chair of the mini-track on Engineering Client-Server Systems for the HICSS-31 conference, the
     Big Island of Hawaii - January 6-9, 1998.
 47. Tutorial chair for the 3rd USENIX Conference on Object-Oriented Technologies and Systems,
     Portland, OR, June 1997.
 48. Publicity chair for the 5th IEEE International Workshop on Object-Orientation in Operating Sys-
     tems, IEEE TCOS and USENIX, Seattle, Washington, October 27-28, 1996.
 49. Program chair for 3rd conference on Programming Languages of Programming, Allerton, IL, USA,
     September, 1996.
 50. Program chair for the 2nd USENIX Conference on Object-Oriented Technologies, June 1996.

Professional Service and Advisory Positions

  1. Member of the Fraunhofer Advisory Board for the University of Maryland, College Park.
  2. Member of the steering committee for the Software Product-Line Conference series.
  3. Member of the Future Airborne Capabilities Environment (FACE) Advisory Board.
  4. Vice-Chair of the Cyber Situation Awareness study for the Air Force Scientific Advisory Board.
  5. Member of the Joint Tactical Radio System (JTRS) Tiger Team in support of the Assistant Sec-
     retary of the Army, Acquisition, Logistics, and Technology.
  6. Member of the Air Force Scientific Advisory Board.
  7. Member of the advisory board for the NSF-sponsored Repository for Model-Driven Development
     (ReMoDD) project at Colorado State University.
  8. Member of the National Academics Committee on Advancing Software-Intensive Systems Pro-
     ducibility, chaired by Bill Scherlis from Carnegie Mellon University (CMU).
  9. Member of the Engineering and Methods Technical Advisory Group (TAG) for the Software Engi-
     neering Institute at Carnegie Mellon University (CMU) from 2006 to 2009.
 10. Member of the Ultra-Large-Scale (ULS) Systems study commissioned by the US Army and con-
     ducted at the Software Engineering Institute at Carnegie Mellon University (CMU).
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 415 of 667
Douglas C. Schmidt                                                                                  75


 11. Member of the Joshua group, which is an advisory board for the Air Force Research Lab (AFRL)
     in Rome, NY.
 12. Member of the steering committee for the Distributed Objects and Applications conference series.
 13. Member of the steering committee for the ACM/USENIX/IFIP Middleware conference series.
 14. Member of the steering committee for EMSOFT 2002: Second Workshop on Embedded Software,
     Grenoble, France, October, 7–9th, 2002.
 15. Member of the steering committee for EMSOFT 2001: First Workshop on Embedded Software,
     Lake Tahoe, California, October, 8th–10th, 2001.
 16. Member of the Board of Directors for the Embedded Systems Consortium for Hybrid and Embedded
     Research (ESCHER).
 17. Member of the NASA/JPL Mars Science Laboratory Mission Concept Review Board.
 18. Chair of the subcommittee on Embedded and Hybrid Systems program for the National Science
     Foundation’s 2003 Committee of Visitors in the Computer and Communications Research (C-CR)
     Division.
 19. Co-chair of the Software Design and Productivity (SDP) Coordinating Group of the Federal gov-
     ernment’s multi-agency Information Technology Research and Development (IT R&D) Program,
     the collaborative IT research effort of the major Federal science and technology agencies. The SDP
     Coordinating Group formulates the multi-agency research agenda in fundamental software design.
 20. One of the three founding members of the Scientific Advisory Board for the International Sympo-
     sium of Distributed Objects and Applications conference series.
 21. Member of the advisory board for Entera, which provides Internet content delivery systems based
     on ACE.
 22. Invited to participate in the OO Working Group of the “Strategic Directions in Computing Re-
     search” workshop sponsored by ACM at MIT in June 1996.

Technical Program Committees
  1. The 3rd IEEE International Conference on Autonomic Computing and Self-Organizing Systems
     (ACSOS 2022) held virtually from 19th to 23rd September 2022.
  2. The 16th ACM International Conference on Distributed and Event-Based Systems, June 27 to July
     1, 2022, Copenaghen, Denmark.
  3. 8th International Workshop on Middleware and Applications for the Internet of Things (M4IoT),
     held in December 2021 in conjunction with the ACM/IFIP International Middleware Conference.
  4. Middleware 2021 Doctoral Symposium, Dec. 6-10, 2021 in Quebec Canada.
  5. The 2nd IEEE International Conference on Autonomic Computing and Self-Organizing Systems
     (ACSOS 2021), September 27 to October 1, 2021, Washington DC, USA.
  6. “Web of Things, Ubiquitous and Mobile Computing” Track for the Web Conference 2021, Ljubljana,
     Slovenia, from April 19-23, 2021.
  7. 7th International Workshop on Middleware and Applications for the Internet of Things (M4IoT),
     December 2020 in conjunction with the ACM/IFIP International Middleware Conference.
  8. 14th ACM International Conference on Distributed and Event-based Systems, July 13 to July 17,
     2020, in Montreal, Quebec, Canada.
  9. The Web Conference 2020: Web of Things, Ubiquitous, and Mobile Computing Track, April 20-
     24th, 2020, Taipei, Taiwan.
 10. 6th Middleware for Context-Aware Applications in the IoT (M4IOT) workshop collocated with the
     ACM/IFIP/USENIX Middleware 2019 Conference, UC Davis, California, USA, December 9-13th
     2019.
 11. IEEE Workshop on IoT Big Data and Blockchain, at the 2019 IEEE International Conference on
     Big Data (IEEE Big Data 2019), December 9-12, 2019, Los Angeles, CA, USA.
 12. The Second International Workshop on Blockchain Dependability, in conjunction with SRDS2019,
     Lyon, France, October 1, 2019.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 416 of 667
Douglas C. Schmidt                                                                                   76


 13. The 13th ACM International Conference on Distributed and Event-based Systems, 4th-28th June,
     2019, Darmstadt, Germany.
 14. The “Web of Things, Ubiquitous, and Mobile Computing” track of The Web Conference 2019, San
     Francisco, CA, USA, May 13–17, 2019.
 15. 17th Workshop on Adaptive and Reflexive Middleware (ARM), collocated with ACM/IFIP/Usenix
     Middleware 2018, December 10-14th, 2018, Rennes, France.
 16. 25th International Conference on Pattern Languages of Programs (PLoP 2018), October 23 – 26th,
     Portland, OR, USA.
 17. First International Workshop on Blockchain Dependability (WBD2018), held in conjunction with
     the 14th European Dependable Computing Conference, 10-14 September 2018, Iasi, Romania.
 18. Workshop on Designing Resilient Intelligent Systems for Testability and Reliability, April 30 – May
     4, 2018 in Seattle, USA (co-located with ICSA 2018).
 19. 15th IEEE International Conference on Autonomic Computing (ICAC 2018), Sept 3-7, 2018,
     Trento, Italy.
 20. International Conference on Information Society and Smart Cities (ISC 2018), Oxford city, United
     Kingdom 06-07 June, 2018.
 21. 16th Workshop on Adaptive and Reflective Middleware workshop collocated with the ACM/IFIP/USENIX
     Middleware 2017 Conference, Las Vegas, Nevada, Dec 11-15, 2017.
 22. 4th Middleware for Context-Aware Applications in the IoT (M4IOT) workshop collocated with the
     ACM/IFIP/USENIX Middleware 2017 Conference, Las Vegas, Nevada, Dec 11-15, 2017.
 23. 10th International Workshop on Dynamic Software Product Lines - Adaptive Systems through
     Runtime Variability (DSPL ’17), Sept 25-29, 2017, Sevilla, Spain.
 24. 11th ACM International Conference on Distributed and Event-Based Systems (DEBS 2017), June
     19 - 23, 2017, Barcelona, Spain.
 25. 3rd Middleware for Context-Aware Applications in the IoT (M4IOT) workshop collocated with the
     ACM/IFIP/USENIX Middleware 2016 Conference, December 12-16, 2016 - Trento, Italy.
 26. 7th International Symposium On Leveraging Applications of Formal Methods, Verification and
     Validation, October 5th – 14th, 2016, Corfu, Greece.
 27. 10th ACM International Conference on Distributed and Event-based Systems, June 20 to June 24,
     2016 in Irvine, CA.
 28. First International Workshop on Science of Smart City Operations and Platforms Engineering
     (SCOPE), April 11, 2016, Vienna, Austria (Co-located with CPS Week).
 29. 9th Dynamic Software Product Lines (DSLP) 2015 (held as part of SASO 2015) at MIT on Septem-
     ber 21, 2015.
 30. 13th International Conference on Advances in Mobile Computing and Multimedia (MoMM2015),
     Brussels, Belgium from 10-12 December 2015.
 31. 13th IEEE/IFIP International Conference on Embedded and Ubiquitous Computing (EUC 2015,
     track on Cyber Physical Systems, Porto Portugal, October 21-23, 2015.
 32. 35th IEEE International Conference on Distributed Computing Systems (ICDCS), June29 - July
     2, 2015 in Columbus, Ohio, USA.
 33. Fourth International Conference on Emerging Applications of Information Technology (EAIT) at
     Indian Statistical Institute, Kolkata, India, December 19-21, 2014.
 34. The 20th IEEE Real-Time and Embedded Technology and Applications Symposium (RTAS 2014),
     Berlin, Germany, April 2014.
 35. International Conference on Model-Driven Engineering and Software Development (MODELSWARD
     2014), Lisbon, Portugal, 7-9 January, 2014.
 36. 14th ACM/IFIP/USENIX International Middleware Conference (Middleware 2013), December 9-
     13, Beijing, China.
 37. 32nd International Symposium on Reliable Distributed Systems (SRDS 2013), September 30-
     October 3, 2013 at Braga, Portugal.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 417 of 667
Douglas C. Schmidt                                                                                 77


 38. 17th International Software Product Line Conference SPLC, Tokyo, Japan, 26-30 August 2013.
 39. First International Workshop on Engineering Mobile-Enabled Systems, in conjunction with ICSE
     2013, May 18-26th, 2013, San Francisco, CA.
 40. International Conference on Model-Driven Engineering and Software Development (MODELSWARD
     2013), Barcelona, Spain, 19-21 February, 2013.
 41. ACM/USENIX/IFIP International Middleware conference, Montreal, Quebec, Canada, December
     3-7, 2012.
 42. 11th Workshop on Adaptive and Reflective Middleware, in conjunction with Middleware 2012 in
     Montreal, Quebec, Canada, December 3-7, 2012.
 43. International Workshop on Real-Time and Distributed Computing in Emerging Applications (RE-
     ACTION) 2012, San Juan, Puerto Rico, December 4, 2012, in co-location with the 33rd IEEE
     Real-Time Systems Symposium.
 44. Third International Conference on Emerging Applications of Information Technology (EAIT) Novem-
     ber 29 - December 01, 2012, Kolkata, India.
 45. IASTED International Conference on Parallel and Distributed Computing and Systems (PDCS),
     Las Vegas, USA, November 12 - 14, 2012.
 46. 31st International Symposium on Reliable Distributed Systems (SRDS), 8th-11th October 2012.
     Irvine, California.
 47. Sixth International Workshop on Dynamic Software Product Lines (DSPL), September 2 - 7, 2012,
     Salvador, Brazil.
 48. 16th International Software Product Line Conference (SPLC 2012), Salvador, Brazil on 02-07
     September 2012.
 49. 5th International workshop UML and Formal Methods (UML&FM 2012), Paris, France, August
     27-31, 2012.
 50. UML&AADL 2012, July 18-20,2012, Ecole Normale Superieure, Paris, France.
 51. 17th IEEE International Conference on Engineering of Complex Computer Systems (ICECCS
     2012), July 18-20,2012, Ecole Normale Superieure, Paris, France.
 52. COMPSAC 2012 - Trustworthy Software Systems for the Digital Society, July 16-20, 2012, Izmir,
     Turkey.
 53. Foundations Track of the 8th European Conference on Modelling Foundations and Applications
     (ECMFA 2012), Copenhagen, Denmark, 2-6th of July, 2012.
 54. 24th International Conference on Software Engineering and Knowledge Engineering, Redwood City,
     California, USA, July 1-3, 2012.
 55. 12th IFIP International Conference on Distributed Applications and Interoperable Systems (DAIS’12),
     Stockholm, Sweden, 13-16 June 2012.
 56. 15th IEEE International Symposium on Object and component-oriented Real-time distributed
     Computing (ISORC), April 11-13, 2012, Shenzhen, China.
 57. 23rd IASTED International Conference on Parallel and Distributed Computing and Systems (PDCS
     2011), Dallas, USA, December 14 to 16, 2011.
 58. Fourth IEEE International Workshop on Real-Time Service-Oriented Architecture and Applications
     (RTSOAA 2011), December 12th–14th 2011, University of California, Irvine, CA.
 59. ACM/IFIP/USENIX International Middleware Conference, Lisbon, Portugal, December 12th to
     16th, 2011.
 60. 9th International Conference on Advances in Mobile Computing and Multimedia (MoMM2011),
     Hue City, Vietnam, 05-07 December 2011.
 61. Control Systems, Automation and Robotics track of the 3rd International Congress on Ultra Mod-
     ern Telecommunications and Control Systems (ICUMT 2011), Hungary on October 5-7, 2011.
 62. 15th IEEE International Enterprise Distributed Object Computing Conference (EDOC 2011), Au-
     gust 29th - September 2nd, 2011, Helsinki, Finland.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 418 of 667
Douglas C. Schmidt                                                                              78


 63. 15th International Software Product Line Conference (SPLC 2011), Research/Experience Track,
     Munich, Germany, August, 22-26, 2011.
 64. 15th International Software Product Line Conference (SPLC 2011), Industry Track, Munich, Ger-
     many, August, 22-26, 2011.
 65. 2nd Workshop on Formal Methods in Software Product Line Engineering - Munich (Germany),
     August 2011.
 66. 23rd International Conference on Software Engineering and Knowledge Engineering (SEKE2011),
     Miami Beach, USA, July 7-9, 2011.
 67. 2nd International Workshop on Analysis Tools and Methodologies for Embedded and Real-time
     Systems, July, 5th 2011, Porto, Portugal.
 68. Fourth IEEE International workshop UML and Formal Methods, co-located with FM 2011, June
     20th, 2011, Lero, Limerick, Ireland.
 69. The Software Engineering and Data Engineering (SEDE 2011) conference, Las Vegas, Nevada, June
     20-22, 2011.
 70. 3rd International Workshop on Model-Driven Architecture and Modeling-Driven Software Devel-
     opment (MDA&MDSD 2011) in conjunction with the 6th International Conference on Evaluation
     of Novel Approaches to Software Engineering - ENASE 2011, Beijing Jiaotong University, 8-11,
     June 2011.
 71. 11th International IFIP Conference on Distributed Applications and Interoperable Systems (DAIS
     2011), Reykjavik, Iceland, June 6-9 2011.
 72. Second Product LinE Approaches in Software Engineering (PLEASE) workshop, collocated with
     33rd International Conference on Software Engineering, Waikiki, Honolulu, Hawaii, May 21-28,
     2011.
 73. 16th Annual IEEE International Conference on the Engineering of Complex Computer Systems
     (ICECCS), April 27th-29th, 2011 Las Vegas, NV, USA.
 74. Sixth IEEE International workshop UML and AADL, in conjunction with ICECCS 2011, April
     27th, 2011, Las Vegas, USA.
 75. First International Workshop on Cyber-Physical Networking Systems (CPNS’2011), in conjunction
     with INFOCOM 2011, April 15, 2011, Shanghai, China.
 76. 2nd Workshop on Model Based Engineering for Embedded System Design (M-BED 2011), colo-
     cated with the Design, Automation, and Test in Europe (DATE) conference, 14-18, March, 2011,
     Grenoble, France.
 77. Second International Conference on Emerging Applications of Information Technology (EAIT
     2011), February, 2011 at Kolkata, India.
 78. Fifth International Workshop on ”Variability Modeling of Software-intensive Systems” (VaMoS
     ’11), January 27-29 2011 in Namur, Belgium.
 79. 9th Workshop on Adaptive and Reflective Middleware (ARM 2010) November 27, 2010, Bangalore
     India, collocated with Middleware 2010.
 80. The 22nd IASTED International Conference on Parallel and Distributed Computing and Systems
     (PDCS 2010), November 8-10, 2010, Marina Del Ray, California.
 81. International Conference on Software Engineering, Management, and Application (ICSEMA 2010)
     Kathmandu, Nepal, October 29th and 30th, 2010.
 82. The MobiCPS 2010 workshop, held in conjunction with the 7th International Conference on Ubiq-
     uitous Intelligence and Computing (UIC2010), October 26-29, 2010 Xian, China.
 83. Fourteenth IEEE International Enterprise Computing Conference (EDOC 2010), 25-29 October
     2010, Vitoria, ES, Brazil.
 84. Advances in Business ICT (ABICT) 2010 Workshop Wisla, Poland, October 18-20, 2010.
 85. 3rd Workshop on Model Based Architecting and Construction of Embedded Systems (ACES-MB),
     held in conjunction with MoDELS 2010, Oslo, Norway, October 3-8, 2010.
 86. 4th Dynamic Software Product Line Workshop held in conjunction with the 14th International
     Software Product Line Conference 2010, Jeju Island, South Korea, September 13-17, 2010.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 419 of 667
Douglas C. Schmidt                                                                                79


 87. TOOLS Europe 2010, Malaga, Spain, June 28 to July 2, 2010.
 88. 22nd International Conference on Software Engineering and Knowledge Engineering (SEKE’2010),
     to be held July 1-3, 2010, Redwood City, California.
 89. 13th International Symposium on Component Based Software Engineering (CBSE 2010), June
     23-25 2010 in Prague, Czech Republic.
 90. Sixth European Conference on Modelling Foundations and Applications (ECMFA), University of
     Pierre & Marie Curie, Paris, France. June 15-18, 2010.
 91. 10th IFIP WG 6.1 International Conference on Distributed Applications and Interoperable Systems
     (DAIS), Amsterdam, The Netherlands, June 7-9, 2010.
 92. The 11th OMG Real-time/Embedded CORBA workshop, Washington DC, May 24-26, 2010.
 93. Industrial track at the 32nd International Conference on Software Engineering (ICSE 2010), Cape
     Town (South Africa), May 2-8, 2010.
 94. Thirteeth International Conference on Business Information Systems (BIS 2010), Berlin, Germany,
     May 3-5 2010.
 95. 1st International Workshop on Product LinE Approaches in Software Engineering, May 2nd, 2010,
     Cape Town, South Africa, held in conjunction with the 32nd International Conference on Software
     Engineering (ICSE 2010).
 96. Workshop on Effective Multicasting for Future Critical Networked Systems (EMFINES 2010), at
     the Eighth European Dependable Computing Conference (EDCC), Valencia, Spain, April 28-30,
     2010.
 97. 1st Workshop on Model-Based Engineering for Embedded Systems Design, co-located with DATE
     2010, March 12, 2010 in Dresden, Germany.
 98. IEEE International Conference on Engineering of Complex Computer Systems (ICECCS 2010),
     Oxford 22-26, March 2010.
 99. Special session on “Advanced Peer-to-Peer Protocols and Applications” at the Ninth IASTED Inter-
     national Conference on Parallel and Distributed Computing and Networks (PDCN 2010) February
     16-18, 2010 Innsbruck, Austria.
100. Fourth Variability Modelling of Software-intensive Systems (VaMoS ’10) workshop, Linz, Austria
     - January 27-29, 2010.
101. 8th Workshop on Adaptive and Reflective Middleware (ARM’09), in collocation with the 10th
     ACM/IFIP/USENIX Middleware Conference, in Urbana Champaign, Illinois, November 30th,
     2009.
102. Workshop committee for OOPSLA 2009, Orlando Floria, October 25-29, 2009.
103. The ARTIST 2nd International Workshop on Model Based Architecting and Construction of Em-
     bedded Systems (ACESMB 2009), in conjunction with the 12th ACM/IEEE International Confer-
     ence on Model Driven Engineering Languages and Systems (MODELS 2009), October 6th, 2009,
     Denver, Colorado.
104. The Thirteenth IEEE International EDOC Conference (EDOC 2009), 31 August - 4 September
     2009, Auckland, New Zealand.
105. The 10th OMG Real-time/Embedded CORBA workshop, Washington DC, July 13–15, 2009.
106. The Software Engineering and Knowledge Engineering (SEKE’2009) conference, July 1-3, 2009,
     Boston, MA.
107. 12th International Symposium on Component-Based Software Engineering (CBSE 2009), East
     Stroudsburg University, Pennsylvania, USA, June 22-25, 2009.
108. The Second International Workshop on Cyber-Physical Systems (WCPS2009), held in conjunction
     with IEEE ICDCS 2009 in Montreal, Canada, June 22, 2009.
109. The Fifth European Conference on Model Driven Architecture Foundations and Applications
     (ECMDA), Gdansk, Poland, summer of 2009.
110. The 9th IFIP International Conference on Distributed Applications and Interoperable Systems
     (DAIS 2009) conference, Lisbon, Portugal, June 9-11, 2009.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 420 of 667
Douglas C. Schmidt                                                                                80


111. The Fourth International Conference on COMmunication System softWAre and middlewaRE (COM-
     SWARE), 15th - 19th June 2009, Trinity College Dublin, Ireland.
112. The UML&AADL Workshop, held in conjunction with ICECCS 2009 The fourteenth IEEE In-
     ternational Conference on Engineering of Complex Computer Systems June 02, 2009, Potsdam,
     Germany.
113. The 15th Real-time and Embedded Applications Symposium (RTAS) 2009, Track B, Real-time and
     Embedded Applications, Benchmarks and Tools, San Francisco, CA, United States, April 13 - 16,
     2009.
114. Member of the ISORC 2009 advisory and publicity committee for ISORC 2009, March 17-20, 2009,
     Toyko, Japan.
115. the 13th International Software Product Line Conference (SPLC), August 24-28, 2009, San Fran-
     cisco, CA.
116. the European Conference on Model Driven Architecture - Foundations and Applications 2009,
     University of Twente, Netherlands, June 2009.
117. The third workshop on ”Variability Modelling of Software-intensive systems” (VaMoS’09), January
     28-30 2009 in Sevilla, Spain.
118. the 1st Workshop on Software Reuse Efforts, November 27-29, 2008 Brazil.
119. the 7th Workshop on Adaptive and Reflective Middleware (ARM’08) in collocation with the 9th
     ACM/IFIP/USENIX Middleware Conference, Leuven, Belgium, December 1st 2008.
120. the Middleware 2008 9th International Middleware Conference, December 1-6, 2008, Leuven, Bel-
     gium.
121. the 11th Component-Based Software Engineering conference, Karlsruhe, Germany, October 14-17,
     2008.
122. the ARTIST International Workshop on Model Based Architecting and Construction of Embedded
     Systems (ACESMB 2008), in conjunction with the 11th ACM/IEEE International Conference on
     Model Driven Engineering Languages and Systems (MODELS 2008), Toulouse, September 29th,
     2008.
123. the 6th Java Technology for Real-Time and Embedded Systems (JTRES) conference, Santa Clara,
     California, USA, 24-26 September, 2008.
124. the 12th IEEE International Enterprise Distributed Computing Conference (EDOC) (EDOC 2008),
     15-19 September 2008, Munich, Germany.
125. the First Workshop on Analyses of Software Product Lines (ASPL’08), September 12, 2008 in
     Limerick, Ireland in conjunction with SPLC’08.
126. the 9th OMG Real-time/Embedded CORBA workshop, Washington DC, July 14–17, 2008
127. the 3rd International Conference on Software and Data Technologies, July 5-8, 2008, Porto, Por-
     tugal.
128. the 20th International Conference on Software Engineering and Knowledge Engineering (SEKE’08),
     Redwood City, California, USA, July 1-3, 2008.
129. the TOOLS EUROPE 2008 conference, June 30 to July 4, 2008 at ETH Zurich.
130. National Conference on Research & Development in Hardware & Systems (CSI-RDHS 2008), Com-
     puter Society of India Kolkata Chapter & CSI Division I (Hardware & Systems), June 20-21, 2008,
     Kolkata, India.
131. the First International Workshop on Cyber-Physical Systems, Beijing, China, June 17 - 20, 2008.
132. the ECMDA 2008 (Fourth European Conference on Model Driven Architecture Foundations and
     Applications) in Berlin, June 09 - 12, 2008.
133. the Distributed Applications and Interoperable Systems (DAIS), Oslo, Norway, June 4, 2008.
134. the 2nd International Workshop on Ultra-Large-Scale Software-Intensive Systems (ULSSIS 2008),
     May 10-11, 2008 Leipzig, Germany.
135. the Automotive Systems Track at the 30th International Conference on Software Engineering
     (ICSE), Leipzig, Germany, 10-18 May 2008.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 421 of 667
Douglas C. Schmidt                                                                                 81


136. the Real-Time and embedded Applications / Benchmarks track at the 14th IEEE Real-Time and
     Embedded Technology and Applications Symposium (RTAS 2008), St. Louis, MO, April 22-24,
     2008.
137. the 3rd UML and AADL Workshop held in conjunction with the 13th IEEE International Confer-
     ence on Engineering of Complex Computer Systems, Belfast, Northern Ireland, 31 March - 4 April
     2008.
138. the ACM Programming for Separation of Concern track at SAC 2008, Fortaleza, Brazil, March 16
     - 20, 2008.
139. the 6th edition of the International Workshop on Adaptive and Reflective Middleware, held in
     conjunction with Middleware 2007 in Newport Beach, California.
140. the IEEE/ACM/USENIX Middleware conference, November 2007.
141. the IASTED International Conference on Parallel and Distributed Computing and Systems, PDCS
     2007, Cambridge, MA, USA from Nov 19-21, 2007.
142. the 9th International Symposium on Distributed Objects, Middleware, and Applications (DOA),
     Iberian peninsula and islands, Oct 28 - Nov 2, 2007.
143. Member of the Doctoral Symposium committee at OOPSLA 2007, Portland, OR October 21-25,
     2007.
144. the International Symposium on Ambient Intelligence and Computing, October 2007, Korea.
145. the IEEE conference on Enterprise Distributed Object Computing (EDOC), Annapolis, MD, Oc-
     tober 15-19, 2007.
146. the 5th Java Technology for Real-Time and Embedded Systems (JTRES), Vienna, Austria, 26-28
     September, 2007.
147. the Workshop on Trade-Off analysis of Software Quality Attributes (TOSQA), collocated with
     the sixth joint meeting of the European Software Engineering Conference and the ACM SIGSOFT
     Symposium on the Foundations of Software Engineering, Dubrovnik, Croatia, September 3-7, 2007.
148. the 2nd International Conference on Software and Data Technologies, July 22-25th 2007, Barcelona,
     Spain.
149. the Fourth IEEE International Conference on Web Services, Salt Lake City, UT, July 9-13, 2007.
150. the 10th International Component-Based Software Engineering (CBSE) Symposium, Boston, MA,
     July 9-11 2007.
151. the 8th OMG Real-time/Embedded CORBA workshop, Washington DC, July 9–12, 2007.
152. the International Conference TOOLS EUROPE 2007, Zurich, Switzerland on June, 24-28 2007.
153. the track on ”Real-Time and Embedded Applications and Benchmarks” for the 13th IEEE Real-
     Time and Embedded Technology and Applications Symposium, Bellevue, WA, April 3 - April 6,
     2007.
154. the Workshop on the Foundations of Interactive Computation (FInCo 2007), Braga, Portugal,
     March 24 - April 1, 2007.
155. the 15th International Workshop on Parallel and Distributed Real-Time Systems (WPDRTS), Long
     Beach, California, 26-27 March, 2007.
156. the ACM Symposium on Applied Computing, Programming for Separation of Concerns track,
     Seoul, Korea, March 11 - 15, 2007.
157. the Workshop on Pervasive Computing Environments and Services (PCES 07), Naples, Italy, Feb
     7-9, 2007.
158. the Minitrack on Components for Embedded and Real-time Systems at the 40th Hawaiian Inter-
     national Conference on System Sciences, January 3-6, 2007 at Waikoloa, Big Island, Hawaii.
159. the 13th Asia Pacific Software Engineering Conference (APSEC06), Bangalore, India, Dec 6-8,
     2006.
160. the Real-time Middleware and Software Engineering track of the The 27th IEEE Real-Time Systems
     Symposium, December 5-8, 2006 Rio de Janeiro, Brazil.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 422 of 667
Douglas C. Schmidt                                                                                 82


161. the 2nd International Conference on Trends in Enterprise Application Architecture, November 29th
     to December 1st, 2006, Berlin, Germany.
162. the workshop on MOdel Driven Development for Middleware (MODDM), November 27, 2006,
     Melbourne, Australia.
163. the International Symposium on Distributed Objects and Applications (DOA), Montpellier, France,
     Oct 29 - Nov 3, 2006.
164. the “Library-Centric Software Design” (LCSD’06) workshop at the OOPSLA’06 conference in Port-
     land, Oregon, October 22-26, 2006.
165. Judge for the Student Research Competition at OOPSLA 2006, Portland, OR, October 23-24,
     2006.
166. the NSF Workshop On Cyber-Physical Systems, October 16 - 17, 2006, Austin, Texas.
167. the Models at Run-Time MaRT-06 workshop held at the MoDELS 2006 conference, Genova Italy,
     Oct. 2-6, 2006.
168. the MoDELS 2006 conference, Genova Italy, Oct. 2-6, 2006.
169. the 7th OMG Real-time/Embedded CORBA workshop, Washington DC, July 11–14, 2006.
170. the European Conference on Object-Oriented Programming, Nantes, France, July 3-7, 2006.
171. the 9th International Symposium on Component-Based Software Engineering (CBSE 2006), Mal-
     ardalen University, Sweden, June 29th-1st July 2006.
172. the 28th International Conference on Software Engineering (ICSE 28), May 24-26, 2006, Shanghai,
     China.
173. the 14th International Workshop on Parallel and Distributed Real-Time Systems, April 25-26, 2006,
     Island of Rhodes, Greece.
174. the 9th IEEE International Symposium on Object-oriented Real-time Distributed Computing, April
     24-26, 2006, Gyeongju, Korea.
175. the Automotive Software Workshop San Diego (ASWSD 2006), University of California, San Diego,
     March 15-17, 2006.
176. the C++ Connections: 20 Years of C++ conference, Nov 7-11, 2005, Mandalay Bay, Las Vegas,
     NV.
177. the Conference on Distributed Objects and Applications (DOA 2005), Oct 31 - Nov 4, 2005, Agia
     Napa, Cyprus.
178. the 20th Annual ACM SIGPLAN Conference on Object-Oriented Programming, Systems, Lan-
     guages, and Applications (OOSPLA), October 16-20, 2005, San Diego, CA, USA.
179. the 6th International Conference on Middleware (Middleware’2005), October, 2005, Grenoble,
     France.
180. the 2005 Monterey Workshop on Networked Systems, Laguna Beach, California, September 22-24,
     2005.
181. The 12th Pattern Language of Programs (PLoP 2005), September 7-10, 2005, Allerton Park, Mon-
     ticello, Illinois, USA.
182. the 14th IEEE International Symposium on High-Performance Distributed Computing (HPDC-14),
     Research Triangle Park, North Carolina, July 27, 2005.
183. the 5th International Workshop on Software and Performance (WOSP 2005), Palma de Mallorca,
     Spain, July 11-15, 2005.
184. the 6th OMG Real-time/Embedded CORBA workshop, Washington DC, July 11–14, 2005.
185. the 5th IFIP WG 6.1 International Conference on Distributed Applications and Interoperable
     Systems (DAIS 2005), June 15-17, 2005, Athens, Greece.
186. the International Conference on Autonomic Computing (ICAC 2005), Seattle, WA, June 2005.
187. the International Symposium on Component-Based Software Engineering (CBSE), co-located with
     the International Conference on Software Engineering (ICSE), May 14-15, 2005, St. Louis, MO.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 423 of 667
Douglas C. Schmidt                                                                                 83


188. the Foundations of Interactive Computation (FINCO’05) Workshop, Saturday, 9 April 2005, in
     Edinburgh, Scotland.
189. the Embedded Applications track of the IEEE Real-Time and Embedded Technology and Appli-
     cations Symposium (RTAS) 2005, San Francisco, California, March 2005.
190. the “Programming for Separation of Concerns” track at Symposium on Applied Computing (SAC
     2005), Santa Fe, New Mexico, March 2005.
191. the 12th International Symposium on the Foundations of Software Engineering, November 6th,
     2004, Newport Beach, California.
192. the Conference on Distributed Objects and Applications (DOA 2004), October 25-29, 2004 in
     Cyprus, Greece.
193. the 2nd International Workshop on Java Technologies for Real-Time and Embedded Systems
     (JTRES), October 25-29, 2004, Larnaca, Cyprus.
194. the 3rd Workshop on Reflective and Adaptive Middleware (RM2004), October 19, 2004, Toronto,
     Ontario, Canada.
195. the Middleware 2004 5th IFIP/ACM/USENIX International Conference on Distributed Systems
     Platforms, October 18-22, 2004, Toronto, Canada.
196. the 4th TAO+CIAO Workshop, Arlington, VA, July 16, 2004.
197. the DARPA Workshop on Java in Real-Time and Embedded Defense Applications, Arlington, VA,
     July 13, 2004.
198. the OMG Real-time/Embedded CORBA workshop, Crystal City, VA, July 12–15, 2004.
199. the ECOOP 2004 conference, June 14-18, 2004, Oslo, Norway.
200. the Middleware track of the 24th IEEE International Conference on Distributed Computing Systems
     (ICDCS), May 23-26, 2004, Tokyo, Japan.
201. the 2nd International Workshop on Remote Analysis and Measurement of Software Systems (RAMSS),
     Edinburgh, Scotland, UK, May 24, 2004.
202. Aspect-Oriented Software Development conference, Lancaster, England, March 22-26, 2004.
203. the SPIE/ACM Conference on Multimedia Computing and Networking, January 21-22, 2004 Santa
     Clara, California.
204. the Real-time Systems Symposium (RTSS), Cancun, Mexico, December 3-5, 2003.
205. the 4th IFIP International Conference on Distributed Applications and Interoperable Systems
     (DAIS), Paris - France November 17-21, 2003.
206. the International Workshop on Java Technologies for Real-Time and Embedded Systems (JTRES),
     November 3-7, 2003, Catania, Sicily, Italy.
207. the Domain Driven Development track at the OOPSLA 2003 18th Annual ACM SIGPLAN Con-
     ference on Object-Oriented Programming, Systems, Languages, and Applications, October 26-30,
     2003, Anaheim, California, USA.
208. the OOPSLA 2003 18th Annual ACM SIGPLAN Conference on Object-Oriented Programming,
     Systems, Languages, and Applications, October 26-30, 2003, Anaheim, California, USA.
209. External reviewer for the 2nd Generative Programming and Component Engineering (GPCE ’03)
     conference, Erfurt, Germany, September 22-25, 2003.
210. the OMG Real-time/Embedded CORBA workshop, Crystal City, VA, July 14–17, 2003.
211. the The 2nd Workshop on Reflective and Adaptive Middleware, Rio de Janeiro, Brazil, June 17,
     2003.
212. the ACM SIGPLAN 2003 Conference on Programming Language Design and Implementation
     (PLDI), San Diego, California, June 9 - 11, 2003.
213. the 1st International Workshop on Remote Analysis and Measurement of Software Systems (RAMSS),
     Portland, Oregon, May 9, 2003.
214. External reviewer for the 17th International Parallel and Distributed Processing Symposium, April
     22–26, 2003, Nice, France.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 424 of 667
Douglas C. Schmidt                                                                                 84


215. the ACM International Conference on Aspect-Oriented Software Development, March 17 - 21, 2003,
     Boston, MA.
216. the SPIE/ACM Conference on Multimedia Computing and Networking, Santa Clara, California,
     January 29–31, 2003.
217. the International Workshop on Product Line Engineering The Early Steps: Planning, Modeling,
     and Managing (PLEES ’02), Seattle, WA, November 5, 2002.
218. the 8th IEEE Real-Time and Embedded Technology and Application Symposium (RTAS), San
     Jose, CA, September 24-27, 2002.
219. the 9th Conference on Pattern Language of Programs, Allerton Park, IL, September 8-12, 2002.
220. the Workshop on Dependable Middleware-Based Systems, held as a part of DSN 2002, Washington,
     D.C., June 23-36, 2002.
221. the 2nd TAO Workshop, Arlington, VA, July 19, 2002.
222. the OMG Real-time/Embedded CORBA workshop, Crystal City, VA, July 15–18, 2002.
223. the 16th European Conference on Object-Oriented Programming, University of Malaga, Spain June
     10-14, 2002.
224. the Tenth International Workshop on Quality of Service (IWQoS), May 15-17, 2002, Miami Beach,
     Florida.
225. the International Symposium on Object-Oriented Real-time Distributed Computing (ISORC),
     Washington DC, April 29 – May 1, 2002.
226. the Seventh IEEE International Workshop on Object-oriented Real-time Dependable Systems
     (WORDS 2002), January 7-9, 2002, San Diego, CA.
227. the International Workshop on Multimedia Middleware October 5th, 2001, Ottawa, Canada.
228. the OMG Workshop on Real-time and Embedded CORBA, in Reston, VA, June 4-6, 2001.
229. the USENIX 2001 conference, Boston, MA, June 25-30, 2001.
230. the International Symposium on Object-oriented Real-time Distributed Computing (ISORC), May
     2-4, Magdenburg, Germany, 2001.
231. the 6th USENIX Conference on Object-Oriented Technologies and Systems, January 27 - February
     3, 2001, San Antonio, TX.
232. External reviewer for OOPSLA 2000, Minneapolis, MN, October 2000.
233. the 3rd IFIP International Conference on Trends towards a Universal Service Market (USM’2000),
     September 12-14, 2000.
234. the International Symposium on Distributed Objects and Applications (DOA ’00), OMG, Antwerp,
     Belgium, September 2000.
235. the ACM SIGCOMM 2000, Stockholm, Sweden, August 30 to September 1st, 2000.
236. the Pattern Languages of Programming (PLoP) conference, Monticello, Illinois, August, 2000.
237. the 9th IEEE International Conference on High-Performance Distributed Computing, August, 2000.
238. the “International Workshop on Software Engineering for Parallel and Distributed Systems” (PDSE
     2000), at the 22nd International Conference on Software Engineering (ICSE-2000), in Limerick,
     Ireland in June, 2000.
239. the 6th IEEE Real-Time Technology and Application Symposium (RTAS), May 17-19, 2000, Wash-
     ington DC, USA.
240. the 1999 ACM OOPSLA conference, Denver, Colorado, November 1-5, 1999.
241. the IFIP Sixth International Workshop on Protocols For High-Speed Networks (PfHSN ’99), Wednes-
     day August 25 – Friday August 27, 1999 Salem, MA.
242. the 1999 IEEE Real-Time Technology and Applications Symposium (RTAS99), Vancouver, British
     Columbia, Canada, June 2-4, 1999.
243. the 5th USENIX Conference on Object-Oriented Technologies and Systems, May 3-7, 1999, San
     Diego, CA.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 425 of 667
Douglas C. Schmidt                                                                                  85


244. Technical workshop committee for the International Software Architecture workshop, ACM SIG-
     SOFT’s FSE9 conference in Orlando FL, November 1-5, 1998.
245. the workshop on Software and Performance (WOSP98), Santa Fe, New Mexico, Oct 12-16 1998.
246. the IFIP International Conference on Distributed Systems Platforms and Open Distributed Pro-
     cessing: Middleware ’98. September 15-18 1998, The Lake District, England.
247. the TOOLS USA’98 conference. Santa Barbara, California, August 3 - 7, 1998.
248. the IEEE High Performance Distributed Computing conference, Chicago, IL, July 28-31, 1998.
249. 12th European Conference on Object-Oriented Programming, Brussels, Belgium, July 20 - 24, 1998.
250. the 3rd EuroPLoP conference, Kloster Irsee, Germany, July 9-11, 1998.
251. the IEEE International Conference on Configurable Distributed Systems (ICCDS ’98), Annapolis,
     MD, May 4-6, 1998.
252. the IEEE IWQoS ’98 in Napa Valley, CA, May 18-20, 1998.
253. the 4th USENIX Conference on Object-Oriented Technologies and Systems, April 26-29, 1998,
     Santa Fe, New Mexico.
254. the 3rd International Workshop on Software Engineering for Parallel and Distributed Systems,
     at the 20th International Conference on Software Engineering (ICSE-20), in April 20-21, Kyoto,
     Japan.
255. the IEEE Conference on Open Architectures and Network Programming, April 3-4, 1998, San
     Francisco, CA.
256. the Workshop on Middleware for Real-Time Systems and Services, held in conjunction with IEEE
     Real-time Systems Symposium, December 2nd, San Francisco, California.
257. the Open Signaling for ATM, Internet and Mobile Networks. October 6th and 7th, 1997, Columbia
     University, New York, NY.
258. the 24th International Conference on Technology of Object-Oriented Languages and Systems (TOOLS
     Asia ’97). Beijing, China, September 22 - 25, 1997.
259. the 4th Pattern Languages of Programming conference, Allerton Park, Illinois, September 3-5, 1997.
260. the 3rd USENIX Conference on Object-Oriented Technologies and Systems, Portland, June 16-19th
     1997.
261. Session chair of the Patterns technical paper session at ECOOP ’97, June 13th, 1997.
262. the 1997 European Conference on Object-Oriented Programming (ECOOP), June 9-13, 1997,
     Jyvskyl, Finland.
263. Chair of the technical session on ”Distributed Object Computing” for the IFIP/IEEE Fifth Inter-
     national Workshop on Quality of Service (IWQoS ’97).
264. the 2nd International Workshop on Software Engineering for Parallel and Distributed Systems, at
     the 19th International Conference on Software Engineering (ICSE-19) Sheraton Boston Hotel and
     Towers, Boston, Massachusetts, USA, May 19 and 20, 1997.
265. the 3rd USENIX Conference on Object-Oriented Technologies and Systems, Portland, 1997.
266. the 5th IEEE International Workshop on Object-Orientation in Operating Systems, IEEE TCOS
     and USENIX, Seattle, Washington, October 27-28, 1996.
267. the 1997 ACM SIGCOMM conference, Cannes, French Riviera, France, September 1997.
268. the 1997 IEEE INFOCOM conference, Kobe, Japan, April 1997.
269. the 1996 IEEE INFOCOM conference, San Francisco, CA, USA, March 24-28, 1996.
270. the 1995 IEEE INFOCOM conference, Boston, Massachusetts, USA, April, 1995.
271. the 3rd IEEE workshop on Architecture and Implementation of High Speed Communication Sub-
     systems (HPCS ’95), held in Mystic, Connecticut, August 1995.
272. the 8th IFIP International Working Conference on Upper Layer Protocols, Architectures, and
     Applications, held in Barcelona, Spain, June 1 to 3, 1994.
Workshops and Panels Organized
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 426 of 667
Douglas C. Schmidt                                                                                    86


  1. Co-organized the 1st International Workshop on Data Dissemination for Large scale Complex Crit-
     ical Infrastructures (DD4LCCI 2010), at the Eighth European Dependable Computing Conference,
     Valencia, Spain, April 28-30, 2010.
  2. Co-organized the OOPSLA Jeopardy panel at OOPSLA 2009, Orlando Floria, October 25-29, 2009.
  3. Co-organized a workshop entitled First International Workshop on Software Technologies for Ultra-
     Large-Scale (ULS) Systems at 29th Int. Conference on Software Engineering, May 20-29th, Min-
     neapolis, MN, 2007.
  4. Co-organized a session on architectures, platforms, and standards for QoS-enabled dissemination
     at the Systems and Information Interoperability Meeting, Oct 25-27, 2006 at the Minnowbrook
     Conference Center, Blue Mountain Lake, NY.
  5. Co-organized a workshop entitled “Breathturn: Ultra Large Scale Systems” at OOPSLA 2006,
     October 26, 2006, Portland, OR.
  6. Co-chair of the NSF workshop on open-source Middleware for Distributed Real-time and Embedded
     Systems, 7th OMG Real-time/Embedded CORBA workshop, Arlington, VA, July 10–13, 2006.
  7. Organized and led a session on architectures, platforms, and standards for real-time tactical infor-
     mation management at the Systems and Information Interoperability Meeting, Oct 18-21, 2005 at
     the Minnowbrook Conference Center, Blue Mountain Lake, NY.
  8. Co-organizer of the technical workshops program at OOPSLA 2005, San Diego, October 16th-20,
     2005.
  9. Co-organizer for the MODELS 2005 workshop on “MDD for Software Product-lines: Fact or Fic-
     tion?,” October 2, 2005, Jamaica.
 10. Co-organizer of the OOPSLA ’02 workshop on ”Patterns in Distributed Real-Time and Embedded
     Systems”, Seattle, WA, November, 2002.
 11. Co-organizer of the OOPSLA ’01 workshop on “Towards Patterns and Pattern Languages for OO
     Distributed Real-time and Embedded Systems” Tampa Bay, FL, October 14, 2001.
 12. Organizer and chair of a panel on real-time extensions to OO middleware, OPENSIG Fall ’97
     workshop on Open Signaling for ATM, Internet and Mobile Networks Columbia University, October
     6-7 1997, New York, NY.
 13. Co-organizer of a workshop for the 1997 European Conference on Object-Oriented Programming
     entitled CORBA: Implementation, Use, and Evaluation, Jyvaskyla, Finland, June 10th, 1997.
 14. Organizer and chair of a panel on ”QoS and Distributed Systems Platforms” for the IFIP Fifth In-
     ternational Workshop on Quality of Service (IWQoS ’97), May 22-24th, 1997, Columbia University,
     New York.
 15. Co-organizer of the OOPSLA ’95 workshop on “Patterns for Concurrent, Parallel, and Distributed
     OO Systems.”
 16. Co-facilitator of the ECOOP ’95 workshop workshop on Pattern Languages of Object-Oriented
     Programs, Aarhus, Denmark, August 1995.

Reviewer for Professional Submittals
  Reviewed papers for the following journals, conferences, books, and grant review processes:
  1. Reviewer for COVID-19 proposals to the C3.ai Digital Transformation Institute.
  2. The 21st IEEE International Symposium on Real-time Computing (ISORC), Nanyang Technolog-
     ical University, Singapore, 29th - 31st May 2018.
  3. Future Generation Computer Systems, Elsevier, edited by Aniruddha Gokhale et al., 2016.
  4. IEEE Software, Special Issue on Next Generation Mobile Computing, edited by James Edmondson
     et al., 2013.
  5. Software Testing in the Cloud, edited by Scott Tilley, 2012.
  6. Elsevier Information & Software Technology special issue on Software Reuse and Product Lines,
     2012.
  7. The 2010 Military Communications Conference, Cyber Security and Network Management, San
     Jose, CA, October 31-November 3, 2010.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 427 of 667
Douglas C. Schmidt                                                                                 87


  8. Model-Driven Domain Analysis and Software Development: Architectures and Functions, edited by
     Janis Osis and Erika Asnina, 2010.
  9. Reviewer for the book ”Patterns for Parallel Software Design,” by Jorge L. Ortega Arjona, Wiley,
     2010.
 10. Special Issue on Industrial Applications of Aspect Technology for the journal Transactions on
     Aspect-Oriented Software Development (TAOSD), 2009.
 11. Software Engineering for Self-Adaptive Systems, edited by Betty H. C. Cheng, Rogerio de Lemos,
     Holger Giese, Paola Inverardi, and Jeff Magee, Springer, 2009.
 12. Special issue on Service Oriented Computing for the ACM Transactions on the Web journal, 2008.
 13. Special Issue in Software Reuse: Methods, Processes, Tools and Experiences for the Journal of the
     Brazilian Computer Society (JBCS), 2007
 14. Designing Software-Intensive Systems: Methods and Principles book, 2008
 15. Special issue on Patterns for the IEEE Software, 2007
 16. IEEE Internet Computing Magazine, 2006.
 17. IEEE Transactions on Parallel and Distributed Systems, 2004
 18. International Journal of Software Process: Improvement and Practice Special issue - Software
     Variability: Process and Management
 19. IEEE Internet Computing Magazine
 20. 2004 NSF NSG panel
 21. IEEE Transactions on Parallel and Distributed Computing special issue on Middleware, 2003
 22. 2003 NSF ITR panel
 23. 2002 NSF CAREER panel
 24. IEEE Internet Computing Magazine, 2002
 25. NIST Competence Proposals, May 2002
 26. DARPA MoBIES program, May 2002
 27. DARPA NEST program, May 2002
 28. DARPA DASADA program, April 2002
 29. Elsevier Journal of Systems and Software Special Issue on Software Architecture: Engineering
     Quality Attributes, 2002
 30. IEEE Communications Magazine, Evolving Communications Software: Techniques and Technolo-
     gies, 2001
 31. DARPA Network Embedded Software Technology (NEST) program, 2001
 32. DARPA Software Enabled Control (SEC) program, 2000
 33. IEEE Concurrency magazine, Object-Oriented Systems Track, 1999
 34. IEEE Journal on Selected Areas in Communications special issue on “Service Enabling Platforms
     for Networked Multimedia Systems,” 1999
 35. IEEE Journal of Communications and Networks, 1999
 36. Reviewer for the 4th Pattern Languages of Programming Design book published by Addison Wesley
 37. The International Journal of Time-Critical Computing Systems, special issue on Real-time Mid-
     dleware, edited by Wei Zhao
 38. Next Generation Internet (NGR) networking research review panel, October 1998
 39. IEE Transactions on Software Engineering, special issue on Configurable Distributed Systems
 40. Theme issue on Symbolic Modeling in Practice for the Communications of the ACM
 41. “Multimedia DBMS and the WWW” Minitrack at the 32nd Hawaii International Conference on
     System Sciences, 1999
 42. “Dependable Distributed Systems” Minitrack at the 32nd Hawaii International Conference on Sys-
     tem Sciences, 1999
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 428 of 667
Douglas C. Schmidt                                                                                 88


 43. IEEE Computer special issue on ”Design Challenges for High-Performance Network Interfaces,”
     1998
 44. 1998 NSF Experimental Software Systems review panel.
 45. ACM SIGMetrics Conference, 1998
 46. ACM Transactions on Software Engineering Methods
 47. Special Issue on Patterns and Pattern Languages for the journal of Theory and Practice of Object
     Systems, (Stephen P. Berczuk, Editor), John Wiley and Sons, 1995
 48. Special Issue of Computer Communications on Building Quality of Service into Distributed Systems
 49. IEEE Communications Magazine
 50. IEEE/ACM Journal of Transactions on Networking
 51. Communications of the ACM
 52. IEE/BCS Distributed Systems Engineering Journal
 53. Software Practice and Experience, John Wiley and Sons
 54. 1998, 1997, and 1996 NSF networking program
 55. 1996 NSF software engineering and programming languages CAREER panel
 56. 1994 California MICRO (Microelectronics Innovation Computer Research Opportunity) engineering
     computer network grant review process
 57. IEEE Conference on Parallel and Distributed Computing Systems, 1994
 58. IEEE International Conference on Computer Communications and Networks, 1994
 59. IEEE INFOCOM conference, 1994
 60. 1993 NASA Applied Information Systems Research grant review process
 61. 1992 California MICRO (Microelectronics Innovation Computer Research Opportunity) engineering
     computer network grant review process
 62. 7th IFIP International Conference on Upper Layer Protocols, Architectures, and Applications, 1992
 63. The 1992 Special Issue on Measurement for IEEE Journal Transactions on Software Engineering
Memberships: IEEE, ACM, and USENIX


Patents
  1. US patent 7,523,471 – “Interpretive network daemon implemented by generic main object,” in
     conjunction with Karlheinz Dorn, Dieter Quehl, Detlef Becker, and Christian Scharf of SIEMENS
     Medical Engineering, Erlangen, Germany, 2009.


Theses Supervised
  • Doctoral and Masters Committees Chaired
      1.   Chaired the masters thesis committee for Cici Wang, November 2021.
      2.   Chaired the masters thesis committee for Evan Segaul, March 2021.
      3.   Co-chair of the doctoral dissertation defense for Peng Zhang, August 2018.
      4.   Co-chair of the doctoral dissertation defense for James Edmondson, March 2012.
      5.   Co-chair of the doctoral topic defense for James Edmondson, December 2011.
      6.   Co-chair of the doctoral dissertation defense for Will Otte, November 2011.
      7.   Chair of the doctoral dissertation defense for Brian Dougherty, March 2011.
      8.   Chair of the doctoral topic defense for Brian Dougherty, June 2010.
      9.   Chair of the masters defense for Pooja Varshneya, May 2010.
     10.   Chair of the doctoral topic defense for Nilabja Roy, March 2010.
     11.   Chair of doctoral topic defense for Joe Hoffert, November 2009.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 429 of 667
Douglas C. Schmidt                                                                                      89


     12.   Chair   of   the doctoral dissertation defense for Jai Balasubramanian, September 2009.
     13.   Chair   of   masters defense for Friedhelm Wolf, March 2009.
     14.   Chair   of   the doctoral dissertation defense for Nishanth Shankaran, October 2008.
     15.   Chair   of   the doctoral dissertation defense for Jules White, October 2008.
     16.   Chair   of   doctoral dissertation defense for Gan Deng, December 2007.
     17.   Chair   of   doctoral dissertation defense for Krishnakumar Balasubramanian, September 2007.
     18.   Chair   of   the doctoral topic defense for Nishanth Shankaran, April 2007.
     19.   Chair   of   doctoral topic defense for Krishnakumar Balasubramanian, March 2006.
     20.   Chair   of   doctoral topic defense for Gan Deng, March 2006.
     21.   Chair   of   final doctoral dissertation defense for Arvind Krishna, December 2005.
     22.   Chair   of   masters thesis committee for Emre Turkay, summer 2005.
     23.   Chair   of   doctoral topic defense for Arvind Krishna, summer 2005.
     24.   Chair   of   masters thesis committee for Ossama Othman, December, 2002.
     25.   Chair   of   doctoral dissertation committee for Carlos O’Ryan, May, 2002.
     26.   Chair   of   dissertation topic defense committee for Carlos O’Ryan, September, 2001.
     27.   Chair   of   masters committee for Nagarajan Surendran, August, 1999.
     28.   Chair   of   masters committee for Alexander Babu Arulanthu, July, 1999.
     29.   Chair   of   oral exam committee for Chris Gill, June, 1999.
     30.   Chair   of   doctoral exam committee for Andy Gokhale, May, 1998.
     31.   Chair   of   masters exam committee for Sumedh Mungee, May, 1998.
     32.   Chair   of   masters exam committee for Sergio Flores, May, 1998.
     33.   Chair   of   masters committee for Prashant Jain, June 1997.
     34.   Chair   of   doctoral topic defense for James Hu, February 1997.
     35.   Chair   of   masters committee for Tim Harrison, February 1997.
     36.   Chair   of   doctoral topic defense committee for Andy Gokhale, October, 1996.
  • Doctoral and Masters Committees Member
      1.   Served   on   the   doctoral topic defense for Zhongwei Teng, April 2021.
      2.   Served   on   the   masters thesis committee for Gabriela Gresenz, March 2021.
      3.   Served   on   the   masters thesis committee for Xiaoxing Qiu, March 2021.
      4.   Served   on   the   doctoral dissertation defense for Anirban Bhattacharjee, January 2020.
      5.   Served   on   the   doctoral topic defense for Anirban Bhattacharjee, April 2019.
      6.   Served   on   the   doctoral dissertation defense for Shunxing Bao, September 2018.
      7.   Served   on   the   doctoral dissertation defense for Shashank Shekhar, May 2018.
      8.   Served   on   the   doctoral dissertation defense for Fangzhou Sun, March 2018.
      9.   Served   on   the   doctoral topic defense for Shunxing Bao, March 2018.
     10.   Served   on   the   doctoral topic defense for Peng Zhang, January 2018.
     11.   Served   on   the   doctoral dissertation defense for Marcelino Rodriguez-Cancio, December 2017.
     12.   Served   on   the   doctoral dissertation defense for Yao Pan, November 2017.
     13.   Served   on   the   doctoral topic defense for Fangzhou Sun, September 2017.
     14.   Served   on   the   doctoral topic defense for Shashank Shekhar, May 2017.
     15.   Served   on   the   doctoral topic defense for Yao Pan, February 2017.
     16.   Served   on   the   doctoral dissertation defense for Faruk Caglar, July 2015
     17.   Served   on   the   doctoral dissertation defense for Wei Yan, May 2015.
     18.   Served   on   the   doctoral dissertation defense for Kyoungho An, March 2015.
     19.   Served   on   the   masters thesis committee for Songtao Hei, March 2015.
     20.   Served   on   the   masters thesis committee for Meng Wang, March 2015.
     21.   Served   on   the   doctoral dissertation defense for Sean Hayes, January 2015.
     22.   Served   on   the   doctoral dissertation defense for Hamilton Turner, November 2014.
     23.   Served   on   the   doctoral topic defense for Faruk Caglar, November 2014.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 430 of 667
Douglas C. Schmidt                                                                                   90


     24.   Served on the doctoral topic defense for Hamilton Turner, February 2014.
     25.   Served on the doctoral dissertation defense for Fan Qui, February 2014.
     26.   Served on the doctoral dissertation defense for Xiaowei Li, May 2013.
     27.   Served on the doctoral topic defense for Fan Qiu, April 2013.
     28.   Served on the doctoral dissertation defense for Janos Mathe, August 2012.
     29.   Served on the doctoral dissertation defense for Tripti Saxena, July 2012.
     30.   Served on the doctoral dissertation defense for Akshay Dabholkar, April 2012.
     31.   Served on the doctoral topic defense for Xiawei Li, March 2012.
     32.   Served on the doctoral topic defense for Janos Mathe, August 2011.
     33.   Served on the doctoral dissertation defense for Liang Dai, April 2011.
     34.   Served on the doctoral dissertation defense for Daniel Balasubramanian, March 2011.
     35.   Served on the doctoral topic defense for Will Otte, February 2011.
     36.   Served on the doctoral topic defense for Akshay Dabholkar, February 2011.
     37.   Served on the doctoral dissertation defense for Joe Hoffert, February 2011.
     38.   Served on the doctoral topic defense for Tripti Saxena, January 2011.
     39.   Served on the doctoral dissertatin defense for Nilabja Roy, November 2010
     40.   Served on the doctoral topic defense for Daniel Balasubramanian, October 2010.
     41.   Served on the doctoral dissertation defense for Sumant Tambe, September 2010.
     42.   Served on the doctoral topic defense for Sumant Tambe, April 2010.
     43.   Served on the doctoral dissertation defense for John Kinnebrew, March 2010.
     44.   Served on the doctoral dissertation defense for Shanshan Jiang, November 2009.
     45.   Served on the doctoral dissertation defense for James Hill, March 2009.
     46.   Served on the doctoral topic defense for James Hill, October 2008.
     47.   Served on the doctoral topic defense for Jai Balasubramanian, August 2008.
     48.   Served on the doctoral topic defense for Liang Dai, December 2008.
     49.   Served on the doctoral topic defense for Shanshan Jiang, November 2008.
     50.   Served on the doctoral topic defense for Jules White, April 2008.
     51.   Served on the doctoral topic defense for Amogh Kavimandan, February 2008.
     52.   Served on the doctoral dissertation defense for Amogh Kavimandan, November 2008.
     53.   Served on the doctoral topic defense for Amogh Kavimandan, February 2008.
     54.   Served on the doctoral dissertation defense for Michael Stal, University of Groningen, March
           2007.
     55.   Served on the doctoral topic defense for Karlkim Suwanmongkol, fall 2004.
     56.   Served on the doctoral dissertation topic defense committee for Aditya Agrawal, July, 2004.
     57.   Served on the doctoral dissertation defense for Angelo Corsaro, July 2004.
     58.   Served on the doctoral dissertation defense for Nanbor Wang, April 2004.
     59.   Served on the doctoral topic defense for Angelo Corsaro, October 2003.
     60.   Served on the doctoral dissertation defense committee for Jonathan Sprinkle, July, 2003.
     61.   Served on the doctoral dissertation topic defense committee for Aditya Agrawal, June, 2003.
     62.   Served on masters committee for Kirk Kelsey, March 2003.
     63.   Served on the dissertation topic defense committee for Jonathan Sprinkle, February, 2003.
     64.   Served as external examiner for Bob Jolliffe’s masters thesis Department of Computer Science,
           University of South Africa, March, 2003.
     65.   Served on the doctoral dissertation committee for Irfan Pyarali, December, 2001.
     66.   Served on the doctoral dissertation committee for Chris Gill, December, 2001.
     67.   Served as external examiner for Daniel Heggander’s Ph.D. dissertation in the Department
           of Software Engineering and Computer Science at Blekinge Institute of Technology, Sweden,
           September, 2001.
     68.   Served as external examiner for Mohammad Radaideh’s masters thesis in the Electrical En-
           gineering department at McMaster’s University, Canada, Winter 2000.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 431 of 667
Douglas C. Schmidt                                                                                      91


     69. Served as external examiner for David Holmes’ Ph.D. dissertation in the information and
         computer sciences department at Macquarie University, Sydney, Fall 1999.
     70. Served on final doctoral dissertation committee for Priya Narasimhan, August, 1999.
     71. Served on the doctoral final dissertation defense for Christo Papadopoulos, August, 1999.
     72. Served on dissertation topic defense for Michael Plezbert, February, 1999.
     73. Served on masters committee for Craig Nauman, February, 1999.
     74. Served on the doctoral exam committee for Chuck Cranor, July, 1998.
     75. Served on masters exam committee for Mihai Tutunaru, April, 1998.
     76. Served on the doctoral exam committee for Michael Plezbert, June, 1997.
     77. Served on masters committee for Todd Rogers, June 1997.
     78. Served on masters committee for Robert Engel, January 1997.
     79. Served on committee for final doctoral dissertation defense of R. Gopalakrishnan, November,
         1996.
     80. Served on committee for final doctoral dissertation defense of Lorrie Cranor, September, 1996.
     81. Served on the doctoral dissertation topic proposal committee for Christos Papadopoulos July,
         1995.
     82. Served on the doctoral dissertation topic proposal committee for Charles Cranor December,
         1994.
     83. Served on oral exam committee for Andy Gokhale December, 1994.
     84. Served on the doctoral dissertation proposal committee for Lorrie Cranor, December, 1994.
     85. Served on the doctoral final dissertation defense committee for Donald Wilcox, November,
         1994.
     86. Served on masters committee for Madhavapeddi Shreedhar, September, 1994
     87. Served on the doctoral dissertation topic proposal committee for R. Gopalakrishnan, Septem-
         ber, 1994.
  • Doctoral Student Advisees and Co-Advisees
      1. Mike Walker (USA)
  • Graduated PhD Students

      1.   Jaiganesh Balasubramanian, Ph.D., 2009, currently works for Citigroup, New York, NY.
      2.   Krishnakumar Balasubramanian, Ph.D., 2007, Mathworks, Boston, MA.
      3.   Angelo Corsaro, Ph.D. 2004, PrismTechnologies, Parise France.
      4.   Gan Deng, Ph.D., 2007, Citigroup, Charleston, SC.
      5.   Brian Dougherty, Ph.D. 2011, Optio Labs, Nashville, TN.
      6.   James Edmondson, Ph.D., 2012, Member of the Technical Staff, Software Engineering Insti-
           tute, Pittsburgh, PA.
      7.   Chris Gill, Ph.D. 2001, Professor, Washington University, St. Louis, MO.
      8.   Andy Gokhale, Ph.D. 1998, Associate Professor, Vanderbilt University, Nashville, TN.
      9.   James Hill, Ph.D., 2009, Assistant Professor, Indiana University, Purdue University, Indi-
           anapolis.
     10.   Joe Hoffert, Ph.D. 2011, Assistant Professor, University of Edmonton, Canada.
     11.   John Kinnebrew, Ph.D., 2010, ISIS, Nashville, TN.
     12.   Arvind Krishna, Ph.D. 2005, Qualcomm, San Diego, CA.
     13.   Irfan Pyarali, Ph.D. 2001, CitiGroup, New Jersey.
     14.   Nilabja Roy, Ph.D. 2011, Research Scientist, Institute for Software Integrated Systems, Nashville,
           TN.
     15.   Carlos O’Ryan, Ph.D., 2002, CitiGroup, Charleston, SC.
     16.   Nishanth Shankaran, Ph.D., 2008, Amazon, Seattle, WA.
     17.   Nanbor Wang, Ph.D. 2004, Research Scientist, Tech-X, Boulder, Colorado.
     18.   Jules White, Ph.D. 2008, Assistant Professor, Virginia Tech, Blackburg, VA.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 432 of 667
Douglas C. Schmidt                                                                         92


   • Graduated Masters and Ugrad Students
       1.   Alexander Babu Arulanthu, MS 1999, Sylantro, Campbell, CA.
       2.   Everett Anderson, BS 1998, Sun, Mountain View, CA.
       3.   Shawn Atkins, BS 1998, Lucent, Columbus, OH.
       4.   Matt Braun, BS 1998.
       5.   Darrell Brunsch, BS 1999, Microsoft, Redmond, WA.
       6.   George Edwards, BS 2004, Ph.D. student at University of Southern California.
       7.   Sergio Flores-Gaitan, MS 1998, Microsoft, Redmond, WA.
       8.   Priyanka Gontla, MS 2000, UBS, Irvine, CA.
       9.   Pradeep Gore, MS 2000, OOMWorks, New Jersey.
      10.   Tim Harrison, MS 1997, Mayasoft, Palo Alto, CA.
      11.   Prashant Jain, MS 1997, IBM Research, India.
      12.   Vishal Kachroo, MS 1999, Stentorsoft, CA.
      13.   Michael Kircher, BS 1998, Siemens CT, Munich, Germany.
      14.   Yamuna Krishnamurthy, MS 2000, OOMWorks, New Jersey.
      15.   Tao Lu, MS 2003, Trading Technologies, Chicago, IL.
      16.   Sumedh Mungee, MS 1998, Fujitsu, Santa Clara, CA.
      17.   Bala Natarajan, MS 2000, Veritas, India.
      18.   Kirthika Parameswaran, MS 2000, Telcordia, Piscataway, NJ.
      19.   Stoyan Paunov, MS 2006, working at Bloomberg, NYC.
      20.   Ossama Othman, MS 2002, independent consultant, Portland, OR.
      21.   Marina Spivak, MS 2000, AT Desk, Charleston, SC.
      22.   Nagarajan Surendran, MS 1999, Sylantro, Campbell, CA.
      23.   Emre Turkay, MS 2005, Turkey.
      24.   Pooja Varshneya, May 2010, Zircon Computing, Wayne, NJ.
      25.   Seth Widoff, BS 1998, independent consultant, San Francisco, CA.
      26.   Ming Xiong, MS 2007, currently working at AT Desk, Charleston, SC.
   • Former Staff
       1. Chris Cleeland, OCI, St. Louis, MO.
       2. Ray Klefstad, Research Assistant Professor, University of California, Irvine.
       3. Boris Kolpackov, Independent Consultant, South Africa.
       4. Fred Kuhns, Research Associate, Washington University, St. Louis, MO.
       5. David Levine, Director of Engineering, CombineNet, Inc, Pittsburgh, PA.
       6. Will Otte, Institute for Software Integrated Systems, Nashville, TN
       7. Jeff Parsons, Optio Labs, Nashville, TN
       8. Jules White, Ph.D. 2008, Vanderbilt University, Nashville, TN


Research Support
Total research funding since June 1995: $41,899,342

   • Sole PI: $12,030,403
   • Co-PI: $29,868,939

Grants and Contracts Received

  1. “Automated Clothing Simulation and Human Avatar Generation Engine” NSF, 9/15/2019 to
     2/29/2020, $50,000.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 433 of 667
Douglas C. Schmidt                                                                                93


  2. “Digital Thread Modelling Environment (DTME),” AFRL (subcontract through Securboration),
     8/20/2019 to 8/20/2021, $250,000, with Jules White.
  3. “Creating an Evidence-based Professional Development Support Tool for Pre-K Coaches and Teach-
     ers,” Department of Education (IES), $1,399,992, 7/1/18 to 6/30/22, Co-PI with Caroline Christo-
     pher.
  4. “Blockchain as Middleware Services for Transactive Energy Applications,” Siemens, 4/1/2017 to
     9/30/2018, $274,397, co-PI Abhishek Dubey.
  5. “Children Eating Well (CHEW) Smartphone Application for WIC Families,” USDA 4/15/2017 to
     4/14/2022, , co-PI with Pam Hull.
  6. “Industrial Internet Architecture,” Varian Medical Systems, Inc., 10/1/14 to 12/31/18, $288,808,
     co-PI Jules White.
  7. Securboration, “Virtualize Combat System Environment (ViCE),” $15,000, 1/1/18-3/26/18, Co-PI
     with Jules White.
  8. “Container Hopping at Random Intervals or Targeted-Attacked (CHARIOT),” OSD SBIR with
     Securboration, 1/19/17 to 1/19/18, $35,000.
  9. “A Digital Platform for Social and Emotional Learning,” NSF, 7/1/2018 to 12/31/2018, $50,000.
 10. “Blockchains Data Exchange via FHIR,” Solaster, 9/1/18 to 8/31/19, $30,000, co-PI with Jules
     White.
 11. “Advancing Data-Driven mHealth Technologies for Long-term Health and Health Behavior Change,”
     Trans-Institutional Program (TIPs), Vanderbilt University, 9/1/2016 to 8/31/2018, $100,000, Co-
     PIs Jules White, Trent Rosenbloom, and Heidi Silver.
 12. “IMMoRTALS,” DARPA (through subcontract with Raytheon), 12/1/15 to 12/1/19, $1,235,567,
     Co-PI Jules White.
 13. “The Robust Software Modeling Tool (RSMT),” ONR, 7/1/14 to 6/30/17, $749,904, Co-PI Jules
     White.
 14. “Building Resilient Distributed Systems for Next Generation Mobile Adhoc Cyber Physical Sys-
     tems,” Siemens 9/1/14 to 8/31/17, $438,188, co-PI Abhishek Dubey.
 15. “Capability-Based Technical Reference Frameworks for Open System Architecture Implementa-
     tions,” OSD ASDR&E, 7/3/14 to 9/11/14, $29,690.
 16. “Progressive Model Generation for Adaptive Resilient System Software,” ONR STTR, 8/6/13 to
     1/31/14, $49,406, co-PI Jules White.
 17. “Systems and Software PRodUcibility Collaboration and Experimentation Environment (S2PRUCE2),”
     AFRL (subcontract through Lockheed Martin Advanced Technology Lab), 1/4/13 to 9/30/13,
     $108,645, with A. Gokhale.
 18. “Stochastic Hybrid Systems Modeling and Middleware-enabled DDDAS for Next-generation US
     Air Force Systems,” AFOSR, 10/1/13 to 9/30/16, $935,402, Co-PI(s) Aniruddha Gokhale and
     Xenofon Koutsoukous.
 19. “Workshop on Computing Clouds for Cyber Physical Systems,” NSF, 9/15/12 to 12/31/2013,
     $73,738.
 20. “Using Social Learning to Improve Adolescent Diabetes Protocol Adherence,” NIH, $1,798,029,
     9/1/12-8/31/16, PI Shelagh Mulvaney.
 21. “Systems and Software PRodUcibility Collaboration and Experimentation Environment (S2PRUCE2),”
     AFRL (subcontract through Lockheed Martin Advanced Technology Lab), 4/3/08 to 9/30/12,
     $381,708, with A. Gokhale.
 22. “Team for Research in Ubiquitous Secure Technology (TRUST),” NSF (subcontract through UC
     Berkeley), 6/1/05 to 10/31/15, $5,970,900, co-PI(s) J. Sztipanovits and G. Karsai.
 23. “Android Mobile Military Middleware Objects (AMMO),” DARPA, 9/30/10 to 5/02/12, $1,074,093,
     with S. Neema.
 24. “Cyber-physical multi-Core Optimization for Resource and cachE effectS (C2ORES)”, AFRL,
     8/1/12 to 7/31/13, $300,000, with A. Gokhale.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 434 of 667
Douglas C. Schmidt                                                                                94


 25. “Model-Driven Tools for Distributed- and Multi-Core Middleware,” AFRL, 4/10/12 to 10/2/12,
     $30,000, with A. Gokhale.
 26. “Cloud Environmental Analysis and Relief,” NSF, 8/1/10 to 7/31/12, $66,000, with A. Gokhale.
 27. “Environment-Specific Inter-ORB Protocols,” SAIC, 8/1/09 to 5/23/12, $348,350, with A. Gokhale.
 28. “CoSMIC and CIAO Enhancements,” Northrop Grumman, 7/1/09 to 9/30/10, $878,661
 29. “Integrating DDS and CCM,” Northrop Grumman, 7/1/09 to 2/15/10, $85,000
 30. “Early Integration and Performance Testing of Heterogeneous Computing Environments,” Aus-
     tralian Defence Science and Technology Organization (DSTO), 1/9/09 to 7/30/09, $180,000.
 31. “Predictive Cache Modeling and Analysis,” AFRL (subcontract through Lockheed Martin Aero-
     nautics), 3/1/10 to 9/30/11, $100,000.
 32. “Applications of Reliable, Fast Event Notification,” Raytheon, 6/1/2008 to 5/30/2009, $60,000.
 33. “Open Modular Embedded Architectures,” General Electric Global Research, 8/1/2008 to 1/31/2009,
     $35,000.
 34. “Analysis and Simulation Techniques for Next-generation Motion Control Systems,” Aagard, 8/1/2008
     to 1/31/2009, $13,850 with Akos Ledeczi.
 35. “Open Modular Embedded Architectures,” Raytheon, 8/1/2008 to 3/31/2009, $74,276.
 36. “NAOMI,” LMCO Advanced Technology Lab, 9/1/2007 to 11/30/2009, $290,000.
 37. “IU/CRC Membership,” Siemens, 1/1/2009 to 12/31/2009, $40,000.
 38. “Enterprise Application Configuration in the Context of Model Driven Software Development and
     Software Factories,” Siemens Corporate Research, 10/1/07 to 9/31/08 $91,798.
 39. “Modular Extendable Demonstration of an Upgradeable Space Architecture (MEDUSA),” DARPA
     (subcontract through Lockheed Martin Advanced Technology Center), 2/1/2008 to 1/31/2011,
     $600,000.
 40. “CCM Middleware Implementation and Integration,” PrismTech, 6/8/2007 to 3/31/2007, $33,778.
 41. “The Smart Sensor Web Architecture,” NASA (subcontract through Lockheed Martin Advanced
     Technology Center), 12/15/06 to 11/14/09, $467,728, co-PI G. Biswas.
 42. “I/UCRC Membership,” General motors, 1/1/2008 to 12/31/2008, $100,000, co-PI G. Karsai.
 43. “Pollux: Enhanding the Real-time QoS of the Global Information Grid,” AFRL, 2/24/06 to
     7/24/08, $1,242,718, co-PI M. Reiter.
 44. “Intelligent Middleware for Next Generation Petascale Scientific Computing,” Vanderbilt Discover
     Grant, 5/1/05 to 6/30/07, $100,000, co-PI(s) A. Gokhale and P. Sheldon.
 45. “Air Force Center for Research on GIG/NCES Challenges,” AFOSR (subcontract through UC
     Berkeley), 3/1/06 to 2/28/08, $600,000, co-PI J. Sztipanovits.
 46. “Quality of Service Enabled Dissemination,” AFRL (subcontract through BBN Technologies),
     12/31/2007 to 9/30/2009, $320,000.
 47. “A Fault-Tolerant Real-Time CORBA Naming Service,” US Navy (subcontract through Tech-X
     Corp), 11/1/2007 to 4/30/2010, $175,000, co-PI A. Gokhale.
 48. “System Execution Modeling Technologies for Large-scale Net-centric Systems,” AFRL, 1/1/2008
     to 12/31/2010, $244,000.
 49. “Model-Driven Computing for Distributed Real-time Embedded Systems,” Raytheon, 8/31/04 to
     8/31/08, $500,000.
 50. “NAOMI,” LMCO Advanced Technology Lab, 9/1/2007 to 11/30/2007, $50,000.
 51. “ACE/TAO Improvement Techniques and Solutions, Veritas/Symantec, 3/31/05 to 4/31/08, $198,500.
 52. “Adaptive Resource Control for Certificable Systems,” DARPA (subcontract through LMCO Ad-
     vanced Technology Lab), 3/30/2007 to 12/31/2007, $50,000.
 53. “Survivable Internet-scale Distributed Systems,” IDA, 3/30/2007 to 12/31/2007, $60,000.
 54. “QUality of service pICKER (QUICKER),” LMCO Advanced Technology Lab, 3/30/2007 to
     12/31/2007, $60,000.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 435 of 667
Douglas C. Schmidt                                                                               95


 55. “Thimble,” LMCO Advanced Technology Lab, 3/30/2007 to 12/31/2007, $60,000.
 56. “CADynCE Experimentation Operations (CEO),” DARPA (subcontract through LMCO Advanced
     Technology Lab), 8/31/2007 to 12/31/2007, $25,000.
 57. “Real-time Discovery for Pub/Sub Middleware in WANs,” US Navy (subcontract through Tech-X
     Corp), 6/16/2007 to 9/31/2007, $15,000.
 58. “GEMS Utilization Test Suite,” LMCO Advanced Technology Lab, 9/1/07 to 11/30/07, $50,000.
 59. “Advanced Information Systems and Technology Program,” NASA (subcontract through LMCO
     Advanced Technology Center), 11/13/2007 to 12/1/2007, $22,000, co-PI G. Biswas.
 60. “Design for Adaptivity and Reliable Operation of Software Intensive Systems,” NSF CNS-0613971,
     9/1/06 to 8/31/08, $199,867, co-PI(s) S. Abdelwahed and G. Karsai.
 61. “Software Technologies Targeting Interoperability for Systems of Systems,” Army Research Lab,
     1/15/07 1/14/10, $851,567, co-PI(s) G. Karsai and J. Sztpanovits.
 62. “Software Wind Tunnel (SWiT) Capabilities,” Lockheed Martin Advanced Technology Lab, 8/1/06
     to 12/31/06, $60,000.
 63. “High-Confidence Software Platforms for Cyber-Physical Systems,” NSF, 5/1/06 to 7/30/08, $129,179.
 64. “Applying AOP to Develop of Component Synthesis with MDD,” Siemens, 3/1/03 to 2/28/07,
     $400,005.
 65. “Addressing Domain Evolution Challenges in Model-Driven Software Product-lines,” Siemens Cor-
     porate Research, 10/1/05 9/31/07, $100,000.
 66. “A Fault Tolerant Real-time CORBA Naming Service,” US Navy (subcontract through Tech-X
     Corp), 11/1/05 to 8/31/06, $15,000.
 67. “The SYstem DEployment and Configuration AssisteR (SYDECAR),” Lockheed Martin Advanced
     Technology Lab, 8/1/05 to 8/1/08, $500,000.
 68. “Future Combat Systems: Software Architecture Engineering,” DARPA (subcontract through Boe-
     ing), 1/28/05 to 12/31/07, $2,764,226, co-PI(s) J. Sztipanovits and G. Karsai.
 69. “Development of an Eclipse Plug-in,” PrismTech, 4/28/05 to 9/30/05, $25,000.
 70. “Prometheus: Enhancing the QoS of the JBI,” AFRL, 3/25/05 to 12/31/05, $500,000, co-PI(s) K.
     Birman and Mike Reiter.
 71. “A Testbed for Assuring Quality of Software for DRE Systems,” ONR, 2/15/05 to 1/31/06,
     $200,000, co-PI(s) A. Gokhale and A. Porter.
 72. “Enhancing the QoS of SOAs Using Eclipse-based MDD,” IBM, 2/15/05 to 1/31/06, $29,515, co-PI
     A. Gokhale.
 73. “Model-Driven Development of BEEP Application Protocols,” Cisco, 12/15/04 to 12/14/05, $57,976,
     co-PI A. Gokhale.
 74. “Evaluating CORBA Middleware for Space Systems,” NASA (subcontract through Lockheed Mar-
     tin Advanced Technology Center), 9/23/04 to 11/30/06, $186,180, co-PI G. Biswas.
 75. “Refactoring Techniques to Reduce Middleware Resource Utilization,” Qualcomm, 10/31/04 to
     10/31/05, $104,000, co-P B. Natarajan.
 76. “Model-Driven Development for Software Defined Radios,” BAE Systems, 12/1/04 to 3/31/05,
     $32,000.
 77. “Enhancing the Robustness and Performance of TENA,” DISA (subcontract through SAIC and
     OSC), 7/1/04 to 12/31/04, $75,000.
 78. “QoS-enabled Fault Tolerant Middleware and MDA Tools,” Lockheed Martin MSS, 4/1/03 to
     12/31/04, $516,434.
 79. “Trustworthiness in Embedded Systems,” NSF ITR CCR-032574, 9/31/03 to 8/31/06, $210,454.
 80. “ACE+TAO Enhancements,” OCI, gift $20,000.
 81. “Acquiring Accurate Dynamic Field Data Using Lightweight Instrumentation,” NSF ITR CCR-
     0312859, 10/1/02 to 9/31/07, $1,850,000, co-PI(s) A. Porter, D. Notkin, and A. Karr.
 82. “Intergovernmental Personnel Act,” DARPA, 6/1/00 to 5/31/02, $198,934.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 436 of 667
Douglas C. Schmidt                                                                              96


 83. “Optimizing Component Models,” DARPA, 4/1/01 to 6/31/02, $210,000.
 84. “HLA RTI Next-generation,” DMSO (subcontract through SAIC), 6/1/01 to 12/31/01, $70,895.
 85. “ACE Enhancements for Windows NT and Windows CE,” Siemens Medical Engineering, 2/1/00
     9/19/01, $112,000.
 86. “Scalable and Fault Tolerant Middleware,” AFRL MURI, 12/1/99 to 3/31/02, $253,701.
 87. “Protocol Engineering Research Center,” AFOSR MURI, 6/15/00 to 6/14/03, $264,720, co-PI
     Tatsuya Suda.
 88. “Optimizing ORBs for Network Management,” Cisco Systems, 1/1/00 to 12/31/00, $100,000.
 89. “TAO Optimizations,” Raytheon, 10/1/99 to 6/01/01, $50,000.
 90. “ACE+TAO on pSoS,” Motorola, 8/15/99 to 12/31/99, $30,000.
 91. “Real-time Distributed Object Computing,” Sprint, 8/15/99 8/14/00, $133,068.
 92. “TAO Enhancements,” Krones, 8/1/99 to 9/1/99, $5,000.
 93. “ACE Enhancements,” ICOMVERSE, gift, $20,000.
 94. “Weapon Systems Open Architecture,” Boeing, 7/15/99 to 1/31/00, $51,491.
 95. “Fault Tolerant CORBA,” Motorola Labs, 7/15/99 to 7/14/00, $139,000.
 96. “TAO Enhancements,” Global MAINTECH, 7/1/99 to 8/1/99, $5,000.
 97. “ACE QoS Extensions,” Motorola Trunking, 6/1/99 to 8/1/99, $5,000.
 98. “CORBA Interceptors,” Experian, 5/15/99 7/14/99, $10,000.
 99. “DCOM performance evaluation,” Microsoft, gift, $30,000.
100. “TAO Improvements,” OCI, 4/1/99 to 9/31/00, $27,000.
101. “Middleware Optimizations,” Telcordia, 2/1/99 to 1/31/00, $52,700.
102. “Minimum CORBA,” Hughes Data Networking, 4/1/99 to 3/31/00, $50,000, co-PI David Levine.
103. “Framework Usage Patterns,” Siemens Corporate Research, 4/1/99 to 3/31/00, $35,000.
104. “Dynamic Scheduling and Real-time ORB Optimizations,” Boeing, 10/1/98 9/30/99, $184,860.
105. “Distributed Object Computing Middleware,” Nortel, 11/1/98 10/31/99, $75,000.
106. “ACE subsetting,” “ACE subsetting,,” Nokia, 10/8/98 4/8/99, $30,000.
107. “Boeing Research Fellowship,” Boeing, 9/1/98 8/31/00, $81,486.
108. “Patterns and Frameworks Reuse Curriculum,” Lucent Bell Labs, 9/1/98 12/31/98, $31,200.
109. “Patterns, Frameworks, and Components,” Siemens ZT, 12/1/98 5/31/00, $175,000.
110. “High availability frameworks,” Lucent, 9/1/98 8/31/99, $39,400.
111. “Real-time Distributed Object Computing,” Sprint, 8/1/98 7/31/99, $288,194.
112. “Distributed Object Integration for the Quorum Project,” DARPA S30602-98-C-0187 (subcontract
     through BBN), 9/1/98 8/31/01, $448,643, co-PI(s) R. Schantz and J. Loyall.
113. “Evaluating a Framework for Dynamic Distributed Real-Time Scheduling,,” USENIX, gift, $18,000.
114. “Distributed Object Computing,” Microsoft, gift, $20,000.
115. “Distributed Object Visualization Environment,” Lockheed Martin, 5/1/98 to 11/31/99, $54,000.
116. “Distributed Object Computing with Adaptive End-to-end QoS Guarantees,” DARPA 9701561,
     8/1/97 to 7/31/00, $873,625.
117. “Real-time CORBA for Telecommunications,” Lucent, 12/1/97 to 11/31/98, $100,000.
118. “Developing an HLA-compliant RTI with ACE,” SAIC, 12/15/97 to 1/31/00, $228,075.
119. “Real-time CORBA for Wireless,” Motorola LMPS, 10/15/97 to 10/14/98, $200,000.
120. “Real-time CORBA for Avionics,” Computing Devices International, 10/15/97 to 10/14/98, $39,050.
121. “Dynamic Scheduling of Real-time OFPs,” Boeing, 9/1/97 to 8/31/98, $224,604.
122. “Distributed Object Visualization,” Siemens MED, 10/1/97 to 9/1/98, $40,000.
123. “The ADAPTIVE Communication Environment,” Siemens MED, 10/1/97 to 9/1/98, $70,000.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 437 of 667
Douglas C. Schmidt                                                                                97


124. “The Architect’s Assistant,” Siemens Corporate Research, 9/1/97 to 8/1/98, $35,000.
125. “Monitoring, Visualization, and Control of High Speed Networks,” NSF NCR-97-14698, 9/1/97 to
     8/31/01, $1,200,000, co-PI(s) G. Parulkar, E. Kraemer, J. Turner, and R. Cytron .
126. “Adaptive Software Technology Demonstration (ASTD),” AFRL (subcontract through Boeing),
     9/1/98 to 8/31/02, $1,200,000, co-PI(s) B. Doerr, D. Allen, and R. Jha.
127. “Patterns, Frameworks, and Components for Multimedia Systems,” Siemens Research, 1/97 to
     6/98, $150,000.
128. “Adaptive Servers for High-Performance Imaging,” Kodak Networked Imaging Tech. Center, 11/96
     to 11/97, $40,000.
129. “Real-time CORBA,” Sprint, 9/96 to 12/97, $345,000, co-PI G. Parulkar.
130. “OpenMAP – Object-Oriented Components for Real-time Avionics,” McDonnell Douglas, 9/96 to
     9/97, $241,591.
131. “Compilation and Automatic Optimization of Network Protocol Implementations,” NSF NCR-
     9628218, 8/96 to 8/99, $411,025, co-PI(s) G. Varghese and R. Cytron (PI).
132. “Medical Imaging with Java and the WWW,” SIEMENS Medical Engineering, 8/96 to 7/97,
     $125,000.
133. “The ADAPTIVE Communication Environment,” SIEMENS Medical Engineering, 8/96 to 7/97,
     $90,000.
134. “High-performance Distributed Medical Imaging,” Kodak Imaging, 12/94 to 8/96, $55,152, co-PI
     J. Blaine.
135. “Design Patterns for Concurrent Object-Oriented Networking,” Object Technologies International,
     4/96 to 4/97, $25,000.
136. “Distributed Object Computing with CORBA and DCE,” Bellcore, 5/96 to 12/96, $32,978.
137. “The ADAPTIVE Communication Environment,” SIEMENS Medical Engineering, 6/95 to 6/96,
     $170,000.


Courses Taught
     Courses at Vanderbilt University

      1. CS 215 – Intermediate Software Design, Spring 2006
      2. CS 251 – Intermediate Software Design, Spring 2007, Spring 2008, Spring 2009, Fall 2009,
         Spring 2010, Spring 2012, Spring 2013, Spring 2014, Spring 2015, Spring 2016, Summer 2020,
         Summer 2021
      3. CS 253 – Parallel Functional Programming with Java and Android, Fall 2020, Fall 2021
      4. CS 254 – Concurrent Object-Oriented Programming with Java and Android Spring 2021
      5. CS 291/242 – Software Design Studio, Fall 2004
      6. CS 291/242 – Software Design Studio, Fall 2003
      7. CS 292 – Beyond the Oneway Web, Fall 2008
      8. CS 278 – Software Engineering, Fall 2008
      9. CS 279 – Software Engineering Projects, Spring 2010
     10. CS 282 – Principles of Operating Systems II, Spring 2003, Spring 2004, Fall 2005, Fall 2007,
         Fall 2012, Fall 2013, Fall 2014, Fall 2015, Fall 2016, Spring 2017
     11. UNIV 278 – Tackling Big Questions with Mobile Cloud Computing, Fall 2016, Spring 2017,
         Fall 2017
     12. CS 395 – Advanced Network Software Design, Fall 2006
     13. CS 395 – QoS-enabled Middleware, Fall 2008
     14. CS 395 – Reactive Microservices, Summer 2021
     15. CS 396 – QoS-enabled Component Middleware, Spring 2005
     16. CS 891 – Introduction to Concurrent and Parallel Java Programming with Android, Fall 2017
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 438 of 667
Douglas C. Schmidt                                                                               98


     17. CS 891 – Advanced Concurrent Java Programming in Android, Spring 2018, Spring 2019,
         Spring 2020
     18. CS 891 – Introduction to Parallel Java Programming, Fall 2018, Fall 2019
     19. CS 892 – Concurrent Java Programming in Android, Spring 2017
    Courses at Coursera
      1. Android App Development (Android for Java; Android App Components - Intents, Activi-
         ties, and Broadcast Receivers; Android App Components - Services, Local IPC, and Content
         Providers), 2016 to present
      2. Mobile Cloud Computing with Android (Pattern-Oriented Software Architecture: Communi-
         cation; Pattern-Oriented Software Architecture: Concurrency), 2014 to 2016
      3. Pattern-Oriented Software Architectures for Concurrent and Networked Software, 2013
    Courses at University of California, Irvine
      1.   ECE 011 – Computational Methods in ECE, Winter 2000
      2.   ECE 255 – Distributed Software Architecture Design, Spring 2000
      3.   ICS 142 – Compiler Theory, Summer 1989
      4.   ICS 23 – Data Structures, Summer 1988
    Courses at Washington University, St. Louis
      1. CS 562 – Advanced Object-Oriented Software Development with Patterns and Frameworks,
         Spring 1999
      2. CS 242 – Introduction to Software Design, Spring 1998
      3. CS 673 – Distributed Systems research seminar, Fall 1997
      4. CS 422 – Operating Systems Organization, Fall 1997
      5. CS 242 – Introduction to Software Design, Spring 1997
      6. CS 544 – Distributed System Design, Fall 1996
      7. Ada tasking course for McDonnell Douglas, Fall 1996
      8. OO design course for McDonnell Douglas, Spring 1996
      9. CS 523 – Distributed Operating Systems Organization, Spring 1995
     10. CS 242 – Introduction to Software Design, Fall 1995
     11. CS 673 – Distributed Systems research seminar, Spring 1995
     12. CS 422 – Operating Systems Organization, Fall 1994
Other Teaching Experience
    In addition to the academic teaching experience above, I have also taught numerous short-courses
    and tutorials on object-oriented design patterns and programming techniques, UNIX and Win-
    dows NT systems programming and network programming, C++ and C programming languages,
    and various distributed/networked system, compiler construction, algorithm, data structure, mo-
    bile app, and web-based cloud computing courses for the following universities and professional
    organizations:
      •    O’Reilly Live-Training
      •    Pearson LiveLessons
      •    University Extension Program, University of California, Berkeley, CA
      •    University Extension Program, University of California, Irvine, CA
      •    University Extension Program, University of California, Los Angeles, CA
      •    Oregon Graduate Institute of Science and Technology, Beaverton, OR
      •    USENIX association
      •    Association of Computing Machinery (ACM)
      •    Addison-Wesley’s Technology Exchange Program, Reading, MA
      •    SIGS Conferences
      •    Object Computing Institute, St. Louis, MO
      •    National University, Irvine, CA
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 439 of 667
Douglas C. Schmidt                                                                               99


Department/School/Community Service
Service at Vanderbilt University

  1. Faculty advisor for the ”DataBrains” AI and Data Science student club.
  2. Faculty advisor for the ”Vandy Apps” student club.
  3. Faculty advisor for the ”BizTech” student club.
  4. Led the effort to create an online Professional Masters in CS
  5. Led the effort to create a continuing education program in Web Development
  6. Interview panel for the Director of Professional Programs in VUSE
  7. Served on the Digital Literacy committee
  8. Chair of two year review committee for Taylor Johnson
  9. Chair of the CS search committee in 2003, 2005, 2013, 2016, 2018
 10. Chair of the committee on Big Data for the VUSE Strategic Plan
 11. Member of the Provost’s Special Task Force of the Data Science Visions Working Group: Trans-
     institutional Masters in Data Science.
 12. Member of the Provost’s Data Science Visions working group
 13. VUSE representative for the Research IT committee
 14. VUSE representative on the Provost’s Digital Literacy committee
 15. Reviewer for University Course proposals
 16. Faculty mentor for “Accenture Garage Program”
 17. VUSE representative for the Research IT committee.
 18. Member of the search committee for the first Director of the Innovation Center
 19. Member of the Provost’s Study Group on Cross College Teaching
 20. Member of the Advisory Committee for the Vanderbilt Institute for Digital Learning (VIDL)
 21. Chair of the Provost’s Committee on the Innovation Center
 22. Member of the VUSE Career Committee
 23. VUSE point of contact for VUIT
 24. Committee member for Eugene Vorobeychik’s promotion case to associate professor
 25. Committee member for Bobby Bodenheimer’s promotion case to full professor
 26. Committee member for Julie Adams’s promotion case to full professor
 27. Committee member for Akos Ledeczi’s promotion case to full professor
 28. Chair of the tenure committee for Yuan Xue
 29. Chair of the four year review committee for Yuan Xue
 30. Member of the two year committee for Yuan Xue
 31. Member of the promotion committee for Ted Bapty
 32. Member of review committee for Xenofon Koutsoukos
 33. Chair of promotion committee for Gabor Karsai
 34. Member of promotion committee for Gautam Biswas
 35. Chair of the VUSE Technology Entrepreneurship Task Force
 36. Member of the VUIT faculty advisory committee
 37. Owen-VUSE joint committee for 2014-2015
 38. Chair of the Schmidt Family Annual Educational Technologies Lectureship
 39. Member of the Provost’s Study Group on Cross College Teaching
 40. Chair of two year review committee for Eugene Vorobeychik
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 440 of 667 100
Douglas C. Schmidt


 41. Member of the Chancellor’s Social Media and the Internet committee
 42. Member of the VU Online Education Task Force
 43. Member of the ad hoc committee on EECS Industrial Advisory Board
 44. Ex-officio member of the ad hoc committee on the CS graduate program
 45. Ex-officio member of the ad hoc committee on the CS undergraduate program
 46. Faculty facilitator for the Vanderbilt Visions program
 47. Chair of the Information Technology committee for the Vanderbilt School of Engineering
 48. Chair of the tenure committee for Bobby Bodenheimer
 49. EECS Corporate/Internship Liaison for Computer Science and Engineering
 50. Ex-officio Member of the Ad Hoc Committee on Computer Engineering
 51. Faculty sponsor of the new EECS Graduate Student Organization
 52. Member of the VUSE Research Institutes and Centers Council
 53. Associate Chair of Computer Science and Engineering
 54. Member of the Vanderbilt University Faculty Senate
 55. Chair of the faculty committee on Academic Computing and Information Technology (ACIT)
 56. Member of the Research Advisory Committee on Information Technology (RACIT)
 57. Chair of the Systems Engineering concentration committee
 58. Member of the Plan Integration and Communication Group (PICG)
 59. Member of the CS graduate curriculum committee

Service at Washington University, St. Louis

  1. Member of the Faculty recruiting committee
  2. Member of the CS committee on recruiting industrial graduate students (RIGS)
  3. Member of the CS Experimental Infrastructure for Teaching and Research (CEITR)
  4. Member of the Introductory course committee
  5. Member of the Graduate admission committee
  6. Member of the CS representative to the CEC advisory board
  7. Member of CS departmental chair search committee


Awards and Honors
  1. Received the Cornelius Vanderbilt Professor of Engineering endowed chair in February 2017.
  2. Received the 2015 Award for Excellence in Teaching by the Vanderbilt University School of Engi-
     neering.
  3. Interviewed for Software Engineering Radio (www.se-radio.net/).
  4. Vice-chair of the IEEE Chapter in middle Tennessee.
  5. Elected to three year term as member of the Vanderbilt University Faculty Senate.
  6. Invited speaker at the dedication of the Henry Samueli School of Engineering, along with UC Irvine
     Chancellor, Ralph Cicerone; Dean of the School of Engineering, Nicolaos Alexopoulos; Chairperson
     of the Regents of the University of California, S. Sue Johnson; President of the University of
     California, Dick Atkinson; and CTO and co-founder of Broadcom Henry Samueli.
  7. Interviewed for Dr. Dobb’s journal TechNetCast, October 24, 2000.
  8. Interviewed for iX magazine, October, 2000.
  9. Received early promotion to tenure as an Associated Professor at Washington University, St. Louis,
     five years after joining the faculty as an Assistant Professor in 1994.
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 441 of 667 101
Douglas C. Schmidt


 10. Director of the “Center for Distributed Object Computing” at Washington University, St. Louis
     since spring of 1999.
 11. Listed in Marquis’ “Who’s Who in Media and Communications,” 1997.
 12. Received joint appointment to the Mallinckrodt Institute Department of Radiology, Washington
     University School of Medicine, February 1996.
 13. Selected to participate in the ACM OOPSLA ’94 Doctoral Symposium.
 14. Invited by Dr. Martina Zitterbart to participate in a 4-week international exchange program at
     the Universität Karlsruhe Institut für Telematik in Karlsruhe, Germany, April 1993.
 15. Served as elected representative to the Associated Graduate Student organization at the University
     of California, Irvine from May 1991 to June 1992.
 16. Served as elected graduate student representative to the Computer Science Computing Resource
     Committee at the University of California, Irvine from August 1988 to August 1990.


Consulting Work
  1. ARINC, Fountain Valley, CA
  2. ACM, NY, NY
  3. Advanced Institute of Information Technology, Seoul, Korea
  4. AG Communication Systems, Phoenix, AZ
  5. Anderson Consulting, Chicago, IL
  6. Apple, Cupertino, CA
  7. AT&T Research, Murray Hill, NJ
  8. BAE Systems, Greenlawn, NY
  9. BAE Systems, Wayne, NJ
 10. BEA, San Jose, CA
 11. Bellcore, Morristown, NJ
 12. BellSouth, Atlanta, GA
 13. Boeing, St. Louis, MO
 14. Boies, Schiller, & Flexner, Santa Monica, CA
 15. Bridges & Mavrakakis, Palo Alto, CA
 16. Cooley LLP, San Francisco, CA
 17. Correct Care Solutions, Nashville, TN
 18. Credit Suisse, Zurich, Switzerland
 19. Crosskeys, Ottawa, Canada
 20. DARPA, Arlington, VA
 21. Desmarais, NY, NY
 22. Duane Morris, Atlanta, GA
 23. Edward D. Jones, St. Louis, MO
 24. Envision Inc. St. Louis, MO
 25. Ericsson, Cypress, CA
 26. Fitzpatrick, Cella, Harper & Scinto, NY, NY
 27. GaN Corporation, Huntsville, AL
 28. Gibson, Dunn, & Crutcher, NY, NY
 29. Goldman, Ismail, Tomaselli, Brennan, & Baum, Chicago, IL
 30. Jet Propulsion Lab, Pasadena, CA
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 442 of 667 102
Douglas C. Schmidt


 31. Kasowitz, Benson, & Torres, Redwood Shores, CA
 32. Keystone Strategy, Boston, MA
 33. Kilpatrick Stockton, Atlanta, GA
 34. Kirkland & Ellis, San Francisco, CA
 35. Kodak Imaging, Rochester, NY
 36. Laureate University, Baltimore, MD
 37. Lockheed Martin Tactical Systems, Minneapolis, MN
 38. Lockheed Martin Mission Systems, Boulder, CO
 39. Lockheed Martin Advanced Technology Lab, Cherry Hill, NJ
 40. Lucent Bell Labs, Naperville, IL
 41. Lucent Bell Labs, Murray Hill, NJ
 42. Lucent, Whippany, NJ
 43. McDonnell Douglas, St. Louis, MO
 44. Microsoft, Redmond, WA
 45. Morrison & Foerster, Washington DC
 46. Morgan Stanley, New York, NY
 47. Motorola Cellular Infrastructure Group, Arlington Heights, IL
 48. Motorola Iridium, Chandler, AZ
 49. Motorola Land Mobile Products, Chicago, IL
 50. National Security Agency, Ft. Meade, MD
 51. Naval Air Weapons Stations, China Lake, CA
 52. Nortel, Ottawa, Canada
 53. Object Computing Institute, St. Louis, MO
 54. Object Technologies International, Ottawa, CA
 55. Odetics Broadcasting, Anaheim, CA
 56. Oracle, Redwood Shores, CA
 57. Park, Vaughan, & Fleming, Boise, ID
 58. Pearson Education, London, UK
 59. Pragmatus, Alexandria VA
 60. PrismTechnologies, Newcastle, UK
 61. Qualcomm, San Diego, CA
 62. Quinn Emanuel, NY, NY
 63. Raytheon, San Diego, CA
 64. Reichman Jorgensen, CA
 65. Riverace, Boston, MA
 66. Rubin Anders Scientific, Boston, MA
 67. SAIC, Washington D.C.
 68. Schwegman, Lundbert, & Woessner, Minneapolis, MN
 69. Siemens Medical Engineering, Erlangen, Germany
 70. Siemens Corporate Research, Princeton, NJ
 71. SIGS, New York, NY
 72. Software Engineering Institute, Pittsburgh, PA
 73. Teradyne, Chicago, IL
 74. Teledyne, Thousand Oaks, CA
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 443 of 667 103
Douglas C. Schmidt


 75. UC Berkeley Extension, Palo Alto, CA
 76. UCLA Extension, Los Angeles, CA
 77. USENIX, Lake Forest, CA
 78. Venable, NY, NY
 79. Wong, Cabello, Lutsch, Rutherford & Brucculeri, Houston, TX
 80. WMS Gaming, Chicago, IL
 81. Zircon Computing, Wayne, NJ


Expert Testimony in the Past Five Years
  1. March 2016, Deposed in support of Oracle in the Oracle vs. Google Fair Use trial in the United
     States District Court for the Northern District of California, San Francisco division. Case No. Civ.
     A. No. 10-03561 WHA.

  2. May 2016, Testified in support of Oracle in the Oracle vs. Google Fair Use trial in the United
     States District Court for the Northern District of California, San Francisco division. Case No. Civ.
     A. No. 10-03561 WHA.
  3. February 2017, Deposed in support of IBM in the IBM vs. Priceline Group case. Case No. Civ.
     A. N. 15-cv-137-LPS-CJB.

  4. February 2018, Deposed in support of IBM in the IBM vs. Groupon case. Case No. Civ A. N.
     16-122-LPS-CJB.
  5. July 2018, Testified in support of IBM in the IBM vs. Groupon case. Case No. Civ A. N.
     16-122-LPS-CJB.

  6. August 2018, Deposed in support of Palo Alto Networks in the Palo Alto Networks vs. Implicit
     case. Case No. Civ 6:17-CV-182-JRG.
  7. January 2019, Deposed in support of C3IoT in the E2.0 vs. C3IoT case. Case No. 1:15-cv-00530-
     GMS.

  8. February 2019, Testified in support of C3IoT in the E2.0 vs. C3IoT case. Case No. 1:15-cv-00530-
     GMS.
  9. June 2019, Deposed in support of IBM in the IBM vs. Expedia Inc. case. Civil Action No.
     IPR2018-01136.
 10. July 2019, Deposed in support of Philips in the Philips vs. Microsoft case. Civil Action No.
     4:18-cv-01885-HSG.
 11. August 2019, Deposed in support of Philips in the Philips vs. HTC case. Civil Action No. 4:18-
     cv-01885-HSG.
 12. August 2019, Deposed in support of Philips in the Philips vs. ASUS case. Civil Action No.
     4:18-cv-01885-HSG.
 13. September 2019, Deposed in support of Kroy in the Kroy vs. Groupon case. Civil Action No.
     IPR2019-00044.
 14. September 2019, Deposed in support of Kroy in the Kroy vs. Groupon case. Civil Action No.
     IPR2019-00061.

 15. March 2020, Deposed in support of Cisco in the Centriptal vs. Cisco case. Civil Action No.
     2:18-cv-00094-HCM-LRL.
 16. May 2020, Testified in support of Cisco in the Centriptal vs. Cisco case. Civil Action No. 2:18-cv-
     00094-HCM-LRL.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 444 of 667 104
Douglas C. Schmidt


 17. Jan 2021, Deposed in support of Droplets in the Droplets vs. Yahoo case. Civil Action No.
     12-CV-03733-JST.
 18. Jan 2021, Deposed in support of Droplets in the Droplets vs. Nordstrom case. Civil Action No.
     12-CV-04049.
 19. June 2021, Deposed in support of Sonos in the Sonos vs. Google case. Civil Action No. 6:20-cv-
     00881-ADA.
 20. September 2021, Deposed in support of IBM in the IBM vs. Zillow case. Civil Action No. IPR2020-
     01655.
 21. November 2021, Deposed in support of Apple in the Apple vs. Identity Security case. Civil Action
     No. 6:21-CV-460-ADA
 22. January 2022, Deposed in support of IBM in the IBM vs. Chewy case. Civil Action No. 1:21-cv-
     01319-JSR.


Summary of Research Contributions
At Vanderbilt University I direct the Distributed Object Computing (DOC) Group at the Institute for
Software Integrated Systems (ISIS), which is one of the leading research groups in the world on middle-
ware platforms and MDE tools for DRE systems and mobile cloud computing platforms. Over the past
several decades I have conducted and managed research projects on a range of topics, including patterns,
optimization techniques, and empirical analyses of software frameworks that facilitate the development
of quality of service (QoS)-enabled middleware and model-driven engineering (MDE) techniques/tools
for distributed real-time and embedded (DRE) systems and mobile cloud computing apps running over
wired/wireless networks and embedded system interconnects. The research methodology throughout my
career has involved:
    • Creating innovative middleware and MDE technologies technologies, such as design formalisms,
      QoS specification/enforcement techniques, end-to-end and cross-layer middleware optimizations,
      and automated tools for specifying, analyzing, and synthesizing dependable DRE software from
      higher-level domain-specific models.
   • Applying these technologies in conjunction with colleagues in academia and industry to demonstrate
     and mature middleware and MDE technologies and tools in the context of production mission-
     critical DRE systems.
   • Amplifying the adoption and transition of these technologies in both academia and industry via
     625+ technical papers, 575+ tutorials and invited talks, millions of lines of popular open-source
     software, and scores of innovative face-to-face and online courses published and delivered to more
     than 300,000 students around the world.
    The R&D efforts I have led have had a significant impact on academic research and commercial
practice. For example, dozens of universities throughout the world use the middleware and MDE tools
my DOC Group has developed as the basis for their research and teaching efforts. Moreover, the open-
source middleware frameworks and MDE tools generated from projects I’ve led constitute some of the
most successful examples of software R&D ever transitioned from research to industry, being widely used
by thousands of companies and agencies worldwide in many domains for three decades. For example,
the ACE and TAO middleware frameworks developed by the DOC Group are used by developers in
thousands of companies (such as Boeing, Cisco, Ericsson, Kodak, Lockheed Martin, Lucent, Motorola,
NASA/JPL, Nokia, Nortel, Raytheon, SAIC, Siemens, Sprint, and Telcordia) in a wide range of domains
(such as telecom/datacom, healthcare, process automation, avionics, homeland security and defense,
financial services, online gaming, social media, and distributed interactive simulation).

Teaching Contributions and Impact
I have taught scores of cutting-edge courses on topics relating to object-oriented design and programming,
software patterns, middleware for distributed real-time and embedded systems, concurrent and networked
programming with C++ and Java, and mobile cloud computing with Android. I received the 2015 Award
for Excellence in Teaching by the Vanderbilt University School of Engineering. In addition, I’ve taught
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 445 of 667 105
Douglas C. Schmidt


10 popular MOOCs at Vanderbilt on topics related to pattern-oriented mobile cloud computing with
Android to over 200,000 learners from around the world.
    I recently created and co-taught one of the first cross-college University Courses at Vanderbilt on
“Tackling Big Problems with Mobile Cloud Computing,” where ten highly diverse teams consisting of 11
arts and science students and 44 computer science students were mentored by 11 faculty from the College
of Arts and Sciences, the School of Nursing, the School of Law, the School of Medicine, the School of
Engineering and Vanderbilt University Medical Center. The projects in this course addressed relevant,
real-world problems involving mobile cloud computing technologies, including:
   • Effectively engaging young people with chronic diseases and medical conditions, such as diabetes,
     asthma and obesity
   • Creating “smarter” cities and sustainable energy platforms via an app-based transportation hub for
     Nashville, and remotely monitoring the safety and operations of novel sources of power, including
     solar, wind and natural gas, and
   • Helping economically disadvantaged individuals bridge the digital divide to obtain better guidance
     on medical and legal matters.

Summary of Career Accomplishments
My career accomplishments include the following:
    Publications and presentations. I have published 650+ works (127 journal papers, 195 confer-
ence papers, 5 books, 4 book-length reports, 3 edited book collections, 64 book chapters, 74 workshop
papers, 13 short papers and posters, 75 trade magazine columns/articles, and 101 editorials and book
forewords). My papers have appeared in the most selective journals (e.g., ACM Transactions in Embed-
ded Computing Systems, IEEE Transactions on Parallel and Distributed Systems, IEEE Transactions
on Software Engineering, IEEE Transactions on Computing, IEEE Journal of Selected Areas of Commu-
nications, and ACM Transactions on Autonomous and Adaptive Systems) and conferences (e.g., ACM
SIGCOMM, ACM OOPSLA, IEEE INFOCOM, IEEE ICDCS, IEEE RTAS, ACM/IEEE Middleware,
and the ACM/IEEE ICSE) in my field. I have also given 600+ invited lectures and tutorials world-wide.
    Measures of scholarly impact. My publications have been cited 45,000+ times across a compre-
hensive spectrum of high-impact venues. My h-index is 87 and my i10 index is 401. These bibliometrics
indicate the significant impact of my publications as a researcher in the field of Computing.
    Funding. Since June 1995 I have been a PI or co-PI for grants, contracts, and gifts totaling more
than $41 million dollars. I have been the sole PI for over $11.5 million dollars of this amount.
    Graduate advising and training. During my academic career I have (co-)advised and graduated
19 doctoral students and over 25 masters students.
    Professional service and leadership. I have engaged in the following professional service and
leadership capacities during my career:
    • Served as guest editor of 12 ACM, IEEE, and USENIX journals, and served as editor-in-chief of
      the C++ Report magazine.
   • Served as general chair or program (co)-chair for 35 conferences, tutorial chair for 4 conferences,
     co-organized 14 workshops, and served on the program committees for over 245 ACM, IEEE, IFIP,
     USENIX, and OMG conferences.
   • From 2013 to 2015 I served on the Advisory Board for the joint US Navy/Army Future Airborne
     Capability Environment (FACE).
   • From 2013 to 2015 I served as co-lead of a task area on ”Published Open Interfaces and Standards”
     for the US Navy’s Open Systems Architecture initiative.
   • From 2010 to 2014 I served a member of the Air Force Scientific Advisory Board, where I was the
     Vice Chair of a study on Cyber Situational Awareness for Air Force mission operations.
   • From 2006 to 2011 I served as the Chief Technology Officer for the Software Engineering Institute
     at Carnegie Mellon University (2010 to 2011), Zircon Computing (2009 to 2010), and Prism Tech-
     nologies (2006-2008), where I was responsible for directing the technical vision and strategic R&D
     investments.
   • From 2000 to 2003 I served as a Program Manager at the DARPA Information Technology Office
     (ITO) and Information eXploitation Office (IXO) the Deputy Director for DARPA ITO, where I
     lead the national R&D effort on QoS-enabled middleware for DRE systems.
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 446 of 667 106
Douglas C. Schmidt


   • From 2001 to 2003 I served as Co-chair for the Software Design and Productivity (SDP) Coordinat-
     ing Group, which formulates the multi-agency research agenda in fundamental software design for
     the Federal government’s Information Technology Research and Development (IT R&D) Program,
     which is the collaborative IT research effort of the major Federal science and technology agencies.
    University service and leadership. I have engaged in the following service and leadership capac-
ities at Vanderbilt University during the past two decades:
    • Associate Provost of Research. I became the Associate Provost for Research at Vanderbilt
       University in July of 2018. In this capacity I am responsible for developing cohesive and sustain-
       able information technology (IT) services to advance research and scholarship across Vanderbilt’s
       ten schools and colleges, including scalable and secure storage, processing, and communication so-
       lutions; big data research cores and corerelated services, and NIST 800-171 compliant IT services.
       I am also responsible for overseeing Vanderbilt’s new “liquid workforce” service that provides re-
       searchers with on-demand access to shared technology expertise to help them develop research IT
       solutions, especially with data-intensive workflows, while also enabling shared software developers
       to add value to multiple research programs throughout the university.
   • Data Sciences Initiatives. I am deeply involved in Vanderbilt’s initiatives on Data Science.
     Starting in August 2018, I became a founding Co-Director of the Data Science Institute at Van-
     derbilt. During the past year I also chaired the ad hoc committee on Big Data for the Vanderbilt
     University School of Engineering (VUSE) strategic planning process, as well as served on the
     Provost’s Special Task Force on a trans-institutional Masters in Data Science and the Provost’s
     Working Group on Data Science Visions, which sets the direction for trans-institutional Data Sci-
     ence research. I also created and led a presentation on “Big Data” for the Vanderbilt University
     Board of Trust in the spring of 2017 that helped initiate Vanderbilt’s investment in the Data Science
     Institute.
   • Cross-College Teaching. I am a leader in Vanderbilt University’s forays into Cross-College
     teaching. For example, I served as a member of the Provost’s Study Group on Cross College
     Teaching, which formulated the concept of “University Courses” that brings faculty together from
     multiple schools to actively engage students of diverse backgrounds and promote new and creative
     trans-institutional learning. I also created/taught one of the first University Courses on “Tackling
     Big Problems with Mobile Cloud Computing.” Each semester since the fall of 2016 I’ve taught this
     course in a multidisciplinary environment where undergraduate and graduate students from multi-
     ple schools team with computer science students to address big questions, such as how mobile cloud
     computing technologies can engage young people with chronic diseases; change political discourse
     in the United States and around the world; and help economically disadvantaged individuals bridge
     the digital divide to obtain better guidance on nutrition and legal matters. I also spearheaded the
     effort to create a CS 1000 course on “the beauty and joy of computing” that is intended for non-CS
     majors at Vanderbilt University.
   • Digital Learning. I play a significant role in Vanderbilt’s digital learning initiatives, including
     teaching (1) the first Massive Open Online Course (MOOC) at Vanderbilt in 2013 on “Pattern-
     Oriented Software Architecture for Concurrent and Networked Systems,” (2) the first trans-institutional
     MOOC Specialization (together with the University of Maryland, College Park) in 2014 on “Mobile
     Cloud Computing with Android,” (3) a Coursera Specialization on “Android App Development”
     since the spring of 2016, and (4) the forthcoming online Computer Science professional master’s
     degree being created in conjunction with 2U. I have also played a key role in formulating the
     Vanderbilt digital learning strategy as a member of the Advisory Committee for the Vanderbilt
     Institute for Digital Learning (VIDL), a member of the Vanderbilt Online Education Task Force, a
     member of the Chancellor’s Social Media and the Internet committee, chair of the Schmidt Family
     Annual Educational Technologies Lectureship, and a member of the Provost’s committee on Digital
     Literacy whose charter is to ensure that all Vanderbilt students learn computational thinking in
     their undergraduate experience.
   • Technology Entrepreneurship. I have been highly engaged in entrepreneurship leadership at
     Vanderbilt over the past five years. In particular, I chaired the VUSE Technology Entrepreneur-
     ship Task Force and the Provost’s Committee on the Vanderbilt Innovation Center, known as the
     Wond’ry (I also served as a member of the search committee for the first Director of the Wond’ry
     Innovation Center). I am one of the inaugural faculty mentors for the “Garage Program at the
     Wond’ry, where I mentor multi-disciplinary teams of undergraduate and graduate students to help
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 447 of 667 107
Douglas C. Schmidt


    companies (such as Accenture and RGP) establish new lines of business, e.g., liquid workforce ser-
    vices for the oil and gas domain, supply chain risk management using blockchain technologies, etc. I
    also serve as the faculty advisor for the VandyApp, DataBrains, and BizTech student organizations,
    which teach software development skills, prepare students for technical job interviews, and foster
    a welcoming and diverse environment for high-tech entrepreneurship collaboration across campus.
  • EECS Department Leadership. I served as the Associate Chair of the Electrical Engineering
    and Computer Science (EECS) department at Vanderbilt University from 2004 to July 2018. In
    this capacity I worked with the EECS Chair to provide intellectual leadership and assist in EE,
    CS, and CompE faculty hiring, curricular development, and course staffing. I also represented
    Vanderbilt at the bi-annual CRA “CS Chairs” meeting at Snowbird Utah since 2008. In the past
    several years I focused on innovative digital learning techniques (such as pre-recording material
    and/or recording lectures in class so students can listen/watch to them at their leisure to ensure
    they master the course material) to handle the surge in undergraduate CS enrollment without
    adversely affecting Vanderbilt’s commitment to high quality education. I also spearheaded several
    initiatives to create a continuing education program focused on web development in partnership
    with Trilogy Education Services and a professional masters degree program in CS in conjunction
    with 2U.
  • Information Technology Infrastructure for Research. Over the past two decades I’ve played
    a leadership role in the Vanderbilt University Information Technology (VUIT) planning and gov-
    ernance processes. In addition to my latest role as the Associate Provost for Research, I’ve also
    chaired the faculty committee on Academic Computing and Information Technology (ACIT), served
    as the VUSE point of contact for VUIT, the VUSE representative for the Research IT committee
    as a member of the VUIT faculty advisory committee, as well as served as a member of the Re-
    search Advisory Committee on Information Technology (RACIT), and a member of the Provost’s
    Research IT Special Project Working Group, which focuses on supporting the research needs of all
    schools at Vanderbilt.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 448 of 667




                         EXHIBIT B
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 449 of 667




                              MATERIALS RELIED UPON


DEPOSITIONS

Deposition of David Kleidermacher (February 3-4, 2022)

Deposition of Lawrence Koh (December 9, 2021)

Deposition of Tian Lim (December 2, 2021)


BATES NUMBERED DOCUMENTS


EPIC_GOOGLE_01761929
EPIC_GOOGLE_03982547
GOOG-PLAY-000005203.R
GOOG-PLAY-000042623.R
GOOG-PLAY-000046830.R
GOOG-PLAY-000219435.R
GOOG-PLAY-000297605.R
GOOG-PLAY-000343365.R
GOOG-PLAY-000398862
GOOG-PLAY-000558461.R
GOOG-PLAY-000575018.R
GOOG-PLAY-000880576.R
GOOG-PLAY-001076451
GOOG-PLAY-001076452.R
GOOG-PLAY-001088593
GOOG-PLAY-001285448
GOOG-PLAY-001317740
GOOG-PLAY-002011285.R
GOOG-PLAY-002910052.R
GOOG-PLAY-004268238.R

                                             1
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 450 of 667




GOOG-PLAY-004284846
GOOG-PLAY-004494298.R
GOOG-PLAY-004506533
GOOG-PLAY-004704453.R
GOOG-PLAY-004722290
GOOG-PLAY-004904016.R
GOOG-PLAY-005563726
GOOG-PLAY-005649820
GOOG-PLAY-005653611
GOOG-PLAY-005653612.R
GOOG-PLAY-005659061
GOOG-PLAY-006997722.C
GOOG-PLAY-007271749
GOOG-PLAY-007271750


PUBLICLY AVAILABLE MATERIALS

Google I/O 2013 – What’s New in Google Play Services =
https://www.youtube.com/watch?v=49pWckcaZEI at 3:34

Android – Developers, Platform Architecture available at
https://developer.android.com/guide/platform

Android – Developers, Device compatibility overview, available at
https://developer.android.com/guide/practices/compatibility

Android – Source, Android Compatibility Program Overview, available at
https://source.android.com/compatibility/overview.html

https://developers.google.com/location-context/fused-location-provider

https://developer.apple.com/design/human-interface-guidelines/ios/overview/themes/

https://material.io/develop/android

Android – Source, Android 12 Compatibility Definition, available at
https://source.android.com/compatibility/12/android-12-cdd

                                               2
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 451 of 667




https://www.xda-developers.com/android-12-alternative-app-stores-update-apps-background/

https://support.google.com/googleplay/android-developer/answer/9858738

https://docs.microsoft.com/en-us/windows/security/identity-protection/user-account-
control/how-user-account-control-works

https://developer.android.com/studio/publish/app-signing

https://www.paypal.com/us/webapps/mpp/paypal-checkout

https://www.braintreepayments.com

https://stripe.com

https://www.authorize.net

https://www.shopify.com

https://www.shopify.com/partners/blog/shopify-android-buy-sdk

https://paymentservices.amazon.com/docs/EN/23c.html

https://firebase.google.com/products/extensions/stripe-firestore-stripe-payments

https://paddle.com/platform/in-app-purchase

https://stripe.dev/stripe-android/

https://github.com/paypal/android-checkout-sdk

https://developer.authorize.net/api/reference/features/in-app.html




                                                3
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 452 of 667




REDACTED VERSION

     Exhibit A5
         to
C. Cramer Declaration
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 453 of 667




                 HIGHLY
                 HIGHLY CONFIDENTIAL – ATTORNEYS'
                        CONFIDENTIAL — ATTORNEYS’ EYES
                                                  EYES ONLY
                                                       ONLY


                            UNITED STATES DISTRICT
                            UNITED STATES DISTRICT COURT
                                                   COURT
                          NORTHERN DISTRICT
                          NORTHERN  DISTRICT OF
                                             OF CALIFORNIA
                                                CALIFORNIA
                               SAN FRANCISCO
                               SAN            DIVISION
                                   FRANCISCO DIVISION


IN RE GOOGLE
IN RE GOOGLE PLAY STORE
             PLAY STORE
ANTITRUST LITIGATION
ANTITRUST LITIGATION
                                                Case No.
                                                Case No. 3:21-md-02981-JD
                                                         3:21-md-02981-JD
THIS DOCUMENT RELATES
THIS DOCUMENT RELATES TO:
                      TO:
In re
In re Google  Play Consumer
      Google Play            Antitrust
                   Consumer Antitrust
Litigation, Case
Litigation, Case No.
                 No. 3:20-cv-05761-JD
                     3:20-cv-05761-JD
In re
In re Google  Play Developer
      Google Play  Developer Antitrust
                              Antitrust
Litigation, Case
Litigation, Case No.
                 No. 33:20-cv-05792-JD
                       :20-cv-05792-JD




                   EXPERT REPORT OF
                   EXPERT REPORT OF DR.
                                    DR. MICHELLE
                                        MICHELLE M.
                                                 M. BURTIS
                                                    BURTIS




                                          March 31,
                                          March     2022
                                                31, 2022
          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 454 of 667
                                HIGHLY CONFIDENTIAL
                                HIGHLY CONFIDENTIAL —
                                                    – ATTORNEYS'
                                                      ATTORNEYS’ EYES
                                                                 EYES ONLY
                                                                      ONLY


                                                             T ABLE OF C
                                                             TABLE      ONTENTS
                                                                       CONTENTS
I.
I.           Introduction and
             Introduction and Assignment
                              Assignment............................................................................................... 7
                                                                                                                                        7
II.
II.          Summary of Opinions
             Summary of Opinions .......................................................................................................... 88
     A. Developer
     A.   Developer Plaintiffs'
                    Plaintiffs’ andand Consumer
                                         Consumer Plaintiffs'
                                                           Plaintiffs’ Claims
                                                                            Claims of   of Classwide
                                                                                             Classwide Antitrust
                                                                                                              Antitrust Impact
                                                                                                                             Impact
     Depend on
     Depend  on Showing   the Service
                Showing the     Service Fee  Fee Rates
                                                    Rates for       All Developers
                                                              for All     Developers and     and Apps
                                                                                                    Apps Would
                                                                                                             Would be    be Lower
                                                                                                                              Lower in   in
     the But-For
     the But-For World
                 World ....................................................................................................................... 99
     B. Developer
     B. Developer Plaintiffs'
                    Plaintiffs’ Claims
                                Claims Conflict
                                       Conflict with
                                                with Consumer
                                                     Consumer Plaintiffs'
                                                                     Plaintiffs’ Claims
                                                                                      Claims of   of Antitrust
                                                                                                      Antitrust
     Impact on Retail
     Impact on Retail App,
                      App, Subscription,  and IAP
                            Subscription, and IAP Prices
                                                   Prices ................................................................ 11
                                                                                                                           11
     C. Developer
     C.  Developer Plaintiffs'
                    Plaintiffs’ Focus
                                Focus on
                                      on Claimed
                                          Claimed Overcharges
                                                   Overcharges Ignores  Ignores Critical
                                                                                     Critical Factors
                                                                                                  Factors That         Must
                                                                                                               That Must
     Be Analyzed
     Be Analyzed to
                 to Determine
                    Determine Antitrust
                                 Antitrust Impact
                                           Impact............................................................................. 13
                                                                                                                               13
     D. Additional
     D.  Additional Reasons
                    Reasons Consumer
                                  Consumer Plaintiffs
                                                    Plaintiffs Cannot
                                                                    Cannot Show           Common Proof
                                                                                Show Common               Proof of  of Classwide
                                                                                                                        Classwide
     Antitrust Impact.........................................................................................................................
     Antitrust Impact                                                                                                                          14
                                                                                                                                               14
III.
III. Assumptions Used
     Assumptions   Used to  to Consider
                                Consider Developer
                                                Developer Plaintiffs'
                                                                 Plaintiffs’ and  and Consumer
                                                                                         Consumer Plaintiffs'
                                                                                                           Plaintiffs’ Claims
                                                                                                                            Claims of   of
Common Impact
Common Impact............................................................................................................................ 14
                                                                                                                                          14
IV.
IV.          The Proposed
             The Proposed Classes
                          Classes and
                                  and Products
                                      Products Involved Are Highly
                                               Involved Are Highly Differentiated
                                                                   Differentiated......................... 16
                                                                                                           16
     A. Apps
     A. Apps and
             and IAPs
                 IAPs ................................................................................................................... 16
                                                                                                                                          16
        1.
        1.      Apps are
                Apps are numerous
                         numerous and
                                  and highly
                                      highly differentiated
                                             differentiated ................................................................ 16
                                                                                                                             16
        2.
        2.      Google Play .................................................................................................................... 20
                Google Play                                                                                                                      20
     B. The
     B. The Proposed
            Proposed Classes
                     Classes ........................................................................................................ 24
                                                                                                                                      24
        1.
        1.      The Proposed Developer
                The Proposed Developer Class
                                       Class Definition
                                             Definition Includes Over 49,000
                                                        Includes Over 49,000 Diverse
                                                                             Diverse Developers
                                                                                     Developers. 24
                                                                                                 24
        2. The
        2.      Proposed Consumer
            The Proposed Consumer Class
                                  Class Definition
                                        Definition Includes
                                                   Includes Over
                                                            Over 90 Million Distinct
                                                                 90 Million Distinct Consumer
                                                                                     Consumer
        IDs 33
        IDs 33
V.
V.           Economic Framework
             Economic Framework for Analyzing Common
                                for Analyzing Common Proof
                                                     Proof of
                                                           of Classwide
                                                              Classwide Impact.....................
                                                                        Impact                      36
                                                                                                    36
     A. Antitrust
     A. Antitrust Impact Relative to
                  Impact Relative to A
                                     A But-for
                                       But-for World...................................................................
                                               World                                                                    36
                                                                                                                        36
     B. Common
     B. Common Proof
               Proof of
                     of Classwide
                        Classwide Antitrust
                                  Antitrust Impact
                                            Impact and
                                                   and Damages
                                                       Damages ........................................... 36
                                                                                                           36
     C. Plaintiffs'
     C.    Plaintiffs’ Theories
                       Theories ofof Antitrust
                                      Antitrust Impact            Depend on
                                                      Impact Depend            on Proof
                                                                                    Proof of  of Service
                                                                                                  Service Fee  Fee Rates
                                                                                                                      Rates and and Prices
                                                                                                                                       Prices
     in aa But-For
     in    But-For World
                    World .................................................................................................................... 37
                                                                                                                                               37
VI.
VI.          Neither Set
             Neither     of Plaintiffs
                     Set of Plaintiffs Can
                                       Can Establish Classwide Antitrust
                                           Establish Classwide Antitrust Impact with Common
                                                                         Impact with Common Proof
                                                                                            Proof 39
                                                                                                  39
     A. No
     A. No Common
           Common Proof
                  Proof of
                        of Uniform
                           Uniform Lower
                                   Lower Service Fees in
                                         Service Fees    the But-for
                                                      in the But-for World
                                                                     World ....................... 39
                                                                                                   39
        1. No
        1. No Basis
               Basis for     Assuming aa Uniform
                       for Assuming              Uniform But-ForBut-For Service
                                                                             Service Fee  Fee or or aa Uniform
                                                                                                        Uniform ServiceService Fee  Fee
        Reduction............................................................................................................................... 40
        Reduction                                                                                                                                40
        2. Not
        2. Not All
                All Developers
                    Developers Would
                                  Would Pay   Pay Less
                                                     Less If     Developers Could
                                                             If Developers          Could Separately             Contract with
                                                                                               Separately Contract              with
        Payment Processors
        Payment Processors ............................................................................................................... 46
                                                                                                                                           46
     B. No
     B. No Common
             Common Proof    Proof of  of Lower
                                           Lower Prices
                                                      Prices for for Apps,
                                                                       Apps, Subscriptions,
                                                                                 Subscriptions, and      and IAPs
                                                                                                                IAPs in  in the
                                                                                                                             the But-For
                                                                                                                                   But-For
     World......................................................................................................................................... 50
     World                                                                                                                                          50


                                                                                                                                                    22
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 455 of 667
                               HIGHLY CONFIDENTIAL
                               HIGHLY CONFIDENTIAL —
                                                   – ATTORNEYS'
                                                     ATTORNEYS’ EYES
                                                                EYES ONLY
                                                                     ONLY


     1.
     1.        Developers’ Marginal
               Developers' Marginal Costs
                                    Costs........................................................................................... 51
                                                                                                                                     51
     2.
     2.        Developers’ Strategy
               Developers'          of Setting
                           Strategy of         Prices........................................................................... 53
                                       Setting Prices                                                                            53
          i.      Prices that
                  Prices that end
                              end in “99” ................................................................................................ 53
                                  in "99"                                                                                                  53
          ii.        Developers’ Other
                     Developers' Other Price
                                       Price Setting
                                             Setting Strategies.............................................................
                                                     Strategies                                                              55
                                                                                                                             55
     3.
     3.        Competitive Conditions
               Competitive Conditions Across
                                      Across Apps
                                             Apps ............................................................................ 56
                                                                                                                               56
  C. Economic
  C.   Economic Reasons
                 Reasons Some      Members of
                         Some Members              of the
                                                       the Putative
                                                             Putative Consumer
                                                                           Consumer Class    Class Would
                                                                                                      Would Not   Not Be Be Better
                                                                                                                               Better
  Off in
  Off    the But-For
      in the But-For World
                     World .......................................................................................................... 58
                                                                                                                                      58
     1. Some
     1.          Consumers Would
         Some Consumers    Would Not  Not Have
                                             Have Lower
                                                      Lower RetailRetail Prices
                                                                            Prices for for Apps,
                                                                                             Apps, Subscriptions,
                                                                                                       Subscriptions, and      and
     IAPs in
     IAPs in aa But-For
                But-For World
                        World ....................................................................................................... 59
                                                                                                                                      59
     2. Some
     2.       Consumers Who
         Some Consumers        Who Transact
                                        Transact at   at Low
                                                          Low PricePrice Points
                                                                            Points Would
                                                                                       Would Not   Not Be Be Better
                                                                                                               Better Off Off inin the
                                                                                                                                     the
     But-For World
     But-For World ....................................................................................................................... 64
                                                                                                                                           64
     3. Consumers
     3.  Consumers Who  Who Use Use Direct
                                        Direct Carrier
                                                   Carrier Billing
                                                               Billing Likely
                                                                           Likely WouldWould Not  Not Be Be Better
                                                                                                               Better Off Off in    the But-
                                                                                                                                in the    But-
     For World
     For World .............................................................................................................................. 65
                                                                                                                                              65
     4. Increased
     4.              Prices For
         Increased Prices       For Free
                                      Free Apps
                                              Apps WouldWould Make  Make Some           Consumers Worse
                                                                              Some Consumers               Worse Off  Off in in the
                                                                                                                                 the But-
                                                                                                                                       But-
     For World
     For World .............................................................................................................................. 66
                                                                                                                                              66
     5.
     5.        Higher Security
               Higher          Costs For
                      Security Costs For Some Consumers in
                                         Some Consumers    the But-For
                                                        in the But-For World
                                                                       World .............................. 67
                                                                                                            67
  D. Different
  D.   Different Members
                    Members of      of the
                                        the Putative
                                              Putative Developer
                                                            Developer Class   Class Likely
                                                                                       Likely WouldWould Be    Be Better
                                                                                                                    Better Off Off Or Or
  Worse Off
  Worse  Off inin aa But-For
                      But-For World           Depending on
                                   World Depending               on How
                                                                      How Google
                                                                               Google Play  Play Changes
                                                                                                    Changes its   its Monetization
                                                                                                                       Monetization
  Strategy......................................................................................................................................
  Strategy                                                                                                                                       69
                                                                                                                                                 69
     1.
     1.        Fee Per
               Fee Per Download
                       Download .......................................................................................................... 70
                                                                                                                                           70
     2.
     2.        App or
               App or Developer
                      Developer "Listing
                                “Listing Fees"
                                         Fees”................................................................................... 71
                                                                                                                                  71
     3. "Tiered"
     3.   “Tiered” Rate
                   Rate Structures
                        Structures ImplyImply Not  Not AllAll Service
                                                                Service Fee  Fee Rates
                                                                                    Rates Would
                                                                                              Would Have Have Been Been Lower
                                                                                                                            Lower in    in
     the But-For
     the But-For World
                 World ................................................................................................................. 73
                                                                                                                                         73
     4.
     4.        Lower
               Lower Service Fee Rates
                     Service Fee Rates Accompanied
                                       Accompanied by
                                                   by Increases
                                                      Increases in Google Play
                                                                in Google Play "Ad-Load"
                                                                               “Ad-Load”........ 75
                                                                                                 75
  E.  Additional Economic
  E. Additional             Reasons Some
                 Economic Reasons           Members of
                                    Some Members            of the
                                                                the Putative
                                                                      Putative Developer
                                                                                    Developer Class   Class Would
                                                                                                                Would
  Not Be
  Not Be Better
         Better Off
                Off in
                    in the
                       the But-For
                           But-For World
                                   World ................................................................................... 76
                                                                                                                             76
     1. Some
     1.           Developers Would
        Some Developers              Would Have  Have Incurred
                                                          Incurred HigherHigher App  App Distribution
                                                                                             Distribution Costs  Costs in  in the
                                                                                                                               the But-For
                                                                                                                                     But-For
     World ..................................................................................................................................... 76
     World                                                                                                                                       76
     2. Some
     2.       Developers Likely
         Some Developers                  Would Have
                               Likely Would           Have Obtained
                                                                Obtained Fewer Fewer App  App Distribution
                                                                                                  Distribution ServicesServices in   in the
                                                                                                                                         the
     But-For World
     But-For World ....................................................................................................................... 79
                                                                                                                                           79
VII. Developer
VII.  Developer Plaintiffs'
                Plaintiffs’ Experts Have No
                            Experts Have No Basis
                                            Basis For
                                                  For Their
                                                      Their Claim
                                                            Claim that
                                                                  that All
                                                                       All Developers
                                                                            Developers Would   Would
Have Been Subject To A  Lower  Service Fee Rate In The But-For
Have Been Subject To A Lower Service Fee Rate In The But-For   World...................................
                                                               World                                    81
                                                                                                        81
  A. Developer
  A.  Developer Plaintiffs'
                Plaintiffs’ Experts Concede that
                            Experts Concede  that Certain
                                                  Certain Developers
                                                          Developers were
                                                                     were Not
                                                                          Not Impacted
                                                                              Impacted
  Because They
  Because      Were Able
          They Were  Able To   Obtain the
                            To Obtain the Alleged
                                          Alleged "Competitive"
                                                   “Competitive” Service Fee rate
                                                                 Service Fee rate.................. 82
                                                                                                    82
  B. Developer
  B.  Developer Plaintiffs'
                Plaintiffs’ Expert’s Opinions Regarding
                            Expert's Opinions     Regarding Common  Common Impact  Impact Are   Are NotNot Supported
                                                                                                              Supported
  By Economic
  By Economic Theory
              Theory oror the
                          the Evidence
                              Evidence ...................................................................................... 83
                                                                                                                              83

                                                                                                                                                 3
                                                                                                                                                 3
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 456 of 667
                               HIGHLY CONFIDENTIAL
                               HIGHLY CONFIDENTIAL —
                                                   – ATTORNEYS'
                                                     ATTORNEYS’ EYES
                                                                EYES ONLY
                                                                     ONLY


      1. Dr.
      1. Dr. Sibley’s Claim that
             Sibley's Claim  that Competition
                                  Competition Would
                                                  Would Have  Have BeenBeen MoreMore Robust
                                                                                          Robust for  for All
                                                                                                            All
      Developers Ignore
      Developers        Facts of
                 Ignore Facts of the
                                 the Case
                                     Case ..................................................................................... 83
                                                                                                                                83
      2. Dr.
      2.  Dr. Sibley’s Claim that
              Sibley's Claim that All
                                   All Developers
                                         Developers in          the But-For
                                                            in the    But-For World World Have Have aa Better
                                                                                                           Better "Best
                                                                                                                      “Best
      Option” Is
      Option" Is Without
                 Without Basis
                         Basis....................................................................................................... 85
                                                                                                                                      85
      3. Dr.
      3. Dr. Sibley’s Claim Regarding
             Sibley's Claim Regarding Competition
                                        Competition in       in PCPC App
                                                                       App Stores         Contradicts His
                                                                               Stores Contradicts             His
      Conclusion of Classwide Impact
      Conclusion of Classwide Impact ........................................................................................... 86
                                                                                                                                 86
      4. Dr.
      4. Dr. Sibley’s Claim that
             Sibley's Claim that Google
                                 Google Documents
                                         Documents Support
                                                   Support the the Conclusion
                                                                     Conclusion that     that All
                                                                                                All Developers
                                                                                                      Developers
      Would Have
      Would Have aa Lower
                    Lower Service Fee Is
                          Service Fee    Not Accurate
                                      Is Not Accurate............................................................... 88
                                                                                                                     88
      5. Dr.
      5.  Dr. Sibley’s Claim that
              Sibley's Claim that Google
                                  Google Would
                                         Would Not
                                                 Not "Price
                                                      “Price Discriminate"
                                                             Discriminate” and     and Set      Different
                                                                                          Set Different
      Service Fee Rates
      Service Fee Rates for
                        for Different
                            Different Developers
                                      Developers Is
                                                 Is Inaccurate
                                                    Inaccurate .................................................... 88
                                                                                                                    88
   C. Developer
   C.  Developer Plaintiffs'
                 Plaintiffs’ Expert’s Opinion Related
                             Expert's Opinion    Related to    to Lost     Profits Is
                                                                   Lost Profits           Flawed Because
                                                                                      Is Flawed        Because It    It
   Ignores Many Individualized
   Ignores Many Individualized Factors
                               Factors........................................................................................ 90
                                                                                                                               90
VIII. Consumer
VIII. Consumer Plaintiffs'
               Plaintiffs’ Expert’s Claims of
                           Expert's Claims of Impact
                                              Impact are
                                                     are Based
                                                         Based on
                                                               on Flawed
                                                                  Flawed Economic
                                                                          Economic
Reasoning and
Reasoning and Do
              Do Not
                 Not Consider
                     Consider Actual
                               Actual App,
                                       App, SubscripTion, and IAP
                                            SubscripTion, and     Pricing............................ 95
                                                              IAP Pricing                             95
   D. Consumer
   D. Consumer Plaintiffs'
               Plaintiffs’ Expert’s Opinion Regarding
                           Expert's Opinion Regarding Pass-Through
                                                      Pass-Through Is Flawed and
                                                                   Is Flawed and Inaccurate
                                                                                 Inaccurate
      96
      96
      1. Dr.
      1.   Dr. Singer’s Pass-Through Methodology
               Singer's Pass-Through Methodology is        is Based
                                                               Based on  on anan Overly
                                                                                   Overly Simplistic
                                                                                               Simplistic FormulaFormula
      That Produces
      That Produces Inaccurate
                     Inaccurate Results
                                Results.......................................................................................... 97
                                                                                                                                  97
      2.
      2.     Pricing Data
             Pricing Data Show that Dr.
                          Show that Dr. Singer’s Predicted Pass-Through
                                        Singer's Predicted Pass-Through Rates
                                                                        Rates Are
                                                                              Are Wrong
                                                                                  Wrong.......... 99
                                                                                                  99
      3.
      3.     Dr. Singer’s
             Dr.          Pass-Through Method
                 Singer's Pass-Through Method and
                                              and Formula
                                                  Formula Are
                                                          Are Not
                                                              Not Consistent
                                                                  Consistent with
                                                                             with Economics
                                                                                  Economics
             104
             104
      4.
      4.     The Basis For
             The Basis For Dr.
                           Dr. Singer’s Pass-Through Formula
                               Singer's Pass-Through Formula is Fundamentally Flawed
                                                             is Fundamentally Flawed............ 107
                                                                                                 107
      5. Dr.
      5.  Dr. Singer’s      Predicted Pass-Through
               Singer's Predicted           Pass-Through Rates      Rates AreAre Based
                                                                                    Based on   on Assumptions
                                                                                                    Assumptions that      that Are
                                                                                                                                 Are NotNot
      Reliable................................................................................................................................ 110
      Reliable                                                                                                                                 110
      6. Given
      6.        the Circumstances
         Given the  Circumstances of
                                  of this
                                     this Case,
                                          Case, Economics  and Empirical
                                                Economics and             Data Consistently
                                                               Empirical Data  Consistently
      Show that Determining
      Show that Determining Pass-Through
                            Pass-Through Rates
                                           Rates Requires
                                                 Requires an
                                                          an Individualized
                                                             Individualized Analysis
                                                                            Analysis............ 112
                                                                                                 112
   E.  Consumer Plaintiffs'
   E. Consumer  Plaintiffs’ Expert’s   Claim that
                            Expert's Claim        that All
                                                         All Service
                                                               Service Fees Fees Would
                                                                                    Would Have  Have Been Been Lower
                                                                                                                   Lower Only Only
   Assumes Classwide
   Assumes Classwide Impact.....................................................................................................
                     Impact                                                                                                      115
                                                                                                                                 115
      1.
      1.     Dr. Singer’s
             Dr.          Calculated But-For
                 Singer's Calculated But-For Rates
                                             Rates Assume
                                                   Assume Classwide
                                                          Classwide Impact
                                                                    Impact ............................. 117
                                                                                                         117
      2. Dr.
      2.  Dr. Singer’s Calculations Rely
              Singer's Calculations Rely on
                                          on Inputs
                                             Inputs That  Are Either
                                                    That Are     Either Averages
                                                                            Averages or     or Unsubstantiated
                                                                                                Unsubstantiated
      Estimates Assumed
      Estimates Assumed to
                         to Apply
                            Apply to
                                   to All
                                      All Developers
                                          Developers ................................................................. 118
                                                                                                                       118
      3. Dr.
      3. Dr. Singer’s     Models Find
             Singer's Models           Find Any Any Change
                                                       Change in         Competition Leads
                                                                     in Competition           Leads to  to Lower
                                                                                                            Lower Rates Rates for      All
                                                                                                                                  for All
      Developers ........................................................................................................................... 120
      Developers                                                                                                                             120
      4. Dr.
      4.  Dr. Singer’s Profit-Maximization Models
              Singer's Profit-Maximization    Models Do    Do NotNot Consider
                                                                        Consider That  That Google
                                                                                                Google Can   Can Utilize
                                                                                                                    Utilize
      Alternative Monetization
      Alternative Monetization Strategies
                               Strategies .................................................................................... 121
                                                                                                                               121
IX.   Plaintiffs’ Experts’
IX. Plaintiffs'                       Opinions Regarding
                       Experts' Opinions             Regarding Google  Google Play  Play Points
                                                                                            Points Do  Do NotNot Show         Classwide
                                                                                                                    Show Classwide
Impact
Impact ......................................................................................................................................... 121
                                                                                                                                                 121

                                                                                                                                                  4
                                                                                                                                                  4
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 457 of 667
                              HIGHLY CONFIDENTIAL
                              HIGHLY CONFIDENTIAL —
                                                  – ATTORNEYS'
                                                    ATTORNEYS’ EYES
                                                               EYES ONLY
                                                                    ONLY


   F.
   F.     Google Play
          Google Play Points
                      Points Program
                             Program............................................................................................ 121
                                                                                                                                 121
   G. Plaintiffs'
   G. Plaintiffs’ Experts’ Claims Related
                  Experts' Claims Related to
                                          to Play
                                             Play Points
                                                  Points Do
                                                         Do Not
                                                            Not Show Classwide Impact......
                                                                Show Classwide Impact       122
                                                                                            122
X.
X.        Conclusion ....................................................................................................................... 124
          Conclusion                                                                                                                         124


List of
List of Tables
        Tables
Table  1. Number
Table 1.   Number of    of Putative
                             Putative Developer
                                           Developer Class   Class Members
                                                                      Members by      by App
                                                                                           App Monetization
                                                                                                   Monetization Type,     Type, August
                                                                                                                                    August
2016 -- December
2016    December 20212021.................................................................................................................. 29  29
Table  2. Number
Table 2.   Number of    of Apps
                             Apps from         which U.S.
                                      from which          U.S. Consumers
                                                                  Consumers Purchase Purchase duringduring August
                                                                                                                August 2016 2016 —   – July
                                                                                                                                        July 3, 3,
2021
2021       34
           34
Table  3. Distribution
Table 3.   Distribution of     of Dollars
                                   Dollars Spent          Across U.S.
                                                Spent Across          U.S. Consumers
                                                                              Consumers during   during August
                                                                                                             August 2016 2016 —   – July
                                                                                                                                     July 3, 3,
2021
2021       35
           35
Table  4. Fees
Table 4.   Fees forfor Payment
                        Payment Processing
                                       Processing Service              Providers, 2021
                                                          Service Providers,            2021............................................... 47  47
Table
Table 5.
       5. Summary
           Summary of      of Pass-Through
                               Pass-Through Rates     Rates Found
                                                                Found by    by Dr.
                                                                                 Dr. Burtis
                                                                                       Burtis .............................................. 64 64
Table
Table 6.   Counts of
       6. Counts       of U.S.
                           U.S. Consumers
                                   Consumers in       in the
                                                          the Putative
                                                                Putative Class,
                                                                              Class, By  By Maximum
                                                                                               Maximum Price    Price Point
                                                                                                                         Point of  of
Transactions
Transactions .................................................................................................................................. 65
                                                                                                                                                65
Table  7. Putative
Table 7.   Putative Developer
                        Developer Class   Class Members'
                                                    Members’ Apps    Apps with with Lifespan
                                                                                       Lifespan of    of 12
                                                                                                          12 Months
                                                                                                               Months or    or Less.......
                                                                                                                                 Less           74
                                                                                                                                                74
Table
Table 8.   Comparison of
       8. Comparison           of Dr.
                                   Dr. Singer’s         “Implied Pass-Through
                                          Singer's "Implied            Pass-Through Rates"    Rates” and  and HisHis Predicted
                                                                                                                       Predicted Pass- Pass-
Through  Rates............................................................................................................................. 104
Through Rates                                                                                                                                 104
Table
Table 9.
       9. Share
           Share of of Developers
                         Developers Abandoning
                                            Abandoning the       the "99"
                                                                       “99” Pricing
                                                                               Pricing Strategy
                                                                                            Strategy in   in But-For
                                                                                                              But-For World,World, August
                                                                                                                                        August
2016 —
2016  – December
        December 20202020 ............................................................................................................... 111 111


List of
List of Figures
        Figures
Figure 1.
Figure  1. Percentage
            Percentage of
                        of Putative
                            Putative Developer
                                      Developer Class  Class Members
                                                                 Members OfferingOffering Different
                                                                                                Different Numbers
                                                                                                               Numbers of      of
Paid Apps,
Paid Apps, Subscription    Apps, or
            Subscription Apps,    or IAP
                                     IAP Apps,
                                            Apps, August
                                                      August 2016  2016 —   – December
                                                                               December 2021    2021 ............................ 27  27
Figure 2.
Figure  2. Top   30 Putative
            Top 30   Putative Developer
                              Developer ClassClass Parents
                                                      Parents Accounting
                                                                   Accounting for      for 75%
                                                                                            75% of   of Consumer
                                                                                                         Consumer Spend,  Spend,
2021
2021        28
            28
Figure 3.
Figure      Monthly Consumer
        3. Monthly    Consumer Spend
                                  Spend in  in Google
                                                Google Play  Play forfor Washington
                                                                          Washington Post      Post App
                                                                                                      App ....................... 44  44
Figure 4.
Figure  4. Share   of Putative
            Share of  Putative Developer
                               Developer Class Class Members
                                                        Members by      by Service
                                                                             Service Fee  Fee Rate
                                                                                                 Rate Category
                                                                                                         Category Among  Among
Developers with
Developers  with Google    Play Sales
                  Google Play   Sales inin Each
                                            Each YearYear fromfrom 2017-2021
                                                                      2017-2021............................................. 45       45
Figure  5.  Effective  Payment   Processing      Rates     of   Alternative        Processors
Figure 5. Effective Payment Processing Rates of Alternative Processors at Low Price Points 48        at  Low     Price    Points      48
Figure 6.
Figure      Percentage of
        6. Percentage   of Putative
                            Putative Developer
                                      Developer Class  Class Members
                                                                 Members OfferingOffering Apps, Apps, Subscriptions,
                                                                                                          Subscriptions, and      and
IAPs  at Low
IAPs at       Price Points,
         Low Price  Points, August
                             August 2016
                                     2016 —   – July
                                                 July 3, 3, 2021
                                                             2021................................................................ 49  49
Figure 7.
Figure      Prices that
        7. Prices  that End  in "99"
                        End in  “99” as
                                      as aa Percentage
                                             Percentage of      of U.S.
                                                                    U.S. Consumer
                                                                            Consumer Transactions
                                                                                              Transactions .................. 54      54
Figure 8.
Figure      Percent Reductions
        8. Percent   Reductions from
                                  from Price
                                         Price Point
                                                  Point to  to Price
                                                                Price Point
                                                                         Point ................................................... 55 55
Figure 9.
Figure      Putative Developer
        9. Putative   Developer Class
                                  Class Members
                                          Members with    with Annual
                                                                  Annual Service
                                                                               Service Fees Fees of of less
                                                                                                        less than
                                                                                                               than $99$99 during
                                                                                                                              during
August 2016
August   2016 —
              – December
                December 2021
                            2021..................................................................................................... 73
                                                                                                                                      73
Figure 10.
Figure  10. Megafauna's
              Megafauna’s Brain
                             Brain Yoga
                                    Yoga App App Subscription
                                                     Subscription Price    Price andand Service
                                                                                           Service Fee  Fee Rate
                                                                                                              Rate Contradicts
                                                                                                                       Contradicts
Dr. Singer’s
Dr.          Results of
    Singer's Results  of Nearly
                         Nearly Complete
                                 Complete Pass-Through
                                                Pass-Through .............................................................. 98        98
Figure 11.
Figure  11. Scribd
              Scribd Inc.’s  Monthly Subscription
                      Inc.'s Monthly    Subscription Price   Price and and Service
                                                                             Service Fee  Fee Rate
                                                                                                 Rate Contradicts
                                                                                                          Contradicts Dr.    Dr.
Singer’s  Results of
Singer's Results  of Nearly
                     Nearly Complete
                             Complete Pass-Through
                                          Pass-Through .................................................................. 100       100

                                                                                                                                                55
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 458 of 667
                            HIGHLY CONFIDENTIAL
                            HIGHLY CONFIDENTIAL —
                                                – ATTORNEYS'
                                                  ATTORNEYS’ EYES
                                                             EYES ONLY
                                                                  ONLY


Figure 12.
Figure 12. BaseKamp's
             BaseKamp’s Monthly
                            Monthly Subscription
                                       Subscription Price   Price and and Service
                                                                            Service Fee  Fee Rate
                                                                                                Rate Contradicts
                                                                                                         Contradicts Dr.    Dr.
Singer’s Results of
Singer's Results of Nearly
                    Nearly Complete
                            Complete Pass-Through
                                         Pass-Through .................................................................. 101       101
Figure 13.
Figure 13. Summary
              Summary of of Pass-Through
                            Pass-Through Rates Rates Found
                                                         Found by   by Dr.
                                                                         Dr. Williams,
                                                                               Williams, Dr.    Dr. Singer,
                                                                                                      Singer, and  and Dr.Dr.
Burtis —
Burtis – Share of Positive
         Share of Positive Pass-Through
                           Pass-Through Rates Rates .......................................................................... 103 103
Figure 14.
Figure 14. Pass-Through
             Pass-Through Rates
                             Rates for
                                    for Three       Developers, Based
                                          Three Developers,             Based on   on Dr.
                                                                                        Dr. Singer’s         Calculations,
                                                                                              Singer's Calculations,
August 2016
August  2016 —
             – December
               December 2020
                           2020................................................................................................... 112
                                                                                                                                   112
Figure 15.
Figure 15. Shares    of Positive
              Shares of Positive Pass-Through
                                 Pass-Through Rates     Rates Found
                                                                  Found by   by Dr.
                                                                                  Dr. Singer
                                                                                         Singer and and Dr.Dr. Williams
                                                                                                                 Williams Are    Are
Nearly Opposite
Nearly  Opposite of
                 of Each  Other................................................................................................... 113
                    Each Other                                                                                                     113




                                                                                                                                    66
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 459 of 667
                       HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                              ATTORNEYS’ EYES ONLY


I.   INTRODUCTION AND ASSIGNMENT
 1. I am a Senior Consultant at Charles River Associates, an economic and finance consulting
    firm with offices in the United States as well as internationally. I have a Ph.D. in Economics
    from the University of Texas at Austin and have published in the field of economics.
 2. In my work, I have studied and analyzed various forms of business conduct and how that
    conduct may affect the performance of markets and individual firms. I have analyzed such
    business conduct in antitrust cases, in other forms of commercial litigation, and in
    government regulatory proceedings. My analyses have included instances of conduct related
    to conspiracies, such as price fixing and bid-rigging, tying, monopolization, and
    monopsonization. I have also analyzed issues related to whether certain antitrust allegations,
    such as price-fixing and tying, can be addressed with common evidence or must be addressed
    through individualized inquiry and have published articles related to those issues. I have
    submitted testimony in the courts and in private arbitrations. I have taught undergraduate
    microeconomics at the University of Texas and graduate economics at George Mason
    University. A copy of my curriculum vitae, including a list of matters in which I have
    testified as an expert in the past five years, is included as Appendix A. My normal and
    customary billing rate is $900 per hour. My compensation is not contingent or based on the
    content of my opinions or the outcome of this matter.
 3. I have been asked by counsel for the Defendants Google LLC, Google Ireland Ltd., Google
    Commerce Ltd., Google Asia Pacific Pte. Ltd and Google Payment Corp. (collectively,
    "Google") to review and respond to the opinions offered in the expert reports of Dr. David S.
    Sibley,1 Dr. Michael A. Williams,2 and Dr. Hal Singer,3 in which they assert that Plaintiffs
    can determine the fact of antitrust injury and measure alleged damages using common
    evidence and common methodology for all proposed class members, as well as to address
    economic considerations regarding whether doing so is possible.
 4. To prepare this report I have relied on the materials and sources listed in the Appendix B.
 5. The remainder of this report is organized as follows. Section II includes a summary of my
    opinions regarding Developer Plaintiffs' and Consumer Plaintiffs' claims of class wide
    impact. Section III summarizes assumptions. Section IV provides background information
    about the products at issue (e.g., apps, subscriptions, and IAPs), Google Play, and proposed
    class members. Section V describes the economic framework I used to analyze Plaintiffs'
    claims of classwide antitrust impact. Section VI describes the economic reasons and
    evidence contradicting Consumer Plaintiffs' and Developer Plaintiffs' claims of classwide
    impact. Section VII discusses the Developer Plaintiffs' experts' opinions and analyses and
    describes why they fail to prove classwide impact using common evidence. Section VIII
    discusses the Consumer Plaintiffs' expert's opinions and analyses and describes why they fail

 1        Expert Report of Dr. David. S. Sibley, February 28, 2022, In Re Google Play Developer Antitrust
 Litigation, Case No. 3:20-cv-05792-JD ("Sibley
                                         (“Sibley Report").
                                                  Report”).
 2
 2
         Expert Report of Dr. Michael A. Williams, February 28, 2022, In Re Google Play Developer
                                                 (“Williams Report").
 Antitrust Litigation, Case No. 3:20-cv-05792-JD ("Williams Report”).
 3
 3
          Expert Report of Dr. Hal J. Singer, February 28, 2022, In Re Google Play Consumer Antitrust
                                                                          (“Singer Report").
 Litigation, Case No. 3:20-cv-05761-JD and Case No. 3:21-md-02981-JD ("Singer      Report”).

                                                                                                        7
                                                                                                        7
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 460 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      to prove classwide impact using common evidence. Section IX discusses Plaintiffs' experts'
      opinions regarding Google Play Points. Section X concludes.
II.   SUMMARY OF OPINIONS
  6. Two proposed classes — a proposed developer class and a proposed consumer class —allege
     that they were impacted by Google Play's alleged anticompetitive conduct in certain alleged
     relevant antitrust markets.
  7. The primary issue addressed in this report is whether all members of each of the two
     proposed classes were negatively impacted by Google's alleged conduct ("classwide
     impact") and whether classwide impact can be proven with common evidence. For the
     reasons explained below, classwide impact cannot be established using predominantly
     common evidence for either the proposed class of developers or the proposed class of
     consumers.
  8. Developer Plaintiffs claim to represent a class of U.S. Developers that paid a service fee of
     greater than 15% on the sale of apps, subscriptions, or in-app products ("IAPs") in the
     Google Play store ("Google Play").4 Developer Plaintiffs claim that absent the alleged
     conduct, Google Play's service fees would have been lower and that developer class
     members' injury is equal to the difference between the service fees they paid in the actual
     world and the allegedly lower service fees they would have paid in the "but-for" world.
  9. Consumer Plaintiffs claim to represent a class of consumers in the U.S. who made purchases
     of apps, subscriptions, and IAPs in Google Play. Consumer Plaintiffs claim that the alleged
     anticompetitive conduct led to higher service fees and that those higher fees were largely
     passed through to them in higher prices for app, subscription, and IAPs. Consumer
     Plaintiffs' experts alternatively assert that, in a world where Google faced more competition,
     Google would have provided consumers with more "loyalty points" in Google's Play Points
     program.
  10. As an initial matter, individualized analysis is needed to identify members of the putative
      developer class. Developer Plaintiffs define a class of "U.S." developers (including
      additional criteria such having apps with payments, rather than free apps), but have not stated
      what constitutes a "U.S." developer in their proposed class definition. Developer Plaintiffs'
      expert identifies members of the proposed developer class using a "country-code" in a certain
      Google dataset. But the country codes in that Google dataset are not always consistent with
      other Google datasets. Moreover, the use of the country-code in the dataset indicates some
      developers are "U.S." developers when the developers appear to be foreign companies.'
      Developer Plaintiffs have no way, without engaging in an individualized inquiry into the
      circumstances of each developer in the database, to identify which members of their
      proposed class are "U.S." developers.



  4
  4
          Second  Amended Consolidated
          Second Amended   Consolidated Class
                                           Class Action
                                                 Action Complaint
                                                        Complaint for    Violation of
                                                                    for Violation  of the
                                                                                      the Sherman
                                                                                          Sherman and
                                                                                                  and
  Clayton Acts
  Clayton Acts (15
               (15 U.S.C.
                   U.S.C. ¶¶
                          ¶¶ 1,
                             1, 2,
                                2, 3,
                                   3, 15,
                                      15, 26),
                                          26), Cartwright
                                               Cartwright Act
                                                          Act (Cal.
                                                              (Cal. Bus.
                                                                    Bus. && Prof
                                                                             Prof. Code
                                                                                   Code ¶¶
                                                                                         ¶¶ 16700
                                                                                            16700 et
                                                                                                  et seq.) and
                                                                                                     seq.) and
  Unfair Competition
  Unfair Competition Law
                     Law (Cal.
                          (Cal. Bus.
                                Bus. && Prof
                                          Prof. Code
                                                Code ¶¶17200
                                                     ¶¶17200 et
                                                              et seq.),
                                                                 seq.), January
                                                                        January 21,
                                                                                 21, 2022
                                                                                     2022 ("Developer
                                                                                          (“Developer
  Complaint”) at
  Complaint") at ¶244.
                 ¶244.
  5
  5
          See Appendix C
          See Appendix C for
                         for details.
                             details.

                                                                                                             88
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 461 of 667
                     HIGHLY CONFIDENTIAL
                     HIGHLY CONFIDENTIAL -– ATTORNEYS'
                                            ATTORNEYS’ EYES
                                                       EYES ONLY
                                                            ONLY


       A. DEVELOPER PLAINTIFFS' AND CONSUMER PLAINTIFFS' CLAIMS OF CLASSWIDE
          ANTITRUST IMPACT DEPEND ON SHOWING THE SERVICE FEE RATES FOR ALL
          DEVELOPERS AND APPS WOULD BE LOWER IN THE BUT-FOR WORLD
11. Developer Plaintiffs' and Consumer Plaintiffs' claims of classwide antitrust impact depend
    on showing that there would be a reduction in service fees for all developers. Consumer
    Plaintiffs assert that the service fee reduction would be passed on in lower prices for apps,
    subscriptions, and IAPs. Developer Plaintiffs assert that the reduction generally would not
    be passed on to consumers in the form of lower prices. Developer Plaintiffs experts claim
    that service fee rates would not only be lower in the but-for world but would be uniform
    across all apps and developers. Consumer Plaintiffs expert offers two alternatives: either
    there would be one service fee rate reduction for paid apps and a different rate reduction for
    subscriptions and IAPs, or there would be a single rate reduction for all transactions, apps,
    and developers.
12. Economic evidence demonstrates that not all service fee rates would fall or be uniform in
    Plaintiffs' but-for world and that determining which developers and which apps would obtain
    lower rates requires an individualized analysis of each developer and app.
13.




14. Indeed, when Google Play and other app stores have reduced service fee rates, they have
    generally done so only for certain apps or developers. Targeted reduction of service fee rates
    by app stores reflects that some developers can negotiate lower service fees because they
    have popular apps that are valuable to Google Play and/or have business models or products
    that make them particularly well-suited to make use of other distribution or monetization
    options that do not involve payment of fees to Google. In the rare instances when an app
    store other than Google Play provided a lower service fee rate to all developers, the app
    stores' rivals, including but not limited to Google Play, did not respond in kind.
15. Thus, economic factors explain why competition in the actual world does not result in
    "across-the-board" rate reductions to all developers or for all apps. Plaintiffs' experts must
    address — but do not — that the economic factors explaining these dynamics in the actual
    world would also exist in the but-for world. Those characteristics include the unique
    circumstances of developers in terms of their business strategy and the relative popularity of
    their apps, which would continue to exist in the but-for world. Therefore, even assuming an
    increase in competition in a but-for world, some developers likely would be able to obtain
    lower rates or more services from app stores, but other developers would not.
16. Even assuming Plaintiffs' contention that in a but-for world, developers could use other
    billing systems and thereby avoid paying Google any service fees, some developers likely
    would not have a less expensive option for payment processing. Many payment processors
    charge a flat fee and a percentage fee for each transaction. For developers that set
    subscription or IAP prices at low price points — such as $0.99 — a flat fee such as $0.49
                                                                                                     99
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 462 of 667
                     HIGHLY CONFIDENTIAL
                     HIGHLY CONFIDENTIAL -– ATTORNEYS'
                                            ATTORNEYS’ EYES
                                                       EYES ONLY
                                                            ONLY


   charged by PayPal plus a percentage fee add up to over 52% of the transaction price, far
   above Google Play's 30% service fee which covers not just payment processing, but
   additional services as well. This would be the case for the 22% of putative developer class
   members that sell apps, subscriptions, or 1APs only at prices of $0.99. Since those putative
   developer class members likely would not have a lower priced alternative for payment
   processing in a but-for world, their service fees would likely remain unchanged and therefore
   the prices that they set for the members of the proposed consumer class would remain
   unchanged as well. Developer Plaintiffs' experts do not address this issue at all. Consumer
   Plaintiffs' expert assumes, without any basis, that alternative payment processors' flat fees
   would not exist in the but-for world. If these 22% of putative developer class members
   would not have a less expensive payment processing option in the but-for world, then they
   are uninjured. Consumers who use those developers' apps also could not show that they
   would have paid a lower price in the but-for world and therefore are not injured.
17. Neither Developer Plaintiffs' experts nor Consumer Plaintiffs' expert provide an economic
    basis for their assumption that all developers' and all apps' service fee rates would be lower
    (and uniform) in the but-for world.
18. Developer Plaintiffs' expert, Dr. Sibley, assumes that in the but-for world an increase in
    competition would lead to lower rates for all developers. The assumption is contradicted by
    Dr. Sibley's own observation that in the actual world, certain developers took advantage of
    their ability to use other options for app distribution in order to — in his words — "resist"
    Google's alleged anticompetitive conduct and obtain competitive rates. Dr. Williams,
    another of Developer Plaintiffs' experts, adopts those actual-world rates as a competitive
    benchmark.
19. Dr. Sibley's other rationales for assuming all developers' rates would be lower in the but-for
    world are equally baseless. For example, he relies on an inaccurate and incomplete narrative
    about service fee rate changes among PC app stores. He claims that when the Epic Game
    Store entered with a lower rate, the Microsoft Store reduced its rate. But he fails to
    acknowledge that Microsoft's rate change came over two years after Epic Game Store's entry
    and fails to consider that another large PC app store, Steam, reduced rates for certain
    developers but not others. His claim that Google would not (or could not) set different
    service fees is contradicted by the fact that Google Play already sets rates differently for
    different developers, and that Google individually negotiates terms for certain developers.
    Dr. Sibley's assertion of uniformly lower service fee rates in the but-for world is at odds with
    economic theory showing that setting different prices can be optimal for firms and at odds
    with the reality that many firms in competitive industries utilize differential and increasingly
    sophisticated and complex pricing systems.
20. Consumer Plaintiffs' expert, Dr. Singer, similarly presents no economic basis or evidence to
    justify his assumption that service fee rates for all paid apps, all subscriptions, and all IAP
    would be lower in the but-for world. Dr. Singer's claim about lower service fee rates is
    based on mathematical calculations that simply assume that in the but-for world, an increase
    in competition will have the same effect on all apps and developers. By design, each of his
    calculations can return only a single but-for service fee rate — he allows for no other
    possibility. Thus, Dr. Singer has assumed that all service fee rates would be lower. He has
    not proposed a method for proving why this would be so for all or virtually all members of
    the putative consumer class.

                                                                                                 10
                                                                                                 10
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 463 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


         B. DEVELOPER PLAINTIFFS' CLAIMS CONFLICT WITH CONSUMER PLAINTIFFS'
            CLAIMS OF ANTITRUST IMPACT ON RETAIL APP, SUBSCRIPTION, AND IAP PRICES
21. Consumer Plaintiffs and Developer Plaintiffs have conflicting claims about antitrust impact
    as it relates to the prices of apps, subscriptions, and IAPs in the but-for world. Consumer
    Plaintiffs claim they were impacted by the alleged conduct because virtually all developers
    would have largely passed through lower service fee rates in the form of lower prices.
    Conversely, Developer Plaintiffs claim that very few prices would be lower in a but-for
    world with lower service fees.
22. Given the two sets of Plaintiffs' contradictory claims regarding prices and antitrust impact, a
    substantial portion of the two proposed classes' damages claims are duplicative of each other.
    Developer Plaintiffs claim impact and damages stemming from the difference between actual
    and but-for service fees, which they claim they would retain rather than pass through in the
    form of lower prices to consumers. Consumer Plaintiffs claim broadly the same impact and
    damages on the basis that developers would largely pass through any difference in service
    fees to them in the form of lower prices. As a result, the two proposed classes' damages
    claims double count much of the alleged overcharge.6
23. The economic evidence shows that the existence (or lack thereof) of pass-through is not a
    common issue for Consumer Plaintiffs or Developer Plaintiffs. Rather, my analysis shows
    that some but not all developers would pass through lower service fee rates to consumers and
    determining which prices would be lower requires an individualized app-by-app analysis.
    Although economic models can be used to identify certain variables that inform the issue of
    which prices are likely to be lower in the but-for world, those models are based on
    assumptions about the way developers set prices. In particular, the models assume that every
    developer will set a price to maximize short-term profits rather than longer-term goals, such
    as attempting to maximize the number of consumer downloads with low prices and then
    raising prices. Those assumptions do not hold for all developers but vary from developer to
    developer.
24. Furthermore, in economic models that assume short-term profit-maximization there are
    important supply and demand variables that determine whether a given developer will reduce
    prices when a service fee rate changes. These variables — for example, the marginal cost of
    apps and the price elasticity of demand for apps — vary across apps. Determining these
    variables for an app requires individualized analysis. For that reason, determining whether a
    service fee rate reduction would be passed through to consumers in the form of lower prices


6
6
              the period
         Over the period August
                         August 2016
                                2016 to
                                     to December
                                        December 2020
                                                 2020 (a
                                                      (a period
                                                         period common to both
                                                                common to both Plaintiffs'
                                                                               Plaintiffs’ damage
                                                                                           damage
claims), Developer
claims), Developer Plaintiffs'
                      Plaintiffs’ damage    estimates range
                                  damage estimates     range from    $2.5 billion
                                                              from $2.5    billion to
                                                                                    to $2.6
                                                                                       $2.6 billion.
                                                                                            billion. Of
                                                                                                      Of those
                                                                                                          those
amounts, roughly
amounts,   roughly 54%    ($1.3 billion
                     54% ($1.3   billion to
                                         to $1.4
                                            $1.4 billion)
                                                 billion) are
                                                          are related
                                                               related to
                                                                        to sales
                                                                           sales to
                                                                                  to members
                                                                                     members of of the
                                                                                                    the putative
                                                                                                        putative
consumer class.
consumer    class. Over
                    Over the
                         the same
                             same period,
                                    period, Consumer
                                             Consumer Plaintiffs'
                                                         Plaintiffs’ damage
                                                                      damage estimates
                                                                                estimates range
                                                                                            range from   $2.4 billion
                                                                                                   from $2.4   billion to
                                                                                                                       to
$4.7 billion. Of
$4.7 billion.  Of those
                   those amounts,
                         amounts, roughly
                                     roughly 35%
                                              35% ($0.8
                                                   ($0.8 billion
                                                          billion to
                                                                   to $1.7  billion) are
                                                                      $1.7 billion)   are related
                                                                                          related to
                                                                                                   to purchases
                                                                                                      purchases from
                                                                                                                  from
members of
members    of the
              the putative
                  putative developer
                            developer class.
                                        class. Given
                                                Given the
                                                       the two
                                                           two sets
                                                                sets of
                                                                      of Plaintiffs'
                                                                         Plaintiffs’ contradictory
                                                                                      contradictory claims
                                                                                                      claims regarding
                                                                                                              regarding
prices and
prices and antitrust
            antitrust impact,  these Consumer
                      impact, these   Consumer Plaintiffs'
                                                  Plaintiffs’ damages
                                                              damages related
                                                                          related to
                                                                                   to purchases
                                                                                      purchases from    Developer
                                                                                                  from Developer
Plaintiffs are
Plaintiffs are duplicative
               duplicative of
                            of the
                               the Developer
                                    Developer Plaintiffs'
                                                Plaintiffs’ damages
                                                            damages related
                                                                       related toto sales
                                                                                    sales to
                                                                                          to U.S.
                                                                                             U.S. consumers.
                                                                                                   consumers. See    this
                                                                                                                See this
report’s production.
report's production.


                                                                                                                      11
                                                                                                                      11
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 464 of 667
                     HIGHLY CONFIDENTIAL
                     HIGHLY CONFIDENTIAL -– ATTORNEYS'
                                            ATTORNEYS’ EYES
                                                       EYES ONLY
                                                            ONLY


   also requires individualized analysis. Those assumptions do not hold for all developers but
   vary from developer to developer.
25. Developers' price-setting strategies are also highly relevant to the issue of pass-through.
    Many app developers set prices to end in "99" (e.g., $0.99, $1.99). Even if such a developer
    sets prices to maximize short-term profits, it does so subject to the constraint that it will
    change a price only if the change from one price that ends in "99" is more profitable than
    another price that ends in "99." This factor limits the extent to which developers will be
    inclined to reduce prices in the but-for world even if they obtain a lower service fee rate
    ("sticky prices").
26. The relevance of these economic factors to pass-through is confirmed by empirical evidence.
    The data produced by Google show that prices changed only for some of the apps,
    subscriptions, and IAPs that had a service fee rate change. Indeed, many of these apps,
    subscription, and IAP prices never change throughout the period for which they appear in the
    transaction data. That empirical evidence is consistent with the factors described above.
    Many apps are likely to have low (or close to zero) marginal costs and many developers'
    pricing strategies have an inherent stickiness.
27. Developer Plaintiffs' expert, Dr. Williams, analyzes some of the available Google data and
    similarly finds that few prices fall after a service fee rate change. But Dr. Williams'
    conclusion based on that data — that "pass-through of lower service fees is minimal in this
    market" — is overly broad, and he does not consider any of the economic factors that inform
    whether prices would be lower with lower service fee rates. Dr. Williams does not attempt to
    analyze the marginal costs of any app, the demand elasticity of any app, or the pricing
    strategy of any developer.
28. Consumer Plaintiffs' expert, Dr. Singer, adopts a different method for evaluating pass-
    through — one that generates demonstrably false results. Dr. Singer does not consider
    whether actual service fee rate changes have led to price changes in the actual world.
    Instead, he calculates a pass-through rate based on a simplistic formula derived from a
    certain model of demand: one minus the developer's share of sales of an app category. For
    example, if Dr. Singer identified a developer that offered an app in Google Play's Games
    category and calculated its share of Game sales as 1%, Dr. Singer would conclude that the
    pass-through rate for that game was 99% (i.e., (1- 0.01 = 0.99) or 99%). This calculation
    does not include service fees or prices for this app. Whether service fees fell for this app and
    led to lower prices — or did not — is not part of Dr. Singer's calculation. In this way, Dr.
    Singer finds about 95% of his pass-through rates are close to 100%; that is, nearly complete
    pass-through. Indeed, Dr. Singer's "method" would find pass-through for every developer
    unless that developer had a 100% share in its app category. Given that Dr. Singer used very
    broad app categories, with thousands of apps in many categories, where a single app does not
    have a 100% share, his method guarantees nearly universal positive pass-through rather than
    proves that it would occur for all apps.
29. Dr. Singer's method produces results that are verifiably wrong. Dr. Singer's method "finds"
    nearly complete pass-through for apps, subscriptions, and IAPs that had a service fee rate
    change in the actual world but whose prices did not change at all. Dr. Singer could have
    calculated pass-through rates from the actual data to determine whether his formula-based
    method produced reliable results to be used for a but-for world, but he did not.

                                                                                                 12
                                                                                                 12
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 465 of 667
                     HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                            ATTORNEYS’ EYES ONLY


30. Dr. Singer did not analyze any of the economic factors that inform the issue of pass-through.
    He did not attempt to estimate or investigate the cost conditions for any app (even though he
    sets out the theoretical result that there cannot be any pass-through of a service fee rate
    change if marginal cost is zero). He did not consider developers' pricing strategies, or the
    use of prices that end in "99." And he made unrealistic and unsupported assumptions about
    which apps are substitutes for each other. Instead, he relied on a simplistic formula that
    produces results that are wrong. His method is not capable of identifying those apps for
    which a service fee rate change leads to a price change, or the amount of any such pass-
    through.
31. Importantly, Dr. Singer's failure to offer a reliable method to determine pass-through rates
    invalidates his calculations related to but-for service fee rates, as well. Dr. Singer uses the
    average of his calculated pass-through rates to find what service fees would have been in a
    but-for world. Because his pass-through rates are based on a flawed methodology, his
    average pass-through rate is wrong, and his but-for service fee rates are necessarily flawed as
    well.
       C. DEVELOPER PLAINTIFFS' FOCUS ON CLAIMED OVERCHARGES IGNORES CRITICAL
          FACTORS THAT MUST BE ANALYZED TO DETERMINE ANTITRUST IMPACT
32. Developer Plaintiffs' expert Dr. Williams contends that analyzing a developer's lost profits is
    not necessary to measure impact or damages because it would only show "additional" lost
    profits that would have been generated for a developer that passed through some (or all) of
    the service fee rate changes. This opinion is flawed for several reasons.
33. Dr. Williams' conclusion is based on the notion that the pass-through rates he has found are
    representative of all pass-through rates, even though he has done no study of any of the
    economic variables that are relevant to pass-through.
34. Moreover, developers' costs cannot be ignored in a lost profits analysis. Materials produced
    in this case, including deposition testimony from Epic Games and developer class
    representatives, show that at least for some developers, more app stores would increase
    developers' costs. Dr. Williams ignores these facts and assumes that no developer's costs
    would be higher in the but-for world.
35. Dr. Williams further ignores that Google would have a strong economic incentive to change
    the way it monetizes Google Play in Plaintiffs' but-for world. Depending on how Google
    would change its monetization strategy, different developers could pay higher or lower fees
    in the but-for world. For example,
                                . For some developers, this             would mean higher costs.
    Peekya, one of the developer class representatives had total fees of $28.60 over the period it
    offered its app in Google Play (including the one-time $25 developer fee). If Google Play
    had charged                     , Peekya would have paid       in fees. 67% of developers paid
    less than      in service fees, so those developers would pay the same amount of fees, or
    more, if Google Play changed its monetization to                       in the but-for world. Dr.
    Williams overlooks evidence that Google has considered multiple alternative monetization
    strategies and that depending on the strategy, some developers' fees would be higher in the
    but-for world.



                                                                                                 13
                                                                                                 13
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 466 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


           D. ADDITIONAL REASONS CONSUMER PLAINTIFFS CANNOT SHOW COMMON PROOF
              OF CLASSWIDE ANTITRUST IMPACT
   36. Dr. Singer claims in the alternative that in the but-for world Google might expand its Google
       Play Points loyalty program, instead of reducing service fees. However, Dr. Singer's Play
       Points model cannot be used to prove classwide impact. Dr. Singer fails to consider that in
       the actual world, only about       of U.S. consumers participated in and have redeemed Play
       Points. Given that low redemption rates in loyalty programs are not unusual (and are not the
       result of any alleged conduct), there is no basis to assume that all U.S. consumers would
       participate in an expanded program and therefore no basis to assume that all consumers
       would be better off in this version of Plaintiffs' but-for world.
   37. Dr. Singer also does not consider that, in a but-for world, Google could change its
       monetization strategy and charge service fees for free apps. If service fees on free apps are
       passed through to consumers, some consumers who obtained these apps for free in the actual
       world could pay more overall for apps in the but-for world, even if some of the apps that they
       paid for in the actual world would be priced lower in the but-for world. The increase in the
       price of free apps could be larger than the decrease in the price of paid apps. Determining
       whether that would be so would require calculating the price of all free and paid apps for
       each individual consumer in the but-for world.
   38. Consumers who purchase from developers that set low price points likely would not have
       been impacted by Google's alleged conduct because those developers likely would not have
       lower cost options to Google Play in the but-for world and therefore will not set lower prices
       to consumers.
   39. Consumers who rely on relatively costly forms of payment, such as Direct Carrier Billing'
       ("DCB") and gift cards, also likely would have been worse off in the but-for world if those
       forms of payment would not have been as available or available on the same terms as Google
       Play.
   40. Finally, some consumers likely would have been worse off in a but-for world with less robust
       security warnings if security problems increased or if consumers paid more to avoid security
       problems.
III.   ASSUMPTIONS USED TO CONSIDER DEVELOPER PLAINTIFFS' AND
       CONSUMER PLAINTIFFS' CLAIMS OF COMMON IMPACT
   41. Developer Plaintiffs' expert, Dr. Sibley, and Consumer Plaintiffs' expert, Dr. Singer claim
       that in certain relevant antitrust markets, Google Play had market power and engaged in
       certain conduct that foreclosed opportunities to Google Play's competitors, and/or other
       payment processors. Both experts contend that in the but-for world Google would not have
       engaged in the alleged conduct and, as a result, there would be increased competition from




   7
           DCB allows consumers to make
           DCB                       make Google
                                           Google Play
                                                     Play payments
                                                          payments as
                                                                   as part
                                                                      part of
                                                                            of their
                                                                               their mobile
                                                                                     mobile phone
                                                                                            phone bill.
                                                                                                   bill. For
                                                                                                         For
   example, one of
   example, one of the
                   the named
                       named Consumer
                                Consumer Plaintiffs,
                                         Plaintiffs,                    ,, paid
                                                                           paid for
                                                                                for Google  Play transactions
                                                                                     Google Play transactions
   through his
   through his           .. See
                            See


                                                                                                            14
                                                                                                            14
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 467 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


     the entry and expansion of app stores and/or reliance on alternative payment processors that
     would lead to lower service fee rates for all putative developer class members.8
42. For purposes of this report, I assume Dr. Sibley's and Dr. Singer's alleged relevant antitrust
    markets are properly defined. I have not been asked to analyze those experts' opinions
    related to relevant antitrust markets and have no economic opinion as to whether their
    opinions on market definition are consistent with economics or the facts of this case.
43. I further assume, for purposes of my analysis, Dr. Sibley's and Dr. Singer's claim that
    Google Play had market power in their claimed relevant markets. However, I do not assume
    or concede that app distribution in the actual world was not competitive, that developers did
    not have alternatives to Google Play, or that developers did not, or could not, negotiate
    competitive service fee rates. Indeed, as described below, both Dr. Sibley and Dr. Williams
    — for Developer Plaintiffs — and Dr. Singer — for Consumer Plaintiffs — agree that certain
    putative developer class members did negotiate competitive service fee rates.
44. For purposes of this report, I assume Developer Plaintiffs' and Consumer Plaintiffs' claim
    that in the but-for world, Google Play would face more competition. Notably, Plaintiffs'
    experts do not specify what form this increased competition would take. Different sources
    and forms of enhanced competition could have different kinds of effects on Google's
    approach to the fees and services offered to different developers. Neither Developer
    Plaintiffs' nor Consumer Plaintiffs' experts have provided any basis to conclude that any
    increased competition in the but-for world would have been sufficiently strong to result in
    Google reducing service fees, increasing Play Points, or offering additional tools or features,
    to any developer or consumer, let alone with respect to all transactions on Google
    Play. Nevertheless, for purposes of this report, I assume (but do not concede) that increased
    competition would have resulted in some change by Google in order to analyze whether
    Plaintiffs' experts have set forth common proof that such a change would have made all or
    nearly all members of the proposed classes better off.
45. The questions I analyze are whether Developer Plaintiffs have established a method to show
    that all or nearly all putative developer class members would have been better off in a world
    where Google did not engage in the challenged conduct and whether Consumer Plaintiffs
    have established a method to show that all or nearly all proposed consumer class members
    would have been better off in a world where Google did not engage in the challenged
    conduct. For the reasons described below, I find that neither Developer Plaintiffs nor
    Consumer Plaintiffs have established any methodology to show classwide impact for their
    respective proposed classes.




88
       Developer Plaintiffs'
       Developer   Plaintiffs’ expert,
                               expert, Dr.
                                       Dr. Williams,
                                           Williams, also
                                                     also found
                                                          found that
                                                                 that the
                                                                      the alleged
                                                                          alleged conduct
                                                                                  conduct caused
                                                                                          caused putative
                                                                                                  putative
developer class
developer class members
                members to to pay
                              pay an
                                  an elevated
                                     elevated service
                                              service fee rates assuming
                                                      fee rates assuming Dr.
                                                                           Dr. Sibley's
                                                                               Sibley’s market
                                                                                        market definitions.
                                                                                               definitions.
Williams Report
Williams Report at
                 at ¶¶
                    ¶¶ 8,
                       8, 11.
                          11.

                                                                                                              15
                                                                                                              15
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 468 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


IV.    THE PROPOSED CLASSES AND PRODUCTS INVOLVED ARE HIGHLY
       DIFFERENTIATED
              A. APPS AND IAPs
                      1. Apps are numerous and highly differentiated
  46. Software applications ("apps") are available on mobile phones, tablets, PCs, game consoles,
      and other hardware devices ("devices") that use different operating systems such as Windows
      OS, Apple iOS, and Android OS.9
  47. Apps are highly differentiated. Many apps are available on multiple device types and
      multiple operating systems. For example, the Netflix app is available on devices such as
      smartphones, tablets, smart TVs, game consoles, set-top boxes, and Blu-ray players, among
      others.1° The Netflix app is available for Apple iOS, Android OS, and Windows OS.11
  48. Apps are created by developers and can be shared with consumers in many ways, including
      through app stores and direct downloads from the Internet.12 There are several Android app
      stores, including Google Play, the Samsung Galaxy Store, the Amazon Appstore, and
      Aptoide.
  49. Apps can be broadly divided into categories. Among apps listed in Google Play, 87% are
      listed by their developers in non-game categories.13 Education is the largest category,
      followed by business, tools, music and audio, and entertainment.14 In Google Play, there are
      also different categories of game apps.15
  50. There are numerous apps within each category, and apps in each category may or may not be
      targeted at the same users. For example, as of May 5, 2021, there were 183,074 different
      shopping apps in Google Play.16 Within the category of shopping apps, the FootLocker app




  9
  9
           See, for example,
           See, for          “A Beginner's
                    example, "A Beginner’s Guide
                                            Guide to
                                                   to Mobile
                                                      Mobile Apps,"
                                                              Apps,” Lifewire,
                                                                      Lifewire,
  https://www.lifewire.com/what-are-apps-1616114 (explaining
  https://www.lifewire.com/what-are-apps-1616114      (explaining that
                                                                  that apps
                                                                       apps are
                                                                            are available
                                                                                available on
                                                                                          on various
                                                                                             various device
                                                                                                     device
  types, including
  types, including desktop,  mobile, and
                    desktop, mobile, and web);
                                         web); "Five
                                               “Five Common
                                                      Common Operating
                                                                Operating Systems,"
                                                                           Systems,” Small   Business Chron,
                                                                                      Small Business  Chron,
  https://smallbusiness.chron.com/five-common-operating-systems-28217.html; "Apps
  https://smallbusiness.chron.com/five-common-operating-systems-28217.html;       “Apps for
                                                                                          for Everyone,"
                                                                                              Everyone,”
  Windows, https://www.microsoft.com/en-ca/windows/windows-10-apps
  Windows,   https://www.microsoft.com/en-ca/windows/windows-10-apps (showing(showing that
                                                                                       that Windows
                                                                                            Windows 1010 apps
                                                                                                         apps
  are available for various Windows   devices including mobile,  desktop, and  Xbox).
  are available for various Windows devices including mobile, desktop, and Xbox).
  10
  10
          See https://devices.netflix.com/.
          See https://devices.netflix.com/.
  11
  11
          See https://help.netflix.com/en/node/101653.
          See https://help.netflix.com/en/node/101653.
  12
  12
          See https://developer.android.com/studio/publish.
          See https://developer.android.com/studio/publish.
  13
  13
          See Exhibit 1.
          See Exhibit 1. This
                         This figure
                               figure is based on
                                      is based on Android
                                                  Android apps
                                                           apps in
                                                                in Google Play on
                                                                   Google Play on May
                                                                                  May 5,  2021. The
                                                                                       5, 2021.  The figure
                                                                                                      figure
  omits Android
  omits Android apps
                apps not
                      not registered
                          registered in  Google Play
                                     in Google  Play and
                                                     and the
                                                         the breakdown
                                                             breakdown could  be different
                                                                        could be different for Apple iOS
                                                                                           for Apple iOS
  apps or
  apps or Microsoft
          Microsoft Windows
                    Windows apps.
                               apps.
  14
  14
          See Exhibit 2.
          See Exhibit 2.
  15
  15
          See Exhibit 3.
          See Exhibit 3.
  16
  16
          See Exhibit 2.
          See Exhibit 2.

                                                                                                          16
                                                                                                          16
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 469 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


     and the Nike app may be targeted at the same group of consumers, but the Home Depot app
     may be directed to a different group of consumers.17
51. Apps differ along other dimensions, including the characteristics of the consumer's device,
    e.g., the type of processor or the amount of memory.18 Some apps depend on having many
    interacting users and are differentiated by the size of their user community.19 Many apps are
    available on multiple platforms or devices while others are not.2°
52. Apps are offered by a variety of developers. For example, federal and local governments,
    banks, universities, and service providers such as taxi companies and ride-sharing companies
    all offer apps.21
53. Developers that choose to monetize their apps have several options for doing so.
    Monetization strategies include, by way of example, requiring a payment to download the
    app (a "paid app"), selling a subscription that recurs over time to access content in the app (a
    "subscription app"), selling other non-subscription digital content or features ("in-app
    products" or "IAPs") within the app (an "IAP app"), and earning revenue through displaying
    advertisements in the app.22


17
17
         https://play.google.com/store/apps/details?id=com.footlocker.approved;
         https://play.google.com/store/apps/details?id=com.footlocker.approved;
https://play.google.com/store/apps/details?id=com.nike.omega;
https://play.google.com/store/apps/details?id=com.nike.omega;
https://play.google.com/store/apps/details?id=com.thehomedepot.
https://play.google.com/store/apps/details?id=com.thehomedepot.
18
18
         For example,
         For example, Epic
                      Epic Games
                           Games describes
                                   describes the
                                             the minimum
                                                 minimum device
                                                            device specifications
                                                                   specifications for
                                                                                  for its Fortnite app
                                                                                      its Fortnite app as
                                                                                                       as
“devices running
"devices  running 64-bit Android on
                  64-bit Android on an
                                    an ARM64
                                       ARM64 processor,
                                                 processor, Android
                                                            Android OS
                                                                     OS 8.0
                                                                         8.0 or
                                                                             or higher,
                                                                                higher, minimum
                                                                                         minimum 4GB4GB of
                                                                                                         of
RAM, and
RAM,    and GPU:
            GPU: Adreno
                  Adreno 530  or higher,
                          530 or higher, Mali-G71
                                         Mali-G71 MP20,
                                                   MP20, Mali-G72
                                                           Mali-G72 MP12,
                                                                      MP12, oror higher."
                                                                                 higher.”
https://www.epicgames.com/fortnite/en-US/faq.
https://www.epicgames.com/fortnite/en-US/faq.
19
19
         Similarly,
         Similarly, certain mobile gaming
                    certain mobile          apps are
                                   gaming apps    are referred to as
                                                      referred to as Massively
                                                                     Massively Multiplayer
                                                                                Multiplayer Online,
                                                                                             Online, in
                                                                                                     in which
                                                                                                        which
many users
many         – sometimes
       users — sometimes thousands
                           thousands —
                                     – play
                                        play against
                                             against or
                                                     or with
                                                        with one
                                                              one another
                                                                  another at
                                                                          at the
                                                                             the same  time (e.g.,
                                                                                 same time  (e.g., Arcane
                                                                                                   Arcane
Legends, published
Legends,  published by
                     by Spacetime
                         Spacetime Studios).   See "What
                                    Studios). See   “What Is  an MMO?"
                                                           Is an MMO?” Lifewire,
                                                                          Lifewire,
https://www.lifewire.com/what-is-an-mmo-4687003, accessed
https://www.lifewire.com/what-is-an-mmo-4687003,         accessed February
                                                                   February 24,
                                                                             24, 2022;
                                                                                 2022; Arcane
                                                                                        Arcane Legends
                                                                                                Legends
MMO-Action RPG,
MMO-Action      RPG, Google
                      Google Play,
                              Play, https://play.google.com/store/apps/details?id=sts.al,  accessed February
                                    https://play.google.com/store/apps/details?id=sts.al, accessed   February
24, 2022.
24, 2022.
20
20
         Epic’s Fortnite
         Epic's Fortnite Battle
                         Battle Royale,
                                Royale, for
                                         for example,
                                             example, isis available
                                                           available on PCs at
                                                                     on PCs  at Fortnite.com,
                                                                                Fortnite.com, on
                                                                                              on game
                                                                                                 game consoles
                                                                                                       consoles
through PlayStation
through  PlayStation Store,
                     Store, Xbox
                             Xbox Marketplace
                                   Marketplace andand Nintendo
                                                       Nintendo eShop,   and on
                                                                 eShop, and   on Android
                                                                                 Android mobile
                                                                                           mobile devices
                                                                                                  devices
through the
through  the Samsung
             Samsung Galaxy     Store and
                       Galaxy Store   and epicgames.com.
                                          epicgames.com. "FAQ,"
                                                              “FAQ,” Fortnite,
                                                                       Fortnite,
https://www.epicgames.com/fortnite/en-US/faq, accessed
https://www.epicgames.com/fortnite/en-US/faq,        accessed January
                                                               January 5,  2022. Other
                                                                        5, 2022. Other games
                                                                                        games are
                                                                                               are available
                                                                                                   available
only on
only on one
         one platform.
             platform. See,
                       See, for
                             for example,
                                 example, aa list of Nintendo
                                             list of Nintendo Switch-exclusive
                                                               Switch-exclusive games:
                                                                                  games: Kamen,
                                                                                          Kamen, Matt
                                                                                                  Matt et.  al,
                                                                                                        et. al,
“Best Switch
"Best  Switch exclusives
              exclusives to
                          to make
                             make sure
                                   sure you
                                        you have
                                              have in  your library,"
                                                    in your library,” Gamesradar,
                                                                      Gamesradar, accessed
                                                                                    accessed January 20, 2022,
                                                                                             January 20,  2022,
https://www.gamesradar.com/best-switch-exclusives/.
https://www.gamesradar.com/best-switch-exclusives/.
21
21
         See, for example,
         See, for example, U.S.
                           U.S. federal
                                federal government
                                        government apps,
                                                     apps, https://www.usa.gov/mobile-apps
                                                           https://www.usa.gov/mobile-apps; County
                                                                                             County of
                                                                                                     of
San  Diego apps,
San Diego  apps, https://www.sandiegocounty.gov/content/sdc/dmpegfx/appcenter/index.html;
                  https://www.sandiegocounty.gov/content/sdc/dmpr/gfx/appcenter/index.html; BankBank of
                                                                                                      of
America, https://promotions.bankofamerica.com/digitalbanking/mobilebanking;
America,  https://promotions.bankofamerica.com/digitalbanking/mobilebanking; University
                                                                                  University of
                                                                                             of
Connecticut, https://mobile.uconn.edu/applications/;
Connecticut,  https://mobile.uconn.edu/applications/; San  Francisco taxi
                                                      San Francisco  taxi mobile
                                                                          mobile apps,
                                                                                 apps,
https://www.sfmta.com/taxi-mobile-apps; https://play.google.com/store/apps/details?id=me.lyft.android.
https://www.sfmta.com/taxi-mobile-apps;    https://play.google.com/store/apps/details?id=me.lyft.android.
22
22
        “Monetize with
       "Monetize  with ease,"
                       ease,” Google
                              Google Play
                                     Play Console,
                                          Console, https://play.google.com/console/about/monetize/,
                                                   https://play.google.com/console/about/monetize/,
accessed March
accessed March 17,
               17, 2022.
                   2022.

                                                                                                            17
                                                                                                            17
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 470 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


54. Free apps — that is, apps that are free to download and include no subscriptions or IAPs —
    account for about       of the apps in Google Play as of May 2021.23 Some developers may
    be able to reach more users when they distribute apps as free to download, but then monetize
    such freely distributed apps by converting some of the users into paid users through the sale
    of IAPs or subscriptions.24 Other free apps monetize through advertising or through the sale
    of physical products.
55. Each developer may choose whether to offer its app as a free download with no
    advertisements (e.g., banking apps, government apps), as a free download with paid
    advertising (e.g., Facebook), as a paid download (e.g., Minecraft), or as a subscription-based
    app (e.g., the New York Times app) or as an app with IAPs (e.g., Candy Crush).25
56. Currently, most of the money consumers spend (on digital content) in mobile apps
    ("consumer spend") is in the form of subscriptions and IAPs.26 Subscriptions and IAPs
    provide consumers with recurring access to content, extra digital content and features (e.g.,
    premium content, digital goods, digital currency) or the ability to proceed faster through a
     game.27
57. During the class period, August 2016 — December 2021, out of all apps with sales to U.S.
    consumers on Google Play,        offer subscriptions or IAPs. Those apps account for     of
    all U.S. consumers' spend on Google Play.28 Similarly among the putative developer class,29
    subscriptions and IAPs account for       of consumer spend on Google Play during the class

23
23
        Exhibit 1.
        Exhibit 1.
24
24




25
25
         See BARD Mobile
         See BARD     Mobile app,
                             app, https://play.google.com/store/apps/details?id=gov.loc.nls.dtb,
                                   https://play.google.com/store/apps/details?id=gov.loc.nls.dtb, accessed
                                                                                                  accessed
March 25,
March   25, 2022;
            2022; Bank
                   Bank of
                        of America
                           America app,
                                      app, https://play.google.com/store/apps/details?id=com.infonow.bofa,
                                           https://play.google.com/store/apps/details?id=com.infonow.bofa,
accessed March
accessed  March 25,
                  25, 2022;
                      2022; Facebook
                            Facebook app,
                                        app,
https://play.google.com/store/apps/details?id=com.facebook.katana, accessed
https://play.google.com/store/apps/details?id=com.facebook.katana,      accessed March
                                                                                 March 21,
                                                                                        21, 2022;
                                                                                            2022; Minecraft
                                                                                                  Minecraft
app, https://play.google.com/store/apps/details?id=com.mojang.minecraftpe,
app,                                                                            accessed March
     https://play.google.com/store/apps/details?id=com.mojang.minecraflpe, accessed      March 9,9, 2022;
                                                                                                    2022;
New   York  Times  app, https://play.google.com/store/apps/details?id=com.nytimes.android,
New York Times app, https://play.google.com/store/apps/details?id=com.nytimes.android, accessedaccessed
March 21,
March   21, 2022;
            2022; Candy
                   Candy Crush   app,
                         Crush app,
https://play.google.com/store/apps/details?id=com.king.candycrushsaga, accessed
https://play.google.com/store/apps/details?id=com.king.candycrushsaga,      accessed March
                                                                                      March 9,
                                                                                             9, 2022.
                                                                                                2022.
26
26
        Exhibit 4.
        Exhibit 4.
27
27
        See https://developer.amazon.com/docs/in-app-purchasing/iap-overview.html#what-is-in-app-
        See https://developer.amazon.com/docs/in-app-purchasing/iap-overview.html#what-is-in-app-
purchasing-iap, accessed
purchasing-iap, accessed March
                          March 22,
                                22, 2022.
                                    2022.
28
28
        Exhibit 4.
        Exhibit 4.
29
29
       The Developer Plaintiffs
       The Developer  Plaintiffs define
                                 define their
                                        their proposed
                                              proposed class
                                                        class as
                                                              as "U.S.
                                                                 “U.S. developers,"
                                                                       developers,” without
                                                                                     without describing
                                                                                              describing
how such
how such developers
         developers can
                    can be
                        be identified.
                           identified. The   problems associated
                                        The problems   associated with
                                                                   with the
                                                                        the class
                                                                            class definition
                                                                                  definition are
                                                                                             are discussed
                                                                                                 discussed in
                                                                                                           in
Appendix C.
Appendix C. For
            For the
                the purposes
                    purposes of
                              of this
                                 this report, “putative developer
                                      report, "putative developer class  members” are
                                                                   class members"   are identified based on
                                                                                        identified based on
Google’s App-level
Google's App-level spend data for
                   spend data      Developers, GOOG-PLAY-005535885
                               for Developers,  GOOG-PLAY-005535885 and      and GOOG-PLAY-
                                                                                  GOOG-PLAY-
010801689.
010801689.

                                                                                                          18
                                                                                                          18
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 471 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


     period.30 Examples of subscriptions include access to digital content in apps such as Disney+
     or the New York Times. Examples of IAPs include digital currency like "VBucks" in the
     Fortnite game app or "Robux" in the Roblox game app,31 and points that allow the player to
     increase the chance of success of winning the game such as "COD Points" in the Call of
     Duty mobile game app.32
58. Developers set prices of apps, subscriptions and IAPs. On Google Play, prices set by
    developers selling to U.S. consumers varied from $0.01 to $1,341.90 between August 2016
    and July 2021.33 Developers (and, at times, Google) offer consumers price discounts, which
    range from less than 1% to 100°/034 and tend to be of relatively short frequency. During the
    class period, 60% of promotions applied to prices for one month or less.35




30
30
         Exhibit 4.
         Exhibit 4.
31
31
          Fortnite’s VBucks
          Fortnite's VBucks cancan be
                                    be purchased
                                       purchased on on multiple
                                                       multiple platforms
                                                                 platforms and
                                                                             and can
                                                                                 can be
                                                                                     be purchased
                                                                                           purchased on
                                                                                                      on one
                                                                                                          one platform,
                                                                                                              platform,
such as
such   as Android,
          Android, and
                    and spent
                        spent onon another
                                   another platform,
                                            platform, such
                                                       such as
                                                             as Microsoft's
                                                                 Microsoft’s Xbox
                                                                               Xbox —– aa gaming
                                                                                           gaming console
                                                                                                   console platform.
                                                                                                            platform.
See   https://www.epicgames.com/fortnite/en-US/vbuckscard, accessed
See https://www.epicgames.com/fortnite/en-US/vbuckscard,              accessed March
                                                                                March 21,21, 2022.
                                                                                             2022. The
                                                                                                     The Roblox
                                                                                                          Roblox app
                                                                                                                  app
is aa game
is    game creation  system, or
            creation system,   or game
                                  game platform,
                                         platform, as
                                                    as well
                                                       well as
                                                            as aa social
                                                                  social platform.
                                                                         platform. Users
                                                                                    Users purchase
                                                                                             purchase Robux
                                                                                                       Robux and
                                                                                                               and
spend Robux
spend   Robux toto enhance
                   enhance their
                             their avatar
                                   avatar identities
                                          identities or
                                                     or in-game
                                                        in-game play.
                                                                   play. Roblox
                                                                          Roblox developers
                                                                                  developers earn     Robux through
                                                                                                earn Robux   through
their games,
their          where the
       games, where   the exchange    rate is
                           exchange rate   is 100  Robux for
                                              100 Robux       35 cents.
                                                          for 35   cents. See  Roblox Corp.
                                                                           See Roblox    Corp. Form
                                                                                                Form 10-Q,
                                                                                                       10-Q,
September
September 30, 30, 2021,
                  2021, at
                        at pp.
                           pp. 10,
                                10, 12-13,
                                    12-13, https://d18m0p25nwr6d.cloudfront.net/CIK-
                                            https://d18rn0p25nwr6d.cloudfront.net/CIK-
0001315098/ad69fbb0-a7b7-465b-942f-53206ff42303.pdf (see
0001315098/ad69fbb0-a7b7-465b-942f-53206ff42303.pdf                 (see sections
                                                                         sections on
                                                                                  on "Description
                                                                                     “Description of  of Business,"
                                                                                                         Business,”
“Roblox Platform,"
"Roblox    Platform,” and
                       and "Principal
                            “Principal Agent
                                        Agent Considerations");
                                                Considerations”); "Developer
                                                                     “Developer Economics,"
                                                                                  Economics,” Roblox,
                                                                                                  Roblox,
https://developer.roblox.com/en-us/articles/developer-economics (explaining
https://developer.roblox.com/en-us/articles/developer-economics            (explaining toto Roblox
                                                                                            Roblox developers
                                                                                                     developers that
                                                                                                                 that
“Roblox currently
"Roblox    currently uses
                     uses an
                           an exchange
                               exchange rate   of ~.0035
                                          rate of         USD per
                                                  —.0035 USD     per Robux
                                                                      Robux earned
                                                                              earned to
                                                                                     to calculate   the amount
                                                                                          calculate the amount ofof real
                                                                                                                    real
currency you
currency   you receive.").
                receive.”).
32
32
          Call of
          Call of Duty
                  Duty isis aa multiplayer
                                multiplayer "shooter
                                             “shooter game,"
                                                      game,” categorized
                                                               categorized as
                                                                            as an
                                                                               an "Action"
                                                                                  “Action” game
                                                                                            game app
                                                                                                   app in
                                                                                                        in Google
                                                                                                           Google
Play. IAPs
Play.         can be
       IAPs can   be used
                      used to to obtain
                                 obtain "COD
                                        “COD Points,"
                                                Points,” the
                                                         the game's
                                                             game’s digital
                                                                      digital currency, and for
                                                                              currency, and      “battle passes"
                                                                                            for "battle  passes” that
                                                                                                                 that
reward the
reward   the player
             player as
                     as they
                        they move
                                move up
                                      up through
                                          through more
                                                  more difficult
                                                         difficult levels of the
                                                                   levels of the game.   COD Points
                                                                                 game. COD     Points are
                                                                                                      are exchanged
                                                                                                           exchanged
for weapons and
for weapons    and other
                    other game
                           game features.     IAP prices
                                   features. IAP  prices in  Call of
                                                          in Call of Duty
                                                                     Duty range
                                                                           range from   $0.99 to
                                                                                  from $0.99  to $99.99.
                                                                                                 $99.99. See
                                                                                                           See
https://play.google.com/store/apps/details?id=com.activision.callofduty.shooter, accessed
https://play.google.com/store/apps/details?id=com.activision.callofduty.shooter,           accessed March
                                                                                                      March 21,
                                                                                                             21, 2022
                                                                                                                 2022
(showing Call
(showing   Call of
                 of Duty's
                    Duty’s IAP IAP price
                                    price range on mobile
                                          range on mobile and
                                                            and "Action"
                                                                 “Action” category
                                                                           category on   Google Play);
                                                                                     on Google    Play);
https://activision.helpshift.com/a/cod-mobile/?p=all&s=cod-points-credits-and-battle-pass&f=what-is-
https://activision.helpshift.com/a/cod-mobile/?p=all&s=cod-points-credits-and-battle-pass&f=what-is-
battle-pass&l=en; https://activision.helpshift.com/a/cod-mobile/?p=all&s=cod-points-credits-and-battle-
battle-pass&l=en;    https://activision.helpshift.com/a/cod-mobile/?p=all&s=cod-points-credits-and-battle-
pass&f=what-are-cod-points&l=en.
pass&f=what-are-cod-points&l=en.
33
33
          See  this report’s
          See this           production, which
                    report's production, which shows
                                               shows prices
                                                      prices in Google’s U.S.
                                                             in Google's U.S. consumer
                                                                              consumer transaction
                                                                                       transaction data;
                                                                                                   data;
Google Transactions
Google                  Data, GOOG-PLAY-007203251.
         Transactions Data,    GOOG-PLAY-007203251. See    See also
                                                                also
https://support.google.com/googleplay/android-developer/answer/10532353, accessed
https://supportgoogle.com/googleplay/android-developer/answer/10532353,         accessed January
                                                                                         January 5, 2022
                                                                                                 5, 2022
(stating aa price
(stating    price range
                  range of
                         of $0.99
                            $0.99 to
                                  to $400.00 for the
                                     $400.00 for the United
                                                     United States);
                                                            States);
https://support.google.com/googleplay/android-developer/answer/10532353, accessed
https://supportgoogle.com/googleplay/android-developer/answer/10532353,         accessed March
                                                                                         March 14,
                                                                                                14, 2022
                                                                                                    2022
(stating aa price
(stating    price range
                  range of
                         of $0.05
                            $0.05 to
                                  to $400.00 for the
                                     $400.00 for the United
                                                     United States).
                                                            States).
34
34
         Exhibit 5.
         Exhibit 5.
35
35
       Exhibit 6.
       Exhibit    Dr. Singer
               6. Dr. Singer finds that promotions
                             finds that promotions are
                                                   are small.
                                                       small. See,
                                                              See, e.g.,
                                                                   e.g., Singer
                                                                         Singer Table 3 (calculating
                                                                                Table 3 (calculating an
                                                                                                     an
App Product
App Product Price
            Price of
                  of $3.99
                     $3.99 and
                           and App
                               App Product
                                    Product Price
                                            Price Net
                                                  Net of
                                                       of Promotions
                                                          Promotions of
                                                                      of $3.97)
                                                                          $3.97) and
                                                                                 and Singer
                                                                                     Singer Report
                                                                                            Report
Appendix 4.
Appendix 4.

                                                                                                                     19
                                                                                                                     19
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 472 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


                       2. Google Play
59. Google Play is a two-sided platform on which developers can offer Android OS apps to
    consumers, and consumers can find apps offered by those developers that choose to make
    their apps available on Google Play.36 Google Play was introduced in 2008 as Android
    Market and rebranded as Google Play in 2012.37 As a two-sided transactional platform,
    Google Play provides benefits to, and facilitates interactions between, consumers and
    developers.38
60. Google Play offers services to developers regardless of whether the developer uses other app
    stores or platforms, and regardless of whether the developer has apps that generate consumer
    spend or the amount of consumer spend.39 For instance, Google Play's discovery services,
    which help developers find an audience for their apps, are available to all developers,
    regardless of whether and how they choose to monetize their apps.4° Developers of free apps
    and monetized apps also can rely on various other Google tools for developing, testing,
    marketing, and updating apps.41



36
36
         See https://play.google.com/about/howplayworks/.
         See https://play.google.com/about/howplayworks/.
37
37
         See https://www.androidauthority.com/android-market-google-play-history-754989/.
         See https://www.androidauthority.com/android-market-google-play-history-754989/.
38
38
       See  https://play.google.com/about/howplayworks/.
       See https://play.google.com/about/howplayworks/.
39
39
       Requirements to
       Requirements    to become
                           become aa Google
                                     Google Play
                                            Play Developer
                                                 Developer are
                                                            are modest;
                                                                modest; developers
                                                                        developers are
                                                                                   are required to pay
                                                                                       required to pay aa
one-time $25
one-time $25 fee,  obtain aa Google
              fee, obtain           email account,
                             Google email account, and
                                                   and adhere
                                                       adhere to
                                                              to the
                                                                 the Developer
                                                                     Developer Distribution
                                                                               Distribution Agreement
                                                                                            Agreement
(“DDA”). https://play.google.com/about/developer-distribution-agreement.html.
("DDA").  https://play.google.com/about/developer-distribution-agreement.html.
40
40
         In
         In general,
            general, developers     obtain discovery
                      developers obtain      discovery through
                                                        through app
                                                                  app stores,
                                                                       stores, such
                                                                                 such as
                                                                                      as Google
                                                                                          Google Play,
                                                                                                   Play, or
                                                                                                         or by
                                                                                                             by purchasing
                                                                                                                purchasing
advertising. Google
advertising.   Google Play
                        Play services
                              services are
                                        are especially
                                              especially important
                                                         important toto developers
                                                                         developers that
                                                                                       that do  not have
                                                                                             do not have aa recognized
                                                                                                            recognized
reputation or
reputation  or brand
               brand and
                       and that
                            that do
                                 do not
                                     not have
                                         have the
                                                the resources  necessary to
                                                    resources necessary      to invest
                                                                                invest in  advertising and
                                                                                        in advertising  and marketing
                                                                                                             marketing
themselves to
themselves   to promote
                promote their
                          their apps.
                                 apps. There
                                        There areare several
                                                     several "discovery"
                                                             “discovery” features
                                                                              features in
                                                                                        in Google
                                                                                           Google Play
                                                                                                    Play including   “Top
                                                                                                         including "Top
Charts,” "Recommended
Charts,"  “Recommended for    for You,"
                                  You,” "New
                                          “New Apps
                                                  Apps We
                                                        We Love,"
                                                             Love,” "Recently
                                                                      “Recently Updated,"
                                                                                   Updated,” "Popular
                                                                                                “Popular Apps
                                                                                                           Apps and
                                                                                                                  and
Games,” "Editors'
Games,"   “Editors’ Choice,"
                      Choice,” and
                                 and "Trending."
                                      “Trending.” On  On aa page
                                                            page for  an individual
                                                                  for an   individual app,
                                                                                        app, Google
                                                                                              Google Play
                                                                                                      Play highlights
                                                                                                            highlights
“similar” or
"similar"  or related
              related apps,
                       apps, as
                              as well
                                 well as
                                       as other
                                           other apps
                                                  apps published
                                                       published byby the
                                                                       the same
                                                                            same developer.
                                                                                   developer. Consumers
                                                                                                  Consumers can
                                                                                                              can pre-
                                                                                                                   pre-
register for
register     some apps
         for some   apps prior
                          prior to
                                 to their
                                    their launch   and receive
                                           launch and  receive notification
                                                                notification when
                                                                                when it   is available.
                                                                                       it is available. (Android,
                                                                                                        (Android, "Pre-
                                                                                                                    “Pre-
registration,” available
registration," available atat https://developer.android.com/distribute/best-practices/launch/pre-registration,
                              https://developer.android.com/distribute/best-practices/launch/pre-registration,
accessed January
accessed  January 17,
                    17, 2021.
                        2021. Google
                                 Google Play
                                           Play Instant  and the
                                                 Instant and  the Try
                                                                  Try Now
                                                                        Now feature     allows consumers
                                                                               feature allows   consumers to to try
                                                                                                                try an
                                                                                                                    an app
                                                                                                                       app
                                              (
without having
without  having toto install
                     install or
                             or pay
                                pay for
                                     for it.
                                          it. (Android,
                                               Android, "Google
                                                        “Google Play
                                                                   Play Store,”    available at
                                                                          Store," available    at
https://developer.android.com/distribute/google-play, accessed
https://developer.android.com/distribute/google-play,          accessed January
                                                                           January 17,
                                                                                     17, 2021.
                                                                                          2021.
41
41
           For example,
           For  example, tools
                           tools developers
                                 developers use     prior to
                                               use prior  to the
                                                              the release
                                                                  release ofof the
                                                                               the app
                                                                                   app to
                                                                                        to test
                                                                                           test the
                                                                                                the app
                                                                                                    app by
                                                                                                         by aa small
                                                                                                               small group
                                                                                                                     group
 of trusted
of  trusted users
             users or
                    or by
                       by aa larger
                             larger group,
                                    group, toto reduce
                                                reduce the
                                                        the size
                                                              size of
                                                                   of the
                                                                      the app
                                                                           app to
                                                                                to save
                                                                                   save storage
                                                                                         storage space
                                                                                                  space on
                                                                                                         on aa consumer
                                                                                                               consumer
 device and
 device   and reduce   latency that
              reduce latency    that may
                                      may lead   to lower
                                            lead to         spend on
                                                    lower spend     on an
                                                                       an app,
                                                                            app, and
                                                                                 and to
                                                                                      to access
                                                                                         access and
                                                                                                 and incorporate   app
                                                                                                      incorporate app
 bundles   that contain  the  elements    an app  needs  to  install correctly   on  mobile
bundles that contain the elements an app needs to install correctly on mobile devices. See   devices.   See
 https://play.google.com/console/about/closed-testing/; https://play.google.com/console/about/internal-
 https://play.google.com/console/about/closed-testing/;            https://play.google.com/console/about/internal-
 testing/; https://play.google.com/console/about/opentesting/;
testing/;   https://play.google.com/console/about/opentesting/; https://play.google.com/console/about/app-
                                                                            https://play.google.com/console/about/app-
 bundle-explorer/; https://play.google.com/console/about/internalappsharing/.
bundle-exploree;       https://play.google.com/console/about/internalappsharing/. Google       Google offers
                                                                                                        offers many
                                                                                                                many other
                                                                                                                      other
 publishing tools
publishing    tools and
                     and services
                          services to
                                    to developers    through Google
                                         developers through     Google Play.
                                                                         Play. One
                                                                                 One of
                                                                                      of the
                                                                                         the services
                                                                                             services provided
                                                                                                       provided byby Google
                                                                                                                     Google
 Play is
Play   is processing
          processing payments
                       payments if if aa developer
                                         developer offers
                                                    offers aa paid
                                                               paid app
                                                                     app or
                                                                         or IAPs
                                                                             IAPs in   Google Play.
                                                                                    in Google   Play. See
                                                                                                       See Appendix
                                                                                                            Appendix D D for
                                                                                                                         for
aa description
   description ofof other
                    other tools
                           tools and
                                 and features    provided by
                                        features provided   by Google
                                                                 Google Play
                                                                          Play to
                                                                                to developers.
                                                                                   developers.

                                                                                                                        20
                                                                                                                        20
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 473 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


61. Consumer Plaintiffs' and Developer Plaintiffs' experts opine that Google Play is a two-sided
    platform that exhibits indirect network effects.42 Indirect network effects exist where the
    value of the two-sided platform to users on each side of the platform increases when the
    number of users on the other side of the platform grows.43 For purposes of this report, I
    assume that Plaintiffs' experts are correct with respect to their opinions about Google Play as
    a two-sided transaction platform that exhibits indirect network effects. I note that Plaintiffs'
    experts do not properly account for the dynamics of two-sided platforms that they identify,
    including positive feedback effects that flow from one side to the other, dynamically in and
    over time. They do not simultaneously analyze the effect of any response by Google with
    respect to developers and any response by Google with respect to consumers. Instead, in
    attempting to analyze the effects of Google's response with respect to one side of Google
    Play, they hold constant any response from the other side.
62. Google charges for the services Google Play provides through a service fee. Google collects
    a service fee on each transaction for a paid app download, subscription purchase, or IAP
    purchase from an app distributed on Google Play. Google Play's service fee is assessed as a
    percentage of the transaction amount. Google does not collect a service fee from apps that
    do not offer paid downloads, subscriptions, or IAPs. Google also does not collect a service
    fee from subscriptions or other purchases made outside of the app, such as through the
    developer's website, even if the digital content made available by the purchase is consumed
    within an app distributed through Google Play. In Google Play's App Catalog 87% of global
    developers offered only free apps — that is, apps that require no payment to download and do
    not include any type of subscriptions or IAPs — as of May 2021.44 There are no Google Play
    service fees associated with those developers' apps.
63. During the class period, Google Play service fee rates varied across developers and have
    changed over time.
64. For example, Google's Living Room Accelerator Program ("LRAP") was introduced in 2016
    for developers of subscription video apps — such as                      and        .45
    The LRAP program apps have had a service fee rate of 15% since they began participating in
    the program. In 2021, Google introduced the Transactional Video Accelerator Program
    ("TVAP"), which expanded LRAP to on-demand television apps and has a service fee rate of
    15%. The Books and Comics Accelerator Program ("BCAP"), which was also introduced in
    2021, offers a 15% service fee rate to developers with books and comics apps.46

42
42
        Singer Report at
        Singer Report at ¶19;
                         ¶19; Sibley Report at
                              Sibley Report at ¶¶32
                                               ¶¶32 —
                                                    – 33;
                                                      33; Williams
                                                          Williams Report
                                                                   Report at
                                                                          at ¶95.
                                                                             ¶95.
43
43
        Evans, David
        Evans, David S.,  “The Antitrust
                      S., "The Antitrust Economics
                                         Economics of
                                                    of Multi-Sided
                                                       Multi-Sided Platform
                                                                    Platform Markets,"
                                                                              Markets,” Yale Journal of
                                                                                        Yale Journal of
Regulation, Vol.
Regulation, Vol. 20,
                 20, 2003,
                     2003, pp.
                           pp. 325-381
                               325-381 at
                                        at 332;
                                           332; Singer Report at
                                                Singer Report at ¶19;
                                                                 ¶19; Sibley
                                                                      Sibley Report
                                                                             Report at
                                                                                    at ¶114.
                                                                                       ¶114.
44
44
        Exhibit 7.
        Exhibit 7.
45
45
         GOOG-PLAY-001291192. Exhibit
         GOOG-PLAY-001291192.        Exhibit 8
                                             8 provides
                                               provides aa list
                                                           list of
                                                                of the
                                                                   the developers
                                                                       developers associated
                                                                                   associated with
                                                                                                with five of
                                                                                                     five of
these programs.
these programs. In 2020, Google
                In 2020,          proposed to
                         Google proposed     to expand  the LRAP
                                                expand the  LRAP program
                                                                     program to
                                                                              to live
                                                                                 live TV    app developers
                                                                                        TV app  developers with
                                                                                                            with
its Living
its Living Room
           Room Accelerator
                Accelerator Program
                             Program++    (“LRAP++”). LRAP-H+
                                      -H+ ("LRAP-H+").    LRAP++ was was designed
                                                                          designed for    Live TV
                                                                                    for Live   TV developers,
                                                                                                   developers,
such as
such  as        .. The service rate
                   The service rate for
                                    for developers  through this
                                        developers through    this program
                                                                   program is
                                                                            is       .. See
                                                                                        See GOOG-PLAY-
                                                                                            GOOG-PLAY-
000236162.
000236162.
46
46
        See GOOG-PLAY-006817773.R.
        See GOOG-PLAY-006817773.R.

                                                                                                              21
                                                                                                              21
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 474 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


65.



                                            7
66. The Subscribe with Google ("SwG") program reduced the service fee rate for news app
    developers to 15%.48 For example, the service fee rate for                   app fell to
    15% as part of the SwG program.49
67. The App Velocity Program ("AVP") is a program directed at certain app developers. As part
    of the program, Google provides services that effectively reduce participating developers'
    service fee rate by as much as      .50 For example, one developer Google analyzed for the
    program had consumer spend of                  on Google Play. Google planned to provide
    marketing and promotions, ads credit, and cloud credits worth               . That would reduce
    the service fees associated with that developer's apps from              (based on a 30%
    service fee rate) to           — effectively reducing the service fee rate from 30% to      .51
68. Project Hug/Games Velocity Program ("GVP") similarly provides expanded services to
    particular developers. These additional services, which can vary across developers,
    effectively reduced service fees. By 2021, Project Hug included particular developers,
    accounting for about         of Google Play consumer spend worldwide.52
    and       are among the developers that participated in Project Hug.53 From an economic
    perspective, the value of the services provided to Project Hug developers results in effective
    service fee rates that are lower than the "nominal" rates applied to those developers'
    transactions.54
69. The "Google Play Partner Program for Games" is another program directed to certain top
    game app developers for access to additional growth tools and services tailored to the

47
47
        See this report's
        See this report’s production.
                          production.
48
48
      GOOG-PLAY-000604733; GOOG-PLAY-003335786.R;
      GOOG-PLAY-000604733;      GOOG-PLAY-003335786.R; GOOG-PLAY-003331764     at -767
                                                           GOOG-PLAY-003331764 at -767 (list
                                                                                       (list
of LRAP
of LRAP (Living
        (Living Room
                Room Accelerator
                     Accelerator Program)
                                 Program) video
                                          video app
                                                app members
                                                    members as
                                                            as of
                                                               of July
                                                                  July 2020).
                                                                       2020).
49
49      See Figure 3.
        See Figure 3.
50
50
        GOOG-PLAY-003333689
        GOOG-PLAY-003333689
51
51
        GOOG-PLAY-003333689
        GOOG-PLAY-003333689
52
52      GOOG-PLAY-001291192; GOOG-PLAY-006998204R
        GOOG-PLAY-001291192;  GOOG-PLAY-006998204R at
                                                    at 206.R (2021 deck
                                                       206.R (2021 deck showing
                                                                        showing that
                                                                                that Hug
                                                                                     Hug
apps accounted
apps accounted for
               for of Play
                   of Play spend);
                           spend); GOOG-PLAY-000236162.
                                   GOOG-PLAY-000236162.
53
53
        See Exhibit 8
        See Exhibit 8 for
                      for aa list
                             list of
                                  of developers
                                     developers that
                                                that participated
                                                     participated in Project Hug.
                                                                  in Project Hug.
54
54
         See  GOOG-PLAY-000237766 showing
         See GOOG-PLAY-000237766           showing that
                                                     that services provided to
                                                          services provided  to the
                                                                                the Project
                                                                                    Project Hug
                                                                                              Hug developers
                                                                                                   developers
varied across
varied across developers
                developers and
                            and that
                                that the
                                     the value
                                         value of
                                               of the
                                                  the services
                                                      services accounted
                                                                accounted for  millions of
                                                                          for millions  of dollars.
                                                                                             dollars. For
                                                                                                      For example,
                                                                                                           example,
services described
services  described as
                     as "community
                        “community development"
                                      development” were
                                                      were the
                                                            the primary
                                                                primary type
                                                                        type of  services provided
                                                                              of services   provided to
                                                                                                      to
         ,, "user
            “user acquisition"
                  acquisition” services
                               services were
                                         were the
                                              the primary
                                                  primary type
                                                            type provided
                                                                 provided to
                                                                          to             ;; and
                                                                                            and "move
                                                                                                “move to to mobile"
                                                                                                            mobile”
services were
services  were the
                the primary
                    primary type
                             type provided
                                  provided to
                                            to

                                                                                                                22
                                                                                                                22
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 475 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


     developers' particular needs.55 Eligible developers, which would include about 800
     developer accounts, are those with game apps that have at least $5 million in consumer spend
     per year.56 Services include a priority publishing queue, insights into device attributes across
     the Google Play device ecosystem, enhanced pre-launch tools, pre-enrollment of top eligible
     apps into Google Play Points, as well as other features that are important to and work well for
     game app developers.57 From an economic perspective, these enhanced and expanded
     services provided to this set of developers would effectively reduce their service fee rates.
70. Google offered other sets of developers services and features tailored to them. Google
    offered "AAA developers" — developers with successful apps on PCs and consoles but new
    to mobile platforms — dedicated engineering and technical support for pre-launch and
    accelerated launches.58 Google offered marketing and business growth services to to
    "Core developers" with more than                in monthly consumer spend and "strong
    revenue growth potentia1.59 And Google offered "Funded strategy developers" — developers
    with operations funded (by venture capital or other sources) and led by "top talent" — with
    support early in their product life cycles.60 These programs for particular developers reflect
    the diversity of app developers and the varying attractiveness they have to app stores.
71. Google also implemented service fee rate changes at various points in the class period. In
    2018, for instance, Google reduced the service fee rate for subscriptions to 15% beyond the
    first year of a subscription. Effective January 1, 2022, the 15% rate applies to all
    subscriptions.61 And in 2021, Google announced that starting on July 1, 2021, for those


55
55
         The  program had
         The program     had been
                             been considered
                                   considered as
                                               as early
                                                  early as
                                                        as 2019
                                                           2019 and
                                                                 and is  currently scheduled
                                                                      is currently  scheduled to
                                                                                              to launch
                                                                                                 launch in   2022.
                                                                                                          in 2022.
Deposition of
Deposition   of Kobi
                Kobi Glick,   December 15
                       Glick, December   15 and
                                             and 16,
                                                 16, 2021
                                                     2021 ("Glick
                                                            (“Glick Dep.")
                                                                     Dep.”) at
                                                                             at pp.
                                                                                pp. 310-311,
                                                                                    310-311, 329-330,
                                                                                             329-330, 338;
                                                                                                        338;
GOOG-PLAY-000560397 ("There
GOOG-PLAY-000560397           (“There are
                                       are two
                                           two key
                                                key catalysts
                                                    catalysts for  the recent
                                                               for the recent developer
                                                                              developer Challenges.
                                                                                         Challenges. First,
                                                                                                       First, while
                                                                                                              while
30% rev
30%   rev share
          share is  the industry
                 is the industry standard
                                 standard across
                                          across digital
                                                  digital stores (Steam, PSN,
                                                          stores (Steam,  PSN, Xbox
                                                                                 Xbox Live,
                                                                                       Live, iOS
                                                                                             iOS etc.),  new stores
                                                                                                  etc.), new  stores
start offering
start offering lower   rev share
               lower rev   share structures.”)
                                 structures.")
56
56
        Glick Dep.
        Glick Dep. at
                   at p.
                      p. 317.
                         317.
57
57
        https://play.google.com/console/about/partnerprogram/. See
        https://play.google.com/console/about/partnerprogram/.     also Glick
                                                               See also       Dep. at
                                                                        Glick Dep. at pp.
                                                                                      pp. 311-315.
                                                                                          311-315.
58
58
         GOOG-PLAY-000271389 ("Develop
         GOOG-PLAY-000271389          (“Develop aa global
                                                   global AAA
                                                          AAA strategy
                                                                strategy working
                                                                         working group    to surface,
                                                                                    group to surface, track,
                                                                                                       track, and
                                                                                                              and
share best
share best practices
           practices across
                     across regions and xPAs
                            regions and  xPAs + + xFNs,
                                                  xFNs, Co-create
                                                         Co-create playbook
                                                                    playbook toto accelerate
                                                                                  accelerate PC-to-mobile
                                                                                             PC-to-mobile
launches,  Dedicated NA
launches, Dedicated   NA Play
                          Play Eng
                               Eng prelaunch
                                    prelaunch // testing
                                                 testing support;
                                                         support; Need
                                                                  Need enhanced     device coverage
                                                                        enhanced device    coverage insights
                                                                                                      insights
for new PC
for new  PC entrants,
            entrants, FTE
                      FTE in  MTV to
                           in MTV    to support
                                        support prelaunch
                                                prelaunch activations
                                                           activations (e.g.,
                                                                       (e.g., exclusive
                                                                              exclusive access
                                                                                        access testing,
                                                                                                testing, closed
                                                                                                          closed
alpha, closed beta, open / pre-reg, etc.”).
alpha, closed beta, open / pre-reg, etc.").
59
59
        GOOG-PLAY-000271389 ("Deliver
        GOOG-PLAY-000271389       (“Deliver YY
                                             YY scalable
                                                 scalable consultations
                                                          consultations for portfolio developers
                                                                        for portfolio developers to
                                                                                                 to help
                                                                                                    help
them grow
them grow beyond
           beyond their
                  their key markets and
                        key markets and demographics;
                                        demographics; Build
                                                        Build aa new developer onboarding
                                                                 new developer  onboarding process
                                                                                            process on
                                                                                                     on
Play with
Play with Dev
          Dev Marketing,
              Marketing, Product
                          Product Specialist teams”).
                                  Specialist teams").
60
60
        GOOG-PLAY-000271389.
        GOOG-PLAY-000271389.
61
61
         See e.g., "[Update:
         See e.g., “[Update: Now
                              Now inin effect]
                                       effect] Google
                                               Google raises subscription revenue
                                                      raises subscription    revenue for  providers from
                                                                                      for providers from 70%   to
                                                                                                          70% to
85%, but
85%,  but only
          only for  users retained
               for users           after 12
                          retained after 12 months,"
                                            months,” Android
                                                      Android Police,
                                                                 Police, January
                                                                         January 2,
                                                                                  2, 2018,
                                                                                     2018,
https://www.androidpolice.com/2018/01/02/google-raises-subscription-revenue-providers-70-85-users-
https://www.androidpolice.com/2018/01/02/google-raises-subscription-revenue-providers-70-85-users-
retained-12-months/, accessed
retained-12-months/,   accessed November
                                 November 10,     2021; "Google
                                              10, 2021; “Google Play
                                                                  Play is
                                                                        is lowering  its developer
                                                                           lowering its  developer fees
                                                                                                   fees for app
                                                                                                        for app
subscriptions,” XDA
subscriptions," XDA Developers,
                       Developers, October
                                     October 21,
                                               21, 2021,
                                                   2021, https://www.xda-developers.com/google-play-is-
                                                         https://www.xda-developers.com/google-play-is-
lowering-its-developer-fees-for-app-subscriptions/,     accessed March
lowering-its-developer-fees-for-app-subscriptions/, accessed      March 25,25, 2022.
                                                                               2022.

                                                                                                                 23
                                                                                                                 23
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 476 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


     developers that enroll in Google's program,62 "the service fee Google Play receives when a
     developer sells digital goods or services" would change to "15% for the first $1 million
     (USD) of revenue every developer earns each year."63 Over 98% of putative developer class
     members earned $1 million or less over the class period; therefore, this change lowered the
     service fee rate to 15% for nearly all developers including all of the named Developer
     Plaintiffs, once they enrolled in the program.64
             B. THE PROPOSED CLASSES
72. In separate matters, two proposed classes — a proposed class of U.S. app developers
    ("Developer Plaintiffs") and a proposed class of U.S. app consumers ("Consumer Plaintiffs")
    — allege that certain Google policies and agreements violate federal and state antitrust laws.
    Both sets of Plaintiffs claim that (1) certain agreements between Google and mobile device
    original equipment manufacturers ("OEMs"), mobile network operators, and developers, (2)
    Android's security warnings to consumers and other alleged technical restrictions, and (3)
    Google's requirement that developers use Google Play Billing for IAPs and subscriptions in
    apps distributed through Google Play, enabled Google to obtain and maintain monopoly
    power within and cause competitive harm to alleged relevant markets.65 Consumer Plaintiffs
    claim that the alleged conduct caused competitive harm during the class period from August
    16, 2016 to the present.66 Developer Plaintiffs' expert states that the relevant class period for
    those Plaintiffs is August 17, 2016 to the present.67
73. For purposes of my analysis, I assess whether it can be proved, with the same evidence for all
    members of each proposed class, that all or nearly all proposed class members were impacted
    by Google's allegedly anticompetitive conduct. I also assess whether individual damages
    can be determined through common proof
                     1. The Proposed Developer Class Definition Includes Over 49,000
                        Diverse Developers
74. The proposed developer class consists of at least 49,000 U.S. developers. Developer
    Plaintiffs describe their proposed class as:




62
62
         https://support.google.com/googleplay/android-developer/answer/10632485,
         https://support.                                                         accessed January
                         google.com/googleplay/android-developer/answer/10632485, accessed January 5,
                                                                                                   5,
2022.
2022.
63
63
         “Boosting developer
         "Boosting developer success
                             success on
                                     on Google
                                        Google Play,"
                                               Play,” Android
                                                      Android Developers
                                                              Developers Blog,
                                                                         Blog, March
                                                                               March 16,
                                                                                     16, 2021,
                                                                                         2021,
https://android-developers.googleblog.com/2021/03/boosting-dev-success.html.
https://android-developers.googleblog.com/2021/03/boosting-dev-success.html.
64
64
         Exhibit 9;
         Exhibit 9; see
                    see this
                        this report’s production for
                             report's production     the 2021
                                                 for the 2021 consumer
                                                              consumer spend of the
                                                                       spend of the named
                                                                                    named Developer
                                                                                          Developer
Plaintiffs.
Plaintiffs.
65
65
      Developer Complaint
      Developer  Complaint at
                           at ¶¶8,
                              ¶¶8, 122; Consolidated Second
                                   122; Consolidated Second Amended
                                                            Amended Class
                                                                    Class Action
                                                                          Action Complaint,
                                                                                 Complaint,
December 3,
December 3, 2021
            2021 ("Consumer
                 (“Consumer Complaint")
                             Complaint”) at
                                          at ¶¶5-15.
                                             ¶¶5-15.
66
66
         Consumer Complaint
         Consumer Complaint at
                            at ¶213.
                               ¶213.
67
67
         Sibley Report at
         Sibley Report at fn. 1.
                          fn. 1.

                                                                                                      24
                                                                                                      24
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 477 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


         “All U.S.
         "All U.S. persons
                   persons or
                            or entities
                               entities that
                                        that paid
                                             paid Google
                                                  Google aa ‘service  fee’ of
                                                             `service fee' of greater
                                                                              greater than
                                                                                      than 15%
                                                                                            15% onon any
                                                                                                      any
         paid Android
         paid Android OS
                       OS app
                           app or
                                or paid
                                   paid in-app
                                         in-app content  (including subscriptions)
                                                content (including   subscriptions) sold
                                                                                     sold in
                                                                                           in or
                                                                                              or via
                                                                                                 via the
                                                                                                     the
                                                                                        68
         Google Play
         Google Play store,
                      store, in
                             in or
                                or via
                                   via any
                                       any U.S.
                                            U.S. or
                                                 or foreign  Google Play
                                                    foreign Google   Play storefront."68
                                                                           storefront.”
75. Developer Plaintiffs' experts use a different class definition in their analysis: "a class limited
     to developers that paid Google a service fee at the 30% level on at least one transaction."69
76. Developer Plaintiffs have not defined what constitutes a "U.S." developer in their proposed
    class definition, and their experts fail to investigate or provide an accurate identification of
    "U.S." developers. For purposes of this report, unless otherwise indicated, I consider
    developers that are identified in Google's App-level spend data7° with the country code of
    "U.S." to be "U.S." developers. The App-level spend data identifies 49,387 developers with
    country code "U.S." that had at least one consumer transaction for paid downloads,
    subscriptions, or IAP sales between August 2016 and December 2021.71 Note that the total
    number of "U.S." developers (however defined) is far greater, as many developers do not
    offer paid downloads, IAPs, or subscriptions. I adopt the language in this report "putative
    developer class members" to refer to the developers identified by the country code of "U.S."
    in Google's App-level data. My use of this term is not intended as an affirmative statement
    as to how one should circumscribe Developer Plaintiffs' class definition. As I discuss in
    Appendix C, the identification of a "putative developer class member" requires
    individualized analysis.72

68
68
         Developer Complaint
         Developer Complaint at
                             at ¶244.
                                ¶244.
69
69
         Williams Report
         Williams Report at
                         at ¶14,
                            ¶14, Sibley
                                 Sibley Report
                                        Report at
                                               at ¶7.
                                                  ¶7.
70
70      The
        The data
              data in
                   in GOOG-PLAY-005535885
                      GOOG-PLAY-005535885 -- GOOG-PLAY-005535886
                                                    GOOG-PLAY-005535886 and     and GOOG-PLAY-
                                                                                    GOOG-PLAY-
010801688 —
010801688    – GOOG-PLAY-0
               GOOG-PLAY-010801689         are referred
                                10801689 are    referred to
                                                         to as
                                                            as "App-level
                                                               “App-level spend  data” throughout
                                                                           spend data" throughout this
                                                                                                  this report.
                                                                                                       report.
These data include
These data           monthly information
            include monthly   information regarding    apps that
                                           regarding apps   that have
                                                                 have sales in Google
                                                                      sales in Google Play,
                                                                                      Play, including
                                                                                            including app
                                                                                                      app
revenue, monetization
revenue,  monetization type
                        type (e.g.,
                             (e.g., paid
                                    paid download,
                                         download, subscription,
                                                     subscription, or
                                                                   or in-app purchase), app
                                                                      in-app purchase), app category,
                                                                                            category,
quantity, service
quantity, service fees, device characteristics,
                  fees, device                  and form
                               characteristics, and        of payments.
                                                     form of  payments.
71
71
         Note that
         Note  that this
                    this counts   sales to
                         counts sales   to U.S.
                                           U.S. consumers
                                                  consumers asas well
                                                                 well as
                                                                       as to
                                                                          to consumers   in the
                                                                              consumers in  the rest
                                                                                                rest of
                                                                                                     of the
                                                                                                        the world.
                                                                                                             world. See
                                                                                                                     See
Exhibit 10.
Exhibit  10. Dr.
              Dr. Williams
                  Williams assumed
                              assumed that
                                         that aa putative
                                                 putative developer
                                                          developer class
                                                                     class member
                                                                             member could    be identified
                                                                                      could be             based on
                                                                                                identified based   on
the data's
the data’s developer
           developer country
                        country field;  his data
                                 field; his        processing contains
                                            data processing    contains aa similar
                                                                            similar number
                                                                                    number ofof developers
                                                                                                developers in   the
                                                                                                             in the
proposed class
proposed         and their
           class and  their consumer
                            consumer spend
                                        spend during
                                                 during the
                                                        the class
                                                            class period.
                                                                   period. As
                                                                            As described
                                                                                described above
                                                                                          above and
                                                                                                  and in Appendix C,
                                                                                                      in Appendix     C,
there is
there is no
         no basis
            basis for  this assumption
                  for this  assumption andand the
                                                the assumption
                                                    assumption leads
                                                                 leads to
                                                                        to some
                                                                           some putative
                                                                                 putative class  members that
                                                                                          class members     that are
                                                                                                                 are not
                                                                                                                     not
U.S. developers
U.S.  developers by
                  by any
                      any reasonable
                           reasonable definition.
                                        definition. See   Exhibit 10.
                                                      See Exhibit  10.
72
72
            Using Google
            Using   Google data   is likely
                            data is  likely not
                                            not an
                                                an appropriate
                                                   appropriate way
                                                                way to
                                                                     to identify  “U.S.” developers.
                                                                        identify "U.S."   developers. For For example,
                                                                                                              example,
Century Games
Century      Games appears
                     appears as
                              as aa "U.S."
                                    “U.S.” developer   in the
                                            developer in  the App-level
                                                              App-level spend
                                                                          spend data
                                                                                 data but
                                                                                       but is
                                                                                           is headquartered
                                                                                               headquartered in    China
                                                                                                                in China
and is
and   is listed
          listed in the Play
                 in the Play Store
                             Store with
                                     with aa non-U.S.
                                             non-U.S. address.
                                                      address. See   GOOG-PLAY-005535885 (the
                                                                See GOOG-PLAY-005535885              (the "U.S."
                                                                                                           “U.S.” app-
                                                                                                                   app-
level    spend data
level spend     data contains
                      contains the
                               the developer    Century Games,
                                     developer Century    Games, including
                                                                  including revenues
                                                                              revenues for  its app
                                                                                        for its  app Dragonscapes,
                                                                                                      Dragonscapes,
whose app
whose      app package
               package name
                         name is   com.dragonscapes.global); "Century
                                is com.dragonscapes.global);     “Century Games,"
                                                                            Games,” Linkedln,
                                                                                       LinkedIn,
https://www.linkedin.com/company/century-game; "Dragonscapes
https://www.linkedin.com/company/century-game;               “Dragonscapes Adventure,"
                                                                               Adventure,” Google
                                                                                              Google Play
                                                                                                       Play Store,
                                                                                                             Store,
https://play.google.com/store/apps/details?id=com.dragonscapes.global (Century
https://play.google.com/store/apps/details?id=com.dragonscapes.global              (Century Games
                                                                                                Games appapp listing
                                                                                                             listing its
                                                                                                                     its
address to
address     to be
               be in
                  in Singapore).
                     Singapore). In In another
                                       another example,    Electronic Arts
                                                example, Electronic   Arts is
                                                                            is identified
                                                                               identified in  the App-level
                                                                                          in the   App-level spend
                                                                                                               spend data
                                                                                                                       data
with the
with    the country
             country code
                      code of
                           of Netherlands.
                               Netherlands. YetYet Electronic
                                                   Electronic Arts
                                                               Arts has
                                                                    has been
                                                                        been incorporated
                                                                               incorporated in in the
                                                                                                  the U.S.
                                                                                                      U.S. since   1982 —
                                                                                                            since 1982   –
first  in California
first in   California and
                       and later
                           later in
                                  in Delaware
                                     Delaware — – and
                                                  and its principal executive
                                                      its principal             offices are
                                                                    executive offices   are in   California. Electronic
                                                                                             in California.   Electronic
Arts Inc.
Arts          Form 10-K,
       Inc. Form    10-K, 2020
                           2020 atat p.
                                     p. 6.
                                        6. In the App-level
                                           In the App-level spend
                                                             spend data,  subsidiary companies
                                                                    data, subsidiary   companies of of the
                                                                                                        the same   parent
                                                                                                            same parent


                                                                                                                        25
                                                                                                                        25
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 478 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


77. Members of the putative developer class vary widely by the type and number of apps sold,
    monetization strategies employed, amount of revenues, competitive conditions, availability
    and use of alternative app distribution channels, options for processing consumer payments,
    service fees associated with their apps, and other factors. As a group, there were 132,593
    paid apps, subscription apps, or apps with IAPs offered by putative developer class members
    for which there was at least one consumer transaction during the class period.73 In addition,
    putative developer class members offered 76,513 free apps (that is, apps that are free to
    download and contain no IAPs and no subscriptions).74 In total, putative developer class
    members offered 209,106 apps in Google Play.75 In any year during the class period,
    approximately 20,000 of these developers offered approximately 60,000 paid download apps,
    subscription apps, or apps with IAPs.76 As Figure 1 below shows, 70% of putative developer
    class members offered a single paid, subscription app, or IAP app while a small percentage —
    less than 2% — offered 21 or more.




are identified
are identified as
                as separate
                   separate developers.
                             developers. In    some cases,
                                            In some   cases, aa company   and its
                                                                company and       subsidiary may
                                                                              its subsidiary  may have
                                                                                                    have different
                                                                                                         different
country locations.
country               In addition,
          locations. In   addition, there
                                    there is
                                          is ambiguity
                                             ambiguity regarding
                                                          regarding whether
                                                                     whether developer
                                                                              developer refers   to the
                                                                                          refers to the creator of the
                                                                                                        creator of the
app or
app  or aa publisher
           publisher of
                      of the
                         the app
                             app which
                                 which for   some apps
                                         for some   apps are
                                                           are not
                                                               not the
                                                                   the same  entity. Google
                                                                       same entity.  Google data
                                                                                              data only
                                                                                                    only includes
                                                                                                         includes
publishers, does
publishers,   does not
                    not identify whether there
                        identify whether   there is
                                                 is aa separate
                                                       separate creator,  and does
                                                                 creator, and does not
                                                                                    not have
                                                                                        have information   on the
                                                                                              information on   the
terms of
terms  of the
           the relationship  between publishers
               relationship between    publishers and
                                                   and creators
                                                         creators where
                                                                   where such
                                                                          such relationship
                                                                               relationship exists.
                                                                                             exists. See  Appendix C
                                                                                                      See Appendix   C
for details.
for details.
73
73
         Exhibit 11.
         Exhibit   11. There   were over
                        There were   over 17,000
                                          17,000 additional
                                                  additional apps
                                                             apps that
                                                                   that were
                                                                        were offered
                                                                              offered by
                                                                                      by putative
                                                                                          putative developer
                                                                                                   developer class
                                                                                                              class
members that
members    that were
                were paid
                       paid apps,
                             apps, subscription
                                   subscription apps,
                                                apps, or
                                                       or IAP  apps but
                                                          IAP apps   but for which there
                                                                         for which  there were
                                                                                          were no
                                                                                                no consumer
                                                                                                    consumer
transactions. It
transactions.      is possible
                It is possible that
                                that some
                                     some of
                                          of these
                                             these apps,
                                                   apps, those
                                                          those that
                                                                that were
                                                                     were free
                                                                           free to
                                                                                to download
                                                                                   download but
                                                                                              but contained
                                                                                                  contained IAPs,
                                                                                                            IAPs,
were downloaded
were  downloaded for  for free
                          free and
                               and used
                                    used by
                                         by consumers
                                            consumers without
                                                        without any
                                                                 any consumer
                                                                      consumer purchasing
                                                                                 purchasing an
                                                                                             an IAP.
                                                                                                 IAP. In  addition,
                                                                                                       In addition,
some of
some   of these
          these apps
                 apps contained
                       contained advertising
                                   advertising and
                                               and provided
                                                    provided benefits
                                                              benefits to
                                                                       to the
                                                                          the putative
                                                                              putative developer   class members
                                                                                       developer class   members
in the
in the form  of advertising
       form of   advertising revenues.
                               revenues. See
                                          See this
                                              this report's
                                                   report’s production.
                                                            production.
74
74
         Exhibit 1.
         Exhibit 1.
75
75
         Exhibit 1.
         Exhibit 1.
76
76
         Exhibit 11.
         Exhibit 11.

                                                                                                                   26
                                                                                                                   26
          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 479 of 667
                                  HIGHLY CONFIDENTIAL
                                  HIGHLY CONFIDENTIAL —
                                                      – ATTORNEYS'
                                                        ATTORNEYS’ EYES
                                                                   EYES ONLY
                                                                        ONLY


Figure 1.
Figure 1.       Percentage
                Percentage of
                           of Putative Developer Class
                              Putative Developer Class Members
                                                       Members Offering Different Numbers
                                                               Offering Different Numbers of
                                                                                          of Paid Apps,
                                                                                             Paid Apps,
Subscription Apps, or
Subscription Apps, or IAP
                      IAP Apps,
                          Apps, August
                                August 2016
                                       2016 —
                                            – December
                                              December 2021
                                                        2021
                SO%
                         70 0 o
                70%

                60%

          c 50%
          (I)
        8 . 40%

     o
     0 ,2,) 30%

     a
     ai         20%                   14%
     2
     i.                                         9%
                10%
                                                           3%        1.6%
                                                                                0.7%       0.4%       0.2%
                 0%
                         1 App       2 Apps   3-5 Apps   6-10 Apps 11-20 Apps 21-40 Apps   41-100   101+ Apps
                                                                                            Apps

Source:
Source:
      Exhibit 12.
      Exhibit 12.



78. Developers vary widely in terms of the amount of consumer spend they generate. Over the
    class period,      of putative developer class members generated         or less in consumer
    spend, and      generated          or less.77 The proposed class of developers also includes
    large developers like                                                 , and          some of
    which generate tens or hundreds of millions of dollars in consumer spend on Google Play. In
    2021, the top 10 putative developer class parents accounted for nearly half (48%) of all
    putative developer class members' consumer spend, and the top        developer parents
    accounted for                       of consumer spend.78




77
                Exhibit 9.
78
                Exhibit 13.

                                                                                                             27
                                                                                                             27
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 480 of 667
                        HIGHLY CONFIDENTIAL
                        HIGHLY CONFIDENTIAL —
                                            – ATTORNEYS'
                                              ATTORNEYS’ EYES
                                                         EYES ONLY
                                                              ONLY


Figure 2.
Figure 2.         Top
                  Top    Putative Developer Class
                         Putative Developer Class Parents Accounting for
                                                  Parents Accounting for   of Consumer
                                                                           of Consumer Spend, 2021
                                                                                       Spend, 2021




                             0%     10%      20%     30%      40%     50%     60%      70%      80%
                                  Cumulative Percentage of Spend by Parent Group

Source:
Source:

    Exhibit 14.
    Exhibit 14.



79. While all putative developer class members, by definition, generate revenue through paid
    downloads, subscriptions, or IAPs, they do so in different ways. Some members of the
    putative developer class also generate revenue by including advertisements in their apps.
80. Table 1 below shows the number of putative developer class members that generate revenue
    through paid downloads, subscriptions, and IAPs. The table shows that over the class period,
    there were 26,490 developers that offered apps with paid downloads, 19,695 developers that
    offered apps with IAPs, and 10,820 developers that offered apps with subscriptions. Some
    developers use more than one type of monetization method. For example, 3,998 developers
    used both IAPs/subscriptions and paid downloads.




                                                                                                     28
                                                                                                     28
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 481 of 667
                        HIGHLY CONFIDENTIAL
                        HIGHLY CONFIDENTIAL —
                                            – ATTORNEYS'
                                              ATTORNEYS’ EYES
                                                         EYES ONLY
                                                              ONLY


Table 1. Number
Table 1. Number of
                of Putative Developer Class
                   Putative Developer Class Members
                                            Members by
                                                    by App
                                                       App Monetization
                                                           Monetization Type, August 2016
                                                                        Type, August 2016 -- December
                                                                                             December
   2021
   2021

                                            Number of Putative Developer Class Members with Sales of
                                                                                               Both Paid
               Year
                                  In-App Purchases Paid Downloads         Subscriptions      Downloads and
                                                                                           IAPs/Subscriptions
 August 2016 - December 2016               6,317          14,078              1,757               1,621
              2017                         8,424          17,695              2,695               2,104
              2018                         8,510          16,284              3,557               1,915
              2019                         8,264          9,856               4,505               1,554
              2020                         8,310          8,999               5,824               1,380
              2021                         8.656          8.212               8.077               1.236
 August 2016 - December 2021              19,695          26,490             10,820               3,998

Source:
Source:
     Exhibit 11.
     Exhibit 11.

81. There are also 32,654 developers, or 66% of the putative developer class, that have at least
    one app with advertising in addition to an app that generates revenue through paid
    downloads, subscriptions, or IAPs.79 Advertising revenues can be substantial for at least
    some developers. For example, during the period from August 2016 to December 2021,
                                  , an app from                 , had             in consumer
    spend and              in AdMob earnings.80 The app                            , by
    generated just      in consumer spend during the class period but had           in AdMob
    earnings.81 One of the developer class representatives, Peekya, generated           in
    consumer spend from paid downloads through Google Play through 202182 and
                                                               during the period of time when the




79
79
          See Exhibit 15.
          See Exhibit 15.
80
80
         See  Exhibit 16.
         See Exhibit       Google sells
                       16. Google    sells advertising
                                           advertising services
                                                       services through
                                                                through Admob.
                                                                          Admob. Admob
                                                                                   Admob is is one of several
                                                                                               one of several
companies that provide advertising services
                                        services to app developers
                                                         developers and therefore the advertising revenues
described above
described   above may
                   may understate
                        understate the
                                    the developer's
                                         developer’s total
                                                      total advertising
                                                            advertising revenue.
                                                                        revenue. Other
                                                                                  Other companies
                                                                                         companies that
                                                                                                     that provide
                                                                                                          provide
services related
services  related to
                  to advertising
                     advertising include    Facebook Audience
                                 include Facebook     Audience Network
                                                                  Network
(https://www.facebook.com/audiencenetwork/), Unity (https://docs.unity.com/ads/UnityAdsHome.html ),
MoPub (owned by Twitter)
                      Twitter) (https://www.mopub.com/en ), Leadbolt
(https://www.businessofapps.com/ads/leadbolt/), as
(https://www.businessofapps.com/ads/leadbolt/),        as well
                                                          well as
                                                               as others.
                                                                  others. Among
                                                                           Among putative
                                                                                   putative developer   class
                                                                                             developer class
members, 66%
members,    66% use
                 use advertising
                      advertising in  at least
                                   in at least one
                                               one of
                                                   of their
                                                      their apps,
                                                            apps, which
                                                                  which includes
                                                                         includes earning  advertising revenues
                                                                                  earning advertising   revenues
that are
that are generated
         generated from
                     from AdMob.
                          AdMob. See  See Exhibit 15.
81
81
        See  Exhibit 16.
        See Exhibit       As described
                     16. As   described above,
                                        above, advertising
                                                advertising revenue is available
                                                            revenue is available only
                                                                                 only for
                                                                                      for AdMob
                                                                                          AdMob
advertising; since
advertising; since there
                   there are
                         are more
                             more advertising
                                   advertising service
                                               service providers
                                                       providers besides
                                                                 besides AdMob,
                                                                         AdMob, thethe figures above may
                                                                                       figures above may
understate total advertising revenues.
understate total advertising revenues.
82
82
          See this report’s
          See this          production.
                   report's production.

                                                                                                              29
                                                                                                              29
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 482 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


     app was monetized through advertising.83 There are no Google Play service fees associated
     with the revenue developers generate through advertising.
82. Some putative developer class members generate revenue through their apps from the sale of
    goods or services. For example, ride-sharing companies and food delivery apps generate
    revenues not related to paid downloads or IAPs and therefore, there are no service fees
    associated with those revenues. Likewise, some putative developer class members also
    generate revenue from the sale of physical goods. For example, Nike is a proposed class
    member by virtue of its Nike Training Club app, which sells subscriptions to fitness
    programs offered through the app.84 Nike also generates revenue from its sales of clothing
    and merchandise through its Nike85 and NIKE SNKRS86 apps, which do not offer IAPs or
    subscriptions.
83. Some developers use Google Play to distribute apps but monetize the apps outside of Google
    Play, bypassing Google Play Billing in part or in whole. For example, consumers can
    purchase access to content from some developers' websites as well as from Google Play.
    The Wall Street Journal ("WSJ") offers an "All Access Digital" subscription to its content on
    its website and through its app, which is available for download from Google Play (as well as
    from other app stores).87 Bloomberg similarly offers subscriptions both on its website and
    through an app available from Google Play.88 Subscriptions to Marvel Unlimited, a comic-
    book app from Marvel, can be purchased both via Marvel's website — where no service fees
    are collected — and through the app that is available from Google Play.89 Other examples of

83
83
        Response to
        Response    to Interrogatory
                       Interrogatory No.
                                     No. 6,  Peekya App
                                          6, Peekya App Services,
                                                         Services, Inc.’s Responses and
                                                                   Inc.'s Responses   and Objections
                                                                                          Objections to
                                                                                                     to
Defendants’ First
Defendants'   First Set
                    Set of
                        of Interrogatories to App
                           Interrogatories to App Developer
                                                  Developer Class
                                                             Class Plaintiffs,
                                                                    Plaintiffs, In
                                                                                In Re
                                                                                   Re Google Play Store
                                                                                      Google Play Store
Antitrust Litigation,
Antitrust Litigation, November
                      November 11,11, 2021,  Case No.
                                      2021, Case  No. 3:21-md-02981-JD
                                                      3:21-md-02981-JD and and Case
                                                                                 Case No.
                                                                                      No. 3:20-cv-05792-JD.
                                                                                          3:20-cv-05792-JD.
84
84
          https://play.google.com/store/apps/details?id=com.nike.ntc. See
          https://play.google.com/store/apps/details?id=com.nike.ntc.     this report's
                                                                      See this report’s production.
                                                                                        production.
85
85
          https://play.google.com/store/apps/details?id=com.nike.omega
          https://play.google.com/store/apps/details?id=com.nike.omega
86
86
          https://play.google.com/store/apps/details?id=com.nike.snkrs
          https://play.google.com/store/apps/details?id=com.nike.snicrs
87
87
         The
         The AllAll Access
                     Access Digital
                               Digital subscription
                                        subscription provides
                                                        provides access
                                                                  access to
                                                                          to WSJ.com
                                                                             WSJ.com and and "WSJ
                                                                                              “WSJ mobile
                                                                                                       mobile and
                                                                                                                and tablet
                                                                                                                     tablet
apps.” https://store.wsj.com/shop/us/us/wsjuelnsb20/,
apps."  https://store.wsj.com/shop/us/us/wsjuelnsb20/, accessed    accessed February
                                                                             February 11,11, 2021.
                                                                                             2021. Prices
                                                                                                       Prices and
                                                                                                               and price
                                                                                                                    price
offerings on
offerings   on the
                the website
                     website versus
                               versus through
                                        through the
                                                  the app
                                                       app may
                                                           may bebe different.
                                                                     different. For
                                                                                For example,
                                                                                     example, on  on February
                                                                                                     February 11,11, 2021,
                                                                                                                      2021, the
                                                                                                                              the
“list” price
"list" price of
              of aa WSJ
                    WSJ AllAll Access
                                Access Digital
                                         Digital subscription
                                                  subscription waswas different
                                                                       different for the two
                                                                                 for the  two different
                                                                                                different distribution
                                                                                                          distribution
channels —
channels   – the
              the list  price on
                   list price  on the
                                   the WSJ
                                       WSJ website
                                              website was
                                                        was $38.99    per month
                                                             $38.99 per   month and
                                                                                  and the
                                                                                       the list
                                                                                           list price
                                                                                                price through
                                                                                                       through the
                                                                                                                 the app
                                                                                                                      app was
                                                                                                                          was
$32.99. In
$32.99.       addition, the
          In addition,    the promotional
                               promotional offers      were different
                                               offers were              across the
                                                             different across  the two
                                                                                    two channels.     Again, on
                                                                                         channels. Again,      on February
                                                                                                                   February
11, 2021,
11, 2021, the
            the WSJ
                 WSJ had     three offerings
                        had three    offerings on
                                                on its  website targeting
                                                    its website  targeting consumers
                                                                            consumers whowho hadhad different
                                                                                                     different preferences
                                                                                                                preferences
regarding the
regarding   the length
                 length ofof aa subscription.
                                subscription. It    offered aa three-month
                                                 It offered    three-month subscription
                                                                             subscription forfor $4  per month
                                                                                                  $4 per  month asas well
                                                                                                                      well as
                                                                                                                            as aa
six-month subscription
six-month    subscription and and aa 12-month     subscription for
                                      12-month subscription      for $19.50  per month.
                                                                     $19.50 per   month. (In(In each
                                                                                                 each offer,
                                                                                                       offer, if the consumer
                                                                                                              if the consumer
wanted to
wanted   to continue
             continue thethe subscription
                             subscription beyond
                                              beyond the
                                                       the offer
                                                           offer period,
                                                                  period, the
                                                                          the list
                                                                              list price
                                                                                   price was
                                                                                          was $38.99    per month.)
                                                                                               $38.99 per   month.) On  On the
                                                                                                                             the
same day,
same         the promotion
       day, the   promotion offered
                                offered through
                                          through the
                                                    the app
                                                         app was
                                                             was three
                                                                   three months
                                                                         months for
                                                                                  for free.
                                                                                      free. (If
                                                                                             (If the
                                                                                                  the consumer    wanted to
                                                                                                      consumer wanted       to
continue the
continue   the subscription
                subscription after
                                 after the
                                       the three
                                            three months,
                                                  months, the
                                                            the price
                                                                 price would
                                                                       would bebe $32.99
                                                                                   $32.99 per
                                                                                           per month.)
                                                                                                 month.)
88
88
       The  website price
       The website  price varied
                          varied depending
                                 depending onon whether
                                                whether the
                                                        the consumer
                                                            consumer had
                                                                      had previous
                                                                          previous experience (e.g. some
                                                                                   experience (e.g. some
“cookie”) with
"cookie") with the
               the Bloomberg
                   Bloomberg site.
                              site. If the consumer
                                    If the consumer did
                                                    did not
                                                        not have
                                                            have such
                                                                 such experience, the offer
                                                                      experience, the offer was
                                                                                            was $1.99
                                                                                                $1.99 for
                                                                                                      for
one month.
one month.
89
89
         https://play.google.com/store/apps/details?id=com.marvel.unlimited;
         https://play.google.com/store/apps/details?id=com.marvel.unlimited;
https://www.marvel.com/unlimited
https://www.marvel.com/unlimited

                                                                                                                             30
                                                                                                                             30
          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 483 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


     apps that allow for payment for digital content through the app and on websites include
     Tinder (a dating app),9° Evernote (an app for note taking, organizing, and task
     management),91 MyFitnessPal (a fitness and dieting app),92 and HBO Max (a video
     entertainment app).93 One of the developer class representatives, Pure Sweat Basketball,
     offered subscriptions only through its website from 2014 through January 2019, after which
     it switched to offering subscriptions only through its app.94 Another class representative,
     LittleHoots, offers subscriptions through its app and also offers gift subscriptions through its
     website.95
84. Service fee rates for putative developer class members also vary across developers and over
    time. Service fee rates for certain apps offered by putative developer class members that
    participate in Google's LRAP, LRAP++, ADAP, and SwG programs are 15%                   .96 In
    2021, there were members of the putative developer class participating in these programs,
    accounting for about        of putative developer class members' total consumer spend.97 For
    example, by September 2017, the ADAP program led to a reduction in                    service
    fee rate from 30% to 15% (which continued throughout the class period).98
85. Similar to consumer spend (which was shown in Figure 2), a relatively small number of
    developers in Google Play account for nearly all service fees. In 2021, for example:
     •    the top
           the top five
                    five putative
                         putative developer
                                  developer class members (accounting
                                            class members  (accounting for
                                                                        for developers
                                                                            developers in
                                                                                       in the
                                                                                          the data
                                                                                              data with
                                                                                                   with
           common ownership)
           common     ownership) accounted
                                   accounted for 30% of
                                             for 30% of the
                                                        the service
                                                            service fees associated with
                                                                    fees associated with putative
                                                                                         putative
           developer class
           developer   class members;
     •    the top
           the top 10
                   10 putative
                      putative developer
                               developer class
                                         class members
                                               members accounted
                                                       accounted for
                                                                 for 50%
                                                                     50% of
                                                                         of service
                                                                            service fees;
                                                                                    fees;
     •    the top
           the top 30
                   30 putative
                      putative developer
                               developer class
                                         class members
                                               members accounted
                                                       accounted for
                                                                 for over
                                                                     over 77% of service
                                                                          77% of service fees; and
                                                                                         fees; and

90
90
         https://tinder.com/en-GB/feature/subscription-tiers; https://www.help.tinder.com/hc/en-
         https://tinder.com/en-GB/feature/subscription-tiers; https://www.help.tinder.com/hc/en-
us/articles/115003356706-How-do-I-create-a-Tinder-account-
us/articles/115003356706-How-do-I-create-a-Tinder-acc     ount-
91
91
           https://evernote.com/compare-plans
           https://evernote.com/compare-plans
92
92
           https://www.myfitnesspal.com/premium?source=menu_bar
           https://www.myfitnesspal.com/premium?source=menu bar
93
93
           https://www.hbomax.com/ways-to-get
           https://www.hbomax.com/ways-to-get
94
94
         See Response to
         See Response    to Interrogatory
                            Interrogatory No.
                                          No. 3,
                                               3, Pure
                                                  Pure Sweat Basketball, Inc.’s
                                                       Sweat Basketball,         Responses and
                                                                          Inc.'s Responses   and Objections
                                                                                                  Objections to
                                                                                                             to
Defendants’ First
Defendants'   First Set
                    Set of
                        of Interrogatories, In re
                           Interrogatories, In re Google Play Developer
                                                  Google Play  Developer Antitrust
                                                                           Antitrust Litigation,
                                                                                     Litigation, Case
                                                                                                  Case No.
                                                                                                       No. 3:20-
                                                                                                           3:20-
cv-05792-JD, November
cv-05792-JD,   November 19, 19, 2021,
                                2021, p.7-9
                                      p.7-9 (showing
                                             (showing subscription   purchases in
                                                       subscription purchases   in the
                                                                                   the app
                                                                                       app starting
                                                                                           starting in 2019;
                                                                                                    in 2019;
Pure Sweat
Pure         Basketball,
      Sweat Basketball,
https://web.archive.org/web/20170214231549/https://puresweatbasketball.com/training-app/ (showing
https://web.archive.org/web/20170214231549/https://puresweatbasketball.com/training-app/            (showing
that Pure
that Pure Sweat   Basketball offered
          Sweat Basketball    offered subscription
                                      subscription purchases
                                                    purchases on
                                                              on its
                                                                  its website
                                                                      website in 2017).
                                                                              in 2017).
95
95      See  “Shop,” LittleHoots,
        See "Shop,"   LittleHoots, https://www.littlehoots.com/shop/p/fixisgkwjypb7d6v7zgsxrae8saj81,
                                    https://www.littlehoots.com/shop/p/ftxisgkwjypb7d6v7zgsxrae8saj8l,
accessed January
accessed  January 26,
                   26, 2022
                       2022 (showing
                             (showing aa purchase
                                         purchase option
                                                  option for
                                                          for aa "1-year
                                                                 “1-year LittleHoots
                                                                         LittleHoots Subscription  Gift
                                                                                      Subscription Gift
Certificate”); Play
Certificate"); Play App
                     App Catalog,
                         Catalog, GOOG-PLAY-00
                                  GOOG-PLAY-001507601           (showing that
                                                     1507601 (showing     that LittleHoots'
                                                                               LittleHoots’ app
                                                                                            app was
                                                                                                was offering
                                                                                                    offering
subscriptions as
subscriptions  as of
                  of May
                     May 5,
                          5, 2021).
                             2021).
96
96
           Google’s LRAP-HF
           Google's LRAP++ program
                            program provided
                                    provided aa service
                                                service fee rate of
                                                        fee rate of         .. See
                                                                               See GOOG-PLAY-000236162.
                                                                                   GOOG-PLAY-000236162.
97
97
           Exhibit 17.
           Exhibit 17. A
                       A list of the
                         list of the developers associated with
                                     developers associated with these
                                                                these programs
                                                                      programs is attached as
                                                                               is attached as Exhibit
                                                                                              Exhibit 8.
                                                                                                      8.
98
           See this report's
           See this report’s production.
                             production.
                                                                                                             31
                                                                                                             31
          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 484 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


     •    the top
           the top 105
                   105 putative
                       putative developer
                                developer class members accounted
                                          class members accounted for
                                                                  for 90%
                                                                      90% of
                                                                          of the
                                                                             the service fees.99
                                                                                 service fees.99
86. Developers (and apps) also vary in terms of the value they obtain from Google Play features
    and benefits. Google documents show that the type and extent of benefits from Google Play
    features vary across apps and developers.1°° The types of benefits Google provide include
    transaction processing (including that some types of transactions, such as DCB and gift
    cards, provided some developers with incremental consumer spend); the benefits of having
    consumers discover and re-engage with apps, provided through promotions, features, and
    programs such as Google Play Points; consulting services; as well as other benefits. Google
    has estimated, for example, that nearly half of the value it quantified for
    was generated from the availability of DCB and gift cards while for           , the uplift from
    Google Play Points generated about 60% of the quantified     value.'°' The documents provide
    evidence that that different developers obtain varying degree of value from different Google
    Play services and features.
87. Differences across developers and apps matter to the determination of common impact. The
    differences in characteristics show that developers have different value to app stores,
    including Google Play. Developers with popular apps or apps that generate substantial
    amounts of consumer spend are able to attract consumers to an app store and thus, those
    developers have relatively more bargaining power to negotiate terms with apps stores. These
    differences would continue to exist in a but-for world and must be considered in evaluating
    the effect of an increase in app store competition. The differences suggest that any increase
    in competition in a but-for world would have the same disparate effect as competition does in
    the actual world.




99
99
         Exhibit 18.
         Exhibit  18. Exhibit
                       Exhibit 1919 provides
                                    provides data
                                              data for  the class
                                                   for the   class period
                                                                    period without
                                                                            without considering     the changing
                                                                                      considering the   changing
ownership   of developers    over  those years:  over  the  class  period,  there  are 157  “U.S.”
ownership of developers over those years: over the class period, there are 157 "U.S." developers    developers
identified in Google
identified in Google data     that account
                        data that  account for  90% of
                                           for 90%   of the
                                                         the service
                                                               service fees  paid by
                                                                        fees paid  by the
                                                                                       the "U.S."
                                                                                           “U.S.” developers.
                                                                                                   developers. That
                                                                                                                  That is,
                                                                                                                         is,
less than 1%
less than 1% ofof developers
                  developers account
                                account for  90% of
                                         for 90%      the service
                                                  of the   service fees.    See GOOG-PLAY-005535885
                                                                     fees. See   GOOG-PLAY-005535885 and        and
GOOG-PLAY-010801689.
GOOG-PLAY-010801689.
loo
100
         GOOG-PLAY-011023692 at
         GOOG-PLAY-011023692            at 705,
                                           705, 712;   GOOG-PLAY-000286913. Google
                                                 712; GOOG-PLAY-000286913.               Google has
                                                                                                  has attempted
                                                                                                       attempted toto
quantify certain
quantify  certain benefits
                  benefits toto some
                                some developers
                                      developers from
                                                   from Google      Play, recognizing
                                                          Google Play,     recognizing that
                                                                                          that such  quantification is
                                                                                               such quantification    is
complex because
complex   because of of the
                        the different
                            different benefits
                                      benefits available
                                                available toto developers
                                                                developers asas well
                                                                                well as
                                                                                      as the
                                                                                         the differences   across
                                                                                             differences across
developers. While
developers.   While precise
                       precise estimates  of Google
                                estimates of Google Play's
                                                       Play’s value
                                                                 value to
                                                                       to individual   developers are
                                                                          individual developers     are not available, the
                                                                                                        not available,    the
documents demonstrate
documents   demonstrate thatthat Google
                                  Google Play
                                          Play has
                                                has many
                                                    many different
                                                            different ways
                                                                        ways to
                                                                              to provide
                                                                                  provide value
                                                                                           value to
                                                                                                  to developers
                                                                                                     developers and
                                                                                                                  and that
                                                                                                                        that
developers, because
developers,  because of of their
                           their differences,
                                 differences, find  certain services
                                              find certain    services and
                                                                         and features
                                                                             features have   varying value
                                                                                        have varying   value to
                                                                                                              to them.
                                                                                                                 them.
101      See  also GOOG-PLAY-000286913
         See also  GOOG-PLAY-000286913 (showing   (showing the  the value
                                                                    value of
                                                                           of distributing  and updating
                                                                              distributing and   updating Facebook's
                                                                                                            Facebook’s
app accounts
app  accounts for
               for aa substantial  amount of
                      substantial amount   of quantified    value because
                                               quantified value     because ofof the
                                                                                 the number
                                                                                     number of of Facebook
                                                                                                  Facebook users
                                                                                                              users and
                                                                                                                     and
the frequency
the frequency ofof the
                   the app
                        app updates).
                             updates).

                                                                                                                         32
                                                                                                                         32
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 485 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


                        2. The Proposed Consumer Class Definition Includes Over 90 Million
                           Distinct Consumer IDs
88. The proposed consumer class consists of over 92 million consumer IDs in the U.S. associated
    with at least one purchase of a paid app, a subscription or IAP in Google Play during the
    class period.1°2
89. Consumer Plaintiffs describe the proposed Nationwide Class as:
               “All persons
               "All persons in   the United
                              in the United States   who paid
                                              States who   paid for
                                                                for an
                                                                    an app
                                                                       app through
                                                                           through the
                                                                                   the Google
                                                                                       Google Play
                                                                                                Play Store,
                                                                                                     Store,
               or paid
               or paid for
                        for in-app
                            in-app digital  content (including
                                    digital content  (including subscriptions
                                                                 subscriptions and/or
                                                                               and/or ad
                                                                                      ad free versions) on
                                                                                         free versions) on
               an app
               an app that
                       that was
                             was offered
                                  offered in
                                          in the
                                             the Google
                                                 Google Play
                                                          Play Store  from August
                                                                Store from  August 16,
                                                                                   16, 2016,
                                                                                       2016, to
                                                                                              to the
                                                                                                 the
                         103
               present.”
               present."1°3
90. Consumer Plaintiffs describe the proposed Repealer-State Class as
               “All persons
               "All persons in   those states
                              in those states whose
                                               whose laws  permit indirect
                                                     laws permit   indirect purchaser
                                                                            purchaser standing
                                                                                       standing and
                                                                                                and
               provide for
               provide  for antitrust
                            antitrust recovery
                                      recovery to
                                                to indirect
                                                   indirect purchasers,
                                                            purchasers, who
                                                                         who paid
                                                                              paid for
                                                                                   for an
                                                                                       an app
                                                                                          app through
                                                                                              through the
                                                                                                      the
               Google Play
               Google  Play Store,   or paid
                              Store, or paid for
                                             for in-app
                                                 in-app digital
                                                        digital content  (including subscriptions
                                                                 content (including subscriptions and/or
                                                                                                  and/or
               ad free versions)   on an app  that was offered  in the Google  Play Store  from
               ad free versions) on an app that was offered in the Google Play Store from AugustAugust
               16, 2016,
               16, 2016, to
                          to the  present.”104
                             the present."'
91. In this report, unless otherwise described, analyses and statistics related to the proposed class
    of consumers relate to the proposed nationwide class.
92. Members of the proposed consumer class vary by the type and number of apps for which
    they made purchases, types of purchases made, amount of money spent on Google Play, and
    reliance on free apps.
93. Over the class period, there were over 92 million U.S. consumer IDs associated with at least
    one purchase in Google Play of a paid app, a subscription or an IAP. The purchases involved
    over 404,000 unique apps.1°5 Table 2 shows that through July 3, 2021, 41% of U.S.

102
102
          Exhibit 20.
          Exhibit   20. The     number of
                          The number     of consumer
                                             consumer IDs     is based
                                                         IDs is  based onon Google's
                                                                             Google’s transaction-level
                                                                                        transaction-level database.      Each
                                                                                                              database. Each
consumer ID
consumer     ID is
                 is identified
                    identified inin the
                                    the data  with aa "hashed
                                        data with     “hashed purchase
                                                                 purchase initiator
                                                                            initiator Google
                                                                                       Google ID.”
                                                                                                 ID." Some     consumers
                                                                                                        Some consumers
have more
have  more than
              than one
                    one ID.
                         ID. ForFor example,
                                    example, oneone of
                                                     of the
                                                        the class  representatives, Mr.
                                                            class representatives,     Mr. Matt
                                                                                            Matt Atkinson
                                                                                                   Atkinson hashas two
                                                                                                                   two IDs
                                                                                                                        IDs
(see this
(see this report's
           report’s production).
                      production). Determining
                                      Determining which
                                                      which IDs
                                                              IDs are
                                                                    are linked  to which
                                                                        linked to  which consumers
                                                                                            consumers requires
                                                                                                          requires inspection
                                                                                                                    inspection
of detailed
of            information (e.g.,
   detailed information       (e.g., name,
                                     name, address,
                                             address, email
                                                       email address).
                                                               address). AsAs described
                                                                               described below,
                                                                                            below, aa consumer
                                                                                                       consumer is is harmed
                                                                                                                      harmed
only  if the  total cost  of  their purchases   is lower  in the  but-for   world  compared     to  the
only if the total cost of their purchases is lower in the but-for world compared to the actual world.   actual  world.
Therefore,
Therefore, to to demonstrate
                 demonstrate harm harm for
                                        for aa consumer,
                                               consumer, itit is
                                                              is necessary
                                                                 necessary toto identify   all the
                                                                                identify all   the consumer’s     purchases.
                                                                                                    consumer's purchases.
However, because
However,     because some
                       some consumers        have multiple
                                consumers have     multiple consumer
                                                              consumer IDs IDs and
                                                                               and there
                                                                                     there is  no simple
                                                                                            is no  simple way
                                                                                                            way to
                                                                                                                 to link
                                                                                                                    link
different IDs
different  IDs held
                 held by
                       by the
                           the same
                                same consumer,      there is
                                       consumer, there    is no
                                                             no way
                                                                 way toto identify
                                                                          identify the
                                                                                    the full  set of
                                                                                         full set of apps
                                                                                                      apps downloaded
                                                                                                            downloaded andand
the total
the total spending
           spending on     apps, subscriptions,
                       on apps,    subscriptions, and
                                                    and IAPs
                                                         IAPs for
                                                                for any
                                                                    any consumer
                                                                         consumer and and no   way to
                                                                                           no way    to consider
                                                                                                        consider their
                                                                                                                  their total
                                                                                                                        total
cost of
cost of purchases
         purchases in    the actual
                      in the   actual and
                                      and but-for
                                           but-for worlds
                                                     worlds to
                                                             to determine
                                                                 determine impact.
                                                                             impact. In    this report,
                                                                                        In this  report, II discuss
                                                                                                            discuss
“consumers” when,
"consumers"      when, inin fact,  the data
                             fact, the       represent consumer
                                       data represent                IDs.
                                                         consumer IDs.
103
103
         Consumer Complaint
         Consumer Complaint at
                            at ¶213.
                               ¶213.
104
104
         Consumer Complaint
         Consumer Complaint at
                            at ¶213.
                               ¶213.
105
105
        See  Exhibit 20.
        See Exhibit       Approximately 99 million
                     20. Approximately     million consumer
                                                    consumer IDs   were excluded
                                                               IDs were  excluded from
                                                                                  from the
                                                                                        the class
                                                                                            class definition
                                                                                                  definition
during the
during the class period if
           class period if they
                           they purchased
                                purchased only
                                          only free
                                               free trials
                                                    trials or
                                                           or had
                                                              had only
                                                                  only refunds. See this
                                                                       refunds. See this report’s production.
                                                                                         report's production.

                                                                                                                            33
                                                                                                                            33
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 486 of 667
                             HIGHLY CONFIDENTIAL
                             HIGHLY CONFIDENTIAL —
                                                 – ATTORNEYS'
                                                   ATTORNEYS’ EYES
                                                              EYES ONLY
                                                                   ONLY


      consumers made purchases of or from only one app and over two-thirds of U.S. consumers
      made purchases of or from three apps or less. On the other side of the spectrum, over 89,000
      U.S. consumers have made purchases from more than 100 apps.
94. As I describe below, whether a developer would be subject to a lower service fee and
    whether that developer would pass on such a lower service fee in the form of a lower price
    are both individual questions not subject to common proof. For any putative consumer class
    member that is part of the 41% of U.S. consumers that made purchases of or from only one
    app, if the developer of the app would not be subject to a lower service fee or would not
    lower the price of the app, subscription, or IAPs in the but-for world, that class member has
    not been impacted by Google's alleged conduct. But the only way to make that
    determination is to examine the particular app for that individual.
Table
Table 2. Number of Apps from which U.S.
                                   U.S. Consumers Purchase
                                                  Purchase during             – July 3, 2021
                                                           during August 2016 —

                                          Number of             Percent of        Cumulative Percent
           Number of Apps
                                          Consumers             Consumers           of Consumers
               Only 1 App                  37.690.509               41%                   41%
                    2 Apps                 15.369.289               17%                    57%
                    3 Apps                  S.932,225               10%                   67%
                    4 Apps                  5,921,644                6%                    74%
                    5 Apps                  4,240,558                5%                    78%
                    6 Apps                  3,177,880                3%                   82%
                    7 Apps                  2,468,276                3%                   84%
                    S Apps                  1,962,423                2%                   86%
                    9 Apps                  1,594,409                2%                   88%
                    10 Apps                 1,313,045                1%                   90%
             >10 to 50 Apps                 9,101,126               10%                   99%
            >50 to 100 Apps                  468,283                0.5%                  99.9%
          More than 100 Apps                 89,601                 0.1%                  100%
                     Total                92,329,268               100%                   100%

Source:
Source:
      Exhibit 21.

95. In addition to using apps with paid downloads, subscriptions, or IAPs, members of the
    proposed consumer class also download apps that are free, including apps that include
    advertising. The class representatives for Consumer Plaintiffs installed numerous free apps
    on their devices. For example,                 installed free apps across        devices out of
    a total     installed apps, and                   installed     free apps out of a total of
    installed apps.'°6
96. The amount of consumer spend varies substantially across U.S. consumers. Table 3 below
    shows that     of putative consumer class members spent less than $5 during the class

106
106
          Exhibit 22
          Exhibit 22 (The
                     (The free
                          free app
                               app counts
                                   counts exclude
                                          exclude pre-installed
                                                  pre-installed apps
                                                                apps by
                                                                     by carriers, OEMs, and
                                                                        carriers, OEMs, and Google).
                                                                                            Google).

                                                                                                       34
                                                                                                       34
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 487 of 667
                       HIGHLY CONFIDENTIAL
                       HIGHLY CONFIDENTIAL —
                                           – ATTORNEYS'
                                             ATTORNEYS’ EYES
                                                        EYES ONLY
                                                             ONLY


      period and about          spent less than     during the class period. Only    of the
      putative consumer class members spent       or more. Approximately          U.S.
      consumers spent more than           on Google Play during the class period.


Table 3. Distribution of Dollars Spent Across U.S. Consumers during August 2016 —
                                                                                – July 3, 2021


                                                                       Cumulative         Cumulative
                                  Number of          Percent of
 Consumer Spend                                                        Percent of         Percent of
                                  Consumers          Consumers
                                                                       Consumers            Spend

 Less than $5                     14,342,706             16%               16%                0.1%
 $5 - <$10                        10,006,443             11%                26%               0.3%
 $10 - <$25                       12,792,164             14%               40%                0.9%
 $25 - <$50                       11,156,569             12%                52%                2%
 $50 - <$100                      11,570,016             13%                65%                4%
 $100 - <$200                     10,623,145             12%                76%                8%
 $200 - <$300                      5,157,216              6%               82%                11%
 $300 - <$400                      3,077,804             3%                85%                14%
 $400 - <$500                      2,114,207              2%               88%                16%
 $500 - <$1,000                    4,961,002              5%                93%               25%
 $1,000 - <$2,000                  2,976,406              3%                96%               36%
 $2,000 - <$5,000                  2,147,453              2%                98%               52%
 $5,000 - <$10,000                  820,572               1%                99%               67%
 $10,000 - <$20,000                 383,927             0.4%              99.8%               80%
 $20,000 - <$50,000                 165,402             0.2%              99.96%              92%
 $50,000 - <$100,000                 26,665             0.03%             99.99%              97%
 $100,000 or More                     7,571             0.01%              100%              100%
 All Consumers                    92,329,268            1000/0            100%               100%

Source:
Source:
              23.
      Exhibit 23.


97. In addition, the number of Google Play transactions varied widely across consumers.
    Approximately 21% of putative consumer class members made a single purchase in Google
    Play during the class period.107 Notably, these 21% of consumers purchased (e.g., a paid
    download, subscription, or IAP) from more than 150,000 different apps.108 Again, if that
    single transaction would not be subject to a lower service fee or would not have a lower price
    in a but-for world, these consumers are not injured. Determining whether these consumers
    were injured requires analyzing each individual transaction because these consumers made


107
107
          See Exhibit
              Exhibit 24.
                      24.
108
108
          See Exhibit
              Exhibit 24.
                      24.

                                                                                                       35
                                                                                                       35
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 488 of 667
                            HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                                   ATTORNEYS’ EYES ONLY


       only a single transaction. Moreover, determining impact for these consumers implicates over
       150,000 different apps.
V.     ECONOMIC FRAMEWORK FOR ANALYZING COMMON PROOF OF
       CLASSWIDE IMPACT
                A. ANTITRUST IMPACT RELATIVE TO A BUT-FOR WORLD
 98. Antitrust impact refers to a proposed class member's injury-in-fact resulting from the
       defendant's alleged anticompetitive conduct. Antitrust impact is binary: each class member
       either was or was not impacted. Antitrust impact is distinct from the determination of
       damages because it does not purport to measure the degree of harm, but only to establish the
       existence of harm.
 99. To show antitrust impact for a class member, Plaintiffs must establish that the class member
     is worse off in the "actual world" as compared to a hypothetical world in which the alleged
     anticompetitive conduct did not take place (i.e., in the "but-for world"). Identifying the
     differences between the actual world and the but-for world and evaluating how those
     differences affect a putative class member, are essential to determining whether that putative
     class member experienced antitrust impact.109
                B. COMMON PROOF OF CLASSWIDE ANTITRUST IMPACT AND DAMAGES
 100. I understand that at the class certification stage, an important question is whether
    plaintiffs representing a putative class can show, with common evidence that all or nearly all
    class members experienced antitrust impact. If individualized analysis is needed to
    determine whether a proposed class member was impacted, or if the proposed class includes
    members who were not harmed, then establishing classwide impact using common proof is
    not possible.11° I also understand that at the class certification stage, an important question is
    whether plaintiffs representing a putative class can estimate damages with a common method
    that takes into account the relevant and important factors that may be different across class
    members.


 109
 109
          See
          See e.g., Johnson, John
              e.g., Johnson,  John H.
                                   H. and
                                      and Gregory
                                          Gregory K.K. Leonard,
                                                       Leonard, "Rigorous
                                                                “Rigorous Analysis
                                                                           Analysis of
                                                                                    of Class
                                                                                       Class Certification
                                                                                             Certification
 Comes of
 Comes   of Age,"
            Age,” Antitrust
                    Antitrust Law
                              Law Journal,
                                  Journal, Vol.
                                           Vol. 77,
                                                77, No.
                                                    No. 2,
                                                        2, 2011,
                                                           2011, pp.
                                                                 pp. 569-586; Reference Manual
                                                                     569-586; Reference  Manual on
                                                                                                 on
 Scientific Evidence,
 Scientific Evidence, National
                       National Academies
                                 Academies Press,
                                            Press, Third Edition, 2011,
                                                   Third Edition,       pp. 429-430.
                                                                  2011, pp. 429-430.
 110
 110
            To   determine damages,
            To determine       damages, the
                                          the amount
                                               amount of   of antitrust
                                                              antitrust harm    must be
                                                                         harm must    be quantified.
                                                                                          quantified. If If aa proposed
                                                                                                               proposed consumer
                                                                                                                          consumer
 class member
 class   member is  is found
                        found toto have
                                   have paid
                                         paid aa price
                                                  price that
                                                          that included
                                                               included anan overcharge,
                                                                              overcharge, then
                                                                                             then aa damage
                                                                                                     damage analysis
                                                                                                                 analysis must
                                                                                                                          must
 calculate the
 calculate    the difference
                   difference between
                                 between actual
                                           actual price
                                                    price and
                                                            and the
                                                                 the price
                                                                      price that
                                                                            that would
                                                                                  would have
                                                                                          have been
                                                                                                 been paid
                                                                                                       paid in    the but-for
                                                                                                               in the but-for world.
                                                                                                                              world.
 If
 If aa proposed
       proposed developer
                    developer class
                                 class member
                                        member is  is found
                                                      found to to have
                                                                  have lost   profits, then
                                                                        lost profits,  then aa damage     analysis must
                                                                                               damage analysis       must calculate
                                                                                                                           calculate
 the difference
 the                 between actual
       difference between       actual profits
                                        profits and
                                                 and the
                                                       the profits
                                                            profits that
                                                                     that would
                                                                          would have
                                                                                  have been
                                                                                         been earned
                                                                                               earned inin the
                                                                                                            the but-for
                                                                                                                 but-for world.
                                                                                                                          world. As
                                                                                                                                  As
 described below,
 described     below, there
                         there are
                                are several
                                    several reasons
                                             reasons thatthat determination
                                                              determination of  of impact
                                                                                   impact cannot
                                                                                            cannot bebe proved
                                                                                                         proved withwith common
                                                                                                                         common
 evidence
 evidence and and that
                   that certain
                          certain proposed
                                   proposed class
                                              class members,
                                                      members, in   in both
                                                                       both proposed
                                                                             proposed classes,
                                                                                         classes, were
                                                                                                  were likely      not impacted.
                                                                                                          likely not   impacted.
 For those
 For   those same
               same reasons,
                       reasons, damages
                                  damages toto the
                                                the proposed
                                                     proposed classes
                                                                  classes cannot
                                                                           cannot bebe proved
                                                                                        proved with
                                                                                                 with common
                                                                                                       common evidence
                                                                                                                    evidence and
                                                                                                                              and
 attempts to
 attempts    to calculate
                 calculate damages
                             damages with
                                        with averages
                                              averages or   or aggregated
                                                               aggregated amounts
                                                                             amounts would
                                                                                         would mean
                                                                                                 mean that
                                                                                                        that some
                                                                                                               some members
                                                                                                                      members ofof
 the proposed
 the   proposed classes
                   classes would
                             would be be compensated
                                         compensated even         though they
                                                            even though    they suffered
                                                                                 suffered no    antitrust impact.
                                                                                            no antitrust              Given the
                                                                                                           impact. Given    the size
                                                                                                                                size
 of the
 of  the putative
          putative classes,
                      classes, and
                                and the
                                     the number
                                         number of  of factors   affecting the
                                                        factors affecting    the amount
                                                                                 amount of of damages
                                                                                               damages for for each   class member
                                                                                                                each class  member
 (if any),
 (if  any), the
            the damages
                  damages calculations
                              calculations inin this
                                                 this case
                                                      case would
                                                             would be be extraordinarily
                                                                         extraordinarily complex.
                                                                                            complex. Plaintiffs'
                                                                                                         Plaintiffs’ experts
                                                                                                                       experts have
                                                                                                                               have
 not accounted
 not   accounted for for that
                          that complexity
                               complexity or or shown
                                                 shown aa reliable
                                                             reliable method
                                                                       method of of calculating   damages for
                                                                                    calculating damages        for each  class
                                                                                                                    each class
 member through
 member     through common
                         common proof.
                                    proof.
                                                                                                                                 36
                                                                                                                                 36
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 489 of 667
                     HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                            ATTORNEYS’ EYES ONLY


           C. PLAINTIFFS' THEORIES OF ANTITRUST IMPACT DEPEND ON PROOF OF
              SERVICE FEE RATES AND PRICES IN A BUT-FOR WORLD
101. The but-for world is defined by the absence of the alleged conduct: in the but-for world,
   the alleged conduct does not exist. Below I explain each set of Plaintiffs' theories of antitrust
   impact and how those theories involve two key issues: (1) whether service fee rates would
   have been lower in the but-for world, and (2) whether prices of apps, subscriptions, and IAPs
   would be lower in the but-for world. As explained below, neither set of Plaintiffs have
   common proof of classwide impact.
102. Consumers. Consumer Plaintiffs allege that Google obtained and maintained monopoly
   power in certain alleged relevant markets and foreclosed competition in those markets. They
   claim that because of its alleged monopoly power, Google has been able to impose a supra-
   competitive service fee rate of 30%. Consumer Plaintiffs claim that but-for the alleged
   conduct, Google would be compelled to lower its service fee rate to all developers, and
   developers in turn would reduce prices of apps, subscriptions, and IAPs purchased through
   Google Play." Consumer Plaintiffs' expert, Dr. Singer, claims in the alternative that
   Google would have responded to increased competition by increasing consumer "subsidies"
   through its Play Points program.112
103. Determining whether any individual consumer was injured as a result of higher prices
   caused by the challenged conduct requires a highly individualized inquiry into the price of
   each app, subscription, and IAP in the bundle of apps the consumer downloaded or used,
   including free apps. If the price of the app, subscription, or IAP would have remained the
   same in the but-for world, there is no antitrust impact associated with that purchase.
   Determining whether a price would remain the same or be lower in the but-for world first
   depends whether the developer of the app would have been subject to a lower service fee,
   and then depends on whether the developer of the app reduces prices, uses the saved fees to
   invest in the app (or some other app), or "pockets" the difference. Developers' decisions
   regarding any saved fees depend on the developer's business strategy and if the developer
   elects to keep the saved service fees, there is no consumer benefit from the lower service fees
   in the but-for world. In addition, whether the developer reduces prices depends on app-
   specific characteristics, including but not limited to the marginal cost of the app,
   subscription, or IAP, and the demand elasticity of the app. Moreover, even if the price of
   some apps, subscriptions, or IAPs would have fallen in the but-for world, if the free apps a
   consumer downloaded would have gone up in price by an amount more than any alleged
   overcharge on consumer's purchased apps, subscriptions, and IAPs, then there is no antitrust
   impact — and that could be true for many class members given how many consumers made
   only a very small number of purchases and spent relatively small amounts of money.
104. Determining whether a consumer would be better off in the but-for world through an
   expansion of Google Play Points depends, at a minimum, on whether that consumer would
   have participated in the Play Points program and redeemed any rewards. As described
   below, even though the Google Play Points program is available to all consumers, many
   consumers choose not to participate. Even if the program were expanded, there is no

111
111
       Consumer Complaint at ¶¶4-15; Singer Report at ¶33.
112
112
       Singer Report at ¶33.

                                                                                                 37
                                                                                                 37
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 490 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      evidence that more or all consumers would benefit. Determining which consumers would
      benefit would require individualized information about consumer's practices and preferences
      in regard to Google Play Points.
105. Developers. Developer Plaintiffs allege that Google improperly obtained and maintained
   a monopoly in certain alleged relevant markets and foreclosed competition in those markets.
   Developer Plaintiffs claim that through the exercise of its alleged monopoly power, Google
   was able to impose a supracompetitive default 30% transaction fee, and required that apps,
   in-app purchases, and subscriptions be priced no lower than $0.99. They claim that absent
   the alleged conduct, Google Play's service fee rates would be lower for all developers, at
   least some developers would reduce their retail prices, and developers' sales would have
   been higher.113
106. Dr. Williams, one of Developer Plaintiffs' experts, claims that in the but-for world,
   service fees would have been lower than in the actual world and the difference is the amount
   the developers were overcharged.114
107. Both sets of Plaintiffs assert antitrust impact and seek damages based on the same
   difference in the actual and but-for service fees; that is, the two distinct groups claim the
   same "overcharge" as the measure of their harm.115 For reasons that I explain below, even if
   it is theoretically possible that both developer and consumer class members could each claim
   some non-overlapping portion of the alleged overcharge for each app, determining what
   portion of each service fee overcharge should be allocated to which developer and which
   consumer would be highly complex and would require individualized analysis of each app.
108. Dr. Williams, one of Developer Plaintiffs' experts, also discusses lost profit damages.
   Overcharge damages are different from lost profit damages.116 Overcharge damages consider
   only the difference between service fees in the actual and but-for worlds. Lost profits
   damages consider the additional effects of a price reduction on a developer's sales and can
   include changes in the developer's costs in the but-for world. To the extent Developer


113
113
         Developer Complaint
         Developer   Complaint at at ¶8,
                                     ¶8, ¶14,
                                         ¶14, ¶28,
                                               ¶28, ¶179;
                                                     ¶179; Sibley  ¶36, ¶¶259-261, ¶¶270-273. Developer
                                                            Sibley 136,11259-261,11270-273.      Developer
Plaintiffs’ experts
Plaintiffs'         do not
            experts do  not address
                            address the
                                      the allegation
                                          allegation that
                                                       that Google
                                                            Google Play's
                                                                    Play’s minimum
                                                                            minimum price
                                                                                     price of
                                                                                           of $0.99  was
                                                                                              $0.99 was
anticompetitive or
anticompetitive  or the
                     the extent  to which
                         extent to  which retail
                                           retail prices
                                                   prices would
                                                          would be
                                                                 be lower
                                                                     lower absent
                                                                            absent Google Play’s minimum
                                                                                   Google Play's minimum price
                                                                                                            price
and any
and any effects
         effects from
                 from those
                       those lower
                               lower prices
                                      prices on
                                             on putative
                                                 putative developer
                                                            developer class
                                                                       class members.
                                                                             members. In addition, the
                                                                                      In addition, the Developer
                                                                                                       Developer
Plaintiffs’ expert
Plaintiffs' expert finds  that "over
                   finds that  “over 92%
                                      92% ofof product-monetization-type
                                               product-monetization-type combinations
                                                                              combinations have
                                                                                           have zero
                                                                                                zero or
                                                                                                      or negative
                                                                                                         negative
pass-through  rates.”  See  Williams   Report
pass-through rates." See Williams Report at ¶80.at ¶80.
114
114
         Williams Report
         Williams Report ¶9.
                         ¶9.
115
115
         Some  Consumer Plaintiffs
         Some Consumer       Plaintiffs purchased
                                         purchased apps,
                                                      apps, IAPs,
                                                            IAPs, and
                                                                   and subscriptions    from the
                                                                       subscriptions from      the putative
                                                                                                   putative class   of
                                                                                                             class of
developers.   Dr.  Williams   estimates   that, for  the period August  2016   to December      2020,
developers. Dr. Williams estimates that, for the period August 2016 to December 2020, damages to the   damages    to the
putative developer
putative  developer class   from sales
                      class from   sales to
                                         to U.S.
                                            U.S. consumers     range from
                                                   consumers range   from $1.3
                                                                            $1.3 billion
                                                                                  billion to
                                                                                          to $1.4   billion, depending
                                                                                              $1.4 billion,  depending
on the
on  the benchmark
        benchmark used
                     used (and
                           (and including
                                 including his    estimated deduction
                                             his estimated   deduction for
                                                                        for consumer     “rewards”). Dr.
                                                                            consumer "rewards").         Dr. Singer,
                                                                                                             Singer, the
                                                                                                                      the
expert  for Consumer
expert for  Consumer Plaintiffs,
                        Plaintiffs, estimates    for that
                                     estimates for   that same
                                                          same period,
                                                                period, damages
                                                                        damages to to U.S.
                                                                                      U.S. consumers
                                                                                             consumers from     apps
                                                                                                          from apps
purchased from
purchased   from the
                  the putative
                       putative developer    class ranges
                                developer class     ranges from
                                                            from $0.8
                                                                  $0.8 billion
                                                                       billion to
                                                                               to $1.7   billion, depending
                                                                                   $1.7 billion,  depending on on
whether IAPs
whether        are considered
          IAPs are  considered together
                                  together or
                                            or separate
                                                separate from
                                                          from paid
                                                                paid downloads.
                                                                     downloads. These
                                                                                   These estimated      damage amounts
                                                                                           estimated damage      amounts
reflect the same  alleged   harm   and  are thus  duplicative  claims.  See  this report’s
reflect the same alleged harm and are thus duplicative claims. See this report's production.production.
116
116
         Williams Report
         Williams Report at
                         at ¶72
                            ¶72 and
                                and Appendix
                                    Appendix III.
                                             III.

                                                                                                                      38
                                                                                                                      38
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 491 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


        Plaintiffs are limited to lost profits damages, their experts have not proposed a methodology,
        common or otherwise, to calculate lost profits damages.
  109. A lost profits analysis is even more individualized than an overcharge analysis because
     developers' profits can depend on their prices and their distribution costs. Thus, calculating
     whether a developer lost profits depends not only on the proof that a developer would have
     paid a lower service fee rate in a but-for world, but also on proof of a developers' prices and
     distribution costs in a but-for world.
  110. If developers would respond to service fee reductions by reducing prices to consumers,
     then developers would not suffer antitrust impact unless those price reductions generate
     sufficient incremental sales volumes to be profitable. The amount of incremental sales
     volume due to a price reduction depends on that app's price elasticity of demand, which in
     turn depends on the availability and relative closeness of substitutes for the app. In addition,
     the amount of incremental sales volume depends on whether the prices of those substitute
     apps also fall in response to a service fee rate reduction. Similarly, whether a developer
     experiences higher distribution costs in the but-for world depends on characteristics of its
     app. As explained below, the extent to which reductions in the service fee rate for each
     developer are offset by changes in revenue or changes in distribution costs is highly
     individualized and requires information about the particular app, the competition for that app,
     the cost of the app to the developer (including distribution costs, which may be higher in the
     but-for world if the developer uses additional app stores"), and other factors that are
     particular to the app and the developer.
  111. Developer Plaintiffs' determination of antitrust impact is further complicated by the need
     to account for the effects on free apps in a but-for world. Free apps make up a significant
     share of the apps available in Google Play and are present in substantial amounts in all app
     categories.118 Price elasticity of demand for paid apps, subscription apps, and apps with IAPs
     depends on substitutability of these apps with free apps. Moreover, a significant percentage
     of the putative developer class offers free apps. To the extent that Google Play (or other app
     stores) in the but-for world would choose to charge fees for those apps those developers
     could be worse off. These effects too must be considered in analyzing whether a putative
     developer class member that also has free apps would earn higher profits in the but-for world.
VI.     NEITHER SET OF PLAINTIFFS CAN ESTABLISH CLASSWIDE ANTITRUST
        IMPACT WITH COMMON PROOF
               A. No COMMON PROOF OF UNIFORM LOWER SERVICE FEES IN THE BUT-FOR
                  WORLD
  112. Both sets of Plaintiffs claim that in the but-for world, Google Play's service fees rates
     would have been lower than in the actual world. However, Plaintiffs cannot assume that
     every member of the proposed classes would have been subject to a lower service fee rate.
  117
  117
           App developers
           App  developers with
                            with lower
                                  lower service
                                         service fees
                                                   fees in  the but-for
                                                         in the but-for world
                                                                         world could
                                                                                could choose
                                                                                      choose to
                                                                                              to reduce
                                                                                                 reduce app
                                                                                                         app prices,
                                                                                                              prices, to
                                                                                                                      to
  invest in apps, or to “pocket”  the difference    in service  fees.  Whether   a developer reduces   app
  invest in apps, or to "pocket" the difference in service fees. Whether a developer reduces app prices or prices  or
  uses any
  uses any lower
            lower service
                   service fees
                           fees to
                                to invest in its
                                   invest in  its apps
                                                  apps depends
                                                        depends onon the
                                                                      the developer's
                                                                          developer’s business
                                                                                       business strategy.  If aa
                                                                                                 strategy. If
  developer decides
  developer  decides to
                      to "pocket"
                         “pocket” the
                                   the difference
                                       difference in    service fees,
                                                     in service        there is
                                                                 fees, there    no consumer
                                                                             is no consumer benefit
                                                                                             benefit from
                                                                                                      from the
                                                                                                            the lower
                                                                                                                 lower
  service fees
  service fees in the but-for
               in the but-for world.
                              world. That
                                      That too,
                                             too, is
                                                   is an
                                                      an individualized
                                                          individualized decision   on the
                                                                          decision on  the part
                                                                                           part of
                                                                                                of the
                                                                                                   the developer.
                                                                                                       developer.
  118
  118
           Exhibit 2
           Exhibit 2 and
                     and Exhibit
                         Exhibit 3.
                                 3.

                                                                                                                     39
                                                                                                                     39
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 492 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      More than a de minimis number of proposed class members would not have a lower service
      fee and thus would not be injured at all; and determining which members would obtain lower
      service fees requires individualized analysis.
                      1. No Basis for Assuming a Uniform But-For Service Fee or a Uniform
                         Service Fee Reduction
113. The fact that Google Play's service fee rate structure and rates vary across developers and
   over time in the actual world belies Developer Plaintiffs' and Consumer Plaintiffs' assertion
   that service fee rates or service fee rate reductions would be common and uniform in the but-
   for world.119 Because apps vary in terms of their importance to app stores and vice versa —
   which has allowed certain app developers to obtain specific deals, programs, and services —
   individualized analysis is necessary to determine the service fee rates that would apply to
   each app in a but-for world.
114. Google provides certain developers with lower service fee rates and expanded services
   through special programs (such as LRAP, ADAP, SwG, Project Hug, and the App
   Accelerator Program described above). Evidence indicates that these lower rates and
   expanded services reflect an effort to compete against alternatives for developers to distribute
   or monetize their apps.12°
115. Even taking Plaintiffs' market definitions as given, these alternative distribution channels
   for Android apps include (at least) the Samsung Galaxy Store,121 the Amazon Appstore,I22




119
119
         Dr. Williams
         Dr.  Williams claims
                         claims that
                                 that all
                                      all putative
                                          putative developer
                                                   developer class
                                                              class members
                                                                    members would
                                                                               would have
                                                                                       have the
                                                                                             the same   service fee
                                                                                                 same service    fee
rate in
rate in the
        the but-for
            but-for world.
                     world. See
                              See Williams
                                  Williams Report
                                             Report at
                                                     at ¶¶44,
                                                        ¶¶44, 50.  Dr. Singer
                                                              50. Dr.          claims that
                                                                       Singer claims   that there
                                                                                            there could
                                                                                                   could be
                                                                                                          be two
                                                                                                             two but-
                                                                                                                   but-
for service fee
for service  fee rates
                 rates —
                       – one  for paid
                         one for  paid apps
                                        apps and
                                             and another
                                                  another rate
                                                          rate for subscriptions and
                                                               for subscriptions  and IAPs;
                                                                                       IAPs; oror there
                                                                                                  there could
                                                                                                        could be
                                                                                                               be aa
single but-for
single  but-for rate
                rate for all developers
                     for all developers and
                                          and transactions.
                                              transactions. Dr.
                                                            Dr. Singer
                                                                 Singer allows
                                                                         allows aa category’s   but-for service
                                                                                   category's but-for    service
rate to
rate to deviate
        deviate from
                 from the
                       the overall
                           overall but-for
                                    but-for rate
                                            rate by
                                                 by the
                                                    the same
                                                        same proportion
                                                              proportion in   which the
                                                                           in which  the category's
                                                                                         category’s actual
                                                                                                      actual rate
                                                                                                              rate
deviates  from  the average   actual rate.  See Singer  Report  at Table 3,  Table 5, Appendix
deviates from the average actual rate. See Singer Report at Table 3, Table 5, Appendix 4 and ¶280. 4 and  ¶280.
120
120
         See
         See e.g., https://developer.apple.com/programs/video-partner/ (Apple's
             e.g., https://developer.apple.com/programs/video-partner/      (Apple’s 2016
                                                                                      2016 Video
                                                                                            Video Partner
                                                                                                   Partner
Program offering
Program   offering certain
                    certain premium
                            premium video
                                      video entertainment
                                            entertainment developers
                                                            developers aa service
                                                                          service fee rate of
                                                                                  fee rate of 15%);
                                                                                              15%); Amazon
                                                                                                     Amazon
Developer Services
Developer   Services Agreement,
                      Agreement, last   updated September
                                  last updated               25, 2018,
                                                 September 25,   2018,
https://web.archive.org/web/20181026122837/https://developer.amazon.com/support/legal/da (Amazon's
https://web.archive.org/web/20181026122837/https://developer.amazon.com/support/legal/da             (Amazon’s
2018 policy
2018  policy providing
             providing developers
                         developers aa revenue
                                       revenue share
                                                share of
                                                       of 80%
                                                          80% for
                                                               for Movies
                                                                   Movies && TV   subscription IAPs).
                                                                              TV subscription           Both
                                                                                                IAPs). Both
Consumer Plaintiffs'
Consumer   Plaintiffs’ and
                        and Developer
                            Developer Plaintiffs'
                                        Plaintiffs’ experts
                                                    experts contend
                                                            contend that
                                                                    that these
                                                                         these rate
                                                                               rate reductions
                                                                                    reductions reflect
                                                                                                reflect
competitive conditions.
competitive  conditions. See   Sibley Report
                           See Sibley  Report at
                                               at ¶¶102,
                                                  ¶¶102, 205;
                                                          205; Williams
                                                               Williams Report
                                                                         Report at
                                                                                 at ¶54.
                                                                                    ¶54.
121
121
         The
         The Samsung
             Samsung Galaxy    Store comes
                        Galaxy Store        pre-installed on
                                     comes pre-installed  on all
                                                             all Samsung
                                                                 Samsung mobile
                                                                         mobile devices.
                                                                                  devices. In
                                                                                           In aa Google
                                                                                                 Google
survey  of consumers,  about
survey of consumers, about            s of Samsung   Galaxy  owners had tried the Samsung   store
                                      s of Samsung Galaxy owners had tried the Samsung store and   and
used it
used it regularly. See GOOG-PLAY-000097630
        regularly. See GOOG-PLAY-000097630 at     at 630-632.
                                                     630-632.
122
122
        https://www.amazon.com/gp/help/customer/display.html?nodeId=GP96AU3MQ58FMV8U In
        https://www.amazon.com/gp/help/customer/display.html?nodeId=GP96AU3MQ58FMV8U                          In
addition to
addition to being
            being aa developer
                     developer with
                                with its  popular (free)
                                      its popular  (free) e-commerce
                                                          e-commerce app
                                                                       app and
                                                                            and offering
                                                                                offering an
                                                                                          an app
                                                                                             app store,
                                                                                                  store, Amazon
                                                                                                         Amazon
has other
has       businesses relevant
    other businesses  relevant to
                                to app
                                   app distribution
                                        distribution and
                                                      and the
                                                          the servicing
                                                              servicing of
                                                                        of developers
                                                                           developers including    its game
                                                                                       including its   game engine
                                                                                                            engine
– Lumberyard,
— Lumberyard, cloud
                cloud computing
                       computing services
                                    services (AWS),
                                              (AWS), and
                                                       and the
                                                            the physical
                                                                physical distribution
                                                                         distribution of
                                                                                      of app
                                                                                         app gift
                                                                                              gift cards
                                                                                                   cards and
                                                                                                         and game
                                                                                                             game
developers’ physical
developers'  physical disks.
                       disks. See  https://docs.aws.amazon.com/lumberyard/latest/userguide/lumberyard-
                              See https://docs.aws.amazon.com/lumberyard/latest/userguide/lumberyard-
intro.html.
intro.html.

                                                                                                                    40
                                                                                                                    40
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 493 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      Aptoide,123 Opera Mobile Store,124 and a variety of app stores available to developers that
      sell to consumers outside of the U.S. such as ONE store125 and UptoDown,126
116. Developers may also distribute apps directly on their websites — a process sometimes
   called "side-loading." For example, Epic Games distributes Fortnite, a popular gaming app,
   on its website.127
117. As Google's business documents indicate, Google recognizes that developers can
   introduce apps first in a competing app store or could sell digital content outside of their
   apps, thereby avoiding paying Google Play's service fee.128 Google's response has been to
   offer targeted rate reductions and expanded services. As shown in Exhibit 17, there are
                                                                   that participate in the programs
   LRAP, LRAP++, SwG, ADAP, and Hug/GVP.129 These developers accounted for
                                                                    . The global developers that
   participate in these programs accounted for                                  13°
118. Google explicitly recognizes that its strategy of offering reduced service fees or expanded
   services applies only to some developers. One document, for example, states: "Do not have a


123
123
       See  https://en.aptoide.com/company/about-us (stating
       See https://en.aptoide.com/company/about-us     (stating that
                                                                that Aptoide
                                                                     Aptoide has
                                                                             has 300
                                                                                 300 million
                                                                                     million users
                                                                                             users
worldwide, 77 billion
worldwide,    billion downloads, and 11 million
                      downloads, and    million apps).
                                                apps).
124
124
         https://publishers.apps.bemobi.com//Opera-Microsoft-FAQ.html;
         https://publishers.apps.bemobi.com//Opera-Microsoft-FAQ.html;
https://www.wikiwand.com/en/Opera_Mobile_Store.
https://www.wikiwand.com/en/Opera      Mobile Store.
125
125
          See  ONE store
          See ONE    store Introduction,
                           Introduction, 2020.02,
                                          2020.02, at
                                                   at slide
                                                      slide 4,
                                                             4, https://dev.onestore.co.kr/devpoc/static-
                                                                https://dev.onestore.co.kr/devpoc/static-
res/files/ONEstoreIntro_dev_en.pdf,
res/files/ONEstoreIntro                  accessed July
                            dev en.pdf, accessed   July 7,  2021. ("ONE
                                                         7, 2021.  (“ONE Store
                                                                            Store is
                                                                                   is embedded into almost
                                                                                      embedded into almost all
                                                                                                           all
Android devices
Android    devices in
                    in Korean
                       Korean market,
                               market, regardless
                                        regardless of
                                                   of carrier.
                                                      carrier. AsAs aa result,
                                                                       result, the
                                                                               the number of devices
                                                                                   number of         with ONE
                                                                                             devices with ONE
store installed
store  installed is over 50
                 is over    million.”).
                         50 million.").
126
126
         See  “What is
         See "What   is Uptodown?"
                        Uptodown?” Uptodown,
                                     Uptodown, https://www.uptodown.io/what-s-uptodown,
                                                  https://www.uptodown.io/what-s-uptodown, accessed
                                                                                                  accessed
November 17,
November     17, 2021
                 2021 (stating
                      (stating that
                               that Uptodown
                                    Uptodown isis headquartered
                                                  headquartered inin Spain  and has
                                                                     Spain and  has "content
                                                                                    “content localization based
                                                                                             localization based
in different
in different locations
             locations like
                       like Indonesia,
                            Indonesia, India, United States,
                                       India, United  States, Italy, Japan, South
                                                              Italy, Japan,       Korea, Germany,
                                                                            South Korea,  Germany, France,
                                                                                                     France,
Thailand,  China or
Thailand, China   or Russia.").
                     Russia.”).
127
127
         https://www.epicgames.com/fortnite/en-US/mobile/android/get-started See
         https://www.epicgames.com/fortnite/en-US/mobile/android/get-started                  also
                                                                                          See also
https://www.androidauthority.com/best-sideloaded-apps-android-1155580/ for
https://www.androidauthority.com/best-sideloaded-apps-android-1155580/                  apps that
                                                                                    for apps  that are
                                                                                                   are not
                                                                                                       not available
                                                                                                           available
on Google
on  Google Play
            Play but
                  but available
                      available through
                                  through "side-loading."
                                           “side-loading.” Certain
                                                             Certain app
                                                                     app developers
                                                                          developers can
                                                                                       can and
                                                                                            and do
                                                                                                do distribute
                                                                                                    distribute apps
                                                                                                               apps
through   PC platforms   (e.g., Steam,  Epic  Games   Store,  Windows   Store)  or game   console  platforms
through PC platforms (e.g., Steam, Epic Games Store, Windows Store) or game console platforms (e.g.,          (e.g.,
Microsoft Store,
Microsoft   Store, Nintendo
                   Nintendo eShop,     and PlayStation
                              eShop, and    PlayStation Store).
                                                        Store). Some
                                                                 Some large    game developers
                                                                        large game                use their
                                                                                      developers use   their own
                                                                                                             own
platforms to
platforms  to distribute
              distribute their
                          their games   for PCs.
                                games for   PCs. For
                                                  For example,   Electronic Arts
                                                      example, Electronic     Arts has
                                                                                   has Origin,
                                                                                       Origin,
(https://www.origin.com/usa/en-us/store), Ubisoft
(https://www.origin.com/usa/en-us/store),       Ubisoft has
                                                        has Uplay
                                                              Uplay (https://ubisoftconnect.com/en-US/),
                                                                    (https://ubisoftconnect.com/en-US/),
Activision Blizzard
Activision  Blizzard has
                      has Battle.net
                           Battle.net (https://us.shop.battle.net/en-us)
                                       (https://us.shop.battle.net/en-us) ,, and
                                                                             and Bethesda
                                                                                 Bethesda has
                                                                                            has the
                                                                                                the Bethesda
                                                                                                    Bethesda
Launcher (https://bethesda.net/en/store/home).
Launcher    (https://bethesda.net/en/store/home). Game
                                                     Game developers
                                                             developers can
                                                                         can also
                                                                              also distribute
                                                                                   distribute apps
                                                                                              apps through
                                                                                                    through
Facebook Instant
Facebook            Games, or
           Instant Games,    or through
                                 through Crazy
                                          Crazy Games
                                                 Games — – aa browser-based
                                                              browser-based game
                                                                              game platform
                                                                                     platform
(https://about.crazygames.com/).
(https://about.crazygames.com/).
128
128
         See
         See e.g., GOOG-PLAY-000542244.
             e.g., GOOG-PLAY-000542244.
129
129
         Exhibit 17.
         Exhibit 17.
130
130
         Exhibit 17.
         Exhibit 17.

                                                                                                                  41
                                                                                                                  41
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 494 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      one-size fits all offering."131 Google's use of targeted service fee rates reductions and
      expanded services makes economic sense as a means to compete for developers that are
      particularly valuable to Google.
119. The fact that other app stores provide lower service fee rates and/or more benefits to
   certain targeted developers provides additional evidence that Google's competitive strategy
   would not change in a but-for world. The Amazon Appstore, for instance, offered "key"
   game developers — that is, developers of 20 of the top 100 games in Japan — lower service
   rates and other incentives.132
120.


                                                                  133

                                                                   134
121. App stores' targeted use of incentives in the actual world reflects that different apps have
   different value to app stores. Currently, in the actual world, developers that have particularly
   attractive apps to app stores can receive special incentives. There is no reason to assume that
   in the but-for world, these differences across developers would not continue to exist. Just as
   service fee rates in the actual world are not uniform, the same is likely to continue to be the
   case in the but-for world: service fee rate reductions are not likely to be uniform.
122. The likelihood that not all apps or developers would experience service fee rate
   reductions in the but-for world is further borne out by the fact that rate reductions have not
   been uniform across apps or developers in the actual world. Google Play has reduced its



131
131
           See
           See e.g.,  GOOG-PLAY-000542244 at
                e.g., GOOG-PLAY-000542244          at 244.
                                                       244. See  also "Evolving
                                                            See also   “Evolving our
                                                                                   our business
                                                                                       business model
                                                                                                 model to
                                                                                                        to address
                                                                                                           address
developer needs,"
developer     needs,” Android
                       Android Developers
                                  Developers Blog,
                                              Blog, October
                                                     October 21,
                                                              21, 2021,
                                                                   2021, https://android-
                                                                          https://android-
developers.googleblog.com/2021/10/evolving-business-model.html ("The
developers.googleblog.com/2021/10/evolving-business-model.html                (“The creativity  and innovation
                                                                                     creativity and innovation from
                                                                                                                from
developers around
developers     around the
                       the world
                            world spurred
                                   spurred amazing
                                            amazing new
                                                      new app
                                                           app experiences
                                                               experiences we we could  have never
                                                                                  could have  never imagined
                                                                                                    imagined when
                                                                                                               when
we first
we         introduced Android.
     first introduced   Android. AsAs the
                                       the ecosystem
                                           ecosystem evolved,
                                                       evolved, aa wider
                                                                   wider range   of business
                                                                          range of  business models
                                                                                             models emerged
                                                                                                      emerged to
                                                                                                               to
support these
support    these different   types of
                  different types  of apps.
                                      apps. We've
                                            We've made
                                                   made important
                                                          important changes
                                                                      changes along
                                                                                along the
                                                                                      the way,
                                                                                          way, including
                                                                                                including moving
                                                                                                           moving
beyond aa "one
beyond       “one size
                   size fits all” service
                        fits all" service fee model to
                                          fee model  to ensure all types
                                                        ensure all  types of
                                                                          of businesses
                                                                             businesses can
                                                                                         can be
                                                                                              be successful.
                                                                                                 successful. Instead
                                                                                                             Instead
of aa single
of    single service
              service fee,   we now
                       fee, we   now have
                                      have multiple
                                            multiple programs
                                                     programs designed
                                                               designed to to support
                                                                              support and
                                                                                       and encourage
                                                                                           encourage our
                                                                                                       our diverse
                                                                                                           diverse
app ecosystem.”)
app   ecosystem.")
132
132
         GOOG-PLAY-000568027 at
         GOOG-PLAY-000568027 at 028.
                                028.
133
133      See EPIC_GOOGLE_01413875
         See EPIC                 at 877
                  GOOGLE 01413875 at 877 ((

                                                     ).
                                                     ).
134
134
         See
         See Samsung
              Samsung Galaxy   terms and
                        Galaxy terms and conditions
                                         conditions 2014,
                                                    2014,
https://seller.samsungapps.com/notice/getNoticeDetail.as?csNoticeID=0000002677; Samsung
https://seller.samsungapps.com/notice/getNoticeDetail.as?csNoticeIDA000002677;          Galaxy
                                                                                Samsung Galaxy
terms and
terms  and conditions,
            conditions, 2019,
                        2019,
https://seller.samsungapps.com/notice/getNoticeDetail.as?csNoticeID=0000004278; GOOG-PLAY-
https://seller.samsungapps.com/notice/getNoticeDetail.as?csNoticelD=000004278;  GOOG-PLAY-
000561051.R at
000561051.R     at 019.R;
                   019.R;


                                                                                                                  42
                                                                                                                  42
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 495 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      service fee rates for particular types of apps, particular developers, and particular kinds of
      developers.
123. As described above, the LRAP program introduced in 2016 reduced the service fee rate
   for subscription video apps, such as                         from 30% to 15%.135
124. Likewise, the ADAP program reduced service fee rates for audio and music app
   developers, but not for travel apps, game apps, or any other app category.136
125. In 2018, Google reduced the service fee rate for subscription IAPs to 15% after a
   consumer subscribes for one year, but this reduction did not apply to pay-to-download apps
   or to non-subscription IAPs.137 Similarly, the SwG program reduced the service fee rate to
   15% for all news subscriptions. For example, as shown below in Figure 3, the effective
   service fee rate for                     app fell from 30% to about % after December
   2017 due to the 2018 service fee rate reduction, and then fell to % due to the SwG
   program.




135
135       See GOOG-PLAY-000604733 at
          See GOOG-PLAY-000604733         at 738;  GOOG-PLAY-001291192
                                             738; GOOG-PLAY-00          at -208.
                                                                1291192 at -208. Exhibit
                                                                                 Exhibit 8
                                                                                         8 provides
                                                                                           provides aa
list
list of the developers
     of the            associated with
            developers associated with five  of these
                                       five of  these programs.
                                                      programs.
136
136
         See  GOOG-PLAY-000604733 at
         See GOOG-PLAY-000604733  at 738.
                                     738. Exhibit
                                          Exhibit 8
                                                  8 provides
                                                    provides aa list of the
                                                                list of the developers associated with
                                                                            developers associated with
five of these
five of these programs.
              programs.
137
137      “Google Play
         "Google   Play Lowers
                         Lowers App
                                  App Subscription
                                      Subscription Fee
                                                    Fee to
                                                        to 15
                                                           15 Percent,
                                                              Percent, Matches
                                                                       Matches Apple's
                                                                                 Apple's Offering,"
                                                                                           Offering,” Gadgets
                                                                                                      Gadgets
360, October
360, October 20,
               20, 2017,
                   2017, https://gadgets.ndtv.com/apps/news/google-play-app-subscription-fee-30-percent-
                          https://gadgets.ndtv.com/apps/news/google-play-app-subscription-fee-30-percent-
to-XX-XXXXXXX, accessed
to-XX-XXXXXXX,    accessed November
                            November 8,8, 2021.
                                          2021. Google's
                                                Google’s subscription
                                                           subscription fee rate reduction
                                                                        fee rate             followed Apple's
                                                                                 reduction followed   Apple’s
2016 rate
2016  rate reduction
           reduction onon subscriptions.
                          subscriptions. See Fingas, Roger,
                                         See Fingas, Roger, "Apple
                                                             “Apple announces
                                                                      announces it   will offer
                                                                                  it will offer App
                                                                                                App Store
                                                                                                    Store
subscriptions to
subscriptions  to all
                  all apps,
                      apps, take
                            take smaller
                                 smaller 15%
                                         15% cut,"
                                              cut,” Apple
                                                    Apple Insider,  June 8,
                                                           Insider, June 8, 2016,
                                                                            2016,
https://appleinsider.com/articles/16/06/08/apple-announces-it-will-offer-app-store-subscriptions-take-
https://appleinsider.com/articles/16/06/08/apple-announces-it-will-offer-app-store-subscriptions-take-
smaller-15-cut, accessed
smaller-15-cut,  accessed November
                            November 8,8, 2021.
                                          2021.
                                                                                                          43
                                                                                                          43
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 496 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY




126.      Similarly, the Apps Velocity Program and Project Hug program offered bespoke services
      to certain targeted developers, but not all developers. By 2021, Project Hug had signed
      targeted developers, accounting for about        of Google Play consumer spend worldwide.I38
127. Figure 4 shows the distribution of service fee rates for the 7,291 putative developer class
   members that had paid download, subscription, or TAP sales in Google Play and an average
   annual service fee rate greater than zero percent in every year from 2017 through 2021.
   Figure 4 shows that when Google reduced service fee rates, it did so for only certain
   developers.139




138
138
        GOOG-PLAY-001291192; GOOG-PLAY-006998204R
        GOOG-PLAY-001291192;  GOOG-PLAY-006998204R at
                                                    at 206.R (2021 deck
                                                       206.R (2021 deck showing
                                                                        showing that
                                                                                that Hug
                                                                                     Hug
apps accounted
apps accounted for
               for of Play
                   of Play spend);
                           spend); GOOG-PLAY-000236162.
                                   GOOG-PLAY-000236162.
139
139      See Exhibit 26
         See Exhibit  26 showing   the percentages
                         showing the   percentages for  all putative
                                                    for all putative class
                                                                     class developers with an
                                                                           developers with an average
                                                                                              average annual
                                                                                                       annual
service fee
service fee rate greater than
            rate greater than zero
                              zero percent
                                    percent in
                                            in any
                                               any year
                                                   year between
                                                         between 2017
                                                                   2017 and
                                                                         and 2021
                                                                             2021 in
                                                                                  in which
                                                                                     which they
                                                                                            they had
                                                                                                 had sales
                                                                                                     sales in
                                                                                                           in
Google Play.
Google  Play.
                                                                                                            44
                                                                                                            44
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 497 of 667
                        HIGHLY CONFIDENTIAL
                        HIGHLY CONFIDENTIAL —
                                            – ATTORNEYS'
                                              ATTORNEYS’ EYES
                                                         EYES ONLY
                                                              ONLY




128. When other app stores reduced service fee rates, those reductions were generally limited
   to a targeted set of developers or apps as well. Exhibit 28 provides a summary of app stores'
   rate reductions and shows that in nearly all instances, when an app store has reduced service
   fee rates, it did so for a certain set of developers or apps, not all developers and apps.
129. There are two instances in which an app store reduced service fee rates for all apps;
   however, both of those cases contradict Plaintiffs' claims about the but-for world. In July
   2018, ONE store, an Android app store in South Korea, reduced its 30% service fee rate to
   20% for all developers and to 5% for any developer that used the developer's own payment
   processing system.14° Although Dr. Singer claims that ONE store was able to "overcome the
   prohibitive restrictions on competition imposed by Google," and obtain 14.9% of payment
   volume, ONE store's rate reduction did not lead Google Play or other app stores to reduce




140
140
          ONE store
          ONE         Introduction, ONE
                store Introduction,  ONE store   Corp. January
                                           store Corp.  January 2020   at p.
                                                                 2020 at  p. 9,
                                                                             9,
https://dev.onestore.co.kr/devpoc/static-res/files/ONEstoreIntro_dev_en.pdf,
https://dev.onestore.co.kr/devpoc/static-res/files/ONEstoreIntro                     accessed November
                                                                       dev en.pdf, accessed     November 8,  8, 2021.
                                                                                                                2021.
ONE    store entered  the app distribution business  in  Korea  in June 2016,   when  three  app stores,
ONE store entered the app distribution business in Korea in June 2016, when three app stores, operated    operated
by three
by three telecom
          telecom companies
                    companies in
                               in Korea
                                   Korea —
                                         – SK
                                            SK Telecom,
                                                Telecom, KT KT and
                                                                and LG
                                                                    LG —– integrated
                                                                           integrated their
                                                                                       their stores
                                                                                             stores and  rebranded
                                                                                                    and rebranded
as ONE
as ONE store.
          store. In  2020, ONE
                 In 2020,  ONE store   described itself
                                 store described  itself as an "Android-based
                                                         as an “Android-based distribution
                                                                                 distribution platform
                                                                                               platform which
                                                                                                          which
provides mobile
provides   mobile apps,
                   apps, games,
                          games, eBook
                                 eBook content,
                                         content, and   physical goods.”
                                                   and physical   goods." Since   2016, it
                                                                            Since 2016,  it has
                                                                                            has been
                                                                                                been pre-installed
                                                                                                      pre-installed
on almost
on almost all
            all Android
                Android phones
                          phones in
                                 in Korea.
                                    Korea. ONE
                                            ONE store
                                                  store Introduction,   ONE store
                                                         Introduction, ONE          Corp. January
                                                                              store Corp.   January 2020
                                                                                                     2020 at  pp. 3-
                                                                                                           at pp. 3-
5, 9, https://dev.onestore.co.kr/devpoc/static-res/files/ONEstoreIntro
5, 9, https://dev.onestore.co.kr/devpoc/static-res/files/ONEstoreIntro_dev_en.pdf,
                                                                             dev en.pdf, accessed     November 8,
                                                                                           accessed November      8,
2021.
2021.

                                                                                                                  45
                                                                                                                  45
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 498 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      service fees across the board (even in South Korea).141 This undermines Plaintiffs' experts'
      assumption that more successful alternative app stores would result in across-the-board
      reductions in service fees. Further, in 2018, the Epic Game Store entered app distribution for
      PC Games with a service fee rate of 12%. The Epic Game Store's service fee rate was and
      continues to be lower than the rates of many other app stores.142 The entry of the Epic Game
      Store did not lead to reduced service fee rates for all developers, or all game developers, or
      even all developers of PC games.143 In the limited instances where an app store has offered
      lower rates to all developers, other app stores, including Google Play, did not respond in kind
      to the lower rates.144
                         2. Not All Developers Would Pay Less If Developers Could Separately
                            Contract with Payment Processors
130. Plaintiffs' claim that all developers would pay less because, in the but-for world, some
   developers would opt out of Google Play Billing ("GPB") and independently contract with
   alternative payment processing services does not consider that these payment processing
   alternatives likely would have been more costly to many developers.
131. According to Plaintiffs, in the but-for world, other payment processors would provide
   viable billing alternatives to GPB.145 However, for developers that rely primarily on low-

141
141
         Singer   Report at
         Singer Report      at ¶¶196,
                               ¶¶196, 198.
                                         198. In 2020, according
                                              In 2020,   according to
                                                                    to ONE
                                                                       ONE store,
                                                                              store, its
                                                                                     its catalog
                                                                                         catalog consisted  of 20,000
                                                                                                 consisted of  20,000
game titles
game  titles and
              and 200,000
                   200,000 apps.
                              apps. Moreover,
                                       Moreover, very
                                                  very few
                                                         few developers
                                                             developers elected    to use
                                                                           elected to  use their
                                                                                           their own
                                                                                                 own payment
                                                                                                      payment
processing systems;
processing              according to
             systems; according        to ONE
                                          ONE store,
                                               store, in
                                                       in 2020
                                                          2020 —– over
                                                                  over one
                                                                        one year
                                                                             year after
                                                                                  after ONE
                                                                                         ONE store
                                                                                               store reduced
                                                                                                     reduced its
                                                                                                              its rates –
                                                                                                                  rates —
only 30
only 30 titles
         titles used
                used developer
                      developer owned        payment processing.
                                    owned payment       processing. ONE
                                                                     ONE store
                                                                            store Introduction,
                                                                                  Introduction, ONE
                                                                                                  ONE store
                                                                                                        store Corp.
                                                                                                              Corp.
January 2020
January  2020 atat pp.
                    pp. 3,
                        3, 9,  https://dev.onestore.co.kr/devpoc/static-res/files/ONEstoreIntro_dev_en.pdf,
                            9, https://dev.onestore.co.kr/devpoc/static-res/files/ONEstoreIntro          dev en.pdf,
accessed November
accessed   November 8,  8, 2021.
                            2021. Indeed,
                                    Indeed, Google
                                              Google Play's
                                                      Play’s response
                                                              response toto ONE
                                                                            ONE store
                                                                                  store apparently
                                                                                         apparently was
                                                                                                     was to
                                                                                                          to offer
                                                                                                             offer
individual   developers special
individual developers                terms through
                           special terms    through its  Project Hug
                                                     its Project  Hug and
                                                                       and to
                                                                            to offer
                                                                               offer particular
                                                                                     particular consumers
                                                                                                 consumers special
                                                                                                             special
terms through
terms through itsits Play
                     Play Points
                           Points program.
                                    program. See    e.g., Singer
                                                See e.g.,          Report at
                                                           Singer Report   at ¶248
                                                                              ¶248 ("Google
                                                                                    (“Google next
                                                                                                next deployed
                                                                                                     deployed the
                                                                                                                the Play
                                                                                                                    Play
Points program
Points program in  in response
                      response to to the
                                      the ONE
                                          ONE store's
                                                store’s entry
                                                         entry in Korea.”); GOOG-PLAY-000953420R
                                                               in Korea.");   GOOG-PLAY-000953420R —          – 22,38,40,
                                                                                                                22,38,40,
60; GOOG-PLAY 000365029;
60; GOOG-PLAY          000365029; GOOG-PLAY-000005203-
                                        GOOG-PLAY-000005203- 08;      08; GOOG-PLAY-003332070-081.
                                                                            GOOG-PLAY-003332070-081.
142
142
          https://www.epicgames.com/store/en-US/news/the-epic-games-store-is-now-live
          https://www.epicgames.com/store/en-US/news/the-epic-games-store-is-now-live
143
143
          Steam,  another PC
          Steam, another    PC game
                                 game store,
                                        store, reduced
                                               reduced its   rates aa month
                                                         its rates    month prior
                                                                              prior to
                                                                                     to the
                                                                                        the entry   of the
                                                                                             entry of   the Epic
                                                                                                             Epic Game
                                                                                                                   Game
Store.  https://www.theverge.com/2018/11/30/18120577/valve-steam-game-marketplace-revenue-split-
Store. https://www.theverge.com/2018/11/30/18120577/valve-steam-game-marketplace-revenue-split-
new-rules-competition.. Even
new-rules-competition..       Even if   Steam’s rate
                                     if Steam's   rate reductions
                                                       reductions were
                                                                     were in  anticipation of
                                                                          in anticipation     of Epic
                                                                                                 Epic Game
                                                                                                        Game Store’s      entry,
                                                                                                                Store's entry,
rates to
rates to all
         all Steam
             Steam developers
                    developers werewere not
                                          not reduced.
                                              reduced. In    fact, Steam
                                                         In fact,          reduced rates
                                                                   Steam reduced             only to
                                                                                      rates only   to relatively
                                                                                                       relatively large
                                                                                                                   large
developers but
developers   but maintained
                 maintained its     30% rate
                                its 30%   rate for  developers that
                                               for developers    that generated
                                                                       generated less
                                                                                   less than
                                                                                         than $10    million in
                                                                                               $10 million        consumer
                                                                                                               in consumer
spend. Moreover,
spend.  Moreover, thethe Epic
                         Epic Game
                                Game Store     has not
                                        Store has   not been
                                                        been particularly
                                                               particularly successful.
                                                                             successful. See See e.g.,
                                                                                                  e.g.,
https://www.polygon.com/2019/4/5/18295833/epic-games-store-controversy-explained ("Some
https://www.polygon.com/2019/4/5/18295833/epic-games-store-controversy-explained                            (“Some PCPC
gaming fans
gaming         are grousing
          fans are grousing at at having
                                  having toto navigate
                                              navigate aa new
                                                          new store    and install
                                                                store and           new software
                                                                            install new    software if if they
                                                                                                          they want
                                                                                                                want to
                                                                                                                      to play
                                                                                                                         play
certain games.
certain  games. Some
                 Some blanch
                         blanch atat Epic's
                                     Epic’s comparatively
                                              comparatively thin
                                                               thin store
                                                                     store software
                                                                           software andand how
                                                                                            how the
                                                                                                  the company
                                                                                                        company is is using
                                                                                                                      using its
                                                                                                                              its
Fortnite windfall
Fortnite   windfall to
                    to lock
                       lock upup store-exclusive
                                  store-exclusive games.      Others have
                                                     games. Others     have convinced
                                                                             convinced themselves
                                                                                           themselves that that Epic,
                                                                                                                Epic, its  CEO
                                                                                                                      its CEO
Tim
Tim Sweeney,     and its
      Sweeney, and    its Chinese
                          Chinese investor
                                     investor Tencent    are up
                                                Tencent are   up to
                                                                  to something
                                                                     something sinister.
                                                                                  sinister. Epic
                                                                                             Epic itself
                                                                                                    itself admits
                                                                                                            admits that
                                                                                                                    that the
                                                                                                                          the
storefront launched
storefront  launched inin aa half-baked
                             half-baked state.").
                                           state.”). See  Exhibit 28.
                                                     See Exhibit    28.
144
144
       According to
       According to Dr.
                    Dr. Singer,
                        Singer, ONE store has
                                ONE store  has "overcome
                                               “overcome the
                                                         the prohibitive
                                                             prohibitive restrictions
                                                                         restrictions to
                                                                                      to competition
                                                                                         competition
imposed by
imposed by Google."
           Google.” See
                    See Singer  Report at
                         Singer Report at ¶198.
                                          ¶198.
145
145
        Consumers identify
        Consumers           PayPal, Stripe,
                   identify PayPal, Stripe, and
                                            and Intuit.
                                                Intuit. Developers
                                                        Developers identify PayPal, Stripe,
                                                                   identify PayPal, Stripe, Square, and
                                                                                            Square, and
Braintree. See
Braintree.     Consumer Complaint
           See Consumer  Complaint at
                                    at ¶10;
                                       ¶10; Developer
                                            Developer Complaint
                                                        Complaint at
                                                                   at ¶¶206,
                                                                      ¶¶206, 236.
                                                                             236.

                                                                                                                              46
                                                                                                                              46
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 499 of 667
                       HIGHLY CONFIDENTIAL
                       HIGHLY CONFIDENTIAL —
                                           – ATTORNEYS'
                                             ATTORNEYS’ EYES
                                                        EYES ONLY
                                                             ONLY


    priced app transactions, these alternatives could be more expensive, not less expensive.
    Table 4 shows that various payment processors' rates include not only a fee based on the
    percentage of the value of the transaction, but also a fixed charge for each transaction. For
    example, PayPal, Braintree, Square, and Stripe include a percentage fee plus a fixed charge
    of $0.15 to $0.49.
Table
Table 4. Fees for
      4. Fees for Payment
                  Payment Processing
                          Processing Service
                                     Service Providers, 2021
                                             Providers, 2021



          Payment Processing Service Provider                  Base Rate (U.S.)
          PayPal                                               2.59% + $0.49 [online card]
                                                               3.49% + $0.49 [digital paynrents]
          Braintree (owned by Pay Pal)                         2.59% + $0.49

          Stripe                                               2.9% + $0.30

          Square                                               2.9% + $0.30 [card not present]
                                                               3.5% + $0.15 [card on file]
Source:
Source:
    Exhibit 29.
    Exhibit 29.

132. Payment processors' cost to developers can be substantially higher than 30% of the value
   of the transaction for developers with low prices. For example, a developer with a $0.99 price
   that used PayPal would pay $0.49 plus 2.59% of the price. The total cost is $0.52 or 52% of
   the value of the transaction — substantially higher than Google Play's 30% (or 15%) rate.
   Similarly, a developer with a $1.99 price would pay $0.49 plus 2.59% of $1.99. The total
   cost is $0.54 or 27%. Figure 5 illustrates that the effective rate of many payment processors
   for low price points either exceeds or is close to Google Play's 30% (or 15%) rate.
   Individualized inquiry is required to determine which payment processor a developer would
   have selected in a but-for world based on its transaction mix and thus to determine costs in a
   but-for world for each developer.




                                                                                                   47
                                                                                                   47
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 500 of 667
                       HIGHLY CONFIDENTIAL
                       HIGHLY CONFIDENTIAL —
                                           – ATTORNEYS'
                                             ATTORNEYS’ EYES
                                                        EYES ONLY
                                                             ONLY


Figure 5.
Figure 5.         Effective Payment
                  Effective Payment Processing Rates of
                                    Processing Rates of Alternative
                                                        Alternative Processors at Low
                                                                    Processors at Low Price
                                                                                      Price Points
                                                                                            Points
                           Processing Rate for $1.99         Processing Rate for $0.99


            Square, Card On File               11%
                                                        19%


     Square, Card Not Present                          18%
                                                                          33%


                          Stripe                       18%
                                                                          33%


  Braintree (owned by PayPal)                                      27%
                                                                                               52%


      PayPal, Digital Payments                                      28%
                                                                                               53%


            PayPal, Online Card                                    27%
                                                                                               52%

                                   0%      10%         20%          30%         40%      50%         60%

Source:
Source:
    Exhibit 30.
    Exhibit 30.



133. Moreover, a developer that opted out of GPB would additionally have to incur costs for
   the other services that Google provides, such as customer service, subscription management,
   and management of billing disputes. The developer would incur the costs associated with
   integrating those features into any alternative payment processing system, possibly leading to
   further increases in the developer's costs and reducing its profits. Plaintiffs' experts have not
   accounted for these costs, which are specific to each app. For $1.99 apps, adding these costs
   to payment processing costs, could make the developer worse off in a but-for world.
134. A substantial percentage of putative developer class members set prices at $0.99 and
   $1.99. Figure 6 shows that 22% only sell apps, subscriptions, or 1APs at $0.99, and 36% of
   putative developer class members sell at $1.99 or lower.




                                                                                                           48
                                                                                                           48
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 501 of 667
                                          – ATTORNEYS'
                      HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


Figure 6.        Percentage of Putative Developer Class Members Offering Apps, Subscriptions, and IAPs at
Low Price Points, August 2016 —– July 3, 2021

                                                                Price is $0.99

                                                          22%



      Other Prices

                              64%
                                                                       Prices above S0.99
                                                                       to S1.99


Source:
      Exhibit 31.
135. Other payment processors likely would not be an economically viable option for
   developers that sell at (or mostly at) low price points. In the but-for world, those developers
   likely would not have obtained lower service fee rates by independently contracting with a
   payment processor, so there would have been no economic reason for Google to reduce its
   service fee for these developers based on developers' ability to process payments through
   another processor.146 Given that those developers did not obtain a lower rate in the but-for
   world, they would not be impacted and have suffered no injury. In addition, developers that
   did not pay lower fees would not lower prices, so consumers who purchased from these
   developers would not be impacted and have suffered no injury. As shown in Figure 6, these
   potentially uninjured developers constitute between 22% and 36% of the proposed developer
   class.
136. In addition, because those developers would not have a lower service fee, there is no
   alleged overcharge to "pass through" to consumers — meaning that members of the proposed
   consumer class who purchased apps, subscriptions, or IAPs at low price points could not
   have been impacted, either.
137. Because some developers that sell apps, subscriptions, and IAPs at $0.99 or $1.99 also
   sell other apps, subscriptions, and IAPs at higher prices, determining whether a developer's
   service fees would have been lower with alternative payment processors requires analyzing

146
146
        Other alternative
        Other  alternative payment
                           payment processors
                                   processors could
                                              could have
                                                    have higher
                                                         higher fees
                                                                fees than
                                                                     than Google
                                                                          Google Play.
                                                                                 Play. Class
                                                                                       Class
representative Pure
representative Pure Sweat
                     Sweat Basketball
                            Basketball used
                                       used




                                                                                                      49
                                                                                                      49
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 502 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      the relative volumes of sales at the lower price points and the higher price points. For
      example, in the actual world, a developer that sold 800 IAPs at $0.99 and 200 IAPs at $3.99
      would have higher payment processing costs if PayPal processed the developer's payments
      as compared to Google Play. The developer's payment processing costs would have been the
      total of its costs of processing the 800 transactions at the $0.99 price and the costs of
      processing the 200 transactions at the $3.99 price ($531.18) divided the developer's revenue
      from all of transactions ($1590) — or 33%.147 Therefore, for developers that sell apps,
      subscriptions, or IAPs at price points both below and above $1.99, determining antitrust
      impact would require an individualized analysis for each developer to determine if the
      developer would have been better or worse off in a but-for world.
             B. No COMMON PROOF OF LOWER PRICES FOR APPS, SUBSCRIPTIONS, AND IAPs
                IN THE BUT-FOR WORLD
138. Whether any individual consumer or developer experienced antitrust impact depends on
   the prices of apps, subscriptions, and/or IAPs in the but-for world.
139. For consumers, a service fee rate reduction must lead to price reductions to them,
   otherwise there is no antitrust impact. But even if all service fee rates were lower in the but-
   for world, it is not the case that all app, subscription, and IAP prices would have been lower.
   Differences in cost conditions for different apps, differences in the demand elasticities for
   different apps, and differences in app developers' pricing strategies indicate that many
   developers would not charge lower retail prices for apps, subscriptions, and IAPs in a but-for
   world with uniformly lower service fees.
140. If a service fee rate reduction led to lower prices, one must assess the consequences of
   that lower price for the developer's profits to determine whether the developer experienced
   an antitrust impact. A developer could reduce its prices in response to a service fee rate
   reduction or in response to a price reduction by a substitute app. In either case, to determine
   impact, the effects of the lower retail prices on the developer's profits must be considered.
141. A developer's decision to reduce retail prices when the service fee rate is lower depends
   on at least three factors: (i) the marginal costs of distributing the developer's apps, (ii) the
   developer's pricing strategy, and (iii) the developer's price elasticity of demand. Because
   these factors vary by developer and by app, determining whether a retail price is lower in the
   but-for world necessarily requires individualized inquiry.148

147
147
         PayPal’s payment
         PayPal's  payment processing
                           processing costs  under this
                                       costs under  this scenario
                                                         scenario would
                                                                  would be
                                                                         be about
                                                                            about 33%
                                                                                   33% ofof the
                                                                                            the developer's
                                                                                                developer’s
gross revenue.
gross revenue. See
                See Table 4 for
                    Table 4 for PayPal's
                                PayPal’s costs.
                                          costs. Applying
                                                 Applying PayPal's
                                                           PayPal’s base
                                                                     base rate
                                                                          rate for
                                                                               for online
                                                                                   online credit
                                                                                          credit and
                                                                                                 and debit
                                                                                                      debit
card transactions,
card transactions, the
                   the developer's
                       developer’s gross
                                   gross revenue
                                         revenue is
                                                  is $1590.00
                                                     $1590.00 (=
                                                               (= 800
                                                                  800 ** $0.99
                                                                         $0.99 ++ 200
                                                                                  200 ** $3.99).
                                                                                         $3.99). The  payment
                                                                                                 The payment
processing costs
processing        are $531.18
            costs are $531.18 =
                              = (2.59%*$0.99
                                (2.59%*$0.99 +  + $0.49)
                                                  $0.49) ** 800
                                                            800 +
                                                                + (2.59%
                                                                  (2.59% ** $3.99
                                                                            $3.99 ++ $0.49)
                                                                                     $0.49) *   200, which
                                                                                              * 200, which is
                                                                                                            is
about  33%  of gross revenues.
about 33% of gross revenues.
148
148
         See Deposition of
         See Deposition of Adam
                           Adam Sussman, January 7,
                                Sussman, January    2022, ("Sussman
                                                 7, 2022, (“Sussman Dep.")
                                                                    Dep.”) at
                                                                           at pp.
                                                                              pp. 263-265
                                                                                  263-265




                                                                                                            50
                                                                                                            50
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 503 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


                        1.    Developers' Marginal Costs
142. Developers vary in terms of whether their apps have a positive marginal cost or marginal
   cost close to zero. This is relevant to a determination of impact because the type of economic
   models that for example, Dr. Singer relies on show that a service fee rate change depends in
   part on whether the developer's apps have a positive marginal cost or marginal cost close to
   zero.149 The models show that if an app has zero (or close to zero) marginal cost, a reduction
   in the service fee rate will be less likely to lead to a change in the retail price of the app. In
   economic models of profit-maximization, a developer considers marginal cost and marginal
   revenue to determine the optimal price and quantity. If marginal cost is zero, profit
   maximization is equivalent to revenue maximization because costs do not play a role. That
   is, the profit-maximizing price of the app is also the revenue-maximizing price of the app.
   Under these conditions, the price that maximizes 70% of revenue will also maximize 85% of
   revenue (or any percent of revenue).15° This also applies with regard to subscription prices or
   IAP prices.
143. For some apps, subscriptions, and IAPs, marginal costs are likely to be zero or close to
   zero.151 The cost of producing (e.g., creating) and distributing are incurred for a single
   consumer to download or purchase, but do not change as more consumers download or
   purchase it. Thus, the marginal cost of the app, subscription, or IAP is zero. Therefore, a
   change in the service fee would likely have little or no effect on the price charged to
   consumers.
144. However, some apps have positive marginal costs. Apps that provide licensed content to
   consumers may incur incremental costs as more consumers access the content. Music
149
149
         Singer Report at
         Singer Report at ¶225.
                          ¶225.
150
150
          See e.g.,  Liobet, Gerard
               e.g., Liobet,  Gerard and
                                       and Jorge
                                           Jorge Padilla,
                                                    Padilla, "The
                                                              “The Optimal
                                                                     Optimal Scope
                                                                               Scope ofof the
                                                                                          the Royalty
                                                                                                Royalty Base
                                                                                                          Base in
                                                                                                                in Patent
                                                                                                                   Patent
Licensing,” Journal
Licensing,"    Journal ofof Law
                            Law & & Economics,
                                     Economics, Vol.Vol. 59,   No. 1,
                                                           59, No.  1, 2016,
                                                                       2016, pp.
                                                                              pp. 45-73
                                                                                   45-73 at
                                                                                          at 53   (“The case
                                                                                              53 ("The         in which
                                                                                                          case in which cc ==
0 is particularly
0  is particularly illuminating
                    illuminating ofof the
                                      the different
                                          different effects    at work...Under
                                                       effects at work…Under ad     ad valorem
                                                                                       valorem royalties,
                                                                                                  royalties, however,
                                                                                                              however, there
                                                                                                                         there
is no
is  no conflict
       conflict between
                between thethe innovator   and the
                                innovator and    the producer,
                                                       producer, since
                                                                  since both
                                                                         both firms
                                                                               firms are
                                                                                      are interested
                                                                                          interested in    maximizing total
                                                                                                        in maximizing    total
revenue. Hence,
revenue.   Hence, no no matter
                        matter how
                                 how large
                                      large ss is,
                                               is, the
                                                   the downstream
                                                        downstream producer
                                                                       producer always
                                                                                  always chooses
                                                                                           chooses thethe monopoly
                                                                                                           monopoly price.
                                                                                                                      price.
In  other words,
In other   words, there
                   there is
                          is no  pass-through of
                             no pass-through     of aa higher  ad valorem
                                                       higher ad  valorem royalty     into aa higher
                                                                             royalty into      higher price.");
                                                                                                       price.”); Kobayashi,
                                                                                                                 Kobayashi,
Bruce H.
Bruce   H. and
            and Joshua
                 Joshua D.D. Wright,
                             Wright, "What's
                                       “What’s NextNext in   Apple Inc.
                                                          in Apple  Inc. v.
                                                                         v. Pepper?
                                                                             Pepper? The     Indirect-Purchaser Rule
                                                                                       The Indirect-Purchaser       Rule and
                                                                                                                          and
the Economics
the   Economics ofof Pass-Through,"
                       Pass-Through,” Cato      Supreme Court
                                         Cato Supreme              Review, 2018,
                                                            Court Review,     2018, pp.
                                                                                     pp. 249-269
                                                                                         249-269 at  at 262  (“To the
                                                                                                        262 ("To   the extent
                                                                                                                       extent
that the
that  the marginal
          marginal costs
                      costs of
                            of producing
                               producing and
                                           and distributing
                                                 distributing another
                                                                another copy
                                                                          copy ofof the
                                                                                    the app
                                                                                        app isis zero,
                                                                                                 zero, the
                                                                                                       the theoretical
                                                                                                            theoretical
calculation of
calculation   of the
                 the markup
                      markup isis far
                                  far from   complex—it is
                                      from complex—it           simple. And
                                                             is simple.  And the
                                                                               the effect
                                                                                    effect of
                                                                                           of the
                                                                                                the Apple
                                                                                                    Apple 3030 percent
                                                                                                               percent ad
                                                                                                                        ad
valorem royalty
valorem             on the
           royalty on   the optimal
                            optimal price
                                      price set
                                            set by
                                                 by the
                                                      the app
                                                          app developer
                                                               developer isis zero.").
                                                                              zero.”).
151
151
          Marginal costs
          Marginal         of digitally
                     costs of digitally distributed   products are
                                         distributed products     are sometimes
                                                                      sometimes assumed
                                                                                    assumed to to be
                                                                                                  be zero
                                                                                                     zero inin the
                                                                                                                the
economic literature.
economic    literature. See
                        See e.g.,
                             e.g., Weber,
                                   Weber, Thomas
                                            Thomas A., A., "Delayed
                                                           “Delayed Multi-Attribute
                                                                        Multi-Attribute Product
                                                                                           Product Differentiation,"
                                                                                                     Differentiation,”
Decision Support
Decision   Support Systems,
                     Systems, Vol.
                                Vol. 44,
                                     44, 2008,
                                          2008, pp.
                                                 pp. 447-468
                                                      447-468 at at pp.
                                                                    pp. 447,
                                                                        447, 451
                                                                               451 ("Information
                                                                                   (“Information goods
                                                                                                    goods suchsuch asas
computer software
computer              or electronic
            software or  electronic newspapers
                                     newspapers can can be
                                                         be provided
                                                             provided by by firms  at aa low
                                                                            firms at     low marginal
                                                                                              marginal cost,
                                                                                                        cost, though
                                                                                                                 though in in
many   cases  large  capital outlays  are required   to produce    their first unit….    Throughout   most
many cases large capital outlays are required to produce their first unit.... Throughout most of this paper    of this  paper
we consider
we  consider information
               information goods     with zero
                             goods with    zero marginal
                                                marginal cost,     which simplifies
                                                            cost, which    simplifies the
                                                                                        the closed-form    solutions. …
                                                                                            closed-form solutions.        ...
For information
For  information goods,
                   goods, the
                           the costs
                                costs of
                                      of reproduction
                                         reproduction andand distribution
                                                              distribution are
                                                                             are indeed    very small,
                                                                                  indeed very    small, so   that this
                                                                                                        so that    this has
                                                                                                                         has
become aa standard
become      standard assumption
                      assumption in in much
                                       much of of the
                                                  the extant  literature.”); Lambrecht,
                                                      extant literature.");    Lambrecht, Anja,
                                                                                             Anja, et
                                                                                                   et al.,
                                                                                                      al., "How
                                                                                                           “How do   do firms
                                                                                                                         firms
make money
make   money selling
                selling digital  goods online?"
                        digital goods   online?” Marketing
                                                   Marketing Letters,
                                                                Letters, Vol.
                                                                          Vol. 25,
                                                                                25, No.
                                                                                     No. 3,
                                                                                          3, 2014,
                                                                                             2014, pp.
                                                                                                    pp. 331-341
                                                                                                        331-341 at   at 331
                                                                                                                        331
(“Such [digital]
("Such   [digital] goods
                   goods are
                          are non-rival,
                              non-rival, have
                                           have near
                                                 near zero
                                                       zero marginal
                                                             marginal cost
                                                                         cost of
                                                                               of production
                                                                                  production andand distribution,
                                                                                                    distribution, low low
marginal cost
marginal         of consumer
           cost of  consumer search    and low
                                search and        transaction costs.").
                                             low transaction    costs.”).

                                                                                                                           51
                                                                                                                           51
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 504 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      streaming developers, such as Spotify, may incur the marginal cost associated with licensing
      fees paid to record labels and music publishers. According to Spotify, it was forced to raise
      its prices in response to Apple's service fee rates and when it did so, its relative price
      increased — compared to Apple's price, and the demand for its app service fe11.152 Other
      types of apps that rely on licensed content and pay licensing fees that depend on the usage of
      the app would also have positive marginal costs. For example, some games incorporate
      music and the developers of those games may pay music licensing fees each time a consumer
      downloads the app and listens to the music.153
145. Another example is weather apps that may have positive marginal costs because as more
   consumers in new locations demand weather-related information, the cost of obtaining the
   information increases.154 Some apps may rely on licensed intellectual property and licenses
   may be based on a per consumer or per transactions basis. Determining which apps have
   positive marginal cost and which have marginal cost close to zero would require information
   about the content and the structure of the licensing fees paid by the developers.155
146. Other developers may have different types of positive marginal costs.156 For example,
   apps that require processing of consumer information (e.g., usernames and communications
   across consumers) such as multi-player game apps and apps that require relatively high costs
   for customer support157 may have positive marginal costs. As the number of app users
   increases, the processing costs associated with the app increases.


152
152
         Testimony
         Testimony of   of Horacio
                            Horacio Gutierrez
                                      Gutierrez Head
                                                 Head ofof Global
                                                           Global Affairs
                                                                    Affairs &
                                                                            & Chief
                                                                               Chief Legal
                                                                                      Legal Officer,
                                                                                              Officer, Spotify   U.S.
                                                                                                        Spotify U.S.
Senate  Judiciary Committee
Senate Judiciary     Committee Subcommittee
                                    Subcommittee on on Competition
                                                        Competition Policy,
                                                                       Policy, Antitrust,
                                                                               Antitrust, and
                                                                                            and Consumer
                                                                                                 Consumer Rights
                                                                                                             Rights April
                                                                                                                      April
21, 2021
21, 2021 at
          at fn.  13 ("Spotify
              fn. 13   (“Spotify could
                                   could not
                                          not absorb
                                              absorb the
                                                      the IAP
                                                          IAP taxtax without
                                                                     without raising
                                                                             raising its  prices, because
                                                                                      its prices,  because aa large
                                                                                                              large
component of
component    of its
                 its costs   are the
                      costs are  the licensing
                                     licensing fees  paid to
                                                fees paid  to record  labels and
                                                               record labels and music
                                                                                  music publishers.");
                                                                                          publishers.”); id.  at p.
                                                                                                          id. at p. 8.
                                                                                                                     8.
(“Spotify recognized
("Spotify  recognized that that it
                                it could
                                   could not
                                         not compete
                                              compete with
                                                        with Apple's
                                                              Apple’s lower   price and
                                                                        lower price  and inin May
                                                                                              May 2016
                                                                                                    2016 eliminated
                                                                                                          eliminated IAP,
                                                                                                                        IAP,
which required
which  required it it to
                      to forgo
                         forgo any
                                 any in-app  purchases of
                                     in-app purchases    of Premium
                                                            Premium and and any
                                                                            any in-app
                                                                                 in-app upgrades
                                                                                          upgrades from    Free to
                                                                                                     from Free   to
Premium.”). See
Premium.").           also European
                See also    European Commission
                                        Commission Press
                                                       Press Release,
                                                              Release, Antitrust:
                                                                        Antitrust: Commission
                                                                                   Commission sends sends Statement
                                                                                                          Statement of  of
Objections to
Objections   to Apple
                Apple on  on App
                              App Store   rules for
                                    Store rules     music streaming
                                                for music   streaming providers,
                                                                        providers, Brussels,
                                                                                    Brussels, 3030 April
                                                                                                    April 2021
                                                                                                          2021 ("Apple
                                                                                                                 (“Apple
charges app
charges  app developers
               developers aa 30%30% commission
                                      commission fee    on all
                                                    fee on  all subscriptions
                                                                subscriptions bought
                                                                               bought through
                                                                                        through the
                                                                                                  the mandatory
                                                                                                       mandatory IAP.
                                                                                                                    IAP.
The  Commission's investigation
The Commission's        investigation showed
                                        showed that
                                                 that most
                                                      most streaming
                                                             streaming providers
                                                                         providers passed
                                                                                    passed this
                                                                                             this fee on to
                                                                                                  fee on to end   users by
                                                                                                            end users    by
raising prices.").
raising prices.”).
153
153
         Choices: The
         Choices: The Stories  You Play
                      Stories You    Play is
                                          is aa top
                                                top revenue-generating
                                                    revenue-generating app
                                                                       app offered
                                                                           offered by
                                                                                   by Pixelberry
                                                                                      Pixelberry Studios
                                                                                                 Studios that
                                                                                                         that
incorporates music
incorporates  music with
                    with its
                         its stories.
                             stories. See
                                      See
https://play.google.com/store/apps/details?id=com.pixelberrystudios.choices.
https://play.google.com/store/apps/details?id=com.pixelberrystudios.choices.
154
154
         See
         See e.g., https://developer.accuweather.com/packages (showing
             e.g., https://developer.accuweather.com/packages (showing package
                                                                       package pricing
                                                                               pricing for
                                                                                       for Accuweather
                                                                                           Accuweather
APIs).
APIs).
155
155
         See,
         See, for
              for example,
                  example,

                              See also Zynga
                              See also Zynga Inc. Form 10-K,
                                             Inc. Form       2020 at
                                                       10-K, 2020 at p.
                                                                     p. 2
                                                                        2 and
                                                                          and Electronic
                                                                              Electronic Arts
                                                                                         Arts Form
                                                                                              Form 10-K,
                                                                                                   10-K,
2020 at
2020 at pp.
        pp. 3,
            3, 5.
               5.
156
156
        See Ghose, Anindya,
        See Ghose,  Anindya, and
                              and Sang
                                  Sang Pil
                                        Pil Han,
                                            Han, "Estimating
                                                 “Estimating Demand
                                                              Demand for    Mobile Applications
                                                                        for Mobile Applications in
                                                                                                in the
                                                                                                   the New
                                                                                                       New
Economy,” Management
Economy,"   Management Science,
                          Science, Vol.
                                   Vol. 60, No. 6,
                                        60, No. 6, 2014,
                                                   2014, pp.
                                                         pp. 1470-1488
                                                             1470-1488 atat 1481
                                                                            1481 ("Ongoing
                                                                                 (“Ongoing marginal
                                                                                            marginal costs
                                                                                                      costs
for app developers
for app            arise from
        developers arise      various maintenance-related
                         from various maintenance-related tasks
                                                           tasks after
                                                                 after app
                                                                       app development.").
                                                                            development.”).
157
157
         See https://slack.com/help/requests/new
         See https://slack.com/help/requests/new

                                                                                                                         52
                                                                                                                         52
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 505 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


147. Identifying which apps' marginal costs are positive (and not close to zero) requires
   information about each app; one cannot assume that all apps have zero marginal cost or that
   all apps have positive marginal cost. Moreover, identifying the marginal costs associated
   with an app is not always straightforward. Even developers that evaluate costs associated
   with their own businesses sometimes have difficulty in separating costs that are fixed from
   those that vary with output.158 Individualized information and analysis are required to
   determine whether even adeveloper that sets prices based on short-term profit-maximization
   would reduce prices given the claimed lower service fee rate. This requires an app-by-app
   analysis to determine whether any individual developer or consumer suffered antitrust impact
   or injury.
                       2. Developers' Strategy of Setting Prices
                        Prices that
                     i. Prices  that end
                                     end in
                                         in “99”
                                            "99"
148. Another factor that explains why determining prices in the but-for world requires an app-
   by-app inquiry is that developers employ different pricing strategies, including the strategy of
   setting retail prices that end in "99."
149. Many app, subscription, and IAP prices are set to end in "99," such as $0.99, $1.99, and
   $2.99. These price points may influence consumers' perceptions of price and thus affect
   sales.159 Academic studies suggest that some consumers may pay less attention to the
   rightmost two digits of a price, so that a price of $0.99 is perceived to be significantly more
   attractive than $1, even though it is only one cent lower.160 As shown in Figure 7 over the
   period from August 2016 to July 3, 2021, 97% of U.S. consumers' retail app transactions
   were set such that the retail prices ended in "99."




158
158




159
159       See, for example,
          See, for example, Stiving,    Mark and
                              Stiving, Mark   and Russell
                                                   Russell S.
                                                            S. Winer,
                                                                Winer, "An
                                                                        “An Empirical
                                                                              Empirical Analysis
                                                                                           Analysis of   Price Endings
                                                                                                      of Price  Endings
with Scanner
with            Data,” Journal
      Scanner Data,"    Journal of
                                 of Consumer    Research, Vol.
                                    Consumer Research,      Vol. 24,   No. 1,
                                                                  24, No.   1, 1997,
                                                                               1997, pp.
                                                                                       pp. 57-67
                                                                                           57-67 atat 57 (“Managers
                                                                                                      57 ("Managers
apparently set
apparently   set prices
                 prices in
                        in aa manner
                              manner consistent
                                      consistent with
                                                  with the
                                                        the premise
                                                            premise that
                                                                      that the
                                                                           the last
                                                                                last digit
                                                                                     digit of
                                                                                           of aa price
                                                                                                 price has
                                                                                                       has aa significant
                                                                                                              significant
impact   on sales. Several   surveys  on what  price endings    managers   actually   use  have   been
impact on sales. Several surveys on what price endings managers actually use have been conducted, and   conducted,  and
all of
all of these
       these surveys   support the
             surveys support    the premise
                                    premise that
                                             that firms  set prices
                                                  firms set  prices to
                                                                     to appear
                                                                        appear that
                                                                                 that they
                                                                                      they are
                                                                                            are just
                                                                                                 just below
                                                                                                      below aa round
                                                                                                                round
number.”). See
number.").         also Schindler,
              See also              Robert M.
                        Schindler, Robert   M. and
                                                and Patrick
                                                     Patrick N.
                                                              N. Kirby,
                                                                  Kirby, "Patterns
                                                                          “Patterns ofof Rightmost
                                                                                         Rightmost Digits
                                                                                                       Digits Used
                                                                                                              Used inin
Advertised Prices:
Advertised   Prices: Implications
                      Implications for   Nine-Ending Effects,"
                                     for Nine-Ending    Effects,” Journal
                                                                   Journal ofof Consumer     Research, Vol.
                                                                                Consumer Research,        Vol. 24,
                                                                                                                24, No.
                                                                                                                    No. 2,
                                                                                                                        2,
1997, pp.192-201
1997,   pp.192-201 atat 193-194;
                        193-194; Anderson,
                                   Anderson, Eric
                                               Eric and
                                                    and Duncan
                                                         Duncan Simester,      “The Role
                                                                   Simester, "The     Role of
                                                                                            of Price
                                                                                                Price Endings:
                                                                                                       Endings: Why
                                                                                                                  Why
Stores  May Sell
Stores May         More at
              Sell More   at $49  than $44,”
                             $49 than        2000, at
                                       $44," 2000,   at http://ssrn.com/abstract=232542.
                                                        http://ssrn.com/abstract=232542.
160
160
       Bizer, George
       Bizer, George Y.
                      Y. and
                         and Robert
                             Robert M.
                                    M. Schindler,
                                       Schindler, "Direct
                                                  “Direct Evidence
                                                          Evidence of  Ending-Digit Drop-Off
                                                                    of Ending-Digit Drop-Off in
                                                                                             in Price
                                                                                                Price
Information Processing,” Psychology
Information Processing," Psychology &  Marketing, Vol.
                                    & Marketing,  Vol. 22,
                                                       22, No.
                                                           No. 10,
                                                               10, 2005, pp. 771-783
                                                                   2005, pp.         at 771-772.
                                                                             771-783 at 771-772.

                                                                                                                       53
                                                                                                                       53
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 506 of 667
                        HIGHLY CONFIDENTIAL
                        HIGHLY CONFIDENTIAL —
                                            – ATTORNEYS'
                                              ATTORNEYS’ EYES
                                                         EYES ONLY
                                                              ONLY


Figure 7.
Figure 7.         Prices that End
                  Prices that End in
                                  in "99"
                                     “99” as
                                          as aa Percentage
                                                Percentage of
                                                           of U.S. Consumer Transactions
                                                              U.S. Consumer Transactions


                    Prices Not Ending in "99"
                               3%




                                      I
                                              Other
                                             Prices
                                            Ending in
                                               II99tt


                                               36% ii
                                                               L
                                                        Price is
                                                                   4
                                                                       Price is
                                                                       $0.99
                                                                        17%




                                                                        Price is
                                                                        $4.99
                                                                                  Price is
                                                                                  $1.99
                                                                                   14%



                                                        $9.99            18%
                                                         12%

Source:
Source:
    Exhibit 32.
    Exhibit 32.



150. Developers that rely on this strategy to set prices would not reduce prices in response to
   lower service fee rates if the reduction from one price point to the next would be so large that
   the developer would lose profits. For example, if a developer's price is initially set at $1.99
   and a change in some supply or demand factor would lead to a new profit-maximizing price
   of $1.63, a developer that sets prices to end in "99" may elect to keep the price at $1.99
   instead of reducing the price to $0.99 because profits at $1.99 are higher than profits at $0.99
   (and the developer would not want to abandon its pricing strategy and set the price at $1.63).
   Figure 8 below shows the implied percentage reductions from one price point to another for
   prices that range from $5.99 to $0.99. A developer with a price of $5.99 would have to
   reduce prices by 17% to get to the next price point price of $4.99; a developer with a price of
   $1.99 would have to reduce prices by over 50% to get to the next price point of $0.99.
   Absent other competitive pressures, a profit-maximizing developer that found it would be
   worse off by reducing prices from one price point to another would choose not to reduce
   prices at all.




                                                                                                54
                                                                                                54
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 507 of 667
                         HIGHLY CONFIDENTIAL
                         HIGHLY CONFIDENTIAL —
                                             – ATTORNEYS'
                                               ATTORNEYS’ EYES
                                                          EYES ONLY
                                                               ONLY


Figure 8.
Figure 8.           Percent Reductions from
                    Percent Reductions from Price
                                            Price Point to Price
                                                  Point to Price Point
                                                                 Point




                          17%
                            -A,
                                            20%

                                                           25%

                                                                           33%
                                                                                         50%



                                                                                 ICY
                $5.99             $4.99            $3.99         $2.99           $1.99         $0.99


Source:
Source:
      Exhibit 33.
      Exhibit 33.



151. Many app, subscriptions, and IAP prices exhibit the "stickiness" associated with this
   strategy. Across all three of these types of transactions, the prices of 73% of apps,
   subscriptions, and IAPs that appear in the Google Play transactions data for at least one year
   do not ever change.161 This confirms that developers' reliance on this type of pricing strategy
   would inhibit price changes in response to service fee rate changes.
152. Given the prevalence and effect of setting prices to end in "99," an individualized
   assessment of each developer's pricing decisions would be required to understand the actual
   and but-for prices to determine if prices would have been different in the but-for world and if
   a consumer was, in fact, injured.
                      Developers’ Other
                 ii. Developers'          Price Setting
                                   Other Price  Setting Strategies
                                                        Strategies
153. Developers use other price-setting strategies, besides short-term profit maximization. For
   example, Pure Sweat Basketball's decision to lower its monthly subscription price in 2015
   from $29.99 to $9.99 was driven by an attempt
           162 Little Hoots selected its price

                                          163 Rescue Pets sets prices to



161
161
          See this
              this report's
                   report’s production.
                            production.
162
162
                                              ..
163
163



                                                                                                       55
                                                                                                       55
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 508 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


                                                    164 Other developers clearly do not operate
      based on a short-term profit maximization strategy. From the time it initially launched as an
      app, in 2010, until 2013, Instagram generated no revenue from any source. It was only a year
      after it was purchased by Facebook that it began to generate any revenue, which it did
      primarily through advertising.'65
154. Developers' decisions regarding price changes in the but-for world depend on their
   pricing strategies. Given that these strategies vary across developers, an individualized
   analysis of developers is required in order to determine whether a price would have been
   lower in the but-for world and consumers who purchased those developers apps,
   subscriptions, or IAPs were impacted.
                      3. Competitive Conditions Across Apps
155. Another important factor that affects changes in retail prices due to changes in service fee
   rates is the economic relationships between and among apps. Apps are highly differentiated
   products and have complex economic interrelationships. Some apps are substitutes and
   others are complements. If, in response to a service fee rate reduction, some price falls, the
   demand for competing apps would tend to fall, which would put downward pressure on the
   prices of those substitute apps. Developers that face more competition will face more
   pressure to lower prices in response to service fee reductions. Developers that face less
   competition (from substitute apps) will face less pressure to reduce prices. The extent of
   competition can be measured by the price elasticity of demand for the app. An app that faces
   competition from many substitutes will have a more elastic demand than an app without such
   competition.166
156. Determining the price elasticity of demand for an app can be highly complex and
   individualized because apps are highly differentiated products and there can be many
   potential substitutes. U.S. consumers made app, subscription, or IAP purchases from
   465,245 different apps during the class period.167 Moreover, consumers download and use
   many other apps that are free as well as apps that are paid or have subscriptions and IAPs.
   For example, among six of the consumer class representatives (those that have produced

164
164
                                                                                           ..
165
165
         https://www.investopedia.com/articles/investing/102615/story-instagram-rise-1-photo0sharing-
         http s://www.investopedia.com/articlesfinvesting/102615/story-instagram-rise-l-photoOsharing-
app.asp (Instagram
app.asp  (Instagram launched
                      launched in in 2010,  purchased by
                                     2010, purchased   by Facebook
                                                          Facebook in in 2012
                                                                         2012 for   $1 billion
                                                                               for $1  billion in cash and
                                                                                               in cash   and stock);
                                                                                                              stock);
https://www.nytimes.com/2015/06/03/technology/instagram-to-announce-plans-to-expand-
https://www.nytimes.com/2015/06/03/technology/instagram-to-announce-plans-to-expand-
advertising.html (first
advertising.html   (first used  ads in
                          used ads      2013). Even
                                     in 2013).  Even developers   who rely
                                                      developers who    rely on
                                                                             on aa profit-maximizing
                                                                                   profit-maximizing price-setting
                                                                                                         price-setting
strategy are
strategy are different
              different from   one another
                         from one   another because
                                             because they
                                                      they rely
                                                           rely on
                                                                on different
                                                                   different and
                                                                              and sometimes
                                                                                   sometimes multiple
                                                                                                multiple sources
                                                                                                           sources of
                                                                                                                    of
revenue. Many
revenue.  Many developers
                  developers generate     revenue from
                               generate revenue         advertising as
                                                   from advertising  as well
                                                                         well as
                                                                              as paid
                                                                                  paid installations,
                                                                                       installations, subscriptions,
                                                                                                       subscriptions,
and IAPs.
and  IAPs. If   those developers
             If those developers setset prices
                                        prices to
                                               to maximize
                                                  maximize short-term
                                                            short-term profits
                                                                         profits and
                                                                                 and generate
                                                                                      generate revenue
                                                                                                revenue from
                                                                                                           from
advertising as
advertising   as well
                 well as
                      as paid
                          paid transactions,
                               transactions, aa reduced
                                                reduced service
                                                         service fee rate may
                                                                 fee rate may lead
                                                                                lead to
                                                                                      to higher
                                                                                         higher retail  prices, not
                                                                                                 retail prices, not
lower  retail prices.
lower retail  prices.
166
166
         As Mr.
         As Mr. Adam
                Adam Sussman, at Epic,
                     Sussman, at Epic, described,
                                       described,

                                                                     ..
167
167
     See this report’s
     See this          production; App-level
              report's production; App-level Spend
                                             Spend Data,
                                                   Data, Consumers,
                                                         Consumers, GOOG-PLAY-005535886
                                                                    GOOG-PLAY-005535886 and
                                                                                        and
GOOG-PLAY-010801688.
GOOG-PLAY-010801688.

                                                                                                                    56
                                                                                                                    56
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 509 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      information), the total number of apps installed or updated between August 2016 to October
      2021 ranged from 103 to 297.168
157. App differentiation can be observed by the numerous categories of apps. Google Play has
   35 categories for non-game apps and 17 different game app subcategories.169 The categories
   vary widely; for example, non-game apps include apps for education (over 400,000 apps),
   business (over 300,000 apps), shopping (over 180,000 apps), and other categories.'"
158. Within each of the numerous app categories, there are many apps that may be substitutes
   to varying degrees and apps that may not be substitutes at all. For example, in the Arts &
   Design app category (which includes over 29,000 apps),171 Sketchbook, My Drawing, and
   Tayasui Sketches are all drawing apps, with different features.172 Those apps, based on their
   product characteristics, may be potential substitutes for one another. On the other hand,
   Pixel Studio and U Launcher are two apps also categorized as Arts & Design apps.173 Pixel
   Studio, is a pixel art editor for artists and game developers. It has numerous features,
   including tools that allow the user to create animations, custom brushes, and symmetry
   drawing. U Launcher, on the other hand, provides customizable home screens for Android
   phones with various backgrounds, as well as the ability to hide/unhide apps and search apps.
   Even though these two apps are included in the same category — Arts & Design — they have
   different purposes and functionality and are directed toward different sets of consumers. As
   such, Pixel Studio and U Launcher are likely poor substitutes for one another. Google's
   "Games" category is also broad and includes games for toddlers such as "Thomas and
   Friends" (described as a "fun, safe & interactive game play for children aged 2-7"),174 action




168
168
        These counts include
        These counts  include free apps, paid
                              free apps,  paid apps,
                                               apps, subscription
                                                     subscription apps,
                                                                  apps, and
                                                                        and apps
                                                                             apps with
                                                                                  with IAPs.
                                                                                       IAPs. The
                                                                                              The counts
                                                                                                  counts
exclude apps by
exclude apps by OEMs
                OEMs andand carriers that may
                            carriers that may have
                                               have been
                                                     been pre-installed
                                                          pre-installed by
                                                                        by them
                                                                           them and
                                                                                 and also
                                                                                     also exclude Google
                                                                                          exclude Google
apps. See
apps.     Exhibit 22.
      See Exhibit 22.
169
169
        See  Exhibit 22 for
        See Exhibit         the list
                        for the       of non-game
                                 list of non-game categories
                                                   categories and
                                                              and the
                                                                   the percentage
                                                                       percentage of
                                                                                  of apps
                                                                                     apps in each of
                                                                                          in each    the
                                                                                                  of the
categories. See
categories.     Exhibit 3
            See Exhibit  3 for  the list
                            for the       of game
                                     list of game categories
                                                  categories and
                                                             and the
                                                                 the percentage
                                                                     percentage of
                                                                                of apps
                                                                                   apps in
                                                                                        in each of the
                                                                                           each of the
categories.
categories.
170
170
         Exhibit 2.
         Exhibit 2.
171
171
         Exhibit 2.
         Exhibit 2.
172
172
        Sketchbook,  https://play.google.com/store/apps/details?id=com.adsk.sketchbook, accessed
        Sketchbook, https://play.google.com/store/apps/details?id=com.adsk.sketchbook,    accessed March
                                                                                                    March
22, 2022. My Drawing, https://play.google.com/store/apps/details?id=com.raed.sketchbook,
22, 2022. My  Drawing,  https://play.google.com/store/apps/details?id=com.raed.sketchbook, accessed
                                                                                             accessed
March 22,
March  22, 2022.
           2022. Tayasui
                 Tayasui Sketches,
                          Sketches, https://play.google.com/store/apps/details?id=com.tayasui.sketches,
                                     https://play.google.com/store/apps/details?id=com.tayasui.sketches,
accessed March
accessed March 22,
                22, 2022.
                    2022.
173
173
        Pixel Studio,
        Pixel Studio, https://play.google.com/store/apps/details?id=com.PixelStudio, accessed March
                      https://play.google.com/store/apps/details?id=com.PixelStudio, accessed March 22,
                                                                                                    22,
2022. U
2022. U Launcher,
        Launcher, https://play.google.com/store/apps/details?id=com.phone.launcher.android,   accessed
                   https://play.google.com/store/apps/details?id=com.phone.launcher.android, accessed
March 22,
March 22, 2022.
           2022.
174
174
         Thomas
         Thomas && Friends:
                    Friends: Magic
                             Magic Tracks,
                                   Tracks,
https://play.google.com/store/apps/details?id=com.budgestudios.googleplay.ThomasAndFriendsMagicalT
https://play.google.com/store/apps/details?id=com.budgestudios.googleplay.ThomasAndFriendsMagicalT
racks, accessed
racks, accessed March
                March 28,
                        28, 2022.
                            2022.

                                                                                                           57
                                                                                                           57
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 510 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      game "Doom" (described as "Violence, Blood and Gore" for ages 17+),175 Zynga's card
      game "Poker — Texas Hold'em,"176 and home design game "Redecor."177
159.    Paid apps, subscription apps, and apps with IAPs can be substitutes for free apps. Free
   apps account for a substantial percentage of apps in all categories.178 Determining whether
   the prices of paid apps, subscription apps, or IAPs would have been lower in the but-for
   world requires analyzing the economic relationships between those apps and the free apps
   that they compete with, if any.
160. Since different apps face different competitive conditions, an individualized analysis of
   the competitive pressures on each app is required to assess whether there would have been
   any changes in the app, subscription, or IAP prices in the but-for world.
             C. ECONOMIC REASONS SOME MEMBERS OF THE PUTATIVE CONSUMER CLASS
                WOULD NOT BE BETTER OFF IN THE BUT-FOR WORLD
161. As described above, the proposed class of consumers includes over 92 million U.S.
   consumer IDs with varying purchase characteristics including, for example, the number of
   apps purchased (or made purchases from), the number of free apps downloaded, the types of
   apps purchased and downloaded, the amount of money spent, the prices paid, and the forms
   of payment used to make purchases, as well as others. Consumer Plaintiffs claim that they
   would have been better off in the but-for world because the prices they paid for apps,
   subscriptions, and IAPs would have been lower. However, whether prices would have been
   lower in the but-for world requires an app-by-app inquiry into (1) whether that developer's
   service fee rate would have been lower in the but-for world, and (2), if so, whether the
   developer would pass through that reduction in the service fee rate, to the consumer.
162. There are additional factors that must be considered to determine whether a consumer
   would have been better off in the but-for world. These factors likewise involve an app-by-
   app analysis of each consumer's purchases and downloads. As further explained in the
   sections below, several categories of consumers likely would not be better off in the but-for
   world, and thus likely would not have experienced antitrust impact.
163. First, some consumers make purchases from developers that set low prices such as $1.99
   or less. As discussed above, because those developers likely would not have lower cost
   options for payment processing in a but-for world, they likely would not have lower service
   fees for these low-price transactions. Under Consumer Plaintiffs' theory of impact — which
   posits that developers would respond to lower service fees by reducing retail prices for apps
   subscriptions, and IAPs — developers that set low prices would have the same service fee rate


175
175
         DOOM, https://play.google.com/store/apps/details?id=com.bethsoft.DOOM,
         DOOM, https://play.google.com/store/apps/details?id=com.bethsoft.DOOM, accessed
                                                                                accessed March
                                                                                         March 28,
                                                                                               28,
2022.
2022.
176
176
         Zynga Poker-
         Zynga  Poker- Texas
                       Texas Holdem
                             Holdem Game,
                                     Game,
https://play.google.com/store/apps/details?id=com.zynga.livepoker, accessed
https://play.google.com/store/apps/details?id=com.zynga.livepoker, accessed March
                                                                            March 28,
                                                                                  28, 2022.
                                                                                      2022.
177
177
        Redecor -- Home
        Redecor    Home Design
                        Design Game,
                               Game, https://play.google.com/store/apps/details?id=fi.reworks.redecor,
                                     https://play.google.com/store/apps/details?id=fiseworks.redecor,
accessed March
accessed March 28,
               28,  2022.
                    2022.
178
178
         See Exhibit 22 and
         See Exhibit    and Exhibit
                            Exhibit 3.
                                    3.

                                                                                                    58
                                                                                                    58
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 511 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      and charge the same retail prices in the but-for world as they do in the actual world. U.S.
      consumers who only made purchases at low prices would not necessarily be impacted.
164. Second, some consumers rely on relatively expensive forms of payment to transact in
   Google Pay, such as direct carrier billing ("DCB") and gift cards. For example, named
   Consumer Plaintiff              used        to make purchases on Google Play.179 The cost to
   Google of processing DCB and gift cards is high relative to other forms of payment.'8°
   Developers may not find lower cost options for those forms of payment in the but-for world
   and would either continue to use Google Pay Billing or elect not to offer consumers those
   payment options. Consumers who prefer and benefit from the availability of those forms of
   payment either would not be impacted or would have been worse off with respect to those
   transactions.
165. Third, many consumers download and use free apps. Google Play does not collect
   service fees from free apps. If Google elects to charge fees on free apps in the but-for world,
   according to Consumer Plaintiffs' own expert's reasoning, those fees could be passed
   through to some consumers and consumers who download many free apps would face higher
   prices on those apps that may or may not offset any reduction in prices on other apps.
166. Fourth, security costs to some consumers likely would be higher due to fewer (or no)
   security warnings by Google in the but-for world.
167. Fifth, many U.S. consumers paid relatively small amounts for apps, subscriptions, and
   IAPs in Google Play. Overall,                       putative consumer class members paid less
   than $5 over the class period. More than        of putative consumer class members paid less
   than $50.181 These relatively low amounts of consumer spend imply that even if the prices
   paid for apps, subscriptions, or IAPs were lower in the but-for world, many consumers would
   save relatively little. For a consumer that spent $5, a reduction in service fee from 30% to
   15% that is fully passed through in lower retail prices is $0.75. That amount, if it is even
   realized by the consumer, must be compared to potentially higher costs the consumer would
   face in the but-for world to determine whether the consumer is impacted. At a minimum,
   individualized inquiry is needed to determine whether each of the               consumers
   (making up         of the putative consumer class) who spent less than     over the class period
   can show antitrust impact and injury.
                     1. Some Consumers Would Not Have Lower Retail Prices for Apps,
                        Subscriptions, and IAPs in a But-For World
168. Empirical evidence described in this section shows that service fee rate reductions do not
   uniformly result in price reductions. When reductions in service fees are not passed onto
   consumers through lower prices, given the Plaintiffs' allegations, those consumers are not
   harmed by the alleged conduct affecting service fees for those apps.182 Identifying those

179
179

180
180
         GOOG-PLAY-000337564 at
         GOOG-PLAY-000337564 at -587.
                                -587.
181
181
         See Exhibit 23.
         See Exhibit 23.
182
182
      Consumer Plaintiffs
      Consumer   Plaintiffs attempt
                            attempt to
                                    to argue
                                       argue that
                                             that even  if prices
                                                  even if  prices in
                                                                  in the
                                                                     the but-for
                                                                         but-for world
                                                                                 world are
                                                                                        are not
                                                                                            not lower,
                                                                                                lower,
consumers would
consumers would benefit
                benefit from   “quality improvements
                        from "quality   improvements inin Apps
                                                           Apps and
                                                                 and In-App
                                                                      In-App Content
                                                                              Content that
                                                                                       that developers
                                                                                            developers would
                                                                                                       would


                                                                                                         59
                                                                                                         59
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 512 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      consumers that would have paid lower prices in Plaintiffs' but-for world requires an app-by-
      app, and consumer-by-consumer inquiry.
169. Certain retail prices are the same in Google Play as prices on the relevant developer's
   website. That is, some developers have chosen not to use different retail prices, even though
   applicable service fees are potentially different. These developers do not pay a service fee to
   Google to distribute the content on their own websites, but their retail prices are the same in
   both channels. For example, the Minecraft game is listed at the same price on Google Play
   and on the developer's website.183 A subscription to iHeartMedia has the same retail price on
   Google Play and the website.184 A subscription to Pandora Plus has the same retail price on
   Google Play and the website.185 This evidence suggests that even if service fee rates on
   Google Play were lower in the but-for world, some retail prices would not be lower and those
   consumers who purchased those apps, subscriptions, and IAPs would not be impacted.186
170. Those Google Play purchases that would have cost the same if made directly from the
   developer, where there is no fee to Google, could not have resulted in any loss to the
   consumer. Moreover, because some developers offer apps, subscriptions, and IAPs through
   Google Play and their own websites, an individualized analysis of each consumer's
   transactions is required to determine whether the consumer could have made each of its
   purchases on a developer's website, and if so, the price available to the consumer from the
   website.
171. Other developers, in contrast, charge lower prices on their websites than the prices they
   set on Google Play. For example:
            Pandora Premium
             Pandora   Premium offers
                                 offers aa subscription
                                           subscription to
                                                        to ad-free,
                                                           ad-free, personalized
                                                                    personalized music,
                                                                                  music, podcasts,
                                                                                          podcasts,
             unlimited skips,
             unlimited  skips, and
                               and make
                                   make andand share
                                               share playlists,
                                                     playlists, as
                                                                as well
                                                                   well as
                                                                        as other
                                                                           other features.
                                                                                 features. On
                                                                                           On its
                                                                                               its
             website, Pandora
             website,  Pandora offers
                                offers Pandora
                                       Pandora Premium
                                                 Premium forfor $9.99
                                                                $9.99 per
                                                                      per month,
                                                                           month, with
                                                                                  with aa 60-day  free
                                                                                          60-day free
             trial period.
             trial period. In Google Play,
                           In Google Play, Pandora
                                             Pandora Premium is $9.99 per month, with a one-month

be able
be  able finance  [sic] out
         finance [sic]  out of
                            of monies
                               monies saved
                                        saved from
                                               from lower   take rates.”
                                                    lower take   rates." Singer Report at
                                                                         Singer Report at ¶233.
                                                                                          ¶233. Dr.
                                                                                                  Dr. Singer
                                                                                                      Singer
makes no
makes   no attempt
            attempt to
                     to identify
                        identify or
                                 or quantify  any quality
                                     quantify any          improvements and
                                                  quality improvements     and doing
                                                                                doing so
                                                                                      so would
                                                                                         would require
                                                                                                require aa highly
                                                                                                           highly
individualized   analysis into
individualized analysis    into existing and but-for
                                existing and  but-for characteristics
                                                      characteristics of  apps and
                                                                       of apps and app
                                                                                   app content
                                                                                       content as
                                                                                                as well
                                                                                                   well as
                                                                                                        as
consumer preferences
consumer    preferences related
                          related to
                                  to such
                                     such characteristics
                                          characteristics to
                                                           to determine
                                                              determine whether
                                                                         whether aa consumer  values any
                                                                                    consumer values   any change
                                                                                                           change
in those
in those characteristics
          characteristics that
                           that may
                                may come
                                      come about
                                            about due
                                                  due to
                                                       to such “quality improvements.”
                                                          such "quality  improvements."
183
183
         The Minecraft app's
         The Minecraft  app’s price
                               price is
                                     is $7.49
                                        $7.49 for Android mobile
                                              for Android mobile version
                                                                 version on
                                                                         on the
                                                                            the developer's
                                                                                developer’s website
                                                                                            website
https://www.minecraft.net/en-us/store/minecraft-android, accessed
https://www.minecraft.net/en-us/store/minecraft-android,   accessed March
                                                                     March 21,2022,
                                                                            21,2022, as
                                                                                     as well
                                                                                        well as
                                                                                             as in
                                                                                                in the
                                                                                                   the
Google Play
Google   Play Store, https://play.google.com/store/apps/details?id=com.mojang.minecraftpe, accessed
              Store, https://play.google.com/store/apps/details?id=com.mojang.minecraftpe,    accessed
March 21,
March   21, 2022.
            2022.
184
184
       https://www.iheart.com/offers/, accessed
       https://www.iheart.com/offers/, accessed March
                                                March 24, 2022. Google
                                                      24, 2022. Google Play
                                                                       Play Store price accessed
                                                                            Store price accessed with
                                                                                                 with
an Android
an Android device
           device as
                  as of
                     of March
                        March 22,
                              22, 2022.
                                  2022.
185
185
       https://www.pandora.com/plans, accessed
       https://www.pandora.com/plans,   accessed March
                                                 March 21,
                                                       21, 2022.
                                                           2022. Google Play Store
                                                                 Google Play Store price
                                                                                   price accessed
                                                                                         accessed with
                                                                                                  with
an Android
an Android device
           device as
                  as of
                     of March
                        March 22,
                              22, 2022.
                                  2022.
186
186
         One of
         One of the
                the consumer
                    consumer class
                             class representatives,
                                   representatives,




                                                                                                               60
                                                                                                               60
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 513 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


              free trial period.
              free trial period. If
                                  If aa consumer
                                        consumer subscribes
                                                 subscribes for
                                                            for aa year,
                                                                   year, the
                                                                         the average
                                                                              average monthly
                                                                                       monthly prices
                                                                                                prices of
                                                                                                       of
              the subscriptions,
              the subscriptions, including   the varying
                                   including the varying lengths
                                                         lengths ofof free trial periods
                                                                      free trial periods are
                                                                                         are $8.33
                                                                                             $8.33 per
                                                                                                   per
              month from
              month   from the
                            the Pandora
                                 Pandora website
                                           website and
                                                   and $9.16
                                                       $9.16 from   Google Play.187
                                                             from Google
             Bookedin, aa scheduling
              Bookedin,    scheduling app
                                       app for  businesses, offers
                                            for businesses,  offers subscriptions
                                                                    subscriptions on
                                                                                   on its
                                                                                      its website
                                                                                          website and
                                                                                                    and
              through Google
              through  Google Play.
                                Play. On
                                      On Bookedin's
                                         Bookedin’s website,
                                                       website, the
                                                                 the Pro
                                                                     Pro 11 subscription
                                                                            subscription is  priced at
                                                                                          is priced  at $29
                                                                                                        $29
              per month
              per month for
                         for aa monthly
                                monthly subscription
                                        subscription or
                                                      or $288
                                                         $288 per
                                                               per year
                                                                    year (an
                                                                         (an average
                                                                              average price
                                                                                      price ofof $24  per
                                                                                                 $24 per
              month) for
              month)      an annual
                      for an  annual subscription.
                                     subscription. Bookedin
                                                    Bookedin offers
                                                               offers the
                                                                      the same
                                                                           same subscription
                                                                                 subscription through
                                                                                                through
                                                         188
              Google Play
              Google  Play priced
                           priced at
                                   at $34.99 per month.'"
                                      $34.99 per month.
             Yoga Buddhi
              Yoga  Buddhi offers
                            offers subscriptions
                                    subscriptions forfor its Down Dog
                                                         its Down   Dog appapp on
                                                                               on its
                                                                                   its website
                                                                                       website asas well
                                                                                                     well as
                                                                                                          as
              from Google
              from          Play. Monthly
                    Google Play.   Monthly subscription
                                              subscription rates
                                                              rates are
                                                                    are $7.99  per month
                                                                        $7.99 per    month onon its  website and
                                                                                                 its website  and
              $9.99 per
              $9.99 per month
                        month through
                                through Google      Play; its
                                          Google Play;     its annual
                                                               annual subscription
                                                                       subscription rates
                                                                                      rates are
                                                                                             are $39.99
                                                                                                 $39.99 per
                                                                                                          per
              year and
              year and $59.99
                       $59.99 per
                               per year,
                                    year, on
                                           on its
                                              its website
                                                  website andand Google
                                                                 Google Play,    respectively.189 According
                                                                           Play, respectively.189     According
              to Yoga
              to Yoga Buddhi,
                      Buddhi, the
                                the subscription
                                     subscription rates    through its
                                                    rates through       website are
                                                                    its website   are lower   than those
                                                                                      lower than    those
                                                                                                190
              through Google
              through Google Play
                               Play because
                                      because Google     Play charges
                                               Google Play               “commission fees.”
                                                                charges "commission      fees."19°   Yoga
                                                                                                     Yoga
              Buddhi’s CEO
              Buddhi's  CEO says
                              says that
                                    that it offers consumers
                                         it offers consumers the the option
                                                                     option of
                                                                             of purchasing
                                                                                purchasing aa subscription
                                                                                                 subscription
              through its
              through its website
                          website in
                                   in addition
                                       addition to
                                                 to the
                                                    the in-app
                                                        in-app option,
                                                                 option, and
                                                                          and 10%
                                                                              10% of of its
                                                                                        its Android
                                                                                            Android
              consumers choose
              consumers   choose to
                                  to purchase
                                      purchase the
                                                the subscription
                                                     subscription through
                                                                    through the
                                                                              the app
                                                                                   app at
                                                                                        at the higher price.'9'
                                                                                           the higher  price.191
172. These examples demonstrate that some app, subscription, and IAP prices might have
   been lower in a but-for world if service fee rates were lower (setting aside a developer's
   pricing strategy and other factors for a moment), but other prices would not have been lower.
   Determining which prices would be lower and which consumers would be impacted thus
   requires an app-by-app and consumer-by-consumer inquiry.


187
187
         See e.g., https://help.pandora.com/s/article/Royalties-and-Spins?language=en_US.
             e.g., https://help.pandora.com/s/article/Royalties-and-Spins?language=en                    (“Pandora, as
                                                                                                     US. ("Pandora,    as
of September
of             2016, has
   September 2016,     has entered
                            entered into
                                     into direct
                                           direct licenses  with record
                                                   licenses with  record labels,
                                                                          labels, digital music distributors
                                                                                  digital music   distributors and
                                                                                                               and
music publishers
music  publishers for
                   for the
                        the rights  to play
                             rights to play music
                                             music with
                                                      with semi-interactive
                                                           semi-interactive features
                                                                              features on
                                                                                       on our
                                                                                           our ad-supported
                                                                                               ad-supported andand
Pandora Plus
Pandora  Plus services
              services in in the
                             the US,
                                 US, and
                                       and for
                                            for on-demand
                                                on-demand rights
                                                              rights in Pandora Premium.
                                                                     in Pandora   Premium. Pandora
                                                                                             Pandora pays
                                                                                                        pays sound
                                                                                                             sound
recording royalties
recording  royalties in
                     in accordance
                         accordance withwith the
                                              the terms
                                                  terms of
                                                         of its agreements with
                                                            its agreements    with sound
                                                                                   sound recording
                                                                                          recording owners,
                                                                                                      owners,
collection societies
collection societies and
                      and rights
                            rights administrators.
                                   administrators. Artist
                                                      Artist royalties
                                                             royalties for  the ad-supported
                                                                        for the ad-supported service    continue to
                                                                                               service continue   to be
                                                                                                                      be
paid through
paid through SoundExchange.         Royalties for
              SoundExchange. Royalties          for subscription
                                                     subscription services
                                                                   services are
                                                                             are paid
                                                                                 paid through
                                                                                      through toto record
                                                                                                   record labels.”).
                                                                                                           labels.").
188
188
         https://bookedin.com/appointment-booking-payment-system-plans-and-pricing/; Bookedin
         https://bookedin.com/appointment-booking-payment-system-plans-and-pricing/;  Bookedin app,
                                                                                                app,
https://play.google.com/store/apps/details?id=net.bookedin.bam, accessed
https://play.google.com/store/apps/details?id=net.bookedin.bam, accessed March
                                                                         March 22,
                                                                               22, 2022.
                                                                                   2022. Google
                                                                                         Google Play
                                                                                                Play
Store  price accessed
Store price  accessed with
                      with an
                           an Android
                              Android device
                                      device as
                                             as of
                                                of March
                                                   March 22,
                                                         22, 2022.
                                                             2022.
189
189
         https://www.downdogapp.com/purchase; Down
         https://www.downdogapp.com/purchase;     Down Dog
                                                        Dog app,
                                                             app,
https://play.google.com/store/apps/details?id=com.downdogapp, accessed
https://play.google.com/store/apps/details?id=com.downdogapp,   accessed March
                                                                         March 22,
                                                                               22, 2022.
                                                                                   2022. Google
                                                                                         Google Play
                                                                                                Play
Store  price accessed
Store price  accessed with
                      with an
                           an Android
                              Android device
                                      device as
                                             as of
                                                of March
                                                   March 22,
                                                         22, 2022.
                                                             2022.
190
190
        https://www.downdogapp.com/faq. According
        https://www.downdogapp.com/faq.        According to to Yoga
                                                               Yoga Buddhi,
                                                                     Buddhi, its music licensing
                                                                             its music licensing fees
                                                                                                 fees depend
                                                                                                      depend
on the
on the usage
       usage of
             of its apps; therefore
                its apps;  therefore its
                                     its marginal
                                         marginal costs
                                                  costs are
                                                         are positive.
                                                             positive. See Epic v.
                                                                       See Epic v. Apple
                                                                                   Apple Transcript
                                                                                         Transcript of
                                                                                                    of Bench
                                                                                                       Bench
Trial Proceedings Day
Trial Proceedings   Day 22 (May
                           (May 4,
                                 4, 2021),
                                    2021), p.
                                           p. 358
                                              358 (testimony
                                                   (testimony from   Benjamin Simon,
                                                                from Benjamin          the founder
                                                                                Simon, the founder and
                                                                                                    and CEO
                                                                                                        CEO
of Yoga  Buddhi  (Down
of Yoga Buddhi (Down Dog).Dog).
191
191
        Epic v.
        Epic v. Apple
                 Apple Transcript   of Bench
                        Transcript of  Bench Trial Proceedings Day
                                             Trial Proceedings  Day 22 (May
                                                                       (May 4,
                                                                             4, 2021),
                                                                                2021), p.
                                                                                       p. 349:5-8;
                                                                                          349:5-8; p.
                                                                                                   p. 360:8-
                                                                                                      360:8-
13; 363:11-25;
13; 363:11-25; pp.
                pp. 365-66
                    365-66 (testimony
                            (testimony from  Benjamin Simon,
                                        from Benjamin           the founder
                                                        Simon, the  founder and
                                                                             and CEO
                                                                                 CEO ofof Yoga
                                                                                          Yoga Buddhi
                                                                                                Buddhi
(Down Dog),
(Down  Dog), stating
             stating that
                      that 90%
                           90% of
                                of Down
                                    Down Dog's
                                          Dog’s Android
                                                 Android users
                                                          users chose
                                                                chose to
                                                                       to subscribe
                                                                          subscribe on the web
                                                                                    on the web when
                                                                                               when the
                                                                                                      the app
                                                                                                          app
informed them that
informed them   that prices
                     prices were
                            were lower
                                  lower on
                                        on the
                                           the web).
                                               web).
                                                                                                                       61
                                                                                                                       61
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 514 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


173. I further analyzed price changes in the actual world for apps, subscriptions, and IAPs
   (collectively, I refer to these as stock-keeping units, or "SKUs"192) in Google Play following
   changes in service fee rates. I found that, among those SKUs, many prices did not change
   after service fee rate changes took effect.
174. Service fee rate changes during the class period occurred for certain developers and apps
   due to programs such as LRAP, ADAP, and others; Google Play's 2018 service fee reduction
   for certain subscriptions;193 and Google Play's July 2021 service fee reduction pursuant to
   the Small Developer Program.194 These service fee rate reductions applied to 22,995
   developers worldwide, to 51,847 apps, and to 467,660 SKUs. These SKUs involved
   transactions by about 53% of U.S. consumers and accounted for 11% of their consumer
   spend.195
175. While service fees changed for the SKUs in my studies, the prices for many SKUs did
   not change at all during the class period.196 Over the three sets of SKUs with service fee

192
192
          Google’s transactions
          Google's transactions data
                                data store
                                     store IAP
                                           IAP and
                                               and app
                                                   app prices
                                                       prices by
                                                              by "product
                                                                 “product ID,"
                                                                          ID,” which
                                                                               which II will
                                                                                        will refer
                                                                                             refer to
                                                                                                   to as
                                                                                                      as
“SKU.”
"SKU."
193
193
          In 2018, Google
          In 2018,    Google reduced
                              reduced the
                                        the service
                                            service fee
                                                      fee rate
                                                           rate on
                                                                on subscription
                                                                    subscription IAPs
                                                                                    IAPs when
                                                                                           when the
                                                                                                  the consumer’s
                                                                                                      consumer's
subscription extended
subscription               beyond aa year.
                extended beyond        year. See “Google Play
                                             See "Google      Play Lowers
                                                                    Lowers AppApp Subscription
                                                                                    Subscription FeeFee to
                                                                                                         to 15 Percent,
                                                                                                            15 Percent,
Matches Apple's
Matches    Apple's Offering,"
                      Offering,” Gadgets    360, October
                                  Gadgets 360,   October 20, 20, 2017,
                                                                  2017, https://gadgets.ndtv.com/apps/news/google-
                                                                         https://gadgets.ndtv.com/apps/news/google-
play-app-subscription-fee-30-percent-to-XX-XXXXXXX, accessed
play-app-subscription-fee-30-percent-to-XX-XXXXXXX,               accessed November
                                                                             November 8,   8, 2021.
                                                                                              2021. Since   different
                                                                                                     Since different
developers and
developers    and SKUs     (e.g., different
                    SKUs (e.g.,   different types
                                            types of
                                                   of subscriptions)
                                                       subscriptions) cancan have
                                                                               have aa different
                                                                                       different mix
                                                                                                  mix of
                                                                                                       of consumers,
                                                                                                           consumers, the
                                                                                                                       the
service fee
service       rate associated
         fee rate   associated with
                                with aa SKU   can vary
                                        SKU can    vary from     30% (no
                                                          from 30%     (no consumer
                                                                            consumer has has aa subscription
                                                                                                subscription more
                                                                                                               more than
                                                                                                                     than aa
year) to
year) to 15%     (all consumers
          15% (all    consumers have
                                   have subscriptions
                                         subscriptions more
                                                          more than
                                                                 than one
                                                                       one year).
                                                                            year). ToTo test
                                                                                         test whether
                                                                                              whether retail
                                                                                                        retail prices
                                                                                                               prices would
                                                                                                                      would
respond to
respond   to aa service
                service fee  rate subscription,
                         fee rate  subscription, II look
                                                    look only
                                                          only at
                                                                at SKUs
                                                                    SKUs forfor which
                                                                                which the
                                                                                        the monthly
                                                                                             monthly service
                                                                                                       service fee  rate for
                                                                                                                fee rate for
that SKU
that SKU fell
            fell to
                  to 20%
                     20% or
                          or lower
                             lower and
                                     and remained
                                          remained at at that
                                                         that level  for at
                                                              level for  at least  three consecutive
                                                                             least three  consecutive months.
                                                                                                        months.
194
194
         The  July 2021
         The July   2021 service
                         service fee
                                 fee rate reduction applied
                                     rate reduction  applied to
                                                              to aa developer's
                                                                    developer’s first
                                                                                 first $1 million in
                                                                                       $1 million  in consumer
                                                                                                      consumer
spend. II look
spend.          at SKUs
           look at SKUs for
                         for which
                             which the
                                    the monthly
                                        monthly service
                                                  service fee  rate for
                                                          fee rate   for the
                                                                         the corresponding
                                                                             corresponding appapp and
                                                                                                  and purchase
                                                                                                       purchase type
                                                                                                                 type
(i.e. paid
(i.e. paid app
           app downloads
               downloads and
                           and non-subscription
                               non-subscription IAPs)
                                                   IAPs) fell
                                                         fell to
                                                              to 20%
                                                                  20% oror lower
                                                                           lower in  at least
                                                                                  in at least one
                                                                                              one month
                                                                                                  month onon or after
                                                                                                             or after
July 2021.
July  2021. See   “Changes to
             See "Changes   to Google
                               Google Play's
                                        Play’s service
                                               service fee in 2021,"
                                                       fee in  2021,” Google,
                                                                        Google,
https://support.google.com/googleplay/android-developer/answer/10632485,
https://supportgoogle.com/googleplay/android-developer/answer/10632485, accessed      accessed January
                                                                                                January 5,  2022.
                                                                                                         5, 2022.
195
195
          Exhibit 34.
          Exhibit 34.
196
196
         II used
            used prices
                   prices net
                           net of
                               of promotions
                                  promotions andand discounts
                                                     discounts in in Google
                                                                      Google Play
                                                                               Play transaction
                                                                                      transaction data       from the
                                                                                                      data from    the beginning
                                                                                                                        beginning
of the
of the class
       class period
               period toto July
                           July 3,
                                3, 2021.
                                   2021. See
                                           See GOOG-PLAY-007203251.
                                                GOOG-PLAY-007203251. Since         Since the
                                                                                           the transaction
                                                                                                 transaction datadata is available
                                                                                                                      is available
for only two
for only   two days
                 days following    the July
                       following the   July 1,
                                             1, 2021
                                                2021 reduction
                                                       reduction in     service fee
                                                                    in service  fee rates   on the
                                                                                     rates on    the first
                                                                                                      first $1   million of
                                                                                                            $1 million     of
consumer spend,
consumer     spend, II also
                        also used
                             used monthly
                                   monthly average
                                              average prices
                                                        prices for   paid downloads
                                                                for paid   downloads fromfrom the the App-level
                                                                                                      App-level spend
                                                                                                                    spend data
                                                                                                                             data
for U.S. consumers
for U.S.   consumers (GOOG-PLAY-005535886
                         (GOOG-PLAY-005535886 and         and GOOG-PLAY-010801688)
                                                               GOOG-PLAY-010801688) through         through December
                                                                                                                December 2021,2021,
which correspond
which  correspond with with paid
                             paid download
                                   download SKUs.
                                               SKUs. A   A third
                                                            third dataset   (“scraped data”)
                                                                   dataset ("scraped     data") waswas used
                                                                                                         used toto analyze
                                                                                                                   analyze paid
                                                                                                                              paid
app download
app  download SKU  SKU prices
                          prices following   the July
                                 following the   July 2021
                                                        2021 service
                                                              service feefee rate
                                                                             rate reduction.
                                                                                  reduction. That  That dataset    was created
                                                                                                         dataset was     created by
                                                                                                                                  by
electronically    collecting  data  for a sample    of apps  from    Google   Play   once   a  month,
electronically collecting data for a sample of apps from Google Play once a month, for the paid download for  the paid   download
prices for
prices for those
             those apps.
                    apps. The    scrapes were
                            The scrapes   were conducted      from the
                                                 conducted from       the U.S.,
                                                                           U.S., at
                                                                                 at the
                                                                                    the beginning
                                                                                         beginning of   of the
                                                                                                           the month
                                                                                                                 month starting
                                                                                                                          starting
in April
in April 2021
          2021 andand collected
                       collected various
                                  various attributes
                                           attributes ofof the
                                                           the apps
                                                                apps from    their publicly
                                                                       from their   publicly available
                                                                                                available Google       Play pages,
                                                                                                              Google Play     pages,
including    their paid
including their    paid download     prices. The
                          download prices.          apps sampled
                                               The apps   sampled included       (1) the
                                                                       included (1)   the top
                                                                                          top 2020 apps
                                                                                                     apps inin each
                                                                                                               each app
                                                                                                                      app
category and
category    and monetization
                 monetization type
                                 type based
                                       based onon their
                                                  their 2020
                                                         2020 consumer
                                                                consumer spend;
                                                                             spend; (2)
                                                                                      (2) the
                                                                                          the apps
                                                                                                apps ofof the
                                                                                                          the top
                                                                                                                top 20  putative
                                                                                                                    20 putative
developer class
developer     class members
                    members or     developers selling
                                or developers   selling to
                                                         to U.S.
                                                             U.S. consumers
                                                                   consumers based
                                                                                 based onon their
                                                                                              their 2020
                                                                                                     2020 spend;
                                                                                                             spend; (3)
                                                                                                                      (3) the
                                                                                                                           the six
                                                                                                                               six
top 200
top 200 charts
          charts onon Google    Play for
                      Google Play    for "free,"
                                          “free,” "grossing,"
                                                   “grossing,” and
                                                                 and "paid"
                                                                        “paid” apps
                                                                                apps and
                                                                                       and for
                                                                                            for games
                                                                                                  games vs.vs. non-games;
                                                                                                                non-games; and and


                                                                                                                                62
                                                                                                                                62
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 515 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      reductions, 93% exhibited no change in price at all during the class period.197 That is, among
      these SKUs, at most 7% responded to the service fee rate change in the actual world.
      Moreover, among this 7%, some retail prices could have increased rather than decreased and
      some retail prices likely would have decreased at times that are not relevant to the service fee
      rate reduction (for example, several months before the rate reduction). However, if the price
      of SKU associated with a service fee rate reduction is constant throughout the class period —
      as 93% of these prices are — then these is no reason to assume that the price of that SKU
      would have responded to a service fee rate change in a but-for world either.
176. I also considered prices of the SKUs one month before and one month after the service
   fee rate change. I compared prices for paid app downloads, subscriptions, and IAPs before
   and after the service fee rate change for each SKU.198 Table 5 shows these results. For
   subscriptions and IAPs, less than 2% of prices changed after a service fee rate decline. That
   would imply lack of impact on consumers for many apps. For paid app downloads, between
   1% and 13% of prices changed following a reduction in service fee rates. That also suggests
   limited impact on consumers for many apps. Given how few prices declined following
   reduction in service fee rates, individualized analysis would be needed to identify which
   apps, subscriptions, and IAPs prices would have been lower and which consumers would
   have paid lower prices in a but-for world.




(4) the
(4) the top
        top 100
            100 free   apps in
                  free apps    each app
                            in each app category
                                        category on
                                                 on Sensor
                                                     Sensor Tower   that ranks
                                                            Tower that   ranks by
                                                                               by aa combination
                                                                                     combination of of factors
                                                                                                       factors
including  active users,
including active   users, downloads,  and revenue.
                          downloads, and  revenue. The  top 100
                                                    The top 100 free
                                                                 free app
                                                                      app charts  by category
                                                                           charts by            are from
                                                                                     category are         Sensor
                                                                                                    from Sensor
Tower,   https://app.sensortower.com/android/rankings/top/mobile/us/overall. A
Tower, https://app.sensortower.com/android/rankings/top/mobile/us/overall          A fourth  dataset provided
                                                                                      fourth dataset  provided to
                                                                                                                to
me by
me  by Google
        Google showing
                 showing prices
                           prices on
                                  on June
                                     June 21,
                                          21, 2021,
                                              2021, October
                                                    October 16,  2021, and
                                                             16, 2021,  and February
                                                                            February 6,   2022 ("IAP
                                                                                       6, 2022   (“IAP snapshot
                                                                                                        snapshot
data,” GOOG-PLAY2-000483364),
data," GOOG-PLAY2-000483364), was       was used
                                            used to
                                                 to analyze
                                                    analyze non-subscription
                                                            non-subscription IAP     prices following
                                                                               IAP prices               the July
                                                                                            following the   July
2021 service
2021  service fee   reduction.
               fee reduction.
197
197
         Exhibit 35.
         Exhibit 35.
198
198
         For paid
         For paid app
                  app downloads
                      downloads andand subscriptions
                                        subscriptions IAPs
                                                      IAPs II compare   prices on
                                                              compare prices   on June
                                                                                  June 21, 2021 and
                                                                                       21, 2021  and October
                                                                                                     October
16, 2021.
16, 2021. For
           For non-subscription
                non-subscription IAPs,
                                 IAPs, II compare
                                          compare prices
                                                    prices on  June 21,
                                                           on June  21, 2021
                                                                        2021 and
                                                                              and February,
                                                                                   February, 6,
                                                                                             6, 2022.
                                                                                                2022. These
                                                                                                      These
are prices
are prices on
           on these
              these specific
                    specific days,
                             days, aa snapshot.
                                      snapshot.
                                                                                                               63
                                                                                                               63
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 516 of 667
                      HIGHLY CONFIDENTIAL
                      HIGHLY CONFIDENTIAL —
                                          – ATTORNEYS'
                                            ATTORNEYS’ EYES
                                                       EYES ONLY
                                                            ONLY


Table 5. Summary
Table 5. Summary of
                 of Pass-Through Rates Found
                    Pass-Through Rates Found by
                                             by Dr.
                                                Dr. Burtis
                                                    Burtis


                                                                   SKUs
             Purchase Type                                               Share
                                                        Total        w/Positive Pass-
                                                                        Through
             Paid App Downloads
                  Scraped Data                           1,557              1%
                  App-Level Spend Data                  8,991               13%
             Subscriptions
                  Deal Developers                            706            2%
                  Subscription Developers               16,307              1%
             IAPs                                      441,383              2%
Source:
Source:
    Exhibit 36.
    Exhibit 36.

177. The analysis described above suggests that while some retail prices could be lower if
   service fee rates were lower, other prices would not change. The analysis finds the
   percentage of SKUs with price reductions following a service fee rate change but does not
   include a study of the economic factors that would explain whether an observed price change
   was caused by a service fee rate reduction. As described above, those factors include, at
   least, the marginal cost of an app, the demand elasticity of the app, and the pricing strategy of
   the app developer — all of which require an individualized analysis of the app and the app
   developer. That is, determining which prices would have been lower and which consumers
   were impacted requires an individualized analysis of those factors and how they affect prices
   of particular apps, subscriptions, and 1APs. That individualized, app-by-app analysis is
   necessarily to determine whether a consumer who made purchases of that app was impacted.
178. This analysis indicates that Consumer Plaintiffs cannot show injury to all or nearly
   consumers through common proof, because Consumer Plaintiffs cannot establish through
   common proof that all consumers would pay a lower price if service fee rates for developers
   were lower.
                    2. Some Consumers Who Transact at Low Price Points Would Not Be
                       Better Off in the But-For World
179. Table 6 shows that 5% of U.S. consumers in the putative consumer class pay only prices
   of $0.99 and 9% of U.S. consumers pay only prices of $1.99 or lower.




                                                                                                 64
                                                                                                 64
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 517 of 667
                       HIGHLY CONFIDENTIAL
                       HIGHLY CONFIDENTIAL —
                                           – ATTORNEYS'
                                             ATTORNEYS’ EYES
                                                        EYES ONLY
                                                             ONLY


Table 6. Counts
Table 6. Counts of
                of U.S. Consumers in
                   U.S. Consumers in the
                                     the Putative Class, By
                                         Putative Class, By Maximum
                                                            Maximum Price
                                                                    Price Point of Transactions
                                                                          Point of Transactions


                                                     Count of Percent of Cumulative Percent
      Category
                                                    Consumers Consumers    of Consumers
      Consumers Only Buying at a Max of S0.99        4,868,989    5%             5%
      Consumers Only Buying at a Max of S1.99        3,667,004   4%             9%
      Consumers Only Buying at a Max of S2.99        4,062,814   4%             14%
      Consumers Buying at above S2.99               79,730,461   86%           100%
      Total Consumers                               92,329,268  100%           100%

Source:
       Exhibit 37.
       Exhibit 37.



180. As described above, for low price point transactions, a developer's payment processing
   fee if it chose to independently contract with a payment processor would have been more
   costly than Google's service fee. These developers could continue to rely on Google Play in
   the but-for world. With unchanged service fees, there would have been no impact on the
   developers, and no change in prices to consumers and, therefore, no impact on consumers.
181. These developers could separately contract with payment processors. However, as I
   discussed above, other payment processors are likely to be more costly than Google Play. If,
   as Consumer Plaintiffs claim, higher costs lead to higher prices, those developers would raise
   the prices they charge and the consumers that purchase those apps, subscriptions, and IAPs
   would have been worse off in the but-for world, at least for those purchases.
182. Determining whether consumers who purchase low price apps, subscriptions, and IAPs
   are better off in the but-for world must account for either unchanged or potentially higher
   prices in the but-for world. This requires an app-by-app inquiry to identify such apps. By
   the same token, identifying consumers who were harmed would require individualized
   analysis as well. At a minimum, for the 9% of consumers who pay only prices of $1.99 or
   lower, individualized inquiry is required to determine whether each consumer can even show
   antitrust impact or injury.
                     3. Consumers Who Use Direct Carrier Billing Likely Would Not Be
                        Better Off in the But-For World
183. Direct Carrier Billing ("DCB") enables consumers to pay for apps, subscriptions, and
   IAPs through their mobile phone bill. Approximately       of U.S. consumers use DCB.199
   The average cost to Google of DCB is                — as much as         . The cost of DCB
   to developers is            — as much as    .200 In Consumer   Plaintiffs' but-for world, it is
   likely that Google would have an economic incentive to have varying service fee rates for



199
199
          See Exhibit 38.
200
200
          GOOG-PLAY-000337564 at-587.

                                                                                                  65
                                                                                                  65
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 518 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      different forms of payment or to stop providing particularly costly forms of payments such as
      DCB.
184. Consumers who rely on DCB as a form of payment for apps or IAPs would not be better
   off in the but-for world and indeed could be worse off and face higher prices.201 To
   determine whether such a consumer was impacted, one would have to evaluate purchases
   app-by-app to determine whether each purchase would have been subject to a lower (or
   higher) service fee in the but-for world; whether each purchase would have been subject to a
   lower (or higher) retail price in the but-for world; and whether, overall, the consumer would
   have paid more or less money for the same set of purchases in the but-for world.
185. Generally, individualized inquiry is required to determine whether any individual
   consumer uses DCB and whether that consumer would have been better off or worse off in
   the but-for world. At a minimum, Consumer Plaintiffs cannot show antitrust impact or injury
   without individualized inquiry for the approximately     of U.S. consumers who use DCB.
                     4. Increased Prices for Free Apps Would Make Some Consumers Worse
                        Off in the But-For World
186. Many consumers install free apps, including both free apps with ads and free apps that do
   not have ads. In the but-for world, Google could elect to charge service fees for free apps.
   Dr. Singer's opinion (which I have criticized below) that nearly all fee reductions would have
   been passed through to consumers, suggests that any fee increases for free apps would also
   be passed on to consumers in the form of higher prices. Thus, even accepting Dr. Singer's
   opinion that consumers were injured by a supracompetitive service fee, members of the
   putative consumer class who also download free apps could be worse off in the but-for world
   if increased prices for free apps are greater than any decrease in prices of paid apps,
   subscription apps, and apps with IAPs.
187. Google has considered alternative monetization strategies for Google Play that, if adopted
   in the but-for world, would lead it to charge service fees for free apps. The effect of
   alternative monetization strategies for Google Play must be considered in evaluating
   consumer impact. As I understand Plaintiffs' but-for world, Google Play would not collect
   any service fees from developers who used different payment processors. Given that a
   considerable portion of Google Play's revenues are at risk in Plaintiffs' but-for world and
   Google would continue to incur operating costs to provide developers with the services and
   benefits in Google Play, it would be economically rational for Google to change its
   monetization strategy.
188. Google has considered alternative ways to monetize Google Play. One of the alternatives
   considered is a fee per download.202 Because about 87% of all Google Play developers offer
   only free apps, a fee per download strategy would mean that 87% of all Google Play
   developers would pay service fees for the first time in a but-for world.203 If Consumer

201
201
                              ,, one
                                 one of the consumer
                                     of the          class representatives,
                                            consumer class                  used DCB
                                                           representatives, used DCB to
                                                                                     to make
                                                                                        make purchases
                                                                                             purchases on
                                                                                                       on
Google Play.
Google Play.
202
202
        See GOOG-PLAY-006990552. (A
        See GOOG-PLAY-006990552. (A fee of
                                    fee of      to
                                                to                                             was
                                                                                               was
considered with some level of
considered with some level of            allowed.)
                                         allowed.)
203
203
         See Exhibit 7.
         See Exhibit 7.

                                                                                                       66
                                                                                                       66
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 519 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      Plaintiffs' theory that such costs would be passed through to consumers were right, adding a
      service fee for developers of apps that are free today would result in higher prices for free
      apps. As noted, developers who set retail prices to maximize profits do so by considering
      marginal revenue and marginal cost. Since a fee per download is a per unit marginal cost,
      imposing such a fee on developers of free apps would tend to cause their marginal costs to
      increase and in turn tend to cause retail prices to rise.2°4
189. For these reasons, determining impact for an individual consumer must involve an
   analysis of the consumer's free apps. For example, one of the consumer class
   representatives,                     spent a total of     .205 Even if the prices of all of the
   apps, subscriptions, and IAPs purchased by                 were allegedly inflated by 15%, the
   total overcharge for              would be        . If only half of the free apps downloaded by
           became paid apps and were priced at only $0.99,                  would be worse off in
   the but-for world, paying more than in the actual world.206 Determining impact for any
   consumer must consider not only whether the app, subscription, and IAP prices would be
   lower in the but-for world, but also whether the developers of free apps downloaded by that
   consumer would decide to charge for those free apps. This requires individualized app-by-
   app and consumer-by-consumer analyses.
                        5. Higher Security Costs for Some Consumers in the But-For World
190. Consumer Plaintiffs' allegation that Google's security warnings and other measures
   related to security lessen competition does not consider that many consumers value security
   protection and could be worse off in a but-for world without these protections.207
191. Some consumers pay relatively substantial amounts to ensure that their mobile devices
   and personal information remain secure.208 Such expenditures are consistent with

204
204
          A fee
          A      per download
             fee per  download not
                                 not only   would raise
                                      only would          costs to
                                                    raise costs   to developers
                                                                     developers ofof free apps but
                                                                                     free apps but because
                                                                                                    because the
                                                                                                              the fee  is aa
                                                                                                                  fee is
per unit
per unit cost   to the
          cost to  the developer,  those costs
                       developer, those          are more
                                           costs are more likely
                                                            likely toto be
                                                                        be passed
                                                                           passed through
                                                                                   through to
                                                                                            to consumers.
                                                                                               consumers. That     is,
                                                                                                              That is,
even  if the
even if  the other
              other marginal
                     marginal costs
                               costs of
                                      of the
                                         the developer
                                             developer are
                                                         are zero,
                                                              zero, aa per
                                                                        per unit
                                                                            unit service
                                                                                 service fee will increase
                                                                                         fee will increase the
                                                                                                            the
developer’s marginal
developer's    marginal costs
                          costs and
                                and lead
                                     lead to
                                           to higher
                                              higher prices
                                                      prices in
                                                              in aa model
                                                                    model inin which
                                                                               which developers    maximize profits
                                                                                      developers maximize      profits
(setting aside
(setting  aside other  issues, such
                 other issues, such asas the
                                         the demand
                                             demand elasticity      and the
                                                       elasticity and    the developer's
                                                                             developer’s pricing
                                                                                          pricing strategy).
                                                                                                   strategy).
205
205
         Exhibit 22.
         Exhibit 22.
206
206
           If
           If of of the
                    the free     apps became
                            free apps became paid
                                              paid apps
                                                   apps and
                                                        and were
                                                            were priced
                                                                 priced at
                                                                        at $0.99,
                                                                           $0.99, Ms.
                                                                                  Ms.        would pay
                                                                                             would pay
          for the apps
          for the apps that
                        that had
                             had been
                                  been free. The hypothetical
                                       free. The hypothetical overcharge
                                                              overcharge would
                                                                         would have
                                                                                have been
                                                                                      been 15% of
                                                                                           15% of   ,, or
                                                                                                       or
       .. See  Exhibit 22.
          See Exhibit   22.
207
207
        Consumer Complaint
        Consumer   Complaint at at ¶43
                                   ¶43 ("Notably,
                                       (“Notably, Google
                                                   Google tries
                                                           tries to
                                                                 to deter
                                                                    deter sideloading
                                                                          sideloading through
                                                                                      through an
                                                                                              an array
                                                                                                 array of
                                                                                                       of
technological hurdles
technological          including aa complicated
              hurdles including                  multi-step process
                                    complicated multi-step   process requiring
                                                                      requiring the
                                                                                the user
                                                                                    user to
                                                                                         to make
                                                                                            make changes
                                                                                                 changes to
                                                                                                          to
the device’s
the device's default
             default settings and manually
                     settings and  manually granting
                                             granting various
                                                      various permissions,
                                                               permissions, while
                                                                              while encountering
                                                                                    encountering multiple,
                                                                                                 multiple,
unfounded security
unfounded            warnings that
           security warnings   that suggest
                                    suggest sideloading
                                            sideloading is  unsafe.”).
                                                         is unsafe.").
208
208
         It is aa basic
         It is    basic economic
                        economic concept      that consumers
                                    concept that   consumers acquire
                                                                acquire products
                                                                          products based
                                                                                    based on
                                                                                           on choices  that involve
                                                                                              choices that           the
                                                                                                            involve the
weighing of
weighing    of values
                values and
                        and costs.
                             costs. See,
                                     See, for example, Barron,
                                          for example,   Barron, John
                                                                   John M.M. and
                                                                              and Gerald  J. Lynch,
                                                                                  Gerald J.  Lynch, Economics,
                                                                                                     Economics, Third
                                                                                                                   Third
Edition, 1992,
Edition,  1992, atat pp.
                     pp. 33-39.
                         33-39. See    also Samuelson,
                                 See also                Paul A.,
                                            Samuelson, Paul     A., "Consumption
                                                                    “Consumption Theory       in Terms
                                                                                      Theory in         of Revealed
                                                                                                 Terms of  Revealed
Preference.” Economica,
Preference."    Economica, Vol.Vol. 15,
                                    15, No.
                                         No. 60,  1948, pp.
                                              60, 1948, pp. 243-253
                                                              243-253 at at 243 (“the individual
                                                                            243 ("the             guinea-pig, by
                                                                                      individual guinea-pig,   by his
                                                                                                                   his
market behaviour,
market behaviour, reveals
                      reveals his   preference pattern
                                his preference  pattern —– if
                                                           if there
                                                              there is
                                                                     is such
                                                                        such aa consistent pattern.”). The
                                                                                consistent pattern."). The fact
                                                                                                             fact that
                                                                                                                  that
some consumers
some  consumers make make purchases
                            purchases toto avoid
                                           avoid security
                                                  security problems
                                                            problems reflects
                                                                        reflects the
                                                                                 the value,
                                                                                     value, that
                                                                                            that those
                                                                                                 those consumers    place
                                                                                                       consumers place
on security
on security relative
              relative to
                        to the
                           the cost  of obtaining
                               cost of             the security.
                                        obtaining the  security.

                                                                                                                          67
                                                                                                                          67
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 520 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      consumers' valuing the security of their private information.209 If Google is forced to reduce
      or eliminate warnings or other conduct related to security, then some consumers likely would
      find it necessary to spend more on security.
192. Security apps can be expensive and could easily be more expensive than the reduced
   retail prices for consumers who spend relatively low amounts on Google Play. These types
   of differences between the actual and but-for world should be considered in determining
   whether a consumer is better off in Plaintiffs' but-for world.
193.     Class representatives install and purchase security and privacy apps.21° For example,


                                  212 These class representatives' purchases demonstrate that they
      were willing to pay relatively high amounts for privacy or security.
194. There are numerous security and privacy apps available, and they are purchased by many
   consumers.213 A search of "security apps" in Google Play (e.g., entering "security app" into
   the Google Play search bar) identifies over 200 different apps. Among the top ten security
   apps available on Google Play, ranked by U.S. consumer spend, there are two apps that
   provide security protection by scanning incoming files for malware —                   and
                                has more than               consumer installations and
       has more than             installations. Both apps are free to download but offer
   subscriptions that range from $0.99 per month ($11.88 per year) to $89.99 per year for
             and $0.99 per month ($11.88 per year) to $104.99 per year for              .214
   These subscription amounts are high relative to the amounts many U.S. consumers spend in
   Google Play over the more than five-year class period: as Table 3 above shows,         putative

209
209
        The terms "security"
        The terms “security” and
                             and "privacy"
                                 “privacy” are
                                           are related
                                               related and
                                                       and can
                                                           can refer to similar
                                                               refer to similar issues.
                                                                                issues. See e.g.,
                                                                                        See e.g.,
https://www.ftc.gov/system/files/documents/reports/privacy-data-security-update-2019/2019-
https://www.ftc.gov/system/files/documents/reports/privacy-data-security-update-2019/2019-
privacy-data-security-report-508.pdf.
privacy-data-security-report-508.pdf.
210
210
         See Exhibit 39.
         See Exhibit 39.
211
211




212
212



213
213
        McAfee, an
        McAfee,      an on-line
                         on-line protection
                                  protection company
                                                company andand developer
                                                               developer ofof security  apps describes
                                                                              security apps   describes internet security
                                                                                                        internet security
as consisting
as consisting ofof "a
                    “a range
                       range of
                              of security
                                 security tactics
                                             tactics for protecting activities
                                                     for protecting activities and
                                                                                and transactions
                                                                                    transactions conducted    online
                                                                                                  conducted online
over the
over the internet.
          internet. These
                     These tactics
                            tactics areare meant
                                           meant toto safeguard
                                                      safeguard users
                                                                 users from  threats such
                                                                       from threats   such as
                                                                                            as hacking
                                                                                               hacking into
                                                                                                       into computer
                                                                                                             computer
systems, email
systems,   email addresses,
                   addresses, or
                               or websites;
                                   websites; malicious
                                                malicious software
                                                           software that
                                                                     that can
                                                                          can infect  and inherently
                                                                               infect and  inherently damage
                                                                                                      damage systems;
                                                                                                               systems;
and identity
and            theft by
    identity theft   by hackers
                         hackers whowho steal
                                          steal personal
                                                personal data
                                                          data such
                                                               such as
                                                                     as bank
                                                                        bank account
                                                                              account information    and credit
                                                                                        information and          card
                                                                                                          credit card
numbers. Internet
numbers.              security is
            Internet security   is aa specific
                                      specific aspect
                                                aspect of
                                                        of broader
                                                           broader concepts   such as
                                                                   concepts such    as cybersecurity  and computer
                                                                                       cybersecurity and   computer
security, being
security,  being focused
                   focused on
                            on the
                                the specific
                                      specific threats
                                                threats and
                                                        and vulnerabilities
                                                             vulnerabilities of
                                                                             of online
                                                                                 online access
                                                                                        access and
                                                                                                and use
                                                                                                    use of
                                                                                                        of the
                                                                                                           the internet.”
                                                                                                               internet."
See “What Is
See "What     Is Internet
                 Internet Security?”     McAfee, https://www.mcafee.com/enterprise/en-us/security-
                          Security?" McAfee,        https://www.mcafee.com/enterprise/en-us/security-
awareness/cybersecurity/what-is-internet-security.html, accessed
awareness/cybersecurity/what-is-internet-security.html,           accessed November
                                                                             November 18,     2021.
                                                                                          18, 2021.
214
214
         See Exhibit 40.
         See Exhibit 40.

                                                                                                                      68
                                                                                                                      68
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 521 of 667
                      HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                             ATTORNEYS’ EYES ONLY


      consumer class members paid less than $5 over the class period and                         of
      putative consumer class members paid less than $50.
195. In Plaintiffs' but-for world, where Google does not engage in the challenged conduct
   related to security, some consumers likely would purchase more security and privacy
   protection. Other consumers might not change spending but could face a higher probability
   of experiencing a security breach. Determining whether a consumer is impacted must
   consider not only whether developers' retail prices are lower, but also whether the costs of
   privacy and security are higher. As shown above, the cost of security can be substantial. At
   the same time, many U.S. consumers spend relatively low amounts in Google Play. For
   example, as Table 3 above shows,         of U.S. consumers spent less than $10 over the class
   period.215 Even if one of those consumers experienced an overcharge of        , that
   overcharge (        ) would have been less than security apps that are     per month
           per year and more than      over the class period.216
196. Individualized inquiry is required to determine whether any individual consumer would
   pay more money for security in the but-for world if Google's security warnings were
   removed. For those consumers who would pay more for security in the but-for world, further
   individualized inquiry is required to determine whether that consumer would be better off or
   worse off overall in the but-for world, and thus whether that consumer can show antitrust
   impact and injury. At a minimum, this individualized inquiry is necessary for the      of
   U.S. consumers who spent less than $10 over the class period.
             D. DIFFERENT MEMBERS OF THE PUTATIVE DEVELOPER CLASS LIKELY WOULD
                BE BETTER OFF OR WORSE OFF IN A BUT-FOR WORLD DEPENDING ON HOW
                GOOGLE PLAY CHANGES ITS MONETIZATION STRATEGY
197. In determining whether a putative developer class member was impacted, one must
   consider that Google would have a strong economic incentive to change the way it monetizes
   Google Play in Plaintiffs' but-for world, especially since Google Play incurs significant fixed
   costs to provide valuable services and benefits to developers and consumers. In Plaintiffs'
   but-for world, if one accepts their assumption about lower across-the-board service fees,
   Google Play would have less revenue due to the lower service fee rate and, presumably,
   reduced transactions due to the entry and expansion by competitors. Additionally, it is my
   understanding that Developer Plaintiffs claim that if a developer chose to separately contract
   for payment processing, Google would not earn any revenue from the developer. Service
   fees generated from subscriptions and IAPs accounted for 99% of total Google Play revenue
   during the class period.217 Therefore, in the but-for world described by Developer Plaintiffs,


215
215
         See Exhibit 23.
216
216
        About             of U.S. consumers spent less than $100 over the class period. A 15%
overcharge to these consumers implies a $15 overcharge which is still lower than the costs of security
over the class period. See Exhibit 23.
217
217
          See Exhibit 4. Plaintiffs'
                         Plaintiffs’ experts acknowledge that Google Play incurs significant fixed costs but
fail to take into account that in a but-for world in which Google has fewer transactions, its average fixed
costs would increase and its average margin, taking into account those fixed costs, would fall. See Singer
Report at ¶262 and Sibley Report at ¶245.

                                                                                                         69
                                                                                                         69
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 522 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      nearly all of Google Play revenues would have been "at-risk."218 Those revenues, of course,
      provide a means for Google to support Google Play and invest in services and benefits to
      developers. Faced with that risk, Google would have an incentive to find some other
      mechanism to generate revenue for Google Play.219 Any consideration of antitrust impact
      must account for potential changes to Google Play's business model in a but-for world. The
      fact that Google has considered a range of different business models for Google Play in
      recent years underscores that such changes are at least plausible and should be considered in
      determining impact. Google has considered several ways to adapt to the changed
      competitive circumstances Plaintiffs describe and still achieve its objectives of maintaining a
      high-quality app store that provides value to both developers and consumers while at the
      same time generating revenue for itself.22° Different alternative business models would
      affect some developers differently. Below I discuss certain of these strategy changes and
      their implications for different sets of developers. Without exception, if implemented, the
      changes Google has considered would have caused some developers to be better off and
      others to have been worse off. These changes would also have implications for consumers,
      leaving some consumers better off and some worse off.
                       1. Fee Per Download
198. Google has considered charging a                                                      .221
   Such a strategy would mean that about         of all Google Play developers222 (those who
   offer              ) would, for the first time, be subject to           . The approximately
   30% of putative developer class members that also distribute           223 would, for the first
   time, have                               that they distribute.
199. Depending on the                     , other features of Google Play and the number of a
   developer's downloads, a particular putative developer class member may be worse off with
                     than with Google's current service fee rate. For example,
218
218
         As described
         As described below,
                        below, Consumer
                                Consumer Plaintiffs'
                                             Plaintiffs’ expert,
                                                          expert, Dr.
                                                                  Dr. Singer,
                                                                      Singer, asserts
                                                                               asserts that
                                                                                       that Google Play’s share
                                                                                            Google Play's  share of
                                                                                                                 of
IAP  transactions would
IAP transactions   would decline
                           decline from   about 97%
                                   from about    97% to to 60%
                                                           60% — — aa nearly
                                                                      nearly 40%
                                                                             40% reduction
                                                                                   reduction in
                                                                                             in share.  Dr. Singer
                                                                                                share. Dr.  Singer
has no
has no basis
        basis for
              for his
                  his assumption,
                      assumption, but
                                    but it
                                        it serves
                                           serves to
                                                   to illustrate
                                                      illustrate the
                                                                 the potential
                                                                     potential loss
                                                                               loss to
                                                                                    to Google
                                                                                       Google Play
                                                                                               Play in
                                                                                                    in the
                                                                                                       the but-for
                                                                                                           but-for
world and
world  and the
           the clear
                clear rationale
                      rationale for
                                for Google
                                    Google to to respond.
                                                 respond.
219
219
          See   Deposition of
          See Deposition   of Paul Feng, January
                              Paul Feng,  January 14   and 18,
                                                    14 and      2022, ("Feng
                                                           18, 2022,  (“Feng Dep.")
                                                                              Dep.”) at
                                                                                      at pp.
                                                                                         pp. 158-159     (“If users
                                                                                              158-159 ("If    users
are led
are  led to
         to aa way
               way to
                   to pay
                      pay outside
                          outside of
                                  of Play
                                     Play billing
                                           billing today,
                                                   today, we
                                                          we would
                                                              would not
                                                                     not be
                                                                          be able
                                                                             able to
                                                                                  to collect
                                                                                     collect aa service
                                                                                                service fee.
                                                                                                         fee. II think
                                                                                                                 think
if that was   the main mechanism   that  purchases   are made  through  Play-distributed  apps,  it's
if that was the main mechanism that purchases are made through Play-distributed apps, it's likely we  likely we
would find
would   find mechanisms
               mechanisms to
                           to charge
                              charge aa service
                                        service fee.").
                                                 fee.”).


                                ..
220
220
       Google considered
       Google  considered numerous alternative strategies.
                          numerous alternative strategies. See,
                                                           See, for
                                                                for example, GOOG-PLAY-
                                                                    example, GOOG-PLAY-
000561051.R (May
000561051.R  (May 2019),
                  2019), GOOG-PLAY-003331592.R
                         GOOG-PLAY-003331592.R (August  (August 2019);
                                                                 2019); GOOG-PLAY-000444214.R
                                                                        GOOG-PLAY-000444214.R
(September 2019);
(September 2019); GOOG-PLAY-003335786.R
                  GOOG-PLAY-003335786.R (August(August 19,
                                                        19, 2020).
                                                            2020).
221
221
          See GOOG-PLAY-000336574 at
          See GOOG-PLAY-000336574 at 588; GOOG-PLAY-006990552 at
                                     588; GOOG-PLAY-006990552      at 554,
                                                                      554, 565 (Google considered
                                                                           565 (Google considered
aa fee of
   fee of      to
               to                            ,, with
                                                with some
                                                     some level
                                                          level of
                                                                of                 allowed).
                                                                                   allowed).
222
222
         Exhibit 7.
         Exhibit 7.
223
223
         Exhibit 41.
         Exhibit 41.

                                                                                                                   70
                                                                                                                   70
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 523 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


              offers an app with over              downloads and consumer spend of about
                over the class period.224 At a 30% service fee rate, this putative developer class
      member's fees would be approximately             . However, if service fees were assessed at
      a                                                                                  ' service
      fees would have been about              225 Depending on the number of downloads and the
      amount of consumer spend, some developers would have been better off with
          but others would have been worse off.
200.      If, in the but-for world, Google had changed its monetization strategy to
                  , a putative developer class member with free apps would have service fees on the
      download of free apps that it does not in the actual world. Determining whether a putative
      developer class member is better off in the but-for world would require analyzing not only
      the putative developer class member's apps that generate revenue through consumer spend,
      but also its free apps.226
                        2. App or Developer
201.     Google has also considered charging developers fees for
                                227 In the actual world, the only fee Google charges developers

224
224
         https://play.google.com/store/apps/developer?id=Lowtech+Studios, accessed
         https://play.google.com/store/apps/developer?id=Lowtech+Studios, accessed January
                                                                                   January 24, 2022;
                                                                                           24, 2022;
see this
see this report's
         report’s production.
                  production.
225
225
             strategy considered
         One strategy considered by
                                 by Google
                                    Google was
                                           was to
                                               to charge
                                                  charge
                              See
                              See GOOG-PLAY-000336574 at 588;
                                  GOOG-PLAY-000336574 at      GOOG-PLAY-006990552 at
                                                         588; GOOG-PLAY-006990552 at 554,
                                                                                     554, 565.
                                                                                          565.
For
For             ,, that
                   that would
                        would imply
                              imply                                                         ..
226
226
         Consumer Plaintiffs'
         Consumer       Plaintiffs’ expert,
                                    expert, Dr.
                                              Dr. Singer   argues that
                                                   Singer argues    that Google
                                                                          Google would
                                                                                    would not
                                                                                           not charge
                                                                                                 charge aa fee per download
                                                                                                           fee per  download
in the
in the but-for
       but-for world
                 world because
                         because it   would discourage
                                   it would    discourage consumers
                                                            consumers from from using
                                                                                  using Google    Play and
                                                                                         Google Play     and thereby
                                                                                                             thereby reduce
                                                                                                                       reduce
the overall
the          value of
    overall value     of the
                         the platform.
                             platform. HeHe also
                                               also claims  that it
                                                    claims that   it is
                                                                     is in
                                                                        in Google's
                                                                           Google’s interest,     more broadly,
                                                                                       interest, more   broadly, toto
encourage    consumers to
encourage consumers        to use  Google Play
                              use Google      Play because
                                                   because itit generates
                                                                generates revenue
                                                                              revenue from   advertising. See
                                                                                        from advertising.    See Singer
                                                                                                                  Singer
Report at
Report  at ¶¶270-273.
           ¶¶270-273. EveryEvery monetization
                                   monetization strategy,      however, has
                                                    strategy, however,       has certain
                                                                                 certain costs
                                                                                          costs and
                                                                                                 and benefits
                                                                                                     benefits toto Google,
                                                                                                                   Google,
consumers, and
consumers,    and developers.
                    developers. Google        Play’s existing
                                   Google Play's      existing strategy
                                                                strategy provides
                                                                           provides certain
                                                                                      certain benefits
                                                                                               benefits and
                                                                                                          and efficiencies.
                                                                                                              efficiencies.
However, the
However,    the strategy
                  strategy also
                            also leads  to aa relatively
                                 leads to     relatively small   number of
                                                          small number       of large developers providing
                                                                                large developers    providing aa substantial
                                                                                                                  substantial
portion of
portion of overall     fees which,
            overall fees    which, arguably
                                     arguably hashas other,
                                                     other, detrimental,
                                                             detrimental, consequences
                                                                              consequences to to Google
                                                                                                  Google Play.
                                                                                                           Play. Google
                                                                                                                   Google
must balance
must  balance these
                 these considerations
                        considerations in in choosing
                                              choosing aa method
                                                           method to  to generate
                                                                         generate revenues
                                                                                    revenues andand fund   the operation
                                                                                                    fund the   operation of of
the store.
the store. In
            In aa but-for
                   but-for world
                           world where
                                   where itsits existing
                                                existing strategy
                                                         strategy is is no
                                                                        no longer   providing Google
                                                                            longer providing     Google with
                                                                                                          with the
                                                                                                                the ability
                                                                                                                     ability to
                                                                                                                             to
provide aa high-quality
provide    high-quality app app store,
                                 store, it will be
                                        it will  be forced
                                                    forced to
                                                            to consider
                                                                consider other
                                                                            other strategies
                                                                                   strategies even   if those
                                                                                               even if  those alternative
                                                                                                               alternative
strategies have
strategies have certain     costs. See
                   certain costs.   See e.g.,   Feng Dep.
                                         e.g., Feng    Dep. at
                                                             at pp.
                                                                pp. 353-355;
                                                                     353-355; GOOG-PLAY-003335685.
                                                                                  GOOG-PLAY-003335685.
227
227
         Apple charges
         Apple         developers $99
               charges developers $99 per
                                      per year.
                                          year. See https://developer.apple.com/support/enrollment/.
                                                See https://developer.apple.com/support/enrollment/.
Also, Developer
Also,  Developer Plaintiffs
                    Plaintiffs have
                               have suggested      that Google
                                      suggested that    Google should
                                                                  should charge
                                                                           charge free   apps aa "reasonable
                                                                                    free apps    “reasonable fee”
                                                                                                                fee" for  the
                                                                                                                      for the
distribution of
distribution  of apps
                 apps in
                       in Google
                          Google Play.
                                    Play. See   Developer Complaint
                                            See Developer      Complaint ¶  ¶ 210
                                                                              210 ("Nor
                                                                                    (“Nor is
                                                                                           is the
                                                                                              the tie
                                                                                                  tie necessary
                                                                                                       necessary to
                                                                                                                  to prevent
                                                                                                                     prevent
“free riding"
"free riding” byby developers
                   developers asas to
                                    to distribution
                                       distribution via    the Google
                                                      via the  Google Play
                                                                         Play Store.
                                                                              Store. In   fact, Google's
                                                                                       In fact, Google’s current
                                                                                                            current model
                                                                                                                     model
encourages
encourages free    riding. Among
              free riding. Among the the apps
                                         apps that
                                               that benefit
                                                     benefit from    being on
                                                               from being    on the
                                                                                 the Google    Play Store
                                                                                      Google Play           but do
                                                                                                     Store but  do not
                                                                                                                    not sell
                                                                                                                         sell
digital goods
digital         are many
         goods are  many categories
                           categories ofof very
                                            very valuable
                                                  valuable commercial
                                                              commercial apps
                                                                            apps such
                                                                                   such as,
                                                                                         as, for
                                                                                             for example,    those used
                                                                                                 example, those     used by
                                                                                                                          by
banks and
banks   and other
             other financial
                   financial institutions,   brokerages, insurance
                              institutions, brokerages,      insurance companies,
                                                                         companies, andand real
                                                                                            real estate
                                                                                                 estate services
                                                                                                         services to
                                                                                                                   to interact
                                                                                                                       interact
with customers,
with  customers, in   addition to
                   in addition  to those
                                   those apps
                                           apps that
                                                 that sell
                                                      sell billions
                                                            billions of
                                                                      of dollars
                                                                         dollars of
                                                                                  of physical
                                                                                      physical goods
                                                                                                goods (e.g.,
                                                                                                        (e.g., Amazon),
                                                                                                               Amazon),
services (e.g.,
services  (e.g., Uber),
                 Uber), or
                         or advertising
                            advertising (e.g.,
                                          (e.g., Facebook).
                                                 Facebook). Google
                                                                Google could
                                                                          could elect   to charge
                                                                                 elect to  charge aa reasonable    fee for
                                                                                                      reasonable fee        the
                                                                                                                        for the
Google Play
Google    Play Store’s  distribution services,
               Store's distribution    services, but
                                                  but it
                                                       it does  not. Instead,
                                                          does not.  Instead, it
                                                                               it reaps
                                                                                  reaps aa monopolistic
                                                                                           monopolistic windfall
                                                                                                           windfall from
                                                                                                                      from


                                                                                                                             71
                                                                                                                             71
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 524 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      to publish apps in Google Play is a one-time fee of $25.228 Google has considered adding
                                            . For example, Google considered several
                                             The
                     .229
202. Many proposed developer class members would be worse off in a but-for world in which
   Google charged                                                             As shown in Figure
   9 below, during the class period, more than             of the putative developer class
   members paid less than                      . Service fees for named Developer Plaintiff
   Peekya App Services were          during the class period through 2021.230 If, in the but-for
   world, Google Play charged these developers                              instead of the 30%
   service fee rate, more than            of these developers' fees would have been lower in the
   actual world than in the but-for world.




Android in-app
Android          payments, to
         in-app payments,   to the
                               the detriment
                                   detriment of
                                             of developers
                                                developers and
                                                           and consumers
                                                               consumers alike.").
                                                                          alike.”). See also Complaint,
                                                                                    See also Complaint,
State of
State of Utah
         Utah et al. v.
              et al. v. Google  LLC, filed
                        Google LLC,        July 7,
                                     filed July 7, 2021,
                                                   2021, Case
                                                         Case No.
                                                              No. 3:21-cv-05227
                                                                  3:21-cv-05227 ("Plaintiff
                                                                                 (“Plaintiff States'
                                                                                             States’
Complaint”) ¶
Complaint")  ¶ 189.
               189.
228
228
         https://support.google.com/googleplay/android-developer/answer/6112435.
         https://support.google.com/googleplay/android-developer/answer/6112435.
229
229
         See GOOG-PLAY-006990552 at
         See GOOG-PLAY-006990552      at 554   and GOOG-PLAY-000565001.R
                                         554 and   GOOG-PLAY-000565001.R at       at 019.R.
                                                                                     019.R. Other
                                                                                             Other amounts
                                                                                                   amounts
considered  were
considered were aa
   .. Google
      Google also
             also considered
                  considered
           Apple charges
           Apple  charges developers
                          developers who
                                     who list
                                         list apps
                                              apps in
                                                   in its App Stores
                                                      its App Stores aa fee of $99
                                                                        fee of     per year.
                                                                               $99 per year. See
                                                                                             See
https://developer.apple.com/support/compare-memberships/.
https://developer.apple.com/support/compare-memberships/.
230
230
         See this report's
         See this report’s production.
                           production.

                                                                                                          72
                                                                                                          72
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 525 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY




                     3.                           Imply Not All Service Fee Rates Would
                          Have Been Lower in the But-For World
203.    Documents produced in this case show that Google also considered introducing
                              whereby service fee rates would
                                            .231 If Google implemented
            in the but-for world, some developers would not have been impacted.
204. One proposal that Google considered was to reduce the service fee rate based on when a
   consumer                                                  For example, Google considered
   having a 30% rate for transactions associated with an individual consumer
           but having a       rate apply                        .232 The distribution of the

231
        See
        See e.g., GOOG-PLAY-006990552 at
            e.g., GOOG-PLAY-006990552 at 554
                                         554

                             ;; GOOG-PLAY-003335786.R
                                GOOG-PLAY-003335786.R at
                                                      at 808.R
                                                         808.R

                                                                               See also
                                                                               See also GOOG-PLAY-
                                                                                        GOOG-PLAY-
003331592.R at
003331592.R at 605.R; GOOG-PLAY-000565001.R at
               605.R; GOOG-PLAY-000565001.R at 002.R.
                                               002.R.
232
        GOOG-PLAY-003331592.R at
        GOOG-PLAY-003331592.R           at 606.R shows different
                                           606.R shows different policy
                                                                  policy parameters
                                                                         parameters and
                                                                                     and the
                                                                                         the resulting
                                                                                             resulting
average effective
average effective service
                  service fee
                          fee rates, ranging from
                              rates, ranging from      to
                                                       to     .. In 2020, aa policy
                                                                 In 2020,    policy based
                                                                                    based on
                                                                                          on       for the
                                                                                                   for the


                                                                                                             73
                                                                                                             73
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 526 of 667
                        HIGHLY CONFIDENTIAL
                        HIGHLY CONFIDENTIAL —
                                            – ATTORNEYS'
                                              ATTORNEYS’ EYES
                                                         EYES ONLY
                                                              ONLY


                      would determine the overall service fee rate. If the distribution of a
      developer's users were skewed toward
             the developer's overall service fee rate would tend toward       . On the other hand, if
      the distribution of a
          , the developer's overall service fee rate would tend toward
205.      Many apps generate transactions for
                                                                If Google adopted this
                all the users of those apps would make purchases from the app for
           and all transactions for those apps would have been subject to a 30% service fee rate.
      Among putative developer class members' apps that were published between 2016 and 2020,
           existed less than one year,233 as seen in Table 7. Thus, for those    of apps,
      developers were no worse off in the real world than they would have been in a but-for world
      with

Table 7. Putative
Table 7.          Developer Class
         Putative Developer Class Members'
                                  Members’ Apps
                                           Apps with
                                                with Lifespan
                                                     Lifespan of
                                                              of 12
                                                                 12 Months
                                                                    Months or
                                                                           or Less
                                                                              Less

                                                              Putative Developer Class
                                     Putative Developer Class   Members' Apps with
First Publish Year                                                                            Percentage
                                          Members' Apps       Lifespan of 12 Months or
                                                                        Less
2016                                          14,55S                    4,069                    28%
2017                                          14,S99                    6,275                    42%
201S                                          11,079                    4,850                    44%
2019                                          10,220                    4,607                    45%
2020                                          9,S91                     5,315                    54%
2016 2020                                     60,647                    25,116                   41%

Source:
Source:
      Exhibit 42.
      Exhibit 42.

206.      Google also has considered lowering the service fee rate for those apps that
                                         Several ways of implementing this strategy were
      considered, including different service fee rates depending on
      For example, one structure that Google considered was that a service fee rate of      would
      apply to transactions generated from
                                                 ; and a service fee rate of     would apply to
      transactions
                                                         ative monetization strategy would have
      differential effects across developers depending on how each developer




first year and
first year and       thereafter was
                     thereafter was recommended
                                    recommended in
                                                in aa policy
                                                      policy review. See GOOG-PLAY-006990552
                                                             review. See GOOG-PLAY-006990552 at
                                                                                             at
554.
554.
233
233
          In the data,
          In the data, these
                       these are
                             are apps
                                 apps with
                                      with recorded
                                           recorded transactions
                                                    transactions for
                                                                 for aa period
                                                                        period of
                                                                               of 12
                                                                                  12 months
                                                                                     months or
                                                                                            or less.
                                                                                               less.

                                                                                                           74
                                                                                                           74
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 527 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


                                                                                  234 Of course,
      large, well-known developers that have recognized app names and can afford their own
      advertising (through, e.g., "deep links") are more likely to obtain more users through
      developer-owned sources. Therefore, this                   monetization strategy would have
      benefited those large, well-known developers, while not necessarily benefiting the small or
      start-up developers that account for a substantial percentage of the proposed developer class
      members.235 Individualized inquiry would be required to determine how any developer
      would have been affected by this kind of service fee and whether that developer could show
      antitrust impact or injury.
                     4. Lower Service Fee Rates Accompanied by

207. As part of Google's consideration of alternative business models for Google Play, it
   considered lowering service fee rates but
                             .236 For example, Google considered that it could increase the

                                                                                      in Google Play.237
208. Some developers would have been better off if Google had adopted such a strategy. For
   developers that value and are willing to pay for user acquisition and re-engagement, the
   increased ability to                               would have been an advantage. Those
   developers would have been able to obtain the services they value in the amount that they
   choose.
209. However, increasing the                                 , even with lower service fee rates, would
   not have benefited developers that rely on
             , as many small developers do.238

             or other mechanisms certain developers use to obtain consumers.
210. A strategy for monetizing Google Play that relied more on                      would
   have been more costly for developers that                  but pay relatively small


234
234
         See e.g.,
             e.g., GOOG-PLAY-003335786.R
                   GOOG-PLAY-003335786.R at
                                         at 808.R;
                                            808.R; GOOG-PLAY-0110236932.
                                                   GOOG-PLAY-0110236932.
235
235
        It also
           also contemplated
                contemplated aa strategy
                                strategy in which these
                                         in which    these two
                                                           two components would be
                                                               components would be combined and that
                                                                                   combined and that aa
lower service fee
lower service  fee rate would be
                   rate would be applied
                                 applied for  all transactions
                                          for all transactions

                                                                                                             ..
These  alternatives would
These alternatives  would favor the relatively
                          favor the relatively small
                                               small number
                                                     number ofof large, well-known developers
                                                                 large, well-known  developers included in
                                                                                               included in
the proposed
the proposed developer
              developer class
                        class and
                              and not
                                  not the
                                       the substantial
                                           substantial percentage
                                                       percentage of
                                                                   of smaller
                                                                      smaller developers.
                                                                              developers.
236
236
       See GOOG-PLAY-006990552
           GOOG-PLAY-006990552 atat 554, GOOG-PLAY-003335786.R at
                                    554, GOOG-PLAY-003335786.R at 808.R,
                                                                  808.R, GOOG-PLAY-
                                                                         GOOG-PLAY-
003335685 at
003335685 at 694,
             694, and
                  and GOOG-PLAY-000561051.R
                      GOOG-PLAY-000561051.R at
                                            at 061.R.
                                               061.R.
237
237
         See GOOG-PLAY-003335786.R
             GOOG-PLAY-003335786.R at
                                   at 808.R
                                      808.R and
                                            and GOOG-PLAY-000561051.R
                                                GOOG-PLAY-000561051.R at
                                                                      at 061.R.
                                                                         061.R.
238
238
        See GOOG-PLAY-003335786.R
            GOOG-PLAY-003335786.R at
                                  at 808.R
                                     808.R ("Business
                                           (“Business models
                                                      models we
                                                             we have
                                                                 have considered  [include]
                                                                      considered [include]
                                               Linked to
                                               Linked to value; UX deterioration;
                                                         value; UX                Difficult for
                                                                   deterioration; Difficult for
small partners.").
small partners.”).

                                                                                                          75
                                                                                                          75
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 528 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      amounts of fees (in dollars), even at lower service fee rates.239 Some developers have
      relatively low amounts of consumer spend and therefore have relatively low amounts of
      service fees — even at a 30% service fee rate. For those developers, it is likely that
                                                                  would exceed those service fees.
211. Even for some relatively large developers,                                  could have exceeded
   the amount of the service fees associated with their apps.

                                                            24°
212. Antitrust impact must consider that Google would have strong economic incentive to
   change the way it monetizes Google Play in Plaintiffs' but-for world. Moreover, Google has
   considered different monetization alternatives in recent years, making such changes
   plausible. Importantly, any one of the changes Google has considered would have caused
   some developers to be better off and others to have been worse off in the but-for world.
   Determining which developers would have been better off in the but-for world varies
   depending on the monetization strategy Google would have made in the but-for world as well
   as the characteristics of individual apps and developers.
             E.   ADDITIONAL ECONOMIC REASONS SOME MEMBERS OF THE PUTATIVE
                  DEVELOPER CLASS WOULD NOT BE BETTER OFF IN THE BUT-FOR WORLD

213. Determining whether a putative developer class member is better off in the but-for world
   requires a consideration of the developer's profits, which in turn requires consideration of the
   developer's service fee rate, prices, and costs in the actual and but-for worlds.
214. As described above, not all service fee rates necessarily would have been lower in the
   but-for world and it is not necessarily the case that service fees would have been assessed as
   a percentage of consumer spend. But even if service fee rates would have been based on a
   percentage of consumer spend and a developer's service fee rate was lower, the developer
   may still have earned lower profits because the developer's revenues would have been lower
   or its costs would have been higher in the but-for world.
                     1.   Some Developers Would Have Incurred Higher App Distribution
                          Costs in the But-For World
215. Developer Plaintiffs claim that in the but-for world, there would have been more
   alternative app distribution channels.241 Unless all consumers would have utilized all
   distribution channels (and did so with at least a similar amount of intensity) then developers

239
239     See GOOG-PLAY-003335685
             GOOG-PLAY-003335685 at   at slide
                                         slide 10.
                                               10. One
                                                   One proposal,
                                                       proposal, described
                                                                  described as
                                                                             as aa "strawman,"
                                                                                   “strawman,” was
                                                                                               was to
                                                                                                   to
increase the
increase the
Others listed
Others listed on the same
              on the same document
                          document included
                                   included reducing  the service
                                             reducing the service fee
                                                                  fee rate
                                                                      rate to
                                                                           to

       .. See also GOOG-PLAY-003335786.R
          See also GOOG-PLAY-003335786.R at
                                         at 814.R.
                                            814.R.
240
240
         See   GOOG-PLAY-006990552 at
         See GOOG-PLAY-006990552   at 554
                                      554
                                 work because
                                 work  because devs
                                               devs value
                                                    value UA
                                                          UA and
                                                             and re-engagement
                                                                 re-engagement and
                                                                               and are
                                                                                   are willing
                                                                                       willing to
                                                                                               to
pay for
pay for it.”).
        it.").
241
         See, for example,
         See, for example, Sibley Report at
                           Sibley Report  at ¶211.
                                             ¶211. Dr.
                                                   Dr. Sibley also concludes
                                                       Sibley also           that the
                                                                   concludes that the alleged
                                                                                      alleged conduct led to
                                                                                              conduct led to
barriers to
barriers to entry. See Sibley
            entry. See Sibley Report
                              Report at
                                     at ¶¶175,
                                        ¶¶175, 202,
                                                202, 207.
                                                     207.

                                                                                                         76
                                                                                                         76
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 529 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      would have needed to utilize more app stores than they do in the actual world to reach the
      same number of consumers or forego distribution to some subset of consumers. That is, in
      the actual world, consumers utilize a certain number of app stores, including Google Play. In
      the but-for world, with more app stores, even assuming an increase in competition, consumer
      demand would have been more spread across more app stores and so, to reach the same
      number of consumers, developers would have had to offer their apps on more stores.
216. In addition, according to Developer Plaintiffs, there would not only have been more
   stores in the but-for world, but those stores could have used different "forked" versions of
   Android.242 Different "forked" Android operating systems imply that the technical
   requirements for developers to list apps on stores developed for each fork are different from
   — that is, mutually incompatible with — one another. Depending on the extent of the
   differences across variants of Android and app stores, a developer listing an app in multiple
   stores or models of Android incompatible with one another could have been forced to create
   different versions of the app (and different versions of each update) for each store.
217. For some developers, distributing through more stores or stores that have varying
   technical requirements would have increased app distribution costs.243 For example, when
   Epic Games Inc. was developing Fortnite for Android, because there were different versions
   of Android and types of Android devices (implicating different device specifications, screen
   sizes, etc.),


                         244 In a but-for world with even more and more varied platforms,
      developers like Epic Games would have had to work with even more different platform
      teams to resolve technical issues and ensure their apps worked well for consumers.


242
242
         See,  for example,
         See, for  example, Developer
                             Developer Complaint
                                        Complaint at at ¶¶71-72,
                                                        ¶¶71-72, Sibley  Report at
                                                                  Sibley Report at ¶¶222-225.
                                                                                   ¶¶222-225. Dr.
                                                                                                Dr. Sibley refers
                                                                                                    Sibley refers
 to Google’s  contracts with  OEMs   that “restrict OEMs’   ability to manufacture  and sell any device that
to Google's contracts with OEMs that "restrict OEMs' ability to manufacture and sell any device that uses    uses
aa version
   version of
           of Android
              Android that
                       that is not approved
                            is not approved by
                                             by Google."
                                                 Google.”
243
243
        See, for example,
        See, for example, Deposition
                           Deposition of of Lawrence
                                            Lawrence Koh,
                                                        Koh, December
                                                              December 9,  9, 2021,
                                                                              2021, ("Koh
                                                                                    (“Koh Dep.")
                                                                                            Dep.”) at
                                                                                                    at pp.
                                                                                                       pp. 30,
                                                                                                            30, 36,
                                                                                                                36,
134, 321-22  (describing that  the  decision to list an app  on multiple  stores requires  a consideration
134, 321-22 (describing that the decision to list an app on multiple stores requires a consideration of the  of the
costs and
costs and benefits
          benefits associated
                   associated with
                               with doing
                                      doing so).
                                            so). See   also https://developer.amazon.com/docs/app-
                                                  See also  https://developer.amazon.com/docs/app-
submission/migrate-existing-app.html (documentation
submission/migrate-existing-app.html      (documentation regarding
                                                            regarding Migrating
                                                                        Migrating anan Existing
                                                                                       Existing App
                                                                                                 App toto the
                                                                                                          the
Amazon Appstore)
Amazon   Appstore) and
                    and GOOG-PLAY-000560564
                         GOOG-PLAY-000560564 at         at 575  (“So far
                                                           575 ("So   far only
                                                                          only 20 of top
                                                                               20 of  top 100  apps on
                                                                                          100 apps  on Play
                                                                                                         Play have
                                                                                                              have
published to
published to Amazon.
             Amazon. Many
                       Many (like
                                (like                              are concerned
                                                                   are concerned about
                                                                                   about the
                                                                                          the large and ongoing
                                                                                              large and   ongoing
development // maintenance
development    maintenance burden
                              burden and
                                       and potential
                                           potential loss
                                                      loss of
                                                           of Go  Global support.
                                                              Go Global    support. Decisions
                                                                                     Decisions may
                                                                                                may change
                                                                                                     change asas
Amazon gets
Amazon   gets more
              more users.").
                    users.”).
244
         See Deposition of
         See Deposition of Christopher
                           Christopher Babcock,
                                       Babcock, February
                                                February 17, 2022,
                                                         17, 2022,




                                                                                                                  77
                                                                                                                  77
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 530 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


218. Characteristics of an app, as well as characteristics of consumer demand for that app, will
   affect the degree to which the developer would have been subject to increased distribution
   costs in the but-for world. For instance, technical complexity of the app and the frequency of
   updates, affect the difficulty of adapting an app to different platforms and thus affect the
   amount of increased distribution costs. In addition, those apps would have needed to be
   monitored more closely, on more platforms, to ensure the app is working properly and
   satisfies consumer expectations.
219. There is substantial variation across apps in terms of their technical complexity. Apps
   that perform relatively complex functions, have relatively more features, or work differently
   on different devices may be more difficult and costly to adapt to different platforms. Simple
   apps, on the other hand, will generally be easier and less costly to adapt. Some measures of
   app complexity used in the literature include the size of the app and the version of the
   Android operating system required for the app to perform among other characteristics.245
220. Some apps that require more frequent updates would have incurred higher distribution
   costs in the but-for world, because the apps would have needed to be updated in multiple
   stores on multiple different platforms. Updates are performed both because the app must be
   revised to "fix bugs" or to upgrade security as well as because updates provide improvements
   such as new features or enhancements.
221. Developers' costs in the but-for world also may have been higher for other reasons.
   There are costs associated with transacting with an app store, including, for example, the
   costs of understanding and complying with each app store's terms and conditions, and
   marketing the app in each store. As a developer offers an app in more stores, those costs can
   increase.246
222. Characteristics of consumer demand for an app would likewise affect distribution costs in
   the but-for world. If the app's value increases with the number of users — as the value of
   dating apps, social network apps, and multi-player gaming apps, for example, do — the
   success of the app will require broad distribution across multiple stores and the developer

245
245
         See, for example, Ghose, Anindya,Anindya, and
                                                   and Sang
                                                        Sang Pil
                                                              Pil Han,
                                                                  Han, "Estimating
                                                                        “Estimating Demand
                                                                                        Demand forfor Mobile
                                                                                                      Mobile
Applications    in the New   Economy,”      Management    Science,   Vol.  60,  No.  6, 2014,
Applications in the New Economy," Management Science, Vol. 60, No. 6, 2014, pp. 1470-1488.     pp. 1470-1488.
According to
According    to these
                 these criteria,
                       criteria, aa relatively
                                    relatively simple
                                               simple app,
                                                       app, with
                                                            with relatively
                                                                  relatively few
                                                                              few features   is KLWP
                                                                                    features is KLWP Live
                                                                                                        Live Wallpaper
                                                                                                             Wallpaper
Pro Key,
Pro  Key, an
           an app
               app categorized
                    categorized as as aa "Tool,"
                                         “Tool,” published
                                                 published by
                                                            by Kustom
                                                               Kustom Industries.
                                                                         Industries. TheThe size
                                                                                             size of
                                                                                                  of the
                                                                                                     the app
                                                                                                         app is
                                                                                                             is 1.8
                                                                                                                1.8
megabytes; it
megabytes;    it requires
                 requires Android
                           Android version
                                       version 4.4
                                               4.4 or
                                                   or higher.
                                                      higher. An
                                                               An example
                                                                   example of of aa relatively
                                                                                    relatively complex
                                                                                                complex app
                                                                                                         app is
                                                                                                             is Five
                                                                                                                 Five
Nights at
Nights  at Freddy's
           Freddy’s AR:AR: Special     Delivery, an
                            Special Delivery,    an app
                                                    app categorized
                                                         categorized asas aa Strategy
                                                                             Strategy Game,
                                                                                        Game, published
                                                                                                published by
                                                                                                          by Illuminix
                                                                                                              Illuminix
Inc.
Inc. The   size of
      The size   of this
                    this app
                         app is
                              is 185   megabytes; it
                                 185 megabytes;    it requires
                                                      requires Android
                                                               Android version
                                                                         version 7.0    or higher.
                                                                                    7.0 or higher.
https://play.google.com/store/apps/details?id=org.kustom.wallpaper.pro;
https://play.google.com/store/apps/details?id=org.kustom.wallpaper.pro;
https://play.google.com/store/apps/details?id=com.illumix.fnafar.
https://play.google.com/store/apps/details?id=comillumix.fnafar.
246
246
         See
         See




                                                                                                                    78
                                                                                                                    78
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 531 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      will have strong incentives to incur additional distribution costs. Some developers require
      broad distribution to attract the few paying consumers that account for a substantial amount
      of overall paid transaction revenue. Many apps that are free to download, for example, have
      a high number of users but derive revenue from IAP transactions from a relatively small
      number of those users. Zynga Inc. is a developer of apps that are free to download. Its
      paying consumers account for about 3% of the total number of consumers that download the
      app.247 Zynga needs broad distribution of its app to find the customers that generate revenue.
223. Listing an app in multiple stores can also make discovery of the app more costly. The
   success of some apps for some developers is driven, at least in part, by obtaining a given
   number of downloads in a store248 or reaching the "top" of an app category.249 The benefits
   from the discovery associated with such featuring will be more difficult to obtain if the app
   must split its downloads across multiple stores.
224. Variation across developers in the factors that affect distribution costs in the but-for
   world implies that determination of impact will vary across developers, requiring
   individualized inquiry for each developer.
                       2. Some Developers Likely Would Have Obtained Fewer App
                          Distribution Services in the But-For World
225. Google provides developers with numerous valuable services.250 In a but-for world,
   Google could have adjusted the type and/or level of services provided to developers.
   Changes in the services offered or the terms under which the services were offered would
   have had a differential impact on developers depending on how valuable a particular service
   is to them and whether they could have afforded to purchase the service from Google or
   elsewhere.251

247
247
         Zynga Inc.
         Zynga      Form 10-K,
               Inc. Form 10-K, 2020,
                               2020, at
                                     at p.
                                        p. 3.
                                           3.
248
248
         See, for example,
         See, for example,



249
         See,
         See, e.g., https://www.storemaven.com/academy/how-to-choose-an-app-category/ ("The
              e.g., https://www.storemaven.com/academy/how-to-choose-an-app-category/                     (“The category
                                                                                                                 category
you choose
you  choose needs
             needs to
                    to be
                       be relevant
                           relevant to
                                     to your
                                        your app,
                                               app, of
                                                     of course.
                                                        course. ButBut it
                                                                        it should
                                                                           should also
                                                                                  also enable
                                                                                        enable your
                                                                                               your app
                                                                                                     app to
                                                                                                          to rank  well in
                                                                                                             rank well  in
category charts.
category  charts. Users
                   Users often
                          often discover
                                  discover new
                                            new apps
                                                   apps to
                                                         to download
                                                            download by  by perusing
                                                                             perusing the
                                                                                       the charts.
                                                                                           charts. This  means that
                                                                                                   This means    that
high-ranking apps
high-ranking   apps generally
                     generally receive
                                 receive aa lot  of traffic
                                            lot of  traffic and
                                                             and are
                                                                 are able
                                                                     able toto generate  more organic
                                                                               generate more   organic downloads...
                                                                                                        downloads…
The  category   you choose   for  your app   can  affect  its discoverability   and  conversion
The category you choose for your app can affect its discoverability and conversion rates in both rates in  both the
                                                                                                                the Apple
                                                                                                                    Apple
App and
App   and Google
          Google Play
                   Play stores.
                         stores. The   trick to
                                   The trick  to choosing
                                                  choosing thethe right  category for
                                                                  right category   for your
                                                                                       your unique  app is
                                                                                             unique app  is balancing
                                                                                                            balancing
relevance with
relevance  with your
                 your competition.”);    https://support.google.com/googleplay/android-
                       competition."); https://support.google.com/googleplay/android-
developer/answer/9859673 ("You
developer/answer/9859673       (“You can
                                       can choose
                                             choose aa category
                                                        category andand add
                                                                         add tags
                                                                              tags to
                                                                                   to your
                                                                                      your app
                                                                                            app or
                                                                                                or game
                                                                                                   game in   Play
                                                                                                          in Play
Console. Categories
Console.   Categories and
                        and tags
                             tags help
                                   help users
                                        users toto search   for and
                                                   search for   and discover    the most
                                                                     discover the   most relevant  apps in
                                                                                          relevant apps  in the
                                                                                                            the
Play Store.”).
Play  Store.").
250
250
         See Appendix D.
         See Appendix D.
251
        See GOOG-PLAY-003335786.R at
        See GOOG-PLAY-003335786.R at 808.R
                                     808.R (Google
                                           (Google has
                                                   has considered
                                                       considered "charge
                                                                  “charge for Play services
                                                                          for Play services
individually”).
individually").



                                                                                                                      79
                                                                                                                      79
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 532 of 667
                                          – ATTORNEYS'
                      HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


226. In the actual world, Google made many investments focused on developers who generate
   revenue from consumer spend, such as subscription services, numerous different forms of
   payment, and others. In Developer Plaintiffs' but-for world, if Google were generating
   revenue in some other way, those investments would likely have been refocused and the
   putative developer class members that generate revenue from consumer spend may not have
   had the same tools and services in the but-for world from Google. Whether developers could
   have obtained the same tools at the same cost depends on the tools needed by the developer
   and their cost from other sources. Developers that earn revenue from IAPs could have been
   worse off than developers that earn revenue from ads, for example, because Google would
   have had economic incentives to invest more in tools for ads than in tools for IAPs.252
227. Certain payment processing services are more costly than others and if in the but-for
   world Google were forced to reduce its service fee rate, some of those services may not have
   been provided. For example, as discussed above, approximately          of the U.S. consumers
   use DCB.253 The cost to Google of processing DCB is                            on average,
   and the estimated cost of processing DCB to developers is               — as much as     .254
   If some developers have relatively more DCB payments, the cost to Google to provide
   services to these developers would be relatively high, making it unlikely that Google would
   make a uniform reduction to the service fee rate to 15%. Either Google would have service
   fee rates that vary across the forms of payment or Google would not offer those payment
   forms that are particularly costly.255 Developers that rely more on DCB would have been
   worse off than developers not reliant on that payment form. Individualized inquiry is
   required to determine which developers would be better off and which developers would
   have been worse off in the but-for world.
228.    If, in the but-for world a developer had to spend more to obtain services than it saved in
   lower service fees, the developer would have been worse off. About          of the putative
   developer class members generated $100 or less in consumer spend across all years of the
   class period and therefore would have had (at most)       in lower service fees in the but-for
   world.256 If, in the but-for world, any of these developers had to separately purchase a
   service that was previously obtained through Google Play, and the cost of that service was
   greater than $15, the developer would have been worse off in the but-for world.




252
252
        Marchak Ex.
        Marchak   Ex. 375
                      375 (GOOG-PLAY-007628059)
                          (GOOG-PLAY-007628059) at     at 065
                                                          065 ("Because
                                                              (“Because ofof aa choice 12 years
                                                                                choice 12 years ago
                                                                                                ago to
                                                                                                    to
charge 30%
charge 30% for
            for premium
                premium downloads,
                          downloads, we've
                                      we’ve invested
                                            invested in
                                                     in IAP,  FOP coverage,
                                                        IAP, FOP  coverage, DCB,
                                                                               DCB, Gift
                                                                                      Gift Cards,
                                                                                           Cards, Growth
                                                                                                  Growth
Consulting, Subs,
Consulting, Subs, Points.
                  Points. Imagine
                           Imagine if
                                   if we
                                      we decided
                                         decided to
                                                 to charge 30% of
                                                    charge 30%  of all
                                                                   all ad
                                                                       ad sales  instead?”).
                                                                          sales instead?").
253
253
        See Exhibit 38.
        See Exhibit 38.
254
254
        See GOOG-PLAY-000337564 at-587.
        See GOOG-PLAY-000337564 at-587.
255
255
        See GOOG-PLAY-006990552 at
        See GOOG-PLAY-006990552 at 555.
                                   555.
256
256
        Exhibit 9
        Exhibit 9 and
                  and Developer
                      Developer Complaint
                                Complaint at
                                          at ¶244.
                                             ¶244.

                                                                                                           80
                                                                                                           80
          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 533 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


VII.     DEVELOPER PLAINTIFFS' EXPERTS HAVE NO BASIS FOR THEIR CLAIM
         THAT ALL DEVELOPERS WOULD HAVE BEEN SUBJECT TO A LOWER
         SERVICE FEE RATE IN THE BUT-FOR WORLD
   229. Developer Plaintiffs' expert, Dr. Sibley, offers an overly simplistic description of the but-
      for world and opinion of common impact. According to Dr. Sibley, absent the alleged
      conduct, "more alternative app distribution options would be available to a larger number of
      developers of Android apps," and the availability of those "competitive options" would have
      the effect of aligning prices more closely to costs.257 Dr. Sibley states that in the but-for
      world, Google would face competition for all developers because all developers would
      "enjoy competitive alternatives," and faced with such competition, "it is likely that Google
      would reduce its default service fee offered to all developers below 30W258
   230. In this section, I discuss Dr. Sibley's opinion on classwide impact. First, I show that Dr.
      Sibley's finding of classwide impact is contradicted by his own finding that some developers
      "resisted" Google's alleged conduct and negotiated "competitive" service fee rates in the
      actual world.259 Dr. Sibley's admission that some but not all developers obtained
      "competitive" rates in the actual world shows that he ignores differences across developers
      that would continue to exist in the but-for world so that only some, but not all, developers in
      the but-for world would obtain lower service fees.
   231. I next address the bases for Dr. Sibley's conclusion that all developers were impacted
      because in the but-for world, all developers' apps supposedly would benefit from increased
      competition and, as a result, all developers' service fee rates would have been lower.260 Dr.
      Sibley's opinion is an assumption. Even accepting Dr. Sibley's claim that there would have
      been an increase in competition in the but-for world, it is not necessarily the case that all
      developers would obtain lower service fees from the increase in competition. Classwide
      impact cannot be assumed. An analysis is required to determine whether each developer
      would benefit from such an increase in competition.261 Determining whether a developer

   257
   257
            Sibley Report at
            Sibley Report at ¶211,
                             ¶211, 250.
                                   250.
   258
   258
            Sibley Report at
            Sibley Report at ¶258.
                             ¶258.
   259
   259
            Sibley Report at
            Sibley Report at ¶¶
                             ¶¶ 255-57.
                                255-57. Dr.
                                         Dr. Williams,
                                             Williams, another
                                                       another Developer
                                                               Developer Plaintiff
                                                                          Plaintiff Expert,
                                                                                    Expert, utilizes
                                                                                            utilizes the
                                                                                                     the service
                                                                                                         service
   fee rates obtained
   fee rates obtained by
                      by these
                         these putative
                               putative developer
                                        developer class
                                                  class members
                                                        members as
                                                                as aa benchmark
                                                                      benchmark for
                                                                                  for the
                                                                                      the but-for
                                                                                          but-for service
                                                                                                  service fee
                                                                                                           fee
   rate. See
   rate. See Williams
              Williams Report
                       Report at
                               at ¶60.
                                  ¶60.
   260
   260
           Dr. Sibley
           Dr. Sibley claims
                      claims that
                              that all
                                   all developers
                                       developers would
                                                  would have
                                                        have lower
                                                              lower service
                                                                    service fees
                                                                            fees in the but-for
                                                                                 in the but-for world.
                                                                                                world. See
                                                                                                        See
   Sibley Report at
   Sibley Report at ¶258
                    ¶258 ("In
                          (“In the
                               the but-for
                                   but-for world,
                                           world, Google
                                                  Google would
                                                          would face
                                                                 face competition  for all
                                                                      competition for  all developers,
                                                                                           developers, including
                                                                                                       including
   those paying
   those paying the
                the 30%
                    30% service
                          service fee,
                                  fee, because
                                       because all
                                               all developers
                                                   developers would
                                                              would enjoy  competitive alternatives.")
                                                                     enjoy competitive   alternatives.”)
   [emphasis in
   [emphasis    original]
             in original]
   261
   261
            In other industries,
            In other industries, increases  in competition
                                  increases in competition havehave been
                                                                     been found
                                                                           found toto benefit
                                                                                      benefit some,
                                                                                              some, but
                                                                                                    but not
                                                                                                        not all
                                                                                                            all
   customers. For example, increased competition on airline routes have been found to reduce prices for
   customers.   For  example,   increased  competition    on  airline routes  have  been  found to reduce prices  for
   leisure travelers but
   leisure travelers but not
                          not change
                              change prices
                                      prices for
                                             for business
                                                 business travelers.
                                                             travelers. See
                                                                         See Stavins,   Joanna, "Price
                                                                              Stavins, Joanna,  “Price discrimination
                                                                                                       discrimination
   in the
   in the airline
          airline market:
                  market: The
                           The effect  of market
                                effect of market concentration,”
                                                  concentration," The     Review of
                                                                      The Review    of Economics
                                                                                       Economics and
                                                                                                   and Statistics,
                                                                                                       Statistics, Vol.
                                                                                                                   Vol.
   83, No.
   83, No. 1,
            1, 2001,
               2001, pp.
                      pp. 200-202.
                          200-202. Similarly,   researchers found
                                     Similarly, researchers     found that
                                                                       that in analgesics, competition
                                                                            in analgesics,  competition leads  to lower
                                                                                                        leads to  lower
   prices on
   prices on Tylenol's
              Tylenol’s price,
                         price, while
                                while increasing   the store-brand's
                                       increasing the   store-brand’s price.
                                                                        price. See
                                                                                See Chintagunta,
                                                                                     Chintagunta, Pradeep
                                                                                                   Pradeep K.,
                                                                                                            K.,
   “Investigating category
   "Investigating  category pricing
                              pricing behavior
                                      behavior at
                                                at aa retail chain,” Journal
                                                      retail chain,"  Journal ofof Marketing
                                                                                   Marketing Research,
                                                                                               Research, Vol.
                                                                                                         Vol. 39,
                                                                                                               39, 2002,
                                                                                                                   2002,
   pp. 141-154.
   pp. 141-154.

                                                                                                                     81
                                                                                                                     81
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 534 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      would have been better off in the but-for world depends, at least, on that developer's
      individual characteristics, which Dr. Sibley failed to analyze.
         A. DEVELOPER PLAINTIFFS' EXPERTS CONCEDE THAT CERTAIN DEVELOPERS WERE
            NOT IMPACTED BECAUSE THEY WERE ABLE To OBTAIN THE ALLEGED
            "COMPETITIVE" SERVICE FEE RATE
232. According to Dr. Sibley, there are numerous developers that were able to "resist"
   Google's alleged conduct and obtain "competitive" service fee rates, and thus were not
   impacted.262
233. Dr. Sibley acknowledges that in the actual world developers are different. He admits that
   some developers that sought alternative billing or distribution options and/or had relatively
   higher value to Google Play were able to negotiate lower service fee rates or enhanced
   services.263 According to Dr. Sibley, these are "examples [that] illustrate how Google
   responds to competition."264 Thus, Dr. Sibley recognizes that in the actual world, Google
   responded to competition by providing some — but not all — developers with lower rates and
   more services and those developers obtained competitive service fee rates.
234. Dr. Sibley identifies numerous developers that, in his words, were able to "resist" the
   alleged conduct. These developers include those that obtained lower service fee rates as part
   of programs like LRAP and ADAP, the developers that obtained lower rates in 2018 when
   Google lowered the rate for subscription IAPs, and the developers that negotiated special
   deals with Google as part of Project Hug and Games Velocity Program.
235. Dr. Williams, another expert for Developer Plaintiffs, also asserts that because Google
   faced "meaningful competition," it had to reduce its service fee rates to 15% or lower for
   certain developers.265 Dr. Williams, like Dr. Sibley, identifies the developers in Google
   Play's LRAP, LRAP++, ADAP, and ADAP++ programs. According to Dr. Williams, a 15%
   service fee rate is a competitive benchmark for a service fee in the but-for world.266


262
262
          Sibley  Report at
          Sibley Report   at ¶¶102-103
                             ¶¶102-103 ("In
                                         (“In limited circumstances where
                                              limited circumstances    where Google    has been
                                                                               Google has  been forced  to compete
                                                                                                 forced to compete
– particularly
—  particularly with
                with respect
                      respect to
                               to developers  who have
                                  developers who   have resisted
                                                         resisted Google's
                                                                  Google’s tietie and
                                                                                  and used
                                                                                      used IAP  solutions other
                                                                                           IAP solutions  other than
                                                                                                                 than
Google Play
Google   Play Billing
               Billing —– Google
                          Google has
                                   has sharply
                                       sharply reduced
                                                reduced its
                                                         its service
                                                             service fees.”).  Dr. Sibley
                                                                     fees."). Dr.  Sibley identifies developers that
                                                                                          identifies developers   that
participate in
participate  in programs
                programs such
                           such as
                                 as LRAP,
                                    LRAP, ADAP,
                                            ADAP, andand LRAP++, and  and developers
                                                                          developers with
                                                                                       with subscription
                                                                                            subscription IAPs   that
                                                                                                          IAPs that
were renewed
were             after one
       renewed after   one year.
                           year. See   also Sibley
                                   See also        Report at
                                            Sibley Report   at ¶¶182,
                                                               ¶¶182, 188,
                                                                       188, 191-193,
                                                                            191-193, 255-256;
                                                                                       255-256; Williams
                                                                                                 Williams Report
                                                                                                           Report
at ¶¶50-60.
at ¶¶50-60.
263
263
        Sibley  Report at
        Sibley Report   at ¶239
                           ¶239 describing  Google’s Project
                                 describing Google's  Project Hug
                                                              Hug ("Google
                                                                    (“Google identified
                                                                              identified major
                                                                                            major game
                                                                                                   game
developers that
developers  that drove
                 drove ‘disproportionate  value to
                        `disproportionate value  to Google'
                                                    Google’ (defined
                                                            (defined as
                                                                      as approximately
                                                                         approximately        of total
                                                                                              of total Play
                                                                                                       Play
consumer spend),
consumer   spend), were
                   were in
                         in some
                            some danger   of leaving
                                  danger of          Play for
                                             leaving Play     alternative distribution
                                                          for alternative distribution routes
                                                                                       routes and
                                                                                              and had
                                                                                                  had the
                                                                                                       the
capability to
capability to ‘“go-it-alone”
              "go-it-alone" onon Android.").
                                 Android.’”).
264
264
         Sibley Report at
         Sibley Report at ¶257.
                          ¶257.
265
265
         Williams Report
         Williams Report at
                         at ¶60;
                            ¶60; see also Williams
                                 see also          Report at
                                          Williams Report at ¶¶50-59.
                                                             ¶¶50-59.
266
266
         Williams Report
        Williams    Report at
                           at ¶63.
                              ¶63. According
                                    According to to Dr.
                                                      Dr. Williams,
                                                          Williams, the
                                                                    the use
                                                                        use of
                                                                            of Google
                                                                                Google Play's
                                                                                       Play’s service
                                                                                               service fee  rate for
                                                                                                        fee rate for
developers that
developers   that were
                  were able
                       able to
                            to "resist
                               “resist the
                                       the tie,"
                                           tie,” is
                                                 is aa "strong
                                                       “strong yardstick"
                                                               yardstick” for
                                                                          for aa competitive
                                                                                 competitive service
                                                                                             service fee
                                                                                                      fee rate.
                                                                                                          rate. See
                                                                                                                 See
Williams Report
Williams  Report atat ¶67.
                      ¶67. According
                           According to to Dr.
                                           Dr. Sibley,   there were
                                               Sibley, there   were      developers that
                                                                         developers  that were
                                                                                          were able
                                                                                                able to
                                                                                                     to "resist"
                                                                                                        “resist” the
                                                                                                                  the
alleged tie.
alleged tie. See
              See Sibley Report at
                  Sibley Report  at ¶188.
                                    ¶188.

                                                                                                                   82
                                                                                                                   82
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 535 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


236. Dr. Sibley provides no reason (or evidence) that these developers would obtain further
   reductions in service fee rates in the but-for world and does not explain why the developers
   could have been impacted on transactions that occurred at other rates or in time periods prior
   to Google Play's programs, given that those developers were able to "resist" Google Play's
   alleged conduct. Moreover, Dr. Williams' use of these developers as a competitive
   benchmark contradicts that there would have been any further rate reductions for those
   developers in the but-for world.267 Those developers that were able to negotiate a 15% rate,
   or lower, then, were not impacted by the alleged conduct.
         B. DEVELOPER PLAINTIFFS' EXPERT'S OPINIONS REGARDING COMMON IMPACT ARE
            NOT SUPPORTED BY ECONOMIC THEORY OR THE EVIDENCE
237. Dr. Sibley offers five arguments to support his opinion that all developers would have
   lower service fees in the but-for world. However, these arguments are not supported by
   evidence of the actual world or by economic logic.268 I discuss each below.
                       1. Dr. Sibley's Claim that Competition Would Have Been More Robust
                          for All Developers Ignore Facts of the Case
238. Dr. Sibley's argument that all developers' service fee rates would have been lower in the
   but-for world because "competition for all developers would be more robust" ignores what
   he has acknowledged about the actual world — that there are meaningful differences across
   developers and how competition impacts developers.269 Dr. Sibley admits that differences
   across developers led to lower service fee rates for some developers, but not all developers.
   Developers that have been able to negotiate particular deals with Google Play are the
   developers with popular apps that can more easily attract and divert users to competing
   platforms.27° As I explained above, this is true not just for Google Play, but for app stores


267
267
          Williams Report
          Williams   Report at
                             at ¶67
                                ¶67 ("The
                                     (“The material
                                            material distinction
                                                      distinction between
                                                                  between the
                                                                          the yardstick
                                                                              yardstick market
                                                                                        market and
                                                                                               and the
                                                                                                   the broader
                                                                                                       broader
Android IAP
Android    IAP platform
                platform services
                          services is
                                    is the
                                       the effect of the
                                           effect of the challenged  conduct because
                                                         challenged conduct  because Google
                                                                                      Google had
                                                                                             had not
                                                                                                 not enforced
                                                                                                     enforced
its tie
its tie as
        as to
           to the
              the yardstick
                  yardstick developers.").
                            developers.”).
268
268
         Sibley  Report at
         Sibley Report   at ¶¶259-275.
                            ¶¶259-275. It  It is my understanding,
                                              is my understanding, based
                                                                       based on
                                                                              on Dr.
                                                                                  Dr. Williams'
                                                                                       Williams’ report,   that he
                                                                                                  report, that  he is
                                                                                                                   is
offering expert
offering expert opinions
                 opinions related    to damages,
                            related to  damages, not
                                                   not classwide
                                                        classwide impact.     See Williams
                                                                     impact. See   Williams Report
                                                                                              Report atat ¶61
                                                                                                          ¶61 ("In
                                                                                                              (“In the
                                                                                                                    the
but-for world,
but-for world, as
                as Dr.
                   Dr. Sibley   shows in
                        Sibley shows    in his  report, all
                                           his report,  all developers
                                                            developers would
                                                                         would have
                                                                                 have the
                                                                                       the option
                                                                                           option of
                                                                                                   of distributing
                                                                                                      distributing their
                                                                                                                     their
apps and
apps  and in-app  products…and incentivize
          in-app products...and                   Google to
                                    incentivize Google      to reduce
                                                               reduce its
                                                                       its service
                                                                           service fee  across the
                                                                                    fee across the board.").
                                                                                                   board.”).
Moreover, Dr.
Moreover,   Dr. Williams
                Williams does
                            does not
                                  not study
                                       study or
                                              or analyze
                                                 analyze the
                                                           the question
                                                                question of
                                                                          of classwide
                                                                             classwide impact,   with his
                                                                                         impact, with   his damage
                                                                                                            damage
analysis instead
analysis instead being
                  being predicated
                         predicated on on the
                                          the assumption
                                               assumption that
                                                             that all
                                                                  all developers   are the
                                                                      developers are   the same
                                                                                           same and
                                                                                                 and the
                                                                                                      the but-for
                                                                                                           but-for
service fee
service fee rate is the
            rate is the same   for all
                        same for   all developers.
                                       developers.
269
269
         Sibley Report at
         Sibley Report at ¶¶259-260.
                          ¶¶259-260.
270
270
          Dr. Sibley
          Dr. Sibley acknowledges
                      acknowledges thatthat "network
                                            “network effects"
                                                        effects” are
                                                                 are relevant    to app
                                                                       relevant to  app store
                                                                                          store competition
                                                                                                competition such    that
                                                                                                              such that
rival platforms  compete   by  attempting    to  obtain a “critical   mass  of users  and   developers.”
rival platforms compete by attempting to obtain a "critical mass of users and developers." See Sibley      See  Sibley
Report at
Report   at ¶116.
            ¶116. Obtaining
                   Obtaining such
                               such aa "critical
                                       “critical mass"
                                                  mass” most
                                                          most efficiently
                                                                efficiently involves
                                                                              involves attempting
                                                                                         attempting toto persuade
                                                                                                         persuade
developers with
developers   with the
                   the most
                       most popular
                             popular apps
                                       apps toto switch
                                                 switch stores
                                                         stores or
                                                                or to
                                                                    to stay  with aa store
                                                                        stay with           and likewise
                                                                                     store and             persuade app
                                                                                                 likewise persuade   app
users that
users  that spend
            spend the
                   the most
                       most to
                             to switch   stores or
                                switch stores    or to
                                                    to stay
                                                       stay with
                                                             with aa store.
                                                                     store. For
                                                                             For rival  platforms that
                                                                                  rival platforms   that wish
                                                                                                          wish to
                                                                                                               to generate
                                                                                                                  generate
revenue from
revenue         sales of
          from sales  of apps
                         apps and
                               and IAPs,
                                   IAPs, it it makes
                                               makes economic
                                                       economic sense
                                                                   sense toto concentrate
                                                                              concentrate on on getting
                                                                                                getting the
                                                                                                         the most
                                                                                                             most popular
                                                                                                                   popular
revenue-generating apps
revenue-generating     apps and
                            and the
                                 the highest
                                      highest value
                                                value app
                                                       app users   (i.e., users
                                                            users (i.e.,  users with
                                                                                with the
                                                                                      the greatest  amount of
                                                                                           greatest amount   of spend)
                                                                                                                spend) toto
switch. As
switch.   As shown
              shown above
                     above (see
                            (see Exhibits
                                  Exhibits 14.5
                                              14.5 and
                                                   and 19)   revenues and
                                                        19) revenues      and spend
                                                                              spend are
                                                                                      are concentrated
                                                                                           concentrated among
                                                                                                          among aa small
                                                                                                                    small


                                                                                                                        83
                                                                                                                        83
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 536 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      more generally; that is, app stores generally compete not by offering service fee rate
      reductions to all developers, but instead by offering service fee reductions to large developers
      with popular apps that can drive users to their stores.271
239. The ability to drive consumers and revenue from one store to another, and thus, the
   ability to negotiate a lower service fee rate (or expanded services), is different across
   developers, or at least across different types of developers. This explains the rate reductions
   observed in the actual world and demonstrates that service fee rate reductions would not
   occur for all developers in the but-for world.
240. In the but-for world, the assumed increase in competition would therefore be expected to
   lead to differential effects across developers — those developers that can drive consumers
   from one platform to another through the popularity of their apps will be the developers that
   are more likely to obtain lower service fees or additional services.
241. Furthermore, Dr. Sibley's argument that competition for developers by alternative
   payment processors "would be expected to provide all class members with competitive
   options for IAP transaction services in the but-for world" does not consider that for a
   substantial percentage of developers, Google Play's service fee rate likely is already the most
   competitive option. As I described above, Google Play's service fees are lower than the fees
   some developers would need to pay if they separately contracted with payment
   processors.272 Even setting aside the other valuable services Google Play provides in
   addition to payment processing, these other processors' rates would be higher than 30% for
   certain developers. For those developers that offer apps or IAPs at low price-points,
   independently contracting with payment processors is not an economic option. 22% of
   putative developer class members offer apps, subscriptions, and IAPs at prices of $0.99
   (only) and therefore the payment processing costs of many processors for those developers
   may be higher than 30%.273 36% of developers offer apps, subscriptions, and IAPs at prices
   of $1.99 or lower. Other developers that offer apps and IAPs at multiple different price
   points, including these low price-points, could also find that separately contracting with
   payment processors is not more affordable, depending on the mix of their transactions.
   Identifying those developers would require analyzing the product-price mix (the percentage
   of transactions at each price point) and determining whether the proportion of low-price point
   sales causes the 30% rate to be higher or lower than the rate a developer would have if it
   independently contracted with a payment processor. Contrary to Dr. Sibley's assumption,
   not all developers necessarily would have had the option of lower service fees in the but-for
   world, and therefore it cannot be assumed that they are impacted by the alleged conduct.



           of developers
percentage of developers and
                         and app
                             app users.
                                 users. Therefore,
                                        Therefore, one would not
                                                   one would not expect
                                                                 expect competition
                                                                        competition to
                                                                                    to be
                                                                                       be concentrated
                                                                                          concentrated
on all
on all app
       app developers
           developers or
                      or all
                         all app
                             app users.
                                 users.
271
271
         GOOG-PLAY-000568027 at
         GOOG-PLAY-000568027 at 028;
                                028; See
                                     See EPIC
                                         EPIC_GOOGLE_01413875 at 877
                                              GOOGLE 01413875 at 877 ("
                                                                     (“

                                                                          ).
                                                                          ).
272
272
         See
         See Sibley Report at
             Sibley Report at ¶¶261,
                              ¶¶261, 198.
                                     198.
273
273
         See Exhibit 31.
         See Exhibit 31.

                                                                                                    84
                                                                                                    84
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 537 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      Determining whether contracting separately with a payment processor is an economic option
      requires an individualized analysis of the developer's apps, prices, and transactions.
                     2. Dr. Sibley's Claim that All Developers in the But-For World Have a
                        Better "Best Option" Is Without Basis
242. Dr. Sibley's assumption that in the but-for world, a developer would have been able to
   negotiate lower service fee rates because the developer's "best option if negotiations break
   down" would have been better is not true for all putative developer class members.274
243. Dr. Sibley's assumption that a developer's "best option" would have been better in the
   but-for world may not be true for at least 22% of putative developer class members that rely
   solely on prices of $0.99 and would not have had a better option in the but-for world for
   payment processing.275 Thus, it is likely that at least 22% of the putative developer class
   members cannot show antitrust impact. Moreover, the percentage could be higher because
   more developers, depending on their mix of transactions across different price points also
   would not have better options than a 30% service fee rate. This includes the 36% of
   developers that price apps, subscriptions or IAPs at $1.99 or lower.276 Individualized inquiry
   of each developer and their transactions is thus required to determine whether any developer
   is better off or worse off in the but-for world and whether the developer can show antitrust
   impact.
244. Additionally, developers that rely on relatively more costly forms of payment (e.g., DCB
   and Play gift cards) similarly would have been at a relative disadvantage compared to other
   developers in the but-for world. The costs of providing those services are higher than the
   cost of payment processing of other forms of payment.277 For some putative developer class
   members, DCB sales account for a substantial amount of overall sales. For
                                                97% of sales for              and all of
             sales.278 Dr. Sibley hasn't considered whether developers that rely on those forms
   of payment would have a better "best option" in the but-for world.
245. Dr. Sibley fails to acknowledge that whether developers' "best option" would have been
   better in the but-for world generally depends on the nature of the purported increased
   competition in the but-for world. An increase in competition from an expansion of the
   Samsung Galaxy Store would not present a better "best option" to developers that rely on
   consumers with mobile devices other than Samsung (since that app store serves only
   Samsung's devices).279 Entry by a company like Epic, a game app developer, may provide

274
274
         Sibley Report at
         Sibley Report at ¶¶263-264.
                          ¶¶263-264.
275
275
         See Exhibit 31.
         See Exhibit 31.
276
276
         See Exhibit 31.
         See Exhibit 31.
277
277
         See e.g., GOOG-PLAY-000437819
                   GOOG-PLAY-000437819 at  at 838
                                              838 (showing
                                                   (showing transaction
                                                              transaction costs
                                                                          costs for  DCB of
                                                                                 for DCB   of     to
                                                                                                  to      in
                                                                                                          in
2016) and
2016)  and GOOG-PLAY-000337564
           GOOG-PLAY-000337564 at   at 587 (showing DCB
                                       587 (showing   DCB costs
                                                             costs to
                                                                   to Google  of
                                                                      Google of          and cost
                                                                                         and  cost for
                                                                                                   for
developer to
developer  to replicate
              replicate of
                        of ;; and
                              and showing  gift card
                                  showing gift  card costs
                                                     costs to
                                                           to Google
                                                              Google ofof       and cost
                                                                                and       for developer
                                                                                     cost for developer to
                                                                                                        to
replicate of
replicate of        ).
                    ).
278
278
         GOOG-PLAY-005535885 and
         GOOG-PLAY-005535885 and GOOG-PLAY-010801689.
                                 GOOG-PLAY-010801689.
279
279
         Deposition of
         Deposition of Lawrence
                       Lawrence Koh,
                                Koh, December
                                     December 9, 2021, ("Koh
                                              9, 2021, (“Koh Dep.")
                                                             Dep.”) at
                                                                    at p.323.
                                                                       p.323.

                                                                                                           85
                                                                                                           85
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 538 of 667
                        HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                               ATTORNEYS’ EYES ONLY


      an additional option for game apps but may not for non-game apps.28° And while the
      Amazon Appstore serves Android devices, it has been Amazon's competitive strategy to
      compete aggressively for certain gaming developers with popular apps and to focus on the
      consumers that make substantial purchases — typically those that use gaming apps.281 So,
      expansion by Amazon or entry by an app store like Amazon would not necessarily provide a
      better option to all developers.
246.       Finally, even if a "better option" exists for a developer in the but-for world, the developer
      may not have the ability to negotiate a lower rate if it does not have a popular, revenue-
      driving app. Such developers have less negotiating leverage because even if the developer
      left Google Play (or any other app store) it would not drive consumers away from Google
      Play and toward some rival store. Moreover, according to Dr. Williams, developers
      generally do not pass through savings on reduced service fee rates to consumers and so,
      according to his opinion, developers would not use differences in retail prices to drive
      consumers from one store to another.282
                      3. Dr. Sibley's Claim Regarding Competition in PC App Stores
                          Contradicts His Conclusion of Classwide Impact
247.      Dr. Sibley's claim that all developers would have lower service fee rates because Google
      would respond to competition like Microsoft responded to the entry of Epic in PC app
      distribution is based on a mistaken and incomplete understanding of app stores' response to
      Epic's entry.283
248. The Epic Game Store distributes game apps for PCs; it began operations in December
   2018 and charged a 12% service fee rate.284 The two primary PC game app stores at the time
   of Epic's entry were (and continue to be) Microsoft and Steam. Microsoft distributes game
      apps for its Xbox gaming consoles and both game apps and non-game apps for PCs with




280
280
          See Exhibit 11
          See Exhibit 11 showing
                         showing         of "U.S."
                                         of “U.S.” developers
                                                   developers offer
                                                              offer only
                                                                    only non-game
                                                                         non-game apps
                                                                                  apps during
                                                                                       during the
                                                                                              the class
                                                                                                  class
period.
period.
281
281
         See  GOOG-PLAY-000310705. See
         See GOOG-PLAY-000310705.               also Feng
                                            See also Feng Dep.
                                                          Dep. Ex.
                                                               Ex. PX
                                                                   PX 531  at p.
                                                                       531 at p. 19 (“[Amazon is]
                                                                                 19 ("[Amazon   is] focused
                                                                                                    focused
on attracting
on attracting titles
               titles with
                      with high
                           high %
                                % of
                                  of HVU
                                      HVU spend
                                            spend and
                                                  and migrating
                                                      migrating the
                                                                the HVUs
                                                                    HVUs to
                                                                          to Amazon
                                                                              Amazon apk");
                                                                                       apk”); Feng
                                                                                              Feng Dep.
                                                                                                     Dep. Ex.
                                                                                                          Ex.
PX  532  at p. 4  (“Competitive  Android  stores such as Amazon  Appstore  in Japan  have reached
PX 532 at p. 4 ("Competitive Android stores such as Amazon Appstore in Japan have reached 2-10% of 2-10%  of
developer revenue,
developer   revenue, mainly
                       mainly by
                              by attracting
                                 attracting Play
                                            Play HVUs
                                                 HVUs with
                                                        with heavy
                                                             heavy discounts”).
                                                                   discounts").
282
282
        Williams Report
        Williams   Report at
                          at ¶73.
                             ¶73. As
                                  As discussed   below, whether
                                     discussed below,   whether developers pass through
                                                                developers pass through reduced
                                                                                         reduced service
                                                                                                   service
fees requires an
fees requires an individualized
                 individualized analysis
                                analysis of
                                         of aa developer's
                                               developer’s apps
                                                           apps and
                                                                and the
                                                                    the economic
                                                                        economic factors
                                                                                  factors that
                                                                                          that affect
                                                                                               affect pass-
                                                                                                      pass-
through.
through.
283
283
          Sibley Report at
          Sibley Report at ¶¶265-267.
                           ¶¶265-267.
284
284
         https://techcrunch.com/2018/12/06/epic-games-store/ (article
         https://techcrunch.com/2018/12/06/epic-games-store/           (article dated
                                                                                dated December
                                                                                      December 7,7, 2018, reporting
                                                                                                    2018, reporting
that the
that the Epic
         Epic Games
              Games Store    “quietly went
                       Store "quietly   went live
                                              live today");
                                                   today”); https://www.epicgames.com/site/en-US/epic-
                                                              https://www.epicgames.com/site/en-US/epic-
games-store-faq ("The
games-store-faq    (“The Epic
                          Epic Games
                               Games Store     currently offers
                                         Store currently  offers PC
                                                                  PC and
                                                                      and Mac
                                                                           Mac support.
                                                                                 support. You
                                                                                          You can
                                                                                               can check
                                                                                                   check platform
                                                                                                          platform
compatibility for
compatibility  for individual  titles by
                    individual titles by referring
                                          referring to
                                                    to the
                                                       the "About
                                                           “About Game"
                                                                    Game” section
                                                                              section of
                                                                                      of any
                                                                                         any product
                                                                                             product page."
                                                                                                     page.”
“…creators will
"...creators will earn  88% of
                   earn 88%  of all
                                 all the
                                     the revenue
                                         revenue from    their game...").
                                                  from their   game…”).

                                                                                                                 86
                                                                                                                 86
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 539 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      Windows operating systems.285 Prior to Epic's entry, Microsoft charged a service fee rate of
      30% for game apps on PCs, the same types of apps as those distributed by Epic, and a 30%
      rate for non-game apps. Microsoft maintained its 30% service fee rate for game apps on PCs
      until August 2021 — over two years after Epic's entry.286 It is unclear whether the entry of
      Epic was even a factor that led Microsoft to reduce its rate on game apps when it did. Even
      if Microsoft's rate reduction was due to increased competition from Epic, PC game app
      developers would not have been impacted by the increased competition for more than two
      years. If competition in mobile game apps is like competition in PC apps, as Dr. Sibley's
      comparison implies, many developers would not be impacted. For example, 32 months
      elapsed between the Epic Store's entry and Microsoft's rate reduction. If a new app store
      entered at the onset of the class period with a lower service fee rate and Google (and others)
      responded with rate reductions 32 months later, 38% of putative developer class members
      would not benefit from that entry because over those 32 months, those putative developer
      class members stopped posting sales.287
249. The service fee rates of Steam, the other primary PC game app distributor, do not support
   Dr. Sibley's opinion that increased competition would lead to lower rates for all developers.
   In November 2018 (prior to Epic's entry), Steam reduced its service fee rate from 30% to
   25% for game apps with consumer spend of $10 million to $50 million and to 20% for game
   apps with consumer spend over $50 million.288 It kept its service fee rate at 30% for game
   apps with consumer spend of less than $10 million and has continued to charge 30% for
   those game apps.289
250. Microsoft and Steam's reductions of fees for certain developers and not others contradict
   Dr. Sibley's claim that increased competition in the but-for world would lead to lower rates
   for all developers.290 Those app stores' reductions are, instead, consistent with developers

285
285
         https://www.xbox.com/en-US/microsoft-store ("A
         https://www.xbox.com/en-US/microsoft-store     (“A Store that is
                                                            Store that is twice
                                                                          twice as
                                                                                as fast,
                                                                                   fast, easier to navigate,
                                                                                         easier to navigate,
and safer
and safer for
          for the
              the whole
                  whole family
                        family to
                               to find your next
                                  find your next favorite
                                                 favorite games
                                                          games and
                                                                and entertainment
                                                                     entertainment onon your
                                                                                         your Xbox.");
                                                                                              Xbox.”);
https://www.microsoft.com/en-us/store/apps/windows
https://www.microsoft.com/en-us/store/apps/windows
286
286
         Booty, Matt,
         Booty,  Matt, "Continuing
                        “Continuing Our
                                     Our PCPC Gaming
                                               Gaming Journey
                                                       Journey 2021
                                                                2021 and
                                                                     and Beyond,"
                                                                         Beyond,” Xbox,
                                                                                  Xbox, April
                                                                                         April 29,
                                                                                               29, 2021,
                                                                                                    2021,
https://news.xbox.com/en-us/2021/04/29/continuing-our-pc-gaming-journey-in-2021-and-beyond/
https://news.xbox.com/en-us/2021/04/29/continuing-our-pc-gaming-journey-in-2021-and-beyond/
(“starting on
("starting on August
              August 11 the
                         the developer   share of
                              developer share  of Microsoft
                                                  Microsoft Store
                                                            Store PC
                                                                  PC games
                                                                     games sales net revenue
                                                                           sales net         will increase
                                                                                     revenue will increase to
                                                                                                           to
88%, from
88%,  from 70%”);     https://www.protocol.com/bulletins/microsoft-store-commission-cut. Microsoft
            70%"); https://www.protocol.com/bulletins/microsoft-store-commission-cut.       Microsoft
announced its
announced   its rate
                rate reduction
                     reduction in  April 2021.
                                in April 2021.
287
287
         See Exhibit 43.
         See Exhibit 43.
288
288
         Steamworks  Development, Steam
         Steamworks Development,  Steam Community,
                                        Community, November
                                                   November 30,
                                                             30, 2018,
                                                                 2018,
https://steamcommunity.com/groups/steamworks/announcements/detail/1697191267930157838,
https://steamcommunity                                                                  accessed
                        com/groups/steamworks/announcements/detail/1697191267930157838, accessed
November 8,
November    8, 2021.
               2021.
289
289
         See Exhibit 28;
         See Exhibit 28;
https://steamcommunity.com/groups/steamworks/announcements/detail/1697191267930157838,
https://steamcommunity                                                                   accessed
                         com/groups/steamworks/atmouncements/detail/1697191267930157838, accessed
November 8,
November    8, 2021.
               2021.
290
290
       Additionally, after
       Additionally,  after ONE
                            ONE Store  in Korea
                                 Store in Korea reduced  its rates
                                                reduced its  rates from
                                                                   from 30%
                                                                        30% to
                                                                             to 20%
                                                                                20% (and
                                                                                    (and to
                                                                                          to 5% to
                                                                                             5% to
developers that
developers that use
                use their
                    their own
                          own payment
                              payment processing),
                                       processing), there
                                                    there was
                                                          was nono corresponding
                                                                   corresponding across-the-board
                                                                                 across-the-board


                                                                                                               87
                                                                                                               87
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 540 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      having varying importance to app stores and app store competition and consistent with my
      opinion that service fee rates may be lower in the but-for world for some, but not all,
      developers.
                      4. Dr. Sibley's Claim that Google Documents Support the Conclusion
                         that All Developers Would Have a Lower Service Fee Is Not Accurate
251.      Dr. Sibley's argument that Google's business documents indicate a 30% rate
                   does not imply that all developers would have lower rates in the but-for
      world.291
252.      Many Google documents show that Google considered changes to the service fee rate
      that would have meant that some, but not all, developers' rates would have been lower.
      Google documents show it considered a strategy of
                                                            292 Google also considered rates that
      could be different for                             .293 Google documents show that it
      considered service fee rate reductions
                                                                             294 That strategy
      implies variation in rates across developers with some developers' rates remaining at 30%.295
      There are also Google documents that show that Google considered "custom deals" to
      particular developers like Project Hug and its Accelerator Programs.296
                      5. Dr. Sibley's Claim that Google Would Not "Price Discriminate" and
                         Set Different Service Fee Rates for Different Developers Is Inaccurate
253.      Finally, Dr. Sibley's claim that Google would not "price discriminate" and charge
      developers different service fee rates because "a programmatic reduction of the 30% default
      rate would be most consistent with Google's economic incentives and conform to Google's
      historic pricing practices"297 is not true.


reduction in
reduction   in rates by other
               rates by other app
                              app stores
                                   stores in
                                          in Korea,
                                             Korea, including
                                                     including Google
                                                               Google Play,
                                                                        Play, further contradicting Dr.
                                                                              further contradicting  Dr. Sibley’s
                                                                                                         Sibley's
view of
view  of the
         the but-for
              but-for world.
                       world. Instead,  Google Play
                              Instead, Google   Play targeted
                                                      targeted particular
                                                               particular developers  through its
                                                                          developers through       Project Hug
                                                                                               its Project Hug
program. See,
program.          for example,
            See, for  example, GOOG-PLAY-000005203-
                                GOOG-PLAY-000005203- 08;      08; GOOG-PLAY-003332070-081.
                                                                  GOOG-PLAY-003332070-081. See            also,
                                                                                                     See also,
Exhibit 28
Exhibit  28 and
             and see  this report's
                  see this report’s production;
                                    production; "One
                                                "One Store
                                                       Store Introduction," One Store
                                                             Introduction," One         Corp., January
                                                                                  Store Corp.,  January 2020,
                                                                                                         2020,
https://dev.onestore.co.kr/devpoc/static-res/ files/ONEstoreIntro_dev_en.pdf,
https://dev.onestore.co.kr/devpoc/static-res/                                        accessed November
                                                 files/ONEstoreIntro dev en.pdf, accessed     November 8,  8,
2021, at
2021,  at slide  9.
          slide 9.

291
291
          Sibley Report at
          Sibley Report at ¶268.
                           ¶268.
292
292
       See e.g., GOOG-PLAY-000444214.R;
       See e.g., GOOG-PLAY-000444214.R; GOOG-PLAY-006990552
                                        GOOG-PLAY-006990552 at
                                                            at 554; GOOG-PLAY-
                                                               554; GOOG-PLAY-
003335786.R at
003335786.R  at 808.R.
                808.R.
293
293
          GOOG-PLAY-003331592.R.
          GOOG-PLAY-003331592.R.
294
294
          GOOG-PLAY-003331592.R at
          GOOG-PLAY-003331592.R at 606.R; GOOG-PLAY-006990552 at
                                   606.R; GOOG-PLAY-006990552 at 554.
                                                                 554.
295
295
          GOOG-PLAY-000565001
          GOOG-PLAY-0005       (August 2019).
                         65001 (August 2019).
296
296
          GOOG-PLAY-003331592.R ..
          GOOG-PLAY-003331592.R
297
297
         Sibley Report at
         Sibley Report at ¶270.
                          ¶270. Certain
                                 Certain Google
                                          Google Play
                                                  Play rate
                                                       rate reductions could be
                                                            reductions could be considered
                                                                                considered "programmatic,"
                                                                                            “programmatic,”
in that
in that they
        they were
             were targeted
                  targeted to
                           to certain types of
                              certain types of developers.
                                               developers. For
                                                            For example,
                                                                example, LRAP
                                                                         LRAP targeted
                                                                                 targeted certain
                                                                                          certain types
                                                                                                  types of
                                                                                                        of


                                                                                                               88
                                                                                                               88
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 541 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


254. Google's "historic pricing practices" do not include a uniform reduction to all developers
   like the reduction claimed by Dr. Sibley (and Dr. Williams). Google's service fee reductions
   have been offered to certain developers (e.g., the LRAP developers), developers with certain
   amounts of consumer spend (e.g., consumer spend of $1 million or less), or certain kinds of
   apps (e.g., apps with subscription IAPs).298 Moreover, some developers individually
   negotiate service fee rates and service terms with Google — which clearly do not reflect the
   type of reduction claimed by Developer Plaintiff experts.299
255. Dr. Sibley has not provided any explanation or evidence that competition in the but-for
   world would have been different.
256. Dr. Sibley's claim about charging different prices to different developers or "price
   discrimination" is also contradicted by the facts. He states that this is rare and "normally
   done only for a small number of large customers, whose business is worth the substantial
   transaction costs required to price them both individually and profitably."300 However,
   Google has provided lower rates to large customers whose businesses were apparently worth
   whatever transactions costs were required. In addition, over the class period, Google has
   continued to increase the number of developers to which it offers lower service fee rates. In
   2017,      developers had obtained rates lower than 30%. In 2020, there were
   developers that had obtained rates lower than 30%.301
257. Dr. Sibley's opinion that Google would have been unable to set different rates to different
   developers because doing so "requires a level of detailed knowledge about individual tastes
   that firms typically do not possess" does not consider recent developments in technology and
   in the economic literature.302 Widespread use of computers and big data in the past twenty


developers. Dr.
developers. Dr. Sibley's
                Sibley’s use
                         use of
                             of the
                                the terms
                                    terms "programmatic,"
                                          “programmatic,” in
                                                           in that
                                                              that sense
                                                                   sense would
                                                                         would describe
                                                                               describe Google
                                                                                         Google Play
                                                                                                  Play rate
                                                                                                       rate
reductions but
reductions but would
               would not
                     not be
                         be consistent
                            consistent with
                                       with his
                                            his opinion
                                                opinion that
                                                        that Google
                                                             Google Play
                                                                     Play would
                                                                          would reduce  rates to
                                                                                reduce rates  to all
                                                                                                 all
developers.
developers.
298
298
          For example,
          For example, inin January
                            January 2018,
                                     2018, Google
                                            Google reduced
                                                    reduced the
                                                             the subscription
                                                                 subscription service
                                                                                service fee  to 15%
                                                                                         fee to       for the
                                                                                                15% for    the second
                                                                                                               second
year of
year  of subscriptions.
         subscriptions. !Playtime
                          “Playtime 2017:
                                      2017: Find
                                            Find success
                                                  success on
                                                          on Google
                                                              Google Play
                                                                      Play and
                                                                            and grow
                                                                                 grow your
                                                                                        your business
                                                                                              business with
                                                                                                         with new
                                                                                                               new
Play Console
Play  Console features,”    Android Developers
                features," Android   Developers Blog,
                                                  Blog, October
                                                         October 19,
                                                                  19, 2017,
                                                                      2017, https://android-
                                                                             https://android-
developers.googleblog.com/2017/10/playtime-2017-find-success-on-google.html (under
developers.googleblog.com/2017/10/playtime-2017-find-success-on-google.html                (under "Grow
                                                                                                   “Grow youryour
subscriptions business"
subscriptions  business” header).
                            header). In
                                      In September  2020, Google
                                         September 2020,   Google stated
                                                                   stated aa policy
                                                                             policy "clarification"
                                                                                     “clarification” around
                                                                                                      around aa
digital content
digital          exception. In
        content exception.        March 2021,
                               In March        Google announced
                                         2021, Google   announced aa 15%    service fee
                                                                      15% service    fee on  the developer's
                                                                                          on the developer’s first
                                                                                                                first
$1  million, effective
$1 million,            July 1,
             effective July   1, 2021.
                                 2021. "Boosting
                                        “Boosting developer
                                                   developer success
                                                              success on
                                                                       on Google
                                                                          Google Play,"
                                                                                   Play,” Android
                                                                                            Android Developers
                                                                                                      Developers
Blog, March
Blog,  March 16,
               16, 2021,
                   2021, https://android-developers.googleblog.com/2021/03/boosting-dev-success.html.
                           https://android-developers.googleblog.com/2021/03/boosting-dev-success.html.
In October 2021,
In October   2021, Google
                    Google announced
                              announced aa 15%
                                           15% service
                                                 service fees on subscriptions
                                                         fees on subscriptions from    the outset
                                                                                 from the   outset (i.e.,
                                                                                                   (i.e., including
                                                                                                          including
first year). "Evolving
first year). “Evolving ourour business
                               business model
                                        model to
                                               to address
                                                  address developer
                                                           developer needs,"
                                                                      needs,” Android
                                                                               Android Developers
                                                                                          Developers Blog,
                                                                                                        Blog,
October 21,
October   21, 2021,
              2021, https://android-developers.googleblog.com/2021/10/evolving-business-model.html.
                     https://android-developers.googleblog.com/2021/10/evolving-business-model.html.
299
299    See Deposition of
       See Deposition of Mike
                         Mike Marchak,
                              Marchak, January
                                       January 12-13,
                                               12-13, 2022,
                                                      2022, ("Marchak
                                                            ("Marchak Dep."),
                                                                      Dep."), Vol.
                                                                              Vol. 11 at
                                                                                      at pp.
                                                                                         pp. 87-88,
                                                                                             87-88,
309-310.
309-310.
300
300
         Sibley Report at
         Sibley Report at ¶274.
                          ¶274.
301
301
         See Exhibit 26.
         See Exhibit 26.
302
302
       Sibley Report at
       Sibley Report  at ¶274.
                         ¶274. Moreover,
                               Moreover, Dr.
                                         Dr. Sibley’s
                                              Sibley's opinion  regarding "price
                                                       opinion regarding  “price discrimination”
                                                                                 discrimination"
misunderstands the
misunderstands the issue
                   issue of
                         of classwide
                            classwide impact.
                                      impact. The
                                               The question  of classwide
                                                   question of  classwide impact
                                                                           impact is whether all
                                                                                  is whether all developers
                                                                                                 developers


                                                                                                                  89
                                                                                                                  89
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 542 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      years has resulted in "price discrimination" not only being possible but used by many
      companies. Dynamic pricing, personalized pricing, and algorithmic price discrimination, all
      result in different prices to different customers, and are a commercial reality.303 Moreover,
      Google Play has been able to charge different service fee rates to developers based on the
      length of time an individual consumer has subscribed to the developer's app, further
      undermining Dr. Sibley's opinion.
         C. DEVELOPER PLAINTIFFS' EXPERT'S OPINION RELATED TO LOST PROFITS IS
            FLAWED BECAUSE IT IGNORES MANY INDIVIDUALIZED FACTORS
258. Determining whether a putative developer class member is impacted, and measuring its
   damages, should be based on a comparison of the developers' economic situation in the
   actual and but-for worlds.304 In this case, a developer's economic situation cannot be limited
   to its service fee rate because determining and measuring any losses to the developer from
   the alleged conduct implicates more than the service fee rate. If, in the but-for world, the
   developer passed through some portion of lower service fees, then an analysis of the
   developers' revenues must be undertaken; similarly, if the developer incurred higher costs in
   the but-for world, then an analysis of those costs must be performed. These considerations
   mean that the developer's profits in the actual and but-for worlds must be compared.
259. Comparing profits in the actual and but-for worlds is more complicated than comparing
   service fee rates. Determining profits in the but-for world requires an analysis of the
   developer's revenues as well as its costs. Its revenues will be affected by the price elasticity
   of demand for the developer's apps. Its costs will depend on the characteristics of the apps,
   including, for example, the technical complexity of the developer's apps and the costs


would get
would get aa lower
             lower rate – for
                   rate —     that conclusion
                          for that conclusion to
                                              to fail it is
                                                 fail it is not
                                                            not necessary
                                                                necessary that
                                                                          that every
                                                                               every developer
                                                                                     developer gets
                                                                                               gets aa different
                                                                                                       different
rate.
rate.
303
303
          Airlines, Uber,
         Airlines,  Uber, Amazon,
                           Amazon, andand Staples
                                           Staples have
                                                    have all
                                                          all used
                                                              used complex
                                                                   complex pricing
                                                                             pricing methods.
                                                                                      methods. For
                                                                                                For dynamic
                                                                                                    dynamic pricing
                                                                                                              pricing
literature, see, for
literature, see, for example,  McAfee, R.
                     example, McAfee,     R. Preston
                                              Preston and
                                                       and Vera
                                                            Vera to
                                                                  te Velde,
                                                                     Velde, "Dynamic
                                                                            “Dynamic Price
                                                                                        Price Discrimination
                                                                                               Discrimination in  the
                                                                                                               in the
Airline Industry,”
Airline               Handbook on
         Industry," Handbook     on Economics
                                     Economics andand Information
                                                       Information Systems,
                                                                     Systems, in
                                                                               in T.J. Hendershott, Handbook
                                                                                  T.J. Hendershott,  Handbook on on
Economics and
Economics    and Information
                  Information Systems,
                                Systems, Vol.
                                           Vol. 1,
                                                1, Elsevier,
                                                   Elsevier, 2006;
                                                               2006; Aguirregabiria,
                                                                     Aguirregabiria, Victor,
                                                                                       Victor, Allan
                                                                                               Allan Collard-
                                                                                                     Collard-
Wexler, and
Wexler,   and Stephen
               Stephen P.P. Ryan,
                            Ryan, "Dynamic
                                   “Dynamic Games
                                               Games in    Empirical Industrial
                                                        in Empirical  Industrial Organization,"
                                                                                  Organization,” in
                                                                                                  in Handbook
                                                                                                     Handbook of of
Industrial Organization,
Industrial                   Vol. 4,
            Organization, Vol.    4, No.
                                     No. 1,
                                          1, 2021,  pp. 225-343;
                                             2021, pp.  225-343; "Big
                                                                   “Big Data
                                                                        Data and
                                                                              and Personalized
                                                                                   Personalized Pricing,"
                                                                                                 Pricing,” Council
                                                                                                           Council
of Economic
of  Economic Advisors
                Advisors Report,
                           Report, 2015,
                                   2015,
https://obamawhitehouse.archives.gov/sites/default/files/whitehouse_files/docs/Big_Data_Report_Nonem
https://obamawhitehouse.archives.gov/sites/default/files/whitehouse           files/docs/Big_Data Report Nonem
bargo_v2.pdf
bargo            and aa non-technical
        v2.pdf and      non-technical overview
                                        overview here:
                                                   here:
https://obamawhitehouse.archives.gov/blog/2015/02/06/economics-big-data-and-differential-pricing. See
https://obamawhitehouse.archives.gov/blog/2015/02/06/economics-big-data-and-differential-pricing.                See
also Shiller,
also           Benjamin Reed,
      Shiller, Benjamin   Reed, "First-Degree
                                 “First-Degree Price
                                                 Price Discrimination
                                                        Discrimination Using
                                                                         Using Big
                                                                                 Big Data,"
                                                                                     Data,” Working   Paper No.
                                                                                             Working Paper   No. 58,
                                                                                                                   58,
Brandeis University,
Brandeis   University, Department
                         Department ofof Economics
                                         Economics andand International   Business School,
                                                            International Business   School, 2014,
                                                                                             2014,
https://www.brandeis.edu/economics/RePEc/brd/doc/Brandeis_WP58R2.pdf.
https://www.brandeis.edu/economics/RePEc/brd/doc/Brandeis               WP58R2.pdf. For For algorithmic
                                                                                            algorithmic price
                                                                                                         price
discrimination, see,
discrimination,   see, for
                       for example,
                           example, Bar-Gill,
                                      Bar-Gill, Oren,
                                                Oren, "Algorithmic
                                                        “Algorithmic Price
                                                                       Price Discrimination
                                                                             Discrimination When
                                                                                               When Demand
                                                                                                     Demand Is Is aa
Function of
Function   of Both
              Both Preferences
                     Preferences and
                                  and (Mis)perceptions,"
                                       (Mis)perceptions,” University     of Chicago
                                                              University of           Law Review,
                                                                            Chicago Law    Review, Vol.
                                                                                                    Vol. 86,
                                                                                                         86, No.
                                                                                                             No. 2,2,
2019, pp.
2019,  pp. 217-254.
            217-254.
304
304
       See  Williams Report
       See Williams  Report at
                             at ¶15
                                ¶15 citing
                                    citing Reference
                                           Reference Guide    on Estimation
                                                       Guide on  Estimation of
                                                                             of Economic
                                                                                Economic Damages
                                                                                            Damages
(“Damages measurement
("Damages   measurement then
                         then determines
                               determines the
                                           the plaintiff's
                                               plaintiff’s hypothetical
                                                           hypothetical value
                                                                        value in the but-for
                                                                              in the but-for scenario.
                                                                                             scenario.
Economic damages
Economic  damages are
                   are the
                       the difference
                           difference between
                                      between that
                                                that [but-for]
                                                     [but-for] value
                                                               value and
                                                                     and the
                                                                         the actual
                                                                             actual value
                                                                                     value that
                                                                                           that the
                                                                                                the plaintiff
                                                                                                    plaintiff
achieved.”)
achieved.")

                                                                                                                  90
                                                                                                                  90
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 543 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      associated with offering and updating the apps in different app stores, as well as other
      factors. Because of the variation across developers and the factors that affect developers'
      profits, determining impact and calculating damages based on a lost profits analysis requires
      individualized information and analysis.
260.      While Dr. Williams apparently agrees that determination of impact and damages is based
      on a consideration of a plaintiff's economic situation in the actual world and the but-for
      world, he attempts to avoid the more complex and individualized analysis of putative
      developers' profits.305 He claims that his calculated developer "overcharge" — that is, the
      difference between the actual and but-for service fees — understates all developers' lost
      profits.306 Dr. Williams apparently concludes that analyzing whether developers lost profits
      in the but-for world is not necessary. However, Dr. Williams fails to consider several
      important factors that would affect a comparison of developer profits in the actual and but-for
      world.307
              1. Developers'
              1. Developers’ Prices in the
                             Prices in the But-For World Would
                                           But-For World Would Have
                                                               Have Been
                                                                    Been Affected
                                                                         Affected By
                                                                                  By
                 Competition Across Developers
                 Competition Across  Developers
261.      Dr. Williams' claim that analyzing developers' lost profits is not necessary because
      developers would not change retail prices in the but-for world does not consider economic
      realities.308

305
305
          Williams Report
          Williams Report at
                          at ¶¶15,
                             ¶¶15, 71.
                                   71.
306
306
          Williams Report
          Williams   Report atat ¶71
                                 ¶71 ("If
                                      (“If aa developer
                                              developer were
                                                        were to
                                                             to reduce
                                                                 reduce its   app prices
                                                                          its app prices in
                                                                                         in response
                                                                                            response to
                                                                                                     to lower
                                                                                                        lower service
                                                                                                              service
fees
fees in  the but-for
      in the but-for world
                      world (i.e.,
                             (i.e., pass
                                    pass through
                                         through those
                                                   those lower
                                                         lower fees
                                                                fees to
                                                                     to its  customers), basic
                                                                        its customers),   basic economics
                                                                                                economics predicts
                                                                                                           predicts
that the
that the developer
          developer likely   would have
                      likely would   have sold
                                             sold more
                                                  more apps
                                                       apps at
                                                            at the
                                                               the lower    price and
                                                                   lower price    and would
                                                                                      would have
                                                                                              have generated
                                                                                                   generated
additional profits
additional   profits in
                     in doing
                        doing so.").
                               so.”).
307
307
         While Dr.
         While      Dr. Williams
                         Williams states
                                     states that
                                            that damage
                                                 damage methodologies,
                                                             methodologies, generally
                                                                                 generally and
                                                                                             and including
                                                                                                   including his,
                                                                                                              his, should
                                                                                                                   should be
                                                                                                                           be
based on
based  on aa comparison
             comparison of     of the
                                  the plaintiff's
                                       plaintiff’s position
                                                   position in    the actual
                                                               in the  actual world
                                                                                world and
                                                                                       and the
                                                                                            the but-for
                                                                                                 but-for world,
                                                                                                         world, where
                                                                                                                 where only
                                                                                                                         only the
                                                                                                                               the
effects of the
effects of  the alleged
                 alleged conduct       are allowed
                             conduct are   allowed to to be
                                                         be different
                                                              different between
                                                                          between those
                                                                                    those two
                                                                                           two worlds,
                                                                                                 worlds, he
                                                                                                          he fails
                                                                                                             fails to
                                                                                                                   to recognize
                                                                                                                      recognize
that principle
that principle is    not aa legitimate
                 is not      legitimate basis
                                          basis to
                                                to ignore    that in
                                                    ignore that    in the
                                                                      the but-for
                                                                           but-for world
                                                                                    world some
                                                                                            some developers'
                                                                                                    developers’ costs   would
                                                                                                                 costs would
have been
have  been higher
             higher or or that
                           that Google
                                Google would
                                          would change
                                                  change the the way
                                                                  way itit monetizes
                                                                           monetizes Google
                                                                                        Google Play.
                                                                                                 Play. Williams
                                                                                                        Williams Report
                                                                                                                   Report at
                                                                                                                           at
¶¶70-71. That
¶¶70-71.    That is,    Developer Plaintiffs
                    is, Developer     Plaintiffs claim
                                                 claim that
                                                          that absent
                                                                absent the
                                                                         the alleged
                                                                             alleged conduct     there would
                                                                                       conduct there    would have
                                                                                                               have been
                                                                                                                      been more
                                                                                                                           more
app stores.
app  stores. IfIf aa developer's
                     developer’s costs
                                    costs rise
                                           rise because
                                                because the the developer
                                                                 developer is is now
                                                                                 now forced    to serve
                                                                                       forced to   serve more
                                                                                                         more app
                                                                                                               app stores,
                                                                                                                    stores, those
                                                                                                                            those
costs must
costs  must be
             be considered
                  considered as  as part
                                    part of
                                          of the
                                             the but-for
                                                 but-for world.
                                                            world. Similarly,
                                                                      Similarly, ifif in
                                                                                      in the
                                                                                         the but-for
                                                                                             but-for world
                                                                                                      world Google
                                                                                                             Google Play's
                                                                                                                       Play’s
revenues from
revenues   from aa service
                      service fee
                                fee assessed
                                    assessed asas aa percentage
                                                     percentage of   of consumer
                                                                        consumer spend      declines substantially,
                                                                                     spend declines    substantially, and
                                                                                                                       and if
                                                                                                                           if it
                                                                                                                              it
can change
can  change thethe way
                    way it it collects  revenue from
                              collects revenue   from thethe app
                                                              app store
                                                                    store and
                                                                           and (as
                                                                                (as is the case)
                                                                                    is the case) has
                                                                                                  has business
                                                                                                       business documents
                                                                                                                 documents that
                                                                                                                              that
record and
record  and analyze
             analyze thosethose alternative
                                 alternative ways
                                              ways to to collect
                                                          collect revenue,     then not
                                                                   revenue, then     not only
                                                                                          only does
                                                                                               does Google    have the
                                                                                                      Google have    the clear
                                                                                                                         clear
incentive  to do
incentive to        so in
                do so   in the
                            the but-for
                                but-for world,
                                          world, but
                                                 but taking
                                                       taking account
                                                                account of of those
                                                                              those changes
                                                                                      changes isis proper
                                                                                                   proper and
                                                                                                           and necessary
                                                                                                               necessary in    an
                                                                                                                           in an
analysis of
analysis  of impact
              impact and and damages.
                               damages.
308
308
          Dr. Williams
          Dr.  Williams states
                          states that
                                 that aa developer
                                         developer thatthat passed
                                                            passed through
                                                                    through some
                                                                              some (or
                                                                                     (or all)
                                                                                         all) of lower service
                                                                                              of lower  service fees
                                                                                                                  fees would
                                                                                                                        would
generate "additional"
generate    “additional” profits
                          profits from   doing so.
                                   from doing     so. Williams
                                                      Williams Report
                                                                  Report at
                                                                          at ¶71.
                                                                             ¶71. However,
                                                                                   However, Dr. Dr. Williams'
                                                                                                    Williams’ formula,
                                                                                                                  formula,
set out
set out in
         in Appendix
             Appendix III,   does not
                        III, does  not show
                                        show that
                                               that aa developer
                                                        developer would
                                                                   would necessarily
                                                                           necessarily earn
                                                                                         earn more
                                                                                               more profits
                                                                                                     profits if  it passed
                                                                                                             if it  passed
through some
through   some portion
                 portion of
                          of any
                              any lower
                                   lower service
                                           service fees.
                                                    fees. The
                                                            The formula   offered by
                                                                 formula offered    by Dr.
                                                                                        Dr. Williams
                                                                                            Williams shows
                                                                                                       shows that
                                                                                                                that lost
                                                                                                                      lost
profits are
profits are greater   than or
              greater than  or equal
                               equal to
                                      to some
                                         some portion
                                                 portion ofof the
                                                              the overcharge,
                                                                  overcharge, not
                                                                                not considering
                                                                                     considering any
                                                                                                   any change
                                                                                                        change in     sales
                                                                                                                   in sales
due to
due  to lower   prices. So,
        lower prices.    So, for
                              for example,
                                  example, if if the
                                                 the pass-through
                                                      pass-through rate
                                                                     rate is
                                                                          is one
                                                                             one (100%
                                                                                  (100% pass-through),
                                                                                           pass-through), Dr.
                                                                                                           Dr. Williams'
                                                                                                                  Williams’
formula    states that
formula states    that the
                       the developer's    lost profits
                           developer's lost    profits are
                                                         are greater than or
                                                             greater than  or equal
                                                                              equal to   zero, not
                                                                                      to zero, not that
                                                                                                   that they
                                                                                                        they are
                                                                                                              are greater
                                                                                                                    greater


                                                                                                                               91
                                                                                                                               91
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 544 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


262. Dr. Williams does not consider competition across developers or the way in which prices
   are set. A profit-maximizing developer that faces competition and sets prices to end in "99,"
   for example, may not find a price reduction from one price point to another to be profit-
   maximizing and therefore would choose not to reduce its price when service fee rates fal1.3°9
   However, if its rival does reduce prices, that app developer may lose profits due to
   competition. The "calculus" associated with such pricing actions and reactions on the part of
   developers is complicated, but without analyzing them, Dr. Williams' conclusion that
   developers' profits will always be higher in the but-for world is an assumption, not the result
   of any economic analysis.
             2. Developers'
             2. Developers’ Costs Would Have
                            Costs Would Have Been
                                             Been Different
                                                  Different in
                                                            in the
                                                               the But-For
                                                                   But-For World
                                                                           World

263. Dr. Williams assumes that developers' costs are the same in the actual and but-for
   worlds.31° Dr. Williams provides no basis for this assumption and the evidence shows that it
   would not be true for all developers. A lost profits analysis that addresses differences in cost
   between the actual and but-for worlds requires a detailed analysis of individual developers'
   costs and profits.
264. In Dr. Sibley's but-for world, some developers' costs would have been higher. Dr. Sibley
   claims that the alleged conduct includes certain contracts between Google and mobile device
   OEMs that relate to the fragmentation of the Android operating system.311 Therefore, absent
   those allegedly anticompetitive contracts, there would be more stores in the but-for world,
   and those stores would have run on more incompatible versions of Android. Given the
   differences across variants of Android and app stores, a developer listing an app in multiple
   stores would have been forced to create different versions of the app (and different versions
   of each update) which implies higher distribution and development costs for some
   developers. For example, when Epic was developing Fortnite for Android, Epic had to invest
   engineering time and resources to determine whether Fortnite would operate on different
   versions of Android. Developing Fortnite for incompatible Android OSs would have taken
   even more effort and resources.312


than or
than or equal
        equal to
               to the
                   the overcharge.
                       overcharge. Moreover,
                                     Moreover, the
                                                 the formula   does not
                                                      formula does   not consider  any change
                                                                         consider any  change in     profits from
                                                                                                  in profits from aa
change in
change     sales —
        in sales   – that
                     that amount
                          amount is
                                  is explicitly set to
                                     explicitly set to zero
                                                       zero in
                                                            in Dr.
                                                               Dr. Williams'
                                                                   Williams’ formulation,     which according
                                                                               formulation, which      according to
                                                                                                                  to
Dr. Williams,
Dr. Williams, isis aa conservative
                      conservative approach
                                    approach because
                                               because he   assumes aa positive
                                                        he assumes     positive change
                                                                                 change in
                                                                                         in sales
                                                                                            sales inin the
                                                                                                       the but-for
                                                                                                           but-for
world. This
world.  This is
              is aa flawed  assumption, because
                    flawed assumption,   because some
                                                    some apps
                                                          apps may
                                                               may lose
                                                                     lose sales even if
                                                                          sales even if it sets aa lower
                                                                                        it sets    lower price,
                                                                                                          price,
because of
because  of more
            more intense    price competition
                    intense price competition that
                                                that may
                                                      may occur
                                                           occur in the but-for
                                                                 in the but-for world.
                                                                                 world.
309
309
         Exhibit 32
         Exhibit 32 shows
                    shows that
                          that 97%
                               97% of
                                   of app
                                      app download
                                          download and
                                                   and IAP prices end
                                                       IAP prices     in "99."
                                                                  end in “99.”
310
310
       See Williams Report
       See Williams  Report Appendix
                            Appendix III,
                                      III, ¶109
                                           ¶109 ("I
                                                (“I assume
                                                    assume that
                                                           that unit
                                                                unit cost
                                                                     cost for
                                                                          for developers is C
                                                                              developers is C and
                                                                                              and is
                                                                                                  is fixed
                                                                                                     fixed
between actual
between actual and
               and but-for
                   but-for worlds.").
                           worlds.”).
311
311
        See
        See e.g.,
            e.g., Sibley Report at
                  Sibley Report   at ¶222
                                     ¶222 ("AFAs
                                          (“AFAs [Anti-Fragmentation
                                                  [Anti-Fragmentation Agreements]
                                                                        Agreements] and
                                                                                      and ACCs
                                                                                          ACCs [Android
                                                                                                 [Android
Compatibility Commitments]
Compatibility Commitments] restrict
                                restrict OEMs'
                                         OEMs’ ability
                                                ability to
                                                        to manufacture
                                                           manufacture and
                                                                       and sell any device
                                                                           sell any device that
                                                                                           that uses
                                                                                                uses aa
version of
version    Android that
        of Android  that is not approved
                         is not approved byby Google.").
                                              Google.”).
312
312
        See
        See                                                                                More generally,
                                                                                           More  generally,
developers may
developers  may incur    costs to
                  incur costs  to distribute apps in
                                  distribute apps     different app
                                                   in different app stores.
                                                                     stores. See
                                                                             See also
                                                                                  also Koh
                                                                                        Koh Dep.
                                                                                             Dep. at
                                                                                                  at pp.
                                                                                                     pp. 320-321
                                                                                                         320-321
(“even working
("even working with
                  with aa one-stop
                          one-stop shop
                                    shop [that
                                          [that would
                                                would take
                                                       take our
                                                             our code
                                                                 code then
                                                                       then make
                                                                            make itit available
                                                                                      available for these different
                                                                                                for these different
app stores]
app stores] that
            that there
                 there was
                        was engineering
                             engineering work
                                           work required
                                                 required for
                                                           for us
                                                               us to
                                                                  to be
                                                                     be able
                                                                         able to
                                                                              to utilize
                                                                                 utilize those
                                                                                         those services.").
                                                                                               services.”).

                                                                                                                       92
                                                                                                                       92
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 545 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


265. Developers' costs in the but-for world also may be higher for other reasons. There are
   costs associated with transacting with each app store, including, for example, the costs in
   understanding and complying with each app store's terms and conditions, updating an app in
   each store, and marketing the app in each store. As a developer offers an app in more stores,
   those costs can increase.313
266. Given that developers' costs could increase in the but-for world, determining whether a
   developer has lost profits as compared to profits in that but-for world must consider those
   costs. It cannot be assumed, as Dr. Williams has assumed, that costs are the same.
   Determining whether a developer's costs are higher, however, requires an individualized
   analysis of the developer's apps.
              3. Google
              3. Google Play
                        Play Benefits Would Have
                             Benefits Would      Been Different
                                            Have Been Different in
                                                                in the
                                                                   the But-For
                                                                       But-For World
                                                                               World
267. Moreover, services and tools provided by Google Play in the actual world may not be
   available from all app stores in the but-for world or available on the same terms as Google
   Play provides them. Different developers value services and tools differently.314 For
   example, not all app stores (or alternative payment processors) may provide the more costly
   forms of payment such as DCB315 and gift cards, and developers whose customers rely more
   on those forms of payment would either experience higher costs or lose sales.316
268. Google Play makes numerous other services and tools available to developers. Whether
   each of those services are important to a developer and would have been available in the but-
   for world at the same cost as in the actual world requires a developer-specific analysis.317
              4.
              4. Google Play’s Service
                 Google Play's Service Fees Could Be
                                       Fees Could    Assessed Differently
                                                  Be Assessed Differently in
                                                                          in the
                                                                             the But-For
                                                                                 But-For
                 World
                 World

269. Dr. Williams' opinion regarding lost profits also does not properly account for Google's
   actions in the but-for world.318 That is, Dr. Williams' opinion does not allow for the

313
313
        See




314
314
        GOOG-PLAY-0110236932.
        GOOG-PLAY-0110236932.
315
315
        As described
        As described above,
                      above, some
                             some putative
                                    putative developer class members
                                             developer class members rely
                                                                     rely on
                                                                          on DCB
                                                                             DCB sales.
                                                                                 sales. For
                                                                                         For
                                                  97% of
                                                  97%      sales for
                                                        of sales for          and all
                                                                              and all of
                                                                                      of
         sales. See
         sales. See this
                    this report’s production.
                         report's production.
316
316
        GOOG-PLAY-000337564 at
        GOOG-PLAY-000337564 at -587;
                               -587; GOOG-PLAY-0005
                                     GOOG-PLAY-000565541  at -559.
                                                    65541 at -559.
317
317
        Glick Dep•
        Glick Dep. at
                   at p.
                      p. 214.
                         214.
318
318
         Dr. Williams
         Dr. Williams describes
                       describes that
                                  that in
                                       in aa damages
                                             damages analysis,
                                                     analysis, aa "characterization
                                                                  “characterization of
                                                                                    of the
                                                                                       the harmful
                                                                                           harmful event...will
                                                                                                    event…will
include
include aa description
           description of
                       of the
                          the defendant's
                              defendant’s proper
                                            proper actions
                                                   actions in place of
                                                           in place of its
                                                                       its unlawful
                                                                           unlawful actions
                                                                                    actions and
                                                                                            and aa statement
                                                                                                   statement


                                                                                                             93
                                                                                                             93
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 546 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      possibility that Google would change the way it monetizes Google Play in the but-for world
      even though, according to Developer Plaintiffs, Google would not earn any revenue from
      developers that used another billing system instead of Google Play Billing. Service fees
      generated from subscriptions and IAPs accounted for         of total Google Play revenue
      associated with "U.S." developers during the class period.319 Nearly all of Google Play's
      revenues would have been "at-risk" in Developer Plaintiffs' conceived but-for world. Faced
      with such risk, it is more than economically plausible that Google would respond in some
      way.32° Therefore, the way Google would respond must be considered in any determination
      of developer impact and calculation of developer damages. Calculating a developer's lost
      profits would require an individualized analysis of how an alternative monetization strategy
      would affect the developer.321
270. There are several ways Google could change Google Play's monetization to address the
   potential loss of revenues from developers that chose to use alternative payment processors
   in the but-for world. For example, Google could charge
                .322 For some developers, this annual fee would mean higher costs. For example,
   Peekya, one of the developer class representatives generated           in consumer spend
   during the 25-month period that it offered apps in Google Play. Its service fees were      .
   Peekya also paid a $25 registration fee. So, in total, Peekya's fees to Google Play were
           .323 If Google Play had charged                   , Peekya would have paid
                 over the 25 months.324 Total fees payable to Google Play would have been


about the
about the economic
          economic situation   absent the
                     situation absent the wrongdoing,
                                          wrongdoing, with
                                                      with the
                                                           the defendant's
                                                                defendant’s proper
                                                                            proper actions
                                                                                   actions replacing
                                                                                           replacing the
                                                                                                     the
unlawful ones
unlawful  ones (the
               (the but-for
                    but-for scenario)."
                            scenario).” See  Williams Report
                                         See Williams Report at
                                                             at ¶15.
                                                                ¶15.
319
319
         See Exhibit 4.
         See Exhibit 4.
320
320
        Feng Dep.
        Feng Dep. at
                   at pp.
                      pp. 158-159
                          158-159 ("If
                                     (“If users
                                          users are
                                                 are led  to aa way
                                                     led to     way to
                                                                    to pay
                                                                       pay outside
                                                                           outside of
                                                                                   of Play
                                                                                      Play billing
                                                                                            billing today,
                                                                                                    today, we
                                                                                                           we
would not
would not be
          be able
             able to
                  to collect
                     collect aa service
                                service fee.
                                         fee. II think
                                                 think if  that was
                                                       if that  was the
                                                                    the main
                                                                        main mechanism
                                                                             mechanism thatthat purchases
                                                                                                purchases are
                                                                                                           are made
                                                                                                               made
through Play-distributed
through Play-distributed apps,
                          apps, it’s
                                 it's likely we would
                                      likely we   would find    mechanisms to
                                                         find mechanisms    to charge
                                                                               charge aa service
                                                                                         service fee.").
                                                                                                  fee.”).
321
321
         Developer Plaintiffs
         Developer    Plaintiffs apparently
                                 apparently contend
                                               contend that
                                                         that the
                                                              the only way that
                                                                  only way  that Google   can respond
                                                                                 Google can   respond to to competition
                                                                                                            competition
is through
is through aa reduction
              reduction in  the service
                         in the  service fee
                                          fee rate.   But Google
                                               rate. But           has the
                                                          Google has   the ability
                                                                           ability and
                                                                                   and economic
                                                                                        economic incentive
                                                                                                   incentive to to pursue
                                                                                                                   pursue
other ways
other  ways to
             to respond  to competition
                respond to  competition if     those other
                                            if those        strategies generate
                                                      other strategies generate more
                                                                                 more revenue
                                                                                       revenue and
                                                                                                 and profits
                                                                                                       profits than
                                                                                                               than aa
reduction in
reduction     the service
           in the service fee   rate. In
                           fee rate.  In addition,
                                          addition, other
                                                     other monetization
                                                            monetization strategies   may lead
                                                                          strategies may        to aa higher
                                                                                           lead to    higher quality
                                                                                                              quality
app store
app  store and
           and would
                would have    been consistent
                        have been   consistent with
                                                  with Google
                                                        Google finding  other ways
                                                                finding other ways toto compete
                                                                                        compete inin the
                                                                                                      the but-for
                                                                                                          but-for
world, besides
world,  besides just
                 just service
                      service fee  rates. See
                               fee rates.  See for
                                                 for example,   GOOG-PLAY-000565001.R at
                                                     example, GOOG-PLAY-000565001.R            at 013    and 019
                                                                                                   013 and    019
(describing  that
(describing that                 would   discourage    spam  and  low-quality  apps).  Moreover,    as
                                 would discourage spam and low-quality apps). Moreover, as shown here,  shown    here, an
                                                                                                                       an
alternative monetization
alternative monetization strategy
                            strategy is
                                      is not  purely hypothetical.
                                         not purely    hypothetical. Google
                                                                      Google has
                                                                              has considered
                                                                                   considered and
                                                                                               and analyzed
                                                                                                     analyzed
alternative strategies
alternative strategies for
                        for Google    Play.
                            Google Play.
322
322
         See GOOG-PLAY-006990552 and
         See GOOG-PLAY-006990552 and GOOG-PLAY-000565001.R.
                                     GOOG-PLAY-000565001.R. Other
                                                            Other amounts
                                                                  amounts considered  were
                                                                           considered were
                                                               Google also
                                                              Google  also considered
                                                                           considered

323
323
         Peekya’s consumer
         Peekya's  consumer spend
                             spend data
                                   data are
                                        are based
                                            based on
                                                  on Google
                                                     Google Play
                                                            Play App-level
                                                                 App-level data and include
                                                                           data and  include transactions
                                                                                             transactions
through 2021,
through  2021, GOOG-PLAY-005535885
                GOOG-PLAY-005535885 and    and GOOG-PLAY-010801689.
                                               GOOG-PLAY-010801689. See  See this
                                                                              this report’s production;
                                                                                   report's production;
https://support.google.com/googleplay/android-developer/answer/6112435
https://supportgoogle.com/googleplay/android-developer/answer/6           (describing aa one-time
                                                                  112435 (describing     one-time $25
                                                                                                  $25
registration fee for developers on Google Play Store).
registration fee for developers on Google Play Store).
324
324
         Peekya first
         Peekya       published its
                first published its app
                                    app in December 2019.
                                        in December       See this
                                                    2019. See this report's
                                                                   report’s production.
                                                                            production.

                                                                                                                      94
                                                                                                                      94
           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 547 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


          higher for two-thirds to three-quarters of putative developer class members, depending on the
          year during the class period. Over the entire class period, about 67% of putative developer
          class members' fees would have been higher if Google charged                  compared to the
          fees that they actually paid. 325 Contrary to Dr. Williams' assumption, those developers'
          costs would have been higher in the but-for world. Consequently, their profits would have
          been lower.
    271. Similarly, if Google charged developers based on the number of downloads, as some
       Plaintiffs have suggested it should, some developers' service fees would have been higher,
       and their profits would be lower.326 Generally, developers that have many downloads, but
       relatively low consumer spend would have higher service fees in a world where Google had
       charged for each download. For example, as described above, the developer
                has an app with over               downloads and about            in consumer spend.
       If Google Play charged
                      ,                    service fees would increase from about            (the
       actual service fees over the class period) to over          .327 Contrary to Dr. Williams'
       opinion, LowTech Studios' profits would not be higher in the but-for world.
    272. Alternative Google Play monetization strategies would affect not only the service fees of
       developers, but also the kinds of services and tools available to developers. In the actual
       world, Google made investments in enabling subscription services, enabling different forms
       of payment, and others. In the but-for world, if Google was generating revenue in some
       other way, Google would likely refocus those investments towards services and products that
       are optimal for a but-for world monetization strategy. The proposed developer class
       members that rely on these tools and services may not get the same tools and services in the
       but-for world from Google. Whether they could have obtained the same tools at the same
       cost depends on the tools needed by the developer and their cost from other sources. For
       instance, developers that earn revenue from IAPs could have been worse off than developers
       that earn revenue from ads, for example, because Google could have invested more in tools
       for ads than tools for IAPs.328
VIII.     CONSUMER PLAINTIFFS' EXPERT'S CLAIMS OF IMPACT ARE BASED ON
          FLAWED ECONOMIC REASONING AND DO NOT CONSIDER ACTUAL APP,
          SUBSCRIPTION, AND IAP PRICING
    273. To show that any individual consumer was impacted by the alleged conduct, Dr. Singer,
       Consumer Plaintiffs' expert, must establish that (1) the developers from which the consumer
       purchased apps, subscriptions, or IAPs would have obtained lower service fee rates in the
       but-for world and (2) that as a result, the developers would have lowered their app,

    325
    325
             See Exhibit 11.
             See Exhibit 11.
    326
    326
             See Developer Complaint
             See Developer           ¶ 210;
                           Complaint ¶      GOOG-PLAY-000336574 at
                                       210; GOOG-PLAY-000336574 at 588.
                                                                   588.
    327
    327  The
         The calculation assumes that
             calculation assumes  that the
                                       the                                                     See
                                                                                               See
    GOOG-PLAY-000336574 at
    GOOG-PLAY-000336574     at 588;
                               588; GOOG-PLAY-006990552 at 554,
                                    GOOG-PLAY-006990552 at 554, 565.
                                                                565. See this report's
                                                                     See this report’s production.
                                                                                       production.
    328
    328
           See  Marchak Dep.
           See Marchak   Dep. Ex.
                               Ex. 375
                                   375 ("Because
                                       (“Because ofof aa choice
                                                         choice 12
                                                                12 years
                                                                   years ago
                                                                         ago to
                                                                             to charge 30% for
                                                                                charge 30%     premium
                                                                                           for premium
    downloads, we've
    downloads,  we’ve invested
                      invested in
                               in IAP, FOP coverage,
                                  IAP, FOP  coverage, DCB,
                                                         DCB, Gift  Cards, Growth
                                                               Gift Cards, Growth Consulting,
                                                                                   Consulting, Subs, Points.
                                                                                               Subs, Points.
    Imagine
    Imagine if we decided
            if we decided to
                          to charge
                             charge 30%
                                    30% of
                                         of all
                                            all ad
                                                ad sales  instead?”).
                                                   sales instead?").

                                                                                                               95
                                                                                                               95
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 548 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      subscription and IAP prices. Unless both of those conditions occur, the consumer is not
      impacted. It follows that to show that all or nearly all consumers were impacted, Dr. Singer
      must establish that (1) all or nearly all developers would have obtained lower service fee
      rates in the but-for world and (2) those developers would have passed through those lower
      service fees in the form of lower retail prices to all or nearly all consumers.
274. Dr. Singer attempts to establish common impact by claiming that in the but-for world,
   competition from a single app store with a catalog of apps comparable to the catalog of
   Google Play would reduce Google Play's market share to 60% and that as a result, service
   fee rates for all paid apps would fall to        and service fee rates for all IAPs and
   subscriptions would fall to        .329 Alternatively, he claims that if paid apps and IAPs are
   considered together, all service fee rates, on all transactions, would be        .330 Dr. Singer
   reaches these results based on models that assume Google Play would set a certain service
   fee rate to maximize its profits on a portion of its sales. For example, Dr. Singer finds the
   but-for service fee rate of       based on a model that assumes Google maximizes profits on
   paid downloads. The model is constructed to return a single but-for service fee rate, as are
   his other models. All his models depend on average or aggregated inputs. Dr. Singer makes
   no attempt to study or test whether, in the but-for world, different developers would have
   been affected differently, and his models are not capable of explaining why some developers
   in the actual world get lower rates.
275. Dr. Singer further claims that nearly all developers would pass through nearly 100% of
   all service fee rate reductions to consumers. He finds that on average, 89.9% of the service
   fee reductions would have been passed through to consumers in the form of lower retail app
   and IAP prices.331
276. Dr. Singer's calculations of but-for service fee rates depend on his estimates of pass-
   through rates. If Dr. Singer's pass-through rates are wrong, then the but-for service fee rates
   that depend on the pass-through rates are also wrong. Of course, in addition, if the pass-
   through rates are wrong, even if there were service fee rate reductions, there would be no
   evidence that those reductions would have been passed through to consumers. Given the
   importance of Dr. Singer's pass-through rates, I begin with that topic in Section VIII.D.
   Discussion of the but-for service fee rate calculations are discussed in Section VIII.E.
         D. CONSUMER PLAINTIFFS' EXPERT'S OPINION REGARDING PASS-THROUGH IS
            FLAWED AND INACCURATE
277. Dr. Singer's conclusion of "widespread pass-through" is based on a formulation of pass-
   through rates that depend solely on developers' shares of unit sales within a "category."332

329
329
         See Singer Report Tables
             Singer Report Tables 3,
                                  3, 5, ¶177.
                                     5, ¶177.
330
330
         Singer Report Appendix
         Singer Report Appendix 4.
                                4.
331
331
       See Singer  Report Table
            Singer Report  Table 8,
                                 8, ¶33.
                                    ¶33. Dr.
                                         Dr. Singer
                                             Singer also
                                                    also claims
                                                         claims that
                                                                that in
                                                                     in the
                                                                        the but-for
                                                                            but-for world
                                                                                    world Google  could
                                                                                          Google could
expand its
expand     Play Points
       its Play Points program
                       program rather than reduce
                               rather than reduce service
                                                  service fees.
                                                          fees. That
                                                                That opinion
                                                                      opinion is
                                                                              is discussed
                                                                                 discussed in
                                                                                           in Section
                                                                                              Section IX
                                                                                                      IX
below.
below.
332
332
        Singer  Report at
        Singer Report   at ¶239
                           ¶239 ("The
                                (“The logit demand system
                                      logit demand   system yields
                                                            yields aa pass-through
                                                                      pass-through rate
                                                                                      rate equal to [M-Qj]/M,
                                                                                           equal to [M-Qj]/M,
where M
where M is  the size
         is the size of
                     of the
                        the market
                            market —
                                   – inclusive
                                     inclusive of
                                               of the
                                                  the outside good —
                                                      outside good  – and
                                                                      and Q    is the
                                                                           Qjj is the quantity sold of
                                                                                      quantity sold  of aa given
                                                                                                           given
product.”).
product.").

                                                                                                               96
                                                                                                               96
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 549 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      The method is overly simplistic, depends on unsupported assumptions, and includes no
      analysis of any service fee rate change or any cost change at all. Moreover, the method
      produces false results — that is, the method predicts pass-through rates of near 100% for many
      prices that did not change at all when the service fee rate changed.
278. Below, I first describe Dr. Singer's formula for finding pass-through rates and then show
   that the predicted pass-through rates based on the formula are contradicted by the empirical
   evidence in this case.
                     1. Dr. Singer's Pass-Through Methodology is Based on an Overly
                        Simplistic Formula That Produces Inaccurate Results
279.    Every pass-through rate calculated by Dr. Singer is calculated with a formula that
   depends solely on the share of a developer's sales within a "category." The "categories"
   used by Dr. Singer, which are integral to the results, are not based on any economic analysis
   or reasoning but are simply the categories used in Google Play. The method is unrealistic
   and produces pass-through rates that are demonstrably wrong.
280. An example demonstrates that Dr. Singer's method is based on overly simplistic and
   unrealistic assumptions. Dr. Singer finds that the pass-through rate for the developer
                                           for subscription transactions in January 2019 is nearly
   100%.333 To find this pass-through rate, Dr. Singer calculated the ratio of                  unit
   sales of its subscriptions transactions in that month — 2 transactions — and the total number of
   subscription transactions in the "Game" category in that month — 935,919 transactions. This
   ratio is               share of transactions (or unit sales) in that month in that category, which
   is 0.0002%.334 According to Dr. Singer's method, the pass-through rate for
   subscription transactions in that month is calculated as one minus the share, which is
   99.9998%.335 Dr. Singer performed similar calculations for other months and found
                 had a pass-through rate of 99.98% to 99.9999% throughout the class period.336
281.      Dr. Singer's pass-through results are demonstrably wrong. Some developers, including
                 , experienced service fee rate reductions in the real world, so data are available to
      test whether developers passed through service fee rate reductions consistent with Dr.
      Singer's predictions.
282.                    service fee rate in Google Play fell from 30% to 15% in January 2018.337
                    service fee rates and its subscription prices are shown in Figure 10 below. The

333
333
                       app is
                       app is                 identified as
                                              identified as app
                                                            app package
                                                                package name
                                                                        name
                                   in the data.
                                   in the data.
334
334
         That
         That is,
              is, 2/935,919 = 0.0002%
                  2/935,919 = 0.0002%
335
335
         See Exhibit 44.
         See Exhibit 44.
336
336
         See Exhibit 45.
         See Exhibit 45.
337
337
         This rate reduction
         This rate reduction was
                               was pursuant
                                   pursuant to
                                             to Google
                                                Google Play's
                                                        Play’s policy
                                                               policy change
                                                                       change inin 2018
                                                                                   2018 for
                                                                                        for subscriptions
                                                                                            subscriptions for
                                                                                                          for
consumers that
consumers   that were
                 were more
                      more than
                              than one-year
                                   one-year in
                                             in length.
                                                length. When
                                                        When Google
                                                              Google initiated    the program
                                                                        initiated the program and
                                                                                               and throughout
                                                                                                   throughout
the period
the period             sold subscriptions
                       sold    subscriptions in
                                             in its
                                                its            app, its
                                                               app, its consumer
                                                                        consumer subscriptions
                                                                                    subscriptions apparently
                                                                                                  apparently are
                                                                                                              are
annual renewals.
annual  renewals. Thus,
                    Thus, its
                          its service
                              service fee rate dropped
                                      fee rate          from 30%
                                               dropped from  30% toto 15%    immediately after
                                                                      15% immediately     after Google
                                                                                                Google made
                                                                                                       made thethe


                                                                                                               97
                                                                                                               97
                  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 550 of 667
                                                                   – ATTORNEYS'
                                               HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      graph shows that               did not change its retail price after its service fee rate reduction
      — its pass-through rate was zero. Dr. Singer fmds the pass-through rate was nearly 100%.
                   did not pass on any of its service fee rate reduction, much less pass through
      nearly 100% of the reduction, as Dr. Singer's pass-through method predicts.338
Figure 10.                                App Subscription Price and Service Fee Rate Contradicts Dr.
Singer’s
Singer's Results of Nearly Complete Pass-Through


                            $10.99                                                                                Subscription price    35%
                             $9.99
                                                                                                                                        30%
                             $8.99
       Subscription Price




                             $7.99
                             $6.99
                             $5.99                                                                                   Service fee rate
                             $4.99
                             $3.99                                                                                                      10%
                             $2.99
                                                                                                                                        5%
                             $1.99
                             $0.99                                                                                                      0%
                                     Aug.   Nov.   Feb.   May.   Aug.   Nov.   Feb.   May.   Aug.   Nov.   Mar.   Jun.   Oct.   Aug.
                                     2016   2016   2017   2017   2017   2017   2018   2018   2018   2018   2019   2019   2019   2020



Source:
      Exhibit 46.


283.      Dr. Singer uses the same method to find pass-through rates for each developer in each
      app category and each month and for each of the three types of transactions — paid
      downloads, subscriptions, and 1APs. Each pass-through rate is calculated the same way —
      one minus the developer's share of unit sales in the category. The pass-through rates he
      reports for categories of apps339 are weighted averages of these share-based pass-through
      rates. 340
284. Across all developers, transaction types and months, 95% of pass-through rates
   calculated by Dr. Singer are over 99.5%.341 Given that Dr. Singer's pass-through rates are

service fee
service fee rate
            rate reduction and continued
                 reduction and continued to
                                         to be
                                            be 15%
                                               15% throughout
                                                   throughout the
                                                              the time
                                                                  time it
                                                                       it sold subscriptions. See
                                                                          sold subscriptions. See this
                                                                                                  this
report’s production.
report's production.
338
338
        Dr. Williams
        Dr. Williams also
                     also found
                          found that
                                that             prices did
                                                 prices did not
                                                            not change
                                                                change after
                                                                       after aa service
                                                                                service fee rate reduction.
                                                                                        fee rate reduction.
See Dr. Williams'
See Dr. Williams’ backup
                  backup for  Williams Report
                          for Williams Report Figure
                                              Figure 3.
                                                     3.
339
339
        Singer Report Table
        Singer Report       8.
                      Table 8.
340
340
        The   weights used
        The weights     used in the category-weighted
                             in the  category-weighted average
                                                           average are
                                                                    are based
                                                                         based on
                                                                               on units
                                                                                   units sold.
                                                                                         sold. So,
                                                                                               So, for
                                                                                                   for example,
                                                                                                       example, for
                                                                                                                  for aa
category, there
category,  there may
                 may be
                      be thousands
                          thousands ofof different  pass-through rates
                                         different pass-through    rates calculated
                                                                          calculated since
                                                                                     since Dr.
                                                                                            Dr. Singer
                                                                                                Singer calculates
                                                                                                        calculates aa
pass-through rate
pass-through   rate for three types
                    for three types of
                                     of transactions,
                                        transactions, many
                                                       many months,
                                                              months, andand many
                                                                             many developers.    Each of
                                                                                    developers. Each   of those
                                                                                                          those pass-
                                                                                                                 pass-
through rates
through  rates is
               is weighted
                  weighted by
                            by its
                                its share
                                    share of
                                           of total
                                              total units
                                                    units sold
                                                          sold in
                                                               in the
                                                                  the category,
                                                                      category, for  each type
                                                                                 for each  type of
                                                                                                of transaction
                                                                                                   transaction in  the
                                                                                                                in the
month  to find  the category-weighted     average   pass-through
month to find the category-weighted average pass-through rate.     rate.
341
341
                             See Exhibit 47.
                             See Exhibit 47.

                                                                                                                                              98
                                                                                                                                              98
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 551 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      determined solely with shares and that in his (overly broad) categories, there can be hundreds
      or even thousands of different apps and developers,342 it is not surprising that many shares
      are very small and, consequently, when a pass-through rate is calculated as one minus the
      share, the resulting pass-through rates are very close to 100%.
285.      The only way that Dr. Singer would conclude that some consumer was not impacted —
      because some amount of a service fee rate reduction was not passed through to the consumer
      — is if the consumer solely made purchases from developers that had 100% shares of their
      respective category sales.
                         2. Pricing Data Show that Dr. Singer's Predicted Pass-Through Rates
                              Are Wrong
286.      Dr. Singer's mistaken claim about               pass-through rate, described above, is not
      an isolated example. There are other examples of developers that Dr. Singer claims have
      pass-through rates of nearly 100% but in fact have had service fee rate reductions and have
      not passed through any part of the reduction in lower service fee rate reductions.343
287.      Similar to              , two other putative developer class members,               and
                  , had service fee rate reductions from 30% to 15% in January 2018. As shown in
      Figures 11 and 12 below, these developers' retail prices remained constant after the service
      fee rate reduction, indicating a zero pass-through rate. Yet, Dr. Singer finds nearly 100%
      pass-through rates for both          and             , for most months of the class period. Dr.
      Singer's pass-through rate formula produces inaccurate results for paid downloads and IAPs,
      as well.'



342
342
          In the Games
          In the Games category
                       category used
                                used by
                                     by Dr.
                                        Dr. Singer,
                                            Singer, there
                                                    there are
                                                          are 198,452 apps. See
                                                              198,452 apps.     this report’s
                                                                            See this          production.
                                                                                     report's production.
343
343
        Dr. Singer's
        Dr. Singer’s pass-through
                       pass-through rates
                                     rates are
                                           are also
                                               also contradicted
                                                    contradicted by
                                                                 by testimony.
                                                                    testimony. He
                                                                                He found
                                                                                    found aa pass-through
                                                                                             pass-through rate
                                                                                                           rate
of nearly
of nearly 100%  for the
          100% for  the developer
                         developer class  representative, Rescue
                                   class representative,  Rescue Pets.
                                                                  Pets. But
                                                                         But according
                                                                             according to
                                                                                       to Mr.
                                                                                          Mr. Scalise,  of
                                                                                               Scalise, of
Rescue Pets,
Rescue  Pets, when
              when it
                    it experienced
                       experienced aa lower  service fee
                                      lower service      rate,
                                                     fee rate,

                                                       ..
344
344
          Most SKU
          Most           prices did
                 SKU prices     did not
                                     not change
                                         change following
                                                  following aa service
                                                                 service fee
                                                                          fee rate  reduction. See
                                                                              rate reduction.           Figure 13
                                                                                                   See Figure       and Exhibit
                                                                                                                13 and   Exhibit
52.
52. These
    These SKUs       include not
             SKUs include      not only  subscriptions but
                                   only subscriptions     but also
                                                              also paid
                                                                    paid downloads
                                                                         downloads and  and IAPs,
                                                                                             IAPs, such
                                                                                                      such as
                                                                                                            as the
                                                                                                               the paid
                                                                                                                    paid
download app
download     app                               (app package
                                               (app   package name
                                                                 name                                                        ))
and IAPs
and  IAPs inin                             (app package
                                           (app  package name
                                                            name                                                   ). That
                                                                                                                   ). That is,
                                                                                                                            is,
                               and
                               and                             demonstrate zero
                                                               demonstrate    zero pass-through
                                                                                     pass-through even       though Dr.
                                                                                                       even though     Dr.
Singer’s method
Singer's   method predicts
                     predicts aa pass-through
                                 pass-through rate
                                                 rate ranging
                                                       ranging from
                                                                 from 99.98%
                                                                       99.98% to to 99.996%
                                                                                     99.996% for      the former
                                                                                                  for the former and
                                                                                                                   and 99.8%
                                                                                                                        99.8%
to 99.99%
to 99.99% for    the latter.
             for the  latter. See  this report's
                              See this  report’s production.
                                                  production. Additional
                                                                  Additional examples
                                                                               examples of  of prices
                                                                                               prices that
                                                                                                        that do
                                                                                                             do not
                                                                                                                 not change
                                                                                                                      change
after aa service
after    service fee   rate reduction
                  fee rate  reduction are
                                        are shown
                                            shown in in Exhibits
                                                        Exhibits 6363 and
                                                                      and 64.   Exhibit 63
                                                                            64. Exhibit   63 shows
                                                                                               shows thethe price
                                                                                                            price and
                                                                                                                   and service
                                                                                                                        service
fee rate  for a subscription
fee rate for a subscription SKU,SKU,                               The  service  fee  rate  for  that  SKU   fell
                                                                   The service fee rate for that SKU fell from 30%from  30% to  to
15% between
15%    between July
                 July and
                        and September     2017, but
                             September 2017,     but the
                                                      the price
                                                          price remained
                                                                 remained constant
                                                                             constant from
                                                                                        from December
                                                                                               December 2016 2016 through
                                                                                                                    through
July 2021
July  2021 — – indicating
               indicating no    pass-through of
                             no pass-through   of the
                                                   the service
                                                        service fee  rate reduction.
                                                                 fee rate  reduction. Dr.Dr. Singer
                                                                                             Singer predicts
                                                                                                       predicts pass-through
                                                                                                                  pass-through
rates applicable
rates  applicable toto this
                        this SKU
                             SKU that
                                   that range
                                        range from    81% to
                                               from 81%     to 100%
                                                                100% (varying
                                                                       (varying across
                                                                                  across months),
                                                                                          months), basedbased on
                                                                                                               on his
                                                                                                                   his "one-
                                                                                                                       “one-
minus-the-share” formula.
minus-the-share"      formula. Exhibit
                                 Exhibit 6464 shows
                                              shows thethe price
                                                           price and
                                                                   and service
                                                                       service fee
                                                                                fee rate
                                                                                     rate for
                                                                                           for the
                                                                                                the
                        subscription SKU.
                       subscription   SKU. The      service fee
                                              The service    fee for  this SKU
                                                                  for this  SKU fell
                                                                                  fell from   30% to
                                                                                       from 30%      to 15%
                                                                                                         15% over
                                                                                                              over the
                                                                                                                     the period
                                                                                                                         period
December 2017
December     2017 toto December
                        December 2018;
                                     2018; but
                                            but the
                                                the price
                                                     price of
                                                           of the
                                                               the SKU    remained constant
                                                                    SKU remained      constant —   – indicating
                                                                                                     indicating nono pass-
                                                                                                                      pass-


                                                                                                                              99
                                                                                                                              99
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 552 of 667
                            HIGHLY CONFIDENTIAL
                            HIGHLY CONFIDENTIAL —
                                                – ATTORNEYS'
                                                  ATTORNEYS’ EYES
                                                             EYES ONLY
                                                                  ONLY




Figure 11.
Figure 11.                   Monthly Subscription
                             Monthly Subscription Price and Service
                                                  Price and         Fee Rate
                                                            Service Fee Rate Contradicts
                                                                             Contradicts Dr.
                                                                                         Dr. Singer’s
                                                                                             Singer's
Results of
Results of Nearly
           Nearly Complete
                  Complete Pass-Through
                           Pass-Through


     $9.99                                                                                                                  35%
                                                                                                   Subscription price
     $8.99
                                                                                                                            30%
     $7.99
                                                                                                                            25%
     $6.99                                                                                                                      ro
                                                                                                                                cc
                                                                                                                            20% cu
   0 $5.99                                                                                                                      a)
                                                                                                        Service fee rate        LL
     $4.99                                                                                                                  15%
     $3.99
                                                                                                                            10%
     $2.99
                                                                                                                            5%
     $1.99

     $0.99 i                              I      I             I      I            I                                       i 0%
             Aug.   Dec.   Apr.   Aug.   Dec.   Apr.   Aug.   Dec.   Apr.   Aug.   Dec.   Apr.   Aug.    Dec.   Apr.
             2016   2016   2017   2017   2017   2018   2018   2018   2019   2019   2019   2020   2020    2020   2021



Source:
Source:
    Exhibit 48
    Exhibit 48




through of
through  of the
            the service
                service fee rate reduction.
                        fee rate reduction. Dr.
                                            Dr. Singer
                                                Singer predicts
                                                       predicts pass-through
                                                                pass-through rates applicable to
                                                                             rates applicable to this
                                                                                                 this SKU
                                                                                                      SKU
that range
that range from  71% to
           from 71%   to 94%
                         94% (varying
                               (varying across
                                        across months),
                                               months), based
                                                        based on
                                                               on his
                                                                  his "one-minus-the-share"
                                                                      “one-minus-the-share” formula.
                                                                                              formula.




                                                                                                                                  100
                                                                                                                                  100
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 553 of 667
                                 HIGHLY CONFIDENTIAL
                                 HIGHLY CONFIDENTIAL —
                                                     – ATTORNEYS'
                                                       ATTORNEYS’ EYES
                                                                  EYES ONLY
                                                                       ONLY


Figure 12.
Figure 12.                   Monthly Subscription
                             Monthly Subscription Price and Service
                                                  Price and         Fee Rate
                                                            Service Fee Rate Contradicts
                                                                             Contradicts Dr.
                                                                                         Dr. Singer's
                                                                                             Singer’s
Results of
Results of Nearly
           Nearly Complete
                  Complete Pass-Through
                           Pass-Through


           $5.49                                                                                                       i     35%
                                                                                                        Subscription pr ce
           $4.99
                                                                                                                             30%
           $4.49
                                                                                                                             25%
           $3.99
      0_
      g $3.49                                                                                                                20% co
                                                                                                          Service fee rate       LL
      f3- $2.99
           $2.49
           $1.99
                                                                                                                             5%
           $1.49
           $0.99                                                                                                             0%
                   Aug.   Nov.   Feb.   May.   Aug.   Nov.   Mar.   Jun.   Oct.   Mar.    Jul.   Jan.   Apr.   Oct.   Mar.
                   2016   2016   2017   2017   2017   2017   2018   2018   2018   2019   2019    2020   2020   2020   2021


Source:
Source:
           Exhibit 49
           Exhibit 49



288. Broadly considered comparisons of retail app, subscription, and IAP prices before and
   after service fee rate reductions indicate that only some rate reductions are passed through.
   These comparisons also show that Dr. Singer's method and pass-through results are not
   reliable and that his claim of "widespread" pass-through is not true.345
289. Figure 13 below summarizes comparisons of retail app and IAP prices before and after
   service fee rate changes and compares those results to Dr. Singer's pass-through rates based
   on his "one-minus-the-share" formula. The figure shows percentages of positive pass-
   through rates found by Dr. Singer, Dr. Williams, and me.
290. Dr. Singer predicts a pass-through rate for an individual developer-transaction type-app
   category-month based on his "one-minus-the-share" formula.
291. Dr. Williams compared prices of "SKUs" (e.g., prices of individual apps or IAPs)346 that,
   based on Google's transaction data, had service fee rate changes from 30% to 15%. Dr.
   Williams compared the average price in all consecutive months in which the service fee rate
   was 30% and the average price in all consecutive months in which the service fee rate was
   15%.347 Dr. Williams made such comparisons for subscriptions, IAPs, and paid downloads.




345
345
              Singer Report Section
              Singer Report         V.D.3.
                            Section V.D.3.
346
346
              SKU
              SKU here refers        “product ID"
                       refers to the "product ID” in Google’s
                                                     Google's transaction data.
347
347
              Williams fn.
              Williams fn. 119.

                                                                                                                                  101
                                                                                                                                  101
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 554 of 667
                         HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                                ATTORNEYS’ EYES ONLY


      He found that for 23% of the paid downloads, 4% of the subscriptions, and 10% of the IAPs,
      prices fell after the service fee rate (that is, pass-through rates were positive).348
292. I compared prices of SKUs before and after the SKU had a service fee rate change. I
   analyzed SKU prices with the transactions data,349 the app-level data, data that I collected
   once each month from Google Play between April 2021 and January 2022 ("scraped data"),
   and data requested by me from Google showing prices on June 21, 2021, October 16, 2021,
   and February 6, 2022 ("snapshot data"). I analyzed app prices, subscription prices, and IAP
   prices before and after those SKUs had a service fee rate change.
293. With Google's transaction data, I compared subscription prices one month before and one
   month after a service fee rate change as well as six months before and six months after the
   rate change.35° I also separately examined subscription prices for developers in Google's
   LRAP, LRAP++, ADAP, and SwG programs (which I call "deal developers").351
      ●
      • The  app-level data
        The app-level   data extends
                             extends through
                                       through 2021
                                                 2021 and
                                                       and therefore
                                                            therefore allowed
                                                                         allowed meme toto consider
                                                                                           consider price
                                                                                                     price
        changes after,
        changes  after, in
                        in July 2021, Google
                           July 2021,   Google reduced     the service
                                                 reduced the   service feefee rate for developers'
                                                                              rate for  developers’ first
                                                                                                      first $1
                                                                                                            $1
        million of
        million of consumer
                   consumer spend.
                               spend. With
                                        With the
                                               the app-level
                                                   app-level data,
                                                               data, II compared     prices of
                                                                        compared prices      of paid
                                                                                                paid
        downloads one
        downloads   one month
                          month before
                                 before and
                                          and one
                                               one month
                                                   month after
                                                            after their
                                                                  their service
                                                                         service fee
                                                                                  fee rate
                                                                                       rate changed.
                                                                                            changed. II limit
                                                                                                         limit
        my analysis
        my  analysis of
                      of the
                         the app-level
                             app-level data
                                         data to
                                              to paid
                                                 paid downloads,
                                                       downloads, because
                                                                     because that
                                                                                that data
                                                                                      data aggregates
                                                                                            aggregates
        subscriptions and
        subscriptions  and aggregates
                            aggregates IAPs
                                         IAPs and
                                                and thus
                                                     thus could
                                                          could show
                                                                  show changes
                                                                          changes inin the
                                                                                       the average
                                                                                            average price
                                                                                                     price due
                                                                                                             due
        to changes
        to changes in  product mix.
                    in product   mix. That   problem does
                                        That problem    does not
                                                              not exist
                                                                   exist for  paid downloads.
                                                                          for paid  downloads. II analyzed
                                                                                                     analyzed
        paid app
        paid app downloads
                  downloads that,
                               that, according
                                     according toto the
                                                    the app-level
                                                        app-level data,
                                                                    data, experienced
                                                                            experienced aa service
                                                                                             service fee   rate
                                                                                                      fee rate
        change in
        change  in or
                   or after
                      after July 2021.
                            July 2021.
      ●
      • The  scraped data
        The scraped       included prices
                     data included   prices of
                                            of paid
                                               paid downloads only.352 With
                                                    downloads only.352       the scraped
                                                                       With the  scraped data,
                                                                                          data, II
        compared prices
        compared   prices of
                          of paid
                              paid downloads
                                   downloads one
                                               one month
                                                   month before
                                                         before and
                                                                and one
                                                                    one month
                                                                         month after
                                                                                after their
                                                                                      their service
                                                                                            service
        fee rate changed.
        fee rate changed. II identified
                             identified paid
                                        paid downloads
                                             downloads with
                                                       with service
                                                            service fee
                                                                    fee rate changes on
                                                                        rate changes  on or
                                                                                         or after
                                                                                             after
        July 2021 based
        July 2021  based on
                         on the
                              the app-level
                                  app-level data.
                                            data.
      ● With the
      • With  the snapshot
                  snapshot data,
                            data, II compared
                                     compared prices
                                                 prices of
                                                         of IAPs on June
                                                            IAPs on        21, 2021
                                                                     June 21,  2021 (prior
                                                                                      (prior to
                                                                                             to Google
                                                                                                 Google
        Play’s July  2021 rate change)     to prices on  October 16,  2021   and February   6,
        Play's July 2021 rate change) to prices on October 16, 2021 and February 6, 2022 (after 2022  (after
        Google Play's
        Google  Play’s July  2021 rate
                        July 2021    rate change).
                                          change). II included  only IAPs
                                                       included only         that, according
                                                                       IAPs that,  according toto the
                                                                                                  the app-
                                                                                                      app-
        level
        level data,
              data, experienced
                    experienced aa service
                                     service fee
                                              fee rate
                                                  rate change
                                                       change on
                                                               on or
                                                                  or after
                                                                      after July 2021.
                                                                            July 2021.



348
348
         Overall, these percentages indicate about 8% of the SKUs’
                                                                SKUs' prices fell after the service fee rate
was reduced.
     reduced. The
               The percentage is
                               is consistent           Williams’ Figure 3. Dr. Williams'
                                  consistent with Dr. Williams'                 Williams’ analysis of paid
download and non-subscription IAP SKUs relied on comparisons of prices before and after the July 2021
Google service fee rate change. Dr. Williams relied on the transactions data for these comparisons, which
means he had only three days in in July 2021
                                        2021 after the service
                                                       service fee
                                                               fee rate change. App-level data was available
for the full
        full year
             year of
                  of 2021
                     2021 and
                          and could  have been  used  for comparisons.
                              could have been used for comparisons.
349
349
          Dr. Williams used the same transactions data that I used.
350
350
          See
          See Exhibit 50.
                      50.
351
351
          See Exhibit 8 for a list of the developers associated with these programs.
352
352
        The paid download prices were the only prices that could be collected through the mechanical
process that used to create the scraped dataset.

                                                                                                             102
                                                                                                             102
                                     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 555 of 667
                                                      HIGHLY CONFIDENTIAL
                                                      HIGHLY CONFIDENTIAL —
                                                                          – ATTORNEYS'
                                                                            ATTORNEYS’ EYES
                                                                                       EYES ONLY
                                                                                            ONLY


294. Figure 13 below summarizes the overall pass-through rate results from Dr. Singer, Dr.
   Williams, and from the analysis I conducted. The figure shows that while Dr. Singer's "one-
   minus-the-share" formula predicts that nearly all developers would pass through service fee
   rate changes, in fact, very few developers reduced prices when their service fee rates actually
   fell.353


Figure 13.
Figure 13.        Summary of
                  Summary  of Pass-Through Rates Found
                              Pass-Through Rates Found by
                                                       by Dr.
                                                          Dr. Williams,
                                                              Williams, Dr.
                                                                        Dr. Singer,
                                                                            Singer, and
                                                                                    and Dr.
                                                                                        Dr. Burtis
                                                                                            Burtis —
                                                                                                   –
Share
Share of
      of Positive
         Positive Pass-Through Rates
                  Pass-Through Rates
                                            Predicted Pass-Through Rates                    Actual Pass-Through Rates
                                    100%
                                    90%
  Share of Pass-Through Rates >0%




                                    80%
                                    70%
                                    60%
                                    50%
                                    40%
                                    30%
                                    20%
                                    10%
                                                                                                                           2%
                                     0%
                                                     Dr. Singer                    Dr. Williams                         Dr. Burtis


Source:
Source:
                                    Exhibit 51
                                    Exhibit 51

295. The price comparisons before and after a service fee rate change summarized in Figure
   13 — based on the comparisons I conducted and those provided in Dr. Williams' report —
   provide information about actual pricing decisions made by developers. Those results
   contradict Dr. Singer's formula-based conclusion of "widespread pass-through" and
   demonstrate that the method he used to calculate pass-through rates is not reliable. The
   results show that Dr. Singer's predicted pass-through rates nearly always show nearly
   complete pass-through, but when the pricing data are examined, those predicted pass-through
   rates are shown to be wrong and, in many cases, prices do not change when service fee rates
   change.
296. Moreover, Dr. Singer had data to test the reliability of his method and his results, but he
   failed to do so. He has no analysis in his report that attempts to discover how any developer
   (or set of developers) responded to any change in a service fee rate or to any change in any
   type of cost in the real world — even though there are examples of service fee rate reductions
   in the past that were available for him to analyze in the Google transactions data.354 Instead,


353
353
                                       Exhibit 52
                                       Exhibit    shows these
                                               52 shows these results
                                                              results in
                                                                      in more
                                                                         more detail.
                                                                              detail.
354
354
        As described
        As  described below,
                      below, Developer
                             Developer Plaintiffs'
                                       Plaintiffs’ expert
                                                   expert Dr.
                                                          Dr. Williams
                                                              Williams analyzed
                                                                       analyzed certain service fee
                                                                                certain service fee rate
                                                                                                    rate
reductions. See
reductions.      Williams Report
             See Williams Report at
                                 at ¶¶76-88.
                                    ¶¶76-88.

                                                                                                                                     103
                                                                                                                                     103
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 556 of 667
                        HIGHLY CONFIDENTIAL
                        HIGHLY CONFIDENTIAL —
                                            – ATTORNEYS'
                                              ATTORNEYS’ EYES
                                                         EYES ONLY
                                                              ONLY


      he relied on a formula that produced results that conflict with the actual pricing behavior of
      developers.
297. Dr. Singer's results could also have been tested by comparing prices of apps,
   subscriptions, or IAPs that are available in Google Play (with a fee to Google Play) with
   prices on developers' websites (with no fee to Google Play). Dr. Singer claims that such
   comparisons yield "implied pass-through rates."355 In some instances, prices on Google Play
   are the same as on developers' websites. According to Dr. Singer's implied pass-through
   rates, this would indicate zero pass-through. However, Dr. Singer's formula-based method
   predicts dramatically different pass-through rates. Table 8 provides examples of the implied
   pass-through rates, based on a comparison of the price in Google Play versus the price on the
   developer's website and Dr. Singer's predicted pass-through rates based on his "one-minus-
   the-share" formula. The table shows AllTrails, an outdoor app offering a Pro subscription
   plan at $29.99 per year both in Google Play and on its website — which means its implied
   pass-through rate is zero. However, Dr. Singer's predicted pass-through rate is 99%.
Table 8. Comparison
Table 8. Comparison of Dr. Singer's
                    of Dr. Singer’s "Implied
                                    “Implied Pass-Through Rates” and
                                             Pass-Through Rates" and His
                                                                     His Predicted
                                                                         Predicted Pass-Through Rates
                                                                                   Pass-Through Rates




Source:
Source:
      Exhibit 53.
      Exhibit 53.

                      3. Dr. Singer's Pass-Through Method and Formula Are Not Consistent
                         with Economics
298. Dr. Singer's pass-through rate formula is not consistent with economics. According to
   Dr. Singer's formula, pass-through depends solely on a developer's "share," implying that
   the pass-through rate for two apps (or developers) are the same simply because they had the
   same share of their category's sales — regardless of any other differences between them.
   There are economic studies, both theoretical and empirical, that show pass-through depends
   on numerous factors, including supply conditions (e.g., cost), demand and the curvature of
   demand, and competitive conditions.356 Dr. Singer's pass-through rates do not consider any
   of those factors.


355       Singer Report at
          Singer Report at ¶243,
                           ¶243, Table 9.
                                 Table 9.
356
356     For aa survey
        For    survey of
                      of the
                         the literature
                             literature see “Cost pass-through:
                                        see "Cost pass-through: theory,
                                                                theory, measurement,
                                                                        measurement, and
                                                                                     and potential
                                                                                         potential policy
                                                                                                   policy
implications, A
implications, A report
                 report prepared
                        prepared for  the Office
                                  for the Office of
                                                 of Fair
                                                    Fair Trading,” RBB Economics,
                                                         Trading," RBB  Economics, February
                                                                                   February 2014.
                                                                                            2014.

                                                                                                       104
                                                                                                       104
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 557 of 667
                       HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                              ATTORNEYS’ EYES ONLY


299. Dr. Singer's "one-minus-the share" formula is not consistent with his own description of
   the economics of pass-through. According to Dr. Singer, a change in Google Play's service
   fee rate is "mathematically equivalent" to a developer's increase in marginal cost.357 To
   support this opinion, Dr. Singer presents (another) formula that shows the relationship
   between a developer's marginal cost that includes the effect of a service fee rate ("C*"), the
   developers' "other" marginal costs ("C"), and the service fee rate ("t"). This relationship is
   derived by Dr. Singer from an assumption that a developer will set prices to maximize
   profits. He presents the formula as:358
        C* =
        C* = C/(1-t)
             C/(1-t)
300. According to the formula (and Dr. Singer), if the service fee rate is 30%, the developer's
   marginal costs, including the service fee will be equal to 1.43 times the developer's other
   marginal costs.359 Similarly, if the service fee rate is 15%, the developer's marginal cost
   including service fees will be equal to 1.18 times the other marginal costs.
301. Dr. Singer concludes that if a developer sets prices to maximize profits (which implicates
   marginal cost in price-setting), and if the service fee rate in the but-for world is lower, prices
   in the but-for world will be lower. Dr. Singer's opinion is thus: (i) a service fee can be
   considered a marginal cost such that a lower service fee implies lower marginal cost, (ii)
   when marginal cost changes, price changes — which shows pass-through or a service fee rate
   change.360
302. However, Dr. Singer's opinion as described above contradicts his "one-minus-the-share"
   pass-through rate formula and his predicted pass-through rates.
303. First, Dr. Singer's opinion described above establishes that a pass-through rate for a
   service fee rate change depends on more than a developer's share. Dr. Singer's formulation
   indicates that the pass-through rate should consider the developer's marginal cost — and
   importantly, should consider the developer's marginal costs besides the servicefee. To
   understand this, consider a developer that has an app with no marginal costs of distribution —
   that is, once the app is created and offered to consumers, the app can be downloaded and
   used by consumers without further cost. In Dr. Singer's formula described above, this would
   mean C=0. If the service fee rate is 30%, the developer's total marginal costs (according to
   Dr. Singer's formula) will be 1.43 times zero — or zero. If the service fee rate is 15% (again,
   using the same formula), total marginal costs including the service fee will be 1.18 times zero
   — or zero. In fact, if the developer's "other" marginal costs are zero, for any change in the
   service fee rate, total marginal costs including the service fee will be zero. Using Dr.
   Singer's logic, if the "other" marginal costs are zero, a change in the service fee rate will not

357
357
        Singer Report at ¶225.
358
358
        Singer Report at ¶225.
359
359
        This is found by using 0.30 in the formula for "t,"
                                                       “t,” and 1.0 in the formula for C.
360
360
         It should be noted that the entire chain of logic assumes that the developer sets prices to
                                   “stickiness” in price changes, due to, for example developers setting
maximize profits and there is no "stickiness"
prices to end in "99."
                 “99.” As described above, these are assumptions that are not true for all developers and
determining whether the assumptions are true would require investigation into the strategies of individual
developers.

                                                                                                      105
                                                                                                      105
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 558 of 667
                                                  – ATTORNEYS'
                              HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      produce a marginal cost change, and therefore there is no reason to change price. Pass-
      through is zero. This result is consistent with my discussion above in Section VI.B that
      describes reasons we would expect no pass-through for apps that have zero marginal cost.
      These economic principles are reflected in economic literature recognizing that changing tax
      rates on profits do not affect the volume of output or prices. To the extent that Consumer
      Plaintiffs are suggesting that service fees calculated as a percentage of prices (an ad valorem
      fee) operate like taxes, if a developer has no marginal costs, reducing the service fee will
      function like a reduction in tax on profit, which the literature recognizes will not affect
      prices.361
304. Dr. Singer's claim about the "mathematical equivalence" of a service fee rate and
   marginal cost also establishes that his "one-minus-the share" formula is not accurate. The
   "one-minus-the share" formula does not consider marginal cost — it depends solely on a
   developer's share. Dr. Singer's "one-minus-the-share" formula is wrong and is inconsistent
   with Dr. Singer's opinions about marginal cost.362 For a developer with a small share (like
   many, according to Dr. Singer's analysis) and a zero marginal cost, the "one-minus-the-
   share" formula returns a pass-through rate close to 100%. However, under Dr. Singer's
   formulation of the service fee rate as a marginal cost, this developer's pass-through rate
   would be 0%.
305. Dr. Singer's attempt to argue that a service fee rate change is "mathematically
   equivalent" to a change in marginal cost exposes the fact that pass-through depends on

361
361   That
      That is,  when costs
            is, when            are zero,
                        costs are     zero, aa tax
                                                tax applied
                                                      applied asas aa percentage
                                                                       percentage of  of profits
                                                                                         profits isis the
                                                                                                       the same
                                                                                                             same as  as the
                                                                                                                         the service
                                                                                                                             service fee    rate
                                                                                                                                       fee rate
 applied to
applied    to aa developer's
                  developer’s revenues
                                   revenues (or  (or price).
                                                      price). In    that case,
                                                                In that    case, changing
                                                                                  changing thethe tax
                                                                                                   tax rate
                                                                                                          rate does
                                                                                                                does notnot affect
                                                                                                                            affect the
                                                                                                                                    the price.
                                                                                                                                         price.
 See
 See e.g.,   Goode, Richard,
       e.g., Goode,     Richard, "The “The Corporate
                                             Corporate Income
                                                            Income Tax        and the
                                                                        Tax and    the Price
                                                                                        Price Level,"
                                                                                                Level,” American
                                                                                                             American Economic
                                                                                                                           Economic Review,
                                                                                                                                        Review,
 Vol. 35,
Vol.    35, No.
             No. 1,1, 1945,
                      1945, pp.pp. 40-58
                                    40-58 at at p.
                                                 p. 43
                                                     43 ("From
                                                         (“From thisthis it
                                                                          it follows   that, in
                                                                             follows that,        so far
                                                                                              in so  far as as producers
                                                                                                                producers areare guided
                                                                                                                                  guided by by
 rational considerations,
 rational   considerations, aa tax   tax on
                                          on net
                                              net profits,
                                                    profits, at
                                                              at any
                                                                 any rate
                                                                        rate less
                                                                              less than
                                                                                   than 100
                                                                                         100 perper cent,
                                                                                                     cent, will
                                                                                                              will not
                                                                                                                     not directly
                                                                                                                          directly affect
                                                                                                                                    affect the
                                                                                                                                            the
 volume of
volume     of output.
                output. AA tax
                             tax onon profits
                                       profits is is not
                                                      not itself
                                                          itself aa cost
                                                                    cost of of production
                                                                               production in     any usual
                                                                                             in any     usual sense,      nor does
                                                                                                                 sense, nor   does itit directly
                                                                                                                                        directly
 influence    costs. The
 influence costs.            tax will
                       The tax     will reduce
                                         reduce the the amount
                                                        amount whichwhich aa firm
                                                                                firm can
                                                                                      can retain    out of
                                                                                           retain out      of the
                                                                                                               the profits
                                                                                                                    profits added
                                                                                                                             added byby
 successive increments
 successive     increments of   of output;
                                    output; nevertheless,
                                               nevertheless, any  any unit
                                                                         unit which
                                                                               which adds
                                                                                       adds toto profits
                                                                                                  profits before
                                                                                                             before taxes
                                                                                                                       taxes will
                                                                                                                              will also
                                                                                                                                    also
 contribute something
 contribute    something to    to profits
                                   profits after
                                            after taxes.
                                                     taxes. The
                                                             The last     unit produced
                                                                   last unit    produced by by each
                                                                                                 each firm,
                                                                                                        firm, its     marginal unit,
                                                                                                                  its marginal   unit, will
                                                                                                                                        will add
                                                                                                                                              add
 nothing to
 nothing    to profits
                profits and
                         and nothing
                                nothing to to taxes.
                                               taxes. Thus
                                                         Thus itit will
                                                                   will bebe advantageous
                                                                              advantageous for   for aa firm
                                                                                                         firm to to push
                                                                                                                     push production
                                                                                                                           production justjust as
                                                                                                                                               as
 far  with the
 far with   the tax
                 tax as
                      as it
                          it would
                             would be  be if  there were
                                           if there    were nono tax.
                                                                  tax. NoNo firm    will find
                                                                              firm will         the tax
                                                                                         find the    tax it it pays
                                                                                                               pays aa reason
                                                                                                                        reason for
                                                                                                                                 for changing
                                                                                                                                     changing
 its output.
 its  output. Hence
               Hence thethe schedule
                              schedule showing
                                           showing the  the total
                                                             total supply
                                                                     supply which
                                                                               which would
                                                                                       would be  be placed
                                                                                                     placed on   on the
                                                                                                                     the market
                                                                                                                          market byby all
                                                                                                                                       all firms
                                                                                                                                           firms
 in response
 in  response to to various
                    various prices
                                prices will
                                         will remain
                                                remain unchanged.
                                                          unchanged. So     So long
                                                                                long as
                                                                                      as demand
                                                                                         demand continues
                                                                                                     continues as     as before,
                                                                                                                         before, market
                                                                                                                                  market price
                                                                                                                                            price
 will not
will   not be
            be altered.").
                altered.”). Moreover,
                                Moreover, Dr.   Dr. Singer’s      claim that
                                                      Singer's claim       that "Google's
                                                                                 “Google’s taketake rate
                                                                                                     rate is is economically
                                                                                                                economically analogous
                                                                                                                                  analogous to  to
aa tax
   tax on
        on developers”
            developers" and   and the
                                    the materials
                                         materials he  he relies   on to
                                                           relies on    to support
                                                                            support that
                                                                                      that claim
                                                                                            claim dodo notnot consider
                                                                                                                consider thethe case
                                                                                                                                case ofof
 marginal cost
marginal            being equal
              cost being     equal to to zero.
                                         zero. SeeSee Singer
                                                       Singer at at ¶244,
                                                                    ¶244, fn.fn. 531.
                                                                                  531. See    also Foros,
                                                                                        See also    Foros, 0.,  Ø., Kind,
                                                                                                                      Kind, H.J.
                                                                                                                             H.J. and
                                                                                                                                   and
 Wyndham, T.,
 Wyndham,            “Tax-Free Digital
                 T., "Tax-Free       Digital News?"
                                                News?” International
                                                            International Journal
                                                                               Journal ofof Industrial
                                                                                             Industrial Organization,
                                                                                                              Organization, 66,      2019,
                                                                                                                                66, 2019,
 pp.119-136, Kind,
pp.119-136,       Kind, H.J.
                           H.J. and
                                  and Koethenbuerger,
                                        Koethenbuerger, M.,     M., "Taxation
                                                                      “Taxation in  in Digital
                                                                                       Digital Media
                                                                                                  Media Markets,"
                                                                                                             Markets,” Journal
                                                                                                                           Journal of of Public
                                                                                                                                         Public
 Economic      Theory,     2018,    20(1),   pp.22-39,
Economic Theory, 2018, 20(1), pp.22-39, Sand-Zantman, W.,   Sand-Zantman,         W.,  “Taxation
                                                                                       "Taxation      in
                                                                                                     in   the
                                                                                                          the   Digital
                                                                                                                Digital   Economy,”
                                                                                                                          Economy,"      2018m
                                                                                                                                         2018m
 Working Paper
 Working      Paper for
                      for the
                           the Institut    d’Economie Industrielle.
                                 Institut d'Economie          Industrielle.
362
362
        Had Dr.
        Had   Dr. Singer
                  Singer considered
                           considered that
                                      that (as
                                           (as he
                                                he did
                                                   did in
                                                       in ¶225
                                                          ¶225 of
                                                                of his
                                                                   his report),
                                                                       report), he
                                                                                 he would
                                                                                    would have
                                                                                             have found
                                                                                                   found aa different
                                                                                                            different
pass-through rate
pass-through  rate formula   that depends
                   formula that            on aa developer's
                                  depends on     developer’s marginal
                                                               marginal cost.
                                                                          cost. That
                                                                                That is,  to determine
                                                                                      is, to determine aa pass-
                                                                                                           pass-
through rate,
through rate, the
              the developer's
                  developer’s marginal
                                marginal cost
                                          cost (whatever
                                                (whatever its
                                                           its amount)
                                                               amount) should
                                                                          should be
                                                                                  be considered.
                                                                                     considered. Dr. Dr. Singer's
                                                                                                         Singer’s
“one-minus-the share"
"one-minus-the   share” formula    does not.
                          formula does  not. Dr.
                                               Dr. Singer’s   failure to
                                                    Singer's failure  to consider
                                                                          consider marginal
                                                                                   marginal cost     in determining
                                                                                               cost in  determining
pass-through rates
pass-through  rates is
                    is aa fundamental
                          fundamental problem
                                       problem with
                                                 with his
                                                       his method
                                                           method for    all developers,
                                                                    for all  developers, not
                                                                                          not just
                                                                                               just those
                                                                                                    those with
                                                                                                           with zero
                                                                                                                zero
marginal cost.
marginal cost.

                                                                                                                                            106
                                                                                                                                            106
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 559 of 667
                                                 – ATTORNEYS'
                             HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      marginal cost. Of course, had Dr. Singer utilized a formula that includes a developer's
      marginal cost, determining a pass-through rate would depend on measuring the developer's
      marginal cost, which is a highly individualized analysis. Additionally, even that formula
      depends on certain assumptions that may or may not hold for all developers, including for
      example that they set prices to maximize profits and that their price-setting does not involve
      prices that end in "99."
                          4. The Basis For Dr. Singer's Pass-Through Formula is Fundamentally
                             Flawed
306. Dr. Singer's basis for his "one-minus-the-share" formula is an overly simplified version
   of a highly restrictive demand system which, for the purposes here, produces unrealistic
   results. Dr. Singer's method uses "one minus the share" as the pass-through formula
   because, according to him, app demand can be described by a particular type of demand
   system — a simplified version of a "logit demand system" — and a pass-through rate in such a
   simplified logit demand system is equal to one minus the share.363 The "logit" demand
   model, while frequently used in economics for its relative simplicity, is not appropriate for
   determining pass-through rates for apps because the model imposes restrictions that are not
   realistic for an app demand system.
307. There are thousands of apps and there can be thousands of apps even in a single category.
   Apps are highly differentiated from one another.364 Because demand for any app depends on
   its characteristics, as well as the characteristics and prices of related apps, and characteristics
   of consumers, specifying a reliable demand model would require estimating many thousands
   of elasticities. Despite these complexities, Dr. Singer chose a relatively simple demand
   system — the logit system. The restrictions imposed by that relatively simple system when

363
363
          Singer   Report at
          Singer Report      at ¶236.
                                ¶236. Dr. Dr. Singer
                                              Singer usesuses regression
                                                               regression analysis
                                                                             analysis toto estimate
                                                                                           estimate aa logit
                                                                                                        logit demand       system for
                                                                                                                demand system         for
apps. The
apps.  The regression
            regression is     overly simplified
                          is overly    simplified in      that there
                                                      in that  there isis no
                                                                          no explicit
                                                                              explicit consideration
                                                                                        consideration of of app
                                                                                                             app characteristics
                                                                                                                   characteristics or  or
consumers attributes
consumers     attributes or
                          or the
                               the interaction
                                   interaction of      the two,
                                                  of the    two, for
                                                                  for example.
                                                                       example. Instead,       Dr. Singer simply included
                                                                                    Instead, Dr.   Singer   simply    included
“fixed effects
"fixed  effects unique
                  unique toto aa given
                                 given AppApp and
                                                and purchase
                                                      purchase type."
                                                                  type.” Singer     Report at
                                                                           Singer Report      at ¶236.
                                                                                                 ¶236. HeHe claims
                                                                                                              claims that
                                                                                                                        that he
                                                                                                                              he has
                                                                                                                                  has
validated the
validated  the use
                 use of  his logit
                     of his   logit demand       system, and
                                     demand system,         and by
                                                                 by extension,
                                                                      extension, the
                                                                                   the pass-through
                                                                                        pass-through rate
                                                                                                        rate formula
                                                                                                               formula by by
observing for
observing    for nearly
                  nearly all
                          all app
                               app categories,
                                    categories, "a “a statistically
                                                        statistically significant
                                                                        significant relationship
                                                                                      relationship between
                                                                                                     between demand
                                                                                                                 demand and  and price"
                                                                                                                                   price”
and so,
and  so, concludes
         concludes thatthat the
                             the regression
                                  regression model
                                                model is     consistent with
                                                          is consistent    with "economic
                                                                                 “economic expectations.”          (Singer Report
                                                                                                expectations." (Singer        Report at at
¶237). He
¶237).   He then
              then uses
                    uses the
                          the "one-minus-the-share"
                                “one-minus-the-share” formula  formula for     pass-through derived
                                                                          for pass-through      derived from
                                                                                                          from thethe logit
                                                                                                                      logit model
                                                                                                                              model of of
demand for
demand         all pass-through
          for all  pass-through rates.
                                     rates. Singer      Report at
                                              Singer Report      at ¶239.
                                                                     ¶239. To    be clear,
                                                                             To be    clear, Dr.
                                                                                             Dr. Singer's
                                                                                                  Singer’s pass-through
                                                                                                              pass-through ratesrates
are not
are not calculated    with any
         calculated with      any of
                                   of the
                                       the regression      “output.” All
                                            regression "output."         All pass-through
                                                                             pass-through ratesrates depend
                                                                                                     depend onlyonly on
                                                                                                                      on the
                                                                                                                          the share
                                                                                                                               share of of
unit sales
unit sales within
            within aa category.
                        category. His His formulas
                                           formulas do  do not
                                                             not include   any own-price
                                                                 include any     own-price elasticity      of demand
                                                                                               elasticity of   demand for      any app
                                                                                                                          for any    app
or any
or any cross-price     elasticity of
        cross-price elasticity      of demand
                                        demand for for any
                                                         any app
                                                              app generated     from Dr.
                                                                    generated from      Dr. Singer's
                                                                                             Singer’s logit    demand regressions.
                                                                                                       logit demand       regressions.
Moreover, Dr.
Moreover,     Dr. Singer's
                   Singer’s observation
                               observation thatthat the
                                                    the price
                                                           price coefficients
                                                                 coefficients in in the
                                                                                     the logit  regressions are
                                                                                         logit regressions     are negative
                                                                                                                    negative is is not
                                                                                                                                    not
sufficient to
sufficient  to infer  that the
                infer that  the results
                                 results are
                                           are "consistent
                                                “consistent withwith economic
                                                                       economic expectations"
                                                                                   expectations” and and that
                                                                                                           that the
                                                                                                                 the formula
                                                                                                                     formula for  for
pass-through based
pass-through     based onon the
                             the logit
                                  logit model
                                         model is is aa proper
                                                        proper way
                                                                 way to to determine     pass-through. For
                                                                           determine pass-through.         For example,
                                                                                                                 example, the the logit
                                                                                                                                   logit
model of
model   of demand
           demand usedused by by Dr.
                                  Dr. Singer     assumes that
                                       Singer assumes        that all
                                                                   all products
                                                                       products within
                                                                                  within aa category     are substitutes
                                                                                              category are    substitutes andand that
                                                                                                                                   that
cross-price elasticities
cross-price                  (e.g., the
               elasticities (e.g.,  the magnitude
                                          magnitude of   of substitution)
                                                             substitution) depend
                                                                             depend on  on the
                                                                                           the products'
                                                                                                products’ shares,
                                                                                                             shares, soso that
                                                                                                                           that the
                                                                                                                                 the best
                                                                                                                                      best
substitute for
substitute  for all
                 all products
                     products in in aa category
                                       category is is the
                                                       the product
                                                            product with
                                                                       with the
                                                                             the highest
                                                                                  highest share.
                                                                                            share. If  those assumptions
                                                                                                    If those    assumptions do   do not
                                                                                                                                     not
hold, then
hold, then the
             the logit
                  logit model
                         model andand the
                                        the logit
                                            logit model's
                                                   model’s pass-through
                                                               pass-through raterate formula
                                                                                       formula would
                                                                                                 would not
                                                                                                         not apply.
                                                                                                               apply. See,
                                                                                                                         See, for
                                                                                                                               for
example,   Train, Kenneth
example, Train,     Kenneth E.,  E., "Logit,"
                                     “Logit,” in in Discrete
                                                    Discrete Choice        Methods with
                                                                 Choice Methods        with Simulation,
                                                                                             Simulation, Cambridge
                                                                                                            Cambridge University
                                                                                                                            University
Press, 2009,
Press, 2009, pp.pp. 34-75.
                    34-75.
364
364
          See Section IV.A
                      IV.A .

                                                                                                                                    107
                                                                                                                                    107
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 560 of 667
                                                – ATTORNEYS'
                            HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      applied to this case produce results that conflict with common sense (such that a pass-through
      rate can be determined solely with the share of the app's unit sales).365
308. One of the underlying assumptions of Dr. Singer's demand model and pass-through rates
   is that all products within a Google Play category are substitutes. There is no economic basis
   for this assumption and the assumption does not reflect realistic substitution patterns across
   apps. It is clearly not true for all apps within the categories used by Dr. Singer.366 For
   example, his model requires that all apps within the category "Games" are substitutes. But
   the "Games" category combines games for toddlers such as "Thomas and Friends" (described
   as a "fun, safe & interactive game play for children aged 2-7"),367 the action game "Doom"
   (described as "Violence, Blood and Gore" for ages 17+),368 Zynga's card game "Poker —
   Texas Hold'em,"369 and home design game "Redecor."37° Dr. Singer's category of Games
   clearly does not satisfy the underlying assumption of the logit model.
309. The arbitrary nature of Dr. Singer's categories affects the pass-through rates because the
   pass-through rate formula (flawed as it is) depends on the definition of the categories. If the
   categories are wrong, the pass-through rates are wrong because the formula depends on the
   categories.371


365
365
          See   Berry, Steven
          See Berry,      Steven T.   and Phillip
                                   T. and   Phillip A.A. Haile,
                                                         Haile, "Foundations
                                                                  “Foundations of  of Demand
                                                                                       Demand Estimation,"
                                                                                                  Estimation,” in  in Handbook
                                                                                                                      Handbook of  of
Industrial Organization,
Industrial   Organization, Vol.  Vol. 4,
                                       4, No.
                                          No. 1,   Elsevier, 2021,
                                                1, Elsevier,           pp. 1-62
                                                               2021, pp.    1-62 ("Although
                                                                                  (“Although demand
                                                                                                 demand presents
                                                                                                            presents challenges
                                                                                                                        challenges
that are
that  are absent
          absent inin many
                       many empirical
                               empirical settings,      all the
                                            settings, all   the "usual"
                                                                “usual” challenges
                                                                          challenges remain.
                                                                                        remain. OneOne such
                                                                                                         such challenge
                                                                                                                 challenge isis
finding
finding empirical
          empirical specifications        that are
                        specifications that     are both
                                                     both (a)
                                                           (a) sufficiently
                                                               sufficiently flexible
                                                                              flexible to
                                                                                        to avoid
                                                                                            avoid strong
                                                                                                   strong aa priori
                                                                                                               priori restrictions
                                                                                                                       restrictions
on the
on  the results
        results and
                  and (b)
                        (b) sufficiently
                             sufficiently parsimonious
                                            parsimonious to   to permit
                                                                 permit practical
                                                                          practical application.
                                                                                      application. InIn some
                                                                                                         some markets
                                                                                                                  markets the
                                                                                                                            the
number    of  closely    related  goods    can  be  large;  consider,   for example,     the set of
number of closely related goods can be large; consider, for example, the set of all new automobile  all  new   automobile
models, all
models,    all computer     models, all
               computer models,        all mutual
                                           mutual funds,
                                                     funds, or   all residential
                                                              or all residential neighborhoods
                                                                                   neighborhoods in   in aa given
                                                                                                            given city.
                                                                                                                    city. Because
                                                                                                                           Because
the demand
the  demand for for aa given
                       given good
                               good depends
                                      depends on on the
                                                      the characteristics
                                                           characteristics and
                                                                             and prices
                                                                                  prices ofof related
                                                                                              related goods,
                                                                                                        goods, aa demand
                                                                                                                   demand system
                                                                                                                              system
with JJ goods
with    goods hashas J2J2 price
                           price elasticities
                                  elasticities at
                                                at each   point. In
                                                   each point.        many contexts,
                                                                   In many    contexts, this
                                                                                          this will
                                                                                               will rule
                                                                                                    rule out
                                                                                                           out even
                                                                                                                even aa linear
                                                                                                                         linear
specification of
specification    of the
                     the demand
                          demand equation.
                                     equation. Thus,
                                                  Thus, even
                                                           even in   cases where
                                                                 in cases   where nonparametric
                                                                                    nonparametric estimation         would be
                                                                                                       estimation would       be
possible in
possible       principle, in
           in principle,        practice it
                            in practice   it will
                                             will often
                                                   often bebe necessary
                                                              necessary to to impose
                                                                              impose restrictions
                                                                                        restrictions in   order to
                                                                                                       in order   to obtain
                                                                                                                     obtain anan
empirical    model that
empirical model       that is
                            is practical
                               practical for
                                           for the
                                               the data
                                                    data available.
                                                           available. Unsurprisingly,
                                                                        Unsurprisingly, one      can go
                                                                                            one can   go too
                                                                                                           too far
                                                                                                                far in  the pursuit
                                                                                                                    in the  pursuit
of parsimony.
of parsimony. Some Some of  of the
                                the simplest
                                    simplest demand
                                                demand specifications
                                                           specifications (e.g.,
                                                                             (e.g., the
                                                                                    the CES,
                                                                                         CES, multinomial
                                                                                                multinomial logit,       multinomial
                                                                                                                 logit, multinomial
probit) impose
probit)  impose strong
                   strong aa priori
                               priori restrictions
                                       restrictions on on demand
                                                           demand elasticities,     and, therefore,
                                                                     elasticities, and,   therefore, on    markups, pass-
                                                                                                       on markups,      pass-
through, and
through,   and other
                 other key
                         key quantities
                               quantities ofof interest   that are
                                               interest that   are at
                                                                    at odds
                                                                       odds with
                                                                             with common
                                                                                    common sense
                                                                                               sense and
                                                                                                       and standard
                                                                                                             standard economic
                                                                                                                         economic
models.” Emphasis
models."    Emphasis added).
                          added).
366
366
        Singer Report Table
        Singer Report        8. The
                      Table 8.      only apparent
                                The only apparent basis
                                                   basis for
                                                         for Dr.
                                                             Dr. Singer's
                                                                 Singer’s use
                                                                          use of
                                                                              of the
                                                                                 the categories
                                                                                     categories is
                                                                                                is that
                                                                                                   that they
                                                                                                        they
are used
are used by
         by Google
            Google "to
                   “to track
                       track user
                             user purchase
                                  purchase activity."
                                           activity.” Singer  Report at
                                                      Singer Report  at ¶34.
                                                                        ¶34.
367
367

       https://play.google.com/store/apps/details?id=com.budgestudios.googleplay.ThomasAndFriends
       https://play.google.com/store/apps/details?id=com.budgestudios.googleplay.ThomasAndFriends
MagicalTracks
MagicalTracks
368
368
          https://play.google.com/store/apps/details?id=com.bethsoft.DOOM
          https://play.google.com/store/apps/details?id=com.bethsoft.DOOM
369
369
          https://play.google.com/store/apps/details?id=com.zynga.livepoker
          https://play.google.com/store/apps/details?id=com.zynga.livepoker
370
370
          https://play.google.com/store/apps/details?id=fi.reworks.redecor
          https://play.google.com/store/apps/details?id=fiseworks.redecor
371
371
        App categories
        App categories are
                       are chosen
                           chosen by
                                  by developers.
                                     developers. See
                                                 See e.g., https://www.storemaven.com/academy/how-
                                                     e.g., https://www.storemaven.com/academy/how-
to-choose-an-app-category/ ("The
to-choose-an-app-category/  (“The category
                                  category you
                                           you choose
                                               choose needs
                                                        needs to
                                                              to be
                                                                 be relevant to your
                                                                    relevant to your app,
                                                                                     app, of
                                                                                          of course.
                                                                                             course. But
                                                                                                     But it
                                                                                                         it


                                                                                                                                108
                                                                                                                                108
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 561 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


310. This problem can be illustrated by showing that pass-through rates change when the
   category definitions change. In Google Play, there are 17 sub-categories within the Games
   category and assigning apps to different sub-categories would lead to different results in Dr.
   Singer's mode1.372 For example,             belongs to the Adventure Game subcategory. Dr.
   Singer's formula finds an average pass-through rate of 98% for            (across all purchase
   types and months) because            's share of the Game category is 2%.             share of
   the Adventure Game subcategory is 33% and so Dr. Singer's formula would find an average
   pass-through rate of 67%. Similarly, Dr. Singer finds that the pass-through rate for
                is 57% because its share of all Games is 43%.                 belongs to the
   Casual Game subcategory. Its share of Casual Games is 74% and so would have a 26% pass-
   through rate based on its share of its subcategory.373 Dr. Singer's results are based on
   arbitrary category assignments, and his results change dramatically if different category
   assignments are used.
311. Even if Dr. Singer's "one-minus-the-share" formula could find reliable pass-through rates
   (which it cannot), the diversity among apps and complex substitution patterns means that
   identifying more appropriate categories would require analysis of many apps and would
   likely find more narrowly defined categories than those used by Dr. Singer. Such an analysis
   would be required to ensure that substitutes are properly grouped together.374 As categories
   narrow, pass-through rates calculated based on Dr. Singer's method would decline. This
   follows from the formula itself For example, say an app has a 1% share of the Games
   category. Dr. Singer's formula produces a pass-through rate of 99%. But if that app is
   relatively unique and has only a single other app that is a close substitute, and if each of those
   apps have a 50% share of its "category," the pass-through rate (based on Dr. Singer's
   formula) would decline to 50%. If the app was substantially more successful than its close

should also
should  also enable
             enable your
                     your app
                           app to
                                to rank
                                   rank well
                                         well in
                                              in category  charts. Users
                                                 category charts.  Users often
                                                                         often discover
                                                                                discover new      apps to
                                                                                           new apps     to download
                                                                                                           download
by perusing
by perusing the
             the charts.
                 charts. This  means that
                          This means    that high-ranking
                                             high-ranking apps
                                                           apps generally
                                                                 generally receive
                                                                            receive aa lot of traffic
                                                                                       lot of  traffic and
                                                                                                       and are
                                                                                                            are able
                                                                                                                able to
                                                                                                                     to
generate more
generate  more organic
                organic downloads...The
                         downloads...The category
                                             category you
                                                       you choose   for your
                                                            choose for  your app
                                                                              app can
                                                                                   can affect
                                                                                        affect its
                                                                                                its discoverability
                                                                                                    discoverability
and conversion
and conversion rates
                 rates in both the
                       in both  the Apple
                                     Apple App
                                            App and
                                                 and Google    Play stores.
                                                      Google Play   stores. The  trick to
                                                                            The trick  to choosing
                                                                                           choosing thethe right
                                                                                                           right
category for
category  for your
              your unique
                   unique app
                            app is  balancing relevance
                                 is balancing  relevance with
                                                           with your
                                                                your competition.");
                                                                      competition.”); see
                                                                                        see also
                                                                                             also
https://support.google.com/googleplay/android-developer/answer/9859673 ("You
https://supportgoogle.com/googleplay/android-developer/answer/9859673                (“You cancan choose
                                                                                                   choose aa category
                                                                                                              category
and add
and add tags
         tags to
              to your
                 your app
                       app or
                            or game
                               game inin Play
                                         Play Console.
                                               Console. Categories
                                                         Categories and
                                                                     and tags
                                                                         tags help
                                                                               help users
                                                                                     users to
                                                                                            to search   for and
                                                                                                search for  and
discover the
discover  the most
              most relevant
                    relevant apps
                              apps in  the Play
                                    in the Play Store.").
                                                 Store.”).
372
372
          See Exhibit 3
          See Exhibit  3 for
                         for aa list of the
                                list of the sub-categories
                                            sub-categories within
                                                           within Games.
                                                                   Games. Sub-categories      are for
                                                                             Sub-categories are    for example,
                                                                                                       example,
Action Games,
Action   Games, Card
                  Card Games,
                        Games, andand Sports
                                        Sports Games,
                                               Games, as
                                                      as well
                                                          well as
                                                                as others.
                                                                   others. Even
                                                                            Even within
                                                                                  within aa sub-category,
                                                                                            sub-category, apps
                                                                                                           apps can
                                                                                                                 can
be quite
be  quite differentiated.  For example,
          differentiated. For               two Adventure
                                 example, two   Adventure Games
                                                            Games areare Stormfall:
                                                                         Stormfall: Saga   of Survival,
                                                                                     Saga of             which
                                                                                              Survival, which
describes itself
describes  itself as
                  as "survive,
                     “survive, explore,
                                 explore, and
                                           and master
                                               master crafting
                                                      crafting and
                                                                and sorcery
                                                                     sorcery in
                                                                             in this
                                                                                this free-to-play  survival
                                                                                     free-to-play survival
MMORPG set in the high-fantasy Stormfall
MMORPG       set in the high-fantasy               world,” and
                                         Stormfall world," and Sonic-Forces:
                                                                 Sonic-Forces: Running
                                                                                Running Battle,
                                                                                           Battle, which
                                                                                                   which describes
                                                                                                          describes
itself as
itself as "Sonic
          “Sonic the
                  the Hedgehog
                      Hedgehog is      back and
                                    is back and running
                                                running in
                                                         in this
                                                            this fast
                                                                 fast and
                                                                      and cool  multiplayer racing
                                                                           cool multiplayer  racing && battle
                                                                                                        battle game."
                                                                                                               game.”
https://play.google.com/store/apps/details?id=com.pacific.wildlands;
https://play.google.com/store/apps/details?id=com.pacific.wildlands;
https://play.google.com/store/apps/details?id=com.sega.sprint.
https://play.google.com/store/apps/details?id=com.sega.sprint.
373
373
         See Exhibit 54.
         See Exhibit 54.
374
374
         Determining how
         Determining  how one    should allow
                            one should  allow for
                                               for demand
                                                   demand substitution
                                                            substitution to
                                                                         to "outside
                                                                            “outside products"
                                                                                     products” (that
                                                                                                (that is,
                                                                                                      is, in this
                                                                                                          in this
context, outside
context, outside of
                 of the
                    the category)
                        category) is
                                   is important,
                                      important, can affect results,
                                                 can affect results, and
                                                                     and requires analysis. See
                                                                         requires analysis.      e.g., Sheu,
                                                                                            See e.g.,  Sheu,
Gloria and
Gloria and Charles
           Charles Taragin,   “Calibrating the
                     Taragin, "Calibrating  the AIDS
                                                AIDS and
                                                      and Multinomial
                                                           Multinomial Logit
                                                                          Logit Models
                                                                                Models with
                                                                                        with Observed
                                                                                             Observed
Margins,” U.S.
Margins,"  U.S. Department
                Department of of Justice,
                                 Justice, Economic
                                          Economic Analysis
                                                     Analysis Group
                                                               Group Discussion
                                                                       Discussion Paper,
                                                                                   Paper, 2012.
                                                                                          2012.

                                                                                                                   109
                                                                                                                   109
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 562 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      rival, and its share of the "category" grew to 99%, the pass-through rate (based on Dr.
      Singer's formula) would decline to 1%. As the example demonstrates, the formula depends
      critically on finding the "right categories," but the only way to find such categories would be
      to investigate each app and to determine its close substitutes. That involves a highly
      complicated and individualized analysis.375 Dr. Singer has performed no such analysis —
      instead, even though the most critical part of the formula is the definition of the categories,
      he performed no analysis at all and simply used the categories in Google Play, even though
      those categories have little to do with the relevant substitution patterns across apps.
312. Dr. Singer's use of an average pass-through rate for each category, and his overall pass-
   through rate for all categories mask the variation in pass-through rates — even using Dr.
   Singer's arbitrary method. For example, he reports a pass-through rate for the category of
   "Games" is 92.3%.376 But weighted average pass-through rates, like those reported by Dr.
   Singer, for sub-categories of Games show that pass-through rates vary across sub-categories.
   For example, the average pass-through rate for Casual Games would be 52% and for Trivia
   Games it would be 58%, both much lower than the 92.3% pass-through rate Dr. Singer
   calculates for "Games" as a single category.377 Of course, these sub-categories similarly
   mask variation. Dr. Singer's overall pass-through rate, which he uses as an input into his
   but-for service fee models, is a weighted average of all pass-through rates, for all sub-
   categories and all categories.
                       5. Dr. Singer's Predicted Pass-Through Rates Are Based on
                          Assumptions that Are Not Reliable
313. The pass-through rates found by Dr. Singer do not reflect the reality that many
   developers use a pricing strategy to set prices that end in "99." As described above,
   developers use such price points to influence consumers' perceptions of price and thus affect
   sales.378 When supply or demand conditions change, developers may not respond to those
   changes because they do not want to change their price to the next price that ends in "99."

375
375
         Dr. Singer's
         Dr.  Singer’s pass-through
                        pass-through rates
                                       rates are
                                             are calculated
                                                 calculated at
                                                            at the
                                                                the app
                                                                    app developer
                                                                         developer GAIA
                                                                                    GAIA ID,     app category
                                                                                             ID, app  category
(pooling all
(pooling  all games
              games toto one
                         one category),
                              category), and
                                          and purchase
                                              purchase type
                                                        type level  in each
                                                              level in each month,
                                                                             month, but
                                                                                      but the
                                                                                           the logic still applies
                                                                                               logic still applies atat
the app
the app level.
         level. Such
                Such anan analysis
                          analysis is
                                   is further complicated by
                                      further complicated   by the
                                                                the fact
                                                                    fact that
                                                                         that some
                                                                              some of
                                                                                    of the
                                                                                        the apps
                                                                                             apps at
                                                                                                  at issue
                                                                                                     issue in   this case
                                                                                                             in this case
have substitution
have  substitution relationships   with free
                    relationships with   free apps,
                                              apps, which
                                                    which are
                                                           are pooled
                                                                pooled into
                                                                        into the
                                                                             the "outside
                                                                                 “outside products"
                                                                                             products” category
                                                                                                        category by by
Dr. Singer
Dr.  Singer but
            but ignored
                 ignored in
                          in his
                             his pass-through
                                 pass-through rate
                                                rate calculation.
                                                     calculation. To
                                                                   To determine
                                                                      determine "true"
                                                                                  “true” substitution
                                                                                           substitution relationships
                                                                                                         relationships
free apps must
free apps  must bebe considered.   Moreover, any
                     considered. Moreover,     any econometric
                                                    econometric model
                                                                  model designed
                                                                          designed toto identify  substitution
                                                                                        identify substitution
relationships (and
relationships  (and thus
                     thus identify  reliable categories)
                           identify reliable categories) must
                                                         must contend
                                                                contend with
                                                                          with the
                                                                               the fact
                                                                                   fact that
                                                                                         that developers
                                                                                              developers frequently
                                                                                                            frequently
set prices
set prices that
           that end  in "99,"
                end in  “99,” and
                               and infrequently   change prices.
                                    infrequently change   prices. That
                                                                   That feature  of this
                                                                         feature of this marketplace
                                                                                          marketplace will
                                                                                                         will require
                                                                                                               require
more careful
more           analysis for
       careful analysis      the estimation
                         for the             of demand
                                 estimation of  demand relationships     and determining
                                                         relationships and    determining anyany reliable
                                                                                                 reliable categories.
                                                                                                           categories.
376
376
         Singer Report Table
         Singer Report       8.
                       Table 8.
377
377
         See Exhibit 55;
         See Exhibit     Singer Report
                     55; Singer Report Table 8.
                                       Table 8.
378
378
          See, for example,
          See, for example, Stiving,    Mark and
                               Stiving, Mark  and Russell
                                                   Russell S. Winer, "An
                                                           S. Winer,  “An Empirical
                                                                            Empirical Analysis
                                                                                         Analysis ofof Price
                                                                                                       Price Endings
                                                                                                              Endings
with Scanner
with            Data,” Journal
      Scanner Data,"    Journal ofof Consumer   Research, Vol.
                                     Consumer Research,    Vol. 24,  No. 1,
                                                                24, No.   1, 1997,
                                                                             1997, pp.
                                                                                     pp. 57-67
                                                                                         57-67 atat 57 (“Managers
                                                                                                    57 ("Managers
apparently set
apparently   set prices
                 prices in
                        in aa manner
                              manner consistent
                                       consistent with
                                                  with the
                                                       the premise
                                                           premise that
                                                                    that the
                                                                         the last
                                                                              last digit
                                                                                   digit of
                                                                                         of aa price
                                                                                               price has
                                                                                                     has aa significant
                                                                                                            significant
impact
impact onon sales.
            sales. Several
                    Several surveys
                              surveys on
                                       on what
                                          what price
                                                price endings  managers actually
                                                      endings managers    actually use   have been
                                                                                     use have   been conducted,
                                                                                                      conducted, and
                                                                                                                   and
all of
all of these
       these surveys  support the
             surveys support    the premise
                                     premise that
                                             that firms set prices
                                                  firms set prices to
                                                                   to appear
                                                                      appear that
                                                                               that they
                                                                                    they are
                                                                                          are just
                                                                                               just below
                                                                                                    below aa round
                                                                                                              round
number.”) See
number.")    See also
                  also Schindler,   Robert M.
                       Schindler, Robert    M. and
                                               and Patrick
                                                    Patrick N.
                                                            N. Kirby,
                                                               Kirby, "Patterns
                                                                       “Patterns ofof Rightmost
                                                                                      Rightmost Digits
                                                                                                    Digits Used
                                                                                                            Used in
                                                                                                                  in


                                                                                                                    110
                                                                                                                    110
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 563 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


314. Dr. Singer's calculations do not consider this marketplace reality and instead imply that
   developers would change prices — penny by penny — in response to service fee rate changes.
   In fact, Dr. Singer's pass-through rates imply that nearly all developers that use this strategy
   would abandon it in the but-for world. For example, the developer                   subscription
   price in the actual world was $4.99 as of June 2017.379 Dr. Singer's method predicts that if
                 service fee rate fell from 30% to        in June 2017 and had a pass-through
   rate of           (as he claims),           would change its price to        and change its
                     380
   pricing strategy.
315. Table 9 below shows that Dr. Singer's calculations imply that among the over 80,000
   developers that use focal point pricing, nearly all of them would abandon that strategy for at
   least one of their paid apps, subscriptions, or IAPs in the but-for world.381


Table 9. Share of Developers Abandoning the "99"
                                            “99” Pricing Strategy in But-For World, August 2016 —
                                                                                                –
   December 2020

                                               Developers

      Count of Developers Using ".99" Pricing in Actual World                                80.103
      Count of Developers Abandoning ".99" Pricing in But-For World                          79.954

      Share of Developers Abandoning ".99" Pricing in But-For World                          99.9%

Source:
      Exhibit 56.



316. Dr. Singer's pass-through rates are also not credible because, in some instances, the rates
   change month to month as shares change month to month. Figure 14 shows Dr. Singer's
   pass-through rates for three developers with dramatic changes in pass-through rates over
   time.382 Figure 14 shows that Dr. Singer's pass-through rates for                          a


Advertised Prices:
Advertised Prices: Implications
                   Implications for  Nine-Ending Effects,"
                                 for Nine-Ending  Effects,” Journal
                                                            Journal ofof Consumer  Research, Vol.
                                                                         Consumer Research,   Vol. 24,
                                                                                                   24, No.
                                                                                                       No. 2,
                                                                                                           2,
1997, pp.192-201 at 193-194;
1997,               193-194; and
                               and Anderson,
                                   Anderson, Eric
                                               Eric and
                                                    and Duncan
                                                        Duncan Simester,    “The Role
                                                                 Simester, "The  Role of
                                                                                       of Price
                                                                                          Price Endings:
                                                                                                Endings:
Why Stores
Why         May Sell
     Stores May  Sell More
                      More at
                            at $49  than $44,"
                               $49 than  $44,” May
                                               May 2000,
                                                     2000, at
                                                           at http://ssrn.com/abstract=232542.
                                                              http://ssrn.com/abstract=232542.
379
379      The
         The developer  only sold
             developer only   sold subscriptions
                                   subscriptions through
                                                 through one
                                                          one app,
                                                              app, com.ionicframework.oddhunter938355,
                                                                   com.ionicframework.oddhunter938355,
that belongs
that belongs to
             to the
                the Lifestyle
                    Lifestyle category,
                              category, in
                                        in the
                                           the class period.
                                               class period.
380
380
          See Exhibit 57.
          See Exhibit 57.
381
381
        Table
        Table 99 includes
                 includes developers
                          developers for  whom Dr.
                                      for whom   Dr. Singer calculated aa pass-through
                                                     Singer calculated    pass-through rate
                                                                                       rate that
                                                                                            that could be
                                                                                                 could be
matched to
matched  to the
            the transactions
                transactions data
                             data and
                                  and who
                                      who sold
                                           sold apps,
                                                apps, subscriptions,
                                                      subscriptions, or
                                                                     or IAPs  to US
                                                                         IAPs to US consumers
                                                                                    consumers only
                                                                                                 only at
                                                                                                      at list
                                                                                                         list
prices ending
prices ending in
              in "99."
                  “99.”
382
382
        Share changes of
        Share changes of this
                         this magnitude
                              magnitude are
                                        are not
                                            not common
                                                common in  Dr. Singer's
                                                        in Dr. Singer’s calculations, although they
                                                                        calculations, although they do
                                                                                                    do
exist.
exist. The
       The graph and discussion
           graph and discussion demonstrate the nonsensical
                                demonstrate the nonsensical nature
                                                            nature of
                                                                   of Dr.
                                                                      Dr. Singer’s pass-through rate
                                                                          Singer's pass-through rate
formula.
formula.

                                                                                                           111
                                                                                                           111
                       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 564 of 667
                                                               – ATTORNEYS'
                                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


                  developer with IAP transactions apps in the Entertainment category, ranged from 44.8% to
                  99.98% over the period from October 2017 to December 2020.                           , another
                  developer with subscriptions in the Travel & Local category, had pass-through rates that
                  ranged between 43.8% and 96.1% over this period, and                             , an app with
                  paid downloads in the Transportation category had pass-through rates of 17.8% to 96.9%,
                  based on Dr. Singer's calculations.383 The pass-through rates in Figure 14 fluctuate simply
                  because the share of unit sales for these apps within their respective app category happen to
                  change from month to month. If Dr. Singer's pass-through rates were accurate (which they
                  are not), and if costs were constant over time, the prices of the apps, subscriptions, or IAPs
                  would change dramatically month to month as the developer passed through different
                  percentages of cost in its prices. In fact, however, there are no observed changes in prices in
                  these apps over time.384
Figure 14.       Pass-Through Rates for Three Developers, Based on Dr. Singer’s
                                                                       Singer's Calculations, August 2016
—– December 2020
     100%
                       90%

                       80%
  Pass-Through Rate




                       70%

                       60%

                       50%

                       40%

                       30%

                       20%

                       10%

                        0% ,
                             Aug. Nov.   Feb. May.   Aug. Nov.   Feb. May. Aug. Nov. Feb.   May.   Aug.   Nov.   Feb. May. Aug. Nov.
                             2016 2016   2017 2017   2017 2017   2018 2018 2018 2018 2019   2019   2019   2019   2020 2020 2020 2020

                        —                                            —T                            —


Source:
                      Exhibit 58.
                                         6. Given the Circumstances of this Case, Economics and Empirical Data
                                            Consistently Show that Determining Pass-Through Rates Requires an
                                            Individualized Analysis


383
383
                         See this report’s
                         See this          production.
                                  report's production.
384
384
         IAPs  offered by
         IAPs offered   by                             .. have
                                                          have list
                                                                 list prices
                                                                      prices ranging   from $0.99
                                                                              ranging from            to $299.50
                                                                                               $0.99 to  $299.50 and and have
                                                                                                                          have
service fee
service fee rates
            rates ranging   from
                  ranging from                          all remaining
                                                        all               constant in
                                                             remaining constant      in the
                                                                                        the class
                                                                                             class period.
                                                                                                    period. The      paid
                                                                                                               The paid
download of
download   of                           has
                                        has aa list price of
                                               list price      $1.51 and
                                                            of $1.51   and aa service
                                                                               service fee
                                                                                       fee rate   of
                                                                                            rate of          ,, both
                                                                                                                both
remaining constant
remaining  constant in   the class
                      in the class period.
                                    period. Finally,
                                              Finally, the
                                                         the subscriptions
                                                              subscriptions offered
                                                                               offered by
                                                                                        by                        have list
                                                                                                                  have  list
prices ranging
prices ranging from    $4.99 to
                from $4.99    to $19.99
                                 $19.99 with
                                          with no
                                                no changes
                                                    changes in  in the
                                                                    the class
                                                                        class period.
                                                                               period. AsAs is
                                                                                             is the
                                                                                                the case
                                                                                                    case for
                                                                                                          for all
                                                                                                                all
subscriptions whose
subscriptions  whose customers      have been
                       customers have     been subscribed
                                                 subscribed for for at
                                                                     at least one year,
                                                                        least one  year, the
                                                                                          the service
                                                                                               service fee  rate was
                                                                                                        fee rate    was
reduced from
reduced        30% to
         from 30%    to 15%
                        15% starting    in 2018.
                               starting in 2018. SeeSee this
                                                          this report’s   production.
                                                               report's production.

                                                                                                                                  112
                                                                                                                                  112
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 565 of 667
                          HIGHLY CONFIDENTIAL
                          HIGHLY CONFIDENTIAL —
                                              – ATTORNEYS'
                                                ATTORNEYS’ EYES
                                                           EYES ONLY
                                                                ONLY


317. The economic factors that determine pass-through and the empirical data in this matter
   consistently show that determination of pass-through requires an individualized analysis.
318. Two of Plaintiffs' experts attempted to estimate "common" pass-through rates: Dr. Singer
   and Dr. Williams. They employed different approaches, but both attempted to show that the
   pass-through rate can be estimated using evidence common to all developers. However, they
   came to opposite conclusions with regard to the magnitude of a common pass-through rate.
319. According to Dr. Singer, 95% of pass-through rates are greater than 99.5%, indicating
   nearly complete pass-through. Dr. Singer finds that 99.99% of pass-through rates are
   positive, indicating that virtually every developer passed through at least some service fee
   rate increases to consumers, and therefore nearly all consumers were impacted.385
320. In contrast, according to Dr. Williams, 92% of the pass-through rates he considered are
   zero or negative, implying that 92% of developers did not pass through any of the price
   increases to consumers.386
321. Figure 15 below illustrates the two sets of results found by Consumer Plaintiffs' and
   Developer Plaintiffs' experts — which are nearly opposite of one another.
Figure 15.
Figure 15.       Shares of Positive
                 Shares of Positive Pass-Through Rates Found
                                    Pass-Through Rates Found by Dr. Singer
                                                             by Dr. Singer and
                                                                           and Dr.
                                                                               Dr. Williams
                                                                                   Williams Are
                                                                                            Are Nearly
                                                                                                Nearly
Opposite of
Opposite  of Each
             Each Other
                  Other


                                    Zero pass-through rates   Positive pass-through rates


                Dr. Williams                                  8%




                    ❑r. Singer                      0.01%              99.99%




Source:
Source:
      Exhibit 59.
      Exhibit 59.



322. Obviously, both experts' analyses cannot be true. Based on the economic principles and
   the empirical evidence in this case, neither Dr. Singer's nor Dr. Williams' analysis is
   accurate because determining pass-through rates for apps, subscriptions, and IAPs requires
   an individualized analysis into the relevant supply and demand conditions as well as into the
   pricing strategies used by developers.
323. As discussed above, a variety of economic factors determine how service fee changes (in
   particular the fact that the service fee is assessed as a percentage of price) will be passed

385
385
          See Exhibit 47.
386
386
          Williams Report at ¶80.

                                                                                                     113
                                                                                                     113
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 566 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      through in retail app, subscription, and IAP prices, and those characteristics vary across apps
      and developers.
324. For those developers that set prices to maximize profits, a service fee change (where the
   service fee is assessed as a percentage of price) will be more likely to affect price if the
   marginal cost of the app is high.387 With marginal cost equal to zero, Dr. Singer's own
   model shows that a change in the service fee rate will have no impact on price.
325. Some apps have a positive marginal cost. For example, apps that pay royalties based on
   usage of the apps, such as some music streaming apps and other apps that play music within
   the app are likely to have positive marginal costs. Apps that provide ongoing customer
   support such as some multi-player games that incur processing costs for communications
   across users, are likely to have positive marginal costs.388 Other apps are likely to have
   marginal cost near zero. This is a well-recognized feature of this industry as well as other
   industries where the product can be created once and sold multiple times. If developers of
   those apps obtained a lower service fee rate in the but-for world, and if they set prices to
   maximize profits, there is a high likelihood that consumers that purchase their apps and IAPs
   would not have paid lower prices.
326. Determining which apps are in which group requires individualized analysis of the cost
   conditions of those apps.
327. Furthermore, service fee rate changes are also less likely to be passed through in retail
   prices if developers set prices to end in "99." That pricing strategy is highly prevalent in this
   case; 97% of transaction prices of apps, subscriptions and IAPs end in "99."389 The strategy
   leads to a "stickiness" in retail prices and therefore even if a developer obtained a lower
   service fee rate in the but-for world, set prices to maximize profits, and had positive marginal
   cost, it may not have changed prices when the service fee rate changed.
328. Whether app and IAP prices respond to service fee rate changes will also depend on the
   competitive conditions faced by a developer and whether a developer's rivals change their
   app and IAP prices. Apps are highly differentiated products, and any one app may have few
   or many rivals.390 Determining the competitive conditions for any app requires
   individualized analysis.
329. Determining whether a developer would reduce prices in response to a service fee rate
   change requires some understanding of the developer's price-setting strategy. Not all

387
387
         Singer Report at
         Singer Report   at ¶225.
                            ¶225. In    particular, the
                                     In particular,  the equations    (P-C*)/P =
                                                         equations (P-C*)/P      = 1/E
                                                                                   1/E_D   and C*
                                                                                       _D and   C* == C/(1-t)
                                                                                                      C/(1-t) indicate
                                                                                                               indicate
that the
that the change  in price
         change in  price P
                          P in
                             in response
                                response toto the
                                                the change  in service
                                                    change in  service fee
                                                                         fee rate, t, depends
                                                                             rate, t, depends on
                                                                                               on the
                                                                                                  the level
                                                                                                       level of
                                                                                                             of C
                                                                                                                C that
                                                                                                                  that
captures marginal
captures  marginal costs  other than
                    costs other   than the
                                        the service
                                            service fee.
                                                      fee. This  also assumes
                                                           This also   assumes that
                                                                                  that either developers do
                                                                                       either developers   do not
                                                                                                              not set
                                                                                                                  set
prices to
prices to end
          end in “99,” or
              in "99,"  or that
                           that if
                                 if they
                                    they do,
                                          do, aa price
                                                 price change
                                                       change toto aa price
                                                                      price that
                                                                            that ends
                                                                                 ends in
                                                                                       in "99"
                                                                                          “99” satisfies
                                                                                                satisfies the
                                                                                                          the profit-
                                                                                                              profit-
maximizing conditions.
maximizing   conditions.
388
388
        It is possible
        It is possible that
                        that marginal
                             marginal costs
                                       costs could
                                             could be
                                                   be negative,
                                                       negative, in
                                                                  in the
                                                                     the sense
                                                                         sense that
                                                                               that some
                                                                                    some apps
                                                                                           apps generate
                                                                                                generate revenue
                                                                                                         revenue
through additional
through additional users
                     users from,
                           from, for
                                  for example,  advertising. In
                                      example, advertising.   In aa model
                                                                    model where
                                                                            where aa developer
                                                                                     developer maximizes
                                                                                                maximizes profits
                                                                                                            profits
and marginal
and marginal cost
               cost is
                    is negative,
                       negative, aa reduced  service fee
                                    reduced service  fee rate
                                                         rate would
                                                              would lead
                                                                      lead to
                                                                           to higher
                                                                              higher app,
                                                                                      app, subscription
                                                                                           subscription or IAP
                                                                                                        or IAP
prices.
prices.
389
389
         See Exhibit 32.
         See Exhibit 32.
390
390
         See Section
             Section IV.A.
                     IV.A.

                                                                                                                     114
                                                                                                                     114
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 567 of 667
                       HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                              ATTORNEYS’ EYES ONLY


      developers set prices to maximize profits and therefore the economic models and results that
      depend on profit-maximization are not relevant to all developers.


                                                                                               392
      Given that developers have different strategies, and do not all set prices to maximize profits,
      inquiry into the strategies and what those strategies imply for price reductions in response to
      service fee rate changes is necessary to understand pass-through. That is an individualized
      inquiry.
330. While the Plaintiffs' experts for the two proposed classes reach conclusions that either
   nearly all pass-through rates are positive, or nearly all pass-through rates are zero, economic
   models and evidence regarding the marketplace indicate that determining a pass-through rate
   requires individualized analysis — including analysis about the marginal cost of the app, the
   available and closeness of substitutes for the app, whether the app developer follows a focal
   point pricing strategy, and the overall strategy of price-setting used by the app developer.
   Plaintiffs' experts do not account for any of these factors. Moreover, determination of
   damages for the two proposed classes is further complicated by their sizes as well as the
   numerous factors that would affect damages and vary across proposed class members.
   Plaintiffs' experts have not even attempted to account for such factors.
         E. CONSUMER PLAINTIFFS' EXPERT'S CLAIM THAT ALL SERVICE FEES WOULD HAVE
            BEEN LOWER ONLY ASSUMES CLASSWIDE IMPACT
331. Dr. Singer has three different but-for service fee models.393 He has one model for paid
   downloads — the Android App Distribution mode1,394 another for subscriptions and IAPs —




391
391


392
392




393
393
         Singer Report at
         Singer Report at ¶167.
                          ¶167.
394
394
         Singer Report Table
         Singer Report       3.
                       Table 3.

                                                                                                  115
                                                                                                  115
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 568 of 667
                                              – ATTORNEYS'
                          HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      the IAP mode1,395 and a third that combines paid downloads and IAPs — Android App
      Distribution/IAP mode1.396
332. Each of Dr. Singer's but-for service fee rates models assumes that Google sets a single
   service fee rate to maximize the profits it earns from Google Play on those types of
   transactions.397 For example, Dr. Singer's Android App Distribution model assumes that
   Google sets a single service fee rate to maximize its profits on paid downloads and in the but-
   for world responds to competition by lowering the service fee rate to all developers with paid
   downloads. This is notwithstanding that in practice — and in the data Dr. Singer relied upon —
   not all developers have the same service fee rate.
333. Dr. Singer's profit maximization models that assume a single service fee rate in the actual
   world and return a single service fee rate in the but-for world also conveniently results in
   common impact. Indeed, in each of Dr. Singer's models, he does not allow for more than
   one service fee rate. Dr. Singer's models, therefore, assume the very thing — whether impact
   can be proven on a classwide basis — that he purports to test.
334. As described above, each of Dr. Singer's three models for but-for service fee rates
   requires a pass-through rate. In each of his three models, Dr. Singer uses the weighted
   average of the pass-through rates he obtained with the "one-minus-the share formula." For
   all the reasons described above, Dr. Singer's pass-through rates, both individually and as an
   average, are flawed. Therefore, Dr. Singer's but-for service fee rates, which depend on these
   pass-through rates, are flawed.
335. The pass-through rates in Dr. Singer's but-for service fee rate models matter to the
   results. For example, there is empirical evidence that some developers did not change their
   prices after a service fee rate reduction — that is, some pass-through rates are zero. If Dr.
   Singer had used a zero pass-through rate in Android App Distribution model, the but-for
   service fee rate for paid downloads would have been the same as the actual rate. That is, had
   Dr. Singer used a zero pass-through rate (for which there is empirical evidence for some
   proposed consumer class members), he would have found no impact to developers that
395
395
         Singer Report Table 5.
396
396
         Singer   Report Appendix
         Singer Report      Appendix 4. 4. Dr.
                                            Dr. Singer  also has
                                                Singer also   has aa model
                                                                     model that
                                                                            that purports
                                                                                 purports to
                                                                                           to find  but-for Play
                                                                                               find but-for  Play Point
                                                                                                                    Point
value ("But-For
value (“But-For Buyer-Side
                    Buyer-Side Platform
                                  Platform Competition
                                              Competition Model").
                                                            Model”). See     Singer Report
                                                                         See Singer  Report atat Table  10. The
                                                                                                  Table 10.         Android
                                                                                                              The Android
App Distribution
App  Distribution Model
                     Model (Table
                              (Table 3),
                                       3), the
                                           the Combined
                                               Combined Android
                                                           Android AppApp Distribution/In-App
                                                                           Distribution/In-App Aftermarket
                                                                                                    Aftermarket Model
                                                                                                                   Model
(Table A4
(Table  A4 in   Appendix 4),
             in Appendix     4), and
                                 and the
                                      the Buyer
                                           Buyer Side   Platform Competition
                                                  Side Platform    Competition Model
                                                                                  Model (Table
                                                                                          (Table 10)
                                                                                                   10) all
                                                                                                       all purport
                                                                                                           purport toto be
                                                                                                                        be
models of
models   of aa platform
               platform where
                          where buyers
                                  buyers (consumers)
                                           (consumers) and
                                                         and sellers
                                                               sellers (developers)
                                                                       (developers) interact.
                                                                                     interact. However,
                                                                                                 However, in    two of
                                                                                                             in two   of the
                                                                                                                         the
models —
models   – the
           the Android
                Android AppApp Distribution
                                 Distribution Model
                                                Model and
                                                        and the
                                                             the Combined
                                                                 Combined Android
                                                                              Android App
                                                                                        App Distribution/In-App
                                                                                              Distribution/In-App
Aftermarket Model
Aftermarket     Model only
                        only aa but-for
                                but-for service
                                          service fee rate is
                                                  fee rate is found
                                                              found while
                                                                      while "prices"
                                                                             “prices” to
                                                                                       to consumers
                                                                                          consumers (e.g.,
                                                                                                       (e.g., promotions)
                                                                                                              promotions)
are held
are held fixed.   In the
          fixed. In   the Buyer
                           Buyer Side
                                  Side Platform
                                         Platform Competition
                                                   Competition Model,
                                                                   Model, aa but-for
                                                                              but-for "price"
                                                                                      “price” toto consumers
                                                                                                   consumers is is found
                                                                                                                   found
but the service   fee  rate is held fixed.   So, Dr.  Singer  arbitrarily fixes  one side  of the  platform
but the service fee rate is held fixed. So, Dr. Singer arbitrarily fixes one side of the platform and        and   finds
                                                                                                                   finds  an
                                                                                                                          an
equilibrium    price of
equilibrium price     of the
                         the other
                             other side,   while the
                                    side, while  the prices
                                                      prices on
                                                              on both
                                                                 both sides
                                                                       sides should
                                                                              should be
                                                                                     be part
                                                                                         part of
                                                                                              of the
                                                                                                  the same
                                                                                                      same equilibrium
                                                                                                             equilibrium
decision. This
decision.          is acknowledged
             This is  acknowledged by   by Dr.
                                            Dr. Singer  himself in
                                                Singer himself       his description
                                                                  in his description of
                                                                                      of the
                                                                                         the Rochet-Tirole
                                                                                              Rochet-Tirole model
                                                                                                               model he he
claims to
claims  to apply.
           apply. Singer
                    Singer Report
                             Report at
                                     at ¶181.
                                        ¶181.
397
397
         Dr. Singer's
         Dr. Singer’s assumption
                        assumption that
                                     that rates
                                          rates are
                                                are set
                                                    set to
                                                        to maximize
                                                           maximize Google
                                                                      Google Play's
                                                                             Play’s profits
                                                                                     profits on
                                                                                             on subsets  of
                                                                                                 subsets of
transactions or
transactions  or even
                 even all
                       all paid
                           paid transactions
                                transactions is  overly simplistic
                                              is overly  simplistic and
                                                                    and does
                                                                        does not
                                                                             not consider
                                                                                  consider that
                                                                                           that if
                                                                                                if that
                                                                                                   that was
                                                                                                        was
Google’s strategy,
Google's  strategy, it  would likely
                     it would  likely find  some other
                                      find some   other way
                                                         way to
                                                             to monetize
                                                                monetize Google
                                                                          Google Play
                                                                                   Play so
                                                                                        so that
                                                                                           that it
                                                                                                it charged
                                                                                                   charged
developers who
developers   who offer
                  offer free
                         free apps
                              apps on
                                   on Google
                                       Google Play
                                                Play —
                                                     – over
                                                        over 93%
                                                             93% ofof developers.  See Exhibit
                                                                      developers. See  Exhibit 7.
                                                                                                7.

                                                                                                                       116
                                                                                                                       116
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 569 of 667
                                                – ATTORNEYS'
                            HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      offered paid apps. The same result is true for Dr. Singer's Android App Distribution/IAP
      model that combines paid downloads, subscriptions, and IAPs. If Dr. Singer had used a zero
      pass-through rate, the but-for service fee rate would have been the same as the actual rate.398
336. More generally, in each of Dr. Singer's three models of but-for service fee rates, different
   pass-through rates lead to different but-for service fee rates. The problem is that Dr. Singer
   has no reliable method to determine pass-through rates (or an average pass-through rate) and
   because a pass-through rate is an important factor in all of his models of but-for service fee
   rates, those models, and the results produced based on the models, are also not reliable.
                         1. Dr. Singer's Calculated But-For Rates Assume Classwide Impact
337. Each of Dr. Singer's models treats all developers as if they are all the same. None of the
   models considers or attempts to explain why developers in the actual world obtain different
   service fee rates or different services and none of the models attempts to determine whether
   rates or services in the but-for world would vary across developers. Each of the models is
   premised on the assumption that all developers in the actual world are the same and all
   developers in the but-for world are the same. As described above, this assumption is not true
   in the actual world and there is no reason that it would be true in the but-for world. In the
   actual world, developers offer different apps, with different values to app stores, and they
   rely on different business strategies that make existing app stores or distribution options more
   or less attractive to them.399 Those differences have enabled some developers to negotiate
   lower rates and more services. Those differences across apps and developers would continue
   to exist in the but-for world. But Dr. Singer's models do not address these differences, the
   effect of those differences in the actual world, or how such differences would affect rates and
   services in the but-for world.
338. Dr. Singer's assumption is also contradicted by the fact that not all developers may have
   the same competitive options in the but-for world. At least 22% of putative class developers

398
398
            Singer   Report Table
            Singer Report     Table 33 and
                                       and Appendix
                                             Appendix 4.  4. Dr.
                                                             Dr. Singer's
                                                                  Singer’s model
                                                                            model of of subscription
                                                                                        subscription and and IAP
                                                                                                               IAP transactions
                                                                                                                     transactions
(Table 5)
(Table        similarly depends
           5) similarly  depends on on aa pass-through
                                          pass-through rate     and given
                                                           rate and  given that
                                                                            that the
                                                                                 the pass-through
                                                                                      pass-through rate       method utilized
                                                                                                       rate method      utilized by
                                                                                                                                  by
Dr. Singer
Dr.  Singer is    flawed, those
               is flawed,   those but-for
                                   but-for service
                                            service fee   rates are
                                                      fee rates  are flawed.
                                                                     flawed. In   that model,
                                                                               In that  model, aa lower     pass-through rate
                                                                                                    lower pass-through        rate
will lower
will  lower thethe but-for
                    but-for rate
                             rate service
                                  service fee   rate —
                                           fee rate   – the
                                                        the opposite
                                                            opposite effect
                                                                       effect found
                                                                              found inin the
                                                                                         the other
                                                                                             other twotwo models.
                                                                                                           models. If      the pass-
                                                                                                                        If the pass-
through rate
through     rate is
                 is zero
                    zero in   Dr. Singer's
                          in Dr.  Singer’s Table
                                             Table 55 model,
                                                       model, the
                                                                the but-for
                                                                    but-for service
                                                                             service fee   rate is
                                                                                       fee rate  is         ,, rather
                                                                                                               rather than
                                                                                                                       than his
                                                                                                                             his
calculated but-for
calculated     but-for rate
                        rate of
                              of        .. The  underlying reason
                                           The underlying     reason for   this contradiction
                                                                       for this contradiction is is that
                                                                                                     that in
                                                                                                          in his
                                                                                                              his model
                                                                                                                   model of of
subscriptions and
subscriptions      and IAPs    only (Table
                        IAPs only    (Table 5),   Dr. Singer
                                              5), Dr.          assumes that
                                                       Singer assumes    that Google     Play acts
                                                                               Google Play    acts only
                                                                                                      only as
                                                                                                           as aa payment
                                                                                                                  payment
processor and
processor     and Google     Play maximizes
                    Google Play    maximizes profits
                                                  profits without
                                                          without considering
                                                                    considering consumers
                                                                                  consumers or   or the
                                                                                                     the value
                                                                                                         value to to developers
                                                                                                                     developers
of "matching"
of  “matching” consumers
                    consumers and and developers.
                                       developers. See See Singer   Report at
                                                            Singer Report    at ¶206.
                                                                                ¶206. There
                                                                                        There is    no basis
                                                                                                is no  basis (or(or evidence)
                                                                                                                    evidence) that
                                                                                                                                 that
this assumption
this  assumption holdsholds for  all developers
                             for all developers or or apps
                                                       apps with
                                                             with subscriptions
                                                                   subscriptions and
                                                                                   and IAPs.
                                                                                        IAPs. Moreover,
                                                                                                 Moreover, the   the assumption
                                                                                                                     assumption
is inconsistent
is inconsistent withwith Dr.
                          Dr. Singer’s    opinions related
                               Singer's opinions              to Play
                                                     related to  Play Points.
                                                                       Points. That
                                                                                 That is,  Play Points
                                                                                       is, Play  Points not
                                                                                                          not only
                                                                                                                 only can
                                                                                                                       can be
                                                                                                                            be used
                                                                                                                               used
for  subscriptions     and  IAPs   (as well  as  paid  downloads)
for subscriptions and IAPs (as well as paid downloads) but           but
       .. See  Lim Dep.
          See Lim    Dep. Ex.
                           Ex. PX
                                PX 110
                                     110 at
                                          at -787
                                             -787 ("GPP
                                                    (“GPP continues
                                                            continues toto drive  strong buyer
                                                                           drive strong    buyer churn
                                                                                                   churn reduction
                                                                                                           reduction and and spend
                                                                                                                              spend
lift”).
lift").
399
399
         Singer Report at
         Singer Report  at ¶205
                           ¶205 (Dr.
                                (Dr. Singer  acknowledges that
                                      Singer acknowledges    that service
                                                                  service fee   rates pursuant
                                                                           fee rates  pursuant to
                                                                                                to LRAP
                                                                                                   LRAP and
                                                                                                          and
similar programs
similar programs were
                   were 15%
                        15% oror lower);
                                 lower); ¶148
                                         ¶148 ("Google
                                               (“Google has
                                                         has cut
                                                              cut in half the
                                                                  in half the take
                                                                               take rate
                                                                                     rate for subscriptions, which
                                                                                          for subscriptions, which
are not
are not limited
        limited to
                to mobile
                   mobile devices;  for subscriptions
                           devices; for subscriptions the
                                                      the platform
                                                           platform is
                                                                     is not as important,
                                                                        not as  important, and
                                                                                            and they
                                                                                                 they could
                                                                                                      could
command aa lower
command      lower rate.");
                   rate.”); ¶148
                            ¶148 ("Project
                                  (“Project Hug
                                            Hug resulted  in effective
                                                 resulted in effective take
                                                                        take rate
                                                                             rate reductions
                                                                                   reductions for  the largest
                                                                                               for the largest
developers, including
developers,            in the
             including in the In-App
                              In-App Aftermarket.")
                                       Aftermarket.”)

                                                                                                                               117
                                                                                                                               117
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 570 of 667
                                           – ATTORNEYS'
                       HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      (those that sell only at a $0.99 price) may not have the same options to independently
      contract with payment processors as others. Those developers offer apps, subscriptions, and
      IAPs at low price-points and because many payment processors include a per-transaction fee
      as well as a per-dollar fee to process transactions, the effective service fee rate from these
      payment processors for those developers is greater than M. 4°0 Dr. Singer explicitly
      disregards this fact. According to Dr. Singer, "Although many of the benchmark take rates in
      Table 6 entail a fee layered on top of a percentage of revenue, I do not impose such a fee in
      the but-for world modeled above."4°1
                     2. Dr. Singer's Calculations Rely on Inputs That Are Either Averages or
                        Unsubstantiated Estimates Assumed to Apply to All Developers
339. In each of Dr. Singer's three models of but-for service fees, Dr. Singer takes certain
   inputs, such as an average app price, an average elasticity, and an average pass-through rate,
   among others, and then uses those inputs, along with certain assumptions about how Google
   sets its service fee rate to find a pass-through rate. In each model, Dr. Singer performs
   calculations twice: once for what he describes as the "actual world — monopoly" and then
   again for what he describes as the "but-for world — competitive." The principal difference
   between the actual and but-for calculations is that in the "but-for world-competitive" version,
   Google Play is assumed to have a 60% market share, instead of the market share Dr. Singer
   claims it has in the actual world.
340. The models' reliance on average inputs, as well as the models' finding of an average but-
   for service fee rate does not address the issue of common impact and masks the existence of
   developers that would not get a lower service fee rate in the but-for world. The models
   "hide" the fact that in the actual world some developers get a rate lower than the average rate
   and are incapable of determining whether a developer in the but-for world would get a lower
   rate than the average but-for rate.
341. Dr. Singer's but-for service fee rate models depend on numerous averaged inputs. For
   example, Dr. Singer uses an average app price of $3.99 when actual paid app prices vary
   from $0.01 to $400.00; and Dr. Singer uses an average subscription and IAP price of $8.99
   when subscription and IAP prices vary from $0.01 to $1,341.90.402 Dr. Singer's calculations
   assume that consumers obtain a "negative price" from Google Play Points. As described
   below, even though Google Play Points are available to all consumers, only        participate
   in the program at all and no more than      redeem points in the class period.403 He uses an
   average pass-through rate of        , when his own predicted rates vary and there is empirical
   evidence that many pass-through rates are zero. He also constructs average elasticities for
   both consumers and developers.404 Other inputs to Dr. Singer's models are based on

400
400
         See Exhibit 31.
         See Exhibit 31.
401
401
         Singer fn. 485.
         Singer fn. 485.
402
402
         See this report’s
         See this          production.
                  report's production.
403
403
         See Exhibit 60;
         See Exhibit     Exhibit 61.
                     60; Exhibit 61.
404
404
        See
        See Singer  work product
            Singer work   product and
                                   and Tables   3, 5,
                                        Tables 3,     and Appendix
                                                   5, and Appendix 4. 4. That is, Dr.
                                                                         That is, Dr. Singer’s models are
                                                                                      Singer's models are not
                                                                                                          not
regression analyses
regression analyses that
                    that utilizes
                         utilizes prices
                                  prices (or
                                         (or service
                                             service fees)
                                                      fees) for individual developers
                                                            for individual developers and
                                                                                        and simply
                                                                                            simply return
                                                                                                   return an
                                                                                                          an


                                                                                                            118
                                                                                                            118
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 571 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      assumptions that Dr. Singer claims apply to all developers. For example, Dr. Singer assumes
      competition for developers is the same for all developers in the actual world and that the
      effect of the purported increase in competition will be the same for all developers. Dr.
      Singer's method inherently eliminates variation among developers to artificially manufacture
      impact, where it may not exist so that the absence of impact cannot be detected.
342. The results of Dr. Singer's models change if his average inputs are replaced by inputs that
   describe individual or particular sets of developers. As described above, Dr. Singer uses a
   single pass-through rate of        , which is the average of his calculated pass-through rates
   across all developers. While Dr. Singer's estimates of pass-through rates are inaccurate and
   do not reflect developers' pricing decisions, even those inaccurate estimates vary from 0% to
   100%.405 Moreover, there is empirical evidence that some pass-through rates are zero.
   Changing only the pass-through rate in Dr. Singer's models changes the results 406
343. Another important input to Dr. Singer's calculations is the increase in competition in the
   but-for world, which is characterized as an assumed reduction in Google Play's market
   share.407 In the Android App Distribution model (Table 3) and in the combined Android App
   Distribution/IAP model (Appendix 4), Dr. Singer assumes Google Play's market share is
   100% in the actual world and would be 60% in the but-for world. In the IAP model (Table
   5), he assumes Google Play's share is 97% in the actual world and would be 60% in the but-
   for world.
344. In the actual world, Dr. Singer's assumptions about Google Play's market share imply
   that developers and consumers have no, or very limited alternatives to Google Play. This is
   not true. Dr. Singer recognizes that certain developers had alternatives to Google Play and
   were able to obtain service fee rates lower than 30% and he describes the service fee rates
   obtained by these developers as a "reasonable approximation of the but-for take rate."408 In
   addition, Dr. Singer recognizes that many consumers have alternatives to Google Play.
   According to his estimates, over half of Android mobile devices have alternative app stores
   including the Samsung Galaxy Store which he finds to be available on approximately 52% to
   57% of Android devices.409


                Dr. Singer’s
average result. Dr.          method utilizes
                    Singer's method utilizes averages
                                             averages of
                                                      of prices
                                                         prices (and
                                                                (and other
                                                                     other inputs)
                                                                           inputs) and
                                                                                   and returns an average
                                                                                       returns an average
of those
of those averaged
         averaged inputs – it
                  inputs — it is an average
                              is an average of
                                            of many
                                               many averages,
                                                    averages, all
                                                              all of which are
                                                                  of which are assumed
                                                                               assumed to
                                                                                       to be
                                                                                          be true
                                                                                             true for all
                                                                                                  for all
developers.
developers.
405
405
       Dr. Singer
       Dr.  Singer finds
                   finds 282
                          282 pass-through
                              pass-through rates
                                           rates that
                                                 that are
                                                      are zero
                                                           zero because
                                                                because in
                                                                         in aa particular
                                                                               particular month,
                                                                                          month, that
                                                                                                 that
developer’s share
developer's share of
                  of its
                     its category
                         category and
                                  and transaction-type
                                      transaction-type transactions
                                                        transactions is
                                                                     is 100%.
                                                                        100%. See     Exhibit 47.
                                                                                 See Exhibit  47.
406
406
        As discussed
        As discussed in  the prior
                      in the prior section,
                                   section, aa zero
                                               zero pass-through
                                                    pass-through rate
                                                                  rate would
                                                                       would find
                                                                             find no
                                                                                  no service
                                                                                     service fee
                                                                                             fee rate
                                                                                                 rate
overcharge in
overcharge  in Dr.
               Dr. Singer's
                   Singer’s model
                            model ofof paid
                                       paid downloads
                                            downloads and
                                                        and his
                                                             his model
                                                                 model of
                                                                        of combined
                                                                           combined paid
                                                                                     paid downloads,
                                                                                          downloads,
subscriptions, and
subscriptions, and IAPs.
                   IAPs.
407
407
         According to
         According   to Dr.
                         Dr. Singer’s  calculation, if
                             Singer's calculation,  if Google
                                                       Google Play's
                                                                Play’s market
                                                                        market share
                                                                                share is
                                                                                      is lower, consumers’
                                                                                         lower, consumers'
elasticity of
elasticity of demand   for apps
              demand for   apps will
                                 will be
                                      be higher
                                         higher (more
                                                 (more elastic)
                                                         elastic) and
                                                                  and the
                                                                      the buyer-side
                                                                          buyer-side take-rate
                                                                                      take-rate elasticity
                                                                                                elasticity will
                                                                                                           will be
                                                                                                                be
higher (more
higher  (more elastic),  and as
               elastic), and as described
                                described above,
                                           above, the
                                                   the service
                                                        service fee  rate will
                                                                 fee rate will be
                                                                               be lower.
                                                                                  lower. See  Singer Report
                                                                                          See Singer  Report Table
                                                                                                              Table
3.
3.
408
408
         Singer Report at
         Singer Report at ¶¶158,
                          ¶¶158, 205.
                                 205.
409
409
         Singer Report
                Report Table
                       Table 1.
                             1.

                                                                                                               119
                                                                                                               119
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 572 of 667
                      HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                             ATTORNEYS’ EYES ONLY


345. Dr. Singer's assumption that Google Play's market share in the but-for world is 60%, in
   all three of his models, is based on AT&T's long-distance market share in 1993.410 Dr.
   Singer provides no evidence that AT&T is a reasonable benchmark for Google Play, that the
   competitive conditions in long-distance during regulation reflect Google Play in the actual
   world, or that competitive conditions in long-distance years after AT&T's divestiture reflect
   app distribution or IAPs in the but-for world.
346. But even if AT&T in 1993 could be considered an appropriate benchmark for certain
   aspects of competition in the but-for world, for purposes here, the question is whether it is
   appropriate to assume that an increase in competition would affect all developers in the same
   way, with the same but-for Google Play market share — as Dr. Singer does.411 The answer is
   no. Given the diversity among developers described above, Consumer Plaintiffs' claimed
   increased competition in the but-for world would affect developers differently, just as
   competition in the actual world has resulted in different service fees and different services to
   developers.
                    3. Dr. Singer's Models Find Any Change in Competition Leads to Lower
                       Rates for All Developers
347. Dr. Singer's models assume that for any change in "competition" (as measured by some
   reduction in Google Play's market share), no matter how small, there would have been some
   reduction in the service fee rate for all developers.
348. Dr. Singer's models of but-for service fee rates imply that if, absent the alleged conduct,
   Google Play's market share fell by a single percentage point, the rate for all developers' IAPs
   would fall    points (to      )412 and the rate for all developers' paid apps would fall
         (to       ).413
349. Dr. Singer's conclusion that any change in Google's market share would lead to lower
   service fee rates is contradicted by evidence from the actual world. In South Korea, the ONE
   Store, according to Dr. Singer, has obtained 14.9% of payment volume.414 Dr. Singer's
   model would find that in Korea, Google Play's service fee rates to all developers would have
   fallen significantly, but in fact, that has not occurred. Instead, Google Play has reduced fees
   for particular developers through programs like Project Hug and provided incentives for



410
        Singer Report at ¶216.
411
411
         Indeed, competitive conditions in long-distance are not reasonably reflected in AT&T's
                                                                                         AT&T’s overall
market share. For example, certain long-distance competitors were not available in all states, so AT&T's
                                                                                                  AT&T’s
market share likely varied across geography. See
https://www.sprint.com/companyinfo/history/timeline_02.html
https://www.sprint.com/companyinfo/history/timeline     02.html (showing Sprint was available in 19 states
in 1993).
412
412
        Singer Report Table 3. This is calculated by changing the "Buyer-side
                                                                  “Buyer-side Product Price Elasticity"
                                                                                            Elasticity”
       “Monopoly Elasticity"
to the "Monopoly Elasticity” divided by 99%.
413
413
       Singer Report Table 5. This is calculated by changing row [12], "Google
                                                                       “Google Market Share in the
        World,” to 96%.
But-For World,"
414
414
        Singer Report at ¶¶196-198.

                                                                                                      120
                                                                                                      120
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 573 of 667
                                               – ATTORNEYS'
                           HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


        high-value (high-spending) consumers through its Play Points program.415 Dr. Singer's
        models assume that an increase in competition would have common impact, but the models
        fail to capture the way that competition works and that a purported increase in competition in
        the but-for world would not be common.
                         4. Dr. Singer's Profit-Maximization Models Do Not Consider That
                            Google Can Utilize Alternative Monetization Strategies
  350.    Each of Dr. Singer's models assumes that Google sets service fees to maximize profits
     for either a subset of transactions or all paid transactions. This does not consider that Google
     has alternative ways to maximize profits and respond to competition, besides lowering
     service fee rates.
  351. As described above, in Section VI.D, Google's alternative monetization strategies for
     Google Play would lead some developers to have higher costs in the but-for world and if
     those costs were passed through to consumers, as Dr. Singer claims, higher prices to
     consumers. Other developers could be better off with an alternative monetization strategy for
     Google Play. If those developers passed through benefits to consumers in lower prices, those
     consumers would have been better off in the but-for world. However, determining which
     consumers were worse off and which were better off depends on the alternative monetization
     strategy that would have been adopted by Google Play, which developers would have
     benefited, and which would have been made worse off from each strategy, as well as
     determining which consumers who purchased apps, subscriptions, or IAPs from those
     developers would have been better off and those that would have been worse off.
IX.     PLAINTIFFS' EXPERTS' OPINIONS REGARDING GOOGLE PLAY POINTS DO
        NOT SHOW CLASSWIDE IMPACT
           F. GOOGLE PLAY POINTS PROGRAM
  352. Play Points is a consumer program that Google introduced in the U.S. in November
     2019.416 Before that, Google introduced the program in Japan and South Korea. Play Points
     allow consumers to earn "loyalty points" from purchases in Google Play that can then be
     used as Google Credits, to make purchases in Google Play, or redeemed for special IAPs.417
  353. Google Play Points are available, without cost, to any consumer that registers to receive
     Play Points, but the program was intended to target and tends to benefit

  415
  415
           Dr. Sibley
          Dr.  Sibley claims
                        claims that
                                 that Project
                                       Project Hug
                                               Hug "inhibited
                                                    “inhibited expansion
                                                                expansion byby existing   stores and
                                                                                existing stores  and deterred   entry by
                                                                                                      deterred entry  by
  new stores,"
  new  stores,” Sibley    Report at
                Sibley Report      at ¶241.
                                      ¶241. Dr.
                                             Dr. Singer  claims that
                                                 Singer claims   that Project
                                                                      Project Hug
                                                                               Hug "foreclose[ed]
                                                                                      “foreclose[ed] the
                                                                                                     the ability
                                                                                                         ability of
                                                                                                                  of
  developers to
  developers  to enter
                  enter into
                         into lucrative
                              lucrative exclusive
                                          exclusive contracts
                                                    contracts with
                                                                with other
                                                                     other app
                                                                           app stores.”
                                                                                 stores." See  Singer Report
                                                                                           See Singer  Report atat ¶110.
                                                                                                                   ¶110.
  Neither expert
  Neither          denies that
          expert denies     that Project
                                 Project Hug
                                          Hug developers    obtained favorable
                                                developers obtained    favorable terms
                                                                                   terms from
                                                                                          from Google   Play. Their
                                                                                               Google Play.    Their
  opinions imply
  opinions  imply that
                    that absent
                          absent Project
                                  Project Hug,
                                           Hug, which
                                                 which they
                                                        they characterize
                                                              characterize as
                                                                            as exclusionary,   the Project
                                                                               exclusionary, the    Project Hug
                                                                                                            Hug
  developers would
  developers  would notnot obtain
                            obtain those
                                     those favorable  terms. But
                                           favorable terms.    But whether
                                                                   whether these
                                                                             these developers    would be
                                                                                     developers would   be better
                                                                                                            better off
                                                                                                                   off in
                                                                                                                       in
  the Plaintiffs'
  the Plaintiffs’ but-for
                  but-for world
                            world — – without
                                       without Project
                                                Project Hug
                                                        Hug — – would
                                                                would require
                                                                        require individualized   proof of
                                                                                individualized proof    of the
                                                                                                           the deals
                                                                                                               deals that
                                                                                                                      that
  they would
  they would negotiate
               negotiate with
                           with other
                                  other app
                                        app stores
                                             stores and
                                                    and the
                                                         the terms
                                                             terms of
                                                                    of those
                                                                       those deals
                                                                              deals compared
                                                                                     compared toto those
                                                                                                   those they
                                                                                                         they actually
                                                                                                               actually
  obtained in
  obtained  in their
               their individual
                     individual negotiations     with Google
                                   negotiations with   Google Play.
                                                                Play.
  416
  416
         See Deposition of
         See Deposition of Tian Lim, November
                           Tian Lim, November 28,
                                              28, 2021,
                                                  2021, ("Lim
                                                        ("Lim Dep"),
                                                              Dep"), Ex.
                                                                     Ex. 110
                                                                         110 (GOOG-PLAY-
                                                                             (GOOG-PLAY-
  002653782.R).
  002653782.R).
  417
  417
           Lim Dep.
           Lim Dep. at
                    at p.169.
                       p.169.

                                                                                                                      121
                                                                                                                      121
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 574 of 667
                       HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                              ATTORNEYS’ EYES ONLY


                  — those consumers that                                                        .418
      One feature of the program, for example, is that consumers who spend more in Google Play
      earn more Google Play Points. There are at least four user "tiers," with each level requiring a
      higher level of consumer spend and providing more points per dollar of spend.419 For
      example, "Bronze" has no minimum amount of spend and generates 1 point per dollar spent;
      while "Platinum" has a $3,000 per year minimum consumer spend and generates 1.4 points
      per dollar spent.42° Play Points was, in part, a competitive response by Google to

                421
354. Google's Play Points program not only targets particular consumers but is attractive only
   to certain consumers. Not all consumers register for and participate in Google Play Points.
   Among the roughly              U.S. consumers that transacted in Google Play during the
   period the Google Play Points program existed through 2021, only about         participated in
   Google Play Points.422 That is,      of U.S. consumers did not participate at all in the
   Google Play Points program even though the program was available to them.
355. An even smaller percentage of consumers redeemed Play Points that were earned. From
   November 2019 through July 3, 2021, there were at most                U.S. consumers — about
        of U.S. consumers in this period — that redeemed Play Points either by making
   transactions directly with the Play Points or by exchanging the Play Points for Google
   Credits and making purchases. In sum, only a small percentage of consumers enroll in the
   program and an even smaller percentage redeem Play Points.423
         G. PLAINTIFFS' EXPERTS' CLAIMS RELATED TO PLAY POINTS Do NOT SHOW
            CLASSWIDE IMPACT
356. Consumer Plaintiffs' and Developer Plaintiffs' experts claim that in the but-for world,
   Google would expand its Play Points program, offering consumers enhanced or expanded

418
418
         Lim Dep.
         Lim Dep. Ex.
                  Ex. PX
                      PX 109 (GOOG-PLAY-000356806.R) at
                         109 (GOOG-PLAY-000356806.R) at p.
                                                        p. 22
                                                           22

           ). See also
           ). See also Lim
                       Lim Dep.
                           Dep. Ex.
                                Ex. PX
                                    PX 110  (GOOG-PLAY-002653782.R) at
                                        110 (GOOG-PLAY-002653782.R) at p.
                                                                        p. 17
                                                                           17
                                                                        ); Lim Dep.
                                                                        ); Lim Dep. Ex.
                                                                                    Ex. PX
                                                                                        PX
133 (GOOG-PLAY-000365029).
133 (GOOG-PLAY-000365029).                                           .. See  Feng Dep.
                                                                        See Feng  Dep. Ex.
                                                                                       Ex. PX
                                                                                           PX
532 (GOOG-PLAY-001284083.R) at
532 (GOOG-PLAY-001284083.R)   at p.
                                 p. 33.
                                    33.
419
419
         See Lim Dep.
         See Lim Dep. Ex.
                      Ex. PX
                          PX 110
                             110 (GOOG-PLAY-002653782.R)
                                 (GOOG-PLAY-002653782.R) describing
                                                         describing aa "Diamond"
                                                                       “Diamond” level.
                                                                                 level.
420
420
         See Lim Dep.
         See Lim   Dep. Ex.
                        Ex. PX
                             PX 110
                                 110 (GOOG-PLAY-002653782.R)
                                     (GOOG-PLAY-002653782.R) and     and
https://gadgetstouse.com/blog/2020/10/22/what-are-google-play-points-how-to-use/ There
https://gadgetstouse.com/blog/2020/10/22/what-are-google-play-points-how-to-use/       There are
                                                                                             are other
                                                                                                 other
benefits, that
benefits, that are
               are similarly
                   similarly scaled
                             scaled by
                                    by tier,
                                       tier, including points on
                                             including points on movies
                                                                 movies and
                                                                        and books
                                                                            books and
                                                                                  and weekly
                                                                                      weekly prizes.
                                                                                             prizes.
421
421
     See
     See e.g., Feng Dep.
         e.g., Feng Dep. Ex.
                         Ex. PX
                             PX 538  (GOOG-PLAY-009903056) at
                                 538 (GOOG-PLAY-009903056)    at p.
                                                                 p. 10; Feng Dep.
                                                                    10; Feng Dep. Ex.
                                                                                  Ex. PX
                                                                                      PX 531
                                                                                          531
(GOOG-PLAY-000292207.R) at
(GOOG-PLAY-000292207.R)    at p.
                              p. 7;
                                 7; Feng
                                    Feng Dep.
                                         Dep. Ex.
                                              Ex. PX
                                                  PX 532 (GOOG-PLAY-001284083.R) at
                                                     532 (GOOG-PLAY-001284083.R)      at pp.
                                                                                         pp. 6,
                                                                                             6, 54.
                                                                                                54.
422
422
         See Exhibit 60.
         See Exhibit 60.
423
423
         See  Exhibit 61.
         See Exhibit  61. The
                           The        Play Points
                                      Play Points redemption
                                                  redemption rate
                                                               rate for
                                                                    for U.S.
                                                                        U.S. consumers
                                                                             consumers is  an upper
                                                                                        is an upper bound
                                                                                                    bound
estimate that
estimate  that assumes
               assumes that
                        that all
                             all "stored
                                 “stored value"
                                         value” transactions
                                                transactions were
                                                              were Play
                                                                    Play Points
                                                                         Points redemptions,
                                                                                redemptions, as
                                                                                              as Google's
                                                                                                 Google’s
transaction data
transaction  data does not distinguish
                  does not distinguish between
                                        between different
                                                  different types
                                                            types of
                                                                  of stored value transactions.
                                                                     stored value transactions. Only
                                                                                                Only     of
                                                                                                         of
U.S. consumers
U.S. consumers redeemed      Play Points
                  redeemed Play    Points by
                                          by making
                                             making transactions
                                                      transactions directly
                                                                   directly with
                                                                            with Play
                                                                                 Play Points.
                                                                                      Points.

                                                                                                              122
                                                                                                              122
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 575 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      benefits.424 Neither Developer Plaintiffs' nor Consumer Plaintiffs' experts provide any
      reasoning or evidence that even if Google expanded the Play Points program in the but-for
      world, either of the two classes would have experienced classwide impact. For the reasons
      discussed below, the effect of an expanded Play Points program would not be common for
      either class.
357. Dr. Singer describes Play Points as a subsidy or "negative price" set by Google to
   consumers for "accessing" Google Play and considers that Google could lower the service
   fee rate or as an alternative, increase Play Points, effectively lowering the prices of apps and
   IAPs directly to consumers. Dr. Singer claims that in the but-for world, because Google
   Play's market share would fall to 60% (based on AT&T's market share in 1993), consumers'
   "platform price" would fall from a negative $0.2 per transaction to a negative $0.77 per
   transaction.425 This reduction in the "platform price" is assumed to occur through the
   expansion of Play Points.
358. Dr. Singer fails to consider that Google's Play Points program provides benefits to a
   relatively small percentage of U.S. consumers. Over the time period when the program was
   available, less than          of U.S. consumers participated in the program and only up to
         of U.S. consumers earned and redeemed Play Points.426 Such low redemption rates are
   not unusual and are not the result of any alleged conduct.427 Dr. Singer offers no analysis to
   show that all consumers would even participate in an expanded Google Play Points program
   in the but-for world, much less obtain benefits from an expanded program.
359. Dr. Singer claims that Google would expand Play Points program substantially more than
   Dr. Williams claims Google would. According to Dr. Williams, in the actual world,
   redeemed Play Points accounted for about         of consumer spend and in the but-for world,
   the "median percentage reward" would have been            .428 Dr. Singer finds that in the
   actual world, Play Points redeemed accounted for about         of consumer spend, but claims
   that in the but-for world, the expansion would have been nearly     429 — nearly     times
   what Dr. Williams claims.


424      Williams Report
         Williams Report at
                         at ¶¶96-97,
                            ¶¶96-97, Singer Report at
                                     Singer Report at ¶33.
                                                      ¶33.
425      Singer Report at
         Singer Report at ¶¶179,
                          ¶¶179, 184,
                                 184, 245,
                                      245, Table
                                           Table 10.
                                                 10.
426      See Exhibit 61.
         See Exhibit 61.
427      For example,
         For example, credit
                         credit card
                                card programs
                                     programs offer
                                                 offer extensive   rewards and
                                                       extensive rewards    and still
                                                                                 still many
                                                                                       many consumers
                                                                                              consumers dodo not
                                                                                                             not
participate. Bureau
participate. Bureau ofof Consumer
                         Consumer Financial
                                     Financial Protection,
                                                Protection, "The
                                                              “The Consumer
                                                                     Consumer Credit
                                                                                 Credit Card
                                                                                         Card Market,"
                                                                                               Market,” September
                                                                                                          September
2021, Figure
2021,  Figure 11 shows   that despite
                 shows that   despite availability
                                       availability of
                                                    of reward  credit cards,
                                                       reward credit   cards, in
                                                                              in each   segment some
                                                                                 each segment    some transactions
                                                                                                        transactions
are on
are on non-reward
       non-reward cards.     Dr. Williams
                     cards. Dr.  Williams acknowledges
                                            acknowledges thatthat redemption   rates are
                                                                  redemption rates     are "generally
                                                                                           “generally low,  consistent
                                                                                                      low, consistent
with Google's
with Google’s experience.”
                experience." That     is, the
                                 That is, the low
                                              low redemption
                                                  redemption rate     cannot be
                                                                rate cannot  be construed
                                                                                 construed toto be
                                                                                                be implicated
                                                                                                   implicated in
                                                                                                               in the
                                                                                                                  the
alleged conduct
alleged           and low
        conduct and    low redemption
                            redemption rates    would persist
                                          rates would  persist in  the but-for
                                                               in the  but-for world.
                                                                               world. Williams
                                                                                         Williams Report
                                                                                                   Report at
                                                                                                           at ¶103,
                                                                                                              ¶103,
fn.135.
fn.135. See  also https://www.prnewswire.com/news-releases/customers-sitting-on-100-billion-of-
        See also  https://www.prnewswire.cominews-releases/customers-sitting-on-100-billion-of-
unredeemed-loyalty-points-623828294.html ("more
unredeemed-loyalty-points-623828294.html          (“more than
                                                           than one-fifth
                                                                 one-fifth of
                                                                           of program
                                                                              program members
                                                                                          members have
                                                                                                    have never
                                                                                                          never
redeemed.”).
redeemed.").
428      Williams Report
         Williams  Report at at ¶99.
                                ¶99.
429      Singer Report Table
         Singer Report Table 10.
                             10.

                                                                                                                  123
                                                                                                                  123
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 576 of 667
                     HIGHLY CONFIDENTIAL
                     HIGHLY CONFIDENTIAL -– ATTORNEYS'
                                            ATTORNEYS’ EYES
                                                       EYES ONLY
                                                            ONLY


 360. Neither Dr. Singer nor Dr. Williams considers that developers participate in Play Points
    by offering discounts on IAPs. Those developers contribute to the funding of the Play Points
    program but also receive benefits in increased revenues. Depending on how an expansion of
    Play Points would occur, some developers may be worse off by such an expansion.
    Predicting the effects of an expanded Play Points program on developers, without
    considering these issues, is highly speculative. Dr. Singer's model of Play Points does not
    recognize that developers participate in the program and does not consider how changes in
    the program could affect developers — including potentially the service fees paid by
    developers.
X.   CONCLUSION
 361. For the reasons discussed above, I find that one cannot establish antitrust impact to
    members of the proposed developer class using proof that is common to the class given the
    many individualized issues specific to developers.
 362. I also find that one cannot establish antitrust impact to members of the proposed
    consumer class using proof that is common to the class given the many individualized issues
    specific to consumers,
 363. Highly individualized analyses would be necessary to determine whether any given
    member of either proposed class would have been better off in the but-for world, and if so,
    what that member's individual damages would be.
 364. Based on my analysis, there is a reasonable probability that among putative developer
    class members, at least 22% likely would not have lower service fees in the but-for world
    because the costs of separately contracting with payment processors may exceed Google Play
    service fees. Those putative developer class members price only at $0.99 and the per
    transactions costs charged by many payment processors would raise the total costs of
    payment processing beyond 30%. In addition, there are 36% of putative developer class
    members who set prices of $1.99 or lower that may not have been impacted, depending on
    the price "mix" of these developers and the services beyond payment processing that are
    valued by these developers. For all of the reasons described in this report, the percentage of
    developer class members who cannot show antitrust impact or injury is likely even higher,
    given the many individualized issues that affect whether any given developer would have
    been better off in Plaintiffs' but-for world. These includes developers' individual pricing
    strategies, the potential for higher costs to developers, plausible changes to Google Play's
    monetization strategy in the but-for world, among others. Indeed, for reasons such as these,
    the percentage of uninjured class members are likely higher.
 365. Furthermore, based on my analysis, it is likely that a small percentage of proposed
    consumer class members were impacted. The available empirical evidence shows that
    among those developers that had a service fee rate reduction, a small percentage (e.g.,
    between 2% and 8% depending on transactions analyzed by Dr. Williams and me) passed
    through service fee rate reductions in lower prices. In addition, 16% of proposed consumer
    class members spent $5 or less in Google Play during the entire class period. If, in the but-
    for world, those consumers had to pay more for free apps or to protect themselves from
    security issues, those consumers likely would have been worse off in the but-for world.
    Some 11% of the proposed consumer class used DCB. If in the but-for world service fee
    rates for DCB did not fall (because that form of payment is more costly) or if DCB was no

                                                                                               124
                                                                                               124
     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 577 of 667
                   HIGHLY CONFIDENTIAL
                   HIGHLY CONFIDENTIAL -– ATTORNEYS'
                                          ATTORNEYS’ EYES
                                                     EYES ONLY
                                                          ONLY


   longer available, those consumers may not be impacted and could have been worse off in the
   but-for world. Finally, 71% of proposed consumer class members did not participate in
   Google Play Points, even though it was available to them. Therefore, even if in the but-for
   world that program was expanded, there is no credible evidence that such an expanded Play
   Points program would have benefited all proposed consumer class members.
366. Neither Consumer Plaintiffs' nor Developer Plaintiffs' experts provide a methodology,
   using common proof, that identifies which putative class members, or how many, suffered
   antitrust impact or injury because of Google's alleged conduct. Nor have they attempted to
   identify and exclude from the class those putative class members who may be worse off in a
   but-for world without Google's alleged conduct.


Executed on March
Executed on March 31,
                  31, 2022
                      2022 in Washington D.C.
                           in Washington D.C.




____________________________________
Michelle M. Burtis, Ph.D.




                                                                                           125
                                                                                           125
Case 3:21-md-02981-JD Document 325-1A Filed 08/19/22 Page 578 of 667
                          APPENDIX



 Michelle M. Burtis                                                               PhD, Economics
 Senior Consultant                                                              University of Texas
                                                                                              Austin

                                                                                   BA, Economics
                                                                             University of Colorado
                                                                                            Boulder


Professional history
2020-present        Senior Consultant, Charles River Associates, Washington DC

2015–2020           Vice President, Charles River Associates, Washington, DC
2012–2014           Senior Advisor, Cornerstone Research, Inc., Washington, DC

2006–2011           Vice President, Cornerstone Research, Inc., Washington, DC

2004–2006           Managing Director, Competition Policy, LECG, Washington, DC

1998–2006           Director, LECG, Washington, DC

1988–1998           Vice President, Capital Economics, Washington, DC

1986–1988           Associate, ICF Incorporated, Washington, DC

1985–1986           Lecturer, University of Texas, Austin, TX


Publications
“Proving the Fix: Damages,” with Keler Marku, GCR Guide to Private Litigation, 2019.

“Error Costs, Legal Standards of Proof and Statistical Significance,” with Bruce Kobayashi and
Jonah Gelback, Supreme Court Economic Review, Volume 25, 2018.

“Bringing Light to the DOJ”s Cartel Fine Methodology with the Auto Parts Plea Agreements,” with
Daniel K. Oakes and Mary Beth Savio, Antitrust Law Bulletin, 2018.
“The Effect of Optimal Penalties for Organizations Convicted of Price Fixing in the Presence of
Criminal Sanctions for Individuals,” with Bruce Kobayashi, Judge Douglas H. Ginsburg Liber
Amicorum, 2018.
“Connecting the Dots: Tracing the DOJ’s Inclusion of Indirect Commerce in Auto Parts Criminal
Penalties,” with Daniel K. Oakes and Mary Beth Savio, Antitrust, Summer 2018.
“Are Conspiracies to Manipulate Information Anticompetitive,” with E. Buffmire, Cartel and Criminal
Conduct Newsletter, ABA Section of Antitrust Law, Winter 2018.
“Regarding the Optimality of Cartel Fines,” with Bruce Kobayashi, Cartel and Criminal Conduct
Newsletter, ABA Section of Antitrust Law, 17:1- 22-30, Spring 2017.
“Economic Issues in Class Certification,” in M Sanderson, S Moresi and D Sokol (eds.), Antitrust
Economics for Lawyers (Matthew Bender & Co. 2017).

“Economic Analysis in Indirect Purchaser Class Actions,” Who’s Who Legal: Consulting Experts,
2016.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 579 of 667
                                                      Michelle M. Burtis
Charles River Associates                                                                      Page 2



“Correlation and Regression Analysis in Antitrust Class Certification” with Darwin Neher. Antitrust
Law Journal, 2011.

“Pass-Through, Common Impact, and Structural Modeling in Indirect Purchaser Class Certification”
With Darwin Neher, Neill Norman, and Marshall Yan. Economics Committee Newsletter, ABA
Section of Antitrust Law, 10:1, 3-8, Summer 2010.

“Petroleum Refining Industry Business Interruption Losses due to Hurricane Katrina.” With Kivanc
Kirgiz and David Lunin. Journal of Business Valuation, 2009.

“Economics of Antitrust: An Economic Analysis of Resale Price Maintenance.” With D. Garrett and
V. Howell. The Antitrust Review of the Americas, 2008.

“Modern Industrial Organization: A Comment.” George Mason Law Review, Fall 2003.
“Vertical Integration and Agency Costs in the Gasoline Distribution Business.” Working Paper
presented at FTC Hearings on Gasoline Industry, June 2002.

“Why an Original Can Be Better than a Copy: Intellectual Property, the Antitrust Refusal to Deal and
ISO Antitrust Litigation.” With B. Kobayashi. Supreme Court Economic Review, 2001.

“Intellectual Property and Antitrust Limitations on Contract.” With B. Kobayashi. Competition in
Dynamic Economics, Cambridge University Press, J. Ellig, ed., 2011.

“Analysis of Alternative Methods of Forecasting Residential Housing Starts.” Prepared for the US
Department of Housing and Urban Development, 1988.

“Residential Energy Use in North Carolina.” Prepared for the North Carolina Energy Conservation
Group, 1987.

“Michigan Electricity Options Study, Socioeconomic Impact Analysis.” Prepared for the Michigan
Department of Energy, 1987.

“The Effects of Defense Spending on the Texas Economy: An Example of Concave Programming.”
With S. Thore and G. Kozmetsky. Journal of Policy Modeling, 1984.


Testimony, expert reports, and declarations
In Re Broiler Chicken Antitrust Litigation, Civil Action No. 1:16-cv-08637, 2022.

Reorganized FLI, Inc., v. The Williams Companies, Inc. and Dynegy Marketing & Trade, Case No.
2:05- cv- 02389- JAR – GEB, 2021.

In Re Peanut Farmers Antitrust Litigation, No.2:19-cv-00463, 2020.

Leaf Trading Cards, LLC v. The Upper Deck Company, No. 3:17-cv-3200- N. 2019.

First American Title Company, LLC et al. v. Title Data, Inc, et al. Cause No. 2016-69724; 2019.

Amphastar Pharmaceuticals, Inc. v. Momenta Pharmaceuticals, Inc., and Sandoz Inc. Civil Action
No. 1:16-cv-10112-NMG; 2019.
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 580 of 667
                                                      Michelle M. Burtis
Charles River Associates                                                                      Page 3



Branta, LLC Harvest Holdings, Inc., v. Newfield Production Company, Civil Action No. 1:15- cv-
00416- WYD-KLM; 2017.

In Re Western States Wholesale Natural Gas Antitrust Litigation, MDL Docket No. 1566; 2009,
2017.
In Re Cox Enterprises, Inc. Set-top Cable Television Box Antitrust Litigation, and Richard Healy v.
Cox Communications, Inc.; 12-ML-02048-C, 2011, 2015.

Cap Carpet, Inc., v. Future Foam, Inc., et al., Case No. 13-CV-1140-JAR-KGG, 2015.
In Re Optical Disk Drive Products Antitrust Litigation, No 3:10-MD-2143 RS; 2013, 2015.

In Re Processed Egg Products Antitrust Litigation, MDL No. 2002; 2015.

Khurram Shah and Alpina Holdings Inc. v. LG Chem, Ltd., et al. in the Ontario Superior Court of
Justice, CV-13-483540-00CP; 2014.

County of San Mateo v. CSL Limited, et al., 1:11-cv-01468; 2014.

In Re Polyurethane Foam Antitrust Litigation. Case No. 1:10 MD2196; 2013, 2014.

Karen McPeters et al. v. LexisNexis, Civil Action No. 4:11-CV-2056; 2014.


Presentations
“Disgorgement in the Public Interest.” American Bar Association Antitrust Law Spring Meeting,
Washington DC, 2013.
“Antitrust Economic Fundamentals.” American Bar Association Antitrust Law Spring Meeting,
Washington DC, 2008, 2009, 2010, 2011, 2012.

“Antitrust Law & Economics,” Institute for Judges, Washington, DC, 2011.

“Market Definition and Market Power in Technology Markets.” Antitrust Intellectual Property
Conference, Berkeley, California, 2009.

“Expert Presentation for Mock Trial.” American Bar Association Antitrust Litigation Course,
Philadelphia, 2007 and Washington DC, 2009.


Other
ABA Long Range Planning Committee, 2018-2019.

ABA Cartel and Criminal Conduct Committee, Vice Chair and editor of newsletter, 2015-2018.

ABA Energy and Transportation Committee, Vice Chair and editor of newsletter, 2013-2015.
Editor, Market Definition, Antitrust Law Developments, 2003–2004.

Lecturer, Mathematical Economics, Graduate Department of Economics, George Mason University,
2003.
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 581 of 667
                        HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY



                                              Appendix B
                             List of Materials Relied Upon
Academic Sources
Aguirregabiria, Victor, Allan Collard-Wexler, and Stephen P. Ryan, “Dynamic Games in Empirical Industrial
Organization,” in Handbook of Industrial Organization, Vol. 4, No. 1, 2021, pp. 225-343
Anderson, Eric and Duncan Simester, “The Role of Price Endings: Why Stores May Sell More at $49 than $44,”
May 2000, at http://ssrn.com/abstract=232542
Bar-Gill, Oren, “Algorithmic Price Discrimination When Demand Is a Function of Both Preferences and
(Mis)perceptions,” University of Chicago Law Review, Vol. 86, No. 2, 2019, pp. 217-254
Barron, John M. and Gerald J. Lynch, Gerald J., Economics, Third Edition
Berry, Steven T. and Philip A. Haile, “Foundations of Demand Estimation,” in Handbook of Industrial
Organization, Vol. 4, No. 1, Elsevier, 2021, pp. 1-62
Bizer, George Y. and Robert M. Schindler, “Direct Evidence of Ending-Digit Drop-Off in Price Information
Processing,” Psychology & Marketing, Vol. 22, No. 10, 2005, pp. 771-783
Chintagunta, Pradeep. “Investigating category pricing behavior at a retail chain.” Journal of Marketing Research,
Vol. 39, 2002, pp. 141-154
Evans, David S., “The Antitrust Economics of Multi-Sided Platform Markets,” Yale Journal of Regulation, Vol. 20,
2003, pp. 325-381
Foros, Ø., Hans J. Kind, and Tim Wyndham, “Tax-Free Digital News?” International Journal of Industrial
Organization, Vol. 66, 2019, pp.119-136
Ghose, Anindya, and Sang Pil Han, “Estimating Demand for Mobile Applications in the New Economy,”
Management Science, Vol. 60, No. 6, 2014, pp. 1470-1488
Goode, Richard, “The Corporate Income Tax and the Price Level,” American Economic Review, Vol. 35, No. 1,
1945, pp. 40-58
Johnson, John and Greg Leonard, “Rigorous Analysis of Class Certification Comes of Age,” Antitrust Law Journal,
Vol. 77, 2011, pp. 569-586
Reference Manual on Scientific Evidence, National Academies Press, Third Edition, 2011, pp. 429-430
Kind, H.J. and Marko Koethenbuerger, “Taxation in Digital Media Markets,” Journal of Public Economic Theory,
Vol. 20, No. 1, 2018, pp.22-39
Kobayashi, Bruce H. and Joshua D. Wright, “What’s Next in Apple Inc. v. Pepper? The Indirect-Purchaser Rule and
the Economics of Pass-Through,” Cato Supreme Court Review, 2018, pp. 249-269
Lambrecht, Anja, et al., “How do firms make money selling digital goods online?” Marketing Letters, Vol. 25, No.
3, 2014, pp. 331-341
Liobet, Gerard and Jorge Padilla, “The Optimal Scope of the Royalty Base in Patent Licensing,” Journal of Law &
Economics, Vol. 59, No. 1, 2016, pp. 45-73
McAfee, Preston R. and Vera te Velde, “Dynamic Price Discrimination in the Airline Industry,” in T.J. Hendershott,
Handbook on Economics and Information Systems, Vol. 1, Elsevier, 2006
Samuelson, Paul A. “Consumption Theory in Terms of Revealed Preference.” Economica, Vol. 15, No. 60, 1948,
pp. 243-253.
Sand-Zantman, W., “Taxation in the Digital Economy,” Working Paper for the Institut d’Economie Industrielle,
2018

                                                         1
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 582 of 667
                        HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


Schindler, Robert M. and Patrick N. Kirby, “Patterns of Rightmost Digits Used in Advertised Prices: Implications
for Nine-Ending Effects,” Journal of Consumer Research, Inc., Vol. 24, No. 2, 1997, pp.192-201
Sheu, Gloria and Charles Taragin, “Calibrating the AIDS and Multinomial Logit Models with Observed Margins,”
U.S. Department of Justice, Economic Analysis Group Discussion Paper
Shiller, Benjamin Reed, “First-Degree Price Discrimination Using Big Data,” Working Papers 58, Brandeis
University, Department of Economics and International Business School, 2014
Stavins, Joanna, “Price discrimination in the airline market: The effect of market concentration,” The Review of
Economics and Statistics, Vol. 83, No. 1, 2001, pp. 200-202
Stiving, Mark and Russell S. Winer, “An Empirical Analysis of Price Endings with Scanner Data,” Journal of
Consumer Research, Inc., Vol. 24, No. 1, 1997, pp. 57-67
Train, Kenneth E., “Logit,” Discrete Choice Methods with Simulation. Cambridge University Press, 2009, pp. 34-75
Weber, Thomas A., “Delayed Multi-Attribute Product Differentiation,” Decision Support Systems, Vol. 44, 2008,
pp. 447-468


Bates-Numbered Documents
EPIC_GOOGLE_00089350                      GOOG-PLAY-000542244                       GOOG-PLAY-006998204R
EPIC_GOOGLE_01413875                      GOOG-PLAY-000560397                       GOOG-PLAY-007203251
EPIC_GOOGLE_01581798                      GOOG-PLAY-000560564                       GOOG-PLAY-007335783
EPIC_GOOGLE_03978760                      GOOG-PLAY-000561051.R                     GOOG-PLAY-007335784
EPIC_GOOGLE_03979041                      GOOG-PLAY-000565001.R                     GOOG-PLAY-007335785
EPIC_GOOGLE_03983189                      GOOG-PLAY-000565172.R                     GOOG-PLAY-007335786
EPIC_GOOGLE_03986544                      GOOG-PLAY-000565541                       GOOG-PLAY-007335787
EPIC_GOOGLE_04290360                      GOOG-PLAY-000568027                       GOOG-PLAY-007335788
EPIC_GOOGLE_04415004                      GOOG-PLAY-000604733                       GOOG-PLAY-007335789
GOOG-PLAY-000097630                       GOOG-PLAY-001284083.R                     GOOG-PLAY-007335790
GOOG-PLAY-000232540                       GOOG-PLAY-001291192                       GOOG-PLAY-007335791
GOOG-PLAY-000236162                       GOOG-PLAY-001507601                       GOOG-PLAY-007335792
GOOG-PLAY-000237766                       GOOG-PLAY-001507602                       GOOG-PLAY-007335793
GOOG-PLAY-000271389                       GOOG-PLAY-002653782.R                     GOOG-PLAY-007335794
GOOG-PLAY-000286913                       GOOG-PLAY-003331592.R                     GOOG-PLAY-007628059
GOOG-PLAY-000292207.R                     GOOG-PLAY-003331764                       GOOG-PLAY-00737956
GOOG-PLAY-000310705                       GOOG-PLAY-003333689                       GOOG-PLAY-00737958
GOOG-PLAY-000337564                       GOOG-PLAY-003335685                       GOOG-PLAY-00737959
GOOG-PLAY-000355655                       GOOG-PLAY-003335786.R                     GOOG-PLAY-00737961
GOOG-PLAY-000356806.R                     GOOG-PLAY-005535885                       GOOG-PLAY-009903056
GOOG-PLAY-000437819                       GOOG-PLAY-005535886                       GOOG-PLAY-009908838
GOOG-PLAY-000444214.R                     GOOG-PLAY-006817773.R                     GOOG-PLAY-010569450
GOOG-PLAY-000521845                       GOOG-PLAY-006990552                       GOOG-PLAY-010569458
GOOG-PLAY-000541836                       GOOG-PLAY-006990552                       GOOG-PLAY-010801688


                                                          2
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 583 of 667
                        HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


GOOG-PLAY-010801689                      PSB-GOOGLE-0002255                       SEA_GOOGLE_00002124
GOOG-PLAY-0110236932                     SEA_GOOGLE_00002109
GOOG-PLAY2-000483364                     SEA_GOOGLE_00002117


Court and Legal Documents
Cartwright Act (Cal. Bus. & Prof. Code ¶¶ 16700 et seq.)
Complaint, State of Utah et al. v. Google LLC, filed July 7, 2021, Case No. 3:21-cv-05227
Consolidated Second Amended Class Action Complaint, In re Google Play Consumer Antitrust Litigation, filed
December 20, 2021
Epic v. Apple Transcript of Bench Trial Proceedings Day 2, May 4, 2021
Interrogatory No. 6, Peekya App Services, Inc.’s Responses and Objections to Defendants’ First Set of
Interrogatories to App Developer Class Plaintiffs, In Re Google Play Store Antitrust Litigation, November 11, 2021,
Case No. 3:21-md-02981-JD and Case No. 3:20-cv-05792-JD
Response to Interrogatory No. 3, Pure Sweat Basketball, Inc.’s Responses and Objections to Defendants’ First Set of
Interrogatories, In re Google Play Developer Antitrust Litigation, Case No. 3:20-cv-05792-JD, November 19, 2021
Second Amended Consolidated Class Action Complaint In re Google Play Developer Antitrust Litigation, filed
January 21, 2022.
Testimony of Horacio Gutierrez Head of Global Affairs & Chief Legal Officer, Spotify U.S. Senate Judiciary
Committee Subcommittee on Competition Policy, Antitrust, and Consumer Rights April 21, 2021
Unfair Competition Law (Cal. Bus. & Prof. Code ¶¶17200 et seq.)


Depositions (with Exhibits)
Deposition of Adam Sussman, January 7, 2022
Deposition of Alec Shobin, January 26, 2022
Deposition of Alex Iwamoto, February 18, 2022
Deposition of Andrew Grant, December 7, 2021
Deposition of Christian Cramer, January 13 and 14, 2022
Deposition of Christopher Babcock, February 17, 2022
Deposition of Daniel Egerter, January 20, 2022
Deposition of Daniel Scalise, March 11, 2022
Deposition of David Kleidermacher, February 3 and 4, 2022
Deposition of Ed Zobrist, December 16, 2021
Deposition of Eric Chu, December 20, 2021
Deposition of Hans Stolfus, February 11, 2022
Deposition of Haseeb Malik, March 4, 2022
Deposition of Jamie Rosenberg, February 10, 2022
Deposition of Jim Kolotouros, February 2 and 3, 2022
Deposition of Kevin Wang, December 15, 2021
Deposition of Kobi Glick, December 15 and 16, 2021


                                                           3
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 584 of 667
                          HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


Deposition of Lacey Ellis, March 22, 2022
Deposition of Lawrence Koh, December 9, 2021
Deposition of Matthew Atkinson, March 18, 2022
Deposition of Mary Carr, December 21, 2021
Deposition of Mike Marchak, January 12 and 13, 2022
Deposition of Paul Feng, January 14 and 18, 2022
Deposition of Paul Gennai, January 18, 2022
Deposition of Richard Czeslawski, March 21, 2022
Deposition of Sameer Samat, February 2 and 3, 2022
Deposition of Serena Moglia, February 10, 2022
Deposition of Steven Allison, January 26, 2022
Deposition of Tian Lim, December 2, 2021
Deposition of Zachary Palmer, January 21, 2022




Expert Reports
Expert Report of Dr. David. S. Sibley, February 28, 2022, In Re Google Play Developer Antitrust Litigation, Case
No. 3:20-cv-05792-JD
Expert Report of Dr. Hal J. Singer, February 28, 2022, In Re Google Play Consumer Antitrust Litigation, Case No.
3:20-cv-05761-JD and Case No. 3:21-md-02981-JD
Expert Report of Dr. Michael A. Williams, February 28, 2022, In Re Google Play Developer Antitrust Litigation,
Case No. 3:20-cv-05792-JD


Other Sources
All materials referenced in this report, its exhibits, and its production
“A Beginner’s Guide to Mobile Apps,” Lifewire, https://www.lifewire.com/what-are-apps-1616114
Amazon Developer Services Agreement, last updated September 25, 2018,
https://web.archive.org/web/20181026122837/https://developer.amazon.com/support/legal/da
“Apps for Everyone,” Windows, https://www.microsoft.com/en-ca/windows/windows-10-apps
Bank of America, https://promotions.bankofamerica.com/digitalbanking/mobilebanking
“Big Data and Personalized Pricing,” 2015, Council of Economic Advisors Report,
https://obamawhitehouse.archives.gov/sites/default/files/whitehouse_files/docs/Big_Data_Report_Nonembargo_v2.
pdf
“Boosting developer success on Google Play,” Android Developers Blog, March 16, 2021, https://android-
developers.googleblog.com/2021/03/boosting-dev-success.html
Booty, Matt, “Continuing Our PC Gaming Journey 2021 and Beyond,” Xbox, April 29, 2021,
https://news.xbox.com/en-us/2021/04/29/continuing-our-pc-gaming-journey-in-2021-and-beyond/
“Century Games,” LinkedIn, https://www.linkedin.com/company/century-game
“Cost pass-through: theory, measurement, and potential policy implications, A report prepared for the Office of Fair
Trading,” RBB Economics, February 2014

                                                             4
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 585 of 667
                        HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


County of San Diego apps, https://www.sandiegocounty.gov/content/sdc/dmpr/gfx/appcenter/index.html
“Developer Economics,” Roblox, https://developer.roblox.com/en-us/articles/developer-economics
Electronic Arts Inc. Form 10-K, 2020
European Commission Press Release, Antitrust: Commission sends Statement of Objections to Apple on App Store
rules for music streaming providers, Brussels, 30 April 2021
“Evolving our business model to address developer needs,” Android Developers Blog, October 21, 2021,
https://android-developers.googleblog.com/2021/10/evolving-business-model.html
Fingas, Roger, “Apple announces it will offer App Store subscriptions to all apps, take smaller 15% cut,” Apple
Insider, June 8, 2016, https://appleinsider.com/articles/16/06/08/apple-announces-it-will-offer-app-store-
subscriptions-take-smaller-15-cut
“Five Common Operating Systems,” Small Business Chron, https://smallbusiness.chron.com/five-common-
operating-systems-28217.html
“Google Play is lowering its developer fees for app subscriptions,” XDA Developers, October 21, 2021,
https://www.xda-developers.com/google-play-is-lowering-its-developer-fees-for-app-subscriptions/, accessed March
25, 2022
“Google Play Lowers App Subscription Fee to 15 Percent, Matches Apple's Offering,” Gadgets 360, October 20,
2017, https://gadgets.ndtv.com/apps/news/google-play-app-subscription-fee-30-percent-to-XX-XXXXXXX, accessed
November 8, 2021
Kamen, Matt et. al, “Best Switch exclusives to make sure you have in your library,” Gamesradar, accessed January
20, 2022, https://www.gamesradar.com/best-switch-exclusives/
“Listening to Developer Feedback to Improve Google Play,” Android Developers Blog, September 28, 2020,
https://android-developers.googleblog.com/2020/09/listening-to-developer-feedback-to.html
ONE store Introduction, ONE store Corp., January 2020, https://dev.onestore.co.kr/devpoc/static-
res/files/ONEstoreIntro_dev_en.pdf
“Playtime 2017: Find success on Google Play and grow your business with new Play Console features,” Android
Developers Blog, October 19, 2017, https://android-developers.googleblog.com/2017/10/playtime-2017-find-
success-on-google.html
Pure Sweat Basketball, https://web.archive.org/web/20170214231549/https://puresweatbasketball.com/training-app/
Roblox Corp. Form 10-Q, September 30, 2021, at pp. 10, 12-13, https://d18rn0p25nwr6d.cloudfront.net/CIK-
0001315098/ad69fbb0-a7b7-465b-942f-53206ff42303.pdf
Samsung Galaxy terms and conditions 2014,
https://seller.samsungapps.com/notice/getNoticeDetail.as?csNoticeID=0000002677
San Francisco taxi mobile apps, https://www.sfmta.com/taxi-mobile-apps
Sensor Tower, https://app.sensortower.com/android/rankings/top/mobile/us/overall
“Shop,” LittleHoots, https://www.littlehoots.com/shop/p/ftxisgkwjypb7d6v7zgsxrae8saj8l, accessed January 26,
2022
Steamworks Development, Steam Community, November 30, 2018,
https://steamcommunity.com/groups/steamworks/announcements/detail/1697191267930157838, accessed
November 8, 2021
“Top Charts: US – Overall,” SensorTower, https://app.sensortower.com/android/rankings/top/mobile/us/overall
“[Update: Now in effect] Google raises subscription revenue for providers from 70% to 85%, but only for users
retained after 12 months,” Android Police, January 2, 2018, https://www.androidpolice.com/2018/01/02/google-
raises-subscription-revenue-providers-70-85-users-retained-12-months/, accessed November 10, 2021
“What Is an MMO?” Lifewire, https://www.lifewire.com/what-is-an-mmo-4687003, accessed February 24, 2022


                                                         5
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 586 of 667
                         HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


“What Is Internet Security?” McAfee, https://www.mcafee.com/enterprise/en-us/security-
awareness/cybersecurity/what-is-internet-security.html, accessed November 18, 2021
“What is Uptodown?” Uptodown, https://www.uptodown.io/what-s-uptodown, accessed November 17, 2021
“WSJ mobile and tablet apps.” https://store.wsj.com/shop/us/us/wsjuelnsb20/, accessed February 11, 2021
U.S. federal government apps, https://www.usa.gov/mobile-apps
University of Connecticut, https://mobile.uconn.edu/applications/
Zynga Inc. Form 10-K, 2020
https://about.crazygames.com/
https://activision.helpshift.com/a/cod-mobile/?p=all&s=cod-points-credits-and-battle-pass&f=what-are-cod-
points&l=en
https://activision.helpshift.com/a/cod-mobile/?p=all&s=cod-points-credits-and-battle-pass&f=what-is-battle-
pass&l=en
https://bethesda.net/en/store/home
https://bookedin.com/appointment-booking-payment-system-plans-and-pricing/
https://developer.accuweather.com/packages
https://developer.amazon.com/docs/app-submission/migrate-existing-app.html
https://developer.amazon.com/docs/in-app-purchasing/iap-overview.html#what-is-in-app-purchasing-iap
https://developer.android.com/distribute/best-practices/launch/pre-registration
https://developer.android.com/distribute/google-play
https://developer.android.com/distribute/play-billing
https://developer.android.com/studio/publish
https://developer.android.com/topic/google-play-instant/overview
https://developer.apple.com/support/compare-memberships
https://developer.apple.com/programs/video-partner/
https://developer.apple.com/support/enrollment/
https://developers.google.com/android/play-protect/phacategories
https://devices.netflix.com/
https://docs.aws.amazon.com/lumberyard/latest/userguide/lumberyard-intro.html
https://en.aptoide.com/company/about-us
https://evernote.com/compare-plans
https://ezi.am/
https://gadgetstouse.com/blog/2020/10/22/what-are-google-play-points-how-to-use/
https://help.netflix.com/en/node/101653
https://help.pandora.com/s/article/Royalties-and-Spins?language=en_US
https://obamawhitehouse.archives.gov/blog/2015/02/06/economics-big-data-and-differential-pricing
https://play.google.com/about/developer-distribution-agreement.html
https://play.google.com/about/howplayworks/
https://play.google.com/console/about/acquisitionreporting/

                                                          6
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 587 of 667
                        HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


https://play.google.com/console/about/app-bundle-explorer/
https://play.google.com/console/about/closed-testing/
https://play.google.com/console/about/devicecatalog/
https://play.google.com/console/about/internalappsharing/
https://play.google.com/console/about/internal-testing/
https://play.google.com/console/about/keymanagement/
https://play.google.com/console/about/monetize/
https://play.google.com/console/about/opentesting/
https://play.google.com/console/about/partnerprogram/
https://play.google.com/console/about/playgamesservices/
https://play.google.com/console/about/pre-registration/
https://play.google.com/console/about/stats/
https://developers.google.com/android/play-protect
https://play.google.com/console/about/store-listing-experiments/
https://play.google.com/console/about/storelistings/
https://play.google.com/console/about/translationservices/
https://play.google.com/console/about/vitals/
https://play.google.com/store/apps/details?id=com.activision.callofduty.shooter
https://play.google.com/store/apps/details?id=com.aspiro.tidal
https://play.google.com/store/apps/details?id=com.att.callprotect
https://play.google.com/store/apps/details?id=com.bethsoft.DOOM
https://play.google.com/store/apps/details?id=com.budgestudios.googleplay.ThomasAndFriendsMagicalTracks
https://play.google.com/store/apps/details?id=ch.threema.app&hl=en_US&gl=US
https://play.google.com/store/apps/details?id=com.downdogapp
https://play.google.com/store/apps/details?id=com.dragonscapes.global
https://play.google.com/store/apps/details?id=com.facebook.katana
https://play.google.com/store/apps/details?id=fi.reworks.redecor
https://play.google.com/store/apps/details?id=com.footlocker.approved
https://play.google.com/store/apps/details?id=com.infonow.bofa
https://play.google.com/store/apps/details?id=com.illumix.fnafar
https://play.google.com/store/apps/details?id=com.kii.safe
https://play.google.com/store/apps/details?id=com.king.candycrushsaga
https://play.google.com/store/apps/details?id=gov.loc.nls.dtb
https://play.google.com/store/apps/details?id=com.maize.digitalClock
https://play.google.com/store/apps/details?id=com.marvel.unlimited
https://play.google.com/store/apps/details?id=com.mojang.minecraftpe
https://play.google.com/store/apps/details?id=com.nike.ntc

                                                          7
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 588 of 667
                         HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


https://play.google.com/store/apps/details?id=com.nike.omega
https://play.google.com/store/apps/details?id=com.nike.snkrs
https://play.google.com/store/apps/details?id=com.pacific.wildlands
https://play.google.com/store/apps/details?id=com.phone.launcher.android
https://play.google.com/store/apps/details?id=com.pixelberrystudios.choices
https://play.google.com/store/apps/details?id=com.PixelStudio
https://play.google.com/store/apps/details?id=com.thehomedepot
https://play.google.com/store/apps/details?id=com.nytimes.android
https://play.google.com/store/apps/details?id=com.zynga.livepoker
https://play.google.com/store/apps/details?id=fi.reworks.redecor
https://play.google.com/store/apps/details?id=me.lyft.android
https://play.google.com/store/apps/details?id=net.bookedin.bam
https://play.google.com/store/apps/details?id=org.kustom.wallpaper.pro
https://play.google.com/store/apps/details?id=com.raed.sketchbook
https://play.google.com/store/apps/details?id=sts.al
https://play.google.com/store/apps/developer?id=Lowtech+Studios
https://play.google.com/store/apps/details?id=com.sega.sprint
https://play.google.com/store/apps/details?id=com.tayasui.sketches
https://play.google.com/store/apps/details?id=com.symantec.mobilesecurity&hl=en_US
https://play.google.com/store/apps/details?id=com.lookout&hl=en_US&gl=US
https://play.google.com/store/apps/details?id=com.robokiller.app&hl=en_US&gl=US
https://play.google.com/store/apps/details?id=com.nordvpn.android&hl=en_US&gl=US
https://play.google.com/store/apps/details?id=com.symantec.securewifi&hl=en_US&gl=US
https://play.google.com/store/apps/details?id=com.callpod.android_apps.keeper&hl=en_US&gl=US
https://play.google.com/store/apps/details?id=com.antivirus&hl=en_US&gl=US
https://play.google.com/store/apps/details?id=hotspotshield.android.vpn&hl=en_US&gl=US
https://play.google.com/store/apps/details?id=com.avast.android.mobilesecurity&hl=en_US&gl=US
https://publishers.apps.bemobi.com//Opera-Microsoft-FAQ.html
https://seller.samsungapps.com/notice/getNoticeDetail.as?csNoticeID=0000002677
https://seller.samsungapps.com/notice/getNoticeDetail.as?csNoticeID=0000004278
https://slack.com/help/requests/new
https://steamcommunity.com/groups/steamworks/announcements/detail/1697191267930157838
https://store.wsj.com/shop/us/us/wsjuelnsb20/
https://support.google.com/googleplay/android-developer/answer/10532353
https://support.google.com/googleplay/android-developer/answer/10632485
https://support.google.com/googleplay/android-developer/answer/6112435
https://support.google.com/googleplay/android-developer/answer/9306917

                                                         8
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 589 of 667
                         HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


https://support.google.com/googleplay/android-developer/answer/9859673
https://support.google.com/googleplay/answer/2651410
https://support.google.com/paymentscenter/answer/9003744
https://support.tidal.com/hc/en-us/articles/115003662825-Subscription-Types
https://techcrunch.com/2018/12/06/epic-games-store/
https://tinder.com/en-GB/feature/subscription-tiers
https://docs.unity.com/ads/UnityAdsHome.html
https://ubisoftconnect.com/en-US/
https://us.shop.battle.net/en-us
https://www.amazon.com/gp/help/customer/display.html?nodeId=GP96AU3MQ58FMV8U
https://www.androidauthority.com/android-market-google-play-history-754989/
https://www.androidauthority.com/best-sideloaded-apps-android-1155580/
https://www.businessofapps.com/ads/leadbolt/
https://www.centurygames.com/about/
https://www.downdogapp.com/faq
https://www.downdogapp.com/purchase
https://www.epicgames.com/fortnite/en-US/faq
https://www.epicgames.com/fortnite/en-US/mobile/android/get-started
https://www.epicgames.com/fortnite/en-US/vbuckscard
https://www.epicgames.com/site/en-US/epic-games-store-faq
https://www.epicgames.com/store/en-US/news/the-epic-games-store-is-now-live
https://www.facebook.com/audiencenetwork/
https://www.ftc.gov/system/files/documents/reports/privacy-data-security-update-2019/2019-privacy-data-security-
report-508.pdf
https://www.hbomax.com/ways-to-get
https://www.help.tinder.com/hc/en-us/articles/115003356706-How-do-I-create-a-Tinder-account-
https://www.iheart.com/offers/
https://www.investopedia.com/articles/investing/102615/story-instagram-rise-1-photo0sharing-app.asp
https://www.marvel.com/unlimited
https://www.microsoft.com/en-us/store/apps/windows
https://www.minecraft.net/en-us/store/minecraft-android
https://www.mopub.com/en
https://www.myfitnesspal.com/premium?source=menu_bar
https://www.nytimes.com/2015/06/03/technology/instagram-to-announce-plans-to-expand-advertising.html
https://www.origin.com/usa/en-us/store
https://www.pandora.com/plans
https://www.paypal.com/us/business/pricing


                                                          9
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 590 of 667
                         HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


https://www.paypalobjects.com/marketing/ua/pdf/US/en/feepages-080221.pdf
https://www.braintreepayments.com/braintree-pricing
https://stripe.com/pricing
https://squareup.com/us/en/payments/our-fees
https://www.polygon.com/2019/4/5/18295833/epic-games-store-controversy-explained
https://www.prnewswire.com/news-releases/customers-sitting-on-100-billion-of-unredeemed-loyalty-points-
623828294.html
https://www.protocol.com/bulletins/microsoft-store-commission-cut
https://www.sprint.com/companyinfo/history/timeline_02.html
https://www.storemaven.com/academy/how-to-choose-an-app-category/
https://www.theverge.com/2018/11/30/18120577/valve
https://www.voodoo.io/publishing
https://www.wikiwand.com/en/Opera_Mobile_Store
https://www.federalreserve.gov/releases/h10/hist
https://www.xbox.com/en-US/microsoft-store
https://www.disneyplus.com/welcome/stream-now
https://www.microsoft.com/en-us/microsoft-365/onedrive/compare-onedrive-plans
https://myscholly.com/faqs/
https://play.google.com/store/apps/details?id=idle.empire.tycoon.bicoin
https://play.google.com/store/apps/details?id=com.taptapfun.idlebusiness
https://play.google.com/store/apps/details?id=com.gpk.CavemenIdle
https://play.google.com/store/apps/details?id=azon.chips
https://play.google.com/store/apps/details?id=net.lionbird.google.toycity
https://play.google.com/store/apps/details?id=dovi.coalmining.inc
https://play.google.com/store/apps/details?id=de.rki.covpass.app
https://play.google.com/store/apps/details?id=com.bluetick.deepsea
https://play.google.com/store/apps/details?id=com.MadDiamond.EcoRobotics
https://play.google.com/store/apps/details?id=com.kwgames.packagefactory
https://play.google.com/store/apps/details?id=com.HyperMode.GarageLand
https://play.google.com/store/apps/details?id=com.h8games.handicraft
https://play.google.com/store/apps/details?id=com.samsung.android.service.health
https://play.google.com/store/apps/details?id=com.google.android.wearable.healthservices
https://play.google.com/store/apps/details?id=com.aliensidea.houseagent
https://play.google.com/store/apps/details?id=com.adc.tty
https://play.google.com/store/apps/details?id=games.electricmonkeys.idlecompost
https://play.google.com/store/apps/details?id=com.puzzlecorp.daycare.idle.game
https://play.google.com/store/apps/details?id=com.tycoonidledentalclinic.empire


                                                           10
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 591 of 667
                         HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


https://play.google.com/store/apps/details?id=com.jk.and.bar
https://play.google.com/store/apps/details?id=com.hwqgrhhjfd.idlefastfood
https://play.google.com/store/apps/details?id=com.neonplay.casualgolfclubtycoon
https://play.google.com/store/apps/details?id=jp.geeplus.IdleHeroHacker
https://play.google.com/store/apps/details?id=com.survival.builders
https://play.google.com/store/apps/details?id=com.forgegames.idlelaundry
https://play.google.com/store/apps/details?id=com.tbegames.and.best_idle_taps_builder_tycoon
https://play.google.com/store/apps/details?id=com.platypus.games.idle.mosquitoes
https://play.google.com/store/apps/details?id=com.holoboo.idlerescue
https://play.google.com/store/apps/details?id=com.funcell.idleschool
https://play.google.com/store/apps/details?id=com.zrl.shootingparty
https://play.google.com/store/apps/details?id=com.ludigames.android.anmp.idle.siege
https://play.google.com/store/apps/details?id=com.fanshi.zhengjing.skipark
https://play.google.com/store/apps/details?id=com.heatherglade.idlestartupper
https://play.google.com/store/apps/details?id=com.mm.idlemutou
https://play.google.com/store/apps/details?id=com.lehuo.school.an.gp
https://play.google.com/store/apps/details?id=com.montaponta.idleplanecrashsurvival
https://play.google.com/store/apps/details?id=com.Nostrovia.Jonk
https://play.google.com/store/apps/details?id=com.codigames.idle.law.empire.tycoon
https://play.google.com/store/apps/details?id=com.sablostudio.matches.craft.idle.game
https://play.google.com/store/apps/details?id=com.sablostudio.mining.tycoon.idle.game
https://play.google.com/store/apps/details?id=com.gpk.modelagency
https://play.google.com/store/apps/details?id=com.danybons.tavernmaster
https://play.google.com/store/apps/details?id=com.police.tycoon
https://play.google.com/store/apps/details?id=com.adc.iaraft
https://play.google.com/store/apps/details?id=com.warrior.ranchland.gp
https://play.google.com/store/apps/details?id=com.samsung.android.wear.shealth
https://play.google.com/store/apps/details?id=com.gpk.seaexplorers
https://play.google.com/store/apps/details?id=com.google.android.apps.security.securityhub
https://play.google.com/store/apps/details?id=com.somniumgames.roveridle
https://play.google.com/store/apps/details?id=com.metamoki.sushi
https://play.google.com/store/apps/details?id=soft.eac.startup
https://play.google.com/store/apps/details?id=cc.LionStudios.IdleFactory
https://play.google.com/store/apps/details?id=com.levelex.pantheon
https://play.google.com/store/apps/details?id=com.funcell.treesinc
https://play.google.com/store/apps/details?id=com.hg.chuanqi.usedcar
https://play.google.com/store/apps/details?id=com.soul.zhongjianshang

                                                         11
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 592 of 667
                        HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


https://play.google.com/store/apps/details?id=com.google.android.apps.camera.services
https://play.google.com/store/apps/details?id=com.google.android.videos
https://play.google.com/store/apps/details?id=com.privateinternetaccess.android
https://play.google.com/store/apps/details?id=com.cjin.pokegenie.standard
https://play.google.com/store/apps/details?id=com.funanduseful.earlybirdalarm

https://play.google.com/store/apps/details?id=com.asmodeedigital.scythe
https://play.google.com/store/apps/details?id=com.nianticlabs.pokemongo
https://www.alltrails.com/pro?ref=header




                                                        12
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 593 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


                                                  APPENDIX C
                                 DEFINITION OF
                                 DEFINITION OF "U.S."
                                               “U.S.” DEVELOPER
                                                      DEVELOPER
1. Developer Plaintiffs describe their proposed class as:
          “All U.S.
          "All U.S. persons
                    persons or
                             or entities
                                entities that
                                         that paid
                                              paid Google
                                                   Google aa "service
                                                             “service fee” of greater
                                                                      fee" of greater than
                                                                                      than 15%
                                                                                            15% onon any
                                                                                                     any
          paid Android
          paid Android OS
                        OS app
                            app or
                                 or paid
                                    paid in-app
                                          in-app content  (including subscriptions)
                                                 content (including  subscriptions) sold
                                                                                    sold in
                                                                                          in or
                                                                                             or via
                                                                                                via the
                                                                                                    the
          Google Play
          Google Play store,
                       store, in
                              in or
                                 or via
                                    via any
                                        any U.S.
                                             U.S. or
                                                  or foreign  Google Play
                                                     foreign Google        storefront.430
                                                                      Play storefront.43°
2. Developer Plaintiffs have not defined what constitutes a "U.S." developer as it pertains to
   their proposed class definition and how such developers can be identified. Dr. Williams uses
   Google's App-level data to identify putative developer class members.
3. Using a Google dataset is not an appropriate way to identify "U.S." developers because
   Google datasets are at times not consistent. For example, App-level spend data and App
   Catalog data both include developers' country identifiers. However, a comparison of
   developers' country identifiers in the App-level spend data with the location information in
   the App Catalog data431 indicates that out of the 49,387 "U.S." developers in the App-level
   spend data, there are 3,632 (or about 7%) that, in the App Catalog data, are identified with a
   location as some country other than the U.S.432
4. Conversely, there are developers identified as U.S. developers in Google's App Catalog data
   that are not identified as U.S. developers in the App-level spend data.433 Because the App
   Catalog identifies the country of each app, in some cases a developer identified in the App-
   level spend data as a U.S. developer may have apps identified as U.S. apps, non-U.S. apps, or
   a combination of U.S. and non-U.S. apps. Among the 49,387 "U.S." developers in the App-
   level spend data, 81% are identified as U.S. developers in the App Catalog data, and 19% are
   either identified as non-U.S. developers or have no country information in the App Catalog
   data. Exhibit 62 shows these results.
5.




430
430
         Developer Complaint
         Developer Complaint at
                             at ¶244.
                                ¶244.
431
431
         The  App-level spend
         The App-level             data and
                          spend data    and App
                                             App Catalog
                                                   Catalog data
                                                            data do
                                                                 do not
                                                                    not include   the same
                                                                         include the  same unique
                                                                                            unique developer
                                                                                                    developer
identifiers. To
identifiers.  To find   matching developers
                  find matching    developers inin the
                                                   the two
                                                        two datasets,
                                                            datasets, "app
                                                                      “app package
                                                                            package names"
                                                                                      names” are
                                                                                              are matched.
                                                                                                  matched. A A
developer associated
developer   associated with
                         with aa unique
                                 unique set
                                         set of
                                             of app
                                                app package
                                                      package names
                                                               names in   App-level spend
                                                                       in App-level  spend data  is "matched"
                                                                                            data is “matched” toto the
                                                                                                                   the
developer   associated   with  the same   unique  set  of app package   names  in the App  Catalog
developer associated with the same unique set of app package names in the App Catalog data. The App  data.  The App
Catalog data
Catalog  data is
               is aa "snapshot"
                     “snapshot” ofof data
                                     data as
                                          as of
                                             of May
                                                May 5,    2021. Therefore,
                                                       5, 2021.              the App
                                                                 Therefore, the  App Catalog
                                                                                       Catalog data
                                                                                               data does
                                                                                                     does not
                                                                                                           not show
                                                                                                               show
changes in
changes  in app
             app ownership
                   ownership over    time and
                               over time   and for
                                               for that
                                                    that reason,
                                                         reason, does  not provide
                                                                 does not  provide precise
                                                                                    precise matches
                                                                                            matches toto developers
                                                                                                         developers in
                                                                                                                     in
the App-level
the App-level spend
                spend data.
                        data.
432
        See Exhibit 62.
        See Exhibit 62. 5,836 developers, or
                        5,836 developers, or 12%,
                                             12%, have
                                                  have no
                                                       no country information available
                                                          country information available in
                                                                                        in the
                                                                                           the App
                                                                                               App
Catalog data.
Catalog data.
433
433
         See this report’s
         See this          production.
                  report's production.
434
434
         https://www.centurygames.com/about/
         https://www.centurygames.com/about/

                                                                                                                     11
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 594 of 667
                      HIGHLY CONFIDENTIAL —– ATTORNEYS'
                                             ATTORNEYS’ EYES ONLY




                     435

6. On the other hand,                  is identified in the App-level spend data with the country
   code of              . Yet                  has been incorporated in the U.S. since 1982 — first
   in California and later in Delaware — and its principal executive offices are in California.436
7. Whether some of the developers considered "U.S." developers by Dr. Williams and
   Developer Plaintiffs are, in fact, U.S. developers depends on the definition of U.S. developer
   — which was not provided in the proposed class definition.
8. Century Games and Electronic Arts are only examples. Whether one or the other should be
   considered a U.S. developer could depend on criteria that must be collected and assessed on
   an individualized basis.
9. There are additional issues about developers' class definition that must be addressed. In the
   App-level spend data, subsidiary companies of the same parent are identified as separate
   developers. In some cases, a company and its subsidiary may have different country
   locations. For purposes of this report, unless otherwise described, a developer identified in
   the App-level spend data is considered a unique developer and no attempt has been made to
   account for cross-ownership among the developers. Nonetheless, the corporate structure is
   likely important to the identification of at least some prospective members of the putative
   developer class.
10. There also is further ambiguity in the class definition regarding the term "developer." A
    developer could be the creator of the app or the publisher of the app — which, in some cases,
    are different entities.437 If the class definition is intended to refer to creator-developers, then
    some proposed class members would not appear in Google data at all, since only the
    publisher-developers interact with Google. Moreover, the terms of the relationship between
    the publisher-developer and the creator-developer are not available in Google data (or
    generally known by Google) and could imply that reducing the service fee charged to the
    publisher-developer would not affect the creator-developer. If the class definition is
    intended to include creator-developers, individualized analysis would be required not only to
    identify the proposed class member but to determine whether the proposed class member
    could have been impacted by an allegedly high service fee rate. The Developer Plaintiffs'
    class definition refers to "U.S. persons or entities who paid Google a service fee" which


435
435
        Century Games Pte Limited, Century Games Limited, and Century Games Publishing are
developers in the App-level Data used by Dr. Williams with a country code of "U.S."
                                                                             “U.S.” See this report's
                                                                                             report’s
production.
436
436
        Electronic Arts Inc. Form 10-K, 2020, at p. 6
437
437
         See, for example, the developer       , who is an independent creator-developer versus a
publisher-developer such as          who contracts with creators. Both         and          are identified
in Google Play as developers while the developer-creators who contract with           are not identified in
Google Play or in Google Play data. See
https://play.google.com/store/apps/details?id=com.maize.digitalClock; https://ezi.am/;
https://www.voodoo.io/publishing.

                                                                                                          22
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 595 of 667
                HIGHLY CONFIDENTIAL
                HIGHLY CONFIDENTIAL -– ATTORNEYS'
                                       ATTORNEYS’ EYES
                                                  EYES ONLY
                                                       ONLY


would suggest a publisher. But if a publisher-developer passes the fee onto a creator-
developer, it is unclear how these entities fit into the Plaintiffs' definition.




                                                                                         33
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 596 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


                                                     APPENDIX D
        SUMMARY OF
        SUMMARY OF DEVELOPER
                   DEVELOPER TOOLS AND SERVICES
                             TOOLS AND SERVICES IN
                                                IN GOOGLE PLAY
                                                   GOOGLE PLAY
1. This appendix provides a brief summary of services and tools made available to developer
   that use Google Play based on publicly available information and evidence from the record in
   this case. It is not intended to be a comprehensive description of all services available in
   Google Play or to catalogue all facts about those services relevant to the merits of Plaintiffs'
   claims.
2. The services available to all Google Play developers include four categories of services:
   developer publishing tools; developer commerce tools; app discovery; and app distribution.
   These tools are available to all developers, and they are especially valuable to small
   developers who may not have these same types of resources available to them from other
   sources.
3. Google Play provides many tools that enable developers to publish apps for consumers who
   use the diverse set of Android mobile devices. There are tens of thousands of different
   combinations of Android device characteristics relevant to the use of apps — characteristics
   such as the amount of memory, the memory configuration of the device, the CPU, the GPU,
   screen resolution, and others.438 Whether an app will work at all, or will work well, can
   differ across devices and depend on those configurations. Google Play offers tools that
   enable developers to improve app functionality across the diverse set of Android mobile
   devices and to assist in the management and marketing of apps. These include tools used by
   developers prior to the release of the app to test the app by a small group of trusted users or
   by a larger group,439 to reduce the size of the app to save storage space on a consumer device
   and reduce latency that may lead to lower spend on an app,44° and to access and incorporate
   app bundles that contain the elements an app needs to install correctly on mobile devices.441

438
438
         Lim Dep.
         Lim Dep. at
                  at pp.
                     pp. 59, 228.
                         59, 228.
439
439
         https://play.google.com/console/about/closed-testing/;
         https://play.google.com/console/about/closed-testing/;
https://play.google.com/console/about/internal-testing/;
https://play.google.com/console/about/internal-testing/;
https://play.google.com/console/about/opentesting/
https://play.google.com/console/about/opentesting/
440
440
         https://play.google.com/console/about/app-bundle-explorer/
         https://play.google.com/console/about/app-bundle-explorer/
441
441
          https://play.google.com/console/about/internalappsharing. See
          https://play.google.com/console/about/internalappsharing.              also Lim
                                                                            See also   Lim Dep.
                                                                                             Dep. at
                                                                                                   at p.
                                                                                                       p. 63.  Google
                                                                                                          63. Google
offers many
offers  many other
               other publishing
                      publishing tools
                                  tools to
                                         to developers.
                                            developers. See
                                                         See e.g.,
                                                              e.g.,
https://play.google.com/console/about/devicecatalog/ ("device
https://play.google.com/console/about/devicecatalog/         (“device catalog”   that can
                                                                       catalog" that   can be
                                                                                            be used
                                                                                                used to
                                                                                                      to view
                                                                                                         view and
                                                                                                                and
identify  mobile devices
identify mobile    devices that
                            that are
                                 are compatible   with the
                                      compatible with  the app);
                                                            app);
https://play.google.com/console/about/keymanagement/ (security
https://play.google.com/console/about/keymanagement/            (security "keys"
                                                                           “keys” for   publishing the
                                                                                   for publishing    the app);
                                                                                                          app);
https://play.google.com/console/about/pre-registration/ (pre-registration
https://play.google.com/console/about/pre-registration/        (pre-registration which
                                                                                  which allows
                                                                                           allows users
                                                                                                   users to
                                                                                                          to receive
                                                                                                              receive aa
notification   when   the app is available  or to have the app  auto-installed  at launch);
notification when the app is available or to have the app auto-installed at launch);
https://play.google.com/console/about/storelistings/ (help
https://play.google.com/console/about/storelistings/       (help in
                                                                  in creating store listings
                                                                     creating store            that appeal
                                                                                     listings that  appeal toto users);
                                                                                                                users);
https://play.google.com/console/about/store-listing-experiments/ (ways
https://play.google.com/console/about/store-listing-experiments/          (ways for    developers to
                                                                                  for developers    to experiment
                                                                                                        experiment and
                                                                                                                     and
test alternative
test alternative listings);
                  listings); https://play.google.com/console/about/translationservices/
                             https://play.google.com/console/about/translationservices/ (Google (Google Play
                                                                                                           Play allows
                                                                                                                 allows
apps to
apps  to be
         be translated
             translated into
                         into many
                              many languages
                                     languages and
                                                 and offers
                                                     offers automated
                                                            automated translations
                                                                        translations service);
                                                                                       service);
https://play.google.com/console/about/acquisitionreporting/; https://play.google.com/console/about/stats/
https://play.google.com/console/about/acquisitionreporting/;         https://play.google.com/console/about/stats/
(services that
(services  that allow
                allow developers
                        developers toto track
                                        track and
                                              and analyze
                                                  analyze user
                                                           user acquisition
                                                                 acquisition trends);
                                                                             trends);


                                                                                                                       4
                                                                                                                       4
      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 597 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


4. Google Play provides developers with the ability to engage in a myriad of different types of
   paid transactions. Through Google Play Billing, developers are able to efficiently receive
   payments from an international audience.442 Google Play facilitates transactions in over 135
   countries, applying the relevant taxes across numerous different jurisdictions in varying
   different currencies.443 Google Play also provides the means to transact with various
   different forms of payment, including credit cards, debit cards, PayPal, DCB, Google Pay,
   and gift cards used in the countries in which the store is available.444
5. The availability of payment processing services across many countries is important to those
   developers who offer apps available internationally. Among the 49,387 "U.S." developers,
   75% have some sales outside of the U.S. and 37% earn more than 50% of their revenue from
   consumers outside of the U.S.45
6. Google's costs of processing transactions vary across transaction type. The cost of
   processing credit card and PayPal transactions is    , but the cost of processing gift cards is
        and the average cost of DCB is         .446 Since different developers have varying
   mixes of transaction types, Google's cost of processing transactions varies across developers,




https://play.google.com/console/about/playgamesservices/ (Play
https://play.google.com/console/about/playgamesservices/       (Play Game
                                                                       Game Services
                                                                              Services provides
                                                                                         provides game
                                                                                                  game app
                                                                                                        app
developers with
developers   with features
                  features such
                           such as
                                as automatic
                                    automatic sign-in,
                                              sign-in, leaderboards
                                                       leaderboards andand others);
                                                                            others);
https://play.google.com/console/about/vitals/ (Android
https://play.google.com/console/about/vitals/   (Android Vital
                                                           Vital is
                                                                 is aa service
                                                                       service that
                                                                               that allows
                                                                                     allows developers
                                                                                            developers to
                                                                                                        to monitor
                                                                                                           monitor
and improve
and           the technical
    improve the    technical quality of apps
                             quality of apps by
                                             by providing
                                                providing information
                                                           information to to prioritize
                                                                             prioritize and
                                                                                        and debug  issues
                                                                                             debug issues
impacting   users.).
impacting users.).
442
442
         https://developer.android.com/distribute/play-billing ("Google
         https://developer.android.com/distribute/play-billing     (“Google Play
                                                                             Play supports
                                                                                  supports over
                                                                                            over 135
                                                                                                 135 countries
                                                                                                      countries
to buy
to buy and
        and sell
            sell digital
                 digital goods,
                         goods, which
                                which means
                                       means you
                                              you can  sell to
                                                  can sell  to aa global
                                                                  global audience
                                                                         audience without
                                                                                   without collecting separate
                                                                                           collecting separate
payment information
payment   information oror looking
                           looking into regulations in
                                   into regulations in each  country.”). See
                                                       each country.").        also
                                                                           See also
https://support.google.com/googleplay/android-developer/answer/10532353
https://supportgoogle.com/googleplay/android-developer/answer/1                    (publicly available
                                                                         0532353 (publicly   available list
                                                                                                       list of.
                                                                                                            of.
172 "consumer
172  “consumer locations"
                  locations” for which Google
                             for which  Google supports
                                                supports paid
                                                         paid transactions).
                                                                transactions).
443
443
        See https://support.google.com/googleplay/android-developer/answer/9306917
        See https://support.google.com/googleplay/android-developer/answer/93      (showing varying
                                                                             06917 (showing varying
currencies supported
currencies supported by
                      by Google Play).
                         Google Play).
444
444
         https://developer.android.com/distribute/google-play;
         https://developer.android.com/distribute/google-play;
https://support.google.com/googleplay/answer/2651410
https://supportgoogle.com/googleplay/answer/2651410
445
445
          App-level spend
          App-level  spend data,
                            data, Developers,
                                   Developers, GOOG-PLAY-005535885
                                                GOOG-PLAY-005535885 and       and GOOG-PLAY-010801689.
                                                                                    GOOG-PLAY-010801689. See       See
this report’s  production.   Through   Google  Play’s  billing system,  Google   processes  and  pays
this report's production. Through Google Play's billing system, Google processes and pays the fees on  the fees  on
behalf of
behalf  of developers   and manages
           developers and   manages aa payment
                                        payment infrastructure     that makes
                                                  infrastructure that   makes it
                                                                               it easy and safe
                                                                                  easy and safe for
                                                                                                 for consumers
                                                                                                     consumers to to
engage
engage inin transactions.
            transactions. Google
                           Google Play's
                                   Play’s fraud  protection encourages
                                          fraud protection                 consumers to
                                                              encourages consumers     to engage  in transactions.
                                                                                          engage in  transactions.
Google offers
Google   offers chargeback    protection to
                 chargeback protection   to developers;
                                            developers; itit will
                                                             will evaluate chargebacks and
                                                                  evaluate chargebacks   and fight  them on
                                                                                              fight them   on the
                                                                                                              the
developer's behalf
developer's   behalf. In
                       In addition,
                          addition, Google
                                    Google has
                                            has automatic
                                                 automatic fraud
                                                             fraud detection  by using
                                                                    detection by        advanced risk
                                                                                  using advanced   risk modeling
                                                                                                         modeling
and leverages
and  leverages cross-industry
                 cross-industry resources  like the
                                 resources like the worldwide
                                                    worldwide fraud
                                                                  fraud blocklist.
                                                                        blocklist. They   will cancel
                                                                                    They will  cancel any
                                                                                                       any active
                                                                                                            active
orders  associated  with  the same  fraudulent  credit
orders associated with the same fraudulent credit card.card.
https://support.google.com/paymentscenter/answer/9003744.
https://support.google.com/paymentscenter/answer/9003744.
446
446
        See GOOG-PLAY-000337564 at
        See GOOG-PLAY-000337564          at 587. These costs
                                            587. These  costs represent
                                                              represent Google’s cost; it
                                                                        Google's cost; it may
                                                                                          may be
                                                                                               be difficult
                                                                                                  difficult
for developers to
for developers to replicate
                  replicate the
                            the processing
                                processing costs and therefore
                                           costs and therefore developers
                                                               developers who
                                                                          who process
                                                                               process their
                                                                                        their own
                                                                                              own payments
                                                                                                   payments
could have
could have higher  costs than
           higher costs  than Google's.
                              Google’s.

                                                                                                                    55
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 598 of 667
                                             – ATTORNEYS'
                         HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


      and the costs incurred by developers who elected to process their own payments would also
      vary depending on the mix of payment types.447
7. App discovery refers to the way in which consumers become aware of an app. In general,
   developers obtain discovery through app stores, such as Google Play, or by purchasing
   advertising. Google estimated that in 2018, over 76 billion app installs and 32 billion app
   reinstalls were generated through Google Play features that aided consumer discovery of
   apps. 448 Google Play services are especially important to developers who do not have a
   recognized reputation or brand or who do not have the resources necessary to invest in
   advertising and marketing themselves to promote their apps. For some developers, Google
   Play discovery features are a more effective way to obtain consumer installs compared to the
   cost of obtaining installs through advertising.` 49
8. Another important service provided by Google Play is the delivery of the app, and its
   updates, to the consumer's device.450 Google Play delivery is designed to ensure that the app
   is genuine and not malicious, and that the app is not corrupted or damaged through delivery.
   For example, if the installation is interrupted due to loss of data, Google Play will pause the
   installation and resume when data becomes available.451 Google Play Protect is a security
   feature to ensure apps are not malicious. Each day Google Play Protect scans all of the apps
   on Android phones and works to prevent the installation of harmful apps and keep the
   devices and data safe.452
9. Delivery costs vary across apps depending on the size of the app, the number of consumers
   who have installed the app, and the frequency of updates. Thus, changes in app delivery may
   leave some developers — those most dependent on current services — worse off.


447
447
        See  GOOG-PLAY-000337564 at
        See GOOG-PLAY-000337564      at 630 (showing varying
                                        630 (showing varying percentages
                                                             percentages of
                                                                         of payment
                                                                            payment types
                                                                                    types across
                                                                                          across
different categories
different categories of
                     of developers).
                        developers).
448
448
        See GOOG-PLAY-000541836. There
        See GOOG-PLAY-000541836.                are two
                                         There are  two other
                                                        other categories identified in
                                                              categories identified in the
                                                                                       the document:
                                                                                           document: Deep
                                                                                                      Deep
Links, which
Links, which are
             are links
                 links to
                       to the
                          the app
                              app created
                                  created by
                                          by the
                                             the developer
                                                 developer and
                                                           and Other,
                                                                Other, which
                                                                       which are
                                                                              are not
                                                                                  not described
                                                                                       described in
                                                                                                 in the
                                                                                                    the
document.
document.
449
449
         Google Play
         Google  Play also
                       also provides
                             provides the
                                       the opportunity
                                            opportunity for
                                                          for consumers
                                                              consumers to to pre-register
                                                                              pre-register for  an app
                                                                                            for an  app prior
                                                                                                         prior to
                                                                                                               to its
                                                                                                                  its
launch  and receive
launch and  receive notification
                    notification when
                                    when it
                                          it is
                                             is available.
                                                available. See
                                                            See https://developer.android.com/distribute/best-
                                                                https://developer.android.com/distribute/best-
practices/launch/pre-registration. Google
practices/launch/pre-registration.   Google PlayPlay Instant  and the
                                                     Instant and  the Try
                                                                      Try Now
                                                                            Now feature   allows consumers
                                                                                 feature allows    consumers to to try
                                                                                                                   try an
                                                                                                                        an
app without
app  without having
             having to
                     to install  or pay
                         install or pay for
                                        for it.  See https://developer.android.com/topic/google-play-
                                             it. See  https://developer.android.com/topic/google-play-
instant/overview;  https://developer.android.com/distribute/google-play. Through
instant/overview; https://developer.android.com/distribute/google-play.                      Google Play
                                                                                  Through Google       Play Instant,
                                                                                                             Instant,
developers publish
developers  publish an
                    an "instant
                         “instant app"
                                  app” that
                                        that allows
                                              allows consumers
                                                      consumers to to see
                                                                      see aa "demo"
                                                                             “demo” version
                                                                                      version or
                                                                                               or aa "lite"
                                                                                                     “lite” version
                                                                                                            version ofof
the app.
the app. This
          This feature
               feature encourages    consumers to
                        encourages consumers       to try
                                                      try apps,
                                                          apps, which
                                                                which ultimately
                                                                        ultimately leads
                                                                                    leads to
                                                                                           to increased
                                                                                              increased installations
                                                                                                          installations
and revenue
and          generation for
     revenue generation    for developers.    https://developer.android.com/topic/google-play-
                               developers. https://developer.android.com/topic/google-play-
instant/overview.
instant/overview.
450
450
         In
         In its business documents,
            its business documents, Google
                                    Google refers
                                           refers to
                                                  to the
                                                     the delivery of the
                                                         delivery of the app
                                                                         app and
                                                                             and its
                                                                                 its updates
                                                                                     updates as
                                                                                             as
“distribution.”
"distribution."
451
451
         See GOOG-PLAY-000286913 at
         See GOOG-PLAY-000286913 at 917.
                                    917.
452
452
         https://developers.google.com/android/play-protect/phacategories;
         https://developers.google.com/android/play-protect/phacategories;
https://developers.google.com/android/play-protect
https://developers.google.com/android/play-protect


                                                                                                                        66
       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 599 of 667
                                            – ATTORNEYS'
                        HIGHLY CONFIDENTIAL — ATTORNEYS’ EYES ONLY


10. Google also provides customized services to targeted developers. Project Hug offers

                                                         .453 In 2019, Google planned to
      spend over              on developers and estimated that the value of these programs to
      the developers were worth over          .454




453
453
         See GOOG-PLAY-000565172.R at
         See GOOG-PLAY-000565172.R at slides
                                      slides 18-19.
                                             18-19.
454
454
         See  GOOG-PLAY-000237766. Note
         See GOOG-PLAY-000237766.            Note that
                                                    that Hug
                                                         Hug developers   are also
                                                               developers are also considered  Priority Partner
                                                                                   considered Priority  Partner
Program developers
Program   developers andand Alliance
                             Alliance developers.
                                      developers. See    GOOG-PLAY-000521845. Google
                                                    See GOOG-PLAY-000521845.           Google offers
                                                                                               offers other
                                                                                                      other
developers varying
developers   varying levels   of customized
                      levels of              support and
                                 customized support    and solutions.
                                                            solutions. Google's
                                                                       Google’s Priority
                                                                                 Priority Partner
                                                                                          Partner Program
                                                                                                  Program
(“PPP”), Alliance
("PPP"),   Alliance developers,
                    developers, Core
                                  Core developers,
                                        developers, Majors
                                                      Majors developers,
                                                               developers, and
                                                                           and Ecosystem
                                                                               Ecosystem developers
                                                                                            developers are
                                                                                                        are
categories of
categories  of developers
               developers whom
                             whom Google
                                    Google targets
                                            targets and
                                                     and provides
                                                         provides services
                                                                   services to
                                                                            to induce  the developers
                                                                               induce the  developers to
                                                                                                       to build
                                                                                                          build or
                                                                                                                or
maintain relationships
maintain   relationships with
                          with Google
                                Google Play.
                                        Play. Alliance
                                               Alliance and
                                                         and Major
                                                              Major developers   are considered
                                                                     developers are  considered the
                                                                                                 the "most
                                                                                                     “most
critical” developers
critical" developers toto Google
                          Google Play.
                                   Play. These
                                         These developers     obtain customized,
                                                developers obtain    customized, or
                                                                                  or "high
                                                                                     “high touch"
                                                                                            touch” marketing
                                                                                                   marketing and
                                                                                                               and
technical consultation
technical  consultation from    Google, as
                          from Google,   as well
                                            well as
                                                 as other
                                                     other incentives.
                                                           incentives. See
                                                                        See GOOG-PLAY-000232540
                                                                            GOOG-PLAY-000232540 at       at slides
                                                                                                            slides
30, 34.
30,  34.

                                                                                                                 7
                                                                                                                 7
                       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 600 of 667




                                                             Exhibit 1
                              Number of Free and Paid/Subscription/IAP Apps in Google Play

      Active Apps Listed by Any Developer on May 5, 2021
                                Paid/Subscription/IAP Apps                    Free Apps                          All Apps

                              Count           Percentage            Count             Percentage        Count          Percentage
      Non-Game Apps
      Game Apps
      Total

      Apps Listed by Putative Developer Class Members, August 2016 - December 2021
                               Paid/Subscription/IAP Apps                  Free Apps                             All Apps

                              Count           Percentage            Count             Percentage        Count          Percentage
      Non-Game Apps
      Game Apps
      Total

    Notes:
[1] In the top panel, "Paid/Subscription/IAP apps" and "Free Apps" are determined from how the Play App Catalog lists the app. In the
    bottom panel, "Paid/Subscription/IAP apps" are apps that had sales according to the app-level spend data. "Free Apps" include
    completely free apps and free apps with advertising.
[2] Apps are included in the bottom panel only if they appear in any of the four sources between August 2016 and December 2021.
[3] This top panel is based on Android apps in Google Play on May 5, 2021. It omits Android apps not registered in Google Play and the
    breakdown could be different for Apple iOS apps or Microsoft Windows apps.

      Sources:
[1]   App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2]   App-level spend data, Consumers, GOOG-PLAY-005535886 and GOOG-PLAY-010801688
[3]   Global Google Admob Data, GOOG-PLAY-009908838
[4]   Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602




                                                 Highly Confidential – Attorneys’ Eyes Only
                          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 601 of 667




                                                               Exhibit 2
                             Number and Percent of Non-Game Apps that are Free, by Category
                                                       Published Apps as of May 5, 2021



      App Category                       Number of Free Apps              Total Number of Apps             Percent of Apps that are Free
      Education                               359,156                            400,091                               90%
      Business                                306,157                            313,756                               98%
      Tools                                   240,341                            268,208                               90%
      Music & Audio                           242,974                            253,109                               96%
      Entertainment                           225,678                            244,563                               92%
      Lifestyle                               176,847                            189,543                               93%
      Food & Drink                            181,857                            185,315                               98%
      Shopping                                181,168                            183,074                               99%
      Productivity                            162,096                            175,171                               93%
      Books & Reference                       150,059                            171,172                               88%
      Health & Fitness                        131,016                            143,879                               91%
      Personalization                         106,530                            128,598                               83%
      Finance                                 116,763                            122,555                               95%
      Travel & Local                          100,256                            109,492                               92%
      Communication                           91,872                              96,794                               95%
      Social                                  79,261                              86,183                               92%
      News & Magazines                        60,091                              66,765                               90%
      Sports                                  57,907                              66,434                               87%
      Medical                                 55,244                              60,954                               91%
      Maps & Navigation                       46,975                              50,733                               93%
      Photography                             45,140                              49,376                               91%
      Auto & Vehicles                         41,256                              43,501                               95%
      House & Home                            28,404                              29,286                               97%
      Art & Design                            26,773                              29,049                               92%
      Beauty                                  25,655                              26,195                               98%
      Events                                  24,544                              25,030                               98%
      Video Players                           18,752                              21,014                               89%
      Dating                                   8,522                              11,834                               72%
      Libraries & Demo                        10,039                              10,789                               93%
      Weather                                  7,771                              10,069                               77%
      Parenting                                5,638                               6,847                               82%
      Comics                                   5,110                               6,041                               85%
      Transportation                             44                                  46                                96%
      Media & Video                              23                                  24                                96%
      Travel                                      2                                  2                                 100%
      Total Non-Game                         3,319,921                          3,585,492                              93%

      Notes:
[1]   The table includes only active apps. "Free apps" have no paid downloads, no IAPs, and no subscriptions.
[2]   "Free apps" may include apps with advertising.
[3]   Percentages are with respect to the total count of apps in each category.
[4]   Apps with unknown categories are excluded from analysis.

    Source:
[1] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602




                                                     Highly Confidential – Attorneys’ Eyes Only
               Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 602 of 667




                                                       Exhibit 3
                     Number and Percent of Game Apps that are Free, by Category
                                            Published Apps as of May 5, 2021


      App Category                   Number of Free Apps           Total Number of Apps   Percent of Apps that are Free
      Arcade                              66,403                          84,198                      79%
      Casual                              63,865                          81,400                      78%
      Puzzle                              57,968                          78,987                      73%
      Action                              29,608                          42,179                      70%
      Educational                         29,252                          38,306                      76%
      Adventure                           26,768                          35,845                      75%
      Simulation                          21,083                          31,843                      66%
      Trivia                              16,874                          20,909                      81%
      Board                               12,091                          16,316                      74%
      Role Playing                         7,131                          15,978                      45%
      Word                                 9,836                          14,539                      68%
      Racing                              10,121                          14,415                      70%
      Strategy                             8,635                          14,403                      60%
      Card                                 8,108                          12,820                      63%
      Sports                               8,550                          12,157                      70%
      Casino                               5,153                           9,224                      56%
      Music                                4,807                           6,078                      79%
      Total Game                          386,253                         529,597                     73%

      Notes:
[1]   The table includes only active apps. "Free apps" have no paid downloads, no IAPs, and no subscriptions.
[2]   "Free apps" may include apps with advertising.
[3]   Percentages are with respect to the total count of apps in each category.
[4]   Apps with unknown categories are excluded from analysis.

    Source:
[1] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602




                                            Highly Confidential – Attorneys’ Eyes Only
                    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 603 of 667




                                                   Exhibit 4
                              Percent of Apps and Consumer Spend with Subscriptions or IAPs
                                                    August 2016 - December 2021

                                                                                  Subscriptions and IAPs as a   Subscriptions and IAPs as a
                                                  Percentage of Apps With          Percentage of Consumer       Percentage of Google Play
                                                    Subscriptions or IAPs                   Spend                      Service Fees
    Proposed Developer Class Members                                        43%                           99%                           99%
    Proposed Consumer Class Members                                         54%                           99%                            N/A


    Sources:
[1] App-level Spend Data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] App-level Spend Data, Consumers, GOOG-PLAY-005535886 and GOOG-PLAY-010801688




                                         Highly Confidential – Attorneys’ Eyes Only
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 604 of 667




                                                    Exhibit 5
                        Range of Promotion Amounts in Play Store Transactions
                                                August 2016 - July 3, 2021

                                         Min Amount ($)           Max Amount ($)       Min % Discount   Max % Discount
             All Promos (Pre-Tax)            $0.01                   $399.99               0.11%            100%
              Developer Promos               $0.10                   $399.99               0.95%            100%
                Google Promos                $0.01                   $239.00               0.11%            100%
                   List Prices               $0.05                   $399.99

      Notes:
[1]   Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test
      instruments are excluded.
[2]   List Price is price_per_unit_pre_tax_micros and Net Price is sale_revenue_pre_tax_micros, adjusted for
      quantity. Developer promotion is the amount from Partner (Developer) to Buyer. Google promotion is amount
      from Google to Buyer.
[3]   The promo amount is defined as (List Price - Net Price).
[4]   Developer and Google promotion amounts are observed separately in the data only on a post-tax basis.

    Source:
[1] Google Transactions Data, GOOG-PLAY-007203251




                                          Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 605 of 667



                                     Exhibit 6
           Promotions by Number of Months with Transactions
                                August 2016 - July 3, 2021

                                                 Count of Unique        Cumulative
                                                   Promotions            Percent
        1 Month or less                              644,912               60%
        2 to 5 Months                                305,919               89%
        6 to 12 Months                                76,793               96%
        13 to 24 Months                               29,593               99%
        25 to 36 Months                               8,511               99.8%
        More than 36 Months                           1,715               100%
        Total                                       1,067,443             100%

         Notes:
     [1] Transactions are charged, delivered, in USD, not refunds and pre-tax
         price per unit greater than $0. Test instruments are excluded.
     [2] Unique promotions are defined as a unique combination of product ID,
         list price, net price, and discount amount.

         Source:
     [1] Google Transactions Data, GOOG-PLAY-007203251




                           Highly Confidential – Attorneys’ Eyes Only
          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 606 of 667




                                                   Exhibit 7

    Developers with Free or Paid/Subscription/IAP Apps in Google Play App Catalog
                                             Snapshot as of May 5, 2021


                 Developers with:                           Count of Developers       Percent of Developers
   Only Free Apps                                                         1,191,800                       87%
   Free and Paid/Subscription/IAP Apps                                       75,495                        6%
   Only Paid/Subscription/IAP Apps                                           94,844                        7%
   Total                                                                  1,362,139                      100%

    Notes:
[1] “Free Apps" may include apps with advertising.
[2] Developer counts based on the Play Catalog's developer account IDs associated with active apps.

    Source:
[1] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602




                                         Highly Confidential – Attorneys’ Eyes Only
                                           Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 607 of 667




                                                                              Exhibit 8
                                                                     Deal Developers by Program
                                                                                       2021

      Program               Putative Developer Class Members                  Count                               Other Developers   Count




      LRAP                                                                      25                                                    20




      LRAP++                                                                     1                                                     1




      SwG                                                                       18                                                    81




      ADAP                                                                       2                                                     3



      Project
                                                                                 6                                                    14
      Hug/GVP



    Notes:
[1] A deal developer is defined as being in the putative class if it appears in the App-level spend data, Developers.
[2]                      and                                    are in both SwG and LRAP.
[3]                                                   , and              have foreign entities as well.
[4] "U.S." and foreign entities are listed for developer with both.

      Sources:
[1]   App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2]   App-level spend data, Consumers, GOOG-PLAY-005535886 and GOOG-PLAY-010801688
[3]   GOOGLE-PLAY-001291192; GOOG-PLAY-000237766; Marchak Deposition Exhibit 370
[4]   See this report's production for Bates numbers of deal contracts and app package names.




                                                                 Highly Confidential – Attorneys’ Eyes Only
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 608 of 667



                                                 Exhibit 9
                    Putative Developer Class Members By Consumer Spend
                                       August 2016 - December 2021

                                                 Number of
   Global Consumer Spend                         Developers                        Percent   Cumulative Percent
   $0 or less                                       449                               1%             1%
   >$0 to $100                                     26,486                            54%            55%
   >$100 to $1,000                                 9,356                             19%            73%
   >$1,000 to $10,000                              6,916                             14%            87%
   >$10,000 to $100,000                            3,745                              8%            95%
   >$100,000 to $1,000,000                         1,672                              3%            98%
   >$1,000,000 to $10,000,000                       546                               1%          99.6%
   >$10,000,000 to $100,000,000                     170                             0.3%          99.9%
   >$100,000,000                                     47                             0.1%           100%
   Total                                           49,387                           100%           100%

    Notes:
[1] Consumer spend includes all sales from paid downloads, subscriptions, and IAPs.
[2] Apps may have net negative consumer spend due to refunds or promotions.

    Source:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689




                                      Highly Confidential – Attorneys’ Eyes Only
                Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 609 of 667




                                                      Exhibit 10
             Comparison of Putative Developer Class Members, Dr. Williams and Dr. Burtis

                                                               Dr. Williams               Dr. Burtis
   Class Period
   Number of Developers
   Developers' Final Consumer Spend
   Final Google Revenue

    Note:
[1] The collapsed cleaned versions of the data from each respective expert is used.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] Williams backup




                                             Highly Confidential – Attorneys’ Eyes Only
                                                         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 610 of 667




                                                                                        Exhibit 11
                                         Putative Developer Class Members by App Characteristics, Monetization Type and Consumer Spend

                                                                                 Aug 2016 - Dec 2021   2016 (Aug - Dec)      2017       2018          2019          2020          2021
                                                                                   Count Percent       Count Percent Count Percent Count Percent Count Percent Count Percent Count Percent
      Number of Paid/Subscription/IAP Apps                                        132,593              57,345           77,373     68,210        50,185        46,772        47,700
      Number of Putative Developer Class Members                                  49,387     100%      19,863 100% 25,669 100% 25,174 100% 19,621 100% 19,995 100% 21,687 100%
       Putative Developer Class Members Using:
        In-App Purchases                                                           19,695      40%     6,317     32%      8,424    33%     8,510    34%     8,264    42%     8,310    42%     8,656    40%
        Paid Downloads                                                             26,490      54%     14,078    71%     17,695    69%    16,284    65%     9,856    50%     8,999    45%     8,212    38%
        Subscriptions                                                              10,820      22%     1,757      9%      2,695    10%     3,557    14%     4,505    23%     5,824    29%     8,077    37%
        Both Paid Downloads and IAPs/Subscriptions                                  3,998       8%     1,621      8%      2,104    8%      1,915    8%      1,554    8%      1,380    7%      1,236    6%
       Putative Developer Class Members with Sales of:
        Non-Game Apps Only                                                         33,140      67%     14,453    73%     18,245    71%    18,160    72%    13,829    70%    14,347    72%    15,658    72%
        Game Apps Only                                                             14,083      29%     4,665     23%      6,272    24%     6,075    24%     5,175    26%    5,120     26%    5,493     25%
        Both Non-Game & Game Apps                                                   2,164       4%      745       4%      1,152    4%       939     4%       617     3%      528      3%      536      2%
       Putative Developer Class Members with Annual Spend < $99                    28,039      57%     11,208    56%     16,591    65%    15,980    63%    10,315    53%    10,304    52%    10,194    47%
       Putative Developer Class Members with Annual Service Fees < $99             33,334      67%     13,764    69%     19,178    75%    18,540    74%    12,615    64%    12,597    63%    12,904    60%

      Notes:
[1]   Total developer counts are less than the sum of each individual year because developers may have multiple monetization types or sales transactions over multiple years.
[2]   In Aug 2016 - Dec 2021, the number of putative class developers with consumer spend or service fees of less than $99 includes those developers who earned less than $99 in every year they had sales
      transactions over the class period.
[3]   Number of putative class developers with consumer spend or service fees of less than $99 calculates annual spend or service fees for 2016 but only includes developers with sales in the class period,
      August 2016 - December 2021.
[4]   When a developer puts an app on Google Play they have to pay a $25 fee. This fee is seen as revenue during their first year. The first year is determined by the Catalog Data or the App-level spend
      data, whichever is seen first.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602




                                                                          Highly Confidential – Attorneys’ Eyes Only
                                                  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 611 of 667



                                                                                 Exhibit 12

                                                       Percentage of Putative Developer Class Members
                                                                Offering Different Numbers of
                                                                 Paid/Subscription/IAP Apps
                                                                August 2016 ‐ December 2021
                                                 80%


                                                        70%
                                                 70%
Percentage of Putative Developer Class Members




                                                 60%



                                                 50%



                                                 40%



                                                 30%



                                                 20%
                                                                14%

                                                                          9%
                                                 10%

                                                                                          3%
                                                                                                         1.6%        0.7%     0.4%    0.2%
                                                 0%
                                                       1 App   2 Apps 3‐5 Apps          6‐10           11‐20         21‐40   41‐100   101+
                                                                                        Apps           Apps          Apps     Apps    Apps

Source: App‐level spend data, Developers, GOOG‐PLAY‐005535885 and GOOG‐PLAY‐010801689




                                                                        Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 612 of 667



                               Exhibit 13




                      Highly Confidential – Attorneys’ Eyes Only
                     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 613 of 667




                                                          Exhibit 14
                Top 30 Putative Developer Class Members Accounting for 75% of Consumer Spend
                                               2021 by Developer Parent Groups ($ in millions)

                                                                                                                    Cumulative Percent
    Developer                                                   Rank       Consumer Spend        Percent of Spend       of Spend




            n




    Notes:
[1] Parent - Subsidiary relationship is as of December 2021.
[2] Putative class parent groups only include the putative class subsidiary developers of the parent group.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602
[3] Public internet sources, May 25th, 2021 - March 3rd, 2022




                                                 Highly Confidential – Attorneys’ Eyes Only
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 614 of 667



                                         Exhibit 15
         Putative Developer Class Members Offering Apps with Ads
                              August 2016 - December 2021

                                                             Count of Developers   % of Developers
   Developer has NO apps with Ads                                  16,733                34%
   Developer has at least one app with Ads                         32,654                66%
   All Developers                                                  49,387               100%


    Notes:
[1] A developer has advertising if he has an app identified in the App Catalog as including
    advertising.
[2] If the developer does not have an app in the App Catalog, it is assumed there are no ads.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602




                                Highly Confidential – Attorneys’ Eyes Only
                    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 615 of 667




                                                       Exhibit 16
         Example of Putative Developer Class Members Apps with Varying Effective Service Fee Rates
                                                    August 2016 – December 2021

                                                                                                        Observed       Effective
                                                                              Consumer     AdMob       Service Fee    Service Fee
   Developer Name                       App Name                                Spend      Earnings       Rate           Rate




    Notes:
[1] AdMob earnings are net of revenue shares.
[2] These Android apps were found only on Google Play Store and not on other Android app stores that AdMob supports as of Dec 13,
    2021.
[3] Service fee rates use pre-tax revenue and spend amounts.
[4] The app "Senior Safety Phone - Big Icons Launcher" changed its app package name around 2018. Both app packages are included.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] Global Google Admob Data, GOOG-PLAY-009908838
[3] Google Play; Amazon App Store; Samsung Galaxy Store, VIVO App Store; OPPO App Store, Xiaomi GetApps, and
    https://support.google.com/admob/answer/10037806, accessed December 13, 2021




                                              Highly Confidential – Attorneys’ Eyes Only
                Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 616 of 667




                                                     Exhibit 17
                                       Relative Size of Deal Developers, 2021
                               Counts and spend associated with apps enrolled in deal programs


                                    Number of Putative          Percentage of Putative                   Percentage of
                                     Developer Class           Developer Class Members'   Number of      U.S. Consumer
               Program                 Members                      Spend in 2021         Developers     Spend in 2021




      Notes:
[1]                                                           are in both SwG and LRAP.
[2]                                                                   have non-US entities.
[3] All of the developer's apps are included for GVP/Project Hug developers. Only subscription apps in the deals are
    included for developers' spend in the other programs.

      Sources:
[1]   App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2]   App-level spend data, Consumers, GOOG-PLAY-005535886 and GOOG-PLAY-010801688
[3]   GOOGLE-PLAY 001291192; Marchak Deposition Exhibit 370
[4]   See this report's production for Bates numbers of deal contracts and app package names.




                                            Highly Confidential – Attorneys’ Eyes Only
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 617 of 667




                                         Exhibit 18
            Top Putative Developer Class Members Accounting for 90% of Service Fees
                              2021 by Developer Parent Groups ($ in millions)

                                                                                Percent of Service   Cumulative Percent
Developer                                      Rank          Service Fees             Fees             of Service Fees
                                                 1
                                                 2
                                                 3
                                                 4
                                                 5
                                                 6
                                                 7
                                                 8
                                                 9
                                                10
                                                11
                                                12
                                                13
                                                14
                                                15
                                                16
                                                17
                                                18
                                                19
                                                20
                                                21
                                                22
                                                23
                                                24
                                                25
                                                26
                                                27
                                                28
                                                29
                                                30
                                                31
                                                32
                                                33
                                                34
                                                35
                                                36
                                                37
                                                38
                                                39
                                                40
                                                41
                                                42
                                                43
                                                44
                                                45
               .                                46
                                                47




                                Highly Confidential – Attorneys’ Eyes Only
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 618 of 667




                            Exhibit 18 (Continued)
            Top Putative Developer Class Members Accounting for 90% of Service Fees
                              2021 by Developer Parent Groups ($ in millions)

                                                                                Percent of Service   Cumulative Percent
Developer                                      Rank          Service Fees             Fees             of Service Fees
                                                48
                                                49
                                                50
                                                51
                                                52
                                                53
                                                54
                                                55
                                                56
                                                57
                                                58
                                                59
                                                60
                                                61
                                                62
                                                63
                                                64
                                                65
                                                66
                                                67
                                                68
                                                69
                                                70
                                                71
                                                72
                                                73
                                                74
                                                75
                                                76
                                                77
                                                78
                                                79
                                                80
                                                81
                                                82
                                                83
                                                84
                                                85
                                                86
                                                87
                                                88
                                                89
                                                90
                                                91
        .                                       92
             .                                  93
                                                94




                                Highly Confidential – Attorneys’ Eyes Only
                     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 619 of 667




                                             Exhibit 18 (Continued)
                      Top Putative Developer Class Members Accounting for 90% of Service Fees
                                               2021 by Developer Parent Groups ($ in millions)

                                                                                                 Percent of Service   Cumulative Percent
    Developer                                                   Rank          Service Fees             Fees             of Service Fees
                                                                 95
                                                                 96
                                                                 97
                                                                 98
                                                                 99
                                                                100
                                                                101
                                                                102
                                                                103
                                                                104
                                                                105
    All Other Putative Class Developers
    Total

    Note:
[1] Parent - subsidiary relationship is as of December 2021. Parent groups include only putative class subsidiary developers. The original
    developer name is shown if there is only one developer in the parent group in the 2021 app-level data.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602
[3] Public internet sources, May 25th, 2021 - March 3rd, 2022




                                                 Highly Confidential – Attorneys’ Eyes Only
                  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 620 of 667




                                             Exhibit 19
            Top Putative Developer Class Members Accounting for 90% of Service Fees
                                          August 2016 - December 2021

                                                                                  Percentage of   Cumulative Percentage of
Developer                             Rank       Consumer Spend    Service Fees    Service Fees        Service Fees
                                        1    $
                                        2    $
                                        3    $
                                        4    $
                                        5    $
                                        6    $
                                        7    $
                                        8    $
                                        9    $
                                       10    $
                                       11    $
                                       12    $
                                       13    $
                                       14    $
                                       15    $
                                       16    $
                                       17    $
                                       18    $
                                       19    $
                                       20    $
                                       21    $
                                       22    $
                                       23    $
                                       24    $
                                       25    $
                                       26    $
                                       27    $
             .                         28    $
                                       29    $
                                       30    $
                                       31    $
                                       32    $
                                       33    $
                                       34    $
                                       35    $
                                       36    $
     .                                 37    $
                                       38    $
                                       39    $
                                       40    $
                                       41    $
                                       42    $
                                       43    $
                                       44    $
                                       45    $
                                       46    $
                                       47    $
                                       48    $
                                       49    $
                                       50    $
                                       51    $
                                       52    $
                                       53    $
                                       54    $
                                       55    $
                                       56    $
                                       57    $
                                       58    $
                                       59    $
                                       60    $




                                 Highly Confidential – Attorneys’ Eyes Only
                                        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 621 of 667




                                                    Exhibit 19 (Continued)
                                  Top Putative Developer Class Members Accounting for 90% of Service Fees
                                                                August 2016 - December 2021

                                                                                                        Percentage of   Cumulative Percentage of
Developer                                                   Rank       Consumer Spend    Service Fees    Service Fees        Service Fees
                                                             61    $
          .                                                  62    $
      .                                                      63    $
                                                             64    $
                                                             65    $
                                                             66    $
                                                             67    $
                                                             68    $
                                                             69    $
          .                                                  70    $
                                                             71    $
                                                             72    $
                                                             73    $
                                                             74    $
                                                             75    $
                                                             76    $
                                                             77    $
                          .                                  78    $
                                                             79    $
                                                             80    $
                                                             81    $
                                                             82    $
                                                             83    $
                                                             84    $
                                                             85    $
                                                             86    $
                                                             87    $
                  e                                          88    $
                                                             89    $
                                                             90    $
                                                             91    $
                      .                                      92    $
                                                             93    $
                                                             94    $
                                                             95    $
                                                             96    $
                                                             97    $
                                                             98    $
                                                             99    $
              y                                             100    $
                                                            101    $
                                                            102    $
                                                            103    $
                                                            104    $
                                                            105    $
                                                            106    $
                                                            107    $
                                                            108    $
                                                            109    $
                                                            110    $
                                                            111    $
                                                            112    $
                                                            113    $
                              .                             114    $
                                                            115    $
                                                            116    $
                                                            117    $
                                                            118    $
                                                            119    $
                                                            120    $




                                                       Highly Confidential – Attorneys’ Eyes Only
                                      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 622 of 667




                                                      Exhibit 19 (Continued)
                            Top Putative Developer Class Members Accounting for 90% of Service Fees
                                                                    August 2016 - December 2021

                                                                                                           Percentage of   Cumulative Percentage of
   Developer                                                    Rank       Consumer Spend   Service Fees    Service Fees        Service Fees
                                                                121    $
                                                                122    $
                        .                                       123    $
                                                                124    $
                                                                125    $
                                                                126    $
                                                                127    $
                                                                128    $
                                                                129    $
                                                                130    $
                                                                131    $
                                                                132    $
                                                                133    $
                                                                134    $
                                                                135    $
                                                                136    $
                                                                137    $
                                                                138    $
                                                                139    $
                                                                140    $
                                                                141    $
                                                                142    $
                                                                143    $
                                                                144    $
                                                                145    $
                                                                146    $
                                                                147    $
                                                                148    $
                                                                149    $
                                                                150    $
                                                                151    $
                                                                152    $
                                                                153    $
                                                                154    $
                                                                155    $
                                                                156    $
                                                                157    $
   All Other Putative Class Developers                                 $
   Total                                                               $

    Note:
[1] Consumer spend and service fees are from worldwide consumers during the class period.

    Source:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689




                                                          Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 623 of 667



                                      Exhibit 20
    Number of U.S. Consumers and Number of Apps with Sales to U.S.
                             Consumers
                                            Number of U.S.                Number of Apps with Sales to
                 Year                        Consumers                         U.S. Consumers
                 2016                        31,124,726                            187,418
                 2017                        32,689,639                            197,347
                 2018                        35,855,542                            188,392
                 2019                        38,635,466                            161,517
                 2020                        44,425,106                            158,099
                 2021                        36,619,126                            136,159
          Aug 2016 - Dec 2020                83,850,236                            378,642
         Aug 2016 - July 3, 2021             92,329,268                            404,325

    Notes:
[1] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit
    greater than $0. Test instruments are excluded.
[2] Unique apps are counted from apps with in-app purchases, in-app subscription, or paid
    download sales.
[3] Each consumer is identified in the data with a "hashed purchase initiator Google ID."

    Source:
[1] Google Transactions Data, GOOG-PLAY-007203251




                             Highly Confidential – Attorneys’ Eyes Only
  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 624 of 667



                                          Exhibit 21
             Number of Apps from which U.S. Consumers Purchase
                                   August 2016 – July 3, 2021

                                          Number of                   Percent of   Cumulative Percent
           Number of Apps
                                          Consumers                   Consumers      of Consumers
             Only 1 App                   37,690,509                     41%              41%
               2 Apps                     15,369,289                     17%              57%
               3 Apps                      8,932,225                     10%              67%
               4 Apps                      5,921,644                      6%              74%
               5 Apps                      4,240,558                      5%              78%
               6 Apps                      3,177,880                      3%              82%
               7 Apps                      2,468,276                      3%              84%
               8 Apps                      1,962,423                      2%              86%
               9 Apps                      1,594,409                      2%              88%
              10 Apps                      1,313,045                      1%              90%
           >10 to 50 Apps                  9,101,126                     10%              99%
          >50 to 100 Apps                   468,283                      0.5%            99.9%
         More than 100 Apps                  89,601                      0.1%            100%
                Total                     92,329,268                    100%             100%

    Notes:
[1] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater
    than $0. Test instruments are excluded.
[2] App purchases include paid downloads, subscriptions, and IAP sales.

    Source:
[1] Google Transactions Data, GOOG-PLAY-007203251




                                 Highly Confidential – Attorneys’ Eyes Only
                               Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 625 of 667




                                                                  Exhibit 22
                Summary of Named Consumer Plaintiffs' Installed Apps and Paid/Subscription/IAP App Purchases
                                                                  August 2016 – October 2021



      Paid/Subscription/IAP Apps Installed
        Paid/Subscription/IAP Installed with Purchases
      Free Apps Installed
      Apps with Ads Installed
      All Apps Installed
      Number of App Categories, All Installed Apps
        Game App Categories
        Non-Game App Categories
      Total Consumer Spend During Class Period

      Range of Prices Paid



      Device Maker(s)




     Notes:
 [1] Only apps that were last updated by the plaintiffs in August 2016 or later are counted as installed.
 [2] Consumer spend from July 3, 2021 to October 2021 for                   based on purchase history data rather than transactions data.
 [3] A "paid/subscription/IAP app" is an app that has a paid app download and/or offers in-app purchases (in-app monetizations or subscriptions)
     through the Google Play Store. A "free app" is free to download and does not offer in-app purchases through the Google Play Store.
 [4] Information about monetization strategy and app category could not be found for 19 apps that the plaintiffs downloaded after July 2021.
 [5] Pre-installed apps are excluded from installed app counts. All cell carrier-, device OEM-, and Google-owned apps are assumed to be pre-installed
     unless the plaintiffs made purchases from them.
 [6] A "purchase" is a transaction of a Google Play App that is charged, delivered, not refunded or canceled, and whose price is greater than zero. Only
     transactions made in August 2016 or later are included. Test instruments are excluded.
 [7] Prices and consumer spend are post-tax.
 [8] Transaction amounts made in Euros are converted to USD using the exchange rate from the day on which the transaction occurred.
 [9] Devices are identified based on the device makes and models reported in GOOG-PLAY-007203251 for transactions made during the class period
     and on the makes and models reported in the install data for apps installed during the class period.
[10] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are excluded.

      Sources:
[1]   Install Data for Named Plaintiffs, GOOG-PLAY-010569458, GOOG-PLAY-007335783, GOOG-PLAY-007335784, GOOG-PLAY-007335785, GOOG-PLAY-
      007335786, GOOG-PLAY-007335787, GOOG-PLAY-00737956, GOOG-PLAY-00737961, and GOOG-PLAY-007335788
[2]   Transactions Data for Named Plaintiffs, GOOG-PLAY-007335789, GOOG-PLAY-007335790, GOOG-PLAY-007335791, GOOG-PLAY-007335792, GOOG-
      PLAY-007335793, GOOG-PLAY-007335794, GOOG-PLAY-00737958, and GOOG-PLAY-00737959
[3]   Purchase History Data for Named Plaintiffs, GOOG-PLAY-010569450
[4]   Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602
[5]   Google Transactions Data, GOOG-PLAY-007203251
[6]   Google Play Store (accessed October 28, 2021)
[7]   Federal Reserve Board of Governors, "Foreign Exchange Rates - H.10", https://www.federalreserve.gov/releases/h10/hist/




                                                         Highly Confidential – Attorneys’ Eyes Only
                 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 626 of 667




                                                       Exhibit 23
                                Distribution of Dollars Spent Across U.S. Consumers
                                                      August 2016 - July 3, 2021

                                                                Percent of             Cumulative Percent   Cumulative Percent of
    Consumer Spend              Number of Consumers
                                                                Consumers                of Consumers              Spend
    Less than $5
    $5 - <$10
    $10 - <$25
    $25 - <$50
    $50 - <$100
    $100 - <$200
    $200 - <$300
    $300 - <$400
    $400 - <$500
    $500 - <$1,000
    $1,000 - <$2,000
    $2,000 - <$5,000
    $5,000 - <$10,000
    $10,000 - <$20,000
    $20,000 - <$50,000
    $50,000 - <$100,000
    $100,000 or More
    All Consumers

    Notes:
[1] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are
    excluded.
[2] Sales revenue (sale_revenue_pre_tax_micros) for each consumer is aggregated across the time period.

    Source:
[1] Google Transactions Data, GOOG-PLAY-007203251




                                              Highly Confidential – Attorneys’ Eyes Only
            Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 627 of 667




                                                    Exhibit 24
                               Number of Purchases Made by U.S. Consumers
                                                 August 2016 – July 3, 2021


                                        Number of              Percent of          Cumulative Percent   Number of Apps
        Number of Purchases
                                        Consumers              Consumers             of Consumers       Purchased From

               1 Purchase               19,628,465                  21%                   21%              154,861
              2 Purchases                9,168,867                  10%                   31%              142,744
              3 Purchases                6,081,287                  7%                    38%              135,163
              4 Purchases                4,576,431                  5%                    43%              129,918
         5 or More Purchases            52,874,218                  57%                  100%              386,995
          All U.S. Consumers            92,329,268                 100%                  100%              404,325

    Notes:
[1] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test
    instruments are excluded.
[2] App purchases include paid downloads, subscriptions, and IAP sales.

    Source:
[1] Google Transactions Data, GOOG-PLAY-007203251




                                          Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 628 of 667




                          Exhibit 25




                 Highly Confidential – Attorneys’ Eyes Only
                                                Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 629 of 667




                                                                               Exhibit 26
                                         Number of Putative Developer Class Members by Service Fee Rate Category by Year
                                                                                       2017 – 2021
                                                                         Among Developers with Service Fee Rate >0%

                                                2017                          2018                          2019                          2020                          2021
   Service Fee Rate                      Number    Percentage          Number    Percentage          Number    Percentage          Number    Percentage          Number    Percentage




   All Developers

Notes:
[1] A developer's weighted-average annual service fee rate is calculated as total revenue ("iusd_original_revenue") divided by total consumer spend ("iusd_original_consumer_spend") in the
    app-level spend data.
[2] Developers with an annual weighted-average service fee rate that is missing, negative, or zero in any year between 2017 and 2021 are excluded.
[3] Service fee rates from net refunds are included in this analysis.

Source:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689




                                                                   Highly Confidential – Attorneys’ Eyes Only
                                                Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 630 of 667




                                                                               Exhibit 27
                                         Number of Putative Developer Class Members by Service Fee Rate Category by Year
                                                                                       2017 – 2021
                                               Among Developers with Google Play Sales and Service Fee Rate >0% in Each Year from 2017-2021

                                                2017                          2018                          2019                          2020                          2021
   Service Fee Rate                      Number    Percentage          Number    Percentage          Number    Percentage          Number    Percentage          Number    Percentage




   All Developers

Notes:
[1] A developer's weighted-average annual service fee rate is calculated as total revenue ("iusd_original_revenue") divided by total consumer spend ("iusd_original_consumer_spend") in the
    app-level spend data.
[2] Developers with an annual weighted-average service fee rate that is missing, negative, or zero in any year between 2017 and 2021 are excluded.
[3] This table only includes developers that have sales in Google Play in each year between 2017 and 2021. There are        such developers in total out of      putative class developers.
[4] Service fee rates from net refunds are included in this analysis.

Source:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689




                                                                   Highly Confidential – Attorneys’ Eyes Only
                                        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 631 of 667




                                                                      Exhibit 28
                                        Published Service Fee Rate Reductions by Certain App Stores


                                                                                                                   Percent of Putative   Percent of Putative
                              Year of rate                                                                          Developer Class        Developer Class
                                                Amount of Rate
        Store     Platform     reduction                                 Developers Receiving Rate Reduction        Members (if rate     Members' Spend (if
                                                  Reduction
                               (effective)                                                                           reduction were      rate reduction were
                                                                                                                    applied to Play)       applied to Play)


      Amazon                                                                Movie and TV subscription app
                   Android       2018              30% to 20%                                                              3%                    9%
      Appstore                                                                       developers
                                                30% to 20% (plus
      Amazon                                  additional rebates as    Developers with less than $1M in sales in
                   Android     2021 (Q4)                                                                                 99.7%                   23%
      Appstore                                Amazon Web Services            the previous calendar year
                                                     Credit)
      Apple App                                                         Subscriptions retained for 12 months or
                     iOS      2016 (June)          30% to 15%                                                             <22%                  <24%
        Store                                                                            more

      Apple App
                     iOS         2016              30% to 15%           Premium subscription video developers              3%                    9%
        Store

      Apple App                                                        Developers with less than $1M in sales in
                     iOS       2021 (Jan)          30% to 15%                                                            99.7%                   23%
        Store                                                                the previous calendar year

                                                 Before 2015:
                                              30%: 0-$25,000 sales                (No rate reductions)                     8%                    99%
                                              20%: $25,000+ sales
                   PC and
                               2015 (Jan)
                    XBOX                                               Developers with at least one app earning
      Microsoft                                    After 2015:
                                                                         over $25,000 in sales received a rate       (rate increase)        (rate increase)
       Store                                      30% flat rate
                                                                                       increase

                                                                         Non-game, non-Xbox downloads via
                                                   30% to 15%            Microsoft Store search or a Microsoft
                                                                                    Store Collection
      Microsoft    PC and
                              2019 (Mar)                                                                                  N/A                    N/A
       Store        XBOX                                                 Non-game, non-Xbox downloads via
                                                                        developer's direct link and not through
                                                   30% to 5%
                                                                       Microsoft Store Search or Microsoft Store
                                                                                       Collection

                                                                         Non-game, non-Xbox downloads via
      Microsoft    PC and                                               developer's direct link and not through
                               2020 (Jan)          5% to 15%                                                              N/A                    N/A
       Store        XBOX                                               Microsoft Store Search or Microsoft Store
                                                                                       Collection

                              2021 (Aug)           30% to 12%                      Non-Xbox Games                         33%                    69%
      Microsoft    PC and
       Store        XBOX                                                Non-game apps charging through third
                               2021 (Jul)          15% to 0%                                                              N/A                    N/A
                                                                              party payment platform
                                                                       Developers who use One Store's payment
                                                   30% to 20%                                                             N/A                    N/A
                                                                                      platform
      One Store    Android     2018 (Jul)
                                                                        Developers who use their own payment
                                                   30% to 5%                                                              N/A                    N/A
                                                                                      platform
                                             Before Nov 2018:
                                          30%, with exceptions for
                                         small developers in Steam
                                               Direct program      All games: Revenue per app is considered,
                              2018 (Nov)
        Steam         PC                      After Nov 2018:         thresholds are total revenues starting
                              announced                                                                                   N/A                    N/A
                                               30%: $0-$10M                  from October 1st, 2018

                                                25%: $10M-$50M                                                            0.2%                   15%
                                                  20%: $50M+                                                              0.1%                   42%

      Notes:
[1]   For each app store, the percentage of putative developer class members is calculated for the analogous developers if they were to receive the rate reduction
      in Play over the class period.
[2]   The percentages for all Play subscription developers reflect the upper bounds that are shown for rate changes applied to subscribers of 1+ year.
[3]   For Amazon Appstore and Apple App Store's 2021 small developers rate reduction, the percentage of putative developer class members who could potentially
      be affected by the policy is calculated as
      (total developers whose annual revenue is <$1M at least once in the class period / total developers over the class period).
[4]   For Microsoft Store rate increase in 2015, the percentage of putative developer class members who could potentially be affected by the policy is calculated as
      (total developers who own at least one app with spend>$25,000 / total developers over the class period).
[5]   For Steam rate reduction in 2018, the percentage of putative developer class members who could potentially be affected by the policy is calculated as
      (total developers who have revenue per game in the applicable threshold / total developers over the class period). The percentage of total consumer spend
      is calculated as (aggregated game revenue in a rate bracket / total consumer spend over the class period).
[6]   Participants in Apple's Video Partner Program in 2016 and Amazon's 2018 rate reduction program are identified as (i) owning an app in the Entertainment
      category are in Google's LRAP/LRAP++ program, or are Amazon, due to their Prime Video app.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] See Sources exhibit and this report's production for Bates numbers of deal contracts and app package names.




                                                     Highly Confidential – Attorneys’ Eyes Only
                   Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 632 of 667




                                                          Exhibit 29
                             Fees for Payment Processing Service Providers
                                Payment Processor Base Rates (as of November 2021)

    Payment Processing Service Provider                                           Base Rate (U.S.)

    PayPal

    Braintree (owned by PayPal)

    Stripe

    Square


    Notes:
[1] Effective August 2, 2021, PayPal's base rate is                 for online credit and debit
    card transactions. For Digital Payments, PayPal's base rate is                 per transaction.
[2] Square's base rate for card-not-present payments is                  , and is applied to
     purchases through Square Online Store, Square Online Checkout, eCommerce API, or
    online invoice payments. If a card on file is used or the card details are entered manually,
    the base rate is              .
[3] PayPal and Stripe offer Chargeback Protection services with an additional           charge per transaction.

    Sources:
[1] "PayPal pricing," PayPal, https://www.paypal.com/us/business/pricing, accessed November 17, 2021.
[2] "PayPal Fee Changes: Effective August 2, 2021," PayPal,
    https://www.paypalobjects.com/marketing/ua/pdf/US/en/feepages-080221.pdf, accessed November 17, 2021.
[3] "Pricing," Braintree, https://www.braintreepayments.com/braintree-pricing, accessed November 17, 2021.
[4] "Pricing built for businesses of all sizes," Stripe, https://stripe.com/pricing, accessed November 17, 2021.
[5] "Understanding Square processing fees," Square,
    https://squareup.com/us/en/payments/our-fees, accessed November 17, 2021.




                                                 Highly Confidential – Attorneys’ Eyes Only
    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 633 of 667



                                             Exhibit 30

            Effective Payment Processing Rates of Alternative
                      Processors at Low Price Points
                Processing Rate for $1.99                        Processing Rate for $0.99




Square, Card On File


    Square, Card Not
        Present


                      Stripe


Braintree (owned by
       PayPal)


        PayPal, Digital
          Payments


 PayPal, Online Card


                               0%      10%              20%              30%     40%    50%   60%




Source: Exhibit 29.




                                    Highly Confidential – Attorneys’ Eyes Only
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 634 of 667



                                                Exhibit 31
            Putative Developer Class Members Selling at Prices of $0.99 and $1.99
                                              August 2016 - July 3, 2021

                                                                   Count of          Percent of Cumulative Percent of
                                                                  Developers         Developers     Developers
    Developers Only Selling at $0.99                                10,702              22%             22%
    Developers Only Selling at $1.99 or lower (>$0.99)               7,135              14%             36%
    Total Putative Developer Class Members                          49,387             100%            100%

    Notes:
[1] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test
    instruments are excluded.
[2] Developers are identified based on unique Gaia IDs. Gaia IDs are crosswalked from the app-level spend data
    for putative class developers to the transactions data based on app package name and month and year of
    purchase. The app-level spend data ranges from August 2016 to December 2021.
[3] Some putative class developer Gaia IDs are not crosswalked with the transactions data because they don't
    sell to U.S. consumers during the class period.

    Sources:
[1] Google Transactions Data, GOOG-PLAY-007203251
[2] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689




                                        Highly Confidential – Attorneys’ Eyes Only
        Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 635 of 667



                                                 Exhibit 32
     Prices that End in “99” as a Percentage of U.S. Consumer Transactions
                                     August 2016 - July 3, 2021

   Retail Price                                                            Percent of Transactions
    Price is $0.99                                                                   17%
    Price is $1.99                                                                   14%
    Price is $4.99                                                                   18%
    Price is $9.99                                                                   12%
    Other Prices Ending in "99"                                                      36%
    Prices Not Ending in "99"                                                        3%
    Total                                                                           100%

    Note:
[1] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater
    than $0. Test instruments are excluded.

    Source:
[1] Google Transactions Data, GOOG-PLAY-007203251




                                        Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 636 of 667



                                  Exhibit 33
            Percent Reductions from Price Point to Price
                              Point

                                                    Percent Reduction
               $5.99 to $4.99                             17%
               $4.99 to $3.99                             20%
               $3.99 to $2.99                             25%
               $2.99 to $1.99                             33%
               $1.99 to $.99                              50%

               Source:
           [1] Google Transactions Data, GOOG-PLAY-007203251




                         Highly Confidential – Attorneys’ Eyes Only
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 637 of 667




                                                Exhibit 34
                      Summary of SKUs with Service Fee Rate Reductions

                                                                                                Share of
                                                                                                            Share of
                                           Number of            Number of            Number of Consumers
    Rate Change Study                                                                                      Consumer
                                           Developers             Apps                  SKUs    Making
                                                                                                             Spend
                                                                                               Purchases
    Paid App Downloads                        4,538                 9,264               9,264     18%         1%
        Scraped Data                           784                 1,557               1,557      14%        0.2%
        App-Level Spend Data                  4,499                8,991               8,991      18%        0.3%
    Subscriptions                             5,229                 7,312              17,013     22%         4%
        Deal Developers                         68                   211                 706       8%         1%
        Subscription Developers               5,167                7,101              16,307      15%         3%
    IAPs                                      15,967               37,367             441,383     35%         7%
    All SKUs                                  22,995               51,847             467,660     53%        11%

Notes:
[1] “Deal Developers” SKUs are associated with ADAP, LRAP, LRAP++, and SwG programs. “Subscription
    Developers" SKUs are subscriptions and exclude SKUs from Deal Developers. Deal or Subscription
    Developer SKUs only include SKUs that experienced a rate reduction, identified as the service fee rate fell
    from 30% to 20% or lower and was sustained for 3+ consecutive months in Aug 2016-July 2021
    transactions data. “Scraped Data” and "App-Level Spend Data" SKUs are paid app downloads SKUs that
    experienced a rate reduction identified in the app-level spend data from a rate of 30% to 20% or lower in
    or after July 2021. All “Deal Developers” SKUs, “Subscription Developers" SKUs, "Scraped Data" SKUs, and
    "App-Level Spend Data" SKUs are required to have at least one price data point in both the month before
    and month after the rate reduction. "IAPs" from Dr. Burtis' report includes all IAPs in the Google Play Store
    Price Tracking Data (snapshots in June and October 2021 and February 2022) that transacted at least once
    during the class period in Aug 2016-July 2021 transactions data, experienced a rate reduction for their in-
    app purchases in the app-level spend data from a rate of 30% to 20% or lower in or after July 2021, and
    exist in both the June 2021 snapshot and at least one of the October 2021 and February 2022 snapshots.
[2] Number of Developers is based on developer Gaia IDs from the U.S. Developers and U.S. Consumers app-
    level spend data (GOOG-PLAY-005535885, -86; GOOG-PLAY-010801688, -89).
[3] "Share of Consumers Making Purchases" and "Share of Consumer Spend" shows the share of total
    consumers and consumer spend of purchases of SKUs with service fee reductions from August 1, 2016 to
    July 3, 2021 in the transactions data.
[4] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test
    instruments are excluded.

Sources:
[1] Google Play Store Paid App Scrape Data
[2] Google Transactions Data, GOOG-PLAY-007203251
[3] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[4] App-level spend data, Consumers, GOOG-PLAY-005535886 and GOOG-PLAY-010801688
[5] Google Play Store IAP Price Tracking Data, June 2021, October 2021, February 2022, GOOG-PLAY2-
    000483364
[6] See this report’s production for Bates numbers of deal developer contracts




                                        Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 638 of 667



                                               Exhibit 35
                   Constant‐Priced SKUs Among SKUs with Rate Reductions
                                                                   Number of SKUs with       Share of SKUs with
                                            Number of SKUs
    Rate Change Study                                                No Price Change          No Price Change
                                              Considered
                                                                    During Class Period      During Class Period
    Paid App Downloads                             9,264                   1,988                    21%
        Scraped Data                              1,557                   1,303                     84%
        App‐Level Spend Data                      8,991                   1,673                     19%
    Subscriptions                                 17,013                  14,010                    82%
        Deal Developers                             706                     503                     71%
        Subscription Developers                  16,307                  13,507                     83%
    IAPs                                         441,383                 416,892                    94%
    All SKUs                                     467,660                 432,890                    93%

Notes:
[1] “Deal Developers” SKUs are associated with ADAP, LRAP, LRAP++, and SwG programs. “Subscription
    Developers" SKUs are subscriptions and exclude SKUs from Deal Developers. Deal or Subscription
    Developer SKUs only include SKUs that experienced a rate reduction, identified as the service fee rate fell
    from 30% to 20% or lower and was sustained for 3+ consecutive months in Aug 2016‐July 2021
    transactions data. “Scraped Data” and "App‐Level Spend Data" SKUs are paid app downloads SKUs that
    experienced a rate reduction identified in the app‐level spend data from a rate of 30% to 20% or lower in
    or after July 2021. All “Deal Developers” SKUs, “Subscription Developers" SKUs, "Scraped Data" SKUs, and
    "App‐Level Spend Data" SKUs are required to have at least one price data point in both the month before
    and month after the rate reduction. "IAPs" from Dr. Burtis' report includes all IAPs in the Google Play
    Store Price Tracking Data (snapshots in June and October 2021 and February 2022) that transacted at
    least once during the class period in Aug 2016‐July 2021 transactions data, experienced a rate reduction
    for their in‐app purchases in the app‐level spend data from a rate of 30% to 20% or lower in or after July
    2021, and exist in both the June 2021 snapshot and at least one of the October 2021 and February 2022
    snapshots.
[2] For Subscriptions, price changes are evaluated using net prices from the Google transactions data from
    August 2016 to July 3rd 2021. For paid app downloads in the app‐level spend data, prices are evaluated
    based on prices for unique combinations of form of payment, device, app category, purchase type, app,
    developer, month, and year in the app‐level spend data. For paid app downloads in the Scraped Data,
    price changes are evaluated based on monthly retail prices from April 2021 to January 2022. For IAPs,
    price changes are evaluated using list prices reported in snapshots taken in June 2021, October 2021, and
    February 2022.
[3] Transactions are charged, delivered, in USD, not refunds and pre‐tax price per unit greater than $0. Test
    instruments are excluded.
[4] It is possible for an app to appear in multiple studies and have differing result. This is because their prices
    and service fees can appear differently in the source data files use by these studies. When calculating the
    overall share of SKUs in all studies that maintained a constant price, a SKU is considered to have a
    constant price if and only if its price was found to be constant in all rate change studies it was included in.

Sources:
[1] Google Play Store Paid App Scrape Data
[2] Google Transactions Data, GOOG‐PLAY‐007203251
[3] App‐level spend data, Developers, GOOG‐PLAY‐005535885 and GOOG‐PLAY‐010801689
[4] App‐level spend data, Consumers, GOOG‐PLAY‐005535886 and GOOG‐PLAY‐010801688
[5] Google Play Store IAP Price Tracking Data, June 2021, October 2021, February 2022, GOOG‐PLAY2‐
    000483364
[6] See this report’s production for Bates numbers of deal developer contracts




                                     Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 639 of 667



                                       Exhibit 36
                       Summary of Pass‐Through Rates Found by Dr.
                                         Burtis
                                    1 Month Before vs. 1 Month After
                                      August 2016 – February 2022

                                                                    SKUs
                                                                           Share
                                                                       w/Positive Pass‐
                            Purchase Type                  Total          Through
                   Paid App Downloads
                      Scraped Data                         1,557              1%
                      App‐Level Spend Data                 8,991             13%
                   Subscriptions
                      Deal Developers                       706               2%
                      Subscription Developers             16,307              1%
                   IAPs                                   441,383             2%

                   Notes:
               [1] “Deal Developers” SKUs are associated with ADAP, LRAP, LRAP++,
                   and SwG programs. “Subscription Developers" SKUs are
                   subscriptions and exclude SKUs from Deal Developers. Deal or
                   Subscription Developer SKUs only include SKUs that experienced a
                   rate reduction, identified as the service fee rate fell from 30% to
                   20% or lower and was sustained for 3+ consecutive months in Aug
                   2016‐July 2021 transactions data. “Scraped Data” and "App‐Level
                   Spend Data" SKUs are paid app downloads SKUs that experienced a
                   rate reduction identified in the app‐level spend data from a rate of
                   30% to 20% or lower in or after July 2021. All “Deal Developers”
                   SKUs, “Subscription Developers" SKUs, "Scraped Data" SKUs, and
                   "App‐Level Spend Data" SKUs are required to have at least one
                   price data point in both the month before and month after the rate
                   reduction. "IAPs" from Dr. Burtis' report includes all IAPs in the
                   Google Play Store Price Tracking Data (snapshots in June and
                   October 2021 and February 2022) that transacted at least once
                   during the class period in Aug 2016‐July 2021 transactions data,
                   experienced a rate reduction for their in‐app purchases in the app‐
                   level spend data from a rate of 30% to 20% or lower in or after July
                   2021, and exist in both the June 2021 snapshot and at least one of
                   the October 2021 and February 2022 snapshots.

               [2] Price changes for IAPs are identified by comparing prices in June
                   2021 to average prices in October 2021 and February 2022. Price
                   changes for "Scraped Data" SKUs are identified by comparing the
                   retail prices in the scraped data in the month before and the month
                   after the rate change occurred. Price changes for all other purchase
                   types are identified by comparing weighted average net prices in
                   the month before the rate change occurred to the month after.
               [3] A SKU has "positive pass‐through" if its price decreased after the
                   rate change.

                   Sources:
               [1] App‐level spend data, Consumers, GOOG‐PLAY‐005535886 and
                   GOOG‐PLAY‐010801688
               [2] Google Play Store Paid App Scrape Data
               [3] Google Transactions Data, GOOG‐PLAY‐007203251
               [4] App‐level spend data, Developers, GOOG‐PLAY‐005535885 and
                   GOOG‐PLAY‐010801689
               [5] Google Play Store IAP Price Tracking Data, June 2021, October
                   2021, February 2022, GOOG‐PLAY2‐000483364
               [6] See this report’s production for Bates numbers of deal developer
                   contracts




                              Highly Confidential – Attorneys’ Eyes Only
              Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 640 of 667




                                                    Exhibit 37
     Counts of U.S. Consumers in the Putative Class, By Maximum Price Point of Transactions
                                                  August 2016 - July 3, 2021

                                                                             Count of    Percent of Cumulative Percent of
                                                                            Consumers    Consumers      Consumers
    Consumers Only Buying at a Max of $0.99                                  4,868,989      5%               5%
    Consumers Only Buying at a Max of $1.99                                  3,667,004      4%               9%
    Consumers Only Buying at a Max of $2.99                                  4,062,814      4%              14%
    Consumers Buying at above $2.99                                         79,730,461      86%            100%
    Total Consumers                                                         92,329,268     100%            100%

    Note:
[1] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments
    are excluded.

    Source:
[1] Google Transactions Data, GOOG-PLAY-007203251




                                           Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 641 of 667



                                         Exhibit 38
              Count of U.S. Consumers By Form of Payment
                                  August 2016 – July 3, 2021

                                                Count of U.S.                Percent of U.S.
       Form of Payment                           Consumers                    Consumers
       Card                                      69,612,363                       75%
       Gift Cards                                22,909,292                       25%
       PayPal                                    13,334,243                       14%
       Direct Carrier Billing                    10,210,611                       11%
       All U.S. Consumers                        92,329,268                      100%

       Notes:
   [1] Transactions are charged, delivered, in USD, not refunds and pre-tax price
       per unit greater than $0. Test instruments are excluded.
   [2] Counts include U.S. consumers that ever used a payment method between
       August 1, 2016 and July 3, 2021. Consumers may have used multiple
       different forms of payment during the class period.

       Source:
   [1] Google Transactions Data, GOOG-PLAY-007203251




                                Highly Confidential – Attorneys’ Eyes Only
 Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 642 of 667



                                           Exhibit 39
              Named Consumer Plaintiffs' Spend on Security Apps
                                   August 2016 – October 2021

                                                                                   Consumer
      Named Consumer Plaintiff                             Security App Name         Spend



      All Named Consumer Plaintiffs          Total Spend on Security Apps

    Notes:
[1] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater
    than $0. Test instruments are excluded. Only transactions made in August 2016 or later
    are included.
[2] Consumer spend from July 3, 2021 to October 2021 for                  is based on purchase
    history data rather than transactions data.
[3] A security app is an app that protects consumers' transactions online and/or prevents
    consumers from receiving malicious content.
[4]

[5] Prior to the class period, plaintiff



[6] Security apps are manually identified based on app name and information available on
    the Google Play Store.
[7] Purchase dates are based on transaction data for named plaintiffs.
[8] Consumer spend includes spend on paid app downloads and in-app purchases
    (subscriptions and in-app monetizations). Consumer spend also includes tax.

      Sources:
[1]   Google Transactions Data, GOOG-PLAY-007203251.
[2]   Transactions Data for Named Plaintiffs, GOOG-PLAY-007335789, GOOG-PLAY-007335790,
      GOOG-PLAY-007335791, GOOG-PLAY-007335792, GOOG-PLAY-007335793, GOOG-PLAY-
      007335794, GOOG-PLAY-00737958, and GOOG-PLAY-00737959
[3]   Purchase History Data for Named Plaintiffs, GOOG-PLAY-010569450
[4]   https://play.google.com/store/apps/details?id=com.kii.safe&hl=en_US&gl=US
[5]   https://play.google.com/store/apps/details?id=com.att.callprotect&hl=en_US&gl=US
[6]   https://play.google.com/store/apps/details?id=com.symantec.mobilesecurity&hl=en_US
      &gl=US
[7]   https://play.google.com/store/apps/details?id=ch.threema.app&hl=en_US&gl=US




                                  Highly Confidential – Attorneys’ Eyes Only
                                                                      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 643 of 667




                                                                                                    Exhibit 40
                                                                                     Top 10 Security Apps by U.S. Consumer Spend
                                                                                                      August 2016 - July 3, 2021

                                                                                                                                            Number of
                                                                                                                      Total Consumer           U.S.
      Rank             App Name                             Description of Features                 App Category           Spend            Consumers       Total Installs     Price     Has Ads?           IAP Price Range
                                             NordVPN provides private and secure internet
        1    NordVPN                        access to users worldwide through a VPN.                    Tools                                               10,000,000+        Free         No        $7.99/month - $84.99/year
                                             Robokiller is a spam call and robocall blocker that
        2    RoboKiller                     blocks and blacklists incoming spam calls.              Communication                                            5,000,000+        Free         No        $0.99/month - $39.99/year
                                             Lookout provides premium mobile security and
        3    Lookout                        identity protection for Android devices.                    Tools                                               100,000,000+       Free         No        $1.99/month - $99.99/year

                                            Keepsafe allows users to protect personal photos
        4    Keepsafe Photo Vault           and videos in a PIN-protected and encrypted vault.       Photography                                            50,000,000+        Free         Yes     $0.99/month - $299.99/lifetime

                                             Norton Secure VPN provides private and secure
        5    Norton Secure VPN              internet access to users worldwide through a VPN.           Tools                                               10,000,000+        Free         No         $29.99/year - $39.99/year
                                             Keeper lets users store and manage passwords
                                            within an encrypted vault that they can access
        6    Keeper Password Manager        across devices.                                          Productivity                                           10,000,000+        Free         No       $9.99/year - $199.99/lifetime
                                             AVG AntiVirus protects users from receiving
                                            viruses and malware. It scans incoming files, apps,
                                            and websites for malware, assesses WiFi networks
                                            for security, and alerts users if their data has been
        7    AVG AntiVirus                  compromised.                                                Tools                                               100,000,000+       Free         Yes       $0.99/month - $89.99/year
                                             Norton 360 protects users from security threats
                                            by scanning incoming files, websites, and apps and
                                            assessing WiFi networks for security. Norton 360
        8    Norton™ 360                    also includes the Norton Secure VPN.                        Tools                                               50,000,000+        Free         No        $0.99/month - $104.99/year
                                             Hotspot Shield Free VPN provides private and
                                            secure internet access to users worldwide through
        9    Hotspot Shield Free VPN        a VPN.                                                      Tools                                               100,000,000+       Free         Yes      $0.97/month - $99.99/lifetime
                                             Avast Antivirus protects users from receiving
                                            viruses and other types of malware. It also includes
       10    Avast Antivirus                an ecrypted Vault for photos.                               Tools                                               100,000,000+       Free         Yes       $0.99/month - $79.99/year

      Notes:
[1]   Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are excluded.
[2]   Top security apps are identified based on information available on the Play App Catalog and information available on the Google Play Store. A "security app" is an app that safeguards a user's data and/or blocks the user
      from receiving malware.
[3]   Security apps are ranked by total consumer spend between August 2016 and July 2021.
[4]   Total installs, app category, price, and "Has Ads?" are based on the Google Play Store. Developers self report whether they offer ads.
[5]   "Price" refers to the price of the paid app download.
[6]   "IAPs" include subscriptions and in-app monetizations. IAP price ranges are based on list prices of transactions made between August 2016 and July 2021. Billing periods are determined based on the subscription period
      recurring unit. If an app offered different SKUs at the same list price but for with different billing period durations, the billing period duration at which the greatest amount of consumer spend was transacted is shown in the
      price range.

     Sources:
 [1] Google Transactions Data, GOOG-PLAY-007203251
 [2] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602
 [3] https://play.google.com/store/apps/details?id=com.lookout&hl=en_US&gl=US
 [4] https://play.google.com/store/apps/details?id=com.robokiller.app&hl=en_US&gl=US
 [5] https://play.google.com/store/apps/details?id=com.nordvpn.android&hl=en_US&gl=US
 [6] https://play.google.com/store/apps/details?id=com.kii.safe&hl=en_US&gl=US
 [7] https://play.google.com/store/apps/details?id=com.symantec.securewifi&hl=en_US&gl=US
 [8] https://play.google.com/store/apps/details?id=com.callpod.android_apps.keeper&hl=en_US&gl=US
 [9] https://play.google.com/store/apps/details?id=com.antivirus&hl=en_US&gl=US
[10] https://play.google.com/store/apps/details?id=hotspotshield.android.vpn&hl=en_US&gl=US
[11] https://play.google.com/store/apps/details?id=com.symantec.mobilesecurity&hl=en_US&gl=US
[12] https://play.google.com/store/apps/details?id=com.avast.android.mobilesecurity&hl=en_US&gl=US




                                                                                      Highly Confidential – Attorneys’ Eyes Only
          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 644 of 667



                                                Exhibit 41
                      Putative Developer Class Members with Free Apps
                                       August 2016 - December 2021

                                                                               Count of Developers   % of Developers
      Putative Developer Class Members with no Free Apps                             34,463                70%
      Putative Developer Class Members with any Free Apps                            14,868                30%
      Total                                                                          49,331               100%

    Notes:
[1] There are apps in the app-level dataset that have more than one GAIA ID associated with it. Because of
    this, some developers are not accounted for. Some putative class developers have an unknown catalog
    id.
[2] When there is more than one GAIA ID associated with an app, or more than one GAIA ID to catalog ID
    combination, then the most recent id, or combination, is kept.

      Sources:
[1]   App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2]   App-level spend data, Consumers, GOOG-PLAY-005535886 and GOOG-PLAY-010801688
[3]   Global Google Admob Data, GOOG-PLAY-009908838
[4]   Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602




                                       Highly Confidential – Attorneys’ Eyes Only
         Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 645 of 667



                                                 Exhibit 42
      Putative Developer Class Members' Apps With Lifespan of 12 Months or Less
                         Among Apps with Spend in August 2016 - December 2021

                                                                   Putative Developer
                                        Putative Developer        Class Members' Apps
    First Publish Year                                                                        Percentage
                                       Class Members' Apps         with Lifespan of 12
                                                                     Months or Less
    2016                                        14,558                    4,069                   28%
    2017                                        14,899                    6,275                   42%
    2018                                        11,079                    4,850                   44%
    2019                                        10,220                    4,607                   45%
    2020                                         9,891                    5,315                   54%
    2016 - 2020                                 60,647      60647        25,116                   41%

    Notes:
[1] Lifespan of an app is defined as (last month in the transactions data - min(first month in the transactions
    data, first publish date)).
[2] Analysis is restricted to apps that were transacted during the class period and to developers with publish
    years between 2016 and 2020. The lifespan is not limited to the class period.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602




                                        Highly Confidential – Attorneys’ Eyes Only
          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 646 of 667



                                                  Exhibit 43
         Number of Putative Developer Class Members Remaining with App Sales
          Based on Elapsed Time between Epic Store's Launch and Microsoft Store's Rate Reduction to 12%
                                                                                       Count         Percent
    Developers with No Sales on or after April 2019                                    18,699         38%
    Developers with Sales on or after April 2019                                       30,688         62%
    Total Putative Class Developers                                                    49,387         100%

    Note:
[1] The Epic Games Store was launched in December 2018, and the Microsoft Store reduced its rates 32 months
    later in August 2021. April 2019 is chosen here because it is 32 months after the beginning of the class period.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] https://techcrunch.com/2018/12/06/epic-games-store/ (accessed March 24, 2022).
[3] https://www.protocol.com/bulletins/microsoft-store-commission-cut (accessed March 24, 2022).




                                          Highly Confidential – Attorneys’ Eyes Only
                                                       Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 647 of 667




                                                                                           Exhibit 44
                                             Sample Calculation of Singer's Pass-Through Rates for Developers Selling Subscriptions
                                                                                               January 2019

                                                                                                                          Total                           Developer's      Pass-Through
                                                                                                                                       Developer
      App Developer App Developer                                                                                     Subscription                       Share of Total      Rate for
                                              App Package Name             App Category             Month                             Subscription                                             List Price
         GAIA ID        Name                                                                                        Units Sold in App                     Subscription     Subscriptions
                                                                                                                                       Units Sold
                                                                                                                        Category                           Units Sold       (1 - Share)

                                                                              Lifestyle            Jan. 2019             669,842              59              0.01%            99.99%            $4.99


                                                                               Game                Jan. 2019             935,919              2             0.0002%          99.9998%            $9.99


                                                                             Books and
                                                                                                   Jan. 2019              56,488             144              0.3%             99.7%             $8.99
                                                                             Reference


    Notes:
[1] In the class period, developers included in this table only sold subscriptions through one app in a particular app category. All subscription SKUs that this app offered that are present in the
    transactions data were found to have a zero or negative pass-through rate in Williams' analysis.
[2]              sold two subscription SKUs, both priced at $8.99 throughout the class period.

      Sources:
[1]   Singer backup for Tables 7 & 8
[2]   App-level spend data, Consumers, GOOG-PLAY-005535886
[3]   Google Transactions Data, GOOG-PLAY-007203251
[4]   Williams backup for Figure 3




                                                                                 Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 648 of 667




                                  Exhibit 45
                   Dr. Singer's Pass‐Through Rates for Example Developers
                                      Selling Subscriptions
                                       August 2016 – December 2020

                                              Pass‐Through‐Rate for Subscriptions


                          Month


                        Aug. 2016         99.998%            99.99%            82.6%
                        Sep. 2016         99.999%            99.99%            86.7%
                        Oct. 2016         99.996%            99.98%            90.1%
                        Nov. 2016        99.999%            99.996%            92.0%
                        Dec. 2016         99.998%           99.997%            96.7%
                        Jan. 2017         99.89%            99.997%            97.7%
                        Feb. 2017         99.96%            99.996%            99.0%
                        Mar. 2017         99.97%             99.99%            99.1%
                        Apr. 2017          99.99%            99.99%            99.3%
                        May. 2017         99.997%            99.99%            99.8%
                        Jun. 2017         99.998%           99.997%            99.8%
                        Jul. 2017         99.999%           99.997%            99.9%
                        Aug. 2017         99.999%           99.999%            99.9%
                        Sep. 2017         99.999%           99.998%            99.8%
                        Oct. 2017         99.999%           99.997%            99.7%
                        Nov. 2017        99.9998%           99.999%            99.7%
                        Dec. 2017                          99.999%             99.7%
                        Jan. 2018         99.98%            99.999%            99.7%
                        Feb. 2018         99.99%            99.999%            99.6%
                        Mar. 2018         99.99%            99.999%            99.7%
                        Apr. 2018        99.998%            99.998%            99.6%
                        May. 2018        99.9996%           99.998%            99.7%
                        Jun. 2018         99.999%           99.999%            99.7%
                        Jul. 2018        99.999%            99.999%            99.7%
                        Aug. 2018                          99.9998%            99.7%
                        Sep. 2018        99.9996%          99.9998%            99.6%
                        Oct. 2018        99.999%            99.999%            99.6%
                        Nov. 2018                          99.9997%            99.7%
                        Dec. 2018                          99.9999%            99.7%
                        Jan. 2019          99.99%          99.9998%            99.7%
                        Feb. 2019         99.996%                              99.8%
                        Mar. 2019         99.997%          99.9999%            99.9%
                        Apr. 2019         99.999%           99.999%            99.8%
                        May. 2019                           99.999%            99.8%
                        Jun. 2019         99.999%          99.9995%            99.9%
                        Jul. 2019        99.9997%          99.9996%            99.9%
                        Aug. 2019                          99.9999%            99.8%
                        Sep. 2019        99.9998%                              99.8%
                        Oct. 2019        99.9998%          99.9998%            99.8%
                        Nov. 2019                                              99.8%
                        Dec. 2019                                              99.8%
                        Jan. 2020         99.99%                               99.9%
                        Feb. 2020        99.998%                               99.9%
                        Mar. 2020        99.999%                               99.9%
                        Apr. 2020        99.9995%                              99.9%
                        May. 2020                                              99.9%
                        Jun. 2020        99.9995%          99.9999%            99.9%
                        Jul. 2020                          99.9998%            99.9%
                        Aug. 2020                          99.9999%            99.9%
                        Sep. 2020        99.9998%                              99.9%
                        Oct. 2020        99.9998%          99.9999%            99.9%
                        Nov. 2020                                              99.9%
                        Dec. 2020                                              99.9%
                        Minimum           99.9%             99.98%             82.6%
                        Maximum          99.9998%          99.9999%            99.9%

                      Notes:
                  [1] In the class period, developers included in this table only sold
                      subscriptions through one app in a particular app category. All
                      subscription SKUs that this app offered that are present in the
                      transactions data were found to have a zero or negative pass‐through
                      rate in Williams' analysis.

                      Sources:
                  [1] Singer backup for Tables 5, 7, & 8
                  [2] App‐level spend data, Consumers, GOOG‐PLAY‐005535886
                  [3] Williams backup for Figure 3




                  Highly Confidential – Attorneys’ Eyes Only
                                                  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 649 of 667



                                                                                                 Exhibit 46

                                        Subscription Price and Service Fee Rate of
                                                             Monthly Subscription
                                                                                    August 2016 – October 2020
                     $10.99                                                                                                                              Subscription price 35%
                      $9.99
                                                                                                                                                                                          30%
                      $8.99
Subscription Price




                      $7.99                                                                                                                                                               25%




                                                                                                                                                                                                Service Fee Rate
                      $6.99                                                                                                                                                               20%
                      $5.99                                                                                                                                   Service fee rate
                      $4.99                                                                                                                                                               15%
                      $3.99                                                                                                                                                               10%
                      $2.99
                                                                                                                                                                                          5%
                      $1.99
                      $0.99                                                                                                                                                               0%
                                Aug. Nov. Feb. May. Aug. Nov. Feb. May. Aug. Nov. Mar. Jun. Oct. Aug.
                                2016 2016 2017 2017 2017 2017 2018 2018 2018 2018 2019 2019 2019 2020
                     Notes:
                     [1] This graph shows monthly prices and service fee rates for SKU                                               .
                     [2] In the class period,                     only sold subscriptions through one app in the Game category. All subscription SKUs that this app offered that are present
                     in the transactions data were found to have a zero or negative pass-through rate in Williams' analysis.
                     [3] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are excluded.
                     Sources:
                     [1] Google Transactions Data, GOOG-PLAY-007203251
                     [2] Williams backup for Figure 3




                                                                                        Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 650 of 667



                                   Exhibit 47
             Summary of Dr. Singer's Pass-Through Rates
                         January 2012 – December 2020



                                                 Number of Pass- Share of Pass-
                                                  Through Rates Through Rates
          Pass-Through Rate >99.5%                  4,110,126         95%
          Pass-Through Rate >0%                     4,323,410      99.993%
          Pass-Through Rate = 0%                       282          0.007%
          All Pass-Through Rates                    4,323,692        100%

           Note:
       [1] Dr. Singer's pass-through rates are calculated on a unique
           developer, app category, monetization type, and month level.

           Sources:
       [1] Singer backup for Tables 7 & 8
       [2] App-level spend data, Consumers, GOOG-PLAY-005535886




                          Highly Confidential – Attorneys’ Eyes Only
                                          Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 651 of 667



                                                                                         Exhibit 48

                             Subscription Price and Service Fee Rate of                                                        Monthly Subscription
                                                                                August 2016 – July 2021
                     $9.99                                                                                                                                                            35%
                                                                                                                                                     Subscription price
                     $8.99                                                                                                                                                            30%
                     $7.99
                                                                                                                                                                                      25%
Subscription Price




                                                                                                                                                                                            Service Fee Rate
                     $6.99
                     $5.99                                                                                                                                                            20%
                     $4.99
                                                                                                                                                         Service fee rate
                                                                                                                                                                                      15%
                     $3.99
                                                                                                                                                                                      10%
                     $2.99
                     $1.99                                                                                                                                                            5%
                     $0.99                                                                                                                                                            0%
                             Aug. Dec. Apr. Aug. Dec. Apr. Aug. Dec. Apr. Aug. Dec. Apr. Aug. Dec. Apr.
                             2016 2016 2017 2017 2017 2018 2018 2018 2019 2019 2019 2020 2020 2020 2021

             Notes:
             [1]        offers two distinct monthly subscription SKUs, both priced at $8.99 throughout the class period. This graph shows monthly prices and service fee rates for
             SKU                                                              . SKU                                                      had identical prices and service fee rates
             during the class period, though it was not transacted in July 2021.
             [2] In the class period,          . only sold subscriptions through one app in the Books and Reference category. All subscription SKUs that this app offered that are
             present in the transactions data were found to have a zero or negative pass-through rate in Williams' analysis.
             [3] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are excluded.
             Sources:
             [1] Google Transactions Data, GOOG-PLAY-007203251
             [2] Williams backup for Figure 3




                                                                                Highly Confidential – Attorneys’ Eyes Only
                                             Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 652 of 667



                                                                                             Exhibit 49

                                      Subscription Price and Service Fee Rate of                                                                     Monthly
                                                               Subscription
                                                                                   August 2016 – April 2021
                     $5.49                                                                                                                                                                 35%
                                                                                                                                                       Subscription price
                     $4.99                                                                                                                                                                 30%
                     $4.49
                                                                                                                                                                                           25%
Subscription Price




                                                                                                                                                                                                 Service Fee Rate
                     $3.99
                     $3.49                                                                                                                                                                 20%
                     $2.99                                                                                                                                 Service fee rate
                                                                                                                                                                                           15%
                     $2.49
                                                                                                                                                                                           10%
                     $1.99
                     $1.49                                                                                                                                                                 5%
                     $0.99                                                                                                                                                                 0%
                             Aug. Nov. Feb. May. Aug. Nov. Mar. Jun. Oct. Mar. Jul. Jan. Apr. Oct. Mar.
                             2016 2016 2017 2017 2017 2017 2018 2018 2018 2019 2019 2020 2020 2020 2021
                Notes:
                [1] This graph shows monthly prices and service fee rates for SKU
                [2] In the class period,          only sold subscriptions through one app in the Lifestyle category. All subscription SKUs that this app offered that are present in the
                transactions data were found to have a zero or negative pass-through rate in Williams' analysis.
                [3] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are excluded.
                Sources:
                [1] Google Transactions Data, GOOG-PLAY-007203251
                [2] Williams backup for Figure 3




                                                                                    Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 653 of 667



                                       Exhibit 50
                       Summary of Pass‐Through Rates Found by Dr.
                                         Burtis
                                   6 Months Before vs. 6 Months After
                                      August 2016 – February 2022

                                                                    SKUs
                                                                           Share
                                                                       w/Positive Pass‐
                             Purchase Type                 Total          Through
                    Paid App Downloads
                       Scraped Data                        1,557              5%
                       App‐Level Spend Data                8,991             22%
                    Subscriptions
                       Deal Developers                      706               6%
                       Subscription Developers             16,307             2%
                    IAPs                                  441,383             2%

                    Note:
                [1] “Deal Developers” SKUs are associated with ADAP, LRAP, LRAP++,
                    and SwG programs. “Subscription Developers" SKUs are
                    subscriptions and exclude SKUs from Deal Developers. Deal or
                    Subscription Developer SKUs only include SKUs that experienced a
                    rate reduction, identified as the service fee rate fell from 30% to
                    20% or lower and was sustained for 3+ consecutive months in Aug
                    2016‐July 2021 transactions data. “Scraped Data” and "App‐Level
                    Spend Data" SKUs are paid app downloads SKUs that experienced
                    a rate reduction identified in the app‐level spend data from a rate
                    of 30% to 20% or lower in or after July 2021. All “Deal Developers”
                    SKUs, “Subscription Developers" SKUs, "Scraped Data" SKUs, and
                    "App‐Level Spend Data" SKUs are required to have at least one
                    price data point in both the month before and month after the
                    rate reduction. "IAPs" from Dr. Burtis' report includes all IAPs in
                    the Google Play Store Price Tracking Data (snapshots in June and
                    October 2021 and February 2022) that transacted at least once
                    during the class period in Aug 2016‐July 2021 transactions data,
                    experienced a rate reduction for their in‐app purchases in the app‐
                    level spend data from a rate of 30% to 20% or lower in or after
                    July 2021, and exist in both the June 2021 snapshot and at least
                    one of the October 2021 and February 2022 snapshots.
                [2] Price changes for IAPs are identified by comparing prices in June
                    2021 to average prices in October 2021 and February 2022. Price
                    changes for "Scraped Data" SKUs are identified by comparing the
                    simple average of the retail prices in the scraped data in the six
                    months before and six months after the rate change occurred,
                    subject to data availability. Price changes for all other purchase
                    types are identified by comparing weighted average net prices six
                    months before and six months after the rate change occurred,
                    subject to data availability.
                [3] A SKU has "positive pass‐through" if its price decreased after the
                    rate change.

                    Sources:
                [1] App‐level spend data, Consumers, GOOG‐PLAY‐005535886 and
                    GOOG‐PLAY‐010801688
                [2] Google Play Store Paid App Scrape Data
                [3] Google Transactions Data, GOOG‐PLAY‐007203251
                [4] App‐level spend data, Developers, GOOG‐PLAY‐005535885 and
                    GOOG‐PLAY‐010801689
                [5] Google Play Store IAP Price Tracking Data, June 2021, October
                    2021, February 2022, GOOG‐PLAY2‐000483364
                [6] See this report’s production for Bates numbers of deal developer
                    contracts




                              Highly Confidential – Attorneys’ Eyes Only
                                               Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 654 of 667



                                                                              Exhibit 51

                                         Summary of Pass-Through Rates Found by Dr. Williams, Dr. Singer, and
                                                                    Dr. Burtis
                                                                Share of Positive Pass-Through
                                         Predicted Pass-Through                    Actual Pass-Through Rates
                                  100%
                                                  Rates
Share of Pass-Through Rates >0%




                                  90%
                                  80%
                                  70%
                                  60%
                                  50%           99.99%
                                  40%
                                  30%
                                  20%
                                  10%
                                                                                           8%                        2%
                                   0%
                                                Dr. Singer                          Dr. Williams                  Dr. Burtis

            Notes:
            [1] See notes for Exhibit 52.

            Sources:
            [2] See sources for Exhibit 52.




                                                                     Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 655 of 667



                                                     Exhibit 52
            Summary of Pass‐Through Rates Found by Dr. Singer, Dr. Williams, and Dr. Burtis
                                                August 2016 – February 2022

                                                      Developer‐Purchase Type‐App
                                                            Category‐Months                         SKUs
                                                                         Share                             Share
                                                                      w/Positive                         w/Positive
        Expert Report          Purchase Type             Total       Pass‐Through          Total        Pass‐Through
                        Paid App Downloads              180,867        99.997%              n/a              n/a
        Dr. Singer      Subscriptions                   269,800         99.99%              n/a              n/a
                        IAPs                            449,323          100%               n/a              n/a
                        Paid App Downloads                n/a             n/a              2,562            23%
        Dr. Williams    Subscriptions                     n/a             n/a             34,081             4%
                        IAPs                              n/a             n/a             39,266            10%
                        Paid App Downloads
                           Scraped Data                    n/a              n/a            1,557             1%
                           App‐Level Spend Data            n/a              n/a            8,991            13%
                        Subscriptions
        Dr. Burtis
                           Deal Developers                 n/a              n/a             706              2%
                           Subscription Developers         n/a              n/a            16,307            1%
                        IAPs                               n/a              n/a           441,383            2%

      Notes:
  [1] Dr. Singer's pass‐through rates are calculated at a unique developer, app category, purchase type, and month
      level. Dr Burtis' and Dr. Williams' pass‐through rates are calculated at a SKU level.
  [2] “Deal Developers” SKUs are associated with ADAP, LRAP, LRAP++, and SwG programs. “Subscription
      Developers" SKUs are subscriptions and exclude SKUs from Deal Developers. Deal or Subscription Developer
      SKUs only include SKUs that experienced a rate reduction, identified as the service fee rate fell from 30% to 20%
      or lower and was sustained for 3+ consecutive months in Aug 2016‐July 2021 transactions data. “Scraped Data”
      and "App‐Level Spend Data" SKUs are paid app downloads SKUs that experienced a rate reduction identified in
      the app‐level spend data from a rate of 30% to 20% or lower in or after July 2021. All “Deal Developers” SKUs,
      “Subscription Developers" SKUs, "Scraped Data" SKUs, and "App‐Level Spend Data" SKUs are required to have
      at least one price data point in both the month before and month after the rate reduction. "IAPs" from Dr.
      Burtis' report includes all IAPs in the Google Play Store Price Tracking Data (snapshots in June and October 2021
      and February 2022) that transacted at least once during the class period in Aug 2016‐July 2021 transactions
      data, experienced a rate reduction for their in‐app purchases in the app‐level spend data from a rate of 30% to
      20% or lower in or after July 2021, and exist in both the June 2021 snapshot and at least one of the October
      2021 and February 2022 snapshots.
  [3] Only apps included in Dr. Burtis' and Dr. Williams' analyses are included in counts of Dr. Singer's pass‐through
      rates for developer‐purchase type‐app category‐month combinations. Only pass‐through rates calculated by Dr.
      Singer for months in the class period and for apps that are not Google‐ or developer‐owned are included.
  [4] "Positive pass‐through" in Dr. Burtis' rate change studies means that the SKU price decreased after a rate
      change. Price changes for IAPs are identified by comparing prices in June 2021 to average prices in October
      2021 and February 2022. Price changes for "Scraped Data" SKUs are identified by comparing retail prices in the
      scraped data in the month before and the month after the rate change occurred. Price changes for all other
      purchase types are identified by comparing weighted average net prices in the month before the rate change
      occurred to the month after.

        Sources:
  [1]   Singer backup for Tables 7 & 8
  [2]   App‐level spend data, Consumers, GOOG‐PLAY‐005535886 and GOOG‐PLAY‐010801688
  [3]   Williams backup for Tables 5, 6, & 7
  [4]   Google Transactions Data, GOOG‐PLAY‐007203251
  [5]   Google Play Store Paid App Scrape Data
  [6]   App‐level spend data, Developers, GOOG‐PLAY‐005535885 and GOOG‐PLAY‐010801689
  [7]   Google Play Store IAP Price Tracking Data, June 2021, October 2021, February 2022, GOOG‐PLAY2‐000483364
  [8]   See this report’s production for Bates numbers of deal developer contracts




                                        Highly Confidential – Attorneys’ Eyes Only
                                      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 656 of 667




                                                                      Exhibit 53
                        Comparison of Dr. Singer’s “Implied Pass-Through Rates” and His Predicted Pass-Through Rates

                                                                                                                                        Dr. Singer's    Dr. Singer's
                                                                                                                      Google Play     "Implied" Pass- Predicted Pass-
                       App                                         Product                          Website Price      Store Price     Through Rate Through Rate
                                                                                                    $29.99/year       $29.99/year            0%             99%
                                                                                                    $4.99/month       $4.99/month            0%             90%
                                                                                                    $7.99/month       $7.99/month            0%             62%
                                                                                                    $1.99/month       $1.99/month            0%             71%
                                                                                                        $7.49             $7.49              0%             85%
                                                                                                    $4.99/month       $4.99/month            0%             23%
                                                                                                    $4.99/month       $4.99/month            0%             97%

    Note:
[1] Dr. Singer's predicted pass-through rate is the volume weighted average pass-through rate (averaged across month) at the app package name - monetization type -
    app category level, based on his backup data for Tables 7 and 8 in his report, restricted to August 2016 to December 2020. Dr. Singer's predicted pass-through rate
    is calculated at the app developer - monetization type - app category level for each year-month.

      Sources:
[1]   Price for                                 on the developer's website                                                                    accessed with an
      Android device as of March 24, 2022.
[2]   Price for                                       on the developer's website                                                           accessed with an Android
      deviceas of March 24, 2022.
[3]   Price for                              on the developer's website                                                                               accessed with
      an Android device as of March 24, 2022.
[4]   Price for                                                             on the developer's website
                                                                                                accessed with an Android device as of March 24, 2022.
[5]   Price of the Android mobile version of          on the developer’s website
      accessed with an Android device as of March 24, 2022.
[6]   Price for                                             on the developer's website                                                            accessed with an
      Android device as of March 24, 2022.
[7]   Price for                                                   on the developer's website                                                       accessed with an
      Android device as of March 24, 2022.
[8]   Singer backup for Tables 7 and 8.




                                                            Highly Confidential – Attorneys’ Eyes Only
             Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 657 of 667




                                                    Exhibit 54
    Dr. Singer's Pass-Through Rates vs. Pass-Through Rates Based on All App Categories for
                                       Select Game Apps
                                              January 2012 – December 2020

                                                                                        Dr. Singer's    Pass-Through
                                                                                       Original Pass-   Rate, All App
            App Name               App Package Name                   App Category     Through Rate      Categories




    Note:
[1] "Dr. Singer's Original Pass-Through Rate" is the volume-weighted average of Dr. Singer's original pass-through rate
    across all monetization types and months. Singer combines all gaming apps under the app category "Game" prior
    to calculating pass-through rates on a developer-category-monetization type-month level. "Pass-Through Rate, All
    App Categories" is the volume-weighted average of the pass-through rate calculated based using granular game
    categories across all monetization types and months.

    Sources:
[1] Singer backup for Tables 7 & 8
[2] App-level spend data, Consumers, GOOG-PLAY-005535886 and GOOG-PLAY-010801688




                                          Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 658 of 667




                           Exhibit 55
                Dr. Singer's Pass-Through Rates, All App
                               Categories
                          January 2012 – December 2020


                       App Category            Pass-Through Rate

                              ALL                    76.6%
                     ART_AND_DESIGN                  67.3%
                   AUTO_AND_VEHICLES                 82.4%
                           BEAUTY                    25.0%
                 BOOKS_AND_REFERENCE                 80.4%
                          BUSINESS                   81.6%
                           COMICS                    55.6%
                     COMMUNICATION                   86.6%
                           DATING                    82.3%
                         EDUCATION                   92.1%
                      ENTERTAINMENT                  83.6%
                            EVENTS                   62.0%
                           FINANCE                   69.9%
                    FOOD_AND_DRINK                   77.3%
                       GAME_ACTION                   86.5%
                    GAME_ADVENTURE                   68.5%
                       GAME_ARCADE                   86.8%
                        GAME_BOARD                   73.6%
                         GAME_CARD                   88.0%
                       GAME_CASINO                   92.3%
                       GAME_CASUAL                   51.6%
                   GAME_EDUCATIONAL                  71.1%
                        GAME_MUSIC                   71.4%
                       GAME_PUZZLE                   88.1%
                       GAME_RACING                   82.9%
                  GAME_ROLE_PLAYING                  94.9%
                    GAME_SIMULATION                  92.8%
                       GAME_SPORTS                   76.5%
                     GAME_STRATEGY                   83.3%
                        GAME_TRIVIA                  57.7%
                        GAME_WORD                    80.4%
                  HEALTH_AND_FITNESS                 94.7%
                    HOUSE_AND_HOME                   59.7%
                  LIBRARIES_AND_DEMO                 57.9%
                          LIFESTYLE                  67.9%
                 MAPS_AND_NAVIGATION                 82.0%
                    MEDIA_AND_VIDEO                  88.4%
                           MEDICAL                   92.6%
                    MUSIC_AND_AUDIO                  40.7%
                 NEWS_AND_MAGAZINES                  85.9%
                         PARENTING                   79.1%
                     PERSONALIZATION                 90.3%
                       PHOTOGRAPHY                   90.7%
                       PRODUCTIVITY                  88.6%
                          SHOPPING                   47.4%
                            SOCIAL                   89.2%
                            SPORTS                   80.6%
                            TOOLS                    95.8%
                     TRANSPORTATION                  91.8%
                   TRAVEL_AND_LOCAL                  89.0%
                       VIDEO_PLAYERS                 87.7%
                          WEATHER                    79.5%

                 Note:
             [1] The “Family” game category is excluded because it
                 is not currently available on Google Play Store. In
                 the app-level spend data (GOOG-PLAY-005535886),
                 there are only 3 apps belonging to this category
                 without any records after 2018.

                 Sources:
             [1] App-level spend data, Consumers, GOOG-PLAY-
                 005535886
             [2] Singer backup for Tables 7 & 8




                Highly Confidential – Attorneys’ Eyes Only
Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 659 of 667



                                         Exhibit 56

     Share of Developers Abandoning "99" Pricing in But-For World
                               August 2016 – December 2020



           Count of Developers Using "99" Pricing in Actual World                 80,103



       Count of Developers Abandoning "99" Pricing in But-For World               79,984



       Share of Developers Abandoning "99" Pricing in But-For World                99.9%



    Notes:
[1] This table includes all developers that 1) sell to U.S. consumers, 2) Singer calculated a
    pass-through rate for and the pass-through rate could be crosswalked from Singer's
    data to the transactions data on app package name, monetization type (in-app
    purchase, subscription, or paid app download), purchase month and year, and app
    category, and 3) have only sold at list prices ending with ".99".
[2] "Count of Developers Abandoning "99" Pricing in But-For World" includes all
    developers that would price at least one SKU at a list price that does not end in ".99" if
    Singer's but-for service fee rates were in place. But-for list prices are calculated as the
    actual list price minus the but-for dollar reduction in the service fee rate multiplied by
    the pass-through rate for the respective month, app, app category, and monetization
    type.
[3] Government- and Google-owned apps are excluded.
[4] Developers are counted by Gaia ID.

    Sources:
[1] Singer backup for Tables 3, 5, 7, & 8
[2] App-level spend data, Consumers, GOOG-PLAY-005535886
[3] Google Transactions Data, GOOG-PLAY-007203251




                                Highly Confidential – Attorneys’ Eyes Only
                                                                      Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 660 of 667




                                                                                                         Exhibit 57
                                                            Sample Calculation of Singer's Pass-Through Rates for Developers Selling Subscriptions
                                                                                                                  June 2017

                                                                                                                                                                Developer's      Pass-Through                             But-for Price
                                                                                                                        Total Subscription Developer
      App Developer App Developer                                                                                                                              Share of Total      Rate for                           According to Singer's
                                                App Package Name              App Category             Month            Units Sold in App Subscription                                                List Price
         GAIA ID        Name                                                                                                                                    Subscription     Subscriptions                        Pass-through & But-
                                                                                                                            Category       Units Sold
                                                                                                                                                                 Units Sold       (1 - Share)                               for Rate

                                                                                 Lifestyle            Jun. 2017                                                                                         $4.99


    Notes:
[1] In the class period,                                                                                 . All subscription SKUs that this app offered that are present in the transactions data were found to have a zero or negative pass-
    through rate in Williams' analysis.
[2] But-for list prices are calculated as the actual list price minus the but-for dollar reduction in the service fee multiplied by the pass-through rate for the respective month, app, monetization type, and app category, as
    estimated by Singer. The dollar reduction in the service fee is calculated as the list price observed in Google’s transactions data times difference between the service fee rate observed in Google’s transactions data and the
    but-for service fee rate for subscriptions according to Singer's Table 5.

      Sources:
[1]   Singer backup for Tables 5, 7, & 8
[2]   App-level spend data, Consumers, GOOG-PLAY-005535886
[3]   Google Transactions Data, GOOG-PLAY-007203251
[4]   Williams backup for Figure 3




                                                                                              Highly Confidential – Attorneys’ Eyes Only
                                             Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 661 of 667



                                                                                      Exhibit 58

                                      Pass-Through Rates for Three Developers, Based on Dr. Singer’s
                                                               Calculations
                                                                         August 2016 – December 2020
                    100%
                     90%
                     80%
Pass-Through Rate




                     70%
                     60%
                     50%
                     40%
                     30%
                     20%
                     10%
                      0%
                            Aug.       Dec.      Apr.       Aug.      Dec.       Apr.          Aug.         Dec.          Apr.   Aug.   Dec.   Apr.     Aug.         Dec.
                            2016       2016      2017       2017      2017       2018          2018         2018          2019   2019   2019   2020     2020         2020
                                                            , Paid App Download                                           , In-App Purchases
                                                        , Subscriptions
                    Note:
                    [1] This graph shows Dr. Singer's monthly pass-through rates for paid app downloads from "                                 ", non-subscription
                    IAPs from "                       ", and subscription IAPs from "               " for August 2016 through December 2020.
                    Sources:
                    [1] Singer backup for Tables 7 and 8
                    [2] App-level spend data, Consumers, GOOG-PLAY-005535886




                                                                             Highly Confidential – Attorneys’ Eyes Only
                     Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 662 of 667



                                                             Exhibit 59

             Shares of Positive Pass-Through Rates Found by Dr. Singer and Dr.
                        Williams Are Nearly Opposite of Each Other

                             Zero pass-through rates                   Positive pass-through rates




                                        92%                                   8%
Dr. Williams




Dr. Singer                                           0.01%                             99.99%




Notes:
[1] Zero pass-through rates combine zero and negative pass-through rates.
[2] Dr. Williams’ pass-through rates are calculated at the product ID and monetization type level, whereas Dr. Singer’s pass-through
    rates are calculated at the developer ID, app category, monetization type, and year-month level.

Sources:
[1] Singer backup for Tables 7 & 8
[2] Williams Figure 3




                                                    Highly Confidential – Attorneys’ Eyes Only
                                  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 663 of 667




                                                                    Exhibit 60
                                                   U.S. Consumers' Play Points Earned Transactions
                                                            Among Only Transactions with Earned Points

                                                   Among Transactions with Earned Play Points                        Among all U.S. Consumer Transactions
                                    Number of      Number of U.S. Number of Number of Gross Consumer                Class Consumer     Percent of Consumer
                 Year              Transactions      Consumers     Developers       Apps      Spend                 Counts by Year     Class Earning Points
         Nov 2019 - Dec 2019
                 2020
                 2021
       Starting November 2019

      Notes:
[1]   The Play Points program began in November 2019 in the U.S. The transactions data shows transactions until July 3rd, 2021.
[2]   Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are excluded.
[3]   Gross Consumer Spend is the list price which is determined by pre-tax price per unit.
[4]   NULL point transactions are seen as consumers not enrolled. 0 points earned transactions are seen as enrolled consumers not earning points. NULL point
      transactions are excluded but 0 points earned transactions are included.

    Sources:
[1] Google Transactions Data, GOOG-PLAY-007203251
[2] "Google Play Points: a rewards program for all the ways you Play," https://blog.google/products/google-play/google-play-points-rewards-program-all-ways-
    you-play/




                                                         Highly Confidential – Attorneys’ Eyes Only
                    Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 664 of 667




                                                         Exhibit 61
                 Upper vs Lower Bound of U.S. Consumers' Play Points Redeemed Transactions

                                                                   Redeeming U.S. Consumers Redeeming U.S. Consumers
                                              Number of Redeeming as Percent of U.S. Consumers as Percent of U.S. Consumer
            Starting November 2019              U.S. Consumers           Earning Points                    Class

      Lower Bound: Redemptions recorded
                    in data

      Upper Bound: Redemptions recorded
      in data or inferred from Stored Value


      Notes:
[1]   The Play Points program began in November 2019 in the U.S. The transactions data shows transactions until July 3rd, 2021.
[2]   Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are
      excluded.
[3]   Gross Consumer Spend is the list price which is determined by pre-tax price per unit.
[4]   The upper bound for counts of consumers with redeemed Points is determined by consumers earning at least 10 lifetime Play
      Points and having at least one Play Credit transaction on or after November 2019. It assumes that Play Credit was earned
      through Play Points if not recorded in the data as a Points redemption.
[5]   Some consumers in the lower bound also make stored value purchases.
[6]   Play Point earners can redeem for Google Play Credit to be used on movies, books, etc. which would not show up in the
      transactions data.

    Source:
[1] Google Transactions Data, GOOG-PLAY-007203251




                                               Highly Confidential – Attorneys’ Eyes Only
                  Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 665 of 667




                                                         Exhibit 62
                Developers with Conflicting Country Locations in App-Level Spend Data and App Catalog
                                             August 2016 - December 2021

                                                                                     Count of Developers   % of Developers
    "U.S." Developers with some but not all apps identified as non-U.S. in
                                                                                              140               0.3%
    Catalog

    "U.S." Developers with all apps identified as non-U.S. in Catalog                        3,632               7%

    "U.S." Developers with all apps missing Catalog location                                 5,836              12%

    "U.S." Developers with matching Catalog location                                         39,779             81%
    Total                                                                                    49,387            100%

    Notes:
[1] "U.S." Developers with some but not all apps identified as non-U.S. in Catalog Data includes 111 developers who have
    some missing locations in the App Catalog, but who are identified as non-U.S. in at least one app with a non-missing
    Catalog location.
[2] "U.S." Developers with matching Catalog location includes 616 developers who have some missing locations in the
    Catalog data, but who are identified as U.S. in all apps with a non-missing Catalog location.

    Sources:
[1] App-level spend data, Developers, GOOG-PLAY-005535885 and GOOG-PLAY-010801689
[2] Play App Catalog, GOOG-PLAY-001507601 and GOOG-PLAY-001507602




                                                Highly Confidential – Attorneys’ Eyes Only
                                              Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 666 of 667



                                                                                            Exhibit 63

                                          Subscription Price and Service Fee Rate of
                                                                 Subscription
                                                                              December 2016 – July 3, 2021
                     $6.99                                                                                                                                                           35%
                                                                                                                                                     Subscription price
                     $5.99                                                                                                                                                           30%
                                                                                                                                                                                     25%
Subscription Price




                                                                                                                                                                                           Service Fee Rate
                     $4.99
                                                                                                                                                                                     20%
                     $3.99                                                                                                                               Service fee rate
                                                                                                                                                                                     15%
                     $2.99
                                                                                                                                                                                     10%
                     $1.99                                                                                                                                                           5%
                     $0.99                                                                                                                                                           0%
                             Dec. Apr. Aug. Dec. Apr. Aug. Dec. Apr. Aug. Dec. Apr. Aug. Dec. Apr.
                             2016 2017 2017 2017 2018 2018 2018 2019 2019 2019 2020 2020 2020 2021
                Notes:
                [1] This graph shows monthly prices and service fee rates for SKU "                                                                                     .
                [2] Both Burtis and Williams found zero pass-through for this SKU. Singer's predicted pass-through rates for this subscription SKU from this developer in the "Music and
                Audio" app category range from 80.6% to 99.999% from August 2016 to December 2020.
                [3] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are excluded.

                Source:
                [1] See Exhibit 52 for sources.




                                                                                   Highly Confidential – Attorneys’ Eyes Only
                                                   Case 3:21-md-02981-JD Document 325-1 Filed 08/19/22 Page 667 of 667



                                                                                                Exhibit 64

                                  Subscription Price and Service Fee Rate of Premium Digital
                                                                  Subscription
                                                                                     August 2016 – July 3, 2021
                     $16.99                                                                                                                                                              35%
                                                                                                                                                         Subscription price
                     $14.99                                                                                                                                                              30%
                     $12.99                                                                                                                                                              25%
Subscription Price




                                                                                                                                                                                               Service Fee Rate
                     $10.99
                                                                                                                                                                                         20%
                      $8.99                                                                                                                                  Service fee rate
                                                                                                                                                                                         15%
                      $6.99
                      $4.99                                                                                                                                                              10%

                      $2.99                                                                                                                                                              5%
                      $0.99                                                                                                                                                              0%
                                Aug. Dec. Apr. Aug. Dec. Apr. Aug. Dec. Apr. Aug. Dec. Apr. Aug. Dec. Apr.
                                2016 2016 2017 2017 2017 2018 2018 2018 2019 2019 2019 2020 2020 2020 2021

                     Notes:
                     [1] This graph shows monthly prices and service fee rates for SKU "                                                         ".
                     [2] Both Burtis and Williams found zero pass-through for this SKU. Singer's predicted pass-through rates for this subscription SKU from this developer in the "News and
                     Magazines" app category range from 71.1% to 94.3% from August 2016 to December 2020.
                     [3] Transactions are charged, delivered, in USD, not refunds and pre-tax price per unit greater than $0. Test instruments are excluded.

                     Source:
                     [1] See Exhibit 52 for sources.




                                                                                       Highly Confidential – Attorneys’ Eyes Only
